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                             EXHIBIT 201




                                                                         Appx. 03259
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                  §
    In re:                                                        § Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          § Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.                      §

MOTION OF THE DEBTOR FOR ENTRY OF AN ORDER AUTHORIZING, BUT NOT
    DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO CERTAIN
                       “RELATED ENTITIES”




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

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                 The above-captioned debtor and debtor-in-possession (the “Debtor”) files this

motion (the “Motion”) for entry of an order, substantially in the form attached hereto as Exhibit

A, authorizing, but not directing, the Debtor, or its relying adviser, as appropriate, to cause the

distribution of assets, in the ordinary course of its business, to certain Related Entities that have

invested in Dynamic, AROF, and RCP (each as defined below). In support of this Motion, the

Debtor respectfully states as follows:

                                          Jurisdiction and Venue

                 1.         The United States Bankruptcy Court for the Northern District of Texas,

Dallas Division (the “Court”), has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                 2.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                 3.         The statutory bases for the relief requested in this Motion are sections

105(a) and 363 of the Bankruptcy Code.

                                       Summary of Relief Requested

                 4.         In this Motion, the Debtor, through its Independent Board (defined below),

seeks this Court’s authorization, indeed its direction, to meet its obligations to the funds managed

by the Debtor. These obligations exist under contract and according to applicable law. In the

ordinary course of its business, the Debtor is routinely called upon to liquidate or wind down the

assets held by the funds under its direct or indirect management and then to distribute the proceeds

of such liquidations to the investors in the funds. Normally, these obligations – that is to liquidate

and distribute – are neither disputed nor controversial.

                 5.         And yet, because of the history of this case, one of these duties – that is the

duty to distribute – is now contested. The Committee (defined below) has voiced no objection to


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the liquidation of the assets subject to this Motion, but it does object to certain of the distributions.

The Committee says that any distributions to James Dondero, Mark Okada, or any entities related

to them should be withheld. The Debtor understands the reasons for the Committee’s objection,

but not the legal basis for it.

                 6.         Everyone would agree that the Independent Board must act in accordance

with the law in fulfilling its obligations to the Debtor’s estate. That means dealing with creditors

in the manner prescribed by Bankruptcy Code. The Independent Board takes its obligations under

the Bankruptcy Code seriously. But, the Independent Board takes just as seriously its obligations

to the funds managed by the Debtor. The Debtor is no more free to unilaterally change the

obligations it has to those funds under their operative documents and applicable law – especially

considering that many of the investors in those funds are complete strangers to this case – than it

is to unilaterally modify its obligations to creditors under the Bankruptcy Code. This is so even if

some creditors view some of the Debtor’s investors as suspicious or unworthy.

                 7.         The Debtor asks this Court to affirm that in the absence of specific

injunctive relief entered by this Court or any other court of appropriate jurisdiction, the Debtor

must fulfill its obligations under contract and according to applicable law.

                                              Background

                 8.         On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the District

of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

                 9.         On October 29, 2019, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the U.S. Trustee in the Delaware Court.




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                 10.        On December 4, 2019, the Delaware Court entered an order transferring

venue of the Debtor’s Bankruptcy Case to this Court [Docket No. 186]. 2

                 11.        On December 27, 2019, the Debtor filed that certain Motion of the Debtor

for Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

281] (the “Settlement Motion”). This Court approved the Settlement Motion on January 9, 2020

[Docket No. 339] (the “Settlement Order”).

                 12.        The Settlement Order approved, among other things, certain operating and

reporting protocols [Docket Nos. 354, 466] (as amended, the “Protocols”), which, in certain

circumstances, require the Debtor to seek the approval of its Chief Restructuring Officer 3 and/or

the Committee prior to engaging in “Transactions” (as defined in the Protocols).

                 13.        In connection with the Settlement Order, an independent board of directors

was appointed on January 9, 2020, at the Debtor’s general partner, Strand Advisors, Inc. (the

“Independent Board”)

                 14.        The Debtor has continued in the possession of its property and has

continued to operate and manage its business as a debtor-in-possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

chapter 11 case.




2
 All docket numbers refer to the docket maintained by this Court.
3
 The Debtor’s retention of Development Specialists, Inc. as the Debtor’s Chief Restructuring Officer (the “CRO”)
was approved by this Court on January 10, 2020 [Docket No. 342].
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                                   Background to the Relief Requested

A.      The Debtor’s Business Generally

                 15.        On October 29, 2019, the Debtor filed that certain Precautionary Motion of

the Debtor for Order Approving Protocols for the Debtor to Implement Certain Transactions in

the Ordinary Course of Business [Docket No. 76] (the “Precautionary Motion”). As described in

the Precautionary Motion, the Debtor, as a registered investment adviser, provides in the ordinary

course of its business, investment management services to its clients, which include, among others,

hedge funds and private equity style funds.

                 16.        Hedge funds and private equity style funds are types of pooled investment

vehicles in which third-party investors subscribe for equity interests. These funds are governed

by a board of directors or general partner, depending on the corporate form of the fund entity, and

retain an investment manager pursuant to an investment management agreement to oversee their

investments. The fund itself, and the relationship of the investors in the fund, is governed by a

contractual governing document (e.g., a limited partnership agreement or articles of association),

and the board of directors or the general partner, as applicable – as well as the investment manager

– have fiduciary obligations to the fund entity. Further, while the investment manager may have

investment discretion under the investment management agreement, the investment manager is

also required to comply with the terms of the fund’s contractual governing documents, including

the investment management agreement, and the investment manager has fiduciary and other

obligations imposed on the investment manager by applicable law, including, the Advisers Act.

These types of funds are also often organized as two-tiered structures with a single “master” fund

that trades and holds the fund’s investment portfolio and multiple “feeder funds” that invest in the

master fund.


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                 17.        Investors in a hedge fund generally can redeem their interests in the fund on

periodic redemption dates. Redemptions occur in the ordinary course for all hedge funds, and

hedge funds manage their liquidity on an ongoing basis, by selling assets to satisfy these investor

redemptions in the ordinary course. Similarly, upon a determination by a hedge fund’s governing

body that the fund should be liquidated, the fund sells its remaining portfolio holdings in an orderly

manner and distributes the proceeds to its investors. Common reasons for a hedge fund to liquidate

include, among other things, the fund no longer being viable as a result of significant investor

redemptions.

                 18.        Private equity style funds, on the other hand, generally have a set term after

which they are required to liquidate and distribute their assets to their investors (although they may

under certain circumstances be wound down prior to the expiration of their term). Further,

investors in private equity style funds are generally not permitted to redeem their interests or

withdraw their capital from the fund. The term of a private equity style fund may, subject to the

fund’s governing documents, be extendable.

B.      Distributions from Dynamic, AROF, and RCP

Dynamic Distribution and AROF Distribution

                 19.        The Debtor manages (a) Highland Dynamic Income Fund, L.P., a Delaware

limited partnership, (b) Highland Dynamic Income Fund, Ltd., a Cayman Islands exempted

company, and (c) Highland Dynamic Income Master Fund, L.P., a Cayman Islands exempted

limited partnership (collectively, “Dynamic”). Dynamic consists of three entities: a “master fund”

(which is a Cayman exempted limited partnership) owned by two “feeder funds” (one being a

Delaware limited partnership and the other being a Cayman Islands exempted company). 4 The


4
 The documents governing Dynamic are (i) the Amended and Restated Limited Partnership Agreement of Highland
Dynamic Income Fund, L.P., dated April 1, 2018; (ii) the Amended and Restated Memorandum and Articles of
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master funds and the Delaware feeder funds are managed by their applicable general partner, which

in each case is a wholly-owned affiliate of the Debtor. The Cayman feeder fund is governed by a

board consisting of an employee of the Debtor. The Debtor’s direct relationship with each of the

three Dynamic entities is governed by an investment management agreement under which the

Debtor serves as investment adviser to such entities. Accordingly, Dynamic is an investment

advisory client of the Debtor. An organizational chart for Dynamic is attached hereto as Exhibit

B.

                 20.        Highland Capital Management Latin America, L.P. (“HCM Latin

America”), which is an indirect wholly owned subsidiary of the Debtor that is registered as a

relying adviser of the Debtor, manages (a) Highland Argentina Regional Opportunity Fund, L.P.,

a Delaware limited partnership, (b) Highland Argentina Regional Opportunity Fund, Ltd., a

Cayman Islands exempted company, and (c) Highland Argentina Regional Opportunity Master

Fund, L.P., a Cayman Islands exempted limited partnership (collectively, “AROF”). The Debtor

has entered into a services agreement pursuant to which the Debtor provides certain back- and

middle-office services and administrative, infrastructure and other services to HCM Latin

America. AROF consists of three entities: a “master fund” (which is a Cayman exempted limited

partnership) owned by two “feeder funds” (one being a Delaware limited partnership and the other

being a Cayman Islands exempted company). 5 The master fund and the Delaware feeder fund are


Association of Highland Dynamic Income Fund, Ltd., adopted on 8 May 2018; (iii) the Second Amended and Restated
Exempted Limited Partnership Agreement of Highland Dynamic Income Master Fund, L.P., dated April 1, 2018; and
(iv) the Investment Management Agreement, dated March 28, 2013, by and among Dynamic, Highland Dynamic
Income Fund GP, LLC (f/k/a Highland Capital Loan GP, LLC) and the Debtor; (v) the Confidential Private Placement
Memorandum of Highland Dynamic Income Fund, L.P., dated April 2018; and (vi) the Confidential Private Offering
Memorandum of Highland Dynamic Income Fund, Ltd., dated April 2018 ((i) – (vi) collectively, the “Dynamic Fund
Documents”). True and accurate copies of the Dynamic Fund Documents are attached hereto as Exhibit C.
5
  The documents governing AROF are (i) the Amended and Restated Limited Partnership Agreement of Highland
Argentina Regional Opportunity Fund, L.P., dated November 1, 2017; (ii) the Amended and Restated Memorandum
and Articles of Association of Highland Argentina Regional Opportunity Fund, Ltd., adopted on 8 November 2017;
(iii) the Amended and Restated Exempted Limited Partnership Agreement of Highland Argentina Regional
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managed by their applicable general partner, which in each case is a wholly-owned affiliate of the

Debtor. The Cayman feeder fund is managed by an independent board of Cayman-based directors

unaffiliated with the Debtor. HCM Latin America’s relationship with each of the three AROF

entities is governed by an investment management agreement under which HCM Latin America

serves as investment adviser to such entities. Accordingly, AROF is an investment advisory client

of HCM Latin America. An organizational chart for AROF is attached hereto as Exhibit D.

                 21.        Each of Dynamic and AROF received significant redemption requests from

limited partners both before and after the Petition Date. Following those requests – and as

disclosed in the Precautionary Motion – each of Dynamic and AROF began winding down. These

funds’ governing bodies (general partner and board of directors), as well as the Debtor, concluded

that Dynamic and AROF were no longer viable following such redemptions and therefore should

be liquidated in an orderly manner.

                 22.        Further, the Debtor believed (and continues to believe) that its fiduciary and

contractual obligations to Dynamic and AROF mandated an orderly liquidation and distribution of

assets to investors given that such funds were no longer viable. When a significant redemption

request is made, a fund typically is required to liquidate its assets to satisfy the redemption request,

which in turn both decreases the total assets available to satisfy later redemption requests and may

result in a fund’s costs being allocated disproportionately to the remaining investors. An orderly

liquidation helps ensure that all investors are treated in the same manner, bear the same costs, and




Opportunity Master Fund, L.P., dated November 1, 2017, as amended; (iv) the Amended and Restated Investment
Management Agreement, dated November 1, 2017, by and among AROF, Highland Argentina Regional Opportunity
Fund GP, LLC, and HCM Latin America; (v) the Confidential Private Placement Memorandum of Highland Argentina
Regional Opportunity Fund, L.P., dated March 2019, as supplemented; and (vi) the Offering Memorandum of
Highland Argentina Regional Opportunity Fund, Ltd., dated March 2019, as supplemented ((i) – (vi) collectively, the
“AROF Fund Documents”). True and accurate copies of the AROF Fund Documents are attached hereto as Exhibit
E.
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receive distributions on a pro rata basis. Otherwise, liquidation costs and proceeds could adversely

impact some investors (likely the investors that have not submitted a redemption or withdrawal

request).

                  23.       The Debtor disclosed the proposed liquidation of Dynamic and AROF to

the Committee, and the Committee did not object.

                  24.       As such, since the Petition Date, the Debtor has taken steps to liquidate the

investments held by Dynamic and AROF and is seeking to distribute the cash to those funds’

respective investors/redeemers in accordance with the documents governing the funds. 6

Distribution of the cash to investors/redeemers is a necessary step in liquidating the funds;

Dynamic and AROF cannot close unless all assets have been distributed in accordance with the

Dynamic Fund Documents and the AROF Fund Documents, respectively.

                  25.       On January 24, 2020, the Debtor notified the Committee that it intended to

distribute (i) approximately $35 million in cash to investors/redeemers in Dynamic (the “Dynamic

Distribution”) and (ii) approximately $22 million in cash to investors/redeemers in AROF (the

“AROF Distribution”). In that notice, the Debtor disclosed that:

         • (i) CLO Holdco, Ltd. (“CLOH”), 7 (ii) Mark Okada, 8 and (iii) Highland Dynamic
           Income Fund GP, LLC (the “Dynamic GP”) 9 are investors in Dynamic 10 and that (a)




6
  In the case of AROF, all redemptions were suspended and the Fund was placed in liquidation. In the case of Dynamic,
all investors were subject to compulsory redemptions and the fund was placed in liquidation.
7
   The limited partnership interests in Dynamic held by CLOH were originally held by the Debtor. The Debtor
transferred those interests to The Get Good Nonexempt Trust (“Get Good”) on December 28, 2016, in exchange for
97.6835% of Get Good’s interest in a promissory note in original principal amount of approximately $24 million
issued by The Dugaboy Investment Trust. Get Good subsequently transferred its interests in Dynamic to the Highland
Dallas Foundation, Inc., which transferred those interests to CLOH. The Dugaboy Investment Trust has been paying
amounts due under the $24 million note, and the current principal amount is approximately $17.5 million.
8
  Mr. Okada is an investor in the Debtor and has an interest in the Debtor’s Class A limited partnership interests. Mr.
Okada resigned from his position with the Debtor prior to the Petition Date.
9
  The Dynamic GP is wholly owned by the Debtor.
10
   The Debtor is also a limited partner in Dynamic and will receive its applicable share of the Dynamic Distribution.
                                                          9
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            CLOH’s share of the Dynamic Distribution was $872,194.00; (b) Mr. Okada’s share
            was $4,176,774.74; and (c) the Dynamic GP’s share was $137,182.03; and

        • CLOH is an investor in AROF, and its share of the AROF Distribution was
          $1,516,354.38.

The Debtor further disclosed that it intended to distribute to CLOH, Mr. Okada, and the Dynamic

GP their pro rata share of the Distributions in the same manner as distributions were being made

to other investors.

RCP Distribution

                 26.        In the ordinary course of its business, the Debtor also manages (a) Highland

Restoration Capital Partners, L.P., a Delaware limited partnership, (b) Highland Restoration

Capital Partners Offshore, L.P., a Cayman exempted limited partnership, and (c) Highland

Restoration Capital Partners Master, L.P., a Delaware limited partnership (collectively, “RCP”).

RCP consists of a “parallel” fund structure that invests side-by-side in the same investments on a

proportional basis. The domestic side consists of a Delaware limited partnership, and the parallel

Cayman side consists of a Cayman exempted limited partnership that feeds into a separate

Delaware limited partnership. Each fund is managed by the same general partner, which is a

wholly owned subsidiary of the Debtor. The Debtor’s direct relationship with each of the three

RCP entities, like its relationship with Dynamic, is governed by an investment management

agreement under which the Debtor serves as investment adviser to such entities. Accordingly,

RCP is an investment advisory client of the Debtor. An organizational chart for RCP is attached

hereto as Exhibit F.

                 27.        RCP is a private equity style fund, and, as a private equity fund, RCP has a

set term after which it is required to liquidate and distribute its assets to its investors. Investors

are not permitted to withdraw their capital from the fund. In this case, RCP had an original term

of ten years (the “Term”) with the potential to extend the Term for two additional one year periods
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if RCP’s independent advisory board (the “Advisory Board”) 11 consented to such extensions.

RCP’s initial ten-year term expired in April 2018. The Advisory Board agreed to extend the term

for one additional year to April 2019. However, following that one year extension, the Advisory

Board did not consent to an additional one-year extension, and instead allowed RCP to continue

month-to-month with the Advisory Board reserving the right to approve each additional monthly

extension. As a condition to receiving these monthly extensions, the Debtor agreed to waive its

management fees.

                 28.        The Advisory Board has not granted any additional extensions of the Term

since November 2019. Because RCP is past its Term, RCP has gone into orderly liquidation under

the terms of its governing documents. 12 As a result of that liquidation, RCP has substantial assets

to distribute to its limited partners (the “RCP Distribution,” and together with the Dynamic

Distribution and the AROF Distribution, the “Distributions”).

                 29.        The RCP Distribution comes from RCP’s sale of 1,700,000 shares of

common stock in MGM Holdings, Inc. (“MGM”), which trade was disclosed to the Committee on

February 7, 2020 (the “MGM Sale”). The MGM Sale generated $123.25 million in proceeds, all

of which is subject to distribution to RCP’s limited partners, including the Debtor, which will

receive approximately $18.5 million from the MGM Sale proceeds.




11
   None of the Advisory Board members are affiliated with or related in any way to the Debtor, James Dondero, or
Mark Okada.
12
   The documents governing RCP are (i) Second Amended and Restated Agreement of Limited Partnership of
Highland Restoration Capital Partners Offshore, L.P. dated April 18, 2008; (ii) the Limited Partnership Agreement of
Highland Restoration Capital Partners, L.P., dated April 18, 2008; (iii) Amended and Restated Agreement of Limited
Partnership of Highland Restoration Capital Partners Master, L.P., dated April 18, 2008; and (iv) the Investment
Management Agreement, dated November 15, 2007, by and among Highland Restoration Capital Partners, L.P.,
Highland Restoration Capital Partners Offshore, L.P., Highland Restoration Capital Partners Master, L.P., each
parallel vehicle that may be formed from time to time, Highland Restoration Capital Partners GP, LLC, and Highland
Capital Management, L.P. ((i) – (iv) collectively, the “RCP Fund Documents”). True and accurate copies of the RCP
Fund Documents are attached hereto as Exhibit G.
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                 30.        The MGM Sale was originally part of a much larger liquidating transaction

that was being discussed last November 2019, long before the appointment of the Independent

Board. In late November 2019, the Debtor requested the Committee’s authorization to proceed

first with the larger transactions and then solely the MGM Sale, but the Committee rejected both

of these transactions.

                 31.        After the appointment of the Independent Board, the Debtor asked the

Independent Board to re-assess the larger transaction, and while the Independent Board was

reviewing the transaction, the Independent Board determined that the MGM Sale had been agreed

to in November 2019 but had not yet closed. Subsequently, the Independent Board spent

substantial time and resources considering the Debtor’s fiduciary duties to the investors in RCP

and the benefits and risks of the transaction, the Independent Board ultimately decided not to

proceed with the larger transaction. However, the Independent Board determined to close the

MGM Sale in accordance with its terms, and the Independent Board notified the Committee on

February 7, 2020, of its intention to close the MGM Sale and followed with a presentation to the

full Committee on February 14, 2020, and with the Committee’s consent, the MGM Sale closed

on February 24, 2020.

                 32.        Also on February 7, 2020, the Debtor notified the Committee that it

intended to distribute the RCP Distribution as soon as practicable following their receipt by RCP

of such liquidation proceeds. The Debtor also disclosed that Highland Capital Management

Services, Inc. (“HCM Services”), 13 would receive a share of the RCP Distribution of

approximately $2.1 million in the same manner as all other limited partners in RCP. 14 HCM


13
   HCM Services received its interests in RCP from the Debtor over eleven years ago. Additional materials will be
provided concerning HCM Services’ ownership interest.
14
   The Debtor is also a limited partner in RCP and would receive approximately $18.5 million from the RCP
Distribution.
                                                       12
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Services is owned 75% by James Dondero and 25% by Mark Okada, and HCM Services is

considered a “Related Entity” 15 under the Protocols.

The Committee’s Objections to the Distributions

                  33.       On January 30, 2020, the Debtor, through counsel, received notice that the

Committee objected to Dynamic and AROF making distributions to the Related Entity investors

under the Protocols unless the Debtor satisfied three demands: (1) no part of the foregoing

distributions are to be made to any Related Entities; (2) Dynamic and AROF must provide an

unredacted list of all their investors; and (3) the Debtor must make demand for payment on all

demand notes held by the Debtor. The Committee also requested information regarding how

CLOH obtained its limited partnership interest in Dynamic. 16 The Committee has not objected to

either Dynamic or AROF making distributions to non-Related Entity Investors.

                  34.       On February 14, 2020, the Debtor, through counsel, also received notice

that the Committee objected to RCP making distributions to HCM Services, as a Related Entity.

The Committee has not objected to RCP making distributions to its non-Related Entity investors.

                  35.       Under the applicable governing documents, the rights and obligations of

Related Entity investors in Dynamic, AROF, RCP, and the Debtor’s other managed investment


15
   A “Related Entity,” as defined in the Protocols, means “collectively (A)(i) any non-publicly traded third party in
which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with respect to Messrs. Okada, Scott and
Honis, only to the extent known by the Debtor) has any direct or indirect economic or ownership interest, including
as a beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr. Dondero, Mr. Okada, Mr. Grant Scott,
or Mr. John Honis (with respect to Messrs. Okada, Scott and Honis, only to the extent known by the Debtor); (iii)
MGM Holdings, Inc.; (iv) any publicly traded company with respect to which the Debtor or any Related Entity has
filed a Form 13D or Form 13G; (v) any relative (as defined in Section 101 of the Bankruptcy Code) of Mr. Dondero
or Mr. Okada each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter Mountain Investment Trust
and Dugaboy Investment Trust; (vii) any entity or person that is an insider of the Debtor under Section 101(31) the
Bankruptcy Code, including any “non-statutory” insider; and (viii) to the extent not included in (A)(i)-(vii), any entity
included in the listing of related entities in Schedule B hereto (the “Related Entities Listing”); and (B) the following
Transactions, (x) any intercompany Transactions with certain affiliates referred to in paragraphs 16.a through 16.e of
the Debtor’s cash management motion [Del. Docket No. 7]; and (y) any Transactions with Charitable DAF Fund, L.P.
(provided, however, that additional parties may be added to this subclause (y) with the mutual consent of the Debtor
and the Committee, such consent not to be unreasonably withheld).”
16
   See note 7, supra.
                                                           13
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vehicles as applicable, are the same as those of other investors in the applicable funds. Further, at

this time, the Debtor is not aware of any claims that Dynamic, AROF, or RCP have against their

Related Entity investors. However, the Debtor understands that the Committee has started its

investigation with respect to claims against the Related Entities but does not believe that there is

cause to delay otherwise payable distributions to Related Entities until the Committee has

completed its review. As such, and as discussed at greater length below, the Debtor believes that

failing to provide such parties their pro rata share of the Distributions based upon the potential that

the Debtor (not Dynamic, AROF, or RCP) might assert claims against the Related Entities at some

point in the future could potentially subject the Debtor, as well as the applicable fund, to claims

for, among other things, breach of contract and breach of fiduciary duty under applicable state law,

federal law, and Cayman law.

                 36.        Consequently, the Debtor is filing this Motion and seeking an order from

this Court authorizing the Debtor to cause Distributions to be made to the Related Entity investors

in Dynamic, AROF, and RCP (collectively, the “Funds”).

                                             Relief Requested

                 37.        By this Motion, the Debtor seeks the entry of an order authorizing, but not

directing: (i) the Dynamic Distribution to the Related Entity investors in Dynamic, in accordance

with the Dynamic Fund Documents, (ii) the AROF Distribution to the Related Entity investors in

AROF in accordance with the AROF Fund Documents, and (iii) the RCP Distribution to the

Related Entity investors in RCP in accordance with the RCP Fund Documents.




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                                      Basis for the Relief Requested

A.      The Governing Documents for the Funds Do Not Give Discretion Regarding
        Fund Distributions

                 38.        Each Fund is a distinct legal entity with its own property rights in its own

assets. Further, each entity in each Fund is governed by its own set of governing documents, which

govern how distributions are to be made to investors in the applicable Fund. As set forth below,

because certain of the Related Entities have invested through the Cayman entities and others have

invested through the Delaware entities, only certain documents apply to each Related Entity

investors. The Related Entities and their applicable funds are set forth below:

                                                 Dynamic

      Related Entity                 Applicable Entity
      CLOH                           Dynamic Master Fund & Dynamic Domestic Feeder Fund
      Mark Okada                     Dynamic Master Fund & Dynamic Domestic Feeder Fund
      Dynamic GP                     Dynamic Master Fund & Dynamic Domestic Feeder Fund

                                                  AROF

      Related Entity                 Applicable Entity
      CLOH                           AROF Master Fund & AROF Cayman Feeder Fund

                                                   RCP

      HCM Services                   RCP Domestic Fund

                 39.        Because the Dynamic and AROF funds are structured as “master/feeder”

funds, investors invest by subscribing for limited partnership interests or shares in the feeder funds;

however, the feeder funds do not own interests in underlying portfolio investments. Those

investments are held by the master funds, and the feeder funds are the master fund’s limited

partners. As such, the master fund is the entity that receives the proceeds from any investment and

then distributes those proceeds to its limited partners – the feeder funds – pursuant to the master

fund’s governing documents. The feeder funds in turn distribute those proceeds to their limited

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partners or shareholders – the third-party investors – pursuant to the feeder fund’s governing

documents. As, and by way of example, if an investor is invested in a Delaware feeder fund, the

documents governing its distributions are the documents governing both the master fund and the

documents governing the Delaware feeder fund. The documents governing the Cayman fund are,

in these circumstances, generally immaterial.

                 40.        RCP is structured as a “parallel fund.” This structure is similar to the

master/feeder structure discussed above. RCP has a master fund incorporated in Delaware;

however, the RCP master fund only has one limited partner – the Cayman fund. The domestic

RCP fund invests in the same portfolio investments as the RCP master fund but is not a limited

partner of the RCP master fund. Instead, the RCP domestic fund is a standalone entity, which

owns its own assets, receives the proceeds of those assets directly, and distributes those proceeds

directly to its limited partners. The RCP domestic fund does not rely on distributions from the

RCP master fund, and, consequently, for purposes of distributions to investors in the RCP domestic

fund, the documents governing the RCP master fund and RCP Cayman fund are largely

immaterial.

                 41.        The relevant documents are discussed below. Because of their similarities,

the Dynamic Fund Documents and Argentina Fund Documents are addressed together.

Dynamic Fund Documents and AROF Fund Documents

                 42.        The Dynamic and AROF Master Fund. Because on November 15, 2019,

and November 20, 2019, respectively, the general partners of the Dynamic and AROF master funds

elected to terminate Dynamic and AROF, respectively, Dynamic and AROF entered wind up as of

those respective dates. 17 Upon such dates, the general partners of Dynamic and AROF became


17
 Amended and Restated Exempted Limited Partnership Agreement of Highland Argentina Regional Opportunity
Master Fund, L.P., dated 1 November 2017 § 6.1(a); Second Amended and Restated Exempted Limited Partnership
                                                    16
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                                                                                              Appx. 03275
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obligated to “promptly liquidate the business and administrative affairs of the Partnership to the

extent feasible.” 18 Section 6.2 of each of the Dynamic and AROF master fund partnership

agreements also provides that the limited partners in the master funds, i.e. their feeder funds,

“shall… be paid liquidating distributions” after applicable debts are repaid. 19 Such funds’ general

partners, therefore, have an obligation to promptly liquidate their assets and distribute the proceeds

to such funds’ limited partners – their respective feeder funds. Generally, the failure to distribute

such proceeds could give rise to a claim for breach of contract under Cayman law. 20

                  43.       The Dynamic and AROF Domestic Feeder Fund. Again because each of

Dynamic and AROF are in wind up, they are required to “promptly liquidate” their business and

affairs, and their investors, including the Related Entity investors – CLOH, Mr. Okada, and

Dynamic GP – are required to “be paid liquidating distributions. . . pro rata in accordance with,

and up to the positive balances of their respective Capital Accounts.” 21 Section 6.2 of the

applicable documents, however, does not state that the Debtor can withhold any individual

investor’s pro rata distribution. 22 Consequently, the Debtor believes it is obligated, under its



Agreement of Highland Dynamic Income Master Fund, L.P., dated 1 April 2018 § 6.1(a); Exempted Limited
Partnership Law (2018 Revision) § 36(10)(d).
18
   Amended and Restated Exempted Limited Partnership Agreement of Highland Argentina Regional Opportunity
Master Fund, L.P., dated 1 November 2017 § 6.2; Second Amended and Restated Exempted Limited Partnership
Agreement of Highland Dynamic Income Master Fund, L.P., dated 1 April 2018 § 6.2.
19
   Id.
20
   Section 6.2 of each fund’s partnership agreement provides that distributions to the feeder funds only need to be
made to the “extent feasible.” The Debtor believes that this exception does not apply here as distributions are
“feasible” if authorized by this Court and that such exception cannot be relied on to excuse the relevant master funds
from distributing proceeds to their feeder funds.
21
   Amended and Restated Limited Partnership Agreement of Highland Argentina Regional Opportunity Fund, L.P., §
6.2(a)(iii); Amended and Restated Limited Partnership Agreement of Highland Dynamic Income Fund, L.P., §
6.2(a)(iii)
22
   In a separate section of the applicable limited partnership agreements unrelated to liquidation, there is a provision
requiring that Dynamic and AROF refrain from making a distribution “if such distribution would violate. . . applicable
law.” (Amended and Restated Limited Partnership Agreement of Highland Dynamic Income Fund, L.P., § 3.13(b);
Amended and Restated Limited Partnership Agreement of Highland Argentina Regional Opportunity Fund, L.P., §
3.12(b).) There is currently no “applicable law” prohibiting the distributions. The Debtor still has the right to make
the distributions if authorized by this Court.
                                                          17
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contractual and fiduciary duties, to petition this Court for authority to make distributions to the

Related Entity investors.

                   44.       The Dynamic and AROF Cayman Feeder Fund. There are no Related

Entity investors in the Dynamic Cayman feeder fund and, therefore, the documents governing the

Dynamic Cayman feeder fund are not relevant with respect to any distributions to Related Entities

investors.

                   45.       CLOH is invested in the AROF Cayman feeder fund. That fund suspended

all rights of its shareholders to redeem (as well as all redemption payments) on October 30, 2019,

to enable an orderly realization of assets following receipt of very significant redemption requests.

While the directors of the AROF Cayman feeder fund have discretion with respect to the

imposition (and the lifting) of the suspension of redemptions, that discretion must, as a matter of

Cayman law, be exercised for a proper purpose in the best interests of the company and consistent

with the directors’ fiduciary duties and fund documents. The assets of AROF have been liquidated,

and there is no longer a reason to suspend redemptions. 23 Furthermore, since CLOH – the Related

Party investor in the AROF Cayman feeder fund – has not yet been redeemed, it is eligible (as a

member of a particular class and/or series of issued shares) to be paid distributions under the fund’s

articles of association. 24 Therefore, the Debtor believes that, if the suspension of redemptions is




23
   It may be argued that the suspension was automatically justified by the like suspension of withdrawals by the AROF
master fund on October 30, 2019 (Offering Memorandum of Highland Argentina Regional Opportunity Fund, Ltd., at
p. 75.), but it is also arguable that that condition fell away with the termination of the AROF master fund on November
15, 2019. Further, it may be arguable that under section 12.5 of the AROF feeder articles of association the directors
might be entitled to withhold redemption amounts payable to the Related Parties if required by U.S. law, but it may
equally be arguable that that provision applies only to tax withholdings.
24
   Amended and Restated Memorandum and Articles of Association of Highland Argentina Regional Opportunity
Fund, Ltd. § 45.1. In the interests of full disclosure, such distributions to shareholders of a particular class and/or series
are in the “absolute discretion” of the board of Cayman-based directors and, further, directors can hold distributions
due to a particular member in abeyance in a separate account if such distributions “cannot be paid” to a particular
member, though they will retain their status as a debt owed to that member. For these purposes, it might be arguable
that a distribution “cannot be paid” if its payment is prohibited by applicable law or by an order of a court of competent
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maintained and distributions are not paid to CLOH, there may be claims that the continuance of

the suspension of redemptions and failure to pay distributions constitutes a breach of the AROF

Cayman feeder fund’s articles of association and of the Cayman directors’ fiduciary duties. The

Cayman-based directors are independent of the Debtor and are not required to take the Debtor’s

direction, and if the AROF Cayman feeder fund receives assets from its master fund, the Debtor

has no control over how the Cayman directors will treat those assets, including whether the

Cayman directors will cause those assets to be distributed to CLOH as a Related Entity investor.

As such, the Debtor is asking this Court to authorize distributions to the Related Entity investor in

AROF to protect the Debtor from any liability based on the Cayman directors’ actions or inactions.

RCP Fund Documents

                 46.        The RCP Domestic Fund. As set forth above, the RCP domestic fund has

the same general partner as the other RCP funds but holds its own investments in parallel with

such funds. Further, distributions to investors in the RCP domestic fund are governed a limited

partnership agreement specific to the domestic fund. The RCP domestic fund’s distributions are

not contingent on distributions from the RCP master fund. Under the documents governing the

RCP domestic fund, the general partner is required to distribute assets proportionally based on

each investor’s funded commitments as of the date of distribution, and the documents do not

provide that a distribution can be made to one investor but not another. 25 Because the RCP

domestic fund governing documents do not allow the general partner to select which investors are

to receive a distribution, the Debtor believes that it is not permitted under those documents to make

distributions to some but not all of the investors and that if the Debtor were to make a distribution


jurisdiction. (Amended and Restated Memorandum and Articles of Association of Highland Argentina Regional
Opportunity Fund, Ltd., Art. 45.1; 45.7.)
25
   Limited Partnership Agreement of Highland Restoration Capital Partners, L.P, § 3.3(a); see also § 3.2 (requiring
short term investment gains to be allocated proportionally to investors).
                                                        19
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to a subset of investors only, it may be exposed to liability. Accordingly, the Debtor is seeking

authority to make Distributions to the Related Entity investors as part of a liquidating distribution

made to all investors on a pro rata basis.

                   47.      The RCP Master Fund & RCP Cayman Fund. There are no Related

Entity investors in in RCP’s Cayman fund and, therefore, the documents governing the RCP master

fund and the RCP Cayman fund are not currently relevant with respect to any distributions to

Related Entities.

Potential Fiduciary and Common Law Obligations

                   48.      The obligations of the Funds’ domestic governing entities (general partners

and directors) are also governed by Delaware fiduciary duties. Under the laws of the State of

Delaware, a general partner to a limited partnership owes duties of good faith, fairness and loyalty

to its limited partners. Boxer v. Husky Oil, 329 A.2d 995, 997 (1981). Pursuant to Delaware law,

subject to certain limitations, a general partner can limit its fiduciary duties by contract.

Specifically, 6 Del. C. § 17-1101(d), allows for a general partner to expand, restrict or even

eliminate its fiduciary duties, so long as the general partner’s duties of fair dealing and good faith

are unaffected. The governing documents for the Delaware-domiciled Funds do not include a

waiver or disclaimer of fiduciary duties that generally apply to general partners. 26

                   49.      Further, the conduct and activities of the Debtor and HCM Latin America

as investment manager to the Funds are governed by the Advisers Act and the relevant investment

management agreements. An investment adviser (such as the Debtor and HCM Latin America),



26
  The only language that acts as a waiver of fiduciary duties is very narrow and does not apply to general fiduciary
duties under state law or securities law. Specifically, there is a disclaimer of the general partner’s status as a fiduciary
under the Employee Retirement Income Security Act of 1974 and language that limits the general partner’s liability
for breach of fiduciary duty in connection with the use of “soft dollars” generated from brokerage transactions. There
are also typical “standard of care” and indemnity provisions that limit liability of the general partner, but these do not
specifically address or provide a waiver of fiduciary duties.
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in managing client accounts (such as those of the Fund) or otherwise providing investment advice,

is subject to fiduciary duties. The Supreme Court has held that Section 206 of the Advisers Act

imposes fiduciary duties on an investment adviser by operation of law. See SEC v. Capital Gains

Research Bureau, Inc., 375 US 180, 191 (1963). Under Section 206 of the Advisers Act, an

investment adviser has a fiduciary duty of loyalty. This duty, among other things, requires that an

investment adviser, as is the Debtor, ensure that it does not benefit one client (such as a Fund) to

the disadvantage of another or to itself. 27 Relatedly, an investment adviser to pooled investment

vehicles, such as the Funds, must comply with Advisers Act Rule 206(4)-8. Advisers Act Rule

206(4)-8 prohibits investment advisers from defrauding investors in pooled investment vehicles

they advise. 28 Rule 206(4)-8 extends, in part, the Debtor’s fiduciary obligations to the investors

in such Funds.

                 50.        As set forth above, the Committee has objected to distributions being made

to Related Entity investors because the Committee believes that the Debtor and its estate may have

claims against such Related Entities. Although the Debtor understands that the Committee has

commenced its investigation into potential claims against Related Entities, no claims against such

Related Entities have been articulated and no allegations have been made that any of Dynamic,

AROF, or RCP have claims against the Related Entities or that there is any other reason to treat

the respective distributions to those investors differently than those being made to non-Related

Entity investors.

                 51.        Accordingly, absent an express ability to withhold or offset distributions on

a non-pro rata basis, the failure to make distributions otherwise due to the Related Entity investors


27
   Proposed Commission Interpretation Regarding Standard of Conduct for Investment Advisers; Request for
Comment on Enhancing Investment Adviser Regulation, Release No. IA-4889 (Apr. 18, 2018).
28
   Rule 206(4)-8; Prohibition of Fraud By Advisers to Certain Pooled Investment Vehicles, Advisers Act Rel. No.
2628 (Aug. 3, 2007).
                                                      21
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could be a potential violation of (i) the Funds’ governing documents, (ii) Delaware and/or Cayman

fiduciary law, and (iii) the Advisers Act (to the extent the Debtor, HCM Latin America, or any

affiliate of the Debtor has a role in causing such distributions to be withheld).        Moreover, the

potential for a violation of the Advisers Act, Rule 206(4)-8 and the Delaware fiduciary duties is

substantially greater if such delay has the intention of, or results in, favorable treatment to the

Debtor or any of its affiliates in a manner that was not expressly contemplated at the time of

investment. Because of those fiduciary obligations, the Debtor believes that it has a duty to seek

this Court’s authority to cause each of Dynamic, AROF, and RCP to make distributions to each

such Fund’s Related Entity investors in accordance with the applicable Fund’s governing

documents.

B.      Section 363(c)(1) of the Bankruptcy Code Authorizes the Debtor to Make the
        Distributions

                 52.        The Debtor believes that, but for the Protocols, Court approval of the

Distributions to the Related Entities would not be required for the Funds to make distributions to

their investors. However, even if Court approval were required, making the Distributions to the

Related Entities is an ordinary course transaction authorized under section 363(c)(1). Specifically,

section 363(c)(1) provides:

        [i]f the business of the debtor is authorized to be operated under section. . . 1108. .
        . of this title. . . the trustee may enter into transactions, including the sale or lease
        of property of the estate, in the ordinary course of business, without notice or a
        hearing, and may use property of the estate in the ordinary course of business
        without notice or a hearing.

11 U.S.C. § 363(c)(1). As such, a debtor may engage in postpetition actions if the debtor is

authorized to operate its business under section 1108 and such transactions are “in the ordinary

course of business.”




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                                                                                            Appx. 03281
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                 53.        An activity is “ordinary course” if it satisfies both the “horizontal test” and

the “vertical test.” See, e.g., Denton Cty. Elec. Coop. v. Eldorado Ranch, Ltd. (In re Denton Cty.

Elec. Coop.), 281 B.R. 876, 882 n.12 (Bankr. N.D. Tex. 2002); see also In re Roth American, Inc.,

975 F.2d 949, 952 (3d Cir. 1992). The vertical test looks to “whether the transaction subjects a

hypothetical creditor to a different economic risk than existed when the creditor originally

extended credit.” In re Patriot Place, Ltd., 486 B.R. 773, 793 (Bankr. W.D. Tex. 2013). The

horizontal test considers “whether the transaction was of the sort commonly undertaken by

companies in the industry.” Id. Here, both the vertical test and horizontal test are satisfied.

                 54.        First, the vertical test is satisfied. The Distributions will be made in

accordance with the applicable Fund’s governing documents, which govern the making of all

distributions to investors, including Related Entity investors. The Distributions will thus be

consistent with the types of distributions routinely made to investors in the Funds prior to the

Petition Date.     Because the Debtor is engaging in the same conduct postpetition as it did

prepetition, the Debtor’s creditors are incurring no additional risk from the Distributions. In fact,

the risks to the Debtor’s creditors may very well increase if the Distributions are not made as the

Funds’ investors may, as discussed above, have various claims against both the Funds and the

Debtor, as the investment manager.

                 55.        Second, the horizontal test is satisfied.     The Debtor is an investment

manager. Investment managers manage hedge funds, private equity funds, and other investment

vehicles, which funds by definition distribute the proceeds of their investments to investors.

Assuming the Debtor has any role in the Distributions, the Debtor and the Funds are simply

attempting to do postpetition what was done prepetition and to distribute investment gains and

losses to the Funds’ investors. A fund that sequesters gains and refuses to distribute profits would


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be more than an anomaly; it would arguably be a fraud. Consequently, the horizontal test is

satisfied as making the Distributions is entirely consistent with the operation of investment

managers and hedge funds throughout the industry.

C.      Making the Distributions is a Sound Exercise of the Debtors’ Business Judgment.

                 56.        Although the Debtor believes that the Distributions are ordinary course

pursuant to section 363(c)(1), and that, but for the Protocols, this Court’s approval of the

Distributions to the Related Entities would not be required. However, even if Court approval were

required, the Debtor submits that the Distributions also satisfy section 363(b) of the Bankruptcy

Code. Section 363(b)(1) of the Bankruptcy Code authorizes a debtor-in-possession to “use, sell,

or lease, other than in the ordinary course of business, property of the estate,” after notice and a

hearing. It is well established in this jurisdiction that a debtor may use property of the estate

outside the ordinary course of business under this provision if there is a good business reason for

doing so. See, e.g., ASARCO, Inc. v. Elliott Management. (In re ASARCO, L.L.C.), 650 F.3d 593,

601 (5th Cir. 2011) (“[F]or the debtor-in-possession or trustee to satisfy its fiduciary duty to the

debtor, creditors, and equity holders, there must be some articulated business justification for

using, selling, or leasing the property outside the ordinary course of business.”) (quoting In re

Continental Air Lines, Inc., 780 F.3d 1223, 1226 (5th Cir. 1986)); 441 B.R. 813, 830 (Bankr. S.D.

Tex. 2010); GBL Holding Co., Inc. v. Blackburn/Travis/Cole, Ltd. (In re State Park Building

Group, Ltd.), 331 B.R. 251, 254 (Bankr. N.D. Tex. 2005).

                 57.        Here, making Distributions to the Related Entities is in the exercise of the

Debtor’s sound business judgment. As an initial matter, and as set forth above, Dynamic, AROF,

and RCP are in liquidation because the Debtor (or, in the case of AROF, the Debtor’s relying

adviser) has determined, in its business judgment, that continuing the existence of those funds in

the face of substantial redemptions, on the one hand, and the expiration of the Term, on the other,
                                                     24
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is not practicable and not in the interest of those funds or their investors. In addition, failing to

liquidate those funds in an orderly manner could result in some investors being disadvantaged. In

order to liquidate, Dynamic, AROF, and RCP, by definition, must sell their assets, which sales

generate cash. Under their relevant governing documents, that cash is to be distributed to investors

in those Funds, and returning that cash to investors is how the Funds actually liquidate; the Funds

cannot wind-down without distributing their assets to their investors. Further, the failure to

distribute cash in accordance with the Fund Documents to all investors, including Related Entities,

could subject the Debtor to claims for breach of contract and fiduciary duty. As such, the decision

to liquidate Dynamic, AROF, and RCP is in the sound business judgment of the Debtor as is the

distribution of the cash received as a result of that liquidation. Making the Distribution is the

necessary and logical corollary to liquidating these funds and squarely within the Debtor’s business

judgment; they cannot be wound down without making the Distribution to all investors, including

Related Entities.


                                             No Prior Request

                 58.        No previous request for the relief sought in this Motion has been made to

this, or any other, Court.

                                                   Notice

                 59.        Notice of this Motion shall be given to the following parties or, in lieu

thereof, to their counsel, if known: (a) the Office of the United States Trustee; (b) the Office of the

United States Attorney for the Northern District of Texas; (c) the Debtor’s principal secured

parties; (d) counsel to the Committee; and (e) parties requesting notice pursuant to Bankruptcy




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Rule 2002. The Debtor submits that, in light of the nature of the relief requested, no other or

further notice need be given.

                 WHEREFORE, the Debtor respectfully requests that the Court (a) grant the Motion,

(b) enter an order, substantially in the form attached hereto as Exhibit A, and (c) grant such other

relief as is just and proper.

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     Dated: February 24, 2020.         PACHULSKI STANG ZIEHL & JONES LLP
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                                     EXHIBIT A

                                   Proposed Order




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                                                                             Appx. 03287
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                    §
     In re:                                                         § Chapter 11
                                                                    §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           § Case No. 19-34054-sgj11
                                                                    §
                                      Debtor.                       § Related to Docket No. ___________

         ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE
                DISTRIBUTIONS TO CERTAIN “RELATED ENTITIES”


                   Having considered the Motion of the Debtor for Entry of an Order Authorizing, but

 Not Directing, the Debtor to Cause Distributions to Certain “Related Entities” (the “Motion”) 2

 filed by the Debtor seeking entry of an order authorizing, but not directing, the Debtor to cause the



 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
 2
   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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 distribution of assets in the ordinary course of its business to certain Related Entities that have

 invested in Dynamic, AROF, and RCP, as more fully set forth in the Motion, and having heard the

 statements in support of the relief requested in the Motion at a hearing before this Court (the

 “Hearing”), the Court finds that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C.

 §§ 157 and 1334; (ii) the Motion involves a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

 (iii) venue of the Bankruptcy Case in this district is proper pursuant to 28 U.S.C. §§ 1408 and

 1409; (iv) the relief requested in the Motion is in the best interests of the Debtor’s estate, its

 creditors, and other parties-in-interest; (v) the Debtor’s notice of the Motion and opportunity for a

 hearing on the Motion were appropriate under the circumstances and no further or additional notice

 need be provided; and (vi) the legal and factual bases set forth in the Motion and at the Hearing

 establish just cause for the relief granted herein. Accordingly, IT IS HEREBY ORDERED

 THAT:

                    1.       The Motion is GRANTED as set forth herein.

                    2.       The Debtor is authorized, but not directed, to distribute or to cause the

 distribution of:

                             a.     the Dynamic Distribution to the Related Entity investors in

 Dynamic, in accordance with the Dynamic Fund Documents,

                             b.     the AROF Distribution to the Related Entity investors in AROF in

 accordance with the AROF Fund Documents, and

                             c.     the RCP Distribution to the Related Entity investors in RCP in

 accordance with the RCP Fund Documents.

                    3.       Notwithstanding any stay under applicable Bankruptcy Rules, this Order

 shall be effective immediately upon entry.



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                  4.         The Court shall retain jurisdiction over all matters arising from or related to

 the interpretation and implementation of this Order.


                                          ### END OF ORDER ###




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                               EXHIBIT “B”




                                                                           Appx. 03291
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                          Highland Dynamic Income Fund


              Highland Capital Management,
                           L.P.

                           100%


              Highland Dynamic Income
                    Fund GP, LLC                Other Investors                      Third Party Investors
                   (Delaware LLC)
                                                                                                                    IMA
                           GP                         LP                                           Shareholders


IMA
              Highland Dynamic Income Fund, L.P.                     Highland Dynamic Income Fund, Ltd.
                    (Delaware limited partnership)                         (Cayman exempted corporation)


                                                LP                           LP



                     GP                Highland Dynamic Income Master
                                                  Fund, L.P.
                                             (Cayman exempted limited partnership)




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                                EXHIBIT “C”




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                      HIGHLAND DYNAMIC INCOME FUND, L.P.

                             A Delaware Limited Partnership




                   Amended and Restated Limited Partnership Agreement




                                      April 1, 2018




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                                                                             Appx. 03294
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                                       NOTICE



   NEITHER HIGHLAND DYNAMIC INCOME FUND, L.P. NOR THE LIMITED PARTNER
   INTERESTS THEREIN HAVE BEEN OR WILL BE REGISTERED UNDER THE
   SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), THE
   INVESTMENT COMPANY ACT OF 1940, AS AMENDED, OR THE SECURITIES LAWS OF
   ANY OF THE STATES OF THE UNITED STATES. THE OFFERING OF SUCH LIMITED
   PARTNER INTERESTS IS BEING MADE IN RELIANCE UPON AN EXEMPTION FROM
   THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT FOR OFFERS AND
   SALES OF SECURITIES WHICH DO NOT INVOLVE ANY PUBLIC OFFERING, AND
   ANALOGOUS EXEMPTIONS UNDER STATE SECURITIES LAWS.

   THE DELIVERY OF THIS AMENDED AND RESTATED LIMITED PARTNERSHIP
   AGREEMENT SHALL NOT CONSTITUTE AN OFFER TO SELL OR THE SOLICITATION
   OF AN OFFER TO BUY NOR SHALL THERE BE ANY OFFER, SOLICITATION OR SALE
   OF LIMITED PARTNER INTERESTS IN HIGHLAND DYNAMIC INCOME FUND, L.P. IN
   ANY JURISDICTION IN WHICH SUCH OFFER, SOLICITATION OR SALE IS NOT
   AUTHORIZED OR TO ANY PERSON TO WHOM IT IS UNLAWFUL TO MAKE SUCH
   OFFER, SOLICITATION OR SALE.

   THE LIMITED PARTNER INTERESTS ARE SUBJECT TO RESTRICTIONS ON
   TRANSFERABILITY AND RESALE, MAY NOT BE TRANSFERRED OR RESOLD EXCEPT
   AS PERMITTED UNDER THE SECURITIES ACT AND APPLICABLE STATE SECURITIES
   LAWS PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM AND MAY NOT
   BE SOLD OR OTHERWISE TRANSFERRED EXCEPT IN ACCORDANCE WITH THE
   REQUIREMENTS AND CONDITIONS SET FORTH IN THIS AMENDED AND RESTATED
   LIMITED PARTNERSHIP AGREEMENT.




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          THIS AMENDED AND RESTATED LIMITED PARTNERSHIP AGREEMENT of
  Highland Dynamic Income Fund, L.P. is dated effective as of April 1, 2018 by and among
  Highland Dynamic Income Fund GP, LLC, the Limited Partners, and those Persons who are
  hereafter admitted as additional Limited Partners in accordance with this Agreement. This
  Agreement amends and restates in its entirety the Limited Partnership Agreement of the
  Partnership dated March 28, 2013 (the “Prior Agreement”).

                                             ____________

                                              Article I
                                            DEFINITIONS

                                             ____________

         For purposes of this Agreement:

           “Act” means the Delaware Revised Uniform Limited Partnership Act, 6 Del. C. §§ 17-101,
  et seq., as in effect on the date hereof and as amended from time to time, or any successor law.

          “Administrator” means such Person as the General Partner may designate from time to
  time, in its sole discretion, to serve as administrator to the Partnership.

          “Advisory Committee” has the meaning set forth in Section 4.6.

          “Affiliate” means, with respect to any Person, a Person which controls, is controlled by, or
  is under common control with, such Person. For these purposes, “control” means the possession,
  direct or indirect, of the power to direct or cause the direction of the management and policies of
  such Person, whether through the ownership of voting securities, by contract or otherwise.

          “Affiliated Investors” means the Investment Manager, the General Partner and their
  respective Affiliates, Principals, employees, partners, agents, the respective family members of
  such personnel and trusts and other entities established primarily for their benefit or for charitable
  purposes.

        “Agreement” means this Amended and Restated Limited Partnership Agreement, as
  amended from time to time.

         “Authorized Representative” has the meaning set forth in Section 7.6(a).

          “Bad Actor Limited Partner” means a Limited Partner that (a) would cause the
  disqualification of the Partnership from using Rule 506 under the Securities Act due to the
  operation of paragraph (d) thereof (or its successor) if such Limited Partner were to beneficially
  own 20% or more of the outstanding voting interests of all of the Partners (excluding any other
  Interests that are Non-Voting Interests) or (b) the General Partner determines is likely to become
  subject to a conviction, order, judgment or finding that would be likely to cause the
  disqualification described in clause (a).




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          “BBA” means Subchapter C of Chapter 63 of the Code (Sections 6221 through 6241 of the
  Code), as enacted by the Bipartisan Budget Act of 2015, Pub. L. No. 114-74, as amended from
  time to time, and the Regulations thereunder (whether proposed, temporary or final), including any
  subsequent amendments, successor provisions or other guidance thereunder, and any equivalent
  provisions for state, local or non-U.S. tax purposes.

         “BBA Effective Period” means any taxable year commencing after 2017, taking into
  account any extensions of the effective date set forth in the BBA.

         “BHCA” means the Bank Holding Company Act of 1956, as amended.

          “BHCA Subject Person” means any Limited Partner that is subject, directly or indirectly,
  to the provisions of Section 4 of the BHCA and the regulations of the Board of Governors of the
  Federal Reserve System promulgated thereunder.

        “Business Day” means any day or days on which banks are open for business in the city of
  New York, NY and/or such other place or places as the General Partner may determine.

         “Capital Account” has the meaning set forth in Section 3.3(a).

         “Certificate” means the Certificate of Limited Partnership of the Partnership referred to in
  Section 2.1(b).

        “Code” means the U.S. Internal Revenue Code of 1986, as amended, and as hereafter
  amended, or any successor law.

         “Designated Individual” has the meaning set forth in Section 7.2(a).

         “Election Notice” has the meaning set forth in Section 8.11(c).

        “ERISA” means the Employee Retirement Income Security Act of 1974, as the same may
  be amended from time to time.

          “ERISA Partner” means a Limited Partner which is (a) an employee benefit plan subject to
  the fiduciary provisions of ERISA, (b) a “plan” subject to Section 4975 of the Code, (c) an entity
  whose underlying assets include “plan assets” for purposes of ERISA by reason of a Plan’s
  investment in the entity, or (d) an entity that otherwise constitutes a “benefit plan investor” within
  the meaning of Section 3(42) of ERISA or any regulation promulgated thereunder.

          “FATCA” means Sections 1471 through 1474 of the Code, as amended, and any
  Regulations thereunder or official interpretations or other official guidance thereof, including any
  successor Regulations or interpretations, and any intergovernmental agreement and any
  regulations with respect thereto or official interpretations or other official guidance thereof
  implementing the foregoing.

       “Fiscal Period” means each period that starts at the opening of business on the
  Commencement Date (in the case of the initial Fiscal Period) and thereafter on the day



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  immediately following the last day of the preceding Fiscal Period, and that ends at the close of
  business on the earliest of the following dates:

         (a)      the last day of a calendar month;

           (b)     any date as of which any withdrawal or distribution of capital is made with respect
  to any Capital Account or as of which this Agreement provides for any amount to be credited to or
  debited against a Capital Account, other than a withdrawal or distribution by or to, or an allocation
  to, all Capital Accounts that does not result in any change of the Partnership Percentage relating to
  any Capital Account;

         (c)     the date which immediately precedes any day as of which a capital contribution is
  accepted by the General Partner from any new or existing Partner; or

         (d)     any other date which the General Partner selects.

         “Fiscal Year” means the period commencing on the Commencement Date and ending on
  December 31 of the year of commencement, and thereafter each period commencing on January 1
  of each year and ending on December 31 of such year, unless the General Partner shall elect
  another fiscal year; provided that any such other fiscal year shall be permissible for U.S. federal
  income tax purposes. In the case of the Fiscal Year in which the Partnership is terminated in
  accordance with Article VI, “Fiscal Year” means the portion of the calendar year ending on the
  date on which the Partnership is terminated.

         “GAAP” means generally accepted accounting principles in the United States.

           “General Partner” means Highland Dynamic Income Fund GP, LLC, a Delaware limited
  liability company, any successor thereto, and any Person hereafter admitted as an additional
  general partner, in its capacity as general partner of the Partnership.

         “Indemnified Person” means each of the General Partner, the Investment Manager, any
  member, shareholder, partner, manager, director, officer, employee or agent of, or any person who
  controls, the General Partner, each of the respective affiliates of the foregoing, members of the
  Advisory Committee or the Pricing Committee, their respective affiliates, or any of the legal
  representatives of any of the foregoing.

          “Interest” means the entire ownership interest of a Partner in the Partnership at the relevant
  time, including the right of such Partner to any and all benefits to which a Partner may be entitled
  as provided in this Agreement, together with the obligations of such Partner to comply with all the
  terms and provisions of this Agreement.

        “Investment Company Act” means the U.S. Investment Company Act of 1940, as
  amended, and the regulations promulgated thereunder.

         “Investment Management Agreement” means the investment management agreement by
  and among the Investment Manager, the General Partner, the Partnership, the Master Fund and the
  Offshore Fund.



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          “Investment Manager” means Highland Capital Management, L.P., a Delaware limited
  partnership, or any successor thereto, or any Person thereafter appointed as an investment manager
  of the Partnership in accordance with the Investment Management Agreement.

         “Investments” means investments in securities or other financial or intangible investment
  instruments, contracts or products, whether made directly by the Partnership or through the Master
  Fund, as described in the Partnership’s offering memorandum.

         “Limited Participation Investment” means an Investment which, as determined by the
  General Partner, is suitable for some but not all of the Partners, or of which certain Partners should
  receive a reduced participation, for legal, tax, regulatory or other bona fide reasons.

          “Limited Participation Sub-Accounts” means memorandum accounts to be maintained in
  the accounting records of the Partnership on a Partner-by-Partner basis with respect to each
  particular Limited Participation Investment to reflect the entitlement of each Partner (other than a
  Partner who does not have any credit balance in its Capital Account at the time of the
  establishment of the Limited Participation Sub-Account that is unrelated to a pre-existing Limited
  Participation Sub-Account) to allocations and distributions attributable to Master Fund
  transactions involving such Limited Participation Investments.

          “Limited Partner” means any Person admitted to the Partnership as a limited partner, until
  the entire Interest of such Person has been withdrawn pursuant to Section 5.5 or a substitute
  Limited Partner or Limited Partners are admitted with respect to such Person’s entire Interest.

         “Majority of Limited Partners” means Limited Partners whose Partnership Percentages
  represent more than 50% of the aggregate Partnership Percentages of all Limited Partners.

        “Management Fee” means the management fee, as defined in the Master Fund Partnership
  Agreement, payable by the Master Fund to the Investment Manager pursuant to the Investment
  Management Agreement.

         “Master Fund” means Highland Dynamic Income Master Fund, L.P., a collective
  investment vehicle formed as an exempted limited partnership under the laws of the Cayman
  Islands in which the Partnership and the Offshore Fund place their assets and conduct their
  investment and trading activities.

          “Master Fund Partnership Agreement” means the amended and restated agreement of
  limited partnership of the Master Fund, as the same may be amended or restated from time to time
  in accordance with the terms thereof.

          “Negative Basis” means, with respect to any Partner and as of any time of calculation, the
  excess of such Partner’s “adjusted tax basis” in its Interest for U.S. federal income tax purposes at
  such time (determined without regard to any adjustments made to such adjusted tax basis by reason
  of any Transfer or assignment of such Interest, including by reason of death) over the amount that
  such Partner is entitled to receive upon withdrawal from or liquidation of the Partnership.

         “Negative Basis Partner” means any Partner who withdraws all or a portion of its Interest
  from the Partnership and who has a Negative Basis as of the Withdrawal Date, but such Partner


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  shall cease to be a Negative Basis Partner at such time as it shall have received allocations pursuant
  to Section 3.10(d) equal to such Partner’s Negative Basis as of the Withdrawal Date and without
  regard to such Partner’s share of the liabilities of the Partnership under Section 752 of the Code.

          “Net Assets” means the total value, as determined by the General Partner or its delegate(s)
  in accordance with Section 7.3, of all Investments and other assets of the Partnership (including
  net unrealized appreciation or depreciation of the assets and accrued interest and dividends
  receivable net of any withholding taxes), less an amount equal to all accrued debts, liabilities and
  obligations of the Partnership (including any reserves for contingencies accrued pursuant to
  Section 3.6). Except as otherwise expressly provided herein, Net Assets as of the first day of any
  Fiscal Period shall be determined on the basis of the valuation of assets conducted as of the close of
  the immediately preceding Fiscal Period but after giving effect to any capital contributions made
  by any Partner subsequent to the last day of such immediately preceding Fiscal Period and after
  giving effect to Management Fee charges (borne indirectly at the Master Fund level) and Net
  Assets as of the last day of any Fiscal Period shall be determined before giving effect to any of the
  following amounts payable by the Partnership generally or in respect of any Investment which are
  effective as of the date on which such determination is made:

         (a)     any Performance Allocation (borne indirectly at the Master Fund level) as of the
                 date on which such determination is made;

          (b)    any withdrawals or distributions payable to any Partner which are effective as of
  the date on which such determination is made; and

         (c)     withholding or other taxes (including any amounts under any BBA provision),
  expenses of processing withdrawals and other items payable, any increases or decreases in any
  reserves or other amounts recorded pursuant to Section 3.6 and any increases or decreases in the
  value of any Limited Participation Investments during the Fiscal Period ending as of the date on
  which such determination is made, to the extent the General Partner determines that, pursuant to
  any provisions of this Agreement, such items are not to be charged ratably among the Capital
  Accounts of all Partners on the basis of their respective Partnership Percentages as of the
  commencement of the Fiscal Period.

         “Net Loss” means any amount by which the Net Assets as of the first day of a Fiscal Period
  exceed the Net Assets as of the last day of the same Fiscal Period.

         “Net Profit” means any amount by which the Net Assets as of the last day of a Fiscal
  Period exceed the Net Assets as of the first day of the same Fiscal Period.

        “Nonaffiliated Limited Partners” means Limited Partners that are not affiliates or
  employees of the Investment Manager.

         “Non-Voting Interests” means an Interest, the holder of which is not entitled to vote,
  consent or withhold consent with respect to any Partnership matter (including, but not limited to,
  mergers, sales of substantially all assets or consolidations of the Partnership), except as otherwise
  expressly provided in this Agreement.




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        “Offshore Fund” means Highland Dynamic Income Fund, Ltd., a Cayman Islands
  exempted company.

         “Other Account” means any assets or investment of the General Partner, or any assets
  managed by the General Partner or any Affiliate of the General Partner for the account of any
  Person or entity (including investment vehicles) other than the Partnership, which are invested or
  which are available for investment in securities or other instruments or for trading activities
  whether or not of the specific type being conducted by the Partnership.

         “Other Agreement” has the meaning set forth in Section 8.12.

         “Partner” means the General Partner or any of the Limited Partners, except as otherwise
  expressly provided herein, and “Partners” means the General Partner and all of the Limited
  Partners.

         “Partnership” means the limited partnership formed pursuant to this Agreement.

         “Partnership Minimum Gain” has the meaning set forth in Regulations Section
  1.704-2(b)(2) and (d).

          “Partnership Percentage” means a percentage established for each Partner on the
  Partnership’s books as of the first day of each Fiscal Period. The Partnership Percentage of a
  Partner for a Fiscal Period shall be determined by dividing the amount of such Partner’s Capital
  Account as of the beginning of the Fiscal Period (after crediting all capital contributions to such
  Capital Account which are effective as of such date, net of all deductions, including Management
  Fees borne at the Master Fund level) by the sum of the Capital Accounts of all of the Partners as of
  the beginning of the Fiscal Period (after crediting all capital contributions to the Partnership which
  are effective as of such date, net of all deductions, including Management Fees borne at the Master
  Fund level). The sum of the Partnership Percentages of all Capital Accounts for each Fiscal
  Period shall equal 100%.

         “Performance Allocation” means the performance allocation, as defined in the Master
  Fund Partnership Agreement, allocated to the General Partner pursuant to the Master Fund
  Partnership Agreement.

          “Person” means any individual, partnership, corporation, limited liability company, trust,
  or other entity.

          “Plan Assets” means assets of the Partnership that are considered to be assets of an ERISA
  Partner, pursuant to Section 3(42) of ERISA or otherwise.

          “Positive Basis” means, with respect to any Partner and as of any time of calculation, the
  excess of the amount that such Partner is entitled to receive upon withdrawal from or liquidation of
  the Partnership over such Partner’s “adjusted tax basis” in its Interest for U.S. federal income tax
  purposes at such time (determined without regard to any adjustments made to such adjusted tax
  basis by reason of any Transfer or assignment of such Interest, including by reason of death).




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          “Positive Basis Partner” means any Partner who withdraws all or a portion of its Interest
  from the Partnership and who has a Positive Basis as of the Withdrawal Date, but such Partner
  shall cease to be a Positive Basis Partner at such time as it shall have received allocations pursuant
  to Section 3.10(c) equal to such Partner’s Positive Basis as of the Withdrawal Date and without
  regard to such Partner’s share of the liabilities of the Partnership under Section 752 of the Code.

         “Pricing Committee” has the meaning set forth in Section 4.7.

         “Principals” means James D. Dondero and Mark K. Okada.

         “Prior Agreement” has the meaning set forth in the preamble hereto.

        “Regulations” means the proposed, temporary and final U.S. Treasury Regulations
  promulgated under the Code, including any successor regulations.

         “Regulatory Allocations” has the meaning set forth in Section 3.11.

         “Revocation Notice” has the meaning set forth in Section 8.11(c).

        “RIC Limited Partner” means a Limited Partner that is registered as an investment
  company under the Investment Company Act.

         “Schedule of Partners” means a schedule to be maintained by the General Partner
  containing the following information with respect to each Partner: (a) name; (b) address; (c) date
  of admission; (d) amount and date of all capital contributions and withdrawals; and (e) the amount
  and date of any permitted Transfers.

         “Securities Act” means the U.S. Securities Act of 1933, as amended from time to time.

        “Series” means a designated series of Interests established in accordance with this
  Agreement and having such terms as the General Partner determines.

         “Tax Matters Partner” has the meaning set forth in Section 7.2(a).

          “Transfer” means any direct or indirect sale, exchange, transfer, assignment, pledge,
  encumbrance, charge, exchange, hypothecation, placing of a lien or a security interest on an
  Interest or any other disposition by a Partner of its Interest to or in favor of another party, whether
  voluntary or involuntary (including, but not limited to, being offered or listed on or through any
  placement agent, intermediary, online service, site, agent or similar Person).

         “Withdrawal Date” has the meaning set forth in Section 5.5(a).

         “Withdrawal Gate” has the meaning set forth in 5.5(d).

         “Withdrawal Notice” has the meaning set forth in Section 5.5(a).




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                                         Article II
                                      ORGANIZATION

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  2.1   Continuation of Limited Partnership

        (a)   The General Partner and the Limited Partners hereby agree to continue the
              Partnership as a limited partnership under and pursuant to the Act and this
              Agreement.

        (b)   The General Partner has executed and filed with the Secretary of State of the State
              of Delaware an Amended Certificate of Limited Partnership of the Partnership (the
              “Certificate”), and shall execute, acknowledge and file with the Secretary of State
              of the State of Delaware any further amendments thereto as may be required by the
              Act, and any other instruments, documents and certificates which, in the opinion of
              the Partnership’s legal counsel, may from time to time be required by the laws of
              the United States of America, the State of Delaware or any other jurisdiction in
              which the Partnership determines to do business, or any political subdivision or
              agency thereof or which such legal counsel may deem necessary or appropriate to
              effectuate, implement and continue the valid and subsisting existence and business
              of the Partnership. The General Partner shall cause any required amendment to
              the Certificate to be filed promptly following the event requiring such amendment.
              All amendments may be signed by the General Partner (as required by the Act) and
              may be signed either personally or by an attorney-in-fact.

        (c)   The parties hereto agree to operate the Partnership as a limited partnership pursuant
              to the provisions of the Act and of this Agreement and agree that the rights and
              liabilities of the Limited Partners and the General Partner shall be as provided in the
              Act for limited partners and the general partner except as provided herein.

        (d)   The General Partner may change the domicile of the Partnership to another state,
              country or other jurisdiction where advisable due to legal, tax or other
              considerations; provided that no such change of domicile would reasonably be
              expected to have a material adverse effect on the Limited Partners.

        (e)   The parties acknowledge that they intend that the Partnership be taxed in the United
              States as a partnership and not as an association taxable as a corporation for U.S.
              federal income tax purposes. No election may be made to treat the Partnership as
              other than a partnership for U.S. federal income tax purposes. Each Partner agrees
              not to treat, on any income tax return or in any claim for a refund, any item of
              income, gain, loss, deduction or credit in a manner inconsistent with the treatment
              of such item by the Partnership.




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  2.2    Name of Partnership

         (a)     The name of the Partnership is Highland Dynamic Income Fund, L.P. or such other
                 name as the General Partner may hereafter adopt, subject to causing an amendment
                 to the Certificate to be filed with the Secretary of State of the State of Delaware in
                 accordance with the Act. The Partnership commenced operations in 2013 as
                 Highland Capital Loan Fund, L.P., and pursuant to Section 2.1(b), the General
                 Partner filed an amended Certificate with the Secretary of State of the State of
                 Delaware to affect the change of name. The General Partner will send a notice of
                 any change of name to the Limited Partners. All business of the Partnership will be
                 conducted under such name or under such other name as the General Partner deems
                 appropriate.

         (b)     The Partnership shall have the exclusive ownership and right to use the Partnership
                 name so long as the Partnership continues, despite the withdrawal, expulsion,
                 resignation or removal of any Limited Partner, but upon the Partnership’s
                 termination or at such time as there ceases to be a general partner, the Partnership
                 shall assign the name and the goodwill attached thereto to the General Partner
                 without payment by the assignee(s) of any consideration therefor.

  2.3    Principal Office; Registered Office

         (a)     The Partnership shall have its principal office at such location as the General
                 Partner shall designate from time to time.

         (b)     The Partnership shall have its registered office at c/o The Corporation Trust
                 Company, 1209 Orange Street, Wilmington, New Castle County, Delaware 19801,
                 unless a different registered office or agent is designated from time to time by the
                 General Partner.

  2.4    Term of Partnership

          The term of the Partnership commenced on the date on which the Certificate was filed with
  the office of the Secretary of State of the State of Delaware and will continue until dissolved
  pursuant to Section 6.1 (unless its term is extended pursuant to Section 6.1). The legal existence
  of the Partnership as a separate legal entity shall continue until the cancellation of the Certificate.

  2.5    Object and Powers of Partnership

         (a)     The Partnership is formed solely for the object and purpose of indirectly investing
                 in Investments by subscribing for and holding a limited partner interest in, and
                 investing all of its investible assets in, the Master Fund. The Partnership is a
                 directed feeder fund for the Limited Partners with respect to the Master Fund.
                 Notwithstanding any other provision of this Agreement, the Partnership shall
                 perform no other business and shall not make directly any Investments as such
                 Investments will be made by the Master Fund.




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         (b)     Notwithstanding any other provision of this Agreement, the Partnership, and the
                 General Partner on behalf of the Partnership, may execute, deliver and perform any
                 agreement with any Limited Partner or prospective Limited Partner without any
                 further act, vote or approval of any Partner. The General Partner is hereby
                 authorized to enter into the agreements described in the preceding sentence on
                 behalf of the Partnership, but such authorization should not be deemed a restriction
                 on the power of the General Partner to enter into other agreements on behalf of the
                 Partnership. In furtherance of this purpose, the Partnership shall have all powers
                 necessary, suitable or convenient for the accomplishment of the aforesaid purpose,
                 subject to the limitations and restrictions set forth herein alone or with others, as
                 principal or agent.

         (c)     Each Limited Partner hereby acknowledges that the Partnership is not expected to
                 qualify as an “operating company” for purposes of ERISA, and the assets of the
                 Partnership may therefore constitute Plan Assets of ERISA Partners; and that the
                 Partnership is therefore intended to be structured as a directed feeder fund through
                 which the Limited Partners may participate in an investment in the Master Fund
                 and with respect to which the General Partner is not, except as expressly provided
                 under the terms of this Agreement, intended to have any discretionary authority or
                 control with respect to the investment of the assets of the Partnership. Each
                 Limited Partner (i) shall by making a capital contribution to the Partnership with
                 respect to the Partnership’s underlying interests in the Master Fund, be deemed to
                 direct the General Partner to invest the amount of such capital contribution in the
                 Master Fund and (ii) acknowledges that during any period when the underlying
                 interests of the Partnership in the Master Fund are deemed to constitute Plan
                 Assets, the General Partner will act as a custodian with respect to the assets of such
                 Limited Partner, but is not intended to be a fiduciary with respect to the assets of
                 such Limited Partner for purposes of ERISA, the Code or any applicable similar
                 law. No provision of this Agreement shall create any obligation of the general
                 partner of the Master Fund and the general partner of the Master Fund will not have
                 any fiduciary obligations to any person, under ERISA or otherwise, pursuant to this
                 Agreement. Any action or determination of the general partner of the Master Fund
                 referenced herein shall only regard such action or determination made by the
                 general partner of the Master Fund solely in their capacity as the general partner
                 thereof.

  2.6    Liability of Partners

          In no event shall any Limited Partner (or former Limited Partner) be obligated to make any
  contribution to the Partnership in addition to its agreed capital contribution (or other payments
  provided for herein) or have any liability for the repayment or discharge of the debts and
  obligations of the Partnership except to the extent provided herein or as required by the Act.




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  2.7    Actions by Partnership

         The Partnership may execute, deliver and perform all contracts, agreements and other
  undertakings and engage in all activities and transactions as may in the opinion of the General
  Partner be necessary or advisable to carry out its objects as set forth in Section 2.5 above.

  2.8    Reliance by Third Parties

          Persons dealing with the Partnership are entitled to rely conclusively upon the power and
  authority of the General Partner as herein set forth.

  2.9    UCC Status of Limited Partner Interests

         (a)     For purposes of the grant, pledge, attachment or perfection of a security interest in
                 an Interest or otherwise, the Interests shall be deemed to be “securities” within the
                 meaning of Section 8-102(a)(15) and as provided by Section 8-103(c) of the
                 Uniform Commercial Code as in effect from time to time in the State of Delaware
                 or analogous provisions in the Uniform Commercial Code in effect in any other
                 jurisdiction.

         (b)     Any Interest may be evidenced by a certificate of partnership interest issued by the
                 Partnership in such form as the General Partner may approve. Every certificate
                 representing an Interest shall bear a legend substantially in the following form:

                 “For the purposes of Section 8-103 of the Uniform Commercial Code of the United
         States of America in effect in any relevant jurisdiction, the certificates representing an
         interest in the Limited Partnership shall constitute “securities” within the meaning of
         Section 8-102 and Section 8-103 of the Uniform Commercial Code.”

  2.10   Series of Interests

          The General Partner, at any time, may without notification to or consent of the other
  Limited Partners, create and offer different Series of Interests in the Partnership with such rights,
  obligations, liabilities, privileges, designations and preferences (including different investment
  strategies, underlying investments, degrees of leverage, management fees, performance
  allocations, brokerage commissions, transparency, withdrawal rights, co-investment opportunities,
  and other differences) as the General Partner may determine upon the issuance of such Series;
  provided that such Series would not reasonably be expected to have a material adverse effect on
  the existing Limited Partners. The terms and rights of such Series may be set forth in the
  Partnership’s offering memorandum, supplement thereto or a “side letter” or other agreement,
  which the General Partner may incorporate by reference. The General Partner, in its sole
  discretion, shall choose which Limited Partners may join a Series. Although the Partnership may
  offer more than one Series of Interests, the Partnership is not a Delaware series limited partnership
  and the assets and liabilities of the Partnership are not segregated by Series.




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                                            Article III
                                            CAPITAL

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  3.1   Contributions to Capital

        (a)    The minimum required initial capital contribution of each Limited Partner to the
               Partnership shall be $1,000,000, or such lesser amount as the General Partner may
               permit. The General Partner may change the required minimum initial
               contribution amount at any time.

        (b)    The Partnership may accept additional contributions at such times as the General
               Partner may permit, but no Limited Partner shall be obligated to make any
               additional capital contribution to the Partnership, subject to the provisions of
               Section 3.5 and any contrary provision of the Act.

        (c)    The General Partner or an Affiliate has made a capital contribution to the
               Partnership as set forth in the Schedule of Partners. Except as required by the Act,
               the General Partner shall not be required to make any additional capital
               contributions to the Partnership. The General Partner may, however, make capital
               contributions to the Partnership in such amounts and at such times as it may
               determine. The General Partner or any of its Affiliates shall have the right at any
               time to make additional capital contributions as a Limited Partner or General
               Partner. If the General Partner or any of its Affiliates or Affiliated Investors makes
               a capital contribution as a Limited Partner, the General Partner will have authority
               to waive or reduce the Management Fee or the Performance Allocation with respect
               to such Limited Partner.

        (d)    The Partnership may enter into placement agent agreements providing
               compensation to unaffiliated third parties to assist in obtaining subscriptions for
               Interests, but such placement agent fees will not affect the subscription amount and
               will not be collected by or from the Partnership. Placement agents may be paid a
               portion of the Management Fee attributable to the investors solicited by such
               placement agents thereby reducing the compensation received by the Investment
               Manager. Placement agents may be indemnified by the Partnership.

        (e)    Except as otherwise permitted by the General Partner (i) initial or additional capital
               contributions by each Partner shall be payable in cash and in one installment, and
               (ii) initial contributions shall be due as of the date of admission of such Person as a
               Limited Partner of the Partnership.

  3.2   Rights of Partners in Capital

        (a)    No Partner shall be entitled to interest on its capital contributions to the
               Partnership. For the avoidance of doubt, interest income, if any, earned on


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               subscription amounts remitted to the Partnership prior to the date an Interest is
               issued to a Partner will be payable to the Partnership and not applied toward the
               purchase of an Interest.

        (b)    No Partner shall have the right to the return of any capital contribution to the
               Partnership except (i) upon withdrawal of such Partner pursuant to Section 5.5 or
               (ii) upon the dissolution of the Partnership pursuant to Section 6.1. The
               entitlement to any such return shall be limited to the value of the Capital Account of
               the Partner. The General Partner shall not be liable for the return of any such
               amounts.

  3.3   Capital Accounts

        (a)    The Partnership maintains a separate capital account (each a “Capital Account”) on
               the books and records of the Partnership for each Partner. The General Partner
               may, in its discretion, maintain separate memorandum sub-accounts related to a
               Capital Account for such purposes as the General Partner may determine
               appropriate, including for recordkeeping, accounting or reporting or to otherwise
               give effect to the provisions of this Agreement, and, if so determined by the
               General Partner, with each memorandum sub-account being maintained as if it
               were the Capital Account of a separate Partner for all purposes of this Agreement
               unless the context requires otherwise. References herein to a “Capital Account”
               shall be deemed to refer to such a capital memorandum sub-account where the
               context admits. Each Capital Account must reflect the aggregate sum of the
               balances of memorandum sub-accounts in such Partner’s Capital Account.

        (b)    Each Capital Account shall have an initial balance equal to the amount of any cash
               and the net value of any property constituting the relevant Partner’s initial capital
               contribution to the Partnership.

        (c)    Each Capital Account shall be increased by the amount of any cash and the net
               value of any property constituting additional contributions to such Partner’s Capital
               Account permitted pursuant to Section 3.1.

        (d)    Each Capital Account shall be reduced by the amount of any cash and the net value
               of any property withdrawn by or distributed to the relevant Partner pursuant to
               Sections 5.5 or 6.3, including any amount deducted from any such withdrawal or
               distribution pursuant to Section 5.5(f).

        (e)    Each Capital Account (including any corresponding capital sub-accounts) shall be
               adjusted to reflect allocations and other changes in the value of such Capital
               Account in the manner specified in the remaining provisions of this Article III.

  3.4   Allocation of Net Profit and Net Loss

        (a)    Subject to the remaining provisions of this Article III, as of the last day of each
               Fiscal Period, any Net Profit or Net Loss for such Fiscal Period shall be separately
               allocated among and credited to or debited against the Capital Accounts of the


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              Partners in proportion to their respective Partnership Percentages for such Fiscal
              Period.

        (b)   Notwithstanding Section 3.4(a), items of income, gain, loss, deduction, credit and
              expenses for a Fiscal Period that are not allocable to specific Investments of the
              Master Fund, including short term interest income, receipt of any withdrawal
              charges by the Partnership, and audit, administration and legal expenses, shall be
              credited to or debited against the Capital Accounts of the Partners pro rata in
              accordance with their Partnership Percentages for such Fiscal Period.

        (c)   Notwithstanding Section 3.4(a), items of income, gain, loss, deduction, credit and
              expenses that relate to a Limited Participation Investment shall be allocated
              exclusively to Partners who, as the General Partner determines, are eligible to
              participate in such Limited Participation Investment on a pro rata basis based on
              their relative participation in such Investment.

  3.5   Allocation of Management Fees, Withholding Taxes and Certain Other Expenditures

        (a)   The Partnership shall bear its allocable portion of the Management Fees in
              accordance with the Master Fund Partnership Agreement. The Management Fees
              borne by the Partnership shall be allocated to the Capital Accounts of the relevant
              Limited Partners subject to the Management Fee, and such Capital Accounts shall
              be subject to the corresponding adjustments. The Management Fee shall be
              charged at the Master Fund level through the use of capital sub-accounts in the
              Master Fund that correspond to the Capital Accounts in the Partnership.

        (b)   Notwithstanding anything to the contrary herein, to the extent the General Partner
              or the Partnership is required by law (including under circumstances where the
              General Partner or the Partnership is unable to rely conclusively on any
              withholding certification provided by a Partner) to withhold or to make tax
              payments, including any interest or penalties, on behalf of or with respect to any
              Partner or Partners (including, without limitation, any amount attributable to an
              actual or imputed underpayment of taxes under any BBA provision, backup
              withholding or FATCA withholding), the General Partner or the Partnership may
              withhold such amounts and make such tax payments as so required. If the
              Partnership directly or indirectly pays or incurs any withholding tax or other tax
              obligation (including any amount under any BBA provision), or otherwise incurs a
              tax payment with respect to the income allocable or distributable to, or otherwise
              attributable to, one or more Partners, then the amount of such withholding tax, tax
              obligation or payment will be treated as a distribution to such Partner or Partners, as
              applicable, pursuant to the terms of this Agreement. Such amount will be debited
              against the Capital Account(s) of such Partner or Partners as of the close of the
              Fiscal Period during which the Partnership so withholds, pays or incurs such
              obligation. If the amount so withheld, paid or incurred is greater than the balance
              of the Capital Account(s) of the relevant Partner or Partners, as applicable, then
              such Partner or Partners and any successors must make a contribution to the capital
              of the Partnership within 10 business days after notification and demand by the


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                 General Partner in the amount of such excess. The General Partner is not obligated
                 to apply for or obtain a refund, or reduction of or exemption from withholding tax
                 on behalf of any Partner that may be eligible for such refund, reduction or
                 exemption, or otherwise obligated to structure Investments so as to reduce or avoid
                 any such withholding tax. Each Limited Partner agrees to repay to the Partnership
                 and the General Partner and each of the partners and former partners of the General
                 Partner, any liability for taxes, interest or penalties which may be asserted by
                 reason of the failure to deduct and withhold tax on amounts distributable or
                 allocable to such Limited Partner.

         (c)     Except as otherwise provided for in this Agreement, any expenditures payable by
                 the Partnership, to the extent determined by the General Partner to have been paid
                 or withheld on behalf of, or by reason of particular circumstances applicable to, one
                 or more but fewer than all of the Partners, shall be charged only to the relevant
                 Capital Accounts of those Partners on whose behalf such payments are made or
                 whose particular circumstances gave rise to such payments. Such charges shall be
                 debited from the relevant Capital Accounts of such Partners as of the close of the
                 Fiscal Period during which any such items were accrued by the Partnership.

  3.6    Reserves; Adjustments for Certain Future Events

         (a)     The General Partner may cause appropriate reserves to be created, accrued and
                 charged against Net Assets including Limited Participation Investments and
                 proportionately against the Capital Accounts for contingent liabilities or probable
                 losses, such reserves to be in the amounts which the General Partner deems
                 necessary or appropriate. The General Partner may increase or reduce any such
                 reserve from time to time by such amounts as the General Partner deems necessary
                 or appropriate. The amount of any such reserve, or any increase or decrease
                 therein, may, at the election of the General Partner, be charged or credited, as the
                 General Partner deems appropriate, to the Capital Accounts of those parties that
                 were Partners at the time when such reserve was created, increased, or decreased,
                 as the case may be, or alternatively may be charged or credited to those parties that
                 were Partners at the time of the act or omission giving rise to the contingent liability
                 for which the reserve was established by the General Partner.

         (b)     If the General Partner determines that it is equitable to treat an amount to be paid or
                 received as being applicable to one or more prior periods, then all or a portion of
                 such amount may be proportionately charged or credited, as appropriate, in
                 proportion to the Capital Account balances of the current Partners as such balances
                 existed during any such prior period.

  3.7    Performance Allocation

         The Partnership bears its allocable portion of the Performance Allocation in accordance
  with the Master Fund Partnership Agreement. The Performance Allocation borne by the
  Partnership shall be specially allocated to the Capital Accounts of the relevant Limited Partners,




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  and such Capital Accounts shall be subject to the corresponding adjustments. The Performance
  Allocation shall be debited at the Master Fund level.

  3.8    Limited Participation Investments

          Whenever the Partnership indirectly makes a Limited Participation Investment through the
  Master Fund, a Limited Participation Sub-Account shall be established for each Partner
  participating in such Limited Participation Investment to reflect such Partner’s pro rata share of all
  allocations and distributions attributable to transactions involving such Limited Participation
  Investment (and any related follow-on Investment, unless the General Partner determines to treat
  such follow-on Investment as a new Limited Participation Investment). Thereafter, all credits and
  debits relating to such Limited Participation Investment (including those specifically referred to
  herein) shall be allocated among the Limited Participation Sub-Accounts for such Limited
  Participation Investment on a pro rata basis in accordance with each Partner’s interest in such
  Limited Participation Investment. Expenses that relate to a Limited Participation Investment
  shall be allocated exclusively among the Limited Participation Sub-Accounts for such Limited
  Participation Investment on a pro rata basis in accordance with each Partner’s interest in such
  Limited Participation Investment.

  3.9    Allocation to Avoid Capital Account Deficits

          To the extent that any debits pursuant to this Article III would reduce the balance of the
  Capital Account of any Limited Partner below zero, that portion of any such debits shall instead be
  allocated to the Capital Account of the General Partner. Any credits in any subsequent Fiscal
  Period which would otherwise be allocable pursuant to this Article III to a Capital Account of any
  Limited Partner previously affected by the application of this Section 3.9 shall instead be allocated
  to the Capital Account of the General Partner in such amounts as are necessary to offset all
  previous debits attributable to such Limited Partner pursuant to this Section 3.9 not previously
  recovered.

  3.10   Allocations for Income Tax Purposes

         Notwithstanding anything to the contrary in this Agreement:

         (a)     Income Tax Allocations. Except as otherwise required by Code Section 704(c),
                 items of income, gain, deduction, loss, or credit that are recognized for income tax
                 purposes in each Fiscal Year will be allocated among the Partners in such manner
                 as to reflect equitably amounts credited to or debited against each Partner’s Capital
                 Account, whether in such Fiscal Year or in prior Fiscal Years. To this end, the
                 Partnership will establish and maintain records which shall show the extent to
                 which the Capital Account of each Partner will, as of the last day of each Fiscal
                 Year, comprise amounts that have not been reflected in the taxable income of such
                 Partner. To the extent deemed by the General Partner to be feasible and equitable,
                 taxable income and gains in each Fiscal Year shall be allocated among the Partners
                 who have enjoyed the related credits to their Capital Accounts, and items of
                 deduction, loss and credit in each Fiscal Year shall be allocated among the Partners
                 who have borne the burden of the related debits to their Capital Accounts. Foreign



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              tax credits attributable to taxes incurred by the Partnership shall be allocated in a
              manner consistent with Section 1.704-1(b)(4)(viii) of the Regulations. All matters
              concerning allocations for U.S. federal, state and/or local income tax purposes,
              including accounting procedures, not expressly provided for in this Agreement will
              be determined by the General Partner.

        (b)   Basis Adjustments. To the extent an adjustment to the adjusted tax basis of any
              Partnership asset pursuant to Section 734(b) of the Code or Section 743(b) of the
              Code is required under Section 1.704-1(b)(2)(iv)(m) of the Regulations to be taken
              into account in determining Capital Accounts, the amount of such adjustment to the
              Capital Accounts shall be treated as an item of gain (if the adjustment increases the
              basis of the asset) or loss (if the adjustment decreases such basis) and such gain or
              loss shall be specially allocated to the Partners in a manner consistent with the
              manner in which their Capital Accounts are required to be adjusted pursuant to such
              section of the Regulations; provided that in the event that an adjustment to the book
              value of Partnership property is made as a result of an adjustment pursuant to
              Section 734(b) of the Code, items of income, gain, loss, or deduction, as computed
              for book and tax purposes, will be specially allocated among the Partners so that the
              effect of any such adjustment shall benefit (or be borne by) the Partner(s) receiving
              the distribution that caused such adjustment.

        (c)   Positive Basis Allocations. If the Partnership realizes gains or items of gross
              income (including short term capital gain) from the sale of Partnership assets for
              U.S. federal income tax purposes for any Fiscal Year in which one or more Positive
              Basis Partners withdraws all or a portion of its Interest from the Partnership
              pursuant to Section 5.5, the General Partner may elect: (i) to allocate such gains or
              items of gross income among such Positive Basis Partners, pro rata in proportion to
              the respective Positive Basis of each such Positive Basis Partner, until either the
              full amount of such gains or items of gross income shall have been so allocated or
              the Positive Basis of each such Positive Basis Partner shall have been eliminated;
              and (ii) to allocate any gains or items of gross income not so allocated to Positive
              Basis Partners to the other Partners in such manner as shall reflect equitably the
              amounts credited to such Partners’ Capital Accounts pursuant to Section 3.3;
              provided, however, that if, following such Fiscal Year, the Partnership realizes
              gains or items of gross income from a sale of an Investment the proceeds of which
              are designated on the Partnership’s books and records as being used to effect
              payment of all or part of the liquidating share of any Positive Basis Partner that
              continues to be a Partner in the Partnership following such withdrawal (i.e., such
              Positive Basis Partner effected a partial, and not a complete, withdrawal of its
              Interest), there shall be allocated to such Positive Basis Partner an amount of such
              gains or items of gross income equal to the amount, if any, by which its Positive
              Basis as of the Withdrawal Date exceeds the amount allocated to such Partner
              pursuant to clause (i) of this sentence.

        (d)   Negative Basis Allocations. If the Partnership realizes net losses or items of gross
              loss or deduction (including short term capital loss) from the sale of Partnership
              assets for U.S. federal income tax purposes for any Fiscal Year in which one or


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              more Negative Basis Partners withdraws all or a portion of its Interest from the
              Partnership pursuant to Section 5.5, the General Partner may elect: (i) to allocate
              such net losses or items of gross loss or deduction among such Negative Basis
              Partners, pro rata in proportion to the respective Negative Basis of each such
              Negative Basis Partners, until either the full amount of such losses or items of loss
              or deduction shall have been so allocated or the Negative Basis of each such
              Negative Basis Partner shall have been eliminated; and (ii) to allocate any net
              losses or items of gross loss or deduction not so allocated to Negative Basis
              Partners to the other Partners in such manner as shall reflect equitably the amounts
              credited to such Partners’ Capital Accounts pursuant to Section 3.3; provided,
              however, that if, following such Fiscal Year, the Partnership realizes net losses or
              items of gross loss and deduction from a sale of an Investment the proceeds of
              which are designated on the Partnership’s books and records as being used to effect
              payment of all or part of the liquidating share of any Negative Basis Partner that
              continues to be a Partner in the Partnership following such withdrawal (i.e., such
              Negative Basis Partner effected a partial, and not a complete, withdrawal of its
              Interest), there shall may be allocated to such Negative Basis Partner an amount of
              such net losses or items of gross loss or deduction equal to the amount, if any, by
              which its Negative Basis as of the Withdrawal Date exceeds the amount allocated
              to such Partner pursuant to clause (i) of this Section 3.10(d).

        (e)   Qualified Income Offset. In the event any Limited Partner unexpectedly receives
              any adjustments, allocations, or distributions described in Section
              1.704-1(b)(2)(ii)(d)(4), 1.704-1(b)(2)(ii)(d)(5), or 1.704-1(b)(2)(ii)(d)(6) of the
              Regulations, items of Partnership income and gain will be specially allocated to
              each such Limited Partner in an amount and manner sufficient to eliminate, to the
              extent required by the Regulations, the deficit balance in the Capital Account of
              such Limited Partner as quickly as possible; provided that an allocation pursuant to
              this Section 3.10(e) may be made only if and to the extent that such Limited Partner
              would have a deficit balance in its Capital Account after all other allocations
              provided for in this Article III have been tentatively made as if this Section 3.9(e)
              were not in this Agreement. This Section 3.10(e) is intended to constitute a
              “qualified income offset” within the meaning of Section 1.704-1(b)(2)(ii) of the
              Regulations and shall be interpreted consistently therewith.

        (f)   Minimum Gain Chargeback. Notwithstanding any other provision of this
              Section 3.10, if there is a net decrease in Partnership Minimum Gain during any
              Fiscal Year, the Partners will be specially allocated items of Partnership income
              and gain for such Fiscal Year (and, if necessary, subsequent Fiscal Years) in an
              amount equal to the portion of any such Partner’s share of the net decrease in
              Partnership Minimum Gain, determined in accordance with Regulations Sections
              1.704-2(f) and (g). This Section 3.10(f) is intended to comply with the minimum
              gain chargeback requirement in such sections of the Regulations and must be
              interpreted consistently therewith.

        (g)   Gross Income Allocation. In the event any Limited Partner has a deficit Capital
              Account at the end of any Fiscal Year that is in excess of the sum of (i) the amount


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                 such Limited Partner is obligated to restore pursuant to any provision of this
                 Agreement and (ii) the amount such Limited Partner is deemed to be obligated to
                 restore pursuant to the penultimate sentences of Sections 1.704-2(g)(1) and
                 1.704-2(i)(5) of the Regulations, each such Limited Partner will be specially
                 allocated items of Partnership gross income and gain in the amount of such excess
                 as quickly as possible; provided that an allocation pursuant to this Section 3.10(g)
                 may be made only if and to the extent that such Limited Partner would have a
                 deficit Capital Account in excess of such sum after all other allocations provided
                 for in this Article III have been made as if Section 3.10(e) and this Section 3.10(g)
                 were not in this Agreement.

         (h)     Section 704(b) Compliance. The allocations provided in this Section 3.10 are
                 intended to comply with the Regulations under Section 704(b) of the Code and
                 may, as determined by the General Partner, be interpreted and applied in a manner
                 consistent therewith.

  3.11   Curative Allocations

          The allocations set forth in Sections 3.10(b), (e), (f) and (g) (the “Regulatory Allocations”)
  are intended to comply with certain requirements of the Regulations. It is the intent of the
  Partners that, to the extent possible, all Regulatory Allocations shall be offset either with other
  Regulatory Allocations or with special allocations of other items of Partnership income, gain, loss,
  or deduction pursuant to this Section 3.11. Therefore, notwithstanding any other provision of this
  Article III (other than the Regulatory Allocations), the General Partner shall make such offsetting
  special allocations of the Partnership income, gain, loss, or deduction in whatever manner it
  determines appropriate so that, after such offsetting allocations are made, each Partner’s Capital
  Account balance is, to the extent possible, equal to the Capital Account balance such Partner
  would have had if the Regulatory Allocations were not part of this Agreement and all Partnership
  items were allocated pursuant to other provisions of this Article III (other than the Regulatory
  Allocations).

  3.12   Individual Partners’ Tax Treatment

          Each Partner agrees not to treat, on any U.S. federal, state, local and/or non-U.S. income
  tax return or in any claim for a refund, any item of income, gain, loss, deduction or credit in a
  manner inconsistent with the treatment of such item by the Partnership.

  3.13   Distributions

         (a)     The amount and timing of any distributions from the Partnership shall be
                 determined by the General Partner. Distributions will generally be made in
                 proportion to the Capital Account balances of the Partners at the beginning of the
                 Fiscal Period when made; provided that distributions related to Limited
                 Participation Investments will be made based on the proportionate interests of the
                 Capital Accounts participating in such Investments. Any distributions may be paid
                 in cash, in kind or partly in cash and partly in kind.




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        (b)   Notwithstanding any provision to the contrary contained in this Agreement, the
              Partnership, and the General Partner on behalf of the Partnership, may not make a
              distribution to any Partner on any account of its Interest if such distribution would
              violate Section 17-607 of the Act or other applicable law.

                                         ____________

                                         Article IV
                                       MANAGEMENT

                                         ____________

  4.1   Duties and Powers of the General Partner

        (a)   Subject to the terms and conditions of this Agreement, the General Partner shall
              have complete and exclusive power and responsibility, to the fullest extent
              permitted by the Act, for managing and administering the affairs of the Partnership
              (other than any investment or trading activities, which are entered into at the Master
              Fund level and managed by the Investment Manager), and shall have the power and
              authority to do all things that the General Partner considers necessary or desirable
              to carry out its duties hereunder and to achieve the purposes of the Partnership.

        (b)   The General Partner shall have the right, without the notification to or consent of
              any Limited Partner or other Person, to make adjustments to the structure of the
              Partnership in order to address applicable structural, ownership, legal, or regulatory
              issues, or to improve overall tax efficiency; provided that no such adjustment
              would cause any material adverse consequences to the Limited Partners.

        (c)   Without limiting the generality of the General Partner’s duties and powers
              hereunder and notwithstanding anything to the contrary contained herein, the
              General Partner shall have full power and authority, subject to the other terms and
              provisions of this Agreement, to execute, deliver and perform such contracts,
              agreements and other undertakings on behalf of the Partnership, without the
              consent or approval of any other Person, and to engage in all activities and
              transactions, as it may deem necessary or advisable for, or as may be incidental to,
              the conduct of the business contemplated by this Section 4.1, including, without in
              any manner limiting the generality of the foregoing, (i) contracts, agreements,
              undertakings and transactions with any Partner or with any other Person, firm or
              corporation having any business, financial or other relationship with any Partner or
              Partners, (ii) agreements with each Limited Partner in connection with its purchase
              of an Interest, including a subscription agreement wherein such Limited Partner
              agrees to be bound by the terms of this Agreement, (iii) any agreements to induce
              any Person to purchase an Interest and (iv) the Investment Management Agreement
              delegating to the Investment Manager certain of the powers and authority vested by
              this Agreement in the General Partner as the General Partner and the Investment
              Manager may agree from time to time, each without any further act, approval or
              vote of any Person.



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        (d)   The General Partner may terminate or replace the Investment Manager in
              accordance with the terms of the Investment Management Agreement. The
              General Partner may delegate to any other Person any power and authority vested
              in the General Partner pursuant to this Agreement that is not otherwise delegated
              to the Investment Manager.

        (e)   Every power vested in the General Partner pursuant to this Agreement shall be
              construed as a power to act (or not to act) in its sole and absolute discretion, except
              as otherwise expressly provided herein. No provision of this Agreement shall be
              construed to require the General Partner to violate the Act or any other law,
              regulation or rule of any self-regulatory organization.

        (f)   Notwithstanding any other provision of this Agreement or otherwise applicable
              provision of law or equity, whenever in this Agreement, the General Partner is
              permitted or required to make a decision (i) in its “sole discretion” or “discretion”
              or under a grant of similar authority or latitude, the General Partner shall be entitled
              to consider only such interests and factors as it desires, including its own interests,
              and shall, to the fullest extent permitted by applicable law, have no duty or
              obligation to give any consideration to any interest of or factors affecting the
              Partnership or the Limited Partners, or (ii) in its “good faith” or under another
              expressed standard, the General Partner shall act under such express standard and
              shall not be subject to any other or different standards. Unless otherwise expressly
              stated, for purposes of this Section 4.1(g), the General Partner shall be deemed to
              be permitted or required to make all decisions hereunder in its sole discretion.

        (g)   If requested by the General Partner, each Limited Partner shall deliver to the
              General Partner: (i) an affidavit in form satisfactory to the General Partner that the
              applicable Limited Partner (and its partners, shareholders, members, and/or
              beneficial owners, and/or controlling persons, as the case may be) is not subject to
              withholding under the provisions of any United States federal, state, local or
              non-U.S. laws; (ii) any certificate that the General Partner may reasonably request
              with respect to any such laws; (iii) any other form or instrument reasonably
              requested by the General Partner relating to such Limited Partner’s status under
              such laws; and/or (iv) any information or documentation prescribed under FATCA
              or as may be necessary for the Partnership to comply with its obligations, or to
              avoid withholding, under FATCA or any other automatic exchange of information
              agreement or arrangement, including, without limitation, the Organisation for
              Economic Cooperation and Development’s Common Reporting Standard. In the
              event that a Limited Partner fails or is unable to deliver to the General Partner an
              affidavit described in Section 4.1(g), the General Partner may withhold amounts
              from such Partner in accordance with Section 3.5(b).

  4.2   Expenses

        (a)   Subject to Section 4.2(f), each of the General Partner and the Investment Manager
              pays all of its own operating and overhead costs without reimbursement by the
              Partnership (except liability insurance and items described in Section


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              4.2(b)(iv)). The Partnership will not have its own separate employees or officers,
              and it will not reimburse the General Partner or the Investment Manager for
              salaries, office rent and other general overhead expenses of the General Partner or
              the Investment Manager.

        (b)   The Partnership, and not the General Partner or the Investment Manager, will pay,
              or reimburse the General Partner and the Investment Manager for, all other costs,
              fees and expenses arising in connection with the Partnership’s operations,
              including, without duplication, its pro rata share of the Master Fund’s
              expenses. Such expenses payable by the Partnership include the following:

              (i)     the Partnership’s pro rata share of all investment-related expenses
                      (including those related to identifying and evaluating contemplated
                      investments, whether or not such contemplated investments are actually
                      made), including, but not limited to, brokerage commissions and other
                      transaction costs, expenses related to short sales, clearing and settlement
                      charges, expenses related to proxies, underwriting and private placements,
                      custodial fees, transfer agent fees, bank service fees, any governmental,
                      regulatory, licensing, filing or registration fees incurred in compliance with
                      the rules of any self-regulatory organization or any federal, state or local
                      laws, consulting and any other professional fees or compensation (including
                      investment banking expenses) relating to particular investments or
                      contemplated investments, appraisal fees and expenses, investment-related
                      travel and lodging expenses and research-related expenses (including,
                      without limitation, news and quotation equipment and services), fees to
                      third-party providers of risk-monitoring services, investment and
                      trading-related computer hardware and software, including, without
                      limitation, trade order management software (i.e., software used to route
                      trade orders);

              (ii)    accounting (including accounting software), audit and tax preparation
                      expenses;

              (iii)   costs and expenses associated with reporting and providing information to
                      existing and prospective investors;

              (iv)    any legal fees and costs (including indemnification expenses, regulatory
                      costs and settlement costs) arising in connection with any litigation or
                      regulatory investigation instituted against the Partnership, the General
                      Partner, the Investment Manager or any of their respective affiliates in their
                      capacity as such, subject to Section 4.5;

              (v)     except as otherwise provided in Section 3.5, any withholding, transfer or
                      other taxes imposed or assessed upon, or payable by, the Partnership
                      (including interest and penalties);




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              (vi)     costs of any meeting of the Partners (or of obtaining the consent of the
                       Partners in lieu of meeting);

              (vii)    expenses related to the Advisory Committee and the Pricing Committee;

              (viii)   premiums for directors’ and officers’ liability insurance (if any) and any
                       other insurance benefiting the Partnership;

              (ix)     Management Fees;

              (x)      administrative expenses (including, without limitation, the fees and
                       expenses of the Administrator in relation to its services provided pursuant
                       to the administration agreement);

              (xi)     fees relating to valuing the Partnership’s assets;

              (xii)    expenses related to the maintenance of the Partnership’s registered office;

              (xiii) corporate licensing expenses;

              (xiv)    extraordinary expenses; and

              (xv)     any costs or expenses of winding up and liquidating the Partnership.

              (xvi)    a pro rata portion of similar costs and expenses with respect to the Master
                       Fund.

        (c)   Expenses generally will be borne pro rata by the Partners in accordance with their
              respective Capital Account balances; provided that expenses may be specially
              allocated among the Partners as follows:

              (i)      with respect to expenses related to Investments (other than Limited
                       Participation Investments), pro rata in accordance with their respective
                       Capital Account balances exclusive of the value of any Limited
                       Participation Sub-Account; and

              (ii)     as provided elsewhere in this Agreement, including Sections 3.4, 3.5, 3.6,
                       3.8 and 5.5.

        (d)   Each of the General Partner and the Investment Manager, as appropriate, shall be
              entitled to reimbursement from the Partnership for any of the expenses paid by it on
              behalf of the Partnership pursuant to Section 4.2(b); provided that the General
              Partner may absorb any or all of such expenses incurred on behalf of the
              Partnership. The Investment Manager may retain, in connection with its
              responsibilities hereunder, the services of others to assist in the investment advice
              to be given to the Partnership, including, but not limited to, any affiliate of the
              Investment Manager, but payment for any such services shall be assumed by the
              Investment Manager and the Partnership shall not have any liability therefor;


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                 provided, however, that the Investment Manager, in its sole discretion, may retain
                 the services of independent third party professionals, including, without limitation,
                 attorneys, accountants and consultants, to advise and assist it in connection with the
                 performance of its activities on behalf of the Partnership hereunder, and the
                 Partnership shall bear full responsibility therefor and the expense of any fees and
                 disbursements arising therefrom.

         (e)     If the General Partner or the Investment Manager, as appropriate, shall incur any of
                 the expenses referred to in Section 4.2(b) for the account or for the benefit of, or in
                 connection with its activities or those of its Affiliates on behalf of, both the
                 Partnership and any Other Account, the General Partner or the Investment
                 Manager, as appropriate, will allocate such expense among the Partnership and
                 each such Other Account in proportion to the size of the Investment made by each
                 in the activity or entity to which the expense relates, or in such other manner as the
                 General Partner considers fair and reasonable.

         (f)     Each of the General Partner and the Investment Manager is entitled to use “soft
                 dollars” generated by the Master Fund to pay for certain investment research and
                 brokerage services that provide lawful and appropriate assistance to the General
                 Partner or the Investment Manager in the performance of investment
                 decision-making responsibilities to the extent such use falls within the safe harbor
                 afforded by Section 28(e) of the Securities Exchange Act of 1934, as amended, or is
                 otherwise reasonably related to the investment decision-making process, or to
                 cover certain Partnership expenses described in Section 4.2(b). Use of “soft
                 dollars” by the General Partner or the Investment Manager as described herein shall
                 not constitute a breach by the either the General Partner or the Investment Manager
                 of any fiduciary or other duty which the General Partner or the Investment Manager
                 may be deemed to owe to the Partnership or its Partners.

  4.3    Rights of Limited Partners

         The Limited Partners shall take no part in the management, control or operation of the
  Partnership’s business, and shall have no right or authority to act for the Partnership or to vote on
  matters other than the matters set forth in this Agreement or as required by applicable law. Except
  as otherwise provided herein or required by law, a Limited Partner shall have no liability for the
  debts or obligations of the Partnership.

  4.4    Other Activities of Partners

         (a)     The General Partner shall not be required to devote any specific amount of its time
                 to the affairs of the Partnership, but shall devote such of its time to the business and
                 affairs of the Partnership as it shall determine in good faith to be necessary to
                 conduct the affairs of the Partnership for the benefit of the Partnership and the
                 Partners.

         (b)     Each Partner agrees that any other Partner, and any partner, director, officer,
                 shareholder, member, Affiliate or employee of any other Partner, may engage in or



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              possess an interest in other business ventures or commercial dealings of every kind
              and description, independently or with others, including, but not limited to,
              management of other accounts, investment in, or financing, acquisition and
              disposition of, securities, investment and management counseling, brokerage
              services, serving as directors, officers, advisers or agents of other companies,
              partners of any partnership, or trustee of any trust, or entering into any other
              commercial arrangements, and will not be disqualified solely on the basis that any
              such activities may conflict with any interest of the parties with respect to the
              Partnership. Without in any way limiting the foregoing, each Partner hereby
              acknowledges that (i) none of the Partners or their respective partners, directors,
              officers, shareholders, members, Affiliates or employees shall have any obligation
              or responsibility to disclose or refer any of the investment or other opportunities
              obtained through activities contemplated by this Section 4.4(b) to the General
              Partner or the Limited Partners, but may refer the same to any other party or keep
              such opportunities for their own benefit; and (ii) the Partners and their respective
              partners, directors, officers, shareholders, members, Affiliates and employees are
              hereby authorized to engage in activities contemplated by this Section 4.4(b) with,
              or to purchase, sell or otherwise deal or invest in Investments issued by, companies
              in which the General Partner might from time to time invest or be able to invest or
              otherwise have any interest on behalf of the Partnership, without the consent or
              approval of the Partnership or any other Partner. The Partners expressly agree that
              no other Partner shall have any rights in or to such other activities, or any profits
              derived therefrom.

        (c)   The General Partner and its Affiliates shall allocate investment opportunities to the
              Partnership and any Other Account fairly and equitably over time. Notwithstanding
              the foregoing, the General Partner is under no obligation to accord exclusivity or
              priority to the Partnership in the event of limited investment opportunities. This
              means that such opportunities will be allocated among those accounts for which
              participation in the respective opportunity is considered appropriate, taking into
              account, among other considerations: (i) whether the risk-return profile of the
              proposed Investment is consistent with the account’s objectives and program,
              whether such objectives are considered in light of the specific Investment under
              consideration or in the context of the portfolio’s overall holdings; (ii) the potential
              for the proposed Investment to create an imbalance in the account’s portfolio
              (taking into account expected inflows and outflows of capital); (iii) liquidity
              requirements of the account; (iv) potentially adverse tax consequences; (v)
              regulatory and other restrictions that would or could limit an account’s ability to
              participate in a proposed Investment; and (vi) the need to re-size risk in the
              account’s portfolio. The General Partner has the authority to allocate trades to
              multiple accounts on an average price basis or on another basis it deems fair and
              equitable. Similarly, if an order on behalf of any accounts cannot be fully
              allocated under prevailing market conditions, the General Partner may allocate the
              trades among different accounts on a basis it considers fair and equitable over time.

        (d)   The Principals of the General Partner, as well as the employees and officers thereof
              and of organizations affiliated with the General Partner, may buy and sell securities


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              for their own account or the account of others, but may not buy securities from or
              sell securities to the Partnership (such prohibition does not extend to the purchase
              or sale of Interests) unless appropriate approval of the Advisory Committee is
              obtained and such purchase or sale is in compliance with the applicable provisions
              of the Advisers Act or such purchase or sale is otherwise in compliance with the
              applicable provisions of the Advisers Act.

        (e)   Each Partner hereto hereby waives, and covenants not to bring a cause of action in
              law or equity on the basis of, any law (statutory, common law or otherwise)
              respecting the rights and obligations of the Partners which is or may be inconsistent
              with this Section 4.4.

        (f)   The General Partner and its Affiliates reserve the right to establish collective
              investment vehicles that have stated investment programs or terms that differ from
              those of the Partnership or that are targeted primarily to investors for which the
              Partnership is not designed to be a suitable investment vehicle. The General
              Partner and its Affiliates also reserve the right to establish and provide management
              or advisory services pursuant to separate Other Accounts for significant investors,
              whether or not such accounts have the same investment program as the Partnership.

  4.5   Duty of Care; Indemnification

        (a)   None of the Indemnified Persons will be liable to the Partnership or any Limited
              Partner or any other person for mistakes of judgment or for action or inaction that
              did not constitute gross negligence, willful misconduct or bad faith, or for losses
              due to such mistakes, action or inaction or to the negligence, dishonesty or bad faith
              of any broker or agent of the Partnership, provided that such broker or agent was
              selected, engaged or retained by the Indemnified Person in accordance with the
              standard of care set forth above. No Indemnified Person shall be liable to the
              Partnership or any Limited Partner or any other person for any amount in excess of
              the amount of Management Fees received by the Investment Manager, to the extent
              permitted under applicable law. In addition, in no event shall any Indemnified
              Person be liable for any special, indirect, exemplary, consequential or punitive
              losses or damages. An Indemnified Person may consult with counsel and
              accountants in respect of the Partnership’s affairs and will be fully protected and
              justified in any action or inaction which is taken in accordance with the advice or
              opinion of such counsel or accountants, provided that they were selected in
              accordance with the standard of care set forth above. The foregoing provisions,
              however, shall not be construed so as to provide for the exculpation of an
              Indemnified Person of any liability (including liability under U.S. Federal
              securities laws which, under certain circumstances, impose liability even on
              persons acting in good faith), to the extent (but only to the extent) that such liability
              may not be waived, modified or limited under applicable law (including liability
              under U.S. Federal securities laws which, under certain circumstances, impose
              liability even on persons acting in good faith), but shall be construed so as to
              effectuate the abovementioned provisions to the fullest extent permitted by law.



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        (b)   The Partnership shall, to the fullest extent permitted by law, indemnify and hold
              harmless each Indemnified Person from and against any and all loss, cost or
              expense suffered or sustained by an Indemnified Person by reason of the fact that it,
              he or she is or was an Indemnified Person, including, without limitation, any
              judgment, settlement, reasonable attorneys’ fees and other costs or expenses
              incurred in connection with the defense of any actual or threatened action, suit or
              proceeding, provided that such liability, damage loss, cost or expense resulted from
              a mistake of judgment on the part of an Indemnified Person or from action or
              inaction that did not constitute gross negligence, willful misconduct or bad faith, or
              from the negligence, dishonesty or bad faith of a broker or other agent of an
              Indemnified Person, provided that such broker or agent was selected, engaged or
              retained by the Indemnified Person in accordance with the standard of care set forth
              above. The Partnership will, in the sole discretion of the General Partner, advance
              to any Indemnified Person reasonable attorneys’ fees and other costs and expenses
              incurred in connection with the defense of any action, suit or proceeding which
              arises out of such conduct. In the event that such an advance is made by the
              Partnership, the Indemnified Person will agree to reimburse the Partnership to the
              extent that it is finally determined that it was not entitled to indemnification in
              respect thereof.

        (c)   Notwithstanding any of the foregoing, the provisions of this Section 4.5 do not
              provide for the indemnification of any Indemnified Person for any liability
              (including liability under Federal securities laws which, under certain
              circumstances, impose liability even on persons that act in good faith), to the extent
              (but only to the extent) that such liability may not be waived, modified or limited
              under applicable law, but shall be construed so as to effectuate the above provisions
              to the fullest extent permitted by law.

        (d)   Pursuant to the foregoing indemnification and exculpation provisions applicable to
              each Indemnified Person, the Partnership (and not the applicable Indemnified
              Person) will be responsible for any losses resulting from trading errors and similar
              human errors, absent gross negligence, bad faith or willful misconduct of any
              Indemnified Person.

        (e)   The above-mentioned Indemnified Persons are also indemnified by each Limited
              Partner for any amounts of tax withheld or required to be withheld with respect to
              that Limited Partner, and also for any amounts of interest, additions to tax, penalties
              and other costs borne by any such persons in connection therewith to the extent that
              the balance of the Limited Partner’s Capital Account is insufficient to fully
              compensate the General Partner the Investment Manager for such costs.

  4.6   Advisory Committee

        (a)   The General Partner and/or the Investment Manager may appoint a committee (the
              “Advisory Committee”) composed of one or more individuals selected by the
              General Partner and/or the Investment Manager from time to time, none of whom is
              affiliated with the General Partner or the Investment Manager.


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         (b)     The General Partner and/or the Investment Manager may in its/their discretion seek
                 the approval of the Advisory Committee or establish any other reasonable
                 mechanism in connection with (i) approvals that are or would be required under the
                 Investment Advisers Act of 1940, as amended (including Section 206(3)), or (ii)
                 any other matter deemed appropriate by the General Partner and/or the Investment
                 Manager. Each Limited Partner agrees that, except as otherwise specifically
                 provided herein and to the extent permitted by applicable law, the approval of a
                 majority of the members of the Advisory Committee at such time is binding upon
                 the Partnership and each Partner with respect to any approval sought under this
                 Section 4.6(b).

         (c)     Subject to the foregoing, any recommendations of or actions taken by the Advisory
                 Committee are advisory only and the General Partner and the Investment Manager
                 are not required or otherwise bound to act in accordance with any such
                 recommendations or actions.

         (d)     As determined by the General Partner and/or the Investment Manager, meetings of
                 the Advisory Committee may be held in person or by telephone. Approval of the
                 Advisory Committee is deemed to have been given if given by a majority of those
                 members present at a meeting or by a majority of all members of the Advisory
                 Committee if given pursuant to a written consent without a meeting.

         (e)     The Partnership agrees to reimburse members of the Advisory Committee for their
                 reasonable out-of-pocket expenses and to indemnify them to the maximum extent
                 permitted by law.

  4.7    Pricing Committee

          The General Partner and/or the Investment Manager shall appoint a committee (a “Pricing
  Committee”) whose quorum consists of at least a majority of the following individuals: the Chief
  Financial Officer of the Investment Manager, the Chief Compliance Officer of the Investment
  Manager and one or more traders of the Investment Manager. The Pricing Committee meets on at
  least a monthly basis to review, confirm and agree on all pricing information established by the
  Investment Manager in respect of the Partnership’s assets that are fair valued. The final pricing or
  valuation of such Partnership assets shall require the approval of a majority in number of the
  members of the Pricing Committee constituting a quorum as of a relevant valuation date. In lieu of
  meeting, the Pricing Committee may take action by written consent signed by a majority of the
  committee members. The Pricing Committee may, at the Partnership’s expense, engage
  third-party experts and consultants to provide services in connection with any determination to be
  made by the Pricing Committee. The General Partner and/or the Investment Manager may
  replace members of the Pricing Committee or change the composition of the Pricing Committee, in
  their sole discretion.




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                                     Article V
                     ADMISSIONS, TRANSFERS AND WITHDRAWALS

                                            ____________

  5.1    Admission of Limited Partners

          The General Partner may, on the first Business Day of each calendar month, or at such
  other times as the General Partner may determine, without advance notice to or consent from the
  Limited Partners, admit to the Partnership any Person who shall execute this Agreement or any
  other writing evidencing the intent of such Person to become a Limited Partner. Such admission
  shall be effective when the General Partner enters the name of such Person on the Schedule of
  Partners and does not require the consent or approval of any other Partner. The General Partner
  shall have the authority to reject subscriptions for Limited Partner Interests in whole or in part.

  5.2    Admission of Additional General Partners

         (a)     Except as provided in Section 5.2(b), the General Partner may admit one or more
                 Persons as additional general partners to the Partnership. No additional general
                 partner shall be added unless such additional general partner agrees to be bound by
                 all of the terms of this Agreement or if adding such additional general partner
                 would have any of the effects described in clauses (i) through (iv) of Section 5.3(c)
                 (except as specifically set forth therein).

         (b)     Any Person to whom the General Partner has transferred its general partner interest
                 in accordance with Section 5.4 will be admitted to the Partnership as a substitute
                 General Partner without the consent of the Limited Partners.

  5.3    Transfer of Interests of Limited Partners

         (a)     Each Limited Partner agrees with all other Partners that it shall not make or attempt
                 to make any Transfer of its Interest which will violate this Section 5.3. In the event
                 of any attempted Transfer of any Limited Partner’s Interest in violation of the
                 provisions of this Section 5.3, without limiting any other rights of the Partnership,
                 the General Partner shall have the right to require the withdrawal of such Limited
                 Partner’s Interest from the Partnership as provided by Section 5.5(j).

         (b)     No Transfer of any Limited Partner’s Interest, whether voluntary or involuntary,
                 shall be valid or effective, and no transferee shall become a substituted Limited
                 Partner, unless the prior written consent of the General Partner has been obtained,
                 which consent may be granted, withheld or conditioned for any reason by the
                 General Partner. In the event of any Transfer, all of the conditions of the
                 remainder of this Section 5.3 must also be satisfied.

         (c)     Without limiting the General Partner’s discretion pursuant to the preceding
                 paragraph, the General Partner expects to withhold consent to any Transfer of any


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              Limited Partner’s Interest, whether voluntary or involuntary, if the General Partner
              has reason to believe that such Transfer may:

              (i)     require registration of any Interest under any securities laws of the United
                      States of America, any state thereof or any other jurisdiction;

              (ii)    subject the Partnership or the General Partner to a requirement to register,
                      or to additional disclosure or other requirements, under any securities or
                      commodities laws of the United States of America, any state thereof or any
                      other jurisdiction;

              (iii)   cause the Partnership to be treated as a “publicly traded partnership” for
                      U.S. federal income tax purposes under Section 7704(b) of the Code or
                      cause the Partnership not to qualify for one of the safe harbors under
                      Section 1.7704 1(e), (f), (g), (h) or (j) of the Regulations;

              (iv)    result in the Partnership being considered an investment company within
                      the meaning of the Investment Company Act;

              (v)     result in violation of any anti-money laundering rules or regulations
                      applicable to the Partnership, the Investment Manager or the General
                      Partner;

              (vi)    violate or be inconsistent with any representation or warranty made by the
                      transferring Limited Partner at the time the Limited Partner subscribed to
                      purchase an Interest; or

              (vii)   cause all or any portion of the assets of the Master Fund to constitute Plan
                      Assets of any ERISA Partner for purposes of ERISA or to be subject to the
                      provisions of ERISA to substantially the same extent as if owned directly
                      by an ERISA Partner.

              The transferring Limited Partner, or its legal representative, must give the General
              Partner written notice before making any voluntary Transfer and after any
              involuntary Transfer and must provide sufficient information to allow legal counsel
              acting for the Partnership to make the determination that the proposed Transfer
              would not result in any of the consequences referred to in clauses (i) through (vi)
              above. If an assignment, Transfer or disposition occurs by reason of the death of a
              Limited Partner or assignee, the notice may be given by the duly authorized
              representative of the estate of the Limited Partner or assignee. The notice must be
              supported by proof of legal authority and valid assignment acceptable to the
              General Partner.

        (d)   In the event any Transfer permitted by this Section 5.3 shall result in multiple
              ownership of any Limited Partner’s Interest, the General Partner may require one or
              more trustees or nominees to be designated to represent a portion of or the entire
              Interest transferred for the purpose of receiving all notices which may be given and
              all payments which may be made under this Agreement, and for the purpose of


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              exercising the rights which the transferor as a Limited Partner had pursuant to the
              provisions of this Agreement.

        (e)   Subsequent to receipt of the consent of the General Partner (which consent may be
              withheld by the General Partner), an authorized transferee shall be entitled to the
              allocations and distributions attributable to the Interest transferred to such
              transferee and to transfer such Interest in accordance with the terms of this
              Agreement; provided, however, that such transferee shall not be entitled to the
              other rights of a Limited Partner as a result of such Transfer until it becomes a
              substituted Limited Partner. No transferee may become a substituted Limited
              Partner without the consent of the General Partner (which consent may be withheld
              for any reason or no reason by the General Partner). If the General Partner
              withholds consent to such substitution, a transferee will not have any of the rights
              of a Limited Partner, except that the transferee will be entitled, unless prohibited by
              law, to receive that share of capital or profits and to have the right of withdrawal to
              which its transferor would have been entitled and will be subject to the other terms
              of this Agreement. A transferring Limited Partner will remain liable to the
              Partnership as provided under applicable law and this Agreement regardless of
              whether its transferee becomes a substituted Limited Partner. Notwithstanding the
              above, the Partnership and the General Partner shall incur no liability for
              allocations and distributions made in good faith to the transferring Limited Partner
              until a written instrument of transfer has been received by the Partnership and
              recorded on its books and the effective date of the Transfer has passed.

        (f)   Any other provision of this Agreement to the contrary notwithstanding, a transferee
              shall be bound by the provisions hereof. Prior to recognizing any Transfer in
              accordance with this Section 5.3, the General Partner may require the transferring
              Limited Partner to execute and acknowledge an instrument of Transfer in form and
              substance satisfactory to the General Partner, and may require the transferee to
              make certain representations and warranties to the Partnership and Partners and to
              accept, adopt and approve in writing all of the terms and provisions of this
              Agreement. A transferee shall become a substituted Limited Partner and shall
              succeed to the portion of the transferor’s Capital Account relating to the Interest
              transferred effective upon the satisfaction of all of the conditions for such Transfer
              contained in this Section 5.3.

        (g)   In the event of a Transfer or in the event of a distribution of assets of the Partnership
              to any Partner, the Partnership may, but shall not be required to, file an election
              under Section 754 of the Code and in accordance with the applicable Regulations,
              to cause the basis of the Partnership’s assets to be adjusted for U.S. federal income
              tax purposes as provided by Section 734 or 743 of the Code and shall make any
              mandatory adjustments to the basis of the Partnership’s assets as required by
              Section 734 or 743 of the Code. If the Partnership does not file an election under
              Section 754 in connection with a Transfer and if the transferring Limited Partner is
              a Negative Basis Partner, the General Partner may elect to allocate to the
              transferring Limited Partner pursuant to Section 3.10(d) net losses or items of loss
              and deduction realized by the Partnership for the Fiscal Year in which the Transfer


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                 occurs as if the transferring Limited Partner were withdrawing from the Partnership
                 pursuant to Section 5.5.

         (h)     In the event of a Transfer at any time other than the end of a Fiscal Year, items of
                 income, gain, loss, deduction or credit recognized by the Partnership for U.S.
                 federal income tax purposes will be allocated between the transferring parties, as
                 determined by the General Partner, using any permissible method under Code
                 Section 706(d) and the Regulations thereunder. The transferring parties agree to
                 reimburse the General Partner and the Partnership for any incidental accounting
                 fees and other expenses incurred by the General Partner and the Partnership in
                 making allocations pursuant to this Section 5.3(h).

  5.4    Transfer of Interest of the General Partner

          The General Partner may not Transfer its Interest as a General Partner in the Partnership
  other than (a) to one or more of its direct or indirect beneficial owners or their Affiliates, (b)
  pursuant to a transaction not deemed to involve an assignment of its investment management
  obligations within the meaning of the Investment Advisers Act of 1940, as amended, or (c) with
  the approval of a Majority of Limited Partners. By executing this Agreement, each Limited
  Partner shall be deemed to have consented to any such Transfer made in accordance with this
  Section 5.4.

  5.5    Withdrawal of Interests of Partners

         (a)     Except as provided in this Section 5.5, a Limited Partner may voluntarily withdraw
                 all or part of its Capital Account effective as of the last Business Day of each
                 calendar quarter and/or such other days as the General Partner may determine in its
                 sole discretion (such date, a “Withdrawal Date”) upon not less than 45 calendar
                 days’ prior written notice (“Withdrawal Notice”) to the General Partner. Any
                 notice of withdrawal shall be irrevocable by the Limited Partner, unless otherwise
                 agreed by the General Partner. The General Partner may waive the notice
                 requirements of this Section 5.5(a). Notwithstanding anything herein to the
                 contrary, the General Partner may agree with certain Limited Partners to provide
                 for different withdrawal terms and notice periods.

         (b)     For the purposes of this Section 5.5 (and as described in Section 3.3(a)), each
                 capital contribution shall be accounted for using a separate sub-account, and, in the
                 case of a Limited Partner for which more than one sub-account is maintained, the
                 withdrawals of the balance of any such sub-accounts shall be processed on a
                 “first-in, first-out” basis based upon the date on which each capital contribution
                 was made, unless otherwise agreed between the General Partner and such Limited
                 Partner. Each sub-account related to a contribution of capital from a Limited
                 Partner will be treated as if it were the separate Capital Account of a separate
                 Partner for the purposes of applying the withdrawal provisions of this Section 5.5.

         (c)     Any Withdrawal Notice shall be irrevocable by the Limited Partner, unless
                 otherwise agreed by the General Partner. For the avoidance of doubt, if a Limited



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              Partner notifies the General Partner of its intent to withdraw and later chooses not
              to withdraw (with the General Partner’s consent), any transaction costs incurred by
              the Partnership or the General Partner in connection therewith may, in the
              discretion of the General Partner, be charged to such withdrawing Limited
              Partner. The General Partner may refuse to honor any Limited Partner’s request
              for a full or partial withdrawal if such request is not accompanied by such
              additional information as the General Partner may reasonably require.

        (d)   If, for any Withdrawal Date, (i) Limited Partners submit withdrawal notices that,
              when combined, are in excess of 25% of the Partnership’s net asset value, or (ii)
              withdrawal requests are received by the Master Fund from any or all feeder
              vehicles in the Master Fund in excess of 25% of the Master Fund’s net asset value,
              then the General Partner may determine, in its sole discretion, to reduce all such
              requests proportionately (based on the net asset value of each Limited Partner’s
              Interest) so that the aggregate amount of such withdrawals does not exceed 25% of
              the Partnership’s net asset value or such greater amount if the General Partner so
              determines (such restriction is referred to herein as the “Withdrawal Gate”). If
              withdrawals are subject to the Withdrawal Gate, withdrawal requests are carried
              over to the next Withdrawal Date (and, if not fully satisfied as of that date because
              of the Withdrawal Gate, then as of the next, and, if necessary, successive
              Withdrawal Dates), except to the extent Limited Partners rescind their withdrawal
              request(s). Any remaining amount of a withdrawal request that is not satisfied due
              to the Withdrawal Gate (i) remains at risk as per other amounts invested in the
              Partnership and subject to the applicable Management Fee, if any, until such
              amount is finally and fully withdrawn, (ii) is considered requested as of the next
              Withdrawal Date without further action by the withdrawing Limited Partner, (iii) is
              not entitled to priority over withdrawal requests on any subsequent Withdrawal
              Date, and (iv) remains subject to further application of the Withdrawal Gate on
              subsequent Withdrawal Dates. Notwithstanding anything herein to the contrary,
              the General Partner may waive the application of the Withdrawal Gate with respect
              to certain Limited Partners.

        (e)   Except as otherwise provided herein, payment of the estimated amount due will
              generally be made within 30 Business Days of the Withdrawal Date, provided that
              (i) the General Partner may delay such payment if such delay is reasonably
              necessary to prevent such withdrawal from having a material adverse impact on the
              Partnership or the remaining Partners and (ii) in the event that a distribution from a
              Capital Account to a withdrawing Limited Partner during a Fiscal Year would
              reduce the balance of the Capital Account below 10% of the Capital Account’s
              balance as of the beginning of such Fiscal Year, excess requested amounts will be
              held back and distributed, without interest thereon, within 30 Business Days
              following completion of the audit of the Partnership’s financial statements for such
              Fiscal Year. Amounts withdrawn by a Limited Partner will not earn interest for
              the period from the effective Withdrawal Date through the settlement date.

        (f)   The General Partner may deduct from any withdrawal proceeds due to any Limited
              Partner pursuant to this Section 5.5 an amount representing the Partnership’s actual


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              or estimated expenses, as determined by the General Partner in good faith,
              associated with processing the withdrawal. Any such withdrawal deduction will
              be retained by the Partnership for the benefit of the remaining Partners.

        (g)   Upon receipt by the Partnership of a Limited Partner’s Withdrawal Notice, the
              General Partner will have the discretion to manage the Partnership’s assets in a
              manner that would provide for cash being available to satisfy such Limited
              Partner’s withdrawal request, but the General Partner shall be under no obligation
              to effect sales of Partnership assets if the General Partner determines that such
              transactions might be detrimental to the interest of the other Partners or that such
              transactions are not reasonably practicable. The General Partner may effect
              withdrawal payments (i) in cash, (ii) in kind, by transfer of marketable or
              non-marketable Investments received from the Master Fund to the Limited Partner,
              the value of which, as determined in accordance with Section 7.3, would satisfy the
              Limited Partner’s request for withdrawal, or (iii) in any combination of the
              foregoing.

        (h)   The General Partner may postpone or suspend (a) the calculation of the net asset
              value of the Partnership (and the applicable valuation date); (b) the issuance of
              Interests, (c) the withdrawal by Limited Partners (and the applicable Withdrawal
              Date); and/or (d) the payment of withdrawal proceeds (even if the calculation dates
              and Withdrawal Dates are not postponed) if it determines that such a suspension is
              warranted by extraordinary circumstances, including: (i) during any period when
              any stock exchange or over-the-counter market on which the Master Fund’s
              Investments are quoted, traded or dealt in is closed, other than for ordinary holidays
              and weekends, or during periods in which dealings are restricted or suspended; (ii)
              during the existence of any state of affairs as a result of which, in the reasonable
              opinion of the General Partner, disposal of Investments by the Partnership, or the
              determination of the value of the assets of the Partnership, would not be reasonably
              practicable or would be seriously prejudicial to the non-redeeming partners; (iii)
              during any breakdown in the means of communication normally employed in
              determining the price or value of the Partnership’s assets or liabilities, or of current
              prices in any stock market as aforesaid, or when for any other reason the prices or
              values of any assets or liabilities of the Partnership cannot reasonably be accurately
              ascertained within a reasonable time frame; (iv) during any period when the
              transfer of funds involved in the realization or acquisition of any Investments
              cannot, in the reasonable opinion of the General Partner, be effected at normal rates
              of exchange; (v) automatically upon termination of the Partnership as described in
              Section 6.1, or (vi) automatically upon any suspension of withdrawals by the
              Master Fund.

        (i)   The General Partner will promptly notify each Limited Partner who has submitted a
              withdrawal request and to whom payment in full of the amount being withdrawn
              has not yet been remitted of any suspension of withdrawals or suspension of the
              payment of withdrawal proceeds pursuant to Section 5.5(h). Any remaining
              amount of a withdrawal request that is not satisfied due to such a suspension
              remains at risk as per other amounts invested in the Partnership and subject to the


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              applicable Management Fee until such amount is finally and fully withdrawn.
              Such Limited Partners will not be given any priority with respect to the withdrawal
              of Interests after the cause for such suspension or limitation ceases to exist. The
              General Partner may in its sole discretion, however, permit such Limited Partners
              to withdraw their withdrawal requests to the extent that the relevant Withdrawal
              Date has not yet passed. For the avoidance of doubt, where a suspension of the
              payment of withdrawal proceeds is declared between the relevant Withdrawal Date
              and the remittance of such payment proceeds, affected Limited Partners shall not
              have any right to withdraw their withdrawal requests. Upon the reasonable
              determination by the General Partner that conditions leading to suspension no
              longer apply, any such suspended payments shall generally be paid in accordance
              with the normal process for making such payments, withdrawal rights shall be
              promptly reinstated, and any pending withdrawal requests which were not
              withdrawn (or new, timely withdrawal requests) will be effected as of the first
              Withdrawal Date following the removal of the suspension, subject to the foregoing
              restrictions on withdrawals. For the avoidance of doubt, the terms of Section
              5.5(h) and this Section 5.5(i) shall not affect the discretion of the General Partner to
              compel the withdrawal of the Interest of any Limited Partner pursuant to
              Section 5.5(j).

        (j)   The General Partner may, upon not less than five days’ prior written notice (or
              immediately if the General Partner determines its sole discretion that such Limited
              Partner’s continued participation in the Partnership may cause the Partnership, the
              Master Fund, the General Partner or the Investment Manager to violate any
              applicable law), require any Limited Partner’s Interest to be withdrawn in part or in
              its entirety from the Partnership and for the Limited Partner to cease to be a Limited
              Partner of the Partnership (in the case of a withdrawal of a Limited Partner’s
              Interest in its entirety) pursuant to this Section 5.5(j). The amount due to any such
              Partner required to withdraw from the Partnership shall be equal to the value of
              such Partner’s Capital Account as of the Withdrawal Date determined by the
              General Partner, net of any deductions imposed pursuant to Section 5.5(f).

        (k)   The right of any Partner to withdraw or receive distributions pursuant to the
              provisions of this Section 5.5 is subject to all Capital Account allocations and
              adjustments contemplated by this Agreement and to the provision by the General
              Partner for all Partnership liabilities and for reserves for contingencies provided in
              Section 3.6. Notwithstanding anything to the contrary herein, the General Partner
              may establish reserves and holdbacks for estimated accrued expenses, liabilities
              and contingencies, including, without limitation, general reserves for unspecified
              contingencies (even if such reserves or holdbacks are not otherwise required by
              GAAP) or liabilities stemming from tax obligations (as such may be determined in
              the sole discretion of the General Partner and whether or not incurred directly or
              indirectly), which could reduce the amount of a distribution upon a Limited
              Partner’s withdrawal.

        (l)   With respect to any amounts withdrawn, a withdrawing Partner shall not share in
              the income, gains and losses of the Partnership or have any other rights as a Partner


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              (in the case of a complete withdrawal) after the applicable Withdrawal Date except
              as provided in Section 3.6. For the avoidance of doubt, none of the Partnership,
              the General Partner or the Investment Manager will be liable to a Limited Partner
              for interest on the proceeds of any withdrawal.

        (m)   The Interest of a Limited Partner may not be withdrawn from the Partnership prior
              to its dissolution except as provided in this Section 5.5.

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                                     Article VI
                           DISSOLUTION AND LIQUIDATION

                                        ____________

  6.1   Dissolution of Partnership

        (a)   The Partnership shall be dissolved upon the first to occur of the following dates:

              (i)    any date on which the General Partner shall elect in writing to dissolve the
                     Partnership;

              (ii)   the occurrence of any other event causing (A) the General Partner (or a
                     successor to its business) to cease to be the general partner of the
                     Partnership or (B) the dissolution of the Partnership under the Act; or

        (b)   The parties agree that irreparable damage would be done to the goodwill and
              reputation of the Partners if any Limited Partner should bring an action in court to
              dissolve the Partnership. Care has been taken in this Agreement to provide for fair
              and just payment in liquidation of the Interests of all Partners. Accordingly, each
              Limited Partner hereby waives and renounces its right to such a court decree of
              dissolution or to seek the appointment by the court of a liquidator for the
              Partnership except as provided herein.

  6.2   Liquidation of Assets

        (a)   Upon dissolution of the Partnership, the General Partner shall promptly liquidate
              the business and administrative affairs of the Partnership to the extent feasible,
              except that if the General Partner is unable to perform this function, a liquidator
              elected by a Majority of Limited Partners shall liquidate the business and
              administrative affairs of the Partnership. Net Profit and Net Loss and any balances
              in Limited Participation Sub-Accounts during the Fiscal Periods, which includes
              the period of liquidation, shall be allocated pursuant to Article III. The proceeds
              from liquidation shall be divided in the following manner, subject to the Act:

              (i)    the debts, liabilities and obligations of the Partnership, other than any debts
                     to the Partners as Partners, and the expenses of liquidation (including legal,
                     administrative and accounting expenses incurred in connection therewith),


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                      up to and including the date that distribution of the Partnership’s assets to
                      the Partners has been completed, shall first be satisfied (whether by
                      payment or the making of reasonable provision for payment thereof);

              (ii)    such debts as are owing to the Partners as Partners are next paid; and

              (iii)   the Partners shall next be paid liquidating distributions (in cash or in
                      securities or other assets, whether or not readily marketable) pro rata in
                      accordance with, and up to the positive balances of their respective Capital
                      Accounts, as adjusted pursuant to Article III to reflect allocations for the
                      Fiscal Period ending on the date of the distributions under this Section
                      6.2(a)(iii).

        (b)   Notwithstanding this Section 6.2 and the priorities set forth in the Act, the General
              Partner or liquidator may distribute ratably in kind rather than in cash, upon
              dissolution, any assets of the Partnership; provided, however, that if any in kind
              distribution is to be made, (i) the assets distributed in kind shall be valued pursuant
              to Section 7.3, and charged as so valued and distributed against amounts to be paid
              under Section 6.2(a) and (ii) any gain or loss (as computed for book purposes)
              attributable to property distributed in kind shall be included in the Net Profit, Net
              Loss or Limited Participation Sub-Accounts for the Fiscal Period ending on the
              date of such distribution.

                                          ____________

                               Article VII
              ACCOUNTING AND VALUATION; BOOKS AND RECORDS

                                          ____________

  7.1   Accounting and Reports

        (a)   The Partnership may adopt for tax accounting purposes any accounting method that
              the General Partner shall decide is in the best interests of the Partnership and that is
              permissible for U.S. federal income tax purposes.

        (b)   As soon as practicable after the end of each Fiscal Year, the General Partner shall
              cause an audit of the financial statements of the Partnership as of the end of such
              period to be made by a firm of independent accountants selected by the General
              Partner. Within 120 days of the end of each year (or as soon as practicable
              thereafter), but subject to Section 7.5, the General Partner shall furnish to each
              Limited Partner a copy of the set of audited financial statements prepared in
              accordance with GAAP, with such adjustments thereto as the General Partner
              determines appropriate, including a statement of profit and loss for such Fiscal
              Year and an unaudited status of each such Partner’s holdings in the Partnership at
              such time. The General Partner may elect not to reserve certain amounts that may
              be required by GAAP and not to provide certain portfolio disclosure required by
              GAAP to investors and may capitalize and amortize certain of its organizational


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              expenses in deviation from GAAP. Such deviations from GAAP may result in a
              qualified opinion rendered on the financial statements of the Partnership.

        (c)   As soon as practicable after the end of each fiscal month, but subject to Section 7.5,
              the General Partner shall arrange for the preparation and delivery to each Limited
              Partner of unaudited monthly statements of the estimated net asset value of the
              Partnership, monthly performance and portfolio reports.

        (d)   As soon as practicable after the end of each taxable year, the General Partner shall
              furnish to each Limited Partner such information as may be required to enable each
              Limited Partner properly to report for U.S. federal, state and local income tax
              purposes its distributive share of each Partnership item of income, gain, loss,
              deduction or credit for such year. The General Partner shall have discretion as to
              how to report Partnership items of income, gain, loss, deduction or credit on the
              Partnership’s tax returns, and the Limited Partners shall treat such items
              consistently on their own tax returns.

  7.2   Certain Tax Matters

        (a)   By joining this Agreement, each Limited Partner appoints and designates the
              General Partner (i) as the “tax matters partner,” within the meaning of Section
              6231(a)(7) of the Code, and, (ii) for any BBA Effective Period, as the “partnership
              representative” within the meaning of Section 6223 of the Code (as applicable, the
              “Tax Matters Partner”), or, in each case, under any similar state or local law, and,
              if the “partnership representative” is an entity, the General Partner shall have the
              exclusive authority to appoint and designate the individual through whom such
              partnership representative will act for all purposes under subchapter C of chapter
              63 of the Code and, if applicable, any similar state or local law (the “Designated
              Individual”). All references to the Tax Matters Partner herein shall include the
              Designated Individual, unless the context requires otherwise. The Tax Matters
              Partner shall have any powers necessary to perform fully in such capacity, and shall
              be permitted to take any and all actions, to the extent permitted by law, in
              consultation with the General Partner if the General Partner is not the Tax Matters
              Partner. The General Partner shall have the exclusive authority to appoint and
              designate the Investment Manager, or an Affiliate of the General Partner or the
              Investment Manager, as a successor Tax Matters Partner for any BBA Effective
              Period. The Tax Matters Partner shall be reimbursed by the Partnership for all
              costs and expenses incurred by it, and to be indemnified by the Partnership with
              respect to any action brought against it, in its capacity as the Tax Matters Partner.

        (b)   The Limited Partners agree that any and all actions taken by the Tax Matters
              Partner shall be binding on the Partnership and all of the Limited Partners and the
              Limited Partners shall reasonably cooperate with the Partnership or the General
              Partner, and undertake any action reasonably requested by the Partnership or the
              General Partner, in connection with any elections made by the Tax Matters Partner
              or as determined to be reasonably necessary by the Tax Matters Partners under any
              BBA provision.


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        (c)   Each Limited Partner further agrees that such Limited Partner will not
              independently act with respect to tax audits or tax litigation affecting the
              Partnership, unless the prior written consent of the General Partner has been
              obtained.

        (d)   The General Partner may in its sole discretion cause the Partnership to make all
              elections not otherwise expressly provided for in this Agreement required or
              permitted to be made by the Partnership under the Code and any state, local or
              non-U.S. tax laws.

        (e)   To the fullest extent permitted by law, each Limited Partner agrees to (i) provide
              such cooperation and assistance, including executing and filing forms or other
              statements and providing information about the Limited Partner, as is reasonably
              requested by the Tax Matters Partner, to enable the Partnership to satisfy any
              applicable tax reporting or compliance requirements, to make any tax election or to
              qualify for an exception from or reduced rate of tax or other tax benefit or be
              relieved of liability for any tax regardless of whether such requirement, tax benefit
              or tax liability existed on the date such Partner was admitted to the Partnership, (ii)
              amend the Limited Partner’s tax returns and pay any resulting taxes, interest and
              penalties in connection with the Partnership’s electing under Section 6225(a) of the
              Code, as amended by the BBA, (iii) take into account any adjustments and pay any
              taxes, interest and penalties that result from the Partnership’s electing under
              Section 6226 of the Code, as amended by the BBA, and/or (iv) indemnify and hold
              harmless the Partnership, the Tax Matters Partner and any other individual
              designated to interact with tax authorities on behalf of the Partnership from and
              against any liability with respect to the Limited Partner’s share of any tax
              deficiency (including any interest and penalties associated therewith) paid or
              payable by the Partnership that is (a) allocable to such Limited Partner (as
              reasonably determined by the General Partner in accordance with this Agreement)
              with respect to an audited or reviewed taxable year for which such Partner was a
              Partner in the Partnership or (b) attributable (as reasonably determined by the
              General Partner) to the failure of such Limited Partner to cooperate with or provide
              any such forms, statements, or other information as requested by the Tax Matters
              Partner pursuant to clause (i) above.

        (f)   The obligations and covenants of the Limited Partners set forth in Sections 3.5 and
              7.2 hereof shall apply jointly and severally to each Limited Partner and any direct
              or indirect transferee of or successor to such Limited Partner’s interest and shall
              survive such Limited Partner’s ceasing to be a Partner in the Partnership and/or the
              termination, dissolution, liquidation and winding up of the Partnership.

  7.3   Valuation of Partnership Assets and Interests

        (a)   The Partnership’s assets are valued as of the close of each Fiscal Period and on any
              other date selected by the General Partner in its sole discretion in accordance with
              the valuation of the Master Fund’s assets. The Partnership shall utilize the Master
              Fund’s valuations for all purposes in connection with the Partnership.


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        (b)   The value of the assets of the Partnership and the net worth of the Partnership as a
              whole determined pursuant to this Section 7.3 are conclusive and binding on all of
              the Partners and all parties claiming through or under them.

  7.4   Determinations by the General Partner

        (a)   All matters concerning the determination and allocation among the Partners of the
              amounts to be determined and allocated pursuant to this Agreement, including
              Article III and accounting procedures applicable thereto, shall be determined by the
              General Partner, unless specifically and expressly otherwise provided for by the
              provisions of this Agreement, and such determinations and allocations shall be
              final and binding on all the Partners; provided, however, that all calculations of the
              Performance Allocation will be made on the basis of, or subject to correction based
              on, the annual audit of the Partnership’s financial statements and appropriate
              adjustments will be made to all such calculations and related allocations to the
              extent necessary as a result of that audit.

        (b)   The General Partner may make such adjustments to the computation of Net Profit
              or Net Loss or any other allocations with respect to any Limited Partner, or any
              component items comprising any of the foregoing, as it considers appropriate to
              reflect the financial results of the Partnership and the intended allocation thereof
              among the Partners in a reasonably accurate, fair and efficient manner. Without
              limiting the generality of the foregoing, any provision of this Agreement that
              requires an adjustment to be made to any Capital Account or sub-account as of any
              mid-month or mid-quarter date may be made as of the most recent preceding or
              succeeding date when a regular valuation is being conducted.

  7.5   Books and Records

        (a)   The General Partner shall keep books and records pertaining to the Partnership’s
              affairs showing all of its assets and liabilities, receipts and disbursements, realized
              income, gains, deductions and losses, Partners’ Capital Accounts and all
              transactions entered into by the Partnership. The General Partner shall afford to
              the Partnership’s independent auditors reasonable access to such documents during
              customary business hours and shall permit the Partnership’s auditors to make
              copies thereof or extracts therefrom at the expense of the Partnership.

        (b)   The General Partner shall establish such standards as it deems appropriate
              regarding the access of Limited Partners to the books and records of the Partnership
              and shall not be obliged to permit access by a Limited Partner to the name or
              address of any other Limited Partner.

  7.6   Confidentiality

        (a)   Each Limited Partner agrees to keep confidential, and not to make any use of (other
              than for purposes reasonably related to its Interest or for purposes of filing such
              Limited Partner’s tax returns) or disclose to any Person, any information or matter
              relating to the Partnership and its affairs and any information or matter related to


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              any Investment (other than disclosure to such Limited Partner’s directors,
              employees, agents, advisors, or representatives responsible for matters relating to
              the Partnership or to any other Person approved in writing by the General Partner
              (each such Person being hereinafter referred to as an “Authorized
              Representative”)); provided that (i) such Limited Partner and its Authorized
              Representatives may make such disclosure to the extent that (A) the information to
              be disclosed is publicly available at the time of proposed disclosure by such
              Limited Partner or Authorized Representative, (B) the information otherwise is or
              becomes legally available to such Limited Partner other than through disclosure by
              the Partnership or the General Partner, or (C) such disclosure is required by law or
              in response to any governmental agency request or in connection with an
              examination by any regulatory authorities; provided that such governmental
              agency, regulatory authorities or association is aware of the confidential nature of
              the information disclosed; (ii) such Limited Partner and its Authorized
              Representatives may make such disclosure to its beneficial owners to the extent
              required under the terms of its arrangements with such beneficial owners; and (iii)
              each Limited Partner will be permitted, after written notice to the General Partner,
              to correct any false or misleading information which becomes public concerning
              such Limited Partner’s relationship to the Partnership or the General Partner. Prior
              to making any disclosure required by law, each Limited Partner shall use its best
              efforts to notify the General Partner of such disclosure. Prior to any disclosure to
              any Authorized Representative or beneficial owner, each Limited Partner shall
              advise such Authorized Representative or beneficial owner of the obligations set
              forth in this Section 7.6(a) and each such Authorized Representative or beneficial
              owner shall agree to be bound by such obligations.

        (b)   The General Partner shall have the right to keep confidential from the Limited
              Partners, for such period of time as the General Partner deems reasonable, any
              information, including the identity of the Partners or information regarding the
              Partners or Investments, which the General Partner reasonably believes to be in the
              nature of trade secrets or other information the disclosure of which the General
              Partner believes is not in the best interests of the Partnership or could damage the
              Partnership or its business or which the Partnership is required by law or agreement
              with a third party to keep confidential.

        (c)   Subject to applicable legal, fiscal and regulatory considerations, the General
              Partner shall use reasonable efforts to keep confidential any information relating to
              a Limited Partner obtained by the General Partner in connection with or arising out
              of the Partnership which the Limited Partner requests be kept confidential.

        (d)   Notwithstanding the provisions of this Section 7.6, Partners (and their employees,
              representatives and other agents) may disclose to any and all Persons, without
              limitation of any kind, the tax treatment and tax structure of the Partnership and its
              transactions and all materials of any kind (including tax opinions or other tax
              analyses) that are provided to such Person by, or on behalf of the Partnership. For
              this purpose, “tax treatment” is the purported or claimed U.S. federal income tax
              treatment of a transaction and “tax structure” is limited to any fact that may be


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              relevant to understanding the purported or claimed U.S. federal income tax
              treatment of a transaction. For this purpose, the names of the Partnership, the
              Partners, their affiliates, the names of their partners, members or equity holders and
              the representatives, agents and tax advisors of any of the foregoing are not items of
              tax structure.

        (e)   The General Partner may disclose to prospective investors such information
              relating to the Partnership or the Investments as it believes in good faith will benefit
              the Partnership and facilitate investment in the Partnership by such prospective
              investors.

        (f)   The Investment Manager and a Person acting as a service provider to the
              Partnership shall have the right to access all information belonging to the
              Partnership.

                                          ____________

                                      Article VIII
                                  GENERAL PROVISIONS

                                          ____________

  8.1   Amendment of Partnership Agreement

        (a)   Except as otherwise provided in this Section 8.1, this Agreement may be amended,
              in whole or in part, with the written consent of (i) the General Partner and (ii) the
              consent of a Majority of Limited Partners (which approval may be obtained by
              negative consent affording the Limited Partners 30 calendar days to object).

        (b)   Notwithstanding anything in this Section 8.1 to the contrary, any amendment to
              Section 2.5 requires the prior written consent of ERISA Partners whose Partnership
              Percentages represent more than 50% of the aggregate Partnership Percentages of
              all ERISA Partners.

        (c)   Any amendment that would:

              (i)     increase the obligation of a Partner to make any contribution to the capital
                      of the Partnership;

              (ii)    reduce the Capital Account of a Partner other than in accordance with
                      Article III;

              (iii)   adversely alter any Partner’s rights with respect to the allocation of Net
                      Profit or Net Loss or with respect to distributions and withdrawals; or

              (iv)    change the respective liabilities of the General Partner and the Limited
                      Partners;



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               may only be made if the prior written consent of each Partner adversely affected
        thereby is obtained.

        (d)    Notwithstanding paragraphs (a) and (c) of this Section 8.1, this Agreement may be
               amended by the General Partner without the consent of the Limited Partners, at any
               time and without limitation, if any Limited Partner whose contractual rights as a
               Limited Partner would be materially and adversely changed by such amendment
               has an opportunity to withdraw from the Partnership as of a date determined by the
               General Partner that is not less than 45 calendar days after the General Partner has
               furnished written notice of such amendment to each affected Limited Partner and
               that is prior to the effective date of the amendment. The admission and withdrawal
               of Limited Partners will not require notice or disclosure to, or the approval of, the
               other Limited Partners.

        (e)    The General Partner may at any time without the consent of the other Partners:

               (i)      add to the representations, duties or obligations of the General Partner or
                        surrender any right or power granted to the General Partner under this
                        Agreement, for the benefit of the Limited Partners;

               (ii)     cure any ambiguity or correct or supplement any conflicting provisions of
                        this Agreement;

               (iii)    change the name of the Partnership;

               (iv)     make any changes required by governmental body or agency which is
                        deemed to be for the benefit or protection of the Limited Partners, provided,
                        however, that no such amendment may be made unless such change (A) is
                        for the benefit of, or not adverse to, the interests of Limited Partners, (B)
                        does not affect the right of the General Partner to manage and control the
                        Partnership’s business, (C) does not affect the allocation of profits and
                        losses among the Partners and (D) does not affect the limited liability of the
                        Limited Partners;

               (v)      amend this Agreement to reflect a change in the identity of the General
                        Partner which has been made in accordance with this Agreement;

               (vi)     amend this Agreement (other than with respect to the matters set forth in
                        Section 8.1(c)) to effect compliance with any applicable laws, regulations
                        or administrative actions, or to reflect any change made in accordance with
                        Section 4.1(b);

               (vii)    subject to Section 8.1(c), amend this Agreement to reflect the creation, and
                        terms, of any new Series of Limited Partner Interests in the Partnership;

               (viii)   effect any other amendment which would not, in the good faith judgment of
                        the General Partner, adversely affect any of the existing Limited Partners;
                        and


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              (ix)    restate this Agreement together with any amendments hereto which have
                      been duly adopted in accordance herewith to incorporate such amendments
                      in a single, integrated document.

        (f)   The General Partner shall have the authority to agree with a Limited Partner to
              waive or modify the application of any provision of this Agreement with respect to
              such Limited Partner without notifying or obtaining the consent of any other
              Limited Partner (other than a Limited Partner whose rights as a Limited Partner
              pursuant to this Agreement would be materially and adversely changed by such
              waiver or modification). Any such waiver or modification may be evidenced by a
              “side letter” or other document, and the form thereof shall not impair its binding
              effect as if incorporated in this Agreement.

  8.2   Special Power-of-Attorney

        (a)   Each Partner hereby irrevocably makes, constitutes and appoints the General
              Partner (and each of its successors and permitted assigns), with full power of
              substitution, the true and lawful representative and attorney-in-fact of, and in the
              name, place and stead of, such Partner with the power from time to time to make,
              execute, sign, acknowledge, swear to, verify, deliver, record, file or publish:

              (i)     an amendment to this Agreement that complies with the provisions of this
                      Agreement (including the provisions of Section 8.1);

              (ii)    the Certificate and any amendment thereof required because this
                      Agreement is amended, including an amendment to effectuate any change
                      in the membership of the Partnership or in the capital contributions of the
                      Partners;

              (iii)   any financing statement or other filing or document required or permitted to
                      perfect the security interests contemplated by any provision hereof; and

              (iv)    all such other instruments, documents and certificates which, in the opinion
                      of legal counsel to the Partnership, may from time to time be required by the
                      laws of the United States of America, the State of Delaware, or any other
                      jurisdiction in which the Partnership determines to do business, or any
                      political subdivision or agency thereof, or which such legal counsel may
                      deem necessary or appropriate to effectuate, implement and continue the
                      valid and subsisting existence and business of the Partnership as a limited
                      partnership, adjust the structure of the Partnership in accordance with
                      Sections 4.1(b) or 8.8, or to effect the dissolution or termination of the
                      Partnership.

        (b)   Each Limited Partner is aware that the terms of this Agreement permit certain
              amendments to this Agreement to be effected and certain other actions to be taken
              or omitted by or with respect to the Partnership without that Limited Partner’s
              consent. If an amendment of the Certificate or this Agreement or any action by or
              with respect to the Partnership is taken by the General Partner in the manner


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                 contemplated by this Agreement, each Limited Partner agrees that, notwithstanding
                 any objection which such Limited Partner may assert with respect to such action,
                 the General Partner in its sole discretion is authorized and empowered, with full
                 power of substitution, to exercise the authority granted above in any manner which
                 may be necessary or appropriate to permit such amendment to be made or action to
                 be lawfully taken or omitted. Each Partner is fully aware that each other Partner
                 relies on the effectiveness of this special power-of-attorney with a view to the
                 orderly administration of the affairs of the Partnership. This power-of-attorney is a
                 special power-of-attorney and is coupled with an interest in favor of the General
                 Partner and as such:

                 (i)     is irrevocable and continues in full force and effect notwithstanding the
                         subsequent death or incapacity of any party granting this power-of-attorney,
                         regardless of whether the Partnership or the General Partner has had notice
                         thereof; and

                 (ii)    survives the delivery of an assignment by a Limited Partner of the whole or
                         any portion of such Limited Partner’s Interest, except that where the
                         assignee thereof has been approved by the General Partner for admission to
                         the Partnership as a substituted Limited Partner, this power-of-attorney
                         given by the assignor survives the delivery of such agreement for the sole
                         purpose of enabling the General Partner to execute, acknowledge and file
                         any instrument necessary to effect such substitution.

  8.3    Notices

          Notices which may be or are required to be given under this Agreement by any party to
  another shall be given by hand delivery, transmitted by facsimile, transmitted electronically to an
  address that has been previously provided or verified through another form of notice or sent by
  registered or certified mail, return receipt requested or internationally recognized courier service,
  and shall be addressed to the respective parties hereto at their addresses as set forth on the register
  of Partners maintained by the General Partner or to such other addresses, facsimile numbers or
  electronic addresses as may be designated by any party hereto by notice addressed to (a) the
  General Partner, in the case of notice given by any Limited Partner, and (b) each of the Limited
  Partners, in the case of notice given by the General Partner. Notices shall be deemed to have been
  given (i) when delivered by hand, transmitted by facsimile or transmitted electronically or (ii) on
  the date indicated as the date of receipt on the return receipt when delivered by mail or courier
  service.

  8.4    Agreement Binding Upon Successors and Assigns; Delegation

          This Agreement shall be binding upon and inure to the benefit of the parties hereto and
  their respective successors, but the rights and obligations of the Partners hereunder shall not be
  assignable, transferable or delegable except as provided in Sections 4.1(d), 5.3 and 5.4, and any
  attempted assignment, transfer or delegation thereof which is not made pursuant to the terms of
  such Sections shall be void.




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  8.5    Governing Law

          This Agreement is, and the rights of the Partners hereunder are, governed by and shall be
  construed in accordance with the laws of the State of Delaware, without regard to the conflict of
  laws rule thereof which would result in the application of the laws of a different jurisdiction. The
  parties hereby consent to the exclusive jurisdiction and venue for any action arising out of this
  Agreement in Dallas, Texas. Each Partner consents to service of process in any action or
  proceeding involving the Partnership by the mailing thereof by registered or certified mail, postage
  prepaid, to such Partner’s mailing address set forth in the Schedule of Partners maintained by the
  General Partner.

  8.6    Not for Benefit of Creditors

          The provisions of this Agreement are intended only for the regulation of relations among
  Partners and between Partners and former or prospective Partners and the Partnership. Except for
  the rights of the Indemnified Persons hereunder, this Agreement is not intended for the benefit of
  non-Partner creditors and no rights are granted to non-Partner creditors under this Agreement.

  8.7    Consents and Voting

         (a)     Except as provided in Section 5.4, Limited Partners do not have any right to vote
                 for the admission or removal of any General Partner and, except for the right to vote
                 on certain amendments proposed by the General Partner, have no other voting
                 rights. Upon the request of any Limited Partner, including pursuant to
                 Section 8.11 hereof, the General Partner may designate an Interest as a Non-Voting
                 Interest, in which case the Limited Partner shall not have the right to vote on any
                 matter including amendments.

         (b)     Any and all consents, agreements or approvals provided for or permitted by this
                 Agreement shall be in writing and a copy thereof shall be filed and kept with the
                 books of the Partnership. (For the avoidance of doubt, an amendment made
                 pursuant to Section 8.1(d) or pursuant to negative consent under Section 8.1(a)
                 shall not require any affirmative written response by any Limited Partner who is not
                 electing to withdraw from the Partnership.)

  8.8    Merger and Consolidation

         (a)     The Partnership may merge or consolidate with or into one or more limited
                 partnerships formed under the Act or other business entities pursuant to an
                 agreement of merger or consolidation which has been approved in the manner
                 contemplated by Section 17-211(b) of the Act.

         (b)     Notwithstanding anything to the contrary contained elsewhere in this Agreement,
                 an agreement of merger or consolidation approved in accordance with Section
                 17-211(b) of the Act may, to the extent permitted by Section 17-211(g) of the Act,
                 (i) effect any amendment to this Agreement, (ii) effect the adoption of a new
                 limited partnership agreement for the Partnership if it is the surviving or resulting
                 limited partnership in the merger or consolidation, or (iii) provide that the limited


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                 partnership agreement of any other constituent partnership to the merger or
                 consolidation (including a limited partnership formed for the purpose of
                 consummating the merger or consolidation) shall be the limited partnership
                 agreement of the surviving or resulting limited partnership.

  8.9    Interpretation of Partnership Accounting Systems and Terminology

          In the event that the Partnership employs an accounting system which is different from the
  accounting system of the General Partner or whose terminology does not conform precisely to the
  terminology in this Agreement, the General Partner shall have the authority to interpret such
  accounting system and/or terminology in a manner which it, in its sole discretion, determines to be
  consistent with the objectives of this Agreement.

  8.10   Miscellaneous

         (a)     The captions and titles preceding the text of each Section hereof shall be
                 disregarded in the construction of this Agreement. Use of the word “including” in
                 this Agreement means in each case “without limitation,” whether or not such term
                 is explicitly stated.

         (b)     This Agreement may be executed in counterparts, each of which shall be deemed to
                 be an original hereof.

         (c)     If any provision of this Agreement is held invalid or unenforceable by any court of
                 competent jurisdiction, the other provisions of this Agreement will remain in full
                 force and effect. Any provision of this Agreement held invalid or unenforceable
                 only in part or degree will remain in full force and effect to the extent not held
                 invalid or unenforceable.

  8.11   BHCA Subject Persons

         Notwithstanding any other provision of this Agreement to the contrary:

         (a)     Solely for purposes of any provision of this Agreement that confers voting rights on
                 the Limited Partners and any other provisions hereof regarding consents of or
                 action by the Limited Partners, any BHCA Subject Person that shall have given the
                 General Partner an Election Notice and shall not thereafter have given the General
                 Partner a Revocation Notice, and that at any time has an Partnership Percentage in
                 excess of 4.9 percent of the aggregate Partnership Percentages of the Limited
                 Partners entitled to participate in such voting or the giving of any consent or the
                 taking of any action, shall be deemed to hold an Partnership Percentage of only 4.9
                 percent of the aggregate Partnership Percentages of the Limited Partners (after
                 giving effect to the limitations imposed by this Section 8.11 on all such Limited
                 Partners), and such Partnership Percentage in excess of said 4.9 percent shall be
                 deemed held by the Limited Partners who are not BHCA Subject Persons, pro rata
                 in proportion to their respective Partnership Percentages; provided that this
                 limitation shall not prohibit a Limited Partner from voting or participating in giving
                 or withholding consent or taking any action under any provision of this Agreement


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                 up to the full amount of its Partnership Percentage in situations where such Limited
                 Partner’s vote or consent or action is of the type customarily provided by statute or
                 stock exchange rules with regard to matters that would significantly and adversely
                 affect the rights or preference of the Limited Partner’s Interest. The foregoing
                 voting restriction shall continue to apply with respect to any assignee or other
                 transferee of such BHCA Subject Person’s Interest; provided, however, that the
                 foregoing voting restriction shall not continue to apply if the Interest is transferred:
                 (i) to the Partnership; (ii) to the public in an offering registered under the Securities
                 Act; (iii) in a transaction pursuant to Rule 144 or Rule 144A under the Securities
                 Act in which no Person acquires more than 2% of the Partnership’s outstanding
                 Interests; or (iv) in a single transaction to a third party who acquires at least a
                 majority of the Partnership’s outstanding Interests without regard to the Transfer of
                 such Interests.

         (b)     Except as specifically provided otherwise in this Agreement, a Limited Partner that
                 is a BHCA Subject Person that shall have given the General Partner an Election
                 Notice, and shall not thereafter have given the General Partner a Revocation
                 Notice, shall not be entitled to exercise any rights to consent to actions to be taken
                 with respect to the Partnership, including rights conferred by any applicable
                 law. Such right to consent shall be deemed granted to the Limited Partners who are
                 not BHCA Subject Persons, pro rata in proportion to their respective Partnership
                 Percentages.

         (c)     A Limited Partner that is a BHCA Subject Person and that elects to be subject to
                 Section 8.11(a) and (b) shall notify the General Partner thereof (an “Election
                 Notice”) and, on the General Partner’s receipt of such Election Notice, such
                 Limited Partner shall be subject to Section 8.11(a) and (b) until 30 calendar days
                 after such Limited Partner notifies the General Partner that it elects no longer to be
                 subject to Section 8.11(a) and (b) (a “Revocation Notice”), which period may be
                 reduced by the General Partner.

  8.12   RIC Limited Partners

          An Interest of a RIC Limited Partner does not entitle the RIC Limited Partner to vote or
  consent with respect to any Partnership matter unless the RIC Limited Partner’s vote or consent
  with respect to its Interest would not be considered to be “voting securities” as defined under
  Section 2(a)(42) of the Investment Company Act. Except as provided in this Section 8.12, an
  Interest held by a RIC Limited Partner as a Non-Voting Interest is identical in all regards to all
  other Interests held by Limited Partners.

  8.13   Bad Actor Limited Partners

          Under Rule 506(d) under the Securities Act, the Partnership may be banned from selling
  Interests under Rule 506 if a Limited Partner beneficially owning 20% or more of the Partnership’s
  voting securities engages in a “bad act” set forth in Rule 506. Accordingly, each Limited Partner
  agrees that the General Partner may deem the portion of any Bad Actor Limited Partner’s Interest
  to be, or convert any Bad Actor Limited Partner’s Interest into, a Non-Voting Interest (except for


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  the purposes of voting on any amendment to this Agreement that would materially and adversely
  change the Bad Actor Limited Partner’s rights and preferences as a Limited Partner other than
  pursuant to an amendment under Section 8.1(d)) to the extent that the General Partner determines
  that such portion is in excess of 19.99% of the outstanding aggregate voting Interests of all
  Partners excluding any Interests that are Non-Voting Interests.

  8.14   Survival

          The obligations and covenants of the Limited Partners set forth in Sections 3.5 and 3.13
  hereof shall apply jointly and severally to each Limited Partner and any direct or indirect transferee
  of or successor to such Limited Partner’s interest and will survive such Partner’s ceasing to be a
  partner of the Partnership and/or the termination, dissolution, liquidation and winding up of the
  Partnership.

  8.15   Entire Agreement

         The parties acknowledge and agree that, subject to Section 8.1(f), the General Partner
  without the approval of any other Partner may enter into a written agreement on behalf of the
  Partnership with any Limited Partner affecting the terms hereof in order to meet certain
  requirements of the Limited Partner (each an “Other Agreement”), and the terms of such Other
  Agreement shall govern with respect to such Limited Partner notwithstanding the provisions of
  this Agreement. This Agreement and each Other Agreement constitute the entire agreement
  among the parties hereto pertaining to the subject matter hereof and supersede all prior agreements
  and understandings pertaining thereto.

                                       [Signature Page Follows]




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Registrar of Companies
Government Administration Building
133 Elgin Avenue
George Town
Grand Cayman
Highland Loan Fund, Ltd. (ROC #275693) (the "Company")
TAKE NOTICE that by written resolution of the shareholders of the Company dated 8th May 2018, the
following special resolution was passed:
THAT the name of the Company is changed from Highland Loan Fund, Ltd. to Highland Dynamic
Income Fund Ltd. .
THAT the Memorandum and Articles of Association of the Company currently in effect be amended and
restated by the deletion in their entirety and the substitution in their place of the Amended and Restated
Memorandum and Articles of Association annexed hereto.




___________________________
Allema Ramoon
Corporate Administrator
for and on behalf of
Maples Corporate Services Limited


Dated this 9th day of May 2018




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                        THE COMPANIES LAW (2016 REVISION)
                             OF THE CAYMAN ISLANDS
                           COMPANY LIMITED BY SHARES




                             AMENDED AND RESTATED
                   MEMORANDUM AND ARTICLES OF ASSOCIATION


                                              OF




                       HIGHLAND DYNAMIC INCOME FUND, LTD.
    (AS ADOPTED BY SPECIAL RESOLUTION OF THE SUBSCRIBER DATED 8 MAY 2018)




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                                THE COMPANIES LAW (2016 REVISION)
                                      OF THE CAYMAN ISLANDS
                                   COMPANY LIMITED BY SHARES


                                      AMENDED AND RESTATED
                                  MEMORANDUM OF ASSOCIATION
                                                        OF
                               HIGHLAND DYNAMIC INCOME FUND, LTD.
       (AS ADOPTED BY SPECIAL RESOLUTION OF THE SUBSCRIBER DATED 8 MAY 2018)


1       The name of the Company is Highland Dynamic Income Fund, Ltd..

2       The Registered Office of the Company shall be at the offices of Maples Corporate Services
        Limited, PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands, or at such
        other place within the Cayman Islands as the Directors may decide.

3       The objects for which the Company is established are unrestricted and the Company shall have
        full power and authority to carry out any object not prohibited by the laws of the Cayman Islands.

4       The liability of each Member is limited to the amount unpaid on such Member's Shares.

5       The share capital of the Company is US$50,000 divided into 100 Management Shares of
        US$1.00 par value each and 4,990,000 Participating Shares of US$0.01 par value each.

6       The Company has power to register by way of continuation as a body corporate limited by shares
        under the laws of any jurisdiction outside the Cayman Islands and to be deregistered in the
        Cayman Islands.

7       Capitalised terms that are not defined in this Memorandum of Association bear the respective
        meanings given to them in the Articles of Association of the Company.




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                                THE COMPANIES LAW (2016 REVISION)
                                      OF THE CAYMAN ISLANDS
                                   COMPANY LIMITED BY SHARES


                                      AMENDED AND RESTATED
                                     ARTICLES OF ASSOCIATION
                                                        OF
                               HIGHLAND DYNAMIC INCOME FUND, LTD.
       (AS ADOPTED BY SPECIAL RESOLUTION OF THE SUBSCRIBER DATED 8 MAY 2018)



1       Interpretation

1.1     In these Articles, Table A in the First Schedule to the Statute does not apply and unless there is
        something in the subject or context inconsistent therewith:

      "Administrator"               means the person, firm or corporation appointed and from time to
                                    time acting as administrator of the Company.

      "Articles"                    means these articles of association of the Company.

      "Auditor"                     means the person (if any) for the time being performing the duties of
                                    auditor of the Company.

      "Business Day"                means any day normally treated as a business day in such places
                                    and/or on such markets as the Directors may from time to time
                                    determine.

      "Cayman Islands"              means the British Overseas Territory of the Cayman Islands.

      "Class"                       means a separate class of Participating Share (and includes any
                                    sub-class of any such class).

      "Company"                     means the above-named Company.

      "Directors"                   means the directors for the time being of the Company.

      "Dollars" or "US$"            refers to the currency of the United States.

      "Electronic Record"           has the same meaning as in the Electronic Transactions Law.

      "Electronic Transactions      means the Electronic Transactions Law (2003 Revision) of the
      Law"                          Cayman Islands.

      "Eligible Investor"           means a person eligible to hold Participating Shares, as determined
                                    from time to time by the Directors.




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      "Investment Manager"           means the person, firm or corporation appointed and for the time
                                     being acting as the investment manager of the Company.

      "Management Share"             means a voting non participating Share in the capital of the Company
                                     of US$1.00 par value designated as a Management Share and
                                     having the rights provided for in these Articles.

      "Member"                       means each person whose name is, from time to time and for the
                                     time being, entered in the Register of Members as the holder of one
                                     or more Shares.

      "Memorandum"                   means the memorandum of association of the Company.

      "Net Asset Value"              means the value of the assets less the liabilities of the Company, or
                                     of a Separate Account (as the context may require), calculated in
                                     accordance with these Articles.

      "Net Asset Value         per   means the amount determined in accordance with these Articles as
      Participating Share"           being the Net Asset Value per Participating Share of a particular
                                     Class and/or Series.

      "Offering Memorandum"          means an offering memorandum relating to Participating Shares of
                                     any Class and/or Series as amended or supplemented from time to
                                     time subject to and in accordance with these Articles.

      "Ordinary Resolution"          means a resolution passed by a simple majority of the votes of such
                                     Members as, being entitled to do so, vote in person or, where proxies
                                     are allowed, by proxy at a general meeting, and includes a
                                     unanimous written resolution.

      "Participating Share"          means a participating redeemable Share in the capital of the
                                     Company of US$0.01 par value and having the rights provided for in
                                     these Articles. Participating Shares may be divided into Classes in
                                     the discretion of the Directors in accordance with the provisions of
                                     these Articles and each Class may be further divided into different
                                     Series of Participating Shares and the term "Participating Share"
                                     shall include all such Classes and Series of Participating Share.

      "Redemption Date"              means, in relation to any Class and/or Series of Participating Shares,
                                     such day or days as are set out in the Offering Memorandum or as
                                     may be specified by the Directors from time to time, upon which a
                                     Member is entitled to require the redemption of Participating Shares
                                     of that Class and/or Series.

      "Redemption Fee"               means such fee (if any) payable by a Member to the Company on a
                                     redemption of Participating Shares, as the same may be determined
                                     by the Directors and disclosed to the Member at the time of its
                                     subscription for such Participating Shares.

      "Redemption Notice"            means a notice in a form approved by the Directors by which a holder




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                               of Participating Shares is entitled to require the Company to redeem
                               its Participating Shares.

      "Redemption Price"       means the price determined in accordance with these Articles at
                               which redeemable Participating Shares of the relevant Class and/or
                               Series may be redeemed.

      "Register of Members     means the register of Members, which shall be maintained in
                               accordance with the Statute and includes (except where otherwise
                               stated) any branch or duplicate Register of Members.

      "Registered Office"      means the registered office for the time being of the Company.

      "Sales Charge"           means such sales charge (if any) determined by the Directors as
                               being payable by a subscriber on a subscription for Participating
                               Shares of any Class and/or Series.

      "Seal"                   means the common seal of the Company and includes every
                               duplicate seal.

      "Separate Account"       means a separate internal account of the Company which the
                               Directors may establish and cause to be maintained in accordance
                               with these Articles.

      "Series"                 means a separate series of Participating Share (and includes any
                               sub-series of any such series).

      "Share" and "Shares"     means a share or shares of any class or series in the Company,
                               including a Management Share or a Participating Share, as well as
                               any fraction of a Share.

      "Share Rights"           means, with respect to the Participating Shares of any Class or
                               Series in issue, the class rights for the time being applicable to such
                               Participating Shares or other terms of offer for the time being
                               applicable to such Participating Shares whether set out in the
                               Offering Memorandum, any subscription agreement or otherwise
                               (including any representations, warranties or other disclosure relating
                               to the offer or holding of such Participating Shares).

      "Special Resolution"     has the same meaning as in the Statute and includes a unanimous
                               written resolution.

      "Statute"                means the Companies Law (2012 Revision) of the Cayman Islands.

      "Subscriber"             means the subscriber to the Memorandum.

      "Subscription Date"      means, in relation to Participating Shares of any Class and/or Series,
                               such day or days as are set out in the Offering Memorandum or as
                               may be specified by the Directors from time to time upon which a
                               person may subscribe for Participating Shares of that Class and/or




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                                     Series.

      "Subscription Price"           means the price determined in accordance with these Articles at
                                     which Participating Shares of the relevant Class and/or Series may
                                     be subscribed.

      "Suspension"                   means a determination by the Directors to postpone or suspend (i)
                                     the calculation of the Net Asset Value of Participating Shares of any
                                     one or more Classes and/or Series (and the applicable Valuation
                                     Date) (a "Calculation Suspension"); (ii) the issue of Participating
                                     Shares of any one or more Classes and/or Series (and the applicable
                                     Subscription Date) (an "Issue Suspension"); (iii) the redemption by
                                     Members (in whole or in part) of Participating Shares of any one or
                                     more Classes and/or Series (and the applicable Redemption Date) (a
                                     "Redemption Suspension"); and/or (iv) the payment (in whole or in
                                     part) of any redemption proceeds (even if Valuation Dates and
                                     Redemption Dates are not postponed) (a "Payment Suspension").

      "Transfer"                     means, in respect of any Share, any sale, assignment, exchange,
                                     transfer, pledge, encumbrance or other disposition of that Share, and
                                     "Transferred" shall be construed accordingly.

      "Treasury Share"               means a Share held in the name of the Company as a treasury share
                                     in accordance with the Statute.

      "Valuation Date"               means, in relation to each Class and/or Series of Participating
                                     Shares, the day or days determined from time to time by the
                                     Directors to be the day or days on which the Net Asset Value per
                                     Participating Share of that Class and/or Series is calculated.

      "Valuation Point"              means, with respect to any Class and/or Series, the time or times on
                                     the Valuation Date of such Class and/or Series at which the Directors
                                     determine that the Net Asset Value per Participating Share of that
                                     Class and/or Series shall be calculated.

1.2     In these Articles:

        (a)     the singular number includes the plural number and vice versa;

        (b)     the masculine gender includes the feminine gender;

        (c)     persons includes corporations;

        (d)     "written" and "in writing" include all modes of representing or reproducing words in visible
                form, including in the form of an Electronic Record;

        (e)     "shall" shall be construed as imperative and "may" shall be construed as permissive;

        (f)     references to provisions of any law or regulation shall be construed as references to
                those provisions as amended, modified, re-enacted or replaced from time to time;




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        (g)     any phrase introduced by the terms "including", "include", "in particular" or any similar
                expression shall be construed as illustrative and shall not limit the sense of the words
                preceding those terms;

        (h)     the term "and/or" is used herein to mean both "and" as well as "or." The use of "and/or" in
                certain contexts in no respects qualifies or modifies the use of the terms "and" or "or" in
                others. "Or" shall not be interpreted to be exclusive, and "and" shall not be interpreted to
                require the conjunctive — in each case, unless the context otherwise requires;

        (i)     any reference to the powers of the Directors shall include, when the context admits, the
                service providers or any other person to whom the Directors may delegate their powers;

        (j)     any requirements as to delivery under the Articles include delivery in the form of an
                Electronic Record;

        (k)     any requirements as to execution or signature under the Articles including the execution
                of the Articles themselves can be satisfied in the form of an electronic signature as
                defined in the Electronic Transactions Law;

        (l)     sections 8 and 19(3) of the Electronic Transactions Law shall not apply; and

        (m)     headings are inserted for reference only and shall be ignored in construing these Articles.

2       Commencement of Business

2.1     The business of the Company may be commenced as soon after incorporation as the Directors
        shall see fit.

2.2     The Directors may pay, out of the capital or any other monies of the Company, all expenses
        incurred in or about the formation and operation of the Company, including the expenses of
        registration and the initial offering of Participating Shares.

3       Service Providers

3.1     The Directors may appoint any person, firm or corporation to act as a service provider to the
        Company (whether in general or in respect of any Class and/or Series of Shares) and may
        entrust to and confer upon any such service providers any of the functions, duties, powers and
        discretions exercisable by them as Directors, upon such terms and conditions (including as to
        remuneration payable by the Company) and with such powers of delegation, but subject to such
        restrictions, as they think fit. Without limiting the generality of the foregoing, such service
        providers may include managers, investment advisers, administrators, registrars, transfer agents,
        custodians and prime brokers.

3.2     Without prejudice to the generality of the preceding Article, the Directors may appoint any person,
        firm or corporation to act as the Investment Manager with respect to the assets of the Company
        (whether in general or in respect of any Class and/or Series of Shares). The Directors may
        entrust to and confer upon the Investment Manager any of the functions, duties, powers and
        discretions exercisable by them as Directors upon such terms and conditions (including as to
        remuneration payable by the Company) and with such powers of delegation, but subject to such
        restrictions, as they think fit.




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4       Rights attaching to Shares

4.1     The Management Shares shall have the following rights:

        (a)     as to voting: the holder of a Management Share shall (in respect of such Management
                Share) have the right to receive notice of, attend at and vote as a Member at any general
                meeting of the Company; and

        (b)     as to capital: a Management Share shall confer upon the holder the right in a winding up
                to repayment of capital as provided in these Articles but shall confer no other right to
                participate in the profits or assets of the Company; and

        (c)     as to income: no dividends shall be payable on the Management Shares.

4.2     The Participating Shares shall have the following rights:

        (a)     as to voting: the holder of a Participating Share shall not (in respect of such Participating
                Share) have the right to receive notice of, attend at or vote as a Member at any general
                meeting of the Company, but may vote at a separate Class meeting convened in
                accordance with these Articles; and

        (b)     as to capital: a Participating Share shall confer upon the holder thereof the right in a
                winding up to participate in the surplus assets of the Company by reference to the
                Separate Account attributable to the relevant Class or Series of Participating Shares as
                provided in these Articles; and

        (c)     as to income: the Participating Shares shall confer on the holders thereof the right to
                receive dividends as provided in these Articles.

5       Share Capital

5.1     Subject to these Articles, the Directors may allot, issue, grant options or warrants over, or
        otherwise dispose of Shares in separate classes and/or series with different terms, preferences,
        privileges or special rights including, without limitation, with respect to investment strategy and/or
        policy, participation in assets, profits and losses of the Company, voting, fees charged (including
        management, performance and incentive fees), redemption privileges, allocation of costs and
        expenses (including, without limitation, the costs and expenses incurred in any hedging activities
        and any profits and losses arising therefrom) as they think proper. Subject to the Statute, these
        Articles and any applicable subscription agreement, any Share Rights (other than those set out in
        these Articles or set out in a Special Resolution) may be varied by either the Directors or by
        Ordinary Resolution. Notwithstanding the foregoing, the Subscriber shall have the power to:

        (a)     issue one Share to itself;

        (b)     transfer that Share by an instrument of transfer to any person; and

        (c)     update the Register of Members in respect of the issue and transfer of that Share.

5.2     On or before the allotment of any Participating Share the Directors shall resolve the Class and/or
        Series to which such Participating Share shall be classified and may, prior to the issue of any
        Participating Share, reclassify such Participating Share. Each Class and/or Series shall be




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        specifically identified. Subject to the Statute and these Articles, the Directors may at any time re-
        name any Participating Share.

5.3     Notwithstanding the currency in which the par value of the Participating Shares is denominated,
        the Directors may specify any currency as the currency in which the Subscription Price,
        Redemption Price and Net Asset Value of Participating Shares of a Class and/or Series is
        calculated.

5.4     The Company shall not issue Shares to bearer.

5.5     Fractional Shares may be issued.

5.6     Unless the Directors determine otherwise, Shares shall only be issued as fully paid-up.

5.7     Unless the Directors determine otherwise No right of pre-emption or first refusal shall attach to
        any Shares.

6       Allotment and Issue of Participating Shares

6.1     The Directors may from time to time allot and issue Participating Shares of any Class and/or
        Series. The Directors may, in their discretion, refuse to allot and issue any Participating Shares,
        and shall not issue any Participating Shares to or for the account of an investor who is not an
        Eligible Investor. If the Directors have declared a Calculation Suspension or Issue Suspension,
        no Participating Shares of that Class or Series (as appropriate) shall be issued until the relevant
        Suspension has ended.

6.2     The Directors shall determine the Subscription Price at the time of issue of the first issue of
        Participating Shares of any Class and/or Series. Thereafter, the Directors may allot and issue
        Participating Shares of the same Class and/or Series on any Subscription Date provided that
        such additional Participating Shares are issued at a Subscription Price equal to not less than the
        Net Asset Value per Participating Share of such Class and/or Series calculated on the relevant
        Subscription Date (or if the Subscription Date is not also a Valuation Date then on the
        immediately preceding Valuation Date).

6.3     The Directors may add to the Subscription Price per Participating Share (before making any
        rounding adjustment) an amount which they consider to be an appropriate allowance to reflect
        fiscal and purchase charges which would be incurred for the account of the Company in investing
        an amount equal to the Subscription Price. The Directors may also add, in their discretion, a
        Sales Charge and/or an amount equal to any stamp duty and any other governmental taxes or
        charges payable by the Company with respect to the issue of such Participating Shares.

6.4     An applicant for Participating Shares shall pay for such Participating Shares in such currencies, in
        such manner, at such time, in such place and to such person acting on behalf of the Company as
        the Directors may from time to time determine.

6.5     Subject to the terms of any subscription agreement, an application for Participating Shares shall
        be irrevocable by an applicant for Participating Shares once it has been received by the
        Company. Participating Shares shall be treated as having been issued with effect from the
        relevant Subscription Date notwithstanding that the subscriber for those Participating Shares may
        not be entered in the Register of Members until after the Subscription Date.




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6.6     Participating Shares shall be issued in such minimum numbers as the Directors may specify
        either generally or in any particular case; likewise the Directors may from time to time prescribe
        an amount as the minimum subscription amount.

6.7     The Directors may resolve to accept non-cash assets in satisfaction (in whole or in part) of the
        Subscription Price.

6.8     The Directors may require an applicant for Participating Shares to pay to the Company for the
        benefit of any selling agent such selling commissions or such organisational charges as may
        have been disclosed to such applicant. The Directors may differentiate between applicants as to
        the amount of such selling commissions or such organisational charges.

6.9     The Company may, in so far as the Statute permits, pay a commission to any person in
        consideration of that person subscribing or agreeing to subscribe whether absolutely or
        conditionally for any Participating Shares. Such commissions may be satisfied by the payment of
        cash and/or the issue of fully or partly paid-up Participating Shares. The Company may also on
        any issue of Participating Shares pay such brokerage as may be lawful.

7       Separate Accounts

7.1     The Directors shall have the power to establish and maintain, with respect to Participating Shares
        of any Class and/or Series, a Separate Account, to record (purely as an internal accounting
        matter) the allocation, on a differentiated basis, of the assets and liabilities of the Company to the
        holders of Participating Shares of any such Class and/or a Series in a manner consistent with the
        methodology set forth in the Offering Memorandum and the rights otherwise attaching to the
        Participating Shares.

7.2     The proceeds from the issue of Participating Shares of any Class and/or Series shall be applied
        in the books of the Company to the Separate Account established for Participating Shares of that
        Class and/or Series. The assets and liabilities and income and expenditure attributable to that
        Separate Account shall be applied to such Separate Account and, subject to the provisions of
        these Articles, to no other Separate Account. In the event that the assets of a Separate Account
        referable to any Class and/or Series are exhausted, any and all unsatisfied claims which any
        Members or former Members referable to that Class and/or Series have against the Company
        shall be extinguished. The Members or former Members referable to a Class and/or Series shall
        have no recourse against the assets of any other Separate Account established by the Company.

7.3     Where any asset is derived from another asset (whether cash or otherwise), such derivative asset
        shall be applied in the books of the Company to the same Separate Account as the asset from
        which it was derived, and on each revaluation of an asset the increase or diminution in value shall
        be applied to the same Separate Account and, subject to the provisions of these Articles, to no
        other Separate Account.

7.4     In the case of any asset or liability of the Company which the Directors do not consider is
        attributable to a particular Separate Account, the Directors shall have discretion to determine the
        basis upon which any such asset or liability shall be allocated between or among Separate
        Accounts.

7.5     The Directors may, in the books of the Company, allocate assets and liabilities to and from
        Separate Accounts if, as a result of a creditor proceeding against certain of the assets of the




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        Company or otherwise, a liability would be borne in a different manner from that in which it would
        have been borne if applied under the foregoing Articles.

7.6     The Directors may from time to time transfer, allocate or exchange an asset or liability from one
        Separate Account to another Separate Account provided that at the time of such transfer,
        allocation or exchange the Directors form the opinion (in good faith) that the value in money or
        money's worth of each such asset or liability transferred, allocated or exchanged is not
        significantly less or more than the value in money or money's worth (referred to in these Articles
        as "proper value") received by the Separate Account from which such asset or liability is
        transferred, allocated or exchanged except only as is otherwise provided by these Articles.

8       Determination of Net Asset Value

8.1     The Net Asset Value and Net Asset Value per Participating Share of each Class and/or Series
        shall be determined by or on behalf of the Directors as at the relevant Valuation Point on each
        relevant Valuation Date.

8.2     In calculating the Net Asset Value and the Net Asset Value per Participating Share, the Directors
        shall apply such generally accepted accounting principles as they may determine.

8.3     The assets and liabilities of the Company shall be valued in accordance with such policies as the
        Directors may determine. Absent bad faith or manifest error, any valuation made pursuant to
        these Articles shall be binding on all persons.

8.4     Unless otherwise determined by the Directors in any resolution creating a Class and/or Series of
        Participating Shares or as otherwise disclosed in any Offering Memorandum, the Net Asset Value
        per Participating Share of each Class (or Series) shall be determined by allocating pro rata the
        Net Asset Value, as at the relevant Valuation Point, of the Company and/or of the relevant
        Separate Account among each Class and/or Series, adjusting the amount so calculated to reflect
        any fees, costs, foreign exchange items or other assets or liabilities which are properly
        attributable to a specific Class and/or Series and then by dividing the resultant amount by the
        number of Participating Shares of such Class and/or Series then in issue.

8.5     The Directors may determine that the Net Asset Value of any Class and/or Series shall be
        definitively determined on the basis of estimates and that such determination shall not be
        modified to reflect final valuations.

8.6     Any expense or liability may be amortised over such period as the Directors may determine.

8.7     The Directors may establish such reserves as they deem reasonably necessary for Company
        expenses and any other contingent Company assets or liabilities, and may, upon the reversal or
        release of such reserves, apply any monies resulting therefrom in such manner as they may, in
        their absolute discretion, determine.

8.8     Net Asset Value per Participating Share shall be rounded to the nearest cent or such other
        amount as the Directors may determine and the benefit of any such roundings may be retained
        by the Company.

8.9     The Directors may cause the Company to issue new Participating Shares at par or to
        compulsorily redeem at par such number of Participating Shares as they consider necessary to
        address, in such manner as they consider equitable, any prior miscalculation of Net Asset Value




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        or Net Asset Value per Participating Share. The Company shall not be required to pay to the
        holder the redemption proceeds of any such compulsorily redeemed Participating Shares, which
        proceeds shall be retained by the Company.

9       Suspensions

9.1     The Directors may, from time to time, in the circumstances disclosed in the Offering
        Memorandum, declare a Suspension with respect to any one or more Classes and/or Series of
        Participating Shares.

9.2     The Directors shall promptly notify all affected Members of any such Suspension and shall
        promptly notify such Members upon termination of such Suspension.

10      Transfer of Shares

10.1    Subject to Article 5.1, Shares may not be Transferred without the prior written approval of the
        Directors (which may be withheld for any or no reason) provided that the Directors may waive this
        requirement to the extent that they deem appropriate in connection with the listing of any Class or
        Series of Share on a stock exchange.

10.2    The Directors shall not register any Transfer of any Share to any person who is, in the opinion of
        the Directors, not an Eligible Investor.

10.3    Any proposed transferee shall provide to the Directors such information and documents as the
        Directors may request, including, without limitation, such documents or information as the
        Directors deem necessary or desirable:

        (a)     to enable the Directors to determine that the proposed transferee is an Eligible Investor;
                and

        (b)     to enable the Company to comply with all applicable laws, including anti-money
                laundering laws.

10.4    The instrument of Transfer of any Share shall be in writing and shall be executed by or on behalf
        of the transferor (and, if the Directors so require, signed by or on behalf of the transferee). The
        transferor shall be deemed to remain the holder of a Share until the name of the transferee is
        entered in the Register of Members.

11      Transmission of Shares

11.1    If a Member dies, the survivor or survivors (where the Member was a joint holder) or his or her
        legal personal representatives (where the Member was a sole holder) shall be the only persons
        recognised by the Company as having any title to the Member's interest in the Company. The
        death of any Member shall not operate to relieve, waive or reduce any liabilities attaching to the
        Member's Shares at the time of death and such liabilities shall continue to bind any survivor or
        survivors, or any personal representative, as the case may be.

11.2    Any person becoming entitled to a Share in consequence of the death or bankruptcy, or the
        liquidation or dissolution, of a Member (or in any other way than by Transfer) and who is an
        Eligible Investor may, upon delivery to the Directors of such evidence as may from time to time be
        required by them of:




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        (a)     such person's entitlement to such Shares; and/or

        (b)     such person's status as an Eligible Investor,
        elect, either to become the holder of such Share or to have such Share Transferred to another
        Eligible Investor nominated by such person. If such person elects to become the holder of such
        Share, such person shall give notice in writing to the Directors to that effect, but the Directors
        shall, in either case, have the same right to decline registration of such person as a holder of
        such Share as they would have had in the case of a Transfer of the Share by that Member before
        his or her death or bankruptcy, or liquidation or dissolution, as the case may be.

11.3    Any person becoming entitled to a Share in consequence of the death or bankruptcy, or the
        liquidation or dissolution, of a Member (or in any other way than by Transfer) and who is not an
        Eligible Investor shall not be registered as the holder of such Share and shall promptly Transfer
        such Share to an Eligible Investor in accordance with these Articles.

11.4    A person becoming entitled to a Share by reason of the death or bankruptcy or liquidation or
        dissolution of the holder (or in any other case than by Transfer), and who is an Eligible Investor,
        shall be entitled to the same dividends and other advantages to which such person would be
        entitled if such person were the registered holder of such Share. However, the person shall not,
        before becoming a Member in respect of a Share, be entitled in respect of it to exercise any right
        conferred by membership in relation to meetings of the Company and the Directors may at any
        time give notice requiring any such person to elect either to be registered himself or to have some
        person nominated by him become the holder of the Share (but the Directors shall, in either case,
        have the same right to decline or suspend registration as they would have had in the case of a
        transfer of the Share by the relevant Member before his death or bankruptcy or liquidation or
        dissolution or any other case than by transfer, as the case may be). If the notice is not complied
        with within ninety days the Directors may thereafter withhold payment of all dividends, bonuses or
        other monies payable in respect of the Share until the requirements of the notice have been
        complied with.

12      Redemption of Shares

12.1    Subject to any provisions relating to a specific Class and/or Series as set out in the Offering
        Memorandum or these Articles or in any resolution constituting a Class and/or Series or
        otherwise forming part of the special rights of such Participating Shares, a Member may require
        the redemption of all or any of such Member's Participating Shares by serving a Redemption
        Notice on the Company. Unless timely receipt is waived by the Directors in a particular case, a
        Redemption Notice shall be required to be received on or before a Redemption Date with respect
        to such Participating Shares (or such number of days prior to such Redemption Date as may be
        determined by the Directors). Any Member redeeming Participating Shares shall submit to the
        Directors the share certificate (if any) issued in respect of those Participating Shares. The
        Company shall redeem such Participating Shares at the Redemption Price, being an amount
        equal to the Net Asset Value per Participating Share of the relevant Class and/or Series
        calculated on the relevant Redemption Date (or if the Redemption Date is not a Valuation Date
        then on the immediately preceding Valuation Date) subject to any deductions, holdbacks or
        adjustments provided for in these Articles and/or the Offering Memorandum.

12.2    The Directors may deduct any Redemption Fee from the Redemption Price. The Directors may
        also deduct such amount which they consider to be an appropriate allowance to reflect fiscal and




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        sale charges which would be incurred for the account of the Company in realising assets or
        closing out positions to provide funds to meet any redemption request.

12.3    A Member may not withdraw a Redemption Notice once submitted to the Company unless (a) the
        Directors shall have declared a Calculation Suspension or Redemption Suspension or (b) the
        Directors determine (in their sole discretion) to permit the withdrawal of such redemption request
        (which they may do in whole or in part). If a relevant Suspension has been declared by the
        Directors, the right of a Member to have its Participating Shares redeemed shall be suspended
        and during the period of Suspension the Member may withdraw its Redemption Notice. Any
        withdrawal of the Redemption Notice shall be made in writing and shall only be effective if
        actually received by the Company before the termination of the period of the Redemption
        Suspension or Calculation Suspension, as applicable. If the Redemption Notice is not withdrawn,
        any Participating Shares the redemption of which has been suspended shall be redeemed once
        the relevant Suspension has ended at the Redemption Price for Participating Shares of the
        relevant Class and/or Series calculated on the next Redemption Date following the end of the
        relevant Suspension.

12.4    The Directors may impose a gate the effect of which is to limit the redemptions of Participating
        Shares of any Class and/or Series or to limit the redemptions of Participating Shares held by any
        Member or Members as of any Redemption Date to such extent and in such manner as is
        disclosed in the Offering Memorandum. If the Directors determine to limit redemptions, the
        Directors may determine the manner in which such gated redemption requests will be dealt with
        on any subsequent Redemption Date.

12.5    If the Company is required by the laws of any relevant jurisdiction to make a withholding from any
        redemption monies payable to the holder of Participating Shares the amount of such withholding
        shall be deducted from the redemption monies otherwise payable to such person.

12.6    No redemption of part of a Member's holding of Participating Shares of any one Class and/or
        Series may be made if, as a result thereof, such Member would hold fewer Participating Shares
        of such Class and/or Series than such minimum number or value of Participating Shares of such
        Class and/or Series as may from time to time be specified (either generally or in any particular
        case or cases) by the Directors. If such partial redemption would reduce such Member's holding
        of Participating Shares to less than such minimum holding, the Directors may, in their discretion,
        elect to compulsorily redeem all of such Member's Participating Shares.

12.7    The Company may, in the absolute discretion of the Directors, refuse to make a redemption
        payment to a Member if the Directors suspect or are advised that the payment of any redemption
        proceeds to such Member may result in a breach or violation of any anti-money laundering law by
        any person in any relevant jurisdiction, or if such refusal is necessary to ensure the compliance
        by the Company, its Directors, the Administrator or any other service provider of the Company
        with any anti-money laundering law in any relevant jurisdiction.

12.8    Any amount payable to a Member for the redemption of Participating Shares shall be paid in such
        currency or currencies as the Directors may determine. Subject to any Payment Suspension, the
        Company shall remit redemption proceeds (net of the costs of remittance) by cheque or wire
        transfer within such period or periods as the Directors shall have disclosed to the Member at the
        time of its subscription for Participating Shares or, in the absence of any such disclosure, within
        such period or periods as the Directors shall determine. In the absence of directions as to
        payment the Company may remit redemption proceeds by cheque to the address of the Member
        appearing on the Register of Members or by wire transfer to such account as the Directors deem




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        appropriate in the circumstances. The Company shall not be liable for any loss resulting from this
        procedure.

12.9    On any redemption of Participating Shares the Directors shall have the power to satisfy (in whole
        or in part) the Redemption Price (and any other sums payable on redemption as provided in
        these Articles) owing on the redemption of such Participating Shares by dividing in specie the
        whole or any part of the assets of the Company (including, without limitation, shares, debentures,
        or securities of any other company whether or not held by the Company on the Redemption Date
        in question) and either (i) distributing such assets directly to the redeeming shareholder, and/or
        (ii) distributing or allocating such assets to a liquidating account or other similar mechanism to be
        managed and/or liquidated at the discretion of the Directors.

12.10 Participating Shares shall be treated as having been redeemed with effect from the relevant
      Redemption Date irrespective of whether or not a Member has been removed from the Register
      of Members or the Redemption Price has been determined or remitted. Accordingly, on and from
      the relevant Redemption Date, Members in their capacity as such will not be entitled to or be
      capable of exercising any rights arising under these Articles with respect to Participating Shares
      being redeemed (including any right to receive notice of, attend or vote at any meeting of the
      Company) save the right to receive the Redemption Price and any dividend which has been
      declared prior to the relevant Redemption Date but not yet paid (in each case with respect to the
      Participating Shares being redeemed). Such Members will be treated as creditors of the
      Company with respect to the Redemption Price and will rank accordingly in the priority of the
      Company's creditors.

12.11 Once a Participating Share is redeemed it shall be available for re issue and, until re issue, shall
      form part of the authorised and unissued share capital of the Company.

12.12 Upon the written request of a Member or prospective Member in a form acceptable to the
      Directors, the Company may, in the discretion of the Directors, accept a standing redemption
      request from such Member or prospective Member pursuant to which the Company shall agree
      (without assuming any liability for failing to do so) to use its commercially reasonable efforts to
      redeem such Member's Participating Shares to the extent necessary to ensure that such Member
      does not own over a specified percentage of the outstanding Participating Shares of the
      Company or any Class and/or Series thereof; such percentage to be the percentage identified by
      such Member or prospective Member in such written request as being the percentage which such
      Member's or prospective Member's ownership cannot exceed without material risk of such
      Member or prospective Member being in violation of applicable law or regulation. Any such
      written request may be revoked by notice in writing to the Company from the affected Member.

12.13 No amendment to these Articles made after a Redemption Date shall affect a Member with
      respect to Participating Shares of that Member which have been redeemed, or are being treated
      as redeemed, on or prior to that Redemption Date.

12.14 Unless otherwise provided in the Offering Memorandum, unremitted redemption proceeds shall
      not bear interest against the Company and redeemed Participating Shares shall not participate in
      the profits and losses of the Company with effect from the relevant Redemption Date.

13      Compulsory Redemption

13.1    The Directors may cause the Company to redeem any or all of the Participating Shares held by
        any person at the appropriate Redemption Price in the circumstances disclosed in the Offering




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        Memorandum. If the Directors determine compulsorily to redeem any Participating Shares under
        this Article they shall give the holder of the Participating Shares such notice of the redemption as
        they shall have disclosed to the Member at the time of its subscription for Participating Shares or,
        in the absence of any such disclosure, within such period as the Directors shall determine.

13.2    The Directors may cause a compulsory redemption during any period for which a Redemption
        Suspension has been declared.

13.3    Without prejudice to the generality of the foregoing, the Company may (without notice)
        compulsorily redeem the Participating Shares of any Member and, on behalf of such Member,
        apply the proceeds of redemption in paying for new Participating Shares to give effect to any
        exchange, conversion or roll-up policy disclosed to Members pursuant to which Participating
        Shares of one Class or Series (the "Old Shares") may, at the option of the Company, be
        exchanged for Participating Shares of another Class or Series (the "New Shares") by means of
        the redemption of the Old Shares and the immediate re-subscription of the redemption proceeds
        in paying up the New Shares.

14      Purchase and Surrender of Shares

14.1    Subject to the provisions of the Statute and without prejudice to these Articles, the Company may
        purchase its own Shares (including any redeemable Shares) in such manner and on such other
        terms as the Directors may agree with the relevant Member.

14.2    The Company may make a payment in respect of the redemption or purchase of its own Shares
        in any manner permitted by the Statute, including out of capital.

14.3    The Directors may accept the surrender for no consideration of any fully paid Share.

15      Treasury Shares

15.1    The Directors may, prior to the purchase, redemption or surrender of any Share, determine that
        such Share shall be held as a Treasury Share.

15.2    The Directors may determine to cancel a Treasury Share or transfer a Treasury Share on such
        terms as they think proper (including, without limitation, for nil consideration).

16      Variation of Share Rights

16.1    Subject to the Statute and these Articles, all or any of the Share Rights applicable to any Class or
        Series of Participating Shares in issue (unless otherwise provided by the terms of issue of those
        Participating Shares) may (whether or not the Company is being wound up) be varied without the
        consent of the holders of the issued Participating Shares of that Class or Series where such
        variation is considered by the Directors not to have a material adverse effect upon such holders'
        Share Rights; otherwise, any such variation may be made only with the prior consent in writing of
        the holders of not less than two-thirds by Net Asset Value of such Participating Shares, or with
        the sanction of a resolution passed by a majority of at least two-thirds of the votes cast in person
        or by proxy at a separate meeting of the holders of such Participating Shares. For the avoidance
        of doubt, the Directors reserve the right, notwithstanding that any such variation may not have a
        material adverse effect, to obtain consent from the holders of such Participating Shares. To any
        such meeting all the provisions of these Articles as to general meetings shall mutatis mutandis
        apply, but so that any holder of a Participating Share present in person or by proxy may demand




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        a poll, and the quorum for any such meeting shall be Members holding not less than twenty per
        cent. By Net Asset Value of the issued Participating Shares of the relevant Class or Series. At
        any Class meeting, the voting rights attributable to each Participating Share shall be calculated by
        reference to the Net Asset Value per Participating Share (calculated as at the most recent
        Valuation Date) and not on the basis of one Participating Share, one vote.

16.2    For the purposes of a Class consent, the Directors may treat two or more or all the Classes or
        Series of Participating Shares as forming one Class or Series if the Directors consider that such
        Classes or Series would be affected in the same way by the proposals under consideration, but in
        any other case shall treat them as separate Classes or Series.

16.3    Where the Shares of any Class or Series (the "First Class") rank, or will on issue rank, pari
        passu with the Shares of another Class or Series (the "Second Class") with respect to
        participation in the same pool of profits or assets of the Company on a winding up, the rights of
        the First Class shall be deemed to be varied by any variation of or creation of rights in the Second
        Class (including on initial issue) which gives the Second Class priority over the First Class on a
        winding up of the Company.

16.4    In relation to any Class or Series consent required pursuant to Article 16.1, the Directors in their
        discretion may invoke the following procedure (the "Negative Consent Procedure"). The
        Directors shall provide written notice of the proposed variation (the "Proposal") to the Members
        of the affected Class or Series and shall specify a deadline (the "Redemption Request Date"),
        which shall be no earlier than 30 days after the date of giving such notice, by which date such
        Members may submit a written request for redemption of some or all of their Participating Shares
        of the affected Class and/or Series on the Redemption Date (the "Specified Redemption Date")
        specified by the Directors in such notice. The terms of the Proposal shall be such that its
        specified effective date (the "Effective Date") shall not be on or prior to the Specified Redemption
        Date. Such notice shall further provide that the holders of any Participating Shares in respect of
        which a request for redemption has not been received by the Redemption Request Date (the
        "Affected Shares") shall, in the absence of express written refusal to consent, be deemed to
        have consented in writing to the Proposal (such Affected Shares being the "Negative Consent
        Shares"). In the event that the Negative Consent Procedure is followed, only the Affected Shares
        shall be considered for the purposes of determining whether the written consent majority has
        been obtained under Article 16.1 with the holders of the Negative Consent Shares being deemed
        to have submitted a written consent in favour of the Proposal on the Effective Date.

16.5    Subject to the foregoing Articles, the Share Rights applicable to any Class or Series of Shares in
        issue shall (unless otherwise expressly provided by the conditions of issue of such Shares) be
        deemed not to be varied by:

        (a)     the creation, allotment or issue of further Shares ranking pari passu therewith and which
                may be issued with the benefit of the terms referred to below;

        (b)     the purchase or redemption of any Shares;

        (c)     the exercise of the powers to allocate assets and charge liabilities to the various Separate
                Accounts or any of them and to transfer the same to and from the various Separate
                Accounts or any of them, as provided for in these Articles;

        (d)     any reduction or waiver of any fees (including early redemption, management or
                performance fees) chargeable or allocable to any Class or Series of Shares;




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        (e)     any reduction or waiver of any redemption notice, gate or lock-up period applicable to any
                Class or Series of Shares; or

        (f)     any variation or waiver contemplated by or provided for in the Offering Memorandum
                applicable to the relevant Class and/or Series.

17      Variation of Terms
        The Directors, with the consent of the Investment Manager, shall have the absolute discretion to
        agree with a Member to waive or modify the terms applicable to such Member's subscription for
        Participating Shares (including those relating to management and performance fees and
        redemption terms) without obtaining the consent of any other Member; provided that such waiver
        or modification does not amount to a variation of the rights attaching to the Participating Shares of
        such other Members.

18      Certificates for Shares

18.1    A Member shall only be entitled to a share certificate if the Directors resolve that share
        certificates shall be issued. Share certificates representing Shares, if any, shall be in such form
        as the Directors may determine. Share certificates shall be signed by one or more Directors or
        another person authorised by the Directors. The Directors may authorise certificates to be issued
        with the authorised signature(s) affixed by mechanical process. All certificates for Shares shall
        be consecutively numbered or otherwise identified and shall specify the Shares to which they
        relate. All certificates surrendered to the Company for transfer shall be cancelled and, subject to
        these Articles, no new certificate shall be issued until the former certificate representing a like
        number of relevant Shares shall have been surrendered and cancelled.

18.2    The Company shall not be bound to issue more than one certificate for Shares held jointly by
        more than one person and delivery of a certificate to one joint holder shall be a sufficient delivery
        to all of them.

18.3    If a share certificate is defaced, worn out, lost or destroyed, it may be renewed on such terms (if
        any) as to evidence and indemnity and on the payment of such expenses reasonably incurred by
        the Company in investigating evidence, as the Directors may prescribe, and (in the case of
        defacement or wearing out) on delivery up of the old certificate.

19      Register of Members

19.1    The Company shall maintain or cause to be maintained the Register of Members.

19.2    The Directors may determine that the Company shall maintain one or more branch registers of
        Members in accordance with the Statute. The Directors may also determine which register of
        Members shall constitute the principal register and which shall constitute the branch register or
        registers, and to vary such determination from time to time.

20      Closing Register of Members and Fixing Record Date

20.1    For the purpose of determining Members entitled to notice of, or to vote at any meeting of
        Members or any adjournment thereof, or Members entitled to receive payment of any dividend, or
        in order to make a determination of Members for any other proper purpose, the Directors may




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        provide that the Register of Members shall be closed for transfers for a stated period which shall
        not in any case exceed thirty days.

20.2    In lieu of, or apart from, closing the Register of Members, the Directors may fix in advance or
        arrears a date as the record date for any such determination of Members entitled to notice of, or
        to vote at any meeting of the Members or any adjournment thereof, or for the purpose of
        determining the Members entitled to receive payment of any dividend or in order to make a
        determination of Members for any other proper purpose.

20.3    If the Register of Members is not so closed and no record date is fixed for the determination of
        Members entitled to notice of, or to vote at, a meeting of Members or Members entitled to receive
        payment of a dividend, the date on which notice of the meeting is sent or the date on which the
        resolution of the Directors declaring such dividend is passed, as the case may be, shall be the
        record date for such determination of Members. When a determination of Members entitled to
        vote at any meeting of Members has been made as provided in this Article, such determination
        shall apply to any adjournment thereof.

21      Non Recognition of Trusts
        The Company shall not be bound by or compelled to recognise in any way (even when notified)
        any equitable, contingent, future or partial interest in any Share, or (except only as is otherwise
        provided by these Articles or the Statute) any other rights in respect of any Share other than an
        absolute right to the entirety thereof in the registered holder.

22      Lien on Shares

22.1    The Company shall have a first and paramount lien on all Shares (whether fully paid-up or not)
        registered in the name of a Member (whether solely or jointly with others) for all debts, liabilities
        or engagements to or with the Company (whether presently payable or not) by such Member or
        such Member's estate, either alone or jointly with any other person, whether a Member or not, but
        the Directors may at any time declare any Share to be wholly or in part exempt from the
        provisions of this Article. The registration of a Transfer of any such Share shall operate as a
        waiver of the Company's lien thereon. The Company's lien on a Share shall also extend to any
        amount payable in respect of that Share.

22.2    The Company may sell, in such manner as the Directors think fit, any Shares on which the
        Company has a lien, if a sum in respect of which the lien exists is presently payable, and is not
        paid within fourteen clear days after notice has been given to the holder of the Shares, or to the
        person entitled to it in consequence of the death or bankruptcy of the holder, demanding payment
        and stating that if the notice is not complied with the Shares may be sold.

22.3    To give effect to any such sale the Directors may authorise any person to execute an instrument
        of Transfer of the Shares sold to, or in accordance with the directions of, the purchaser. The
        purchaser or such purchaser's nominee shall be registered as the holder of the Shares comprised
        in any such Transfer, and the purchaser shall not be bound to see to the application of the
        purchase money, nor shall the purchaser's title to the Shares be affected by any irregularity or
        invalidity in the sale or the exercise of the Company's power of sale under these Articles.

22.4    The net proceeds of such sale after payment of costs, shall be applied in payment of such part of
        the amount in respect of which the lien exists as is presently payable and any balance shall




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        (subject to a like lien for sums not presently payable as existed upon the Shares before the sale)
        be paid to the person entitled to the Shares at the date of the sale.

23      Amendments of Memorandum and Articles and Alteration of Capital

23.1    The Company may, by Ordinary Resolution:

        (a)     increase its share capital by such sum and with such rights, priorities and privileges
                annexed thereto, as the resolution shall prescribe;

        (b)     consolidate and divide all or any of its share capital into Shares of larger amount than its
                existing Shares;

        (c)     by subdivision of its existing Shares or any of them divide the whole or any part of its
                share capital into Shares of smaller amount than is fixed by the Memorandum; and

        (d)     cancel any Shares that at the date of the passing of the resolution have not been taken or
                agreed to be taken by any person.

23.2    All new Shares created in accordance with the provisions of the preceding Article shall be subject
        to the same provisions of these Articles with reference to liens, Transfer, transmission and
        otherwise as the Shares in the original share capital.

23.3    Subject to the provisions of the Statute and the provisions of these Articles as regards the matters
        to be dealt with by Ordinary Resolution the Company may, by Special Resolution:

        (a)     change its name;

        (b)     alter or add to these Articles;

        (c)     alter or add to the Memorandum with respect to any objects, powers or other matters
                specified therein; and

        (d)     reduce its share capital or any capital redemption reserve fund.

24      Registered Office
        Subject to the provisions of the Statute, the Company may by resolution of the Directors change
        the location of its Registered Office. The Company may, in addition to its Registered Office,
        maintain such other offices or places of business as the Directors determine.

25      General Meetings

25.1    All general meetings other than annual general meetings shall be called extraordinary general
        meetings. The Directors may call general meetings.

25.2    The Company may but shall not be obliged to hold a general meeting in each year as its annual
        general meeting, and shall specify the meeting as such in the notice calling it. Any annual
        general meeting shall be held at such time and place as the Directors shall determine.




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25.3    The Directors shall, on a Members' requisition, forthwith proceed to convene an extraordinary
        general meeting of the Company. A Members' requisition is a requisition of Members of the
        Company holding at the date of deposit of the requisition not less than ten per cent. in Net Asset
        Value of the Shares as at that date which carry the right to vote at general meetings of the
        Company.

25.4    The requisition must state the objects of the meeting and must be signed by the requisitionists
        and deposited at the Registered Office, and may consist of several documents in like form each
        signed by one or more requisitionists.

25.5    If the Directors do not, within twenty-one days from the date of the deposit of the requisition, duly
        proceed to convene a general meeting to be held within a further twenty-one days, the
        requisitionists, or any of them representing more than one-half of the total voting rights of all of
        them, may themselves convene a general meeting, but any meeting so convened shall not be
        held after the expiration of three months after the expiration of the first above-mentioned twenty-
        one days.

25.6    A general meeting convened as aforesaid by requisitionists shall be convened in the same
        manner, as nearly as possible, as that in which general meetings are to be convened by
        Directors.

26      Notice of General Meetings

26.1    At least five Business Days' notice shall be given of any general meeting. Every notice shall be
        exclusive of the day on which it is given or deemed to be given and of the day on which the
        meeting is to be held and shall specify the place, the day and the hour of the meeting and the
        general nature of the business and shall be given in the manner hereinafter mentioned or in such
        other manner if any as may be prescribed by the Company, provided that a general meeting of
        the Company shall, whether or not the notice specified in this Article has been given and whether
        or not the provisions of these Articles regarding general meetings have been complied with, be
        deemed to have been duly convened if it is so agreed:

        (a)     in the case of an annual general meeting, by all the Members entitled to attend and vote
                thereat; and

        (b)     in the case of an extraordinary general meeting, by a majority in number of the Members
                having the right to attend and vote at the meeting, being a majority together holding not
                less than ninety five per cent. in Net Asset Value of the Shares giving that right.

26.2    The accidental omission to give notice of a general meeting to, or the non receipt of notice of a
        meeting by, any person entitled to receive notice thereof shall not invalidate the proceedings of
        that meeting.

27      Proceedings at General Meetings

27.1    No business shall be transacted at any general meeting unless a quorum is present. A quorum
        shall be one or more Members (present in person, by proxy or authorised corporate
        representative, as the case may be) entitled to attend and vote and representing not less than
        twenty per cent. in Net Asset Value of all of the Shares in issue and carrying the right to vote at
        the meeting.




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27.2    A person may, with the consent of the Directors, participate at a general meeting by conference
        telephone or other communications equipment by means of which all the persons participating in
        the meeting can communicate with each other. Participation by a person in a general meeting in
        this manner is treated as presence in person at that meeting.

27.3    A resolution (including a Special Resolution) in writing (in one or more counterparts) signed by all
        Members for the time being entitled to receive notice of and to attend and vote at general
        meetings (or, being corporations or other non-natural persons, signed by their duly authorised
        representatives) shall be as valid and effective as if the resolution had been passed at a general
        meeting of the Company duly convened and held.

27.4    If a quorum is not present within half an hour from the time appointed for the meeting or if during
        such a meeting a quorum ceases to be present, the meeting, if convened upon the requisition of
        Members, shall be dissolved and in any other case it shall stand adjourned to the same day in the
        next week at the same time and place or to such other day, time or such other place as the
        Directors may determine, and if at the adjourned meeting a quorum is not present within half an
        hour from the time appointed for the meeting the Members present shall be a quorum.

27.5    The chairman, if any, of the board of Directors shall preside as chairman at every general
        meeting of the Company, or if there is no such chairman, or if the chairman shall not be present
        within fifteen minutes after the time appointed for the holding of the meeting, or is unwilling to act,
        the Directors present shall elect one of their number to be chairman of the meeting.

27.6    If no Director is willing to act as chairman, or if no Director is present within fifteen minutes after
        the time appointed for holding the meeting, the Members present shall choose one of their
        number to be chairman of the meeting.

27.7    The chairman may, with the consent of a meeting at which a quorum is present (and shall if so
        directed by the meeting) adjourn the meeting from time to time and from place to place, but no
        business shall be transacted at any adjourned meeting other than the business left unfinished at
        the meeting from which the adjournment took place. When a general meeting is adjourned for
        thirty days or more, notice of the adjourned meeting shall be given as in the case of an original
        meeting. Otherwise it shall not be necessary to give any such notice.

27.8    A resolution put to the vote of a meeting shall be decided on a show of hands unless before, or
        on the declaration of the result of, the show of hands, the chairman or any Member present in
        person or by proxy (or in the case of a non-natural person, by its duly authorised representative
        or by proxy) demands a poll.

27.9    Unless a poll is duly demanded a declaration by the chairman that a resolution has been carried
        or carried unanimously, or by a particular majority, or lost or not carried by a particular majority,
        an entry to that effect in the minutes of the proceedings of the meeting shall be conclusive
        evidence of that fact without proof of the number or proportion of the votes recorded in favour of
        or against such resolution.

27.10 The demand for a poll may be withdrawn.

27.11 Except on a poll demanded on the election of a chairman or on a question of adjournment, a poll
      shall be taken as the chairman directs, and the result of the poll shall be deemed to be the
      resolution of the general meeting at which the poll was demanded.




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27.12 A poll demanded on the election of a chairman or on a question of adjournment shall be taken
      forthwith. A poll demanded on any other question shall be taken at such time as the chairman of
      the general meeting directs, and any business other than that upon which a poll has been
      demanded or is contingent thereon may proceed pending the taking of the poll.

27.13 In the case of an equality of votes, whether on a show of hands or on a poll, the chairman shall
      not be entitled to a second or casting vote.

28      Votes of Members

28.1    Subject to any rights or restrictions attached to any Shares, on a show of hands every Member
        holding Shares carrying the right to vote on the matter in question who (being an individual) is
        present in person or by proxy or (if a corporation or other non-natural person) is present by its
        duly authorised representative or by proxy, shall have one vote and on a poll the voting rights
        attributable to each Share carrying the right to vote on the matter in question shall be calculated
        by reference to the Net Asset Value per Share (calculated as at the most recent Valuation Date)
        and not on the basis of one Share, one vote.

28.2    In the case of joint holders of record, the vote of the senior holder who tenders a vote, whether in
        person or by proxy, shall be accepted to the exclusion of the votes of the other joint holders.
        Seniority among joint holders shall be determined by the order in which the names of the holders
        stand in the Register of Members.

28.3    A Member of unsound mind, or in respect of whom an order has been made by any court or
        authority having jurisdiction in lunacy, may vote, whether on a show of hands or on a poll, by the
        Member's committee, receiver, curator bonis, or other similar person appointed on such
        Member's behalf by that court or authority and any such committee, receiver, curator bonis or
        other similar person may vote by proxy.

28.4    No person shall be entitled to vote at any general meeting unless such person is registered as a
        Member on the record date for such meeting, nor unless all calls or other monies then payable by
        such person in respect of such Shares have been paid.

28.5    No objection shall be raised to the qualification of any voter except at the general meeting or
        adjourned general meeting at which the vote objected to is purported to be given or tendered and
        every vote not disallowed at the meeting shall be valid. Any objection made in due time shall be
        referred to the chairman whose decision shall be final and conclusive.

28.6    On a poll or on a show of hands votes may be cast either personally or by proxy. A Member may
        appoint more than one proxy or the same proxy under one or more instruments to attend and
        vote at a meeting. Where a Member appoints more than one proxy the instrument of proxy shall
        state which proxy is entitled to vote on a show of hands.

28.7    A Member holding more than one Share need not cast the votes in respect of its Shares in the
        same way on any resolution and therefore may vote a Share or some or all such Shares either for
        or against a resolution and/or abstain (any such abstentions to count neither for nor against the
        resolution) from voting a Share or some or all of the Shares and, subject to the terms of the
        instrument appointing it, a proxy appointed under one or more instruments may vote a Share or
        some or all of the Shares in respect of which such proxy is appointed either for or against a
        resolution and/or abstain from voting.




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29      Proxies

29.1    The instrument appointing a proxy shall be in writing, be executed under the hand of the
        appointor or of such appointor's attorney duly authorised in writing or, if the appointor is a
        corporation or other non-natural person, under the hand of an officer or other person duly
        authorised for that purpose. A proxy need not be a Member of the Company.

29.2    The Directors may, in the notice convening any meeting or adjourned meeting, or in an
        instrument of proxy sent out by the Company, specify the place and the time (being not later than
        the time for holding the meeting or adjourned meeting to which the proxy relates) at which the
        instrument appointing a proxy shall be deposited. In the absence of any such direction from the
        Directors in the notice convening any meeting or adjourned meeting, the instrument appointing a
        proxy shall be deposited at the Registered Office not less than 48 hours before the time for
        holding the meeting or adjourned meeting at which the person named in the instrument proposes
        to vote.

29.3    The chairman may in any event, at the chairman's discretion, declare that an instrument of proxy
        shall be deemed to have been duly deposited. An instrument of proxy that is not deposited in the
        manner permitted and which has not been declared to have been duly deposited by the
        chairman, shall be invalid.

29.4    The instrument appointing a proxy may be in any usual or common form and may be incorporated
        within any subscription agreement or other document signed by or on behalf of the Member. An
        instrument appointing a proxy may be expressed to be for a particular meeting or any
        adjournment thereof or generally until revoked. An instrument appointing a proxy shall be
        deemed to include the power to demand or join or concur in demanding a poll.

29.5    Votes given in accordance with the terms of an instrument of proxy shall be valid notwithstanding
        the previous death or insanity of the principal or revocation of the proxy or of the authority under
        which the proxy was executed, or the Transfer of the Share in respect of which the proxy is given
        unless notice in writing of such death, insanity, revocation or Transfer was received by the
        Company at the Registered Office before the commencement of the general meeting, or
        adjourned meeting at which it is sought to use the proxy.

30      Corporate Members
        Any corporation or other non-natural person which is a Member of the Company may in
        accordance with its constitutional documents, or in the absence of such provision by resolution of
        its directors or other governing body, authorise such person as it thinks fit to act as its
        representative at any meeting of the Company or of any Class of Members, and the person so
        authorised shall be entitled to exercise the same powers on behalf of the corporation which such
        person represents as the corporation could exercise if it were an individual Member.

31      Shares Beneficially Owned by the Company
        Shares of the Company that are beneficially owned by the Company shall not be voted, directly or
        indirectly, at any meeting and shall not be counted in determining the total number of outstanding
        Shares at any given time.




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32      Directors
        There shall be a board of Directors consisting of not less than one person (exclusive of alternate
        Directors) provided however that the Company may from time to time by Ordinary Resolution
        increase or reduce the limits in the number of Directors. The first Directors of the Company shall
        be determined in writing by, or appointed by a resolution of, the Subscriber.

33      Powers of Directors

33.1    Subject to the provisions of the Statute, the Memorandum and the Articles and to any directions
        given by Special Resolution, the business of the Company shall be managed by the Directors
        who may exercise all the powers of the Company. No alteration of the Memorandum or these
        Articles and no such direction shall invalidate any prior act of the Directors which would have
        been valid if that alteration had not been made or that direction had not been given. A duly
        convened meeting of Directors at which a quorum is present may exercise all powers exercisable
        by the Directors.

33.2    All cheques, promissory notes, drafts, bills of exchange and other negotiable instruments and all
        receipts for monies paid to the Company shall be signed, drawn, accepted, endorsed or
        otherwise executed as the case may be in such manner as the Directors shall determine by
        resolution.

33.3    The Directors may exercise all the powers of the Company to borrow money and to mortgage or
        charge its undertaking, property and uncalled capital or any part thereof and to issue debentures,
        debenture stock, mortgages, bonds and other such securities whether outright or as security for
        any debt, liability or obligation of the Company or of any third party. Notwithstanding the
        foregoing, the Directors shall not exercise the powers specified in this Article in breach of any
        limits or restrictions specified in the Offering Memorandum.

34      Appointment and Removal of Directors

34.1    The Company may, by Ordinary Resolution, appoint any person to be a Director and may, by
        Ordinary Resolution, remove any Director.

34.2    The Directors may appoint any person to be a Director, either to fill a vacancy or as an additional
        Director provided that the appointment does not cause the number of Directors to exceed any
        number fixed by or in accordance with these Articles as the maximum number of Directors.

35      Vacation of Office of Director
        The office of a Director shall be vacated if:

        (a)     the Director gives notice in writing to the Company that such Director resigns the office of
                Director;

        (b)     the Director is absent (without being represented by proxy or an alternate Director
                appointed by such Director) from three consecutive meetings of the board of Directors
                without special leave of absence from the Directors, and they pass a resolution that such
                Director has by reason of such absence vacated office;

        (c)     the Director dies, becomes bankrupt or makes any arrangement or composition with such
                Director's creditors generally;




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        (d)     the Director is or becomes of unsound mind;

        (e)     the Director ceases to be a Director by virtue of, or is prohibited from being a Director by,
                an order made pursuant to any law or regulation binding on the Company; or

        (f)     all the other Directors of the Company (being not less than two in number) resolve that
                such Director should be removed as a Director.

36      Proceedings of Directors

36.1    The quorum for the transaction of the business of the Directors may be fixed by the Directors, and
        unless so fixed shall be two if there are two or more Directors, and shall be one if there is only
        one Director. A person who holds office as an alternate Director shall, if such person's appointor
        is not present, be counted in the quorum. A Director who also acts as an alternate Director shall,
        if such Director's appointor is not present, count twice towards the quorum.

36.2    Subject to the provisions of these Articles, the Directors may regulate their proceedings as they
        think fit. Questions arising at any meeting shall be decided by a majority of votes. In the case of
        an equality of votes, the chairman shall not have a second or casting vote. A Director who is also
        an alternate Director shall be entitled in the absence of such Director's appointor to a separate
        vote on behalf of such Director's appointor in addition to such Director's own vote.

36.3    A person may participate in a meeting of the Directors or committee of Directors by conference
        telephone or other communications equipment by means of which all the persons participating in
        the meeting can communicate with each other at the same time. Participation by a person in a
        meeting in this manner is treated as presence in person at that meeting. Unless otherwise
        determined by the Directors, the meeting shall be deemed to be held at the place where the
        chairman is located at the start of the meeting.

36.4    A resolution in writing (in one or more counterparts) signed by all the Directors or all the members
        of a committee of Directors (an alternate Director being entitled to sign such a resolution on
        behalf of such alternate Director's appointor) shall be as valid and effectual as if it had been
        passed at a meeting of the Directors, or committee of Directors as the case may be, duly
        convened and held.

36.5    A Director or alternate Director may, or other officer of the Company at the direction of a Director
        or alternate Director may call a meeting of the Directors by at least two days' notice in writing to
        every Director and alternate Director which notice shall set forth the general nature of the
        business to be considered unless notice is waived by all the Directors (or their alternates) either
        at, before or after the meeting is held.

36.6    The continuing Directors may act notwithstanding any vacancy in their body, but if and so long as
        their number is reduced below the number fixed by or pursuant to these Articles as the necessary
        quorum of Directors the continuing Directors or Director may act for the purpose of increasing the
        number of Directors to that number, or of summoning a general meeting of the Company, but for
        no other purpose.

36.7    The Directors may elect a chairman of their board and determine the period for which the
        chairman is to hold office; but if no such chairman is elected, or if at any meeting the chairman is
        not present within five minutes after the time appointed for holding the same, the Directors
        present may choose one of their number to be chairman of the meeting.




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36.8    All acts done by any meeting of the Directors or of a committee of Directors (including any person
        acting as an alternate Director) shall, notwithstanding that it be afterwards discovered that there
        was some defect in the appointment of any Director or alternate Director, or that they or any of
        them were disqualified, be as valid as if every such person had been duly appointed and qualified
        to be a Director or alternate Director as the case may be.

36.9    A Director but not an alternate Director may be represented at any meetings of the board of
        Directors by a proxy appointed in writing by such Director. The proxy shall count towards the
        quorum and the vote of the proxy shall for all purposes be deemed to be that of the appointing
        Director.

37      Presumption of Assent
        A Director who is present at a meeting of the board of Directors at which action on any Company
        matter is taken shall be presumed to have assented to the action taken unless the Director's
        dissent shall be entered in the minutes of the meeting or unless the Director shall file such
        Director's written dissent from such action with the person acting as the chairman or secretary of
        the meeting before the close or adjournment thereof or shall forward such dissent by personal
        delivery, courier or registered post to such person immediately after the close or adjournment of
        the meeting. Such right to dissent shall not apply to a Director who voted in favour of such action.

38      Directors' Interests

38.1    A Director may hold any other office or place of profit under the Company (other than the office of
        Auditor) in conjunction with such Director's office of Director for such period and on such terms as
        to remuneration and otherwise as the Directors may determine.

38.2    A Director may act alone or by such Director's firm in a professional capacity for the Company
        and the Director or such Director's firm shall be entitled to remuneration for professional services
        as if such Director were not a Director or alternate Director.

38.3    A Director or alternate Director of the Company may be or become a director or other officer of or
        otherwise interested in any company promoted by the Company or in which the Company may be
        interested as shareholder or otherwise, and no such Director or alternate Director shall be
        accountable to the Company for any remuneration or other benefits received by such Director or
        alternate Director as a director or officer of, or from such Director or alternate Director's interest
        in, such other company.

38.4    No person shall be disqualified from the office of Director or alternate Director or prevented by
        such office from contracting with the Company, either as vendor, purchaser or otherwise, nor
        shall any such contract or any contract or transaction entered into by or on behalf of the Company
        in which any Director or alternate Director shall be in any way interested be or be liable to be
        avoided, nor shall any Director or alternate Director so contracting or being so interested be liable
        to account to the Company for any profit realised by any such contract or transaction by reason of
        such Director holding office or of the fiduciary relationship thereby established. A Director (or
        such Director's alternate Director in such Director's absence) shall be at liberty to vote in respect
        of any contract or transaction in which such Director is interested provided that the nature of the
        interest of any Director or alternate Director in any such contract or transaction shall be disclosed
        by such Director at or prior to such Director's consideration and any vote thereon.




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38.5    A general notice that a Director or alternate Director is a shareholder, director, officer or
        employee of any specified firm or company and is to be regarded as interested in any transaction
        with such firm or company shall be sufficient disclosure for the purposes of voting on a resolution
        in respect of a contract or transaction in which such Director has an interest, and after such
        general notice it shall not be necessary to give special notice relating to any particular
        transaction.

39      Minutes
        The Directors shall cause minutes to be made in books kept for the purpose of all appointments
        of officers made by the Directors, all proceedings at meetings of the Company or the holders of
        any Class of Shares and of the Directors, and of committees of Directors including the names of
        the Directors or alternate Directors present at each meeting.

40      Delegation of Directors' Powers

40.1    The Directors may delegate any of their powers to any committee consisting of one or more
        Directors or such other persons as the Directors may designate. They may also delegate to any
        managing director or any Director holding any other executive office such of their powers as they
        consider desirable to be exercised by such managing director or any Director provided that an
        alternate Director may not act as managing director and the appointment of a managing director
        shall be revoked forthwith if such managing director ceases to be a Director. Any such
        appointment may be made subject to any conditions the Directors may impose, and either
        collaterally with or to the exclusion of their own powers, and may be revoked or altered. Subject
        to any such conditions, the proceedings of a committee of Directors shall be governed by these
        Articles regulating the proceedings of Directors, so far as they are capable of applying.

40.2    The Directors may establish any committees, local boards or agencies or appoint any person to
        be a manager or agent for managing the affairs of the Company and may appoint any person to
        be a member of such committees or local boards. Any such appointment may be made either
        collaterally with or to the exclusion of the Directors' powers, shall be subject to any conditions the
        Directors may impose, and may be revoked or altered. Subject to any such conditions, the
        proceedings of any such committee, local board or agency shall be governed by these Articles
        regulating the proceedings of Directors, so far as they are capable of applying.

40.3    The Directors may by power of attorney or otherwise appoint any company, firm, person or body
        of persons to be the attorney or authorised signatory of the Company for such purpose and with
        such powers, authorities and discretions (not exceeding those vested in or exercisable by the
        Directors under these Articles) and for such period and subject to such conditions as they may
        think fit, and any such powers of attorney or other appointment may contain such provisions for
        the protection and convenience of persons dealing with any such attorneys or authorised
        signatories as the Directors may think fit and may also authorise any such attorney or authorised
        person to delegate all or any of the powers, authorities and discretions vested in such attorney or
        authorised person.

40.4    The Directors may appoint such officers as they consider necessary on such terms, at such
        remuneration (if any) and to perform such duties, and subject to such provisions as to
        disqualification and removal as the Directors may think fit. Unless otherwise specified in the
        terms of such officer's appointment an officer may be removed by resolution of the Directors or
        Members.




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41      Alternate Directors

41.1    Any Director (other than an alternate Director) may by written notice to the Company appoint any
        other Director, or any other person willing to act, to be an alternate Director and by written notice
        to the Company may remove from office an alternate Director so appointed by the Director.

41.2    An alternate Director shall be entitled to receive notice of all meetings of Directors and of
        meetings of committees of Directors of which such alternate Director's appointor is a member, to
        attend and vote at every such meeting at which the Director appointing such alternate Director is
        not personally present, and generally to perform all the functions of such alternate Director's
        appointor as a Director in such Director's absence.

41.3    An alternate Director shall cease to be an alternate Director if such alternate Director's appointor
        ceases to be a Director.

41.4    Any appointment or removal of an alternate Director shall be by notice to the Company signed by
        the Director making or revoking the appointment or in any other manner approved by the
        Directors.

41.5    Subject to the provisions of the Articles, an alternate Director shall be deemed for all purposes to
        be a Director and shall alone be responsible for such alternate Director's own acts and defaults
        and shall not be deemed to be the agent of the Director appointing such alternate Director.

42      No Minimum Shareholding for Directors
        The Company in general meeting may fix a minimum shareholding required to be held by a
        Director, but unless and until such a shareholding qualification is fixed a Director shall not be
        required to hold Shares.

43      Remuneration of Directors

43.1    The remuneration to be paid to the Directors, if any, shall be such remuneration as the Directors
        shall determine. The Directors shall also be entitled to be paid all travelling, hotel and other
        expenses properly incurred by them in connection with their attendance at meetings of Directors
        or committees of Directors, or general meetings of the Company, or separate meetings of the
        holders of any Class of Shares or debentures of the Company, or otherwise in connection with
        the business of the Company, or to receive a fixed allowance in respect thereof as may be
        determined by the Directors, or a combination partly of one such method and partly the other.

43.2    The Directors may by resolution approve additional remuneration to any Director for any services
        other than such Director's ordinary routine work as a Director. Any fees paid to a Director who is
        also counsel to the Company, or otherwise serves it in a professional capacity, shall be in
        addition to such Director's remuneration as a Director.

44      Seal
        The Company may, if the Directors so determine, have a Seal, which shall only be used by the
        authority of the Directors or of a committee of the Directors authorised by the Directors. Every
        instrument to which the Seal has been affixed shall be signed by at least one person who shall be
        either a Director or some officer or other person authorised by the Directors for the purpose.




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45      Dividends, Distributions and Reserves

45.1    Subject to the Statute, these Articles, and the special rights attaching to Participating Shares of
        any Class and/or Series, the Directors may, in their absolute discretion, declare dividends and
        distributions on Participating Shares of any Class and/or Series in issue and authorise payment of
        the dividends or distributions out of the relevant Separate Account in respect of such Participating
        Shares. No dividend or distribution shall be paid except out of the realised or unrealised profits of
        the Company, or out of the share premium account attributable to Participating Shares of the
        Class and/or Series in respect of which the dividend or distribution is proposed to be paid, or as
        otherwise permitted by the Statute.

45.2    Except as otherwise provided by the rights attached to Participating Shares, or as otherwise
        determined by the Directors, all dividends and distributions in respect of Participating Shares of a
        particular Class and/or Series shall be declared and paid according to the Net Asset Value of the
        Participating Shares of the Class and/or Series that a Member holds. If any Participating Share is
        issued on terms providing that it shall rank for dividend or distribution as from a particular date,
        that Participating Share shall rank for dividend or distribution accordingly.

45.3    The Directors may deduct and withhold from any dividend or distribution otherwise payable to any
        Member all sums of money (if any) then payable by it to the Company on account of calls or
        otherwise or any monies which the Company is obliged by law to pay to any taxing or other
        authority.

45.4    Under no circumstances may the assets (or the income derived from such assets) attributed to a
        Separate Account in respect of any Class and/or Series be used to pay a dividend in respect of a
        Separate Account that is attributed to any other Class and/or Series.

45.5    The Directors may declare that any dividend or distribution be paid wholly or partly by the
        distribution of specific assets and in particular of shares, debentures or securities of any other
        company or in any one or more of such ways and, where any difficulty arises in regard to such
        distribution, the Directors may settle the same as they think expedient and in particular may issue
        fractional Shares and fix the value for distribution of such specific assets or any part thereof and
        may determine that cash payments shall be made to any Members upon the basis of the value so
        fixed in order to adjust the rights of all Members and may vest any such specific assets in
        trustees as may seem expedient to the Directors.

45.6    Any dividend, distribution, interest or other monies payable in cash in respect of Participating
        Shares may be paid by wire transfer to the holder or by cheque or warrant sent through the post
        directed to the registered address of the holder or, in the case of joint holders, to the registered
        address of the holder who is first named on the Register of Members or to such person and to
        such address as such holder or joint holders may in writing direct. Every such cheque or warrant
        shall (unless the Directors in their sole discretion otherwise determine) be made payable to the
        order of the person to whom it is sent. Any one of two or more joint holders may give effectual
        receipts for any dividends, bonuses, or other monies payable in respect of the Participating Share
        held by them as joint holders.

45.7    Any dividend or distribution which cannot be paid to a Member and/or which remains unclaimed
        after six months from the date of declaration of such dividend or distribution may, in the discretion
        of the Directors, be paid into a separate account in the Company's name, provided that the
        Company shall not be constituted as a trustee in respect of that account and the dividend or
        distribution shall remain as a debt due to the Member. Any dividend or distribution which remains




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        unclaimed after a period of six years from the date of declaration of such dividend or distribution
        shall be forfeited and shall revert to the Company.

45.8    No dividend or distribution shall bear interest against the Company.

46      Capitalisation
        The Directors may capitalise any sum standing to the credit of any of the Company's reserve
        accounts (including share premium account and capital redemption reserve) or any sum standing
        to the credit of profit and loss account or otherwise available for distribution and to appropriate
        such sum to Members of any Class and/or Series in the proportions in which such sum would
        have been divisible amongst them had the same been a distribution of profits by way of dividend
        and to apply such sum on their behalf in paying up in full unissued Participating Shares for
        allotment and distribution credited as fully paid-up to and amongst them in the proportion
        aforesaid. In such event the Directors shall do all acts and things required to give effect to such
        capitalisation, with full power to the Directors to make such provisions as they think fit for the case
        of Participating Shares becoming distributable in fractions (including provisions whereby the
        benefit of fractional entitlements accrue to the Company rather than to the Members concerned).
        The Directors may authorise any person to enter into an agreement with the Company, on behalf
        of all of the Members interested, providing for such capitalisation and matters incidental thereto
        and any agreement made under such authority shall be effective and binding on all concerned.

47      Books of Account

47.1    The Directors shall cause proper books of account (including, where applicable,
        material underlying documentation including contracts and invoices) to be kept with respect to all
        sums of money received and expended by the Company and the matters in respect of which the
        receipt or expenditure takes place, all sales and purchases of goods by the Company and the
        assets and liabilities of the Company. Such books of account must be retained for a minimum
        period of five years from the date on which they are prepared. Proper books shall not be deemed
        to be kept if there are not kept such books of account as are necessary to give a true and fair
        view of the state of the Company's affairs and to explain its transactions.

47.2    The Directors shall from time to time determine whether and to what extent and at what times and
        places and under what conditions or regulations the accounts and books of the Company or any
        of them shall be open to the inspection of Members not being Directors and no Member (not
        being a Director) shall have any right of inspecting any account or book or document of the
        Company except as conferred by Statute, or authorised by the Directors or by the Company in
        general meeting.

47.3    The Directors may from time to time cause to be prepared and to be laid before the Company in
        general meeting profit and loss accounts, balance sheets, group accounts (if any) and such other
        reports and accounts as may be required by law.

48      Audit

48.1    The Directors may appoint an Auditor of the Company who shall hold office on such terms as the
        Directors determine.

48.2    Every Auditor of the Company shall have a right of access at all times to the books and accounts
        and vouchers of the Company and shall be entitled to require from the Directors and officers of




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        the Company such information and explanation as may be necessary for the performance of the
        duties of the Auditor.

48.3    Any Auditors of the Company shall, if so required by the Directors, make a report on the accounts
        of the Company during their tenure of office at the next annual general meeting following their
        appointment in the case of a company which is registered with the Registrar of Companies as an
        ordinary company, and at the next extraordinary general meeting following their appointment in
        the case of a company which is registered with the Registrar of Companies as an exempted
        company, and at any other time during their term of office, upon request of the Directors or any
        general meeting of the Members.

49      Notices

49.1    Notices shall be in writing and may be given by the Company to any Member either personally or
        by sending it by courier, post, cable, telex, fax or e-mail to the Member or to the address as
        shown in the Register of Members (or where the notice is given by e-mail by sending it to the e-
        mail address provided by such Member). Any notice, if posted from one country to another, is to
        be sent airmail.

49.2    Where a notice is sent by courier, service of the notice shall be deemed to be effected by delivery
        of the notice to a courier company, and shall be deemed to have been received on the third day
        (not including Saturdays or Sundays or public holidays) following the day on which the notice was
        delivered to the courier. Where a notice is sent by post, service of the notice shall be deemed to
        be effected by properly addressing, pre paying and posting a letter containing the notice, and
        shall be deemed to have been received on the fifth day (not including Saturdays or Sundays or
        public holidays in the Cayman Islands) following the day on which the notice was posted. Where
        a notice is sent by cable, telex or fax, service of the notice shall be deemed to be effected by
        properly addressing and sending such notice and shall be deemed to have been received on the
        same day that it was transmitted. Where a notice is given by e-mail service shall be deemed to
        be effected by transmitting the e-mail to the e-mail address provided by the intended recipient
        and shall be deemed to have been received on the same day that it was sent, and it shall not be
        necessary for the receipt of the e-mail to be acknowledged by the recipient.

49.3    A notice may be given by the Company to the person or persons which the Company has been
        advised are entitled to a Share or Shares in consequence of the death or bankruptcy of a
        Member in the same manner as other notices which are required to be given under these Articles
        and shall be addressed to them by name, or by the title of representatives of the deceased, or
        trustee of the bankrupt, or by any like description at the address supplied for that purpose by the
        persons claiming to be so entitled, or at the option of the Company by giving the notice in any
        manner in which the same might have been given if the death or bankruptcy had not occurred.

49.4    Notice of every general meeting shall be given in the manner authorised by these Articles to
        every person shown as holding Shares carrying an entitlement to receive such notice in the
        Register of Members on the record date for such meeting except that in the case of joint holders
        the notice shall be sufficient if given to the joint holder first named in the Register of Members and
        every person upon whom the ownership of a Share devolves by reason of such person being a
        legal personal representative or a trustee in bankruptcy of a Member where the Member but for
        such Member's death or bankruptcy would be entitled to receive notice of the meeting, and no
        other person shall be entitled to receive notices of general meetings.




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50      Winding Up

50.1    If the Company shall be wound up the liquidator shall apply the assets of the Company in
        satisfaction of creditors' claims in such manner and order as such liquidator thinks fit. The
        liquidator shall in relation to the assets available for distribution among the Members make in the
        books of the Company such transfers thereof to and from Separate Accounts as may be
        necessary in order that the effective burden of such creditors' claims may be shared among the
        holders of Participating Shares of different Classes and/or Series in such proportions as the
        liquidator in such liquidator's absolute discretion may think equitable.

50.2    Subject to the special rights attaching to Participating Shares of any Class or Series, the balance
        shall then be applied in the following priority:

        (a)     first, to the holders of Management Shares, an amount equal to the par value of such
                Management Shares; and

        (b)     second, the balance shall be paid to the holders of Participating Shares in proportion to
                the Net Asset Value of Participating Shares held, subject to a deduction from those
                Participating Shares in respect of which there are monies due, of all monies due to the
                Company for unpaid calls, or otherwise.

50.3    If the Company shall be wound up (whether the liquidation is voluntary or by or under the
        supervision of the Court) the liquidator may, with the authority of a resolution or resolutions
        passed by the holders of Participating Shares (whether as a whole or at separate Class
        meetings), divide among the Members in specie the whole or any part of the assets of the
        Company, and whether or not the assets shall consist of property of one kind or shall consist of
        property of different kinds, and may for such purposes set such value as the liquidator deems fair
        upon any one or more class or classes of property, and may determine how such division shall be
        carried out as between the Members or different classes of Members. The liquidator may, with
        the like authority, vest any part of the assets in trustees upon such trusts for the benefit of
        Members as the liquidator, with the like authority, shall think fit, and the liquidation of the
        Company may be closed and the Company dissolved, but so that no Member shall be compelled
        to accept any shares or other property in respect of which there is a liability.

51      Indemnity and Insurance

51.1    Every Director and officer of the Company (which for the avoidance of doubt, shall not include
        any Auditor), together with every former Director and former officer of the Company (each an
        "Indemnified Person") shall be indemnified out of the assets of the Company against any
        liability, action, proceeding, claim, demand, costs, damages or expenses, including legal
        expenses, whatsoever which they or any of them may incur as a result of any act or failure to act
        in carrying out their functions other than such liability (if any) that they may incur by reason of
        their own actual fraud or wilful default. No Indemnified Person shall be liable to the Company for
        any loss or damage incurred by the Company as a result (whether direct or indirect) of the
        carrying out of their functions unless that liability arises through the actual fraud or wilful default of
        such Indemnified Person. No person shall be found to have committed actual fraud or wilful
        default under this Article unless or until a court of competent jurisdiction shall have made a finding
        to that effect.

51.2    The Company shall advance to each Indemnified Person reasonable attorneys' fees and other
        costs and expenses incurred in connection with the defence of any action, suit, proceeding or




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        investigation involving such Indemnified Person for which indemnity will or could be sought. In
        connection with any advance of any expenses hereunder, the Indemnified Person shall execute
        an undertaking to repay the advanced amount to the Company if it shall be determined by final
        judgment or other final adjudication that such Indemnified Person was not entitled to
        indemnification pursuant to this Article. If it shall be determined by a final judgment or other final
        adjudication that such Indemnified Person was not entitled to indemnification with respect to such
        judgment, costs or expenses, then such party shall not be indemnified with respect to such
        judgment, costs or expenses and any advancement shall be returned to the Company (without
        interest) by the Indemnified Person.

51.3    The Directors, on behalf of the Company, may purchase and maintain insurance for the benefit of
        any Director or other officer of the Company against any liability which, by virtue of any rule of
        law, would otherwise attach to such person in respect of any negligence, default, breach of duty
        or breach of trust of which such person may be guilty in relation to the Company.

51.4    Pursuant to the foregoing provisions, the Company may enter into a service or other agreement
        with any Director (or any entity providing one or more persons to the Company to act as
        Directors) upon such terms and conditions (including as to indemnification and exculpation) as
        the Directors shall, in their absolute discretion, determine. Any such indemnification and
        exculpation provisions may be specified to a standard equal to or more favourable (but not less
        favourable) to the Company than any standard specified in these Articles.

52      Disclosure
        If required to do so under the laws of any jurisdiction to which the Company, the Investment
        Manager, the Administrator or any other service provider is subject, or in compliance with the
        rules of any stock exchange upon which the Company's Shares are listed, or to ensure the
        compliance by any person with any anti-money laundering law in any relevant jurisdiction, any
        Director, Officer, the Investment Manager, the Administrator or Auditor of the Company shall be
        entitled to release or disclose any information in its possession regarding the affairs of the
        Company or a Member including, without limitation, any information contained in the Register of
        Members or subscription documentation of the Company relating to any Member.

53      Financial Year
        Unless the Directors otherwise prescribe, the financial year of the Company shall end on 31st
        December in each year and, following the year of incorporation, shall begin on 1st January in
        each year.

54      Transfer by way of Continuation
        The Company shall, subject to the provisions of the Statute and with the approval of a Special
        Resolution, have the power to register by way of continuation as a body corporate under the laws
        of any jurisdiction outside the Cayman Islands and to be deregistered in the Cayman Islands.

55      Mergers and Consolidations
        The Company shall, with the approval of a Special Resolution, have the power to merge or
        consolidate with one or more constituent companies (as defined in the Statute), upon such terms
        as the Directors may determine.




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          HIGHLAND DYNAMIC INCOME MASTER FUND, L.P.
                        A Cayman Islands Exempted Limited Partnership




             Second Amended and Restated Exempted Limited Partnership Agreement




                                        April 1, 2018




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                                      NOTICE

        NEITHER HIGHLAND DYNAMIC INCOME MASTER FUND, L.P. NOR THE
  LIMITED PARTNER INTERESTS THEREIN HAVE BEEN OR WILL BE REGISTERED
  UNDER THE U.S. SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”),
  THE U.S. INVESTMENT COMPANY ACT OF 1940, AS AMENDED, OR THE SECURITIES
  LAWS OF ANY OF THE STATES OF THE UNITED STATES. THE OFFERING OF SUCH
  LIMITED PARTNER INTERESTS IS BEING MADE IN RELIANCE UPON AN
  EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT
  FOR OFFERS AND SALES OF SECURITIES WHICH DO NOT INVOLVE ANY PUBLIC
  OFFERING, AND ANALOGOUS EXEMPTIONS UNDER STATE SECURITIES LAWS.

       THE DELIVERY OF THIS AMENDED AND RESTATED EXEMPTED LIMITED
  PARTNERSHIP AGREEMENT SHALL NOT CONSTITUTE AN OFFER TO SELL OR THE
  SOLICITATION OF AN OFFER TO BUY NOR SHALL THERE BE ANY OFFER,
  SOLICITATION OR SALE OF LIMITED PARTNER INTERESTS IN HIGHLAND
  DYNAMIC INCOME MASTER FUND, L.P. IN ANY JURISDICTION IN WHICH SUCH
  OFFER, SOLICITATION OR SALE IS NOT AUTHORIZED OR TO ANY PERSON TO
  WHOM IT IS UNLAWFUL TO MAKE SUCH OFFER, SOLICITATION OR SALE.

       THE LIMITED PARTNER INTERESTS ARE SUBJECT TO RESTRICTIONS ON
  TRANSFERABILITY AND RESALE, MAY NOT BE TRANSFERRED OR RESOLD
  EXCEPT AS PERMITTED UNDER THE SECURITIES ACT AND APPLICABLE STATE
  SECURITIES LAWS PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM
  AND MAY NOT BE SOLD OR OTHERWISE TRANSFERRED EXCEPT IN ACCORDANCE
  WITH THE REQUIREMENTS AND CONDITIONS SET FORTH IN THIS AMENDED AND
  RESTATED EXEMPTED LIMITED PARTNERSHIP AGREEMENT.




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         THIS SECOND AMENDED AND RESTATED EXEMPTED LIMITED
  PARTNERSHIP AGREEMENT of Highland Dynamic Income Master Fund, L.P. is made on
  April 1, 2018 by and among Highland Dynamic Income Fund GP, LLC, as General Partner,
  those Persons who are listed on Exhibit A as Limited Partners and any other Persons who are
  admitted, from time to time, as Limited Partners of the Partnership, in accordance with this
  Agreement. This Agreement amends and restates in its entirety the Amended and Restated
  Exempted Limited Partnership Agreement of the Partnership dated March 28, 2013 (the “Prior
  Agreement”).



                                    Article I DEFINITIONS


         For purposes of this Agreement:

        “Act” means the Exempted Limited Partnership Law, 2014 of the Cayman Islands, as
  amended, supplemented or replaced from time to time.

          “Administrator” means such Person as the General Partner may designate from time to
  time, in its sole discretion, to serve as administrator to the Partnership.

         “Advisory Committee” has the meaning set forth in Section 4.6.

         “AEOI” means:

              (i)       Sections 1471 through 1474 of the Code and any associated legislation,
                        regulations or guidance, and any other similar legislation, regulations or
                        guidance enacted in any other jurisdiction which seeks to implement
                        similar financial account information reporting and/or withholding tax
                        regimes;

             (ii)       the OECD Standard for Automatic Exchange of Financial Account
                        Information in Tax Matters – the Common Reporting Standard and any
                        associated guidance;

             (iii)      any intergovernmental agreement, treaty, regulation, guidance, standard or
                        other agreement between the Cayman Islands (or any Cayman Islands
                        government body) and any other jurisdiction (including any government
                        bodies in such jurisdiction), entered into in order to comply with,
                        facilitate, supplement or implement the legislation, regulations, guidance
                        or standards described in sub-paragraphs (a) and (b); and

             (iv)       any legislation, regulations or guidance in the Cayman Islands that give
                        effect to the matters outlined in the preceding sub-paragraphs.

         “Affiliate” means, with respect to any Person, a Person which controls, is controlled by,
  or is under common control with, such Person. For these purposes, “control” means the


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  possession, direct or indirect, of the power to direct or cause the direction of the management and
  policies of such Person, whether through the ownership of voting securities, by contract or
  otherwise.

        “Agreement” means this Second Amended and Restated Exempted Limited Partnership
  Agreement, as amended from time to time.

         “Automatic Dissolution Date” has the meaning set forth in Section 6.1(a)(ii).

         “BBA” means Subchapter C of Chapter 63 of the Code (Sections 6221 through 6241 of
  the Code), as enacted by the Bipartisan Budget Act of 2015, Pub. L. No. 114-74, as amended
  from time to time, and the Regulations thereunder (whether proposed, temporary or final),
  including any subsequent amendments, successor provisions or other guidance thereunder, and
  any equivalent provisions for state, local or non-U.S. tax purposes.

         “BBA Effective Period” means any taxable year commencing after 2017, taking into
  account any extensions of the effective date set forth in the BBA.

         “Business Day” means any day or days on which banks are open for business in the city
  of New York, NY and the Cayman Islands and/or such other place or places as the General
  Partner may determine.

           “Calculation Period” means, with respect to each Capital Account of a Limited Partner,
  the period commencing as of the date of the establishment of the Capital Account (in the case of
  the initial Calculation Period) and thereafter each period commencing as of the day following the
  last day of the preceding Calculation Period with respect to such Capital Account, and ending as
  of the close of business on the first to occur of the following:

         (a)     the last day of a calendar year;

        (b)     the withdrawal of all or a portion of the Interest attributable to such Capital
  Account (but only with respect to such withdrawn amount);

         (c)     the permitted transfer of all or any portion of such Capital Account; or

         (d)     the final distribution with respect to such Capital Account to such Limited Partner
  following the dissolution of the Partnership.

         “Capital Account” has the meaning set forth in Section 3.3(a).

        “Code” means the U.S. Internal Revenue Code of 1986, as amended, and as hereafter
  amended, or any successor law.

          “Commencement Date” means the first date on or as of which a Limited Partner makes a
  capital contribution to the Partnership.

         “Designated Individual” has the meaning set forth in Section 7.2(a).




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         “Domestic Fund” means Highland Dynamic Income Fund, L.P., a Delaware limited
  partnership.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as the same
  may be amended from time to time.

          “ERISA Partner” means a Limited Partner which is (a) an employee benefit plan subject
  to the fiduciary provisions of ERISA, (b) a “plan” subject to Section 4975 of the Code, (c) an
  entity whose underlying assets include “plan assets” for purposes of ERISA by reason of a Plan’s
  investment in the entity, or (d) an entity that otherwise constitutes a “benefit plan investor”
  within the meaning of Section 3(42) of ERISA or any regulation promulgated thereunder.

         “Feeder Fund Investor” means an investor in one of the Feeder Funds.

         “Feeder Funds” means the Domestic Fund and the Offshore Fund.

         “Fiscal Period” means each period that starts at the opening of business on the
  Commencement Date (in the case of the initial Fiscal Period) and thereafter on the day
  immediately following the last day of the preceding Fiscal Period, and that ends at the close of
  business on the earliest of the following dates:

         (a)     the last day of a calendar month;

         (b)     any date as of which any withdrawal or distribution of capital is made with
                 respect to any Capital Account or as of which this Agreement provides for any
                 amount to be credited to or debited against a Capital Account, other than a
                 withdrawal or distribution by or to, or an allocation to, all Capital Accounts that
                 does not result in any change of the Partnership Percentage relating to any Capital
                 Account;

         (c)     the date which immediately precedes any day as of which a capital contribution is
                 accepted by the General Partner from any new or existing Partner; or

         (d)     any other date which the General Partner selects.

         “Fiscal Year” means the period commencing on the Commencement Date and ending on
  December 31 of the year of commencement, and thereafter each period commencing on January
  1 of each year and ending on December 31 of such year, unless the General Partner shall elect
  another fiscal year, provided that any such other fiscal year shall be permissible for U.S. federal
  income tax purposes. In the case of the Fiscal Year in which the Partnership is terminated in
  accordance with Article VI, “Fiscal Year” means the portion of the calendar year ending on the
  date on which the Partnership is terminated.

         “GAAP” means generally accepted accounting principles in the United States.

           “General Partner” means Highland Dynamic Income Fund GP, LLC, a Delaware limited
  liability company registered as a foreign company in the Cayman Islands, any successor thereto,



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  and any Persons hereafter admitted as additional general partners, in its capacity as general
  partner of the Partnership.

         “Gross Negligence” means “gross negligence” as such term is defined and interpreted in
  accordance with the laws of the State of Delaware.

         “Indemnified Person” means each of the General Partner, the Investment Manager, any
  member, shareholder, partner, manager, director, officer, employee or agent of, or any person
  who controls, the General Partner, each of the respective affiliates of the foregoing, members of
  the Advisory Committee or the Pricing Committee, their respective affiliates, or any of the legal
  representatives of any of the foregoing.

          “Index Return Amount” means the amount that would have been credited or debited to
  such Capital Account for the Calculation Period if the rate of return had been equal to the return
  of the S&P/LSTA Leveraged Loan Total Return Index for such Calculation Period.

         “Interest” means the entire ownership interest of a Partner in the Partnership at the
  relevant time, including the right of such Partner to any and all benefits to which a Partner may
  be entitled as provided in this Agreement, together with the obligations of such Partner to
  comply with all the terms and provisions of this Agreement.

         “Investment Management Agreement” means the Investment Management Agreement
  by and among the Investment Manager, the General Partner, the Feeder Funds and the
  Partnership.

         “Investment Manager” means Highland Capital Management, L.P., a Delaware limited
  partnership, or any successor thereto, or any Person thereafter appointed as an investment
  manager of the Partnership in accordance with the Investment Management Agreement.

         “Investments” means investments in securities or other financial or intangible investment
  instruments, contracts or products made by the Partnership, as more fully described in the Feeder
  Funds’ offering memoranda (as may be amended, updated or supplemented from time to time).

          “Limited Participation Investment” means an Investment which, as determined by the
  General Partner, is suitable for some but not all of the Capital Accounts, or of which certain
  Capital Accounts should receive a reduced participation, for legal, tax, regulatory or other bona
  fide reasons.

          “Limited Participation Sub-Accounts” means memorandum accounts to be maintained
  in the accounting records of the Partnership on a Capital Account-by-Capital Account basis with
  respect to each particular Limited Participation Investment to reflect the entitlement of each
  Capital Account (other than a Capital Account that does not have any credit balance at the time
  of the establishment of the Limited Participation Sub-Account that is unrelated to a pre-existing
  Limited Participation Sub-Account) to allocations and distributions attributable to Partnership
  transactions involving such Limited Participation Investments.

         “Limited Partner” means each of the Persons set forth on Exhibit A and any Person who
  has become a Limited Partner pursuant to the terms of this Agreement, in each case in such


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  Person’s capacity as a limited partner of the Partnership. The General Partner may subdivide
  the Interests into separate series and establish new series pursuant to Section 2.10; provided, that,
  except as expressly set forth in this Agreement, for all purposes of the Act, the Limited Partners
  constitute a single class or group of limited partners.

         “Liquidator” has the meaning set forth in Section 6.1(b).

         “Management Fee” means an amount calculated at an annual rate of (i) 0.75% of each
  Capital Account of a Limited Partner. The Management Fee is calculated and payable quarterly
  in advance as further described in Section 3.5(a).

          “Negative Basis” means, with respect to any Partner and as of any time of calculation,
  the excess of such Partner’s “adjusted tax basis” in its Interest for U.S. federal income tax
  purposes at such time (determined without regard to any adjustments made to such adjusted tax
  basis by reason of any Transfer or assignment of such Interest, including by reason of death)
  over the amount that such Partner is entitled to receive upon withdrawal from or liquidation of
  the Partnership.

          “Negative Basis Partner” means any Partner who withdraws all or a portion of its
  Interest from the Partnership and who has a Negative Basis as of the effective date of
  withdrawal, but such Partner shall cease to be a Negative Basis Partner at such time as it shall
  have received allocations pursuant to Section 3.10(d) equal to such Partner’s Negative Basis as
  of the effective date of withdrawal and without regard to such Partner’s share of the liabilities of
  the Partnership under Section 752 of the Code.

           “Net Assets” means the total value, as determined by the General Partner or its
  delegate(s) in accordance with Section 7.3, of all Investments and other assets of the Partnership
  (including net unrealized appreciation or depreciation of the assets and accrued interest and
  dividends receivable net of any withholding taxes), less an amount equal to all accrued debts,
  liabilities and obligations of the Partnership (including any reserves for contingencies accrued
  pursuant to Section 3.6). Except as otherwise expressly provided herein, Net Assets as of the
  first day of any Fiscal Period shall be determined on the basis of the valuation of assets
  conducted as of the close of the immediately preceding Fiscal Period but after giving effect to
  any capital contributions made by any Partner subsequent to the last day of such immediately
  preceding Fiscal Period and after giving effect to Management Fee charges and Net Assets as of
  the last day of any Fiscal Period shall be determined before giving effect to any of the following
  amounts payable by the Partnership generally or in respect of any Investment which are effective
  as of the date on which such determination is made:

         (a)     any withdrawals or distributions payable to any Partner which are effective as of
                 the date on which such determination is made; and

         (b)     withholding or other taxes (including any amounts under any BBA provision),
                 expenses of processing withdrawals and other items payable, any increases or
                 decreases in any reserves or other amounts recorded pursuant to Section 3.6 and
                 any increases or decreases in the value of any Limited Participation Investments
                 during the Fiscal Period ending as of the date on which such determination is



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                 made, to the extent the General Partner determines that, pursuant to any
                 provisions of this Agreement, such items are not to be charged ratably among the
                 Capital Accounts of all Partners on the basis of their respective Partnership
                 Percentages as of the commencement of the Fiscal Period.

         “Net Loss” means any amount by which the Net Assets as of the first day of a Fiscal
  Period exceed the Net Assets as of the last day of the same Fiscal Period.

         “Net Profit” means any amount by which the Net Assets as of the last day of a Fiscal
  Period exceed the Net Assets as of the first day of the same Fiscal Period.

         “New Limited Partner” has the meaning assigned to such term in Section 8.2(a)(vi).

        “Offshore Fund” means Highland Dynamic Income Fund, Ltd., a Cayman Islands
  exempted company.

         “Other Account” means any assets or investment of the General Partner, or any assets
  managed by the General Partner or any Affiliate of the General Partner for the account of any
  Person or entity (including investment vehicles) other than the Partnership, which are invested or
  which are available for investment in securities or other instruments or for trading activities
  whether or not of the specific type being conducted by the Partnership.

         “Partner” means the General Partner or any of the Limited Partners, except as otherwise
  expressly provided herein, and “Partners” means the General Partner and all of the Limited
  Partners.

         “Partnership” means the exempted limited partnership formed upon the filing of a
  statement under Section 9 of the Act with the Registrar on February 26, 2013, pursuant to the
  Prior Agreement and registered with the name “Highland Dynamic Income Master Fund, L.P.”

          “Partnership Minimum Gain” has the meaning set forth in Regulations Section 1.704-
  2(b)(2) and (d).

          “Partnership Percentage” means a percentage established for each Capital Account on
  the Partnership’s books as of the first day of each Fiscal Period. The Partnership Percentage of a
  Capital Account for a Fiscal Period shall be determined by dividing the amount of such Capital
  Account as of the beginning of the Fiscal Period (after crediting all capital contributions to such
  Capital Account which are effective as of such date, net of all deductions, including Management
  Fees) by the sum of all Capital Accounts as of the beginning of the Fiscal Period (after crediting
  all capital contributions to the Partnership which are effective as of such date, net of all
  deductions, including Management Fees). The sum of the Partnership Percentages of all Capital
  Accounts for each Fiscal Period shall equal 100%.




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         “Performance Allocation” means, with respect to each Capital Account of a Limited
  Partner, 10% of the amount, determined as of the close of each Calculation Period with respect to
  such Capital Account, by which the Performance Change amount (positive and negative) for
  such Calculation Period exceeds the Index Return Amount (positive and negative) for such
  Capital Account for such Calculation Period.

         “Performance Change” means, with respect to each Capital Account of a Limited
  Partner for each Calculation Period, the difference between:

          (a)    the sum of (a) the balance of such Capital Account as of the close of the
  Calculation Period (after giving effect to all allocations to be made to such Capital Account as of
  such date other than any Performance Allocation to be debited against such Capital Account),
  plus (b) any debits to such Capital Account during the Calculation Period to reflect any actual or
  deemed distributions or withdrawals with respect to such Capital Account, plus (c) any debits to
  such Capital Account during the Calculation Period to reflect any items allocable to such Capital
  Account pursuant to Section 3.5(b) or 3.5(c) hereof; and

          (b) the sum of (a) the balance of such Capital Account as of the commencement of the
  Calculation Period, plus (b) any credits to such Capital Account during the Calculation Period to
  reflect any contributions by such Limited Partner to the Capital Account.

          “Person” means any individual, partnership, corporation, limited liability company, trust,
  or other entity.

       “Plan Assets” means assets of the Partnership that are considered to be assets of an
  ERISA Partner, as determined pursuant to Section 3(42) of ERISA.

          “Positive Basis” means, with respect to any Partner and as of any time of calculation, the
  excess of the amount that such Partner is entitled to receive upon withdrawal from or liquidation
  of the Partnership over such Partner’s “adjusted tax basis” in its Interest for U.S. federal income
  tax purposes at such time (determined without regard to any adjustments made to such adjusted
  tax basis by reason of any Transfer or assignment of such Interest, including by reason of death).

          “Positive Basis Partner” means any Partner who withdraws all or a portion of its Interest
  from the Partnership and who has a Positive Basis as of the effective date of withdrawal, but
  such Partner shall cease to be a Positive Basis Partner at such time as it shall have received
  allocations pursuant to Section 3.10(c) equal to such Partner’s Positive Basis as of the effective
  date of withdrawal and without regard to such Partner's share of the liabilities of the Partnership
  under Section 752 of the Code.

         “Pricing Committee” has the meaning set forth in Section 4.7.

         “Prior Agreement” has the meaning set forth in the recitals hereto.

          “Registrar” means the Registrar of Exempted Limited Partnerships of the Cayman
  Islands.




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        “Regulations” means the proposed, temporary and final U.S. Treasury Regulations
  promulgated under the Code, including any successor regulations.

         “Regulatory Allocations” has the meaning set forth in Section 3.11.

         “Section 9 Statement” has the meaning set forth in Section 2.1(a).

         “Section 10 Statement” has the meaning set forth in Section 2.1(b).

         “Tax Matters Partner” has the meaning set forth in Section 7.2(a).

         “Termination Date” has the meaning assigned to such term in Section 6.1(a).

          “Transfer” means any sale, exchange, transfer, assignment or other disposition by a
  Partner of its Interest to another party, whether voluntary or involuntary, including a transfer by
  operation of law, but not including a pledge of or a granting of another form of security interest
  in any such Interest.



                                   Article II ORGANIZATION


  2.1    Continuation of Limited Partnership

         (a)     The General Partner and Offshore Fund established the Partnership upon filing a
                 statement under section 9 of the Act (the “Section 9 Statement”) with the
                 Registrar on February 26, 2013, pursuant to the Prior Agreement, which Prior
                 Agreement has governed the operation of the Partnership since that date. The
                 General Partner hereby admits the Limited Partners who are a party to this
                 Agreement (provided that the Initial Limited Partner (as defined in the Prior
                 Agreement) is not hereby admitted but shall continue as a Limited Partner) and
                 the General Partner and the Limited Partners hereby amend and restate the Prior
                 Agreement in its entirety on the terms of this Agreement.

         (b)     If requested by the General Partner, the Limited Partners will promptly execute all
                 certificates and other documents consistent with the terms of this Agreement
                 necessary for the General Partner to accomplish all filings, recordings,
                 publishings and other acts as may be appropriate to comply with all requirements
                 for (i) the formation and operation of an exempted limited partnership under the
                 laws of the Cayman Islands, (ii) if the General Partner deems it advisable, the
                 operation of the Partnership as an exempted limited partnership, or partnership in
                 which the Limited Partners have limited liability, in all jurisdictions where the
                 Partnership proposes to operate and (iii) all other filings required by the Act to be
                 made by the Partnership. The General Partner shall cause any required
                 amendment to the Section 9 Statement, which shall be effected by way of the
                 execution by the General Partner of a statement under Section 10 of the Act (the
                 “Section 10 Statement”) with such statement to be filed promptly following the


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               event requiring such amendment. All Section 10 Statements or any such
               amendments may be signed by the General Partner (as required by the Act), and
               may be signed either personally or by an attorney-in-fact or agent of the General
               Partner.

         (c)   The Partnership received an undertaking from the Governor-in-Cabinet of the
               Cayman Islands to the effect that, for a period of 50 years from the date of the
               undertaking, no law which is enacted in the Cayman Islands imposing any tax to
               be levied on profits or income or gains or appreciations shall apply to the
               Partnership or to any Partner in respect of the operations or assets of the
               Partnership or the Interest of a Partner. The parties hereto acknowledge that they
               intend that the Partnership be taxed in the United States as a partnership and not
               as an association taxable as a corporation for U.S. federal income tax purposes.
               No election may be made to treat the Partnership as other than a partnership for
               U.S. federal income tax purposes.

  2.2    Name of Partnership

         (a)   The name of the Partnership shall be Highland Dynamic Income Master Fund,
               L.P. or such other name as the General Partner may hereafter adopt upon (i)
               causing a statement pursuant to Section 10 of the Act to be filed with the
               Registrar and (ii) giving notice thereof to the Limited Partners.

         (b)   The Partnership shall have the exclusive ownership and right to use the
               Partnership name so long as the Partnership continues, despite the withdrawal,
               expulsion, resignation or removal of any Limited Partner, but upon the
               Partnership’s winding up or at such time as there ceases to be a General Partner,
               the Partnership shall assign the name and the goodwill attached thereto to the
               General Partner without payment by the assignee(s) of any consideration therefor.

  2.3    Registered Office

         (a)   The registered office address of the Partnership in the Cayman Islands is at c/o
               Maples Corporate Services Limited, P.O. Box 309, Ugland House, Grand
               Cayman, KY1-1104, Cayman Islands.

         (b)   The General Partner may at any time change the location of the Partnership’s
               registered office or registered agent in its sole discretion, provided that the
               registered office of the Partnership shall be in the Cayman Islands.

  2.4    Term of Partnership

         The term of the Partnership commenced on the date of formation and continues until
  wound up and dissolved pursuant to Section 6.1 (unless its term is extended pursuant to
  Section 6.1).




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  2.5    Object and Powers of Partnership

         (a)    The object and business of the Partnership is to (1) purchase, sell (including short
                sales), invest and trade in Investments (2) engage in financial transactions,
                including borrowing, financing, pledging, hedging and other derivative
                transactions relating thereto for the benefit of the Partnership, (3) engage in any
                lawful act or activity for which exempted limited partnerships may be formed
                under the Act and (4) engage in any and all activities necessary or incidental to
                the foregoing; provided that the Partnership shall not undertake business with the
                public in the Cayman Islands other than so far as is necessary for the carrying on
                of the business of the Partnership exterior to the Cayman Islands.

         (b)    The Partnership possesses and the General Partner on behalf of the Partnership
                may exercise all such powers and privileges as the General Partner considers
                necessary, convenient or incidental to the conduct, promotion or attainment of the
                objects of the Partnership.

  2.6    Liability of Partners

         (a)    The liability of the Limited Partners is limited to their obligations under this
                Agreement and the Act. The General Partner is liable for all of the debts and
                obligations of the Partnership to the extent that the Partnership has insufficient
                assets. The General Partner shall not be personally liable for the withdrawal,
                payment or distribution of all or any part of any Interest, it being expressly agreed
                that any such withdrawal, payment or distribution to be made pursuant to this
                Agreement shall be made solely from the assets of the Partnership (which shall
                not include the General Partner’s capital contributions) and on the terms and
                subject to the conditions contained in this Agreement.

         (b)    In no event shall any Limited Partner (or former Limited Partner) be obligated to
                make any contribution to the Partnership in addition to its agreed capital
                contribution (or other payments provided for herein) or have any personal liability
                for the repayment or discharge of the debts and obligations of the Partnership
                except to the extent provided herein or as required by the Act or other applicable
                law.

  2.7    Actions by Partnership

          The General Partner on behalf of the Partnership may execute, deliver and perform all
  contracts, agreements and other undertakings and engage in all activities and transactions as may
  in the opinion of the General Partner be necessary or advisable to carry out the objects of the
  Partnership as set forth in Section 2.5 above. Notwithstanding the foregoing, the Partnership
  shall not issue any securities other than Interests in the Partnership.

  2.8    Reliance by Third Parties

          Persons dealing with the Partnership are entitled to rely conclusively upon the power and
  authority of the General Partner as herein set forth.


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  2.9    Filings

         (a)       The General Partner shall take any and all other actions as may be reasonably
                   necessary to perfect and maintain the status of the Partnership as an exempted
                   limited partnership under the Act and other laws of the Cayman Islands, including
                   the filing of a notice pursuant to Section 10 of the Act with the Registrar signed
                   by the General Partner upon the occurrence of certain amendments to the Section
                   9 Statement of the Partnership, and any other states or jurisdictions in which the
                   Partnership engages in business.

         (b)       Following the winding up of the Partnership and to effect the dissolution of the
                   same, the General Partner or any duly appointed liquidator shall promptly (i)
                   comply with the applicable provisions of Section 15 of the Act, (ii) execute and
                   cause to be filed a notice of dissolution in accordance with Section 15(3) of the
                   Act and (iii) file any certificates of cancellation in accordance with the laws of
                   any states or jurisdictions in which the Partnership has filed certificates.

  2.10   Series of Interests

         The General Partner, at any time, may without notification to or consent of the other
  Limited Partners, create and offer different classes or series of Interests in the Partnership with
  such rights, obligations, liabilities, privileges, designations and preferences (including different
  investment strategies, underlying investments, degrees of leverage, management fees,
  performance allocations, brokerage commissions, transparency, withdrawal rights, co-investment
  opportunities, and other differences) as the General Partner may determine upon the issuance of
  such class or series; provided that such class or series would not reasonably be expected to have
  a material adverse effect on the existing Limited Partners.



                                         Article III CAPITAL


  3.1    Contributions to Capital

         (a)       Each Partner is permitted to make contributions to the capital of the Partnership at
                   such times and in such amounts as the General Partner, in its sole discretion, may
                   determine. The Limited Partners are not required to make any additional
                   contributions to the Partnership, subject to the provisions of Section 3.5(b) and
                   any contrary provision of the Act.

         (b)       Each Person admitted as a General Partner agrees to make and maintain a capital
                   contribution as a General Partner of at least U.S.$1.00. Except as provided above
                   or in the Act, the General Partner is not required or obligated to make any
                   additional contributions to the capital of the Partnership. The General Partner or
                   an Affiliate shall have the right at any time to make additional capital
                   contributions as a Limited Partner or General Partner.



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  3.2    Rights of Partners in Capital

         (a)    No Partner shall be entitled to interest on its capital contributions to the
                Partnership.

         (b)    No Partner shall have the right to the return of any capital contribution to the
                Partnership except, subject to the Act, (i) upon withdrawal by such Partner of all
                or part of its Interest pursuant to Section 5.3 or (ii) upon the winding up and
                dissolution of the Partnership pursuant to Section 6.1. The entitlement to any
                such return shall be limited to the value of the Capital Account of the
                Partner. The General Partner shall not be liable for the return of any such
                amounts.

  3.3    Capital Accounts

         (a)    The Partnership maintains a separate capital account (each a “Capital Account”)
                on the books and records of the Partnership for each Partner. The General Partner
                may, in its discretion, maintain separate memorandum sub-accounts related to a
                Capital Account for such purposes as the General Partner may determine
                appropriate, including for recordkeeping, accounting or reporting or to otherwise
                give effect to the provisions of this Agreement, and, if so determined by the
                General Partner, with each memorandum sub-account being maintained as if it
                were the Capital Account of a separate Partner for all purposes of this Agreement
                unless the context requires otherwise. References herein to a “Capital Account”
                shall be deemed to refer to such a capital memorandum sub-account where the
                context admits. Each Capital Account must reflect the aggregate sum of the
                balances of memorandum sub-accounts in such Partner’s Capital Account.
                Without limiting the foregoing:

                (i)     with respect to the Domestic Fund, the Partnership maintains a separate
                        memorandum sub-account with respect to the Domestic Fund’s Capital
                        Account with respect to the capital account (and applicable memorandum
                        sub-account) of each partner of such Domestic Fund;

                (ii)    in the case of the Offshore Fund, the Partnership maintains a separate
                        memorandum sub-account with respect to each class and series of shares
                        of the Offshore Fund attributable to a shareholder; and

                (iii)   Any separate memorandum sub-accounts established for a Limited
                        Partner’s Capital Account may be consolidated at the beginning of each
                        Calculation Period, as determined by the General Partner.

         (b)    Each Capital Account shall have an initial balance equal to the amount of any
                cash and the net value of any property constituting the relevant Partner’s initial
                capital contribution to the Partnership.




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         (c)    Each Capital Account shall be increased by the amount of any cash and the net
                value of any property constituting additional contributions to such Capital
                Account permitted pursuant to Section 3.1.

         (d)    Each Capital Account shall be reduced by the amount of any cash and the net
                value of any property withdrawn by or distributed to the relevant Partner pursuant
                to Sections 5.3 or 6.2.

         (e)    The Capital Account of the General Partner will be increased by the amount of the
                Performance Allocation allocated to such Capital Account and the investment
                gains thereon pursuant to Section 3.7(a).

         (f)    Each Capital Account, including any related Limited Participation Sub-Accounts,
                shall be adjusted to reflect allocations and other changes in the value of such
                Capital Account in the manner specified in the remaining provisions of this
                Article III.

  3.4    Allocation of Net Profit and Net Loss

         (a)    Subject to the remaining provisions of this Article III, as of the last day of each
                Fiscal Period, any Net Profit or Net Loss for such Fiscal Period shall be separately
                allocated among and credited to or debited against the Capital Accounts of the
                Partners in proportion to their respective Partnership Percentages for such Fiscal
                Period.

         (b)    Notwithstanding Section 3.4(a), items of income, gain, loss, deduction, credit and
                expenses for a Fiscal Period that are not allocable to specific Investments of the
                Partnership, including short term interest income, and audit, administration and
                legal expenses, shall be credited to or debited against the Capital Accounts of the
                Partners pro rata in accordance with their Partnership Percentages for such Fiscal
                Period.

         (c)    Notwithstanding Section 3.4(a), items of income, gain, loss, deduction, credit and
                expenses that relate to a Limited Participation Investment shall be allocated
                exclusively to those Capital Accounts that the General Partner determines are
                eligible to participate in such Limited Participation Investment on a pro rata basis
                based on their relative participation in such Limited Participation Investment.

  3.5    Allocation of Management Fees, Withholding Taxes and Certain Other
         Expenditures

         (a)    As of the first Business Day of each calendar quarter, and in the case of any
                Limited Partner who makes a capital contribution as of any other date, as of the
                date of such capital contribution, the Management Fee applicable to each Capital
                Account for such calendar quarter will be debited against the relevant Capital
                Account. Capital contributions accepted after the commencement of the calendar
                quarter shall be subject to a prorated Management Fee reflecting the time
                remaining during such calendar quarter. The General Partner may waive or


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               decrease the Management Fee with respect to any Limited Partner and any Capital
               Account. The General Partner may delay the timing or alter the structure of fees
               payable to the Investment Manager so long as such changes are not materially
               adverse to the Limited Partners.

         (b)   Notwithstanding anything to the contrary herein, to the extent the General Partner
               or the Partnership is required by law (including under circumstances where the
               General Partner or the Partnership is unable to rely conclusively on any
               withholding certification provided by a Partner) to withhold or to make tax
               payments, including any interest or penalties, on behalf of or with respect to any
               Partner or Partners (including, without limitation, any amount attributable to an
               actual or imputed underpayment of taxes under any BBA provision, backup
               withholding or AEOI withholding), the General Partner or the Partnership may
               withhold such amounts and make such tax payments as so required. If the
               Partnership directly or indirectly pays or incurs any withholding tax or other tax
               obligation (including any amount under any BBA provision), or otherwise incurs
               a tax payment with respect to the income allocable or distributable to, or
               otherwise attributable to, one or more Partners, then the amount of such
               withholding tax, tax obligation or payment will be treated as a distribution to such
               Partner or Partners, as applicable, pursuant to the terms of this Agreement. Such
               amount will be debited against the Capital Account(s) of such Partner or Partners
               as of the close of the Fiscal Period during which the Partnership so withholds,
               pays or incurs such obligation. If the amount so withheld, paid or incurred is
               greater than the balance of the Capital Account(s) of the relevant Partner or
               Partners, as applicable, then such Partner or Partners and any successors must
               make a contribution to the capital of the Partnership within 10 business days after
               notification and demand by the General Partner in the amount of such
               excess. The General Partner is not obligated to apply for or obtain a refund, or
               reduction of or exemption from withholding tax on behalf of any Partner that may
               be eligible for such refund, reduction or exemption, or otherwise obligated to
               structure Investments so as to reduce or avoid any such withholding tax. Each
               Limited Partner agrees to repay to the Partnership and the General Partner and
               each of the partners and former partners of the General Partner, any liability for
               taxes, interest or penalties which may be asserted by reason of the failure to
               deduct and withhold tax on amounts distributable or allocable to such Limited
               Partner.

         (c)   Except as otherwise provided for in this Agreement, any expenditures payable by
               the Partnership, to the extent determined by the General Partner to have been paid
               or withheld on behalf of, or by reason of particular circumstances applicable to,
               one or more but fewer than all of the Partners, shall be charged only to the
               relevant Capital Accounts of those Partners on whose behalf such payments are
               made or whose particular circumstances gave rise to such payments. Such
               charges shall be debited from the relevant Capital Accounts of such Partners as of
               the close of the Fiscal Period during which any such items were accrued by the
               Partnership.



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  3.6    Reserves; Adjustments for Certain Future Events

         (a)   The General Partner may cause appropriate reserves to be created, accrued and
               charged against Net Assets including Limited Participation Investments and
               proportionately against the Capital Accounts for contingent liabilities or probable
               losses, such reserves to be in the amounts which the General Partner deems
               necessary or appropriate. The General Partner may increase or reduce any such
               reserve from time to time by such amounts as the General Partner deems
               necessary or appropriate. The amount of any such reserve, or any increase or
               decrease therein, may, at the election of the General Partner, be charged or
               credited, as the General Partner deems appropriate, to the Capital Accounts of
               those parties that were Partners at the time when such reserve was created,
               increased, or decreased, as the case may be, or alternatively may be charged or
               credited to those parties that were Partners at the time of the act or omission
               giving rise to the contingent liability for which the reserve was established by the
               General Partner.

         (b)   If the General Partner determines that it is equitable to treat an amount to be paid
               or received as being applicable to one or more prior periods, then all or a portion
               of such amount may be proportionately charged or credited, as appropriate, in
               proportion to the Capital Account balances of the current Partners as such
               balances existed during any such prior period.

  3.7    Performance Allocation

         (a)   The Performance Allocation will be debited against each Capital Account of each
               Limited Partner as of the last day of each Calculation Period with respect to such
               Capital Account, and the amount so debited will simultaneously be credited to the
               Capital Account of the General Partner pursuant to Section 3.3(e).

         (b)   The General Partner may waive or decrease the Performance Allocation with
               respect to any Limited Partner and any Capital Account.

         (c)   Net Profit for each year shall be allocated to the Capital Account of the General
               Partner from the Capital Accounts of the Limited Partners pro rata in accordance
               with their share of Net Profits for such Calculation Period determined prior to the
               application of this Section 3.7 in an amount equal to the Performance Allocation
               for such Calculation Period. If the Performance Allocation for the Calculation
               Period is greater than the aggregate net profits realized by the Partnership
               allocable to the Capital Accounts bearing the Performance Allocation for such
               Calculation Period, the Capital Account of the General Partner will be allocated,
               in addition to the Net Profits, additional items of gross income realized by the
               Partnership allocable to the Capital Accounts bearing the Performance Allocation
               during such year sufficient to credit the Capital Account of the General Partner
               with the full Performance Allocation. If such special allocations of items of gross
               income cannot be made in an amount equal to such shortfall, the excess amounts
               shall be treated as a guaranteed payment for services pursuant to Section 707(c) of


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                 the Code. Appropriate adjustments will be made to the Capital Accounts bearing
                 the Performance Allocation to reflect allocations of gross income described in the
                 preceding sentence. The parties agree that, to the extent permitted by applicable
                 law, for all federal income tax purposes, the Performance Allocation shall be
                 treated as an allocation of profits of the partnership for purposes of Section 704(b)
                 of the Code and the Regulations promulgated thereunder.

  3.8    Limited Participation Investments

          Whenever the Partnership makes a Limited Participation Investment, a Limited
  Participation Sub-Account shall be established for each Capital Account participating in such
  Limited Participation Investment to reflect such Capital Account’s pro rata share of the
  Partnership’s portion of all allocations and distributions attributable to transactions involving
  such Limited Participation Investment (and any related follow-on Investments, unless the
  General Partner determines to treat such follow-on Investment as a new Limited Participation
  Investment). Thereafter, the Partnership’s portion of all credits and debits relating to such
  Limited Participation Investment (including those specifically referred to herein) shall be
  allocated among the Limited Participation Sub-Accounts for such Limited Participation
  Investment on a pro rata basis in accordance with each Capital Account’s interest in such
  Limited Participation Investment. Expenses that relate to a Limited Participation Investment
  shall be allocated exclusively among the Limited Participation Sub-Accounts for such Limited
  Participation Investment on a pro rata basis in accordance with each Capital Account’s interest
  in such Limited Participation Investment.

  3.9    Allocation to Avoid Capital Account Deficits

          To the extent that any debits pursuant to this Article III would reduce the balance of the
  Capital Account of any Limited Partner below zero, that portion of any such debits shall instead
  be allocated to the Capital Account of the General Partner. Any credits in any subsequent Fiscal
  Period which would otherwise be allocable pursuant to this Article III to a Capital Account of
  any Limited Partner previously affected by the application of this Section 3.9 shall instead be
  allocated to the Capital Account of the General Partner in such amounts as are necessary to offset
  all previous debits attributable to such Limited Partner pursuant to this Section 3.9 not previously
  recovered.

  3.10   Allocations for Income Tax Purposes

         Notwithstanding anything to the contrary in this Agreement:

         (a)     Income Tax Allocations. Except as otherwise required by Code Section 704(c),
                 items of income, gain, deduction, loss, or credit that are recognized for income tax
                 purposes in each Fiscal Year will be allocated among the Partners (and among
                 such Partner’s Capital Accounts) in such manner as to reflect equitably amounts
                 credited to or debited against each Partner’s Capital Accounts, whether in such
                 Fiscal Year or in prior Fiscal Years. To this end, the Partnership will establish
                 and maintain records which shall show the extent to which the Capital Accounts
                 of each Partner will, as of the last day of each Fiscal Year, comprise amounts that



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               have not been reflected in the taxable income of such Partner. To the extent
               deemed by the General Partner to be feasible and equitable, taxable income and
               gains in each Fiscal Year shall be allocated among the Partners who have enjoyed
               the related credits to their Capital Accounts, and items of deduction, loss and
               credit in each Fiscal Year shall be allocated among the Partners who have borne
               the burden of the related debits to their Capital Accounts. Non-U.S. tax credits
               attributable to taxes incurred by the Partnership shall be allocated in a manner
               consistent with Section 1.704-1(b)(4)(viii) of the Regulations. All matters
               concerning allocations for U.S. federal, state and/or local income tax purposes,
               including accounting procedures, not expressly provided for in this Agreement
               will be determined by the General Partner.

         (b)   Basis Adjustments. To the extent an adjustment to the adjusted tax basis of any
               Partnership asset pursuant to Section 734(b) of the Code or Section 743(b) of the
               Code is required under Section 1.704-1(b)(2)(iv)(m) of the Regulations to be
               taken into account in determining Capital Accounts, the amount of such
               adjustment to the Capital Accounts shall be treated as an item of gain (if the
               adjustment increases the basis of the asset) or loss (if the adjustment decreases
               such basis) and such gain or loss shall be specially allocated to the Partners in a
               manner consistent with the manner in which their Capital Accounts are required
               to be adjusted pursuant to such Section of the Regulations; provided that in the
               event that an adjustment to the book value of Partnership property is made as a
               result of an adjustment pursuant to Section 734(b) of the Code, items of income,
               gain, loss, or deduction, as computed for book and tax purposes, will be specially
               allocated among the Partners so that the effect of any such adjustment shall
               benefit (or be borne by) the Partner(s) receiving the distribution that caused such
               adjustment.

         (c)   Positive Basis Allocations. If the Partnership realizes gains or items of gross
               income (including short term capital gain) from the sale of Partnership assets for
               U.S. federal income tax purposes for any Fiscal Year in which one or more
               Positive Basis Partners withdraws all or a portion of its Interest from the
               Partnership pursuant to Section 5.3, the General Partner may elect: (i) to allocate
               such gains or items of gross income among such Positive Basis Partners, pro rata
               in proportion to the respective Positive Basis of each such Positive Basis Partner,
               until either the full amount of such gains or items of gross income shall have been
               so allocated or the Positive Basis of each such Positive Basis Partner shall have
               been eliminated; and (ii) to allocate any gains or items of gross income not so
               allocated to Positive Basis Partners to the other Partners in such manner as shall
               reflect equitably the amounts credited to such Partners’ Capital Accounts pursuant
               to Section 3.3; provided, however, that if, following such Fiscal Year, the
               Partnership realizes gains or items of gross income from a sale of an Investment
               the proceeds of which are designated on the Partnership’s books and records as
               being used to effect payment of all or part of the liquidating share of any Positive
               Basis Partner that continues to be a Partner in the Partnership following such
               withdrawal (i.e., such Positive Basis Partner effected a partial, and not a complete,
               withdrawal of its Interest), there shall be allocated to such Positive Basis Partner


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               an amount of such gains or items of gross income equal to the amount, if any, by
               which its Positive Basis as of the effective date of withdrawal exceeds the amount
               allocated to such Partner pursuant to clause (i) of this sentence. For the avoidance
               of doubt, the General Partner may also, in its sole discretion, to apply the Positive
               Basis definitions and the provisions of this Section 3.10(c) to a withdrawal from a
               Capital Account.

         (d)   Negative Basis Allocations. If the Partnership realizes net losses or items of gross
               loss or deduction (including short term capital loss) from the sale of Partnership
               assets for U.S. federal income tax purposes for any Fiscal Year in which one or
               more Negative Basis Partners withdraws all or a portion of its Interest from the
               Partnership pursuant to Section 5.3, the General Partner may elect: (i) to allocate
               such net losses or items of gross loss or deduction among such Negative Basis
               Partners, pro rata in proportion to the respective Negative Basis of each such
               Negative Basis Partners, until either the full amount of such losses or items of loss
               or deduction shall have been so allocated or the Negative Basis of each such
               Negative Basis Partner shall have been eliminated; and (ii) to allocate any net
               losses or items of gross loss or deduction not so allocated to Negative Basis
               Partners to the other Partners in such manner as shall reflect equitably the
               amounts credited to such Partners’ Capital Accounts pursuant to Section 3.3;
               provided, however, that if, following such Fiscal Year, the Partnership realizes net
               losses or items of gross loss and deduction from a sale of an Investment the
               proceeds of which are designated on the Partnership’s books and records as being
               used to effect payment of all or part of the liquidating share of any Negative Basis
               Partner that continues to be a Partner in the Partnership following such
               withdrawal (i.e., such Negative Basis Partner effected a partial, and not a
               complete, withdrawal of its Interest), there shall may be allocated to such
               Negative Basis Partner an amount of such net losses or items of gross loss or
               deduction equal to the amount, if any, by which its Negative Basis as of the
               effective date of withdrawal exceeds the amount allocated to such Partner
               pursuant to clause (i) of this sentence. For the avoidance of doubt, the General
               Partner may also, in its sole discretion, to apply the Negative Basis definitions and
               the provisions of this Section 3.10(d) to a withdrawal from a Capital Account.

         (e)   Qualified Income Offset. In the event any Limited Partner unexpectedly receives
               any adjustments, allocations, or distributions described in Section 1.704-
               1(b)(2)(ii)(d)(4), 1.704-1(b)(2)(ii)(d)(5), or 1.704-1(b)(2)(ii)(d)(6) of the
               Regulations, items of Partnership income and gain will be specially allocated to
               each such Limited Partner in an amount and manner sufficient to eliminate, to the
               extent required by the Regulations, the deficit balance in the Capital Account of
               such Limited Partner as quickly as possible; provided that an allocation pursuant
               to this Section 3.10(e) may be made only if and to the extent that such Limited
               Partner would have a deficit balance in its Capital Account after all other
               allocations provided for in this Article III have been tentatively made as if this
               Section 3.10(e) were not in this Agreement. This Section 3.10(e) is intended to
               constitute a “qualified income offset” within the meaning of Section 1.704-
               1(b)(2)(ii) of the Regulations and shall be interpreted consistently therewith.


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         (f)     Minimum Gain Chargeback. Notwithstanding any other provision of this
                 Section 3.10, if there is a net decrease in Partnership Minimum Gain during any
                 Fiscal Year, the Partners will be specially allocated items of Partnership income
                 and gain for such Fiscal Year (and, if necessary, subsequent Fiscal Years) in an
                 amount equal to the portion of any such Partner’s share of the net decrease in
                 Partnership Minimum Gain, determined in accordance with Regulations Sections
                 1.704-2(f) and (g). This Section 3.10(f) is intended to comply with the minimum
                 gain chargeback requirement in such sections of the Regulations and must be
                 interpreted consistently therewith.

         (g)     Gross Income Allocation. In the event any Limited Partner has a deficit Capital
                 Account at the end of any Fiscal Year that is in excess of the sum of (i) the
                 amount such Limited Partner is obligated to restore pursuant to any provision of
                 this Agreement and (ii) the amount such Limited Partner is deemed to be
                 obligated to restore pursuant to the penultimate sentences of Sections 1.704-
                 2(g)(1) and 1.704-2(i)(5) of the Regulations, each such Limited Partner will be
                 specially allocated items of Partnership gross income and gain in the amount of
                 such excess as quickly as possible; provided that an allocation pursuant to this
                 Section 3.10(g) may be made only if and to the extent that such Limited Partner
                 would have a deficit Capital Account in excess of such sum after all other
                 allocations provided for in this Article III have been made as if Section 3.10(e)
                 and this Section 3.10(g) were not in this Agreement.

         (h)     Section 704(b) Compliance. The allocations provided in this Section 3.10 are
                 intended to comply with the Regulations under Section 704(b) of the Code and
                 may, as determined by the General Partner, be interpreted and applied in a manner
                 consistent therewith.

  3.11   Curative Allocations

          The allocations set forth in Sections 3.10(b), (e), (f) and (g) (the “Regulatory
  Allocations”) are intended to comply with certain requirements of the Regulations. It is the
  intent of the Partners that, to the extent possible, all Regulatory Allocations shall be offset either
  with other Regulatory Allocations or with special allocations of other items of Partnership
  income, gain, loss, or deduction pursuant to this Section 3.11. Therefore, notwithstanding any
  other provision of this Article III (other than the Regulatory Allocations), the General Partner
  shall make such offsetting special allocations of the Partnership income, gain, loss, or deduction
  in whatever manner it determines appropriate so that, after such offsetting allocations are made,
  each Partner’s Capital Account balance is, to the extent possible, equal to the Capital Account
  balance such Partner would have had if the Regulatory Allocations were not part of this
  Agreement and all Partnership items were allocated pursuant to other provisions of this Article
  III (other than the Regulatory Allocations).




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  3.12   Individual Partners’ Tax Treatment

          Each Partner agrees not to treat, on any U.S. federal, state, local and/or non-U.S. income
  tax return or in any claim for a refund, any item of income, gain, loss, deduction or credit in a
  manner inconsistent with the treatment of such item by the Partnership.

  3.13   Distributions

         (a)     The amount and timing of any distributions from the Partnership shall be
                 determined by the General Partner. Distributions will generally be made in
                 proportion to the Capital Account balances of the Partners at the beginning of the
                 Fiscal Period when made; provided that distributions related to Limited
                 Participation Investments will be made based on the proportionate interests of the
                 Capital Accounts participating in such Limited Participation Investments. Any
                 distributions may be paid in cash, in kind or partly in cash and partly in kind.

         (b)     Notwithstanding any provision to the contrary contained in this Agreement, the
                 Partnership, and the General Partner on behalf of the Partnership, may not make a
                 distribution to any Partner on any account of its Interest if such distribution would
                 violate the Act or other applicable law.

  3.14   Other Matters

         (a)     The General Partner does not have any personal liability for the repayment of any
                 capital contribution of any Partner.

         (b)     Subject only to the relevant provisions of the Act, the Limited Partners are not
                 personally liable for the debts, liabilities, contracts or other obligations of the
                 Partnership except to the extent of their respective capital contributions; provided,
                 however, that the foregoing is not to be construed as relieving any Partner of any
                 obligations arising under Section 3.1 of this Agreement.

         (c)     The Limited Partners shall not participate in the conduct of the Partnership’s
                 business nor shall they transact business for the Partnership, nor shall they have
                 the power to sign for or bind the Partnership, said powers being vested
                 exclusively in the General Partner.



                                   Article IV MANAGEMENT


  4.1    Duties and Powers of the General Partner

         (a)     Subject to the terms and conditions of this Agreement, the General Partner shall
                 have complete and exclusive power and responsibility, to the fullest extent
                 permitted by the Act, for (i) all investment and investment management decisions
                 to be undertaken on behalf of the Partnership and (ii) managing and administering


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               the affairs of the Partnership, and shall have the power and authority to do all
               things that the General Partner considers necessary or desirable to carry out its
               duties hereunder and to achieve the purposes of the Partnership.

         (b)   The General Partner shall have the right, without the notification to or consent of
               any Limited Partner or other Person, to make adjustments to the structure of the
               Partnership in order to address applicable structural, ownership, legal, or
               regulatory issues, or to improve overall tax efficiency; provided that no such
               adjustment would cause any material adverse consequences to the Limited
               Partners.

         (c)   Without limiting the generality of the General Partner’s duties and powers
               hereunder and notwithstanding anything to the contrary contained herein, the
               General Partner shall have full power and authority, subject to the other terms and
               provisions of this Agreement, to execute, deliver and perform such contracts,
               agreements and other undertakings on behalf of the Partnership, without the
               consent or approval of any other Person, and to engage in all activities and
               transactions, as it may deem necessary or advisable for, or as may be incidental
               to, the conduct of the business contemplated by this Section 4.1, including,
               without in any manner limiting the generality of the foregoing, (i) contracts,
               agreements, undertakings and transactions with any Partner or with any other
               Person, firm or corporation having any business, financial or other relationship
               with any Partner or Partners, (ii) agreements with each Limited Partner in
               connection with its purchase of an Interest, (iii) any agreements to induce any
               Person to purchase an Interest, and (iv) the Investment Management Agreement
               delegating to the Investment Manager certain of the powers and authority vested
               by this Agreement in the General Partner as the General Partner and the
               Investment Manager may agree from time to time, each without any further act,
               approval or vote of any Person.

         (d)   The General Partner may terminate or replace the Investment Manager in
               accordance with the terms of the Investment Management Agreement. The
               General Partner may delegate to any other Person any power and authority vested
               in the General Partner pursuant to this Agreement that is not otherwise delegated
               to the Investment Manager.

         (e)   Every power vested in the General Partner pursuant to this Agreement shall be
               construed as a power to act (or not to act) in its sole and absolute discretion,
               except as otherwise expressly provided herein. No provision of this Agreement
               shall be construed to require the General Partner to violate the Act or any other
               law, regulation or rule of any self-regulatory organization.

         (f)   Notwithstanding any other provision of this Agreement or otherwise applicable
               provision of law or equity, whenever in this Agreement, the General Partner is
               permitted or required to make a decision (i) in its “sole discretion” or “discretion”
               or under a grant of similar authority or latitude, the General Partner shall be
               entitled to consider only such interests and factors as it desires, including its own


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                 interests, and shall, to the fullest extent permitted by applicable law, have no duty
                 or obligation to give any consideration to any interest of or factors affecting the
                 Partnership or the Limited Partners, or (ii) in its “good faith” or under another
                 expressed standard, the General Partner shall act under such express standard and
                 shall not be subject to any other or different standards. Unless otherwise
                 expressly stated, for purposes of this Section 4.1(f), the General Partner shall be
                 deemed to be permitted or required to make all decisions hereunder in its sole
                 discretion.

         (g)     The General Partner must cause the Partnership to conduct its dealings with third
                 parties in its own name.

         (h)     The General Partner must, throughout the term of the Partnership as set out in
                 Section 2.4, take all actions that may be necessary or appropriate for the
                 continuation of the Partnership’s valid existence as an exempted limited
                 partnership under the laws of the Cayman Islands.

  4.2    Expenses

         (a)     Subject to Section 4.2(f), each of the General Partner and the Investment Manager
                 pays all of its own operating and overhead costs without reimbursement by the
                 Partnership (except liability insurance and items described in Section
                 4.2(b)(iv)). The Partnership will not have its own separate employees or officers,
                 and it will not reimburse the General Partner or the Investment Manager for
                 salaries, office rent and other general overhead expenses of the General Partner or
                 the Investment Manager.

         (b)     The Partnership, and not the General Partner or the Investment Manager, will pay,
                 or reimburse the General Partner and the Investment Manager for, all other costs,
                 fees and expenses arising in connection with the Partnership’s operations. Such
                 expenses payable by the Partnership include the following:

               (i)      all investment-related expenses (including those related to identifying and
                        evaluating contemplated investments, whether or not such contemplated
                        investments are actually made), including, but not limited to, brokerage
                        commissions and other transaction costs, expenses related to short sales,
                        clearing and settlement charges, expenses related to proxies, underwriting
                        and private placements, custodial fees, transfer agent fees, bank service
                        fees, any governmental, regulatory, licensing, filing or registration fees
                        incurred in compliance with the rules of any self-regulatory organization
                        or any federal, state or local laws, consulting and any other professional
                        fees or compensation (including investment banking expenses) relating to
                        particular investments or contemplated investments, appraisal fees and
                        expenses, investment-related travel and lodging expenses and research-
                        related expenses (including, without limitation, news and quotation
                        equipment and services), fees to third-party providers of risk-monitoring
                        services, investment and trading-related computer hardware and software,


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                             including, without limitation, trade order management software (i.e.,
                             software used to route trade orders);

                (ii)         accounting (including accounting software), audit and tax preparation
                             expenses;

               (iii)         costs and expenses associated with reporting and providing information to
                             existing and prospective investors;

               (iv)          any legal fees and costs (including indemnification expenses, regulatory
                             costs and settlement costs) arising in connection with any litigation or
                             regulatory investigation instituted against the Partnership, the General
                             Partner, the Investment Manager or any of their respective affiliates in
                             their capacity as such, subject to Section 4.5;

                (v)          except as otherwise provided in Section 3.5, any taxes imposed or
                             assessed upon, or payable by, the Partnership (including interest and
                             penalties);

               (vi)          costs of any meeting of the Partners (or of obtaining the consent of the
                             Partners in lieu of meeting);

               (vii)         expenses related to the Advisory Committee and the Pricing Committee;

           (viii)            premiums for directors’ and officers’ liability insurance (if any) and any
                             other insurance benefiting the Partnership;

               (ix)          Management Fees;

                (x)          administrative expenses (including, without limitation, the fees and
                             expenses of the Administrator in relation to its services provided pursuant
                             to the administration agreement);

               (xi)          fees relating to valuing the Partnership’s assets;

               (xii)         expenses related to the maintenance of the Partnership’s registered office;

           (xiii)            corporate licensing expenses;

           (xiv)             extraordinary expenses; and

               (xv)          any costs or expenses of winding up and liquidating the Partnership.

         (c)          Expenses generally will be borne pro rata by the Partners in accordance with the
                      balances of their respective Capital Accounts; provided that expenses may be
                      specially allocated among the Capital Accounts as follows:

                 (i)         with respect to expenses related to Investments (other than Limited
                             Participation Investments), pro rata in accordance with the balances of


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                         their respective Capital Accounts exclusive of the value of any Limited
                         Participation Sub-Account; and

               (ii)      as provided elsewhere in this Agreement, including Sections 3.4, 3.5, 3.6,
                         3.8 and 5.3.

         (d)      Each of the General Partner and the Investment Manager, as appropriate, shall be
                  entitled to reimbursement from the Partnership for any of the expenses paid by it
                  on behalf of the Partnership pursuant to Section 4.2(b); provided that the General
                  Partner may absorb any or all of such expenses incurred on behalf of the
                  Partnership. The Investment Manager may retain, in connection with its
                  responsibilities hereunder, the services of others to assist in the investment advice
                  to be given to the Partnership, including, but not limited to, any affiliate of the
                  Investment Manager, but payment for any such services shall be assumed by the
                  Investment Manager and the Partnership shall not have any liability therefor;
                  provided, however, that the Investment Manager, in its sole discretion, may retain
                  the services of independent third party professionals, including, without
                  limitation, attorneys, accountants and consultants, to advise and assist it in
                  connection with the performance of its activities on behalf of the Partnership
                  hereunder, and the Partnership shall bear full responsibility therefor and the
                  expense of any fees and disbursements arising therefrom.

         (e)      If the General Partner or the Investment Manager, as appropriate, shall incur any
                  of the expenses referred to in Section 4.2(b) for the account or for the benefit of,
                  or in connection with its activities or those of its Affiliates on behalf of, both the
                  Partnership and any Other Account, the General Partner or the Investment
                  Manager, as appropriate, will allocate such expense among the Partnership and
                  each such Other Account in proportion to the size of the Investment made by each
                  in the activity or entity to which the expense relates, or in such other manner as
                  the General Partner considers fair and reasonable.

         (f)      Each of the General Partner and the Investment Manager is entitled to use “soft
                  dollars” generated by the Partnership to pay for certain investment research and
                  brokerage services that provide lawful and appropriate assistance to the General
                  Partner or the Investment Manager in the performance of investment decision-
                  making responsibilities to the extent such use falls within the safe harbor afforded
                  by Section 28(e) of the Securities Exchange Act of 1934, as amended, or is
                  otherwise reasonably related to the investment decision-making process, or to
                  cover certain Partnership expenses described in Section 4.2(b). Use of “soft
                  dollars” by the General Partner or the Investment Manager as described herein
                  shall not constitute a breach by the either the General Partner or the Investment
                  Manager of any fiduciary or other duty which the General Partner or the
                  Investment Manager may be deemed to owe to the Partnership or its Partners.




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  4.3    Rights of Limited Partners

           The Limited Partners shall take no part in the management, control or operation of the
  Partnership’s business, and shall have no right or authority to act for the Partnership or to vote on
  matters other than the matters set forth in this Agreement or as required by applicable
  law. Except as otherwise provided herein or required by law, a Limited Partner shall have no
  liability for the debts or obligations of the Partnership.

  4.4    Other Activities of Partners

         (a)     The General Partner shall not be required to devote any specific amount of its
                 time to the affairs of the Partnership, but shall devote such of its time to the
                 business and affairs of the Partnership as it shall determine in good faith to be
                 necessary to conduct the affairs of the Partnership for the benefit of the
                 Partnership and the Partners.

         (b)     Each Partner agrees that any other Partner, and any partner, director, officer,
                 shareholder, member, Affiliate or employee of any other Partner, may engage in
                 or possess an interest in other business ventures or commercial dealings of every
                 kind and description, independently or with others, including, but not limited to,
                 management of other accounts, investment in, or financing, acquisition and
                 disposition of, securities, investment and management counseling, brokerage
                 services, serving as directors, officers, advisers or agents of other companies,
                 partners of any partnership, or trustee of any trust, or entering into any other
                 commercial arrangements, and will not be disqualified solely on the basis that any
                 such activities may conflict with any interest of the parties with respect to the
                 Partnership. Without in any way limiting the foregoing, each Partner hereby
                 acknowledges that (i) none of the Partners or their respective partners, directors,
                 officers, shareholders, members, Affiliates or employees shall have any obligation
                 or responsibility to disclose or refer any of the investment or other opportunities
                 obtained through activities contemplated by this Section 4.4(b) to the General
                 Partner or the Limited Partners, but may refer the same to any other party or keep
                 such opportunities for their own benefit; and (ii) the Partners and their respective
                 partners, directors, officers, shareholders, members, Affiliates and employees are
                 hereby authorized to engage in activities contemplated by this Section 4.4(b) with,
                 or to purchase, sell or otherwise deal or invest in Investments issued by,
                 companies in which the General Partner might from time to time invest or be able
                 to invest or otherwise have any interest on behalf of the Partnership, without the
                 consent or approval of the Partnership or any other Partner. The Partners
                 expressly agree that no other Partner shall have any rights in or to such other
                 activities, or any profits derived therefrom.

         (c)     The General Partner and its Affiliates shall allocate investment opportunities to
                 the Partnership and any Other Account fairly and equitably over time.
                 Notwithstanding the foregoing, the General Partner is under no obligation to
                 accord exclusivity or priority to the Partnership in the event of limited investment
                 opportunities. This means that such opportunities will be allocated among those


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               accounts for which participation in the respective opportunity is considered
               appropriate, taking into account, among other considerations: (i) whether the
               risk-return profile of the proposed Investment is consistent with the account’s
               objectives and program, whether such objectives are considered in light of the
               specific Investment under consideration or in the context of the portfolio’s overall
               holdings; (ii) the potential for the proposed Investment to create an imbalance in
               the account’s portfolio (taking into account expected inflows and outflows of
               capital); (iii) liquidity requirements of the account; (iv) potentially adverse tax
               consequences; (v) regulatory and other restrictions that would or could limit an
               account’s ability to participate in a proposed Investment; and (vi) the need to re-
               size risk in the account’s portfolio. The General Partner has the authority to
               allocate trades to multiple accounts on an average price basis or on another basis
               it deems fair and equitable. Similarly, if an order on behalf of any accounts
               cannot be fully allocated under prevailing market conditions, the General Partner
               may allocate the trades among different accounts on a basis it considers fair and
               equitable over time.

         (d)   The principals of the General Partner, as well as the employees and officers
               thereof and of organizations affiliated with the General Partner, may buy and sell
               securities for their own account or the account of others, but may not buy
               securities from or sell securities to the Partnership (such prohibition does not
               extend to the purchase or sale of Interests) unless appropriate approval of the
               Advisory Committee is obtained and such purchase or sale is in compliance with
               the applicable provisions of the Advisers Act or such purchase or sale is otherwise
               in compliance with the applicable provisions of the Advisers Act.

         (e)   Each Partner hereto hereby waives, and covenants not to bring a cause of action in
               law or equity on the basis of, any law (statutory, common law or otherwise)
               respecting the rights and obligations of the Partners which is or may be
               inconsistent with this Section 4.4.

         (f)   The General Partner and its Affiliates reserve the right to establish collective
               investment vehicles that have stated investment programs or terms that differ
               from those of the Partnership or that are targeted primarily to investors for which
               the Partnership is not designed to be a suitable investment vehicle. The General
               Partner and its Affiliates also reserve the right to establish and provide
               management or advisory services pursuant to separate Other Accounts for
               significant investors, whether or not such accounts have the same investment
               program as the Partnership.

  4.5    Duty of Care; Indemnification

         (a)   None of the Indemnified Persons will be liable to the Partnership or any Limited
               Partner or any other person for mistakes of judgment or for action or inaction that
               did not constitute Gross Negligence, willful misconduct or bad faith, or for losses
               due to such mistakes, action or inaction or to the negligence, dishonesty or bad
               faith of any broker or agent of the Partnership, provided that such broker or agent


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               was selected, engaged or retained by the Indemnified Person in accordance with
               the standard of care set forth above. No Indemnified Person shall be liable to the
               Partnership or any Limited Partner or any other person for any amount in excess
               of the amount of Management Fees received by the Investment Manager, to the
               extent permitted under applicable law. In addition, in no event shall any
               Indemnified Person be liable for any special, indirect, exemplary, consequential or
               punitive losses or damages. An Indemnified Person may consult with counsel and
               accountants in respect of the Partnership’s affairs and will be fully protected and
               justified in any action or inaction which is taken in accordance with the advice or
               opinion of such counsel or accountants, provided that they were selected in
               accordance with the standard of care set forth above. The foregoing provisions,
               however, shall not be construed so as to provide for the exculpation of an
               Indemnified Person of any liability (including liability under U.S. Federal
               securities laws which, under certain circumstances, impose liability even on
               persons acting in good faith), to the extent (but only to the extent) that such
               liability may not be waived, modified or limited under applicable law (including
               liability under U.S. Federal securities laws which, under certain circumstances,
               impose liability even on persons acting in good faith), but shall be construed so as
               to effectuate the abovementioned provisions to the fullest extent permitted by law.

         (b)   The Partnership shall, to the fullest extent permitted by law, indemnify and hold
               harmless each Indemnified Person from and against any and all loss, cost or
               expense suffered or sustained by an Indemnified Person by reason of the fact that
               it, he or she is or was an Indemnified Person, including, without limitation, any
               judgment, settlement, reasonable attorneys’ fees and other costs or expenses
               incurred in connection with the defense of any actual or threatened action, suit or
               proceeding, provided that such liability, damage loss, cost or expense resulted
               from a mistake of judgment on the part of an Indemnified Person or from action
               or inaction that did not constitute Gross Negligence, willful misconduct or bad
               faith, or from the negligence, dishonesty or bad faith of a broker or other agent of
               an Indemnified Person, provided that such broker or agent was selected, engaged
               or retained by the Indemnified Person in accordance with the standard of care set
               forth above. The Partnership will, in the sole discretion of the General Partner,
               advance to any Indemnified Person reasonable attorneys’ fees and other costs and
               expenses incurred in connection with the defense of any action, suit or proceeding
               which arises out of such conduct. In the event that such an advance is made by
               the Partnership, the Indemnified Person will agree to reimburse the Partnership to
               the extent that it is finally determined that it was not entitled to indemnification in
               respect thereof.

         (c)   Notwithstanding any of the foregoing, the provisions of this Section 4.5 do not
               provide for the indemnification of any Indemnified Person for any liability
               (including liability under Federal securities laws which, under certain
               circumstances, impose liability even on persons that act in good faith), to the
               extent (but only to the extent) that such liability may not be waived, modified or
               limited under applicable law, but shall be construed so as to effectuate the above
               provisions to the fullest extent permitted by law.


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         (d)   Pursuant to the foregoing indemnification and exculpation provisions applicable
               to each Indemnified Person, the Partnership (and not the applicable Indemnified
               Person) will be responsible for any losses resulting from trading errors and similar
               human errors, absent Gross Negligence, bad faith or willful misconduct of any
               Indemnified Person.

         (e)   The above-mentioned Indemnified Persons are also indemnified by each Limited
               Partner for any amounts of tax withheld or required to be withheld with respect to
               that Limited Partner, and also for any amounts of interest, additions to tax,
               penalties and other costs borne by any such persons in connection therewith to the
               extent that the balance of the Limited Partner’s Capital Account is insufficient to
               fully compensate the General Partner or the Investment Manager for such costs.

         (f)   The General Partner may make, execute, record and file on its own behalf and on
               behalf of the Partnership all instruments and other documents (including one or
               more deed polls in favor of categories of Indemnified Persons and/or one or more
               separate indemnification agreements between the Partnership and individual
               Indemnified Persons) that the General Partner deems necessary or appropriate in
               order to extend the benefit of the provisions of Sections 4.5(a) and 4.5(b) to the
               Indemnified Persons; provided, that, such other instruments and documents
               authorized hereunder shall be on the same terms as provided for in Sections 4.5(a)
               and 4.5(b) except as otherwise may be required by applicable law.

  4.6    Advisory Committee



         (a)   The General Partner and/or the Investment Manager may appoint a committee
               (the “Advisory Committee”) composed of one or more individuals selected by the
               General Partner and/or the Investment Manager from time to time, none of whom
               is affiliated with the General Partner or the Investment Manager.

         (b)   The General Partner and/or the Investment Manager may in its/their discretion
               seek the approval of the Advisory Committee or establish any other reasonable
               mechanism in connection with (i) approvals that are or would be required under
               the Investment Advisers Act of 1940, as amended (including Section 206(3)), or
               (ii) any other matter deemed appropriate by the General Partner and/or the
               Investment Manager. Each Limited Partner agrees that, except as otherwise
               specifically provided herein and to the extent permitted by applicable law, the
               approval of a majority of the members of the Advisory Committee at such time is
               binding upon the Partnership and each Partner with respect to any approval sought
               under this Section 4.6(b).

         (c)   Subject to the foregoing, any recommendations of or actions taken by the
               Advisory Committee are advisory only and the General Partner and the
               Investment Manager are not required or otherwise bound to act in accordance
               with any such recommendations or actions.



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         (d)       As determined by the General Partner and/or the Investment Manager, meetings
                   of the Advisory Committee may be held in person or by telephone. Approval of
                   the Advisory Committee is deemed to have been given if given by a majority of
                   those members present at a meeting or by a majority of all members of the
                   Advisory Committee if given pursuant to a written consent without a meeting.

         (e)       The Partnership agrees to reimburse members of the Advisory Committee for
                   their reasonable out-of-pocket expenses and to indemnify them to the maximum
                   extent permitted by law.

  4.7    Pricing Committee

         (a)       The General Partner and/or the Investment Manager shall appoint a committee (a
                   “Pricing Committee”) whose quorum consists of at least a majority of the
                   following individuals: the Chief Financial Officer of the Investment Manager, the
                   Chief Compliance Officer of the Investment Manager and one or more traders of
                   the Investment Manager. The Pricing Committee meets on at least a monthly
                   basis to review, confirm and agree on all pricing information established by the
                   Investment Manager in respect of the Partnership’s assets that are fair valued.
                   The final pricing or valuation of such Partnership assets shall require the approval
                   of a majority in number of the members of the Pricing Committee constituting a
                   quorum as of a relevant valuation date. In lieu of meeting, the Pricing Committee
                   may take action by written consent signed by a majority of the committee
                   members. The Pricing Committee may, at the Partnership’s expense, engage
                   third-party experts and consultants to provide services in connection with any
                   determination to be made by the Pricing Committee. The General Partner and/or
                   the Investment Manager may replace members of the Pricing Committee or
                   change the composition of the Pricing Committee, in their sole discretion.

         (b)       In connection with the valuation of Partnership assets, the General Partner shall:

                (i)       with respect to the Partnership’s assets that are tracked by third party
                          pricing services to which the Investment Manager’s data administrator
                          currently subscribes, use reasonable efforts to cause the Administrator (if
                          any) to obtain independent pricing on at least a monthly basis from such
                          data administrator;

               (ii)       with respect to the Partnership’s assets that are not tracked by third party
                          pricing services, but for which the Investment Manager obtains pricing
                          information from third party brokerage firms, require that the Investment
                          Manager provide copies of such brokerage pricing to the Administrator on
                          at least a monthly basis; and

               (iii)      with respect to the Partnership’s assets that are neither tracked by a third
                          party pricing service nor for which the Investment Manager obtains
                          pricing information from third party brokerage firms, require the
                          Investment Manager to calculate pricing in its reasonable discretion and



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                          will provide all such pricing information directly to the Administrator on
                          at least a monthly basis.



                 Article V ADMISSIONS, TRANSFERS AND WITHDRAWALS


   5.1    Admission of Partners

           The General Partner may, without the consent of any existing Partners, admit any Person
   who agrees to be bound by all of the terms of this Agreement as a General Partner or a Limited
   Partner upon the execution by or on behalf of it and the acceptance by the General Partner of a
   deed of adherence to this Agreement in form satisfactory to the General Partner. The amount of
   any initial capital contribution to be made by such additional Partner is determined by the
   General Partner (in its sole discretion). Effective upon such admission, the Partnership
   Percentage of each existing Partner is adjusted pro rata to reflect the Partnership Percentage of
   the additional Partner, and the Partnership’s records are revised to reflect such adjusted
   Partnership Percentages, as well as the name, initial capital contribution and Partnership
   Percentage of such additional Partner. No Limited Partner may Transfer all or any portion of its
   Interest without the prior written consent of the General Partner.

   5.2    Transfer and Withdrawal of the General Partner

           Without the consent of a majority in number of the Limited Partners, the General Partner
   shall not have the right to assign or otherwise transfer its Interest as the general partner of the
   Partnership, and the General Partner shall not have the right to withdraw from the Partnership
   without the consent of the Limited Partners. In the event of an assignment or transfer of all of its
   Interest as a general partner of the Partnership in accordance with this clause, the new general
   partner will immediately notify the Registrar in the Cayman Islands in accordance with Section
   10 of the Act and the outgoing General Partner will take such actions as may be necessary to
   novate and assign all contracts signed on behalf of the Partnership to the new general partner
   whereupon the new general partner will be substituted as general partner of the Partnership in
   place of the outgoing General Partner and immediately thereafter the outgoing General Partner
   will cease to be the general partner of the Partnership.

   5.3    Transfer and Withdrawal of Interests of Limited Partners

          (a)     The General Partner shall have the right, in its sole discretion, to (i) prohibit
                  Transfers of Limited Partner Interests, (ii) compel withdrawals of Limited Partner
                  Interests and (iii) take such other actions as the General Partner deems necessary
                  to ensure that the assets of the Partnership do not constitute Plan Assets for
                  purposes of ERISA.

          (b)     Subject to obtaining the General Partner’s consent, each of the Limited Partners
                  may voluntarily withdraw all or part of its Interest at such times and in such
                  amounts as such Limited Partner may determine.



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         (c)      The General Partner may postpone or suspend (a) the calculation of the net asset
                  value of the Partnership (and the applicable valuation date); (b) the issuance of
                  Interests, (c) the withdrawal by Limited Partners (and the applicable withdrawal
                  date); and/or (d) the payment of withdrawal proceeds (even if the calculation
                  dates and withdrawal dates are not postponed) if it determines that such a
                  suspension is warranted by extraordinary circumstances, including: (i) during any
                  period when any stock exchange or over-the-counter market on which the
                  Partnership’s investments are quoted, traded or dealt in is closed, other than for
                  ordinary holidays and weekends, or during periods in which dealings are
                  restricted or suspended; (ii) during the existence of any state of affairs as a result
                  of which, in the reasonable opinion of the General Partner, disposal of
                  investments by the Partnership, or the determination of the value of the assets of
                  the Partnership, would not be reasonably practicable or would be seriously
                  prejudicial to the non-redeeming partners; (iii) during any breakdown in the
                  means of communication normally employed in determining the price or value of
                  the Partnership’s assets or liabilities, or of current prices in any stock market as
                  aforesaid, or when for any other reason the prices or values of any assets or
                  liabilities of the Partnership cannot reasonably be accurately ascertained within a
                  reasonable time frame; (iv) during any period when the transfer of funds involved
                  in the realization or acquisition of any investments cannot, in the reasonable
                  opinion of the General Partner, be effected at normal rates of exchange; or (v)
                  automatically upon termination of the Partnership as described in Section 6.1.



                        Article VI LIQUIDATION AND TERMINATION


  6.1    Termination of Partnership

         (a)      The Partnership shall be wound up and dissolved upon the first to occur of the
                  following dates (each, a “Termination Date”) and Sections 36(1)(b), 36(9) and
                  36(12) of the Act shall not apply to the Partnership:

               (i)       any date on which the General Partner shall elect in writing to terminate
                         the Partnership;

               (ii)      if the General Partner is the sole or last remaining general partner, the date
                         (the “Automatic Dissolution Date”) falling 90 days after the date of the
                         service of a notice by the General Partner (or its legal representative) on
                         all the Limited Partners informing the Limited Partners of:

                         (1)     the commencement of liquidation or bankruptcy proceedings in
                                 relation to the General Partner; or

                         (2)     the withdrawal, removal or making of a winding up or dissolution
                                 order in relation to the General Partner;



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                   provided that, if a majority in number of the Limited Partners elects one or more
                   new general partners before the Automatic Dissolution Date, the business of the
                   Partnership shall be resumed and continued. If a new general partner is not
                   elected by the Automatic Dissolution Date, the Partnership shall be wound up and
                   dissolved in accordance with terms of this Agreement and the Act.

         (b)       Upon such Termination Date, the Partnership shall be wound up in accordance
                   with the Act by the General Partner or if the General Partner is unable to perform
                   this function, a liquidator elected by a Majority of the Limited Partners (a
                   “Liquidator”), which shall take all steps necessary or appropriate to wind up the
                   affairs of the Partnership as promptly as practicable thereafter. Neither the
                   admission of Partners nor the withdrawal, bankruptcy, death, legal incapacity or
                   disability of a Limited Partner shall terminate the Partnership.

         (c)       The parties agree that irreparable damage would be done to the goodwill and
                   reputation of the Partners if any Limited Partner should bring an action in court to
                   dissolve the Partnership. Care has been taken in this Agreement to provide for
                   fair and just payment in liquidation of the Interests of all Partners. Accordingly,
                   to the fullest extent permitted by law, each Limited Partner hereby waives and
                   renounces its right to such a court decree of dissolution or to seek the appointment
                   by the court of a liquidator for the Partnership except as provided herein, and no
                   Limited Partner may present a winding up petition against the Partnership without
                   the prior written consent of the General Partner.

  6.2    Liquidation of Assets

         (a)       Upon the Termination Date of the Partnership, the General Partner or Liquidator
                   (as applicable) shall promptly liquidate the business and administrative affairs of
                   the Partnership to the extent feasible. Net Profit and Net Loss and any balances in
                   Limited Participation Sub-Accounts during the Fiscal Periods, which includes the
                   period of liquidation, shall be allocated pursuant to Article III. The proceeds from
                   liquidation shall be divided in the following manner, subject to the Act:

                (i)       the debts, liabilities and obligations of the Partnership, other than any
                          debts to the Partners as Partners, and the expenses of liquidation
                          (including legal, administrative and accounting expenses incurred in
                          connection therewith), up to and including the date that distribution of the
                          Partnership’s assets to the Partners has been completed, shall first be
                          satisfied (whether by payment or the making of reasonable provision for
                          payment thereof);

               (ii)       such debts as are owing to the Partners as Partners are next paid; and

               (iii)      the Partners shall next be paid liquidating distributions (in cash or in
                          securities or other assets, whether or not readily marketable) pro rata in
                          accordance with, and up to the positive balances of their respective Capital
                          Accounts, as adjusted pursuant to Article III to reflect allocations for the



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                      Fiscal Period ending on the date of the distributions under this
                      Section 6.2(a)(iii).

         (b)   Notwithstanding this Section 6.2 and the priorities set forth in the Act, the
               General Partner or Liquidator may distribute ratably in-kind rather than in cash,
               upon dissolution, any assets of the Partnership; provided, however, that if any in-
               kind distribution is to be made, (i) the assets distributed in-kind shall be valued
               pursuant to Section 7.3, and charged as so valued and distributed against amounts
               to be paid under Section 6.2(a) and (ii) any gain or loss (as computed for book
               purposes) attributable to property distributed in-kind shall be included in the Net
               Profit, Net Loss or Limited Participation Sub-Accounts for the Fiscal Period
               ending on the date of such distribution.

         (c)   The General Partner shall, pursuant to Section 36(2) of the Act, file a notice of
               dissolution with the Registrar upon completion of the winding up of the
               Partnership.



         Article VII ACCOUNTING AND VALUATION; BOOKS AND RECORDS


  7.1    Accounting and Reports

         (a)   The Partnership may adopt for tax accounting purposes any accounting method
               which the General Partner shall decide is in the best interests of the Partnership
               and which is permissible for U.S. federal income tax purposes.

         (b)   As soon as practicable after the end of each Fiscal Year, the General Partner shall
               cause an audit of the financial statements of the Partnership as of the end of each
               such period to be made by a firm of independent accountants selected by the
               General Partner. As soon as is practicable thereafter the General Partner shall
               furnish to each Limited Partner a copy of the set of financial statements prepared
               in accordance with GAAP (subject to this Agreement), with such adjustments
               thereto as the General Partner determines appropriate, including the report of such
               independent accountants. The General Partner may elect not to reserve certain
               amounts that may be required by GAAP and not to provide certain portfolio
               disclosure required by GAAP to investors and may capitalize and amortize certain
               of its organizational expenses in deviation from GAAP. Such deviations from
               GAAP may result in a qualified opinion rendered on the financial statements of
               the Partnership.

         (c)   As soon as practicable after the end of each taxable year, the General Partner shall
               furnish to each Limited Partner such information as may be required to enable
               each Limited Partner properly to report for U.S. federal, state, local or other
               income tax purposes its distributive share of each Partnership item of income,
               gain, loss, deduction or credit for such year. The General Partner shall have
               discretion as to how to report Partnership items of income, gain, loss, deduction or


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               credit on the Partnership’s tax returns, and the Limited Partners shall treat such
               items consistently on their own tax returns.

  7.2    Certain Tax Matters

         (a)   By joining this Agreement, each Limited Partner appoints and designates the
               General Partner (i) as the “tax matters partner,” within the meaning of Section
               6231(a)(7) of the Code, and, (ii) for any BBA Effective Period, as the
               “partnership representative” within the meaning of Section 6223 of the Code (as
               applicable, the “Tax Matters Partner”), or, in each case, under any similar state
               or local law, and, if the “partnership representative” is an entity, the General
               Partner shall have the exclusive authority to appoint and designate the individual
               through whom such partnership representative will act for all purposes under
               subchapter C of chapter 63 of the Code and, if applicable, any similar state or
               local law (the “Designated Individual”). All references to the Tax Matters Partner
               herein shall include the Designated Individual, unless the context requires
               otherwise. The Tax Matters Partner shall have any powers necessary to perform
               fully in such capacity, and shall be permitted to take any and all actions, to the
               extent permitted by law, in consultation with the General Partner if the General
               Partner is not the Tax Matters Partner. The General Partner shall have the
               exclusive authority to appoint and designate the Investment Manager, or an
               Affiliate of the General Partner or the Investment Manager, as a successor Tax
               Matters Partner for any BBA Effective Period. The Tax Matters Partner shall be
               reimbursed by the Partnership for all costs and expenses incurred by it, and to be
               indemnified by the Partnership with respect to any action brought against it, in its
               capacity as the Tax Matters Partner.

         (b)   The Limited Partners agree that any and all actions taken by the Tax Matters
               Partner shall be binding on the Partnership and all of the Limited Partners and the
               Limited Partners shall reasonably cooperate with the Partnership or the General
               Partner, and undertake any action reasonably requested by the Partnership or the
               General Partner, in connection with any elections made by the Tax Matters
               Partner or as determined to be reasonably necessary by the Tax Matters Partners
               under any BBA provision.

         (c)   Each Limited Partner further agrees that such Limited Partner will not
               independently act with respect to tax audits or tax litigation affecting the
               Partnership, unless the prior written consent of the General Partner has been
               obtained.

         (d)   The General Partner may in its sole discretion cause the Partnership to make all
               elections not otherwise expressly provided for in this Agreement required or
               permitted to be made by the Partnership under the Code and any state, local or
               non-U.S. tax laws.

         (e)   To the fullest extent permitted by law, each Limited Partner agrees to (i) provide
               such cooperation and assistance, including executing and filing forms or other


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                statements and providing information about the Limited Partner, as is reasonably
                requested by the Tax Matters Partner, to enable the Partnership to satisfy any
                applicable tax reporting or compliance requirements, to make any tax election or
                to qualify for an exception from or reduced rate of tax or other tax benefit or be
                relieved of liability for any tax regardless of whether such requirement, tax
                benefit or tax liability existed on the date such Partner was admitted to the
                Partnership, (ii) amend the Limited Partner’s tax returns and pay any resulting
                taxes, interest and penalties in connection with the Partnership’s electing under
                Section 6225(a) of the Code, as amended by the BBA, (iii) take into account any
                adjustments and pay any taxes, interest and penalties that result from the
                Partnership’s electing under Section 6226 of the Code, as amended by the BBA,
                and/or (iv) indemnify and hold harmless the Partnership, the Tax Matters Partner
                and any other individual designated to interact with tax authorities on behalf of
                the Partnership from and against any liability with respect to the Limited Partner’s
                share of any tax deficiency (including any interest and penalties associated
                therewith) paid or payable by the Partnership that is (a) allocable to such Limited
                Partner (as reasonably determined by the General Partner in accordance with this
                Agreement) with respect to an audited or reviewed taxable year for which such
                Partner was a Partner in the Partnership or (b) attributable (as reasonably
                determined by the General Partner) to the failure of such Limited Partner to
                cooperate with or provide any such forms, statements, or other information as
                requested by the Tax Matters Partner pursuant to clause (i) above.

         (f)    The obligations and covenants of the Limited Partners set forth in Sections 3.5,
                7.2 and 7.3 hereof shall apply jointly and severally to each Limited Partner and
                any direct or indirect transferee of or successor to such Limited Partner’s interest
                and shall survive such Limited Partner’s ceasing to be a Partner in the Partnership
                and/or the termination, dissolution, liquidation and winding up of the Partnership.

  7.3    AEOI

         Each Partner acknowledges and agrees that:

         (a)    the Partnership is required to comply with the provisions of AEOI;

         (b)    it will provide, in a timely manner, such information regarding the Partner and its
                beneficial owners and such forms or documentation as may be requested from
                time to time by the Partnership (whether by its General Partner or other agents
                such as the Investment Manager or the Administrator) to enable the Partnership to
                comply with the requirements and obligations imposed on it pursuant to AEOI,
                specifically, but not limited to, forms and documentation which the Partnership
                may require to determine whether or not the Partner's relevant investment is a
                "Reportable Account" (under any AEOI regime) and to comply with the relevant
                due diligence procedures in making such determination;

         (c)    any such forms or documentation requested by the Partnership or its agents
                pursuant to paragraph (b), or any financial or account information with respect to


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                the Partner's investment in the Partnership, may be disclosed to the Cayman
                Islands Tax Information Authority (or any other Cayman Islands governmental
                body which collects information in accordance with AEOI) and to any
                withholding agent where the provision of that information is required by such
                agent to avoid the application of any withholding tax on any payments to the
                Partnership;

         (d)    it waives, and/or shall cooperate with the Partnership to obtain a waiver of, the
                provisions of any law which:

                (i)    prohibit the disclosure by the Partnership, or by any of its agents, of the
                       information or documentation requested from the Partner pursuant to
                       paragraph (b);

               (ii)    prohibit the reporting of financial or account information by the
                       Partnership or its agents required pursuant to AEOI; or

               (iii)   otherwise prevent compliance by the Partnership with its obligations under
                       AEOI;
         (e)    if it provides information and documentation that is in anyway misleading, or it
                fails to provide the Partnership or its agents with the requested information and
                documentation necessary in either case to satisfy the Partnership's obligations
                under AEOI, the General Partner reserves the right (whether or not such action or
                inaction leads to compliance failures by the Partnership, or a risk of the
                Partnership or its investors being subject to withholding tax or other costs, debts,
                expenses, obligations or liabilities (whether external, or internal, to the
                Partnership) (together, "costs") under AEOI), in its sole discretion, to take any
                action and/or pursue all remedies at its disposal including, without limitation:

                (i)    to establish separate sub-accounts within a Partner’s Capital Account for
                       the purpose of calculating AEOI related costs; and/or

               (ii)    to allocate any or all AEOI costs among Capital Accounts on a basis
                       determined solely by the General Partner; and/or

               (iii)   to compulsory withdraw such Partner from the Partnership; and/or
               (iv)    to hold back or deduct from any withdrawal proceeds or from any other
                       payments or distributions due to such Partner any costs caused (directly or
                       indirectly) by the Partner's action or inaction;

         (f)    it shall have no claim against the Partnership, the General Partner or any of its or
                their agents, for any form of damages or liability as a result of actions taken or
                remedies pursued by or on behalf of the Partnership in order to comply with
                AEOI; and

         (g)    it hereby indemnifies the Partnership, the General Partner and each of their
                respective principals, members, partners, managers, officers, directors,


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                stockholders, employees and agents and holds them harmless from and against
                any AEOI related liability, action, proceeding, claim, demand, costs, damages,
                expenses (including legal expenses) penalties or taxes whatsoever which such
                parties may incur as a result of any action or inaction (directly or indirectly) of
                such Partner (or any related person) described in the preceding paragraphs. This
                indemnification shall survive the disposition of such Partner's Interest in the
                Partnership.

  7.4    Valuation of Partnership Assets and Interests

         (a)    The Partnership’s assets are valued as of the close of each Fiscal Period and on
                any other date selected by the General Partner in its sole discretion in accordance
                with its valuation policies and procedures.

         (b)    The value of the assets of the Partnership and the net worth of the Partnership as a
                whole determined pursuant to this Section 7.3 are conclusive and binding on all of
                the Partners and all parties claiming through or under them.

  7.5    Determinations by the General Partner

         (a)    All matters concerning the determination and allocation among the Partners and
                their respective Capital Accounts of the amounts to be determined and allocated
                pursuant to this Agreement, including Article III and accounting procedures
                applicable thereto, shall be determined by the General Partner, unless specifically
                and expressly otherwise provided for by the provisions of this Agreement, and
                such determinations and allocations shall be final and binding on all the Partners;
                provided, however, that all calculations of the Performance Allocation will be
                made on the basis of, or subject to correction based on, the annual audit of the
                Partnership’s financial statements and appropriate adjustments will be made to all
                such calculations and related allocations to the extent necessary as a result of that
                audit.

         (b)    The General Partner may make such adjustments to the computation of Net Profit
                or Net Loss or any other allocations with respect to any Limited Partner and their
                respective Capital Accounts, or any component items comprising any of the
                foregoing, as it considers appropriate to reflect the financial results of the
                Partnership and the intended allocation thereof among the Partners and their
                respective Capital Accounts in a reasonably accurate, fair and efficient manner.
                Without limiting the generality of the foregoing, any provision of this Agreement
                that requires an adjustment to be made to any Capital Account or sub-account as
                of any mid-month or mid-quarter date may be made as of the most recent
                preceding or succeeding date when a regular valuation is being conducted.

  7.6    Books and Records

         The General Partner shall keep books and records pertaining to the Partnership’s affairs
  showing all of its assets and liabilities, receipts and disbursements, realized income, gains,
  deductions and losses, Partners’ Capital Accounts and all transactions entered into by the


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  Partnership. Subject to the documentation requirements of the Act, such books and records of
  the Partnership must be kept at the Partnership’s office or at the office of an agent.



                              Article VIII GENERAL PROVISIONS


  8.1    Amendment of Partnership Agreement

         (a)    Except as required by law, this Agreement may be amended, in whole or in part,
                by an instrument in writing signed by each of the Limited Partners and the
                General Partners.

         (b)    The General Partner may amend this Agreement without the consent of the
                Limited Partners in order:

                (i)      to make consequential amendments following any amendment made
                         pursuant to this Section 8.1;

                (ii)     to clarify any manifest or clerical inaccuracy, ambiguity or reconcile any
                         inconsistency in this Agreement;

                (iii)    to add to the representations, duties or obligations of the General Partner
                         or waive any right or power of the General Partner for the benefit of the
                         Limited Partners;

                (iv)     so as to qualify or maintain the qualification of the Partnership as a limited
                         partnership in any jurisdiction;

                (v)      to change the name of the Partnership;

                (vi)     to admit any new Limited Partners or to carry out the Transfer of any
                         Interests;

                (vii)    to make any other amendment whatsoever to this Agreement which the
                         General Partner deems advisable, provided that it does not adversely affect
                         any rights of the Limited Partners; or

                (viii)   to create separate classes or sub-classes or series or sub-series of
                         Partnership Interests.

  8.2    Special Power-of-Attorney

         (a)    Each Limited Partner hereby appoints the General Partner for the time being, with
                power of substitution, as his lawful attorney in his name to execute, acknowledge,
                swear to (and deliver as may be appropriate) on his behalf and file and record in




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                      the appropriate public offices and publish (as may in the reasonable judgment of
                      the General Partner be required by law):

                (i)          any amendments to this Agreement made in accordance with the terms
                             hereof;

               (ii)          any instruments or documents which the General Partner determines in its
                             sole discretion are required to admit any new Limited Partners or to carry
                             out the Transfer of any Interests;

               (iii)         declarations of limited partnership in various jurisdictions and
                             amendments thereto;

               (iv)          all deeds, agreements and other documents which the General Partner
                             deems appropriate to conduct and carry on the business of the Partnership,
                             including without limitation to qualify or continue the Partnership as an
                             exempted limited partnership in the Cayman Islands and as required in the
                             jurisdictions in which the Partnership may conduct business, or which may
                             be required to be filed by the Partnership or the Partners under the laws of
                             any jurisdiction or under any amendments or successor statute to the Act,
                             to reflect the dissolution or termination of the Partnership or the
                             Partnership being governed by any amendments or successor statutes to
                             the Act or to reorganize or refile the Partnership in a different jurisdiction,
                             provided that such reorganization or refiling does not result in a material
                             change in the rights of the Partners;

                (v)          to file, prosecute, defend, settle or compromise litigation, claims or
                             arbitration on behalf of the Partnership;

               (vi)          one or more subscription agreements (or other agreements or documents)
                             on behalf of such Limited Partner between the Partnership, the General
                             Partner and any Person (a “New Limited Partner”) being admitted by the
                             General Partner to the Partnership as a limited partner thereof (or such
                             other parties as may be appropriate) in such form and on such terms and
                             conditions as the General Partner considers in its absolute discretion
                             necessary or appropriate, including reference to this Agreement and its
                             novation and agreeing and covenanting with such New Limited Partner on
                             behalf of such Limited Partner that the Limited Partner will from the
                             effective date of such subscription agreement or agreements comply with
                             and observe the terms of this Agreement.

         (b)          The above power of attorney shall be irrevocable and deemed to be given to
                      secure a proprietary interest of the donee of the power or performance of an
                      obligation owed to the donee and shall survive and shall not be affected by the
                      subsequent death, lack of capacity, insolvency, bankruptcy or dissolution of any
                      Limited Partner.




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         (c)     Each Limited Partner shall, at the request of the General Partner, execute
                 additional powers of attorney on a document separate from this Agreement. In
                 the event of any conflict between this Agreement and any instruments executed,
                 delivered, or filed by the General Partner (and any successor thereto) pursuant to
                 this power of attorney, this Agreement shall prevail.

         (d)     The General Partner may exercise this power of attorney by listing all of the
                 Partners executing any agreement, certificate, instrument, or document with the
                 single signature of the General Partner as attorney-in-fact for all Partners.

         (e)     Each Limited Partner hereby appoints the General Partner by any one or more of
                 its directors or officers in office from time to time, acting singly, to be the Limited
                 Partner's agent and attorney-in-fact.

  8.3    Notices

           Notices which may be or are required to be given under this Agreement by any party to
  another shall be given by hand delivery, transmitted by facsimile or telecopier facsimile,
  transmitted electronically to an address that has been previously provided or verified through
  another form of notice or sent by registered or certified mail, return receipt requested or
  internationally recognized courier service, and shall be addressed to the respective parties hereto
  at their addresses as set forth on the register of Partners maintained by the General Partner or to
  such other addresses or facsimile numbers as may be designated by any party hereto by notice
  addressed to (i) the General Partner, in the case of notice given by any Limited Partner, and
  (ii) each of the Limited Partners, in the case of notice given by the General Partner. Notices shall
  be deemed to have been given (A) when delivered by hand, transmitted by facsimile or
  transmitted electronically or (B) on the date indicated as the date of receipt on the return receipt
  when delivered by mail or courier service. Sections 8 and 19 of the Electronic Transactions
  Law (2003 Revision) of the Cayman Islands shall not apply to this Agreement.

  8.4    Agreement Binding Upon Successors and Assigns; Delegation

          This Agreement shall be binding upon and inure to the benefit of the parties hereto and
  their respective successors, but the rights and obligations of the Partners hereunder shall not be
  assignable, transferable or delegable except as provided in Section 4.1(d) and any attempted
  assignment, transfer or delegation thereof which is not made pursuant to the terms of such
  Sections shall be void.

  8.5    Governing Law

          This Agreement is, and the rights of the Partners hereunder are, governed by and shall be
  construed in accordance with the laws of the Cayman Islands, without regard to the conflict of
  laws rule thereof which would result in the application of the laws of a different
  jurisdiction. The parties hereby consent to the exclusive jurisdiction and venue for any action
  arising out of this Agreement in Dallas, Texas. Each Partner consents to service of process in
  any action or proceeding involving the Partnership by the mailing thereof by registered or
  certified mail, postage prepaid, to such Partner’s mailing address set forth in the register of
  limited partnership interests maintained by the General Partner in accordance with the Act.


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  8.6    Interpretation of Partnership Accounting Systems and Terminology

          In the event that the Partnership employs an accounting system which is different from
  the accounting system of the General Partner or whose terminology does not conform precisely
  to the terminology in this Agreement, the General Partner shall have the authority to interpret
  such accounting system and/or terminology in a manner which it, in its sole discretion,
  determines to be consistent with the objectives of this Agreement.

  8.7    Miscellaneous

         (a)    The captions and titles preceding the text of each Section hereof shall be
                disregarded in the construction of this Agreement. Use of the word “including” in
                this Agreement means in each case “without limitation,” whether or not such term
                is explicitly stated.

         (b)    This Agreement may be executed in counterparts, each of which shall be deemed
                to be an original hereof.

                                    [Signature Page Follows]




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                                      EXHIBIT A



 General Partner:
 Highland Dynamic Income Fund GP, LLC

 Limited Partners:
 Highland Dynamic Income Fund, L.P.
 Highland Dynamic Income Fund, Ltd.




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                     INVESTMENT MANAGEMENT AGREEMENT


                                    by and among


                            HIGHLAND LOAN FUND, LTD.


                       HIGHLAND CAPITAL LOAN FUND, L.P.


                        HIGHLAND LOAN MASTER FUND, L.P.


                         HIGHLAND CAPITAL LOAN GP, LLC


                                         and


                      HIGHLAND CAPITAL MANAGEMENT, L.P.




                                    March 28, 2013




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  INVESTMENT MANAGEMENT AGREEMENT (“Agreement”), dated effective as of
  March 28, 2013, by and among:

         HIGHLAND LOAN FUND, LTD., an exempted company incorporated in the Cayman
  Islands with limited liability (the “Offshore Fund”);

       HIGHLAND CAPITAL LOAN FUND, L.P., a Delaware limited partnership (the
  “Domestic Fund”);

         HIGHLAND LOAN MASTER FUND, L.P., a Cayman Islands exempted limited
  partnership (the “Master Fund” and, together with the Domestic Fund and the Offshore Fund,
  the “Clients”);

         HIGHLAND CAPITAL LOAN GP, LLC, a Delaware limited liability company as the
  general partner of each of the Domestic Fund and the Master Fund (the “General Partner”); and

         HIGHLAND CAPITAL MANAGEMENT, L.P., a Delaware limited partnership (the
  “Investment Manager”).

                                      Preliminary Statements

          A.     The Domestic Fund and the Offshore Fund each invest all of their investable
  assets in the Master Fund. The Investment Manager will exercise no discretion with respect to
  the investment of the assets of the Offshore Fund or the Domestic Fund and will serve merely as
  a steward thereof and the investment activities of the Investment Manager will be conducted at
  the Master Fund level as the Investment Manager to the Master Fund.

          B.      The Clients desire to retain the Investment Manager to provide certain
  discretionary advisory services relating to the assets and liabilities of the Master Fund, and the
  Investment Manager desires to accept such appointment, all subject to the terms and conditions
  hereinafter set forth.

          In consideration of the mutual covenants herein contained, and other valuable
  consideration, the receipt and sufficiency of which is hereby acknowledged, and intending to be
  legally bound hereby, the parties hereto agree as follows:

                                             Agreement

  For good and valuable consideration, the sufficiency and adequacy of which are hereby
  acknowledged, the parties hereto agree as follows:

  1.     Appointment.

         The Clients hereby appoint the Investment Manager as investment manager with respect
         to the assets and liabilities of the Master Fund, and to provide certain custodial services in
         respect of the Domestic Fund and the Offshore Fund, and the Investment Manager hereby
         accepts such appointment and agrees to perform its obligations in accordance with the
         terms hereof and of the Amended and Restated Exempted Limited Partnership
         Agreement of the Master Fund, as amended from time to time (the “Master Fund

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        Partnership Agreement”) and the investment objectives, policies, guidelines and
        restrictions that from time to time are set forth in the confidential private placement
        memorandum of the Domestic Fund, as supplemented or superseded from time to time
        (the “PPM”), the confidential private offering memorandum of the Offshore Fund, as
        supplemented or superseded from time to time (the “POM”), the Memorandum and
        Articles of Association of the Offshore Fund (the “Articles”) and the Limited Partnership
        Agreement of the Domestic Fund, as amended from time to time (the “Domestic Fund
        Partnership Agreement” and, together with the Master Fund Partnership Agreement, the
        “Partnership Agreements” and, the Partnership Agreements collectively with the PPM,
        the POM and the Articles, the “Governing Documents”). Any capitalized terms used but
        not defined herein shall have the meanings assigned to such terms in the Governing
        Documents.

  2.    Authority and Duties of the Investment Manager.

        (a)    All of the assets of the Domestic Fund and the Offshore Fund shall be invested in
               the Master Fund. The Investment Manager will exercise no discretion with
               respect to the investment of the assets of the Offshore Fund or the Domestic Fund
               and will serve merely as a steward thereof and the investment activities of the
               Investment Manager will be conducted at the Master Fund level as the Investment
               Manager to the Master Fund.

        (b)    Subject to 2(a), the Investment Manager shall serve as the investment manager to
               the Master Fund and shall in that capacity have full discretion and authority,
               without obtaining the prior approval of any officer or other agent of the Master
               Fund: (i) to effect any and all transactions in securities, currencies and other
               financial instruments (and options and other contracts thereon), and everything
               connected therewith in the broadest sense; (ii) to determine all matters relating to
               the manner, method and timing of portfolio transactions and to engage consultants
               and analysts in connection therewith; (iii) to select brokers, dealers, banks and
               other intermediaries by or through whom such transactions will be executed or
               carried out; (iv) to make short sales; (v) to purchase or write options (including
               uncovered options); (vi) to direct the administrator of the Master Fund, banks,
               brokers or other custodians to effect deliveries of funds or assets, but only in the
               course of effecting portfolio transactions for the account of the Master Fund; (vii)
               to exercise all voting and other powers and privileges attributable to any securities
               or other property held for the Master Fund’s account hereunder; (viii) to
               authorize remuneration for the Directors of the Offshore Fund other than
               Directors of the Offshore Fund who are principals or employees of the Investment
               Manager; and (ix) to make and execute all such documents and to take all such
               other actions as the Investment Manager considers necessary or appropriate to
               carry out its investment management duties hereunder.

        (c)    In furtherance of the foregoing, the Clients hereby designate and appoint the
               Investment Manager as its agent and attorney-in-fact, with full power and
               authority and without the need for further approval of the Clients (except as may
               be required by law) to complete and execute all such documents and to take any
               and all actions that the Investment Manager, in its discretion, shall deem advisable
               to carry out the foregoing with respect to the assets of the Clients; provided,
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              however, that the Investment Manager is not intended to have actual or
              constructive custody of any securities or other assets of the Clients. In connection
              with any of the foregoing, the Investment Manager is further authorized to
              transfer or tender for cash or exchange such securities. In all such purchases,
              sales or trades the Clients authorize the Investment Manager to act for the Clients,
              and at their risk, and in their name and on their behalf, in the same manner and
              with the same force and effect as the Clients might or could do with respect to
              such purchases, sales or trades without prior consultation with the Clients. The
              Clients also appoint the Investment Manager as their agent and attorney-in-fact to
              vote, and to execute proxies, waivers, consents and other instruments with respect
              to, the securities and other assets of the Clients.

        (d)   In connection with the execution of transactions on behalf of the Master Fund, the
              Master Fund hereby acknowledges and agrees that in the course of selecting
              brokers, dealers, banks and financial intermediaries to effect transactions for the
              Master Fund’s account, the Investment Manager may agree to such commissions,
              fees and other charges on behalf of the Master Fund’s account as it shall deem
              reasonable in the circumstances, taking into consideration all such factors as the
              Investment Manager deems relevant, including the following: price quotes; the
              size of the transaction; the nature of the market for the financial instrument; the
              timing of the transaction; difficulty of execution; the broker-dealer’s expertise in
              the specific financial instrument or sector in which the Master Fund seeks to
              trade; the extent to which the broker-dealer makes a market in the financial
              instrument involved or has access to such markets; the broker-dealer’s skill in
              positioning the financial instruments involved; the broker-dealer’s promptness of
              execution; the broker-dealer’s financial stability, reputation for diligence, fairness
              and integrity; quality of service rendered by the broker-dealer in other
              transactions for the Investment Manager and its respective affiliates;
              confidentiality considerations; the quality and usefulness of research services and
              investment ideas presented by the broker-dealer; the broker-dealer’s willingness
              to correct errors; the broker-dealer’s ability to accommodate any special execution
              or order handling requirements that may surround the particular transaction; and
              other factors deemed appropriate by the Investment Manager. The Investment
              Manager need not solicit competitive bids and does not have an obligation to seek
              the lowest available commission cost or spread. It is understood that the costs of
              such services will not necessarily represent the lowest costs available and that the
              Investment Manager is under no obligation to combine or arrange orders so as to
              obtain reduced charges.

        (e)   At the request of a Client, in any wind down of such Client, the Investment
              Manager will manage the realization of the Client’s assets and the distribution
              thereof to investors.

        (f)   The General Partner, on behalf of the Domestic Fund and the Master Fund, agrees
              that the Investment Manager shall be entitled to all of the benefits of the
              Partnership Agreements applicable to it as a delegate of the General Partner,
              including, without limitation, the right to reimbursement of expenses provided
              under the Partnership Agreements and the right to indemnification provided under

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               the Partnership Agreements, and such sections are hereby incorporated by
               reference as if set forth in full herein; provided, however, this proviso shall not
               operate to provide duplicative amounts to any reimbursement or payment received
               pursuant to Sections 4 and 8 of this Agreement.

  3.    Management Fees.

        Pursuant to this Agreement, the Investment Manager is entitled to be paid management
        fees by the Master Fund, which shall be calculated with the methodology set out in the
        Master Fund Partnership Agreement.

  4.    Expenses.

        (a)    The Clients will pay, or will reimburse the Investment Manager, for all costs and
               expenses arising in connection with their administration and operations, including
               without limitation, the following expenses:

               (i)     all investment-related expenses (including those related to identifying and
                       evaluating contemplated investments, whether or not such contemplated
                       investments are actually made), including, but not limited to, brokerage
                       commissions and other transaction costs, expenses related to short sales,
                       clearing and settlement charges, expenses related to proxies, underwriting
                       and private placements, custodial fees, transfer agent fees, bank service
                       fees, any governmental, regulatory, licensing, filing or registration fees
                       incurred in compliance with the rules of any self-regulatory organization
                       or any federal, state or local laws, consulting and any other professional
                       fees or compensation (including investment banking expenses) relating to
                       particular investments or contemplated investments, appraisal fees and
                       expenses, investment-related travel and lodging expenses and research-
                       related expenses (including, without limitation, news and quotation
                       equipment and services), fees to third-party providers of risk-monitoring
                       services, and investment and trading-related computer hardware and
                       software, including, without limitation, trade order management software
                       (i.e., software used to route trade orders);

               (ii)    accounting (including accounting software), audit and tax preparation
                       expenses;

               (iii)   costs and expenses associated with reporting and providing information to
                       existing and prospective investors;

               (iv)    any legal fees and costs (including indemnification expenses, regulatory
                       costs and settlement costs) arising in connection with any litigation or
                       regulatory investigation instituted against any of the Clients, the General
                       Partner, the Investment Manager or any of their respective affiliates in
                       their capacity as such, subject to the indemnification provisions of the
                       Partnership Agreements and Section 8 below;

               (v)     any taxes imposed upon the Clients;

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              (vi)    costs of any meeting of investors (or of obtaining the consent of investors
                      in lieu of meeting);

              (vii)   expenses related to the Advisory Committee and the Pricing Committee;

              (viii) premiums for directors’ and officers’ liability insurance (if any) and any
                     other insurance benefiting the Clients;

              (ix)    administrative expenses (including, without limitation, the fees and
                      expenses of any administration in relation to its services provided pursuant
                      to an administration agreement);

              (x)     fees relating to valuing the Clients’ assets;

              (xi)    expenses related to the maintenance of the Clients’ registered offices;

              (xii)   corporate licensing expenses;

              (xiii) extraordinary expenses; and

              (xiv)   any costs or expenses of winding up and liquidating any of the Clients.

        (b)   The Investment Manager will pay all of its own operating and overhead costs
              (except liability insurance and items described in Section 4(a)(iv) above) without
              reimbursement by the Clients, and any expenses arising in connection with the
              Investment Manager’s services to the Clients, other than those specified in this
              Agreement to be the obligation of the Clients and the fees payable to the
              Investment Manager, shall be the responsibility of the Investment Manager.

        (c)   The Investment Manager shall be entitled to reimbursement from the Clients for
              any of the expenses mentioned in Section 4(a) above paid by it on behalf of the
              Clients; provided that, the Investment Manager in its sole discretion may absorb
              any or all of such expenses incurred on behalf of the Clients. The Investment
              Manager may retain, in connection with its responsibilities hereunder, the services
              of others to assist in the investment advice to be given to the Master Fund,
              including, but not limited to, any affiliate of the Investment Manager, but
              payment for any such services shall be assumed by the Investment Manager and
              the Clients shall not have any liability therefor; provided, however, that the
              Investment Manager, in its sole discretion, may retain the services of independent
              third party professionals, including, without limitation, attorneys, accountants and
              consultants, to advise and assist it in connection with the performance of its
              activities on behalf of the Clients hereunder, and the Clients shall bear full
              responsibility therefor and the expense of any fees and disbursements arising
              therefrom.

        (d)   If the Investment Manager shall incur any of the expenses mentioned in Section
              4(a) above for the account of the Clients and any Other Accounts (as defined in
              Section 5(c) hereof), the Investment Manager will allocate such expense among
              the Clients and each such Other Account in proportion to the size of the

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              investment made by each in the activity or entity to which the expense relates, or
              in such other manner as the Investment Manager in its sole discretion considers
              fair and reasonable.

        (a)   The Investment Manager is entitled to use “soft dollars” generated by the Master
              Fund to pay for certain investment research and brokerage services that provide
              lawful and appropriate assistance to the Investment Manager in the performance
              of investment decision-making responsibilities to the extent such use falls within
              the safe harbor afforded by Section 28(e) of the Securities Exchange Act of 1934,
              as amended, or is otherwise reasonably related to the investment decision-making
              process, or to cover certain Client expenses described in Section 4(a). Use of
              “soft dollars” by the Investment Manager as described herein shall not constitute a
              breach by the Investment Manager of any fiduciary or other duty which the
              Investment Manager may be deemed to owe to the Clients.

  5.    Other Activities and Investments.

        (a)   The Investment Manager shall not be required to devote any specific amount of
              its time to the affairs of the Clients, but shall devote such of its time to the
              business and affairs of the Clients as it shall determine in good faith to be
              necessary to conduct the affairs of the Clients for the benefit of the Clients.

        (b)   Each of the Clients agree that the Investment Manager, and any partner, director,
              officer, shareholder, member, affiliate or employee of the Investment Manager,
              may engage in or possess an interest in other business ventures or commercial
              dealings of every kind and description, independently or with others, including,
              but not limited to, management of other accounts, investment in, or financing,
              acquisition and disposition of, securities, investment and management counseling,
              brokerage services, serving as directors, officers, advisers or agents of other
              companies, partners of any partnership, or trustee of any trust, or entering into any
              other commercial arrangements, and will not be disqualified solely on the basis
              that any such activities may conflict with any interest of the parties with respect to
              the Clients. Without in any way limiting the foregoing, each Clients hereby
              acknowledge that (i) none of the Investment Manager or its partners, directors,
              officers, shareholders, members, affiliates or employees shall have any obligation
              or responsibility to disclose or refer any of the investment or other opportunities
              obtained through activities contemplated by this Section 5 to the Clients, but may
              refer the same to any other party or keep such opportunities for their own benefit;
              and (ii) the Investment Manager and its partners, directors, officers, shareholders,
              members, affiliates and employees are hereby authorized to engage in activities
              contemplated by this Section 5 with, or to purchase, sell or otherwise deal or
              invest in investments issued by, companies in which the Investment Manager
              might from time to time invest or be able to invest or otherwise have any interest
              on behalf of the Clients, without the consent or approval of the Clients.

        (c)   The Investment Manager shall act allocate investment opportunities to the Master
              Fund and any Other Account fairly and equitably over time. “Other Account”
              means any assets or investment of the Investment Manager, or any assets
              managed by the Investment Manager or any affiliate of the Investment Manager

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              for the account of any person or entity (including investment vehicles) other than
              the Clients, which are invested or which are available for investment in securities
              or other instruments or for trading activities whether or not of the specific type
              being conducted by the Clients. The Investment Manager is under no obligation
              to accord exclusivity or priority to the Master Fund in the event of limited
              investment opportunities. This means that such opportunities will be allocated
              among those accounts for which participation in the respective opportunity is
              considered appropriate, taking into account, among other considerations: (i)
              whether the risk-return profile of the proposed investment is consistent with the
              account’s objectives and program, whether such objectives are considered in light
              of the specific investment under consideration or in the context of the portfolio’s
              overall holdings; (ii) the potential for the proposed investment to create an
              imbalance in the account’s portfolio (taking into account expected inflows and
              outflows of capital); (iii) liquidity requirements of the account; (iv) potentially
              adverse tax consequences; (v) regulatory and other restrictions that would or
              could limit an account’s ability to participate in a proposed investment; and (vi)
              the need to re-size risk in the account’s portfolio. The Investment Manager has
              the authority to allocate trades to multiple accounts on an average price basis or
              on another basis it deems fair and equitable. Similarly, if an order on behalf of
              any accounts cannot be fully allocated under prevailing market conditions, the
              Investment Manager may allocate the trades among different accounts on a basis
              it considers fair and equitable over time.

        (d)   The principals of the Investment Manager, as well as the employees and officers
              thereof and of organizations affiliated with the Investment Manager, may buy and
              sell securities for their own account or the account of others, but may not buy
              securities from or sell securities to the Clients (such prohibition does not extend to
              the purchase or sale of limited partner interests or shares, as applicable, in any of
              the Clients) unless appropriate approval of the Advisory Committee is obtained
              and such purchase or sale is in compliance with the applicable provisions of the
              Investment Advisers Act of 1940, as amended (the “Advisers Act”) or such
              purchase or sale is otherwise in compliance with the applicable provisions of the
              Advisers Act.

        (e)   Each Client hereby waives, and covenants not to bring a cause of action in law or
              equity on the basis of, any law (statutory, common law or otherwise) respecting
              the rights and obligations of the Clients which is or may be inconsistent with this
              Section 5.

        (f)   The Investment Manager and its affiliates reserve the right to establish collective
              investment vehicles that have stated investment programs or terms that differ
              from those of the Clients or that are targeted primarily to investors for which the
              Clients are not designed to be suitable investment vehicles. The Investment
              Manager and its affiliates also reserve the right to establish and provide
              management or advisory services pursuant to separate Other Accounts for
              significant investors, whether or not such accounts have the same investment
              program as the Clients.



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  6.     Custody.

         The assets of the Clients shall be held in the custody of one or more qualified custodians
         (or other independent institutions performing the functions of custodian, with respect to
         the assets which are held by such institutions) selected by the Investment Manager.

  7.     Scope of Liability.

          None of the Investment Manager, nor any member, shareholder, partner, manager,
  director, officer, employee or agent of, or any person who controls, the Investment Manager,
  each of the respective affiliates of the foregoing, or any of the legal representatives of any of the
  foregoing (collectively, the “Indemnified Persons”) will be liable to the Clients or any other
  person for mistakes of judgment or for action or inaction that did not constitute gross negligence,
  willful misconduct or bad faith, or for losses due to such mistakes, action or inaction or to the
  negligence, dishonesty or bad faith of any broker or agent of the Clients, provided that such
  broker or agent was selected, engaged or retained by the Indemnified Person in accordance with
  the standard of care set forth above. No Indemnified Person shall be liable to the Clients or any
  other person for any amount in excess of the amount of Management Fees received by the
  Investment Manager, to the extent permitted under applicable law. In addition, in no event shall
  any Indemnified Person be liable for any special, indirect, exemplary, consequential or punitive
  losses or damages. An Indemnified Person may consult with counsel and accountants in respect
  of the Clients’ affairs and will be fully protected and justified in any action or inaction which is
  taken in accordance with the advice or opinion of such counsel or accountants, provided that they
  were selected in accordance with the standard of care set forth above. The foregoing provisions,
  however, shall not be construed so as to provide for the exculpation of an Indemnified Person of
  any liability (including liability under U.S. Federal securities laws which, under certain
  circumstances, impose liability even on persons acting in good faith), to the extent (but only to
  the extent) that such liability may not be waived, modified or limited under applicable law
  (including liability under U.S. Federal securities laws which, under certain circumstances,
  impose liability even on persons acting in good faith), but shall be construed so as to effectuate
  the abovementioned provisions to the fullest extent permitted by law.

  8.     Indemnification.

         (a)     The Clients shall, to the fullest extent permitted by law, indemnify and hold
                 harmless each Indemnified Person from and against any and all loss, cost or
                 expense suffered or sustained by an Indemnified Person by reason of the fact that
                 it, he or she is or was an Indemnified Person, including, without limitation, any
                 judgment, settlement, reasonable attorneys’ fees and other costs or expenses
                 incurred in connection with the defense of any actual or threatened action, suit or
                 proceeding, provided that such liability, damage, loss, cost or expense resulted
                 from a mistake of judgment on the part of an Indemnified Person or from action
                 or inaction that did not constitute gross negligence, willful misconduct or bad
                 faith, or from the negligence, dishonesty or bad faith of a broker or other agent of
                 an Indemnified Person, provided that such broker or agent was selected, engaged
                 or retained by the Indemnified Person in accordance with the standard of care set
                 forth above. Each of the Clients shall, in the sole discretion of the General
                 Partner or the Directors, as applicable, advance to any Indemnified Person
                 reasonable attorneys’ fees and other costs and expenses incurred in connection

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              with the defense of any action, suit or proceeding which arises out of such
              conduct. In the event that such an advance is made by the Client(s), the
              Indemnified Person will agree to reimburse the Client(s) to the extent that it is
              finally determined that it was not entitled to indemnification in respect thereof.

        (b)   Notwithstanding any of the foregoing, the provisions of this Section 8 do not
              provide for the indemnification of any Indemnified Person for any liability
              (including liability under Federal securities laws which, under certain
              circumstances, impose liability even on persons that act in good faith), to the
              extent (but only to the extent) that such liability may not be waived, modified or
              limited under applicable law, but shall be construed so as to effectuate the above
              provisions to the fullest extent permitted by law.

        (c)   Pursuant to the foregoing indemnification and exculpation provisions applicable
              to each Indemnified Person, the Clients (and not the applicable Indemnified
              Person) will be responsible for any losses resulting from trading errors and similar
              human errors, absent gross negligence, bad faith or willful misconduct of any
              Indemnified Person.

        (d)   To the extent that the indemnity under this Section 8 inures for the benefit of the
              Investment Manager or of any Indemnified Person (whether existing or in the
              future) and for the benefit of any successor of the Investment Manager or any
              Indemnified Person, the General Partner, on behalf of the Master Fund, declares
              that it holds the benefit of that promise on trust for that person.

  9.    Committees.

        (a)   The Investment Manager may appoint a committee (the “Advisory Committee”)
              consisting of one or more individuals selected by the Investment Manager, none
              of whom is affiliated with the Investment Manager (except as an investor in one
              of the Clients or an affiliate of the Clients). If established, the Advisory
              Committee will have the authority, at the request of the Investment Manager, to
              consult with the Investment Manager on any matters that may involve a conflict
              of interest between the Investment Manager (and its affiliates) on the one hand
              and the Clients on the other. The Advisory Committee may also grant approvals
              required under the Advisers Act or related to any other matter deemed appropriate
              by the Investment Manager. Any such approval given by the Advisory
              Committee is binding on the Clients. The Clients will have the authority to agree
              to reasonably compensate members of the Advisory Committee for their services
              and to agree to reimburse them for their out-of-pocket expenses and to indemnify
              them to the maximum extent permitted by law. In the event an Advisory
              Committee is not appointed, the Investment Manager may obtain the approval of
              an unaffiliated third party, as is determined advisable by the Investment Manager,
              and any such approval by such third party shall, to the extent permitted under
              applicable law, serve as the approval of the Advisory Committee and shall be
              binding on the Clients.

        (b)   The Investment Manager may appoint a committee (the “Pricing Committee”)
              whose quorum consists of at least a majority of the following individuals: the
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               Chief Financial Officer of the Investment Manager, the Chief Compliance Officer
               of the Investment Manager and one or more traders of the Investment Manager.
               The Pricing Committee will meet on at least a monthly basis to review, confirm
               and agree on all pricing information established by the Investment Manager in
               respect of the Master Fund’s assets that are fair valued or which the Investment
               Manager believes should require review. The final pricing or valuation of such
               Master Fund assets will require the approval of a majority in number of the
               members of the Pricing Committee constituting a quorum. In lieu of meeting, the
               Pricing Committee may take action by written consent signed by a majority of the
               committee members. The Pricing Committee may, at the Master Fund’s expense,
               engage third-party experts and consultants to provide services in connection with
               any determination to be made by the Pricing Committee. The Investment
               Manager may replace members of the Pricing Committee or change the
               composition of the Pricing Committee, in its sole discretion.

  10.   Independent Contractor.

        For all purposes of this Agreement, the Investment Manager shall be an independent
        contractor and not an employee or dependent agent of the Clients, nor shall anything
        herein be construed as making the Clients a partner or co-venturer with the Investment
        Manager or any of its affiliates or Other Accounts. Except as provided in this
        Agreement, the Investment Manager shall have no authority to bind, obligate or represent
        the Clients.

  11.   Acknowledgement.

        The Clients certify and acknowledge to the Investment Manager that the Clients:

               (i)    have fully disclosed to potential investors the fee provisions and other
                      arrangements relating to the Clients’ accounts with the Investment
                      Manager and are satisfied that the potential investors have received
                      sufficient information from the Investment Manager to enable them to
                      evaluate the terms of this Agreement; and

               (ii)   fully understand the method of compensation provided herein and its
                      associated risks, and that such risks have been disclosed to potential
                      investors.

  12.   Entire Agreement.

        This instrument, together with the Governing Documents, contains the entire agreement
        between the parties hereto relating to the subject matter hereof. No provision of this
        Agreement may be amended without the written consent of the Investment Manager and
        the Clients.




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  13.   Amendment; Modification; Waiver.

        Except as otherwise expressly provided herein, this Agreement shall not be amended, nor
        shall any provision of this Agreement be considered modified or waived, unless
        evidenced by a writing signed by all parties hereto.

  14.   Binding Effect; Assignment.

        This Agreement shall be binding upon and inure to the benefit of the parties hereto and
        their respective successors. The rights and obligations hereunder shall not, except as
        otherwise expressly provided herein, be assignable, transferable or delegable by the
        Investment Manager without the written consent of the Clients, and any attempted
        assignment, transfer or delegation thereof without such consent shall be void. The rights
        and obligations hereunder shall not, except as otherwise expressly provided herein, be
        assignable, transferable or delegable by the Clients without the written consent of the
        Investment Manager, and any attempted assignment, transfer or delegation thereof
        without such consent shall be void. The Investment Manager agrees to notify the Clients
        in writing within thirty (30) days after any change in control of the Investment Manager.

  15.   Termination.

        This Agreement shall become effective on the date hereof and shall continue in effect
        until the earlier of the dissolution (or in the case of the Offshore Fund, the liquidation) of
        the Clients, or the termination by any of the Investment Manager, the Offshore Fund or
        the General Partner on behalf of the Domestic Fund or the Master Fund upon at least
        seventy-five (75) days’ prior written notice.

  16.   Governing Law.

        This Agreement shall be governed by and construed in accordance with the substantive
        laws of the State of Delaware which are applicable to contracts made and entirely to be
        performed therein, without regard to the place of performance hereunder.

                                     [Signature Page Follows]




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                                                         Memorandum Number _________




                  Confidential Private Offering Memorandum




                                         Shares
                                             of

                      Highland Dynamic Income Fund, Ltd.




                                  Investment Manager

                          Highland Capital Management, L.P.




                                       April 2018




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                                               NOTICE

        This Confidential Private Offering Memorandum (this “Memorandum”) is being furnished on
a confidential basis solely to selected qualified investors for the purpose of enabling the recipient to
evaluate an investment in Highland Dynamic Income Fund, Ltd. (the “Fund”). This Memorandum is
not to be reproduced or distributed to others, at any time, without the prior written consent of the board
of directors of the Fund. Each recipient agrees to keep confidential all information contained herein
not already in the public domain and will use this Memorandum for the sole purpose of evaluating a
possible investment in the Fund. Notwithstanding anything herein to the contrary, each investor (and
each employee, representative, or other agent of the investor) may disclose to any and all persons,
without limitation of any kind, the tax treatment and tax structure of an investment in the Fund and all
materials of any kind (including opinions or other tax analyses) that are provided to the investor
relating to such tax treatment and tax structure. Acceptance of this Memorandum by prospective
investors constitutes an agreement to be bound by the foregoing terms.

        Prospective investors should not construe the contents of this Memorandum as legal, tax or
financial advice. Each prospective investor should consult its own professional advisors as to the
legal, financial, tax, ERISA (as defined herein) or other matters relevant to the suitability of an
investment in the Fund for such investor.

        In making an investment decision, investors must rely on their own examination of the Fund
and the terms of the offering contemplated by this Memorandum. The participating non-voting shares
of the Fund (the “Shares”) have not been recommended by any U.S. federal or state, or any non-U.S.,
securities commission or regulatory authority. Furthermore, the foregoing authorities have not
confirmed the accuracy or determined the adequacy of this Memorandum. Any representation to the
contrary is a criminal offense.

        Neither this Memorandum nor the Shares described herein have been qualified for offer, sale or
distribution under the laws of any jurisdiction governing the offer or sale of mutual fund shares or
other securities. This Memorandum does not constitute an offer to sell, or the solicitation of an offer to
buy, any Shares in any state or other jurisdiction where, or to or from any person to or from whom,
such offer or solicitation is unlawful or not authorized.

        The Shares have not been and will not be registered under the U.S. Securities Act of 1933, as
amended (the “Securities Act”), or the securities laws of any of the states of the United States, and the
Fund has not been and will not be registered under the U.S. Investment Company Act of 1940, as
amended. Direct or indirect acquisition or ownership of Shares by “United States Persons” (as
defined in Annex A) without compliance with applicable U.S. securities laws or in contravention of the
relevant provisions of the constituent documents of the Fund is prohibited. The offering and any
potential sale contemplated by this Memorandum will be made in reliance upon an exemption from the
registration requirements of the Securities Act for offers and sales of securities which do not involve
any public offering and analogous exemptions under state securities laws. There will be no public
market for the Shares, and there is no obligation on the part of any person to register the Shares under
the Securities Act or any state securities laws.

       Pursuant to an exemption from the Commodity Futures Trading Commission (the “CFTC”),
Highland Capital Management, L.P., the investment manager to the Fund (the “Investment
Manager”), is not registered with the CFTC as a commodity pool operator (“CPO”) and therefore,

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unlike a registered CPO, is not required to deliver a disclosure document or a certified annual report to
participants in this pool. Among other things, the exemption requires the filing of a claim of
exemption with the National Futures Association. It is also required that at all times either: (a) the
aggregate initial margin and premiums required to establish commodity interest positions does not
exceed 5% of the liquidation value of the Fund’s portfolio; or (b) the aggregate net notional value of
the Fund’s commodity interest positions does not exceed 100% of the liquidation value of the Fund’s
portfolio and further that all pool participants are required to be accredited investors or certain other
qualified investors. The Investment Manager qualifies for an exemption from registration as a
commodity trading advisor pursuant to CFTC Rule 4.14(a)(8).

        In each European Economic Area member state (each a “Relevant Member State”) that has
implemented Directive 2011/61/EU of the European Parliament and the Council of the European
Union on Alternative Investment Fund Managers and applicable implementing legislation, including
Commission Delegated Regulation (EU) No 231/2013 (the “AIFMD”), the Fund may only be offered
to investors in accordance with local measures implementing AIFMD. Investors, together with any
relevant person making or assisting in the decision to invest in the Fund, who are situated, domiciled or
who have a registered office, in a Relevant Member State where the Fund is not being offered pursuant
to private placement rules implementing AIFMD may invest, or effect an investment in the Fund, but
only in circumstances where they do so at their own initiative. The Memorandum may only be issued
to “Professional Clients” within the meaning of Directive 200439/EC on Markets in Financial
Instruments. At the date hereof, the Investment Manager has not registered and does not intend to
register the Fund for marketing in any Relevant Member State. It may register the Fund in Relevant
Member States in the future.

     NO OFFER OR INVITATION TO SUBSCRIBE FOR SHARES MAY BE MADE TO THE
PUBLIC IN THE CAYMAN ISLANDS.

        Highland Dynamic Income Master Fund, L.P. (the “Master Fund”) is not hereby offering any
securities and accordingly this Memorandum is not to be regarded as having been authorised or issued
by the Master Fund. The Master Fund does not have an offering document or equivalent document.

       Any information forwarded to the Fund by any potential shareholder will be treated on a
confidential basis except that such information may be passed on to a relevant third party by the Fund
where so required by law or regulation and each shareholder, upon subscribing for Shares, shall be
deemed to have consented to such release of such confidential information pursuant to the terms of the
Confidential Information Disclosure Law, 2016 of the Cayman Islands (as amended).

        An investment in the Fund involves significant risk. Potential investors should pay particular
attention to the information in “Risk Factors and Potential Conflicts of Interest.” Investment in the
Fund is suitable only for sophisticated investors and requires the financial ability and willingness to
accept the high risks inherent in an investment in the Fund. An investment in the Fund does not
constitute a complete investment program. No assurance can be given that the Fund’s investment
objectives will be achieved or that investors will receive a return of their capital.

        The Shares are offered subject to the right of the Fund to reject any subscription in whole or in
part.

       This Memorandum does not purport to be, and should not be construed as, a complete
description of the Fund’s Memorandum of Association and Articles of Association, as may be

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amended from time to time (together, the “Articles of Association”) or the exempted limited
partnership agreement, as may be amended from time to time (the “Master Fund Partnership
Agreement”), of the Master Fund. Each prospective investor in the Fund is encouraged to review the
Articles of Association and the Master Fund Partnership Agreement carefully, in addition to consulting
appropriate legal and tax advisors. To the extent of any inconsistency between this Memorandum and
the Articles of Association or the Master Fund Partnership Agreement, the terms of the Articles of
Association or the Master Fund Partnership Agreement (as applicable) shall control. A copy of the
Master Fund Partnership Agreement is available upon request from the Investment Manager.

        The Fund and the Master Fund are regulated under the Mutual Funds Law (2015 Revision) of
the Cayman Islands (the “Mutual Funds Law”). The Cayman Islands Monetary Authority (the
“Authority”) has supervisory and enforcement powers to ensure compliance with the Mutual Funds
Law. Regulation under the Mutual Funds Law entails the filing of prescribed details and audited
accounts annually with the Authority. As a regulated mutual fund, the Authority may at any time
instruct the Fund or the Master Fund to have its or their accounts audited and to submit them to the
Authority within such time as the Authority specifies. Failure to comply with these requests by the
Authority may result in substantial fines on the part of the directors of the Fund or the Master Fund, as
applicable, and may result in the Authority applying to the court to have the Fund or the Master Fund
wound up.

        Neither the Fund nor the Master Fund are, however, subject to supervision in respect of their
investment activities or the constitution of the Master Fund’s portfolio by the Authority or any other
governmental authority in the Cayman Islands, although the Authority does have power to investigate
the activities of the Fund and the Master Fund in certain circumstances. Neither the Authority nor any
other governmental authority in the Cayman Islands has commented upon or approved the terms or
merits of this document. There is no investment compensation scheme available to investors in the
Cayman Islands.

         The Authority may take certain actions if it is satisfied that a regulated mutual fund is or is
likely to become unable to meet its obligations as they fall due or is carrying on or is attempting to
carry on business or is winding up its business voluntarily in a manner that is prejudicial to its
investors or creditors. The powers of the Authority include the power to require the substitution of the
directors of the Fund or the Master Fund, to appoint a person to advise the Fund or the Master Fund on
the proper conduct of its affairs or to appoint a person to assume control of the affairs of the Fund or
the Master Fund, as the case may be. There are other remedies available to the Authority including the
ability to apply to court for approval of other actions.

        The delivery of this Memorandum does not, under any circumstances, create any implication
that there has been no change in the circumstances affecting the Fund or the Master Fund since the date
hereof. An amended or updated Memorandum will be provided to reflect any material changes to the
information contained herein.

        Certain information contained in this Memorandum constitutes “forward-looking statements,”
which can be identified by the use of forward-looking terminology such as “may,” “will,” “should,”
“expect,” “anticipate,” “project,” “estimate,” “intend,” or “believe” or the negatives thereof or other
variations thereon or comparable terminology. Due to various risks and uncertainties, including those
described in “Risk Factors and Potential Conflicts of Interest,” actual events or results or the actual
performance of the Fund may differ materially from those reflected or contemplated in such forward-
looking statements.

                                                   iv
                                                                                           Appx. 03449
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        All references herein to “$” refer to U.S. dollars. All references to day, month, quarter and year
are to calendar day, calendar month, calendar quarter and calendar year, unless otherwise specified or
the context so requires. Except as the context otherwise requires, references to the term “Fund” in this
Memorandum shall be deemed to include the Master Fund.




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                                    DIRECTORY


             Registered Office      Highland Dynamic Income Fund, Ltd.
                                    PO Box 309, Ugland House
                                    Grand Cayman, KY1-1104
                                    Cayman Islands

             Investment Manager     Highland Capital Management, L.P.
                                    300 Crescent Court, Suite 700
                                    Dallas, TX 75201

             Administrator          SEI Alternative Investment Fund Services
                                    One Freedom Valley Drive
                                    Oaks, PA 19456

             Directors              Mark Okada
                                    Trey Parker

             Auditors               PricewaterhouseCoopers LLP
                                    Strathvale House
                                    90 North Church Street
                                    PO Box 258
                                    Grand Cayman KY1-1104
                                    Cayman Islands

             Custodian              US Bank, N.A.
                                    190 South LaSalle, 10th Floor
                                    Chicago, Illinois 60603

             Legal Counsel          In the United States:
                                    Akin Gump Strauss Hauer & Feld LLP
                                    1700 Pacific Avenue
                                    Suite 4100
                                    Dallas, TX 75201

                                    In the Cayman Islands:
                                    Maples and Calder
                                    PO Box 309, Ugland House
                                    Grand Cayman, KY1-1104
                                    Cayman Islands




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                                             EXECUTIVE SUMMARY

         Highland Dynamic Income Fund, Ltd., a Cayman Islands exempted company with limited
liability (the “Fund”), seeks to generate returns that exceed the S&P/LSTA Leveraged Loan Total
Return Index1 by investing all of its investable assets in Highland Dynamic Income Master Fund, L.P.,
a Cayman Islands exempted limited partnership (the “Master Fund”), which provides exposure to the
broader bank loan market.

        Highland Dynamic Income Fund GP, LLC, a Delaware limited liability company (the “Master
Fund GP”), acts as general partner of the Master Fund and is registered as a foreign company in the
Cayman Islands. Highland Capital Management, L.P., a Delaware limited partnership (the
“Investment Manager” and, together with its affiliates, shareholders, directors, members, partners,
officers and employees, the “Advisory Parties”), serves as investment manager to the Fund and the
Master Fund and manages the Master Fund’s investment program. Each of the Master Fund GP and
the Investment Manager are ultimately controlled by James D. Dondero (the “Principal”).

       In order to facilitate investments by U.S. investors, the Investment Manager has sponsored the
formation of Highland Dynamic Income Fund, L.P., a Delaware limited partnership of which the
Master Fund GP also serves as the general partner (the “Domestic Fund” and, together with the Fund,
the “Feeder Funds”). The Feeder Funds place all of their investable assets in, and conduct all of their
investment and trading activities in parallel through, the Master Fund. References in this
Memorandum to the Fund shall include the Master Fund, unless otherwise specified or the context so
requires.

        The Fund is seeking subscriptions for participating non-voting shares of the Fund (the
“Shares”) from eligible investors. The minimum initial investment is $1,000,000, although the Fund
may accept investments in a lesser amount, subject to an absolute minimum of $100,000, or such other
sum as may be required from time to time by applicable law. The Fund generally accepts subscriptions
on the first business day of each month.

       For its services to the Master Fund, the Investment Manager is generally entitled to a
management fee (the “Management Fee”), which is calculated and paid quarterly in advance at the
Master Fund level, and the Master Fund GP is entitled to an annual performance-based allocation, at
the Master Fund level, essentially to the extent that the return of a Share (positive or negative)
outperforms the hypothetical return of the capital account based on the S&P/LSTA Leveraged Loan
Total Return Index for such year. Please see “Summary of Terms – Management Fee” and “Summary
of Terms – Performance Allocation.”

       A shareholder is generally permitted to redeem all or a portion of its Shares on 45 days’ prior
written notice on the last business day of each quarter. Redemptions may be subject to reserves for
contingencies, hold-back pending audit, gating and suspension restrictions as discussed further in this
Memorandum.

        The Fund may agree with certain shareholders to a variation of the terms set forth in this
Memorandum or establish additional series of Shares that have terms that differ from those described
herein, including, without limitation, different management fees and redemption rights.

1
  The S&P/LSTA Leveraged Loan Total Return Index (the “Index”) is used only for purposes of calculating performance
fees. The Fund will not directly invest in the Index nor seek to replicate the Index, and there might or might not be a close
correlation between the performance of the Fund and that of the Index. The Index does not reflect the investment strategy
of the Fund.
                                                             1
                                                                                                            Appx. 03452
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                                            INVESTMENT PROGRAM

Investment Objective

        The Fund’s investment objective is to seek high current income and capital appreciation by
maximizing risk-adjusted returns as measured against the S&P/LSTA Leveraged Loan Total Return
Index.2

Investment Strategy

        The Master Fund’s net assets will be invested and traded primarily in senior secured floating
rate bank loans (“Bank Loans”), high yield debt securities and structured credit products denominated
in U.S. dollars. The Master Fund’s investments will be subject to the following restrictions:

                 (a)    a minimum of 50% (measured at the time of settlement) of the Master Fund’s
         gross assets will be invested in loans, and no more than 5% (measured at the time of settlement)
         of the Master Fund’s gross assets will be invested in a single loan instrument;

                 (b)    no more than 50% (measured at the time of settlement) of the Master Fund’s
         gross assets will be invested in collateralized loan obligations (“CLO” or “CLO Securities”)
         and structured credit products, and no more than 5% (measured at the time of settlement) of the
         Master Fund’s gross assets will be invested in a single CLO issuer;

                 (c)    no more than 10% (measured at the time of settlement) of the Master Fund’s
         gross assets will be invested in high yield bonds;

                (d)     no more than 10% (measured at the time of settlement) of the Master Fund’s
         gross assets will be invested in equity securities, which equity securities are primarily issued in
         connection with a reorganization or restructuring of a borrower or debt positions of the Master
         Fund that convert into equity securities (“Re-Org Equities”);

                (e)      the top 3 industries in which the Master Fund holds positions will comprise no
         more than 50% (measured at the time of settlement) of the Master Fund’s gross assets, and no
         more than 20% (measured at the time of settlement) of the Master Fund’s gross assets will be
         invested in a single industry; and

                 (f)    the minimum weighted average rating of the Master Fund’s entire portfolio will
         be B+, the minimum weighted average rating of the Master Fund’s holdings that are loans will
         be B, and the minimum weighted average rating of the Master Fund’s holdings that are CLOs
         will be BB (in each case, measured at the time of settlement).

Bank Loans

       Bank Loans represent amounts borrowed by corporate entities from banks and other lenders. In
many cases, they are issued in connection with recapitalizations, acquisitions, leveraged buyouts and
refinancings. Most, if not all, of the Bank Loans in which the Master Fund invests will have a below

2
  The S&P/LSTA Leveraged Loan Total Return Index (the “Index”) is used only for purposes of calculating performance
fees. The Fund will not directly invest in the Index nor seek to replicate the Index, and there might or might not be a close
correlation between the performance of the Fund and that of the Index. The Index does not reflect the investment strategy
of the Fund.
                                                              2
                                                                                                              Appx. 03453
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investment-grade credit rating or will not be rated by a major credit rating agency. The Bank Loans in
which the Master Fund invests are often referred to as “leveraged loans” because the borrowing
companies have significantly more debt than equity.

        Bank Loans have the highest seniority within a borrower’s capital structure. Therefore, in the
event of a bankruptcy, holders of Bank Loans are typically paid (to the extent assets are available)
before certain other creditors, such as bond and equity holders. Bank Loan maturities typically range
from 5 to 8 years, although loan prepayments and refinancings generally result in effective average
lives of approximately 3 years depending on market conditions.

        Bank Loans generally pay interest at rates that are determined periodically by reference to a
base lending rate plus a premium. These rates often are re-determined daily, monthly, quarterly or
semi-annually. As a result, the Investment Manager believes the Master Fund should experience less
sensitivity to changes in market interest rates and lower volatility than if the Master Fund invested
exclusively in fixed rate obligations.

        The Bank Loan market has grown significantly in recent years, as investors have been drawn
into the market by the advantageous characteristics of Bank Loans, which include floating interest
rates, senior secured status, lower volatility, growing liquidity, greater control over an issuer in times
of stress, and lower correlation with other asset classes.

Collateralized Loan Obligations

        An investment in CLO tranches represents varying levels of exposure primarily to credit
performance of the underlying assets (i.e., bank loans, which comprise the primary asset class of the
Master Fund’s portfolio) and is characterized by a combination of expected significant current cash
flow as well as the opportunity for positive returns through long-term gains on the underlying
portfolios. Investments in CLO Securities often have a relatively short expected duration (usually less
than 10 years), as a typical CLO distributes excess cash flows quarterly or semi-annually concurrent
with the payment of interest on its liabilities subject to compliance with overall collateral quality tests
and other performance criteria.

High Yield Bonds

        The price and yield of lower-quality (high yield, high-risk) bonds, commonly referred to as
“junk bonds,” can be expected to fluctuate more than the price and yield of higher-quality bonds.
Because these bonds are rated below BBB or are in default, they are regarded as predominantly
speculative with respect to the issuer’s continuing ability to meet principal and interest payments.
Successful investment in lower-medium- and low-quality bonds involves greater investment risk and is
highly dependent on the Advisory Parties’ credit analysis. A real or perceived economic downturn
could cause a decline in high yield bond prices by lessening the ability of issuers to make principal and
interest payments. These bonds can be more difficult to sell and value accurately than high-quality
bonds. Because objective pricing data may be less available, judgment may play a greater role in the
valuation process. In addition, the entire high yield bond market can experience sudden and sharp
price swings due to a variety of factors, including changes in economic forecasts, stock market activity,
large or sustained sales by major investors, a high-profile default, or just a change in the market’s
psychology. This type of volatility is usually associated more with stocks than bonds, but junk bond
investors should be prepared for it.

Reorganization Equities
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        Re-Org Equity refers to equity securities that are issued in connection with a reorganization or
restructuring of a borrower, including both registered and non-registered securities under Section 12 of
the Securities Exchange Act of 1934 and therefore are not traded on an exchange or inter-dealer
quotation system, and debt positions of the Master Fund that convert into equity securities . The Master
Fund may receive Re-Org Equities as a loan marker participant and/or trade such securities on a stand-
alone basis.

Cash Positions and Money Market Instruments

       From time to time, subject to the investment limitations set forth above, the Investment
Manager may maintain cash positions and invest some of the Master Fund’s assets in short-term U.S.
Government obligations, certificates of deposit, commercial paper and other money market
instruments. A greater percentage of Master Fund assets may be invested in such obligations if the
Investment Manager believes that a defensive position is appropriate because of expected economic or
business conditions or the outlook for security prices. From time to time, in the sole discretion of the
Investment Manager, cash balances in the Master Fund’s brokerage account may be placed in a
money-market fund or other cash equivalents.

Derivative Transactions

        The Master Fund may enter into derivative transactions, including options, futures, credit
default swaps and other derivatives transactions to hedge the market risk or express market views of its
portfolio.

Foreign Investments

         Although the Investment Manager intends to focus primarily on the U.S. marketplace, it may
invest in dollar-denominated securities of foreign issuers or loans of foreign borrowers. Investing in
foreign securities and loans of foreign borrowers involve special risks that can increase the potential
for losses. These include exposure to potentially adverse local, political, and economic developments
such as war, political instability, hyperinflation, currency devaluations, and overdependence on
particular industries; government interference in markets such as nationalization and exchange
controls, expropriation of assets, or imposition of punitive taxes; potentially lower liquidity and higher
volatility; possible problems arising from accounting, disclosure, settlement, and regulatory practices
and legal rights that differ from U.S. standards; and the chance that fluctuations in foreign exchange
rates will decrease the investment’s value (favorable changes can increase its value). In addition,
information with respect to foreign borrowers may differ from that available for U.S. borrowers
because foreign companies are not generally subject to accounting, auditing and financial reporting
standards, practices and requirements comparable to those applicable to U.S. borrowers. These risks
are heightened for investments in emerging markets.

Risk Management and Hedging Activity

Risk Management

        Risk management is integrated into all levels of the investment process, from due diligence to
portfolio construction and management to ongoing monitoring. The process addresses factors
including credit risk, liquidity risk and volatility risk. The Investment Manager conducts extensive
position and portfolio monitoring activities on a daily basis. Portfolio risk is reviewed using internally
generated daily, weekly and monthly reports which measure transaction compliance including metrics

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such as portfolio concentrations or required test scores, as well as compliance with evolving internal
positioning targets. Individual position risk is monitored in a number of ways, including the extensive
proprietary intranet system (Highland Online Management Engine or “HOME”), which pulls together
data from our various data providers (Wall Street Office, LPC, Moody's, S&P, MarkIt, S&P LCD,
CSFB Index) to provide a comprehensive portfolio/risk management system. The system allows the
Investment Manager to monitor metrics at any level of aggregation (instrument, issuer, portfolio, fund
and across the platform). Additionally, the system is designed to be scalable with flexibility to enable
future data inputs and reporting requirements.

        For both CLOs and for the underlying loans, the HOME intranet system allows the Investment
Manager to monitor portfolios on a real-time, ongoing basis by receiving alerts showing positions with
the largest daily/weekly/monthly mark change, as well as alerts on downgrades/upgrades and when the
Investment Manager has changed the opinion on a broadly syndicated loan. The Investment Manager
monitors existing positions by receiving monthly Trustee Reports and other data feeds to track the
ongoing metrics of each particular investment, looking for trends and comparing current deal statistics
to original expectations when the investment was made.

        Certain of the Investment Manager’s employees meet every morning to discuss current events
in the market and meet weekly and monthly to take detailed looks at current economic data and leading
indicators such as jobless claims and consumer expectations, consumer confidence, employment,
industrial    production     and    manufacturing,     inflation,  business    conditions/confidence,
construction/housing and commodity prices. The Investment Manager also determines risk-on/risk-off
parameters, which allow it to adjust holdings and exposures accordingly.

Hedging Activity

        The Investment Manager may, from time to time, employ its differentiated and sophisticated
quasi-systematic hedging programs for the Master Fund. Such hedging programs may be customized
for the Master Fund and may employ derivatives to partially or fully hedge the following risks:

              Tail Risk – The risk that the Master Fund’s portfolio value declines by 2 standard
               deviations or more over a 1-month period.

              Systematic Risk – Undiversifiable risk of the Master Fund’s portfolio.

              Catalyst/Event Risk – The risk that a catalyst or an event results in losses to the Master
               Fund’s portfolio.

              Currency Risk – The downside sensitivity of the Master Fund’s portfolio value to
               changes in exchange rates.

              Interest Rate Risk – The downside sensitivity of the Master Fund’s portfolio value to
               changes in interest rates.

              Credit Risk – The downside sensitivity of the Master Fund’s portfolio value.

        The Investment Manager may employ derivative instruments to structure a “net” buyer of
protection profile for the Master Fund. The Investment Manager classifies the risks arising from the
use of derivatives into the following categories:
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             Delta – The change in value of the derivative instrument due to a unit change in the
              underlying security.

             Gamma – The change in the delta due to a unit change in the underlying security.

             Vega – The change in value of the derivative instrument due to a unit change in
              volatility.

             Theta – The change in value of the derivative instrument due to the passage of time.

             Rates DV01 – The change in value of the derivative instrument due to a 1 basis point
              increase in interest rates.

             Credit DV01 – The change in value of the derivative instrument due to a 1 basis point
              increase in credit spreads.

       The Investment Manager may monitor these risks associated with the use of derivative
instruments on a real-time basis. In addition, the Investment Manager may perform scenario analyses
on such derivative instruments to assess the payouts for market fluctuations up and down. The
Investment Manager also may monitor such scenarios on a real-time basis.

       Although the Investment Manager expects to maintain a diversified portfolio of investments, it
does not intend to limit itself to any one particular investment theme or asset class.

        The investment objectives and methods summarized above represent the Investment Manager’s
current intentions. The foregoing discussion includes and is based upon numerous assumptions and
opinions of the Investment Manager concerning world financial markets and other matters, the
accuracy of which cannot be assured. There can be no assurance that the Fund’s investment strategy
will achieve profitable results.




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                                         MANAGEMENT

The Master Fund GP and the Investment Manager

       Highland Dynamic Income Fund GP, LLC, a Delaware limited liability company (the “Master
Fund GP”), acts as the general partner of the Master Fund and is registered as a foreign company in
the Cayman Islands.

       Highland Capital Management, L.P., a Delaware partnership (the “Investment Manager”),
serves as the investment manager of the Fund and the Master Fund and has responsibility for the
Master Fund’s investment program.

      Each of the Master Fund GP and the Investment Manager are ultimately controlled by James D.
Dondero (the “Principal”).

The Investment Management Agreement

        The Investment Manager was appointed as the investment manager to the Fund, the Domestic
Fund and the Master Fund pursuant to an investment management agreement (the “Investment
Management Agreement”). Under the Investment Management Agreement, the Investment Manager
has full discretion to invest the assets of the Master Fund in pursuit of the investment objective and
strategy described in this Memorandum. For its services, the Investment Manager is entitled to the
management fee as well as reimbursement for any Fund or Master Fund expenses incurred by
the Investment Manager.

        The Investment Management Agreement provides that, in the absence of gross negligence
(as such term is defined and interpreted in accordance with the laws of the State of Delaware),
willful misconduct or bad faith, each of the Investment Manager, its members, shareholders,
partners, managers, directors, officers, employees or agents, any person who controls the
Investment Manager, each of the respective affiliates of the foregoing, and any of the legal
representatives of any of the foregoing, will be indemnified by the Fund, the Domestic Fund
and/or the Master Fund, to the extent permitted by law, against any loss or liability incurred by
any of such persons in performing their duties under the Investment Management Agreement.

Key Investment Personnel

       The key investment professionals of the Investment Manager who will be responsible for the
Master Fund’s investments are described below.

Mark Okada, CFA, Co-Founder, Chief Investment Officer

         Mark Okada is Co-founder and Chief Investment Officer of Highland Capital Management,
L.P., a Dallas-based alternative investment firm with approximately $15 billion in assets under
management. In his role, Mr. Okada oversees Highland’s broad investment activities for both the
institutional and retail investment platforms, which include hedge funds, separate accounts, special
situation private equity, collateralized loan obligations (CLOs), mutual funds, and ETFs. He also
remains portfolio manager of the Highland Floating Rate Opportunities Fund. With more than 30 years
of experience in credit markets, Mr. Okada is widely regarded as an industry innovator in alternative
credit investing; he is responsible for structuring one of the industry’s first non-bank CLOs and is a

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pioneer in the development of the bank loan market. Mr. Okada is on the board of directors at
NexBank Capital, Inc., a Dallas-based financial services company. He received a B.A. in both
economics and psychology, cum laude, from the University of California, Los Angeles and has earned
the right to use the Chartered Financial Analyst (CFA) designation. Mr. Okada is a regular guest on
Bloomberg Television and CNBC, and is frequently quoted in the financial and business press. He is
also devoted to a number of philanthropic and civic causes with a particular focus on education, faith-
based service, and Japanese-American relations. He is chairman of the board of directors of Education
Is Freedom, a Dallas-based nonprofit that provides college preparatory services for underserved
students. Mr. Okada is also chairman of the board for Common Grace Ministries, Inc. and is a board
member of the Japanese Evangelical Missionary Society. Additionally, he serves on the executive
board of Dedman College Humanities and Sciences at Southern Methodist University and is a council
leader at the U.S.-Japan Council.

Trey Parker, Co-Chief Investment Officer, Partner, Portfolio Manager

        Trey Parker is a Partner and Co-Chief Investment Officer at Highland Capital Management,
L.P. Prior to his current role, Mr. Parker was responsible for managing the Credit Team/Platform; he
also worked as a Managing Director covering a number of the industrial verticals, as well as parts of
tech, media and telecom; he started his tenure at Highland as a Senior Portfolio Analyst on the
Distressed & Special Situations investment team. Prior to joining Highland in March 2007, Mr. Parker
was a Senior Associate at Hunt Special Situations Group, L.P., a Private Equity group focused on
distressed and special situation investing. Mr. Parker was responsible for sourcing, executing and
monitoring control Private Equity investments across a variety of industries. Prior to joining Hunt in
2004, Mr. Parker was an analyst at BMO Merchant Banking, a Private Equity group affiliated with the
Bank of Montreal. While at BMO, Mr. Parker completed a number of LBO and mezzanine investment
transactions. Prior to joining BMO, Mr. Parker worked in sales and trading for First Union Securities
and Morgan Stanley. Mr. Parker received an MBA with concentrations in Finance, Strategy and
Entrepreneurship from the University of Chicago Booth School of Business and a BA in Economics
and Business from the Virginia Military Institute. Mr. Parker serves on the Board of Directors of
Euramax Holdings, Inc., TerreStar Corporation, JHT Holdings, Inc., and a non-profit organization, the
Juvenile Diabetes Research Foundation (Dallas chapter).

Jon Poglitsch, CFA, Managing Director, Head of Credit Research

       Jon Poglitsch is a Managing Director and Head of Credit Research at Highland Capital
Management, L.P. His previous roles at Highland include Managing Director, Senior Portfolio Analyst
and Director on both the Institutional and Retail research teams. Prior to joining Highland in
September 2007, Mr. Poglitsch was a consultant for Muse Stancil and Co., where he provided mergers
& acquisition, valuation, and strategic advisory services to a variety of clients in the energy sector,
including integrated oil, pipeline, power, and renewable fuel companies. Prior to Muse, Mr. Poglitsch
was a senior financial analyst for American Airlines. He received an MBA with a concentration in
Finance from the University of Texas at Austin and a BS in Chemical Engineering from the University
of Oklahoma. Mr. Poglitsch is a holder of the right to use the Chartered Financial Analyst designation.

Neil Desai, Managing Director

       Mr. Desai is a Managing Director and Portfolio Manager at Highland Capital Management,
L.P. He is responsible for CLO trading, portfolio management, and risk management of over $1bn in
CLO securities across the firm’s hedge funds, mutual funds and separate accounts. Prior to joining
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Highland in 2015, Mr. Desai was a Director in Pfizer Inc.'s Treasury organization where he built and
ran Pfizer's structured products business. Prior to Pfizer, Mr. Desai spent several years structuring and
trading various structured products at Credit Suisse, Barclays Capital, and its spin-off hedge fund, C12
capital. Mr. Desai received both a Bachelor's and Master's degree in Computer Science & Electrical
Engineering from MIT.

Other Key Investment Manager Personnel

James Dondero, CFA, CMA, President, Co-Founder

         James Dondero is Co-founder and President of Highland Capital Management, L.P. Mr.
Dondero has over 30 years of experience in the credit and equity markets, focused largely on high-
yield and distressed investing. Under Mr. Dondero’s leadership, Highland has been a pioneer in both
developing the collateralized loan obligation (CLO) market and advancing credit-oriented solutions for
institutional and retail investors worldwide. Highland’s product offerings include institutional separate
accounts, CLOs, hedge funds, private equity funds, mutual funds, REITs, and ETFs.

        Mr. Dondero is the Chairman and President of NexPoint Residential Trust, Inc. (NYSE:NXRT),
is Chairman of NexBank Capital, Inc., Cornerstone Healthcare Group Holding, Inc., and CCS Medical,
Inc., and a board member of Jernigan Capital, Inc. (NYSE:JCAP), and MGM Holdings, Inc. He also
serves on the Southern Methodist University Cox School of Business Executive Board.

         A dedicated philanthropist, Mr. Dondero actively supports initiatives in education, veterans’
affairs, and public policy.

        Prior to founding Highland in 1993, Mr. Dondero was involved in creating the GIC subsidiary
of Protective Life, where as Chief Investment Officer he helped take the company from inception to
over $2 billion between 1989 and 1993. Between 1985 and 1989, Mr. Dondero was a corporate bond
analyst and then portfolio manager at American Express. Mr. Dondero began his career in 1984 as an
analyst in the JP Morgan training program.

        Mr. Dondero graduated from the University of Virginia where he earned highest honors (Beta
Gamma Sigma, Beta Alpha Psi) from the McIntire School of Commerce with dual majors in
accounting and finance. He has received certification as a Certified Public Accountant (CPA) and a
Certified Managerial Accountant (CMA) and has earned the right to use the Chartered Financial
Analyst (CFA) designation.

Hunter Covitz, CFA, Head of Structured Products

       Mr. Covitz is Head of Structured Products and Portfolio Manager at Highland Capital
Management, L.P. He is responsible for all CLOs and CLO investments managed by Highland. Mr.
Covitz serves on Highland’s investment committee and leads the structured products investment team.
Since joining Highland in 2003, Mr. Covitz has been instrumental in the structuring, warehousing,
ramping, and ongoing portfolio management of over 30 Highland-originated CLOs. Prior to joining
Highland, Mr. Covitz served as a tax consultant at Deloitte & Touche and KBA Group LLP, where he
focused on high-net worth individuals and middle-market companies. He received both his MS and
BBA in Accounting from the University of Oklahoma, where he played baseball. Mr. Covitz is a
licensed Certified Public Accountant.


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Advisory Committee

        The Master Fund GP and/or the Investment Manager may appoint a committee (the “Advisory
Committee”) consisting of one or more individuals selected by the Master Fund GP and/or the
Investment Manager, none of whom is affiliated with the Master Fund GP or the Investment Manager
(except as an investor in the Fund or an affiliate of the Fund). If established, the Advisory Committee
will have the authority, at the request of the Master Fund GP and/or Investment Manager, to consult
with the Master Fund GP and/or Investment Manager on any matters that may involve a conflict of
interest between the Investment Manager (and its affiliates) on the one hand and the shareholders and
the Fund on the other. The Advisory Committee may also grant approvals required under the Advisers
Act or related to any other matter deemed appropriate by the Investment Manager. Any such approval
given by a majority of the members of the Advisory Committee is binding on the Fund and the
shareholders. Meetings of the Advisory Committee may be held in person or by telephone. The Fund
will have the authority to agree to reasonably compensate members of the Advisory Committee for
their services and to agree to reimburse them for their out-of-pocket expenses and to indemnify them to
the maximum extent permitted by law.

Pricing Committee

        The Master Fund GP and/or the Investment Manager may appoint a committee (the “Pricing
Committee”) consisting of the following individuals: the Chief Financial Officer of the Investment
Manager, the Chief Compliance Officer of the Investment Manager and one or more traders of the
Investment Manager. The Pricing Committee will meet on at least a monthly basis to review, confirm
and agree on all pricing information established by the Investment Manager in respect of the Master
Fund’s assets that are fair valued. The final pricing or valuation of such assets will require the
approval of a majority in number of the members of the Pricing Committee constituting a quorum. In
lieu of meeting, the Pricing Committee may take action by written consent signed by a majority of the
committee members. The Pricing Committee may, at the Master Fund’s expense, engage third-party
experts and consultants to provide services in connection with any determination to be made by the
Pricing Committee. The Master Fund GP and/or the Investment Manager may replace members of the
Pricing Committee or change the composition of the Pricing Committee in its sole discretion.

Board of Directors

        The Fund’s board of directors (the “Board of Directors”) currently consists of two directors
(each, a “Director” and, collectively, the “Directors”). The current members of the Board of Directors
are Mark Okada and Trey Parker. The biographies of Mark Okada and Trey Parker are set forth above.

The Administrator and Administration Agreement

       The Master Fund has entered into an Administration Agreement (the “Administration
Agreement”), with SEI Global Services, Inc. (the “Administrator”) pursuant to which the
Administrator performs certain administrative and accounting services for the Fund and the Master
Fund, subject to the oversight and control of the Investment Manager. SEI Investments Global
(Cayman), Limited (“SEI Cayman”), an affiliate of the Administrator, will also be a party to the
Administration Agreement in a limited capacity pursuant to which SEI Cayman provides certain
investor servicing and transfer agency services (including anti-money laundering services) directly to
the Fund.


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        Pursuant to the Administration Agreement, the Administrator is responsible, under the overall
supervision of the Investment Manager, for certain matters pertaining to the day-to-day administration
of the Fund including, but not limited to: (a) maintaining books and records related to Fund and Master
Fund cash and position reconciliations, and portfolio transactions; (b) preparation of financial
statements and other reports for the Fund and the Master Fund; (c) calculating the net asset value of the
Master Fund (in accordance with the Investment Manager’s valuation policies and procedures); (d)
preparing certain reports to investors; (e) calculating fees payable or allocable to the Investment
Manager (as applicable); (f) reviewing Subscription Documents and withdrawal requests and
performing various other transfer agency and investor services; and (g) performing certain other
administrative and clerical services in connection with the administration of the Fund and the Master
Fund pursuant to the terms of the Administration Agreement. For purposes of determining net asset
value, the Administrator will follow the valuation policies and procedures adopted by the Master Fund
and the Investment Manager.

        The fees payable to the Administrator will be based on the schedule of fees charged by the
Administrator and as detailed in the Administration Agreement. The Master Fund may elect to
terminate the Administration Agreement (in accordance with the terms thereof) and enter into a new
agreement with a new administrator on behalf of the Master Fund and the Fund, in its discretion and on
such terms as it deems advisable, without prior notice to, or approval of, investors.

        The Administration Agreement provides that the Administrator may delegate some or all of its
administrative functions on behalf of the Fund to one or more third parties, and also provides for
certain limitations of the Administrator's liability and indemnification of the Administrator by the
Fund.

       The Administrator does not have a direct contractual relationship with the investors. The
Administrator, however, has entered into a contractual relationship with the Fund in relation to the
performance of the services described herein. The Fund will enforce its contractual rights with respect
to the Administrator as necessary to protect the interests of the Fund (and, therefore, the interest of
investors).

       The Administrator in no way acts or will act as guarantor or offeror of interests in the Fund or
any underlying investment, nor will it be responsible for the actions of the Fund’s sales agents, its
brokers, its custodians, any other brokers or the Investment Manager. The Administrator will not be
responsible for any trading decisions of the Investment Manager or the Master Fund. The
Administrator will not be responsible in any way for the Master Fund’s selection or ongoing
monitoring of its brokers, custodians or other counterparties. The decision to select any counterparties
on behalf of the Master Fund will be made solely by the Investment Manager.

     THE ADMINISTRATOR WILL NOT PROVIDE ANY INVESTMENT ADVISORY OR
INVESTMENT MANAGEMENT SERVICES TO THE FUND AND, THEREFORE, WILL NOT BE
IN ANY WAY RESPONSIBLE FOR THE FUND’S PERFORMANCE. THE ADMINISTRATOR
WILL NOT BE RESPONSIBLE FOR MONITORING ANY INVESTMENT RESTRICTIONS OR
COMPLIANCE WITH ANY INVESTMENT RESTRICTIONS APPLICABLE TO THE FUND AND
THEREFORE WILL NOT BE LIABLE FOR ANY BREACH THEREOF.




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                                     SUMMARY OF TERMS

         The following Summary of Terms summarizes the principal terms governing an investment in
 the Fund, and is subject, and qualified in its entirety by reference, to the Fund’s Articles of
 Association, the Master Fund Partnership Agreement and the Fund’s subscription documents (the
 “Subscription Documents”). This summary is intended to be brief and does not purport to provide a
 comprehensive explanation of the Articles of Association, the Master Fund Partnership Agreement and
 the Subscription Documents. Accordingly, statements made in this Memorandum are subject to the
 detailed provisions of those agreements. Prospective investors are urged to review those agreements
 in their entirety prior to determining whether to invest in the Fund.

 The Fund                  Highland Dynamic Income Fund, Ltd. (formerly known as Highland
                           Capital Loan Fund, Ltd.) an exempted company incorporated in the
                           Cayman Islands with limited liability (the “Fund”), primarily seeks to
                           maximize risk adjusted absolute returns, and secondarily seeks to
                           preserve capital by investing all of its investable assets in Highland
                           Dynamic Income Master Fund, L.P., a Cayman Islands exempted limited
                           partnership (the “Master Fund”), which provides exposure to the broader
                           bank loan market.

 Master Fund GP            Highland Dynamic Income Fund GP, LLC, a Delaware limited liability
                           company (the “Master Fund GP”), acts as the general partner of the
                           Master Fund and is registered as a foreign company in the Cayman
                           Islands. James D. Dondero (the “Principal”) ultimately controls the
                           Master Fund GP.

 Investment Manager        Highland Capital Management, L.P., a Delaware limited partnership
                           controlled by the Principal (the “Investment Manager”), serves as
                           investment manager to the Fund and the Master Fund and has
                           responsibility for the Master Fund’s investments.

 Directors                 The Fund’s board of directors (the “Board of Directors”) currently
                           consists of two directors (each, a “Director” and, collectively, the
                           “Directors”). The current members of the Board of Directors are Mark
                           Okada and Trey Parker. The Directors are responsible for the overall
                           management and control of the Fund in accordance with its Articles of
                           Association; however, the Directors have delegated the day-to-day
                           operation of the Fund to service providers, including the Investment
                           Manager and the Administrator. References herein to the “Board of
                           Directors” shall mean the Board of Directors acting in consultation with
                           the Investment Manager.

 Master-Feeder             In order to facilitate investments by U.S. investors, the Master Fund GP
 Structure                 has sponsored the formation of Highland Dynamic Income Fund, L.P., a
                           Delaware limited partnership (the “Domestic Fund” and, together with
                           the Fund, the “Feeder Funds”). The Feeder Funds place all of their
                           investible assets in, and conduct all of their investment and trading
                           activities in parallel through, the Master Fund. Accordingly, references
                           herein to the investment activity of the Fund should be construed to refer
                           to the Fund’s investment activities through the Master Fund. The Feeder
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                        Funds share all items of profit, loss, income and expense of the Master
                        Fund on a pro rata basis in accordance with their respective capital
                        account balances in the Master Fund. Except as the context otherwise
                        requires, the term “Fund” also includes the Master Fund.

                        The Investment Manager or an affiliate may also sponsor one or more
                        additional investment funds or accounts.

 Eligible Investors     Participating non-voting shares of the Fund (the “Shares”) may be
                        purchased only by eligible investors. Subscribers will be required to
                        complete the Fund’s Subscription Documents consisting of the
                        subscription agreement and the subscriber information form to determine
                        their eligibility. The Board of Directors reserves the right to reject any
                        investor for any reason or for no reason in its sole discretion.

                        No Shares may be offered to the public in the Cayman Islands. Shares
                        may be purchased only by eligible investors who are sophisticated
                        individual or institutional investors. Each subscriber for Shares must
                        certify that the beneficial owner of such Shares will not be a United States
                        Person (as defined in Appendix A); provided, however, that subscriptions
                        for Shares may also be accepted from certain qualified U.S. tax-exempt
                        organizations.

                        An investment in the Fund is suitable only for persons that have adequate
                        means of providing for their current needs and personal contingencies and
                        have no need for liquidity in their investments. An investment in the
                        Fund should not be made by any person that (a) cannot afford a total loss
                        of its principal, or (b) has not carefully read or does not understand this
                        Memorandum, including the portions concerning the risks and the income
                        tax consequences of an investment in the Fund.

 Series of Shares       The Fund may create and offer various classes or series of Shares with
                        different terms and conditions than those described in this Memorandum,
                        including, without limitation, fees, performance allocations and
                        redemption rights. New classes or series of Shares may be established by
                        the Board of Directors without notice to or approval of the shareholders.

 Share Sub-Series       Shares are offered in a separate series to each shareholder on each
                        subscription date (each, a “Sub-Series”) at $1,000 per Share. The Fund
                        issues Shares as a separate Sub-Series for the purposes, among others, of
                        accounting for any profits and losses attributable to each individual
                        shareholder to reflect different returns achieved as a result of
                        subscriptions received from shareholders at different times in order to
                        calculate the Performance Allocation (as defined below) at the Master
                        Fund level. Each separate Sub-Series of Shares will be identified and
                        referable to each shareholder.




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 Subscriptions          Subscriptions for Shares may be accepted as of the first Business Day of
                        each month and/or such other days as the Board of Directors may
                        determine from time to time, generally subject to the receipt of cleared
                        funds on or before the acceptance date. The initial minimum investment
                        is $1,000,000, although the Fund may accept investments in a lesser
                        amount, subject to an absolute minimum of $100,000 or such other
                        amount as may, from time to time, be prescribed by the Mutual Funds
                        Law or other applicable law.

                        “Business Day” is defined as any day on which commercial banks are
                        open in New York City and the Cayman Islands, or such other day as the
                        Board of Directors may determine from time to time.

                        All subscriptions for Shares will be subject to applicable anti-money
                        laundering regulations. As part of the Fund’s responsibility to comply
                        with regulations aimed at the prevention of money laundering, the Board
                        of Directors or its delegate may require verification of identity from all
                        prospective investors.     Depending on the circumstances of each
                        subscription, it may not be necessary to obtain full documentary evidence
                        of identity.

                        Where a subscription for Shares is accepted, the Shares will be treated as
                        having been issued with effect from the relevant subscription date
                        notwithstanding that the subscriber for those Shares may not be entered in
                        the Fund’s register of members until after the relevant subscription date.
                        The subscription monies paid by a subscriber for Shares will accordingly
                        be subject to investment risk in the Fund from the relevant subscription
                        date.

 Placement Agents       There will be no sales charge payable by or to the Fund in connection
                        with the offering of Shares. However, the Investment Manager may enter
                        into arrangements with placement agents (which may include its
                        affiliates) to solicit investors in the Fund, and such arrangements, may
                        provide for the compensation of such placements agents for their services
                        at the Investment Manager’s expense.

                        Accordingly, investors should recognize that a placement agent’s or
                        distributor’s participation in this offering may be influenced by its interest
                        in such current or future fees and compensation. Investors should
                        consider these potential conflicts of interest in making their investment
                        decisions.

                        Each placement agent shall comply with the legal requirements of the
                        jurisdictions within which it offers and sells Shares.

 Affiliated Investors   The Investment Manager, the Master Fund GP and their respective
                        affiliates, principals, employees, partners, agents, the respective family
                        members of such personnel and trusts and other entities established
                        primarily for their benefit or for charitable purposes (“Affiliated
                        Investors”) may not be subject to restrictions on redemptions or be
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                       assessed the Management Fee or the Performance Allocation (each as
                       defined below) that are applicable to other investors in the Fund, but do
                       share pro rata in all other applicable expenses of the Fund.

Borrowing and         The Master Fund may buy securities or commodities on margin and
Leverage              arrange with banks, brokers and others to borrow money against a pledge
                      of securities or commodities in order to employ leverage when the Master
                      Fund GP deems such action appropriate.

Management Fee         For its services to the Master Fund, the Investment Manager is entitled to
                       a management fee (the “Management Fee”) calculated and payable
                       quarterly in advance at an annual rate of.75% of the net asset value of
                       each Sub-Series Account (as defined below). The Management Fee is
                       paid at the Master Fund level. The Management Fee will be prorated for
                       any period that is less than a full quarter.

                       The Investment Manager may elect to reduce, waive or calculate
                       differently the Management Fee with respect to any shareholder,
                       including, without limitation, Affiliated Investors.

                       The Fund and/or the Investment Manager may delay the timing or alter
                       the structure of fees payable to the Investment Manager so long as such
                       changes are not materially adverse to the shareholders. The Investment
                       Manager may also assign all or any portion of fees payable to the
                       Investment Manager to any affiliate thereof in its sole discretion.

Performance            Pursuant to the Master Fund Partnership Agreement, generally, as of the
Allocation             close of each year and subject to the limitations described below, a
                       performance-based allocation (the “Performance Allocation”) is debited
                       against the Sub-Series Account relating to each Sub-Series of Shares
                       attributable to a shareholder and simultaneously credited to the Master
                       Fund capital account of the Master Fund GP. The Performance
                       Allocation is calculated and allocated at the Master Fund level, but is
                       equal to 10% of the amount by which the Performance Change Amount
                       (positive and negative) for such fiscal year exceeds the Index Return
                       Amount (positive and negative) for such fiscal year.

                       A Sub-Series Account’s “Performance Change Amount” for any fiscal
                       year equals such Sub-Series Account’s pro rata allocation of net profit or
                       net loss, plus or minus the Sub-Series Account’s share items that are
                       allocated on a Sub-Series Account-by- Sub-Series Account basis, such as
                       the Management Fee. Net profit and net loss includes unrealized
                       appreciation or depreciation of the Master Fund’s assets and accrued
                       applicable expenses of the Fund and the Master Fund for the applicable
                       fiscal year.

                       The “Index Return Amount” is the amount that would have been credited
                       or debited to such Sub-Series Account for the fiscal year if the rate of
                       return had been equal to the return of the S&P/LSTA Leveraged Loan

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                                  Total Return Index for such fiscal year.3

                                  The Performance Allocation is generally allocable to the Master Fund GP
                                  at the end of each fiscal year. The Performance Allocation is also
                                  calculated and charged with respect to any Sub-Series Account with
                                  respect to Shares redeemed as of any time other than the close of a fiscal
                                  year on the basis of the Performance Change Amount with respect to such
                                  Shares through the Redemption Date (as defined below). In the case of a
                                  partial redemption, the Performance Allocation is calculated and charged
                                  only with respect to the portion of the Sub-Series Account related to such
                                  Shares being redeemed.

                                  The Performance Allocation with respect to any shareholder may be fully
                                  or partially waived or rebated by the Master Fund GP in its sole
                                  discretion.

                                  The Performance Allocation is calculated and allocated at the Master
                                  Fund level through the use of separate memorandum sub-accounts with
                                  respect to the Fund’s capital account in the Master Fund that correspond
                                  to each Sub-Series of Shares attributable to a shareholder (each a “Sub-
                                  Series Account”). No separate Performance Allocation will be charged at
                                  the Fund level.

Other Fees and                    The Fund bears the expenses of the organization of the Fund and the
Expenses                          offering of Shares (including legal and accounting fees, printing costs,
                                  travel, “blue sky” filing fees and expenses and out-of-pocket expenses).
                                  In general, the Fund’s financial statements will be prepared in accordance
                                  with accounting principles generally accepted in the United States
                                  (“GAAP”). However, the Fund intends to amortize its organizational
                                  expenses over a period of 60 months from the date the Fund commenced
                                  operations because it believes such treatment is more equitable than
                                  expensing the entire amount of the organizational expenses in the Fund’s
                                  first year of operation, as is required by GAAP. The Fund may, however,
                                  limit the amount of start-up and organizational expenses that the Fund
                                  amortizes so that the audit opinion issued with respect to the Fund’s
                                  financial statements will not be qualified.

                                  The Fund bears its own operating, administrative and other expenses, as
                                  well as a pro rata portion of the Master Fund’s expenses, including, but
                                  not limited to, investment-related expenses (including those related to
                                  identifying and evaluating contemplated investments, whether or not such
                                  contemplated investments are actually made), brokerage commissions and
                                  other transaction costs, expenses related to short sales, clearing and
                                  settlement charges, expenses related to proxies, underwriting and private
                                  placements, custodial fees, transfer agent fees, bank service fees, any

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 The S&P/LSTA Leveraged Loan Total Return Index is used only for purposes of establishing the Index Return Amount.
The Partnership will not directly invest in the Index nor seek to replicate the Index, and there might or might not be a close
correlation between the performance of the Fund and that of the Index. The Index does not reflect the investment strategy
of the Fund.
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                        governmental, regulatory, licensing, filing or registration fees incurred in
                        compliance with the rules of any self-regulatory organization or any
                        federal, state or local laws, consulting and any other professional fees or
                        compensation (including investment banking expenses) relating to
                        particular investments or contemplated investments, appraisal fees and
                        expenses, investment-related travel and lodging expenses and research-
                        related expenses (including, without limitation, news and quotation
                        equipment and services), fees to third-party providers of risk-monitoring
                        services, investment and trading-related computer hardware and software,
                        including, without limitation, trade order management software (i.e.,
                        software used to route trade orders), accounting (including accounting
                        software), audit and tax preparation expenses, organizational expenses,
                        expenses relating to the offer and sale of Shares and interests of the
                        Master Fund (including the legal and other expenses associated with
                        preparing and updating offering materials), costs and expenses associated
                        with reporting and providing information to existing and prospective
                        investors, any legal fees and costs (including indemnification expenses,
                        regulatory costs and settlement costs) arising in connection with any
                        litigation or regulatory investigation instituted against the Fund, the
                        Master Fund, the Master Fund GP, the Investment Manager or any of
                        their respective affiliates in their capacity as such unless a final
                        determination was made by a court of competent jurisdiction that any of
                        the foregoing indemnified parties was grossly negligent or acted in bad
                        faith, except as otherwise provided in the Articles of Association and/or
                        the Master Fund Partnership Agreement, any withholding, transfer or
                        other taxes imposed or assessed upon, or payable by, the Fund (including
                        any interest and penalties), costs of any meeting of the shareholders (or in
                        obtaining the consent of shareholders in lieu of meeting), expenses related
                        to the Advisory Committee and the Pricing Committee, premiums for
                        directors’ and officers’ liability insurance (if any) and any other insurance
                        benefiting the Fund, the Management Fee, administrative expenses
                        (including, without limitation, the fees and expenses of the Administrator
                        in relation to its services provided pursuant to the Administration
                        Agreement), fees relating to valuing the Fund’s assets, expenses related to
                        the maintenance of the Fund’s registered office, corporate licensing
                        expenses, and extraordinary expenses.

                        The Investment Manager may retain, in connection with its
                        responsibilities under the Investment Management Agreement, the
                        services of others to assist in the investment advice to be given to the
                        Master Fund, including, but not limited to, any affiliate of the Investment
                        Manager, but payment for any such services will be assumed by the
                        Investment Manager. However, the Investment Manager, in its sole
                        discretion, may retain the services of independent third party
                        professionals, including, without limitation, attorneys, accountants and
                        consultants, to advise and assist it in connection with the performance of
                        its activities on behalf of the Master Fund, and the Master Fund will bear
                        full responsibility therefor and the expense of any fees and disbursements
                        arising therefrom.

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                        The Fund and the Master Fund do not have their own separate employees
                        or office, and neither the Fund nor the Master Fund reimburse the Master
                        Fund GP or the Investment Manager for salaries, office rent and other
                        general overhead costs of the Master Fund GP or the Investment Manager.
                        A portion of the commissions generated on the Master Fund’s brokerage
                        transactions may generate soft dollar credits that the Investment Manager
                        is authorized to use to pay for research and other research-related services
                        and products used by the Investment Manager. It is the current policy of
                        the Investment Manager to limit such use of soft dollars to fall within the
                        safe harbor of Section 28(e) of the Securities Exchange Act of 1934, as
                        amended, or to be otherwise reasonably related to the investment
                        decision-making process or for Master Fund expenses. See “Brokerage
                        and Custody.”

 Certain Fees           The Investment Manager, including, without limitation, the employees of
                        the Investment Manager, may serve on the board of directors or
                        committees thereof and/or provide financial advisory, consulting and/or
                        as officers or otherwise provide management services, in each case for a
                        fee to portfolio companies in which the Master Fund may have an
                        interest. Such services are provided only after approval by the board of
                        directors of such portfolio companies (or after approval of a court of
                        appropriate jurisdiction with respect to bankruptcy proceedings or other
                        appropriate approval) and based on “arm’s length” negotiations of terms
                        and conditions. Any fees earned pursuant to any such agreements for
                        services will be retained by the Investment Manager.

 Distributions          Subject to the quarterly redemption privilege described below, all
                        earnings of the Fund are ordinarily retained for investment. Shareholders
                        should not expect the Fund to make any distributions.

 Redemptions            Subject to certain redemption restrictions described below, a shareholder
 Generally              is generally permitted to redeem all or a portion of its Shares as of the last
                        Business Day of each quarter (and/or such other days as the Board of
                        Directors may determine in its sole discretion) (each, a “Redemption
                        Date”). Written notice of any redemption request must be received in
                        writing by the Administrator at least 45 days prior to the requested
                        Redemption Date. The Board of Directors may waive such notice
                        requirements, or permit redemptions under such other circumstances as it,
                        in its sole discretion, deems appropriate.

 Settlement of          A redemption request is normally settled in cash or, subject to the sole
 Redemption Proceeds    discretion of the Board of Directors, wholly or partially with securities or
                        other assets of the Fund (received from the Master Fund), whether or not
                        readily marketable, generally within 30 days after the Redemption Date;
                        provided that the Board of Directors may delay such payment if such
                        delay is reasonably necessary to prevent such redemption from having a
                        material adverse impact on the Fund.

                        In the event that distributions during a fiscal year to a redeeming
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                        shareholder would exceed 90% of the value of such shareholder’s Shares
                        as of the beginning of such fiscal year, excess requested amounts will be
                        held back and distributed (without interest thereon) within 30 days
                        following completion of the audit of the Fund’s financial statements for
                        the year.

                        Notwithstanding anything to the contrary herein, the Board of Directors
                        may establish reserves and holdbacks for estimated accrued expenses,
                        liabilities and contingencies, including, without limitation, general
                        reserves for unspecified contingencies (even if such reserves or holdbacks
                        are not otherwise required by GAAP) or liabilities stemming from tax
                        obligations (as such may be determined in the sole discretion of the Board
                        of Directors and whether or not incurred directly or indirectly), which
                        could reduce the amount of a distribution upon a shareholder’s
                        redemption of Shares. The Board of Directors may withhold for the
                        benefit of the Fund from any distribution to a redeeming shareholder an
                        amount representing the actual or estimated costs incurred by the Fund
                        with respect to such redemption.

 Redemption Gate        If, for any Redemption Date, (i) shareholders submit redemption notices
                        that, when combined, are in excess of 25% of the Fund’s net asset value,
                        or (ii) redemption requests are received by the Master Fund from any or
                        all feeder vehicles in the Master Fund in excess of 25% of the Master
                        Fund’s net asset value, then the Board of Directors may determine, in its
                        sole discretion, to reduce all such requests proportionately (based on the
                        net asset value of each shareholder’s Shares) so that the aggregate amount
                        of such redemptions does not exceed 25% of the Fund’s net asset value or
                        such greater amount if the Board of Directors so determines (such
                        restriction is referred to herein as the “Redemption Gate”).             If
                        redemptions are subject to the Redemption Gate, redemption requests are
                        carried over to the next Redemption Date (and, if not fully satisfied as of
                        that date because of the Redemption Gate, then as of the next, and, if
                        necessary, successive Redemption Dates), except to the extent
                        shareholders rescind their redemption request(s).

                        Any remaining amount of a redemption request that is not satisfied due to
                        the Redemption Gate (i) remains at risk as per other amounts invested in
                        the Fund and subject to the applicable Management Fee, if any, until such
                        amount is finally and fully redeemed, (ii) is considered requested as of the
                        next Redemption Date without further action by the redeeming
                        shareholder, (iii) is not entitled to priority over redemption requests on
                        any subsequent Redemption Date, and (iv) remains subject to further
                        application of the Redemption Gate on subsequent Redemption Dates.

 Redemption             The Fund or the Administrator may refuse to accept a redemption request
 Conditions             if it is not accompanied by such additional information as the Fund or the
                        Administrator may reasonably require. This power may, without
                        limitation to the generality of the foregoing, be exercised where proper
                        information has not been provided for money laundering verification
                        purposes. In addition, where redemption proceeds are requested to be
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                        remitted to an account which is not in the name of the investor, the Fund
                        and the Administrator reserve the right to request such information as
                        may be reasonably necessary in order to verify the identity of the investor
                        and the owner of the account to which the redemption proceeds will be
                        paid. The redemption proceeds will not be paid to a third-party account if
                        the investor and/or owner of the account fails to provide such
                        information.

                        Redemption payments will be made by wire transfer only to a bank
                        account in the name of the shareholder located at a recognized financial
                        institution which is regulated by a recognized regulatory authority and
                        carries on business in a country recognized in Schedule 3 of the Money
                        Laundering Regulations (2017 Revision) of the Cayman Islands (the
                        “Money Laundering Regulations”).

 Compulsory             The Board of Directors reserves the right, in its sole discretion, to compel
 Redemptions            the redemption of a shareholder’s Shares at any time and for any reason
                        on not less than five days’ prior written notice (or immediately if the
                        Directors, in their sole discretion, determine that such shareholder’s
                        continued investment in the Fund may cause the Fund or the Investment
                        Manager to violate any applicable law). Settlements are made in the same
                        manner as voluntary redemptions, but without application of the
                        Redemption Gate.

 Suspension of          The Board of Directors may postpone or suspend (a) the calculation of the
 Redemptions and        net asset value of the Shares (and the applicable valuation date); (b) the
 Redemption Payments    issuance of Shares, (c) the redemption by shareholders of Shares (and the
                        applicable Redemption Date); and/or (d) the payment of redemption
                        proceeds (even if the calculation dates and Redemptions Dates are not
                        postponed) (each, a “Suspension”) if it determines that such a Suspension
                        is warranted by extraordinary circumstances, including: (i) during any
                        period when any stock exchange or over-the-counter market on which the
                        Master Fund’s investments are quoted, traded or dealt in is closed, other
                        than for ordinary holidays and weekends, or during periods in which
                        dealings are restricted or suspended; (ii) during the existence of any state
                        of affairs as a result of which, in the reasonable opinion of the Board of
                        Directors, disposal of investments by the Fund, or the determination of
                        the value of the assets of the Fund, would not be reasonably practicable or
                        would be seriously prejudicial to the non-redeeming shareholders; (iii)
                        during any breakdown in the means of communication normally
                        employed in determining the price or value of the Fund’s assets or
                        liabilities, or of current prices in any stock market as aforesaid, or when
                        for any other reason the prices or values of any assets or liabilities of the
                        Fund cannot reasonably be accurately ascertained within a reasonable
                        time frame; (iv) during any period when the transfer of funds involved in
                        the realization or acquisition of any investments cannot, in the reasonable
                        opinion of the Board of Directors, be effected at normal rates of
                        exchange; (v) automatically upon liquidation of the Fund; or (vi)
                        automatically upon any suspension of redemptions by the Master Fund

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                        for similar reasons as described in “The Master Fund,” below.

                        The Fund will promptly notify each shareholder who has submitted a
                        redemption request and to whom payment in full of the amount being
                        redeemed has not yet been remitted of any Suspension of redemptions or
                        Suspension of the payment of redemption proceeds. Any remaining
                        amount of a redemption request that is not satisfied due to such a
                        Suspension remains at risk as per other amounts invested in the Fund and
                        subject to the applicable Management Fee until such amount is finally and
                        fully redeemed. Such shareholders will not be given any priority with
                        respect to the redemption of Shares after the cause for such Suspension or
                        limitation ceases to exist. The Board of Directors may in their sole
                        discretion, however, permit such shareholders to withdraw their
                        redemption requests to the extent that the relevant Redemption Date has
                        not yet passed. For the avoidance of doubt, where a suspension of the
                        payment of redemption proceeds is declared between the relevant
                        Redemption Date and the remittance of such payment proceeds, affected
                        shareholders shall not have any right to withdraw their redemption
                        requests. Upon the reasonable determination by the Board of Directors
                        that conditions leading to Suspension no longer apply, any such
                        suspended payments shall generally be paid in accordance with the
                        normal process for making such payments, redemption rights shall be
                        promptly reinstated, and any pending redemption requests which were not
                        withdrawn (or new, timely redemption requests) will be effected as of the
                        first Redemption Date following the removal of the Suspension, subject to
                        the foregoing restrictions on redemptions.

                        The Directors have the power, in the circumstances described above, to
                        effect a Suspension. It is anticipated that any Suspension would
                        ordinarily be temporary. However, there may be situations in which the
                        circumstances giving rise to the Suspension continue to be present for a
                        considerable period of time with the result that the Directors, in
                        consultation with the Investment Manager, consider it appropriate to keep
                        the Suspension in place indefinitely. In certain circumstances, even
                        where a Suspension has not been declared, the Directors may, in
                        consultation with the Investment Manager, make a determination that the
                        investment strategy should no longer be continued. During any such
                        period of Suspension or having made such determination that the
                        investment strategy should no longer be continued, the Investment
                        Manager may recommend to the Directors that the Fund be managed with
                        the objective of returning the Fund's assets to shareholders in an orderly
                        manner (an “Orderly Realization”). The Directors may, in such
                        circumstances, resolve to effect an Orderly Realization should they
                        determine that doing so is in the best interests of the Fund’s stakeholders.
                        Such Orderly Realization shall not constitute a dissolution or winding up
                        of the Fund for any purposes, but rather only the continued management
                        of the Fund's portfolio so as to reduce such portfolio to cash (to the extent
                        reasonably practicable, as advised by the Investment Manager) and return
                        such cash as well as all other assets of the Fund to the shareholders. The

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                        Directors shall promptly communicate to shareholders any resolution to
                        proceed with an Orderly Realization of the Fund. During an Orderly
                        Realization, the Investment Manager may, in consultation with the
                        Directors, take such steps as are considered appropriate in the best
                        interests of the Fund’s stakeholders to effect the Orderly Realization. The
                        Directors, in consultation with the Investment Manager shall establish
                        what they consider to be a reasonable time by which the Orderly
                        Realization should be effected (the “Realization Period”).              Any
                        resolution to undertake an Orderly Realization and the process thereof
                        shall be deemed to be integral to the business of the Fund and may be
                        carried out without recourse to a formal process of liquidation under the
                        Companies Law (2016 Revision) of the Cayman Islands (the “Companies
                        Law”) or any other applicable bankruptcy or insolvency regime. The
                        Directors, in consultation with the Investment Manager, may resolve to
                        cease the Orderly Realization within the Realization Period and
                        recommence active trading if the circumstances permit a lifting of any
                        applicable Suspension or, where no Suspension is in effect, if the
                        circumstances are such that the investment strategy can then be continued.
                        The Management Fee shall be payable during an Orderly Realization on
                        the same basis as described herein.

 Transfers              Shares are not transferable except with the prior written consent of the
                        Board of Directors, which consent may be withheld in its sole
                        discretion. The Board of Directors will require any transferee or assignee
                        of any shareholder to execute the Subscription Documents.

 Duty of Care;          Pursuant to the Master Fund Partnership Agreement and the Investment
 Indemnification        Management Agreement, the Master Fund GP, the Investment Manager,
                        each member, shareholder, partner, manager, director, officer, employee
                        and agent of, and any person who controls, the Master Fund GP or the
                        Investment Manager, each of the respective affiliates of the foregoing,
                        members of the Advisory Committee and Pricing Committee, their
                        respective affiliates, and any of the legal representatives of any of the
                        foregoing (each such person, an “Indemnified Party”) shall not be liable
                        to the Master Fund, Fund or the shareholders for any loss or damage
                        arising by reason of being or having been the Master Fund GP or the
                        Investment Manager or from any acts or omissions in the performance of
                        its services as the Master Fund GP or the Investment Manager in the
                        absence of gross negligence (as such term is defined and interpreted in
                        accordance with the laws of the State of Delaware), willful misconduct or
                        bad faith, or as otherwise required by law. No Indemnified Party shall be
                        liable to the Master Fund, the Fund, any shareholder or any other person
                        for any amount in excess of the amount of the Management Fee received
                        by the Investment Manager, to the extent permitted under applicable law.
                        In addition, in no event shall any Indemnified Party be liable for any
                        special, indirect, exemplary, consequential or punitive losses or damages.

                        The Master Fund Partnership Agreement and Investment Management
                        Agreement contain provisions for the indemnification of the Indemnified
                        Parties by the Master Fund and the Fund (but not by the shareholders
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                        individually) against any liabilities arising by reason of being or having
                        been the Master Fund GP or the Investment Manager or in connection
                        with the Master Fund Partnership Agreement, the Investment
                        Management Agreement, or the Master Fund or the Fund’s business or
                        affairs to the fullest extent permitted by law. The Investment Manager is
                        not personally liable to any shareholder for the repayment of any
                        redemption proceeds or for contributions by such shareholder to the
                        capital of the Fund or by reason of any change in the U.S. federal or state
                        income tax laws applicable to the Fund or its investors.

                        Every Director and officer of the Fund, together with every former
                        Director and former officer of the Fund, shall be indemnified out of the
                        assets of the Fund against any liability, action, proceeding, claim,
                        demand, costs, damages or expenses, including legal expenses,
                        whatsoever which they or any of them may incur as a result of any act or
                        failure to act in carrying out their functions other than such liability (if
                        any) that they may incur by reason of their own actual fraud or willful
                        default. No Director or officer of the Fund shall be liable to the Fund for
                        any loss or damage incurred by the Fund as a result (whether direct or
                        indirect) of the carrying out of their functions unless that liability arises
                        through the actual fraud or willful default of such Indemnified Party. No
                        person shall be found to have committed actual fraud or willful default
                        under the Articles of Association unless or until a court of competent
                        jurisdiction shall have made a finding to that effect.

 Non-Exclusivity;       The partners, officers, managers, members, employees and affiliates of
 Allocation of          the Master Fund GP and the Investment Manager are not precluded from
 Opportunities          engaging in or owning an interest in other business ventures or investment
                        activities of any kind, whether or not such ventures are competitive with
                        the Fund. See “Risk Factors and Potential Conflicts of Interest –
                        Allocation of Trading Opportunities” below.

 Affiliated Service     NexBank, SSB (“NexBank SSB”) is an affiliate of the Investment
 Providers              Manager and may, from time to time, provide banking and/or agency
                        services to the Investment Manager, clients of the Investment Manager or
                        collective investment vehicles for which the Investment Manager
                        provides investment advisory services (including the Fund and other
                        vehicles in which the Fund may invest) or third parties engaged in
                        transactions involving the Investment Manager. NexBank SSB may also
                        act as an agent in connection with certain securities transactions involving
                        the Investment Manager’s client accounts (including the Master Fund and
                        other vehicles in which the Master Fund may invest). Principals of the
                        Investment Manager own a majority of the equity interests in NexBank
                        SSB and employees or affiliates of the Investment Manager own or may
                        own a substantial equity interest in NexBank SSB. Certain Master Fund
                        investment transactions may be executed through NexBank Securities,
                        Inc., an affiliate of the Investment Manager and a registered broker-
                        dealer.

                        Additionally, the Investment Manager or affiliates of the Investment
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                        Manager, including, without limitation, Nexbank SSB, NexBank
                        Securities, Inc., NexBank Capital Advisors and Governance Re, Ltd. may
                        provide financial advisory, management, insurance, title insurance or
                        other services for a fee to portfolio companies in which the Master Fund
                        may have an interest. See “Risk Factors and Potential Conflicts of
                        Interest” below.

 Valuations             In general, the Fund’s financial statements will be prepared in accordance
                        with GAAP. The Board of Directors has delegated the valuation of the
                        Fund’s assets, based on the Master Fund’s assets, to the Investment
                        Manager who values the Fund’s assets as of the close of each fiscal period
                        in accordance with its valuation policies and procedures.

 Reserves               Appropriate reserves may be accrued and charged against net assets and
                        proportionately against the Shares of the shareholders for contingent
                        liabilities, such reserves to be in the amounts (subject to increase or
                        reduction) that the Board of Directors in its sole discretion deems
                        necessary or appropriate. At the sole discretion of the Board of Directors,
                        the amount of any such reserve (or any increase or decrease therein) may
                        be charged or credited, as appropriate, to the Shares of those investors
                        who are shareholders at the time when such reserve is created, increased,
                        or decreased, as the case may be, or alternatively may be charged or
                        credited to those investors who were shareholders at the time of the act or
                        omission giving rise to the contingent liability for which the reserve was
                        established.

                        If the Board of Directors determines that it is equitable to treat an amount
                        to be paid or received as being applicable to one or more prior periods,
                        then such amount may be proportionately charged or credited, as
                        appropriate, to those persons who were shareholders during any such
                        prior period.

 Fiscal Year           The Fund has a fiscal year ending on December 31 of each year.

 Reports to            Shareholders will receive unaudited monthly statements of the estimated
 Shareholders          net asset value of the Fund, monthly performance and portfolio reports,
                       and an annual financial report of the Fund audited by the Fund’s
                       independent auditors. The Fund may elect not to reserve certain amounts
                       that may be required by GAAP and not to provide certain portfolio
                       disclosure required by GAAP to investors and may capitalize and amortize
                       certain of its organizational expenses in deviation from GAAP. Such
                       deviations from GAAP may result in a qualified opinion rendered on the
                       financial statements of the Fund. In addition, the Fund may provide
                       certain information to certain shareholders, but not to all shareholders.

 Tax Status            The Government of the Cayman Islands will not, under existing
                       legislation, impose any income, corporate or capital gains tax, estate duty,
                       inheritance tax, gift tax or withholding tax upon the Fund or the
                       shareholders. The Cayman Islands are not party to a double tax treaty with
                       any country that is applicable to any payments made to or by the Fund.
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                       The Fund has applied for and can expect to receive an undertaking from
                       the Governor-in-Cabinet of the Cayman Islands that, in accordance with
                       section 6 of the Tax Concessions Law (2011 Revision) of the Cayman
                       Islands, for a period of 20 years from the date of the undertaking, no law
                       which is enacted in the Cayman Islands imposing any tax to be levied on
                       profits, income, gains or appreciations shall apply to the Fund or its
                       operations and, in addition, that no tax to be levied on profits, income,
                       gains or appreciations or which is in the nature of estate duty or
                       inheritance tax shall be payable (i) on or in respect of the shares,
                       debentures or other obligations of the Fund or (ii) by way of the
                       withholding in whole or in part of a payment of dividend or other
                       distribution of income or capital by the Fund to its members or a payment
                       of principal or interest or other sums due under a debenture or other
                       obligation of the Fund.

                        The Investment Manager believes that the Fund will be treated as a non-
                        U.S. corporation for U.S. federal income tax purposes. The Fund
                        generally does not expect to be subject to U.S. federal income tax on its
                        capital gains from securities trading. Dividends (including certain
                        dividend equivalent amounts) and certain interest received by the Fund
                        may be subject to withholding at the source. See “Tax Considerations.”

 ERISA                  The Investment Manager intends to limit investment in the Master Fund
                        by “benefit plan investors” so that the assets of the Master Fund will not
                        be considered “plan assets” for purposes of the Employee Retirement
                        Income Security Act of 1974, as amended (“ERISA”). It is anticipated
                        that the assets of the Fund may constitute “plan assets” for purposes of
                        ERISA. See “ERISA and Other Regulatory Considerations.”

 Variation of Terms     The Fund may enter into agreements with certain shareholders pursuant to
                        which such shareholders will invest in the Fund on different terms, and in
                        some cases, more favorable terms (including with respect to information
                        and reporting, the Management Fee, the Performance Allocation and
                        redemption rights), than those described herein, without the consent of, or
                        notice to, the other shareholders.

                        The Articles of Association provide that, subject to the Companies Law
                        of the Cayman Islands and the other provisions of the Articles of
                        Association, all or any of the series rights or other terms of offer whether
                        set out in the Memorandum, the Subscription Documents or otherwise
                        (including any representations, warranties or other disclosure relating to
                        the offer or holding of Shares) (collectively referred to as “Share Rights”)
                        for the time being applicable to any class or series of Shares in issue
                        (unless otherwise provided by the terms of issue of those Shares) may
                        (whether or not the Fund is being wound up) be varied without the
                        consent of the holders of the issued Shares of that class or series where
                        such variation is considered by the Directors, not to have a material
                        adverse effect upon such holders’ Share Rights; otherwise, any such
                        variation shall be made only with the prior consent in writing of the
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                        holders of not less than two-thirds by net asset value of such Shares, or
                        with the sanction of a resolution passed by a majority of at least two-
                        thirds of the votes cast in person or by proxy at a separate meeting of the
                        holders of such Shares. For the avoidance of doubt, the Directors reserve
                        the right, notwithstanding that any such variation may not have a material
                        adverse effect, to obtain consent from the holders of such Shares. At any
                        class meeting, the voting rights attributable to each Share shall be
                        calculated by reference to the net asset value per Share and not on the
                        basis of one Share, one vote. Each subscriber for Shares will be required
                        to agree that the terms of offer set out in the applicable Subscription
                        Documents and the rights attaching to the Shares can be varied in
                        accordance with the provisions of the Articles of Association.

 Dissolution Right      Shareholders that are not affiliates or employees of the Investment
                        Manager (“Nonaffiliated Shareholders”) may cause the dissolution of the
                        Fund upon the affirmative vote of shareholders holding Shares
                        representing more than 50% of the net asset value of all Shares
                        attributable to Non-Affiliated Shareholders at a special meeting of
                        shareholders duly called by the Board of Directors pursuant to a notice
                        circulated by the Board of Directors at the written request of shareholders
                        holding Shares representing 20% or more of the net asset value of all
                        Shares attributable to Non-Affiliated Shareholders. In the event of a
                        dissolution of the Fund effected pursuant to the Articles, the Master Fund
                        will make an in-kind distribution to the Fund (to the extent such in-kind
                        distribution is reasonably practicable) and the Fund will distribute its
                        assets to the shareholders in kind (to the extent such in-kind distribution is
                        reasonably practicable).

                        A petition to submit to shareholders a proposal to dissolve the Fund (any
                        such petition, a “Dissolution Petition”) may be submitted to the Board of
                        Directors by any Nonaffiliated Shareholders holding Shares representing
                        2% or more of the net asset value of all Shares attributable to Non-
                        Affiliated Shareholders. The Board of Directors shall have the power and
                        duty to determine whether a Dissolution Petition was properly made in
                        accordance with the Articles. If a Dissolution Petition was not properly
                        made in accordance with the Articles, the Board of Directors shall so
                        notify the requesting Nonaffiliated Shareholder(s) in writing of any
                        procedural or eligibility deficiencies and such Dissolution Petition shall
                        be disregarded. If the Dissolution Petition is properly made in accordance
                        with the Articles, the Board of Directors shall within 30 days after receipt
                        of the Dissolution Petition mail the Dissolution Petition to all
                        Nonaffiliated Shareholder(s) together with written instructions specifying
                        that a special meeting of shareholders will be called to dissolve the Fund
                        if the Dissolution Petition is signed by Nonaffiliated Shareholders holding
                        Shares representing 20% or more of the net asset value of all Shares
                        attributable to Non-Affiliated Shareholders and returned to the Fund
                        within 60 days after the date of such mailing. To be properly made, a
                        Dissolution Petition must be received in writing by the Board of Directors
                        at the principal place of business of the Fund, request that the Board of

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                        Directors mail the Dissolution Petition to all Nonaffiliated Shareholders
                        and set forth as to the Nonaffiliated Shareholder(s) making the
                        Dissolution Petition: (i) each such Nonaffiliated Shareholder’s name and
                        address, as they appear on the Fund’s books, (ii) the net asset value of
                        each such Nonaffiliated Shareholder’s Shares as of the most recent
                        month-end (which in the aggregate must represent at least 2% of the net
                        asset value of all Shares attributable to Non-Affiliated Shareholders), and
                        (iii) a representation that at least one shareholder from the group of
                        shareholders that will sign the Dissolution Petition (or a qualified
                        representative of at least one such shareholder) intends to appear in
                        person at the special meeting of shareholders to determine whether to
                        dissolve the Fund.

                        The Dissolution Petition may not set forth any proposal regarding the
                        Fund other than the dissolution of the Fund. The Dissolution Petition
                        shall be improper if it contains any false or misleading statements. The
                        Board of Directors may, in its sole and absolute discretion, deem a
                        Dissolution Petition improper if another proposal to dissolve the Fund
                        was previously submitted by one or more of the same shareholders (or an
                        affiliate or immediate family member thereof) during the preceding two
                        years.

                        Upon receipt of the Dissolution Petition, signed by Nonaffiliated
                        Shareholders holding Shares representing 20% or more of the net asset
                        value of all Shares attributable to Non-Affiliated Shareholders and
                        returned to the Fund within 60 days after the date on which the
                        Dissolution Petition was mailed, the Board of Directors shall, by written
                        notice to each shareholder of record within 15 days after such receipt, call
                        such a special meeting of shareholders to vote (in person or by proxy) on
                        the dissolution of the Fund. Such meeting shall be held at least 30 but not
                        more than 60 days after the mailing of such notice, and such notice shall
                        specify the date, a reasonable place (which shall include, for avoidance of
                        doubt, the principal place of business of the Fund or the Board of
                        Directors), and time for such meeting, as well as its purpose, and include
                        a form of proxy.

                        Except as otherwise required by the Articles of Association, neither the
                        Fund nor the Board of Directors shall have any obligation to forward any
                        communication received by a shareholder to any other shareholder or to
                        call a meeting of shareholders. Nothing herein shall in any way limit or
                        restrict the ability of the Fund or the Board of Directors to solicit votes or
                        consents in opposition of any Dissolution Petition. If no shareholder from
                        the group of shareholders that signed the Dissolution Petition (or any
                        qualified representative of at least one such shareholder) appears in
                        person at the special meeting of shareholders, then no vote on the
                        dissolution of the Fund will be taken at such meeting. In order to be
                        considered a qualified representative of the shareholder, a person must be
                        authorized by a written instrument executed by such shareholder or an
                        electronic transmission delivered by such shareholder to act for such
                        shareholder as proxy at the meeting of shareholders and such person must
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                                                                                        Appx. 03478
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                        produce such written instrument or electronic transmission, or a reliable
                        reproduction of the written instrument or electronic transmission, at the
                        meeting of shareholders. By submitting a Dissolution Petition to the
                        Board of Directors, the Nonaffiliated Shareholder(s) shall be deemed to
                        consent to the Board of Director’s mailing of the Dissolution Petition to
                        all Nonaffiliated Shareholders for all purposes, including without
                        limitation for purposes of Regulation S-P under section 504 of the
                        Gramm-Leach-Bliley Act, as amended, and other applicable privacy laws.




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                                       SHARES OF THE FUND

The Fund’s Share Capital

         The Fund has an authorized share capital of U.S.$50,000 divided into 100 management shares
(“Management Shares”) of a nominal par value of U.S.$1.00 each and 4,990,000 participating non-
voting shares (the “Shares”) of a nominal par value of U.S.$0.01. The Directors may by resolution
divide the Shares into separate series (each, a “Series”) which may be subject to different rights,
restrictions, preferences, privileges and payment obligations as between the different Series and further
into separate Sub-Series within such Series. The different Series and Sub-Series thereof shall be
established and designated, and the variations in the relative rights and preferences as between the
different Series and Sub-Series thereof shall be fixed and determined by the Board of Directors. Sub-
Series of Shares of each Series are issued for the purposes, among others, of accounting for any profits
and losses attributable to each individual shareholder to reflect different returns achieved as a result of
subscriptions received at different times.

       Each separate Sub-Series of Shares is identified by the investor to whom it was issued and its
date of issue. Shares are issued to shareholders in Sub-Series at $1,000 per Share. Immediately
following the close of any fiscal year, each such Sub-Series of Shares may be redeemed and the
proceeds applied to the subscription for an earlier Sub-Series of Shares of such Series.

        The Shares are being offered pursuant to this Memorandum. The Shares generally will be
entitled to all rights and privileges of Share ownership (including the right to receive dividends when
declared and distributions of assets, net of all final fees and expenses, upon winding up) other than
voting rights, except under limited circumstances.

        The Management Shares will carry all the voting rights but will have no right to participate in
the assets of the Fund (other than to a return of the par value on a winding up). The Management
Shares will be held by the Investment Manager or an affiliate, and will be voted in accordance with the
instructions of the Investment Manager.

        The holders of Shares will only be entitled to vote at class meetings of shareholders to the
extent that the matter considered thereat would materially adversely vary or abrogate the existing class
rights attaching to the Shares. The holders of Shares have no other voting rights.

        The Articles of Association provide that, subject to the Companies Law and the other
provisions of the Articles of Association, all or any of the class and/or Series rights or other terms of
offer, whether set out in this Memorandum, the Subscription Documents or otherwise (including any
representations, warranties or other disclosures relating to the offer or holding of Shares) (collectively
referred to as “Share Rights”), for the time being applicable to any class or Series of Shares in issue
(unless otherwise provided by the terms of issue of those Shares) may (whether or not the Fund is
being wound up) be varied without the consent of the holders of the issued Shares of that class or
Series where such variation is considered by the Directors not to have a material adverse effect upon
such holders’ Share Rights; otherwise, any such variation shall be made only with the prior consent in
writing of the holders of not less than two-thirds by net asset value of such Shares, or with the sanction
of a resolution passed by a majority of at least two-thirds of the votes cast in person or by proxy at a
separate meeting of the holders of such Shares. For the avoidance of doubt, the Directors reserve the
right, notwithstanding that any such variation might not have a material adverse effect, to obtain
consent from the holders of such Shares. At any class meeting, the voting rights attributable to each
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Share shall be calculated by reference to the net asset value per Share and not on the basis of one
Share, one vote. Each subscriber for Shares will be required to agree that the terms of offer set out in
the Subscription Documents and the rights attaching to the Shares can be varied in accordance with the
provisions of the Articles of Association. The Articles of Association provide that, in relation to any
class or Series consent required pursuant to the “Variation of Share Rights” Article, the Directors in
their discretion may invoke the following procedure (the “Negative Consent Procedure”). The
Directors shall provide written notice in respect of the proposed variation (the “Proposal”) to the
members of the affected class or Series and shall specify a deadline (the “Redemption Request Date”),
which shall be no earlier than 30 days after the date of giving such notice, by which date such members
may submit a written request for redemption of some or all of their Shares of the affected class and/or
Series on the Redemption Date (the “Specified Redemption Date”) specified by the Directors in such
notice. The terms of the Proposal shall be such that its specified effective date (the “Effective Date”)
shall not be on or prior to the Specified Redemption Date. Such notice shall further provide that the
holders of any Shares in respect of which a request for redemption has not been received by the
Redemption Request Date (the “Affected Shares”) shall, in the absence of express written refusal to
consent, be deemed to have consented in writing to the Proposal (such Affected Shares being the
“Negative Consent Shares”). In the event that the Negative Consent Procedure is followed, only the
Affected Shares shall be considered for the purposes of determining whether the written consent
majority has been obtained under the “Variation of Share Rights” Article with the holders of the
Negative Consent Shares being deemed to have submitted a written consent in favor of the Proposal on
the Effective Date.

        The rights conferred upon the holders of the Shares of any class issued with preferred or other
rights shall not, subject to any rights or restrictions for the time being attached to the Shares, be
deemed to be materially adversely varied or abrogated by, inter alia, the creation, allotment or issue of
further Shares ranking pari passu with or subsequent to them, the redemption or purchase of any
Shares or by the passing of any Directors’ resolution to change or vary any investment objective,
investment technique and strategy and/or investment policy in relation to the Shares or any
modification of the fees payable to any service provider to the Fund.

       In general, each Share will participate in the Fund’s profits and losses attributable to the
relevant class in the same manner. Each of the Shares will participate ratably with all other
outstanding Shares in the Fund’s assets and earnings and will have the redemption rights discussed
above.

        The Directors may impose such restrictions as they think necessary for the purpose of ensuring
that no Shares in the Fund are held by (i) any person in breach of the laws or requirements of any
country or governmental authority or (ii) any person or persons in circumstances which, in the opinion
of the Directors, might result in the Fund incurring any liability of taxation or suffering any other
pecuniary disadvantage which the Fund might not otherwise have incurred or suffered. A person who
becomes aware that he or she is holding or owning Shares in breach of any restriction mentioned in the
Articles of Association shall promptly either deliver to the Fund a written request for redemption of his
or her Shares or transfer the same to a person who would not thereby be a non-qualified person.

       Management Shares

       The Fund will have a single class of Management Shares that is not entitled to participate in the
Fund’s assets, earnings and distributions, other than with respect to a return of their par value on a
winding up of the Fund. The Management Shares are issued at par value at U.S.$1.00 per share.

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        General meetings of the holders of Management Shares may be held to vote on various matters
including to elect the Directors and to attend to such other business as may properly be placed before
the meeting. At any such general meeting, the favorable vote of a majority of the Management Shares
present is sufficient for the approval of any action, unless such action is a matter requiring a special
resolution, in which case two-thirds of the Management Shares shall be required, in each case as
further detailed in the Articles of Association.

       Registration of Management Shares and Shares and Share Certificates

        Management Shares and Shares of the Fund are issued only in registered form; the Fund will
not issue bearer shares. A current register of the names and addresses of the Fund’s shareholders and
their shareholdings is maintained at the office of the Administrator. Management Shares and Shares
are registered only in book entry form. No share certificates have been or will be issued.

       Other Rights and Liabilities

        Under the terms of the Articles of Association, the liability of the shareholders of the Fund is
limited, and shareholders will not be liable for any debt, obligation or default of the Fund in excess of
the amounts unpaid on their Shares.

        The Fund and the Investment Manager may agree with certain investors to a fee structure,
redemption rights or other terms that differ from the fee structure, redemption rights and other terms
that are set forth in this Memorandum. Such different rights may, subject to applicable law, be
effected by issuance of a separate Series of Shares or any other permissible means. Such rights may
not be offered to all investors.

       Calculation of Fund Net Asset Value

        The Directors have delegated to the Administrator the calculation of the net asset value of the
Fund and the net asset value per Share of each Series and, if applicable, Sub-Series, subject to the
overall supervision and direction of the Directors. Net asset valuations of the Fund and each Sub-
Series of each Series of Shares will be calculated as of the close of business on the last day of each
month, or such other days as may from time to time be determined by the Fund (each, a “Valuation
Date”) in accordance with United States generally accepted accounting principles. To the extent
feasible, liabilities are accrued as of each Valuation Date.

        The Fund’s assets are valued based on the Master Fund’s assets. The net asset value of the
Fund is determined by taking the amount of all cash and credit balances plus the market value of all
commodities and other assets comprising the Fund’s assets (including any interest and dividends
receivable but excluding any subscription amounts committed to the Fund from time to time to the
extent such amounts are not held by or on behalf of the Fund), as valued by the Investment Manager
and the Administrator, minus all debit balances and other liabilities and obligations of the Fund
(including any liability for the payment of the Management Fee and Performance Allocation
hereunder). Net asset value in respect of any Series or Sub-Series of participating Share is calculated
by dividing the value of the account relating to that Series or Sub-Series of participating Share by the
number of participating Shares of that Series or Sub-Series in issue. For the sole purpose of
determining the number of participating Shares of a Series or Sub-Series in issue, participating Shares
of that Series or Sub-Series which are to be redeemed on the relevant Valuation Date shall be deemed
to be in issue until and including the close of business on the applicable Valuation Date.


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       Based on the Master Fund’s assets, assets of the Fund will be valued by both the Investment
Manager, who will provide such valuations to the Administrator, and independently by the
Administrator. The Administrator will then calculate and disseminate the net asset value of the Fund
and each Sub-Series of each Series of Shares.




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                                        THE MASTER FUND

The Master Fund’s Limited Partner Interests

       The Master Fund’s partnership interests are currently held exclusively by the Fund and the
Domestic Fund as limited partners, as well as the Master Fund GP, as the general partner of the Master
Fund pursuant to the Master Fund Partnership Agreement. The Master Fund GP is registered as a
foreign company in the Cayman Islands pursuant to Part IX of the Companies Law (2016 Revision) of
the Cayman Islands (the “Companies Law”).

The Master Fund Partnership Agreement

        The Master Fund is constituted as a Cayman Islands exempted limited partnership under the
Exempted Limited Partnership Law, 2014 (the “Exempted Limited Partnership Law”). A Cayman
Islands exempted limited partnership is constituted by the signing of the relevant partnership
agreement and its registration with the Registrar of Exempted Limited Partnerships in the Cayman
Islands.

       A Cayman Islands exempted limited partnership is not a separate legal person distinct from its
partners. Under the Exempted Limited Partnership Law, any property which is conveyed into or
vested in the name of the exempted limited partnership shall be held or deemed to be held by the
general partner, and if more than one, then by the general partners jointly upon trust, as an asset of the
partnership in accordance with the terms of the partnership agreement. Any debt or obligation incurred
by a general partner in the conduct of the business of an exempted limited partnership shall be a debt
or obligation of the exempted limited partnership. Registration under the Exempted Limited
Partnership Law entails that the partnership becomes subject to, and the limited partners therein are
afforded the limited liability and other benefits of, the Exempted Limited Partnership Law (subject to
compliance therewith).

       Liability of Partners and Indemnification of the Master Partnership GP and Others. The
business of a Cayman Islands exempted limited partnership will be conducted by its general partner(s)
who will be liable for all debts and obligations of the exempted limited partnership to the extent that
the partnership has insufficient assets. As a general matter, a limited partner of a Cayman Islands
partnership will not be liable for the debts and obligations of the exempted limited partnership, other
than:

       (i)     as expressed in the partnership agreement,

       (ii)    if such limited partner takes part in the conduct of the business of an exempted limited
               partnership in its dealings with persons who are not partners, then that limited partner
               shall be liable, in the event of the insolvency of the exempted limited partnership, for all
               debts and obligations of that exempted limited partnership incurred during the period
               that he so participates in the conduct of the business as though he were, for such period,
               a general partner, provided always that he shall be rendered liable pursuant to the
               foregoing provision only to a person who transacts business with the exempted limited
               partnership during such period with actual knowledge of such participation and who
               then reasonably believed such limited partner to be a general partner, or

       (iii)   if such limited partner is obligated pursuant to Section 34(1) of the Exempted Limited
               Partnership Law to return a distribution made to it (with interest at a rate of 10% per

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               annum, unless otherwise specified in the Master Fund Partnership Agreement) when the
               exempted limited partnership is insolvent or within six months prior to such insolvency.

         The Master Fund Partnership Agreement provides that none of the Indemnified Parties will be
liable to the Master Fund or any limited partner of the Master Fund (including the Feeder Funds) or
any other person for mistakes of judgment or for action or inaction that did not constitute gross
negligence (as such term is defined and interpreted in accordance with the laws of the State of
Delaware), willful misconduct or bad faith, or for losses due to such mistakes, action or inaction or to
the negligence, dishonesty or bad faith of any broker or agent of the Master Fund, provided that such
broker or agent was selected, engaged or retained by the Indemnified Party in accordance with the
standard of care set forth above. An Indemnified Party may consult with counsel and accountants in
respect of the Master Fund’s affairs and will be fully protected and justified in any action or inaction
which is taken in accordance with the advice or opinion of such counsel or accountants, provided that
they were selected in accordance with the standard of care set forth above. The foregoing provisions,
however, shall not be construed so as to provide for the exculpation of an Indemnified Party of any
liability (including liability under U.S. Federal securities laws which, under certain circumstances,
impose liability even on persons acting in good faith), to the extent (but only to the extent) that such
liability may not be waived, modified or limited under applicable law (including liability under U.S.
Federal securities laws which, under certain circumstances, impose liability even on persons acting in
good faith), but shall be construed so as to effectuate the abovementioned provisions to the fullest
extent permitted by law. The Master Fund Partnership Agreement also limits the liability of any
Indemnified Party to the amount of the Management Fee received, to the extent permitted under
applicable law. In addition, in no event shall any Indemnified Party be liable for any special, indirect,
exemplary, consequential or punitive losses or damages.

        The Master Fund Partnership Agreement provides that the Master Fund shall, to the fullest
extent permitted by law, indemnify and hold harmless each Indemnified Party from and against any
and all loss, cost or expense suffered or sustained by an Indemnified Party by reason of the fact that it,
he or she is or was an Indemnified Party, including, without limitation, any judgment, settlement,
reasonable attorneys’ fees and other costs or expenses incurred in connection with the defense of any
actual or threatened action, suit or proceeding, provided that such liability, damage loss, cost or
expense resulted from a mistake of judgment on the part of an Indemnified Party or from action or
inaction that did not constitute gross negligence (as such term is defined and interpreted in accordance
with the laws of the State of Delaware), willful misconduct or bad faith, or from the negligence,
dishonesty or bad faith of a broker or other agent of an Indemnified Party, provided that such broker or
agent was selected, engaged or retained by the Indemnified Party in accordance with the standard of
care set forth above. The Master Fund Partnership Agreement also provides that the Master Fund will,
in the sole discretion of the Master Fund GP, advance to any Indemnified Party reasonable attorneys’
fees and other costs and expenses incurred in connection with the defense of any action, suit or
proceeding which arises out of such conduct. In the event that such an advance is made by the Master
Fund, the Indemnified Party will agree to reimburse the Master Fund to the extent that it is finally
determined that it was not entitled to indemnification in respect thereof.

         Notwithstanding any of the foregoing, the provisions of the Master Fund Partnership
Agreement do not provide for the indemnification of any Indemnified Party for any liability (including
liability under Federal securities laws which, under certain circumstances, impose liability even on
persons that act in good faith), to the extent (but only to the extent) that such liability may not be
waived, modified or limited under applicable law, but shall be construed so as to effectuate the above
provisions to the fullest extent permitted by law.

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        Pursuant to the foregoing indemnification and exculpation provisions applicable to each
Indemnified Party, the Master Fund (and not the applicable Indemnified Party) will be responsible for
any losses resulting from trading errors and similar human errors, absent gross negligence (as such
term is defined and interpreted in accordance with the laws of the State of Delaware), willful
misconduct or bad faith. Given the volume of transactions executed on behalf of the Master Fund,
trading errors (and similar errors) will occur and the Master Fund will be responsible for any resulting
losses, even if such losses result from the negligence (but not gross negligence) of any Indemnified
Party.

        The Indemnified Parties will also be indemnified by each limited partner of the Master Fund
for any amounts of tax withheld or required to be withheld with respect to that limited partner, and also
for any amounts of interest, additions to tax, penalties and other costs borne by any such persons in
connection therewith to the extent that the balance of the limited partner’s capital account is
insufficient to fully compensate the Master Fund GP ad the Investment Manager for such costs.

        Contributions and Withdrawals by the Fund. Limited partners of the Master Fund may make
contributions at such times and in such amounts as the Master Fund GP determines. As a limited
partner of the Master Fund, the Fund may, subject to the consent of the Master Fund GP, voluntarily
request a withdrawal of all or part of its capital in the Master Fund at such times and in such amounts
as it may determine. The Master Fund GP may postpone or suspend (a) the calculation of the net asset
value of the Master Fund (and the applicable valuation date); (b) the issuance of limited partner
interests, (c) the withdrawal by limited partners (and the applicable withdrawal date); and/or (d) the
payment of withdrawal proceeds (even if the calculation dates and withdrawal dates are not postponed)
if it determines that such a suspension is warranted by extraordinary circumstances, including: (i)
during any period when any stock exchange or over-the-counter market on which the Master Fund’s
investments are quoted, traded or dealt in is closed, other than for ordinary holidays and weekends, or
during periods in which dealings are restricted or suspended; (ii) during the existence of any state of
affairs as a result of which, in the reasonable opinion of the Master Fund GP, disposal of investments
by the Master Fund, or the determination of the value of the assets of the Master Fund, would not be
reasonably practicable or would be seriously prejudicial to the non-withdrawing partners; (iii) during
any breakdown in the means of communication normally employed in determining the price or value
of the Master Fund’s assets or liabilities, or of current prices in any stock market as aforesaid, or when
for any other reason the prices or values of any assets or liabilities of the Master Fund cannot
reasonably be accurately ascertained within a reasonable time frame; (iv) during any period when the
transfer of funds involved in the realization or acquisition of any investments cannot, in the reasonable
opinion of the Master Fund GP, be effected at normal rates of exchange; or (v) automatically upon
liquidation of the Master Fund.

      Amendment of the Master Fund Partnership Agreement. The Master Fund Partnership
Agreement may be amended by the Master Fund GP without the consent of the limited partners in any
manner that does not materially adversely affect any limited partner.

         Dissolution of the Master Fund. The Master Fund shall be wound up and dissolved upon the
first to occur of any of the following liquidating events, and Sections 36(1)(b), 36(9) and 36(12) of the
Exempted Limited Partnership Law shall not apply to the Master Fund:

       (i)     the written election of the Master Fund GP to dissolve the Master Fund; or

       (ii)    if the Master Fund GP is the sole or last remaining general partner, the date (the
               “Automatic Dissolution Date”) falling 90 days after the date of the service of a notice
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               by the Master Fund GP (or its legal representative) on all the limited partners informing
               the limited partners of:

                       (1)    the commencement of liquidation or bankruptcy proceedings in relation
                              to the Master Fund GP; or

                       (2)    the withdrawal, removal or making of a winding up or dissolution order
                              in relation to the Master Fund GP;

               provided that, if a majority in number of the limited partners elects one or more new
               general partners before the Automatic Dissolution Date, the business of the Master
               Fund shall be resumed and continued. If a new general partner is not elected by the
               Automatic Dissolution Date, the Master Fund shall be wound up and dissolved in
               accordance with terms of the Master Fund Partnership Agreement and the Exempted
               Limited Partnership Law.

       Power of Attorney. Each limited partner of the Master Fund shall make, constitute and appoint
the Master Fund GP its true and lawful attorney to make, sign, execute, certify, acknowledge, file and
record any instrument deemed necessary or appropriate by the Master Fund GP to carry out fully the
provisions of the Master Fund Partnership Agreement, including the admission of any new partners of
the Master Fund and any amendments to the Master Fund Partnership Agreement. Each limited
partner of the Master Fund shall authorize the Master Fund GP to take any further action that the
Master Fund GP considers necessary or advisable in connection with the foregoing. Such power of
attorney granted is intended to secure an interest in property and, in addition, the obligation of each
relevant limited partner of the Master Fund under the Master Fund Partnership Agreement shall be
irrevocable and shall survive and not be affected by the subsequent death, lack of capacity, insolvency,
bankruptcy or dissolution of any limited partner of the Master Fund.

Valuation of Assets

        The Master Fund GP (meaning for the purposes of the valuation of assets described herein, the
Master Fund GP itself, the Investment Manager or the Administrator under the ultimate supervision of
the Master Fund GP) will generally compute the value of the securities and other assets of the Master
Fund as of the close of business on the last day of each fiscal period and on any other date selected by
the Master Fund GP in its sole discretion. In addition, the Master Fund GP must compute the value of
the securities that are being distributed in-kind as of their date of distribution in accordance with the
Master Fund Partnership Agreement. In determining the value of the assets of the Master Fund, no
value is placed on the goodwill or name of the Master Fund, or the office records, files, statistical data
or any similar intangible assets of the Master Fund not normally reflected in the Master Fund’s
accounting records, but there must be taken into consideration any related items of income earned but
not received, expenses incurred but not yet paid, liabilities fixed or contingent, prepaid expenses to the
extent not otherwise reflected in the books of account, and the value of options or commitments to
purchase or sell securities pursuant to agreements entered into on or prior to such valuation date.

       A copy of the Master Fund’s valuation policy is available upon request from the Master Fund
GP.

        The value of each security and other asset of the Master Fund and the net worth of the Master
Fund as a whole determined pursuant Master Fund Partnership Agreement are conclusive and binding
on all of the partners of the Master Fund and all persons claiming through or under them.
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                RISK FACTORS AND POTENTIAL CONFLICTS OF INTEREST

        Investment in the Fund is speculative and involves substantial risks, including, but not limited
to, those summarized below. The Fund is not suitable for all investors and is intended for
sophisticated investors who can accept the risks associated with their investments. Prospective
investors should carefully consider the risk factors described in this section, among others, in
determining whether an investment in the Fund is suitable for them. There can be no assurance that
the Fund’s program will be successful or that investments purchased by the Fund will increase in
value. An investor must be prepared to bear capital losses that might result from an investment in the
Fund, including a complete loss of the investor’s invested capital. All investors in the Fund should
consult their own legal, tax and financial advisors prior to investing in the Fund.

       For purposes of this section, references to the “Fund” should be understood to mean each of
the Fund and the Master Fund, as applicable, and each of the risk factors set forth herein, while not
exhaustive, shall apply equally to each of the Fund and the Master Fund, as applicable.

General Risks

       Limited Operating History. The Fund, the Master Fund and the Master Fund GP have limited
operating histories upon which investors can evaluate the anticipated performance of the Fund. The
Investment Manager has been in operation since 1993. However, the past performance of the
Investment Manager and its officers and personnel is not an indication of future success of the Fund.

        Risks Associated With Investments in Securities. Any investment in securities carries market
risks. An investment in the Fund is highly speculative and involves a high degree of risk due to the
nature of the Fund’s investments and the strategies to be employed. An investment in the Fund should
not in itself be considered a balanced investment program, but rather is intended to provide
diversification in a more complete investment portfolio.

        Investment Judgment; Market Risk. The profitability of a significant portion of the Master
Fund’s investment program depends to a great extent upon correctly assessing the future course of the
price movements of securities and other investments. There can be no assurance that the Investment
Manager will be able to predict accurately these price movements. With respect to the investment
strategy utilized by the Master Fund, there is always some, and occasionally a significant, degree of
market risk.

        Limited Liquidity; Additional Information. An investment in the Fund provides limited
liquidity since the Shares are not freely transferable and may only be redeemed at such times as set
forth in this Memorandum. The Board of Directors may suspend redemptions, in whole or in part,
when, in the sole discretion of the Board of Directors, such a suspension is warranted by extraordinary
circumstances. The Board of Directors may also delay the payment of redemption proceeds as more
fully described elsewhere in this Memorandum. Investments that remain in the Fund are subject to all
risks related to an investment in the Fund as described in this Memorandum.

       Also, certain shareholders (including, without limitation, the Affiliated Investors), may invest
on terms that provide access to information that is not generally available to other shareholders of the
Fund and, as a result, may be able to act on such additional information (e.g., redeem their Shares) that
other shareholders do not receive. An investment in the Fund is suitable only for sophisticated
investors who have no need for current liquidity.


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         Effect of Substantial Redemptions. Several factors make substantial redemptions (and possibly
substantial withdrawals from the Domestic Fund) a risk factor for shareholders. The Master Fund will
pursue a variety of investment strategies that will take time to develop and implement. The Master
Fund may not be able to readily dispose of such financial instruments and, in some cases, may be
contractually prohibited from disposing of such financial instruments for a period of time. Substantial
redemptions (and possibly substantial withdrawals from the Domestic Fund) could be triggered by a
number of events, including, for example, unsatisfactory performance or a significant change in
personnel or management of the Investment Manager, investor reaction to redemptions or withdrawals
from other investment funds sponsored by the Investment Manager, legal or regulatory issues that
investors perceive to have a bearing on the Fund or the Investment Manager, or other factors. Actions
taken to meet substantial redemption requests from the Fund (as well as similar actions taken
simultaneously in other investment funds sponsored by the Investment Manager) could result in prices
of financial instruments held by the Master Fund decreasing and in Master Fund expenses increasing
(e.g., transaction costs and the costs of terminating agreements). The overall value of the Master Fund
also may decrease because the liquidation value of certain assets may be materially less than their
mark-to-market value. The Master Fund may be forced to sell its more liquid positions while
maintaining a relatively concentrated portfolio of illiquid assets. Substantial redemptions could also
significantly restrict the Master Fund’s ability to obtain financing or derivatives counterparties needed
for its investment and trading strategies, which would have a further material adverse effect on the
Master Fund’s performance.

        Substantial redemptions from the Fund within a short period of time could require the Master
Fund to liquidate securities positions more rapidly than would otherwise be desirable, possibly
reducing the value of the Fund’s assets and/or disrupting the Investment Manager’s investment
strategy. Reduction in the size of the Fund could make it more difficult to generate a positive return or
to recoup losses due to, among other things, reductions in the Master Fund’s ability to take advantage
of particular investment opportunities or decreases in the ratio of its income to its expenses.

      Master-Feeder Structure. The Fund will invest all of its investable assets in the Master Fund.
The “master-feeder” fund structure presents certain risks to the shareholders. Smaller feeder funds
may be materially affected by the actions of larger feeder funds.

        While the Investment Manager, as investment manager of the Master Fund, generally will not
consider tax issues applicable to any particular investors, it generally will take into account the tax
positions of the Fund and the Domestic Fund that invest in the Master Fund. However, the use of a
“master-feeder” structure may create a conflict of interest in that different tax considerations for the
Fund and the Domestic Fund may cause or result in the Master Fund structuring or disposing of an
investment in a manner or at a time that is more advantageous (or disadvantageous) for tax purposes to
one Feeder Fund or its investors.

        Management Fee and Performance Allocations. As described above, the Master Fund
Partnership Agreement provides for the payment of the Management Fee to the Investment Manager
and the Performance Allocation to the Master Fund GP. The Performance Allocation may create an
incentive for the Investment Manager, an affiliate of the Master Fund GP, to make investments that are
riskier or more speculative than would be the case in the absence of such Performance Allocation.

       Side Letters. The Fund may from time to time enter into letter agreements or other similar
agreements (collectively, “Side Letters”) with one or more shareholders which provide such
shareholder(s) with additional and/or different rights (including, without limitation, with respect to
access to information, the Management Fee, the Performance Allocation, minimum investment
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amounts, voting rights and liquidity terms) than such shareholder(s) have pursuant to this
Memorandum. As a result of such Side Letters, certain shareholders may receive additional benefits
(including, but not limited to, reduced fee obligations, the ability to redeem Shares on shorter notice
and/or expanded informational rights) which other shareholders will not receive. For example, a Side
Letter may permit a shareholder to redeem its Shares on less notice and/or at different times than other
shareholders. As a result, should the Fund experience a decline in performance over a period of time, a
shareholder who is party to a Side Letter that permits less notice and/or different redemption times may
be able to redeem its Shares prior to other shareholders. In general, the Fund and/or the Investment
Manager will not be required to notify any or all of the other shareholders of any such Side Letters or
any of the rights and/or terms or provisions thereof, nor will the Fund and/or the Investment Manager
be required to offer such additional and/or different rights and/or terms to any or all of the other
shareholders. The Fund and/or the Investment Manager may cause the Fund to enter into such Side
Letters with any party as the Fund and/or the Investment Manager may determine in its sole discretion
at any time. The other shareholders will have no recourse against the Fund and/or the Investment
Manager in the event certain shareholders receive additional and/or different rights and/or terms as a
result of such Side Letters. A shareholder will be required to enter into such undertakings with respect
to maintaining the confidentiality of any such additional information as the Fund and/or the Investment
Manager may in their sole discretion determine.

        Net Asset Value Considerations. The net asset value of the Fund is expected to fluctuate over
time with the performance of the Master Fund’s investments. A shareholder may not fully recover its
investment when it chooses to redeem its Shares from the Fund or upon a compulsory redemption if
the net asset value of the shareholder’s Shares at the time of such redemption is less than the share
price of such Shares or if there remain any unamortized costs and expenses of establishing the Fund.

        No Participation by Investors. All decisions with respect to the management of the day-to-day
affairs of the Fund are made exclusively by the Board of Directors and the Investment Manager.
Shareholders have no right or power to take part in the management of the Fund. The Investment
Manager makes all of the trading and investment decisions of the Fund. In the event of the withdrawal
of the Investment Manager, generally the Fund will be liquidated.

       Investment Strategies. The Investment Manager will seek to engage in the investment activities
that have been discussed in “Investment Program” herein. There can be no assurance that the
Investment Manager will be successful in applying any such strategy and that losses will be avoided.

        Competition. The markets in which the Master Fund invests are competitive and some of the
opportunities that the Investment Manager may explore may be pursued by better known investors or
investment funds. There can be no assurance that the Investment Manager will be able to identify or
successfully pursue such opportunities in this environment. The Investment Manager competes with
many firms that may have greater financial resources, more extensive development, better marketing
and service capabilities, more favorable financing arrangements, larger research staffs and more
securities traders than are available to the Investment Manager.

        In-Kind Distributions. A redeeming shareholder may, in the discretion of the Fund and/or
Investment Manager, receive securities owned by the Fund in lieu of, or in combination with, cash.
The value of securities distributed may increase or decrease before the securities can be sold, and the
shareholder will incur transaction costs in connection with the sale of such securities. Additionally,
securities distributed with respect to a redemption by a shareholder may not be readily marketable.
The risk of loss and delay in liquidating these securities will be borne by the shareholder, with the

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result that such shareholder may receive less cash than it would have received on the date of
redemption.

       No Current Income. Since the Fund does not generally intend to pay distributions, an
investment in the Fund is not suitable for investors seeking current income.

        Terrorist Action. There is a risk of terrorist attacks on the United States and elsewhere causing
significant loss of life and property damage and disruptions in the global market. Economic and
diplomatic sanctions may be in place or imposed on certain states and military action may be
commenced. The impact of such events is unclear, but could have a material effect on general
economic conditions and market liquidity.

       Unforeseen Events. The Master Fund may be adversely affected by unforeseen events
involving such matters as changes in interest rates or the credit status of an issuer, forced redemptions
of securities or acquisition proposals, break-up of planned mergers, unexpected changes in relative
value or changes in tax treatment.

         Cybersecurity. Information and technology systems may be vulnerable to damage or
interruption from computer viruses, network failures, computer and telecommunication failures,
infiltration by unauthorized persons and security breaches, usage errors by their respective
professionals, power outages and catastrophic events such as fires, tornadoes, floods, hurricanes and
earthquakes. Although the Investment Manager has implemented various measures to manage risks
relating to these types of events, if these systems are compromised, become inoperable for extended
periods of time or cease to function properly, the Investment Manager, the Master Fund and/or the
Fund may have to make a significant investment to fix or replace them, which expense may be borne
in whole or in part by the Fund. The failure of these systems and/or of disaster recovery plans for any
reason could cause significant interruptions in the Investment Manager’s, the Master Fund’s and/or the
Fund’s operations and result in a failure to maintain the security, confidentiality or privacy of sensitive
data, including personal information relating to investors. Such interruptions could harm the
Investment Manager’s, the Master Fund’s and/or the Fund’s reputation, subject any such entity and
their respective affiliates to legal claims and otherwise affect their business and financial performance.
The foregoing risks and consequences are also extant at any issuer in which the Master Fund invests
and could manifest as adverse performance of such investment.

       Accounting Rules. The Fund’s and the Master Fund’s assets and liabilities are valued in
accordance with the Articles of Association or the Master Fund Partnership Agreement (collectively,
the “Operating Agreements”), as applicable. However, for purposes of preparing the Fund’s and the
Master Fund’s annual audited financial statements, which are prepared in accordance with U.S.
generally accepted accounting principles (“GAAP”), certain of the Fund’s and the Master Fund’s assets
and liabilities may be valued in a manner that, while consistent with GAAP, is different from the
manner in which such assets are valued pursuant to the Operating Agreements.

        Accordingly, to the extent that GAAP would require any of the Fund’s assets or liabilities to be
valued in a manner that differs from the valuation procedures set forth in the Operating Agreements,
such assets or liabilities will be valued in accordance with GAAP, solely for purposes of preparing the
Fund’s GAAP-compliant annual audited financial statements, and in accordance with the Operating
Agreements (without regard to any GAAP requirements relating to the determination of fair value), for
all other purposes.


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        Generally, GAAP and other related accounting rules applicable to investment funds and various
assets they invest in are evolving. Such changes may adversely affect the Fund and the Master Fund.
For example, the evolution of rules governing the determination of the fair market value of assets to
the extent such rules become more stringent would tend to increase the cost and/or reduce the
availability of third-party determinations of fair market value. This may in turn increase the costs
associated with selling assets or affect their liquidity due to an inability to obtain a third-party
determination of fair market value.

        Valuations. From time to time, certain situations affecting the valuation of the Master Fund’s
investments (such as limited liquidity, unavailability or unreliability of third-party pricing information
and acts or omissions of service providers to the Master Fund) could have an impact on the net asset
value of the Fund, particularly if prior judgments as to the appropriate valuation of an investment
should later prove to be incorrect after a net asset value-related calculation or transaction is completed.
The Fund is not required to make retroactive adjustments to prior subscription or redemption
transactions or the Management Fee or Performance Allocations based on subsequent valuation data.

        Trade Errors. The Investment Manager, on behalf of the Fund, may from time to time make
trade errors. Trade errors are not errors in judgment, strategy, market analysis, economic outlook or
the like, but rather errors in implementing specific trades which the Investment Manager has
determined (rightly or wrongly) to make. Examples of trade errors would be: buying 10,000 shares of
an issue, rather than the 1,000 that was intended or taking a short, rather than the intended long,
position in a particular issue. Trade errors can result from clerical mistakes, miscommunications
between the Investment Manager’s personnel and other reasons. Importantly, however, trade errors are
not the function of poor strategies, valuation models, economic expectations, undue speculation,
unauthorized trades or the like, but rather of the physical implementation of specific trades on which
the Investment Manager had decided. The Investment Manager will determine whether to have the
costs arising from trade errors borne by the Fund or the Investment Manager by applying the pertinent
standard of liability for the Investment Manager in its management of the Fund’s capital — i.e., the
same standard of liability which would apply to any other action or omission by the Investment
Manager in the course of such management. The Investment Manager will, accordingly, be obligated
to reimburse the Fund for any trade error resulting from the Investment Manager’s willful misconduct,
bad faith or gross negligence (as interpreted in accordance with the laws of the State of Delaware), and
not otherwise. The Investment Manager will itself determine in good faith whether or not a given trade
error is required to be reimbursed under the general liability and exculpation standards applicable to
the Fund. The Investment Manager has a conflict of interest in determining whether a trade error
should be for the account of the Fund or the Investment Manager and will attempt to resolve such
conflict by an objective determination of the status of such trade error under the applicable liability
standard. Trade error costs can be significant — including market losses resulting from the position
incorrectly acquired as well as the additional brokerage costs of closing out or reversing the error. The
opportunity cost (lost profits) of not having made the trade intended to be made is not considered a
trade error cost. Any gains recognized on trade errors will be for the benefit of the Fund; none will be
retained by the Investment Manager.

Investment Strategy and Investment Risks

Risks Associated with Investing in CLOs

       Dependence Upon Other Unrelated Managers. The success of a collateralized loan obligation
(“CLO” or “CLO Securities”) may depend on the management talents and efforts of one person or a
small group of persons whose management could adversely affect the CLO and, accordingly, the
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Master Fund as an investor in such CLO. Given that the Investment Manager will not have an active
role in the management of these CLOs, the return on the Master Fund’s investments in such CLOs will
depend on the performance of unrelated managers.

         Investments in CLOs Managed by the Investment Manager or its Affiliates. The Master Fund
may invest a significant portion of its capital in structured investments, including CLO tranches
originated and managed by third parties and CLO tranches managed by the Investment Manager or its
affiliates (the “Affiliated CLOs”); provided, however, that the Master Fund will only invest in
Affiliated CLOs in secondary transactions, and not primary issuance. The Investment Manager or its
affiliates will receive senior and subordinated management fees and, in some cases, a performance-
based allocation or fee with respect to its role as general partner and/or manager of the Affiliated
CLOs. The Investment Manager will have conflicting division of loyalties and responsibilities
regarding the Master Fund and an Affiliated CLO, and certain other conflicts of interest would be
inherent in the situation. There can be no assurance that the interests of the Master Fund would not be
subordinated to those of an Affiliated CLO or to other interests of the Investment Manager.

        Multiple Levels of Fees. The Master Fund and the CLOs (including Affiliated CLOs) are
expected to impose management fees, other administrative fees, carried interest and other performance
allocations on realized and unrealized appreciation in the value of the assets managed and other
income. This may result in greater expense than if Limited Partners were able to invest directly in the
CLOs or underlying investments. Limited Partners should take into account that the return on their
investment will be reduced to the extent of both levels of fees. The general partner or manager of a
CLO may receive the economic benefit of certain fees from its portfolio companies for services and in
connection with unconsummated transactions (e.g., break-up, placement, monitoring, directors’,
organizational and set-up fees and financial advisory fees). Additionally, the Investment Manager may
receive fees from certain CLOs in connection with its role as “backup manager” for the CLOs.

        Limited Diversification. CLOs may invest in concentrated portfolios of assets. The
concentration of an underlying portfolio in any one obligor would subject the related CLO Securities to
a greater degree of risk with respect to defaults by such obligor and the concentration of a portfolio in
any one industry would subject the related CLOs to a greater degree of risk with respect to economic
downturns relating to such industry. The Master Fund may have a concentrated exposure to a
particular type of CLO.

        Risks of Investment Focus. The Master Fund’s portfolio will primarily consist of CLO
Securities. CLO Securities are subject to, among other risks, credit, liquidity and interest rate risks.

         The value of the CLO Securities that the Master Fund may own generally will fluctuate with,
among other things, the financial condition of the obligors or issuers of the CLO Securities’ underlying
portfolio of assets (“CLO Collateral”), general economic conditions, the condition of certain financial
markets, political events, developments or trends in any particular industry and changes in prevailing
interest rates. CLO Securities are issued on a non-recourse basis and holders of CLO Securities must
rely solely on distributions on the CLO Collateral or proceeds thereof for payment in respect thereof.
If distributions on the CLO Collateral are insufficient to make payments on the CLO Securities, no
other assets will be available for payment of the deficiency and following realization of the CLO
Securities, the obligations of such issuer to pay such deficiency generally will be extinguished.

        Issuers of CLO Securities may acquire interests in loans and other debt obligations by way of
sale, assignment or participation (“CLO Debt”). The purchaser of an assignment typically succeeds to
all the rights and obligations of the assigning institution and becomes a lender under the credit
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agreement with respect to the loan or debt obligation; however, its rights can be more restricted than
those of the assigning institution.

        CLO Collateral may consist of corporate loans, leveraged loans and other instruments, which
often are rated below investment grade (or of equivalent credit quality). Loans may be unsecured and
may be subordinated to certain other obligations of the issuer thereof. The lower ratings of below
investment grade loans reflect a greater possibility that adverse changes in the financial condition of an
issuer or in general economic conditions or both may impair the ability of the related issuer or obligor
to make payments of principal or interest. Such investments may be speculative.

        Interest Rate Mismatch. CLOs may be subject to interest rate risk. The CLO Collateral of an
issuer of a CLO may bear interest at a fixed or floating rate, while the CLO Debt may bear interest at a
floating or fixed rate. As a result, there could be a floating/fixed rate or basis mismatch between such
CLO Debt and the CLO Collateral which bears interest at a fixed rate (“Fixed Rate Assets”), and there
may be a timing mismatch between such CLO Debt and the assets that are not Fixed Rate Assets
(“Floating Rate Assets”). In addition, the interest rate on Floating Rate Assets may adjust more
frequently or less frequently, on different dates and based on different indices than the interest rates on
the CLO Debt. As a result of such mismatches, an increase or decrease in the level of the floating rate
indices could adversely impact the ability to make payments on such CLO Debt. Although many
CLOs attempt to hedge this interest rate risk, the hedges may not eliminate this risk and payments by
the CLO under the hedges may significantly reduce the distributions on the CLO Securities. In
addition, these hedges may have additional risks, such as counterparty risk, that are not present without
these hedges.

        Defaulted Assets Underlying CLO Securities. If the assets underlying a CLO Security become
defaulted assets, such defaulted assets may become subject to either substantial workout negotiations
or restructuring, which may entail, among other things, a substantial reduction in the interest rate, a
substantial write-down of principal, and a substantial change in the terms, conditions and covenants
with respect to such defaulted asset. In addition, such negotiations or restructuring may be quite
extensive and protracted over time, and therefore may result in substantial uncertainty with respect to
the ultimate recovery on such defaulted asset. The liquidity for defaulted assets may be limited, and to
the extent that defaulted assets are sold, it is highly unlikely that the proceeds from such sale will be
equal to the amount of unpaid principal and interest thereon. Furthermore, there can be no assurance
that the ultimate recovery on any defaulted assets will be at least equal to either the minimum recovery
rate assumed by any rating agency that rates the notes of the CLO Security. Therefore, if any CLO
Security has defaulted assets which correspond to the exposure of the Master Fund’s interest in the
CLO Security, the Fund may be adversely affected.

        There exist significant additional risks for CLO Securities and investors in such securities as a
result of the current liquidity crisis. Those risks include, among others, (i) the likelihood that the issuer
of the CLO Security will find it harder to sell any of its assets in the secondary market, thus rendering
it more difficult to dispose of assets which it has the discretion to manage, including credit risk
obligations, credit improved obligations or defaulted obligations, (ii) the possibility that the price at
which assets can be sold by the issuer of the CLO Security will have deteriorated from their effective
purchase price and (iii) the increased illiquidity of the notes issued by the CLO Security. These
additional risks may affect the returns on the investments in the Master Fund’s portfolio.

        Subordination of CLO Debt and CLO Equity. The Master Fund’s portfolio may consist of CLO
Equity and subordinate CLO Debt. Subordinate CLO Debt generally is fully subordinated to the
related CLO senior tranches. CLO Equity generally is fully subordinated to any related CLO Debt.
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Thus, some of the investments of the Master Fund in a CLO may rank behind other creditors of the
CLO and an investment by the Master Fund in the equity tranche of a CLO may rank behind all
creditors of the CLO. To the extent that any losses are incurred by a CLO in respect of its related CLO
Collateral, such losses are likely to be borne first by the holders of the related CLO Equity, next by the
holders of any related subordinated CLO debt and finally by the holders of the related CLO senior
tranches. In addition, if an event of default occurs under the governing instrument or underlying
investment, as long as any CLO senior tranches are outstanding, the holders thereof generally are
likely to be entitled to determine the remedies to be exercised under the instrument governing the
CLO. Remedies pursued by such holders could be adverse to the interests of the holders of any related
subordinated CLO Debt and/or the holders of the related CLO Equity, as applicable. Investments of
the Master Fund may be the first to absorb any losses by the CLO on its underlying portfolio. This
may result in losses on the invested proceeds of the Master Fund and could result in the complete loss
of invested proceeds.

        Mandatory Redemption of CLO Senior Tranches and CLO Debt. Under certain circumstances,
cash flows from CLO Collateral that otherwise would have been paid to the holders of any related
CLO Debt will be used to redeem the related CLO senior tranches. This could result in an elimination,
deferral or reduction in the interest payments, principal repayments or other payments made to the
holders of such CLO Debt, which could adversely impact the returns to the holders of such CLO Debt.

        Optional Redemption of CLO Senior Tranches and CLO Debt. An optional redemption by a
CLO of its securities and, in particular, the exercise of rights by the holders of one or more classes of
its securities (or the requisite percentages thereof) so as to effect any such optional redemption, could
require the collateral or portfolio manager of the related CLO to liquidate positions more rapidly than
would otherwise be desirable, which is likely to materially and adversely affect the realized value of
the items of CLO Collateral sold (and which in turn is likely to materially and adversely impact the
holders of any related CLO Securities, including the Master Fund). As a result of any such rapid
liquidation of a CLO, a holder of the related CLO Securities (including the Master Fund) could lose all
or a substantial portion of its investment in such CLO Securities.

        Insolvency Risks. Various laws enacted for the protection of creditors may apply to the issuers
of the CLO Collateral (solely for purposes of this risk factor, an “Insolvent Company”). The
information in this paragraph and the following paragraph is applicable with respect to U.S. issuers of
CLO Collateral. Insolvency considerations may differ with respect to non-U.S. issuers of CLO
Collateral. If a court in a lawsuit brought by an unpaid creditor or representative of creditors of an
Insolvent Company, such as a trustee in bankruptcy, were to find that the issuer did not receive fair
consideration or reasonably equivalent value for incurring the indebtedness constituting the CLO or
CLO Collateral (as applicable) and, after giving effect to such indebtedness, the Insolvent Company (i)
was insolvent, (ii) was engaged in a business for which the remaining assets of the Insolvent Company
constituted unreasonably small capital or (iii) intended to incur, or believed that it would incur, debts
beyond its ability to pay such debts as they mature, such court could determine to invalidate, in whole
or in part, such indebtedness as a fraudulent conveyance, to subordinate such indebtedness to existing
or future creditors of the Insolvent Company or to recover amounts previously paid by such issuer in
satisfaction of such indebtedness. The measure of insolvency for purposes of the foregoing will vary.
Generally, an Insolvent Company would be considered insolvent at a particular time if the sum of its
debts were then greater than all of its property at a fair valuation or if the present fair saleable value of
its assets were then less than the amount that would be required to pay its probable liabilities on its
existing debts as they became absolute and matured. There can be no assurance as to what standard a
court would apply in order to determine whether the Insolvent Company was “insolvent” after giving
effect to the incurrence of the indebtedness constituting the CLO or CLO Collateral (as applicable) or
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that, regardless of the method of valuation, a court would not determine that the Insolvent Company
was “insolvent” upon giving effect to such incurrence. In addition, in the event of the insolvency of an
Insolvent Company, payments made on such CLO or CLO Collateral (as applicable) could be subject
to avoidance as a “preference” if made within a certain period of time (which may be as long as one
year) before insolvency.

        In general, if payments on a CLO or CLO Collateral (as applicable) are avoidable, whether as
fraudulent conveyances or preferences, such payments can be recaptured either from the initial
recipient (such as the Master Fund) or from subsequent transferees of such payments (such as the
Limited Partners). However, a court in a bankruptcy or insolvency proceeding would be able to direct
the recapture of any such payment from a Limited Partner only to the extent that such court has
jurisdiction over such holder or its assets. Moreover, it is likely that avoidable payments could not be
recaptured directly from a holder that has given value in exchange for its interest, in good faith and
without knowledge that the payments were avoidable. Nevertheless, there can be no assurance that a
Limited Partner will be able to avoid recapture on this or any other basis.

        The preceding discussion is based upon principles of United States Federal and state laws.
Insofar as the Master Fund’s portfolio consists of the obligations of non-United States obligors, the
laws of certain foreign jurisdictions may provide for avoidance remedies under factual circumstances
similar to those described above or under different circumstances, with consequences that may or may
not be analogous to those described above under United States Federal and state laws.

        “Widening” Risk. For reasons not necessarily attributable to any of the risks set forth herein
(for example, supply/demand imbalances or other market forces), the prices of the CLO Securities in
which the Master Fund invests may decline substantially. In particular, purchasing assets at what may
appear to be “undervalued” levels is no guarantee that these assets will not be trading at even lower
levels at a time of valuation or at the time of sale. It may not be possible to predict, or to hedge
against, such “spread widening” risk.

        There Is Limited Disclosure About the CLO Securities and the Underlying CLO Collateral in
this Memorandum. The Investment Manager will not be required to provide the investors in the Fund
with financial or other information (which may include material non-public information) it receives
related to the CLO Securities. The Investment Manager also may not disclose to investors notices the
Investment Manager receives and it will not have any obligation to keep investors informed as to
defaults in the CLO Securities, failure by the Master Fund to receive any payment of principal,
interest, or other amounts or to disclose the portfolio or the decisions of which CLO Securities were
not purchased in general to any investor. In addition, the investors will not have any right to inspect
any records relating to the CLO Securities, and the Investment Manager will not be obligated to
disclose any further information or evidence regarding the existence or terms of, or the identity of any
obligor on, any CLO Securities.

        Impact of the Volcker Rule on the Liquidity of the Notes. Section 619 of the Dodd-Frank Wall
Street Reform and Consumer Protection Act (“Dodd-Frank”) added a provision, commonly referred to
(together with the final regulations with respect thereto adopted on December 10, 2013) as the Volcker
Rule, to federal banking laws to generally prohibit various covered banking entities from engaging in
proprietary trading or acquiring or retaining an ownership interest in “covered funds” which generally
include, sponsoring or having certain relationships with a hedge fund or private equity fund (defined in
final regulations adopted on December 10, 2013 as any entity relying on Section 3(c)(1) or Section
3(c)(7) of the Investment Company Act to be exempt from registration under the Investment Company
Act), subject to certain exemptions. The Volcker Rule also provides for certain supervised nonbank
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financial companies that engage in such activities or have such interests or relationships to be subject
to additional capital requirements, quantitative limits or other restrictions. The conformance period for
the Volcker Rule ended July 21, 2017 for CLOs. Certain CLOs may be considered “covered funds”
under the Volcker rule and therefore the most senior tranche of the CLO may be a restricted security
for various banking and nonbanking entities. This may restrict the liquidity of certain non-Volcker
compliant CLOs in the future and may affect the Master Fund’s ability to liquidate these positions on a
timely basis.

Investment Strategy and Investment Risks

        General Economic and Market Conditions. The success of the Master Fund’s activities will be
affected by general economic and market conditions, such as interest rates, availability of credit,
inflation rates, economic uncertainty, changes in laws (including laws relating to taxation of the Master
Fund’s investments), trade barriers, currency exchange controls, and national and international political
circumstances (including wars, terrorist acts or security operations). These factors may affect the level
and volatility of securities prices and the liquidity of the Master Fund’s investments. Volatility or
illiquidity could impair the Master Fund’s profitability or result in losses. The Master Fund may
maintain substantial trading positions that can be adversely affected by the level of volatility in the
financial markets; the larger the positions, the greater the potential for loss.

        Unpredictable or unstable market conditions may result in reduced opportunities to find
suitable investments to deploy capital or make it more difficult to exit and realize value (or avoid
significant losses) from the Master Fund’s existing investments. This sort of instability occurred in
late 2008 and continued into 2009 when markets experienced significant losses arising largely because
global credit spreads widened materially, equity index levels declined, and many funds liquidated
assets. It is important to understand that the Master Fund can incur material losses even if it reacts
quickly to difficult market conditions and there can be no assurance that the Master Fund will not
suffer material adverse effects from broad and rapid changes in market conditions.

        Foreign Currencies and Investments.          Investing in foreign issuers involves certain
considerations comprising of both risks and opportunities not typically associated with investing in
United States issuers. These considerations include changes in exchange control regulations, political
and social instability, expropriation, imposition of withholding and other foreign taxes, less liquid
markets and less available information than is generally the case in the United States, higher
transaction costs, less government supervision of exchanges, brokers and issuers, different legal
systems with less developed bankruptcy laws, difficulty in enforcing contractual obligations, lack of
uniform accounting and auditing standards and greater price volatility.

        Although the Master Fund intends that most of its investments will be U.S. dollar denominated,
Master Fund investments that are denominated in a foreign currency are subject to the risk that the
value of a particular currency will change in relation to one or more other currencies. Among the
factors that may affect currency values are trade balances, the level of interest rates, differences in
relative values of similar assets in different currencies, long-term opportunities for investment and
capital appreciation and political developments. The Investment Manager intends, but is under no
obligation, to employ hedging techniques to reduce these risks, but there can be no assurance that such
strategies will be effective.

        Diversification. Since the Master Fund’s portfolio will not necessarily be widely diversified,
the investment portfolio of the Master Fund may be subject to more rapid changes in value than would

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be the case if the Master Fund were required to maintain a wide diversification among companies,
securities and types of securities.

        Volatility Risk. The Master Fund’s investment program may involve the purchase and sale of
relatively volatile instruments. Fluctuations or prolonged changes in the volatility of such instruments,
therefore, can adversely affect the value of investments held by the Master Fund. In addition, many
non-U.S. financial markets are not as developed or as efficient as those in the U.S., and as a result,
price volatility may be higher for the Master Fund’s investments.

        Illiquid Securities. From time to time, the Master Fund may invest in financial instruments that
are not publicly traded. The Master Fund may also invest in securities and other financial instruments
that trade regularly but may be only thinly traded, either periodically or on an on-going basis. The
Master Fund may not be able to readily dispose of such financial instruments and, in some cases, may
be contractually prohibited from disposing of such financial instruments for a specified period of time.
Accordingly, the Master Fund may be forced to sell its more liquid positions at a disadvantageous time,
resulting in a greater percentage of the portfolio consisting of illiquid securities. In addition, the
market prices, if any, for such financial instruments tend to be volatile, and the Master Fund may not
be able to sell them when it desires to do so or to realize what it perceives to be their fair value in the
event of a sale. The sale of illiquid securities also often requires more time and results in higher
brokerage charges or dealer discounts and other selling expenses than does the sale of securities
eligible for trading on national securities exchanges or in the over-the-counter markets. Furthermore,
there may be limited information available about the assets of such issuers of the financial instruments
which may make valuation of such financial instruments difficult or uncertain. It also should be noted
that, even those markets which the Investment Manager expects to be liquid can experience periods,
possibly extended periods, of illiquidity.

        Market Liquidity. The Master Fund may be adversely affected by a decrease in market liquidity
for the instruments in which it invests, which may impair the Master Fund’s ability to adjust its
positions. The size of the Master Fund’s positions may magnify the effect of a decrease in market
liquidity for such instruments. Changes in overall market leverage, or the liquidation by other market
participants of the same or similar positions, may also adversely affect the Master Fund’s portfolio.

        Reinvestment Risk. The Master Fund reinvests the cash flows received from a security. The
additional income from such reinvestment, sometimes called interest-on-interest, is reliant on the
prevailing interest rate levels at the time of reinvestment. There is a risk that the interest rate at which
interim cash flows can be reinvested will fall. Reinvestment risk is greater for longer holding periods
and for securities with large, early cash flows such as high-coupon bonds. Reinvestment risk also
applies generally to the reinvestment of the proceeds the Master Fund receives upon the maturity or
sale of a portfolio security.

        Leverage. The Master Fund may seek to maximize its investment position by purchasing
securities on margin or by arranging with banks, brokers and others to borrow money against a pledge
of securities or commodities. As a result, the possibilities of profit and loss will be increased.
Borrowing money to purchase securities will provide the Master Fund with advantages of leverage, but
exposes it to capital risk, interest rate risk and higher current expenses. Any gain in the value of
securities purchased with borrowed money or income earned from these securities that exceeds interest
paid on the amount borrowed would cause the Master Fund’s net profit to increase faster than would
otherwise be the case. Conversely, any decline in the value of the securities purchased would cause the
Master Fund’s net loss to increase faster than would otherwise be the case. In addition to purchasing
securities on margin, the Master Fund will engage in short selling of securities. A short sale will result
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in a gain if the price of the securities sold declines sufficiently between the time of the short sale and
the time at which securities are purchased to replace those borrowed. A short sale will result in a loss
if the price of the securities sold short increases or does not decline sufficiently to cover transaction
costs. Any gain would be decreased and any loss would be increased by the amount of any premium or
interest which the Master Fund may be required to pay with respect to the borrowed securities.

        Inflation Risk. Inflation risk results from the variation in the value of cash flows from a
security due to inflation, as measured in terms of purchasing power. For example, if the Master Fund
purchases a five (5) year bond in which it can realize a coupon rate of five percent (5%), but the rate of
inflation is six percent (6%), then the purchasing power of the cash flow has declined. For all but
adjustable securities or floating rate securities, the Master Fund is exposed to inflation risk because the
interest rate the issuer promises to make is fixed for the life of the security. To the extent that interest
rates reflect the expected inflation rate, floating rate securities have a lower level of inflation risk.

        Over-the-Counter-Trading. Financial instruments that may be purchased or sold by the Master
Fund may include instruments not traded on an exchange. The risk of nonperformance by the obligor
on such an instrument may be greater and the ease with which the Master Fund can dispose of or enter
into closing transactions with respect to such an instrument may be less than in the case of an
exchange-traded instrument. In addition, significant disparities may exist between “bid” and “asked”
prices for financial instruments that are not traded on an exchange. Financial instruments not traded on
exchanges are also not subject to the same type of government regulation as exchange traded
instruments, and many of the protections afforded to participants in a regulated environment may not
be available in connection with such transactions. To the extent that the Master Fund engages in these
transactions, the Master Fund must rely on the creditworthiness of its counterparty.

        Position Limits. “Position limits” imposed by various regulators or regulations may also limit
the Master Fund’s ability to effect desired trades. Position limits are the maximum amounts of gross,
net long or net short positions that any one person or entity may own or control in a particular financial
instrument. All positions owned or controlled by the same person or entity, even if in different
accounts, may be aggregated for purposes of determining whether the applicable position limits have
been exceeded. Thus, even if the Master Fund does not intend to exceed applicable position limits, it is
possible that different accounts managed by the Investment Manager or its affiliates may be
aggregated. If at any time positions managed by the Investment Manager were to exceed applicable
position limits, the Investment Manager would be required to liquidate positions, which might include
positions of the Master Fund, to the extent necessary to come within those limits. Further, to avoid
exceeding the position limits, the Master Fund might have to forgo or modify certain of its
contemplated trades.

        Dodd-Frank significantly expanded the scope of the CFTC’s authority and obligation to require
reporting of, and adopt limits on, the size of positions that market participants may own or control in
commodity futures and futures options contracts and swaps. Dodd-Frank also narrowed existing
exemptions from such position limits for a broad range of risk management transactions.

        In accordance with the requirements of Dodd-Frank, the CFTC has proposed speculative
position limits on listed futures and options on physical commodities and economically equivalent
over-the-counter derivatives; position limits applicable to swaps that are economically equivalent to
United States listed futures and futures options contracts, including contracts on non-physical
commodities, such as rates, currencies, equities and credit default swaps; and aggregate position limits
for a broad range of derivatives contracts based on the same underlying commodity, including swaps
and futures and futures options contracts. While certain persons, contracts or transactions or classes
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thereof are exempt from the speculative position limit requirements, such position aggregation
requirements may further restrict the swap positions that the Master Fund may enter into or require
additional filings, policies and monitoring.

        The full impact of these recent changes to aggregation and whether the proposed changes to
position limits themselves will take effect are not known at this time. Individually and collectively, if
these changes take effect, they could increase the costs to the Master Fund of maintaining positions in
commodity futures and futures option contracts and swaps, reduce the level of exposure the Master
Fund is able to obtain (whether for risk management or investment purposes) through commodity
futures and futures option contracts and swaps. These changes could also impair liquidity in certain
swaps and adversely affect the quality of execution pricing obtained by the Master Fund, all of which
could adversely impact the Master Fund’s investment returns.

        Prime Brokers. The Master Fund will rank as an unsecured creditor to each of its prime
brokers in relation to assets that each such prime broker borrows, lends or otherwise uses and, in the
event of the insolvency of a prime broker, the Master Fund might not be able to recover equivalent
assets in full. In addition, if applicable law permits, cash that a prime broker holds or receives on the
Master Fund’s behalf may not be treated by the prime broker as client money, may not be segregated
from the prime broker’s own cash and may be used by the prime broker in the course of its investment
business. In such event, the Master Fund will rank as one of the prime broker’s general creditors.

        Counterparty Risk. Some of the markets in which the Master Fund may effect transactions are
“over-the-counter” or “interdealer” markets. The participants in such markets are typically not subject
to credit evaluation and regulatory oversight as are members of “exchange-based” markets. This
exposes the Master Fund to the risk that a counterparty will not settle a transaction in accordance with
its terms and conditions because of a dispute over the terms of the contract (whether or not bona fide)
or because of a credit or liquidity problem, thus causing the Master Fund to suffer a loss. Such
“counterparty risk” is accentuated for contracts with longer maturities where events may intervene to
prevent settlement, or where the Master Fund has concentrated its transactions with a single or small
group of counterparties. The Master Fund is not restricted from dealing with any particular
counterparty or from concentrating any or all of its transactions with one counterparty. Moreover, the
Master Fund’s internal credit function, which evaluates the creditworthiness of its counterparties, may
prove insufficient. The lack of a complete and “foolproof” evaluation of the financial capabilities of
the Master Fund’s counterparties and the absence of a regulated market to facilitate settlement may
increase the potential for losses by the Master Fund.

        Undervalued Securities. The Master Fund may invest in undervalued securities. The
identification of investment opportunities in misvalued securities is a difficult task, and there can be no
assurance that such opportunities will be successfully recognized. While purchases of undervalued
securities offer opportunities for above-average capital appreciation, these investments involve a high
degree of financial risk and can result in substantial losses. Returns generated from the investments of
the Master Fund may not adequately compensate for the business and financial risks assumed.

        The Master Fund may make certain speculative investments in securities which the Investment
Manager believes to be misvalued; however, there can be no assurance that the securities purchased
and sold will in fact be misvalued. In addition, the Master Fund may be required to maintain positions
in such securities for a substantial period of time before realizing their anticipated value. During this
period, a portion of the capital of the Master Fund may be committed to the securities, thus possibly
preventing the Master Fund from investing in other opportunities.

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        Small and Medium Capitalization Companies. While the Investment Manager believes
securities in companies with small and medium capitalizations often provide significant potential for
appreciation, the securities of certain companies, particularly smaller-capitalization companies, involve
higher risks in some respects than do investments in securities of larger companies. For example,
prices of small-capitalization and even medium-capitalization securities are often more volatile than
prices of large-capitalization securities and the risk of bankruptcy or insolvency of many smaller
companies (with the attendant losses to investors) is higher than for larger, “blue-chip” companies. In
addition, due to thin trading in the securities of some small-capitalization companies, an investment in
those companies may be illiquid.

        Senior Loans Risk. Senior loans are usually rated below investment grade or may also be
unrated. As a result, the risks associated with senior loans are similar to the risks of below investment
grade fixed income instruments, although senior loans are senior and secured in contrast to other below
investment grade fixed income instruments, which are often subordinated or unsecured. Investment in
senior loans rated below investment grade is considered speculative because of the credit risk of their
issuers. Such companies are more likely than investment grade issuers to default on their payments of
interest and principal owed to the Master Fund, and such defaults could have a materially adverse
effect on the Master Fund’s performance. An economic downturn would generally lead to a higher
non-payment rate, and a senior loan may lose significant market value before a default occurs.
Moreover, any specific collateral used to secure a senior loan may decline in value or become illiquid,
which would adversely affect the senior loan’s value. Senior loans are subject to a number of risks
described elsewhere in this Memorandum, including liquidity risk and the risk of investing in below
investment grade fixed income instruments.

         There may be less readily available and reliable information about most senior loans than is the
case for many other types of securities, including securities issued in transactions registered under the
Securities Act of 1933, as amended, or registered under the Exchange Act of 1934, as amended. As a
result, the Investment Manager will rely primarily on its own evaluation of a borrower’s credit quality
rather than on any available independent sources. Therefore, the Master Fund will be particularly
dependent on the analytical abilities of the Investment Manager.

        In general, the secondary trading market for senior loans is not well developed. No active
trading market may exist for certain senior loans, which may make it difficult to value them.
Illiquidity and adverse market conditions may mean that the Master Fund may not be able to sell senior
loans quickly or at a fair price. To the extent that a secondary market does exist for certain senior loans
the market for them may be subject to irregular trading activity, wide bid/ask spreads and extended
trade settlement periods.

        Variable Interest Rate Risk. Because senior loans with floating or variable rates reset their
interest rates periodically, changes in prevailing interest rates can be expected to cause some
fluctuations in the value of the Master Fund’s investments. Similarly, a sudden and significant increase
in market interest rates may cause a decline in the value of the Master Fund’s investments. In addition,
senior loans or similar securities may allow the borrower or issuer to opt between LIBOR-based
interest rates and interest rates based on bank prime rates, which may have an impact on value of the
Master Fund’s investments.

        Bank Loans. The Master Fund’s investment program will include investments in significant
amounts of Bank Loans and participations. These obligations are subject to unique risks, including:
(i) the possible invalidation of an investment transaction as a fraudulent conveyance under relevant
creditors’ rights laws; (ii) so-called lender-liability claims by the issuer of the obligations; (iii)
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environmental liabilities that may arise with respect to collateral securing the obligations; and (iv)
limitations on the ability of the Master Fund to directly enforce its rights with respect to participations.
In analyzing each Bank Loan or participation, the Investment Manager compares the relative
significance of the risks against the expected benefits of the investment. Successful claims by third
parties arising from these and other risks will be borne by the Master Fund.

        DIP Loans. From time to time, the Master Fund may invest in loans to companies that have
filed for protection under Chapter 11 of the U.S. Bankruptcy Code, as amended. DIP loans are
typically asset-based, revolving working-capital facilities put into place at the outset of a Chapter 11
bankruptcy to provide both immediate cash as well as ongoing working capital during the
reorganization process. Such loans are risky and present significant exposure for default risk to the
Master Fund.

        Adjustments to Terms of Fund Investments. The terms and conditions of loan agreements and
related assignments may be amended, modified or waived only by the agreement of the lenders.
Generally, any such agreement must include a majority or a super majority (measured by outstanding
loans or commitments) or, in certain circumstances, a unanimous vote of the lenders. Consequently, the
terms and conditions of the payment obligation arising from loan agreements could be modified,
amended or waived in a manner contrary to the preferences of the Master Fund if a sufficient number
of the other lenders concurred with such modification, amendment or waiver. There can be no
assurance that any obligations arising from a loan agreement will maintain the terms and conditions to
which the Master Fund originally agreed.


        The exercise of remedies may also be subject to the vote of a specified percentage of the
lenders thereunder. The Investment Manager will have the authority to cause the Master Fund to
consent to certain amendments, waivers or modifications to the Master Fund’s investments requested
by obligors or the lead agents for loan syndication agreements. The Investment Manager may, in
accordance with its investment management standards, cause the Master Fund to extend or defer the
maturity, adjust the outstanding balance of any investment, reduce or forgive interest or fees, release
material collateral or guarantees, or otherwise amend, modify or waive the terms of any related loan
agreement, including the payment terms thereunder. The Investment Manager will make such
determinations in accordance with its investment management standards. Any amendment, waiver or
modification of the terms of an investment could adversely impact the Master Fund’s investment
returns.

        Prepayments. Certain of the Master Fund’s investments may be prepaid more quickly than
expected. Prepayment rates are influenced by changes in interest rates and a variety of economic,
geographic and other factors beyond the Master Fund’s control and consequently cannot be predicted
with certainty. Early prepayments give rise to increased re-investment risk, as the Master Fund might
realize excess cash earlier than it expected. If the Master Fund is unable to reinvest the principle
portion of a prepayment in a new investment with an expected rate of return at least equal to that of the
investment repaid, this may reduce the Master Fund’s net investment income and, consequently, could
have an adverse impact on the Fund’s ability to make distributions.

       Investments in Loans Secured by Real Estate. While direct real estate investment is not
intended to be the focus of the Master Fund, it is possible that, from time to time, the Master Fund
may, as a result of default, foreclosure or otherwise, hold real estate assets. Special risks associated
with such investments include changes in the general economic climate or local conditions (such as an
oversupply of space or a reduction in demand for space), competition based on rental rates,
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attractiveness and location of the properties, changes in the financial condition of tenants, and changes
in operating costs. Real estate values are also affected by such factors as government regulations
(including those governing usage, improvements, zoning and taxes), interest rate levels, the availability
of financing and potential liability under changing environmental and other laws. Of particular
concern may be those mortgaged properties which are, or have been, the site of manufacturing,
industrial or disposal activity. Such environmental risks may give rise to a diminution in the value of
property (including real property securing any portfolio investment) or liability for cleanup costs or
other remedial actions, which liability could exceed the value of such property or the principal balance
of the related portfolio investment. In certain circumstances, a lender may choose not to foreclose on
contaminated property rather than risk incurring liability for remedial actions.

        Limitations on the Enforcement of Creditor’s Rights. The Master Fund’s investments may or
may not be secured by mortgages, charges, pledges, liens or other security interests. Depending on the
jurisdiction in which such security interests are created, enforcement of such security interests may be
a complicated and difficult process. Any attempt by the Fund to enforce its rights against the obligor
or to realize value from any security interests in connection with a credit investment will be subject to
numerous risks, delays and uncertainties, including those related to the validity or enforceability of the
Fund’s claims, the maintenance of the anticipated priority and perfection of any security interests, the
effect of any bankruptcy or insolvency laws, disputes among different classes of creditors, the
possibility of counterclaims or defenses, practical difficulties and costs in litigating and enforcing
claims in foreign jurisdictions, unfriendly venues for litigation and many others. All of these risks are
magnified by the political and legal environment in many emerging markets. As a result, there can be
no assurance that the Fund will be able to enforce its legal rights to the extent expected.

        Environmental Hazards. Under environmental laws enacted by the United States and the
various states, owners of property may be liable for the cleanup and removal of hazardous substances
even where the owner was not responsible for placing the hazardous substances on the property or
where the property was contaminated prior to the time the owner took title. The kinds of hazardous
substances for which liability may be incurred include, among other things, chemicals and other
materials commonly used by small businesses and manufacturing operations. The costs of removal
and clean-up of hazardous substances and wastes can be extremely expensive and, in some cases, can
exceed the value of a property. If any property acquired by the Master Fund through foreclosure or
otherwise subsequently were found to have an environmental problem, such acquiring entity could
incur substantial costs and suffer a complete loss of its investment in such property as well as of other
assets. Similarly, real estate is subject to loss due to so-called “special hazards” (e.g., floods,
earthquakes and hurricanes). It may be impractical or impossible to fully insure against such events
and, should such an event occur, the Master Fund could incur substantial costs and suffer a loss of its
investment in such property.

        Fraud. Of paramount concern in lending is the possibility of material misrepresentation or
omission on the part of the borrower. Such inaccuracy or incompleteness may adversely affect the
valuation of the collateral underlying the loans or may adversely affect the ability of the Master Fund
to perfect or effectuate a lien on the collateral securing the loan. The Master Fund will rely upon the
accuracy and completeness of representations made by borrowers to the extent reasonable, but cannot
guarantee such accuracy or completeness. Under certain circumstances, payments to the Master Fund
may be reclaimed if any such payment or distribution is later determined to have been a fraudulent
conveyance or a preferential payment.



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        Debt Securities. The Master Fund intends to invest in bonds or other fixed income securities,
including, without limitation, commercial paper and “higher yielding” (and, therefore, higher risk) debt
securities. It is likely that a major economic recession could disrupt severely the market for such
securities and may have an adverse impact on the value of such securities. In addition, it is likely that
any such economic downturn could adversely affect the ability of the issuers of such securities to repay
principal and pay interest thereon and increase the incidence of default for such securities.

        Investing in High Yield Securities. The Master Fund intends to invest in high-yield securities.
Such securities are generally not exchange traded and, as a result, these instruments trade in the over-
the-counter marketplace, which is less transparent than the exchange-traded marketplace. In addition,
the Master Fund will invest in bonds of issuers that do not have publicly traded equity securities,
making it more difficult to hedge the risks associated with such investments. High-yield securities face
ongoing uncertainties and exposure to adverse business, financial or economic conditions which could
lead to the issuer’s inability to meet timely interest and principal payments. The market values of
certain of these lower-rated and unrated debt securities tend to reflect individual corporate
developments to a greater extent than do higher-rated securities which react primarily to fluctuations in
the general level of interest rates, and tend to be more sensitive to economic conditions than are higher-
rated securities. Companies that issue such securities are often highly leveraged and may not have
available to them more traditional methods of financing. It is possible that a major economic recession
could disrupt severely the market for such securities and may have an adverse impact on the value of
such securities. In addition, it is possible that any such economic downturn could adversely affect the
ability of the issuers of such securities to repay principal and pay interest thereon and increase the
incidence of default of such securities.

        Timing Risk. Many agency, corporate and municipal bonds, and all mortgage-backed securities,
contain a provision that allows the issuer to “call” all or part of the issue before the bond’s maturity
date. The issuer usually retains the right to refinance the bond in the future if market interest rates
decline below the coupon rate. There are three disadvantages to the call provision. First, the cash flow
pattern of a callable bond is not known with certainty. Second, because the issuer will call the bonds
when interest rates have dropped, the Master Fund is exposed to reinvestment rate risk, i.e., the Master
Fund will have to reinvest the proceeds received when the bond is called at lower interest rates.
Finally, the capital appreciation potential of a bond will be reduced because the price of a callable bond
may not rise much above the price at which the issuer may call the bond.

       Maturity Risk. In certain situations, the Master Fund may purchase a bond of a given maturity
as an alternative to another bond of a different maturity. Ordinarily, under these circumstances, the
Master Fund will make an adjustment to account for the differential interest rate risks in the two bonds.
This adjustment, however, makes an assumption about how the interest rates at different maturities will
move. To the extent that the yield movements deviate from this assumption, there is a yield-curve or
maturity risk. Another situation where yield-curve risk should be considered is in the analysis of bond
swap transactions where the potential incremental returns are dependent entirely on the parallel shift
assumption for the yield curve.

        Revolving Credit Facilities. From time to time the Master Fund may incur contingent liabilities
in connection with an investment. For example, the Master Fund may purchase from a lender a
revolving credit facility that has not yet been fully drawn. If the borrower subsequently draws down
on the facility, the Master Fund would be obligated to fund the amounts due.

        Investments in Stressed Debt. The Master Fund is authorized to invest in securities and other
obligations of stressed issuers. Stressed issuers are issuers that are not yet deemed distressed or
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bankrupt and whose debt securities are trading at a discount to par, but not yet at distressed levels. An
example would be an issuer that is in technical default of its credit agreement, or undergoing strategic
or operational changes, which results in market pricing uncertainty.

         Investments in Distressed Securities. The Master Fund may invest in securities and obligations
of issuers in weak financial condition, experiencing poor operating results, having substantial capital
needs or negative net worth, facing special competitive or product obsolescence problems, including
companies involved in bankruptcy or other reorganization and liquidation proceedings. These
securities are likely to be particularly risky investments although they also may offer the potential for
correspondingly high returns. Among the risks inherent in investments in troubled entities is the fact
that it frequently may be difficult to obtain information as to the true condition of such issuers. Such
investments may also be adversely affected by laws relating to, among other things, fraudulent
transfers and other voidable transfers or payments, lender liability and the bankruptcy court’s power to
disallow, reduce, subordinate or disenfranchise particular claims. Such companies’ securities may be
considered speculative, and the ability of such companies to pay their debts on schedule could be
affected by adverse interest rate movements, changes in the general economic climate, economic
factors affecting a particular industry or specific developments within such companies. In addition,
there is no minimum credit standard that is a prerequisite to the Master Fund’s investment in any
instrument, and a significant portion of the obligations and securities in which the Master Fund invests
may be less than investment grade. The level of analytical sophistication, both financial and legal,
necessary for successful investment in companies experiencing significant business and financial
difficulties is unusually high. There is no assurance that the Investment Manager will correctly
evaluate the value of the assets collateralizing the Master Fund’s loans or the prospects for a successful
reorganization or similar action. In any reorganization or liquidation proceeding relating to a company
in which the Master Fund invests, the Master Fund may lose its entire investment, may be required to
accept cash or securities with a value less than the Master Fund’s original investment and/or may be
required to accept payment over an extended period of time. Under such circumstances, the returns
generated from the Master Fund’s investments may not compensate the investors adequately for the
risks assumed.

        In liquidation (both in and out of bankruptcy) and other forms of corporate reorganization, there
exists the risk that the reorganization either will be unsuccessful (due to, for example, failure to obtain
requisite approvals), will be delayed (for example, until various liabilities, actual or contingent, have
been satisfied) or will result in a distribution of cash or a new security the value of which will be less
than the purchase price to the Master Fund of the security in respect to which such distribution was
made.

        Troubled Origination. The investments chosen by the Investment Manager may have been
originated by financial institutions or other entities that are, or may in the future be, insolvent, in
serious financial difficulty, or no longer in existence. As a result, the standards by which such
investments were originated, the recourse to the selling institution, or the standards by which such
investments are being serviced or operated may be adversely affected.

        Issuer Default Risk; Negative Loan Performance. There are varying sources of statistical
default and recovery rate data for commercial loans and numerous methods for measuring default and
recovery rates. The levels of defaults and delinquencies with respect to loans have been increasing, and
slowing economic activity continues to contribute to a decline in overall credit quality. The historical
performance of the loan market is not necessarily indicative of its future performance, and there is no
way to determine whether such trends in the credit markets will improve or worsen in the future.

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        A substantial portion of the Master Fund’s income is expected to be derived, directly or
indirectly, from repayments of principal and interest received in respect of debt securities. A wide
range of factors may adversely affect an obligor’s ability to make repayments, including: adverse
changes in the financial condition of such obligor or the industries or regions in which it operates; the
obligor’s exposure to counterparty risk; systemic risk in the financial system and settlement; changes
in law or taxation; changes in governmental regulations or other policies; natural disasters; terrorism;
social unrest, civil disturbances; or general economic conditions. Default rates tend to accelerate
during economic downturns. A continuing decreased ability of borrowers to obtain refinancing may
result in a further economic decline that could delay an economic recovery and cause a further
deterioration in loan performance generally.

         To the extent the Master Fund invests in debt securities secured by collateral, there can be no
assurance that the liquidation of any collateral securing any of the Master Fund’s investments would
satisfy the borrower’s obligation in the event of non-payment of scheduled interest or principal
payments, or that the collateral could be readily liquidated. In the event of bankruptcy or insolvency of
a borrower, the Master Fund could experience delays or limitations with respect to its ability to realize
the benefits of the collateral securing such investment. The collateral securing an investment may lose
all or substantially all of its value in the event of the bankruptcy or insolvency of a borrower.

        Any defaults will have a negative impact on the value of the Master Fund’s investments and
may reduce the return that such Master Fund receives from its investments in certain circumstances.
While some amount of defaults is expected to occur in the Master Fund’s portfolio, in the event that
the Master Fund elects to apply leverage to an investment, defaults in or declines in the value of the
portfolio investments in excess of these expected amounts may result in breaches of covenants under
applicable financing arrangements, triggering credit enhancement requirements or accelerated
repayment provisions and, if not cured within the relevant grace periods, permitting the finance
provider to enforce its security over all the assets of the Master Fund.

        In the case of debt ranking equally with the loans or debt securities in which the Master Fund
invests, the Master Fund would have to share on an equal basis any distributions with other creditors
holding such debt in the event of an insolvency, liquidation, dissolution, reorganization or bankruptcy
of the relevant company’s debt securities. Each jurisdiction in which the Master Fund invests has its
own insolvency laws. As a result, investments in similarly situated companies in different jurisdictions
may confer different rights in the event of insolvency.

        Post-Reorganization Securities. The Master Fund will hold debt and equity of companies as a
result of the recapitalization or restructuring of debt obligations. Investments in the debt or equity of
companies involved in reorganization proceedings typically entail a number of risks that do not
normally apply to investments in financially sound companies. For example, if the Investment
Manager’s evaluation of the anticipated outcome of a reorganization or the timing of such outcome
should prove incorrect, the Master Fund could experience losses. Moreover, post-reorganization
securities can be subject to heavy selling or downward pricing pressure after the completion of a
bankruptcy reorganization or restructuring. A wide variety of considerations make any evaluation of
the outcome of an investment in such a company uncertain. Such considerations include, for example,
the possibility of litigation between the participants in a reorganization or liquidation proceeding or a
requirement to obtain mandatory or discretionary consents from various governmental authorities or
others. The uncertainties inherent in evaluating such investments may be increased by legal and
practical considerations which limit the access of the Investment Manager to reliable and timely
information concerning material developments affecting a company, or which cause lengthy delays in
the completion of a reorganization or liquidation proceeding. Competition from other investors may
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also render it difficult or impossible for the Master Fund to achieve intended results or promptly effect
transactions.

        Insolvency and Enforceability of Security. The Master Fund’s investments may be secured by
mortgages, charges, pledges, liens or other security interests. Depending on the jurisdiction in which
such security interests are created, enforcement of such security interests may be a complicated and
difficult process. For example, enforcement of security interests in certain jurisdictions may require a
court order and a sale of the secured property through public bidding or auction. In addition, some
jurisdictions grant courts the power to declare security interest arrangements to be void if they deem
the security interest to be excessive.

       Risks Associated with Bankruptcy Cases. Many of the events within a bankruptcy case are
adversarial and often beyond the control of the creditors. While creditors generally are afforded an
opportunity to object to significant actions, there can be no assurance that a bankruptcy court would
not approve actions which may be contrary to the interests of the Master Fund. Furthermore, there are
instances where creditors and equity holders lose their ranking and priority as such if they are
considered to have taken over management and functional operating control of a debtor.

         Generally, the duration of a bankruptcy case can only be roughly estimated. The reorganization
of a company usually involves the development and negotiation of a plan of reorganization, plan
approval by creditors and confirmation by the bankruptcy court. This process can involve substantial
legal, professional and administrative costs to the company and the Master Fund; it is subject to
unpredictable and lengthy delays; and during the process the company’s competitive position may
erode, key management may depart and the company may not be able to invest adequately. In some
cases, the company may not be able to reorganize and may be required to liquidate assets. Although
the Master Fund intends to invest primarily in debt, the debt of companies in financial reorganization
will, in most cases, not pay current interest, may not accrue interest during reorganization and may be
adversely affected by an erosion of the issuer’s fundamental value. Such investments can result in a
total loss of principal.

        U.S. bankruptcy law permits the classification of “substantially similar” claims in determining
the classification of claims in a reorganization for purpose of voting on a plan of reorganization.
Because the standard for classification is vague, there exists a significant risk that the Master Fund’s
influence with respect to a class of securities can be lost by the inflation of the number and the amount
of claims in, or other gerrymandering of, the class. In addition, certain administrative costs and claims
that have priority by law over the claims of certain creditors (for example, claims for taxes) may be
quite high.

        Furthermore, there are instances where creditors and equity holders lose their ranking and
priority as such when they take over management and functional operating control of a debtor. In
those cases where the Master Fund, by virtue of such action, is found to exercise “domination and
control” of a debtor, the Master Fund may lose its priority if the debtor can demonstrate that its
business was adversely impacted or other creditors and equity holders were harmed by the Master
Fund.

        The Master Fund may invest in companies based outside the United States. Investment in the
debt of financially distressed companies domiciled outside the United States involves additional risks.
Bankruptcy law and process may differ substantially from that in the United States, resulting in greater
uncertainty as to the rights of creditors, the enforceability of such rights, reorganization timing and the

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classification, seniority and treatment of claims. In certain developing countries, although bankruptcy
laws have been enacted, the process for reorganization remains highly uncertain.

        The Investment Manager, on behalf of the Master Fund, may elect to serve on creditors’
committees, equity holders’ committees or other groups to ensure preservation of the Master Fund’s
position as a creditor or equity holder. A member of any such committee or group may owe certain
obligations generally to all parties similarly situated that the committee represents. If the Investment
Manager concludes that its obligations owed to the other parties as a committee or group member
conflict with its duties owed to the Master Fund, it will resign from that committee or group, and the
Master Fund may not realize the benefits, if any, of participation on the committee or group. In
addition, and also as discussed above, if the Master Fund is represented on a committee or group, it
may be restricted or prohibited under applicable law from disposing of or increasing its investments in
such company while it continues to be represented on such committee or group.

       The Master Fund may purchase creditor claims subsequent to the commencement of a
bankruptcy case. Under judicial decisions, it is possible that such purchase may be disallowed by the
bankruptcy court if the court determines that the purchaser has taken unfair advantage of an
unsophisticated seller, which may result in the rescission of the transaction (presumably at the original
purchase price) or forfeiture by the purchaser.

        Equitable Subordination. Under common law principles that in some cases form the basis for
lender liability claims, if a lender (a) intentionally takes an action that results in the undercapitalization
of a borrower or issuer to the detriment of other creditors of such borrower or issuer, (b) engages in
other inequitable conduct to the detriment of such other creditors, (c) engages in fraud with respect to,
or makes misrepresentations to, such other creditors or (d) uses its influence as a stockholder to
dominate or control a borrower or issuer to the detriment of other creditors of such borrower or issuer,
a court may elect to subordinate the claim of the offending lender or bondholder to the claims of the
disadvantaged creditor or creditors (a remedy called “equitable subordination”). The Master Fund
does not intend to engage in conduct that would form the basis for a successful cause of action based
upon the equitable subordination doctrine; however, because of the nature of the debt obligations, the
Master Fund may be subject to claims from creditors of an obligor that debt obligations of such obligor
which are held by the issuer should be equitably subordinated.

         Liability Following the Disposal of Investments. While the Master Fund may hold certain of its
investments to maturity, the Master Fund may dispose of investments in some circumstances prior to
termination and, in connection therewith, may be required to pay damages to the extent that any
representations or warranties given in connection with such investments turn out to be inaccurate. The
Master Fund may become involved in disputes or litigation concerning such representations and
warranties and may be required to make payments to third parties as a result of such disputes or
litigation. In the event the Master Fund does not have cash available to conduct such litigation or
make such payments, it may be forced to sell investments to obtain funds. Such sales may be effected
on unsatisfactory terms.

        Potential Involvement in Litigation. In the event that the Master Fund holds investments in
distressed investments, there is a possibility that the Investment Manager may participate in
restructuring activities, it is possible that the Master Fund may become involved in litigation respecting
creditor disputes and similar issues among classes of claimants. Litigation entails expense and the
possibility of counterclaims against the Master Fund including the Master Fund GP and the Investment
Manager and ultimately judgments may be rendered against the Master Fund for which the Master
Fund does not carry insurance.
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        Directorships on Boards of Portfolio Companies. The Principal and other members and
employees of the Investment Manager or its designees may serve as directors of companies the
securities of which are purchased or sold on behalf of the Master Fund and may be compensated for
such service. In the event that material non-public information obtained with respect to such
companies becomes subject to trading restrictions pursuant to the internal trading policies of such
companies or as a result of applicable law or regulations, the Master Fund may be prohibited for a
period of time from purchasing or selling the securities of such companies, which prohibition may
have an adverse effect on the Master Fund.

        Material, Nonpublic Information. From time to time, certain personnel of the Investment
Manager may come into possession of material, nonpublic information (including in connection with
other investments or proposed investments not intended to benefit the Master Fund) that would limit
the Investment Manager’s ability to buy and sell investments. The Master Fund’s investment
flexibility may be constrained as a consequence of the Investment Manager’s inability to take certain
actions because of such information. The Master Fund may experience losses if it is unable to sell an
investment that it holds because certain personnel of the Investment Manager have obtained material,
nonpublic information about such investment.

        Investments in Structured Products: The Master Fund may invest in securities backed by, or
representing interests in, certain underlying instruments (“Structured Products”). The cash flow on
the underlying instruments may be apportioned among the Structured Products to create securities with
different investment characteristics such as varying maturities, payment priorities and interest rate
provisions, and the extent of the payments made with respect to the Structured Products is dependent
on the extent of the cash flow on the underlying instruments. The Master Fund may invest in
Structured Products that represent derived investment positions based on relationships among different
markets or asset classes.

        The performance of a Structured Product will be affected by a variety of factors, including its
priority in the capital structure of the issuer, the availability of any credit enhancement, the level and
timing of payments and recoveries on and the characteristics of the underlying receivables, loans or
other assets that are being securitized, remoteness of those assets from the originator or transferor, the
adequacy of and ability to realize upon any related collateral and the capability of the servicer of the
securitized assets.

          Investments in Collateralized Loan Obligations. The Master Fund may look to invest in CLOs
diversified across maturities, underlying assets, tranches (debt, mezzanine and equity) and managers.
In addition to implementing its investment process and utilizing proprietary analytical tools to evaluate
and select investments for the Master Fund, the Investment Manager uses its market knowledge and
industry position to add value by addressing what it believes are material inefficiencies of the existing
CLO execution process. For example, within the primary new issuance market the Investment
Manager will look to invest in CLOs where it can leverage its expertise and market relationships to
achieve the timing, structural and financial terms especially advantageous to the Investment Manager’s
investments. In addition, the Investment Manager will look to assess value dislocations of CLO and
other structured investments within the secondary market, as the Investment Manager believes
structured products markets have inherent inefficiencies which often cause significant differentials
between intrinsic value and market value. Such inefficiencies are typically driven by factors such as
(i) little secondary market liquidity, (ii) complex valuation requirements for both underlying collateral
as well as derivative instruments, and (iii) explosive growth of the market.


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        Short-Swing Liability and Other Limitations. From time to time, the Master Fund, acting alone
or as part of a group, may acquire beneficial ownership of more than 10% of a certain class of
securities of a public company, or may place a director on the board of directors of such a company.
As a result, under Section 16 of the Securities Exchange Act of 1934, as amended, the Master Fund
may be subject to certain additional reporting requirements and may be required to disgorge certain
short-swing profits arising from purchases and sales of such securities. In addition, in such
circumstances the Master Fund will be prohibited from entering into a short position in such issuer’s
securities, and therefore limited in its ability to hedge such investments.

        Fixed Interest Rate Risk. The value of the fixed rate securities in which the Master Fund may
invest generally will have an inverse relationship with interest rates. Accordingly, if interest rates rise
the value of such securities may decline. In addition, to the extent that the receivables or loans
underlying specific securities are prepayable without penalty or premium, the value of such securities
may be negatively affected by increasing prepayments, which generally occur when interest rates
decline.

        Other Instruments. The Master Fund may take advantage of opportunities with respect to
certain other instruments that are not presently contemplated for use or that are currently not available,
but that may be developed, to the extent such opportunities are both consistent with the investment
objective of the Master Fund and legally permissible. Special risks may apply to instruments that are
invested in by the Master Fund in the future that cannot be determined at this time or until such
instruments are developed or invested in by the Master Fund.

       Long-Biased Investment Program. The Master Fund expects that its strategy will have a long
bias. Therefore, any decline in the overall market may result in a decline in the value of the Master
Fund’s assets.

Certain Regulatory Risks

        Regulatory Risks of Commingled Loan Funds. Legal, tax and regulatory changes could occur
that may adversely affect the Fund. The regulatory environment for commingled loan funds is
evolving and changes in the regulation of such funds may adversely affect the value of investments
held by the Master Fund. In addition, the securities markets are subject to comprehensive statutes,
regulations and margin requirements. The United States Securities and Exchange Commission, other
regulators and self-regulatory organizations and exchanges are authorized to take extraordinary actions
in the event of market emergencies. The effect of any future regulatory change on the Fund could be
substantial and adverse.

         The Fund and/or the Investment Manager also may be subject to regulation in jurisdictions in
which the Fund and the Investment Manager engage in business. Investors should understand that the
Fund’s business is dynamic and is expected to change over time. Therefore, the Fund may be subject
to new or additional regulatory constraints in the future. This Memorandum cannot address or
anticipate every possible current or future regulation that may affect the Investment Manager, the Fund
or their businesses. Such regulations may have a significant impact on shareholders or the operations
of the Fund, including, without limitation, restricting the types of investments the Fund may make,
preventing the Fund from exercising its voting rights with regard to certain financial instruments,
requiring the Fund to disclose the identity of its investors or otherwise. The Investment Manager may,
in its sole discretion, cause the Fund to be subject to such regulations if it believes that an investment
or business activity is in the Fund’s interest, even if such regulations may have a detrimental effect on

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one or more shareholders. Prospective investors are encouraged to consult their own advisors
regarding an investment in the Fund.

        Absence of Regulatory Oversight. While the Fund may be considered similar to an investment
company, it is not required and does not intend to register as such under the U.S. Investment Company
Act of 1940, as amended (the “Company Act”), and, accordingly, the provisions of the Company Act
(which may provide certain regulatory safeguards to investors) are not applicable to investors in the
Fund. The Fund will not maintain custody of its securities or place its securities in the custody of a
bank or a member of a national securities exchange in the manner required of registered investment
companies under rules promulgated by the SEC. A registered investment company which places its
securities in the custody of a member of a national securities exchange is required to have a written
custodian agreement, which provides that securities held in custody will be at all times individually
segregated from the securities of any other person and marked to clearly identify such securities as the
property of such investment company, and which contains other provisions complying with SEC
regulations. The Fund generally will maintain such accounts at brokerage firms that do not separately
segregate such assets as would be required in the case of registered investment companies. Under the
provisions of the Securities Investor Protection Act of 1970, as amended, the bankruptcy of any such
brokerage firm might have a greater adverse effect on the Fund than would be the case if the accounts
were maintained to meet the requirements applicable to registered investment companies.

         Forward-Looking Statements. Certain statements contained in this Memorandum, including
without limitation, statements containing the words “believes,” “anticipates,” “intends,” “expects,” and
words of similar import constitute “forward-looking statements.” Such forward-looking statements
involve known and unknown risks, uncertainties and other factors that may cause the actual results,
performance or achievements of the Fund to be materially different from any future results,
performance or achievements expressed or implied by such forward-looking statements. Certain of
these factors are discussed in more detail elsewhere in this Memorandum, including without limitation
under “Summary of Terms,” “Certain Risk Factors,” and “Investment Program.” Given these
uncertainties, prospective investors are cautioned not to place undue reliance on such forward-looking
statements. The Investment Manager and the Fund disclaim any obligation to update any such factors
or to announce the result of any revisions to any of the forward-looking statements contained herein to
reflect future events or developments.

        Impact of U.S. Presidential Election. On January 20, 2017, Donald Trump became President of
the United States of America. President Trump and other members of the Republican Party have
proposed to reverse some of the recent regulation of the financial industry and to change tax policy. If
some of these proposals were enacted, banks could dramatically increase their lending practices and
accept additional types of collateral, borrowers could reduce their demand for debt financing, certain
investment advisers could de-register with SEC and portfolio companies that are net importers or hold
significant assets outside of the United States could be subject to increased tax liability. The effect of
any such regulatory or tax changes on the Master Fund and the markets in which it trades and invests is
uncertain.

        Evolving Regulatory Risks of Private Investment Funds. The regulatory environment for
private investment funds is evolving, and changes in the regulation of private investment funds and
their advisers may adversely affect the value of investments held by the Master Fund.

        Dodd-Frank, which was enacted in July 2010, regulates markets, market participants and
financial instruments that were historically unregulated and has substantially altered the regulation of
many other markets, market participants and financial instruments. Certain provisions of Dodd-Frank
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subject registered investment advisers to requirements to keep records and to report information to the
SEC, which could in turn be supplied to the Board of Governors of the Federal Reserve, a new
Financial Services Oversight Council or other U.S. governmental agencies or Congress. Under Dodd-
Frank, the information includes, among other things, the amount of assets under management, use of
leverage (including off-balance sheet leverage), counterparty credit risk exposures, trading and
investment positions, and trading practices. All such records are subject to examination by the SEC at
any time. It is anticipated that there may be significant changes to the financial regulatory
environment as a result of the outcome of the recent U.S. elections. There is currently pending
legislation in U.S. Congress which if enacted would result in the repeal of portions of Dodd-Frank
which in turn would have a significant impact on the regulatory environment for private investment
funds. In addition, the impact of the legislation on current and future rulemaking by various regulators
under Dodd-Frank is difficult to predict. It is possible that rules that have been proposed by various
regulators, which had been anticipated to take effect previously, may no longer be implemented in their
proposed form or at all. Further, there may also be substantial changes in the enforcement and
interpretation of existing statutes and rules by governmental regulatory authorities or self-regulatory
organizations that supervise the financial markets. The effect of future regulatory change on the Fund
and the Master Fund and their operations is uncertain. Prospective investors should seek, and must rely
on, the advice of their own advisers with respect to the possible impact on its investment of any future
proposed legislation or administrative or judicial action.

        Enhanced Regulation of Swaps. The recently enacted Wall Street Transparency and
Accountability Act of 2010 (the “WSTAA”) will, subject to exceptions for certain hedgers, (1) require
swaps accepted for clearing by a derivatives clearing organization (a “DCO”) or for trading through a
designated contract market or swaps-execution facility to be so cleared and traded, (2) require margin
for almost all swap transactions, (3) subject traders with a “substantial position” in swaps to
registration and regulation requirements as a “major swap participant” or “swap dealer” and (4) impose
position limits on swaps either individually or in the aggregate with respect to positions in commodity-
futures contracts. Due to the new requirements imposed by the WSTAA, the Master Fund may
experience increased transaction costs to pay for the clearing, execution and segregation obligations.
In addition, margin requirements may increase once margin is set by DCOs with input from the CFTC,
which may limit the Master Fund’s ability to engage in leverage and limit the Master Fund’s return.
The application of position limits to swap contracts may also limit the Master Fund’s ability to
concentrate in any particular contract or exposure to an underlying commodity and may negatively
impact the Master Fund’s ability to take advantage of current market trends or conditions. Any
tightening in the market for swaps may significantly impact the Master Fund and its returns. In
addition, if the Master Fund were deemed to be a swap dealer or a major swap participant under
WSTAA, the Master Fund may be required to register with the CFTC and would be subject to a
number of regulatory requirements that would significantly impact the Master Fund’s legal obligations
and its returns.

        Contagion Risk Factor. The Fund has the power to issue Shares in classes or series. The
Articles provide for the manner in which the liabilities are to be attributed across the various classes or
series (liabilities are to be attributed to the specific class or series in respect of which the liability was
incurred). However, the Fund is a single legal entity and there is no limited recourse protection for any
class or series. Accordingly, all of the assets of the Fund will be available to meet all of its liabilities
regardless of the class or series to which such assets or liabilities are attributable. In practice, cross-
class or cross-series liability is only expected to arise where liabilities referable to one class or series
are in excess of the assets referable to such class or series and it is unable to meet all liabilities
attributed to it. In such a case, the assets of the Fund attributable to other classes or series may be

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applied to cover such liability excess and the value of the contributing classes or series will be reduced
as a result.

        Handling of mail. Mail addressed to the Fund and/or the Master Fund and received at its
registered office will be forwarded unopened to the forwarding address supplied by the Investment
Manager to be dealt with. None of the Fund and/or the Master Fund, its directors, officers, advisors or
service providers (including the organization which provides registered office services in the Cayman
Islands) will bear any responsibility for any delay howsoever caused in mail reaching the forwarding
address. In particular the Directors will only receive, open or deal directly with mail which is
addressed to them personally (as opposed to mail which is addressed just to the Fund and/or the Master
Fund).

        Subscription Monies. Where a subscription for Shares is accepted, the Shares will be treated as
having been issued with effect from the relevant subscription date notwithstanding that the subscriber
for those Shares may not be entered in the Fund’s register of members until after the relevant
subscription date. The subscription monies paid by a subscriber for Shares will accordingly be subject
to investment risk in the Fund from the relevant subscription date.

Tax Related Risks

        Uncertainty and Complexity of Tax Treatment. The tax aspects of an investment in the Fund
are complicated and complex and, in many cases, uncertain. Statutory provisions and administrative
regulations have been interpreted inconsistently by the courts. Additionally, some statutory provisions
remain to be interpreted by administrative regulations. Investors will thus be subject to the risk caused
by the uncertainty of the tax consequences with respect to an investment in the Fund. Each prospective
investor should have the tax aspects of an investment in the Fund reviewed by professional advisors
familiar with such investor’s personal tax situation and with the tax laws and regulations applicable to
the investor and private investment vehicles. Prospective investors are strongly urged to review the
discussion below under “Tax Considerations” and “ERISA and Other Regulatory Considerations” for a
more complete discussion of certain of the tax risks inherent in the acquisition of Shares and to consult
their own independent tax advisors.

        Risk of Adverse Determination. There can be no assurance that the conclusions set forth in this
Memorandum will not be challenged successfully by the U.S. Internal Revenue Service (the “Service”)
or other applicable taxing authority, or significantly modified by new legislation, changes in a taxing
authority’s positions, or court decisions. The Fund has not applied for, nor does it expect to apply for,
any advance rulings from the Service with respect to any of the U.S. federal income tax consequences
described in this Memorandum. No representation or warranty of any kind is made by the Fund or the
Investment Manager with respect to the U.S. federal income tax consequences relating to an
investment in the Fund. The Master Fund may take positions with respect to certain tax issues which
depend on legal conclusions not yet resolved by the courts or other applicable taxing authority. Should
any such positions be successfully challenged by the Service or other applicable taxing authority, there
could be a materially adverse effect on the Master Fund and consequently, the Fund.

        Tax Audit. An audit of the Fund by the Service or another taxing authority could result in
adjustments to the tax consequences initially reported by the Fund, which examination could affect the
after-tax returns of a shareholder’s investment in the Fund. If such audit adjustments result in an
increase in the Fund’s U.S. federal income tax liability for any year, the Fund may also be liable for
interest and penalties with respect to the amount of underpayment. The legal and accounting costs
incurred in connection with any audit of the Fund’s tax returns will be borne by the Fund.
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        Tax Considerations Taken into Account. The Investment Manager may take tax considerations
into account in determining when the Master Fund’s investments should be sold or otherwise disposed
of, and may assume certain market risk and incur certain expenses in this regard to achieve favorable
tax treatment of a transaction.

        Tax-Exempt Entities. Certain prospective investors that are tax-exempt for U.S. income tax
purposes may be subject to U.S. federal and state laws, rules and regulations that regulate their
participation in the Fund, or their engaging directly or indirectly through an investment in the Fund, in
certain investment strategies that the Master Fund may utilize from time-to-time (e.g., short-sales of
securities and the use of leverage, the purchase and sale of options and limited diversification). While
the Fund believes its investment program is generally appropriate for U.S. tax-exempt investors for
which an investment in the Fund would otherwise be suitable, each type of tax-exempt organization
may be subject to different laws, rules and regulations, and prospective investors should consult with
their own advisers as to the advisability and tax consequences of an investment in the Fund.
Investments in the Fund by entities subject to ERISA, and other tax-exempt entities, require special
consideration. Trustees or administrators of such entities are urged to review carefully the matters
discussed in this Memorandum.

        Non-U.S. Taxation. With respect to certain countries, there is a possibility of expropriation,
confiscatory taxation, imposition of withholding or other taxes on dividends, interest, capital gains or
other income, limitations on the removal of funds or other assets of the Master Fund, political or social
instability or diplomatic developments that could affect investments in those countries. An issuer of
securities may be domiciled in a country other than the country in whose currency the instrument is
denominated. The values and relative yields of investments in the securities markets of different
countries, and their associated risks, are expected to change independently of each other.

       Shareholder Level Taxation. Tax consequences to each shareholder will depend on tax laws in
that shareholder’s jurisdiction. Shareholders should consult their professional advisors as to the
possible tax consequences of subscribing for, buying, holding, selling, transferring or redeeming
Shares under the laws of their country of citizenship, residence or domicile.

        Tax Changes. Investors will be subject to the risk that changes to the tax law may adversely
affect the federal income tax consequences of their investment in the Fund. Changes in existing tax
laws or regulations and their interpretation may be enacted after the date of this Memorandum,
possibly with retroactive effect, and could alter the income tax consequences of an investment in the
Fund. Certain provisions of the U.S. Internal Revenue Code of 1986, as amended (the “Code”), may
be further amended or interpreted in a manner adverse to the Fund or the Master Fund, in which event
any benefits derived from an investment in the Fund may be adversely affected. In addition,
significant legislative and budgetary proposals affecting tax laws have been made by the legislative
and executive branches of the U.S. federal government. The likelihood of enactment of any such
proposals, or any similar proposals, into law is uncertain. The enactment of any such proposals,
including subsequent proposals, into law could have material adverse effects on the Fund and/or its
shareholders. Enactment of such legislation, or similar legislation, could require significant
restructuring of the Fund in order to mitigate such effects.

        Recently Enacted Tax Reform Legislation. Recently enacted H.R. 1 (Pub. L. No. 115-97)
makes significant changes to the rules potentially applicable to the Fund and/or its investors. Certain of
these new rules are complex and, pending guidance that may be forthcoming, the impact on the Fund
and its investors may be unclear. Prospective investors should consult their own tax advisers regarding
potential changes in any tax laws, potentially with retroactive effect.
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        The foregoing list of risk factors does not purport to be a complete enumeration or explanation
of the risks involved in an investment in the Fund. Prospective investors should read this entire
Memorandum and consult with their own advisers before deciding to invest in the Fund. In addition,
as the investment program of the Fund develops and changes over time, an investment in the Fund may
be subject to additional and different risk factors. No assurance can be made that profits will be
achieved or that substantial losses will not be incurred.

      In view of the foregoing considerations, an investment in Shares is suitable only for investors
who are capable of bearing the relevant investment risks.

Potential Conflicts of Interest

        Given the nature and size of Highland Capital Management, L.P.’s (“Highland Capital”)
operations, various potential conflicts of interest arise in connection with its advisory services and the
advisory services provided by its affiliates. Information about Highland Capital and its potential
conflicts of interest is provided in Highland Capital’s Form ADV Part 2 Brochure that can be found by
going to https://adviserinfo.sec.gov/IAPD/Default.aspx, searching by firm name and selecting the Part
2 Brochure to be viewed. The Fund is subject to these conflicts of interest, as well as the other items
discussed below.

       None of the Investment Manager, its affiliates and their respective officers, directors,
shareholders, members, partners, personnel and employees (collectively, the “Highland Group”) is
precluded from engaging in or owning an interest in other business ventures or investment activities of
any kind, whether or not such ventures are competitive with the Fund or the Master Fund. The
Investment Manager is permitted to manage other client accounts, and does manage other client
accounts, some of which may have objectives similar or identical to those of the Master Fund,
including other collective investment vehicles that may be managed by the Highland Group and in
which the Investment Manager or any of its affiliates may have an equity interest.

         The Fund will be subject to a number of actual and potential conflicts of interest involving the
Highland Group including, among other things, the fact that: (i) the Highland Group conducts
substantial investment activities for accounts, funds, collateralized debt obligations that invest in
leveraged loans (collectively, “CDOs”) and other vehicles managed by members of the Highland
Group (“Highland Accounts”) in which the Fund has no interest; (ii) the Highland Group advises
Highland Accounts, which utilize the same, similar or different methodologies as the Fund and may
have financial incentives (including, without limitation, as it relates to the composition of investors in
such funds and accounts or to the Highland Group’s compensation arrangements) to favor certain
Highland Accounts over the Fund and the Master Fund; (iii) the Highland Group may use the strategy
described herein in certain Highland Accounts; (iv) the Investment Manager may give advice and
recommend securities to, or buy or sell securities for, the Master Fund, which advice or securities may
differ from advice given to, or securities recommended or bought or sold for, Highland Accounts; (v)
the Investment Manager has the discretion, to the extent permitted under applicable law, to use its
affiliates as service providers to the Fund and the Master Fund and the Master Fund’s portfolio
investments; (vi) certain investors affiliated with the Highland Group may choose to personally invest
only in certain funds advised by the Highland Group and the amounts invested by them in such funds
is expected to vary significantly; (vii) the Highland Group and Highland Accounts may actively
engage in transactions in the same securities sought by the Master Fund and, therefore, may compete
with the Master Fund for investment opportunities or may hold positions opposite to positions
maintained on behalf of the Master Fund; and (viii) the Investment Manager will devote to the Master

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Fund and the Fund only as much time as the Investment Manager deems necessary and appropriate to
manage the Master Fund’s and the Fund’s business.

       The Investment Manager undertakes to resolve conflicts in a fair and equitable basis, which in
some instances may mean a resolution that would not maximize the benefit to the Fund’s investors.

Allocation of Trading Opportunities

         It is the policy of the Investment Manager to allocate investment opportunities fairly and
equitably over time. This means that such opportunities will be allocated among those accounts for
which participation in the respective opportunity is considered appropriate, taking into account, among
other considerations: (i) fiduciary duties owed to the accounts; (ii) the primary mandate of the
accounts; (iii) the capital available to the accounts; (iv) any restrictions on the accounts and the
investment opportunity; (v) the sourcing of the investment, size of the investment and amount of
follow-on available related to the investment; (vi) whether the risk-return profile of the proposed
investment is consistent with the account’s objectives and program, whether such objectives are
considered in light of the specific investment under consideration or in the context of the portfolio’s
overall holdings; (vii) the potential for the proposed investment to create an imbalance in the account’s
portfolio (taking into account expected inflows and outflows of capital); (viii) liquidity requirements of
the account; (ix) potentially adverse tax consequences; (x) regulatory and other restrictions that would
or could limit an account’s ability to participate in a proposed investment; and (xi) the need to re-size
risk in the account’s portfolio.

        The Investment Manager has the authority to allocate trades to multiple Highland Accounts on
an average price basis or on another basis it deems fair and equitable. Similarly, if an order on behalf
of any accounts cannot be fully allocated under prevailing market conditions, the Investment Manager
may allocate the trades among different accounts on a basis it considers fair and equitable over time.
One or more of the foregoing considerations may (and are often expected to) result in allocations
among the Master Fund and one or more Highland Accounts on other than a pari passu basis. The
Investment Manager will allocate investment opportunities across its accounts for which the
opportunities are appropriate, consistent with (i) its internal conflict of interest and allocation policies
and (ii) the requirements of the Investment Advisers Act of 1940, as amended. The Investment
Manager will seek to allocate investment opportunities among such entities in a manner that is fair and
equitable over time and consistent with its allocation policy, a copy of which will be provided upon
request. However, there is no assurance that such investment opportunities will be allocated to the
Master Fund fairly or equitably in the short-term or over time and there can be no assurance that the
Master Fund will be able to participate in all investment opportunities that are suitable for it

        The Investment Manager may open “average price” accounts with brokers. In an “average
price” account, purchase and sale orders placed during a trading day on behalf of the Investment
Manager, the Master Fund and other accounts managed by the Investment Manager are combined, and
securities bought and sold pursuant to such orders are allocated among such accounts on an average
price basis.

Cross Transactions and Principal Transactions

        As further described below, the Investment Manager may effect client cross-transactions where
the Investment Manager causes a transaction to be effected between the Master Fund and another
client advised by it or any of its affiliates. The Investment Manager may engage in a client cross-
transaction involving the Master Fund any time that the Investment Manager believes such transaction
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to be fair to the Master Fund and such other client. By subscribing for an Interest, a Limited Partner is
deemed to have consented to such client cross-transactions between the Master Fund and another client
of the Investment Manager or one of its affiliates.

        The Investment Manager may direct the Master Fund to acquire or dispose of securities in cross
trades between the Master Fund and other clients of the Investment Manager or its affiliates in
accordance with applicable legal and regulatory requirements. In addition, the Master Fund may invest
in securities of obligors or issuers in which the Investment Manager and/or its affiliates have a debt,
equity or participation interest, and the holding and sale of such investments by the Master Fund may
enhance the profitability of the Investment Manager’s own investments in such companies. Moreover,
the Master Fund may invest in assets originated by the Investment Manager or its affiliates. In each
such case, the Investment Manager and such affiliates may have a potentially conflicting division of
loyalties and responsibilities regarding the Master Fund and the other parties to such trade. Under
certain circumstances, the Investment Manager and its affiliates may determine that it is appropriate to
avoid such conflicts by selling a security at a fair value that has been calculated pursuant to the
Investment Manager’s valuation procedures to another client managed or advised by the Investment
Manager or such affiliates. In addition, the Investment Manager may enter into agency cross-
transactions where it or any of its affiliates acts as broker for the Master Fund and for the other party to
the transaction, to the extent permitted under applicable law.

       The Principal, as well as the employees and officers of the Investment Manager and of
organizations affiliated with the Investment Manager, may buy and sell securities for their own
account or the account of others, but may not buy securities from or sell securities to the Master Fund
(such prohibition does not extend to the purchase or sale of Interests in the Fund), unless appropriate
approval of the Advisory Committee is obtained and such purchase or sale is in compliance with the
applicable provisions of the Investment Advisers Act of 1940, as amended.

Conflicts Relating to Equity and Debt Ownership by the Master Fund and Affiliates

        In certain circumstances, the Master Fund and other client accounts may invest in securities or
other instruments of the same issuer (or affiliated group of issuers) having a different seniority in the
issuer’s capital structure. If the issuer becomes insolvent, restructures or suffers financial distress,
there may be a conflict between the interests in the Master Fund and those other accounts insofar as the
issuer may be unable (or in the case of a restructuring prior to bankruptcy may be expected to be
unable) to satisfy the claims of all classes of its creditors and security holders and the Master Fund and
such other accounts may have competing claims for the remaining assets of such issuers. Under these
circumstances it may not be feasible for the Investment Manager to reconcile the conflicting interests
in the Master Fund and such other accounts in a way that protects the Master Fund’s interests.
Additionally, the Investment Manager or its nominees may in the future hold board or creditors’
committee memberships which may require them to vote or take other actions in such capacities that
might be conflicting with respect to certain funds managed by the Investment Manager in that such
votes or actions may favor the interests of one account over another account. Furthermore, the
Investment Manager’s fiduciary responsibilities in these capacities might conflict with the best
interests of the investors.

Affiliated Entity Services

       Affiliated entities of the Investment Manager may provide services with respect to the
Investment Manager, the Master Fund or the Fund. NexBank, SSB (“NexBank SSB”) is an affiliate of
the Investment Manager and may, from time to time, provide banking and/or agency services to the
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Investment Manager, clients of the Investment Manager or collective investment vehicles for which the
Investment Manager provides investment advisory services (including the Fund, the Master Fund and
other vehicles in which the Fund (through the Master Fund) may invest) or third parties engaged in
transactions involving the Investment Manager. NexBank SSB may also act as an agent in connection
with certain securities transactions involving the Investment Manager’s client accounts (includin g the
Master Fund and other vehicles in which the Master Fund may invest). Principals of the Investment
Manager own a majority of the equity interests in NexBank SSB and employees or affiliates of the
Investment Manager own or may own a substantial equity interest in NexBank SSB. Certain Master
Fund investment transactions may be executed through NexBank Securities, Inc., an affiliate of the
Investment Manager and a registered broker-dealer.

        Additionally, the Investment Manager or affiliates of the Investment Manager, including,
without limitation, Nexbank SSB, NexBank Securities, Inc., NexBank Capital Advisors and
Governance Re, Ltd., may provide financial advisory, management, insurance, title insurance or other
services for a fee to portfolio companies in which the Master Fund may have an interest. Highland
Latin America Consulting, Ltd., an affiliate of the Investment Manager, has been engaged to provide
certain administrative and consulting services to the Investment Manager, as more fully described
below in “Management –Services Agreement.”

Management Fee

        A portion of any Management Fee may be paid to broker-dealers, placement agents or
independent third parties, other than the Investment Manager, for services provided in connection with
the solicitation of subscriptions from investors. Accordingly, investors should recognize that a
placement agent’s or distributor’s participation in this offering may be influenced by its interest in such
current or future fees and compensation. Investors should consider these potential conflicts of interest
in making their investment decisions. Each placement agent shall comply with the legal requirements
of the jurisdictions within which it offers and sells Interests.

Diverse Membership

        The Limited Partners are expected to include entities, persons, or entities organized in various
jurisdictions and subject to different tax and regulatory regimes. Such diverse investors may thus have
conflicting investment, tax and other interests, relating to, among other things, the nature of
investments made by the Master Fund, the structuring or the acquisition of investments and the timing
of disposition of investments. As a result, conflicts of interest may arise in connection with decisions
made by the Investment Manager including as to the nature and structure of investments that may be
more beneficial for one type of Limited Partner than for another type of Limited Partner, including
Limited Partners affiliated with the Investment Manager. The results of the Fund’s activities may
affect individual Limited Partners differently, depending upon their individual financial and tax
situations because, for instance, of the timing of an event of realization of gain or loss and its
characterization as long-term or short-term gain or loss. In addition, the Master Fund may make
investments that may have a negative impact on related investments made by the Limited Partners in
separate transactions. In selecting, structuring and managing investments appropriate for the Master
Fund, the Investment Manager will consider the investment and tax objectives of the Master Fund and
the Feeder Funds as a whole, not the investment, tax, or other objectives of any Limited Partner
individually. However, there can be no assurance that a result will not be more advantageous to some
Limited Partners than to others or to the Investment Manager and/or its affiliates than to a particular
Limited Partner.

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Soft Dollars

        The Investment Manager’s authority to use “soft dollar” credits generated by the Master Fund’s
securities transactions to pay for expenses that might otherwise have been borne by the Investment
Manager or the Master Fund GP may give the Investment Manager an incentive to select brokers or
dealers for Master Fund transactions, or to negotiate commission rates or other execution terms, in a
manner that takes into account the soft dollar benefits received by the Investment Manager rather than
giving exclusive consideration to the interests in the Master Fund. See “Brokerage and Custody.”

No Separate Counsel

        Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) serves as counsel to the Fund, the
Master Fund, the Investment Manager, the Master Fund GP and certain of their Affiliates (the
“Clients”) in connection with the formation of the Fund and certain other Clients, the offering of
Shares as well as certain other matters for which the Clients may engage Akin Gump from time to
time. Akin Gump disclaims any obligation to verify the Clients’ compliance with their obligations
either under applicable law or the governing documents of the Fund. In acting as counsel to the
Clients, Akin Gump has not represented and will not represent any shareholders nor does it purport to
represent their interests. No independent counsel has been retained to represent the shareholders. In
assisting in the preparation of this Memorandum, Akin Gump has relied on information provided by
the Fund, the Investment Manager and the Master Fund GP and certain of the Fund’s other service
providers (including, without limitation, the Principal’s biographical data, summaries of market
conditions, the planned investment strategy of the Master Fund and the performance of the Master
Fund, its investments or any predecessor Fund) without verification and does not express a view as to
whether such information is accurate or complete.

        Maples and Calder, PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands,
acts as Cayman Islands legal counsel to the Fund, the Master Fund and the Master Fund GP. In
connection with the offering of shares and/or interests and subsequent advice to the Fund, the Master
Fund and the Master Fund GP, Maples and Calder will not be representing shareholders and/or limited
partners. No independent legal counsel has been retained to represent the shareholders and/or limited
partners. Maples and Calder's representation of the Master Fund GP is limited to specific matters as to
which it has been consulted by the Master Fund GP. There may exist other matters that could have a
bearing on the Master Fund as to which Maples and Calder has not been consulted. In addition,
Maples and Calder does not undertake to monitor compliance by the Master Fund GP and its affiliates
with the investment program, valuation procedures and other guidelines set forth herein, nor does
Maples and Calder monitor ongoing compliance with applicable laws. In connection with the
preparation of this Memorandum, Maples and Calder's responsibility is limited to matters of Cayman
Islands law and it does not accept responsibility in relation to any other matters referred to or disclosed
in this Memorandum. In the course of advising the Master Fund GP, there are times when the interests
of the shareholders/limited partners may differ from those of the Fund, Master Fund and/or the Master
Fund GP. Maples and Calder does not represent the shareholders and/or limited partners' interests in
resolving these issues. In reviewing this Memorandum, Maples and Calder has relied upon
information furnished to it by the Master Fund GP and has not investigated or verified the accuracy
and completeness of information set forth herein concerning the Fund, Master Fund and/or the Master
Fund GP.




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Non-Public Information

        From time to time, the Investment Manager may come into possession of non-public
information concerning specific companies although internal structures are in place to prevent the
receipt of such information. Under applicable securities laws, this may limit the Investment Manager’s
flexibility to buy or sell portfolio securities issued by such companies. The Master Fund’s investment
flexibility may be constrained as a consequence of the Investment Manager’s inability to use such
information for investment purposes.

       The foregoing list of risk factors and potential conflicts of interest do not purport to be a
complete enumeration or explanation of the risks involved in an investment in the Fund. Prospective
investors should read this entire Memorandum and consult with their own legal, tax and financial
advisers before deciding to invest in the Fund.




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                                   BROKERAGE AND CUSTODY

Brokerage Arrangements

        The Investment Manager will be responsible for the placement of the portfolio transactions of
the Master Fund and the negotiation of any commissions or spreads paid on such transactions.
Portfolio transactions normally will be effected through brokers on securities exchanges or directly
with the issuer, or through an underwriter, or market maker or other dealer for the investments.
Portfolio transactions through brokers involve a commission to the broker. Portfolio transactions with
dealers typically are priced to include a spread between the bid and the asked price to compensate the
dealer. Portfolio transactions will be executed by brokers selected solely by the Investment Manager
in its absolute discretion. The Investment Manager is not required to weigh any of these factors
equally.

        Substantially all of the Master Fund’s investments in marketable securities, as well as its cash
and cash equivalents, are expected to be held with brokers or custodians selected by the Investment
Manager. Instruments not constituting marketable securities generally are recorded through book entry
by the borrower or by an agent for the borrower or the creditors. Documentary evidence of the
acquisition, ownership and disposition of these assets typically will be held by the Investment
Manager.

         Brokers or their affiliates may provide capital introduction or other placement services to the
Fund and the Investment Manager (with or without separate charges for such other services). In
determining which broker-dealer generally provides the best available price and most favorable
execution, the Investment Manager considers a totality of circumstances, including price quotes, the
size of the transaction, the nature of the market for the financial instrument, the timing of the
transaction, difficulty of execution, the broker-dealer’s expertise in the specific financial instrument or
sector in which the Master Fund seeks to trade, the extent to which the broker-dealer makes a market
in the financial instrument involved or has access to such markets, the broker-dealer’s skill in
positioning the financial instruments involved, the broker-dealer’s promptness of execution, the
broker-dealer’s financial stability, reputation for diligence, fairness and integrity, quality of service
rendered by the broker-dealer in other transactions for the Investment Manager and its respective
affiliates, confidentiality considerations, the quality and usefulness of research services and investment
ideas presented by the broker-dealer, the broker-dealer’s willingness to correct errors, the broker-
dealer’s ability to accommodate any special execution or order handling requirements that may
surround the particular transaction, and other factors deemed appropriate by the Investment Manager.
The Investment Manager need not solicit competitive bids and does not have an obligation to seek the
lowest available commission cost or spread.

       Accordingly, if the Investment Manager concludes that the commissions charged by a broker or
the spreads applied by a dealer are reasonable in relation to the quality of services rendered by such
broker or dealer (including, without limitation, the value of the brokerage and research products or
services provided by such broker or dealer), the Master Fund may pay commissions to, or be subject to
spreads applied by, such broker-dealer in an amount greater than the amount another broker-dealer
might charge or apply.

       The Investment Manager may also execute trades with brokers and dealers with whom the
Fund, the Master Fund or the Investment Manager has other business relationships, including prime
brokerage, credit relationships and capital introduction or investments by affiliates of the broker-
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dealers in the Fund or other entities managed by the Investment Manager. However, the Investment
Manager does not believe that these other relationships will influence the choice of brokers and dealers
who execute trades for the Master Fund.

        Research-related goods and services provided by brokers and dealers through which portfolio
transactions for the Master Fund are executed, settled and cleared may include research reports on
particular industries and companies, economic surveys and analyses, recommendations as to specific
securities, certain research services, and other goods and services providing lawful and appropriate
assistance to the Investment Manager in the performance of investment decision-making
responsibilities on behalf of the Master Fund and related accounts (collectively, “soft dollar items”).

        Soft dollar items may be provided directly by brokers and dealers, by third parties at the
direction of brokers and dealers or purchased on behalf of the Master Fund with credits or rebates
provided by brokers and dealers. Soft dollar items may arise from over-the-counter principal
transactions, as well as exchange traded agency transactions. Brokers and dealers sometimes suggest a
level of business they would like to receive in return for the various services they provide. Actual
business received by any broker or dealer may be less than the suggested allocations, but can (and
often does) exceed the suggestions, because total transaction volume is allocated on the basis of all the
considerations described above. A broker or dealer will not be excluded from executing transactions
for the Master Fund because it has not been identified as providing soft dollar items.

        The use of commissions or “soft dollars” if any, generated by the Master Fund through agency
and certain riskless principal transactions to pay for research and research-related products or services,
if any, will fall within the safe harbor created by Section 28(e) of the Securities Exchange Act of 1934,
as amended. Under Section 28(e), research products or services obtained with soft dollars generated
by the Master Fund may be used by the Investment Manager to service accounts other than the Master
Fund. Soft dollars generated in respect of futures, currency and derivatives transactions and principal
transactions (that are not riskless principal transactions) do not generally fall within the safe harbor
created by Section 28(e) and will be utilized only with respect to research-related products and services
for the benefit of the account generating such soft dollars.

        Research and brokerage products and services may be used by the Investment Manager in
servicing some or all of the Investment Manager’s clients. In addition, some research and brokerage
may not be used by the Investment Manager in servicing the clients whose commission dollars
provided for the research or brokerage. Clients may not, in any particular instance, be the direct or
indirect beneficiaries of the research or brokerage provided. Certain clients, who are the beneficiaries
of research or brokerage, may have an investment style which results in the generation of a small
amount of brokerage commissions due to a lack of active trading for their accounts. As a result, clients
who generate sizeable commissions subsidize research or brokerage provided to clients whose
accounts generate minimal brokerage commissions since the commission dollars generated by
transactions for such clients are not sufficient to pay for research or brokerage that may be received by
such clients from other brokers.

       In selecting broker-dealers on the basis of the foregoing factors, the Investment Manager may
pay a brokerage commission in excess of that which another broker might have charged for effecting
the same transaction. In connection therewith, the Investment Manager will make a good faith
determination that the amount of commission is reasonable in relation to the value of the research or
brokerage services received, viewed in terms of either the specific transaction or the Investment
Manager’s overall responsibility to its clients. The Investment Manager will regularly evaluate the
placement of brokerage services and the reasonableness of commissions paid. Research received from
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brokers will be supplemental to the Investment Manager’s own research efforts. While the receipt of
research will not reduce the Investment Manager’s normal research activities, the Investment
Manager’s expenses could increase materially if it attempted to generate such additional research or
brokerage services through its own staff, and the Management Fee will not be reduced as a
consequence of the receipt of such research or brokerage services or products. As such, the Investment
Manager’s arrangements for the receipt of research and brokerage services from brokers may create a
conflict of interest, in that the Investment Manager may have an incentive to choose a broker-dealer
that provides research and brokerage services, instead of one that does not but charges a lower
commission rate. In some instances, the Investment Manager receives products and services that may
be used for both research and non-research purposes. In such instances, the Investment Manager will
make a good faith effort to determine the relative proportion of the products and services used to assist
the Investment Manager in carrying out its investment decision-making responsibilities or order
execution, including research and brokerage, and the relative proportion used for administrative or
other non-research purposes. The proportionate amount of the research attributable to assisting the
Investment Manager in carrying out its investment decision-making responsibilities or order execution
will be paid through brokerage commissions generated by the Master Fund’s and other client’s
transactions; the proportionate amount attributable to administrative or other non-research purposes
will be paid for by the Investment Manager from its own resources. The receipt of “mixed-use”
research and the determination of the appropriate allocation may result in a potential conflict of interest
between the Investment Manager and its clients, including the Master Fund.

Custody

        U.S. Bank has been retained to perform certain custodial services for the Fund and the Master
Fund (in such capacity, the “Custodian”). In its capacity as Custodian, it will receive customary fees
that will be paid out of the assets of the Fund. The Custodian will also be reimbursed for all reasonable
out-of-pocket expenses.

       The Custodian does not have a direct contractual relationship with the investors. The Custodian
has, however, entered into a contractual relationship with the Fund in relation to the performance of the
services described herein. The Fund will enforce its contractual rights with respect to the Custodian as
necessary to protect the interests of the Fund (and, therefore, the interest of investors).




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                                     TAX CONSIDERATIONS

General

        The following is a general discussion of certain of the anticipated U.S. federal and Cayman
Islands income tax considerations applicable to the Fund’s activities and those relevant to “Non-U.S.
Shareholders” (as defined below) and “Tax-Exempt U.S. Shareholders” (as defined below) arising
from the purchase, ownership and disposition of Shares. The discussion that follows is based on the
provisions of the Code and the U.S. Treasury regulations promulgated thereunder (the “Treasury
Regulations”) as in effect on the date hereof and on existing judicial and administrative interpretations
thereof. These authorities are subject to change and to differing interpretations, which could apply
retroactively.

        This discussion does not address all tax consequences that may be applicable to a beneficial
owner of Shares, nor does it address, unless specifically indicated, the tax consequences to, among
others (i) persons that may be subject to special treatment under U.S. federal income tax law,
including, but not limited to, banks, insurance companies, thrift institutions, regulated investment
companies, real estate investment trusts and dealers in securities or currencies, (ii) persons that will
hold Shares as part of a position in a “straddle” or as part of a “hedging,” “conversion” or other
integrated investment transaction for U.S. federal income tax purposes, (iii) persons whose functional
currency is not the U.S. dollar or (iv) persons that do not hold Shares as capital assets within the
meaning of Code Section 1221.

       If a partnership holds Shares of the Fund, the tax treatment of a partner in such partnership will
generally depend upon the status of the partner and the activities of the Fund. Prospective investors
who are partners of a partnership should consult their own tax advisors.

       In addition, this summary does not address U.S. federal alternative minimum or estate and gift
tax consequences or consequences under the tax laws of any non-U.S. jurisdiction. The Fund has not
sought any ruling from the Service with respect to the statements made and the conclusions reached in
this summary, and cannot assure any investor that the Service will agree with such statements and
conclusions. As with any investment, potential investors should consult their own tax advisors in
determining the U.S. federal, state, local, non-U.S. and any other tax consequences to them of the
purchase, ownership and disposition of Shares.

        In view of the number of different jurisdictions where local laws may apply to shareholders, the
discussion below does not address the local tax consequences to prospective investors of the purchase,
ownership and disposition of Shares. Prospective investors are urged to consult their own tax advisors
in determining the possible tax, exchange control or other consequences to them under the laws of the
jurisdictions of which they are citizens, residents or domiciliaries or in which they conduct business.

       This summary assumes that only persons that are not “United States persons” as defined in
Code Section 7701(a)(30) (such investors, “Non-U.S. Shareholders”) and organizations that are
exempt from U.S. federal income tax under the Code (such investors, “Tax-Exempt U.S.
Shareholders”) will invest in the Fund. Therefore, this summary does not address the U.S. tax
consequences to U.S. taxable investors. The Fund is expected to constitute a “passive foreign
investment company” (a “PFIC”) for U.S. federal income tax purposes. Potential U.S. investors
should be aware that the Fund does not intend to provide information to any U.S. person for purposes
of such person qualifying to make an election to treat the Fund as a “qualified electing fund” (a

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“QEF”) for U.S. federal income tax purposes under Code Section 1295. Accordingly, potential U.S.
investors are urged to consult their tax advisors in this regard.

EACH PROSPECTIVE INVESTOR IS URGED TO CONSULT ITS OWN TAX ADVISOR IN
ORDER TO UNDERSTAND FULLY THE U.S. FEDERAL, STATE AND LOCAL AND ANY
NON-U.S. TAX CONSEQUENCES OF AN INVESTMENT IN ITS PARTICULAR SITUATION,
INCLUDING CONSEQUENCES TO THEM UNDER THE LAWS OF THE JURISDICTIONS OF
WHICH THEY ARE OR WERE CITIZENS, RESIDENTS OR DOMICILIARIES, OR IN WHICH
THEY CONDUCT BUSINESS.

Material U.S. Federal Income Taxation Matters

Classification and Taxation of the Fund and the Master Fund

       For U.S. federal income tax purposes, the Fund is expected to be treated as a corporation and
the Master Fund is expected to be treated as a partnership. The Fund and the Master Fund will make
any necessary entity classification elections for U.S. tax purposes.

        The following discussion assumes that the Master Fund will be treated as a partnership for U.S.
federal income tax purposes. Unless otherwise indicated, references in the following discussion to the
tax consequences of Fund investments, activities, income, gain and loss include the indirect
investments, activities, income, gain and loss attributable to the Fund as a result of being a limited
partner of the Master Fund.

        Under Code Section 864, a safe harbor (the “Safe Harbor”) applies to a non-U.S. corporation
(other than a dealer in securities or commodities) that engages in trading securities (including contracts
or options to buy or sell securities) and commodities (including derivatives) for its own account within
the United States, pursuant to which such a non-U.S. corporation will not be deemed to be engaged in
a U.S. trade or business by reason of such trading activities. If certain of the activities of the Fund
were determined not to be of the type described in the Safe Harbor, the activities of the Fund could
constitute a U.S. trade or business, in which case the Fund would be subject to U.S. income and branch
profits tax on the income and gain treated as connected with those activities. Although there is a risk
that certain of the Fund’s investments could fall outside of the Safe Harbor and constitute a trade or
business (e.g., a lending business), the Fund intends to take the position that it is not engaged in trade
or business.

        The Fund also may be deemed to be engaged in a U.S. trade or business by attribution from a
pass-through entity in which it owns an interest and which is so engaged. In this circumstance, the
Fund’s share of any income and gain that is effectively connected with such U.S. trade or business will
be subject to regular U.S. federal income taxation (currently imposed at a maximum rate of 21%) on a
net basis and an additional 30% U.S. branch profits tax on certain of its after-tax earnings and profits
that are not reinvested in a U.S. business, and the Fund will be required to file U.S. federal (and
potentially, state and local) income tax returns in connection with such trade or business. Such a pass-
through entity would also be required (and would be legally liable) to withhold and pay over to the
Service on behalf of the Fund an amount equal to 21% of the Fund’s share of such entity’s effectively
connected income. Any amount so withheld would be creditable against the Fund’s ultimate U.S.
federal income tax liability, and the Fund would be entitled to a refund to the extent that the amount
withheld exceeded the Fund’s U.S. federal income tax liability for the taxable year. Further, if the
Fund holds certain property (or is deemed to hold certain property as the result of its investments),
such property could be treated as U.S. real property interests. Upon the disposition of any such U.S.
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real property interest, the Fund would be subject to tax on any gain recognized as though such gain
were effectively connected with a U.S. trade or business of the Fund. Gains from the disposition by
the Fund of securities that are not (and are not deemed to be) effectively connected with a U.S. trade or
business of the Fund would generally be free from U.S. federal income and withholding tax. The Fund
may, however, also be subject to U.S. federal income tax on any gain realized, or deemed realized,
upon a sale or exchange of an interest in a partnership directly or indirectly held which is engaged in a
U.S. trade or business (including, without limitation, certain gains realized upon a redemption of
interests from the Master Fund). In such case, U.S. withholding tax may be incurred (or required to be
deducted by the Master Fund, as applicable) equal to 10% of the amount realized. Any amounts so
withheld would generally be creditable (subject to certain limitations) against the Fund’s ultimate U.S.
federal income tax liability, and the Fund would be entitled to a refund to the extent that the amount
withheld exceeded the Fund’s U.S. federal income tax liability for the taxable year. In addition, it is
possible the Fund could be subject to taxation on a net basis by state and local jurisdictions within the
United States. Any such taxation could materially adversely affect the Fund’s investment returns.

        In general, under Section 881 of the Code, a non-U.S. corporation which does not conduct a
U.S. trade or business is nonetheless subject to tax at a flat rate of 30% (or lower tax treaty rate) on the
gross amount of certain U.S. source income which is not effectively connected with a U.S. trade or
business, generally payable through withholding under Section 1442 of the Code. Income subject to
such a flat tax rate is of a fixed or determinable annual or periodical nature, including dividends
(including “dividend equivalent” income under Section 871(m) of the Code) and certain interest
income. There is presently no tax treaty between the United States and the Cayman Islands.

        Certain types of income are specifically exempted from the 30% tax and thus withholding is
not required on payments of such income to a non-U.S. corporation. The 30% tax does not apply to
U.S. source capital gains (whether long or short-term) or to interest paid to a non-U.S. corporation on
its deposits with U.S. banks. The 30% tax also does not apply to interest which qualifies as portfolio
interest. The term “portfolio interest” generally includes interest (including original issue discount) on
an obligation in registered form which has been issued after July 18, 1984 that is paid to persons with
limited ownership in the obligor and with respect to which the person who would otherwise be
required to deduct and withhold the 30% tax receives the required statement that the beneficial owner
of the obligation is not a U.S. person within the meaning of the Code. Also exempt from the 30% tax
is income from original issue discount obligations which are payable no more than 183 days from the
date of issue. Interest on corporate obligations will not qualify as “portfolio interest” to a non-U.S.
person that owns (directly and under certain constructive ownership rules) 10% or more of the total
combined voting power of the corporation paying the interest, or, with respect to certain obligations
issued after April 7, 1993, if and to the extent the interest is determined by reference to certain
economic attributes of the debtor (or a person related thereto).

        As indicated above, certain investments by the Fund could result in the Fund being deemed to
be engaged in a U.S. trade or business, including, without limitation, direct investments by the Fund in
U.S. real estate or real estate acquired in foreclosures on mortgages held by the Fund. The Fund may
conduct such activities through U.S. corporate entities, in order for the Fund to avoid filing a U.S.
income tax return and directly paying tax on such investments. Each such investment may be made in
a separate U.S. corporation directly owned by the Fund (a “U.S. Subsidiary”). Each U.S. Subsidiary
will be subject to U.S. income tax on its net taxable income at regular U.S. federal corporate income
tax rates. Dividend distributions from the U.S. Subsidiary to the Fund will be subject to a 30% U.S.
withholding tax. However, cash distributions by the U.S. Subsidiary upon its complete liquidation will
generally not be subject to taxation or to U.S. withholding tax.
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Taxation of Non-U.S. Shareholders

        For U.S. federal income tax purposes, a Non-U.S. Shareholder will not be subject to U.S.
federal income taxation on amounts paid by the Fund in respect of Shares or gains recognized on the
sale, exchange or redemption of Shares, provided that such income and gains are not considered to be
effectively connected with the conduct of a trade or business by the shareholder in the United States.
In limited circumstances, an individual Non-U.S. Shareholder who is present in the United States for
183 days or more during a taxable year may be subject to U.S. income tax at a flat rate of 30% on gains
realized on a disposition of Shares in such year. Individual shareholders who at the time of their death
are not citizens, former citizens or residents of the United States should not be subject, by reason of the
ownership of Shares, to any U.S. federal gift or estate taxes.

       Special rules may apply in the case of non-U.S. persons that (i) conduct a trade or business in
the United States or that have an office or fixed place of business in the United States, (ii) have a tax
home in the United States, (iii) are former citizens or long-term residents of the United States or (iv)
are controlled foreign corporations, PFICs, foreign insurance companies (“CFCs”) that hold Shares in
connection with their U.S. business or corporations which accumulate earnings to avoid U.S. federal
income tax. Such persons are urged to consult their U.S. tax advisors before investing in the Fund.

        In the case of Shares held in the United States by a custodian or nominee for a non-U.S. person,
U.S. “backup” withholding taxes may apply to distributions in respect of Shares held by such
shareholder unless such shareholder properly certifies as to its non-U.S. status or otherwise establishes
an exemption from “backup” withholding. Backup withholding is not an additional tax. Rather, the
U.S. federal income tax liability of non-U.S. persons subject to backup withholding will be reduced by
the amount of tax withheld. If backup withholding results in an overpayment of U.S. federal income
taxes, a refund may be obtained, provided the required documents are timely filed with the Service.

Taxation of Tax-Exempt U.S. Shareholders

        Tax-Exempt U.S. Shareholders are subject to U.S. tax on their “unrelated business taxable
income” (“UBTI”) as defined in Section 512 of the Code. UBTI is generally the excess of gross
income from any unrelated trade or business conducted by a tax-exempt entity over the deductions
attributable to such trade or business, with certain modifications. These modifications provide that
UBTI generally does not include interest, dividends or gains from the sale of securities not held as
either inventory or primarily for sale to customers in the ordinary course of business, except to the
extent that any such item of income is deemed to constitute “unrelated debt financed income” within
the meaning of Section 514 of the Code and the Treasury Regulations, and certain other requirements
are met. The ability to offset deductions or losses realized in respect of one “unrelated trade or
business” against income or gains from other “unrelated trades or businesses” is subject to certain
limitations. Income that a U.S. tax-exempt entity derives from an investment in Shares generally
should not give rise to UBTI, except to the extent that such entity’s acquisition of Shares is debt
financed.

        The Fund will constitute a PFIC for U.S. federal income tax purposes. Under the Treasury
Regulations, a tax-exempt entity is generally not considered to be a shareholder in a PFIC. Therefore,
the tax-exempt entity would generally not be subject to the PFIC tax rules, except to the extent that a
“dividend” paid by such PFIC would be taxable under subchapter F of the Code. Hence, a tax-exempt
entity would be subject to tax under the PFIC regime in respect of an excess distribution from, or any
gain realized on the sale of, the shares of a PFIC in only limited circumstances. Additionally, the
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Treasury Regulations provide that a tax-exempt entity that is not taxable under the PFIC rules may not
make a QEF election under Section 1295 of the Code and the Fund will not provide any QEF
information to investors.

        The Fund may be classified as a CFC for U.S. federal income tax purposes if U.S. persons who
own (actually or constructively) 10% or more of either voting interest or the value of the Fund hold
50% or more of the vote or value of the Fund, as determined under the Code. However, a Tax-Exempt
U.S. Shareholder’s share of the Fund’s “subpart F income” generally would not be treated as UBTI
(provided that such investor has not debt-financed its investment in the Fund) except in the case of
certain insurance- and reinsurance-related income. In addition, if the Fund is classified as a CFC, U.S.
tax-exempt investors may be subject to special information reporting requirements. Prospective
investors are urged to consult their own tax advisors as to the U.S. federal income tax consequences in
this regard, including with respect to certain other types of income, and with respect to complex
attribution rules that may apply.

       Moreover, different rules may apply to certain types of tax-exempt entities, such as charitable
remainder trusts. Accordingly, potential tax-exempt investors are urged to consult their own tax
advisors regarding the tax consequences of an investment in the Fund.

Prospective Tax-Exempt U.S. Shareholders are urged to consult their own tax advisors regarding
the tax consequences of the purchase, ownership and disposition of Shares.

Information Reporting Requirements

        A U.S. person (including in certain circumstances a Tax-Exempt U.S. Shareholder) that
transfers property (including cash) to the Fund in exchange for Shares will be required to file a Form
926 or a similar form with the Service. In the event a U.S. shareholder fails to file any required form,
such shareholder could be subject to a penalty of up to 10% of the value of the property transferred,
subject to a $100,000 limit so long as the failure was not due to intentional disregard.

        Under the Treasury Regulations, any U.S. person, within the meaning of the Code, owning 10%
or more (taking certain attribution rules into account) of either the total combined voting power or total
value of all classes of the shares of a non-U.S. corporation, or whose ownership interest changes by a
statutorily specified amount, may be required to file an information return with the Service containing
certain disclosures concerning the filing shareholder, other U.S. shareholders and the corporation. The
determination of whether a U.S. person is a 10% U.S. shareholder for purposes of this filing
requirement may be made by reference to such shareholder’s percentage ownership of Shares within
each class rather than that of all Shares of the Fund. The Fund has not committed to provide all of the
information about the Fund or its shareholders necessary to complete such an information return.
Prospective investors should consult their tax advisors about such information return filing
requirements.

        Certain U.S. persons are required to file Financial Crimes Enforcement Network (“FinCEN”)
Form 114 with the Service with respect to financial interests in foreign financial accounts held by such
U.S. persons during the previous year if the aggregate value of such accounts exceeds $10,000 at any
time during the year. Significant penalties may apply in respect of the failure to file FinCEN Form 114
in respect of foreign financial accounts. Thus, potential Tax-Exempt U.S. Shareholders should consult
their tax advisors as to whether to file FinCEN Form 114 in respect of ownership of Shares.


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Investor Tax Filings and Record Retention

         The United States Department of the Treasury has adopted Treasury Regulations designed to
assist the Service in identifying abusive tax shelter transactions. In general, these Treasury Regulations
require investors in specified transactions (including certain shareholders in non-U.S. corporations and
partners in partnerships that engage in such transactions) to satisfy certain special tax filing and record
retention requirements. Significant monetary penalties may be imposed (in addition to penalties that
generally may be applicable as a result of a failure to comply with applicable Treasury Regulations) for
failure to comply with these tax filing and record retention rules.

        These Treasury Regulations are broad in scope and it is conceivable that the Master Fund may
enter into transactions that will subject the Fund and certain investors in the Fund to the special tax
filing and record retention rules. The Fund and the Investment Manager intend to use reasonable
efforts to obtain and provide information to investors necessary to enable investors to satisfy any tax
filing and record retention requirements that may arise as a result of any transactions entered into by
the Master Fund.

Reporting Under FATCA

        Sections 1471 through 1474 of the Code, known as the U.S. Foreign Account Tax Compliance
Act (together with any regulations, rules and other guidance implementing such Code sections and any
applicable intergovernmental agreement (“IGA”) or information exchange agreement and related
statutes, regulations, rules and other guidance thereunder, “FATCA”) impose a withholding tax of 30%
on (i) certain U.S. source interest, dividends and other types of income, and (ii) the gross proceeds
from the sale or disposition of certain assets of a type that can produce U.S. source interest and
dividends, which are received by a foreign financial institution (“FFI”), unless such FFI enters into an
agreement with the Service, and/or complies with an applicable IGA, to obtain certain information as
to the identity of the direct and indirect owners of accounts in such institution. In addition, a
withholding tax may be imposed on payments to certain non-financial foreign entities that do not
obtain and provide information as to their direct and indirect owners. These rules generally apply to
payments of U.S. source interest, dividends and certain other types of income from U.S. sources and,
after December 31, 2018, are expected to apply to payments of gross proceeds from the sale or
disposition of assets of a type that can produce U.S. source interest or dividends.

        The Service has released temporary and final Treasury Regulations and other guidance to
implement FATCA, which contain a number of phase-in dates for FATCA compliance. In addition, the
Cayman Islands has entered into a Model 1 IGA with the United States (the “Cayman-U.S. IGA”) and
has issued the Tax Information Authority (International Tax Compliance) (United States of America)
Regulations 2014, and guidance notes thereunder, each as updated from time to time.

        Both the Fund and the Master Fund are likely to be considered FFIs. In order to avoid
incurring U.S. withholding under FATCA, the Master Fund and the Fund each are generally required to
register with the Service and to comply with the Cayman-U.S. IGA and any guidance thereunder. The
Fund and the Master Fund each have registered with the Service and expect that they will be required
to identify and report on certain direct and indirect U.S. owners in order to comply with the Cayman-
U.S. IGA. Therefore, the Fund and the Master Fund generally do not expect to become subject to U.S.
withholding under FATCA. An investor may be required to provide to the Fund information which
identifies its direct and indirect ownership. Any such information provided to the Fund may ultimately
be shared with the Cayman Islands Tax Information Authority (“TIA”) and transmitted to the Service
and, potentially, certain other authorities and withholding agents, as applicable.
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CAYMAN ISLANDS LEGAL, REGULATORY AND TAX MATTERS

        It is the responsibility of all persons interested in purchasing Shares to inform themselves as to
any tax consequences from their investing in the Fund and the Fund’s operations or management, as
well as any foreign exchange or other fiscal or legal restrictions, which are relevant to their particular
circumstances in connection with the acquisition, holding or disposition of Shares. Investors should
therefore seek their own separate tax advice in relation to their holding of Shares and accordingly none
of the Fund, the Investment Manager or the Administrator accepts any responsibility for the taxation
consequences of any investment in the Fund by an investor.

Taxation of the Fund

         The Government of the Cayman Islands will not, under existing legislation, impose any
income, corporate or capital gains tax, estate duty, inheritance tax, gift tax or withholding tax upon the
Fund or the shareholders. The Cayman Islands are not party to a double tax treaty with any country
that is applicable to any payments made to or by the Fund.

         The Fund has received an undertaking from the Governor-in-Cabinet of the Cayman Islands
that, in accordance with section 6 of the Tax Concessions Law (2011 Revision) of the Cayman Islands,
for a period of 20 years from the date of the undertaking, no law which is enacted in the Cayman
Islands imposing any tax to be levied on profits, income, gains or appreciations shall apply to the Fund
or its operations and, in addition, that no tax to be levied on profits, income, gains or appreciations or
which is in the nature of estate duty or inheritance tax shall be payable (i) on or in respect of the shares,
debentures or other obligations of the Fund or (ii) by way of the withholding in whole or in part of a
payment of dividend or other distribution of income or capital by the Fund to its members or a
payment of principal or interest or other sums due under a debenture or other obligation of the Fund.

Taxation of the Master Fund

        The Government of the Cayman Islands will not, under existing legislation, impose any
income, corporate or capital gains tax, estate duty, inheritance tax, gift tax or withholding tax upon the
Master Fund or the limited partners of the Master Fund (the “Master Fund Limited Partners”).
Interest, dividends and gains payable to the Master Fund and all distributions by the Master Fund to
Master Fund Limited Partners will be received free of any Cayman Islands income or withholding
taxes. The Master Fund has registered as an exempted limited partnership under Cayman Islands law
and the Master Fund has received an undertaking from the Governor in Cabinet of the Cayman Islands
to the effect that, for a period of 50 years from the date of the undertaking, no law which is enacted in
the Cayman Islands imposing any tax to be levied on profits or income or gains or appreciations shall
apply to the Master Fund or to any partner thereof in respect of the operations or assets of the Master
Fund or the interest of a partner therein; and may further provide that any such taxes or any tax in the
nature of estate duty or inheritance tax shall not be payable in respect of the obligations of the Master
Fund or the interests of the partners therein. The Cayman Islands are not party to a double tax treaty
with any country that is applicable to any payments made to or by the Master Fund.

Cayman Islands – Automatic Exchange of Financial Account Information

       The Cayman Islands has signed two inter-governmental agreements to improve international
tax compliance and the exchange of information - one with the United States, the Cayman-U.S. IGA,
and one with the United Kingdom (the “Cayman-U.K. IGA”). The Cayman Islands has also signed,
along with over 80 other countries, a multilateral competent authority agreement to implement the
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OECD Standard for Automatic Exchange of Financial Account Information – Common Reporting
Standard (the “CRS” and together with the Cayman-U.S. IGA and the Cayman-U.K. IGA, “AEOI”).

       Cayman Islands regulations were issued on 4 July 2014 to give effect to the Cayman-U.S. IGA
and the Cayman-U.K. IGA, and on 16 October 2015 to give effect to the CRS (collectively, the “AEOI
Regulations”). Pursuant to the AEOI Regulations, the TIA has published guidance notes on the
application of the Cayman-U.S. IGA and Cayman-U.K. IGAs and the CRS. It is anticipated that the
Cayman-U.K. IGA related regulations and relevant provisions of the guidance notes will be phased out
and replaced with CRS.

        All Cayman Islands “Financial Institutions” will be required to comply with the registration,
due diligence and reporting requirements of the AEOI Regulations, except to the extent that they can
rely on an exemption that allows them to become a “Non-Reporting Financial Institution” (as defined
in the relevant AEOI Regulations) with respect to one or more of the AEOI regimes. The Fund does
not propose to rely on any reporting exemption and therefore intends to comply with the requirements
of the AEOI Regulations.

        The AEOI Regulations require the Fund to, amongst other things (i) register with the Service to
obtain a Global Intermediary Identification Number (in the context of the Cayman-U.S. IGA only), (ii)
register with the TIA, and thereby notify the TIA of its status as a “Reporting Financial Institution”;
(iii) conduct due diligence on its accounts to identify whether any such accounts are considered
“Reportable Accounts”, and (iv) report information on such Reportable Accounts to the TIA. The TIA
will transmit the information reported to it to the overseas fiscal authority relevant to a reportable
account (i.e. the Service in the case of a US Reportable Account, HMRC in the case of a UK
Reportable Account, etc.) annually on an automatic basis.

By investing (or continuing to invest) in the Fund (and indirectly investing in the Master Fund),
investors will be deemed to have acknowledged, and to have given their consent to, the following:

       (i)     the Fund (or its agent) may be required to disclose to the TIA and withholding agents
               certain information (which could otherwise be deemed to be confidential) in relation to
               the investor or its direct or indirect owners, including the investor’s name, address, date
               of birth, tax identification number (if any), social security or national insurance number
               (if any) and certain additional information or documentation relating to the investor’s
               investment or identity, and the investor may be required to provide any such
               information or documentation;

       (ii)    the TIA may be required to automatically exchange information with, among other
               authorities, the Service, and to provide additional information to such authorities, and
               the Master Fund or the Fund (or its agent) may be required to disclose certain
               information (including information that could otherwise be deemed to be confidential)
               when registering with such authorities and in response to a request by any such
               authority for further information;

       (iii)   in the event an investor’s failure to comply with any AEOI related reporting
               requirements gives rise to any withholding tax or other liabilities the Fund reserves the
               right to ensure that any such withholding tax and or any related cost, interest, penalties
               and other losses or liabilities suffered by the Fund, the Master Fund, the Master Fund
               GP, the Administrator or any other investor, or any agent, delegate, employee, director,

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               officer or affiliate of any of the foregoing persons, arising from such investor’s failure
               to provide information to the Fund, is economically borne by such investor;

       (iv)    in the event an investor does not provide the information and/or documentation
               necessary for the Fund’s (or the Master Fund’s) satisfaction of its AEOI related
               reporting requirements, whether or not that actually leads to compliance failures by the
               Fund, or a risk of the Fund (or the Master Fund) or its investors being subject to U.S.
               withholding under FATCA or other liabilities under AEOI generally, the Fund reserves
               the right to take any action and/or pursue all remedies at its disposal to mitigate the
               consequences of the investor’s failure to comply with the requirements described above,
               including compulsory redemption or withdrawal of the investor concerned; and

       (v)     no investor affected by any such action or remedy shall have any claim against the
               Fund, the Master Fund, the Master Fund GP, the Administrator (or their agents,
               delegates, employees, directors, officers or affiliates) for any damages or liability as a
               result of actions taken or remedies pursued by or on behalf of the Fund in order to
               comply with AEOI.

Shareholders should consult their tax advisors as to the filing and information requirements that may
be imposed on them in respect of their ownership of Shares of the Fund.

The European Union Savings Directive

        On November 10, 2015, the European Council repealed the EU Council Directive 2003/48/EC
of June 3, 2003 on taxation of savings income in the form of interest payments (the “EUSD”) with
effect from January 1, 2016 (January 1, 2017 in the case of Austria) in order to avoid overlap with the
requirements of the CRS and other tax information reporting regimes. It is anticipated that the Cayman
Islands, together with those other jurisdictions which have adopted EUSD-equivalent legislation, will
also give consideration in due course to the repeal of their EUSD-equivalent legislation in the light of
the introduction of the CRS regime.

Future Changes in Applicable Law

        The foregoing description of U.S. and Cayman Islands income tax consequences of an
investment in, and the operations of, the Fund are based on laws and Treasury Regulations that are
subject to change through legislative, judicial or administrative action. There can be no assurance that
the U.S. or Cayman Islands tax laws will not be changed adversely with respect to the Fund and its
shareholders, or that the Fund’s income tax status will not be successfully challenged by such
authorities. In addition, future amendments to the Code, other legislation, new or amended Treasury
Regulations, administrative rulings or decisions by the Service or judicial decisions may adversely
affect the U.S. federal income tax aspects of an investment in the Fund, with or without advance
notice, retroactively or prospectively.

Other Taxation

        A portion of the Master Fund’s investments may be made in non-U.S. jurisdictions. With
respect to certain countries, there is a possibility of expropriation, confiscatory taxation and imposition
of withholding or other taxes on dividends, interest, capital gains or other income, limitations on the
removal of funds or other assets of the Fund and political or social instability or diplomatic
developments that could affect investments in those countries. An issuer of securities may be

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domiciled in a country other than the country in whose currency the instrument is denominated. The
values and relative yields of investments in the securities markets of different countries, and their
associated risks, are expected to change independently of each other.

Future Tax Legislation; Necessity of Obtaining Professional Advice

        Future amendments to the Code, other legislation, new or amended Treasury Regulations,
administrative rulings or decisions by the Service or judicial decisions may adversely affect the U.S.
federal income tax aspects of an investment in the Fund, with or without advance notice, retroactively
or prospectively. The foregoing analysis is not intended as a substitute for careful tax planning. The
tax matters relating to the Fund and the Master Fund are complex and are subject to varying
interpretations. There can be no assurance that the Service will agree with each position taken by the
Fund or the Master Fund with respect to the tax treatment of Fund items and transactions. Moreover,
the effect of existing income tax laws and of proposed changes in income tax laws on shareholders will
vary with the particular circumstances of each shareholder and, in reviewing this Memorandum and
any exhibits hereto, these matters should be considered.

        It is the responsibility of all persons interested in purchasing Shares to inform themselves as to
any tax consequences from their investing in the Fund and the Fund’s operations or management, as
well as any foreign exchange or other fiscal or legal restrictions, which are relevant to their particular
circumstances in connection with the acquisition, holding or disposition of Shares. Accordingly, each
prospective investor should therefore consult their own advisors regarding tax treatment by the
jurisdiction applicable to them in relation to their holding of Shares. Shareholders should rely only
upon advice received from their own tax advisors based upon their own individual circumstances and
the laws applicable to them. In no event will the Fund, the Master Fund, the Master Fund GPs, the
Investment Manager, the Principal, the Directors or their principals, affiliates, counsel or other
professional advisers be liable to any shareholder for any tax consequences of an investment in the
Fund, whether or not such consequences are as described above.

The foregoing is a summary of some of the important tax rules and considerations affecting the
shareholders, the Fund, and the Fund’s proposed operations. This summary does not purport to be a
complete analysis of all relevant tax rules and considerations, which will vary with the particular
circumstances of each shareholder, nor does it purport to be a complete listing of all potential tax risks
inherent in purchasing or holding Shares. Each prospective investor in the Fund is urged to consult its
own tax advisor in order to understand fully the U.S. federal, state, local and any non-U.S. tax
consequences of such an investment in its particular situation.




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                   ERISA AND OTHER REGULATORY CONSIDERATIONS

ERISA Considerations

General

        Fiduciaries and other persons who are proposing to invest in Shares on behalf of retirement
plans, IRAs and other employee benefit plans (“Plans”) covered by the U.S. Employee Retirement
Income Security Act of 1974, as amended (“ERISA”), or the Internal Revenue Code of 1986, as
amended (the “Code”), must give appropriate consideration to, among other things, the role that an
investment in the Fund plays in the Plan’s portfolio, taking into consideration whether the investment
is designed to reasonably further the Plan’s purposes, the investment’s risk and return factors, the
portfolio’s composition with regard to diversification, the liquidity and current return of the total
portfolio relative to the anticipated cash flow needs of the Plan, the projected return of the total
portfolio relative to the Plan’s objectives, the limited right of shareholders to redeem all or any part of
their Shares or to transfer their Shares and whether investment in the Fund constitutes a direct or
indirect transaction with a party in interest (under ERISA) or a disqualified person (under the Code).

Plan Asset Regulations and Benefit Plan Investors

        The United States Department of Labor (“DOL”) has adopted regulations that treat the assets of
certain pooled investment vehicles, such as the Fund, as “plan assets” for purposes of Title I of ERISA
and Section 4975 of the Code (“Plan Assets”). Section 3(42) of ERISA defines the term “Plan Assets”
to mean plan assets as defined by such regulations as the DOL may prescribe, except that under such
regulations the assets of an entity shall not be treated as Plan Assets if, immediately after the most
recent acquisition of an equity interest in the entity, less than 25% of the total value of each class of
equity interest in the entity is held by “Benefit Plan Investors” (the “significant participation test”).
For purposes of this determination, the value of any equity interest held by a person (other than such a
Benefit Plan Investor) who has discretionary authority or control with respect to the assets of the entity
or any person who provides investment advice for a fee (direct or indirect) with respect to such assets,
or any affiliate of such a person, shall be disregarded. An entity shall be considered to hold Plan
Assets only to the extent of the percentage of the equity interest held by Benefit Plan Investors. The
term “Benefit Plan Investors” means any employee benefit plan subject to part 4 of subtitle B of Title I
of ERISA (i.e., plans subject to the fiduciary provisions of ERISA), any plan to which the prohibited
transaction provisions of Section 4975 of the Code apply (e.g., IRAs), and any entity whose underlying
assets include Plan Assets by reason of a plan’s investment in such entity (a “Plan Asset Entity”).

        In order to prevent the assets of the Master Fund from being considered Plan Assets under
ERISA, it is the intention of the Master Fund to monitor the investments in the Master Fund and
prohibit the acquisition, withdrawal or transfer of any limited partner interests of the Master Fund by
any investor, including a Benefit Plan Investor, unless, after giving effect to such an acquisition,
withdrawal or transfer, the total proportion of limited partner interests of each class of the Master Fund
owned by Benefit Plan Investors would be less than 25% of the aggregate value of that class of limited
partner interests (determined, as described above, by excluding certain limited partner interests held by
the Master Fund GP, other fiduciaries and affiliates).

        Without limiting the generality of the foregoing, in order to limit equity participation in any
class of limited partner interests of the Master Fund by Benefit Plan Investors to less than 25%, the
Fund may require the compulsory redemption of Shares. Each shareholder that is an insurance
company acting on behalf of its general account or a Plan Asset Entity will be required to represent and
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warrant as of the date it acquires Shares the maximum percentage of such general account or Plan
Asset Entity (as reasonably determined by such insurance company or Plan Asset Entity) that will
constitute Plan Assets (the “Maximum Percentage”) so such percentage can be calculated in
determining the percentage of Plan Assets invested in the Master Fund. Further, each such insurance
company and Plan Asset Entity will be required to covenant that if, after its initial acquisition of
Shares, the Maximum Percentage is exceeded at any time, then such insurance company or Plan Asset
Entity shall immediately notify the Fund of that occurrence and shall, if and as directed by the Fund, in
a manner consistent with the restrictions on transfer set forth herein, redeem or dispose of some or all
of the Shares held in its general account or Plan Asset Entity.

        It is anticipated that investment in the Fund by benefit plan investors may be “significant” for
purposes of the regulations. In such event, the underlying assets of the Fund would be deemed to
constitute “plan assets” for purposes of ERISA. As a general rule, if the assets of the Fund were
regarded as “plan assets” of a benefit plan investor, the Investment Manager would be deemed a
fiduciary with respect to each Plan investing in the Fund. However, the Investment Manager believes
that, given the limited purpose and role of the Fund and given the requirement that the Investment
Manager follow the directions of the fiduciaries of each benefit plan investor investing in the Fund, as
set forth in each such investor’s subscription agreement, with respect to the investment by the Fund in
the Master Fund, neither the Investment Manager nor any other entity providing services to the Fund
would be exercising any discretionary authority or control with respect to the Fund. Accordingly, the
Investment Manager believes that neither the Investment Manager nor any other entity providing
services to the Fund will act as a fiduciary (as defined in Section 3(21) of ERISA) with respect to the
assets of the Fund or any benefit plan investor. Rather, the Investment Manager believes that, given
the limited purpose and role of the Fund and given the requirement that the Investment Manager follow
the directions of the fiduciaries of each benefit plan investor investing in the Fund, as set forth in each
such investor’s subscription agreement, with respect to the investment by the Fund in the Master Fund,
the fiduciary of each such benefit plan investor has retained the fiduciary authority and responsibility
with respect to the investor’s initial and continuing investment in the Fund as though the benefit plan
investor is investing directly in the Master Fund.

Representation by Plans

        The fiduciaries of each Plan proposing to invest in the Fund will be required to represent that
they have been informed of and understand the Fund’s investment objectives, policies and strategies
and that the decision to invest Plan Assets in the Fund is consistent with the provisions of ERISA
and/or the Code that require diversification of Plan Assets and impose other fiduciary responsibilities.
By its purchase, each investor will be deemed to have represented that either (a) it is not a Plan that is
subject to the prohibited transaction rules of ERISA or the Code, (b) it is not an entity whose assets
include Plan Assets or (c) its investment in the Fund will not constitute a non-exempt prohibited
transaction under ERISA or the Code.

        In addition, each Plan proposing to invest in the Fund will be required to represent that, in
connection with its decision to invest in the Fund, it is and will remain represented by a party
independent of the Master Fund GP, the Investment Manager and each of their affiliates and
employees and such party (A) is described in 29 CFR §2510.3-21(c)(1)(i); (B) is capable of evaluating
investment risks independently, both in general and with regard to particular transactions and
investment strategies; (C) acknowledges that it has been informed that none of the Master Fund GP,
the Investment Manager or any of their affiliates or employees is undertaking to provide impartial
investment advice, or to give advice in a fiduciary capacity, in connection with the Plan’s investment
in the Fund; and (D) is acting as a fiduciary under ERISA with respect to the Plan’s investment in the
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Fund and is responsible for exercising independent judgment in evaluating such investment. If a Plan
cannot make the representations set forth in the preceding sentence, it must contact the Investment
Manager and its subscription will not be accepted unless specifically agreed to by the Investment
Manager.

Ineligible Purchasers

        Limited partner interests may not be purchased with Plan Assets if the Investment Manager,
any selling agent, finder, any of their respective affiliates or any of their respective employees: (a) has
investment discretion with respect to the investment of such Plan Assets; (b) has authority or
responsibility to give or regularly gives investment advice with respect to such Plan Assets, for a fee,
and pursuant to an agreement or understanding that such advice will serve as a primary basis for
investment decisions with respect to such Plan Assets and that such advice will be based on the
particular investment needs of the Plan; or (c) is an employer maintaining or contributing to such Plan.
A party that is described in clause (a) or (b) of the preceding sentence is a fiduciary under ERISA and
the Code with respect to the Plan, and any such purchase might result in a “prohibited transaction”
under ERISA and the Code.

Plans’ Reporting Obligations

        The information contained herein and in the other documentation provided to investors in
connection with an investment in the Fund is intended to satisfy the alternative reporting option for
“eligible indirect compensation” on Schedule C of the Form 5500, in addition to the other purposes for
which such documents were created.

       Whether or not the underlying assets of the Fund are deemed Plan Assets, an investment in
the Fund by a Plan is subject to ERISA and the Code. Accordingly, Plan fiduciaries should consult
their own counsel as to the consequences under ERISA and the Code of an investment in the Fund.
Note that similar laws governing the investment and management of the assets of governmental or
non-U.S. plans may contain fiduciary and prohibited transaction requirements similar to those
under ERISA and the Code. Accordingly, fiduciaries of such governmental or non-U.S. plans, in
consultation with their counsel, should consider the impact of their respective laws and regulations
on an investment in the Fund.

Other Regulatory Matters

Securities Act of 1933

        Shares will not be registered under the U.S. Securities Act of 1933, as amended, any state “blue
sky” laws or the securities laws of any other jurisdiction. Shares may be offered privately (i) outside
the United States of America, its territories or possessions or areas subject to its jurisdiction (the
“United States”), or to or for the benefit of an investor that is not a United States Person, only in
accordance with relevant laws of the jurisdiction where the offer is made or (ii) within the United
States or to a United States Person only in a transaction that does not require the registration of the
Shares or the Fund under applicable U.S. federal or state securities laws.

Investment Company Act of 1940

      The Fund is exempt from the provisions of the U.S. Investment Company Act of 1940, as
amended, pursuant to the exemption contained in Section 3(c)(7) thereunder.

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Investment Adviser Registration

      The Investment Manager is registered as an investment adviser with the Securities and
Exchange Commission under the U.S. Investment Advisers Act of 1940, as amended.

Commodity Exchange Act

        Neither the Master Fund GP nor the Investment Manager is required to register as a commodity
pool operator (“CPO”) or commodity trading advisor under the U.S. Commodity Exchange Act and
each has filed a notice of claim effectuating exemption. As such, the Master Fund GP and the
Investment Manager will operate the Fund and the Master Fund pursuant to such exemption. Unlike a
registered CPO, the Master Fund GP and the Investment Manager are not required to deliver a
disclosure document and a certified annual report to participants in the Fund. Among other things, the
exemption requires the Master Fund GP and the Investment Manager to file a claim of exemption with
the National Futures Association. The Investment Manager qualifies for an exemption from
registration with the CFTC as a commodity trading adviser pursuant to CFTC Rule 4.14(a)(8).

Cayman Islands Mutual Fund Law

        The Fund and the Master Fund are regulated under the Mutual Funds Law (2015 Revision) of
the Cayman Islands (“Mutual Funds Law”). The Cayman Islands Monetary Authority (the
“Authority”) has supervisory and enforcement powers to ensure compliance with the Mutual Funds
Law. Regulation under the Mutual Funds Law entails the filing of prescribed details and audited
accounts annually with the Authority. As a regulated mutual fund, the Authority may at any time
instruct the Fund or the Master Fund to have its or their accounts audited and to submit them to the
Authority within such time as the Authority specifies. Failure to comply with these requests by the
Authority may result in substantial fines on the part of the directors of the Fund or the Master Fund, as
applicable, and may result in the Authority applying to the court to have the Fund or the Master Fund
wound up.

        Neither the Fund nor the Master Fund are, however, subject to supervision in respect of their
investment activities or the constitution of the Master Fund’s portfolio by the Authority or any other
governmental authority in the Cayman Islands, although the Authority does have power to investigate
the activities of the Fund and the Master Fund in certain circumstances. Neither the Authority nor any
other governmental authority in the Cayman Islands has commented upon or approved the terms or
merits of this document. There is no investment compensation scheme available to investors in the
Cayman Islands.

         The Authority may take certain actions if it is satisfied that a regulated mutual fund is or is
likely to become unable to meet its obligations as they fall due or is carrying on or is attempting to
carry on business or is winding up its business voluntarily in a manner that is prejudicial to its
investors or creditors. The powers of the Authority include the power to require the substitution of the
directors of the Fund or the Master Fund, to appoint a person to advise the Fund or the Master Fund on
the proper conduct of its affairs or to appoint a person to assume control of the affairs of the Fund or
the Master Fund, as the case may be. There are other remedies available to the Authority including the
ability to apply to court for approval of other actions.




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Anti-Money Laundering Regulations

Cayman Islands

        In order to comply with legislation or regulations aimed at the prevention of money laundering
the Fund is required to adopt and maintain anti-money laundering procedures, and may require
subscribers to provide evidence to verify their identity and source of funds. Where permitted, and
subject to certain conditions, the Fund may also delegate the maintenance of its anti-money laundering
procedures (including the acquisition of due diligence information) to a suitable person.

        The Fund, and the Administrator on the Fund's behalf, reserve the right to request such
information as is necessary to verify the identity of a shareholder (i.e. a subscriber or a transferee) and
the identity of their beneficial owners/controllers (where applicable). Where the circumstances permit,
the Fund, or the Administrator on the Fund's behalf, may be satisfied that full due diligence may not be
required at subscription where an exemption applies under the Anti-Money Laundering Regulations,
2017 of the Cayman Islands, as amended and revised from time to time or any other applicable law.
However, detailed verification information may be required prior to the payment of any proceeds from
or any transfer of an interest in Shares. Depending on the circumstances of each application, a detailed
verification of identity might not be required where:

       (a)     the subscriber makes the payment for their investment from an account held in the
               subscriber’s name at a recognized financial institution and redemptions/dividends are
               repaid directly to the subscriber; or

       (b)     the subscriber is regulated by a recognized regulatory authority or listed on a recognized
               stock exchange (or is a subsidiary of either) and is based or incorporated in, or formed
               under the law of, a recognized jurisdiction; or

       (c)     the application is made through an intermediary which is regulated by a recognized
               regulatory authority and is based in or incorporated in, or formed under the law of a
               recognized jurisdiction and an assurance is provided in relation to the procedures
               undertaken on the underlying investors.

       For the purposes of these exceptions, recognition of a financial institution, regulatory authority,
stock exchange or jurisdiction will be determined in accordance with the Money Laundering
Regulations by reference to those jurisdictions recognized by the Cayman Islands Monetary Authority
as having equivalent anti-money laundering regulations to the Cayman Islands.

       In the event of delay or failure on the part of the subscriber in producing any information
required for verification purposes, the Fund, or the Administrator on the Fund’s behalf, may refuse to
accept the application, in which case any funds received will be returned without interest to the
account from which they were originally debited.

       The Fund, and the Administrator on the Fund’s behalf, also reserve the right to refuse to make
any redemption or dividend payment to a shareholder if the Directors or the Administrator suspect or
are advised that the payment of redemption or dividend proceeds to such shareholder may be non-
compliant with applicable laws or regulations, or if such refusal is considered necessary or appropriate
to ensure the compliance by the Fund or the Administrator with any applicable laws or regulations.



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         If any person resident in the Cayman Islands knows or suspects or has reasonable grounds for
knowing or suspecting that another person is engaged in criminal conduct or is involved with terrorism
or terrorist property and the information for that knowledge or suspicion came to their attention in the
course of business in the regulated sector, or other trade, profession, business or employment, the
person will be required to report such knowledge or suspicion to (i) the Financial Reporting Authority
of the Cayman Islands, pursuant to the Proceeds of Crime Law, 2016 Revision of the Cayman Islands
if the disclosure relates to criminal conduct or money laundering, or (ii) a police officer of the rank of
constable or higher, or the Financial Reporting Authority, pursuant to the Terrorism Law (2015
Revision) of the Cayman Islands, if the disclosure relates to involvement with terrorism or terrorist
financing and property. Such a report shall not be treated as a breach of confidence or of any
restriction upon the disclosure of information imposed by any enactment or otherwise.

        As a regulated mutual fund in the Cayman Islands, the Master Fund is also subject to the same
legislation and regulations aimed at the prevention of money laundering that are applicable to the
Fund. The Master Fund will discharge its obligations by implementing procedures substantially
similar to the Fund.

Requests for Information

         The Fund and the Master Fund, or any of its or their directors or agents domiciled in the
Cayman Islands, may be compelled to provide information, subject to a request for information made
by a regulatory or governmental authority or agency under applicable law; e.g. by the Cayman Islands
Monetary Authority, either for itself or for a recognized overseas regulatory authority, under the
Monetary Authority Law (2016 Revision), or by the Tax Information Authority, under the Tax
Information Authority Law (2017 Revision) or Reporting of Savings Income information (European
Union) Law (2014 Revision) and associated regulations, agreements, arrangements and memoranda of
understanding. Disclosure of confidential information under such laws shall not be regarded as a
breach of any duty of confidentiality and, in certain circumstances, the Fund, the Master Fund and any
of its or their directors or agents, may be prohibited from disclosing that the request has been made.

United States

        All subscriptions for Shares will be subject to applicable anti-money laundering
regulations. Investors will be required to comply with such anti-money laundering procedures as are
required by the Uniting and Strengthening America by Providing Appropriate Tools Required to
Intercept and Obstruct Terrorism (USA PATRIOT) Act of 2001 (Pub. L. No. 107-56).

       As part of the Fund’s responsibility to comply with regulations aimed at the prevention of
money laundering, the Fund or its delegate may require verification of identity from all prospective
investors. Depending on the circumstances of each subscription, it may not be necessary to obtain full
documentary evidence of identity.

        The Fund reserves the right to request such information as is necessary to verify the identity of
a prospective investor. The Fund also reserves the right to request such identification evidence in
respect of a transferee of Shares. In the event of delay or failure by the prospective investor or
transferee to produce any information required for verification purposes, the Fund may refuse to accept
the application or (as the case may be) to register the relevant transfer and (in the case of a subscription
of Shares) any funds received will be returned without interest to the account from which the monies
were originally debited.

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       The Fund also reserves the right to refuse to make any redemption payment or distribution to a
shareholder, if the Fund suspects or is advised that the payment of any redemption or distribution
moneys to such shareholder might result in a breach or violation of any applicable anti-money
laundering or other laws or regulations by any person in any relevant jurisdiction, or such refusal is
considered necessary or appropriate to ensure the compliance by the Fund and the Investment Manager
with any such laws or regulations in any relevant jurisdiction.

Beneficial Ownership Regime

        The Fund is regulated as a mutual fund under the Mutual Funds Law and, accordingly, does not
fall within the scope of the primary obligations under Part XVIIA of the Companies Law (the
“Beneficial Ownership Regime”). The Fund is therefore not required to maintain a beneficial
ownership register. The Fund may, however, be required from time to time to provide, on request,
certain particulars to other Cayman Islands entities which are within the scope of the Beneficial
Ownership Regime and which are therefore required to maintain beneficial ownership registers under
the Beneficial Ownership Regime. It is anticipated that such particulars will generally be limited to the
identity and certain related particulars of (i) any person holding (or controlling through a joint
arrangement) a majority of the voting rights in respect of the Fund; (ii) any person who is a member of
the Fund and who has the right to appoint and remove a majority of the board of directors of the Fund;
and (iii) any person who has the right to exercise, or actually exercises, dominant direct influence or
control over the Fund.

Legal Implications of Investment in the Fund

        The Fund is incorporated under the laws of the Cayman Islands and has its registered office in
the Cayman Islands. In summary, the main Cayman Islands legal implications of investing in the Fund
are as follows:

   (a) by submitting the Subscription Documents to the Administrator, the prospective investor makes
       an offer to subscribe for the Shares which, once accepted by the Fund, has the effect of a
       binding contract. The terms of such contract are governed by the Subscription Documents (read
       together with the Memorandum);

   (b) upon the issue of the Shares, such prospective investor becomes a shareholder of the Fund, and
       the Articles of Association of the Fund take effect as a contract between the shareholders and
       the Fund by operation of law;

   (c) the Articles of Association may only be amended by way of a special resolution in accordance
       with the Cayman Islands Companies Law (as amended);

   (d) subject to any separate contractual arrangements agreed to by a shareholder with the Fund and
       the indemnity provisions of the Subscription Documents, a shareholder’s liability to the Fund
       will generally be limited to the amount, if any, unpaid on the Shares held by such shareholder;

   (e) the Articles of Association are governed by, and construed in accordance with, the laws of the
       Cayman Islands. The Subscription Documents are expressed to be governed by, and construed
       in accordance with, the laws of the Cayman Islands;

   (f) the rights and restrictions that apply to a shareholder’s Shares may be modified and/or
       additional terms agreed by way of side letters (subject to such terms being consistent with the

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     Articles of Association). As a matter of Cayman Islands law, side letters may not contravene the
     terms of the Articles of Association or Cayman Islands law generally; and

  (g) although there is no statutory enforcement in the Cayman Islands of judgments obtained in a
      foreign jurisdiction (other than judgments rendered by an Australian superior court which may
      be enforced under the Cayman Islands Foreign Judgments Reciprocal Enforcement Law (1996
      Revision)), a judgment obtained in such jurisdiction will be recognized and enforced in the
      courts of the Cayman Islands at common law, without any re-examination of the merits of the
      underlying dispute, by an action commenced on the foreign judgment debt in the Grand Court
      of the Cayman Islands, provided such judgment satisfies certain criteria.




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                                              Appendix A

Definition of “United States Person”

       For purposes of the applicable prohibitions against ownership and transfer of Shares of the
Fund, the term “United States Person” and “U.S. Person” means:

       (1)    a resident or citizen of the United States;
       (2)    a partnership or corporation organized under the laws of the United States;
       (3)    any entity not organized under the laws of the United States:
              (a)       that has its principal office or place of business in the United States; or
              (b)     (i)     in which citizens or residents of or entities organized under the laws of or
                              existing in the United States directly or indirectly hold in the aggregate
                              50% or more of the beneficial interests; and
                      (ii)    that will own directly or indirectly, either alone or together with affiliated
                              persons, an aggregate of more than 9.9% of the Fund’s outstanding
                              Shares; or
              (c)     (i)     that is organized principally for passive investment (such as an
                              investment company, a commodity pool or other similar vehicle); and
                      (ii)    (A)    in which the amount of units of participation held by United
                                     States Persons (other than “qualified eligible participants” as
                                     defined in Rule 4.7(a)(2) under the United States Commodity
                                     Exchange Act) represents in the aggregate 10% or more of the
                                     beneficial interest in the entity;
                              (B)    that was formed for the purpose of facilitating investment by
                                     United States Persons in the Fund, or in any other commodity
                                     pool with respect to which the operator is exempt from certain
                                     requirements of Part 4 of the regulations promulgated by the
                                     United States Commodity Futures Trading Commission by virtue
                                     of its participants being non-United States Persons; or
                              (C)    that was formed by United States Persons principally for the
                                     purpose of investing in securities not registered under the United
                                     States Securities Act of 1933, as amended, unless it is formed and
                                     owned by “accredited investors” (as defined in Rule 501(a) under
                                     the Securities Act of 1933, as amended) who are not natural
                                     persons, estates or trusts;
       (4)    an estate or trust:
              (a)     of which an executor, administrator or trustee is a United States Person, unless:
                      (i)     an executor, administrator or trustee who is not a United States Person
                              has sole or shared investment discretion with respect to the assets of the
                              estate or trust; and
                      (ii)    (A)    in the case of an estate, it is governed by non-U.S. law; or


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                             (B)     in the case of a trust, no beneficiary (and no settlor if the trust is
                                     revocable) is a United States Person; or
              (b)     the income of which is subject to United States income tax regardless of source;
       (5)    any agency or branch of a foreign entity located in the United States;
       (6)    any non-discretionary account or similar account (other than an estate or trust) held for
              the benefit or account of one or more United States Persons; and
       (7)    any discretionary account or similar account (other than an estate or trust) held by a
              dealer or other fiduciary organized, incorporated, or (if an individual) resident in the
              United States, unless it is held by a dealer or other professional fiduciary exclusively for
              the benefit or account of one or more non-United States Persons.

        For purposes of the foregoing, the term “United States” or “U.S.” means the United States of
America, its territories and possessions, any state of the United States, and the District of Columbia.
Persons requiring details regarding other terms used in the foregoing definition (such as “qualified
eligible participant” and “accredited investor”) should contact the Fund or the Administrator.




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                                                          Memorandum Number _________




                     Confidential Private Placement Memorandum


                                     Series A Interests
                                     Series B Interests
                                     Series C Interests
                                             in


                  Highland Argentina Regional Opportunity Fund, L.P.




                                      General Partner

                   Highland Argentina Regional Opportunity Fund GP, LLC




                                    Investment Manager

                      Highland Capital Management Latin America, L.P.




                                        March 2019




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                                                NOTICE

        This Confidential Private Placement Memorandum (this “Memorandum”) is being furnished on
a confidential basis solely to selected qualified investors considering the purchase of limited partner
interests (the “Interests”) in Highland Argentina Regional Opportunity Fund, L.P. (the “Fund”). This
Memorandum is not to be reproduced or distributed to others, at any time, without the prior written
consent of Highland Argentina Regional Opportunity Fund GP, LLC (the “General Partner”). Each
recipient agrees to keep confidential all information contained herein not already in the public domain
and will use this Memorandum for the sole purpose of evaluating a possible investment in the Fund.
Notwithstanding anything herein to the contrary, each investor (and each employee, representative, or
other agent of the investor) may disclose to any and all persons, without limitation of any kind, the tax
treatment and tax structure of an investment in the Fund and all materials of any kind (including opinions
or other tax analyses) that are provided to the investor relating to such tax treatment and tax structure.
Acceptance of this Memorandum by prospective investors constitutes an agreement to be bound by the
foregoing terms.

        Prospective investors should not construe the contents of this Memorandum as legal, tax or
financial advice. Each prospective investor should consult its own professional advisors as to the legal,
financial, tax, ERISA (as defined herein) or other matters relevant to the suitability of an investment in
the Fund for such investor.

        In making an investment decision, investors must rely on their own examination of the Fund and
the terms of the offering contemplated by this Memorandum. The Interests have not been recommended
by any U.S. federal or state, or any non-U.S., securities commission or regulatory
authority. Furthermore, the foregoing authorities have not confirmed the accuracy or determined the
adequacy of this Memorandum. Any representation to the contrary is a criminal offense.

        The Interests have not been and will not be registered under the U.S. Securities Act of 1933, as
amended (the “Securities Act”), or the securities laws of any of the states of the United States. The
offering and any potential sale contemplated by this Memorandum will be made in reliance upon an
exemption from the registration requirements of the Securities Act for offers and sales of securities which
do not involve any public offering and analogous exemptions under state securities laws. There will be
no public market for the Interests, and there is no obligation on the part of any person to register the
Interests under the Securities Act or any state securities laws.

        The Fund has not been and will not be registered under the U.S. Investment Company Act of
1940, as amended (the “Investment Company Act”), since Interests will only be sold to persons who are
“qualified purchasers,” as defined in the Investment Company Act.

       Each subscriber for an Interest will be required to certify that it is an “accredited investor” as
defined in Regulation D under the Securities Act and a “qualified purchaser,” as defined in the
Investment Company Act.

        Pursuant to an exemption from the Commodity Futures Trading Commission (the “CFTC”),
Highland Capital Management Latin America, L.P., the investment manager to the Fund (the
“Investment Manager”), is not registered with the CFTC as a commodity pool operator (“CPO”) and
therefore, unlike a registered CPO, is not required to deliver a disclosure document or a certified annual
report to participants in this pool. Among other things, the exemption requires the filing of a claim of
exemption with the National Futures Association. It is also required that at all times either: (a) the
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aggregate initial margin and premiums required to establish commodity interest positions does not
exceed 5% of the liquidation value of the Fund’s portfolio; or (b) the aggregate net notional value of the
Fund’s commodity interest positions does not exceed 100% of the liquidation value of the Fund’s
portfolio and further that all pool participants are required to be accredited investors or certain other
qualified investors. The Investment Manager qualifies for an exemption from registration as a
commodity trading advisor pursuant to CFTC Rule 4.14(a)(8).

        Interests are suitable only for sophisticated investors who do not require immediate liquidity for
their investments, for whom an investment in the Fund does not constitute a complete investment
program and who fully understand and are willing to assume the risks involved in the Fund’s investment
program. The Fund’s investment practices, by their nature, may be considered to involve a substantial
degree of risk. See “Risk Factors and Potential Conflicts of Interest.” No assurance can be given that
the Fund’s investment objectives will be achieved or that investors will receive a return of their capital.

         The Interests are subject to restrictions on transferability and resale and may not be transferred
or resold except as permitted under the Securities Act and any applicable state or other securities laws,
pursuant to registration or an exemption therefrom. The transferability of the Interests will be further
restricted by the terms of the limited partnership agreement of the Fund, as amended (the “Partnership
Agreement”). Investors should be aware that they will be required to bear the financial risks of an
investment in the Interests for an extended period of time.

        This Memorandum does not constitute an offer to sell, or the solicitation of an offer to buy, any
Interests in any state or other jurisdiction where, or to or from any person to or from whom, such offer
or solicitation is unlawful or not authorized.

        No person has been authorized to give any information or to make any representation concerning
the Fund or the offering of the Interests other than the information contained in this Memorandum and,
if given or made, such information or representation must not be relied upon as having been authorized
by the Fund or the General Partner.

       The Interests are offered subject to the right of the General Partner to reject any subscription in
whole or in part.

        This Memorandum is intended solely for the use of the person to whom it has been delivered by
the General Partner or its authorized representative for the purpose of evaluating a possible investment
by the recipient in the Interests described herein, and is not to be reproduced or distributed to any other
persons (other than professional advisors of the prospective investor receiving this Memorandum from
the General Partner or its authorized representative).

        This Memorandum does not purport to be, and should not be construed as, a complete description
of the Partnership Agreement or the investment management agreement by and among the Investment
Manager, the General Partner, the Master Fund, the Offshore Fund (each as defined below) and the Fund
(the “Investment Management Agreement”). Each prospective investor in the Fund is encouraged to
review the Partnership Agreement carefully, in addition to consulting appropriate legal and tax
advisors. To the extent of any inconsistency between this Memorandum and the Partnership Agreement,
the terms of the Partnership Agreement shall control.

       The delivery of this Memorandum does not, under any circumstances, create any implication that
there has been no change in the circumstances affecting the Fund or Highland Argentina Regional

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Opportunity Master Fund, L.P. (the “Master Fund”) since the date hereof. An amended or updated
Memorandum will be provided to reflect any material changes to the information contained herein.

        Certain information contained in this Memorandum constitutes “forward-looking statements,”
which can be identified by the use of forward-looking terminology such as “may,” “will,” “should,”
“expect,” “anticipate,” “project,” “estimate,” “intend,” or “believe” or the negatives thereof or other
variations thereon or comparable terminology. Due to various risks and uncertainties, including those
described in “Risk Factors and Potential Conflicts of Interest,” actual events or results or the actual
performance of the Fund may differ materially from those reflected or contemplated in such forward-
looking statements.

       All references herein to “$” refer to U.S. dollars. Except as the context otherwise requires,
references to the term “Fund” in this Memorandum shall be deemed to include the Master Fund.




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                                   DIRECTORY


      General Partner              Highland Argentina Regional Opportunity Fund GP, LLC
                                   300 Crescent Court, Suite 700
                                   Dallas, TX 75201

      Investment Manager           Highland Capital Management Latin America, L.P.
                                   c/o Highland Capital Management, L.P.
                                   300 Crescent Court, Suite 700
                                   Dallas, TX 75201

      Administrator                MUFG Fund Services (Cayman) Limited
                                   2nd Floor, Strathvale House
                                   90 North Church Street
                                   P.O. Box 609
                                   Grand Cayman KY1-1107
                                   Cayman Islands

      Auditor                      PricewaterhouseCoopers LLP
                                   5th Floor Strathvale House
                                   P.O. Box 258
                                   Grand Cayman KY1-1104
                                   Cayman Islands

      Prime Brokers                Société Générale
                                   440 S. LaSalle St., Suite 2400
                                   Chicago, IL 60605

                                   BNP Paribas Prime Brokerage, Inc.
                                   787 Seventh Avenue
                                   The Equitable Tower
                                   New York, NY 10019

      Legal Counsel                In the United States:
                                   Akin Gump Strauss Hauer & Feld LLP
                                   1700 Pacific Avenue
                                   Suite 4100
                                   Dallas, TX 75201




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                                       EXECUTIVE SUMMARY

        Highland Argentina Regional Opportunity Fund, L.P., a Delaware limited partnership (the
“Fund”), seeks to maximize the total return of its assets through capital appreciation by investing all of
its investable assets in Highland Argentina Regional Opportunity Master Fund, L.P., a Cayman Islands
exempted limited partnership (the “Master Fund”), which intends to hold primarily a portfolio of
investments in securities of Latin American corporate and sovereign issuers as well as non-Latin
American issuers that derive a portion of their revenues from business activities in Latin America, in
each case with a primary focus on Argentina.

        Highland Argentina Regional Opportunity Fund GP, LLC, a Delaware limited liability company
(the “General Partner”), acts as general partner of the Fund and the Master Fund and is registered as a
foreign company in the Cayman Islands. Highland Capital Management Latin America, L.P., a Cayman
Islands exempted limited partnership (the “Investment Manager” and, together with its affiliates,
shareholders, directors, members, partners, officers and employees, the “Advisory Parties”), serves as
investment manager to the Fund, the Offshore Fund (as defined below) and the Master Fund and manages
the Master Fund’s investment program. Each of the General Partner and the Investment Manager is
ultimately controlled by James D. Dondero (the “Principal”).

        In order to facilitate investments by non-U.S. and certain U.S. tax-exempt investors, the
Investment Manager and its affiliates recently assumed the management of an existing investment fund,
Highland Argentina Regional Opportunity Fund, Ltd., a Cayman Islands exempted company (the
“Offshore Fund” and, together with the Fund, the “Feeder Funds”). The Feeder Funds will place all
of their investable assets in, and conduct all of their investment and trading activities in parallel through,
the Master Fund. References in this Memorandum to the Fund shall include the Master Fund, unless
otherwise specified or the context so requires.

        The Fund (but not the Master Fund) is seeking subscriptions from investors who qualify as both
“accredited investors” and “qualified purchasers” (each as defined in the Fund’s subscription materials).
The minimum initial investment is $500,000, and thereafter, the minimum subsequent investment is
$500,000, although, in each case, the Fund may accept investments in a lesser amount, but no less than
$100,000 with respect to Series B Interests. The Fund generally accepts subscriptions on the first day
of each calendar month. A subscriber admitted to the Fund as a limited partner (each, a “Limited
Partner”) will receive, in exchange for its initial capital contribution and any subsequent capital
contribution, a limited partner interest representing a proportionate share of the net assets of the Fund at
that time.

         The Fund intends to issue multiple series of limited partner interests (“Interests”) over time. Not
all series of Interests will be available for subscription at the same time and the terms among the series
of Interests will vary. The Fund is currently offering Series A Interests, Series B Interests and Series C
Interests pursuant to this Memorandum.

         For its services to the Master Fund, the Investment Manager is generally entitled to a management
fee (the “Management Fee”), which is calculated monthly and paid quarterly in arrears at the Master
Fund level. The Management Fee is calculated at an annual rate of (i) 1.75% of each Limited Partner’s
capital account that is attributable to a Series A Interest, (ii) 1.25% of each Limited Partner’s capital
account that is attributable to a Series B Interest, and (iii) 1.00% of each Limited Partner’s capital account
that is attributable to a Series C Interest.


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         In addition, the Investment Manager, in its capacity as the special limited partner of the Master
Fund (the “Special Limited Partner”), is entitled to a quarterly performance-based profits allocation (the
“Performance Allocation”) at the end of each fiscal quarter. The Performance Allocation is calculated
and allocated at the Master Fund level, but is effectively equal to (i) 20.0% of the amount by which the
net asset value of each Series A Interest on the last day of a fiscal quarter exceeds the “high water mark”
for such Series A Interest, if any, (ii) 17.5% of the amount by which the net asset value of each Series B
Interest on the last day of a fiscal quarter exceeds the “high water mark” for such Series B Interest, if
any, and (iii) 15.0% of the amount by which the net asset value of each Series C Interest on the last day
of a fiscal quarter exceeds the “high water mark” for such Series C Interest, if any.

        Subject to a one-year “soft lock-up” with an early withdrawal reduction attributable to Series B
Interests only and a two-year “soft lock-up” with an early withdrawal reduction attributable to Series C
Interests only, a Limited Partner is generally permitted to withdraw all or a portion of its Interest on 30
calendar days’ prior written notice on the last business day of each calendar month. Withdrawals may
be subject to reserves for contingencies and suspension restrictions as discussed further in this
Memorandum.

       The Fund may agree with certain Limited Partners to a variation of the terms set forth in this
Memorandum or establish additional series of Interests that have terms that differ from those described
herein, including, without limitation, different management fees, performance allocations and
withdrawal rights.




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                                     INVESTMENT PROGRAM

INVESTMENT OBJECTIVE

         The investment objective of the Fund is to maximize the total return of its assets through capital
appreciation by investing all of its investable assets in the Master Fund, which intends to hold primarily
a portfolio of investments in securities of Latin American corporate and sovereign issuers as well as non-
Latin American issuers that derive a portion of their revenues from business activities in Latin America,
in each case with a primary focus on Argentina, and that the Investment Manager believes would provide
profitable investment opportunities for the Master Fund. The Master Fund will invest in a single
portfolio of assets and does not currently intend to have a separate portfolio of assets for each of its
series, each of which will correspond to a series of limited partner interests in the Fund.

INVESTMENT STRATEGY

        The Master Fund is a multi-strategy investment fund and there is no limit on the investment
strategies that may be utilized. The Investment Manager believes that focusing on a multi-strategy
approach will enable the Master Fund to enhance results by compounding returns generated by each
strategy and at the same time have the needed flexibility to adjust to potentially changing regulations
and market conditions.

       The Investment Manager will be focused on identifying assets that are mispriced against similar
assets and/or against the Investment Manager’s expectations for assets’ fair values and market
movements, special situations, such as mergers, financial restructurings, hostile takeovers, or leveraged
buy-outs. There is no set allocation among these and any other strategies that the Investment Manager
may use.

        The Master Fund may hold long and short positions in a wide range of liquid or illiquid fixed
income securities including, but not limited to, sovereign and private debt, distressed debt, secured and
unsecured debt, structured debt, loans, asset-backed securities and collateralized debt obligations.
Furthermore, the Master Fund may invest, both long and short, in a wide range of liquid or illiquid
equity-related instruments including, but not limited to, equities, convertible bonds, options, equity-
linked notes, preferred shares and warrants, whether or not listed or traded on one or more exchanges.

        The Master Fund may hold any of these positions indirectly by entering into swaps, options,
futures, forward contracts or similar derivative transactions.

       The Master Fund may hold both U.S. dollar and non-U.S. dollar denominated securities.

        The Master Fund may leverage its investment portfolio by up to 100% of the Master Fund’s net
asset value (calculated at the time of investment) by borrowing for investment purposes and by using
leverage techniques and products. It is anticipated that by doing so the performance of the Master Fund
will be enhanced. While the use of the leverage may improve the return on invested capital, leverage
may also significantly increase the impact of adverse movement in the value of the Master Fund.

        The Master Fund may also utilize hedging strategies in order to maximize returns and reduce the
risk to principal or the volatility associated with its holdings. As part of these hedging strategies, the
Master Fund may hedge any of its investments with long or short positions in any financial instrument,
which the Investment Manager deems appropriate. The Master Fund may utilize U.S. and European
securities for hedging purposes.
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        The Master Fund may invest through one or more subsidiaries established in an appropriate
jurisdiction in order to take advantage of applicable tax treaties or increase the tax efficiency of the
Master Fund’s investments, or in such other circumstances as the General Partner, in its capacity as the
general partner of the Master Fund, following consultation with the Investment Manager, deem
appropriate, including compliance with local investment laws.

        The Master Fund may maintain assets in cash or cash equivalent instruments, money market
funds, repurchase agreements, or other cash management vehicles pending investment, for defensive
purposes, to fund withdrawals requested by the limited partners of the Master Fund or otherwise at the
discretion of the Investment Manager. The Master Fund may hold with no limitation U.S. and European
AAA fixed income securities for defensive purposes.

INVESTMENT RESTRICTIONS

         In deploying the investment strategy, the Master Fund will observe the following investment
restrictions. The Master Fund will not at the time of investment:

       1. Invest more than 50 percent of its gross assets in its net holdings of equities;

       2. Borrow more than 100 percent of its net assets;

       3. Invest more than 20 percent of its gross assets in a single equity position;

       4. Invest more than 20 percent of its gross assets in a single corporate issuer position;

       5. Invest more than 30 percent of its gross assets in a single GDP-linked warrant position; and

       6. Invest more than 30 percent of its gross assets in a single sovereign issuer security position;
and

       7. Invest more than 30 percent of its gross assets in a single provincial issuer.

       If a percentage limitation on investment or use of assets set forth above is adhered to at the time
a transaction is effected, later changes in percentage resulting from changing values will not be
considered a violation.

         In the event that the Investment Manager discovers that a violation of any of the Master Fund’s
investment limitations has occurred (the date of such discovery being the “Discovery Date”), the
Investment Manager shall inform the limited partners of the Master Fund, including the Fund, who shall:
(i) notify each of their limited partners or shareholders, as applicable, in writing within 30 business days
after the Discovery Date of the nature of the violation, the steps taken, or to be taken, to remedy the
violation and the reason the violation occurred and (ii) use reasonable commercial efforts to cause the
Investment Manager to remedy such violation within 90 business days after the Discovery Date (the
“Remedy Date”). If such violation has not been remedied on or before the Remedy Date, the limited
partners of the Master Fund, including the Fund, shall: (i) notify each of their limited partners or
shareholders, as applicable, in writing, 30 business days after the Remedy Date, of the steps taken to
remedy the violation and the reason that the violation has not been remedied by the Remedy Date (the
“Remedy Notice”) and (ii) use reasonable commercial efforts to cause the Master Fund’s portfolio to be
examined by an independent auditor other than PricewaterhouseCoopers LLP and shall request that such
independent auditor issue a report to the investors in each of the Master Fund’s limited partners as to its

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concurrence or disagreement with the statements in the Remedy Notice. The Investment Manager shall
pay for the costs of such audit and the costs of the Remedy Notice if the violation that was the subject
of the Remedy Notice occurred as a result of the Investment Manager's willful misfeasance, bad faith or
gross negligence. In addition, the failure to remedy the violation in a timely manner may give rise to
special withdrawal rights. See “Summary of Terms – Withdrawals; Lock-Ups.”

DISTRIBUTION POLICY

        The Fund’s objective is to maximize capital appreciation and accordingly it is not envisaged that
any income or gains derived from the investments made by the Master Fund will be distributed by way
of dividend. This does not preclude the General Partner from declaring a dividend at any time in the
future if it considers it appropriate to do so. To the extent that a dividend may be declared, it will be paid
in compliance with any applicable laws.

        The investment objectives and strategies summarized herein represent the Investment
Manager’s current intentions. Depending on conditions and trends in the securities markets and the
economy in general, the Investment Manager may pursue any strategies, employ any investment
techniques or purchase any type of security that it considers appropriate, whether or not described in
this section, subject to any applicable law or regulation. The discussion herein includes and is based
upon numerous assumptions and opinions of the Investment Manager concerning world financial
markets and other matters, the accuracy of which cannot be assured. There can be no assurance that
the investment strategy of the Master Fund will achieve the intended investment objective. The Master
Fund’s investment program is speculative and involves a high degree of risk, including, without
limitation, the risk of loss of the entire amount invested.




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                            MANAGEMENT AND ADMINISTRATION

The General Partner and the Investment Manager

        Highland Argentina Regional Opportunity Fund GP, LLC, a Delaware limited liability company
(the “General Partner”), acts as the general partner of the Fund and the Master Fund and is registered
as a foreign company in the Cayman Islands.

       Highland Capital Management Latin America, L.P., a Cayman Islands exempted limited
partnership (the “Investment Manager”), serves as the investment manager of the Fund, the Offshore
Fund and the Master Fund and has responsibility for the Master Fund’s investment program.

      Each of the General Partner and the Investment Manager is ultimately controlled by James D.
Dondero (the “Principal”).

The Investment Management Agreement

        The Investment Manager was appointed as the investment manager to the Fund, the Offshore
Fund and the Master Fund pursuant to an investment management agreement (the “Investment
Management Agreement”). Under the Investment Management Agreement, the Investment Manager
has full discretion to invest the assets of the Master Fund in pursuit of the investment objective and
strategy described in this Memorandum. For its services, the Investment Manager is entitled to the
Management Fee, as well as reimbursement for any Feeder Fund or Master Fund expenses incurred by
the Investment Manager.

        The Investment Management Agreement provides that, in the absence of gross negligence,
willful misconduct or fraud, each of the Investment Manager, its members, shareholders, partners,
managers, directors, any person who controls the Investment Manager, each of the respective affiliates
of the foregoing, and each of their respective executors, heirs, assigns, successors and other legal
representatives, will be indemnified by the Fund, the Offshore Fund and/or the Master Fund, to the extent
permitted by law, against any loss or liability incurred by any of such persons in performing their duties
under the Investment Management Agreement.

Services Agreement

       The Investment Manager engaged Highland Latin America Consulting, Ltd., a Cayman Islands
exempted company and a wholly-owned subsidiary of the Investment Manager (“Highland Latin
America”), pursuant to a services agreement (the “Services Agreement”) to provide certain
administrative and consulting services to the Investment Manager related to its management of the Fund,
the Offshore Fund and the Master Fund, including back- and middle-office services; credit analysis;
investment vehicle management; valuation; execution and documentation; marketing; reporting;
administrative services; and other ancillary services.

         The Services Agreement provides that in the absence of bad faith, gross negligence, fraud or
willful misconduct (as determined by a court of competent jurisdiction in a final non-appealable
judgment), the Investment Manager will, to the extent permitted by law, indemnify and hold harmless
Highland Latin America, any of its affiliates, and any of their respective managers, members, principals,
partners, directors, officers, shareholders, employees and agents against any and all claims, demands,
liabilities, costs, expenses, damages, losses, suits, proceedings, judgments, assessments, actions and
other liabilities incurred by such person in performing their duties under the Services Agreement. The
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Fund will not be liable for any consulting services provided by Highland Latin America or any
consultants or service providers that Highland Latin America engages, and the Fund will not bear any
costs or expenses related to the services provided by Highland Latin America.

Investment Personnel

        The key investment professionals of the Investment Manager and Highland Latin America who
will be responsible for the Master Fund’s investments are described below:

        James Dondero, CFA, CMA, President, Co-Founder. Mr. Dondero is Co-Founder and President
of Highland Capital Management, L.P. and a Director of Highland Latin America GP, Ltd., the general
partner of the Investment Manager. Mr. Dondero has over 30 years of experience in the credit and equity
markets, focused largely on high-yield and distressed investing. Mr. Dondero is the Chairman and
President of NexPoint Residential Trust, Inc. (NYSE:NYRT), Chairman of NexBank Capital, Inc.,
Cornerstone Healthcare Group Holding, Inc., and CCS Medical, Inc., and a board member of Jernigan
Capital, Inc. (NYSE:JCAP), and MGM Holdings, Inc. He also serves on the Southern Methodist
University Cox School of Business Executive Board. A dedicated philanthropist, Mr. Dondero actively
supports initiatives in education, veterans affairs, and public policy. Prior to founding Highland in 1993,
Mr. Dondero was involved in creating the GIC subsidiary of Protective Life, where as Chief Investment
Officer he helped take the company from inception to over $2 billion between 1989 and 1993. Between
1985 and 1989, Mr. Dondero was a corporate bond analyst and then portfolio manager at American
Express. Mr. Dondero began his career in 1984 as an analyst in the JP Morgan training program. Mr.
Dondero graduated from the University of Virginia where he earned highest honors (Beta Gamma
Sigma, Beta Alpha Psi) from the McIntire School of Commerce with dual majors in accounting and
finance. He has received certification as Certified Public Accountant (CPA) and Certified Managerial
Accountant (CMA) and has earned the right to use the Chartered Financial Analyst (CFA) designation.

        Gustavo Prilick. Mr. Prilick is a Managing Partner at Highland Capital Brasil and a registered
asset manager in Brazil, and is a Director of Highland Latin America GP, Ltd., the general partner of the
Investment Manager. He has extensively worked in several of Highland Capital Brasil’s portfolio
companies in the US mainly as CEO. Prior to his involvement with Highland Capital Brasil, he was a
Partner at South America Fund, a private equity firm, mainly focused on providing financial services to
export companies in Argentina and Uruguay. Prior to South America Fund, he was the Chief Operating
Officer of Millicom International Cellular for 7 years, serving Latin America, Asia, Africa and ten
operations in Russia. Prior to Millicom, he served as the Director of International Business for Oracle
Corporation where he was responsible for the establishment of most of Oracle’s International
Subsidiaries on several continents, including the Brazilian operation. Later he became President of
Oracle South America with oversight of several countries in South America. He also served as CEO of
Nacion Factoring, a subsidiary of Banco Nacion in Argentina building its operations to reach one of the
leading positions in the country. Mr. Prilick received an MBA from the Stanford University Graduate
School of Business and a degree in Electrical Engineering from Universidad de Buenos Aires. He has
also held teaching positions as a visiting professor in several leading Business Schools in Argentina.

        Highland Latin America will enter into relationships and agreements with Argentine relevant
parties and/or individuals to obtain supporting services for the management of the Fund, the Offshore
Fund and the Master Fund, and will enter into consulting agreements with Andrés Pitchón, Julieta Prieto
and Javier Casabal pursuant to which these consultants will provide investment and related services to
the Feeder Funds and the Master Fund. Mr. Pitchón will provide portfolio management services to the
Master Fund under the overall supervision of the Investment Manager.

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        Andrés Pitchón. Mr. Pitchón, through a consulting arrangement with Highland Latin America
Consulting, Ltd., provides portfolio management services to the Master Fund. Mr. Pitchón began his
career in 1993 as Head of Equity Research for Argentina for MBA-Salomon Brothers and later he also
became responsible for Fixed income. As Head of the Research Department, his work was recognized
by international publications such as Institutional Investor, Latin Finance, The Reuters Survey and The
Greenwich Survey. Since 1997 and 1999, he has managed the Offshore Fund’s equity and fixed income
mutual funds. Since 2003, Mr. Pitchón had been Senior Portfolio Manager of the Offshore Fund’s hedge
funds. Mr. Pitchón received a BA degree in IT, focused on Business Administration from the University
of Belgrano (1989), together with an academic merit medal for highest GPA in the School of
Technology. Mr. Pitchón also received a Master’s degree in Business Administration from Anderson
Graduate School of Business at UCLA in 1992.

The Administrator

        The Master Fund has entered into an Administration Agreement (the “Administration
Agreement”) with MUFG Fund Services (Cayman) Limited (the “Administrator”) pursuant to which
the Administrator performs certain administrative and accounting services for the Feeder Funds and the
Master Fund, subject to the oversight and control of the General Partner, in its capacity as the general
partner of the Master Fund.

        Pursuant to the Administration Agreement, the Administrator is responsible, under the overall
supervision of the General Partner, in its capacity as the general partner of the Master Fund, for certain
matters pertaining to the administration for the Fund, including: (i) maintaining the accounts of the Fund
and the Master Fund, (ii) calculating the Master Fund’s net asset value, (iii) maintaining the principal
corporate records of the Fund and the Master Fund, (iv) communicating with Limited Partners, (v)
accepting the subscriptions of new Limited Partners, (vi) effecting withdrawals of Interests, (vii)
maintaining the register of sub-fund investments, (viii) executing sub-fund subscriptions and
withdrawals as instructed by the Fund, and (ix) ensuring compliance with applicable law and regulation
(including anti-money laundering regulations). For its services, the Administrator receives a fee from
the Master Fund.

        The Administration Agreement may be terminated by the Administrator or the Master Fund upon
ninety (90) days’ written notice or, under certain circumstances, shorter notice. In such event, the Master
Fund may enter into a new agreement with a new administrator on behalf of the Master Fund and the
Feeder Funds, in its discretion and on such terms as it deems advisable, without prior notice to, or
approval of, investors.

         Under the Administration Agreement, the Master Fund agrees to indemnify and hold harmless
the Administrator and its affiliated persons and delegates, as well as their respective officers, directors,
employees and agents for, and to defend and hold each such person harmless from, any and all taxes,
claims, demands, actions, suits, judgments, liabilities, losses, damages, costs, charges, counsel fees (on
a solicitor and his own client basis), fines, assessments, amounts paid in settlement and expenses imposed
on, incurred by, or asserted against the person which may arise out of or in connection with the
Administration Agreement. The Administrator or any other indemnified person will not be indemnified
for their own gross negligence, wilful default or fraud.

       The Administrator is not responsible for valuing the Master Fund’s investments, monitoring any
investment restrictions of the Master Fund, determining compliance by the Master Fund with its
investment restrictions, the Master Fund's trading activities, the management or performance of the
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Master Fund or the accuracy or adequacy of this Memorandum. In addition, the Administrator does not
assume any liability to any person or entity, including Limited Partners, except as specifically provided
in the Administration Agreement. The Administrator may delegate certain services and share
information concerning the Fund and its Limited Partners with its various non-United States affiliates
subject to applicable confidentiality provisions.

       The Administrator has no responsibility with respect to trading activities, the Investment
Manager, the management or performance of the Master Fund, or the accuracy or adequacy of
this Memorandum.




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                                    SUMMARY OF TERMS

       The following Summary of Terms summarizes the principal terms governing an investment in the
Fund, and is subject, and qualified in its entirety by reference, to the Partnership Agreement, the
exempted limited partnership agreement of the Master Fund, as amended (the “Master Fund
Partnership Agreement”), and the Fund’s subscription documents (the “Subscription Documents”).
This summary is intended to be brief and does not purport to provide a comprehensive explanation of
the Partnership Agreement, the Master Fund Partnership Agreement and the Subscription Documents.
Accordingly, statements made in this Memorandum are subject to the detailed provisions of those
agreements. Prospective investors are urged to review those agreements in their entirety prior to
determining whether to invest in the Fund.

 The Fund                   Highland Argentina Regional Opportunity Fund, L.P., a Delaware limited
                            partnership (the “Fund”), primarily seeks to maximize the total return of
                            its assets through capital appreciation by investing all of its investable
                            assets in Highland Argentina Regional Opportunity Master Fund, L.P., a
                            Cayman Islands exempted limited partnership (the “Master Fund”),
                            which intends to hold primarily a portfolio of investments in securities of
                            Latin American corporate and sovereign issuers as well as non-Latin
                            American issuers that derive a portion of their revenues from business
                            activities in Latin America, in each case with a primary focus on
                            Argentina.

 General Partner            Highland Argentina Regional Opportunity Fund GP, LLC, a Delaware
                            limited liability company (the “General Partner”), acts as the general
                            partner of the Fund and the Master Fund and is registered as a foreign
                            company in the Cayman Islands. James D. Dondero (the “Principal”)
                            ultimately controls the General Partner.

 Investment Manager         Highland Capital Management Latin America, L.P., a Cayman Islands
                            exempted limited partnership controlled by the Principal (the
                            “Investment Manager”), serves as investment manager to the Feeder
                            Funds (as defined below) and the Master Fund and has responsibility for
                            the Master Fund’s investments.

 Master-Feeder              In order to facilitate investments by non-U.S. and certain U.S. tax-exempt
 Structure                  investors, the Investment Manager and its affiliates recently assumed the
                            management of an existing investment fund, Highland Argentina
                            Regional Opportunity Fund, Ltd., a Cayman Islands exempted company
                            (the “Offshore Fund” and, together with the Fund, the “Feeder Funds”).
                            The Feeder Funds will place all of their investable assets in, and conduct
                            all of their investment and trading activities in parallel through, the
                            Master Fund. Accordingly, references herein to the investment activity
                            of the Fund should be construed to refer to the Fund’s investment
                            activities through the Master Fund. The Feeder Funds share all items of
                            profit, loss, income and expense of the Master Fund on a pro rata basis
                            in accordance with their respective capital account balances in the Master
                            Fund. Except as the context otherwise requires, the term “Fund” also
                            includes the Master Fund.

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                        The Investment Manager or an affiliate may also sponsor one or more
                        additional investment funds or accounts.

 Eligible Investors     Limited partner interests (“Interests”) may be purchased only by
                        investors who qualify as both “accredited investors” and “qualified
                        purchasers,” each as defined in the Fund’s Subscription
                        Documents. Subscribers will be required to complete the Fund’s
                        Subscription Documents consisting of the subscription agreement and the
                        subscriber information form to determine their eligibility. The General
                        Partner reserves the right to reject any investor for any reason or for no
                        reason in its sole discretion.

                        An investment in the Fund is suitable only for persons that have adequate
                        means of providing for their current needs and personal contingencies and
                        have no need for liquidity in their investments. An investment in the
                        Fund should not be made by any person that (a) cannot afford a total loss
                        of its principal, or (b) has not carefully read or does not understand this
                        Memorandum, including the portions concerning the risks and the income
                        tax consequences of an investment in the Fund.

 Series of Interests    The Fund intends to issue multiple series of Interests over time. Not all
                        series of Interests will be available for subscription at the same time and
                        the terms among the series of Interests will vary. Each series will have
                        separate rights and preferences, including, without limitation, with
                        respect to fees and withdrawal rights. The Fund is currently offering
                        Series A Interests, Series B Interests and Series C Interests (each, a
                        “Series”).

                        New series of Interests may be established by the General Partner without
                        notice to or approval of the Limited Partners (defined below). References
                        herein to “Interests” or “Limited Partners” shall include all Series and
                        Limited Partners unless otherwise specified or context so requires.

 Subscriptions          Subscriptions for Interests may be accepted as of the first day of each
                        calendar month and/or such other days as the General Partner may
                        determine in its discretion from time to time, generally subject to the
                        receipt of cleared funds no later than the Business Day immediately
                        preceding the acceptance date. The initial minimum investment is
                        $500,000, and thereafter, a Limited Partner may make additional
                        investments, with the consent of the General Partner, in increments of not
                        less than $500,000; provided that, in each case, the Fund may accept
                        investments in a lesser amount, but no less than $100,000 with respect to
                        Series B Interests.

                        “Business Day” is defined as any day on which banks in the Cayman
                        Islands, Buenos Aires and New York City are authorized to open for



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                        business or such other days as the General Partner may determine
                        generally, or in any particular case.

                        A subscriber admitted to the Fund (a “Limited Partner”) receives, in
                        exchange for its initial capital contribution and any subsequent capital
                        contribution, an Interest representing a proportionate share of the net
                        assets of the Fund at that time.

                        All subscribers will be required to comply with such anti-money
                        laundering procedures as are required by the Uniting and Strengthening
                        America by Providing Appropriate Tools Required to Intercept and
                        Obstruct Terrorism (USA PATRIOT) Act of 2001 (Pub. L. No. 107-56)
                        and other applicable anti-money laundering regulations as further
                        described in this Memorandum and the Subscription Documents.

 Placement Agents       There will be no sales charge payable by or to the Fund in connection
                        with the offering of Interests. However, the General Partner and/or the
                        Investment Manager may enter into arrangements with placement agents
                        (which may include its affiliates) to solicit investors in the Fund, and such
                        arrangements may provide for the compensation of such placements
                        agents for their services at the General Partner’s and/or the Investment
                        Manager’s expense or such placement agents may be paid a portion of the
                        Management Fee. For the avoidance of doubt, the Fund will not bear any
                        placement agent fees.

                        Accordingly, investors should recognize that a placement agent’s or
                        distributor’s participation in this offering may be influenced by its interest
                        in such current or future fees and compensation. Investors should
                        consider these potential conflicts of interest in making their investment
                        decisions.

                        Each placement agent shall comply with the legal requirements of the
                        jurisdictions within which it offers and sells Interests.

 Capital Accounts       The Fund will maintain a book capital account (a “Capital Account”),
                        which may be divided into capital sub-accounts, for the General Partner
                        and each Limited Partner (each, a “Partner” and together, the “Partners”)
                        to reflect contributions, withdrawals, distributions and allocations of net
                        profit and net loss, with each sub-account being maintained as if it were
                        the Capital Account of a separate Partner in order to calculate the Series
                        B Early Withdrawal Reduction and Series C Early Withdrawal Reduction
                        (each as defined below), as applicable, and the Performance Allocation
                        (as defined below) for each capital contribution. The initial balance of
                        each Partner’s Capital Account will be equal to the amount of cash or net
                        value of any property contributed to the Fund by such Partner.

                        If a Partner invests in more than one Series, the Fund will maintain a
                        separate Capital Account on behalf of such Partner with respect to each
                        such Series and each Capital Account will be treated as if it were the

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                        Capital Account of a separate Partner for purposes of determining the
                        Management Fee (as defined below) and Performance Allocation
                        applicable to each Capital Account.

                        The Master Fund will issue to the Fund a limited partner interest in the
                        Master Fund and will maintain capital accounts and sub-accounts that
                        correspond to Limited Partners’ Capital Accounts in the Fund.

 Affiliated Investors   The Investment Manager, the General Partner and their respective
                        affiliates, principals, employees, partners, agents, the respective family
                        members of such personnel and trusts and other entities established
                        primarily for their benefit or for charitable purposes (“Affiliated
                        Investors”) may not be subject to restrictions on withdrawals or be
                        assessed the Management Fee or the Performance Allocation that are
                        applicable to other investors in the Fund, but do share pro rata in all other
                        applicable expenses of the Fund; provided that, the Special Limited
                        Partner may, unless prohibited by law, make withdrawals of all or any
                        part of its Performance Allocation and gains thereon from its capital
                        account in the Master Fund as of any Withdrawal Date (as defined below).

 Borrowing and          The Master Fund may buy securities or commodities on margin and
 Leverage               arrange with banks, brokers and others to borrow money against a pledge
                        of securities or commodities in order to employ leverage when the
                        Investment Manager deems such action appropriate. The Master Fund
                        may not borrow more than 100% of its net assets as described in
                        “Investment Program – Investment Restrictions” above.

 Management Fee         For its services to the Master Fund, the Investment Manager is entitled to
                        a management fee (the “Management Fee”) calculated monthly and
                        payable quarterly in arrears at an annual rate of (i) 1.75% of each Limited
                        Partner’s Capital Account balance that is attributable to a Series A
                        Interest, (ii) 1.25% of each Limited Partner’s Capital Account balance
                        that is attributable to a Series B Interest, and (iii) 1.00% of each Limited
                        Partner’s Capital Account balance that is attributable to a Series C
                        Interest. The Management Fee is paid at the Master Fund level. The
                        Management Fee will be prorated for any period that is less than a full
                        calendar quarter.

                        The General Partner or the Investment Manager may elect to reduce,
                        waive or calculate differently the Management Fee with respect to any
                        Limited Partner, including, without limitation, Affiliated Investors. To
                        effect such reduction, waiver or difference in calculation, the Fund may
                        issue a separate series of Interests.

                        The General Partner may delay the timing or alter the structure of fees
                        payable to the Investment Manager so long as such changes are not
                        materially adverse to the Limited Partners. The Investment Manager may
                        also assign all or any portion of fees payable to the Investment Manager,


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                        including the Management Fee and the Performance Allocation, to any
                        affiliate thereof or any third party in its sole discretion.

 Performance            Pursuant to the Master Fund Partnership Agreement, generally, as of the
 Allocation             close of each fiscal quarter and subject to the limitations described below,
                        a performance-based profits allocation (the “Performance Allocation”)
                        is debited against the Master Fund capital sub-account relating to each
                        Series attributable to a Limited Partner and simultaneously credited to the
                        Master Fund capital account of the Special Limited Partner. The
                        Performance Allocation is calculated and allocated at the Master Fund
                        level, but is effectively equal to (i) 20.0% of the Net Capital Appreciation
                        (as defined below) of each Series A Interest for such fiscal quarter, (ii)
                        17.5% of the Net Capital Appreciation of each Series B Interest for such
                        fiscal quarter, and (iii) 15.0% of the Net Capital Appreciation of each
                        Series C Interest for such fiscal quarter.

                        The “Net Capital Appreciation” applicable to an Interest shall mean the
                        amount by which the net asset value of such Interest on the last day of the
                        fiscal quarter (or on the Withdrawal Date, if applicable) exceeds the
                        higher of the following amounts: (i) the highest net asset value of such
                        Interest as of the commencement of any fiscal quarter and (ii) the issue
                        price of such Interest. All such calculations include realized and
                        unrealized gains and losses and are made before deduction of the
                        Performance Allocation, but after deduction of the accrued applicable
                        expenses of the Fund and the Master Fund for the applicable period, and
                        in each case adjusted for any subscriptions and withdrawals made during
                        the quarter.

                        The Performance Allocation is calculated and allocated at the Master
                        Fund level through the use of separate memorandum sub-accounts with
                        respect to the Fund’s capital account in the Master Fund that correspond
                        to each Series attributable to a Limited Partner. No separate Performance
                        Allocation will be charged at the Fund level.

                        The Performance Allocation generally will be allocable to the Special
                        Limited Partner after the end of each fiscal quarter and as of any
                        Withdrawal Date occurring prior to the end of any fiscal quarter. The
                        Performance Allocation payable with respect to any Interests withdrawn
                        prior to the end of a fiscal quarter will be determined solely by reference
                        to such withdrawn Interests and will be allocable to the Special Limited
                        Partner on the Withdrawal Date. The Performance Allocation with
                        respect to any Limited Partner may be fully or partially waived or rebated
                        by the General Partner in its sole discretion.

 Other Fees and         The Fund bears all of its own initial organizational expenses and its pro
 Expenses               rata share of the initial organizational expenses of the Master Fund. In
                        general, the Fund’s financial statements will be prepared in accordance
                        with generally accepted accounting principles in the United States
                        (“GAAP”). However, the General Partner intends to amortize the Fund’s

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                        organizational expenses over a period of 60 calendar months from the
                        date the Fund commenced operations because it believes such treatment
                        is more equitable than expensing the entire amount of the organizational
                        expenses in the Fund’s first year of operation, as is required by GAAP.
                        The General Partner may, however, limit the amount of start-up and
                        organizational expenses that the Fund amortizes so that the audit opinion
                        issued with respect to the Fund’s financial statements will not be
                        qualified.

                        The Fund pays all costs, fees and expenses arising in connection with the
                        Fund’s operations. The Fund also bears its pro rata share of the cost of
                        the Master Fund’s operations and investments as provided in the Master
                        Fund Partnership Agreement. Expenses payable by the Fund in
                        connection with the Master Fund’s investment program, include, but are
                        not limited to, brokerage commissions, other expenses related to buying
                        and selling securities (including trading errors that are not the result of
                        the Investment Manager’s gross negligence, willful misconduct or fraud),
                        costs of due diligence regardless of whether a particular transaction is
                        consummated, the costs of attending shareholder meetings, research
                        expenses and costs related to monitoring investments. Expenses payable
                        by the Fund in connection with its operations include, but are not limited
                        to, fees and expenses of advisers and consultants; the Management Fee;
                        fees and expenses of any custodians, escrow or transfer agents or other
                        investment-related service providers; indemnification expenses and the
                        cost of insurance against potential indemnification liabilities; interest and
                        other borrowing expenses; legal, administrative, accounting, tax, audit
                        and insurance expenses; expenses of preparing and distributing reports,
                        financial statements and notices to Limited Partners; litigation or other
                        extraordinary expenses; any withholding, transfer or other taxes payable
                        by the Fund (including any interest and penalties), and the cost of
                        periodically updating this Memorandum and the Partnership Agreement.

                        The Investment Manager may retain, in connection with its
                        responsibilities under the Investment Management Agreement, the
                        services of others to assist in the investment advice to be given to the
                        Master Fund, including, but not limited to, any affiliate of the Investment
                        Manager. Payment for any such services will be assumed by the
                        Investment Manager. However, the Investment Manager, in its sole
                        discretion, may retain the services of independent third party
                        professionals on behalf of the Master Fund, including, without limitation,
                        attorneys, accountants and consultants, to advise and assist it in
                        connection with the performance of its activities on behalf of the Master
                        Fund, and the Master Fund will bear full responsibility therefor and the
                        expense of any fees and disbursements arising therefrom.

                        The Fund and the Master Fund do not have their own separate employees
                        or office, and neither the Fund nor the Master Fund will reimburse the
                        General Partner or the Investment Manager for salaries, office rent and
                        other general overhead costs of the General Partner or the Investment
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                        Manager. A portion of the commissions generated on the Master Fund’s
                        brokerage transactions may generate soft dollar credits that the
                        Investment Manager is authorized to use to pay for research and other
                        research-related services and products used by the Investment Manager.
                        It is the current policy of the Investment Manager to limit such use of soft
                        dollars to fall within the safe harbor of Section 28(e) of the Securities
                        Exchange Act of 1934, as amended, or to be otherwise reasonably related
                        to the investment decision-making process or for Master Fund expenses.
                        See “Brokerage and Custody.”

                        If the General Partner or the Investment Manager, as appropriate, incurs
                        any expenses for both the Master Fund and one or more Other Accounts
                        (as defined herein), the General Partner or the Investment Manager, as
                        appropriate, will allocate such expenses among the Master Fund and each
                        such Other Account in proportion to the size of the investment made by
                        each in the activity or entity to which the expenses relate, or in such other
                        manner as the General Partner considers fair and reasonable.

 Allocation of Net      Net profit or net loss of the Fund is allocated among the Capital Accounts
 Profit and Loss        of the Partners as of the close of each calendar month, at any other time
                        when the Fund receives an additional capital contribution or effects a
                        withdrawal or distribution, or at such other times as the General Partner
                        may determine (each, a “Fiscal Period”).

                        The net profit or net loss of the Fund for any calendar month or other
                        valuation period will reflect, with respect to all positions:

                         (a)   the dividends and interest accrued during the period;

                         (b)   the net realized gains or losses from the sale or other disposition of
                               investments during the period allocated by the Fund;

                         (c)   the net change in the unrealized appreciation or depreciation of
                               investments during the period held at the close of the period (i.e.,
                               the difference between the fair market value of each investment at
                               the end of the period compared with either the fair market value at
                               the commencement of the period or, in the case of any investment
                               made after the commencement of the period, the cost); and

                         (d)   the expenses of the Fund incurred or accrued during the period
                               (other than the Management Fee and any other items that are
                               charged on a Partner-by-Partner basis).

                        As of the close of each Fiscal Period, the net profit or net loss (subject to
                        any applicable Performance Allocation paid at the Master Fund level) will
                        be allocated pro rata among the Capital Accounts of the Partners in
                        proportion to their percentage interests in the Fund as of the
                        commencement of the period. Each Partner’s percentage interest in the
                        Fund as of the commencement of any period is based on the value of the

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                        Partner’s Capital Account at such time in relation to the sum of the Capital
                        Accounts of all of the Partners at such time.

                        The Management Fee will be calculated separately with respect to each
                        Limited Partner and will be debited from the capital sub-account at the
                        Master Fund level corresponding to each Limited Partner’s Capital
                        Account.

 Distributions          Subject to the monthly withdrawal privilege described below, all earnings
                        of the Fund are ordinarily retained for investment. Limited Partners
                        should not expect the Fund to make any dividend distributions.

 Withdrawals; Lock-     Subject to certain withdrawal restrictions described below, a Limited
 Up                     Partner is generally permitted to withdraw all or a portion of its Capital
                        Account as of the last Business Day of each calendar month (and/or such
                        other Business Days as the General Partner may determine in its sole
                        discretion) (each, a “Withdrawal Date”); provided that, any partial
                        withdrawals may only be made in minimum amounts of $100,000.
                        Notwithstanding the foregoing, any Limited Partner that withdraws all or
                        a portion of its Capital Account with respect to a Series B Interest prior
                        to the one-year anniversary of the date such capital was contributed to the
                        Fund is subject to an early withdrawal reduction of up to 3.0% of the net
                        asset value of the portion of the Series B Interest being withdrawn, as
                        determined at the close of business of such Withdrawal Date (such fee,
                        the “Series B Early Withdrawal Reduction”). In addition, any Limited
                        Partner that withdraws all or a portion of its Capital Account with respect
                        to a Series C Interest prior to the:

                             (i)     one-year anniversary of the date such capital was contributed
                                     to the Fund is subject to an early withdrawal reduction of
                                     5.0% of the net asset value of the portion of the Series C
                                     Interest being withdrawn, as determined at the close of
                                     business of such Withdrawal Date, and

                             (ii)    two-year anniversary, but on or after the one-year
                                     anniversary, of the date such capital was contributed to the
                                     Fund is subject to an early withdrawal reduction of 3.0% of
                                     the net asset value of the portion of the Series C Interest
                                     being withdrawn, as determined at the close of business of
                                     such Withdrawal Date (such fees with respect to Series C
                                     Interests, the “Series C Early Withdrawal Reduction” and
                                     together with the Series B Early Withdrawal Reduction, the
                                     “Early Withdrawal Reduction”).

                        The Early Withdrawal Reduction is retained by the Fund (and generally
                        invested in the Master Fund) and deducted from the withdrawal proceeds
                        of the withdrawing Limited Partner. The Early Withdrawal Reduction
                        will not apply in the event of a Compulsory Withdrawal (defined below).


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                        Written notice of any withdrawal request must be received in writing by
                        the Administrator at least 30 calendar days prior to the requested
                        Withdrawal Date. The General Partner may waive such notice
                        requirements, or permit withdrawals under such other circumstances, if,
                        in its sole discretion, it determines that, under the circumstances, to waive
                        such requirement will not have an adverse effect on the Master Fund’s
                        portfolio.

                        If the Master Fund violates the investment restrictions and fails to remedy
                        the violation on or before the Remedy Date (as described in “Investment
                        Program – Investment Restrictions”), any Limited Partner may withdraw
                        all or part of its Capital Account on the next Withdrawal Date and will
                        not be subject to the Early Withdrawal Reduction; provided that, such
                        Limited Partner has requested such withdrawal in writing within 30
                        Business Days after the Remedy Date.

 Settlement of          A withdrawal request is normally settled in cash or, subject to the sole
 Withdrawal Proceeds    discretion of the General Partner, wholly or partially with securities or
                        other assets of the Fund (received from the Master Fund), whether or not
                        readily marketable, generally within 10 Business Days after the
                        Withdrawal Date; provided that the General Partner may delay such
                        payment if such delay is reasonably necessary to prevent such withdrawal
                        from having a material adverse impact on the Fund. In the event that the
                        General Partner satisfies a withdrawal request with assets in kind, such
                        securities may be transferred to a liquidating account and sold by the Fund
                        for the benefit of the withdrawing Limited Partner, in which case,
                        payment of the withdrawal proceeds attributable to such investments will
                        be delayed until such investments are sold. The amount payable in
                        respect of such investments will depend on the performance of such
                        investments through to the date on which they are sold. The cost of
                        operating the liquidating account and selling the investment(s) will be
                        deducted from the proceeds of sale paid to the withdrawing Limited
                        Partner.

                        Notwithstanding anything to the contrary herein, the General Partner may
                        establish reserves and holdbacks for estimated accrued expenses,
                        liabilities and contingencies, including, without limitation, general
                        reserves for unspecified contingencies (even if such reserves or holdbacks
                        are not otherwise required by GAAP) or liabilities stemming from tax
                        obligations (as such may be determined in the sole discretion of the
                        General Partner and whether or not incurred directly or indirectly), which
                        could reduce the amount of a distribution upon a Limited Partner’s
                        withdrawal. The General Partner may withhold for the benefit of the
                        Fund from any distribution to a withdrawing Limited Partner an amount
                        representing the actual or estimated costs incurred by the Fund with
                        respect to such withdrawal, as well as any Early Withdrawal Reduction
                        described above.



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 Withdrawal             The General Partner or the Administrator may refuse to accept a
 Conditions             withdrawal request if it is not accompanied by such additional
                        information as the General Partner or the Administrator may reasonably
                        require. This power may, without limitation to the generality of the
                        foregoing, be exercised where proper information has not been provided
                        for money laundering verification purposes. In addition, where
                        withdrawal proceeds are requested to be remitted to an account which is
                        not in the name of the Limited Partner, the General Partner and the
                        Administrator reserve the right to request such information as may be
                        reasonably necessary in order to verify the identity of the Limited Partner
                        and the owner of the account to which the withdrawal proceeds will be
                        paid. The withdrawal proceeds will not be paid to a third-party account
                        if the Limited Partner and/or owner of the account fails to provide such
                        information.

 Compulsory             The General Partner reserves the right, in its sole discretion, to compel
 Withdrawals            the withdrawal of a Limited Partner’s Interest at any time and for any
                        reason on not less than seven days’ prior written notice (or immediately
                        if the General Partner, in its sole discretion, determines that such Limited
                        Partner’s continued investment in the Fund may cause the Fund, the
                        Master Fund, the General Partner or the Investment Manager to violate
                        any applicable law) (a “Compulsory Withdrawal”). The General Partner
                        will compel the withdrawal of a Limited Partner’s Interest in its entirety
                        if a Limited Partner requests a withdrawal that would cause its total
                        investment with respect to a particular Series to fall below a minimum of
                        $100,000 (a “Minimum Required Withdrawal”). In either case,
                        settlements are made in the same manner as voluntary withdrawals,
                        except that the Early Withdrawal Reduction will not apply in the event of
                        a Compulsory Withdrawal, but will apply to any Minimum Required
                        Withdrawal.

 Suspension of          The General Partner may, at any time, suspend (a) the calculation of the
 Withdrawals and        net asset value of the Interests (and the applicable valuation date); (b) the
 Withdrawal Payments    issuance of Interests, (c) the withdrawal by Limited Partners of Interests
                        (and the applicable Withdrawal Date); and/or (d) the payment of
                        withdrawal proceeds (even if the calculation dates and Withdrawals Dates
                        are not postponed) (each, a “Suspension”) during any period which: (i)
                        any stock exchange on which a substantial part of investments owned by
                        the Fund (through the Master Fund) are traded is closed, other than for
                        ordinary holidays, or dealings thereon are restricted or suspended; (ii)
                        there exists any state of affairs as a result of which (A) disposal of a
                        substantial part of the investments owned by the Fund (through the
                        Master Fund) would not be reasonably practicable and might seriously
                        prejudice the Limited Partners, or (B) it is not reasonably practicable for
                        the Fund fairly to determine the value of its net assets; (iii) none of the
                        withdrawal requests which have been made may lawfully be satisfied by
                        the Fund; (iv) there is a breakdown in the means of communication
                        normally employed in determining the prices of a substantial part of the
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                        investments of the Fund (through the Master Fund); (v) in the sole
                        discretion of the General Partner, it is necessary to preserve the Fund’s
                        assets; or (vi) automatically upon any suspension of withdrawals by the
                        Master Fund for similar reasons as described in “The Master Fund,”
                        below.

                        The Administrator will promptly notify each Limited Partner who has
                        submitted a withdrawal request and to whom payment in full of the
                        amount being withdrawn has not yet been remitted of any Suspension of
                        withdrawals or Suspension of the payment of withdrawal proceeds. Any
                        remaining amount of a withdrawal request that is not satisfied due to such
                        a Suspension remains at risk as per other amounts invested in the Fund
                        and subject to the applicable Management Fee until such amount is finally
                        and fully withdrawn. Such Limited Partners will not be given any priority
                        with respect to the withdrawal of Interests after the cause for such
                        Suspension or limitation ceases to exist. The General Partner may in its
                        sole discretion, however, permit such Limited Partners to withdraw their
                        withdrawal requests to the extent that the relevant Withdrawal Date has
                        not yet passed. For the avoidance of doubt, where a suspension of the
                        payment of withdrawal proceeds is declared between the relevant
                        Withdrawal Date and the remittance of such payment proceeds, affected
                        Limited Partners shall not have any right to withdraw their withdrawal
                        requests. Upon the reasonable determination by the General Partner that
                        conditions leading to a Suspension no longer apply, the Administrator
                        will notify the Limited Partners of the end of the Suspension. At such
                        time, any such suspended payments shall generally be paid in accordance
                        with the normal process for making such payments, withdrawal rights
                        shall be promptly reinstated and any pending withdrawal requests which
                        were not withdrawn (or new, timely withdrawal requests) will be effected
                        as of the first Withdrawal Date following the removal of the Suspension,
                        subject to the foregoing restrictions on withdrawals.

 Transfers              Interests are not transferable except with the prior written consent of the
                        General Partner, which consent may be withheld in its sole
                        discretion. The General Partner will require any transferee or assignee of
                        any Limited Partner to execute the Subscription Documents.

 Duty of Care;          Pursuant to the Partnership Agreement, the Master Fund Partnership
 Indemnification        Agreement and the Investment Management Agreement, the General
                        Partner, the Investment Manager, each member, shareholder, partner,
                        manager and director of, and any person who controls, the General
                        Partner or the Investment Manager, each of the respective affiliates of the
                        foregoing and each of their respective executors, heirs, assigns,
                        successors and other legal representatives (each such person, an
                        “Indemnified Party”) shall not be liable to the Master Fund, the Fund or
                        the Limited Partners for any loss or damage arising by reason of being or
                        having been an Indemnified Party or from any acts or omissions in the
                        performance of its services as an Indemnified Party in the absence of
                        gross negligence, willful misconduct or fraud, or as otherwise required by
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                        law. In no event shall any Indemnified Party be liable for any
                        consequential damages, special or indirect damages or lost profits.

                        The Partnership Agreement, the Master Fund Partnership Agreement and
                        the Investment Management Agreement contain provisions for the
                        indemnification of the Indemnified Parties by the Master Fund and the
                        Fund (but not by the Limited Partners individually) against any liabilities
                        arising by reason of being or having been an Indemnified Party or in
                        connection with the Partnership Agreement, the Master Fund Partnership
                        Agreement, the Investment Management Agreement, or the Master
                        Fund’s or the Fund’s business or affairs to the fullest extent permitted by
                        law in the absence of gross negligence, willful misconduct or fraud. The
                        General Partner is not personally liable to any Limited Partner for the
                        repayment of any withdrawal proceeds or for contributions by such
                        Limited Partner to the capital of the Fund or by reason of any change in
                        the U.S. federal or state income tax laws applicable to the Fund or its
                        investors.

 Non-Exclusivity;       None of the Investment Manager, its affiliates and their respective
 Allocation of          officers, directors, shareholders, members, partners, personnel and
 Opportunities          employees is precluded from engaging in or owning an interest in other
                        business ventures or investment activities of any kind, whether or not
                        such ventures are competitive with the Fund or the Master Fund.

                        The Master Fund Partnership Agreement requires the General Partner,
                        and the Investment Manager as delegatee of the General Partner, to act in
                        a manner that it considers fair and equitable over time in allocating
                        investment opportunities to the Master Fund. Although the General
                        Partner and the Investment Manager consider certain factors set forth in
                        the Investment Manager’s policies to determine how to allocate trades,
                        the Investment Manager’s policies and the Master Fund Partnership
                        Agreement do not otherwise impose any specific obligations or
                        requirements concerning the allocation of time, effort or investment
                        opportunities to the Master Fund or any restrictions on the nature or
                        timing of investments for the account of the Master Fund and for the
                        General Partner’s or the Investment Manager’s own accounts or for other
                        accounts that the General Partner, the Investment Manager or their
                        affiliates may manage (each, an “Other Account”). The General Partner
                        and the Investment Manager are not obligated to devote any specific
                        amount of time to the affairs of the Master Fund and are not required to
                        accord exclusivity or priority to the Master Fund in the event of limited
                        investment opportunities arising from the application of speculative
                        position limits or other factors.

                        The Principal, as well as the employees and officers of the Investment
                        Manager and of organizations affiliated with the Investment Manager,
                        may buy and sell securities for their own account or the account of others,
                        but may not buy securities from or sell securities to the Master Fund (such
                        prohibition does not extend to the purchase or sale of interests in the

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                        Fund), unless such purchase or sale is in compliance with the applicable
                        provisions of the Investment Advisers Act of 1940, as amended.

                        The Investment Manager undertakes to resolve conflicts in a fair and
                        equitable basis, which in some instances may mean a resolution that
                        would not maximize the benefit to the Fund’s investors.

                        It is the policy of the Investment Manager to allocate investment
                        opportunities fairly and equitably over time. This means that such
                        opportunities will be allocated among those accounts for which
                        participation in the respective opportunity is considered appropriate. The
                        Investment Manager has the authority to allocate trades to multiple
                        accounts on an average price basis or on another basis it deems fair and
                        equitable. Similarly, if an order on behalf of any accounts cannot be fully
                        allocated under prevailing market conditions, the Investment Manager
                        may allocate the trades among different accounts on a basis it considers
                        fair and equitable over time. One or more of the foregoing considerations
                        may (and are often expected to) result in allocations among the Master
                        Fund and one or more accounts on other than a pari passu basis. See
                        “Risk Factors and Potential Conflicts of Interest” below.

 Affiliated Service     NexBank, SSB (“NexBank SSB”) is an affiliate of the Investment
 Providers              Manager and may, from time to time, provide banking and/or agency
                        services to the Investment Manager, clients of the Investment Manager or
                        collective investment vehicles for which the Investment Manager
                        provides investment advisory services (including the Fund and other
                        vehicles in which the Fund, through the Master Fund, may invest) or third
                        parties engaged in transactions involving the Investment Manager.
                        NexBank SSB may also act as an agent in connection with certain
                        securities transactions involving the Investment Manager’s client
                        accounts (including the Master Fund and other vehicles in which the
                        Master Fund may invest). Principals of the Investment Manager own a
                        majority of the equity interests in NexBank SSB and employees or
                        affiliates of the Investment Manager own or may own a substantial equity
                        interest in NexBank SSB. Certain Master Fund investment transactions
                        may be executed through NexBank Securities, Inc., an affiliate of the
                        Investment Manager and a registered broker-dealer.

                        Additionally, the Investment Manager or affiliates of the Investment
                        Manager, including, without limitation, Nexbank SSB, NexBank
                        Securities, Inc.,NexBank Capital Advisors and Governance Re, Ltd., may
                        provide financial advisory, management, insurance, title insurance or
                        other services for a fee to portfolio companies in which the Master Fund
                        may have an interest. Highland Latin America, an affiliate of the
                        Investment Manager, has been engaged to provide certain administrative
                        and consulting services to the Investment Manager. See “Risk Factors
                        and Potential Conflicts of Interest” below.



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 Valuations             In general, the Fund’s financial statements will be prepared in accordance
                        with GAAP. The General Partner has delegated the valuation of the
                        Fund’s assets, based on the Master Fund’s assets, to the Administrator
                        who values the Fund’s assets as of the close of each Fiscal Period in
                        accordance with the Investment Manager’s valuation policies and
                        procedures.

 Reserves               Appropriate reserves may be accrued and charged against net assets and
                        proportionately against the Capital Accounts of the Partners for
                        contingent liabilities, such reserves to be in the amounts (subject to
                        increase or reduction) that the General Partner in its sole discretion deems
                        necessary or appropriate. At the sole discretion of the General Partner,
                        the amount of any such reserve (or any increase or decrease therein) may
                        be charged or credited, as appropriate, to the Capital Accounts of those
                        investors who are Limited Partners at the time when such reserve is
                        created, increased or decreased, as the case may be, or alternatively may
                        be charged or credited to those investors who were Limited Partners at
                        the time of the act or omission giving rise to the contingent liability for
                        which the reserve was established.

                        If the General Partner determines that it is equitable to treat an amount to
                        be paid or received as being applicable to one or more prior periods, then
                        such amount may be proportionately charged or credited, as appropriate,
                        to those persons who were Limited Partners during any such prior
                        period(s).

 Fiscal Year            The Fund has a fiscal year ending on December 31 of each calendar year.

 Reports to Limited     The Fund furnishes to its Partners as soon as practicable after the end of
 Partners               each taxable year (or as otherwise required by law) such tax information
                        as is necessary for each Partner to complete U.S. federal and state income
                        tax or information returns, along with any other tax information required
                        by law. Within 120 days of the end of each year (or as soon as practicable
                        thereafter), the Fund distributes to each Partner audited financial
                        statements of the Fund, including a statement of profit or loss for such
                        fiscal year and an unaudited status of each such Partner’s holdings in the
                        Fund at such time. Partners will also receive, upon request to the
                        Administrator, copies of semi-annual financial statements of the Fund.

 Tax Status             The General Partner believes that the Fund should be treated as a
                        partnership for U.S. federal income tax purposes and should not itself be
                        subject to U.S. federal income taxation. Each Limited Partner otherwise
                        subject to U.S. federal income tax is required to include in such Limited
                        Partner’s taxable income such Limited Partner’s share of the Fund’s
                        income and gains, when realized by the Fund (regardless of cash
                        distributions from the Fund to such investor), and may claim, to the extent
                        allowable, such Limited Partner’s share of the Fund’s losses and
                        deductions. Due to the nature of the Fund’s activities, the Fund’s income
                        or loss for U.S. federal income tax purposes for a particular taxable period

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                        may differ from its financial or economic results. The deductibility of a
                        Limited Partner’s share of any Fund losses or deductions may be limited.
                        See “Tax Considerations.”

 ERISA                  The Investment Manager intends to limit investment in the Master Fund
                        by “benefit plan investors” so that the assets of the Master Fund will not
                        be considered “plan assets” for purposes of the Employee Retirement
                        Income Security Act of 1974, as amended (“ERISA”). It is anticipated
                        that the assets of the Fund may constitute “plan assets” for purposes of
                        ERISA. See “ERISA and Other Regulatory Considerations.”

 Amendment of the       The Partnership Agreement may be amended by the General Partner with
 Limited Partnership    the consent of a majority in interest of the Limited Partners, which
 Agreement              consent may be obtained through negative consent. However, the Fund
                        may not: (a) increase the obligation of a Limited Partner to make any
                        contribution to the capital of the Fund; (b) reduce the Capital Account of
                        any Limited Partner other than as contemplated by the Partnership
                        Agreement; or (c) reduce any Limited Partner’s right to share in net
                        profits or assets of the Fund, in each case, without the consent of each
                        Limited Partner adversely affected thereby. The above consent may be
                        obtained by negative consent.

                        Notwithstanding the foregoing, the General Partner may amend the
                        Partnership Agreement at any time without the consent of any Limited
                        Partner: (a) to comply with applicable laws and regulations; (b) to make
                        changes that do not adversely affect the rights or obligations of any
                        Limited Partner; (c) to cure any ambiguity or correct or supplement any
                        conflicting provisions of the Partnership Agreement; or (d) with respect
                        to any other amendment, if any Limited Partner whose contractual rights
                        as a Limited Partner would be materially and adversely changed by such
                        amendment has an opportunity to withdraw from the Fund (without being
                        subject to the Early Withdrawal Reduction) as of a date that is not less
                        than 30 days after the General Partner has furnished written notice of such
                        amendment to each Limited Partner and that is prior to the effective date
                        of the amendment.

 Variation of Terms     The General Partner or the Investment Manager, in its sole discretion,
                        may enter into a side letter or similar agreement to or with one or more
                        Limited Partners that has the effect of establishing rights under, or
                        altering or supplementing the terms of, the Partnership Agreement or of
                        any Subscription Documents (including those relating to access to
                        information, the Management Fee, the Performance Allocation,
                        minimum investment amount, voting rights and withdrawal rights) with
                        respect to such Limited Partner(s).




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                                        THE MASTER FUND

The Master Fund’s Partnership Interests

       The Master Fund’s partnership interests are currently held exclusively by the Fund and the
Offshore Fund as limited partners, the Investment Manager as the special limited partner of the Master
Fund, and the General Partner as the general partner of the Master Fund, pursuant to the Master Fund
Partnership Agreement. The General Partner is registered as a foreign company in the Cayman Islands
pursuant to Part IX of the Companies Law (2016 Revision).

The Master Fund Partnership Agreement

        The Master Fund is constituted as a Cayman Islands exempted limited partnership under the
Exempted Limited Partnership Law, 2014 (the “Exempted Limited Partnership Law”). A Cayman
Islands exempted limited partnership is constituted by the signing of the relevant partnership agreement
and its registration with the Registrar of Exempted Limited Partnerships in the Cayman Islands.

        A Cayman Islands exempted limited partnership is not a separate legal person distinct from its
partners. Under the Exempted Limited Partnership Law, any property which is conveyed into or vested
in the name of the exempted limited partnership shall be held or deemed to be held by the general partner,
and if more than one, then by the general partners jointly upon trust, as an asset of the partnership in
accordance with the terms of the partnership agreement. Any debt or obligation incurred by a general
partner in the conduct of the business of an exempted limited partnership shall be a debt or obligation of
the exempted limited partnership. Registration under the Exempted Limited Partnership Law entails that
the partnership becomes subject to, and the limited partners therein are afforded the limited liability and
other benefits of, the Exempted Limited Partnership Law (subject to compliance therewith).

        Liability of Partners and Indemnification of the General Partner and Others. The business of a
Cayman Islands exempted limited partnership will be conducted by its general partner(s) who will be
liable for all debts and obligations of the exempted limited partnership to the extent that the partnership
has insufficient assets. As a general matter, a limited partner of a Cayman Islands partnership will not
be liable for the debts and obligations of the exempted limited partnership, other than:

       (i)     as expressed in the partnership agreement,

       (ii)    if such limited partner takes part in the conduct of the business of an exempted limited
               partnership in its dealings with persons who are not partners, then that limited partner
               shall be liable, in the event of the insolvency of the exempted limited partnership, for all
               debts and obligations of that exempted limited partnership incurred during the period that
               he so participates in the conduct of the business as though he were, for such period, a
               general partner, provided always that he shall be rendered liable pursuant to the foregoing
               provision only to a person who transacts business with the exempted limited partnership
               during such period with actual knowledge of such participation and who then reasonably
               believed such limited partner to be a general partner, or

       (iii)   if such limited partner is obligated pursuant to Section 34(1) of the Exempted Limited
               Partnership Law to return a distribution made to it (with interest at a rate of 10% per
               annum, unless otherwise specified in the Master Fund Partnership Agreement) when the
               exempted limited partnership is insolvent or within six months prior to such insolvency.

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         The Master Fund Partnership Agreement provides that none of the Indemnified Parties will be
liable to the Master Fund or any limited partner of the Master Fund (including the Feeder Funds) for any
loss or damage arising by reason of being or having been an Indemnified Party or from any acts or
omissions in the performance of its services as an Indemnified Party in the absence of gross negligence
(as such term is defined and interpreted in accordance with the laws of the State of Delaware), willful
misconduct or fraud, or as otherwise required by law. An Indemnified Party may consult with counsel
and accountants in respect of the Master Fund’s affairs and will be fully protected and justified in any
action or inaction which is taken in accordance with the advice or opinion of such counsel or accountants,
provided that they were selected in accordance with the standard of care set forth above. In addition, in
no event shall any Indemnified Party be liable for any consequential damages, special or indirect
damages or lost profits.

         The Master Fund Partnership Agreement provides that the Master Fund shall, to the fullest extent
permitted by law, indemnify and hold harmless each Indemnified Party from and against any and all
liabilities suffered or sustained by an Indemnified Party by reason of the fact that it, he or she is or was
an Indemnified Party or in connection with the Master Fund Partnership Agreement or the Master Fund’s
business or affairs, including, without limitation, any judgment, settlement, reasonable attorneys’ fees
and other costs or expenses incurred in connection with the defense of any actual or threatened action,
suit or proceeding, provided that such liability did not result from the gross negligence (as such term is
defined and interpreted in accordance with the laws of the State of Delaware), willful misconduct or
fraud of such Indemnified Party. The Master Fund Partnership Agreement also provides that the Master
Fund will, in the sole discretion of the General Partner, advance to any Indemnified Party reasonable
attorneys’ fees and other costs and expenses incurred in connection with the defense of any action, suit
or proceeding which arises out of such conduct, subject to receiving a written undertaking from the
Indemnified Party to repay such amounts if and to the extent that it is finally determined that the
Indemnified Party was not entitled to indemnification in respect thereof.

         Notwithstanding any of the foregoing, the provisions of the Master Fund Partnership Agreement
do not provide for the exculpation or indemnification of any Indemnified Party for any liability
(including liability under U.S. federal securities laws which, under certain circumstances, impose
liability even on persons that act in good faith), to the extent (but only to the extent) that such liability
may not be waived, modified or limited under applicable law, but shall be construed so as to effectuate
the above provisions to the fullest extent permitted by law.

        Pursuant to the foregoing indemnification and exculpation provisions applicable to each
Indemnified Party, the Master Fund (and not the applicable Indemnified Party) will be responsible for
any losses resulting from trading errors and similar human errors, absent gross negligence (as such term
is defined and interpreted in accordance with the laws of the State of Delaware), willful misconduct or
fraud. Given the volume of transactions executed on behalf of the Master Fund, trading errors (and
similar errors) will occur and the Master Fund will be responsible for any resulting losses, even if such
losses result from the negligence (but not gross negligence) of any Indemnified Party.

        The Indemnified Parties will also be indemnified by each limited partner of the Master Fund for
any amounts of tax withheld or required to be withheld with respect to that limited partner, and also for
any amounts of interest, additions to tax, penalties and other costs borne by any such persons in
connection therewith to the extent that the balance of the limited partner’s capital account is insufficient
to fully compensate the General Partner and the Investment Manager for such costs.



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        Contributions and Withdrawals by the Fund. Limited partners of the Master Fund may make
contributions at such times and in such amounts as the General Partner determines. As a limited partner
of the Master Fund, the Fund may, subject to the consent of the General Partner, voluntarily request a
withdrawal of all or part of its capital in the Master Fund at such times and in such amounts as it may
determine. The General Partner may, at any time, suspend (a) the calculation of the net asset value of
the Master Fund (and the applicable valuation date); (b) the issuance of limited partner interests in the
Master Fund; (c) the withdrawal by limited partners of their interests (and the applicable withdrawal
date); and/or (d) the payment of withdrawal proceeds (even if the calculation dates and withdrawal dates
are not postponed) during any period which: (i) any stock exchange on which a substantial part of
investments owned by the Master Fund are traded is closed, other than for ordinary holidays, or dealings
thereon are restricted or suspended; (ii) there exists any state of affairs as a result of which (A) disposal
of a substantial part of the investments owned by the Master Fund would not be reasonably practicable
and might seriously prejudice the limited partners of the Master Fund, or (B) it is not reasonably
practicable for the Master Fund fairly to determine the value of its net assets; (iii) none of the withdrawal
requests which have been made may lawfully be satisfied by the Master Fund; (iv) there is a breakdown
in the means of communication normally employed in determining the prices of a substantial part of the
investments of the Master Fund; or (v) in the sole discretion of the General Partner, it is necessary to
preserve the Master Fund’s assets.

       Amendment of the Master Fund Partnership Agreement. The Master Fund Partnership
Agreement may be amended by an instrument in writing signed by each of the limited partners of the
Master Fund and the General Partner; provided that, the General Partner may amend the Master Fund
Partnership Agreement without the consent of the limited partners so long as the amendment does not
adversely affect any rights of the limited partners.

         Dissolution of the Master Fund. The Master Fund shall be wound up and dissolved upon the
first to occur of any of the following liquidating events, and Sections 36(1)(b), 36(9) and 36(12) of the
Exempted Limited Partnership Law shall not apply to the Master Fund:

       (i)     the written election of the General Partner to terminate the Master Fund; or

       (ii)    if the General Partner is the sole or last remaining general partner, the date (the
               “Automatic Dissolution Date”) falling 90 days after the date of the service of a notice by
               the General Partner (or its legal representative) on all the limited partners informing the
               limited partners of:

                       (1)     the commencement of liquidation or bankruptcy proceedings in relation to
                               the General Partner; or

                       (2)     the withdrawal, removal or making of a winding up or dissolution order
                               in relation to the General Partner;

               provided that, if a majority in number of the limited partners elects one or more new
               general partners before the Automatic Dissolution Date, the business of the Master Fund
               shall be resumed and continued. If a new general partner is not elected by the Automatic
               Dissolution Date, the Master Fund shall be wound up and dissolved in accordance with
               terms of the Master Fund Partnership Agreement and the Exempted Limited Partnership
               Law.


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        Power of Attorney. Each limited partner of the Master Fund shall make, constitute and appoint
the General Partner (and each of its successors and permitted assigns) for the time being, with full power
of substitution, as its true and lawful agent and attorney-in-fact of, and in the name, place and stead of,
such Partner with the power from time to time to make, execute, sign, acknowledge, swear to (and deliver
as may be appropriate) on its behalf and file and record in the appropriate public offices and publish (as
may in the reasonable judgment of the General Partner be required by law), including the admission of
any new partners of the Master Fund and any amendments to the Master Fund Partnership Agreement.
Each limited partner of the Master Fund shall authorize the General Partner to take any further action
that the General Partner considers necessary or advisable in connection with the foregoing. Such power
of attorney granted is intended to secure a proprietary interest of the General Partner and the performance
by each limited partner of the Master Fund of its obligations under the Master Fund Partnership
Agreement and shall be irrevocable and shall survive and not be affected by the subsequent death, lack
of capacity, insolvency, bankruptcy or dissolution of any limited partner of the Master Fund.

Valuation of Assets

        The General Partner has delegated the valuation of the Master Fund’s assets to the Administrator,
which will generally compute the value of the securities and other assets of the Master Fund as of the
close of business on the last day of each fiscal period and on any other date selected by the General
Partner in its sole discretion. In addition, the Administrator must compute the value of the securities that
are being distributed in-kind as of their date of distribution in accordance with the Master Fund
Partnership Agreement. In determining the value of the assets of the Master Fund, no value is placed on
the goodwill or name of the Master Fund, or the office records, files, statistical data or any similar
intangible assets of the Master Fund not normally reflected in the Master Fund’s accounting records, but
there must be taken into consideration any related items of income earned but not received, expenses
incurred but not yet paid, liabilities fixed or contingent, prepaid expenses to the extent not otherwise
reflected in the books of account, and the value of options or commitments to purchase or sell securities
pursuant to agreements entered into on or prior to such valuation date.

       A copy of the Investment Manager’s valuation policy is available upon request from the General
Partner.

        The value of each security and other asset of the Master Fund and the net worth of the Master
Fund as a whole determined pursuant Master Fund Partnership Agreement are conclusive and binding
on all of the partners of the Master Fund and all persons claiming through or under them.




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                RISK FACTORS AND POTENTIAL CONFLICTS OF INTEREST

        Investment in the Fund is speculative and involves substantial risks, including, but not limited to,
those summarized below. The Fund is not suitable for all investors and is intended for sophisticated
investors who can accept the risks associated with their investments. Prospective investors should
carefully consider the risk factors described in this section, among others, in determining whether an
investment in the Fund is suitable for them. There can be no assurance that the Master Fund’s program
will be successful or that investments purchased by the Master Fund will increase in value. An investor
must be prepared to bear capital losses that might result from an investment in the Fund, including a
complete loss of the investor’s invested capital. All investors in the Fund should consult their own legal,
tax and financial advisors prior to investing in the Fund.

       For purposes of this section, references to the “Fund” should be understood to mean each of the
Fund and the Master Fund, as applicable, and each of the risk factors set forth herein, while not
exhaustive, shall apply equally to each of the Fund and the Master Fund, as applicable.

General Risks

       Lack of Operating History. The Fund, the Master Fund and the General Partner do not have
operating histories upon which investors can evaluate the anticipated performance of the Fund. Although
the principals of the Investment Manager have extensive prior experience in Latin America, past
performance of the Investment Manager should not be construed as an indication of the future results of
an investment in the Fund. The Master Fund’s investment program should be evaluated on the basis that
there can be no assurance that the Investment Manager’s assessment of the short-term or long-term
prospects of its investment strategy will prove accurate, or that the Master Fund will achieve its
investment objectives.

        Risks Associated With Investments in Securities. Any investment in securities carries market
risks. An investment in the Fund is highly speculative and involves a high degree of risk due to the
nature of the Master Fund’s investments and the strategies to be employed. An investment in the Fund
should not in itself be considered a balanced investment program, but rather is intended to provide
diversification in a more complete investment portfolio.

        Investment Judgment; Market Risk. The profitability of a significant portion of the Master Fund’s
investment program depends to a great extent upon correctly assessing the future course of the price
movements of securities and other investments. There can be no assurance that the Investment Manager
will be able to predict accurately these price movements. With respect to the investment strategy utilized
by the Master Fund, there is always some, and occasionally a significant, degree of market risk.

        Limited Liquidity; Additional Information. An investment in the Fund provides limited liquidity
since the Interests are not freely transferable and may only be withdrawn at such times as set forth in this
Memorandum. The General Partner may suspend withdrawals, in whole or in part, when such a
suspension is warranted by extraordinary circumstances described in “Summary of Terms – Suspension
of Withdrawals and Withdrawal Payments” above. The General Partner may also delay the payment of
withdrawal proceeds as more fully described elsewhere in this Memorandum. Investments that remain
in the Fund are subject to all risks related to an investment in the Fund as described in this Memorandum.

       Also, certain Limited Partners (including, without limitation, the Affiliated Investors), may invest
on terms that provide access to information that is not generally available to other Limited Partners and,

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as a result, may be able to act on such additional information (e.g., withdraw their Interests) that other
Limited Partners do not receive. An investment in the Fund is suitable only for sophisticated investors
who have no need for current liquidity.

        Effect of Substantial Withdrawals. Substantial withdrawals from the Fund could require the
Master Fund to liquidate its positions more rapidly than otherwise desired in order to raise the cash
necessary to fund the withdrawals at the Fund level. Illiquidity in certain securities could make it
difficult for the Master Fund to liquidate positions on favorable terms, which could result in losses or a
decrease in the net asset value of the Master Fund, and thus, the Fund. The Master Fund is permitted to
borrow cash necessary to make payments in connection with withdrawals from the Fund when the
Investment Manager determines that it would not be advisable to liquidate portfolio assets for that
purpose. The Master Fund is also authorized to pledge portfolio assets as collateral security for the
repayment of such loans. In these circumstances, the continuing Limited Partners will bear the risk of
any subsequent decline in the value of the Fund’s assets.

        Effect of Withdrawal by Limited Partner on its Investment. Where a withdrawal request is
accepted, an Interest will be treated as having been withdrawn effective as of the relevant Withdrawal
Date, irrespective of whether or not such withdrawing Limited Partner has been removed from the Fund’s
books and records or the withdrawal proceeds have been determined or remitted. Accordingly, on and
from the relevant Withdrawal Date, Limited Partners in their capacity as such will not be entitled to or
be capable of exercising any rights arising under the Partnership Agreement or Subscription Documents
with respect to the Interest being withdrawn, save the right to receive the withdrawal proceeds. Such
withdrawing Limited Partners will be creditors of the Fund with respect to the withdrawal proceeds. In
an insolvent liquidation, withdrawing Limited Partners will rank behind ordinary creditors but ahead of
existing Limited Partners.

      Master-Feeder Structure. The Fund will invest all of its investable assets in the Master Fund.
The “master-feeder” fund structure presents certain risks to the Limited Partners. Smaller feeder funds
may be materially affected by the actions of larger feeder funds.

        While the Investment Manager, as investment manager of the Master Fund, generally will not
consider tax issues applicable to any particular investors, it generally will take into account the tax
positions of the Fund and the Offshore Fund that invest in the Master Fund. However, the use of a
“master-feeder” structure may create a conflict of interest in that different tax considerations for the Fund
and the Offshore Fund may cause or result in the Master Fund structuring or disposing of an investment
in a manner or at a time that is more advantageous (or disadvantageous) for tax purposes to one Feeder
Fund or its investors.

        Management Fee and Performance Allocations. As described above, the Master Fund
Partnership Agreement provides for the payment of the Management Fee to the Investment Manager and
the Performance Allocation to the Investment Manager, in its capacity as the Special Limited Partner.
The Performance Allocation may create an incentive for the Investment Manager, as the Special Limited
Partner, to make investments that are riskier or more speculative than would be the case in the absence
of such Performance Allocation.

        Side Letters. The Investment Manager or the Fund may from time to time enter into letter
agreements or other similar agreements (collectively, “Side Letters”) with one or more Limited Partners
which provide such Limited Partner(s) with additional and/or different rights (including, without
limitation, with respect to access to information, the Management Fee, the Performance Allocation,

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minimum investment amounts, voting rights and withdrawal rights) than such Limited Partner(s) have
pursuant to this Memorandum. As a result of such Side Letters, certain Limited Partners may receive
additional benefits (including, but not limited to, reduced fee obligations, the ability to withdraw Interests
on shorter notice and/or expanded informational rights) which other Limited Partners will not receive.
For example, a Side Letter may permit a Limited Partner to withdraw its Interest on less notice and/or at
different times than other Limited Partners. As a result, should the Fund experience a decline in
performance over a period of time, a Limited Partner who is party to a Side Letter that permits less notice
and/or different withdrawal times may be able to withdraw its Interest prior to other Limited Partners.
In general, the Fund and/or the Investment Manager will not be required to notify any or all of the other
Limited Partners of any such Side Letters or any of the rights and/or terms or provisions thereof, nor will
the Fund and/or the Investment Manager be required to offer such additional and/or different rights
and/or terms to any or all of the other Limited Partners. The Fund and/or the Investment Manager may
cause the Fund to enter into such Side Letters with any party as the Fund and/or the Investment Manager
may determine in its sole discretion at any time. The other Limited Partners will have no recourse against
the Fund and/or the Investment Manager in the event certain Limited Partners receive additional and/or
different rights and/or terms as a result of such Side Letters. A Limited Partner will be required to enter
into such undertakings with respect to maintaining the confidentiality of any such additional information
as the Fund and/or the Investment Manager may in their sole discretion determine.

        Valuation Considerations. Valuation of the Master Fund’s securities and other investments may
involve uncertainties and judgmental determinations, and if such valuations should prove to be incorrect,
the net asset value of the Master Fund and the Fund could be adversely affected. Independent pricing
information may not at times be available or otherwise utilized regarding certain of the Master Fund’s
securities and other investments. Valuation determinations will be made in good faith in accordance
with the policies of the Investment Manager in effect from time to time, a copy of which will be made
available upon request.

        The Master Fund may have some of its assets in investments, which by their very nature may be
extremely difficult to accurately value. To the extent that the value assigned by the Administrator to any
such investment differs from the actual value, the net asset value of the Master Fund and the Fund may
be understated or overstated, as the case may be. In light of the foregoing, there is a risk that a Limited
Partner that withdraws all or part of its Interests while the Master Fund holds such investments will be
paid an amount less than it would otherwise be paid if the actual value of such investments is higher than
the value designated by the Administrator. Similarly, there is a risk that such Limited Partner might, in
effect, be overpaid if the actual value of such investments is lower than the value designated by the
Administrator. In addition, there is risk that an investment in the Fund by a new Limited Partner (or an
additional investment by an existing Limited Partner) could dilute the value of such investments for the
other Limited Partners if the designated value of such investments is higher than the value designated by
the Administrator. Further, there is risk that a new Limited Partner (or an existing Limited Partner that
makes an additional investment) could pay more than it might otherwise if the actual value of such
investments is lower than the value designated by the Administrator. The Administrator does not intend
to adjust the net asset value of the Master Fund and the Fund retroactively.

        None of the Fund, the Master Fund, the General Partner, the Investment Manager or the
Administrator shall have any liability in the event that any price or valuation, used in good faith in
connection with the above procedures, proves to be an incorrect or an inaccurate estimate or
determination of the price or value of any part of the property of the Master Fund, subject to the standard
of care set forth in “Summary of Terms – Duty of Care; Indemnification” above.


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        No Participation by Investors. All decisions with respect to the management of the day-to-day
affairs of the Fund are made exclusively by the General Partner and the Investment Manager. Limited
Partners have no right or power to take part in the management of the Fund. The Investment Manager
makes all of the trading and investment decisions of the Master Fund. In the event of the withdrawal of
the Investment Manager, generally the Fund will be liquidated.

        Investment Strategies. The Investment Manager will seek to engage in the investment activities
that have been discussed in “Investment Program” herein. There can be no assurance that the Investment
Manager will be successful in applying any such strategy and that losses will be avoided.

        Competition. The markets in which the Master Fund invests are competitive and some of the
opportunities that the Investment Manager may explore may be pursued by better known investors or
investment funds. There can be no assurance that the Investment Manager will be able to identify or
successfully pursue such opportunities in this environment. The Investment Manager competes with
many firms that may have greater financial resources, more extensive development, better marketing
and service capabilities, more favorable financing arrangements, larger research staffs and more
securities traders than are available to the Investment Manager.

         In-Kind Distributions. A withdrawing Limited Partner may, in the discretion of the General
Partner and/or Investment Manager, receive securities owned by the Fund (through the Master Fund) in
lieu of, or in combination with, cash. The value of securities distributed may increase or decrease before
the securities can be sold (either by the Limited Partner or by the Fund if the General Partner establishes
a liquidating account on behalf of the Limited Partner to sell such assets), and the Limited Partner will
incur transaction costs in connection with the sale of such securities. Additionally, securities distributed
with respect to a withdrawal by a Limited Partner may not be readily marketable. The risk of loss and
delay in liquidating these securities will be borne by the Limited Partner, with the result that such Limited
Partner may receive less cash than it would have received on the date of withdrawal.

        No Current Income. Since the Fund does not generally intend to pay distributions, an investment
in the Fund is not suitable for investors seeking current income. Moreover, an investor is required to
report and pay taxes on his allocable share of income from the Fund, even though no cash is distributed
by the Fund.

        Cybersecurity. Information and technology systems may be vulnerable to damage or interruption
from computer viruses, network failures, computer and telecommunication failures, infiltration by
unauthorized persons and security breaches, usage errors by their respective professionals, power
outages and catastrophic events such as fires, tornadoes, floods, hurricanes and earthquakes. Although
the Investment Manager has implemented various measures to manage risks relating to these types of
events, if these systems are compromised, become inoperable for extended periods of time or cease to
function properly, the Investment Manager, the Master Fund and/or the Fund may have to make a
significant investment to fix or replace them, which expense may be borne in whole or in part by the
Fund. The failure of these systems and/or of disaster recovery plans for any reason could cause
significant interruptions in the Investment Manager’s, the Master Fund’s and/or the Fund’s operations
and result in a failure to maintain the security, confidentiality or privacy of sensitive data, including
personal information relating to investors. Such interruptions could harm the Investment Manager’s, the
Master Fund’s and/or the Fund’s reputation, subject any such entity and their respective affiliates to legal
claims and otherwise affect their business and financial performance. The foregoing risks and
consequences are also extant at any issuer in which the Master Fund invests and could manifest as
adverse performance of such investment.

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Investment Strategy and Investment Risks

        Changes in Strategy. The Investment Manager has the power to expand, revise or alter its trading
strategies on behalf of the Master Fund without prior approval by, or notice to, the Fund or the Limited
Partners. Any such change could result in exposure of the Fund’s assets (through the Master Fund) to
additional risks, which may be substantial. The Investment Manager may also invest in additional
instruments than those specifically identified in the “Investment Program” section.

        Latin America Investments. The Master Fund invests in securities of companies based in Latin
America or issued by Latin American governments, or in the securities of companies which are not
incorporated in Latin America, but which derive some of their revenues from business activities
conducted in Latin America. Such investment involves certain considerations not usually associated
with investing in securities of developed countries or of companies located in developed countries,
including political and economic consideration, such as greater risks of expatriation, nationalization and
general, political, and economic instability, the small size of the securities markets in such countries and
the low volume of trading, resulting in potential lack of liquidity and substantially greater price volatility,
fluctuations in the rate of exchange between currencies, and costs associated with currency conversions,
certain government policies that may restrict the Master Fund's investment opportunities and problems
that may arise in connection with the clearance and settlements of trades. In addition, accounting and
financial reporting standards that prevail in such countries are not equivalent to standards in more
developed countries, consequently, less information is available to investors in companies located in
more developed countries. There is also less regulation, generally, of the securities markets in Latin
American countries than there is in more developed countries.

         Risks Related to Investing in Argentina. Argentina has experienced high interest rates, economic
volatility, inflation, currency devaluations and high unemployment rates. The economy is heavily
dependent on exports and commodities. Argentina’s default on its debt in 2001, and its past
nationalization of private pensions and national oil company YPF, continues to impact the confidence of
investors in Argentina, which might adversely impact returns in the Master Fund, and thus, the Fund.

        Argentina’s Economy. Argentina’s economy could grow at a lower rate than in past years, or
could contract. Factors that could negatively affect Argentina’s rate of economic growth, its public
finances and Argentina’s ability to service its debt include: the competitiveness of Argentine exports,
which are influenced by the peso’s value relative to the value of the currencies of Argentina’s trading
partners and trade competitors; the level of inflation in Argentina; international commodities prices,
foreign currency exchange rates and the levels of consumer consumption and foreign and domestic
investment; negative economic developments in Argentina’s major trading partners, or “contagion”
effects more generally; and Argentina’s ability to meet its energy requirements.

        Uncertainty of Economic Reforms. A runoff election on November 22, 2015 resulted in Mr.
Mauricio Macri being elected President of Argentina. The Macri administration assumed office on
December 10, 2015. Since assuming office on December 10, 2015, the Macri administration has
announced several significant economic and policy reforms, including methodological reforms with
respect to the calculation of certain macroeconomic statistics, the loosening of foreign exchange controls,
reduction of tariffs, other easing of international trade restrictions, infrastructure reforms and reopened
negotiation with holders of debt in default since 2001. The impact that these measures and any future
measures taken by the new administration will have on the Argentine economy as a whole and the
financial sector in particular cannot be predicted. The Investment Manager believes that the effect of the
planned liberalization of the economy and renewed access to capital markets will be positive for the

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Master Fund’s intended investments by stimulating economic activity, but it is not possible to predict
such effect with certainty and such liberalization could also be disruptive to the economy and fail to
benefit or harm companies in Argentina. The Investment Manager cannot predict how the Macri
administration will address certain other political and economic issues that were central during the 2015
presidential election campaign, such as the financing of public expenditures, public service subsidies
and tax reforms, the resolution of holdout debt or the impact that any measures related to these issues
that are implemented by the Macri administration will have on the Argentine economy as a whole.

        Currency Controls. In the past, Argentina imposed exchange controls and transfer restrictions
substantially limiting the ability of companies to retain foreign currency or make payments abroad.
Although the Macri government lifted exchange controls and liberalized capital controls, there can be
no assurances regarding future modifications to exchange and capital controls. Exchange and capital
controls could adversely affect the financial condition or results of operations of issuers in whose
securities the Master Fund intends to invest, as well as their ability to meet foreign currency obligations
and to execute financing plans.

        Challenges to Argentina’s Debt Payments. Argentina’s payments in connection with a debt
offering may be attached, enjoined or otherwise challenged. In recent years, hold-out creditors have
used litigation against sovereign debtors, most prominently Peru and Nicaragua, to attach or interrupt
payments made by these sovereign debtors to, among others, bondholders who have agreed to a debt
restructuring and accepted new securities in an exchange offer. Argentina has been subjected to suits to
collect on amounts due on defaulted bonds, including actions in the United States, the United Kingdom,
Italy and Germany. Some of these actions have resulted in judgments against Argentina. There can be
no assurance that a creditor will not be able to interfere, through an attachment of assets, injunction,
temporary restraining order or otherwise, with payments made in connection with a debt offering.

       Pro Rata Payment Litigation. Argentina’s defaults with respect to the payment of its foreign debt
could prevent the government and the private sector from accessing the international capital markets,
which could adversely affect the financial condition of sovereign and corporate issuers in which the
Master Fund invests. In September 2014, the Argentine Congress passed a law to restructure foreign-law
bonds held by exchange bondholders to allow the payment in Argentina and to appoint a new paying
agent. On September 29, 2014, the U.S. District Court for the Southern District of New York held
Argentina in contempt of court as a result of this law. The U.S. District Court authorized limited
exceptions to the injunction allowing certain custodians of Argentine law-governed bonds to process
payments in August 2014, September 2014 and December 2014.

        On May 11, 2015, the plaintiffs that obtained pari passu injunctions asked the U.S. district court
to amend their complaints to include claims alleging that Argentina’s issuance and servicing of its 2024
dollar-denominated bonds, and its external indebtedness in general, would violate the pari passu clause.
On June 5, 2015, the Second Circuit granted partial summary judgment to a group of 526 “me-too”
plaintiffs in 36 separate lawsuits, finding that, consistent with the previous ruling of such court, Argentina
violated a pari passu clause in bonds issued to the “me-too” bondholders. The decision obligates
Argentina to pay the plaintiffs $5.4 billion before it can make payments on restructured debt.

       In 2016, the Argentine government working under a court appointed mediator, entered into
settlement agreements with a large portion of hold-out debt holders contingent on Argentina repealing
laws that prevented the country from complying with rulings by U.S. courts. In this context Judge
Thomas Griesa ruled he would lift the injunctions preventing Argentina from serving post-2005
exchange debt if these laws are repealed. Argentina’s lower chamber approved the repeal of these laws

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and Argentina’s senate voted to approve the same in March 2016. In April 2016, the Second Circuit
Court of Appeals in the United States upheld Judge Griesa’s ruling, finding that he did not abuse his
discretion in lifting the pari passu injunctions.

        The repercussions of restructuring Argentina’s bond debts are ongoing. The 2016 U.S. court
rulings only settled claims of certain bondholders. Argentina reached a $475 million settlement with
other bondholders in November 2016. Financial indices have only just started moving Argentina back
to “emerging market” status, where it had been before 2009.

        Argentina’s default with respect to the payment of its foreign debt, its delay in completing the
debt restructuring process with creditors that did not participate in the related exchange offers, the
complaints filed against Argentina discussed above, the U.S. Supreme Court’s decision not to hear
Argentina’s appeal, the declaration of contempt, and the long-term difficulty of reestablishing itself in
the global marketplace could prevent Argentina’s government from obtaining international private
financing or receiving direct foreign investment, as well as private sector companies in Argentina from
accessing the international capital markets. Without access to international private financing, Argentina
may not be able to finance its obligations, and financing from multilateral financial institutions may be
limited or not available. Without access to direct foreign investment, the government may not have
sufficient financial resources to foster economic growth and the performance of the Master Fund’s
investments in Argentina could be materially and adversely affected.

         Derivative Instruments. The Investment Manager may use various derivative instruments,
including futures, options, forward contracts, swaps and other derivatives which may be volatile and
speculative. Certain positions may be subject to wide and sudden fluctuations in market value, with a
resulting fluctuation in the amount of profits and losses. Use of derivative instruments presents various
risks, including the following:

      Tracking – When used for hedging purposes, an imperfect or variable degree of correlation
       between price movements of the derivative instrument and the underlying investment sought to
       be hedged may prevent the Investment Manager from achieving the intended hedging effect or
       expose the portfolio to the risk of loss.

      Liquidity – Derivative instruments, especially when traded in large amounts, may not be liquid
       in all circumstances, so that in volatile markets the Investment Manager may not be able to close
       out a position without incurring a loss. In addition, daily limits on price fluctuations and
       speculative positions limits on exchanges on which the Investment Manager may conduct its
       transactions in certain derivative instruments may prevent prompt liquidation of positions,
       subjecting the portfolio to the potential of greater losses.

      Leverage – Trading in derivative instruments can result in large amounts of leverage. Thus, the
       leverage offered by trading in derivative instruments may magnify the gains and losses
       experienced by the Master Fund and could cause the Master Fund’s net asset value to be subject
       to wider fluctuations than would be the case if the Investment Manager did not use the leverage
       feature in derivative instruments.

      Over-the-Counter-Trading – Derivative instruments that may be purchased or sold for the
       portfolio may include instruments not traded on an exchange. Over-the-counter options, unlike
       exchanged-traded options, are two-party contracts with price and other terms negotiated by the
       buyer and seller. The risk of non-performance by the obligor on such an instrument may be

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       greater and the ease with which the Investment Manager can dispose of or enter into closing
       transactions with respect to such an instrument may be less than in the case of an exchange-traded
       instrument. In addition, significant disparities may exist between “bid” and “asked” prices for
       derivative instruments that are not traded on an exchange. Derivative instruments not traded on
       exchanges are also not subject to the same type of government regulation as exchange traded
       instruments, and many of the protections afforded to participants in a regulated environment may
       not be available in connection with such transactions.

        Short Sales. Short sales by the Master Fund that are not made “against the box” create
opportunities to increase the Master Fund’s return but, at the same time, involve special risk
considerations and may be considered a speculative technique. Since the Master Fund, in effect, profits
from a decline in the price of the securities sold short without the need to invest the full purchase price
of the securities on the date of the short sale, the value of the Master Fund will tend to increase more
when the securities it has sold short decrease in value, and to decrease more when the securities it has
sold short increase in value, than otherwise would be the case if it had not engaged in such short sales.
Short sales theoretically involve unlimited loss potential, as the market price of securities sold short may
increase continuously, although the Master Fund may mitigate such losses by replacing the securities
sold short before the market price has increased significantly. Under adverse market conditions the
Master Fund might have difficulty purchasing securities to meet its short sale delivery obligations, and
might have to sell portfolio securities to raise the capital necessary to meet its short sale obligations at a
time when fundamental investment considerations would not favor such sales. Short sales may be used
with the intent of hedging against the risk of declines in the market value of the Master Fund’s long
portfolio, but there can be no assurance that such hedging operations will be successful.

        Risks of Execution of Investment Strategies. The Master Fund will invest in a number of
securities and obligations that entail substantial inherent risks. Although the Master Fund will attempt
to manage those risks through careful research, ongoing monitoring of investments and appropriate
hedging techniques, there can be no assurance that the securities and other instruments purchased by the
Master Fund will in fact increase in value or that the Master Fund will not incur significant losses.

        Market Risks and Liquidity. The profitability of a significant portion of the Master Fund’s
investment program depends to a great extent upon correctly assessing the future course of the price
movements of securities and other investments. There can be no assurance that the Master Fund will be
able to predict accurately these price movements. Although the Master Fund may attempt to mitigate
market risk through the use of long and short positions or other methods, there is always some, and
occasionally a significant, degree of market risk.

        Furthermore, the Master Fund may be adversely affected by a decrease in market liquidity for
the instruments in which they invest, which may impair the Master Fund’s ability to adjust their position.
The size of the Master Fund’s positions may magnify the effect of a decrease in market liquidity for such
instruments. Changes in overall market leverage, deleveraging as a consequence of a decision by a
broker to reduce the level of leverage available, or the liquidation by other market participants of the
same or similar positions, may also adversely affect the Master Fund’s portfolio. Some of the underlying
investments of the Master Fund may not be actively traded and there may be uncertainties involved in
the valuation of such investments. Potential investors should be warned that under such circumstances,
the net asset value of the Master Fund may be adversely affected.

        Hedging. Although the Master Fund will attempt to hedge its exposure to specific arbitrage
positions, it will not always be possible fully to hedge risk from such positions or any other position. In

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addition, the Master Fund may take positions based on the expected future direction of the markets
without fully hedging the market risks.

        Currency Risks. A portion of the Master Fund’s assets may be invested in securities denominated
in various currencies and in other financial instruments, the price of which is determined with reference
to such currencies. The account of the Master Fund will, however, be valued in U.S. Dollars. To the
extent unhedged, the value of the net assets of the Master Fund will fluctuate with U.S. Dollars exchange
rates as well as with price changes of their investments in the various local markets and currencies.
Forward currency contracts and options may be utilized by the Master Fund to hedge against currency
fluctuations, but there can be no assurance that such hedging transactions will be effective.

        Counterparty and Settlement Risk. Due to the nature of some of the investments which the
Master Fund may make, the Master Fund may rely on the ability of the counterparty to a transaction to
perform its obligations. In the event that any such party fails to complete its obligations for any reason,
the Master Fund may suffer losses. The Master Fund will therefore be exposed to a credit risk on the
counterparties with which it trades. The Master Fund will also bear the risk of settlement default by
clearing houses and exchanges. Any default by a counterparty or on settlement could have a material
adverse effect on the Master Fund.

        Borrowing. The Master Fund is permitted to finance its operations with secured and unsecured
borrowing up to 100% of its net assets, to the extent allowable under applicable credit regulations. Like
other forms of leverage, the use of borrowing can enhance the risk of capital loss in the event of adverse
changes in the level of market prices of the assets being financed with the borrowings.

         Concentration of Investments. Although the Investment Manager will follow a general policy of
seeking to spread the Master Fund’s capital among a number of investments, the Investment Manager
may depart from such policy from time to time and may hold a few, relatively large securities positions
in relation to the Master Fund’s capital. The result of such concentration of investments is that a loss in
any such position could materially reduce the Master Fund’s capital.

        Difficult Market for Investment Opportunities. The activity of identifying, completing and
realizing on attractive investments involves a high degree of uncertainty. There can be no assurance that
the Master Fund will be able to locate and complete investments which satisfy the Master Fund’s rate of
return objective or realize upon their values or that the Master Fund will be able to invest fully its
subscribed capital in a manner consistent with its investment strategy.

Certain Regulatory Risks

        Absence of Regulatory Oversight. While the Fund may be considered similar to an investment
company, it is not required and does not intend to register as such under the Investment Company Act of
1940, as amended (the “Investment Company Act”), and, accordingly, the provisions of the Investment
Company Act (which may provide certain regulatory safeguards to investors) are not applicable to
investors in the Fund. Neither the Fund nor the Master Fund will maintain custody of its securities or
place its securities in the custody of a bank or a member of a national securities exchange in the manner
required of registered investment companies under rules promulgated by the Securities and Exchange
Commission (the “SEC”). A registered investment company which places its securities in the custody
of a member of a national securities exchange is required to have a written custodian agreement, which
provides that securities held in custody will be at all times individually segregated from the securities of
any other person and marked to clearly identify such securities as the property of such investment

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company, and which contains other provisions complying with SEC regulations. The Master Fund
generally will maintain such accounts at brokerage firms that do not separately segregate such assets as
would be required in the case of registered investment companies. Under the provisions of the Securities
Investor Protection Act of 1970, as amended, the bankruptcy of any such brokerage firm might have a
greater adverse effect on the Master Fund and the Fund than would be the case if the accounts were
maintained to meet the requirements applicable to registered investment companies.

        Forward-Looking Statements. Certain statements contained in this Memorandum, including
without limitation, statements containing the words “believes,” “anticipates,” “intends,” “expects,” and
words of similar import constitute “forward-looking statements.” Such forward-looking statements
involve known and unknown risks, uncertainties and other factors that may cause the actual results,
performance or achievements of the Fund to be materially different from any future results, performance
or achievements expressed or implied by such forward-looking statements. Certain of these factors are
discussed in more detail elsewhere in this Memorandum, including without limitation under “Summary
of Terms,” “Certain Risk Factors,” and “Investment Program.” Given these uncertainties, prospective
investors are cautioned not to place undue reliance on such forward-looking statements. The Investment
Manager and the Fund disclaim any obligation to update any such factors or to announce the result of
any revisions to any of the forward-looking statements contained herein to reflect future events or
developments.

        Impact of U.S. Presidential Election. On January 20, 2017, Donald Trump became President of
the United States of America. President Trump and other members of the Republican Party have
proposed to reverse some of the recent regulation of the financial industry and to change tax policy. If
some of these proposals were enacted, banks could dramatically increase their lending practices and
accept additional types of collateral, borrowers could reduce their demand for debt financing, certain
investment advisers could de-register with SEC and portfolio companies that are net importers or hold
significant assets outside of the United States could be subject to increased tax liability. The effect of
any such regulatory or tax changes on the Master Fund and the markets in which it trades and invests is
uncertain.

       Evolving Regulatory Risks of Private Investment Funds. The regulatory environment for private
investment funds is evolving, and changes in the regulation of private investment funds and their advisers
may adversely affect the value of investments held by the Master Fund.

        The Dodd-Frank Wall Street Reform and Consumer Protection Act (“Dodd-Frank”), which was
enacted in July 2010, regulates markets, market participants and financial instruments that were
historically unregulated and has substantially altered the regulation of many other markets, market
participants and financial instruments. Certain provisions of Dodd-Frank subject registered investment
advisers to requirements to keep records and to report information to the SEC, which could in turn be
supplied to the Board of Governors of the Federal Reserve, a new Financial Services Oversight Council
or other U.S. governmental agencies or Congress. Under Dodd-Frank, the information includes, among
other things, the amount of assets under management, use of leverage (including off-balance sheet
leverage), counterparty credit risk exposures, trading and investment positions, and trading practices.
All such records are subject to examination by the SEC at any time. It is anticipated that there may be
significant changes to the financial regulatory environment as a result of the outcome of the recent U.S.
elections. There is currently pending legislation in U.S. Congress which if enacted would result in the
repeal of portions of Dodd-Frank which in turn would have a significant impact on the regulatory
environment for private investment funds. In addition, the impact of the legislation on current and future
rulemaking by various regulators under Dodd-Frank is difficult to predict. It is possible that rules that

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have been proposed by various regulators, which had been anticipated to take effect previously, may no
longer be implemented in their proposed form or at all. Further, there may also be substantial changes
in the enforcement and interpretation of existing statutes and rules by governmental regulatory
authorities or self-regulatory organizations that supervise the financial markets. The effect of future
regulatory change on the Fund and the Master Fund and their operations is uncertain. Prospective
investors should seek, and must rely on, the advice of their own advisers with respect to the possible
impact on its investment of any future proposed legislation or administrative or judicial action.

Tax Related Risks

        Uncertainty and Complexity of Tax Treatment. The tax aspects of an investment in a partnership
are complicated and complex and, in many cases, uncertain. Statutory provisions and administrative
regulations have been interpreted inconsistently by the courts. Additionally, some statutory provisions
remain to be interpreted by administrative regulations. Investors will thus be subject to the risk caused
by the uncertainty of the tax consequences with respect to an investment in the Fund. Each prospective
investor should have the tax aspects of an investment in the Fund reviewed by professional advisors
familiar with such investor’s personal tax situation and with the tax laws and regulations applicable to
the investor and private investment vehicles. Prospective investors are strongly urged to review the
discussion below under “Tax Considerations” and “ERISA and Other Regulatory Considerations” for a
more complete discussion of certain of the tax risks inherent in the acquisition of Interests and to consult
their own independent tax advisors.

         Risk of Adverse Determination. There can be no assurance that the conclusions set forth in this
Memorandum will not be challenged successfully by the U.S. Internal Revenue Service (the “Service”)
or other applicable taxing authority, or significantly modified by new legislation, changes in the Service’s
positions or court decisions. The Fund has not applied for, nor does it expect to apply for, any advance
rulings from the Service with respect to any of the federal income tax consequences described in this
Memorandum. No representation or warranty of any kind is made by the General Partner with respect
to the tax consequences relating to an investment in the Fund. The Fund may take positions with respect
to certain tax issues which depend on legal conclusions not yet resolved by the courts. Should any such
positions be successfully challenged by the Service or other applicable taxing authority, there could be
a materially adverse effect on the Fund, and a Limited Partner might be found to have a different tax
liability for that year than that reported on its income tax returns.

        Risk of Tax Audit. An audit of the Fund by the Service or another taxing authority could result in
adjustments to the tax consequences initially reported by the Fund and may result in an audit of the
returns of some or all of the Limited Partners, which examination could affect items not related to a
Limited Partner’s investment in the Fund. If audit adjustments result in an increase in a Limited Partner’s
income tax liability for any year, such Limited Partner may also be liable for interest and penalties with
respect to the amount of underpayment. The legal and accounting costs incurred in connection with any
audit of the Fund’s tax returns will be borne by the Fund. The cost of any audit of a Limited Partner’s
tax return will be borne solely by that Limited Partner.

        Entity-Level Audits. Pursuant to the Bipartisan Budget Act of 2015, for taxable years beginning
after December 31, 2017, the Service generally will be permitted to determine adjustments to items of
income, gain, deduction, loss or credit of the Fund, and assess and collect taxes attributable thereto
(including any applicable penalties and interest), at the Fund level. If this new regime applies to the
Fund (which depends, among other things, on whether the Fund has more than 100 partners or has any
partner that is itself classified as a partnership for U.S. federal income tax purposes), then any person

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who is a partner of the Fund in the relevant year of the adjustment may indirectly bear the economic
burden of any such taxes assessed or collected (initially determined at the highest rate of tax applicable
to an individual or corporation in effect for the reviewed year), regardless of whether such person was a
Limited Partner during any reviewed year. It is expected that guidance will be issued that permits the
Fund to reduce the underpayment of taxes owed by the Fund, including to the extent that the Fund
demonstrates such taxes are allocable to a Limited Partner that would not owe any tax by reason of its
status as a “tax-exempt entity” or the character of income is subject to a lower rate of tax. The Fund may
under certain circumstances have the ability to avoid such entity-level tax assessment or collection by
electing to issue a statement to each partner of any reviewed year with its share of such adjustment,
resulting in such partner being required to take into account any such adjustment for the taxable year
which includes the date such statement was furnished. In such case, the partners of the reviewed year
would also incur a two-percentage point increase on the interest rate that would otherwise have been
imposed on any underpayment of taxes. There can be no assurances, however, that the Fund will avoid,
or be able to avoid, any entity-level determination, assessment or collection. Limited Partners should
note that there is substantial uncertainty regarding the implementation of these rules and the impact on
any current or future allocations made or cash available for distributions or withdrawals by the Fund.
The Fund may also be exposed to the risk that these rules apply to any lower-tier entity in which the
Fund directly or indirectly invests and that is treated as a partnership for U.S. federal income tax
purposes. If this new legislation applies to the Fund, the Fund will designate a tax representative, which
is expected to be the General Partner, the Investment Manager, or an affiliate thereof, who shall have the
sole authority to act on behalf of the Fund with respect to dealings with the Service under these new
procedures. Prospective Limited Partners should consult their own tax advisors regarding this new
legislation.

        Tax Considerations Taken into Account. The General Partner may take tax considerations into
account in determining when the Fund’s investments should be sold or otherwise disposed of, and may
assume certain market risk and incur certain expenses in this regard to achieve favorable tax treatment
of a transaction.

        Foreign Taxation. With respect to certain countries, there is a possibility of expropriation,
confiscatory taxation, and imposition of withholding or other taxes on dividends, interest, capital gains
or other income, limitations on the removal of funds or other assets of the Fund, political or social
instability or diplomatic developments that could affect investments in those countries. An issuer of
securities may be domiciled in a country other than the country in whose currency the instrument is
denominated. The values and relative yields of investments in the securities markets of different
countries, and their associated risks, are expected to change independently of each other.

         Tax Liabilities Without Distributions. If the Fund has taxable income in a fiscal year, each
Limited Partner will be taxed on that income in accordance with its allocable share of the Fund’s profits,
whether or not such profits have been distributed. Because the General Partner anticipates that there will
be no cash distributions to the Limited Partners, an investor may incur tax liability with respect to
activities of the Fund without receiving sufficient distributions from the Fund to defray such tax
liabilities. In order to satisfy its tax liability in such a case, a Limited Partner would need sufficient funds
from sources other than the Fund. Furthermore, the Fund may make investments with respect to which
the Fund recognizes income for U.S. federal income tax purposes prior to receiving the cash or realizing
the income as an economic matter. In addition, the Fund may recognize income for U.S. federal income
tax purposes that does not reflect income as an economic matter. Such recognition of income prior to
receipt of an economic benefit, if any, may result in increased tax liability for the Partners.


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        Delayed Schedules K-1. The Fund will provide Schedules K-1 as soon as practicable after receipt
of all of the necessary information. However, the Fund may be unable to provide final Schedules K-1
to Limited Partners for any given tax year until significantly after April 15 of the following year. The
General Partner will endeavor to provide Limited Partners with estimates of the taxable income or loss
allocated to their investment in the Fund on or before such date, but final Schedules K-1 may not be
available until completion of the Fund’s annual audit. Limited Partners should be prepared to obtain
extensions of the filing date for their income tax returns at the federal, state and local levels.

        Unrelated Business Taxable Income. The Fund may make investments or engage in activities
that will give rise to unrelated business taxable income (“UBTI”) under Sections 512 and 514 of the U.S.
Internal Revenue Code of 1986, as amended (the “Code”). Thus, an investment in the Fund may be less
desirable for certain tax-exempt investors. For example, the Fund may incur leverage giving rise to
UBTI or may participate in investments that give rise to UBTI through entities that are treated as
partnerships for U.S. federal income tax purposes. Because of the “flow-through” principles applicable
to partnerships, if UBTI is earned by the Fund, a tax-exempt investor in the Fund will realize UBTI.
Because of the General Partner’s objective of maximizing the pre-tax returns of all the Limited Partners,
the General Partner may be required to make certain decisions to maximize pre-tax returns that result in
tax-exempt investors recognizing more UBTI than might otherwise be the case. In some cases, the
General Partner may forgo actions with regard to the acquisition, financing, management and disposition
of assets that would reduce UBTI because such actions would reduce the overall pre-tax returns to all
the Limited Partners.

         Tax Changes. Investors will be subject to the risk that changes to the tax law may adversely
affect the federal income tax consequences of their investment in the Fund. Changes in existing tax laws
or regulations and their interpretation may be enacted after the date of this Memorandum, possibly with
retroactive effect, and could alter the income tax consequences of an investment in the Fund. Certain
provisions of the Code may be further amended or interpreted in a manner adverse to the Fund, in which
event any benefits derived from an investment in the Fund may be adversely affected. In addition,
significant legislative and budgetary proposals affecting tax laws have been made by the legislative and
executive branches of the U.S. federal government. The likelihood of enactment of any such proposals,
or any similar proposals, into law is uncertain. The enactment of any such proposals, including
subsequent proposals, into law could have material adverse effects on the Fund and/or the Limited
Partners. Enactment of such legislation, or similar legislation, could require significant restructuring of
the Fund in order to mitigate such effects.

        The foregoing list of risk factors does not purport to be a complete enumeration or explanation
of the risks involved in an investment in the Fund. Prospective investors should read this entire
Memorandum and consult with their own advisers before deciding to invest in the Fund. In addition, as
the investment program of the Fund develops and changes over time, an investment in the Fund may be
subject to additional and different risk factors. No assurance can be made that profits will be achieved
or that substantial losses will not be incurred.

      In view of the foregoing considerations, an investment in Interests is suitable only for investors
who are capable of bearing the relevant investment risks.

Potential Conflicts of Interest

       Given the nature and size of Highland Capital Management, L.P.’s (“Highland Capital”)
operations, various potential conflicts of interest arise in connection with its advisory services and the

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advisory services provided by its affiliates. Information about Highland Capital and its potential
conflicts of interest is provided in Highland Capital’s Form ADV Part 2 Brochure that can be found by
going to https://adviserinfo.sec.gov/IAPD/Default.aspx, searching by firm name and selecting the Part 2
Brochure to be viewed. The Fund is subject to these conflicts of interest, as well as the other items
discussed below.

       None of the Investment Manager, its affiliates and their respective officers, directors,
shareholders, members, partners, personnel and employees (collectively, the “Highland Group”) is
precluded from engaging in or owning an interest in other business ventures or investment activities of
any kind, whether or not such ventures are competitive with the Fund or the Master Fund. The Investment
Manager is permitted to manage other client accounts, and does manage other client accounts, some of
which may have objectives similar or identical to those of the Master Fund, including other collective
investment vehicles that may be managed by the Highland Group and in which the Investment Manager
or any of its affiliates may have an equity interest.

        The Fund will be subject to a number of actual and potential conflicts of interest involving the
Highland Group including, among other things, the fact that: (i) the Highland Group conducts substantial
investment activities for accounts, funds, collateralized debt obligations that invest in leveraged loans
(collectively, “CDOs”) and other vehicles managed by members of the Highland Group (“Highland
Accounts”) in which the Fund has no interest; (ii) the Highland Group advises Highland Accounts, which
utilize the same, similar or different methodologies as the Fund and may have financial incentives
(including, without limitation, as it relates to the composition of investors in such funds and accounts or
to the Highland Group’s compensation arrangements) to favor certain Highland Accounts over the Fund
and the Master Fund; (iii) the Highland Group may use the strategy described herein in certain Highland
Accounts; (iv) the Investment Manager may give advice and recommend securities to, or buy or sell
securities for, the Master Fund, which advice or securities may differ from advice given to, or securities
recommended or bought or sold for, Highland Accounts; (v) the Investment Manager has the discretion,
to the extent permitted under applicable law, to use its affiliates as service providers to the Fund and the
Master Fund and the Master Fund’s portfolio investments; (vi) certain investors affiliated with the
Highland Group may choose to personally invest only in certain funds advised by the Highland Group
and the amounts invested by them in such funds is expected to vary significantly; (vii) the Highland
Group and Highland Accounts may actively engage in transactions in the same securities sought by the
Master Fund and, therefore, may compete with the Master Fund for investment opportunities or may
hold positions opposite to positions maintained on behalf of the Master Fund; and (viii) the Investment
Manager will devote to the Master Fund and the Fund only as much time as the Investment Manager
deems necessary and appropriate to manage the Master Fund’s and the Fund’s business.

       The Investment Manager undertakes to resolve conflicts in a fair and equitable basis, which in
some instances may mean a resolution that would not maximize the benefit to the Fund’s investors.

Allocation of Trading Opportunities

        It is the policy of the Investment Manager to allocate investment opportunities fairly and
equitably over time. This means that such opportunities will be allocated among those accounts for which
participation in the respective opportunity is considered appropriate, taking into account, among other
considerations: (i) fiduciary duties owed to the accounts; (ii) the primary mandate of the accounts; (iii)
the capital available to the accounts; (iv) any restrictions on the accounts and the investment opportunity;
(v) the sourcing of the investment, size of the investment and amount of follow-on available related to
the investment; (vi) whether the risk-return profile of the proposed investment is consistent with the

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account’s objectives and program, whether such objectives are considered in light of the specific
investment under consideration or in the context of the portfolio’s overall holdings; (vii) the potential
for the proposed investment to create an imbalance in the account’s portfolio (taking into account
expected inflows and outflows of capital); (viii) liquidity requirements of the account; (ix) potentially
adverse tax consequences; (x) regulatory and other restrictions that would or could limit an account’s
ability to participate in a proposed investment; and (xi) the need to re-size risk in the account’s portfolio.

        The Investment Manager has the authority to allocate trades to multiple Highland Accounts on
an average price basis or on another basis it deems fair and equitable. Similarly, if an order on behalf of
any accounts cannot be fully allocated under prevailing market conditions, the Investment Manager may
allocate the trades among different accounts on a basis it considers fair and equitable over time. One or
more of the foregoing considerations may (and are often expected to) result in allocations among the
Master Fund and one or more Highland Accounts on other than a pari passu basis. The Investment
Manager will allocate investment opportunities across its accounts for which the opportunities are
appropriate, consistent with (i) its internal conflict of interest and allocation policies and (ii) the
requirements of the Investment Advisers Act of 1940, as amended. The Investment Manager will seek
to allocate investment opportunities among such entities in a manner that is fair and equitable over time
and consistent with its allocation policy, a copy of which will be provided upon request. However, there
is no assurance that such investment opportunities will be allocated to the Master Fund fairly or equitably
in the short-term or over time and there can be no assurance that the Master Fund will be able to
participate in all investment opportunities that are suitable for it

       The Investment Manager may open “average price” accounts with brokers. In an “average price”
account, purchase and sale orders placed during a trading day on behalf of the Investment Manager, the
Master Fund and other accounts managed by the Investment Manager are combined, and securities
bought and sold pursuant to such orders are allocated among such accounts on an average price basis.

Cross Transactions and Principal Transactions

       As further described below, the Investment Manager may effect client cross-transactions where
the Investment Manager causes a transaction to be effected between the Master Fund and another client
advised by it or any of its affiliates. The Investment Manager may engage in a client cross-transaction
involving the Master Fund any time that the Investment Manager believes such transaction to be fair to
the Master Fund and such other client. By subscribing for an Interest, a Limited Partner is deemed to
have consented to such client cross-transactions between the Master Fund and another client of the
Investment Manager or one of its affiliates.

        The Investment Manager may direct the Master Fund to acquire or dispose of securities in cross
trades between the Master Fund and other clients of the Investment Manager or its affiliates in
accordance with applicable legal and regulatory requirements. In addition, the Master Fund may invest
in securities of obligors or issuers in which the Investment Manager and/or its affiliates have a debt,
equity or participation interest, and the holding and sale of such investments by the Master Fund may
enhance the profitability of the Investment Manager’s own investments in such companies. Moreover,
the Master Fund may invest in assets originated by the Investment Manager or its affiliates. In each such
case, the Investment Manager and such affiliates may have a potentially conflicting division of loyalties
and responsibilities regarding the Master Fund and the other parties to such trade. Under certain
circumstances, the Investment Manager and its affiliates may determine that it is appropriate to avoid
such conflicts by selling a security at a fair value that has been calculated pursuant to the Investment
Manager’s valuation procedures to another client managed or advised by the Investment Manager or

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such affiliates. In addition, the Investment Manager may enter into agency cross-transactions where it
or any of its affiliates acts as broker for the Master Fund and for the other party to the transaction, to the
extent permitted under applicable law.

        The Principal, as well as the employees and officers of the Investment Manager and of
organizations affiliated with the Investment Manager, may buy and sell securities for their own account
or the account of others, but may not buy securities from or sell securities to the Master Fund (such
prohibition does not extend to the purchase or sale of interests in the Fund), unless such purchase or sale
is in compliance with the applicable provisions of the Investment Advisers Act of 1940, as amended.

Conflicts Relating to Equity and Debt Ownership by the Master Fund and Affiliates

         In certain circumstances, the Master Fund and other client accounts may invest in securities or
other instruments of the same issuer (or affiliated group of issuers) having a different seniority in the
issuer’s capital structure. If the issuer becomes insolvent, restructures or suffers financial distress, there
may be a conflict between the interests in the Master Fund and those other accounts insofar as the issuer
may be unable (or in the case of a restructuring prior to bankruptcy may be expected to be unable) to
satisfy the claims of all classes of its creditors and security holders and the Master Fund and such other
accounts may have competing claims for the remaining assets of such issuers. Under these circumstances
it may not be feasible for the Investment Manager to reconcile the conflicting interests in the Master
Fund and such other accounts in a way that protects the Master Fund’s interests. Additionally, the
Investment Manager or its nominees may in the future hold board or creditors’ committee memberships
which may require them to vote or take other actions in such capacities that might be conflicting with
respect to certain funds managed by the Investment Manager in that such votes or actions may favor the
interests of one account over another account. Furthermore, the Investment Manager’s fiduciary
responsibilities in these capacities might conflict with the best interests of the investors.

Affiliated Entity Services

        Affiliated entities of the Investment Manager may provide services with respect to the Investment
Manager, the Master Fund or the Fund. NexBank, SSB (“NexBank SSB”) is an affiliate of the
Investment Manager and may, from time to time, provide banking and/or agency services to the
Investment Manager, clients of the Investment Manager or collective investment vehicles for which the
Investment Manager provides investment advisory services (including the Fund, the Master Fund and
other vehicles in which the Fund (through the Master Fund) may invest) or third parties engaged in
transactions involving the Investment Manager. NexBank SSB may also act as an agent in connection
with certain securities transactions involving the Investment Manager’s client accounts (including the
Master Fund and other vehicles in which the Master Fund may invest). Principals of the Investment
Manager own a majority of the equity interests in NexBank SSB and employees or affiliates of the
Investment Manager own or may own a substantial equity interest in NexBank SSB. Certain Master
Fund investment transactions may be executed through NexBank Securities, Inc., an affiliate of the
Investment Manager and a registered broker-dealer.

        Additionally, the Investment Manager or affiliates of the Investment Manager, including, without
limitation, Nexbank SSB, NexBank Securities, Inc., NexBank Capital Advisors and Governance Re,
Ltd., may provide financial advisory, management, insurance, title insurance or other services for a fee
to portfolio companies in which the Master Fund may have an interest. Highland Latin America
Consulting, Ltd., an affiliate of the Investment Manager, has been engaged to provide certain


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administrative and consulting services to the Investment Manager, as more fully described below in
“Management –Services Agreement.”

Management Fee

        A portion of any Management Fee may be paid to broker-dealers, placement agents or
independent third parties, other than the Investment Manager, for services provided in connection with
the solicitation of subscriptions from investors. Accordingly, investors should recognize that a
placement agent’s or distributor’s participation in this offering may be influenced by its interest in such
current or future fees and compensation. Investors should consider these potential conflicts of interest
in making their investment decisions. Each placement agent shall comply with the legal requirements
of the jurisdictions within which it offers and sells Interests.

Diverse Membership

         The Limited Partners are expected to include entities, persons, or entities organized in various
jurisdictions and subject to different tax and regulatory regimes. Such diverse investors may thus have
conflicting investment, tax and other interests, relating to, among other things, the nature of investments
made by the Master Fund, the structuring or the acquisition of investments and the timing of disposition
of investments. As a result, conflicts of interest may arise in connection with decisions made by the
Investment Manager including as to the nature and structure of investments that may be more beneficial
for one type of Limited Partner than for another type of Limited Partner, including Limited Partners
affiliated with the Investment Manager. The results of the Fund’s activities may affect individual
Limited Partners differently, depending upon their individual financial and tax situations because, for
instance, of the timing of an event of realization of gain or loss and its characterization as long-term or
short-term gain or loss. In addition, the Master Fund may make investments that may have a negative
impact on related investments made by the Limited Partners in separate transactions. In selecting,
structuring and managing investments appropriate for the Master Fund, the Investment Manager will
consider the investment and tax objectives of the Master Fund and the Feeder Funds as a whole, not the
investment, tax, or other objectives of any Limited Partner individually. However, there can be no
assurance that a result will not be more advantageous to some Limited Partners than to others or to the
Investment Manager and/or its affiliates than to a particular Limited Partner.

Soft Dollars

        The Investment Manager’s authority to use “soft dollar” credits generated by the Master Fund’s
securities transactions to pay for expenses that might otherwise have been borne by the Investment
Manager or the General Partner may give the Investment Manager an incentive to select brokers or
dealers for Master Fund transactions, or to negotiate commission rates or other execution terms, in a
manner that takes into account the soft dollar benefits received by the Investment Manager rather than
giving exclusive consideration to the interests in the Master Fund. See “Brokerage and Custody.”

No Separate Counsel

        Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) serves as counsel to the Fund, the Master
Fund, the Investment Manager, the General Partner and certain of their Affiliates (the “Clients”) in
connection with the formation of the Fund and certain other Clients, the offering of Interests as well as
certain other matters for which the Clients may engage Akin Gump from time to time. Akin Gump
disclaims any obligation to verify the Clients’ compliance with their obligations either under applicable

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law or the governing documents of the Fund. In acting as counsel to the Clients, Akin Gump has not
represented and will not represent any Limited Partners nor does it purport to represent their
interests. No independent counsel has been retained to represent the Limited Partners. In assisting in
the preparation of this Memorandum, Akin Gump has relied on information provided by the Fund, the
Investment Manager and the General Partner and certain of the Fund’s other service providers (including,
without limitation, the Principal’s biographical data, summaries of market conditions, the planned
investment strategy of the Master Fund and the performance of the Master Fund, its investments or any
predecessor Fund) without verification and does not express a view as to whether such information is
accurate or complete.

        Maples and Calder, PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands,
acts as Cayman Islands legal counsel to the Offshore Fund, the Master Fund and the General Partner. In
connection with the offering of interests and subsequent advice to the Offshore Fund, the Master Fund
and the General Partner, Maples and Calder will not be representing shareholders and/or limited partners.
No independent legal counsel has been retained to represent the shareholders and/or limited partners.
Maples and Calder's representation of the General Partner is limited to specific matters as to which it has
been consulted by the General Partner. There may exist other matters that could have a bearing on the
Master Fund as to which Maples and Calder has not been consulted. In addition, Maples and Calder
does not undertake to monitor compliance by the General Partner and its affiliates with the investment
program, valuation procedures and other guidelines set forth herein, nor does Maples and Calder monitor
ongoing compliance with applicable laws. In connection with the preparation of this Memorandum,
Maples and Calder's responsibility is limited to matters of Cayman Islands law and it does not accept
responsibility in relation to any other matters referred to or disclosed in this Memorandum. In the course
of advising the General Partner, there are times when the interests of the shareholders/limited partners
may differ from those of the Offshore Fund, Master Fund and/or the General Partner. Maples and Calder
does not represent the shareholders and/or limited partners' interests in resolving these issues. In
reviewing this Memorandum, Maples and Calder has relied upon information furnished to it by the
General Partner and has not investigated or verified the accuracy and completeness of information set
forth herein concerning the Offshore Fund, Master Fund and/or the General Partner.

Non-Public Information

        From time to time, the Investment Manager may come into possession of non-public information
concerning specific companies although internal structures are in place to prevent the receipt of such
information. Under applicable securities laws, this may limit the Investment Manager’s flexibility to
buy or sell portfolio securities issued by such companies. The Master Fund’s investment flexibility may
be constrained as a consequence of the Investment Manager’s inability to use such information for
investment purposes.

       The foregoing list of risk factors and potential conflicts of interest do not purport to be a complete
enumeration or explanation of the risks involved in an investment in the Fund. Prospective investors
should read this entire Memorandum and consult with their own legal, tax and financial advisers before
deciding to invest in the Fund.




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                                   BROKERAGE AND CUSTODY

Brokerage Arrangements

        The Investment Manager will be responsible for the placement of the portfolio transactions of
the Master Fund and the negotiation of any commissions or spreads paid on such transactions. Portfolio
transactions normally will be effected through brokers on securities exchanges or directly with the issuer,
or through an underwriter, or market maker or other dealer for the investments. Portfolio transactions
through brokers involve a commission to the broker. Portfolio transactions with dealers typically are
priced to include a spread between the bid and the asked price to compensate the dealer. Portfolio
transactions will be executed by brokers selected solely by the Investment Manager in its absolute
discretion. The Investment Manager is not required to weigh any of these factors equally.

        Substantially all of the Master Fund’s investments in marketable securities, as well as its cash
and cash equivalents, are expected to be held at Société Générale and BNP Paribas Prime Brokerage,
Inc. or other prime brokers or custodians selected by the Investment Manager. Instruments not
constituting marketable securities generally are recorded through book entry by the borrower or by an
agent for the borrower or the creditors. Documentary evidence of the acquisition, ownership and
disposition of these assets typically will be held by the Administrator.

         Société Générale and BNP Paribas Prime Brokerage, Inc. and other prime brokers or their
affiliates may provide capital introduction or other placement services to the Fund and the Investment
Manager (with or without separate charges for such other services). In determining which broker-dealer
generally provides the best available price and most favorable execution, the Investment Manager
considers a totality of circumstances, including price quotes, the size of the transaction, the nature of the
market for the financial instrument, the timing of the transaction, difficulty of execution, the broker-
dealer’s expertise in the specific financial instrument or sector in which the Master Fund seeks to trade,
the extent to which the broker-dealer makes a market in the financial instrument involved or has access
to such markets, the broker-dealer’s skill in positioning the financial instruments involved, the broker-
dealer’s promptness of execution, the broker-dealer’s financial stability, reputation for diligence, fairness
and integrity, quality of service rendered by the broker-dealer in other transactions for the Investment
Manager and its respective affiliates, confidentiality considerations, the quality and usefulness of
research services and investment ideas presented by the broker-dealer, the broker-dealer’s willingness
to correct errors, the broker-dealer’s ability to accommodate any special execution or order handling
requirements that may surround the particular transaction, and other factors deemed appropriate by the
Investment Manager. The Investment Manager need not solicit competitive bids and does not have an
obligation to seek the lowest available commission cost or spread.

       Accordingly, if the Investment Manager concludes that the commissions charged by a broker or
the spreads applied by a dealer are reasonable in relation to the quality of services rendered by such
broker or dealer (including, without limitation, the value of the brokerage and research products or
services provided by such broker or dealer), the Master Fund may pay commissions to, or be subject to
spreads applied by, such broker-dealer in an amount greater than the amount another broker-dealer might
charge or apply.

        The Investment Manager may also execute trades with brokers and dealers with whom the Fund,
the Master Fund or the Investment Manager has other business relationships, including prime brokerage,
credit relationships and capital introduction or investments by affiliates of the broker-dealers in the Fund
or other entities managed by the Investment Manager. However, the Investment Manager does not

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believe that these other relationships will influence the choice of brokers and dealers who execute trades
for the Master Fund.

        Research-related goods and services provided by brokers and dealers through which portfolio
transactions for the Master Fund are executed, settled and cleared may include research reports on
particular industries and companies, economic surveys and analyses, recommendations as to specific
securities, certain research services, and other goods and services providing lawful and appropriate
assistance to the Investment Manager in the performance of investment decision-making responsibilities
on behalf of the Master Fund and related accounts (collectively, “soft dollar items”).

        Soft dollar items may be provided directly by brokers and dealers, by third parties at the direction
of brokers and dealers or purchased on behalf of the Master Fund with credits or rebates provided by
brokers and dealers. Soft dollar items may arise from over-the-counter principal transactions, as well as
exchange traded agency transactions. Brokers and dealers sometimes suggest a level of business they
would like to receive in return for the various services they provide. Actual business received by any
broker or dealer may be less than the suggested allocations, but can (and often does) exceed the
suggestions, because total transaction volume is allocated on the basis of all the considerations described
above. A broker or dealer will not be excluded from executing transactions for the Master Fund because
it has not been identified as providing soft dollar items.

        The use of commissions or “soft dollars” if any, generated by the Master Fund through agency
and certain riskless principal transactions to pay for research and research-related products or services,
if any, will fall within the safe harbor created by Section 28(e) of the Securities Exchange Act of 1934,
as amended. Under Section 28(e), research products or services obtained with soft dollars generated by
the Master Fund may be used by the Investment Manager to service accounts other than the Master Fund.
Soft dollars generated in respect of futures, currency and derivatives transactions and principal
transactions (that are not riskless principal transactions) do not generally fall within the safe harbor
created by Section 28(e) and will be utilized only with respect to research-related products and services
for the benefit of the account generating such soft dollars.

        Research and brokerage products and services may be used by the Investment Manager in
servicing some or all of the Investment Manager’s clients. In addition, some research and brokerage
may not be used by the Investment Manager in servicing the clients whose commission dollars provided
for the research or brokerage. Clients may not, in any particular instance, be the direct or indirect
beneficiaries of the research or brokerage provided. Certain clients, who are the beneficiaries of research
or brokerage, may have an investment style which results in the generation of a small amount of
brokerage commissions due to a lack of active trading for their accounts. As a result, clients who
generate sizeable commissions subsidize research or brokerage provided to clients whose accounts
generate minimal brokerage commissions since the commission dollars generated by transactions for
such clients are not sufficient to pay for research or brokerage that may be received by such clients from
other brokers.

        In selecting broker-dealers on the basis of the foregoing factors, the Investment Manager may
pay a brokerage commission in excess of that which another broker might have charged for effecting the
same transaction. In connection therewith, the Investment Manager will make a good faith determination
that the amount of commission is reasonable in relation to the value of the research or brokerage services
received, viewed in terms of either the specific transaction or the Investment Manager’s overall
responsibility to its clients. The Investment Manager will regularly evaluate the placement of brokerage
services and the reasonableness of commissions paid. Research received from brokers will be

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supplemental to the Investment Manager’s own research efforts. While the receipt of research will not
reduce the Investment Manager’s normal research activities, the Investment Manager’s expenses could
increase materially if it attempted to generate such additional research or brokerage services through its
own staff, and the Management Fee will not be reduced as a consequence of the receipt of such research
or brokerage services or products. As such, the Investment Manager’s arrangements for the receipt of
research and brokerage services from brokers may create a conflict of interest, in that the Investment
Manager may have an incentive to choose a broker-dealer that provides research and brokerage services,
instead of one that does not but charges a lower commission rate. In some instances, the Investment
Manager receives products and services that may be used for both research and non-research purposes.
In such instances, the Investment Manager will make a good faith effort to determine the relative
proportion of the products and services used to assist the Investment Manager in carrying out its
investment decision-making responsibilities or order execution, including research and brokerage, and
the relative proportion used for administrative or other non-research purposes. The proportionate amount
of the research attributable to assisting the Investment Manager in carrying out its investment decision-
making responsibilities or order execution will be paid through brokerage commissions generated by the
Master Fund’s and other client’s transactions; the proportionate amount attributable to administrative or
other non-research purposes will be paid for by the Investment Manager from its own resources. The
receipt of “mixed-use” research and the determination of the appropriate allocation may result in a
potential conflict of interest between the Investment Manager and its clients, including the Master Fund.

Custody

        The majority of the Master Fund’s securities are held in the custody of its prime brokers. The
Master Fund is eligible for insurance coverage against loss with respect to assets held in the custody of
the prime brokers in the event of the bankruptcy or liquidation of either of the prime brokers to the same
extent as that broker’s other customers. The Master Fund’s and the Fund’s cash may be held at banks
as well as the prime brokers. Ownership interests which are not represented by certificates generally
will be recorded through book-entry systems maintained by the issuer or its agent, and the underlying
documentation relating to the acquisition and disposition of these assets for the account of the Master
Fund will be held at the business offices of the Investment Manager.




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                                       TAX CONSIDERATIONS

Introduction

        The following is a summary of certain aspects of the U.S. federal income taxation of the Fund
and its Limited Partners arising from the purchase, ownership and disposition of an Interest that should
be considered by a prospective Limited Partner. The Fund has not sought a ruling from the Service or
any similar state, local or foreign authority with respect to any of the tax issues affecting Limited Partners
or the Fund, nor has it obtained an opinion of counsel with respect to any U.S. federal, state, local or
foreign tax issues.

        This summary is based on the Code, the U.S. Treasury regulations promulgated under the Code
(the “Treasury Regulations”), judicial decisions, administrative rulings, and state and local tax laws in
force on the date of this Memorandum, all of which are subject to change (possibly with retroactive
effect). Changes in existing laws or regulations and their interpretation may occur after the date of this
Memorandum and could alter the income tax consequences of an investment in the Fund. This discussion
does not address all of the tax consequences that may be relevant to a particular investor, nor does it
address, unless specifically indicated, the tax consequences to, among others (i) persons that may be
subject to special treatment under U.S. federal income tax law, including, but not limited to, banks,
insurance companies, thrift institutions, regulated investment companies, real estate investment trusts
and dealers in securities or currencies, (ii) persons that will hold Interests as part of a position in a
“straddle” or as part of a “hedging,” “conversion” or other integrated investment transaction for U.S.
federal income tax purposes, (iii) persons whose functional currency is not the U.S. dollar or (iv) persons
that do not hold Interests as capital assets within the meaning of Code Section 1221.

       Further, this summary does not address the tax considerations relevant to an investment in the
Fund by a person that is not a “United States person” as defined in Section 7701(a)(30) of the Code
because this summary assumes that all such persons will invest in the Offshore Fund.

        If a partnership holds an Interest in the Fund, the tax treatment of a partner in such partnership
will generally depend upon the status of the partner and the activities of the Fund. Prospective investors
who are partners of a partnership should consult their own tax advisors.

        Unless otherwise expressly provided herein, this discussion does not address possible state, local
or foreign tax consequences of the purchase, ownership or disposition of Interests, some or all of which
may be material to particular investors. This discussion also does not address the potential application
of the U.S. federal alternative minimum tax (“AMT”) to the Limited Partners. There is uncertainty
concerning certain tax aspects of the Fund, and there can be no assurance that the Service will not
challenge the positions taken by the Fund.

     THE TAX CONSEQUENCES OF AN INVESTMENT IN THE FUND ARE
PARTICULARLY COMPLEX. ACCORDINGLY, PROSPECTIVE INVESTORS SHOULD
NOT CONSIDER THIS DISCUSSION AS A SUBSTITUTE FOR CAREFUL TAX PLANNING.
PROSPECTIVE INVESTORS SHOULD CONSULT WITH THEIR OWN TAX ADVISORS,
ATTORNEYS OR ACCOUNTANTS ON MATTERS RELATING TO AN INVESTMENT IN
THE FUND WITH SPECIAL REFERENCE TO SUCH INVESTOR’S PARTICULAR
SITUATION.



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       Certain United States Taxation Matters

       U.S. Entity Classification of the Fund

        The General Partner believes that, under the provisions of the Code and the Treasury Regulations
as currently in effect, each of the Fund and the Master Fund should be treated for U.S. federal income
tax purposes as a partnership and not as an association taxable as a corporation.

        Certain “publicly traded partnerships” are treated as associations that are taxable as corporations
for U.S. federal income tax purposes. A publicly traded partnership is any partnership the interests in
which are traded on an established securities market or which are readily tradable on a secondary market
(or the substantial equivalent thereof). Interests in the Fund are not and will not be traded on an
established securities market. Treasury Regulations concerning the classification of partnerships as
publicly traded partnerships provide certain safe harbors under which interests in a partnership will not
be considered readily tradable on a secondary market (or the substantial equivalent thereof). The General
Partner believes that the Fund may qualify for an exemption from the publicly traded partnership rules,
although there is no assurance that the Fund will so qualify.

        The remainder of this discussion assumes that the Fund and the Master Fund will each be treated
as a partnership for U.S. federal income tax purposes and not as a publicly-traded partnership treated as
an association that is taxable as a corporation. Unless the context requires otherwise, references to the
Fund in the following discussion include the Master Fund.

       Taxation of the Master Fund

        The Government of the Cayman Islands will not, under existing legislation, impose any income,
corporate or capital gains tax, estate duty, inheritance tax, gift tax or withholding tax upon the Master
Fund or the limited partners of the Master Fund. Interest, dividends and gains payable to the Master
Fund and all distributions by the Master Fund to its limited partners will be received free of any Cayman
Islands income or withholding taxes. The Master Fund has registered as an exempted limited partnership
under Cayman Islands law and the Master Fund has received an undertaking from the Governor in
Cabinet of the Cayman Islands to the effect that, for a period of 50 years from the date of the undertaking,
no law which is enacted in the Cayman Islands imposing any tax to be levied on profits or income or
gains or appreciations shall apply to the Master Fund or to any partner thereof in respect of the operations
or assets of the Master Fund or the interest of a partner therein; and may further provide that any such
taxes or any tax in the nature of estate duty or inheritance tax shall not be payable in respect of the
obligations of the Master Fund or the interests of the partners therein. The Cayman Islands are not party
to a double tax treaty with any country that is applicable to any payments made to or by the Master Fund.

       U.S. Federal Income Taxation of the Fund and Partners Generally

        As a partnership, the Fund will not be subject to U.S. federal income tax. Each Limited Partner
otherwise subject to tax will be required to report separately on its U.S. federal income tax return its
distributive share of the Fund’s net long-term capital gain or loss, net short-term capital gain or loss, and
net ordinary income and deductions and credits in accordance with the allocations set forth in the
Partnership Agreement. Each Limited Partner will be liable for any taxes owed upon its distributive
share of the income or gains realized by the Fund, and may claim deductions for its distributive share of
the Fund’s losses and deductions and credits for its distributive share of the Fund’s credits, to the extent
allowed under the Code. Each Limited Partner will be taxed on its distributive share of the Fund’s

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taxable income and gain regardless of whether it has received or will receive a distribution from the
Fund. Consequently, a Limited Partner may be subject to tax with respect to its share of the taxable
income of the Fund for a taxable year and may not receive a corresponding distribution of cash from the
Fund in such year with which to satisfy its tax liability in respect of such taxable income.

        The Fund will file an annual partnership information return with the Service that reports the
results of its operations for the taxable year, and will distribute annually to each Limited Partner a form
showing its distributive share of the Fund’s items of income, gain, loss, deduction or credit. The General
Partner will have the authority to decide how to report these items on the Fund’s tax returns, and all
Limited Partners will be required under the Partnership Agreement to treat the items consistently on their
own returns. Under current law, an audit by the Service of the tax treatment of the Fund’s income and
deductions generally will be determined at the Fund level in a single proceeding rather than by individual
audits of the Limited Partners. For tax years beginning before January 1, 2018 (and absent an election
by the Fund to apply the new partnership tax audit rules described in more detail below), the
administrative proceeding is managed by the “Tax Matters Partner.” For tax years beginning on or after
January 1, 2018 (or in the case of an election by the Fund to apply the new partnership tax audit rules),
the Fund will be required to appoint one person as the “Partnership Representative” to act on its behalf
in connection with an audit by the Service and related proceedings. Pursuant to the Partnership
Agreement, the General Partner or its delegate will be designated as the Tax Matters Partner and/or the
Partnership Representative. The Partnership Representative’s actions, including the Partnership
Representative’s agreement to adjustments of the Fund’s income in settlement of an audit by the Service
of the Fund, will bind all Limited Partners, and opt-out rights available to certain Limited Partners in
connection with certain actions of the Tax Matters Partner under the current partnership tax audit rules
for tax years beginning before January 1, 2018 will no longer be available.

        In certain cases, the Fund may be required to file a statement with the Service, disclosing one or
more positions taken on its tax return, generally where the tax law is uncertain or a position lacks clear
authority. All Partners are required under the Code to treat the partnership items consistently on their
own returns, unless they file a statement with the Service disclosing the inconsistency. Given the
uncertainty and complexity of the tax laws, it is possible that the Service may not agree with the manner
in which the Fund’s items have been reported.

        Under the Partnership Agreement, for U.S. federal income tax purposes, the General Partner has
the discretion to allocate specially an amount of the Fund’s net gains or net losses (or items of gross
income or losses or deduction) to a withdrawing Partner to the extent that the Partner’s Capital Account
differs either positively or negatively from its U.S. federal income tax basis in its Interest. There can be
no assurance that, if the General Partner makes such a special allocation, the Service will accept such
allocation. If such allocation is successfully challenged by the Service, the Fund’s allocations to the
remaining Partners would be affected as well.

             The Fund expects to act as a trader or an investor, and not as a dealer, with respect to its
securities transactions. Generally, the gains and losses realized by a trader or an investor on the sale of
securities are capital gains and losses. Thus, the Fund expects that its gains and losses from its securities
transactions typically will be capital gains and capital losses. These capital gains and losses may be
long-term or short-term depending, in general, upon the length of time the Fund maintains a particular
investment position and, in some cases, upon the nature of the transaction. An investment held for more
than one year generally will be eligible for long-term capital gain or loss treatment. The Fund may also
realize income from dividends, which will generally be taxed at either ordinary income rates or, if they
are eligible for treatment as “qualified dividend income,” at applicable long-term capital gains rates.

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Dividends from Argentine corporations are generally expected to be treated as “qualified dividend
income” only to the extent that the stock for which the dividend is paid is readily tradable on an
established securities market in the United States. Limited Partners should consult with their own tax
advisors to determine the tax rates applicable to them in their particular tax situations.

        In addition, individuals with “modified adjusted gross income” that exceeds certain thresholds
(e.g., $250,000 for married individuals filing jointly and $200,000 for single individuals) are subject to
a Medicare tax of 3.8% on the lesser of: (i) their investment income, net of deductions properly allocable
to such income, and (ii) the excess of their “modified adjusted gross income” above the applicable
threshold. It is expected that most or all of the Fund’s income will be treated as investment income for
this purpose, and as a result Limited Partners receiving allocations of income from the Fund for these
taxable years may be subject to this tax. This tax will be in addition to any U.S. federal income tax
imposed on Limited Partners with respect to their allocable share of income of the Fund. Trusts and
estates also may be subject to this additional tax. Prospective investors should consult their own tax
advisors regarding the application of this Medicare tax to their investment in the Fund.

        The Fund may be involved in a variety of hedging transactions to reduce the risk of changes in
value in the Fund’s investments. Special rules may apply to determine the tax treatment of such hedging
transactions, which may affect the Fund’s holding period attributable to such property, the
characterization of gain or loss as ordinary or capital and, if capital, as long-term or short-term, and the
timing of the realization of gains or losses on the actual or deemed sale of the property, including, in
some cases, property owned by a Limited Partner outside of the Fund. For instance, gain or loss from a
short sale of property generally will be considered as capital gain or loss to the extent the property used
to close the short sale constitutes a capital asset in the Fund’s hands. Except with respect to certain
situations where the property used by the Fund to close a short sale has a long-term holding period on
the date of the short sale, gains on short sales will be treated as short-term capital gains. These rules also
may terminate the running of the holding period of “substantially identical property” held by the
Fund. Moreover, a loss on a short sale will be treated as a long-term capital loss if, on the date of the
short sale, “substantially identical property” has been held by the Fund for more than one year. Certain
hedging transactions also may cause a constructive sale of the Fund’s long position that is the subject of
the hedge.

       Special “mark to market” rules apply to the Fund’s investment in “Section 1256 Contracts.”
Section 1256 Contracts include certain regulated futures contracts, certain foreign currency forward
contracts and certain options contracts. Capital gains and losses from qualifying Section 1256 Contracts
generally are characterized as short-term capital gains or losses to the extent of 40% thereof and as long-
term capital gains or losses to the extent of 60% thereof.

        The Fund may derive ordinary interest income and dividends on securities, and may be required
to recognize income in respect of certain securities prior to receipt of any payment in respect of such
securities. For instance, the Fund may hold debt obligations with “original issue discount.” In such
case, the Fund will be required to include a portion of such discount in its taxable income on a current
basis, and allocate such income to the Limited Partners, even though receipt of such amounts by the
Fund may occur in a subsequent tax year. The Fund also may acquire debt obligations with “market
discount.” Upon disposition of such an obligation, which might include the receipt of securities of the
issuer in a recapitalization exchange, the Fund generally will be required to treat any gain realized (and
required to be recognized) as ordinary interest income to the extent of the market discount that accrued
during the period the debt obligation was held by the Fund. Recapitalization exchanges involving


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securities held by the Fund also may result in the recognition of taxable gains prior to the receipt of cash
or readily tradable property.

        If the Fund is treated as a trader, it may, in its discretion, make an election under Code section
475(f) to apply a mark to market system of recognizing unrealized gains and losses on securities as if
the securities were sold for fair market value at the close of any taxable year of the Fund. The amount
recognized when gain or loss is subsequently realized would be adjusted for amounts recognized in
marking to market. The election would apply with respect to securities held in connection with the
Fund’s trade or business as a trader in securities. The election would not apply to any securities with
respect to which the Fund could demonstrate, to the satisfaction of the Service, that they are held for
investment. In the event that the Fund makes such an election, the Fund’s gains and losses from marking
securities to market (and gain or loss recognized before the end of the taxable year with respect to any
security that would have been marked to market) would be treated as ordinary income and losses. The
rules relating to appreciated financial positions under Code section 1259 and wash sales under Code
section 1091 would not apply to the securities to which the election applies and the Code section 1092
straddle rules would not have any effect where all the offsetting positions of a straddle are marked to
market.

        The Fund may be required to purchase foreign currency with which to make its investments and
may receive foreign currency when a security is sold or when an interest payment is made on a
security. These transactions may give rise to gains and losses because of fluctuations in the value of the
foreign currency relative to the U.S. dollar during the Fund’s holding period of an investment. Foreign
currency gain or loss in respect of certain types of transactions must be accounted for separately, apart
from any gain or loss on the underlying transaction, and the Code contains special rules which treat, in
most circumstances, such gains and losses as ordinary income or losses rather than capital gains or losses.

        The U.S. federal income tax treatment of the Fund’s investment in swaps or other derivatives is
subject to significant uncertainty and depends in large part on the terms of the specific swap or other
derivative. In particular, it is possible that the Fund may enter into so-called “bullet swaps” or other
swaps that provide for non-periodic payments. In certain circumstances, income from a swap can be
treated as ordinary income and not capital gain if the swap is treated as a “constructive ownership
transaction” under Code section 1260. The Fund intends to take positions that are reasonable under the
law that provide for optimal tax treatment of the Limited Partners. However, there can be no assurance
that the Service or a court would agree with the Fund’s position. Moreover, the Service might take the
contrary position that the Fund is subject to U.S. federal income tax in respect of some or all of the
income earned from the swap investments on the theory that the Fund should be treated as the owner for
U.S. federal income tax purposes of the property underlying certain swaps, in which case the after-tax
return on the swap investments could be significantly reduced.

        Pursuant to various “anti-deferral” provisions of the Code (e.g., the “Subpart F” and “passive
foreign investment company” provisions), any investments by the Fund in certain foreign corporations
may cause a Limited Partner to (i) recognize taxable income prior to the Fund’s receipt of distributable
proceeds, (ii) pay an interest charge on receipts that are deemed as having been deferred, (iii) recognize
ordinary income that, but for the “anti-deferral” provisions, would have been treated as long-term or
short-term capital gain, or (iv) become subject to certain reporting requirements with respect to such
investments. There can be no assurance that the General Partner or the Fund will mitigate, or be able to
mitigate, the application of these provisions, or provide certain information with respect to such foreign
corporations or such filing requirements. Potential investors are advised to consult with their own tax


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advisors with respect to the application of these “anti-deferral provisions” in their particular
circumstances.

        Under the Partnership Agreement, the General Partner has the authority to elect on behalf of the
Fund, under Code section 754, to adjust the tax basis of the Fund’s assets in connection with certain
distributions to Limited Partners or certain transfers of Interests. Such an election, if made, could affect
the amount of a Limited Partner’s distributive share of the gain or loss recognized by the Fund upon the
disposition of its assets. Because of the complexity and additional expense involved in making a section
754 election, the General Partner has no present intention to make such election on behalf of the Fund.

       Prospective investors that are subject to the AMT should consider the tax consequences of an
investment in the Fund in view of their AMT position, taking into account the special rules that apply in
computing the AMT.

        Taxation of Distributions and Withdrawals

        Cash nonliquidating distributions and withdrawals, to the extent they do not exceed a Limited
Partner’s basis in its Interest, will not result in taxable income to that Limited Partner, but will reduce its
tax basis in its Interest by the amount distributed or withdrawn. Cash distributed to a Limited Partner in
excess of the basis of its Interest is generally taxable as capital gain. Conversely, if the cash distributed
by the Fund to a Partner for any year exceeds the taxable income of the Fund allocated to such Partner
for that year, the excess will be treated as a return of capital for U.S. federal income tax purposes to the
extent of a Limited Partner’s tax basis in its Interest. To the extent that cash distributions are treated as
a return of capital and to the extent that any tax losses are allocated to the Limited Partners, the tax bases
of the Limited Partners in their Interests will be reduced (but not below zero). Because of such basis
adjustments, any tax that is avoided in the early years of a Limited Partner’s investment in the Fund may
become due later through the realization of gain upon the sale of assets of the Fund, the liquidation of
the Fund or the sale of Interests.

         Prospective Limited Partners should be aware that a Limited Partner’s share of the taxable
income of the Fund for any year may exceed the amount of cash distributed to such Limited Partner for
that year, which may require that the Limited Partner make an out-of-pocket expenditure to cover its tax
liability. Conversely, if the cash distributed by the Fund to a Partner for any year exceeds the taxable
income of the Fund allocated to such Partner for that year, the excess will be treated as a return of capital
for U.S. federal income tax purposes to the extent of a Limited Partner’s tax basis of its Interest. To the
extent that cash distributions are treated as a return of capital and to the extent that any tax losses are
allocated to the Limited Partners, the tax bases of the Limited Partners in their Interests will be reduced
(but not below zero). Because of such basis adjustments, any tax that is avoided in the early years of a
Limited Partner’s investment in the Fund may become due later through the realization of gain upon the
sale of assets of the Fund, the liquidation of the Fund or the sale of Interests.

        The Fund’s ability to make cash distributions to a withdrawing Limited Partner or to the Partners,
if applicable, may be limited by, among other things, the terms of the investment leverage entered into
by the Fund for the purpose of making portfolio investments on a leveraged basis.

        Upon the withdrawal of a Limited Partner receiving a cash liquidating distribution from the Fund,
such Limited Partner generally will recognize capital gain or loss to the extent of the difference between
the proceeds received by the withdrawing Limited Partner and such Partner’s adjusted tax basis in its
Interest. Such capital gain or loss will be short-term or long-term depending upon the Partner’s holding

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period (or holding periods) for its Interest. However, a withdrawing Limited Partner will recognize
ordinary income to the extent such Partner’s allocable share of the Fund’s “unrealized receivables”
exceeds the Partner’s basis in such unrealized receivables (as determined pursuant to the Treasury
Regulations). For these purposes, accrued but untaxed market discount, if any, on securities held by the
Fund will be treated as an unrealized receivable, with respect to which a withdrawing Partner would
recognize ordinary income.

        Distributions of property other than cash, whether in complete or partial liquidation of a Limited
Partner’s Interest, generally will not result in the recognition of taxable income or loss to the Limited
Partner (except to the extent such distribution is treated as made in exchange for such Limited Partner’s
share of the Fund’s unrealized receivables). However, a distribution of marketable securities will be
treated as a distribution of cash (which, as described above, can require the recognition of gain by the
recipient Limited Partner), unless the distributing partnership is an “investment partnership” and the
recipient is an “eligible partner” as defined in Code section 731(c). Although the General Partner cannot
provide any assurances of whether the Fund is an “investment partnership” for these purposes, the
General Partner anticipates that the Fund should qualify as an “investment partnership.” Thus, if a
Limited Partner is an “eligible partner,” which term should include a Limited Partner whose sole
contributions to the Fund consisted of cash, a distribution of marketable securities to such Limited
Partner should not require the recognition of gain by such Limited Partner.

        As discussed above, under the Partnership Agreement, the General Partner has the discretion to
allocate specially an amount of the Fund’s net gains or net losses (or items of gross income or losses or
deductions) for U.S. federal income tax purposes to a withdrawing Partner to the extent that the Partner’s
capital account differs from its U.S. federal income tax basis in its Interest. Such a special allocation
may result in the withdrawing Partner recognizing more or less taxable income, which may include short-
term gain, in the Partner’s last taxable year in the Fund, thereby reducing, or increasing, as applicable,
the amount of long-term capital gain recognized during the tax year in which it receives its liquidating
distribution upon withdrawal. In certain circumstances, special allocations of net gains (or items of
income or gain) to a withdrawing Partner may result in a greater allocation of losses, or a lower allocation
of taxable income or gain, to the remaining Partners. Likewise, special allocations of net losses (or items
of expense, loss or deduction) to a withdrawing Partner may result in a greater allocation of taxable
income or gain, or a lower allocation of losses, to the remaining Partners.

         Assuming the Fund has not made an election pursuant to Code Section 754 and the General
Partner does not exercise its discretion to specially allocate losses to a withdrawing Limited Partner,
distributions of property or cash by the Fund to a Limited Partner in redemption of its Interest in certain
circumstances where the Fund has a substantial built-in loss may require the Fund to reduce the tax basis
of its remaining property.

       Limitations on Losses, Deductions and Credits

         Limited Partners who are individuals or which are certain types of corporations may be limited
in their ability to deduct expenses or losses of the Fund. For instance, if or to the extent that the Fund’s
operations do not constitute a “trade or business” within the meaning of Section 162 and other provisions
of the Code, an individual Limited Partner’s distributive share of the Fund’s expenses (including any
amounts that are treated for tax purposes as expenses of the Fund, such as the Management Fee) would
be deductible only as itemized deductions, subject to the limitations of Sections 67 and 68 of the Code.
In this regard, if all or a portion of the Performance Allocation to the Special Limited Partner were re-
characterized for tax purposes as an expense of the Fund, each non-corporate Limited Partner’s share of

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such expense could be subject to such limitations. Itemized deductions are non-deductible in computing
such Limited Partner’s AMT income and AMT liability.

        Further, income, gains and losses of the Fund generally will not be treated as passive income or
losses for purposes of the passive activity loss limitations of Section 469 of the Code. Accordingly,
individuals, personal service corporations and certain closely-held corporations that have passive activity
losses from other activities are restricted in their ability to use such losses to offset income and gains
from the Fund, although losses of the Fund will not be subject to the passive activity loss limitation.

         For each taxable year, Section 1277 of the Code limits the deduction of the portion of any interest
expense on indebtedness incurred by a taxpayer to purchase or carry a security with market discount
which exceeds the amount of interest (including original issue discount) includible in the taxpayer’s
gross income for such taxable year with respect to such security (“Net Interest Expense”). Net Interest
Expense in any taxable year is deductible only to the extent it exceeds the amount of market discount
which accrued on the security during the taxable year or portion of the taxable year during which the
taxpayer held the security. Net Interest Expense that is non-deductible under the rules described above
is carried forward and deducted in the year in which the taxpayer disposes of the security. Alternatively,
at the taxpayer’s election, such Net Interest Expense can be carried forward and deducted in a year prior
to the disposition of the security, if any, in which the taxpayer has net interest income from the security.

        Section 1277 would apply to a Limited Partner’s share of the Fund’s Net Interest Expense
attributable to a security held by the Fund (through the Master Fund) with market discount. In such case,
a Limited Partner would be denied a current deduction for all or part of that portion of its distributive
share of the Fund’s ordinary losses attributable to such Net Interest Expense and such losses would be
carried forward to future years, in each case as described above. Although no guidance has been issued
regarding the election to deduct previously disallowed Net Interest Expense prior to the year of
disposition of the bond, it appears that the election would be made by the Fund rather than by the Limited
Partner. Section 1277 would also apply to the portion of interest paid by a Limited Partner on money
borrowed to finance its investment in the Fund to the extent such interest was allocable to securities held
by the Fund (through the Master Fund) with market discount.

        The ability of a non-corporate Limited Partner to deduct its share of the Fund’s ordinary losses
attributable to interest and certain short sale expenses may be subject to the “investment interest
limitation” under Section 163(d) of the Code. In general, a non-corporate taxpayer’s investment interest
(including interest and certain short sale expenses) in the current year is not deductible to the extent it
exceeds its “net investment income”, consisting of net gain and ordinary income derived from
investments in the current year less certain directly connected expenses (other than interest or short sale
expenses). For this purpose, any long-term capital gain is excluded from net investment income unless
the taxpayer elects to pay tax on such amount at ordinary income tax rates. The Fund’s activities are
expected to be treated as giving rise to investment income for a Limited Partner, and the investment
interest limitation would apply to a non-corporate Limited Partner’s share of the interest and short sale
expenses attributable to the Fund’s operation. Accordingly, a non-corporate Limited Partner would be
denied a deduction for all or a part of its distributive share of the Fund’s ordinary losses attributable to
interest and short sale expenses unless it has sufficient investment income from all sources, including
the Fund. Any amount not deductible as a result of the applicability of Section 163(d) may be carried
forward to future years, subject to certain limitations.

       Limited Partners may be entitled to a foreign tax credit with respect to creditable foreign taxes
paid on the income and gains of the Fund. There are complex rules contained in the Code that may,

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depending on each Limited Partner’s particular circumstances, limit the availability or use of foreign tax
credits. For example, a Limited Partner’s share of gain realized by the Fund will generally be treated as
U.S. source income. Consequently, a Limited Partner may not be able to use the foreign tax credit relating
to foreign taxes, if any, imposed on such gains unless such credit can be applied against the U.S. tax due
on other income derived from foreign sources. Limited Partners should contact their own tax advisors
with respect to the availability of any foreign tax credits.

        The consequences of these limitations will vary depending upon the particular tax situation of
each taxpayer. Accordingly, non-corporate Limited Partners should consult their tax advisors with
respect to the application of these limitations.

         The Fund may incur certain expenses in connection with its organization and the marketing of
its Interests. Amounts paid or incurred to organize a partnership are not deductible, but generally may,
by election of the Fund, be capitalized and amortized for U.S. federal income tax purposes over a period
of not less than 180 months. Amounts paid or incurred to market interests in the Fund that qualify as
“syndication expenses” are not deductible or amortizable.

       Tax Consequences for Tax-Exempt U.S. Investors

        A Limited Partner that is an organization exempt from tax under Code section 501(a) (a “Tax-
Exempt U.S. Investor”) will be subject to tax on its allocable share of the Fund’s income that is
considered to be “unrelated business taxable income” (“UBTI”) as defined in Code section 512, and may
be subject to the AMT with respect to items of tax preference which enter into the computation of
UBTI. Code section 512(b) provides that UBTI generally does not include dividends, interest, and gain
or loss from the disposition of property other than stock in trade or property held for sale in the ordinary
course of the unrelated trade or business. The Fund may invest in entities that are treated as partnerships
or other pass-through entities. UBTI generated by such entities would generally flow up to Tax-Exempt
U.S. Investors, causing the realization of UBTI by such investors. A Tax-Exempt U.S. Investor should
not realize UBTI to the extent that its distributive share of the Fund’s income consists of dividends,
interest, capital gains and certain other items which are excluded from UBTI under Code section 512(b)
(except to the extent any such income constitutes “UDFI,” as discussed in the next paragraph).
Prospective Tax-Exempt U.S. Investors should be aware that it is unclear under current law whether
income from certain swaps or derivative transactions that the Fund may invest or hold a position in, may
be excluded from UBTI.

        A Tax-Exempt U.S. Investor is also subject to tax with respect to its, and its allocable share of
the Fund’s, “unrelated debt-financed income” pursuant to Code section 514 (“UDFI”). In general, UDFI
consists of (i) income derived by a tax-exempt organization (directly or through a partnership) from
income-producing property with respect to which there is “acquisition indebtedness” at any time during
the taxable year and (ii) gains derived by a tax-exempt organization (directly or through a partnership)
from the disposition of property with respect to which there is “acquisition indebtedness.” In addition,
a tax-exempt organization that borrows money to finance its investment in the Fund would be subject to
tax on the portion of its income that is UDFI. Income and gains derived by a tax-exempt organization
from the ownership and sale of debt-financed property is taxable in the proportion to which such property
is financed by acquisition indebtedness during the relevant period of time. For these purposes, a Limited
Partner is deemed to own a proportionate share of the Fund’s debt-financed property and the income
attributable thereto, and a short sale of publicly traded stock will not create “acquisition indebtedness”
unless the Fund borrows funds to post collateral against such short sale.


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        The Fund expects to generate income attributable to debt-financed property which will be
attributed to the Partners, including any Tax-Exempt U.S. Investors. A Tax-Exempt U.S. Investor’s share
of the Fund’s income that is treated as UBTI may be significant (depending upon the degree of leverage
utilized by the Fund). In addition to other relevant considerations, fiduciaries of employee pension trusts
and other prospective tax-exempt investors should consider the consequences of realizing UBTI in
making a decision whether to invest in the Fund.

        We urge prospective Tax-Exempt U.S. Investors that are sensitive to UBTI or UDFI to consult
their tax advisors as to the tax consequences of investing in the Fund and as to the comparative tax
treatment of an investment in the Offshore Fund.

       Investor Tax Filings and Record Retention.

        The U.S. Department of the Treasury has adopted Treasury Regulations designed to assist the
Service in identifying abusive tax shelter transactions. In general, the Treasury Regulations require
investors in specified transactions (including certain investors in partnerships that engage in such
transactions) to satisfy certain special tax filing and record retention requirements. Significant monetary
penalties may be applicable as a result of a failure to comply with these tax filing and record retention
rules.

        The Treasury Regulations are broad in scope and it is conceivable that the Fund may enter into
transactions that will subject the Fund and certain Limited Partners to the special tax filing and record
retention rules. Additionally, a Limited Partner’s recognition of a loss on its disposition of its Interest
in the Fund could in certain circumstances subject such Limited Partner to these rules.

       Reporting Under FATCA.

        Sections 1471 through 1474 of the Code, known as the U.S. Foreign Account Tax Compliance
Act (together with any regulations, rules and other guidance implementing such Code sections and any
applicable intergovernmental agreement (“IGA”) or information exchange agreement and related
statutes, regulations, rules and other guidance thereunder, “FATCA”) impose a withholding tax of 30%
on (i) certain U.S. source interest, dividends and other types of income, and (ii) the gross proceeds from
the sale or disposition of certain assets of a type that can produce U.S. source interest and dividends,
which are received by a foreign financial institution (“FFI”), unless such FFI enters into an agreement
with the Service (an “FFI Agreement”), and/or complies with an applicable IGA, to obtain certain
information as to the identity of the direct and indirect owners of accounts in such institution. In addition,
a withholding tax may be imposed on payments to certain non-financial foreign entities that do not obtain
and provide information as to their direct and indirect owners. These rules generally apply to payments
of U.S. source interest, dividends and certain other types of income from U.S. sources and, after
December 31, 2018, are expected to apply to payments of gross proceeds from the sale or disposition of
assets of a type that can produce U.S. source interest or dividends.

        The Service has released temporary and final Treasury Regulations and other guidance that will
be used in implementing FATCA, which contain a number of phase-in dates for FATCA compliance.
In addition, the Cayman Islands has entered into a Model 1 IGA with the United States (the “Cayman-
U.S. IGA”), which is treated as in effect, and has issued the Tax Information Authority (International
Tax Compliance) (United States of America) Regulations 2014 and guidance notes thereunder, each as
updated from time to time.


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        The Master Fund is likely to be considered an FFI. In order to avoid incurring U.S. withholding
under FATCA, the Master Fund is generally required to register with the Service and to comply with the
Cayman-U.S. IGA and any guidance thereunder. The Master Fund expects to register with the Service
and expects to comply with the Cayman-U.S. IGA and, therefore, generally does not expect to become
subject to U.S. withholding under FATCA.

        In addition, the Fund may be required to act as a withholding agent under FATCA and therefore
be required to withhold on income and proceeds paid or allocated to an investor that fails to comply with
FATCA, which could occur if an investor that is an FFI does not enter into an FFI Agreement, is not
otherwise exempt from such withholding, and/or does not provide the appropriate information and
documentation to the Fund or its agents showing its exemption from such withholding or compliance
with FATCA. The General Partner intends to collect the appropriate documentation from all investors
in the Fund in order to determine whether it is required to withhold under FATCA with respect to
distributions or allocations made to investors.

         The General Partner, the Investment Manager and the Fund reserve the right to take any action
and/or pursue all remedies at their disposal to avoid withholding requirements or otherwise to mitigate
the consequences of an investor’s failure to comply with FATCA, including compulsory redemption or
withdrawal of the investor concerned. In this regard, the General Partner, the Investment Manager and
the Fund have certain rights to request, and the investors have certain obligations to provide, information
and documentation that may be used by the General Partner, the Investment Manager and the Fund in
complying with their obligations under FATCA. In addition, no investor affected by any action or
remedy by the Fund shall have any claim against the Fund, the Administrator, the Investment Manager,
the Master Fund or the General Partner (or their agents, delegates, employees, directors, officers or
affiliates) for any form of damages or liability as a result of actions taken or remedies pursued by or on
behalf of the Fund in order to comply with FATCA.

        The Cayman Islands has also signed, along with over 80 other countries, a multilateral competent
authority agreement to implement the OECD Standard for Automatic Exchange of Financial Account
Information – Common Reporting Standard (“CRS” and together with the Cayman-U.S. IGA, “AEOI”).

        Cayman Islands regulations have been issued to give effect to the Cayman-U.S. IGA and CRS
(collectively, the “AEOI Regulations”). Pursuant to the AEOI Regulations, the Cayman Islands Tax
Information Authority (the “TIA”) has published guidance notes on the application of the Cayman-U.S.
IGA and CRS.

        All Cayman Islands “Financial Institutions” are required to comply with the registration, due
diligence and reporting requirements of the AEOI Regulations, unless they are able to rely on an
exemption that allows them to become a “Non-Reporting Financial Institution” (as defined in the
relevant AEOI Regulations) with respect to one or more of the AEOI regimes, in which case only the
registration requirement would apply under CRS. The Master Fund does not propose to rely on any
Non-Reporting Financial Institution exemption and therefore intends to comply with all of the
requirements of the AEOI Regulations.

         The AEOI Regulations require the Master Fund and/or the General Partner (as applicable) to,
amongst other things (i) register with the Service to obtain a GIIN (in the context of the U.S. IGA only),
(ii) register with the TIA, and thereby notify the TIA of its status as a “Reporting Financial Institution”,
(iii) adopt and implement written policies and procedures setting out how it will address its obligations
under CRS, (iv) conduct due diligence on its accounts to identify whether any such accounts are

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considered “Reportable Accounts”, and (v) report information on such Reportable Accounts to the TIA.
The TIA will transmit the information reported to it to the overseas fiscal authority relevant to a
reportable account (e.g. the Service in the case of a US Reportable Account) annually on an automatic
basis.

       Investors should consult their tax advisors as to the withholding, filing and information reporting
requirements that may be imposed on them in respect of their ownership of Interests.

       State and Local Taxes

        In addition to the U.S. federal income tax consequences described above, prospective investors
should consider potential state and local tax consequences of an investment in the Fund. State and local
laws often differ from U.S. federal income tax laws with respect to the treatment of specific items of
income, gain, loss, deduction and credit. A Partner’s distributive share of the taxable income or loss of
the Fund generally will be required to be included in determining its reportable income for state and
local tax purposes in the jurisdiction in which it is a resident.

        Limited Partners or the Fund may be subject to state and/or local franchise, withholding, income,
capital gain or other tax payment obligations and filing requirements in those jurisdictions where the
Fund owns real estate assets or is otherwise regarded as doing business or earning income. Credits for
these taxes may not be available (or may be subject to limitations) in the jurisdictions in which Limited
Partners, or the Fund, as applicable, are residents. Each potential investor is urged to consult with its
own tax advisor in this regard.

       Each prospective Limited Partner should consult its own tax advisor with respect to its state
and local tax consequences and filing obligations as a result of an investment in the Fund.

       Other Taxes

        The Fund and its Limited Partners may be subject to other taxes, such as the AMT, and estate,
inheritance or intangible property taxes that may be imposed by various domestic jurisdictions, as well
as foreign withholding or gains taxes. Each prospective investor should consider the potential
consequences of such taxes on an investment in the Fund. It is the responsibility of each prospective
investor to satisfy itself as to, among other things, the legal and tax consequences of an investment in
the Fund, under the laws of the various jurisdictions of its domicile and its residence, by obtaining advice
from its own tax counsel or other advisor, and to file all appropriate tax returns that may be required.

       Other Income Taxation

        Although there can be no assurance, it is intended that the affairs of the Fund will be conducted
such that the Fund will not be subject to regular income taxation in any foreign jurisdiction. However,
income and gains from investments held by the Fund may be subject to withholding taxes or taxes in
jurisdictions other than those described herein, subject to the possibility of reduction under applicable
tax treaties. Limited Partners generally may be entitled, subject to applicable limitations, to a credit
against U.S. income tax for creditable foreign income taxes paid on the foreign source income and gains
of the Fund (which may not include all of the Fund’s gains). The foreign tax credit rules are complex,
and may, depending on each Limited Partner’s particular circumstances, limit the availability or use of
foreign tax credits. Prospective investors are advised to consult their own tax advisors regarding the
application of the foreign tax credit rules.

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       Future Tax Legislation; Necessity of Obtaining Professional Advice

        Future amendments to the Code, other legislation, new or amended Treasury Regulations,
administrative rulings or decisions by the Service or judicial decisions may adversely affect the U.S.
federal income tax aspects of an investment in the Fund, with or without advance notice, retroactively
or prospectively. The foregoing analysis is not intended as a substitute for careful tax planning. The tax
matters relating to the Fund are complex and are subject to varying interpretations. There can be no
assurance that the Service will agree with each position taken by the Fund with respect to the tax
treatment of Fund items and transactions. Moreover, the effect of existing income tax laws and of
proposed changes in income tax laws on Limited Partners will vary with the particular circumstances of
each Limited Partner and, in reviewing this Memorandum and any exhibits hereto, these matters should
be considered.

        Accordingly, each prospective investor must consult with and rely solely on its professional tax
advisors with respect to the tax results of its investment in the Fund. In no event will the Fund, the
General Partner, the Investment Manager, or their Affiliates, counsel or other professional advisors be
liable to any Limited Partner for any U.S. federal, state, local or foreign tax consequences of an
investment in the Fund, whether or not such consequences are as described above.

        The foregoing is a summary of some of the important tax rules and considerations affecting the
Limited Partners, the Fund, and the Fund’s proposed operations. This summary does not purport to be
a complete analysis of all relevant tax rules and considerations, which will vary with the particular
circumstances of each Limited Partner, nor does it purport to be a complete listing of all potential tax
risks inherent in purchasing or holding Interests. Each prospective investor in the Fund is urged to
consult its own tax advisor in order to understand fully the U.S. federal, state, local and any non-U.S.
tax consequences of such an investment in its particular situation.




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                    ERISA AND OTHER REGULATORY CONSIDERATIONS

ERISA Considerations

General

        Fiduciaries and other persons who are proposing to invest in Interests on behalf of retirement
plans, IRAs and other employee benefit plans (“Plans”) covered by the U.S. Employee Retirement
Income Security Act of 1974, as amended (“ERISA”), or the Code, must give appropriate consideration
to, among other things, the role that an investment in the Fund plays in the Plan’s portfolio, taking into
consideration whether the investment is designed to reasonably further the Plan’s purposes, the
investment’s risk and return factors, the portfolio’s composition with regard to diversification, the
liquidity and current return of the total portfolio relative to the anticipated cash flow needs of the Plan,
the projected return of the total portfolio relative to the Plan’s objectives, the limited right of Limited
Partners to withdraw all or any part of their Interests or to transfer their Interests and whether investment
in the Fund constitutes a direct or indirect transaction with a party in interest (under ERISA) or a
disqualified person (under the Code).

Plan Asset Regulations and Benefit Plan Investors

         The United States Department of Labor (“DOL”) has adopted regulations that treat the assets of
certain pooled investment vehicles, such as the Fund, as “plan assets” for purposes of Title I of ERISA
and Section 4975 of the Code (“Plan Assets”). Section 3(42) of ERISA defines the term “Plan Assets”
to mean plan assets as defined by such regulations as the DOL may prescribe, except that under such
regulations the assets of an entity shall not be treated as Plan Assets if, immediately after the most recent
acquisition of an equity interest in the entity, less than 25% of the total value of each class of equity
interest in the entity is held by “Benefit Plan Investors” (the “significant participation test”). For
purposes of this determination, the value of any equity interest held by a person (other than such a Benefit
Plan Investor) who has discretionary authority or control with respect to the assets of the entity or any
person who provides investment advice for a fee (direct or indirect) with respect to such assets, or any
affiliate of such a person, shall be disregarded. An entity shall be considered to hold Plan Assets only
to the extent of the percentage of the equity interest held by Benefit Plan Investors. The term “Benefit
Plan Investors” means any employee benefit plan subject to part 4 of subtitle B of Title I of ERISA (i.e.,
plans subject to the fiduciary provisions of ERISA), any plan to which the prohibited transaction
provisions of Section 4975 of the Code apply (e.g., IRAs), and any entity whose underlying assets
include Plan Assets by reason of a plan’s investment in such entity (a “Plan Asset Entity”).

        In order to prevent the assets of the Master Fund from being considered Plan Assets under
ERISA, it is the intention of the Master Fund to monitor the investments in the Master Fund and prohibit
the acquisition, withdrawal or transfer of any limited partner interests of the Master Fund by any investor,
including a Benefit Plan Investor, unless, after giving effect to such an acquisition, withdrawal or
transfer, the total proportion of limited partner interests of each class of the Master Fund owned by
Benefit Plan Investors would be less than 25% of the aggregate value of that class of limited partner
interests (determined, as described above, by excluding certain limited partner interests held by the
General Partner, other fiduciaries and affiliates).

        Without limiting the generality of the foregoing, in order to limit equity participation in any class
of limited partner interests of the Master Fund by Benefit Plan Investors to less than 25%, the Fund may
require the Compulsory Withdrawal of Interests. Each Limited Partner that is an insurance company

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acting on behalf of its general account or a Plan Asset Entity will be required to represent and warrant
as of the date it acquires Interests the maximum percentage of such general account or Plan Asset Entity
(as reasonably determined by such insurance company or Plan Asset Entity) that will constitute Plan
Assets (the “Maximum Percentage”) so such percentage can be calculated in determining the percentage
of Plan Assets invested in the Master Fund. Further, each such insurance company and Plan Asset Entity
will be required to covenant that if, after its initial acquisition of Interests, the Maximum Percentage is
exceeded at any time, then such insurance company or Plan Asset Entity shall immediately notify the
Fund of that occurrence and shall, if and as directed by the Fund, in a manner consistent with the
restrictions on transfer set forth herein, withdraw or dispose of some or all of the Interests held in its
general account or Plan Asset Entity.

         It is anticipated that investment in the Fund by benefit plan investors may be “significant” for
purposes of the regulations. In such event, the underlying assets of the Fund would be deemed to
constitute “plan assets” for purposes of ERISA. As a general rule, if the assets of the Fund were regarded
as “plan assets” of a benefit plan investor, the Investment Manager would be deemed a fiduciary with
respect to each Plan investing in the Fund. However, the Investment Manager believes that, given the
limited purpose and role of the Fund and given the requirement that the Investment Manager follow the
directions of the fiduciaries of each benefit plan investor investing in the Fund, as set forth in each such
investor’s subscription agreement, with respect to the investment by the Fund in the Master Fund, neither
the Investment Manager nor any other entity providing services to the Fund would be exercising any
discretionary authority or control with respect to the Fund. Accordingly, the Investment Manager
believes that neither the Investment Manager nor any other entity providing services to the Fund will act
as a fiduciary (as defined in Section 3(21) of ERISA) with respect to the assets of the Fund or any benefit
plan investor. Rather, the Investment Manager believes that, given the limited purpose and role of the
Fund and given the requirement that the Investment Manager follow the directions of the fiduciaries of
each benefit plan investor investing in the Fund, as set forth in each such investor’s subscription
agreement, with respect to the investment by the Fund in the Master Fund, the fiduciary of each such
benefit plan investor has retained the fiduciary authority and responsibility with respect to the investor’s
initial and continuing investment in the Fund as though the benefit plan investor is investing directly in
the Master Fund.

Representation by Plans

        The fiduciaries of each Plan proposing to invest in the Fund will be required to represent that
they have been informed of and understand the Fund’s investment objectives, policies and strategies and
that the decision to invest Plan Assets in the Fund is consistent with the provisions of ERISA and/or the
Code that require diversification of Plan Assets and impose other fiduciary responsibilities. By its
purchase, each investor will be deemed to have represented that either (a) it is not a Plan that is subject
to the prohibited transaction rules of ERISA or the Code, (b) it is not an entity whose assets include Plan
Assets or (c) its investment in the Fund will not constitute a non-exempt prohibited transaction under
ERISA or the Code.

Ineligible Purchasers

        Limited partner interests may not be purchased with Plan Assets if the Investment Manager, any
selling agent, finder, any of their respective affiliates or any of their respective employees: (a) has
investment discretion with respect to the investment of such Plan Assets; (b) has authority or
responsibility to give or regularly gives investment advice with respect to such Plan Assets, for a fee,
and pursuant to an agreement or understanding that such advice will serve as a primary basis for

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investment decisions with respect to such Plan Assets and that such advice will be based on the particular
investment needs of the Plan; or (c) is an employer maintaining or contributing to such Plan. A party
that is described in clause (a) or (b) of the preceding sentence is a fiduciary under ERISA and the Code
with respect to the Plan, and any such purchase might result in a “prohibited transaction” under ERISA
and the Code.

Plans’ Reporting Obligations

        The information contained herein and in the other documentation provided to investors in
connection with an investment in the Fund is intended to satisfy the alternative reporting option for
“eligible indirect compensation” on Schedule C of the Form 5500, in addition to the other purposes for
which such documents were created.

       Whether or not the underlying assets of the Fund are deemed Plan Assets, an investment in
the Fund by a Plan is subject to ERISA and the Code. Accordingly, Plan fiduciaries should consult
their own counsel as to the consequences under ERISA and the Code of an investment in the Fund.
Note that similar laws governing the investment and management of the assets of governmental or
non-U.S. plans may contain fiduciary and prohibited transaction requirements similar to those under
ERISA and the Code. Accordingly, fiduciaries of such governmental or non-U.S. plans, in
consultation with their counsel, should consider the impact of their respective laws and regulations
on an investment in the Fund.

Other Regulatory Matters

Securities Act of 1933

        Interests are not registered under the U.S. Securities Act of 1933, as amended (the “Securities
Act”), or any other securities law, including state securities or blue sky laws. Interests are offered without
registration in reliance upon the exemption contained in Regulation D of the Securities Act and/or rules
and regulations of the Securities and Exchange Commission applicable to transactions not involving a
public offering. Each investor is required, in the Fund’s Subscription Documents pursuant to which such
investor subscribes for an Interest, to make customary Regulation D representations.

Investment Company Act of 1940

        The Fund is not registered under the U.S. Investment Company Act of 1940, as amended (the
“Investment Company Act”), in reliance upon relief from registration afforded to collective investment
vehicles whose outstanding securities are not publicly offered and are beneficially owned exclusively by
investors that are considered “qualified purchasers” within the meaning of the Investment Company
Act. “Qualified purchasers” generally include individuals and certain family-owned companies owning
total investments in excess of $5 million and entities owning total investments in excess of $25
million. Each investor will be required to complete the Fund’s Subscription Documents to enable the
Fund to determine its eligibility.

Investment Adviser Registration

       The Investment Manager is registered as relying adviser to Highland Capital Management, L.P.,
an investment adviser registered with the Securities and Exchange Commission under the U.S.
Investment Advisers Act of 1940, as amended.

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Commodity Exchange Act

        Neither the General Partner nor the Investment Manager is required to register as a commodity
pool operator (“CPO”) or commodity trading advisor under the U.S. Commodity Exchange Act and each
has filed a notice of claim effectuating exemption. As such, the General Partner and the Investment
Manager will operate the Fund and the Master Fund pursuant to such exemption. Unlike a registered
CPO, the General Partner and the Investment Manager are not required to deliver a disclosure document
and a certified annual report to participants in the Fund. Among other things, the exemption requires the
General Partner and the Investment Manager to file a claim of exemption with the National Futures
Association. The Investment Manager qualifies for an exemption from registration with the CFTC as a
commodity trading adviser pursuant to CFTC Rule 4.14(a)(8).

Cayman Islands Mutual Fund Law

       The Offshore Fund and the Master Fund are regulated under the Mutual Funds Law (2015
Revision) of the Cayman Islands (“Mutual Funds Law”). The Cayman Islands Monetary Authority (the
“Authority”) has supervisory and enforcement powers to ensure compliance with the Mutual Funds Law.
Regulation under the Mutual Funds Law entails the filing of prescribed details and audited accounts
annually with the Authority. As a regulated mutual fund, the Authority may at any time instruct the
Offshore Fund or the Master Fund to have its or their accounts audited and to submit them to the
Authority within such time as the Authority specifies. Failure to comply with these requests by the
Authority may result in substantial fines on the part of the directors of the Offshore Fund or the Master
Fund, as applicable, and may result in the Authority applying to the court to have the Offshore Fund or
the Master Fund wound up.

        Neither the Offshore Fund nor the Master Fund is, however, subject to supervision in respect of
their investment activities or the constitution of the Master Fund's portfolio by the Authority or any other
governmental authority in the Cayman Islands, although the Authority does have power to investigate
the activities of the Offshore Fund and the Master Fund in certain circumstances. Neither the Authority
nor any other governmental authority in the Cayman Islands has commented upon or approved the terms
or merits of this document. There is no investment compensation scheme available to investors in the
Cayman Islands.

        The Authority may take certain actions if it is satisfied that a regulated mutual fund is or is likely
to become unable to meet its obligations as they fall due or is carrying on or is attempting to carry on
business or is winding up its business voluntarily in a manner that is prejudicial to its investors or
creditors. The powers of the Authority include the power to require the substitution of the directors of
the Offshore Fund or the Master Fund, to appoint a person to advise the Offshore Fund or the Master
Fund on the proper conduct of its affairs or to appoint a person to assume control of the affairs of the
Offshore Fund or the Master Fund, as the case may be. There are other remedies available to the
Authority including the ability to apply to court for approval of other actions.

       The Master Fund and the General Partner or any of its members or agents domiciled in the
Cayman Islands may be compelled to provide information, subject to a request for information made by
a regulatory or governmental authority or agency under applicable law; e.g. by the Cayman Islands
Monetary Authority, either for itself or for a recognised overseas regulatory authority, under the
Monetary Authority Law (2016 Revision), or by the Tax Information Authority, under the Tax
Information Authority Law (2017 Revision) or Reporting of Savings Income Information (European
Union) Law (2014 Revision) and associated regulations, agreements, arrangements and memoranda of

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understanding. Disclosure of confidential information under such laws shall not be regarded as a breach
of any duty of confidentiality and, in certain circumstances, the Master Fund, and the General Partner or
any of its or their directors or agents, may be prohibited from disclosing that the request has been made.

Anti-Money Laundering Regulations

        All subscriptions for Interests will be subject to applicable anti-money laundering
regulations. Investors will be required to comply with such anti-money laundering procedures as are
required by the Uniting and Strengthening America by Providing Appropriate Tools Required to
Intercept and Obstruct Terrorism (USA PATRIOT Act) Act of 2001 (Pub. L. No. 107-56).

       As part of the Fund’s responsibility to comply with regulations aimed at the prevention of money
laundering, the Fund or its delegate may require verification of identity from all prospective
investors. Depending on the circumstances of each subscription, it may not be necessary to obtain full
documentary evidence of identity.

         The Fund reserves the right to request such information as is necessary to verify the identity of a
prospective investor. The Fund also reserves the right to request such identification evidence in respect
of a transferee of Interests. In the event of delay or failure by the prospective investor or transferee to
produce any information required for verification purposes, the Fund may refuse to accept the application
or (as the case may be) to register the relevant transfer and (in the case of a subscription of Interests) any
funds received will be returned without interest to the account from which the monies were originally
debited.

       The Fund also reserves the right to refuse to make any withdrawal payment or distribution to a
Limited Partner, if the Fund suspects or is advised that the payment of any withdrawal or distribution
moneys to such Limited Partner might result in a breach or violation of any applicable anti-money
laundering or other laws or regulations by any person in any relevant jurisdiction, or such refusal is
considered necessary or appropriate to ensure the compliance by the Fund and the Investment Manager
with any such laws or regulations in any relevant jurisdiction.




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                                EXHIBIT “D”




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                                                                                 Highland Capital Management Latin America, L.P.

                                                              Highland Capital
                                                               Management,
                                                                     L.P.
                                                                    (DE)

                                  Directors
                               James Dondero          Highland Latin America LP, Ltd.                     Trustee
                               Gustavo Prilick                  (Cayman)

             Services
            Agreement                                             Highland
                                                                    Latin
                                                                   America
                                                                    Trust
                                                                  (Cayman)
                                                                                  LP

                               Directors          Highland Latin
                            James Dondero        America GP, Ltd.
                            Gustavo Prilick         (Cayman)
                                                                        GP

                                                                             Highland Capital
                                                                              Management
                                                                              Latin America,
                                                                                   L.P. *
                                                                                (Cayman)
                                              Sub‐ Advisory
                                               Agreement

                                                                       Highland Latin America
                                                                                                                              Argentine
                                                                          Consulting, Ltd.
                                                      Independent                                       Consulting           Consultants
*SEC Relying Adviser of                                 Directors
                                                                             (Cayman)
                                                                                                       Agreements
Highland Capital Management, L.P.                    Claire Kasumba
                                                      Martin Laufer
                                                                                                                                Appx. 03618
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Highland Argentina Regional Opportunity Fund

                                                              Highland Capital
                                                               Management
                                                               Latin America,
                                                                     L.P.
                                                                 (Cayman)




                                      IMA   Management                     Highland Argentina Regional                    Investors
       Investors                            Shares
                                                                            Opportunity Fund GP, LLC
                                                                                                              IMA
                                                                                      (DE)
                                                                                                                               Series A,
        Series A, Series B,                                                                                                    Series B,
        Series C Shares                                                                                                        Series C
                                                                                                                               LP Interest
                                                                                                GP
                     Highland Argentina Regional
                                                               IMA and
  Independent
                        Opportunity Fund, Ltd.             Performance
    Directors                   (Cayman)                      Allocation
 Claire Kasumba                                                                GP                    Highland Argentina
  Martin Laufer                                                                                           Regional
 Sophia Dilbert                                                                                      Opportunity Fund,
                                                                                                            L.P.
                                                 LP
                                                                                                            (DE)



                                                                                               LP
                                                                 Highland
                                                                Argentina
                                                                  Regional
                                                               Opportunity
                                                              Master Fund, L.P.
                                                                 (Cayman)


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                                EXHIBIT “E”




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               HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, L.P.

                              A Delaware Limited Partnership




                    Amended and Restated Limited Partnership Agreement




                                    November 1, 2017




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                                       NOTICE



   NEITHER HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, L.P. NOR THE
   LIMITED PARTNER INTERESTS THEREIN HAVE BEEN OR WILL BE REGISTERED
   UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), THE
   INVESTMENT COMPANY ACT OF 1940, AS AMENDED, OR THE SECURITIES LAWS OF
   ANY OF THE STATES OF THE UNITED STATES. THE OFFERING OF SUCH LIMITED
   PARTNER INTERESTS IS BEING MADE IN RELIANCE UPON AN EXEMPTION FROM
   THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT FOR OFFERS AND
   SALES OF SECURITIES WHICH DO NOT INVOLVE ANY PUBLIC OFFERING, AND
   ANALOGOUS EXEMPTIONS UNDER STATE SECURITIES LAWS.

   THE DELIVERY OF THIS AMENDED AND RESTATED LIMITED PARTNERSHIP
   AGREEMENT SHALL NOT CONSTITUTE AN OFFER TO SELL OR THE SOLICITATION
   OF AN OFFER TO BUY NOR SHALL THERE BE ANY OFFER, SOLICITATION OR SALE
   OF LIMITED PARTNER INTERESTS IN HIGHLAND ARGENTINA REGIONAL
   OPPORTUNITY FUND, L.P. IN ANY JURISDICTION IN WHICH SUCH OFFER,
   SOLICITATION OR SALE IS NOT AUTHORIZED OR TO ANY PERSON TO WHOM IT IS
   UNLAWFUL TO MAKE SUCH OFFER, SOLICITATION OR SALE.

   THE LIMITED PARTNER INTERESTS ARE SUBJECT TO RESTRICTIONS ON
   TRANSFERABILITY AND RESALE, MAY NOT BE TRANSFERRED OR RESOLD EXCEPT
   AS PERMITTED UNDER THE SECURITIES ACT AND APPLICABLE STATE SECURITIES
   LAWS PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM AND MAY NOT
   BE SOLD OR OTHERWISE TRANSFERRED EXCEPT IN ACCORDANCE WITH THE
   REQUIREMENTS AND CONDITIONS SET FORTH IN THIS AMENDED AND RESTATED
   LIMITED PARTNERSHIP AGREEMENT.




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          THIS AMENDED AND RESTATED LIMITED PARTNERSHIP AGREEMENT of
   Highland Argentina Regional Opportunity Fund, L.P. is dated effective as of November 1, 2017 by
   and among Highland Argentina Regional Opportunity Fund GP, LLC, as General Partner,
   Highland Capital Management Latin America, L.P., as withdrawing Original Limited Partner, and
   those Persons who are admitted as Limited Partners in accordance with this Agreement. This
   Agreement amends and restates in its entirety the Limited Partnership Agreement of the
   Partnership dated September 11, 2017 (the “Prior Agreement”).

                                   PRELIMINARY STATEMENTS

   (A)    The General Partner and the Original Limited Partner formed this limited partnership
          under the Act by entering into the Prior Agreement and causing the Certificate to be filed
          with the Secretary of State of the State of Delaware.

   (B)    The parties hereto desire to continue the Partnership as a limited partnership under the Act
          and to make certain modifications to the Prior Agreement, as hereinafter set forth.

   NOW, THEREFORE, in consideration of the mutual covenants expressed herein and for other
   good and valuable consideration, the receipt and legal sufficiency of which are hereby
   acknowledged, the parties hereto hereby agree that the Prior Agreement is amended and restated in
   its entirety to read as follows:

                                             ____________

                                              Article I
                                            DEFINITIONS

                                             ____________

          For purposes of this Agreement:

            “Act” means the Delaware Revised Uniform Limited Partnership Act, 6 Del. C. §§ 17-101,
   et seq., as in effect on the date hereof and as amended from time to time, or any successor law.

           “Administrator” means such Person as the General Partner may designate from time to
   time, in its sole discretion, to serve as administrator to the Partnership.

         “Advisers Act” means the U.S. Investment Advisers Act of 1940, as amended, and the rules
   promulgated thereunder.

           “Affiliate” means, with respect to any Person, a Person which controls, is controlled by, or
   is under common control with, such Person. For these purposes, “control” means the possession,
   direct or indirect, of the power to direct or cause the direction of the management and policies of
   such Person, whether through the ownership of voting securities, by contract or otherwise.

           “Affiliated Investors” means the Investment Manager, the General Partner and their
   respective Affiliates, principals, employees, partners, agents, the respective family members of



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   such personnel and trusts and other entities established primarily for their benefit or for charitable
   purposes.

          “Agreement” means this Amended and Restated Limited Partnership Agreement of the
   Partnership, as amended from time to time.

          “Authorized Representative” has the meaning set forth in Section 7.6(a).

           “Bad Actor Limited Partner” means a Limited Partner that (a) would cause the
   disqualification of the Partnership from using Rule 506 under the Securities Act due to the
   operation of paragraph (d) thereof (or its successor) if such Limited Partner were to beneficially
   own 20% or more of the outstanding voting interests of all of the Partners (excluding any other
   Interests that are Non-Voting Interests) or (b) the General Partner determines is likely to become
   subject to a conviction, order, judgment or finding that would be likely to cause the
   disqualification described in clause (a).

           “BBA” means Subchapter C of Chapter 63 of the Code (Sections 6221 through 6241 of the
   Code), as enacted by the Bipartisan Budget Act of 2015, Pub. L. No. 114-74, as amended from
   time to time, and the Regulations thereunder (whether proposed, temporary or final), including any
   subsequent amendments, successor provisions or other guidance thereunder, and any equivalent
   provisions for state, local or non-U.S. tax purposes.

          “BBA Effective Period” means any taxable year commencing after 2017, taking into
   account any extensions of the effective date set forth in the BBA.

          “BHCA” means the Bank Holding Company Act of 1956, as amended.

           “BHCA Subject Person” means any Limited Partner that is subject, directly or indirectly,
   to the provisions of Section 4 of the BHCA and the regulations of the Board of Governors of the
   Federal Reserve System promulgated thereunder.

          “Business Day” means any day or days on which banks in the Cayman Islands, Buenos
   Aires and New York City are authorized to open for business or such other days as the General
   Partner may determine generally, or in any particular case.

          “Capital Account” means, with respect to each Partner, the capital account (including any
   memorandum sub-accounts) established and maintained on behalf of such Partner as described in
   Section 3.3.

          “Capital Sub-Account” means, with respect to each Investor, a separate capital
   sub-account within the Partnership’s or the Offshore Fund’s (or any Other Feeder Fund’s) capital
   account, as applicable, in the Master Fund that corresponds to such Investor’s Capital Account in
   the Partnership or the series of shares held by such Investor in the Offshore Fund (or capital
   account or the series of shares in an Other Feeder Fund), as applicable; provided that, the Master
   Fund will maintain a separate Capital Sub-Account for each Series held by a Partner.

          “Certificate” means the Certificate of Limited Partnership of the Partnership referred to in
   Section 2.1(b).


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         “Code” means the U.S. Internal Revenue Code of 1986, as amended, and as hereafter
   amended, or any successor law.

          “Commencement Date” means the first date on or as of which a Limited Partner, other than
   the Original Limited Partner, makes a capital contribution to the Partnership.

          “Compulsory Withdrawal” has the meaning set forth in Section 5.5(j).

           “Discovery Date” means the date on which the Investment Manager discovers that a
   violation of any of the Master Fund’s investment restrictions set forth in the Master Fund
   Partnership Agreement has occurred.

          “Early Withdrawal Reduction” means:

          (a)     with respect to a Series B Interest, up to 3.0% of the net asset value of the portion of
   the Series B Interest being withdrawn in any withdrawal occurring prior to the end of the
   applicable Soft Lock-up Period;

          (b)     with respect to a Series C Interest, 5.0% of the net asset value of the portion of the
   Series C Interest being withdrawn in any withdrawal occurring prior to the end of the applicable
   Soft Lock-up Period; and

           (c)    with respect to a Series C Interest, 3.0% of the net asset value of the portion of the
   Series C Interest being withdrawn in any withdrawal occurring on or after the Soft Lock-up Period
   with respect to Series C Interests, but prior to the end of the Second Soft Lock-up Period;

          provided that, in each case, such amount is determined at the close of business of the
   relevant Withdrawal Date, is retained by the Partnership for the benefit of the Partners and is
   deducted from the withdrawal proceeds of the withdrawing Limited Partner.

          “Election Notice” has the meaning set forth in Section 8.10(c).

         “ERISA” means the Employee Retirement Income Security Act of 1974, as the same may
   be amended from time to time.

           “ERISA Partner” means a Limited Partner which is (a) an employee benefit plan subject to
   the fiduciary provisions of ERISA, (b) a “plan” subject to Section 4975 of the Code, (c) an entity
   whose underlying assets include “plan assets” for purposes of ERISA by reason of a Plan’s
   investment in the entity, or (d) an entity that otherwise constitutes a “benefit plan investor” within
   the meaning of Section 3(42) of ERISA or any regulation promulgated thereunder.

           “FATCA” means Sections 1471 through 1474 of the Code, as amended, and any
   Regulations thereunder or official interpretations or other official guidance thereof, including any
   successor Regulations or interpretations, and any intergovernmental agreement and any
   regulations with respect thereto or official interpretations or other official guidance thereof
   implementing the foregoing.




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          “Fiscal Period” means each period that starts at the opening of business on the
   Commencement Date (in the case of the initial Fiscal Period) and thereafter on the day
   immediately following the last day of the preceding Fiscal Period, and that ends at the close of
   business on the earliest of the following dates:

          (a)      the last day of a calendar month;

            (b)     any date as of which any withdrawal or distribution of capital is made with respect
   to any Capital Account or as of which this Agreement provides for any amount to be credited to or
   debited against a Capital Account, other than a withdrawal or distribution by or to, or an allocation
   to, all Capital Accounts that does not result in any change of the Partnership Percentage relating to
   any Capital Account;

          (c)     the date which immediately precedes any day as of which a capital contribution is
   accepted by the General Partner from any new or existing Partner; or

          (d)     any other date which the General Partner selects.

           “Fiscal Year” means the period commencing on the Commencement Date and ending on
   December 31 of the same year, and thereafter each period commencing on January 1 of each year
   and ending on December 31 of such year, unless the General Partner shall elect another fiscal year;
   provided that any such other fiscal year shall be permissible for U.S. federal income tax
   purposes. In the case of the Fiscal Year in which the Partnership is terminated in accordance with
   Article VI, “Fiscal Year” means the period commencing on January 1 of that year and ending on
   the date on which the Partnership is terminated.

          “GAAP” means generally accepted accounting principles in the United States.

          “General Partner” means Highland Argentina Regional Opportunity Fund GP, LLC, a
   Delaware limited liability company, any successor thereto, and any Person hereafter admitted as an
   additional general partner, in its capacity as general partner of the Partnership.

           “Indemnified Person” means each of the General Partner, the Investment Manager, each
   member, shareholder, partner, manager and director of, and any person who controls, the General
   Partner or the Investment Manager, each of the respective affiliates of the foregoing and each of
   their respective executors, heirs, assigns, successors and other legal representatives.

           “Interest” means the entire ownership interest of a Partner in the Partnership at the relevant
   time, including the right of such Partner to any and all benefits to which a Partner may be entitled
   as provided in this Agreement, together with the obligations of such Partner to comply with all the
   terms and provisions of this Agreement and, for clarity, is cumulative of such Partner’s interests in
   all Series, to the extent such Partner has an interest in more than one Series.

         “Investment Company Act” means the U.S. Investment Company Act of 1940, as
   amended, and the regulations promulgated thereunder.




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         “Investment Management Agreement” means the investment management agreement by
  and among the Investment Manager, the General Partner, the Partnership, the Master Fund and the
  Offshore Fund, as amended from time to time.

         “Investment Manager” means Highland Capital Management Latin America, L.P., a
  Cayman Islands exempted limited partnership, or any successor thereto, or any Person thereafter
  appointed as an investment manager of the Partnership.

          “Investments” means investments in securities or other financial or intangible investment
  instruments, contracts or products made by the Master Fund, as described in the Partnership’s
  offering memorandum.

         “Investor” means any Partner, any shareholder of the Offshore Fund or any beneficial
  owner of any Other Feeder Fund.

          “Limited Partner” means any Person admitted to the Partnership as a limited partner, until
  the entire Interest of such Person has been withdrawn pursuant to Section 5.5 or a substitute
  Limited Partner or Limited Partners are admitted with respect to such Person’s entire
  Interest. The General Partner may subdivide the Interests into separate Series and establish new
  Series pursuant to Section 2.10; provided that for all purposes of the Act, the Limited Partners
  constitute a single class or group of limited partners.

          “Majority of Limited Partners” means Limited Partners whose Partnership Percentages
  represent more than 50% of the aggregate Partnership Percentages of all Limited Partners or the
  Series of Limited Partners, as applicable.

         “Management Fee” means the management fee, as defined in the Master Fund Partnership
  Agreement, payable by the Master Fund to the Investment Manager, any of its Affiliates or any
  other Person designated by the Investment Manager pursuant to the Investment Management
  Agreement.

          “Master Fund” means Highland Argentina Regional Opportunity Master Fund, L.P., a
  collective investment vehicle formed as an exempted limited partnership under the laws of the
  Cayman Islands in which the Partnership, the Offshore Fund and any other co-investment vehicle
  (such as an Other Feeder Fund) invest all of their investible assets and conduct their investment
  and trading activities.

          “Master Fund Partnership Agreement” means the amended and restated exempted
  limited partnership agreement of the Master Fund, as the same may be amended or restated from
  time to time in accordance with the terms thereof.

         “Minimum Required Withdrawal” has the meaning set forth in Section 5.5(j)

          “Negative Basis” means, with respect to any Partner and as of any time of calculation, the
  excess of such Partner’s “adjusted tax basis” in its Interest for U.S. federal income tax purposes at
  such time (determined without regard to any adjustments made to such adjusted tax basis by reason
  of any Transfer or assignment of such Interest, including by reason of death) over the amount that
  such Partner is entitled to receive upon withdrawal from or liquidation of the Partnership.


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          “Negative Basis Partner” means any Partner who withdraws all or a portion of its Interest
  from the Partnership and who has a Negative Basis as of the Withdrawal Date, but such Partner
  shall cease to be a Negative Basis Partner at such time as it shall have received allocations pursuant
  to Section 3.9(d) equal to such Partner’s Negative Basis as of the Withdrawal Date and without
  regard to such Partner’s share of the liabilities of the Partnership under Section 752 of the Code.

         “Net Assets” means the total value, as determined by the Administrator in accordance with
  Section 7.3, of all Investments and other assets of the Partnership (including net unrealized
  appreciation or depreciation of the assets and accrued interest and dividends receivable net of any
  withholding taxes), less an amount equal to all accrued debts, liabilities and obligations of the
  Partnership (including any reserves for contingencies accrued pursuant to Section 3.6). Except as
  otherwise expressly provided herein, Net Assets as of the first day of any Fiscal Period shall be
  determined on the basis of the valuation of assets conducted as of the close of the immediately
  preceding Fiscal Period but after giving effect to any capital contributions made by any Partner
  subsequent to the last day of such immediately preceding Fiscal Period and after giving effect to
  Management Fees (borne indirectly at the Master Fund level), and Net Assets as of the last day of
  any Fiscal Period shall be determined before giving effect to any of the following amounts payable
  by the Partnership generally or in respect of any Investment which are effective as of the date on
  which such determination is made:

         (a)    any Performance Allocation (borne indirectly at the Master Fund level) as of the
  date on which such determination is made;

          (b)   any withdrawals or distributions payable to any Partner which are effective as of
  the date on which such determination is made; and

          (c)    withholding or other taxes (including any amounts payable under any BBA
  provision), expenses of processing withdrawals and other items payable, and any increases or
  decreases in any reserves, holdbacks or other amounts recorded pursuant to Section 3.6 during the
  Fiscal Period ending as of the date on which such determination is made, to the extent the General
  Partner determines that, pursuant to any provisions of this Agreement, such items are not to be
  charged ratably among the Capital Accounts of all Partners on the basis of their respective
  Partnership Percentages as of the commencement of the Fiscal Period.

         “Net Loss” means any amount by which the Net Assets as of the first day of a Fiscal Period
  exceed the Net Assets as of the last day of the same Fiscal Period.

         “Net Profit” means any amount by which the Net Assets as of the last day of a Fiscal
  Period exceed the Net Assets as of the first day of the same Fiscal Period.

         “Non-Voting Interests” means an Interest, the holder of which is not entitled to vote,
  consent or withhold consent with respect to any Partnership matter (including, but not limited to,
  mergers, sales of substantially all assets or consolidations of the Partnership), except as otherwise
  expressly provided in this Agreement.

          “Offshore Fund” means Highland Argentina Regional Opportunity Fund, Ltd., a Cayman
  Islands exempted company.



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          “Original Limited Partner” means Highland Capital Management Latin America, L.P., in
  its capacity as the original limited partner.

          “Other Account” means any assets or investment of the General Partner or the Investment
  Manager, or any assets managed by the General Partner, the Investment Manager or any of their
  respective Affiliates for the account of any Person or entity (including investment vehicles) other
  than the Partnership, which are invested or which are available for investment in securities or other
  instruments or for trading activities whether or not of the specific type being conducted by the
  Partnership.

         “Other Agreement” has the meaning set forth in Section 8.1.

          “Other Feeder Fund” means any other investment vehicle sponsored by the Investment
  Manager or one of its Affiliates that invests in parallel with the Partnership and the Offshore Fund
  in the Master Fund.

         “Partner” means the General Partner or any of the Limited Partners, except as otherwise
  expressly provided herein, and “Partners” means the General Partner and all of the Limited
  Partners.

         “Partnership” means the limited partnership formed pursuant to this Agreement.

          “Partnership Percentage” means a percentage established for each Partner on the
  Partnership’s books as of the first day of each Fiscal Period. The Partnership Percentage of a
  Partner for a Fiscal Period shall be determined by dividing the amount of such Partner’s Capital
  Account as of the beginning of the Fiscal Period (after crediting all capital contributions to such
  Capital Account which are effective as of such date, net of all deductions, including Management
  Fees borne at the Master Fund level) by the sum of the Capital Accounts of all of the Partners as of
  the beginning of the Fiscal Period (after crediting all capital contributions to the Partnership which
  are effective as of such date, net of all deductions, including Management Fees borne at the Master
  Fund level). The sum of the Partnership Percentages of all Capital Accounts for each Fiscal
  Period shall equal 100%.

         “Performance Allocation” means the performance allocation, as defined in the Master
  Fund Partnership Agreement, allocated to the Special Limited Partner, any of its Affiliates or any
  other Person designated by the Special Limited Partner pursuant to the Master Fund Partnership
  Agreement.

          “Person” means any individual, partnership, corporation, limited liability company, trust,
  or other entity.

          “Plan Assets” means assets of the Partnership that are considered to be assets of an ERISA
  Partner, pursuant to Section 3(42) of ERISA or otherwise.

          “Positive Basis” means, with respect to any Partner and as of any time of calculation, the
  excess of the amount that such Partner is entitled to receive upon withdrawal from or liquidation of
  the Partnership over such Partner’s “adjusted tax basis” in its Interest for U.S. federal income tax



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  purposes at such time (determined without regard to any adjustments made to such adjusted tax
  basis by reason of any Transfer or assignment of such Interest, including by reason of death).

          “Positive Basis Partner” means any Partner who withdraws all or a portion of its Interest
  from the Partnership and who has a Positive Basis as of the Withdrawal Date, but such Partner
  shall cease to be a Positive Basis Partner at such time as it shall have received allocations pursuant
  to Section 3.9(c) equal to such Partner’s Positive Basis as of the Withdrawal Date and without
  regard to such Partner’s share of the liabilities of the Partnership under Section 752 of the Code.

         “Principal” means James D. Dondero.

         “Prior Agreement” has the meaning set forth in the preamble hereto.

        “Regulations” means the proposed, temporary and final U.S. Treasury Regulations
  promulgated under the Code, including any successor regulations.

         “Regulatory Allocations” has the meaning set forth in Section 3.10.

         “Remedy Date” means the period commencing on the Discovery Date and ending 90
  Business Days thereafter.

         “Revocation Notice” has the meaning set forth in Section 8.10(c).

        “RIC Limited Partner” means a Limited Partner that is registered as an investment
  company under the Investment Company Act.

         “Schedule of Partners” means a schedule to be maintained by the General Partner
  containing the following information with respect to each Partner: (a) name; (b) address; (c) date
  of admission; (d) amount and date of all capital contributions and withdrawals; and (e) the amount
  and date of any permitted Transfers.

          “Second Soft Lock-up Period” means, with respect to a Series C Interest, a period
  commencing on the one-year anniversary of the date that a capital contribution was made to the
  Capital Account associated with such Series C Interest and ending on the two-year anniversary of
  the date of such capital contribution. The General Partner may waive the Second Soft Lock-up
  Period with respect to any Capital Account.

         “Securities Act” means the U.S. Securities Act of 1933, as amended from time to time.

        “Series” means a designated series of Interests established in accordance with this
  Agreement and having such terms as the General Partner determines.

          “Series A Interests” means a Series having the rights and obligations applicable to Series A
  Interests as set forth in this Agreement and which correspond to the “Series A Capital
  Sub-Accounts” of the Master Fund.




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          “Series B Interests” means a Series having the rights and obligations applicable to Series B
  Interests as set forth in this Agreement and which correspond to the “Series B Capital
  Sub-Accounts” of the Master Fund.

          “Series C Interests” means a Series having the rights and obligations applicable to Series C
  Interests as set forth in this Agreement and which correspond to the “Series C Capital
  Sub-Accounts” of the Master Fund.

         “Soft Lock-up Period” means, with respect to a Series B Interest or a Series C Interest, a
  period commencing on the date that a capital contribution was made to the Capital Account
  associated with such Series and ending on the one-year anniversary of the date of such capital
  contribution. The General Partner may waive the Soft Lock-up Period with respect to any Capital
  Account.

          “Special Limited Partner” means Highland Capital Management Latin America, L.P., in
  its capacity as a special limited partner of the Master Fund for purposes of the receipt of the
  Performance Allocation.

          “Transfer” means any direct or indirect sale, exchange, transfer, assignment, pledge,
  encumbrance, charge, exchange, hypothecation, placing of a lien or a security interest on an
  Interest or any other disposition by a Partner of its Interest to or in favor of another party, whether
  voluntary or involuntary (including, but not limited to, being offered or listed on or through any
  placement agent, intermediary, online service, site, agent or similar Person).

         “Withdrawal Date” has the meaning set forth in Section 5.5(a).

         “Withdrawal Notice” has the meaning set forth in Section 5.5(a).

                                             ____________

                                             Article II
                                          ORGANIZATION

                                             ____________

  2.1    Continuation of Limited Partnership

         (a)     The General Partner and the Original Limited Partner hereby agree to continue the
                 Partnership as a limited partnership under and pursuant to the Act and this
                 Agreement.

         (b)     The General Partner has executed and filed with the Secretary of State of the State
                 of Delaware a Certificate of Limited Partnership of the Partnership (the
                 “Certificate”), and shall execute, acknowledge and file with the Secretary of State
                 of the State of Delaware any further amendments thereto as may be required by the
                 Act, and any other instruments, documents and certificates which, in the opinion of
                 the Partnership’s legal counsel, may from time to time be required by the laws of
                 the United States of America, the State of Delaware or any other jurisdiction in


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               which the Partnership determines to do business, or any political subdivision or
               agency thereof or which such legal counsel may deem necessary or appropriate to
               effectuate, implement and continue the valid and subsisting existence and business
               of the Partnership. The General Partner shall cause any required amendment to
               the Certificate to be filed promptly following the event requiring such amendment.
               All amendments may be signed by the General Partner (as required by the Act) and
               may be signed either personally or by an attorney-in-fact.

        (c)    The parties hereto agree to operate the Partnership as a limited partnership pursuant
               to the provisions of the Act and of this Agreement and agree that the rights and
               liabilities of the Limited Partners and the General Partner shall be as provided in the
               Act for limited partners and the general partner, except as provided herein.

        (d)    The General Partner may change the domicile of the Partnership to another state,
               country or other jurisdiction where advisable due to legal, tax or other
               considerations; provided that no such change of domicile would reasonably be
               expected to have a material adverse effect on the Limited Partners.

        (e)    The parties acknowledge and agree that the Partnership is intended to be taxed in
               the United States as a partnership and not as an association taxable as a corporation
               for U.S. federal, state and/or local income tax purposes. No election may be made
               to treat the Partnership as other than a partnership for U.S. federal, state and/or local
               income tax purposes. Each Partner agrees not to treat, on any income tax return or
               in any claim for a refund, any item of income, gain, loss, deduction or credit in a
               manner inconsistent with the treatment of such item by the Partnership.

  2.2   Name of Partnership

        (a)    The name of the Partnership is Highland Argentina Regional Opportunity Fund,
               L.P. or such other name as the General Partner may hereafter adopt, subject to
               causing an amendment to the Certificate to be filed with the Secretary of State of
               the State of Delaware in accordance with the Act. The General Partner will send a
               notice of any change of name to the Limited Partners. All business of the
               Partnership will be conducted under such name or under such other name as the
               General Partner deems appropriate.

        (b)    The Partnership shall have the exclusive ownership and right to use the Partnership
               name so long as the Partnership continues, despite the withdrawal, expulsion,
               resignation or removal of any Limited Partner, but upon the Partnership’s
               termination or at such time as there ceases to be a general partner, the Partnership
               shall assign the name and the goodwill attached thereto to the General Partner
               without payment by the assignee(s) of any consideration therefor.

  2.3   Principal Office; Registered Office

        (a)    The Partnership shall have its principal office at such location as the General
               Partner shall designate from time to time.



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         (b)     The Partnership shall have its registered office at c/o The Corporation Trust
                 Company, 1209 Orange Street, Wilmington, New Castle County, Delaware 19801,
                 unless a different registered office or agent is designated from time to time by the
                 General Partner.

  2.4    Term of Partnership

          The term of the Partnership commenced on the date on which the Certificate was filed with
  the office of the Secretary of State of the State of Delaware and will continue until dissolved
  pursuant to Section 6.1 (unless its term is extended pursuant to Section 6.1). The legal existence
  of the Partnership as a separate legal entity shall continue until the cancellation of the Certificate.

  2.5    Object and Powers of Partnership

         (a)     The Partnership is formed solely for the object and purpose of indirectly investing
                 in Investments by subscribing for and holding a limited partner interest in, and
                 investing all of its investible assets in, the Master Fund. The Partnership is a
                 directed feeder fund for the Limited Partners with respect to the Master Fund.
                 Notwithstanding any other provision of this Agreement, the Partnership shall
                 perform no other business and shall not make directly any Investments as such
                 Investments will be made by the Master Fund.

         (b)     Notwithstanding any other provision of this Agreement, the Partnership, and the
                 General Partner on behalf of the Partnership, may execute, deliver and perform any
                 agreement with any Limited Partner or prospective Limited Partner without any
                 further act, vote or approval of any Partner. The General Partner is hereby
                 authorized to enter into the agreements described in the preceding sentence on
                 behalf of the Partnership, but such authorization should not be deemed a restriction
                 on the power of the General Partner to enter into other agreements on behalf of the
                 Partnership. In furtherance of this purpose, the Partnership shall have all powers
                 necessary, suitable or convenient for the accomplishment of the aforesaid purpose,
                 subject to the limitations and restrictions set forth herein alone or with others, as
                 principal or agent.

         (c)     Each Limited Partner hereby acknowledges that the Partnership is not expected to
                 qualify as an “operating company” for purposes of ERISA, and the assets of the
                 Partnership may therefore constitute Plan Assets of ERISA Partners; and that the
                 Partnership is therefore intended to be structured as a directed feeder fund through
                 which the Limited Partners may participate in an investment in the Master Fund
                 and with respect to which the General Partner is not, except as expressly provided
                 under the terms of this Agreement, intended to have any discretionary authority or
                 control with respect to the investment of the assets of the Partnership. Each
                 Limited Partner (i) shall by making a capital contribution to the Partnership with
                 respect to the Partnership’s underlying interests in the Master Fund, be deemed to
                 direct the General Partner to invest the amount of such capital contribution in the
                 Master Fund and (ii) acknowledges that during any period when the underlying
                 interests of the Partnership in the Master Fund are deemed to constitute Plan


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                 Assets, the General Partner will act as a custodian with respect to the assets of such
                 Limited Partner, but is not intended to be a fiduciary with respect to the assets of
                 such Limited Partner for purposes of ERISA, the Code or any applicable similar
                 law. No provision of this Agreement shall create any obligation of the General
                 Partner, in its capacity as the general partner of the Master Fund, and the General
                 Partner, in such capacity, will not have any fiduciary obligations to any person,
                 under ERISA or otherwise, pursuant to this Agreement. Any action or
                 determination of the General Partner, as the general partner of the Master Fund,
                 referenced herein shall only regard such action or determination made by the
                 General Partner solely in its capacity as the general partner thereof.

  2.6    Liability of Partners

          In no event shall any Limited Partner (or former Limited Partner) be obligated to make any
  contribution to the Partnership in addition to its agreed capital contribution (or other payments
  provided for herein) or have any liability for the repayment or discharge of the debts and
  obligations of the Partnership, except to the extent provided herein or as required by the Act or
  other applicable law.

  2.7    Actions by Partnership

         The Partnership may execute, deliver and perform all contracts, agreements and other
  undertakings and engage in all activities and transactions as may in the opinion of the General
  Partner be necessary or advisable to carry out its objects as set forth in Section 2.5 above.

  2.8    Reliance by Third Parties

          Persons dealing with the Partnership are entitled to rely conclusively upon the power and
  authority of the General Partner as herein set forth.

  2.9    UCC Status of Limited Partner Interests

         (a)     For purposes of the grant, pledge, attachment or perfection of a security interest in
                 an Interest or otherwise, the Interests shall be deemed to be “securities” within the
                 meaning of Section 8-102(a)(15) and as provided by Section 8-103(c) of the
                 Uniform Commercial Code as in effect from time to time in the State of Delaware
                 or analogous provisions in the Uniform Commercial Code in effect in any other
                 jurisdiction.

         (b)     Any Interest may be evidenced by a certificate of partnership interest issued by the
                 Partnership in such form as the General Partner may approve. Every certificate
                 representing an Interest shall bear a legend substantially in the following form:

                 “For the purposes of Section 8-103 of the Uniform Commercial Code of the United
         States of America in effect in any relevant jurisdiction, the certificates representing an
         interest in the Limited Partnership shall constitute “securities” within the meaning of
         Section 8-102 and Section 8-103 of the Uniform Commercial Code.”



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  2.10   Series of Interests

          The General Partner may, at any time, without notification to or consent of the other
  Limited Partners, create and offer different Series with such rights, obligations, liabilities,
  privileges, designations and preferences (including different investment strategies, underlying
  investments, degrees of leverage, management fees, performance allocations, brokerage
  commissions, transparency, withdrawal rights, co-investment opportunities, and other differences)
  as the General Partner may determine upon the issuance of such Series; provided that such Series
  would not reasonably be expected to have a material adverse effect on the existing Limited
  Partners. The terms and rights of each such Series may be set forth in the Partnership’s offering
  memorandum, any supplement thereto or a “side letter” or other agreement, which the General
  Partner may incorporate by reference. Although the Partnership may offer more than one Series,
  the Partnership is not a Delaware series limited partnership and the assets and liabilities of the
  Partnership are not segregated by Series. As of the effective date of this Agreement, the
  Partnership has three Series: Series A Interests, Series B Interests and Series C Interests.

                                            ____________

                                              Article III
                                              CAPITAL

                                            ____________

  3.1    Contributions to Capital

         (a)     The minimum required initial capital contribution with respect to each Series is
                 $500,000, or such lesser amount as the General Partner may permit; provided that,
                 the minimum required initial capital contribution with respect to a Series B Interest
                 is no less than $100,000. Subject to the restriction with respect to any Series B
                 Interest in the immediately preceding sentence, the General Partner may change the
                 required minimum initial capital contribution amount at any time.

         (b)     The Partnership may accept additional contributions at such times as the General
                 Partner may permit, but no Limited Partner shall be obligated to make any
                 additional capital contribution to the Partnership, subject to the provisions of
                 Section 3.5 and any contrary provision of the Act. The minimum required
                 additional capital contribution with respect to each Series is $500,000, or such
                 lesser amount as the General Partner may permit; provided that, the minimum
                 required additional capital contribution with respect to a Series B Interest is no less
                 than $100,000. Subject to the restriction with respect to any Series B Interest in
                 the immediately preceding sentence, the General Partner may change the required
                 minimum additional capital contribution amount at any time.

         (c)     The General Partner or an Affiliate has made a capital contribution to the
                 Partnership as set forth in the Schedule of Partners. Except as required by the Act,
                 the General Partner (or such Affiliate) shall not be required to make any additional
                 capital contributions to the Partnership. The General Partner (or such Affiliate)
                 may, however, make capital contributions to the Partnership in such amounts and at


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               such times as it may determine. The General Partner or any of its Affiliates shall
               have the right at any time to make additional capital contributions as a Limited
               Partner or General Partner. If an Affiliated Investor makes a capital contribution
               as a Limited Partner, the General Partner, in its capacity as the general partner of
               the Master Fund, will have authority to waive or reduce the Management Fee or the
               Performance Allocation with respect to such Limited Partner.

        (d)    The General Partner or the Investment Manager may enter into placement agent
               agreements with placement agents (which may be Affiliates of the General Partner
               or the Investment Manager) to assist in obtaining subscriptions for Interests in
               exchange for compensation; provided that, the Partnership will not bear any such
               placement agent fees. Placement agents may be paid a portion of the Management
               Fee attributable to the investors solicited by such placement agents, thereby
               reducing the compensation received by the Investment Manager.

        (e)    Except as otherwise permitted by the General Partner, (i) initial or additional
               capital contributions by each Partner shall be payable in cash and/or Investments
               having an aggregate value as set forth in the Partnership’s books and records in one
               installment, and (ii) initial contributions shall be due no later than the Business Day
               immediately preceding the date of admission of such Person as a Limited Partner.

  3.2   Rights of Partners in Capital

        (a)    No Partner shall be entitled to interest on its capital contributions to the
               Partnership. For the avoidance of doubt, interest income, if any, earned on
               subscription amounts remitted to the Partnership prior to the date an Interest is
               issued to a Partner will be payable to the Partnership and not applied toward the
               purchase of an Interest.

        (b)    No Partner shall have the right to the return of any capital contribution to the
               Partnership, except (i) upon the withdrawal of such Partner pursuant to Section 5.5
               or (ii) upon the dissolution of the Partnership pursuant to Section 6.1. The
               entitlement to any such return shall be limited to the value of the Capital Account of
               the Partner. The General Partner shall not be liable for the return of any such
               amounts.

  3.3   Capital Accounts

        (a)    The Partnership will maintain a separate Capital Account for each Partner. In the
               event a Limited Partner invests in more than one Series, the Partnership will
               maintain a separate Capital Account with respect to each Series held by such
               Limited Partner, with each such Capital Account being treated as if it were the
               Capital Account of a separate Partner for purposes of this Agreement, including for
               purposes of the Management Fee and the Performance Allocation, each borne
               indirectly at the Master Fund level. The General Partner may, in its discretion,
               maintain separate memorandum sub-accounts with respect to each such Capital
               Account for purposes of this Agreement, including to reflect additional capital



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               contributions, withdrawal terms, the Performance Allocation and the application of
               an Early Withdrawal Reduction. Each Capital Account will reflect the aggregate
               sum of the balances in all memorandum sub-accounts associated with each such
               Capital Account.

        (b)    Each Capital Account shall have an initial balance equal to the amount of any cash
               and the net value of any property constituting the relevant Partner’s initial capital
               contribution to the Partnership.

        (c)    Each Capital Account shall be increased by (i) the amount of any cash and the net
               value of any property constituting additional contributions to such Capital Account
               permitted pursuant to Section 3.1 and (ii) such Capital Account’s allocable share of
               the Net Profits allocated by the Partnership to such Capital Account pursuant to
               Section 3.4.

        (d)    Each Capital Account shall be reduced by (i) the amount of any cash and the net
               value of any property withdrawn by or distributed to the relevant Partner pursuant
               to Sections 3.12(a), 5.5 or 6.2, including any amount deducted from any such
               withdrawal or distribution pursuant to Section 5.5(c) or 5.5(f), (ii) such Capital
               Account’s allocable share of the Net Losses allocated by the Partnership to such
               Capital Account pursuant to Section 3.4, (iii) such Capital Account’s pro rata
               portion of the expenses allocable (or specially allocable) by the Partnership
               pursuant to Section 3.5, (iv) such Capital Account’s allocable share of the
               Performance Allocation allocable pursuant to Section 3.7 (borne indirectly at the
               Master Fund level), and (v) such Capital Account’s pro rata portion of the
               expenses payable by the Partnership pursuant to Section 4.2 (b) and (c).

        (e)    Each Capital Account (including any corresponding memorandum sub-accounts)
               shall be adjusted to reflect allocations and other changes in the value of such
               Capital Account in the manner specified in the remaining provisions of this Article
               III.

        (f)    The Master Fund maintains Capital Sub-Accounts within the Partnership’s capital
               account at the Master Fund level that correspond to the Capital Accounts (and any
               corresponding memorandum sub-accounts) of the Partners.

  3.4   Allocation of Net Profit and Net Loss

        (a)    Subject to the remaining provisions of this Article III, as of the last day of each
               Fiscal Period, any Net Profit or Net Loss for such Fiscal Period shall be separately
               allocated among and credited to or debited against the Capital Accounts of the
               Partners in proportion to their respective Partnership Percentages for such Fiscal
               Period.

        (b)    Notwithstanding Section 3.4(a), items of income, gain, loss, deduction, credit and
               expenses for a Fiscal Period that are not allocable to specific Investments of the
               Master Fund, including short term interest income, receipt of any withdrawal
               charges by the Partnership, and audit, administration and legal expenses, shall be


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              separately allocated among and credited to or debited against the Capital Accounts
              of the Partners pro rata in accordance with their Partnership Percentages for such
              Fiscal Period.

  3.5   Allocation of Management Fees, Withholding Taxes and Certain Other Expenditures

        (a)   The Partnership shall bear its allocable portion of the Management Fees in
              accordance with the Master Fund Partnership Agreement. The Management Fees
              borne by the Partnership shall be allocated to the Capital Sub-Accounts of the
              relevant Limited Partners who are subject to the Management Fee based upon the
              Series they hold, and such Capital Sub-Accounts shall be subject to the
              corresponding adjustments. The Management Fee shall be charged at the Master
              Fund level through the use of Capital Sub-Accounts that correspond to each Capital
              Account of a Limited Partner. The Management Fee will be prorated for any
              period that is less than a full calendar quarter. The General Partner or the
              Investment Manager (as the general partner or the investment manager,
              respectively, of the Master Fund) may reduce, waive or calculate differently the
              Management Fee with respect to any Capital Sub-Account of a Limited Partner in
              its discretion.

        (b)   Notwithstanding anything to the contrary herein, to the extent the General Partner
              or the Partnership is required by law (including under circumstances where the
              General Partner or the Partnership is unable to rely conclusively on any
              withholding certification provided by a Partner) to withhold or to make tax
              payments, including any interest or penalties, on behalf of or with respect to any
              Partner or Partners (including, without limitation, any amount attributable to an
              actual or imputed underpayment of taxes under any BBA provision, backup
              withholding or FATCA withholding), the General Partner or the Partnership may
              withhold such amounts and make such tax payments as so required. If the
              Partnership directly or indirectly pays or incurs any withholding tax or other tax
              obligation (including any amount under any BBA provision), or otherwise incurs a
              tax payment with respect to the income allocable or distributable to, or otherwise
              attributable to, one or more Partners, then the amount of such withholding tax, tax
              obligation or payment will be treated as a distribution to such Partner or Partners, as
              applicable, pursuant to the terms of this Agreement. Such amount will be debited
              against the Capital Account(s) of such Partner or Partners as of the close of the
              Fiscal Period during which the Partnership so withholds, pays or incurs such
              obligation. If the amount so withheld, paid or incurred is greater than the balance
              of the Capital Account(s) of the relevant Partner or Partners, as applicable, then
              such Partner or Partners and any successors must make a contribution to the capital
              of the Partnership within 10 Business Days after notification and demand by the
              General Partner in the amount of such excess. The General Partner is not obligated
              to apply for or obtain a refund, or reduction of or exemption from withholding tax
              or other tax obligation (including any amount under any BBA provision) on behalf
              of any Partner that may be eligible for such refund, reduction or exemption, or
              otherwise obligated to structure Investments so as to reduce or avoid any
              withholding tax. Each Limited Partner agrees to repay to the Partnership and the


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                General Partner and each of the partners and former partners of the General Partner,
                any liability for taxes, interest or penalties which may be asserted by reason of the
                failure to deduct and withhold tax on amounts distributable or allocable to such
                Limited Partner.

         (c)    Except as otherwise provided for in this Agreement, any expenditures payable by
                the Partnership (including any taxes imposed on the Partnership pursuant to Section
                6225 of the Code, as amended by the BBA), to the extent determined by the
                General Partner to have been paid or withheld on behalf of, or by reason of
                particular circumstances applicable to, one or more but fewer than all of the
                Partners, shall be specially allocated only to the Capital Accounts of those Partners
                on whose behalf such payments are made or whose particular circumstances gave
                rise to such payments. Such allocations shall be debited from the relevant Capital
                Accounts of such Partners as of the close of the Fiscal Period during which any
                such items were accrued by the Partnership.

  3.6    Reserves; Adjustments for Certain Future Events

         (a)    The General Partner may cause appropriate reserves to be created, accrued and
                charged against Net Assets and proportionately against the Capital Accounts (and
                the corresponding Capital Sub-Accounts) for contingent liabilities, such reserves to
                be in the amounts which the General Partner deems necessary or appropriate. The
                General Partner may increase or reduce any such reserve from time to time by such
                amounts as the General Partner deems necessary or appropriate. The amount of
                any such reserve, or any increase or decrease therein, may, at the election of the
                General Partner, be charged or credited, as the General Partner deems appropriate,
                to the Capital Accounts of those parties that are Partners at the time when such
                reserve is created, increased, or decreased, as the case may be, or alternatively may
                be charged or credited to those parties that were Partners at the time of the act or
                omission giving rise to the contingent liability for which the reserve was
                established by the General Partner.

         (b)    If the General Partner determines that it is equitable to treat an amount to be paid or
                received as being applicable to one or more prior periods, then all or a portion of
                such amount may be proportionately charged or credited, as appropriate, in
                proportion to the Capital Account balances of the current Partners as such balances
                existed during any such prior period(s).

  3.7    Performance Allocation

         The Partnership bears its allocable portion of the Performance Allocation in accordance
  with the Master Fund Partnership Agreement. The Performance Allocation borne by the
  Partnership shall be specially allocated to the Capital Sub-Accounts of the relevant Limited
  Partners who are subject to the Performance Allocation based upon the Series they hold, and such
  Capital Sub-Accounts shall be subject to the corresponding adjustments. The Performance
  Allocation shall be debited at the Master Fund level through the use of Capital Sub-Accounts that
  correspond to each Capital Account of a Limited Partner. The General Partner (as the general


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  partner of the Master Fund) may waive or reduce the Performance Allocation with respect to any
  Capital Sub-Account of a Limited Partner.

  3.8    Allocation to Avoid Capital Account Deficits

          To the extent that any debits pursuant to this Article III would reduce the balance of the
  Capital Account of any Limited Partner below zero, that portion of any such debits shall instead be
  allocated to the Capital Account of the General Partner. Any credits in any subsequent Fiscal
  Period which would otherwise be allocable pursuant to this Article III to a Capital Account of any
  Limited Partner previously affected by the application of this Section 3.8 shall instead be allocated
  to the Capital Account of the General Partner in such amounts as are necessary to offset all
  previous debits attributable to such Limited Partner pursuant to this Section 3.8 not previously
  recovered.

  3.9    Allocations for U.S. Federal Income Tax Purposes

         Notwithstanding anything to the contrary in this Agreement:

         (a)     Income Tax Allocations. Except as otherwise required by Code Section 704(c),
                 items of income, gain, deduction, loss, or credit that are recognized for income tax
                 purposes in each Fiscal Year will be allocated among the Partners in such manner
                 as to reflect equitably amounts credited to or debited against each Partner’s Capital
                 Account, whether in such Fiscal Year or in prior Fiscal Years. To this end, the
                 Partnership will establish and maintain records which shall show the extent to
                 which the Capital Account of each Partner will, as of the last day of each Fiscal
                 Year, comprise amounts that have not been reflected in the taxable income of such
                 Partner. To the extent deemed by the General Partner to be feasible and equitable,
                 taxable income and gains in each Fiscal Year shall be allocated among the Partners
                 who have enjoyed the related credits to their Capital Accounts, and items of
                 deduction, loss and credit in each Fiscal Year shall be allocated among the Partners
                 who have borne the burden of the related debits to their Capital Accounts. Foreign
                 tax credits attributable to taxes incurred by the Partnership shall be allocated in a
                 manner consistent with Section 1.704-1(b)(4)(viii) of the Regulations. All matters
                 concerning allocations for U.S. federal, state and/or local income tax purposes,
                 including accounting procedures, not expressly provided for in this Agreement will
                 be determined by the General Partner.

         (b)     Basis Adjustments. To the extent an adjustment to the adjusted tax basis of any
                 Partnership asset pursuant to Section 734(b) of the Code or Section 743(b) of the
                 Code is required under Section 1.704-1(b)(2)(iv)(m) of the Regulations to be taken
                 into account in determining Capital Accounts, the amount of such adjustment to the
                 Capital Accounts shall be treated as an item of gain (if the adjustment increases the
                 basis of the asset) or loss (if the adjustment decreases such basis) and such gain or
                 loss shall be specially allocated to the Partners in a manner consistent with the
                 manner in which their Capital Accounts are required to be adjusted pursuant to such
                 section of the Regulations; provided that in the event that an adjustment to the book
                 value of Partnership property is made as a result of an adjustment pursuant to


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              Section 734(b) of the Code, items of income, gain, loss, or deduction, as computed
              for book and tax purposes, will be specially allocated among the Partners so that the
              effect of any such adjustment shall benefit (or be borne by) the Partner(s) receiving
              the distribution that caused such adjustment.

        (c)   Positive Basis Allocations. If the Partnership realizes gains or items of gross
              income (including short term capital gain) from the sale of Partnership assets for
              U.S. federal income tax purposes for any Fiscal Year in which one or more Positive
              Basis Partners withdraws all or a portion of its Interest from the Partnership
              pursuant to Section 5.5, the General Partner may elect: (i) to allocate such gains or
              items of gross income among such Positive Basis Partners, pro rata in proportion to
              the respective Positive Basis of each such Positive Basis Partner, until either the
              full amount of such gains or items of gross income shall have been so allocated or
              the Positive Basis of each such Positive Basis Partner shall have been eliminated;
              and (ii) to allocate any gains or items of gross income not so allocated to Positive
              Basis Partners to the other Partners in such manner as shall reflect equitably the
              amounts credited to such Partners’ Capital Accounts pursuant to Section 3.3;
              provided, however, that if, following such Fiscal Year, the Partnership realizes
              gains or items of gross income from a sale of an Investment the proceeds of which
              are designated on the Partnership’s books and records as being used to effect
              payment of all or part of the liquidating share of any Positive Basis Partner that
              continues to be a Partner in the Partnership following such withdrawal (i.e., such
              Positive Basis Partner effected a partial, and not a complete, withdrawal of its
              Interest), there shall be allocated to such Positive Basis Partner an amount of such
              gains or items of gross income equal to the amount, if any, by which its Positive
              Basis as of the Withdrawal Date exceeds the amount allocated to such Partner
              pursuant to clause (i) of this sentence.

        (d)   Negative Basis Allocations. If the Partnership realizes net losses or items of gross
              loss or deduction (including short term capital loss) from the sale of Partnership
              assets for U.S. federal income tax purposes for any Fiscal Year in which one or
              more Negative Basis Partners withdraws all or a portion of its Interest from the
              Partnership pursuant to Section 5.5, the General Partner may elect: (i) to allocate
              such net losses or items of gross loss or deduction among such Negative Basis
              Partners, pro rata in proportion to the respective Negative Basis of each such
              Negative Basis Partners, until either the full amount of such losses or items of loss
              or deduction shall have been so allocated or the Negative Basis of each such
              Negative Basis Partner shall have been eliminated; and (ii) to allocate any net
              losses or items of gross loss or deduction not so allocated to Negative Basis
              Partners to the other Partners in such manner as shall reflect equitably the amounts
              credited to such Partners’ Capital Accounts pursuant to Section 3.3; provided,
              however, that if, following such Fiscal Year, the Partnership realizes net losses or
              items of gross loss and deduction from a sale of an Investment the proceeds of
              which are designated on the Partnership’s books and records as being used to effect
              payment of all or part of the liquidating share of any Negative Basis Partner that
              continues to be a Partner in the Partnership following such withdrawal (i.e., such
              Negative Basis Partner effected a partial, and not a complete, withdrawal of its


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                 Interest), there shall may be allocated to such Negative Basis Partner an amount of
                 such net losses or items of gross loss or deduction equal to the amount, if any, by
                 which its Negative Basis as of the Withdrawal Date exceeds the amount allocated
                 to such Partner pursuant to clause (i) of this Section 3.9(d).

         (e)     Qualified Income Offset. In the event any Limited Partner unexpectedly receives
                 any adjustments, allocations, or distributions described in Section
                 1.704-1(b)(2)(ii)(d)(4), 1.704-1(b)(2)(ii)(d)(5), or 1.704-1(b)(2)(ii)(d)(6) of the
                 Regulations, items of Partnership income and gain will be specially allocated to
                 each such Limited Partner in an amount and manner sufficient to eliminate, to the
                 extent required by the Regulations, the deficit balance in the Capital Account of
                 such Limited Partner as quickly as possible; provided that an allocation pursuant to
                 this Section 3.9(e) may be made only if and to the extent that such Limited Partner
                 would have a deficit balance in its Capital Account after all other allocations
                 provided for in this Article III have been tentatively made as if this Section 3.9(e)
                 were not in this Agreement. This Section 3.9(e) is intended to constitute a
                 “qualified income offset” within the meaning of Section 1.704-1(b)(2)(ii) of the
                 Regulations and shall be interpreted consistently therewith.

         (f)     Gross Income Allocation. In the event any Limited Partner has a deficit Capital
                 Account at the end of any Fiscal Year that is in excess of the sum of (i) the amount
                 such Limited Partner is obligated to restore pursuant to any provision of this
                 Agreement and (ii) the amount such Limited Partner is deemed to be obligated to
                 restore pursuant to the penultimate sentences of Sections 1.704-2(g)(1) and
                 1.704-2(i)(5) of the Regulations, each such Limited Partner will be specially
                 allocated items of Partnership gross income and gain in the amount of such excess
                 as quickly as possible; provided that an allocation pursuant to this Section 3.9(f)
                 may be made only if and to the extent that such Limited Partner would have a
                 deficit Capital Account in excess of such sum after all other allocations provided
                 for in this Article III have been made as if Section 3.9(e) and this Section 3.9(f)
                 were not in this Agreement.

         (g)     Section 704(b) Compliance. The allocations provided in this Section 3.9 are
                 intended to comply with the Regulations under Section 704(b) of the Code and
                 may, as determined by the General Partner, be interpreted and applied in a manner
                 consistent therewith.

  3.10   Curative Allocations

           The allocations set forth in Sections 3.9(b), (e) and (f) (the “Regulatory Allocations”) are
  intended to comply with certain requirements of the Regulations. It is the intent of the Partners
  that, to the extent possible, all Regulatory Allocations shall be offset either with other Regulatory
  Allocations or with special allocations of other items of Partnership income, gain, loss, or
  deduction pursuant to this Section 3.10. Therefore, notwithstanding any other provision of this
  Article III (other than the Regulatory Allocations), the General Partner shall make such offsetting
  special allocations of the Partnership income, gain, loss, or deduction in whatever manner it
  determines appropriate so that, after such offsetting allocations are made, each Partner’s Capital


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  Account balance is, to the extent possible, equal to the Capital Account balance such Partner
  would have had if the Regulatory Allocations were not part of this Agreement and all Partnership
  items were allocated pursuant to other provisions of this Article III (other than the Regulatory
  Allocations).

  3.11   Tax Matters

         (a)    Each Partner agrees not to treat, on any U.S. federal, state, local and/or non-U.S.
                income tax return or in any claim for a refund, any item of income, gain, loss,
                deduction or credit in a manner inconsistent with the treatment of such item by the
                Partnership or which would result in inconsistent treatment, and each Partner
                further agrees to treat, on any U.S. federal, state, local and/or non-U.S. income tax
                return in any claim for a refund, any item of income, gain, loss, deduction or credit
                in a manner consistent with the treatment of such item by the Partnership.

         (b)    To the fullest extent permitted by law, each Limited Partner agrees to (i) provide
                such cooperation and assistance, including executing and filing forms or other
                statements and providing information about the Limited Partner, as is reasonably
                requested by the Tax Matters Partner, to enable the Partnership to satisfy any
                applicable tax reporting or compliance requirements, to make any tax election or to
                qualify for an exception from or reduced rate of tax or other tax benefit or be
                relieved of liability for any tax regardless of whether such requirement, tax benefit
                or tax liability existed on the date such Partner was admitted to the Partnership, (ii)
                amend the Limited Partner’s tax returns and pay any resulting taxes, interest and
                penalties in connection with an election by the Partnership under Section 6225(a)
                of the Code, as amended by the BBA, (iii) take into account any adjustments and
                pay any taxes, interest and penalties that result from an election by the Partnership
                under Section 6226 of the Code, as amended by the BBA, and/or (iv) indemnify
                and hold harmless the Partnership from and against any liability with respect to the
                Limited Partner’s share of any tax deficiency (including any interest and penalties
                associated therewith) paid or payable by the Partnership that is (A) allocable to
                such Limited Partner (as reasonably determined by the General Partner in
                accordance with this Agreement) with respect to an audited or reviewed taxable
                year for which such Partner was a partner in the Partnership or (B) attributable (as
                reasonably determined by the General Partner) to the failure of such Limited
                Partner to cooperate with or provide any such forms, statements, or other
                information as requested by the Tax Matters Partner pursuant to clause (i) above.

  3.12   Distributions

         (a)    The Partnership will make distributions in respect of withdrawals in accordance
                with Section 5.5 and liquidation in accordance with Section 6.2. The amount and
                timing of any other distributions from the Partnership shall be determined by the
                General Partner. Distributions will generally be made in proportion to the
                respective Partnership Percentages of the Partners for the Fiscal Period when made.
                Any distributions may be paid in cash, in kind or partly in cash and partly in kind.



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        (b)   Notwithstanding any provision to the contrary contained in this Agreement, the
              Partnership, and the General Partner on behalf of the Partnership, may not make a
              distribution to any Partner from any account in connection with its Interest if such
              distribution would violate Section 17-607 of the Act or other applicable law.

                                         ____________

                                         Article IV
                                       MANAGEMENT

                                         ____________

  4.1   Duties and Powers of the General Partner

        (a)   Subject to the terms and conditions of this Agreement, the General Partner shall
              have complete and exclusive power and responsibility, to the fullest extent
              permitted by the Act, for managing and administering the affairs of the Partnership
              (other than any investment or trading activities, which are entered into at the Master
              Fund level and managed by the Investment Manager), and shall have the power and
              authority to do all things that the General Partner considers necessary or desirable
              to carry out its duties hereunder and to achieve the purposes of the Partnership.

        (b)   The General Partner shall have the right, without the notification to or consent of
              any Limited Partner or other Person, to make adjustments to the structure of the
              Partnership in order to address applicable structural, ownership, legal, or regulatory
              issues, or to improve overall tax efficiency; provided that no such adjustment
              would cause any material adverse consequences to the Limited Partners.

        (c)   Without limiting the generality of the General Partner’s duties and powers
              hereunder and notwithstanding anything to the contrary contained herein, the
              General Partner shall have full power and authority, subject to the other terms and
              provisions of this Agreement, to execute, deliver and perform such contracts,
              agreements and other undertakings on behalf of the Partnership, without the
              consent or approval of any other Person, and to engage in all activities and
              transactions, as it may deem necessary or advisable for, or as may be incidental to,
              the conduct of the business contemplated by this Section 4.1, including, without in
              any manner limiting the generality of the foregoing, (i) contracts, agreements,
              undertakings and transactions with any Partner or with any other Person, firm or
              corporation having any business, financial or other relationship with any Partner or
              Partners, (ii) agreements with each Limited Partner in connection with its purchase
              of an Interest, including a subscription agreement wherein such Limited Partner
              agrees to be bound by the terms of this Agreement, (iii) any agreements to induce
              any Person to purchase an Interest and (iv) the Investment Management Agreement
              delegating to the Investment Manager certain of the powers and authority vested by
              this Agreement in the General Partner as the General Partner and the Investment
              Manager may agree from time to time, each without any further act, approval or
              vote of any Person.



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        (d)   The General Partner may terminate or replace the Investment Manager in
              accordance with the terms of the Investment Management Agreement. The
              General Partner may delegate to any other Person (including any of its Affiliates)
              any power and authority vested in the General Partner pursuant to this
              Agreement that is not otherwise delegated to the Investment Manager.

        (e)   Every power vested in the General Partner pursuant to this Agreement shall be
              construed as a power to act (or not to act) in its sole and absolute discretion, except
              as otherwise expressly provided herein. No provision of this Agreement shall be
              construed to require the General Partner to violate the Act, the Advisers Act or any
              other law, regulation or rule of any self-regulatory organization.

        (f)   Notwithstanding any other provision of this Agreement or otherwise applicable
              provision of law or equity, whenever in this Agreement, the General Partner is
              permitted or required to make a decision (i) in its “sole discretion” or “discretion”
              or under a grant of similar authority or latitude, the General Partner shall be entitled
              to consider only such interests and factors as it desires, including its own interests,
              and shall, to the fullest extent permitted by applicable law, have no duty or
              obligation to give any consideration to any interest of or factors affecting the
              Partnership or the Limited Partners, or (ii) in its “good faith” or under another
              expressed standard, the General Partner shall act under such express standard and
              shall not be subject to any other or different standards. Unless otherwise expressly
              stated, for purposes of this Section 4.1(f), the General Partner shall be deemed to be
              permitted or required to make all decisions hereunder in its sole discretion.

        (g)   If requested by the General Partner, each Limited Partner shall deliver to the
              General Partner: (i) an affidavit in form satisfactory to the General Partner that the
              applicable Limited Partner (and its partners, shareholders, members, and/or
              beneficial owners, and/or controlling persons, as the case may be) is not subject to
              withholding under the provisions of any United States federal, state, local or
              non-U.S. laws; (ii) any certificate that the General Partner may reasonably request
              with respect to any such laws; (iii) any other form or instrument reasonably
              requested by the General Partner relating to such Limited Partner’s status under
              such laws; and/or (iv) any information or documentation prescribed under FATCA
              or as may be necessary for the Partnership to comply with its obligations, or to
              avoid withholding, under FATCA or any other automatic exchange of information
              agreement or arrangement, including, without limitation, the Organisation for
              Economic Cooperation and Development’s Common Reporting Standard. In the
              event that a Limited Partner fails or is unable to deliver to the General Partner an
              affidavit described in Section 4.1(g), the General Partner may withhold amounts
              from such Partner in accordance with Section 3.5(b).

  4.2   Expenses

        (a)   Subject to Section 4.2(f), each of the General Partner and the Investment Manager
              pays all of its own operating and overhead costs without reimbursement by the
              Partnership. The Partnership will not have its own separate employees or office,


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              and it will not reimburse the General Partner or the Investment Manager for
              salaries, office rent and other general overhead expenses of the General Partner or
              the Investment Manager.

        (b)   The Partnership, and not the General Partner or the Investment Manager, will pay,
              or reimburse the General Partner and the Investment Manager for, all costs, fees
              and expenses arising in connection with the Partnership’s operations, as well as its
              pro rata share of the cost of the Master Fund’s initial organization, operations and
              Investment-related expenses. Such expenses payable by the Partnership include
              the following:

              (i)     the Partnership’s pro rata share of the cost of the Master Fund’s investment
                      program, including, without limitation, brokerage commissions, other
                      expenses related to buying and selling securities (including trading errors
                      that are not the result of the Investment Manager’s gross negligence, willful
                      misconduct or fraud), costs of due diligence regardless of whether a
                      particular transaction is consummated, the costs of attending shareholder
                      meetings, research expenses and costs related to monitoring Investments;

              (ii)    initial organizational expenses of the Partnership; provided that, such
                      organizational costs may be expensed immediately, or in the General
                      Partner’s discretion, amortized in whole or in part and capitalized over a
                      period of 60 calendar months from the date the Partnership commences
                      operations, which may result in an exception to GAAP;

              (iii)   fees and expenses of advisers and consultants;

              (iv)    Management Fees (charged at the Master Fund level);

              (v)     fees and expenses of any custodians, escrow or transfer agents or other
                      investment-related service providers;

              (vi)    indemnification expenses incurred in connection with Section 4.5 and the
                      cost of insurance against potential indemnification liabilities;

              (vii)   interest and other borrowing expenses;

              (viii) legal, administrative, accounting, tax, audit and insurance expenses;

              (ix)    expenses of preparing and distributing reports, financial statements and
                      notices to Limited Partners;

              (x)     litigation or other extraordinary expenses;

              (xi)    any withholding, transfer or other taxes imposed or assessed on, or payable
                      by, the Partnership (including any interest and penalties); and




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              (xii)   the cost of periodically updating the Partnership’s offering memorandum
                      and this Agreement.

        (c)   Expenses generally will be borne pro rata by the Partners in accordance with their
              respective Partnership Percentages; provided that expenses may be specially
              allocated among the Partners as follows:

              (i)     with respect to expenses related to Investments (other than taxes), pro rata
                      in accordance with their respective Partnership Percentages; and

              (ii)    as provided elsewhere in this Agreement, including Sections 3.4, 3.5, 3.6
                      and 5.5.

        (d)   Each of the General Partner and the Investment Manager, as appropriate, shall be
              entitled to reimbursement from the Partnership for any of the expenses paid by it on
              behalf of the Partnership pursuant to Section 4.2(b); provided that the General
              Partner or the Investment Manager may absorb any or all of such expenses incurred
              on behalf of the Partnership. The Investment Manager may retain, in connection
              with its responsibilities hereunder as a delegatee of the General Partner, the
              services of others to assist in the investment advice to be given to the Master Fund,
              including, but not limited to, any Affiliate of the Investment Manager, but payment
              for any such services shall be assumed by the Investment Manager and neither the
              Master Fund nor the Partnership shall have any liability therefor; provided,
              however, that the Investment Manager, in its sole discretion, may retain the services
              of independent third party professionals on behalf of the Master Fund, including,
              without limitation, attorneys, accountants and consultants, to advise and assist it in
              connection with the performance of its activities on behalf of the Master Fund, and
              the Master Fund shall bear full responsibility therefor and the expense of any fees
              and disbursements arising therefrom.

        (e)   If the General Partner or the Investment Manager, as appropriate, shall incur any of
              the expenses referred to in Section 4.2(b) for the account or for the benefit of, or in
              connection with its activities or those of its Affiliates on behalf of, both the Master
              Fund and any Other Account, the General Partner or the Investment Manager, as
              appropriate, will allocate such expense among the Master Fund and each such
              Other Account in proportion to the size of the Investment made by each in the
              activity or entity to which the expense relates, or in such other manner as the
              General Partner considers fair and reasonable.

        (f)   Each of the General Partner and the Investment Manager is entitled to use “soft
              dollars” generated by the Master Fund to pay for certain investment research and
              brokerage services that provide lawful and appropriate assistance to the General
              Partner or the Investment Manager in the performance of investment
              decision-making responsibilities to the extent such use falls within the safe harbor
              afforded by Section 28(e) of the Securities Exchange Act of 1934, as amended, or is
              otherwise reasonably related to the investment decision-making process, or to
              cover certain Master Fund expenses. Use of “soft dollars” by the General Partner


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                 or the Investment Manager as described herein shall not constitute a breach by the
                 either the General Partner or the Investment Manager of any fiduciary or other duty
                 which the General Partner or the Investment Manager may be deemed to owe to the
                 Partnership or its Partners.

  4.3    Rights of Limited Partners

         The Limited Partners shall take no part in the management, control or operation of the
  Partnership’s business, and shall have no right or authority to act for the Partnership or to vote on
  matters other than the matters set forth in this Agreement or as required by applicable law. Except
  as otherwise provided herein or required by law, a Limited Partner shall have no liability for the
  debts or obligations of the Partnership.

  4.4    Other Activities of Partners

         (a)     The General Partner shall not be required to devote any specific amount of its time
                 to the affairs of the Partnership, but shall devote such of its time to the business and
                 affairs of the Partnership as it shall determine in good faith to be necessary to
                 conduct the affairs of the Partnership for the benefit of the Partnership and the
                 Partners.

         (b)     Each Partner acknowledges and agrees that any other Partner, its Affiliates and
                 their respective officers, directors, shareholders, members, partners, personnel and
                 employees, may engage in or possess an interest in other business ventures or
                 commercial dealings of every kind and description, independently or with others,
                 including, but not limited to, management of other accounts, investment in, or
                 financing, acquisition and disposition of, securities, investment and management
                 counseling, brokerage services, serving as directors, officers, advisers or agents of
                 other companies, partners of any partnership, or trustees of any trust, or entering
                 into any other commercial arrangements, and will not be disqualified solely on the
                 basis that any such activities may conflict with any interest of the parties with
                 respect to the Partnership or the Master Fund. Without in any way limiting the
                 foregoing, each Partner hereby acknowledges that (i) none of the Partners, their
                 Affiliates and their respective officers, directors, shareholders, members, partners,
                 personnel and employees shall have any obligation or responsibility to disclose or
                 refer any of the investment or other opportunities obtained through activities
                 contemplated by this Section 4.4(b) to the General Partner or the Limited Partners,
                 but may refer the same to any other party or keep such opportunities for their own
                 benefit; and (ii) the Partners, their Affiliates and their respective officers, directors,
                 shareholders, members, partners, personnel and employees are hereby authorized
                 to engage in activities contemplated by this Section 4.4(b) with, or to purchase, sell
                 or otherwise deal or invest in investments issued by, companies in which the
                 General Partner might from time to time invest or be able to invest or otherwise
                 have any interest on behalf of the Master Fund, without the consent or approval of
                 the Partnership or any other Partner. The Partners expressly agree that no other
                 Partner shall have any rights in or to such other activities, or any profits derived
                 therefrom.


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        (c)   The General Partner and its Affiliates shall allocate investment opportunities to the
              Master Fund and any Other Account fairly and equitably over time.
              Notwithstanding the foregoing, the General Partner is under no obligation to accord
              exclusivity or priority to the Master Fund in the event of limited investment
              opportunities. This means that such opportunities will be allocated among those
              accounts for which participation in the respective opportunity is considered
              appropriate, taking into account, among other considerations: (i) fiduciary duties
              owed to the accounts; (ii) the primary mandate of the accounts; (iii) the capital
              available to the accounts; (iv) any restrictions on the accounts and the investment
              opportunity; (v) the sourcing of the investment, size of the investment and amount
              of follow-on available related to the investment; (vi) whether the risk-return profile
              of the proposed investment is consistent with the account’s objectives and program,
              whether such objectives are considered in light of the specific investment under
              consideration or in the context of the portfolio’s overall holdings; (vii) the potential
              for the proposed investment to create an imbalance in the account’s portfolio
              (taking into account expected inflows and outflows of capital); (viii) liquidity
              requirements of the account; (ix) potentially adverse tax consequences; (x)
              regulatory and other restrictions that would or could limit an account’s ability to
              participate in a proposed investment; and (xi) the need to re-size risk in the
              account’s portfolio. The General Partner has the authority to allocate trades to
              multiple accounts on an average price basis or on another basis it deems fair and
              equitable. Similarly, if an order on behalf of any accounts cannot be fully
              allocated under prevailing market conditions, the General Partner may allocate the
              trades among different accounts on a basis it considers fair and equitable over time.

        (d)   The Principal, as well as the employees and officers of the Investment Manager and
              of organizations affiliated with the Investment Manager, may buy and sell
              securities for their own account or the account of others, but may not buy securities
              from or sell securities to the Master Fund (such prohibition does not extend to the
              purchase or sale of Interests), unless such purchase or sale is in compliance with the
              applicable provisions of the Advisers Act.

        (e)   Each Partner hereto hereby waives, and covenants not to bring a cause of action in
              law or equity on the basis of, any law (statutory, common law or otherwise)
              respecting the rights and obligations of the Partners which is or may be inconsistent
              with this Section 4.4.

        (f)   The General Partner and its Affiliates reserve the right to establish collective
              investment vehicles that have stated investment programs or terms that differ from
              those of the Partnership or that are targeted primarily to investors for which the
              Partnership is not designed to be a suitable investment vehicle. The General
              Partner and its Affiliates also reserve the right to establish and provide management
              or advisory services to Other Accounts for significant investors, whether or not
              such accounts have the same investment program as the Partnership.




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        (g)   Each Limited Partner acknowledges that the General Partner or the Investment
              Manager may engage one or more of their respective Affiliates to provide services
              to the Partnership or the Master Fund for compensation.

  4.5   Duty of Care; Indemnification

        (a)   None of the Indemnified Persons will be liable to the Partnership or any Limited
              Partner for any loss or damage arising by reason of being or having been an
              Indemnified Person or from any acts or omissions in the performance of its services
              as an Indemnified Person in the absence of gross negligence, willful misconduct or
              fraud, or as otherwise required by law. In no event shall any Indemnified Person
              be liable for any consequential damages, special or indirect damages or lost profits.
              An Indemnified Person may consult with counsel and accountants in respect of the
              Partnership’s affairs and will be fully protected and justified in any action or
              inaction which is taken in accordance with the advice or opinion of such counsel or
              accountants, provided that they were selected in accordance with the standard of
              care set forth above.

        (b)   The Partnership shall, to the fullest extent permitted by law, indemnify and hold
              harmless each Indemnified Person from and against any and all liabilities suffered
              or sustained by an Indemnified Person by reason of the fact that it, he or she is or
              was an Indemnified Person or in connection with this Agreement or the
              Partnership’s business or affairs, including, without limitation, any judgment,
              settlement, reasonable attorneys’ fees and other costs or expenses incurred in
              connection with the defense of any actual or threatened action, suit or proceeding,
              provided that such liability did not result from the gross negligence, willful
              misconduct or fraud of such Indemnified Person. The Partnership will, in the sole
              discretion of the General Partner, advance to any Indemnified Person reasonable
              attorneys’ fees and other costs and expenses incurred in connection with the
              defense of any action, suit or proceeding which arises out of such conduct. In the
              event that such an advance is made by the Partnership, the Indemnified Person will
              agree to reimburse the Partnership to the extent that it is finally determined that the
              Indemnified Person was not entitled to indemnification in respect thereof.

        (c)   Notwithstanding any of the foregoing, the provisions of this Section 4.5 do not
              provide for the exculpation or indemnification of any Indemnified Person for any
              liability (including liability under U.S. federal securities laws which, under certain
              circumstances, impose liability even on persons that act in good faith), to the extent
              (but only to the extent) that such liability may not be waived, modified or limited
              under applicable law, but shall be construed so as to effectuate the above provisions
              to the fullest extent permitted by law.

        (d)   Pursuant to the indemnification and exculpation provisions above and as set forth
              in the Master Fund Partnership Agreement, the Master Fund (and not the applicable
              Indemnified Person) will be responsible for any losses resulting from trading errors
              and similar human errors, and the Partnership will bear its pro rata portion thereof,
              absent gross negligence, willful misconduct or fraud of any Indemnified Person.


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         (e)     The above-mentioned Indemnified Persons are also indemnified by each Limited
                 Partner for any amounts of tax withheld or required to be withheld with respect to
                 that Limited Partner, and also for any amounts of interest, additions to tax, penalties
                 and other costs borne by any such persons in connection therewith to the extent that
                 the balance of the Limited Partner’s Capital Account is insufficient to fully
                 compensate the General Partner or the Investment Manager for such costs.

                                            ____________

                                     Article V
                     ADMISSIONS, TRANSFERS AND WITHDRAWALS

                                            ____________

  5.1    Admission of Limited Partners

          The General Partner may, on the first day of each calendar month, or at such other times as
  the General Partner may determine, without advance notice to or consent of the Limited Partners,
  admit to the Partnership any Person who shall execute this Agreement or any other writing
  evidencing the intent of such Person to become a Limited Partner. Such admission shall be
  effective when the General Partner enters the name of such Person on the Schedule of Partners and
  does not require the consent or approval of any other Partner. The General Partner shall have the
  authority to reject subscriptions for Interests in whole or in part.

  5.2    Admission of Additional General Partners

         (a)     Except as provided in Section 5.2(b), the General Partner may admit one or more
                 Persons as additional general partners to the Partnership. No additional general
                 partner shall be added unless such additional general partner agrees to be bound by
                 all of the terms of this Agreement and adding such additional general partner would
                 not have any of the effects described in clauses (i) through (iv) of Section 5.3(c)
                 (except as specifically set forth therein).

         (b)     Any Person to whom the General Partner has transferred its general partner interest
                 in accordance with Section 5.4 will be admitted to the Partnership as a substitute
                 General Partner without the consent of the Limited Partners unless otherwise
                 provided for in Section 5.4.

  5.3    Transfer of Interests of Limited Partners

         (a)     Each Limited Partner agrees with all other Partners that it shall not make or attempt
                 to make any Transfer of its Interest which will violate this Section 5.3. In the event
                 of any attempted Transfer of any Limited Partner’s Interest in violation of the
                 provisions of this Section 5.3, without limiting any other rights of the Partnership,
                 the General Partner shall have the right to require the withdrawal of such Limited
                 Partner’s Interest from the Partnership as provided by Section 5.5(j).




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        (b)   No Transfer of any Limited Partner’s Interest, whether voluntary or involuntary,
              shall be valid or effective, and no transferee shall become a substituted Limited
              Partner, unless the prior written consent of the General Partner has been obtained,
              which consent may be granted, withheld or conditioned for any reason by the
              General Partner. In the event of any Transfer, all of the conditions of the
              remainder of this Section 5.3 must also be satisfied.

        (c)   Without limiting the General Partner’s discretion pursuant to the preceding
              paragraph, the General Partner expects to withhold consent to any Transfer of any
              Limited Partner’s Interest, whether voluntary or involuntary, if the General Partner
              has reason to believe that such Transfer may:

              (i)     require registration of any Interest under any securities laws of the United
                      States of America, any state thereof or any other jurisdiction;

              (ii)    subject the Partnership or the General Partner to a requirement to register,
                      or to additional disclosure or other requirements, under any securities or
                      commodities laws of the United States of America, any state thereof or any
                      other jurisdiction;

              (iii)   result in a termination of the Partnership for U.S. federal income tax
                      purposes under Section 708(b)(1)(B) of the Code, or cause the Partnership
                      to be treated as a “publicly traded partnership” for U.S. federal income tax
                      purposes under Section 7704(b) of the Code or cause the Partnership not to
                      qualify for one of the safe harbors under Section 1.7704 1(e), (f), (g), (h) or
                      (j) of the Regulations;

              (iv)    result in the Partnership being considered an investment company within
                      the meaning of the Investment Company Act;

              (v)     result in violation of any anti-money laundering rules or regulations
                      applicable to the Partnership, the Investment Manager or the General
                      Partner;

              (vi)    violate or be inconsistent with any representation or warranty made by the
                      transferring Limited Partner at the time the Limited Partner subscribed to
                      purchase an Interest; or

              (vii)   cause all or any portion of the assets of the Master Fund to constitute Plan
                      Assets of any ERISA Partner for purposes of ERISA or to be subject to the
                      provisions of ERISA to substantially the same extent as if owned directly
                      by an ERISA Partner.

              The transferring Limited Partner, or its legal representative, must give the General
              Partner written notice before making any voluntary Transfer and after any
              involuntary Transfer and must provide sufficient information to allow legal counsel
              acting for the Partnership to make the determination that the proposed Transfer
              would not result in any of the consequences referred to in clauses (i) through (vii)


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              above. If an assignment, Transfer or disposition occurs by reason of the death of a
              Limited Partner or assignee, the notice may be given by the duly authorized
              representative of the estate of the Limited Partner or assignee. The notice must be
              supported by proof of legal authority and valid assignment acceptable to the
              General Partner.

        (d)   In the event any Transfer permitted by this Section 5.3 shall result in multiple
              ownership of any Limited Partner’s Interest, the General Partner may require one or
              more trustees or nominees to be designated to represent a portion of or the entire
              Interest transferred for the purpose of receiving all notices which may be given and
              all payments which may be made under this Agreement, and for the purpose of
              exercising the rights which the transferor as a Limited Partner had pursuant to the
              provisions of this Agreement.

        (e)   Subsequent to receipt of the consent of the General Partner (which consent may be
              withheld by the General Partner), an authorized transferee shall be entitled to the
              allocations and distributions attributable to the Interest transferred to such
              transferee and to transfer such Interest in accordance with the terms of this
              Agreement; provided, however, that such transferee shall not be entitled to the
              other rights of a Limited Partner as a result of such Transfer until it becomes a
              substituted Limited Partner. No transferee may become a substituted Limited
              Partner without the consent of the General Partner (which consent may be withheld
              for any reason or no reason by the General Partner). If the General Partner
              withholds consent to such substitution, a transferee will not have any of the rights
              of a Limited Partner, except that the transferee will be entitled, unless prohibited by
              law, to receive that share of capital or profits and to have the right of withdrawal to
              which its transferor would have been entitled and will be subject to the other terms
              of this Agreement. A transferring Limited Partner will remain liable to the
              Partnership as provided under applicable law and this Agreement regardless of
              whether its transferee becomes a substituted Limited Partner. Notwithstanding the
              above, the Partnership and the General Partner shall incur no liability for
              allocations and distributions made in good faith to the transferring Limited Partner
              until a written instrument of transfer has been received by the Partnership and
              recorded on its books and the effective date of the Transfer has passed.

        (f)   Any other provision of this Agreement to the contrary notwithstanding, a transferee
              shall be bound by the provisions hereof. Prior to recognizing any Transfer in
              accordance with this Section 5.3, the General Partner may require the transferring
              Limited Partner to execute and acknowledge an instrument of Transfer in form and
              substance satisfactory to the General Partner, and may require the transferee to
              make certain representations and warranties to the Partnership and Partners and to
              accept, adopt and approve in writing all of the terms and provisions of this
              Agreement. A transferee shall become a substituted Limited Partner and shall
              succeed to the portion of the transferor’s Capital Account relating to the Interest
              transferred effective upon the satisfaction of all of the conditions for such Transfer
              contained in this Section 5.3.



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         (g)     In the event of a Transfer or in the event of a distribution of assets of the Partnership
                 to any Partner, the Partnership may, but shall not be required to, file an election
                 under Section 754 of the Code and in accordance with the applicable Regulations,
                 to cause the basis of the Partnership’s assets to be adjusted for U.S. federal income
                 tax purposes as provided by Section 734 or 743 of the Code and shall make any
                 mandatory adjustments to the basis of the Partnership’s assets as required by
                 Section 734 or 743 of the Code. If the Partnership does not file an election under
                 Section 754 in connection with a Transfer and if the transferring Limited Partner is
                 a Negative Basis Partner, the General Partner may elect to allocate to the
                 transferring Limited Partner pursuant to Section 3.9(d) net losses or items of loss
                 and deduction realized by the Partnership for the Fiscal Year in which the Transfer
                 occurs as if the transferring Limited Partner were withdrawing from the Partnership
                 pursuant to Section 5.5.

         (h)     In the event of a Transfer at any time other than the end of a Fiscal Year, items of
                 income, gain, loss, deduction or credit recognized by the Partnership for U.S.
                 federal income tax purposes will be allocated between the transferring parties, as
                 determined by the General Partner, using any permissible method under Code
                 Section 706(d) and the Regulations thereunder. The transferring parties agree to
                 reimburse the General Partner and the Partnership for any incidental accounting
                 fees and other expenses incurred by the General Partner and the Partnership in
                 making allocations pursuant to this Section 5.3(h).

  5.4    Transfer of Interest of the General Partner

          The General Partner may not Transfer its Interest as a general partner of the Partnership
  other than (a) to one or more of its direct or indirect beneficial owners or their Affiliates, or (b)
  with the approval of a Majority of Limited Partners. Each Limited Partner shall be deemed to
  have consented to any such Transfer made in accordance with this Section 5.4.

  5.5    Withdrawal of Interests of Partners

         (a)     Except as provided in this Section 5.5, a Limited Partner may voluntarily withdraw
                 all or part of its Capital Account effective as of the last Business Day of each
                 calendar month and/or such other Business Days as the General Partner may
                 determine in its sole discretion (such date, a “Withdrawal Date”) upon not less than
                 30 calendar days’ prior written notice (“Withdrawal Notice”) to the Administrator;
                 provided that, any partial withdrawals may only be made in minimum amounts of
                 $100,000. Any notice of withdrawal shall be irrevocable by the Limited Partner,
                 unless otherwise agreed by the General Partner. The General Partner may waive
                 the notice requirements of this Section 5.5(a), including with respect to the Capital
                 Accounts of the Affiliated Investors. Notwithstanding anything herein to the
                 contrary, the General Partner may agree with certain Limited Partners to provide
                 for different withdrawal terms and notice periods.

         (b)     For the purposes of this Section 5.5 (and as described in Section 3.3(a)), each
                 capital contribution shall be accounted for using a separate memorandum


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              sub-account, and, in the case of a Limited Partner for which more than one
              memorandum sub-account is maintained, the withdrawals of the balance of any
              such sub-accounts shall be processed on a “first-in, first-out” basis based upon the
              date on which each capital contribution was made, unless otherwise agreed
              between the General Partner and such Limited Partner. Each memorandum
              sub-account related to a contribution of capital from a Limited Partner will be
              treated as if it were the separate Capital Account of a separate Partner for the
              purposes of applying the withdrawal provisions of this Section 5.5.

        (c)   A withdrawal of capital from a Capital Account that occurs during an applicable
              Soft Lock-up Period or Second Soft Lock-up Period is subject to the applicable
              Early Withdrawal Reduction. The General Partner may waive the Soft Lock-up
              Period or the Second Soft Lock-up Period with respect to any Capital Account of a
              Limited Partner.

        (d)   Any Withdrawal Notice shall be irrevocable by the Limited Partner, unless
              otherwise agreed by the General Partner. For the avoidance of doubt, if a Limited
              Partner notifies the General Partner of its intent to withdraw and later chooses not
              to withdraw (with the General Partner’s consent), any transaction costs incurred by
              the Partnership or the General Partner in connection therewith may, in the
              discretion of the General Partner, be charged to such withdrawing Limited
              Partner. The General Partner or the Administrator may refuse to honor any
              Limited Partner’s request for a full or partial withdrawal if such request is not
              accompanied by such additional information as the General Partner or the
              Administrator may reasonably require.

        (e)   Payment of the estimated amount due with respect to any permitted withdrawal
              pursuant to this Section 5.5 will generally be made within 10 Business Days of the
              Withdrawal Date, provided that, the General Partner may delay such payment if
              such delay is reasonably necessary to prevent such withdrawal from having a
              material adverse impact on the Partnership. Amounts withdrawn by a Limited
              Partner will not earn interest for the period from the effective Withdrawal Date
              through the settlement date.

        (f)   The General Partner may deduct from any withdrawal proceeds due to any Limited
              Partner pursuant to this Section 5.5 an amount representing the Partnership’s actual
              or estimated expenses, as determined by the General Partner in good faith,
              associated with processing the withdrawal, as well as any Early Withdrawal
              Reduction. Any such withdrawal deduction will be retained for the benefit of the
              Partnership.

        (g)   Upon receipt by the Partnership of a Limited Partner’s Withdrawal Notice, the
              General Partner, in its capacity as the general partner of the Master Fund, will have
              the discretion to manage the Master Fund’s assets in a manner that would provide
              for cash being available to the Partnership to satisfy such Limited Partner’s
              withdrawal request, but the General Partner shall be under no obligation to effect
              sales of Master Fund assets if the General Partner determines that such transactions


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              might be detrimental to the interest of the other Investors or that such transactions
              are not reasonably practicable. The General Partner may effect withdrawal
              payments (i) in cash, (ii) in kind, by transfer of marketable or non-marketable
              Investments received from the Master Fund or other assets of the Partnership, the
              value of which, as determined in accordance with Section 7.3, would satisfy the
              Limited Partner’s request for withdrawal, or (iii) in any combination of the
              foregoing. In the event that the General Partner satisfies a withdrawal request with
              Investments or assets in kind, such securities may be transferred to a liquidating
              account and sold by the Partnership for the benefit of the withdrawing Limited
              Partner, in which case, payment of the withdrawal proceeds attributable to such
              Investments will be delayed until such Investments are sold. The amount payable
              in respect of such Investments will depend on the performance of such Investments
              through to the date on which they are sold. The cost of operating the liquidating
              account and selling the Investment(s) will be deducted from the proceeds of sale
              paid to the withdrawing Limited Partner.

        (h)   The General Partner may, at any time, suspend (a) the calculation of the net asset
              value of the Interests (and the applicable valuation date); (b) the issuance of
              Interests; (c) the withdrawal by Limited Partners of their Interests (and the
              applicable Withdrawal Date); and/or (d) the payment of withdrawal proceeds (even
              if the calculation dates and Withdrawal Dates are not postponed), during any period
              which: (i) any stock exchange on which a substantial part of Investments owned by
              the Partnership (through the Master Fund) are traded is closed, other than for
              ordinary holidays, or dealings thereon are restricted or suspended; (ii) there exists
              any state of affairs as a result of which (A) disposal of a substantial part of the
              Investments owned by the Partnership (through the Master Fund) would not be
              reasonably practicable and might seriously prejudice the Limited Partners, or (B) it
              is not reasonably practicable for the Partnership fairly to determine the value of its
              net assets; (iii) none of the withdrawal requests which have been made may
              lawfully be satisfied by the Partnership; (iv) there is a breakdown in the means of
              communication normally employed in determining the prices of a substantial part
              of the Investments of the Partnership (through the Master Fund); (v) in the sole
              discretion of the General Partner, it is necessary to preserve the Partnership’s
              assets; or (vi) automatically upon any suspension of withdrawals by the Master
              Fund for similar reasons.

        (i)   The Administrator will promptly notify each Limited Partner who has submitted a
              withdrawal request and to whom payment in full of the amount being withdrawn
              has not yet been remitted of any suspension of withdrawals or suspension of the
              payment of withdrawal proceeds pursuant to Section 5.5(h). Any remaining
              amount of a withdrawal request that is not satisfied due to such a suspension
              remains at risk as per other amounts invested in the Partnership and subject to the
              applicable Management Fee until such amount is finally and fully withdrawn.
              Such Limited Partners will not be given any priority with respect to the withdrawal
              of Interests after the cause for such suspension or limitation ceases to exist. The
              General Partner may in its sole discretion, however, permit such Limited Partners
              to withdraw their withdrawal requests to the extent that the relevant Withdrawal


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              Date has not yet passed. For the avoidance of doubt, where a suspension of the
              payment of withdrawal proceeds is declared between the relevant Withdrawal Date
              and the remittance of such payment proceeds, affected Limited Partners shall not
              have any right to withdraw their withdrawal requests. Upon the reasonable
              determination by the General Partner that conditions leading to a suspension no
              longer apply, the Administrator will notify the Limited Partners of the end of the
              suspension. At such time, any such suspended payments shall generally be paid in
              accordance with the normal process for making such payments, withdrawal rights
              shall be promptly reinstated, and any pending withdrawal requests which were not
              withdrawn (or new, timely withdrawal requests) will be effected as of the first
              Withdrawal Date following the removal of the suspension, subject to the foregoing
              restrictions on withdrawals. For the avoidance of doubt, the terms of Section
              5.5(h) and this Section 5.5(i) shall not affect the discretion of the General Partner to
              compel the withdrawal of the Interest of any Limited Partner pursuant to
              Section 5.5(j).

        (j)   The General Partner may, upon not less than seven days’ prior written notice (or
              immediately if the General Partner determines in its sole discretion that such
              Limited Partner’s continued participation in the Partnership may cause the
              Partnership, the Master Fund, the General Partner or the Investment Manager to
              violate any applicable law), require any Limited Partner’s Interest to be withdrawn
              in part or in its entirety from the Partnership and for the Limited Partner to cease to
              be a limited partner of the Partnership (in the case of a withdrawal of the Limited
              Partner’s Interest in its entirety) pursuant to this Section 5.5(j) (a “Compulsory
              Withdrawal”). The General Partner will compel the withdrawal of a Limited
              Partner’s Interest in its entirety if a Limited Partner requests a withdrawal that
              would cause its total investment with respect to a particular Series to fall below a
              minimum of $100,000 (a “Minimum Required Withdrawal”). In either case, the
              amount due to any such Partner required to withdraw from the Partnership shall be
              equal to the value of such Partner’s Capital Account as of the Withdrawal Date
              determined by the General Partner, net of any deductions imposed pursuant to
              Section 5.5(f). Except as otherwise provided herein, settlements pursuant to this
              Section 5.5(j) will be made in the same manner as voluntary withdrawals, but the
              Early Withdrawal Reduction will not apply in the event of a Compulsory
              Withdrawal. However, for purposes of clarity, the Early Withdrawal Reduction
              will apply to any Minimum Required Withdrawal.

        (k)   The right of any Partner to withdraw or receive distributions pursuant to the
              provisions of this Section 5.5 is subject to all Capital Account allocations and
              adjustments contemplated by this Agreement and to the provision by the General
              Partner for all Partnership liabilities and for reserves for contingencies provided in
              Section 3.6. Notwithstanding anything to the contrary herein, the General Partner
              may establish reserves and holdbacks for estimated accrued expenses, liabilities
              and contingencies, including, without limitation, general reserves for unspecified
              contingencies (even if such reserves or holdbacks are not otherwise required by
              GAAP) or liabilities stemming from tax obligations (as such may be determined in
              the sole discretion of the General Partner and whether or not incurred directly or


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                indirectly), which could reduce the amount of a distribution upon a Limited
                Partner’s withdrawal.

         (l)    With respect to any amounts withdrawn, a withdrawing Partner shall not share in
                the income, gains and losses of the Partnership or have any other rights as a Partner
                (in the case of a complete withdrawal) after the applicable Withdrawal Date, except
                as provided in Section 3.6. For the avoidance of doubt, none of the Partnership,
                the General Partner or the Investment Manager will be liable to a Limited Partner
                for interest on the proceeds of any withdrawal.

         (m)    The Interest of a Limited Partner may not be withdrawn from the Partnership prior
                to its dissolution, except as provided in this Section 5.5.

         (n)    Unless prohibited by law, the Special Limited Partner, its Affiliates and any other
                Person that is entitled to any portion of the Performance Allocation may make
                withdrawals of all or any portion of the amount of the Performance Allocation from
                their capital accounts in the Master Fund as of any Withdrawal Date.

         (o)    If the Master Fund violates the investment restrictions set forth in the Master Fund
                Partnership Agreement and fails to remedy the violation on or before the Remedy
                Date, any Limited Partner may withdraw all or part of its Capital Account (and
                corresponding Capital Sub-Account) on the next Withdrawal Date and will not be
                subject to the Early Withdrawal Reduction; provided that, such Limited Partner has
                requested such withdrawal in writing within 30 Business Days after the Remedy
                Date.

  5.6    Withdrawal of Original Limited Partner

         The Original Limited Partner (in its capacity as the original limited partner of the
  Partnership) hereby withdraws from the Partnership and is entitled to the return of any capital
  contribution, without interest or deduction, upon the Commencement Date.

                                           ____________

                                       Article VI
                             DISSOLUTION AND LIQUIDATION

                                           ____________

  6.1    Dissolution of Partnership

         (a)    The Partnership shall be dissolved upon the first to occur of the following dates:

                (i)    any date on which the General Partner shall elect in writing to dissolve the
                       Partnership; or




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              (ii)    the occurrence of any other event causing (A) the General Partner (or a
                      successor to its business) to cease to be the general partner of the
                      Partnership or (B) the dissolution of the Partnership under the Act.

        (b)   The parties agree that irreparable damage would be done to the goodwill and
              reputation of the Partners if any Limited Partner should bring an action in court to
              dissolve the Partnership. Care has been taken in this Agreement to provide for fair
              and just payment in liquidation of the Interests of all Partners. Accordingly, each
              Limited Partner hereby waives and renounces its right to such a court decree of
              dissolution or to seek the appointment by the court of a liquidator for the
              Partnership except as provided herein.

  6.2   Liquidation of Assets

        (a)   Upon dissolution of the Partnership, the General Partner shall promptly liquidate
              the business and administrative affairs of the Partnership to the extent feasible,
              except that if the General Partner is unable to perform this function, a liquidator
              elected by a Majority of Limited Partners shall liquidate the business and
              administrative affairs of the Partnership. Net Profit and Net Loss during the Fiscal
              Periods, which includes the period of liquidation, shall be allocated pursuant to
              Article III. The proceeds from liquidation shall be divided in the following
              manner, subject to the Act:

              (i)     the debts, liabilities and obligations of the Partnership, other than any debts
                      to the Partners as Partners, and the expenses of liquidation (including legal,
                      administrative and accounting expenses incurred in connection therewith),
                      up to and including the date that distribution of the Partnership’s assets to
                      the Partners has been completed, shall first be satisfied (whether by
                      payment or the making of reasonable provision for payment thereof);

              (ii)    such debts as are owing to the Partners as Partners are next paid; and

              (iii)   the Partners shall next be paid liquidating distributions (in cash or in
                      securities or other assets, whether or not readily marketable) pro rata in
                      accordance with, and up to the positive balances of their respective Capital
                      Accounts, as adjusted pursuant to Article III to reflect allocations for the
                      Fiscal Period ending on the date of the distributions under this
                      Section 6.2(a)(iii).

        (b)   Notwithstanding this Section 6.2 and the priorities set forth in the Act, the General
              Partner or liquidator may distribute ratably in kind rather than in cash, upon
              dissolution, any assets of the Partnership; provided, however, that if any in kind
              distribution is to be made, (i) the assets distributed in kind shall be valued pursuant
              to Section 7.3, and charged as so valued and distributed against amounts to be paid
              under Section 6.2(a) and (ii) any gain or loss (as computed for book purposes)
              attributable to property distributed in kind shall be included in the Net Profit or Net
              Loss for the Fiscal Period ending on the date of such distribution.



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                               Article VII
              ACCOUNTING AND VALUATION; BOOKS AND RECORDS

                                          ____________

  7.1   Accounting and Reports

        (a)   The Partnership may adopt for tax accounting purposes any accounting method that
              the General Partner shall decide is in the best interests of the Partnership and that is
              permissible for U.S. federal income tax purposes.

        (b)   As soon as practicable after the end of each Fiscal Year, the General Partner shall
              cause an audit of the financial statements of the Partnership as of the end of such
              period to be made by a firm of independent accountants selected by the General
              Partner. Within 120 days of the end of each year (or as soon as practicable
              thereafter), but subject to Section 7.5, the General Partner shall furnish to each
              Limited Partner a copy of the set of audited financial statements prepared in
              accordance with GAAP, with such adjustments thereto as the General Partner
              determines appropriate, including a statement of profit and loss for such Fiscal
              Year and an unaudited status of each such Partner’s holdings in the Partnership at
              such time. The General Partner may elect not to reserve certain amounts that may
              be required by GAAP and not to provide certain portfolio disclosure required by
              GAAP to investors and may capitalize and amortize certain of its organizational
              expenses in deviation from GAAP. Such deviations from GAAP may result in a
              qualified opinion rendered on the financial statements of the Partnership.

        (c)   Upon request to the Administrator, each Partner may receive copies of semi-annual
              financial statements of the Partnership.

        (d)   As soon as practicable after the end of each taxable year, the General Partner shall
              furnish to each Limited Partner such information as may be required to enable each
              such Limited Partner properly to report for U.S. federal, state and local income tax
              purposes its distributive share of each Partnership item of income, gain, loss,
              deduction or credit for such year. The General Partner shall have discretion as to
              how to report Partnership items of income, gain, loss, deduction or credit on the
              Partnership’s tax returns, and the Limited Partners shall treat such items
              consistently on their own tax returns.

  7.2   Certain Tax Matters

        (a)   By joining this Agreement, each Limited Partner appoints and designates the
              General Partner (i) as the “tax matters partner,” within the meaning of Section
              6231(a)(7) of the Code, and, (ii) for any BBA Effective Period, as the “partnership
              representative” within the meaning of Section 6223 of the Code (as applicable, the
              “Tax Matters Partner”), or, in each case, under any similar state or local law. The
              Tax Matters Partner shall have any powers necessary to perform fully in such


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              capacity, and shall be permitted to take any and all actions, to the extent permitted
              by law, in consultation with the General Partner if the General Partner is not the
              Tax Matters Partner. The General Partner shall have the exclusive authority to
              appoint and designate the Investment Manager, or an Affiliate of the General
              Partner or the Investment Manager, as a successor Tax Matters Partner for any
              BBA Effective Period. The Tax Matters Partner shall be reimbursed by the
              Partnership for all costs and expenses incurred by it, and to be indemnified by the
              Partnership with respect to any action brought against it, in its capacity as the Tax
              Matters Partner.

        (b)   The Limited Partners agree that any and all actions taken by the Tax Matters
              Partner shall be binding on the Partnership and all of the Limited Partners and the
              Limited Partners shall reasonably cooperate with the Partnership or the General
              Partner, and undertake any action reasonably requested by the Partnership or the
              General Partner, in connection with any elections made by the Tax Matters Partner
              or as determined to be reasonably necessary by the Tax Matters Partners under any
              BBA provision.

        (c)   Each Limited Partner further agrees that such Limited Partner will not treat any
              Partnership item inconsistently on such Limited Partner’s U.S. federal, state, local
              and/or non-U.S. tax returns or in any claim for a refund with the treatment of the
              item on the Partnership’s tax returns and that such Limited Partner will not
              independently act with respect to tax audits or tax litigation affecting the
              Partnership, unless the prior written consent of the General Partner has been
              obtained.

        (d)   The General Partner may in its sole discretion cause the Partnership to make all
              elections not otherwise expressly provided for in this Agreement required or
              permitted to be made by the Partnership under the Code and any state, local or
              non-U.S. tax laws.

  7.3   Valuation of Partnership Assets and Interests

        (a)   The Partnership’s assets are valued as of the close of each Fiscal Period and on any
              other date selected by the General Partner in its sole discretion in accordance with
              the valuation of the Master Fund’s assets. The Partnership shall utilize the Master
              Fund’s valuations for all purposes in connection with the Partnership.

        (b)   The value of the assets of the Partnership and the net worth of the Partnership as a
              whole determined pursuant to this Section 7.3 are conclusive and binding on all of
              the Partners and all parties claiming through or under them.

  7.4   Determinations by the General Partner

        (a)   All matters concerning the determination and allocation among the Partners of the
              amounts to be determined and allocated pursuant to this Agreement, including
              Article III and accounting procedures applicable thereto, shall be determined by the
              General Partner, unless specifically and expressly otherwise provided for by the


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              provisions of this Agreement, and such determinations and allocations shall be
              final and binding on all the Partners; provided, however, that all calculations of the
              Performance Allocation will be made on the basis of, or subject to correction based
              on, the annual audit of the Partnership’s financial statements and appropriate
              adjustments will be made to all such calculations and related allocations to the
              extent necessary as a result of that audit.

        (b)   The General Partner may make such adjustments to the computation of Net Profit
              or Net Loss or any other allocations with respect to any Limited Partner, or any
              component items comprising any of the foregoing, as it considers appropriate to
              reflect the financial results of the Partnership and the intended allocation thereof
              among the Partners in a reasonably accurate, fair and efficient manner. Without
              limiting the generality of the foregoing, any provision of this Agreement that
              requires an adjustment to be made to any Capital Account or Capital Sub-Account
              (or other memorandum sub-account) as of any mid-month or mid-quarter date may
              be made as of the most recent preceding or succeeding date when a regular
              valuation is being conducted.

  7.5   Books and Records

        (a)   The General Partner shall keep books and records pertaining to the Partnership’s
              affairs showing all of its assets and liabilities, receipts and disbursements, realized
              income, gains, deductions and losses, Partners’ Capital Accounts and all
              transactions entered into by the Partnership. The General Partner shall afford to
              the Partnership’s independent auditors reasonable access to such documents during
              customary business hours and shall permit the Partnership’s auditors to make
              copies thereof or extracts therefrom at the expense of the Partnership.

        (b)   The General Partner shall establish such standards as it deems appropriate
              regarding the access of Limited Partners to the books and records of the Partnership
              and shall not be obliged to permit access by a Limited Partner to the name or
              address of any other Limited Partner.

  7.6   Confidentiality

        (a)   Each Limited Partner agrees to keep confidential, and not to make any use of (other
              than for purposes reasonably related to its Interest or for purposes of filing such
              Limited Partner’s tax returns) or disclose to any Person, any information or matter
              relating to the Partnership and its affairs and any information or matter related to
              any Investment (other than disclosure to such Limited Partner’s directors,
              employees, agents, advisors, or representatives responsible for matters relating to
              the Partnership or to any other Person approved in writing by the General Partner
              (each such Person being hereinafter referred to as an “Authorized
              Representative”)); provided that (i) such Limited Partner and its Authorized
              Representatives may make such disclosure to the extent that (A) the information to
              be disclosed is publicly available at the time of proposed disclosure by such
              Limited Partner or Authorized Representative, (B) the information otherwise is or


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              becomes legally available to such Limited Partner other than through disclosure by
              the Partnership or the General Partner, or (C) such disclosure is required by law or
              in response to any governmental agency request or in connection with an
              examination by any regulatory authorities; provided that such governmental
              agency, regulatory authorities or association is aware of the confidential nature of
              the information disclosed; (ii) such Limited Partner and its Authorized
              Representatives may make such disclosure to its beneficial owners to the extent
              required under the terms of its arrangements with such beneficial owners; and (iii)
              each Limited Partner will be permitted, after written notice to the General Partner,
              to correct any false or misleading information which becomes public concerning
              such Limited Partner’s relationship to the Partnership or the General Partner. Prior
              to making any disclosure required by law, each Limited Partner shall use its best
              efforts to notify the General Partner of such disclosure. Prior to any disclosure to
              any Authorized Representative or beneficial owner, each Limited Partner shall
              advise such Authorized Representative or beneficial owner of the obligations set
              forth in this Section 7.6(a) and each such Authorized Representative or beneficial
              owner shall agree to be bound by such obligations.

        (b)   The General Partner shall have the right to keep confidential from the Limited
              Partners, for such period of time as the General Partner deems reasonable, any
              information, including the identity of the Partners or information regarding the
              Partners or Investments, which the General Partner reasonably believes to be in the
              nature of trade secrets or other information the disclosure of which the General
              Partner believes is not in the best interests of the Partnership or could damage the
              Partnership or its business or which the Partnership is required by law or agreement
              with a third party to keep confidential.

        (c)   Subject to applicable legal, fiscal and regulatory considerations, the General
              Partner shall use reasonable efforts to keep confidential any information relating to
              a Limited Partner obtained by the General Partner in connection with or arising out
              of the Partnership which the Limited Partner requests to be kept confidential.

        (d)   Notwithstanding the provisions of this Section 7.6, Partners (and their employees,
              representatives and other agents) may disclose to any and all Persons, without
              limitation of any kind, the tax treatment and tax structure of the Partnership and its
              transactions and all materials of any kind (including tax opinions or other tax
              analyses) that are provided to such Person by, or on behalf of the Partnership. For
              this purpose, “tax treatment” is the purported or claimed U.S. federal income tax
              treatment of a transaction and “tax structure” is limited to any fact that may be
              relevant to understanding the purported or claimed U.S. federal income tax
              treatment of a transaction. For this purpose, the names of the Partnership, the
              Partners, their Affiliates, the names of their partners, members or equity holders
              and the representatives, agents and tax advisors of any of the foregoing are not
              items of tax treatment or tax structure.

        (e)   The General Partner may disclose to prospective investors such information
              relating to the Partnership or the Investments as it believes in good faith will benefit


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               the Partnership and facilitate investment in the Partnership by such prospective
               investors.

        (f)    The Investment Manager and any other Person acting as a service provider to the
               Partnership shall have the right to access all information belonging to the
               Partnership.

                                          ____________

                                       Article VIII
                                   GENERAL PROVISIONS

                                          ____________

  8.1   Amendment of Partnership Agreement

        (a)    Except as otherwise provided in this Section 8.1, this Agreement may be amended,
               in whole or in part, with the written consent of (i) the General Partner and (ii) the
               consent of a Majority of Limited Partners (which approval may be obtained by
               negative consent affording the Limited Partners 30 calendar days to object).

        (b)    Any amendment that would:

               (i)     increase the obligation of a Partner to make any contribution to the capital
                       of the Partnership;

               (ii)    reduce the Capital Account of a Partner other than in accordance with
                       Article III;

               (iii)   adversely alter any Partner’s rights with respect to the allocation of Net
                       Profit or Net Loss or with respect to distributions and withdrawals; or

               (iv)    change the respective liabilities of the General Partner and the Limited
                       Partners;

               may only be made if the prior written consent of each Partner adversely affected
        thereby is obtained (which consent may be obtained by negative consent affording the
        Limited Partners 30 calendar days to object).

        (c)    Notwithstanding paragraphs (a) and (b) of this Section 8.1, this Agreement may be
               amended by the General Partner without the consent of the Limited Partners, at any
               time and without limitation, if any Limited Partner whose contractual rights as a
               Limited Partner would be materially and adversely changed by such amendment
               has an opportunity to withdraw from the Partnership (without being subject to the
               Early Withdrawal Reduction) as of a date determined by the General Partner that is
               not less than 30 calendar days after the General Partner has furnished written notice
               of such amendment to each affected Limited Partner and that is prior to the
               effective date of the amendment. The admission and withdrawal of Limited


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              Partners will not require notice or disclosure to, or the approval of, the other
              Limited Partners.

        (d)   The General Partner may at any time without the consent of the other Partners:

              (i)     add to the representations, duties or obligations of the General Partner or
                      surrender any right or power granted to the General Partner under this
                      Agreement, for the benefit of the Limited Partners;

              (ii)    cure any ambiguity or correct or supplement any conflicting provisions of
                      this Agreement;

              (iii)   change the name of the Partnership;

              (iv)    make any changes required by a governmental body or agency which is
                      deemed to be for the benefit or protection of the Limited Partners, provided,
                      however, that no such amendment may be made unless such change (A) is
                      for the benefit of, or not adverse to, the interests of Limited Partners, (B)
                      does not affect the right of the General Partner to manage and control the
                      Partnership’s business, (C) does not affect the allocation of profits and
                      losses among the Partners and (D) does not affect the limited liability of the
                      Limited Partners;

              (v)     amend this Agreement to reflect a change in the identity of the General
                      Partner which has been made in accordance with this Agreement;

              (vi)    amend this Agreement (other than with respect to the matters set forth in
                      Section 8.1(b)) to effect compliance with any applicable laws, regulations
                      or administrative actions, or to reflect any change made in accordance with
                      Section 4.1(b);

              (vii)   subject to Section 8.1(b), amend this Agreement to reflect the creation, and
                      terms, of any new Series;

              (viii) effect any other amendment which would not, in the good faith judgment of
                     the General Partner, adversely affect any of the existing Limited Partners;

              (ix)    enable the Partnership or the Tax Matters Partner to comply with BBA
                      provisions, or to make any elections or take any other actions available
                      thereunder; and

              (x)     restate this Agreement together with any amendments hereto which have
                      been duly adopted in accordance herewith to incorporate such amendments
                      in a single, integrated document.

        (e)   The General Partner and the Investment Manager shall have the authority to agree
              with a Limited Partner to waive, modify or supplement the application of any
              provision of this Agreement or any subscription agreement with respect to such


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              Limited Partner without notifying or obtaining the consent of any other Limited
              Partner (other than a Limited Partner whose rights as a Limited Partner pursuant to
              this Agreement would be materially and adversely changed by such waiver or
              modification). Any such waiver, modification or supplementation may be
              evidenced by a “side letter” or other agreement, and the form thereof shall not
              impair its binding effect as if incorporated in this Agreement.

        (f)   Notwithstanding anything in this Section 8.1 to the contrary, any amendment to
              Section 2.5 requires the prior written consent of ERISA Partners whose Partnership
              Percentages represent more than 50% of the aggregate Partnership Percentages of
              all ERISA Partners.

  8.2   Special Power-of-Attorney

        (a)   Each Partner hereby irrevocably makes, constitutes and appoints the General
              Partner (and each of its successors and permitted assigns), with full power of
              substitution, as the true and lawful representative and attorney-in-fact of, and in the
              name, place and stead of, such Partner with the power from time to time to make,
              execute, sign, acknowledge, swear to, verify, deliver, record, file or publish:

              (i)     an amendment to this Agreement that complies with the provisions of this
                      Agreement (including the provisions of Section 8.1);

              (ii)    the Certificate and any amendment thereof required because this
                      Agreement is amended, including an amendment to effectuate any change
                      in the membership of the Partnership or in the capital contributions of the
                      Partners;

              (iii)   any financing statement or other filing or document required or permitted to
                      perfect the security interests contemplated by any provision hereof; and

              (iv)    all such other instruments, documents and certificates which, in the opinion
                      of legal counsel to the Partnership, may from time to time be required by the
                      laws of the United States of America, the State of Delaware, or any other
                      jurisdiction in which the Partnership determines to do business, or any
                      political subdivision or agency thereof, or which such legal counsel may
                      deem necessary or appropriate to effectuate, implement and continue the
                      valid and subsisting existence and business of the Partnership as a limited
                      partnership, adjust the structure of the Partnership in accordance with
                      Sections 4.1(b) or 8.8, or to effect the dissolution or termination of the
                      Partnership.

        (b)   Each Limited Partner is aware that the terms of this Agreement permit certain
              amendments to this Agreement to be effected and certain other actions to be taken
              or omitted by or with respect to the Partnership without that Limited Partner’s
              consent. If an amendment of the Certificate or this Agreement or any action by or
              with respect to the Partnership is taken by the General Partner in the manner
              contemplated by this Agreement, each Limited Partner agrees that, notwithstanding


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                 any objection which such Limited Partner may assert with respect to such action,
                 the General Partner in its sole discretion is authorized and empowered, with full
                 power of substitution, to exercise the authority granted above in any manner which
                 may be necessary or appropriate to permit such amendment to be made or action to
                 be lawfully taken or omitted. Each Partner is fully aware that each other Partner
                 relies on the effectiveness of this special power-of-attorney with a view to the
                 orderly administration of the affairs of the Partnership. This power-of-attorney is a
                 special power-of-attorney and is coupled with an interest in favor of the General
                 Partner and as such:

                 (i)     is irrevocable and continues in full force and effect notwithstanding the
                         subsequent death or incapacity of any party granting this power-of-attorney,
                         regardless of whether the Partnership or the General Partner has had notice
                         thereof; and

                 (ii)    survives the delivery of an assignment by a Limited Partner of the whole or
                         any portion of such Limited Partner’s Interest, except that where the
                         assignee thereof has been approved by the General Partner for admission to
                         the Partnership as a substituted Limited Partner, this power-of-attorney
                         given by the assignor survives the delivery of such agreement for the sole
                         purpose of enabling the General Partner to execute, acknowledge and file
                         any instrument necessary to effect such substitution.

  8.3    Notices

           Notices which may be or are required to be given under this Agreement by any party to
  another shall be given by hand delivery, transmitted by facsimile, transmitted electronically to an
  address that has been previously provided or verified through another form of notice or sent by
  registered or certified mail, return receipt requested or internationally recognized courier service,
  and shall be addressed to the respective parties hereto at their addresses as set forth on the
  Schedule of Partners maintained by the General Partner or to such other addresses, facsimile
  numbers or electronic addresses as may be designated by any party hereto by notice addressed to
  (a) the General Partner, in the case of notice given by any Limited Partner, and (b) each of the
  Limited Partners, in the case of notice given by the General Partner. Notices shall be deemed to
  have been given (i) when delivered by hand, transmitted by facsimile or transmitted electronically
  or (ii) on the date indicated as the date of receipt on the return receipt when delivered by mail or
  courier service.

  8.4    Agreement Binding Upon Successors and Assigns; Delegation

          This Agreement shall be binding upon and inure to the benefit of the parties hereto and
  their respective successors, but the rights and obligations of the Partners hereunder shall not be
  assignable, transferable or delegable except as provided in Sections 4.1(d), 5.3 and 5.4, and any
  attempted assignment, transfer or delegation thereof which is not made pursuant to the terms of
  such Sections shall be null and void ab initio.




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  8.5    Governing Law

          This Agreement is, and the rights of the Partners hereunder are, governed by and shall be
  construed in accordance with the laws of the State of Delaware, without regard to the conflict of
  laws rule thereof which would result in the application of the laws of a different jurisdiction. The
  parties hereby consent to the exclusive jurisdiction and venue for any action arising out of this
  Agreement in Dallas, Texas. Each Partner consents to service of process in any action or
  proceeding involving the Partnership by the mailing thereof by registered or certified mail, postage
  prepaid, to such Partner’s mailing address set forth in the Schedule of Partners maintained by the
  General Partner.

  8.6    Not for Benefit of Creditors

          The provisions of this Agreement are intended only for the regulation of relations among
  Partners and between Partners and former or prospective Partners and the Partnership. Except for
  the rights of the Indemnified Persons hereunder, this Agreement is not intended for the benefit of
  non-Partner creditors and no rights are granted to non-Partner creditors under this Agreement.

  8.7    Consents and Voting

         (a)     Except as provided in Section 5.4, Limited Partners do not have any right to vote
                 for the admission or removal of any General Partner and, except for the right to vote
                 on certain amendments proposed by the General Partner, have no other voting
                 rights. Upon the request of any Limited Partner, including pursuant to
                 Section 8.10 hereof, the General Partner may designate an Interest as a Non-Voting
                 Interest, in which case the Limited Partner shall not have the right to vote on any
                 matter, including amendments.

         (b)     Any and all consents, agreements or approvals provided for or permitted by this
                 Agreement shall be in writing and a copy thereof shall be filed and kept with the
                 books of the Partnership. (For the avoidance of doubt, an amendment made
                 pursuant to Section 8.1(c) or (d) or pursuant to negative consent under
                 Section 8.1(a) or (b) shall not require any affirmative written response by any
                 Limited Partner who is not electing to withdraw from the Partnership.)

  8.8    Merger and Consolidation

         (a)     The Partnership may merge or consolidate with or into one or more limited
                 partnerships formed under the Act or other business entities pursuant to an
                 agreement of merger or consolidation which has been approved in the manner
                 contemplated by Section 17-211(b) of the Act.

         (b)     Notwithstanding anything to the contrary contained elsewhere in this Agreement,
                 an agreement of merger or consolidation approved in accordance with Section
                 17-211(b) of the Act may, to the extent permitted by Section 17-211(g) of the Act,
                 (i) effect any amendment to this Agreement, (ii) effect the adoption of a new
                 limited partnership agreement for the Partnership if it is the surviving or resulting
                 limited partnership in the merger or consolidation, or (iii) provide that the limited


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                partnership agreement of any other constituent partnership to the merger or
                consolidation (including a limited partnership formed for the purpose of
                consummating the merger or consolidation) shall be the limited partnership
                agreement of the surviving or resulting limited partnership.

  8.9    Miscellaneous

         (a)    The captions and titles preceding the text of each Section hereof shall be
                disregarded in the construction of this Agreement. Use of the word “including” in
                this Agreement means in each case “without limitation,” whether or not such term
                is explicitly stated.

         (b)    This Agreement may be executed in counterparts, each of which shall be deemed to
                be an original hereof.

         (c)    If any provision of this Agreement is held invalid or unenforceable by any court of
                competent jurisdiction, the other provisions of this Agreement will remain in full
                force and effect. Any provision of this Agreement held invalid or unenforceable
                only in part or degree will remain in full force and effect to the extent not held
                invalid or unenforceable.

  8.10   BHCA Subject Persons

         Notwithstanding any other provision of this Agreement to the contrary:

         (a)    Solely for purposes of any provision of this Agreement that confers voting rights on
                the Limited Partners and any other provisions hereof regarding consents of or
                action by the Limited Partners, any BHCA Subject Person that shall have given the
                General Partner an Election Notice and shall not thereafter have given the General
                Partner a Revocation Notice, and that at any time has an Partnership Percentage in
                excess of 4.9 percent of the aggregate Partnership Percentages of the Limited
                Partners entitled to participate in such voting or the giving of any consent or the
                taking of any action, shall be deemed to hold an Partnership Percentage of only 4.9
                percent of the aggregate Partnership Percentages of the Limited Partners (after
                giving effect to the limitations imposed by this Section 8.10 on all such Limited
                Partners), and such Partnership Percentage in excess of said 4.9 percent shall be
                deemed held by the Limited Partners who are not BHCA Subject Persons, pro rata
                in proportion to their respective Partnership Percentages; provided that this
                limitation shall not prohibit a Limited Partner from voting or participating in giving
                or withholding consent or taking any action under any provision of this Agreement
                up to the full amount of its Partnership Percentage in situations where such Limited
                Partner’s vote or consent or action is of the type customarily provided by statute or
                stock exchange rules with regard to matters that would significantly and adversely
                affect the rights or preference of the Limited Partner’s Interest. The foregoing
                voting restriction shall continue to apply with respect to any assignee or other
                transferee of such BHCA Subject Person’s Interest; provided, however, that the
                foregoing voting restriction shall not continue to apply if the Interest is transferred:



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                 (i) to the Partnership; (ii) to the public in an offering registered under the Securities
                 Act; (iii) in a transaction pursuant to Rule 144 or Rule 144A under the Securities
                 Act in which no Person acquires more than 2% of the Partnership’s outstanding
                 Interests; or (iv) in a single transaction to a third party who acquires at least a
                 majority of the Partnership’s outstanding Interests without regard to the Transfer of
                 such Interests.

         (b)     Except as specifically provided otherwise in this Agreement, a Limited Partner that
                 is a BHCA Subject Person that shall have given the General Partner an Election
                 Notice, and shall not thereafter have given the General Partner a Revocation
                 Notice, shall not be entitled to exercise any rights to consent to actions to be taken
                 with respect to the Partnership, including rights conferred by any applicable
                 law. Such right to consent shall be deemed granted to the Limited Partners who are
                 not BHCA Subject Persons, pro rata in proportion to their respective Partnership
                 Percentages.

         (c)     A Limited Partner that is a BHCA Subject Person and that elects to be subject to
                 Section 8.10(a) and (b) shall notify the General Partner thereof (an “Election
                 Notice”) and, on the General Partner’s receipt of such Election Notice, such
                 Limited Partner shall be subject to Section 8.10(a) and (b) until 30 calendar days
                 after such Limited Partner notifies the General Partner that it elects no longer to be
                 subject to Section 8.10(a) and (b) (a “Revocation Notice”), which period may be
                 reduced by the General Partner.

  8.11   RIC Limited Partners

          An Interest of a RIC Limited Partner does not entitle the RIC Limited Partner to vote or
  consent with respect to any Partnership matter unless the RIC Limited Partner’s vote or consent
  with respect to its Interest would not be considered to be “voting securities” as defined under
  Section 2(a)(42) of the Investment Company Act. Except as provided in this Section 8.11, an
  Interest held by a RIC Limited Partner as a Non-Voting Interest is identical in all regards to all
  other Interests held by Limited Partners.

  8.12   Bad Actor Limited Partners

          Under Rule 506(d) under the Securities Act, the Partnership may be banned from selling
  Interests under Rule 506 if a Limited Partner beneficially owning 20% or more of the Partnership’s
  voting securities engages in a “bad act” set forth in Rule 506. Accordingly, each Limited Partner
  agrees that the General Partner may deem the portion of any Bad Actor Limited Partner’s Interest
  to be, or convert any Bad Actor Limited Partner’s Interest into, a Non-Voting Interest (except for
  the purposes of voting on any amendment to this Agreement that would materially and adversely
  change the Bad Actor Limited Partner’s rights and preferences as a Limited Partner other than
  pursuant to an amendment under Section 8.1(c)) to the extent that the General Partner determines
  that such portion is in excess of 19.99% of the outstanding aggregate voting Interests of all
  Partners excluding any Interests that are Non-Voting Interests.




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  8.13   Survival

          The obligations and covenants of the Limited Partners set forth in Sections 3.5 and 3.12
  hereof shall apply jointly and severally to each Limited Partner and any direct or indirect transferee
  of or successor to such Limited Partner’s interest and will survive such Partner’s ceasing to be a
  partner of the Partnership and/or the termination, dissolution, liquidation and winding up of the
  Partnership.

  8.14   Entire Agreement

         The parties acknowledge and agree that, subject to Section 8.1(f), the General Partner
  without the approval of any other Partner may enter into a written agreement on behalf of the
  Partnership with any Limited Partner affecting the terms hereof in order to meet certain
  requirements of the Limited Partner (each an “Other Agreement”), and the terms of such Other
  Agreement shall govern with respect to such Limited Partner notwithstanding the provisions of
  this Agreement. This Agreement and each Other Agreement constitute the entire agreement
  among the parties hereto pertaining to the subject matter hereof and supersede all prior agreements
  and understandings pertaining thereto.

                                       [Signature Page Follows]




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                         THE COMPANIES LAW (2016 REVISION)
                              OF THE CAYMAN ISLANDS
                            COMPANY LIMITED BY SHARES




                              AMENDED AND RESTATED
                    MEMORANDUM AND ARTICLES OF ASSOCIATION


                                         OF




              HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, LTD.
             (AS ADOPTED BY SPECIAL RESOLUTION ON 8 NOVEMBER 2017)




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                                THE COMPANIES LAW (2016 REVISION)
                                       OF THE CAYMAN ISLANDS
                                    COMPANY LIMITED BY SHARES


                                       AMENDED AND RESTATED
                                   MEMORANDUM OF ASSOCIATION
                                                    OF
                    HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, LTD.
                   (AS ADOPTED BY SPECIAL RESOLUTION ON 8 NOVEMBER 2017)




 1       The name of the Company is Highland Argentina Regional Opportunity Fund, Ltd..

 2       The Registered Office of the Company shall be at the offices of Maples Corporate Services Limited,
         PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands, or at such other place
         within the Cayman Islands as the Directors may decide.

 3       The objects for which the Company is established are unrestricted and the Company shall have
         full power and authority to carry out any object not prohibited by the laws of the Cayman Islands.

 4       The liability of each Member is limited to the amount unpaid on such Member's Shares.

 5       The share capital of the Company is US$50,000 divided into 100 Management Shares of US$1.00
         par value each and 999,900 Participating Shares of US$0.01 par value each.

 6       The Company has power to register by way of continuation as a body corporate limited by shares
         under the laws of any jurisdiction outside the Cayman Islands and to be deregistered in the Cayman
         Islands.

 7       Capitalised terms that are not defined in this Memorandum of Association bear the respective
         meanings given to them in the Articles of Association of the Company.




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                                THE COMPANIES LAW (2016 REVISION)
                                       OF THE CAYMAN ISLANDS
                                    COMPANY LIMITED BY SHARES


                                       AMENDED AND RESTATED
                                      ARTICLES OF ASSOCIATION
                                                         OF
                    HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, LTD.
                   (AS ADOPTED BY SPECIAL RESOLUTION ON 8 NOVEMBER 2017)




 1       Interpretation

 1.1     In these Articles, Table A in the First Schedule to the Statute does not apply and unless there is
         something in the subject or context inconsistent therewith:

        "Administrator"                 means the person, firm or corporation appointed and from time to
                                        time acting as administrator of the Company.

        "AEOI"                          means:
                                                 (i)          sections 1471 to 1474 of the US Internal Revenue
                                                              Code of 1986 and any associated legislation,
                                                              regulations or guidance, and any other similar
                                                              legislation, regulations or guidance enacted in any
                                                              other jurisdiction which seeks to implement similar
                                                              financial account information reporting and/or
                                                              withholding tax regimes;
                                                 (ii)         the OECD Standard for Automatic Exchange of
                                                              Financial Account Information in Tax Matters – the
                                                              Common Reporting Standard and any associated
                                                              guidance;
                                                 (iii)        any intergovernmental agreement, treaty, regulation,
                                                              guidance, standard or other agreement between the
                                                              Cayman Islands (or any Cayman Islands
                                                              government body) and any other jurisdiction
                                                              (including any government bodies in such
                                                              jurisdiction), entered into in order to comply with,
                                                              facilitate, supplement or implement the legislation,




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                                                       regulations or guidance described in sub-paragraphs
                                                       (i) and (ii); and
                                               (iv)    any legislation, regulations or guidance in the
                                                       Cayman Islands that give effect to the matters
                                                       outlined in the preceding sub-paragraphs.

       "Articles"                      means these articles of association of the Company.

       "Auditor"                       means the person (if any) for the time being performing the duties of
                                       auditor of the Company.

       "Business Day"                  means any day normally treated as a business day in such places
                                       and/or on such markets as the Directors may from time to time
                                       determine.

       "Cayman Islands"                means the British Overseas Territory of the Cayman Islands.

       "Class"                         means a separate class of Participating Share.

       "Company"                       means the above-named Company.

       "Directors"                     means the directors for the time being of the Company.

       "Dollars" or "US$"              refers to the currency of the United States.

       "Electronic Record"             has the same meaning as in the Electronic Transactions Law.

       "Electronic      Transactions   means the Electronic Transactions Law (2003 Revision) of the
       Law"                            Cayman Islands.

       "Eligible Investor"             means a person eligible to hold Participating Shares, as determined
                                       from time to time by the Directors.

       "Gross Negligence"              in relation to a person means a standard of conduct beyond
                                       negligence whereby a person acts with reckless disregard for the
                                       consequences of his action or inaction.

       "Investment Manager"            means the person, firm or corporation appointed and for the time
                                       being acting as the investment manager of the Company.

       "Management Share"              means a voting non participating Share in the capital of the Company
                                       of US$0.01 par value designated as a Management Share and
                                       having the rights provided for in these Articles.


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       "Member"                      means each person whose name is, from time to time and for the
                                     time being, entered in the Register of Members as the holder of one
                                     or more Shares.

       "Memorandum"                  means the memorandum of association of the Company.

       "Net Asset Value"             means the value of the assets less the liabilities of the Company, or
                                     of a Separate Account (as the context may require), calculated in
                                     accordance with these Articles.

       "Net Asset Value        per   means the amount determined in accordance with these Articles as
       Participating Share"          being the Net Asset Value per Participating Share of a particular
                                     Class, and/or Series.

       "Offering Memorandum"         means an offering memorandum relating to Participating Shares of
                                     any Class, and/or Series as amended or supplemented from time to
                                     time subject to and in accordance with these Articles.

       "Ordinary Resolution"         A resolution passed at a quorate meeting of the Fund by a simple
                                     majority of the votes cast in its favour by the holders of the
                                     Management Shares or a resolution approved in writing by all such
                                     holders of Management Shares expressed to be an ordinary
                                     resolution.

       "Participating Share"         means a participating redeemable Share in the capital of the
                                     Company of US$0.01 par value and having the rights provided for in
                                     these Articles. Participating Shares may be divided into Classes in
                                     the discretion of the Directors in accordance with the provisions of
                                     these Articles and each Class may be further divided into different
                                     Series of Participating Shares and the term "Participating Share"
                                     shall include all such Classes and/or Series of Participating Share.

       "Redemption Date"             means, in relation to any Class and/or Series of Participating Shares,
                                     such day or days as are set out in the Offering Memorandum or as
                                     may be specified by the Directors from time to time, upon which a
                                     Member is entitled to require the redemption of Participating Shares
                                     of that Class and/or Series.

       "Redemption Fee"              means such fee (if any) payable by a Member to the Company on a
                                     redemption of Participating Shares, as the same may be determined
                                     by the Directors and disclosed to the Member at the time of its
                                     subscription for such Participating Shares.



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       "Redemption Notice"     means a notice in a form approved by the Directors by which a holder
                               of Participating Shares is entitled to require the Company to redeem
                               its Participating Shares.

       "Redemption Price"      means the price determined in accordance with these Articles at
                               which redeemable Participating Shares of the relevant Class and/or
                               Series may be redeemed.

       "Register of Members"   means the register of Members, which shall be maintained in
                               accordance with the Statute and includes (except where otherwise
                               stated) any branch or duplicate Register of Members.

       "Registered Office"     means the registered office for the time being of the Company.

       "Sales Charge"          means such sales charge (if any) determined by the Directors as
                               being payable by a subscriber on a subscription for Participating
                               Shares of any Class and/or Series.

       "Seal"                  means the common seal of the Company and includes every
                               duplicate seal.

       "Separate Account"      means a separate internal account of the Company which the
                               Directors may establish and cause to be maintained in accordance
                               with these Articles.

       "Series"                means a separate series of Participating Share (and includes any
                               sub-series of any such series).

       "Share" and "Shares"    means a share or shares of any class or series in the Company,
                               including a Management Share or a Participating Share, as well as
                               any fraction of a Share.

       "Special Resolution"    has the same meaning as in the Statute, and includes a unanimous
                               written resolution.

       "Statute"               means the Companies Law (2016 Revision) of the Cayman Islands.

       "Subscriber"            means the subscriber to the Memorandum.

       "Subscription Date"     means, in relation to Participating Shares of any Class and/or Series,
                               such day or days as are set out in the Offering Memorandum or as
                               may be specified by the Directors from time to time upon which a



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                                       person may subscribe for Participating Shares of that Class and/or
                                       Series.

       "Subscription Price"            means the price determined in accordance with these Articles at
                                       which Participating Shares of the relevant Class and/or Series may
                                       be subscribed.

       "Suspension"                    means a determination by the Directors to postpone or suspend (i)
                                       the calculation of the Net Asset Value of Participating Shares of any
                                       one or more Classes and/or Series (and the applicable Valuation
                                       Date) (a "Calculation Suspension"); (ii) the issue of Participating
                                       Shares of any one or more Classes and/or Series (and the applicable
                                       Subscription Date) (an "Issue Suspension"); (iii) the redemption by
                                       Members (in whole or in part) of Participating Shares of any one or
                                       more Classes and/or Series (and the applicable Redemption Date)
                                       (a "Redemption Suspension"); and/or (iv) the payment (in whole or
                                       in part) of any redemption proceeds (even if Valuation Dates and
                                       Redemption Dates are not postponed) (a "Payment Suspension").

       "Transfer"                      means, in respect of any Share, any sale, assignment, exchange,
                                       transfer, pledge, encumbrance or other disposition of that Share, and
                                       "Transferred" shall be construed accordingly.

       "Treasury Share"                means a Share held in the name of the Company as a treasury share
                                       in accordance with the Statute.

       "Valuation Date"                means, in relation to each Class and/or Series of Participating
                                       Shares, the day or days determined from time to time by the
                                       Directors to be the day or days on which the Net Asset Value per
                                       Participating Share of that Class and/or Series and/or Series is
                                       calculated.

       "Valuation Point"               means, with respect to any Class and/or Series, the time or times on
                                       the Valuation Date of such Class and/or Series at which the Directors
                                       determine that the Net Asset Value per Participating Share of that
                                       Class and/or Series shall be calculated.

1.2     In these Articles:

        (a)     the singular number includes the plural number and vice versa;

        (b)     the masculine gender includes the feminine gender;

        (c)     persons includes corporations;

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        (d)     "written" and "in writing" include all modes of representing or reproducing words in visible
                form, including in the form of an Electronic Record;

        (e)     "shall" shall be construed as imperative and "may" shall be construed as permissive;

        (f)     references to provisions of any law or regulation shall be construed as references to those
                provisions as amended, modified, re-enacted or replaced from time to time;

        (g)     any phrase introduced by the terms "including", "include", "in particular" or any similar
                expression shall be construed as illustrative and shall not limit the sense of the words
                preceding those terms;

        (h)     the term "and/or" is used herein to mean both "and" as well as "or." The use of "and/or" in
                certain contexts in no respects qualifies or modifies the use of the terms "and" or "or" in
                others. "Or" shall not be interpreted to be exclusive, and "and" shall not be interpreted to
                require the conjunctive — in each case, unless the context otherwise requires;

        (i)     any reference to the powers of the Directors shall include, when the context admits, the
                service providers or any other person to whom the Directors may delegate their powers;

        (j)     any requirements as to delivery under the Articles include delivery in the form of an
                Electronic Record;

        (k)     any requirements as to execution or signature under the Articles including the execution of
                the Articles themselves can be satisfied in the form of an electronic signature as defined in
                the Electronic Transactions Law;

        (l)     sections 8 and 19(3) of the Electronic Transactions Law shall not apply; and

        (m)     headings are inserted for reference only and shall be ignored in construing these Articles.

2       Commencement of Business

2.1     The business of the Company may be commenced as soon after incorporation as the Directors
        shall see fit.

2.2     The Directors may pay, out of the capital or any other monies of the Company, all expenses
        incurred in or about the formation and operation of the Company, including the expenses of
        registration and the initial offering of Participating Shares.

3       Service Providers

3.1     The Directors may appoint any person, firm or corporation to act as a service provider to the
        Company (whether in general or in respect of any Class and/or Series of Shares) and may entrust

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        to and confer upon any such service providers any of the functions, duties, powers and discretions
        exercisable by them as Directors, upon such terms and conditions (including as to remuneration
        payable by the Company) and with such powers of delegation, but subject to such restrictions, as
        they think fit. Without limiting the generality of the foregoing, such service providers may include
        managers, investment advisers, administrators, registrars, transfer agents, custodians and prime
        brokers.

3.2     Without prejudice to the generality of the preceding Article, the Directors may appoint any person,
        firm or corporation to act as the Investment Manager with respect to the assets of the Company
        (whether in general or in respect of any Class and/or Series of Shares). The Directors may entrust
        to and confer upon the Investment Manager any of the functions, duties, powers and discretions
        exercisable by them as Directors upon such terms and conditions (including as to remuneration
        payable by the Company) and with such powers of delegation, but subject to such restrictions, as
        they think fit.

4       Rights attaching to Shares

4.1     The Management Shares shall have the following rights:

        (a)     as to voting: the holder of a Management Share shall (in respect of such Management
                Share) have the right to receive notice of, attend at and vote as a Member at any general
                meeting of the Company; and

        (b)     as to capital: a Management Share shall confer upon the holder the right in a winding up to
                repayment of capital as provided in these Articles but shall confer no other right to
                participate in the profits or assets of the Company; and

        (c)     as to income: no dividends shall be payable on the Management Shares.

4.2     The Participating Shares shall have the following rights:

        (a)     as to voting: the holder of a Participating Share shall not (in respect of such Participating
                Share) have the right to receive notice of, attend at or vote as a Member at any general
                meeting of the Company, but may vote at a separate Class meeting convened in
                accordance with these Articles; and

        (b)     as to capital: a Participating Share shall confer upon the holder thereof the right in a winding
                up to participate in the surplus assets of the Company by reference to the Separate Account
                attributable to the relevant Class or Series of Participating Shares as provided in these
                Articles; and

        (c)     as to income: the Participating Shares shall confer on the holders thereof the right to receive
                dividends as provided in these Articles.



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5       Share Capital

5.1     Subject to these Articles, the Directors may allot, issue, grant options or warrants over, or otherwise
        dispose of Shares in separate classes and/or series with different terms, preferences, privileges or
        special rights including, without limitation, with respect to investment strategy and/or policy,
        participation in assets, profits and losses of the Company, voting, fees charged (including
        management, performance and incentive fees), redemption privileges, allocation of costs and
        expenses (including, without limitation, the costs and expenses incurred in any hedging activities
        and any profits and losses arising therefrom) as they think proper. Subject to the Statute, these
        Articles and any applicable subscription agreement, any Share Rights (other than those set out in
        these Articles or set out in a Special Resolution) may be varied by either the Directors or by
        Ordinary Resolution.

5.2     On or before the allotment of any Participating Share the Directors shall resolve the Class and/or
        Series to which such Participating Share shall be classified and may, prior to the issue of any
        Participating Share, reclassify such Participating Share. Each Class and/or Series shall be
        specifically identified. Subject to the Statute and these Articles, the Directors may at any time re-
        name any Participating Share.

5.3     Notwithstanding the currency in which the par value of the Participating Shares is denominated,
        the Directors may specify any currency as the currency in which the Subscription Price,
        Redemption Price and Net Asset Value of Participating Shares of a Class and/or Series is
        calculated.

5.4     The Company shall not issue Shares to bearer.

5.5     Fractional Shares may be issued.

5.6     Unless the Directors determine otherwise, shares shall only be issued as fully paid-up.

5.7     Unless the Directors determine otherwise, no right of pre-emption or first refusal shall attach to any
        Shares.

6       Allotment and Issue of Participating Shares

6.1     The Directors may from time to time allot and issue Participating Shares of any Class and/or Series.
        The Directors may, in their discretion, refuse to allot and issue any Participating Shares, and shall
        not issue any Participating Shares to or for the account of an investor who is not an Eligible Investor.
        If the Directors have declared a Calculation Suspension or Issue Suspension, no Participating
        Shares of that Class or Series (as appropriate) shall be issued until the relevant Suspension has
        ended.

6.2     The Directors shall determine the Subscription Price at the time of issue of the first issue of
        Participating Shares of any Class and/or Series. Thereafter, the Directors may allot and issue

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        Participating Shares of the same Class and/or Series on any Subscription Date provided that such
        additional Participating Shares are issued at a Subscription Price equal to not less than the Net
        Asset Value per Participating Share of such Class and/or Series calculated on the relevant
        Subscription Date (or if the Subscription Date is not also a Valuation Date then on the immediately
        preceding Valuation Date).

6.3     The Directors may add to the Subscription Price per Participating Share (before making any
        rounding adjustment) an amount which they consider to be an appropriate allowance to reflect fiscal
        and purchase charges which would be incurred for the account of the Company in investing an
        amount equal to the Subscription Price. The Directors may also add, in their discretion, a Sales
        Charge and/or an amount equal to any stamp duty and any other governmental taxes or charges
        payable by the Company with respect to the issue of such Participating Shares.

6.4     An applicant for Participating Shares shall pay for such Participating Shares in such currencies, in
        such manner, at such time, in such place and to such person acting on behalf of the Company as
        the Directors may from time to time determine.

6.5     Subject to the terms of any subscription agreement, an application for Participating Shares shall
        be irrevocable by an applicant for Participating Shares once it has been received by the Company.
        Participating Shares shall be treated as having been issued with effect from the relevant
        Subscription Date notwithstanding that the subscriber for those Participating Shares may not be
        entered in the Register of Members until after the Subscription Date.

6.6     Participating Shares shall be issued in such minimum numbers as the Directors may specify either
        generally or in any particular case; likewise the Directors may from time to time prescribe an amount
        as the minimum subscription amount.

6.7     The Directors may resolve to accept non-cash assets in satisfaction (in whole or in part) of the
        Subscription Price.

6.8     The Directors may require an applicant for Participating Shares to pay to the Company for the
        benefit of any selling agent such selling commissions or such organisational charges as may have
        been disclosed to such applicant. The Directors may differentiate between applicants as to the
        amount of such selling commissions or such organisational charges.

6.9     The Company may, in so far as the Statute permits, pay a commission to any person in
        consideration of that person subscribing or agreeing to subscribe whether absolutely or
        conditionally for any Participating Shares. Such commissions may be satisfied by the payment of
        cash and/or the issue of fully or partly paid-up Participating Shares. The Company may also on
        any issue of Participating Shares pay such brokerage as may be lawful.




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7       Separate Accounts

7.1     The Directors shall have the power to establish and maintain, with respect to Participating Shares
        of any Class and/or Series, a Separate Account, to record (purely as an internal accounting matter)
        the allocation, on a differentiated basis, of the assets and liabilities of the Company to the holders
        of Participating Shares of any such Class and/or a Series in a manner consistent with the
        methodology set forth in the Offering Memorandum and the rights otherwise attaching to the
        Participating Shares.

7.2     The proceeds from the issue of Participating Shares of any Class and/or Series shall be applied in
        the books of the Company to the Separate Account established for Participating Shares of that
        Class and/or Series. The assets and liabilities and income and expenditure attributable to that
        Separate Account shall be applied to such Separate Account and, subject to the provisions of these
        Articles, to no other Separate Account. In the event that the assets of a Separate Account referable
        to any Class and/or Series are exhausted, any and all unsatisfied claims which any Members or
        former Members referable to that Class and/or Series have against the Company shall be
        extinguished. The Members or former Members referable to a Class and/or Series shall have no
        recourse against the assets of any other Separate Account established by the Company.

7.3     Where any asset is derived from another asset (whether cash or otherwise), such derivative asset
        shall be applied in the books of the Company to the same Separate Account as the asset from
        which it was derived, and on each revaluation of an asset the increase or diminution in value shall
        be applied to the same Separate Account and, subject to the provisions of these Articles, to no
        other Separate Account.

7.4     In the case of any asset or liability of the Company which the Directors do not consider is
        attributable to a particular Separate Account, the Directors shall have discretion to determine the
        basis upon which any such asset or liability shall be allocated between or among Separate
        Accounts.

7.5     The Directors may, in the books of the Company, allocate assets and liabilities to and from Separate
        Accounts if, as a result of a creditor proceeding against certain of the assets of the Company or
        otherwise, a liability would be borne in a different manner from that in which it would have been
        borne if applied under the foregoing Articles.

7.6     The Directors may from time to time transfer, allocate or exchange an asset or liability from one
        Separate Account to another Separate Account provided that at the time of such transfer, allocation
        or exchange the Directors form the opinion (in good faith) that the value in money or money's worth
        of each such asset or liability transferred, allocated or exchanged is not significantly less or more
        than the value in money or money's worth (referred to in these Articles as "proper value") received
        by the Separate Account from which such asset or liability is transferred, allocated or exchanged
        except only as is otherwise provided by these Articles.




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8       Determination of Net Asset Value

8.1     The Net Asset Value and Net Asset Value per Participating Share of each Class and/or Series shall
        be determined by or on behalf of the Directors as at the relevant Valuation Point on each relevant
        Valuation Date.

8.2     In calculating the Net Asset Value and the Net Asset Value per Participating Share, the Directors
        shall apply such generally accepted accounting principles as they may determine.

8.3     The assets and liabilities of the Company shall be valued in accordance with such policies as the
        Directors may determine. Absent bad faith or manifest error, any valuation made pursuant to these
        Articles shall be binding on all persons.

8.4     Unless otherwise determined by the Directors in any resolution creating a Class and/or Series of
        Participating Shares or as otherwise disclosed in any Offering Memorandum, the Net Asset Value
        per Participating Share of each Class (or Series) shall be determined by allocating pro rata the Net
        Asset Value, as at the relevant Valuation Point, of the Company and/or of the relevant Separate
        Account among each Class and/or Series, adjusting the amount so calculated to reflect any fees,
        costs, foreign exchange items or other assets or liabilities which are properly attributable to a
        specific Class and/or Series and then by dividing the resultant amount by the number of
        Participating Shares of such Class and/or Series then in issue.

8.5     The Directors may determine that the Net Asset Value of any Class and/or Series shall be
        definitively determined on the basis of estimates and that such determination shall not be modified
        to reflect final valuations.

8.6     Any expense or liability may be amortised over such period as the Directors may determine.

8.7     The Directors may establish such reserves as they deem reasonably necessary for Company
        expenses and any other contingent Company assets or liabilities, and may, upon the reversal or
        release of such reserves, apply any monies resulting therefrom in such manner as they may, in
        their absolute discretion, determine.

8.8     Net Asset Value per Participating Share shall be rounded to the nearest cent or such other amount
        as the Directors may determine and the benefit of any such roundings may be retained by the
        Company.

8.9     The Directors may cause the Company to issue new Participating Shares at par or to compulsorily
        redeem at par such number of Participating Shares as they consider necessary to address, in such
        manner as they consider equitable, any prior miscalculation of Net Asset Value or Net Asset Value
        per Participating Share. The Company shall not be required to pay to the holder the redemption
        proceeds of any such compulsorily redeemed Participating Shares, which proceeds shall be
        retained by the Company.



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9       Suspensions

9.1     The Directors may, from time to time, in the circumstances disclosed in the Offering Memorandum,
        declare a Suspension with respect to any one or more Classes and/or Series of Participating
        Shares.

9.2     The Directors shall promptly notify all affected Members of any such Suspension and shall promptly
        notify such Members upon termination of such Suspension.

10      Transfer of Shares

10.1    Subject to Article 5.1, Shares may not be Transferred without the prior written approval of the
        Directors (which may be withheld for any or no reason) provided that the Directors may waive this
        requirement to the extent that they deem appropriate in connection with the listing of any Class or
        Series of Share on a stock exchange.

10.2    The Directors shall not register any Transfer of any Share to any person who is, in the opinion of
        the Directors, not an Eligible Investor.

10.3    Any proposed transferee shall provide to the Directors such information and documents as the
        Directors may request, including, without limitation, such documents or information as the Directors
        deem necessary or desirable:

        (a)     to enable the Directors to determine that the proposed transferee is an Eligible Investor;
                and

        (b)     to enable the Company to comply with all applicable laws, including anti-money laundering
                laws.

10.4    The instrument of Transfer of any Share shall be in writing and shall be executed by or on behalf
        of the transferor (and, if the Directors so require, signed by or on behalf of the transferee). The
        transferor shall be deemed to remain the holder of a Share until the name of the transferee is
        entered in the Register of Members.

11      Transmission of Shares

11.1    If a Member dies, the survivor or survivors (where the Member was a joint holder) or his or her legal
        personal representatives (where the Member was a sole holder) shall be the only persons
        recognised by the Company as having any title to the Member's interest in the Company. The
        death of any Member shall not operate to relieve, waive or reduce any liabilities attaching to the
        Member's Shares at the time of death and such liabilities shall continue to bind any survivor or
        survivors, or any personal representative, as the case may be.




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11.2    Any person becoming entitled to a Share in consequence of the death or bankruptcy, or the
        liquidation or dissolution, of a Member (or in any other way than by Transfer) and who is an Eligible
        Investor may, upon delivery to the Directors of such evidence as may from time to time be required
        by them of:

        (a)     such person's entitlement to such Shares; and/or

        (b)     such person's status as an Eligible Investor,
        elect, either to become the holder of such Share or to have such Share Transferred to another
        Eligible Investor nominated by such person. If such person elects to become the holder of such
        Share, such person shall give notice in writing to the Directors to that effect, but the Directors shall,
        in either case, have the same right to decline registration of such person as a holder of such Share
        as they would have had in the case of a Transfer of the Share by that Member before his or her
        death or bankruptcy, or liquidation or dissolution, as the case may be.

11.3    Any person becoming entitled to a Share in consequence of the death or bankruptcy, or the
        liquidation or dissolution, of a Member (or in any other way than by Transfer) and who is not an
        Eligible Investor shall not be registered as the holder of such Share and shall promptly Transfer
        such Share to an Eligible Investor in accordance with these Articles.

11.4    A person becoming entitled to a Share by reason of the death or bankruptcy or liquidation or
        dissolution of the holder (or in any other case than by Transfer), and who is an Eligible Investor,
        shall be entitled to the same dividends and other advantages to which such person would be
        entitled if such person were the registered holder of such Share. However, the person shall not,
        before becoming a Member in respect of a Share, be entitled in respect of it to exercise any right
        conferred by membership in relation to meetings of the Company and the Directors may at any
        time give notice requiring any such person to elect either to be registered himself or to have some
        person nominated by him become the holder of the Share (but the Directors shall, in either case,
        have the same right to decline or suspend registration as they would have had in the case of a
        transfer of the Share by the relevant Member before his death or bankruptcy or liquidation or
        dissolution or any other case than by transfer, as the case may be). If the notice is not complied
        with within ninety days the Directors may thereafter withhold payment of all dividends, bonuses or
        other monies payable in respect of the Share until the requirements of the notice have been
        complied with.

12      Redemption of Shares

12.1    Subject to any provisions relating to a specific Class and/or Series as set out in the Offering
        Memorandum or these Articles or in any resolution constituting a Class and/or Series or otherwise
        forming part of the special rights of such Participating Shares, a Member may require the
        redemption of all or any of such Member's Participating Shares by serving a Redemption Notice on
        the Company. Unless timely receipt is waived by the Directors in a particular case, a Redemption
        Notice shall be required to be received on or before a Redemption Date with respect to such
        Participating Shares (or such number of days prior to such Redemption Date as may be determined

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        by the Directors). Any Member redeeming Participating Shares shall submit to the Directors the
        share certificate (if any) issued in respect of those Participating Shares. The Company shall
        redeem such Participating Shares at the Redemption Price, being an amount equal to the Net Asset
        Value per Participating Share of the relevant Class and/or Series prevailing on the relevant
        Redemption Date (or if the Redemption Date is not a Valuation Date then on the immediately
        preceding Valuation Date) subject to any deductions, holdbacks or adjustments provided for in
        these Articles and/or the Offering Memorandum.

12.2    The Directors may deduct any Redemption Fee from the Redemption Price. The Directors may
        also deduct such amount which they consider to be an appropriate allowance to reflect fiscal and
        sale charges which would be incurred for the account of the Company in realising assets or closing
        out positions to provide funds to meet any redemption request.

12.3    A Member may not withdraw a Redemption Notice once submitted to the Company unless (a) the
        Directors shall have declared a Suspension or (b) the Directors determine (in their sole discretion)
        to permit the withdrawal of such redemption request (which they may do in whole or in part). If a
        relevant Suspension has been declared by the Directors, the right of a Member to have its
        Participating Shares redeemed shall be suspended and during the period of Suspension the
        Member may withdraw its Redemption Notice. Any withdrawal of the Redemption Notice shall be
        made in writing and shall only be effective if actually received by the Company before the
        termination of the period of the Redemption Suspension or Calculation Suspension, as applicable.
        If the Redemption Notice is not withdrawn, any Participating Shares the redemption of which has
        been suspended shall be redeemed once the relevant Suspension has ended at the Redemption
        Price for Participating Shares of the relevant Class and/or Series calculated on the next
        Redemption Date following the end of the relevant Suspension.

12.4    If one or more redemption requests are received in respect of any one Redemption Day that would,
        if satisfied, result in the redemptions of an amount equal to more than 15% of the total net asset
        value of the Company, the Directors may determine in their discretion to reduce the amount of each
        redemption request pro rata so that redemption requests represent in aggregate an amount equal
        to no more than 15% of the total net asset value of the Company. The partial amounts of the
        redemption requests which remain unsatisfied shall be carried forward to the next Redemption Day
        and satisfied in priority to any redemption requests received in relation to such subsequent
        Redemption Day until the prior redemption requests shall have been satisfied in full.

12.5    If the Company is required by the laws of any relevant jurisdiction to make a withholding from any
        redemption monies payable to the holder of Participating Shares the amount of such withholding
        shall be deducted from the redemption monies otherwise payable to such person.

12.6    The Directors may deduct any Redemption Fee from the Redemption Price. The Directors may
        also deduct such amount which they consider to be an appropriate allowance to reflect fiscal and
        sale charges which would be incurred for the account of the Company in realising assets or closing
        out positions to provide funds to meet any redemption request.



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12.7    No redemption of part of a Member's holding of Participating Shares of any one Class and/or Series
        may be made if, as a result thereof, such Member would hold fewer Participating Shares of such
        Class and/or Series than such minimum number or value of Participating Shares of such Class
        and/or Series as may from time to time be specified (either generally or in any particular case or
        cases) by the Directors. If such partial redemption would reduce such Member's holding of
        Participating Shares to less than such minimum holding, the Directors may, in their discretion, elect
        to compulsorily redeem all of such Member's Participating Shares.

12.8    The Company may, in the absolute discretion of the Directors, refuse to make a redemption
        payment to a Member if the Directors suspect or are advised that the payment of any redemption
        proceeds to such Member may result in a breach or violation of any anti-money laundering law by
        any person in any relevant jurisdiction, or if such refusal is necessary to ensure the compliance by
        the Company, its Directors, the Administrator or any other service provider of the Company with
        any anti-money laundering law in any relevant jurisdiction.

12.9    Any amount payable to a Member for the redemption of Participating Shares shall be paid in such
        currency or currencies as the Directors may determine. Subject to any Payment Suspension, the
        Company shall remit redemption proceeds (net of the costs of remittance) by cheque or wire
        transfer within such period or periods as the Directors shall have disclosed to the Member at the
        time of its subscription for Participating Shares or, in the absence of any such disclosure, within
        such period or periods as the Directors shall determine. In the absence of directions as to payment
        the Company may remit redemption proceeds by cheque to the address of the Member appearing
        on the Register of Members or by wire transfer to such account as the Directors deem appropriate
        in the circumstances. The Company shall not be liable for any loss resulting from this procedure.

12.10 On any redemption of Participating Shares the Directors shall have the power to satisfy (in whole
      or in part) the Redemption Price (and any other sums payable on redemption as provided in these
      Articles) owing on the redemption of such Participating Shares by dividing in specie the whole or
      any part of the assets of the Company (including, without limitation, shares, debentures, or
      securities of any other company whether or not held by the Company on the Redemption Date in
      question) and either (i) distributing such assets directly to the redeeming shareholder, and/or (ii)
      distributing or allocating such assets to a liquidating account or other similar mechanism to be
      managed and/or liquidated at the discretion of the Directors.

12.11 Participating Shares shall be treated as having been redeemed with effect from the relevant
      Redemption Date irrespective of whether or not a Member has been removed from the Register of
      Members or the Redemption Price has been determined or remitted. Accordingly, on and from the
      relevant Redemption Date, Members in their capacity as such will not be entitled to or be capable
      of exercising any rights arising under these Articles with respect to Participating Shares being
      redeemed (including any right to receive notice of, attend or vote at any meeting of the Company)
      save the right to receive the Redemption Price and any dividend which has been declared prior to
      the relevant Redemption Date but not yet paid (in each case with respect to the Participating Shares
      being redeemed). Such redeemed Members will be creditors of the Company with respect to the



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        Redemption Price. In an insolvent liquidation, redeemed Members will rank behind ordinary
        creditors but ahead of Members.

12.12 Once a Participating Share is redeemed it shall be available for re issue and, until re issue, shall
      form part of the authorised and unissued share capital of the Company.

12.13 Upon the written request of a Member or prospective Member in a form acceptable to the Directors,
      the Company may, in the discretion of the Directors, accept a standing redemption request from
      such Member or prospective Member pursuant to which the Company shall agree (without
      assuming any liability for failing to do so) to use its commercially reasonable efforts to redeem such
      Member's Participating Shares to the extent necessary to ensure that such Member does not own
      over a specified percentage of the outstanding Participating Shares of the Company or any Class
      and/or Series thereof; such percentage to be the percentage identified by such Member or
      prospective Member in such written request as being the percentage which such Member's or
      prospective Member's ownership cannot exceed without material risk of such Member or
      prospective Member being in violation of applicable law or regulation. Any such written request
      may be revoked by notice in writing to the Company from the affected Member.

12.14 No amendment to these Articles made after a Redemption Date shall affect a Member with respect
      to Participating Shares of that Member which have been redeemed, or are being treated as
      redeemed, on or prior to that Redemption Date.

12.15 Unless otherwise provided in the Offering Memorandum, unremitted redemption proceeds shall not
      bear interest against the Company and redeemed Participating Shares shall not participate in the
      profits and losses of the Company with effect from the relevant Redemption Date.

13      Compulsory Redemption

13.1    The Directors may at any time by notice in writing to any Non-qualified Person compulsorily redeem
        all or any of the Participating Shares held by such person upon a day which shall be not less than,
        nor more than, such number of days as the Directors may, in their discretion, from time to time
        determine, from the date of such notice. Upon such day, such Participating Shares shall be
        redeemed in all respects as if the holder thereof had submitted a Redemption Request whether or
        not the Company shall have received any certificate(s) in respect of such Participating Shares.

13.2    The Directors, in their discretion, with or without cause, may at any time by notice in writing to any
        Member compulsorily redeem all or any of a Member's Participating Shares on any Redemption
        Day which shall be not less than such number of days as the Directors may, in their discretion, from
        time to time determine from the date of the notice. Upon such day, such Participating Shares shall
        be redeemed in all respects as if the holder thereof had submitted a Redemption Request whether
        or not the Company shall have received any certificate(s) in respect of such Participating Shares.

13.3    The Directors may at any time redeem Participating Shares to effect a conversion in the manner
        described in these Articles, including pursuant to Article 15.

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13.4    Subject to Article 12.6, any restrictions imposed pursuant to these Articles on redemptions made
        at the option of the Members shall not apply to any compulsory redemption of Participating Shares
        by the Company.

13.5    All costs incurred in a compulsory redemption of Participating Shares shall be for the account of
        the Member thereof and may be deducted from the proceeds of the redemption.

13.6    The procedure for determining which Participating Shares will be compulsorily redeemed in any
        particular case is subject to change at the discretion of the Directors. In exercising discretion and
        in making determinations as to whether to compulsorily redeem Participating Shares, and in
        determining which Members shall be subject to compulsory redemption, the Directors may act upon
        the basis of such information as may be known to them, without any obligation to make special
        enquiries, and may rely upon the advice of counsel. In no event shall the Company be liable to
        any Member for any consequence of any determination made by the Directors with respect to such
        compulsory redemption.

13.7    Without prejudice to the generality of the foregoing, the Company may (without notice) compulsorily
        redeem the Participating Shares of any Member and, on behalf of such Member, apply the
        proceeds of redemption in paying for new Participating Shares to give effect to any exchange,
        conversion or roll up policy disclosed to Members pursuant to which Participating Shares of one
        Class or Series (the "Old Shares") may, at the option of the Company, be exchanged for
        Participating Shares of another Class or Series (the "New Shares") by means of the redemption of
        the Old Shares and the immediate re-subscription of the redemption proceeds in paying up the
        New Shares.

14      AEOI

14.1    Notwithstanding any other Article, in order to comply with AEOI, any Director shall be entitled to
        release and/or disclose on behalf of the Company to the Cayman Islands Tax Information Authority
        or equivalent authority (the "TIA") and any other foreign government body as required by AEOI,
        any information in its or its agents' or delegates' possession regarding a Member including, without
        limitation, financial information concerning the Member's investment in the Company, and any
        information relating to any shareholders, principals, partners, beneficial owners (direct or indirect)
        or controlling persons (direct or indirect) of such Member. Any such Director may also authorise
        any third party agent, including but not limited to, the Investment Manager or Administrator, to
        release and/or disclose such information on behalf of the Company.

14.2    In order to comply with AEOI and, if necessary, to reduce or eliminate any risk that the Company
        or its Members are subject to withholding taxes pursuant to AEOI or incur any costs, debts,
        expenses, obligations or liabilities (whether external, or internal, to the Company) (together,
        "costs") associated with AEOI, the Directors may cause the Company to undertake any of the
        following actions:




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        (a)     compulsorily redeem any or all of the Shares held by a Member either (i) where the Member
                fails to provide (in a timely manner) to the Company, or any agent or delegate of the
                Company, including but not limited to, the Investment Manager or the Administrator, any
                information requested by the Company or such agent or delegate pursuant to AEOI; or (ii)
                where there has otherwise been non-compliance by the Company with AEOI whether
                caused, directly or indirectly, by the action or inaction of such Member, or any related
                person, or otherwise;

        (b)     deduct from, or hold back, redemption or repurchase proceeds, dividend payments or any
                other distributions, in order to:

                (i)     comply with any applicable requirement to apply and collect withholding tax
                        pursuant to AEOI;

                (ii)    allocate to a Member an amount equal to any withholding tax imposed on the
                        Company as a result of the Member's, or any related person's, action or inaction
                        (direct or indirect), or where there has otherwise been non-compliance by the
                        Company with AEOI;

                (iii)   ensure that any AEOI related costs are recovered from the Member(s) whose action
                        or inaction (directly or indirectly, including the action or inaction of any person
                        related to such Member) gave rise or contributed to such costs.

14.3    In order to give effect to the requirements imposed upon the Company by AEOI, as well as any of
        the actions contemplated by Articles 14.2(a) and 14.2(b), the Directors may undertake any of the
        following actions:

        (a)     create separate classes and/or series of Shares ("AEOI Shares"), with such rights and
                terms as the Directors may in their sole discretion determine, and following the compulsory
                redemption of some or all of a Member's Shares may immediately apply such redemption
                proceeds in subscribing for such number of AEOI Shares as the Directors determine;

        (b)     may re-name any number of Shares (whether issued or unissued) as AEOI Shares, create
                a Separate Account with respect to such AEOI Shares and apply any AEOI related costs
                or withholding taxes to such Separate Account;

        (c)     allocate any AEOI costs or withholding tax among Separate Accounts on a basis
                determined solely by the Directors;

        (d)     adjust the Net Asset Value per Share of any relevant Shares (including any AEOI Share).




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15      Purchase and Surrender of Shares

15.1    Subject to the provisions of the Statute and without prejudice to these Articles, the Company may
        purchase its own Shares (including any redeemable Shares) in such manner and on such other
        terms as the Directors may agree with the relevant Member.

15.2    The Company may make a payment in respect of the redemption or purchase of its own Shares in
        any manner permitted by the Statute, including out of capital.

15.3    The Directors may accept the surrender for no consideration of any fully paid Share.

16      Treasury Shares

16.1    The Directors may, prior to the purchase, redemption or surrender of any Share, determine that
        such Share shall be held as a Treasury Share.

16.2    The Directors may determine to cancel a Treasury Share or transfer a Treasury Share on such
        terms as they think proper (including, without limitation, for nil consideration).

17      Modification of Rights

17.1    Subject to the following Article, the rights attached to any Series of Participating Shares may be
        varied or abrogated either whilst the Company is a going concern or during or in contemplation of
        a winding up, with the consent in writing of two thirds of the issued Shares of that Series or with the
        sanction of a resolution passed by a two-thirds majority of the holders of the issued Participating
        Shares of that Series, at a separate meeting of the holders of the Participating Shares of that Series.
        For such purposes the Directors may, in their discretion, treat all Series of Participating Shares as
        forming one Series, if they consider that they would all be affected in the same way by the proposals
        under consideration and that there would be no conflict of interest between them, but in any other
        case shall treat them as separate Series, as the case may be. To every such separate meeting all
        the provisions of these Articles relating to general meetings of the Company or to the proceedings
        thereat shall, mutatis mutandis, apply except that the necessary quorum shall be one person
        holding or representing by proxy at least one-third in nominal amount of the issued Participating
        Shares of the Series (but so that if at any adjourned meeting of such holders a quorum as above
        defined is not present, those holders who are present shall be a quorum) and that every holder of
        Participating Shares of the Series shall on a poll have one vote for each Participating Share of the
        Series held by him.

17.2    The rights conferred upon the holders of the Participating Shares shall be deemed to be varied by
        the creation or issue of any Participating Shares ranking ahead of the Participating Shares with
        regard to participation in the profits or assets of the Company. A Series to which different levels of
        fees are payable to the Manager or different redemption rights apply (including the imposition of,
        absence of, or different level of, a redemption fee) shall not be deemed to rank in priority to any
        other Series as regards shareholder rights or participating in the profits or assets of the Company.

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17.3    The rights attached to the Participating Shares shall be deemed not to be varied or abrogated by:

        (a)     the creation, allotment or issue of Management Shares;

        (b)     the creation, allotment or issue of Participating Shares of any Series;

        (c)     the redemption or repurchase of any Participating Share;

        (d)     the conversion of Participating Shares of one Series into Participating Shares of another
                Series at the request of a Member pursuant to Article 13.3;

        (e)     the redesignation of a Series of Participating Share by the Directors pursuant to these
                Articles;

        (f)     the exercise by the Directors or any liquidator of any of their discretions specified in
                these Articles; or

        (g)     the Company entering into any written agreement with a prospective member providing
                for offering terms that vary from those applicable to other Members of the same Series.

18      Variation of Terms
        The Directors, with the consent of the Investment Manager, shall have the absolute discretion to
        agree with a Member to waive or modify the terms applicable to such Member's subscription for
        Participating Shares (including those relating to management and performance fees and
        redemption terms) without obtaining the consent of any other Member; provided that such waiver
        or modification does not amount to a variation of the rights attaching to the Participating Shares of
        such other Members.

19      Certificates for Shares

19.1    A Member shall only be entitled to a share certificate if the Directors resolve that share certificates
        shall be issued. Share certificates representing Shares, if any, shall be in such form as the Directors
        may determine. Share certificates shall be signed by one or more Directors or another person
        authorised by the Directors. The Directors may authorise certificates to be issued with the
        authorised signature(s) affixed by mechanical process. All certificates for Shares shall be
        consecutively numbered or otherwise identified and shall specify the Shares to which they relate.
        All certificates surrendered to the Company for transfer shall be cancelled and, subject to these
        Articles, no new certificate shall be issued until the former certificate representing a like number of
        relevant Shares shall have been surrendered and cancelled.

19.2    The Company shall not be bound to issue more than one certificate for Shares held jointly by more
        than one person and delivery of a certificate to one joint holder shall be a sufficient delivery to all
        of them.


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19.3    If a share certificate is defaced, worn out, lost or destroyed, it may be renewed on such terms (if
        any) as to evidence and indemnity and on the payment of such expenses reasonably incurred by
        the Company in investigating evidence, as the Directors may prescribe, and (in the case of
        defacement or wearing out) on delivery up of the old certificate.

20      Register of Members

20.1    The Company shall maintain or cause to be maintained the Register of Members.

20.2    The Directors may determine that the Company shall maintain one or more branch registers of
        Members in accordance with the Statute. The Directors may also determine which register of
        Members shall constitute the principal register and which shall constitute the branch register or
        registers, and to vary such determination from time to time.

21      Closing Register of Members and Fixing Record Date

21.1    For the purpose of determining Members entitled to notice of, or to vote at any meeting of Members
        or any adjournment thereof, or Members entitled to receive payment of any dividend, or in order to
        make a determination of Members for any other proper purpose, the Directors may provide that the
        Register of Members shall be closed for transfers for a stated period which shall not in any case
        exceed thirty days.

21.2    In lieu of, or apart from, closing the Register of Members, the Directors may fix in advance or arrears
        a date as the record date for any such determination of Members entitled to notice of, or to vote at
        any meeting of the Members or any adjournment thereof, or for the purpose of determining the
        Members entitled to receive payment of any dividend or in order to make a determination of
        Members for any other proper purpose.

21.3    If the Register of Members is not so closed and no record date is fixed for the determination of
        Members entitled to notice of, or to vote at, a meeting of Members or Members entitled to receive
        payment of a dividend, the date on which notice of the meeting is sent or the date on which the
        resolution of the Directors declaring such dividend is passed, as the case may be, shall be the
        record date for such determination of Members. When a determination of Members entitled to vote
        at any meeting of Members has been made as provided in this Article, such determination shall
        apply to any adjournment thereof.

22      Non Recognition of Trusts
        The Company shall not be bound by or compelled to recognise in any way (even when notified)
        any equitable, contingent, future or partial interest in any Share, or (except only as is otherwise
        provided by these Articles or the Statute) any other rights in respect of any Share other than an
        absolute right to the entirety thereof in the registered holder.




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23      Amendments of Memorandum and Articles and Alteration of Capital

23.1    The Company may, by Ordinary Resolution:

        (a)     increase its share capital by such sum and with such rights, priorities and privileges
                annexed thereto, as the resolution shall prescribe;

        (b)     consolidate and divide all or any of its share capital into Shares of larger amount than its
                existing Shares;

        (c)     by subdivision of its existing Shares or any of them divide the whole or any part of its share
                capital into Shares of smaller amount than is fixed by the Memorandum; and

        (d)     cancel any Shares that at the date of the passing of the resolution have not been taken or
                agreed to be taken by any person.

23.2    All new Shares created in accordance with the provisions of the preceding Article shall be subject
        to the same provisions of these Articles with reference to liens, Transfer, transmission and
        otherwise as the Shares in the original share capital.

23.3    Subject to the provisions of the Statute and the provisions of these Articles as regards the matters
        to be dealt with by Ordinary Resolution the Company may, by Special Resolution:

        (a)     change its name;

        (b)     alter or add to these Articles;

        (c)     alter or add to the Memorandum with respect to any objects, powers or other matters
                specified therein;

        (d)     reduce its share capital or any capital redemption reserve fund; and

        (e)     wind up the Company.

24      Registered Office
        Subject to the provisions of the Statute, the Company may by resolution of the Directors change
        the location of its Registered Office. The Company may, in addition to its Registered Office,
        maintain such other offices or places of business as the Directors determine.

25      General Meetings

25.1    All general meetings other than annual general meetings shall be called extraordinary general
        meetings. The Directors may call general meetings.


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25.2    The Company may but shall not be obliged to hold a general meeting in each year as its annual
        general meeting, and shall specify the meeting as such in the notice calling it. Any annual general
        meeting shall be held at such time and place as the Directors shall determine.

26      Notice of General Meetings

26.1    At least seven Business Days' notice shall be given of any general meeting. Every notice shall be
        exclusive of the day on which it is given or deemed to be given and of the day on which the meeting
        is to be held and shall specify the place, the day and the hour of the meeting and the general nature
        of the business and shall be given in the manner hereinafter mentioned or in such other manner if
        any as may be prescribed by the Company, provided that a general meeting of the Company shall,
        whether or not the notice specified in this Article has been given and whether or not the provisions
        of these Articles regarding general meetings have been complied with, be deemed to have been
        duly convened if it is so agreed:

        (a)     in the case of an annual general meeting, by all the Members entitled to attend and vote
                thereat; and

        (b)     in the case of an extraordinary general meeting, by a majority in number of the Members
                having the right to attend and vote at the meeting, being a majority together holding not
                less than ninety per cent. in par value of the Shares giving that right.

26.2    The accidental omission to give notice of a general meeting to, or the non receipt of notice of a
        meeting by, any person entitled to receive notice thereof shall not invalidate the proceedings of that
        meeting.

27      Proceedings at General Meetings

27.1    No business shall be transacted at any general meeting unless a quorum is present. A quorum
        shall be one or more Members (present in person, by proxy or authorised corporate representative,
        as the case may be) entitled to attend and vote and representing not less than one third of the
        Management Shares present in person or by proxy and carrying the right to vote at the meeting.

27.2    A person may, with the consent of the Directors, participate at a general meeting by conference
        telephone or other communications equipment by means of which all the persons participating in
        the meeting can communicate with each other. Participation by a person in a general meeting in
        this manner is treated as presence in person at that meeting.

27.3    A resolution (including a Special Resolution) in writing (in one or more counterparts) signed by all
        Members for the time being entitled to receive notice of and to attend and vote at general meetings
        (or, being corporations or other non-natural persons, signed by their duly authorised
        representatives) shall be as valid and effective as if the resolution had been passed at a general
        meeting of the Company duly convened and held.



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27.4    If a quorum is not present within half an hour from the time appointed for the meeting or if during
        such a meeting a quorum ceases to be present, the meeting, if convened upon the requisition of
        Members, shall be dissolved and in any other case it shall stand adjourned to the same day in the
        next week at the same time and place or to such other day, time or such other place as the Directors
        may determine, and if at the adjourned meeting a quorum is not present within half an hour from
        the time appointed for the meeting the Members present shall be a quorum.

27.5    The chairman, if any, of the board of Directors shall preside as chairman at every general meeting
        of the Company, or if there is no such chairman, or if the chairman shall not be present within fifteen
        minutes after the time appointed for the holding of the meeting, or is unwilling to act, the Directors
        present shall elect one of their number to be chairman of the meeting.

27.6    If no Director is willing to act as chairman, or if no Director is present within fifteen minutes after the
        time appointed for holding the meeting, the Members present shall choose one of their number to
        be chairman of the meeting.

27.7    The chairman may, with the consent of a meeting at which a quorum is present (and shall if so
        directed by the meeting) adjourn the meeting from time to time and from place to place, but no
        business shall be transacted at any adjourned meeting other than the business left unfinished at
        the meeting from which the adjournment took place. When a general meeting is adjourned for thirty
        days or more, notice of the adjourned meeting shall be given as in the case of an original meeting.
        Otherwise it shall not be necessary to give any such notice.

27.8    A resolution put to the vote of a meeting shall be decided on a show of hands unless before, or on
        the declaration of the result of, the show of hands, the chairman or any Member present in person
        or by proxy (or in the case of a non-natural person, by its duly authorised representative or by
        proxy) demands a poll.

27.9    Unless a poll is duly demanded a declaration by the chairman that a resolution has been carried or
        carried unanimously, or by a particular majority, or lost or not carried by a particular majority, an
        entry to that effect in the minutes of the proceedings of the meeting shall be conclusive evidence
        of that fact without proof of the number or proportion of the votes recorded in favour of or against
        such resolution.

27.10 The demand for a poll may be withdrawn.

27.11 Except on a poll demanded on the election of a chairman or on a question of adjournment, a poll
      shall be taken as the chairman directs, and the result of the poll shall be deemed to be the resolution
      of the general meeting at which the poll was demanded.

27.12 A poll demanded on the election of a chairman or on a question of adjournment shall be taken
      forthwith. A poll demanded on any other question shall be taken at such time as the chairman of
      the general meeting directs, and any business other than that upon which a poll has been
      demanded or is contingent thereon may proceed pending the taking of the poll.


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27.13 In the case of an equality of votes, whether on a show of hands or on a poll, the chairman shall not
      be entitled to a second or casting vote.

28      Votes of Members

28.1    Subject to any rights or restrictions attached to any Shares, on a show of hands every Member
        holding Shares carrying the right to vote on the matter in question who (being an individual) is
        present in person or by proxy or (if a corporation or other non-natural person) is present by its duly
        authorised representative or by proxy, shall have one vote and on a poll every such Member shall
        have one vote for every Share of which he is the holder.

28.2    In the case of joint holders of record, the vote of the senior holder who tenders a vote, whether in
        person or by proxy, shall be accepted to the exclusion of the votes of the other joint holders.
        Seniority among joint holders shall be determined by the order in which the names of the holders
        stand in the Register of Members.

28.3    A Member of unsound mind, or in respect of whom an order has been made by any court or
        authority having jurisdiction in lunacy, may vote, whether on a show of hands or on a poll, by the
        Member's committee, receiver, curator bonis, or other similar person appointed on such Member's
        behalf by that court or authority and any such committee, receiver, curator bonis or other similar
        person may vote by proxy.

28.4    No person shall be entitled to vote at any general meeting unless such person is registered as a
        Member on the record date for such meeting, nor unless all calls or other monies then payable by
        such person in respect of such Shares have been paid.

28.5    No objection shall be raised to the qualification of any voter except at the general meeting or
        adjourned general meeting at which the vote objected to is purported to be given or tendered and
        every vote not disallowed at the meeting shall be valid. Any objection made in due time shall be
        referred to the chairman whose decision shall be final and conclusive.

28.6    On a poll or on a show of hands votes may be cast either personally or by proxy. A Member may
        appoint more than one proxy or the same proxy under one or more instruments to attend and vote
        at a meeting. Where a Member appoints more than one proxy the instrument of proxy shall state
        which proxy is entitled to vote on a show of hands.

28.7    On a poll, a Member holding more than one Share need not cast the votes in respect of its Shares
        in the same way on any resolution and therefore may vote a Share or some or all such Shares
        either for or against a resolution and/or abstain (any such abstentions to count neither for nor
        against the resolution) from voting a Share or some or all of the Shares and, subject to the terms
        of the instrument appointing it, a proxy appointed under one or more instruments may vote a Share
        or some or all of the Shares in respect of which such proxy is appointed either for or against a
        resolution and/or abstain from voting.



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29      Proxies

29.1    The instrument appointing a proxy shall be in writing, be executed under the hand of the appointor
        or of such appointor's attorney duly authorised in writing or, if the appointor is a corporation or other
        non-natural person, under the hand of an officer or other person duly authorised for that purpose.
        A proxy need not be a Member of the Company.

29.2    The Directors may, in the notice convening any meeting or adjourned meeting, or in an instrument
        of proxy sent out by the Company, specify the place and the time (being not later than the time for
        holding the meeting or adjourned meeting to which the proxy relates) at which the instrument
        appointing a proxy shall be deposited. In the absence of any such direction from the Directors in
        the notice convening any meeting or adjourned meeting, the instrument appointing a proxy shall
        be deposited at the Registered Office not less than 48 hours before the time for holding the meeting
        or adjourned meeting at which the person named in the instrument proposes to vote.

29.3    The chairman may in any event, at the chairman's discretion, declare that an instrument of proxy
        shall be deemed to have been duly deposited. An instrument of proxy that is not deposited in the
        manner permitted and which has not been declared to have been duly deposited by the chairman,
        shall be invalid.

29.4    The instrument appointing a proxy may be in any usual or common form and may be incorporated
        within any subscription agreement or other document signed by or on behalf of the Member. An
        instrument appointing a proxy may be expressed to be for a particular meeting or any adjournment
        thereof or generally until revoked. An instrument appointing a proxy shall be deemed to include
        the power to demand or join or concur in demanding a poll.

29.5    Votes given in accordance with the terms of an instrument of proxy shall be valid notwithstanding
        the previous death or insanity of the principal or revocation of the proxy or of the authority under
        which the proxy was executed, or the Transfer of the Share in respect of which the proxy is given
        unless notice in writing of such death, insanity, revocation or Transfer was received by the
        Company at the Registered Office before the commencement of the general meeting, or adjourned
        meeting at which it is sought to use the proxy.

30      Corporate Members
        Any corporation or other non-natural person which is a Member of the Company may in accordance
        with its constitutional documents, or in the absence of such provision by resolution of its directors
        or other governing body, authorise such person as it thinks fit to act as its representative at any
        meeting of the Company or of any Class of Members, and the person so authorised shall be entitled
        to exercise the same powers on behalf of the corporation which such person represents as the
        corporation could exercise if it were an individual Member.




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31      Shares Beneficially Owned by the Company
        Shares of the Company that are beneficially owned by the Company shall not be voted, directly or
        indirectly, at any meeting and shall not be counted in determining the total number of outstanding
        Shares at any given time.

32      Directors
        There shall be a board of Directors consisting of not less than one person (exclusive of alternate
        Directors) provided however that the Company may from time to time by Ordinary Resolution
        increase or reduce the limits in the number of Directors. The first Directors of the Company shall
        be determined in writing by, or appointed by a resolution of, the Subscriber.

33      Powers of Directors

33.1    Subject to the provisions of the Statute, the Memorandum and the Articles and to any directions
        given by Special Resolution, the business of the Company shall be managed by the Directors who
        may exercise all the powers of the Company. No alteration of the Memorandum or these Articles
        and no such direction shall invalidate any prior act of the Directors which would have been valid if
        that alteration had not been made or that direction had not been given. A duly convened meeting
        of Directors at which a quorum is present may exercise all powers exercisable by the Directors.

33.2    All cheques, promissory notes, drafts, bills of exchange and other negotiable instruments and all
        receipts for monies paid to the Company shall be signed, drawn, accepted, endorsed or otherwise
        executed as the case may be in such manner as the Directors shall determine by resolution.

33.3    The Directors may exercise all the powers of the Company to borrow money and to mortgage or
        charge its undertaking, property and uncalled capital or any part thereof and to issue debentures,
        debenture stock, mortgages, bonds and other such securities whether outright or as security for
        any debt, liability or obligation of the Company or of any third party. Notwithstanding the foregoing,
        the Directors shall not exercise the powers specified in this Article in breach of any limits or
        restrictions specified in the Offering Memorandum.

34      Appointment and Removal of Directors

34.1    The Company may, by Ordinary Resolution, appoint any person to be a Director and may, by
        Ordinary Resolution, remove any Director.

34.2    The Directors may appoint any person to be a Director, either to fill a vacancy or as an additional
        Director provided that the appointment does not cause the number of Directors to exceed any
        number fixed by or in accordance with these Articles as the maximum number of Directors.

35      Vacation of Office of Director
        The office of a Director shall be vacated if:


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        (a)     he becomes prohibited by law from being a Director;

        (b)     he becomes bankrupt or makes any arrangement or composition with his creditors
                generally;

        (c)     he dies, or is, in the opinion of all his co-Directors, incapable by reason in mental disorder
                of discharging his duties as a Director;

        (d)     he resigns the office of Director by notice to the Company;

        (e)     he has for more than six consecutive months been absent without permission of the
                Directors from meetings of Directors held during that period and his alternate Director (if
                any) has not during such period attended any such meetings in his stead, and the Directors
                resolve that his office be vacated; or

        (f)     he is removed from the office of Director by notice addressed to him at his last known
                address and signed by all his co-Directors.

36      Proceedings of Directors

36.1    The quorum for the transaction of the business of the Directors may be fixed by the Directors, and
        unless so fixed shall be two if there are two or more Directors, and shall be one if there is only one
        Director. A person who holds office as an alternate Director shall, if such person's appointor is not
        present, be counted in the quorum. A Director who also acts as an alternate Director shall, if such
        Director's appointor is not present, count twice towards the quorum.

36.2    Subject to the provisions of these Articles, the Directors may regulate their proceedings as they
        think fit. Questions arising at any meeting shall be decided by a majority of votes. In the case of
        an equality of votes, the chairman shall not have a second or casting vote. A Director who is also
        an alternate Director shall be entitled in the absence of such Director's appointor to a separate vote
        on behalf of such Director's appointor in addition to such Director's own vote.

36.3    A person may participate in a meeting of the Directors or any committee of Directors by conference
        telephone or other communications equipment by means of which all the persons participating in
        the meeting can communicate with each other at the same time. Participation by a person in a
        meeting in this manner is treated as presence in person at that meeting. Unless otherwise
        determined by the Directors, the meeting shall be deemed to be held at the place where the
        chairman is located at the start of the meeting.

36.4    A resolution in writing (in one or more counterparts) signed by all the Directors or all the members
        of a committee of Directors (an alternate Director being entitled to sign such a resolution on behalf
        of such alternate Director's appointor) shall be as valid and effectual as if it had been passed at a
        meeting of the Directors, or committee of Directors as the case may be, duly convened and held.



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36.5    A Director or alternate Director may, or other officer of the Company at the direction of a Director
        or alternate Director may call a meeting of the Directors by at least two days' notice in writing to
        every Director and alternate Director which notice shall set forth the general nature of the business
        to be considered unless notice is waived by all the Directors (or their alternates) either at, before
        or after the meeting is held.

36.6    The continuing Directors may act notwithstanding any vacancy in their body, but if and so long as
        their number is reduced below the number fixed by or pursuant to these Articles as the necessary
        quorum of Directors the continuing Directors or Director may act for the purpose of increasing the
        number of Directors to that number, or of summoning a general meeting of the Company, but for
        no other purpose.

36.7    The Directors may elect a chairman of their board and determine the period for which the chairman
        is to hold office; but if no such chairman is elected, or if at any meeting the chairman is not present
        within five minutes after the time appointed for holding the same, the Directors present may choose
        one of their number to be chairman of the meeting.

36.8    All acts done by any meeting of the Directors or of a committee of Directors (including any person
        acting as an alternate Director) shall, notwithstanding that it be afterwards discovered that there
        was some defect in the appointment of any Director or alternate Director, or that they or any of
        them were disqualified, be as valid as if every such person had been duly appointed and qualified
        to be a Director or alternate Director as the case may be.

36.9    A Director but not an alternate Director may be represented at any meetings of the board of
        Directors by a proxy appointed in writing by such Director. The proxy shall count towards the
        quorum and the vote of the proxy shall for all purposes be deemed to be that of the appointing
        Director.

37      Presumption of Assent
        A Director who is present at a meeting of the board of Directors at which action on any Company
        matter is taken shall be presumed to have assented to the action taken unless the Director's dissent
        shall be entered in the minutes of the meeting or unless the Director shall file such Director's written
        dissent from such action with the person acting as the chairman or secretary of the meeting before
        the close or adjournment thereof or shall forward such dissent by personal delivery, courier or
        registered post to such person immediately after the close or adjournment of the meeting. Such
        right to dissent shall not apply to a Director who voted in favour of such action.

38      Directors' Interests

38.1    A Director may hold any other office or place of profit under the Company (other than the office of
        Auditor) in conjunction with such Director's office of Director for such period and on such terms as
        to remuneration and otherwise as the Directors may determine.



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38.2    A Director may act alone or by such Director's firm in a professional capacity for the Company and
        the Director or such Director's firm shall be entitled to remuneration for professional services as if
        such Director were not a Director or alternate Director.

38.3    A Director or alternate Director of the Company may be or become a director or other officer of or
        otherwise interested in any company promoted by the Company or in which the Company may be
        interested as shareholder or otherwise, and no such Director or alternate Director shall be
        accountable to the Company for any remuneration or other benefits received by such Director or
        alternate Director as a director or officer of, or from such Director or alternate Director's interest in,
        such other company.

38.4    No person shall be disqualified from the office of Director or alternate Director or prevented by such
        office from contracting with the Company, either as vendor, purchaser or otherwise, nor shall any
        such contract or any contract or transaction entered into by or on behalf of the Company in which
        any Director or alternate Director shall be in any way interested be or be liable to be avoided, nor
        shall any Director or alternate Director so contracting or being so interested be liable to account to
        the Company for any profit realised by any such contract or transaction by reason of such Director
        holding office or of the fiduciary relationship thereby established. A Director (or such Director's
        alternate Director in such Director's absence) shall be at liberty to vote in respect of any contract
        or transaction in which such Director is interested provided that the nature of the interest of any
        Director or alternate Director in any such contract or transaction shall be disclosed by such Director
        at or prior to such Director's consideration and any vote thereon.

38.5    A general notice that a Director or alternate Director is a shareholder, director, officer or employee
        of any specified firm or company and is to be regarded as interested in any transaction with such
        firm or company shall be sufficient disclosure for the purposes of voting on a resolution in respect
        of a contract or transaction in which such Director has an interest, and after such general notice it
        shall not be necessary to give special notice relating to any particular transaction.

39      Minutes
        The Directors shall cause minutes to be made in books kept for the purpose of recording all
        appointments of officers made by the Directors, all proceedings at meetings of the Company or the
        holders of any Class of Shares and of the Directors, and of committees of Directors including the
        names of the Directors or alternate Directors present at each meeting.

40      Delegation of Directors' Powers

40.1    The Directors may delegate any of their powers to any committee consisting of one or more
        Directors or such other persons as the Directors may designate. They may also delegate to any
        managing director or any Director holding any other executive office such of their powers as they
        consider desirable to be exercised by such managing director or any Director provided that an
        alternate Director may not act as managing director and the appointment of a managing director
        shall be revoked forthwith if such managing director ceases to be a Director. Any such appointment
        may be made subject to any conditions the Directors may impose, and either collaterally with or to

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        the exclusion of their own powers, and may be revoked or altered. Subject to any such conditions,
        the proceedings of a committee of Directors shall be governed by these Articles regulating the
        proceedings of Directors, so far as they are capable of applying.

40.2    The Directors may establish any committees, local boards or agencies or appoint any person to be
        a manager or agent for managing the affairs of the Company and may appoint any person to be a
        member of such committees or local boards. Any such appointment may be made either
        collaterally with or to the exclusion of the Directors' powers, shall be subject to any conditions the
        Directors may impose, and may be revoked or altered. Subject to any such conditions, the
        proceedings of any such committee, local board or agency shall be governed by these Articles
        regulating the proceedings of Directors, so far as they are capable of applying.

40.3    The Directors may by power of attorney or otherwise appoint any company, firm, person or body of
        persons to be the attorney or authorised signatory of the Company for such purpose and with such
        powers, authorities and discretions (not exceeding those vested in or exercisable by the Directors
        under these Articles) and for such period and subject to such conditions as they may think fit, and
        any such powers of attorney or other appointment may contain such provisions for the protection
        and convenience of persons dealing with any such attorneys or authorised signatories as the
        Directors may think fit and may also authorise any such attorney or authorised person to delegate
        all or any of the powers, authorities and discretions vested in such attorney or authorised person.

40.4    The Directors may appoint such officers as they consider necessary on such terms, at such
        remuneration (if any) and to perform such duties, and subject to such provisions as to
        disqualification and removal as the Directors may think fit. Unless otherwise specified in the terms
        of such officer's appointment an officer may be removed by resolution of the Directors or Members.

41      Alternate Directors

41.1    Any Director (other than an alternate Director) may by written notice to the Company appoint any
        other Director, or any other person willing to act, to be an alternate Director and by written notice
        to the Company may remove from office an alternate Director so appointed by the Director.

41.2    An alternate Director shall be entitled to receive notice of all meetings of Directors and of meetings
        of committees of Directors of which such alternate Director's appointor is a member, to attend and
        vote at every such meeting at which the Director appointing such alternate Director is not personally
        present, and generally to perform all the functions of such alternate Director's appointor as a
        Director in such Director's absence.

41.3    An alternate Director shall cease to be an alternate Director if such alternate Director's appointor
        ceases to be a Director.

41.4    Any appointment or removal of an alternate Director shall be by notice to the Company signed by
        the Director making or revoking the appointment or in any other manner approved by the Directors.



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41.5    Subject to the provisions of the Articles, an alternate Director shall be deemed for all purposes to
        be a Director and shall alone be responsible for such alternate Director's own acts and defaults
        and shall not be deemed to be the agent of the Director appointing such alternate Director.

42      No Minimum Shareholding for Directors
        The Company in general meeting may fix a minimum shareholding required to be held by a Director,
        but unless and until such a shareholding qualification is fixed a Director shall not be required to
        hold Shares.

43      Remuneration of Directors

43.1    The remuneration to be paid to the Directors, if any, shall be such remuneration as the Directors
        shall determine. The Directors shall also be entitled to be paid all travelling, hotel and other
        expenses properly incurred by them in connection with their attendance at meetings of Directors or
        committees of Directors, or general meetings of the Company, or separate meetings of the holders
        of any Class of Shares or debentures of the Company, or otherwise in connection with the business
        of the Company, or to receive a fixed allowance in respect thereof as may be determined by the
        Directors, or a combination partly of one such method and partly the other.

43.2    The Directors may by resolution approve additional remuneration to any Director for any services
        other than such Director's ordinary routine work as a Director. Any fees paid to a Director who is
        also counsel to the Company, or otherwise serves it in a professional capacity, shall be in addition
        to such Director's remuneration as a Director.

44      Seal
        The Company may, if the Directors so determine, have a Seal, which shall only be used by the
        authority of the Directors or of a committee of the Directors authorised by the Directors. Every
        instrument to which the Seal has been affixed shall be signed by at least one person who shall be
        either a Director or some officer or other person authorised by the Directors for the purpose.

45      Dividends, Distributions and Reserves

45.1    Subject to the Statute, these Articles, and the special rights attaching to Participating Shares of any
        Class and/or Series, the Directors may, in their absolute discretion, declare dividends and
        distributions on Participating Shares of any Class and/or Series in issue and authorise payment of
        the dividends or distributions out of the relevant Separate Account in respect of such Participating
        Shares. No dividend or distribution shall be paid except out of the realised or unrealised profits of
        the Company, or out of the share premium account attributable to Participating Shares of the Class
        and/or Series in respect of which the dividend or distribution is proposed to be paid, or as otherwise
        permitted by law.

45.2    Except as otherwise provided by the rights attached to Participating Shares, or as otherwise
        determined by the Directors, all dividends and distributions in respect of Participating Shares of a

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        particular Class and/or Series shall be declared and paid according to the Net Asset Value of the
        Participating Shares of the Class and/or Series that a Member holds. If any Participating Share is
        issued on terms providing that it shall rank for dividend or distribution as from a particular date, that
        Participating Share shall rank for dividend or distribution accordingly.

45.3    The Directors may deduct and withhold from any dividend or distribution otherwise payable to any
        Member all sums of money (if any) then payable by it to the Company on account of calls or
        otherwise or any monies which the Company is obliged by law to pay to any taxing or other
        authority.

45.4    Under no circumstances may the assets (or the income derived from such assets) attributed to a
        Separate Account in respect of any Class and/or Series be used to pay a dividend in respect of a
        Separate Account that is attributed to any other Class and/or Series.

45.5    The Directors may declare that any dividend or distribution be paid wholly or partly by the
        distribution of specific assets and in particular of shares, debentures or securities of any other
        company or in any one or more of such ways and, where any difficulty arises in regard to such
        distribution, the Directors may settle the same as they think expedient and in particular may issue
        fractional Shares and fix the value for distribution of such specific assets or any part thereof and
        may determine that cash payments shall be made to any Members upon the basis of the value so
        fixed in order to adjust the rights of all Members and may vest any such specific assets in trustees
        as may seem expedient to the Directors.

45.6    Any dividend, distribution, interest or other monies payable in cash in respect of Participating
        Shares may be paid by wire transfer to the holder or by cheque or warrant sent through the post
        directed to the registered address of the holder or, in the case of joint holders, to the registered
        address of the holder who is first named on the Register of Members or to such person and to such
        address as such holder or joint holders may in writing direct. Every such cheque or warrant shall
        (unless the Directors in their sole discretion otherwise determine) be made payable to the order of
        the person to whom it is sent. Any one of two or more joint holders may give effectual receipts for
        any dividends, bonuses, or other monies payable in respect of the Participating Share held by them
        as joint holders.

45.7    Any dividend or distribution which cannot be paid to a Member and/or which remains unclaimed
        after six months from the date of declaration of such dividend or distribution may, in the discretion
        of the Directors, be paid into a separate account in the Company's name, provided that the
        Company shall not be constituted as a trustee in respect of that account and the dividend or
        distribution shall remain as a debt due to the Member. Any dividend or distribution which remains
        unclaimed after a period of six years from the date of declaration of such dividend or distribution
        shall be forfeited and shall revert to the Company.

45.8    No dividend or distribution shall bear interest against the Company.




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46      Capitalisation
        The Directors may capitalise any sum standing to the credit of any of the Company's reserve
        accounts (including share premium account and capital redemption reserve) or any sum standing
        to the credit of profit and loss account or otherwise available for distribution and to appropriate such
        sum to Members of any Class and/or Series in the proportions in which such sum would have been
        divisible amongst them had the same been a distribution of profits by way of dividend and to apply
        such sum on their behalf in paying up in full unissued Participating Shares for allotment and
        distribution credited as fully paid-up to and amongst them in the proportion aforesaid. In such event
        the Directors shall do all acts and things required to give effect to such capitalisation, with full power
        to the Directors to make such provisions as they think fit for the case of Participating Shares
        becoming distributable in fractions (including provisions whereby the benefit of fractional
        entitlements accrue to the Company rather than to the Members concerned). The Directors may
        authorise any person to enter into an agreement with the Company, on behalf of all of the Members
        interested, providing for such capitalisation and matters incidental thereto and any agreement
        made under such authority shall be effective and binding on all concerned.

47      Books of Account

47.1    The Directors shall cause proper books of account (including, where applicable, material underlying
        documentation including contracts and invoices) to be kept with respect to all sums of money
        received and expended by the Company and the matters in respect of which the receipt or
        expenditure takes place, all sales and purchases of goods by the Company and the assets and
        liabilities of the Company. Such books of account must be retained for a minimum period of five
        years from the date on which they are prepared. Proper books shall not be deemed to be kept if
        there are not kept such books of account as are necessary to give a true and fair view of the state
        of the Company's affairs and to explain its transactions.

47.2    The Directors shall from time to time determine whether and to what extent and at what times and
        places and under what conditions or regulations the accounts and books of the Company or any of
        them shall be open to the inspection of Members not being Directors and no Member (not being a
        Director) shall have any right of inspecting any account or book or document of the Company
        except as conferred by Statute, or authorised by the Directors or by the Company in general
        meeting.

47.3    The Directors may from time to time cause to be prepared and to be laid before the Company in
        general meeting profit and loss accounts, balance sheets, group accounts (if any) and such other
        reports and accounts as may be required by law.

48      Audit

48.1    The Directors shall appoint an Auditor of the Company who shall hold office on such terms as the
        Directors determine.



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48.2    Every Auditor of the Company shall have a right of access at all times to the books and accounts
        and vouchers of the Company and shall be entitled to require from the Directors and officers of the
        Company such information and explanation as may be necessary for the performance of the duties
        of the Auditor.

48.3    Any Auditors of the Company shall, if so required by the Directors, make a report on the accounts
        of the Company during their tenure of office at the next annual general meeting following their
        appointment in the case of a company which is registered with the Registrar of Companies as an
        ordinary company, and at the next extraordinary general meeting following their appointment in the
        case of a company which is registered with the Registrar of Companies as an exempted company,
        and at any other time during their term of office, upon request of the Directors or any general
        meeting of the Members.

49      Notices

49.1    Notices shall be in writing and may be given by the Company to any Member either personally or
        by sending it by courier, post, cable, telex, fax or e-mail to the Member or to the address as shown
        in the Register of Members (or where the notice is given by e-mail by sending it to the e-mail
        address provided by such Member). Any notice, if posted from one country to another, is to be
        sent airmail.

49.2    Where a notice is sent by courier, service of the notice shall be deemed to be effected by delivery
        of the notice to a courier company, and shall be deemed to have been received on the third day
        (not including Saturdays or Sundays or public holidays) following the day on which the notice was
        delivered to the courier. Where a notice is sent by post, service of the notice shall be deemed to
        be effected by properly addressing, pre paying and posting a letter containing the notice, and shall
        be deemed to have been received on the fifth day (not including Saturdays or Sundays or public
        holidays in the Cayman Islands) following the day on which the notice was posted. Where a notice
        is sent by cable, telex or fax, service of the notice shall be deemed to be effected by properly
        addressing and sending such notice and shall be deemed to have been received on the same day
        that it was transmitted. Where a notice is given by e-mail service shall be deemed to be effected
        by transmitting the e-mail to the e-mail address provided by the intended recipient and shall be
        deemed to have been received on the same day that it was sent, and it shall not be necessary for
        the receipt of the e-mail to be acknowledged by the recipient.

49.3    A notice may be given by the Company to the person or persons which the Company has been
        advised are entitled to a Share or Shares in consequence of the death or bankruptcy of a Member
        in the same manner as other notices which are required to be given under these Articles and shall
        be addressed to them by name, or by the title of representatives of the deceased, or trustee of the
        bankrupt, or by any like description at the address supplied for that purpose by the persons claiming
        to be so entitled, or at the option of the Company by giving the notice in any manner in which the
        same might have been given if the death or bankruptcy had not occurred.




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49.4    Notice of every general meeting shall be given in the manner authorised by these Articles to every
        person shown as holding Shares carrying an entitlement to receive such notice in the Register of
        Members on the record date for such meeting except that in the case of joint holders the notice
        shall be sufficient if given to the joint holder first named in the Register of Members and every
        person upon whom the ownership of a Share devolves by reason of such person being a legal
        personal representative or a trustee in bankruptcy of a Member where the Member but for such
        Member's death or bankruptcy would be entitled to receive notice of the meeting, and no other
        person shall be entitled to receive notices of general meetings.

50      Winding Up

        (a)     If the Company shall be wound up the liquidator shall apply the assets of the Company in
                such manner and order as he thinks fit in satisfaction of creditors' claims.

        (b)     The assets available for distribution to the Members shall be distributed in the following
                manner and priority:

                (i)     first, in the payment to the holders of the Participating Shares of each Class of a
                        sum as nearly as possible equal to the nominal amount of the Participating Shares
                        of that Class held by such holders respectively; and

                (ii)    second, in the payment to the holders of Management Shares of an amount equal
                        to the nominal amount of such Management Shares; and

                (iii)   third, in the payment to the holders of each Class of Participating Shares of any
                        remaining balance then attributable to the relevant Record, such payment being
                        made in proportion to the number of Participating Shares of that Class held
                        (adjusted to give effect to any equalisation arising by reason of the winding up
                        pursuant to any equalisation policy adopted by the Directors pursuant to Article 29).

        If the Company is wound up (whether the liquidation is voluntary, or under supervision by the Court)
        the liquidator may, with the sanction of a Special Resolution and any other sanction required by the
        Law, divide among the Members in specie the whole or any part of the assets of the Company and
        whether or not the assets shall consist of property of a single kind, and may for such purposes set
        such value as he deemed fair upon any one or more class or classes of property, and may
        determine how such division shall be carried out as between the Members or different classes of
        Members. The liquidator may, with the like sanction, vest the whole or any part of the assets in
        trustees upon such trusts for the benefit of Members as the liquidator, with the like authority, shall
        think fit, and the liquidation of the Company may be closed and the Company dissolved, but so that
        no Member shall be compelled to accept any shares in respect of which there is a liability.




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51      Indemnity and Insurance

51.1    Every Director (including for the purposes of this Article, any alternate Director appointed pursuant
        to the provisions of these Articles), managing Director, agent, Secretary, or other officer for the time
        being and from time to time of the Company and the personal representatives of the same shall be
        indemnified and secured harmless out of the assets and funds of the Company against all actions,
        proceedings, costs, charges, expenses, losses, damages or liabilities incurred or sustained by him
        otherwise than by reason of his own Gross Negligence or wilful default in or about the conduct of
        the Company's business or affairs or in the execution or discharge of his duties, powers, authorities
        or discretions, including without prejudice to the generality of the foregoing, any costs, expenses,
        losses or liabilities incurred by him in defending (whether successfully or otherwise) any civil
        proceedings concerning the Company or its affairs in any court whether in the Islands or elsewhere.

51.2    The Administrator, the Manager and any other agent which the Company has appointed shall be
        entitled to such indemnity from the Company under such terms and subject to such conditions and
        exceptions and with such entitlement to have recourse to the assets of the Company with a view
        to meeting and discharging the cost thereof as shall be specified in the relevant contract or
        instrument appointing such agent.

51.3    No such Director, alternate Director, managing Director, agent, Secretary, or other officer of the
        Company and the personal representatives of the same shall be liable (i) for the acts, receipts,
        neglects, defaults or omissions of any other such Director or officer or agent of the Company, (ii)
        by reason of his having joined in any receipt for money not received by him personally or in any
        other act to which he was not a direct party for conformity, (iii) for any loss on account of defect of
        title to any property of the Company, (iv) on account of the insufficiency of any security in or upon
        which any money of the Company shall be invested, (v) for any loss incurred through any bank,
        broker or other agent or any other party with whom any of the Company's property may be
        deposited or (vi) for any loss, damage or misfortune whatsoever which may happen in or arise from
        the execution or discharge of the duties, powers, authorities or discretions of his office or in relation
        thereto unless the same shall happen through his own Gross Negligence or wilful default.

51.4    The Directors may exercise all the powers of the Company to purchase and maintain insurance for
        the benefit of a person who is or was a Director, alternate Director, Secretary or auditor of the
        Company indemnifying him against any liability which may lawfully be insured against by the
        Company:

52      Disclosure
        If required to do so under the laws of any jurisdiction to which the Company, the Investment
        Manager, the Administrator or any other service provider is subject, or in compliance with the rules
        of any stock exchange upon which the Company's Shares are listed, or to ensure the compliance
        by any person with any anti-money laundering law in any relevant jurisdiction, any Director, Officer,
        the Investment Manager, the Administrator or Auditor of the Company shall be entitled to release
        or disclose any information in its possession regarding the affairs of the Company or a Member


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        including, without limitation, any information contained in the Register of Members or subscription
        documentation of the Company relating to any Member.

53      Financial Year
        Unless the Directors otherwise prescribe, the financial year of the Company shall end on 31st
        December in each year and, following the year of incorporation, shall begin on 1st January in each
        year.

54      Transfer by way of Continuation
        The Company shall, subject to the provisions of the Statute and with the approval of a Special
        Resolution, have the power to register by way of continuation as a body corporate under the laws
        of any jurisdiction outside the Cayman Islands and to be deregistered in the Cayman Islands.

55      Mergers and Consolidations
        The Company shall have the power to merge or consolidate with one or more other constituent
        companies (as defined in the Statute) upon such terms as the Directors may determine and (to the
        extent required by the Statute) with the approval of a Special Resolution.




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                         AMENDMENT
                             TO
 AMENDED AND RESTATED EXEMPTED LIMITED PARTNERSHIP AGREEMENT
                             OF
   HIGHLAND ARGENTINA REGIONAL OPPORTUNITY MASTER FUND, L.P.

        THIS AMENDMENT (this “Amendment”) to the Amended and Restated Exempted
Limited Partnership Agreement (the “Partnership Agreement”) dated November 1, 2017 (the
“Effective Date”) of Highland Argentina Opportunity Master Fund, L.P., a Cayman Islands
exempted limited partnership (the “Partnership”), is entered into to be effective as of the
Effective Date by Highland Argentina Opportunity Fund GP, LLC, as the General Partner, and
as the true and lawful agent and attorney-in-fact on behalf of each of the Limited Partners. All
capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Partnership Agreement.

        WHEREAS, due to a scrivener’s error, the definition of “Calculation Period” under
subsection (a) of Article I of the Partnership Agreement incorrectly provided that the Calculation
Period with respect to Capital Sub-Account of a Feeder Fund, after the initial Calculation Period,
shall commence as of the day following the last day of the preceding Calculation Period and end
as of the close of business on the last day of a calendar year;

       WHEREAS, at all times the Calculation Period was intended to end as of the close of
business on the last day of a fiscal quarter;

        WHEREAS, pursuant to the authority granted under Sections 8.1 and 8.2 of the
Partnership Agreement, the General Partner, on behalf of itself and on behalf of each of the
Limited Partners, now desires to correct the definition of “Calculation Period” under subsection
(a) of Article I of the Partnership Agreement to provide that the Calculation Period shall end as
of the close of business on the last day of a fiscal quarter.

              NOW, THEREFORE, in consideration of the premises and the agreements
contained herein and for other valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the General Partner, on behalf of itself and on behalf of each of the
Limited Partners, hereby amends the Partnership Agreement as follows:

             1.     The definition of “Calculation Period” in the Partnership Agreements is
hereby amended and replaced in its entirety to read as follows:

                       “Calculation Period” means, with respect to each Capital Sub-Account of
       a Feeder Fund, the period commencing as of the date of the establishment of the Capital
       Sub-Account (in the case of the initial Calculation Period) and thereafter each period
       commencing as of the day following the last day of the preceding Calculation Period with
       respect to such Capital Sub-Account, and ending as of the close of business on the first to
       occur of the following:

                      (a)     the last day of a fiscal quarter;

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                        (b)     the withdrawal of all or a portion of the Capital Sub-Account,
                                including as a result of a distribution (but only with respect to the
                                amount withdrawn in the event of a partial withdrawal);

                        (c)     the permitted Transfer of all or any portion of the Capital Sub-
                                Account (but only with respect to the amount withdrawn in the
                                event of a partial permitted Transfer); or

                        (d)     the final distribution with respect to the Capital Sub-Account
                                following the dissolution of the Partnership.

                          If a Calculation Period ends solely due to a partial withdrawal or a partial
         Transfer from the Capital Sub-Account, the Calculation Period is deemed to have ended
         only with respect to that particular Capital Sub-Account and only with respect to the
         portion of such Capital Sub-Account withdrawn or transferred. Thus, the Performance
         Allocation for such withdrawn or transferred amount shall be determined by multiplying
         the Performance Allocation attributable to the entire Capital Sub-Account at such time by
         a fraction (i) the numerator of which is equal to the amount so withdrawn or transferred
         from such Capital Sub-Account and (ii) the denominator of which is equal to the balance
         of such Capital Sub-Account immediately before giving effect to such withdrawal or
         Transfer.”

                  2.      This Amendment shall be governed by and construed in accordance with
  the laws of the Cayman Islands, without regard to the conflict of laws rule thereof which would
  result in the application of the laws of a different jurisdiction.

                 3.      This Amendment may be executed in multiple counterparts, each of
  which, when assembled to include an original or faxed signature for each party contemplated to
  sign this Amendment, will constitute a complete and fully executed agreement. All such fully
  executed original or faxed counterparts will collectively constitute a single agreement.

                4.     Except as modified hereby, the Partnership Agreement shall remain in full
  force and effect and the Amendment shall be binding upon the parties and their respective
  successors and assigns. If any inconsistency exists or arises between the terms of the
  Amendment and the terms of the Partnership Agreements, the Amendment shall prevail.




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         HIGHLAND ARGENTINA REGIONAL OPPORTUNITY
                     MASTER FUND, L.P.
                         A Cayman Islands Exempted Limited Partnership




                 Amended and Restated Exempted Limited Partnership Agreement




                                       November 1, 2017




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                                      NOTICE

        NEITHER HIGHLAND ARGENTINA REGIONAL OPPORTUNITY MASTER
  FUND, L.P. NOR THE LIMITED PARTNER INTERESTS THEREIN HAVE BEEN OR WILL
  BE REGISTERED UNDER THE U.S. SECURITIES ACT OF 1933, AS AMENDED (THE
  “SECURITIES ACT”), THE U.S. INVESTMENT COMPANY ACT OF 1940, AS AMENDED,
  THE SECURITIES LAWS OF ANY OF THE STATES OF THE UNITED STATES OR THE
  SECURITIES LAWS OF ANY NON-U.S. JURISDICTION. THE OFFERING OF SUCH
  LIMITED PARTNER INTERESTS IS BEING MADE IN RELIANCE UPON AN
  EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT
  FOR OFFERS AND SALES OF SECURITIES WHICH DO NOT INVOLVE ANY PUBLIC
  OFFERING, AND ANALOGOUS EXEMPTIONS UNDER STATE SECURITIES LAWS.

        THE DELIVERY OF THIS AMENDED AND RESTATED EXEMPTED LIMITED
  PARTNERSHIP AGREEMENT SHALL NOT CONSTITUTE AN OFFER TO SELL OR THE
  SOLICITATION OF AN OFFER TO BUY NOR SHALL THERE BE ANY OFFER,
  SOLICITATION OR SALE OF LIMITED PARTNER INTERESTS IN HIGHLAND
  ARGENTINA REGIONAL OPPORTUNITY MASTER FUND, L.P. IN ANY JURISDICTION
  IN WHICH SUCH OFFER, SOLICITATION OR SALE IS NOT AUTHORIZED OR TO ANY
  PERSON TO WHOM IT IS UNLAWFUL TO MAKE SUCH OFFER, SOLICITATION OR
  SALE.

       THE LIMITED PARTNER INTERESTS ARE SUBJECT TO RESTRICTIONS ON
  TRANSFERABILITY AND RESALE, MAY NOT BE TRANSFERRED OR RESOLD
  EXCEPT AS PERMITTED UNDER THE SECURITIES ACT AND APPLICABLE STATE OR
  NON-U.S. SECURITIES LAWS PURSUANT TO REGISTRATION OR EXEMPTION
  THEREFROM AND MAY NOT BE SOLD OR OTHERWISE TRANSFERRED EXCEPT IN
  ACCORDANCE WITH THE REQUIREMENTS AND CONDITIONS SET FORTH IN THIS
  AMENDED AND RESTATED EXEMPTED LIMITED PARTNERSHIP AGREEMENT.




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           THIS AMENDED AND RESTATED EXEMPTED LIMITED PARTNERSHIP
  AGREEMENT of Highland Argentina Regional Opportunity Master Fund, L.P. is made on
  November 1, 2017 by and among Highland Argentina Regional Opportunity Fund GP, LLC, as
  General Partner, Gustavo Prilick, as withdrawing Original Limited Partner, those Persons who
  are listed on Exhibit A as Limited Partners and any other Persons who are admitted, from time to
  time, as limited partners of the Partnership, in accordance with this Agreement. This Agreement
  amends and restates in its entirety the Initial Exempted Limited Partnership Agreement of the
  Partnership, dated September 21, 2017 (the “Prior Agreement”).



                                    Article I DEFINITIONS


         For purposes of this Agreement:

        “Act” means the Exempted Limited Partnership Law, 2014 of the Cayman Islands, as
  amended, supplemented or replaced from time to time.

          “Administrator” means such Person as the General Partner may designate from time to
  time, in its sole discretion, to serve as administrator to the Partnership.

          “Advisers Act” means the U.S. Investment Advisers Act of 1940, as amended, and the
  rules promulgated thereunder.

         “AEOI” means:

                (i)     Sections 1471 to 1474 of the Code and any associated legislation,
                        regulations or guidance, and any other similar legislation, regulations or
                        guidance enacted in any other jurisdiction which seeks to implement
                        similar financial account information reporting and/or withholding tax
                        regimes;

                (ii)    the OECD Standard for Automatic Exchange of Financial Account
                        Information in Tax Matters – the Common Reporting Standard and any
                        associated guidance;

                (iii)   any intergovernmental agreement, treaty, regulation, guidance, standard or
                        other agreement between the Cayman Islands (or any Cayman Islands
                        government body) and any other jurisdiction (including any government
                        bodies in such jurisdiction), entered into in order to comply with,
                        facilitate, supplement or implement the legislation, regulations, guidance
                        or standards described in sub-paragraphs (a) and (b); and

                (iv)    any legislation, regulations or guidance in the Cayman Islands that give
                        effect to the matters outlined in the preceding sub-paragraphs.




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          “Affiliate” means, with respect to any Person, a Person which controls, is controlled by,
  or is under common control with, such Person. For these purposes, “control” means the
  possession, direct or indirect, of the power to direct or cause the direction of the management and
  policies of a Person, whether through the ownership of voting securities, by contract or
  otherwise.

          “Affiliated Investor” means the Investment Manager, the General Partner and their
  respective Affiliates, principals, employees, partners, agents, the respective family members of
  such personnel and trusts and other entities established primarily for their benefit or for
  charitable purposes.

        “Agreement” means this Amended and Restated Exempted Limited Partnership
  Agreement of the Partnership, as amended from time to time.

         “Automatic Dissolution Date” has the meaning set forth in Section 6.1(a)(ii).

         “BBA” means Subchapter C of Chapter 63 of the Code (Sections 6221 through 6241 of
  the Code), as enacted by the Bipartisan Budget Act of 2015, Pub. L. No. 114-74, as amended
  from time to time, and the Regulations thereunder (whether proposed, temporary or final),
  including any subsequent amendments, successor provisions or other guidance thereunder, and
  any equivalent provisions for state, local or non-U.S. tax purposes.

         “BBA Effective Period” means any taxable year commencing after 2017, taking into
  account any extensions of the effective date set forth in Bipartisan Budget Act Section
  1101(g)(1), as applicable, or in any other BBA guidance.

         “Business Day” means any day or days on which banks in the Cayman Islands, Buenos
  Aires and New York City are authorized to open for business or such other days as the General
  Partner may determine generally, or in any particular case.

          “Calculation Period” means, with respect to each Capital Sub-Account of a Feeder Fund,
  the period commencing as of the date of the establishment of the Capital Sub-Account (in the
  case of the initial Calculation Period) and thereafter each period commencing as of the day
  following the last day of the preceding Calculation Period with respect to such Capital Sub-
  Account, and ending as of the close of business on the first to occur of the following:

                 (a)    the last day of a calendar year;

                 (b)    the withdrawal of all or a portion of the Capital Sub-Account, including as
                        a result of a distribution (but only with respect to the amount withdrawn in
                        the event of a partial withdrawal);

                 (c)    the permitted Transfer of all or any portion of the Capital Sub-Account
                        (but only with respect to the amount withdrawn in the event of a partial
                        permitted Transfer); or

                 (d)    the final distribution with respect to the Capital Sub-Account following
                        the dissolution of the Partnership.


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          If a Calculation Period ends solely due to a partial withdrawal or a partial Transfer from
  the Capital Sub-Account, the Calculation Period is deemed to have ended only with respect to
  that particular Capital Sub-Account and only with respect to the portion of such Capital Sub-
  Account withdrawn or transferred. Thus, the Performance Allocation for such withdrawn or
  transferred amount shall be determined by multiplying the Performance Allocation attributable to
  the entire Capital Sub-Account at such time by a fraction (i) the numerator of which is equal to
  the amount so withdrawn or transferred from such Capital Sub-Account and (ii) the denominator
  of which is equal to the balance of such Capital Sub-Account immediately before giving effect to
  such withdrawal or Transfer.

         “Capital Account” means, with respect to each Partner, the capital account (including
  any related Capital Sub-Accounts) established and maintained on behalf of such Partner as
  described in Section 3.3.

          “Capital Sub-Account” means, with respect to each Feeder Fund, the separate
  memorandum account to be recorded in the books and records of the Partnership as a sub-
  account within such Feeder Fund’s Capital Account that corresponds to each series or sub-series
  of interests held by each Feeder Fund Investor, including Series A Capital Sub-Accounts, Series
  B Capital Sub-Accounts and Series C Capital Sub-Accounts. Each Capital Sub-Account with
  respect to the Capital Account of the Domestic Fund shall correspond to the beneficial interest of
  each partner in the Domestic Fund; and each Capital Sub-Account with respect to the Capital
  Account of the Offshore Fund shall correspond to each Sub-Series of shares of the Offshore
  Fund. The Partnership will also maintain Capital Sub-Accounts to reflect varied ownership
  interests in a Feeder Fund. The aggregate of the balances of all Capital Sub-Accounts with
  respect to each Feeder Fund shall equal the balance of each such Feeder Fund’s Capital Account.
  Except as the context otherwise requires, the term Capital Account includes any Capital Sub-
  Account of a Feeder Fund.

          “Carryforward Account” means a memorandum account to be recorded in the books and
  records of the Partnership with respect to each Capital Sub-Account of a Feeder Fund. The
  Carryforward Account with respect to each Capital Sub-Account of any Feeder Fund will have
  an initial balance of zero and will be adjusted as follows:

                 (a)    As of the first day after the close of each Calculation Period for such
                        Capital Sub-Account, the balance of the Carryforward Account is
                        (i) increased by the amount, if any, of the Negative Performance Change
                        with respect to such Capital Sub-Account for such Calculation Period and
                        (ii) reduced (but not below zero) by the amount, if any, of the Positive
                        Performance Change with respect to such Capital Sub-Account for such
                        Calculation Period.

                 (b)    As of the close of the Calculation Period, any positive balance of the
                        Carryforward Account is further adjusted if such Capital Sub-Account has
                        been reduced during such Calculation Period as a result of a distribution or
                        withdrawal, by reducing such positive balance (but not below zero) by an
                        amount determined by multiplying (i) such positive balance by (ii) a
                        fraction, of which (A) the numerator is equal to the amount so distributed


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                        or withdrawn, and (B) the denominator is equal to the balance of such
                        Capital Sub-Account immediately before giving effect to such distribution
                        or withdrawal.

          “Carrying Value” means, with respect to any Investment, except as set forth herein, the
  asset’s adjusted tax basis for United States federal income tax purposes, except that the Carrying
  Values of all Investments may, in the discretion of the General Partner, be adjusted to equal their
  respective fair market values (as determined by the General Partner), in accordance with the
  rules set forth in Regulation Section 1.704-1(b)(2)(iv)(f). In the case of any Investment that has
  a Carrying Value that differs from its adjusted tax basis, Carrying Value shall be adjusted by the
  amount of depreciation, depletion and amortization calculated for purposes of the definition of
  Net Profit and Net Loss rather than the amount of depreciation, depletion and amortization
  determined for United States federal income tax purposes.

        “Code” means the U.S. Internal Revenue Code of 1986, as amended, and as hereafter
  amended, or any successor law.

          “Commencement Date” means the first date on or as of which a Limited Partner, other
  than the Original Limited Partner, makes a capital contribution to the Partnership.

        “Domestic Fund” means Highland Argentina Regional Opportunity Fund, L.P., a
  Delaware limited partnership that invests in the Partnership as a Limited Partner.

        “Domestic Fund LPA” means the Amended and Restated Limited Partnership
  Agreement of the Domestic Fund, dated November 1, 2017, as may be amended from time to
  time.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as the same
  may be amended from time to time.

          “ERISA Partner” means a Limited Partner which is (a) an employee benefit plan subject
  to the fiduciary provisions of ERISA, (b) a “plan” subject to Section 4975 of the Code, (c) an
  entity whose underlying assets include “plan assets” for purposes of ERISA by reason of a Plan’s
  investment in the entity, or (d) an entity that otherwise constitutes a “benefit plan investor”
  within the meaning of Section 3(42) of ERISA or any regulation promulgated thereunder.

          “FATCA” means legislation known as the U.S. Foreign Account Tax Compliance Act,
  Sections 1471 through 1474 of the Code and any Regulations thereunder, including any
  subsequent amendments, and administrative guidance promulgated thereunder (or which may be
  promulgated in the future), any applicable intergovernmental agreements and related statutes,
  regulations or rules and other guidance thereunder, any governmental authority pursuant to the
  foregoing authorities, and any agreement entered into with respect thereto.

         “Feeder Fund Investor” means an investor in one of the Feeder Funds.

         “Feeder Funds” means the Domestic Fund, the Offshore Fund and any other investment
  vehicle(s) sponsored by the Investment Manager or one of its Affiliates that invests in parallel
  with the Domestic Fund and the Offshore Fund in the Partnership.


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         “Fiscal Period” means each period that starts at the opening of business on the
  Commencement Date (in the case of the initial Fiscal Period) and thereafter on the day
  immediately following the last day of the preceding Fiscal Period, and that ends at the close of
  business on the earliest of the following dates:

         (a)     the last day of a calendar month;

         (b)     any date as of which any withdrawal or distribution of capital is made with
                 respect to any Capital Account or as of which this Agreement provides for any
                 amount to be credited to or debited against a Capital Account, other than a
                 withdrawal or distribution by or to, or an allocation to, all Capital Accounts that
                 does not result in any change of the Partnership Percentage relating to any Capital
                 Account;

         (c)     the date which immediately precedes any day as of which a capital contribution is
                 accepted by the General Partner from any new or existing Partner; or

         (d)     any other date which the General Partner selects.

          “Fiscal Year” means the period commencing on the Commencement Date and ending on
  December 31 of the same year, and thereafter each period commencing on January 1 of each
  year and ending on December 31 of such year, unless the General Partner shall elect another
  fiscal year; provided that any such other fiscal year shall be permissible for U.S. federal income
  tax purposes. In the case of the Fiscal Year in which the Partnership is terminated in accordance
  with Article VI, “Fiscal Year” means the period commencing on January 1 of that year and
  ending on the date on which the Partnership is terminated.

         “GAAP” means generally accepted accounting principles in the United States.

         “General Partner” means Highland Argentina Regional Opportunity Fund GP, LLC, a
  Delaware limited liability company registered as a foreign company in the Cayman Islands, any
  successor thereto, and any Person hereafter admitted as an additional general partner, in its
  capacity as general partner of the Partnership.

         “Gross Negligence” means “gross negligence” as such term is defined and interpreted in
  accordance with the laws of the State of Delaware, United States.

          “IFRS” means the International Financial Reporting Standards issued by the
  International Accounting Standards Board.

          “Indemnified Person” means each of the General Partner, the Investment Manager, each
  member, shareholder, partner, manager and director of, and any person who controls, the General
  Partner or the Investment Manager, each of the respective Affiliates of the foregoing and each of
  their respective executors, heirs, assigns, successors and other legal representatives.

         “Interest” means the entire ownership interest of a Partner in the Partnership at the
  relevant time, including the right of such Partner to any and all benefits to which a Partner may



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  be entitled as provided in this Agreement, together with the obligations of such Partner to
  comply with all the terms and provisions of this Agreement.

         “Investment Management Agreement” means the investment management agreement by
  and among the Investment Manager, the General Partner, the Domestic Fund, the Offshore Fund
  and the Partnership, as amended from time to time.

         “Investment Manager” means Highland Capital Management Latin America, L.P., a
  Cayman Islands exempted limited partnership, or any successor thereto, or any Person thereafter
  appointed as an investment manager of the Partnership in accordance with the Investment
  Management Agreement.

         “Investments” means investments in securities or other financial or intangible investment
  instruments, contracts or products made by the Partnership, as more fully described in the Feeder
  Funds’ offering memoranda (as may be amended, updated or supplemented from time to time).

          “Limited Partner” means each of the Persons set forth on Exhibit A, other than the
  General Partner, and any Person who hereafter becomes a Limited Partner pursuant to the terms
  of this Agreement, in each case in such Person’s capacity as a limited partner of the
  Partnership. The General Partner may subdivide the Interests into separate series and establish
  new series pursuant to Section 2.10; provided, that, except as expressly set forth in this
  Agreement, for all purposes of the Act, the Limited Partners constitute a single class or group of
  limited partners.

         “Liquidator” has the meaning set forth in Section 6.1(b).

          “Majority of Limited Partners” means Limited Partners whose Partnership Percentages
  represent more than 50% of the aggregate Partnership Percentages of all Limited Partners or the
  series of Limited Partners, as applicable.

          “Management Fee” means an amount calculated at an annual rate of (a) 1.75% of each
  Series A Capital Sub-Account, (b) 1.25% of each Series B Capital Sub-Account, and (c) 1.00%
  of each Series C Capital Sub-Account. The Management Fee accrues from the date a Capital
  Sub-Account is created, is calculated monthly based on the Capital Sub-Account balance on the
  last day of each calendar month (before giving effect to any withdrawals from such Capital Sub-
  Account during such calendar month) and is payable quarterly in arrears on the last day of each
  calendar quarter. The General Partner or the Investment Manager may reduce, waive or
  calculate differently the Management Fee with respect to any Limited Partner and any Capital
  Sub-Account.

         “Negative Basis” means, with respect to any Partner and as of any time of calculation,
  the excess of such Partner’s “adjusted tax basis” in its Interest for U.S. federal income tax
  purposes at such time (determined without regard to any adjustments made to such adjusted tax
  basis by reason of any Transfer of such Interest) over the amount that such Partner is entitled to
  receive upon withdrawal from or the winding up and subsequent dissolution of the Partnership.

          “Negative Basis Partner” means any Partner who withdraws all or a portion of its
  Interest from the Partnership and who has a Negative Basis as of the effective date of


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  withdrawal, but such Partner will cease to be a Negative Basis Partner at such time as it has
  received allocations pursuant to Section 3.9(d) equal to such Partner’s Negative Basis as of the
  effective date of withdrawal and without regard to such Partner’s share of the liabilities of the
  Partnership under Section 752 of the Code.

          “Net Assets” means the total value, as determined by the Administrator in accordance
  with Section 7.3, of all Investments and other assets of the Partnership (including net unrealized
  appreciation or depreciation of the assets and accrued interest and dividends receivable net of
  any withholding taxes), less an amount equal to all accrued debts, liabilities and obligations of
  the Partnership (including any reserves for contingencies accrued pursuant to
  Section 3.6). Except as otherwise expressly provided herein, Net Assets as of the first day of any
  Fiscal Period shall be determined on the basis of the valuation of assets conducted as of the close
  of the immediately preceding Fiscal Period but after giving effect to any capital contributions
  made by any Partner subsequent to the last day of such immediately preceding Fiscal Period and
  after giving effect to Management Fee charges and Net Assets as of the last day of any Fiscal
  Period shall be determined before giving effect to any of the following amounts payable by the
  Partnership generally or in respect of any Investment which are effective as of the date on which
  such determination is made:

         (a)     any Performance Allocation as of the date on which such determination is made;

         (b)     any withdrawals or distributions payable to any Partner which are effective as of
                 the date on which such determination is made; and

         (c)     withholding or other taxes (including any amounts payable under any BBA
                 provision), expenses of processing withdrawals and other items payable and any
                 increases or decreases in any reserves, holdbacks or other amounts recorded
                 pursuant to Section 3.6 during the Fiscal Period ending as of the date on which
                 such determination is made, to the extent the General Partner determines that,
                 pursuant to any provisions of this Agreement, such items are not to be charged
                 ratably among the Capital Accounts of all Partners on the basis of their respective
                 Partnership Percentages as of the commencement of the Fiscal Period.

          “Net Profit or Net Loss” means, for each Fiscal Year or other period, the taxable income
  or loss of the Partnership, or particular items thereof, determined in accordance with the
  accounting method used by the Partnership for United States federal income tax purposes with
  the following adjustments: (a) all items of income, gain, loss or deduction specially allocated
  pursuant to Section 3.9 shall not be taken into account in computing such Net Profit or Net Loss;
  (b) any income of the Partnership that is exempt from United States federal income taxation and
  not otherwise taken into account in computing Net Profit and Net Loss shall be added to such
  taxable income or loss; (c) if the Carrying Value of any asset differs from its adjusted tax basis
  for United States federal income tax purposes, any gain or loss resulting from a disposition of
  such asset shall be calculated with reference to such Carrying Value; (d) if the Carrying Value of
  any asset differs from its adjusted tax basis for United States federal income tax purposes, the
  amount of depreciation, amortization or cost recovery deductions with respect to such asset shall,
  for purposes of determining Net Profit and Net Loss, be an amount that bears the same ratio to
  such Carrying Value as the United States federal income tax depreciation, amortization or other


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  cost recovery deductions bears to such adjusted tax basis (provided, that, if the United States
  federal income tax depreciation, amortization or other cost recovery deduction is zero (0), the
  General Partner may use any reasonable method for purposes of determining depreciation,
  amortization or other cost recovery deductions in calculating Net Profit and Net Loss); (e) any
  expenditures of the Partnership that are described in Section 705(a)(2)(B) of the Code or are
  treated as described in Section 705(a)(2)(B) of the Code pursuant to Regulation Section 1.704-
  1(b)(2)(iv)(i) and not otherwise taken into account in computing Net Profit and Net Loss shall be
  treated as deductible items; (f) any deduction or debit of the Partnership attributable to
  Management Fees, placement fees or Organizational Expenses, as the case may be, shall not be
  taken into account in computing such Net Profit or Net Loss; and (g) if the Carrying Value of
  any Partnership property is adjusted as provided in the definition of Carrying Value, the amount
  of such adjustment shall be taken into account, as and if appropriate, immediately prior to the
  event giving rise to such adjustment, as gain or loss from the hypothetical disposition of such
  property.

         “New Limited Partner” has the meaning assigned to such term in Section 8.2(a)(vi).

       “Offshore Fund” means Highland Argentina Regional Opportunity Fund, Ltd., a
  Cayman Islands exempted company that invests in the Partnership as a Limited Partner.

        “Offshore Fund POM” means the Offering Memorandum of the Offshore Fund, dated
  October 2017, as may be modified or supplemented from time to time.

          “Original Limited Partner” means Gustavo Prilick, in his capacity as the original limited
  partner of the Partnership.

          “Other Account” means any assets or investment of the General Partner or the
  Investment Manager, or any assets managed by the General Partner, the Investment Manager or
  any of their respective Affiliates for the account of any Person or entity (including investment
  vehicles) other than the Partnership, which are invested or which are available for investment in
  securities or other instruments or for trading activities whether or not of the specific type being
  conducted by the Partnership.

         “Partner” means the General Partner or any of the Limited Partners, except as otherwise
  expressly provided herein, and “Partners” means the General Partner and all of the Limited
  Partners.

         “Partnership” means the exempted limited partnership formed upon the filing of a
  statement under Section 9 of the Act with the Registrar on September 21, 2017, pursuant to the
  Prior Agreement and registered with the name “Highland Argentina Regional Opportunity
  Master Fund, L.P.”

          “Partnership Percentage” means a percentage established for each Capital Account on
  the Partnership’s books as of the first day of each Fiscal Period. The Partnership Percentage of a
  Capital Account for a Fiscal Period shall be determined by dividing the amount of such Capital
  Account as of the beginning of the Fiscal Period (after crediting all capital contributions to such
  Capital Account which are effective as of such date, net of all deductions, including Management
  Fees) by the sum of all Capital Accounts as of the beginning of the Fiscal Period (after crediting


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  all capital contributions to the Partnership which are effective as of such date, net of all
  deductions, including Management Fees). The sum of the Partnership Percentages of all Capital
  Accounts for each Fiscal Period shall equal 100%.

         “Performance Allocation” means:

         (a)    with respect to each Series A Capital Sub-Account, 20.0% of the amount,
                determined as of the close of each Calculation Period with respect to such Capital
                Sub-Account, by which (i) such Capital Sub-Account’s Positive Performance
                Change for such Calculation Period, if any, exceeds (ii) any positive balance in
                such Capital Sub-Account’s Carryforward Account as of the most recent prior
                date as of which any adjustment has been made thereto;

         (b)    with respect to each Series B Capital-Sub Account, 17.5% of the amount,
                determined as of the close of each Calculation Period with respect to such Capital
                Sub-Account, by which (i) such Capital Sub-Account’s Positive Performance
                Change for such Calculation Period, if any, exceeds (ii) any positive balance in
                such Capital Sub-Account’s Carryforward Account as of the most recent prior
                date as of which any adjustment has been made thereto; and

         (c)    with respect to each Series C Capital Sub-Account, 15.0% of the amount,
                determined as of the close of each Calculation Period with respect to such Capital
                Sub-Account, by which (i) such Capital Sub-Account’s Positive Performance
                Change for such Calculation Period, if any, exceeds (ii) any positive balance in
                such Capital Sub-Account’s Carryforward Account as of the most recent prior
                date as of which any adjustment has been made thereto.

         The General Partner has the discretion to fully or partially waive or decrease the
  Performance Allocation with respect to any Capital Sub-Account. For the avoidance of doubt, if
  and for so long as Capital Sub-Accounts are maintained for any Limited Partner, the
  Performance Allocation shall be calculated separately with respect to each such Capital Sub-
  Account as if such Capital Sub-Account was the sole Capital Account of a Person admitted as a
  Limited Partner upon establishment of such Capital Sub-Account. In such event, the
  Performance Allocation for such Limited Partner shall be the total of the Performance
  Allocations as calculated with respect to each such Capital Sub-Account.

         “Performance Change” means, with respect to each Capital Sub-Account for each
  Calculation Period, the difference between:

         (a)    the sum of (i) the balance of such Capital Sub-Account as of the close of the
                Calculation Period (after giving effect to Management Fees and all allocations to
                be made to such Capital Sub-Account as of such date other than any Performance
                Allocation to be debited against such Capital Sub-Account), plus (ii) any debits to
                such Capital Sub-Account during the Calculation Period to reflect any actual or
                deemed distributions or withdrawals with respect to such Capital Sub-Account,
                plus (iii) any debits to such Capital Sub-Account during the Calculation Period to




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                 reflect any items allocable to such Capital Sub-Account pursuant to Section 3.5(b)
                 or (c); and

         (b)     the sum of (i) the balance of such Capital Sub-Account as of the commencement
                 of the Calculation Period, plus (ii) any credits to such Capital Sub-Account during
                 the Calculation Period to reflect any contributions by such Limited Partner to the
                 Capital Sub-Account.

          If there is any change in the Net Assets associated with such Capital Sub-Account during
  a relevant Calculation Period that is not reflected in the Carrying Value of the Partnership’s
  Investment, the General Partner shall be permitted, in its sole discretion, to adjust the
  Performance Change with respect to such Capital Sub-Account as if such change had been (i)
  reflected in the Carrying Value of the Partnership’s Investments in respect of the relevant
  Calculation Period and (ii) allocated among the Capital Sub-Accounts in the manner prescribed
  for comparable items by this Agreement.

          The calculation of the Performance Change will take into account all expenses of the
  relevant Feeder Fund incurred with respect to such Capital Sub-Account as of such calculation
  date. If the amount specified in clause (a) exceeds the amount specified in clause (b), such
  difference is a “Positive Performance Change,” and if the amount specified in clause (b)
  exceeds the amount specified in clause (a), such difference is a “Negative Performance
  Change.”

         For the avoidance of doubt, if and for so long as Capital Sub-Accounts are maintained for
  any Limited Partner, the Performance Change for each Calculation Period shall be computed
  separately with respect to each such Capital Sub-Account and the resulting “Positive
  Performance Changes” and “Negative Performance Changes” shall be separately allocated to
  such Capital Sub-Accounts and shall not be netted against each other.

          “Person” means any individual, partnership, corporation, limited liability company, trust,
  or other entity.

       “Plan Assets” means assets of the Partnership that are considered to be assets of an
  ERISA Partner, as determined pursuant to Section 3(42) of ERISA.

          “Positive Basis” means, with respect to any Partner and as of any time of calculation, the
  excess of the amount that such Partner is entitled to receive upon withdrawal from or the winding
  up and subsequent dissolution of the Partnership over such Partner’s “adjusted tax basis” in its
  Interest for U.S. federal income tax purposes at such time (determined without regard to any
  adjustments made to such adjusted tax basis by reason of any Transfer of such Interest).

          “Positive Basis Partner” means any Partner who withdraws all or a portion of its Interest
  from the Partnership and who has a Positive Basis as of the effective date of withdrawal, but
  such Partner shall cease to be a Positive Basis Partner at such time as it shall have received
  allocations pursuant to Section 3.9(c) equal to such Partner’s Positive Basis as of the effective
  date of withdrawal and without regard to such Partner's share of the liabilities of the Partnership
  under Section 752 of the Code.



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         “Prior Agreement” has the meaning set forth in the recitals hereto.

          “Registrar” means the Registrar of Exempted Limited Partnerships of the Cayman
  Islands.

        “Regulations” means the proposed, temporary and final U.S. Treasury Regulations
  promulgated under the Code, including any successor regulations.

         “Regulatory Allocations” has the meaning set forth in Section 3.10.

         “Section 9 Statement” has the meaning set forth in Section 2.1(a).

         “Series A Capital Sub-Account” means a Capital Sub-Account that corresponds to a
  holder of Series A Interests (as defined in the Domestic Fund LPA) in the Domestic Fund or a
  holder of a Sub-Series of Series A Shares (as defined in the Offshore Fund POM) in the Offshore
  Fund, as applicable.

         “Series B Capital Sub-Account” means a Capital Sub-Account that corresponds to a
  holder of Series B Interests (as defined in the Domestic Fund LPA) in the Domestic Fund or a
  holder of a Sub-Series of Series B Shares (as defined in the Offshore Fund POM) in the Offshore
  Fund, as applicable.

         “Series C Capital Sub-Account” means a Capital Sub-Account that corresponds to a
  holder of Series C Interests (as defined in the Domestic Fund LPA) in the Domestic Fund or a
  holder of a Sub-Series of Series C Shares (as defined in the Offshore Fund POM) in the Offshore
  Fund, as applicable.

          “Special Limited Partner” means Highland Capital Management Latin America, L.P., in
  its capacity as a special limited partner of the Partnership for purposes of the receipt of the
  Performance Allocation.

         “Sub-Series” means sub-series of shares of the Offshore Fund, as created from time to
  time, for purposes of accounting for any profits and losses attributable to each individual
  shareholder and of permitting the Performance Allocation to be calculated separately with
  respect to each shareholder to reflect different returns achieved as a result of subscriptions
  received from shareholders at different times.

         “Termination Date” has the meaning assigned to such term in Section 6.1(a).

          “Transfer” means any direct or indirect sale, exchange, transfer, assignment, pledge,
  encumbrance, charge, exchange, hypothecation, placing of a lien or a security interest on an
  Interest or any other disposition by a Partner of its Interest to or in favor of another party,
  whether voluntary or involuntary (including, but not limited to, being offered or listed on or
  through any placement agent, intermediary, online service, site, agent or similar Person).




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                                Article II ORGANIZATION


  2.1   Continuation of Exempted Limited Partnership

        (a)   The General Partner and the Original Limited Partner established the Partnership
              upon filing a statement under Section 9 of the Act (the “Section 9 Statement”)
              with the Registrar on September 21, 2017, pursuant to the Prior Agreement,
              which Prior Agreement has governed the operation of the Partnership since that
              date. The Original Limited Partner hereby withdraws as a Limited Partner
              immediately following the admission of any additional Limited Partner and
              thereafter shall have no further rights, interest or obligations of any kind
              whatsoever under or in respect of this Agreement or as the Original Limited
              Partner. The General Partner hereby admits the Limited Partners who are a party
              to this Agreement (excluding the Original Limited Partner) and the General
              Partner and the Limited Partners hereby amend and restate the Prior Agreement in
              its entirety on the terms of this Agreement.

        (b)   If requested by the General Partner, the Limited Partners will promptly execute all
              certificates and other documents consistent with the terms of this Agreement
              necessary for the General Partner to accomplish all filings, recordings,
              publishings and other acts as may be appropriate to comply with all requirements
              for (i) the formation and operation of an exempted limited partnership under the
              laws of the Cayman Islands, (ii) if the General Partner deems it advisable, the
              operation of the Partnership as an exempted limited partnership, or partnership in
              which the Limited Partners have limited liability, in all jurisdictions where the
              Partnership proposes to operate and (iii) all other filings required by the Act to be
              made by the Partnership. The General Partner shall cause any required
              amendment to the Section 9 Statement or any other amendment requiring filing
              under the Act to be filed promptly following the event requiring such amendment.
              All such amendments may be signed by the General Partner (as required by the
              Act), and may be signed either personally or by an attorney-in-fact or agent of the
              General Partner.

        (c)   The Partnership expects to receive an undertaking from the Governor-in-Cabinet
              of the Cayman Islands to the effect that, for a period of 50 years from the date of
              the undertaking, no law which is enacted in the Cayman Islands imposing any tax
              to be levied on profits or income or gains or appreciations shall apply to the
              Partnership or to any Partner in respect of the operations or assets of the
              Partnership or the Interest of a Partner. The parties hereto acknowledge that they
              intend that the Partnership be taxed in the United States as a partnership and not
              as an association taxable as a corporation for U.S. federal income tax purposes.
              No election may be made to treat the Partnership as other than a partnership for
              U.S. federal income tax purposes.



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  2.2   Name of Partnership

        (a)    The name of the Partnership is Highland Argentina Regional Opportunity Master
               Fund, L.P. or such other name as the General Partner may hereafter adopt upon (i)
               causing a statement pursuant to Section 10 of the Act to be filed with the
               Registrar and (ii) giving notice thereof to the Limited Partners.

        (b)    The Partnership shall have the exclusive ownership and right to use the
               Partnership name so long as the Partnership continues, despite the withdrawal,
               expulsion, resignation or removal of any Limited Partner, but upon the
               Partnership’s winding up or at such time as there ceases to be a general partner,
               the Partnership shall assign the name and the goodwill attached thereto to the
               General Partner or one of its Affiliates without payment by the assignee(s) of any
               consideration therefor.

  2.3   Registered Office

        (a)    The registered office address of the Partnership in the Cayman Islands is at c/o
               Maples Corporate Services Limited, P.O. Box 309, Ugland House, Grand
               Cayman, KY1-1104, Cayman Islands.

        (b)    The General Partner may at any time change the location of the Partnership’s
               registered office or registered agent in its sole discretion, provided that the
               registered office of the Partnership shall be in the Cayman Islands.

  2.4   Term of Partnership

         The term of the Partnership commenced on the date of formation and continues until
  wound up and dissolved pursuant to Section 6.1 (unless its term is extended pursuant to
  Section 6.1).

  2.5   Object and Powers of Partnership

        (a)    The object and business of the Partnership is to (1) purchase, sell (including short
               sales), invest and trade in the Investments, (2) engage in financial transactions,
               including borrowing, financing, pledging, hedging and other derivative
               transactions relating thereto for the benefit of the Partnership, (3) engage in any
               other lawful act or activity for which exempted limited partnerships may be
               formed under the Act and (4) engage in any and all activities necessary or
               incidental to the foregoing; provided that the Partnership shall not undertake
               business with the public in the Cayman Islands other than so far as is necessary
               for the carrying on of the business of the Partnership exterior to the Cayman
               Islands.

        (b)    The Partnership possesses and the General Partner on behalf of the Partnership
               may exercise all such powers and privileges as the General Partner considers
               necessary, convenient or incidental to the conduct, promotion or attainment of the
               objects of the Partnership.


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  2.6    Liability of Partners

         (a)       The liability of the Limited Partners is limited to their obligations under this
                   Agreement and the Act. The General Partner is liable for all of the debts and
                   obligations of the Partnership to the extent that the Partnership has insufficient
                   assets. The General Partner shall not be personally liable for the withdrawal,
                   payment or distribution of all or any part of any Interest, it being expressly agreed
                   that any such withdrawal, payment or distribution to be made pursuant to this
                   Agreement shall be made solely from the assets of the Partnership (which shall
                   not include the General Partner’s capital contributions) and on the terms and
                   subject to the conditions contained in this Agreement.

         (b)       In no event shall any Limited Partner (or former Limited Partner) be obligated to
                   make any contribution to the Partnership in addition to its agreed capital
                   contribution (or other payments provided for herein) or have any personal liability
                   for the repayment or discharge of the debts and obligations of the Partnership
                   except to the extent provided herein or as required by the Act or other applicable
                   law.

  2.7    Actions by Partnership

          The General Partner on behalf of the Partnership may execute, deliver and perform all
  contracts, agreements and other undertakings and engage in all activities and transactions as may
  in the opinion of the General Partner be necessary or advisable to carry out the objects of the
  Partnership as set forth in Section 2.5 above. Notwithstanding the foregoing, the Partnership
  shall not issue any securities other than interests in the Partnership.

  2.8    Reliance by Third Parties

          Persons dealing with the Partnership are entitled to rely conclusively upon the power and
  authority of the General Partner as herein set forth.

  2.9    Filings

         (a)       The General Partner shall take any and all other actions as may be reasonably
                   necessary to perfect and maintain the status of the Partnership as an exempted
                   limited partnership under the Act and other laws of the Cayman Islands, including
                   the filing of a notice pursuant to Section 10 of the Act with the Registrar signed
                   by the General Partner upon the occurrence of certain amendments to the Section
                   9 Statement of the Partnership, and any other states or jurisdictions in which the
                   Partnership engages in business.

         (b)       Following the winding up of the Partnership in accordance with the terms of this
                   Agreement and to effect the dissolution of the same, the General Partner or any
                   duly appointed liquidator shall promptly (i) comply with the applicable provisions
                   of Section 15 of the Act, (ii) execute and cause to be filed a notice of dissolution
                   in accordance with Section 15(3) of the Act and (iii) file any certificates of



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                cancellation in accordance with the laws of any states or jurisdictions in which the
                Partnership has filed certificates.

  2.10   Series of Interests

           The General Partner, at any time, may without notification to or consent of the other
  Limited Partners, create and offer different series of Interests with such rights, obligations,
  liabilities, privileges, designations and preferences (including different investment strategies,
  underlying investments, degrees of leverage, management fees, performance allocations,
  brokerage commissions, transparency, withdrawal rights, co-investment opportunities, and other
  differences) as the General Partner may determine upon the issuance of such series of Interests;
  provided that such series of Interests would not reasonably be expected to have a material
  adverse effect on the existing Feeder Fund Investors. The terms and rights of each such series of
  Interests may be set forth in the Feeder Funds’ offering memoranda, any supplement thereto or a
  “side letter” or other agreement, which the General Partner may incorporate by reference.



                                      Article III CAPITAL


  3.1    Contributions to Capital

         (a)    Each Partner is permitted to make contributions to the capital of the Partnership at
                such times and in such amounts as the General Partner, in its sole discretion, may
                determine. The Limited Partners are not required to make any additional capital
                contributions to the Partnership, subject to the provisions of Section 3.5(b) and
                any contrary provision of the Act.

         (b)    Each Person admitted as a general partner of the Partnership agrees to make and
                maintain a capital contribution as a general partner of at least U.S.$1.00. Except
                as provided above or in the Act, the General Partner is not required or obligated to
                make any additional contributions to the capital of the Partnership. However, the
                General Partner or an Affiliate shall have the right at any time to make additional
                capital contributions as a Limited Partner or General Partner in such amounts as it
                may determine. If an Affiliated Investor makes a capital contribution as a Feeder
                Fund Investor or a Limited Partner, the General Partner has the authority to waive
                the Management Fee and/or Performance Allocation with respect to such Feeder
                Fund Investor or Limited Partner, respectively.

  3.2    Rights of Partners in Capital

         (a)    No Partner shall be entitled to interest on its capital contributions to the
                Partnership.

         (b)    No Partner shall have the right to the return of any capital contribution to the
                Partnership except, subject to the Act, (i) upon withdrawal by such Partner of all
                or part of its Interest pursuant to Section 5.3 or (ii) upon the winding up and


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              dissolution of the Partnership pursuant to Section 6.1. The entitlement to any
              such return shall be limited to the value of the Capital Account, including
              corresponding Capital Sub-Accounts, of the Partner. The General Partner shall
              not be liable for the return of any such amounts.

  3.3   Capital Accounts

        (a)   The Partnership shall maintain a separate Capital Account for each Partner. The
              General Partner may, in its discretion, maintain separate memorandum sub-
              accounts with respect to each such Capital Account for purposes of this
              Agreement. Each Capital Account will reflect the aggregate sum of the balances
              of all memorandum sub-accounts associated with each such Capital Account.
              Without limiting the foregoing, the Partnership shall also maintain separate
              Capital Sub-Accounts within the Capital Account of each Feeder Fund relating to
              the beneficial interest of each Feeder Fund Investor therein. If a Feeder Fund
              Investor invests in more than one series of limited partner interests in the
              Domestic Fund, the Partnership will maintain a separate Capital Sub-Account on
              behalf of such Feeder Fund Investor with respect to each series. The Partnership
              will maintain a separate Capital Sub-Account corresponding to each Sub-Series of
              shares held by a Feeder Fund Investor in the Offshore Fund. Each Capital Sub-
              Account will be treated as if it were the Capital Account of a separate Partner for
              purposes of this Agreement, unless otherwise determined by the General Partner,
              including, without limitation, for purposes of determining the Management Fee
              and the Performance Allocation applicable to each such Capital Sub-Account.
              References herein to a “Capital Account” shall be deemed to refer to such a
              Capital Sub-Account where the context admits.

        (b)   Each Capital Account shall have an initial balance equal to the amount of any
              cash and the net value of any property constituting the relevant Partner’s initial
              capital contribution to the Partnership.

        (c)   Each Capital Account shall be increased by (i) the amount of any cash and the net
              value of any property constituting additional contributions to such Capital
              Account permitted pursuant to Section 3.1 and (ii) such Capital Account’s
              allocable share of the Net Profits allocated by the Partnership to such Capital
              Account pursuant to Section 3.4.

        (d)   Each Capital Account shall be reduced by (i) the amount of any cash and the net
              value of any property withdrawn by or distributed to the relevant Partner pursuant
              to Sections 5.3 or 6.2, (ii) such Capital Account’s allocable share of the Net
              Losses allocated by the Partnership to such Capital Account pursuant to
              Section 3.4, (iii) such Capital Account’s pro rata portion of the expenses
              allocable (or specially allocable) by the Partnership pursuant to Section 3.5, (iv)
              such Capital Account’s allocable share of the Performance Allocation allocable
              pursuant to Section 3.7, and (v) such Capital Account’s pro rata portion of the
              expenses payable by the Partnership pursuant to Section 4.2(b).



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        (e)    The Capital Account of the Special Limited Partner will be increased by the
               amount of the Performance Allocation allocated to such Capital Account and the
               investment gains thereon pursuant to Section 3.7(a).

        (f)    Each Capital Account shall be adjusted to reflect all other allocations and other
               changes in the value of such Capital Account not otherwise described in this
               Section 3.3 in the manner specified in the remaining provisions of this Article III.

  3.4   Allocation of Net Profit and Net Loss

        (a)    Except as otherwise provided in this Agreement, Net Profits, Net Losses and, to
               the extent necessary, individual items of income, gain, loss, deduction or credit of
               the Partnership shall be allocated among the Partners in a manner that, after
               giving effect to the special allocations set forth in Section 3.5, give economic
               effect to the provisions of this Agreement taking into account such facts and
               circumstances as the General Partner deems reasonably necessary or appropriate
               for this purpose. For the avoidance of doubt and solely for the purposes of
               applying the preceding sentence, the General Partner shall be permitted, in its sole
               discretion, to cause the Carrying Value of the Partnership’s Investments to be
               adjusted, as described in the definition of “Carrying Value”, on a mutatis
               mutandis basis, at the time at which such allocations are made.

        (b)    Notwithstanding Section 3.4(a), items of income, gain, loss, deduction, credit and
               expenses for a Fiscal Period that are not allocable to specific Investments of the
               Partnership, including short term interest income, and audit, administration and
               legal expenses, shall be separately allocated among and credited to or debited
               against the Capital Accounts of the Partners pro rata in accordance with their
               Partnership Percentages for such Fiscal Period.

  3.5   Allocation of Management Fees, Withholding Taxes and Certain Other
        Expenditures

        (a)    As of the last day of each calendar quarter, the Management Fee applicable to
               each Capital Account for such calendar quarter will be debited against the
               relevant Capital Account.             Capital contributions accepted after the
               commencement of the calendar quarter shall be subject to a prorated Management
               Fee reflecting the time remaining during such calendar quarter. The General
               Partner or the Investment Manager may reduce, waive or calculate differently the
               Management Fee with respect to any Limited Partner and any Capital Sub-
               Account. For the avoidance of doubt, if and for so long as Capital Sub-Accounts
               are maintained for any Limited Partner, the Management Fee shall be calculated
               separately with respect to each such Capital Sub-Account as if such Capital Sub-
               Account was the sole Capital Account of a Person admitted as a Limited Partner
               upon establishment of such Capital Sub-Account. The General Partner may delay
               the timing or alter the structure of fees payable to the Investment Manager so long
               as such changes are not materially adverse to the Feeder Fund Investors. The
               Investment Manager may also assign all or any portion of fees payable to the


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              Investment Manager to any Affiliate thereof or any third party in its sole
              discretion.

        (b)   Notwithstanding anything to the contrary herein, to the extent the General Partner
              or the Partnership is required by law (including under circumstances where the
              General Partner or the Partnership is unable to rely conclusively on any
              withholding certification provided by a Partner) to withhold or to make tax
              payments, including any interest or penalties, on behalf of or with respect to any
              Partner or Partners (including, without limitation, any amount attributable to an
              actual or imputed underpayment of taxes under any BBA provision, backup
              withholding or FATCA withholding), the General Partner or the Partnership may
              withhold such amounts and make such tax payments as so required. If the
              Partnership directly or indirectly pays or incurs any withholding tax or other tax
              obligation (including any amount under any BBA provision), or otherwise incurs
              a tax payment with respect to the income allocable or distributable to, or
              otherwise attributable to, one or more Partners, then the amount of such
              withholding tax, tax obligation or payment will be treated as a distribution to such
              Partner or Partners, as applicable, pursuant to the terms of this Agreement. Such
              amount will be debited against the Capital Account(s) of such Partner or Partners
              as of the close of the Fiscal Period during which the Partnership so withholds,
              pays or incurs such obligation. If the amount so withheld, paid or incurred is
              greater than the balance of the Capital Account(s) of the relevant Partner or
              Partners, as applicable, then such Partner or Partners and any successors must
              make a contribution to the capital of the Partnership within 10 Business Days
              after notification and demand by the General Partner in the amount of such
              excess. The General Partner is not obligated to apply for or obtain a refund, or
              reduction of or exemption from withholding tax or other tax obligation (including
              any amount under any BBA provision) on behalf of any Partner that may be
              eligible for such refund, reduction or exemption, or otherwise obligated to
              structure Investments so as to reduce or avoid any withholding tax. Each Limited
              Partner agrees to repay to the Partnership and the General Partner and each of the
              partners and former partners of the General Partner, any liability for taxes, interest
              or penalties which may be asserted by reason of the failure to deduct and withhold
              tax on amounts distributable or allocable to such Limited Partner.

        (c)   Except as otherwise provided for in this Agreement, any expenditures payable by
              the Partnership (including any taxes imposed on the Partnership pursuant to
              Section 6225 of the Code, as amended by the BBA), to the extent determined by
              the General Partner to have been paid or withheld on behalf of, or by reason of
              particular circumstances applicable to, one or more but fewer than all of the
              Partners, shall be specially allocated only to the Capital Accounts of those
              Partners on whose behalf such payments are made or whose particular
              circumstances gave rise to such payments. Such allocations shall be debited from
              the relevant Capital Accounts of such Partners as of the close of the Fiscal Period
              during which any such items were accrued by the Partnership.




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  3.6    Reserves; Adjustments for Certain Future Events

         (a)     The General Partner may cause appropriate reserves to be created, accrued and
                 charged against Net Assets and proportionately against the Capital Accounts (and
                 the corresponding Capital Sub-Accounts) for contingent liabilities, such reserves
                 to be in the amounts which the General Partner deems necessary or
                 appropriate. The General Partner may increase or reduce any such reserve from
                 time to time by such amounts as the General Partner deems necessary or
                 appropriate. The amount of any such reserve, or any increase or decrease therein,
                 may, at the election of the General Partner, be charged or credited, as the General
                 Partner deems appropriate, to the Capital Accounts of those parties that are
                 Partners at the time when such reserve is created, increased, or decreased, as the
                 case may be, or alternatively may be charged or credited to those parties that were
                 Partners at the time of the act or omission giving rise to the contingent liability for
                 which the reserve was established by the General Partner.

         (b)     If the General Partner determines that it is equitable to treat an amount to be paid
                 or received as being applicable to one or more prior periods, then all or a portion
                 of such amount may be proportionately charged or credited, as appropriate, in
                 proportion to the Capital Account balances of the current Partners as such
                 balances existed during any such prior period(s).

  3.7    Performance Allocation

         (a)     The Performance Allocation is debited against each applicable Capital Sub-
                 Account as of the last day of each Calculation Period with respect to such Capital
                 Sub-Account, and the amount so debited is simultaneously credited to the Capital
                 Account of the Special Limited Partner pursuant to Section 3.3(e).
                 Notwithstanding anything herein to the contrary, the Special Limited Partner may
                 assign all or any portion of the Performance Allocation to its Affiliates or any
                 other Person.

         (b)     The General Partner may fully or partially waive or decrease the Performance
                 Allocation with respect to any Limited Partner and any Capital Sub-Account.

  3.8    Allocation to Avoid Capital Account Deficits

          To the extent that any debits pursuant to this Article III would reduce the balance of the
  Capital Account of any Limited Partner below zero, that portion of any such debits shall instead
  be allocated to the Capital Account of the General Partner. Any credits in any subsequent Fiscal
  Period which would otherwise be allocable pursuant to this Article III to a Capital Account of
  any Limited Partner previously affected by the application of this Section 3.8 shall instead be
  allocated to the Capital Account of the General Partner in such amounts as are necessary to offset
  all previous debits attributable to such Limited Partner pursuant to this Section 3.8 not previously
  recovered.




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  3.9   Allocations for U.S. Federal Income Tax Purposes

        Notwithstanding anything to the contrary in this Agreement:

        (a)    Income Tax Allocations. Except as otherwise required by Code Section 704(c),
               items of income, gain, deduction, loss, or credit that are recognized for income tax
               purposes in each Fiscal Year will be allocated among the Partners (and among
               such Partner’s Capital Accounts) in such manner as to reflect equitably amounts
               credited to or debited against each Partner’s Capital Accounts, whether in such
               Fiscal Year or in prior Fiscal Years. To this end, the Partnership will establish
               and maintain records which shall show the extent to which the Capital Accounts
               of each Partner will, as of the last day of each Fiscal Year, comprise amounts that
               have not been reflected in the taxable income of such Partner. To the extent
               deemed by the General Partner to be feasible and equitable, taxable income and
               gains in each Fiscal Year shall be allocated among the Partners who have enjoyed
               the related credits to their Capital Accounts, and items of deduction, loss and
               credit in each Fiscal Year shall be allocated among the Partners who have borne
               the burden of the related debits to their Capital Accounts. Non-U.S. tax credits
               attributable to taxes incurred by the Partnership shall be allocated in a manner
               consistent with Section 1.704-1(b)(4)(viii) of the Regulations. All matters
               concerning allocations for U.S. federal, state and/or local income tax purposes,
               including accounting procedures, not expressly provided for in this Agreement
               will be determined by the General Partner.

        (b)    Basis Adjustments. To the extent an adjustment to the adjusted tax basis of any
               Partnership asset pursuant to Section 734(b) of the Code or Section 743(b) of the
               Code is required under Section 1.704-1(b)(2)(iv)(m) of the Regulations to be
               taken into account in determining Capital Accounts, the amount of such
               adjustment to the Capital Accounts shall be treated as an item of gain (if the
               adjustment increases the basis of the asset) or loss (if the adjustment decreases
               such basis) and such gain or loss shall be specially allocated to the Partners in a
               manner consistent with the manner in which their Capital Accounts are required
               to be adjusted pursuant to such Section of the Regulations; provided that in the
               event that an adjustment to the book value of Partnership property is made as a
               result of an adjustment pursuant to Section 734(b) of the Code, items of income,
               gain, loss, or deduction, as computed for book and tax purposes, will be specially
               allocated among the Partners so that the effect of any such adjustment shall
               benefit (or be borne by) the Partner(s) receiving the distribution that caused such
               adjustment.

        (c)    General Partner Special Allocations. Notwithstanding anything to the contrary in
               this Agreement, if the General Partner withdraws (or is otherwise entitled to
               withdraw) all or a portion of its Capital Account during any Fiscal Year, the
               General Partner, in its sole discretion, may specially allocate items of income,
               gain, deduction, loss or credit that are recognized for U.S. federal income tax
               purposes to itself equal to the amount by which the withdrawn amount exceed its



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              adjusted tax basis, for U.S. federal income tax purposes, in its Partnership interest
              (determined prior to any such special allocations).

        (d)   Positive Basis Allocations. If the Partnership realizes gains or items of gross
              income (including short term capital gain) from the sale of Partnership assets for
              U.S. federal income tax purposes for any Fiscal Year in which one or more
              Positive Basis Partners withdraws all or a portion of its Interest from the
              Partnership pursuant to Section 5.3, the General Partner may elect: (i) to allocate
              such gains or items of gross income among such Positive Basis Partners, pro rata
              in proportion to the respective Positive Basis of each such Positive Basis Partner,
              until either the full amount of such gains or items of gross income shall have been
              so allocated or the Positive Basis of each such Positive Basis Partner shall have
              been eliminated; and (ii) to allocate any gains or items of gross income not so
              allocated to Positive Basis Partners to the other Partners in such manner as shall
              reflect equitably the amounts credited to such Partners’ Capital Accounts pursuant
              to Section 3.3; provided, however, that if, following such Fiscal Year, the
              Partnership realizes gains or items of gross income from a sale of an Investment
              the proceeds of which are designated on the Partnership’s books and records as
              being used to effect payment of all or part of the liquidating share of any Positive
              Basis Partner that continues to be a Partner in the Partnership following such
              withdrawal (i.e., such Positive Basis Partner effected a partial, and not a complete,
              withdrawal of its Interest), there shall be allocated to such Positive Basis Partner
              an amount of such gains or items of gross income equal to the amount, if any, by
              which its Positive Basis as of the effective date of withdrawal exceeds the amount
              allocated to such Partner pursuant to clause (i) of this sentence. For the avoidance
              of doubt, the General Partner may also, in its sole discretion, to apply the Positive
              Basis definitions and the provisions of this Section 3.9(c) to a withdrawal from a
              Capital Sub-Account.

        (e)   Negative Basis Allocations. If the Partnership realizes net losses or items of gross
              loss or deduction (including short term capital loss) from the sale of Partnership
              assets for U.S. federal income tax purposes for any Fiscal Year in which one or
              more Negative Basis Partners withdraws all or a portion of its Interest from the
              Partnership pursuant to Section 5.3, the General Partner may elect: (i) to allocate
              such net losses or items of gross loss or deduction among such Negative Basis
              Partners, pro rata in proportion to the respective Negative Basis of each such
              Negative Basis Partners, until either the full amount of such losses or items of loss
              or deduction shall have been so allocated or the Negative Basis of each such
              Negative Basis Partner shall have been eliminated; and (ii) to allocate any net
              losses or items of gross loss or deduction not so allocated to Negative Basis
              Partners to the other Partners in such manner as shall reflect equitably the
              amounts credited to such Partners’ Capital Accounts pursuant to Section 3.3;
              provided, however, that if, following such Fiscal Year, the Partnership realizes net
              losses or items of gross loss and deduction from a sale of an Investment the
              proceeds of which are designated on the Partnership’s books and records as being
              used to effect payment of all or part of the liquidating share of any Negative Basis
              Partner that continues to be a Partner in the Partnership following such


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              withdrawal (i.e., such Negative Basis Partner effected a partial, and not a
              complete, withdrawal of its Interest), there shall may be allocated to such
              Negative Basis Partner an amount of such net losses or items of gross loss or
              deduction equal to the amount, if any, by which its Negative Basis as of the
              effective date of withdrawal exceeds the amount allocated to such Partner
              pursuant to clause (i) of this sentence. For the avoidance of doubt, the General
              Partner may also, in its sole discretion, to apply the Negative Basis definitions and
              the provisions of this Section 3.9(d) to a withdrawal from a Capital Sub-Account.

        (f)   Qualified Income Offset. In the event any Limited Partner unexpectedly receives
              any adjustments, allocations, or distributions described in Section 1.704-
              1(b)(2)(ii)(d)(4), 1.704-1(b)(2)(ii)(d)(5), or 1.704-1(b)(2)(ii)(d)(6) of the
              Regulations, items of Partnership income and gain will be specially allocated to
              each such Limited Partner in an amount and manner sufficient to eliminate, to the
              extent required by the Regulations, the deficit balance in the Capital Account of
              such Limited Partner as quickly as possible; provided that an allocation pursuant
              to this Section 3.9(e) may be made only if and to the extent that such Limited
              Partner would have a deficit balance in its Capital Account after all other
              allocations provided for in this Article III have been tentatively made as if this
              Section 3.9(e) were not in this Agreement. This Section 3.9(e) is intended to
              constitute a “qualified income offset” within the meaning of Section 1.704-
              1(b)(2)(ii) of the Regulations and shall be interpreted consistently therewith.

        (g)   Gross Income Allocation. In the event any Limited Partner has a deficit Capital
              Account at the end of any Fiscal Year that is in excess of the sum of (i) the
              amount such Limited Partner is obligated to restore pursuant to any provision of
              this Agreement and (ii) the amount such Limited Partner is deemed to be
              obligated to restore pursuant to the penultimate sentences of Sections 1.704-
              2(g)(1) and 1.704-2(i)(5) of the Regulations, each such Limited Partner will be
              specially allocated items of Partnership gross income and gain in the amount of
              such excess as quickly as possible; provided that an allocation pursuant to this
              Section 3.9(f) may be made only if and to the extent that such Limited Partner
              would have a deficit Capital Account in excess of such sum after all other
              allocations provided for in this Article III have been made as if Section 3.9(e) and
              this Section 3.9(f) were not in this Agreement.

        (h)   Section 704(b) Compliance. The allocations provided in this Section 3.9 are
              intended to comply with the Regulations under Section 704(b) of the Code and
              may, as determined by the General Partner, be interpreted and applied in a manner
              consistent therewith. In the event the General Partner determines that it is prudent
              to modify the manner in which the Capital Accounts, or any debits or credits
              thereto, are determined (including, without limitation, debits or credits relating to
              liabilities that are secured by contributed or distributed property or that are
              assumed by the Partnership or any Partners), the General Partner may make such
              modification, provided that it is not likely to have a material adverse effect on the
              amounts distributed to any Partner pursuant to Sections 3.12 and 6.2 hereof. The
              General Partner also shall (i) make any adjustments that are necessary or


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                 appropriate to maintain equality between the Capital Accounts of the Partners and
                 the amount of capital reflected on the Partnership’s balance sheet, as computed
                 for book purposes, in accordance with Regulations Section 1.704-1(b)(2)(iv)(q)
                 and (ii) make any appropriate modifications in the event unanticipated events
                 might otherwise cause this Agreement not to comply with Regulations Section
                 1.704-1(b).

  3.10   Curative Allocations

           The allocations set forth in Sections 3.9(b), (e) and (f) (the “Regulatory Allocations”) are
  intended to comply with certain requirements of the Regulations. It is the intent of the Partners
  that, to the extent possible, all Regulatory Allocations shall be offset either with other Regulatory
  Allocations or with special allocations of other items of Partnership income, gain, loss, or
  deduction pursuant to this Section 3.10. Therefore, notwithstanding any other provision of this
  Article III (other than the Regulatory Allocations), the General Partner shall make such offsetting
  special allocations of the Partnership income, gain, loss, or deduction in whatever manner it
  determines appropriate so that, after such offsetting allocations are made, each Partner’s Capital
  Account balance is, to the extent possible, equal to the Capital Account balance such Partner
  would have had if the Regulatory Allocations were not part of this Agreement and all Partnership
  items were allocated pursuant to other provisions of this Article III (other than the Regulatory
  Allocations).

  3.11   Tax Matters

         (a)     Each Partner agrees not to treat, on any U.S. federal, state, local and/or non-U.S.
                 income tax return or in any claim for a refund, any item of income, gain, loss,
                 deduction or credit in a manner inconsistent with the treatment of such item by the
                 Partnership or which would result in inconsistent treatment, and each Partner
                 further agrees to treat, on any U.S. federal, state, local and/or non-U.S. income tax
                 return in any claim for a refund, any item of income, gain, loss, deduction or
                 credit in a manner consistent with the treatment of such item by the Partnership.

         (b)     To the fullest extent permitted by law, each Limited Partner agrees to (i) provide
                 such cooperation and assistance, including executing and filing forms or other
                 statements and providing information about the Limited Partner, as is reasonably
                 requested by the Tax Matters Partner, to enable the Partnership to satisfy any
                 applicable tax reporting or compliance requirements, to make any tax election or
                 to qualify for an exception from or reduced rate of tax or other tax benefit or be
                 relieved of liability for any tax regardless of whether such requirement, tax
                 benefit or tax liability existed on the date such Partner was admitted to the
                 Partnership, (ii) amend the Limited Partner’s tax returns and pay any resulting
                 taxes, interest and penalties in connection with an election by the Partnership
                 under Section 6225(a) of the Code, as amended by the BBA, (iii) take into
                 account any adjustments and pay any taxes, interest and penalties that result from
                 an election by the Partnership under Section 6226 of the Code, as amended by the
                 BBA, and/or (iv) indemnify and hold harmless the Partnership from and against
                 any liability with respect to the Limited Partner’s share of any tax deficiency


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               (including any interest and penalties associated therewith) paid or payable by the
               Partnership that is (A) allocable to such Limited Partner (as reasonably
               determined by the General Partner in accordance with this Agreement) with
               respect to an audited or reviewed taxable year for which such Partner was a
               partner in the Partnership or (B) attributable (as reasonably determined by the
               General Partner) to the failure of such Limited Partner to cooperate with or
               provide any such forms, statements, or other information as requested by the Tax
               Matters Partner pursuant to clause (i) above.

  3.12   Distributions

         (a)   The amount and timing of any distributions from the Partnership shall be
               determined by the General Partner. Distributions will generally be made in
               proportion to the respective Partnership Percentages of the Partners for the Fiscal
               Period when made. Any distributions may be paid in cash, in kind or partly in
               cash and partly in kind.

         (b)   Notwithstanding any provision to the contrary contained in this Agreement, the
               Partnership, and the General Partner on behalf of the Partnership, may not make a
               distribution to any Partner from any account in connection with its Interest if such
               distribution would violate the Act or other applicable law.

  3.13   Other Matters

         (a)   The General Partner does not have any personal liability for the repayment of any
               capital contribution of any Partner.

         (b)   Subject only to the relevant provisions of the Act, the Limited Partners are not
               personally liable for the debts, liabilities, contracts or other obligations of the
               Partnership except to the extent of their respective capital contributions; provided,
               however, that the foregoing is not to be construed as relieving any Partner of any
               obligations arising under Section 3.1 of this Agreement.

         (c)   The Limited Partners shall not participate in the conduct of the Partnership’s
               business nor shall they transact business for the Partnership, nor shall they have
               the power to sign for or bind the Partnership, said powers being vested
               exclusively in the General Partner.



                                 Article IV MANAGEMENT


  4.1    Duties and Powers of the General Partner

         (a)   Subject to the terms and conditions of this Agreement, the General Partner shall
               have complete and exclusive power and responsibility, to the fullest extent
               permitted by the Act, for (i) all investment and investment management decisions


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              to be undertaken on behalf of the Partnership and (ii) managing and administering
              the conduct of the business and the affairs of the Partnership, and shall have the
              power and authority to do all things that the General Partner considers necessary
              or desirable to carry out its duties hereunder and to achieve the purposes of the
              Partnership. Without limiting the generality of the foregoing, the General
              Partner’s powers include the power to borrow, obtain leverage or otherwise incur
              indebtedness with respect to the Partnership’s capital. The General Partner has
              delegated (and the Investment Manager has agreed to assume) its rights and
              responsibilities with respect to making Investments and the operation of the
              Partnership to the Investment Manager.

        (b)   The General Partner shall have the right, without the notification to or consent of
              any Limited Partner or other Person, to make adjustments to the structure of the
              Partnership in order to address applicable structural, ownership, legal, or
              regulatory issues, or to improve overall tax efficiency; provided that no such
              adjustment would cause any material adverse consequences to the Feeder Fund
              Investors.

        (c)   Without limiting the generality of the General Partner’s duties and powers
              hereunder and notwithstanding anything to the contrary contained herein, the
              General Partner shall have full power and authority, subject to the other terms and
              provisions of this Agreement, to execute, deliver and perform such contracts,
              agreements and other undertakings on behalf of the Partnership, without the
              consent or approval of any other Person, and to engage in all activities and
              transactions, as it may deem necessary or advisable for, or as may be incidental
              to, the conduct of the business contemplated by this Section 4.1, including,
              without in any manner limiting the generality of the foregoing, (i) contracts,
              agreements, undertakings and transactions with any Partner or with any other
              Person, firm or corporation having any business, financial or other relationship
              with any Partner or Partners, (ii) agreements with each Limited Partner in
              connection with its purchase of an Interest, (iii) any agreements to induce any
              Person to purchase an Interest, and (iv) the Investment Management Agreement
              delegating to the Investment Manager certain of the powers and authority vested
              by this Agreement in the General Partner as the General Partner and the
              Investment Manager may agree from time to time, each without any further act,
              approval or vote of any Person.

        (d)   The General Partner may terminate or replace the Investment Manager in
              accordance with the terms of the Investment Management Agreement. The
              General Partner may delegate to any other Person (including any of its Affiliates)
              any power and authority vested in the General Partner pursuant to this Agreement
              that is not otherwise delegated to the Investment Manager.

        (e)   Every power vested in the General Partner pursuant to this Agreement shall be
              construed as a power to act (or not to act) in its sole and absolute discretion,
              except as otherwise expressly provided herein. No provision of this Agreement



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              shall be construed to require the General Partner to violate the Act or any other
              law, regulation or rule of any self-regulatory organization.

        (f)   Notwithstanding any other provision of this Agreement or otherwise applicable
              provision of law or equity, whenever in this Agreement, the General Partner is
              permitted or required to make a decision (i) in its “sole discretion” or “discretion”
              or under a grant of similar authority or latitude, the General Partner shall be
              entitled to consider only such interests and factors as it desires, including its own
              interests, and shall, to the fullest extent permitted by applicable law, have no duty
              or obligation to give any consideration to any interest of or factors affecting the
              Partnership or the Limited Partners, or (ii) in its “good faith” or under another
              expressed standard, the General Partner shall act under such express standard and
              shall not be subject to any other or different standards. Unless otherwise
              expressly stated, for purposes of this Section 4.1(f), the General Partner shall be
              deemed to be permitted or required to make all decisions hereunder in its sole
              discretion.

        (g)   The General Partner must cause the Partnership to conduct its dealings with third
              parties in its own name.

        (h)   The General Partner must, throughout the term of the Partnership as set out in
              Section 2.4, take all actions that may be necessary or appropriate for the
              continuation of the Partnership’s valid existence as an exempted limited
              partnership under the laws of the Cayman Islands.

  4.2   Expenses

        (a)   Subject to Section 4.2(f), each of the General Partner and the Investment Manager
              pays all of its own operating and overhead costs without reimbursement by the
              Partnership (except liability insurance). The Partnership will not have its own
              separate employees or office, and it will not reimburse the General Partner or the
              Investment Manager for salaries, office rent and other general overhead expenses
              of the General Partner or the Investment Manager.

        (b)   The Partnership, and not the General Partner or the Investment Manager, will pay,
              or reimburse the General Partner and the Investment Manager for, all costs, fees
              and expenses arising in connection with the Partnership’s operations. Such
              expenses payable by the Partnership include the following:

              (i)    all costs related to the Partnership’s investment program, including,
                     without limitation, brokerage commissions, other expenses related to
                     buying and selling securities (including trading errors that are not the
                     result of the Investment Manager’s Gross Negligence, willful misconduct
                     or fraud), costs of due diligence regardless of whether a particular
                     transaction is consummated, the costs of attending shareholder meetings,
                     research expenses and costs related to monitoring Investments;




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              (ii)    initial organizational expenses of the Partnership; provided that, such
                      organizational costs may be expensed immediately, or in the General
                      Partner’s discretion, amortized in whole or in part and capitalized over a
                      period of 60 calendar months from the date the Partnership commences
                      operations, which may result in an exception to IFRS;

              (iii)   fees and expenses of advisers and consultants;

              (iv)    Management Fees;

              (v)     fees and expenses of any custodians, escrow or transfer agents or other
                      investment-related service providers;

              (vi)    indemnification expenses incurred in connection with Section 4.5 and the
                      cost of insurance against potential indemnification liabilities;

              (vii)   interest and other borrowing expenses;

              (viii) legal, administrative, accounting, tax, audit and insurance expenses;

              (ix)    expenses of preparing and distributing reports, financial statements and
                      notices to Limited Partners;

              (x)     litigation or other extraordinary expenses;

              (xi)    any withholding, transfer or other taxes imposed or assessed on, or
                      payable by, the Partnership (including any interest and penalties); and

              (xii)   the cost of periodically updating this Agreement.

        (c)   Expenses generally will be borne pro rata by the Partners in accordance with their
              respective Partnership Percentages; provided that expenses may be specially
              allocated among the Partners as follows:

              (i)     with respect to expenses related to Investments (other than taxes), pro rata
                      in accordance with their respective Partnership Percentages; and

              (ii)    as provided elsewhere in this Agreement, including Sections 3.4, 3.5, 3.6
                      and 5.3.

        (d)   Each of the General Partner and the Investment Manager, as appropriate, shall be
              entitled to reimbursement from the Partnership for any of the expenses paid by it
              on behalf of the Partnership pursuant to Section 4.2(b); provided that the General
              Partner or the Investment Manager may absorb any or all of such expenses
              incurred on behalf of the Partnership. The Investment Manager may retain, in
              connection with its responsibilities hereunder as a delegate of the General Partner,
              the services of others to assist in the investment advice to be given to the
              Partnership, including, but not limited to, any Affiliate of the Investment


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                 Manager, but payment for any such services shall be assumed by the Investment
                 Manager and the Partnership shall not have any liability therefor; provided,
                 however, that the Investment Manager, in its sole discretion, may retain the
                 services of independent third party professionals on behalf of the Partnership,
                 including, without limitation, attorneys, accountants and consultants, to advise
                 and assist it in connection with the performance of its activities on behalf of the
                 Partnership hereunder, and the Partnership shall bear full responsibility therefor
                 and the expense of any fees and disbursements arising therefrom.

         (e)     If the General Partner or the Investment Manager, as appropriate, shall incur any
                 of the expenses referred to in Section 4.2(b) for the account or for the benefit of,
                 or in connection with its activities or those of its Affiliates on behalf of, both the
                 Partnership and any Other Account, the General Partner or the Investment
                 Manager, as appropriate, will allocate such expense among the Partnership and
                 each such Other Account in proportion to the size of the Investment made by each
                 in the activity or entity to which the expense relates, or in such other manner as
                 the General Partner considers fair and reasonable.

         (f)     Each of the General Partner and the Investment Manager is entitled to use “soft
                 dollars” generated by the Partnership to pay for certain investment research and
                 brokerage services that provide lawful and appropriate assistance to the General
                 Partner or the Investment Manager in the performance of investment decision-
                 making responsibilities to the extent such use falls within the safe harbor afforded
                 by Section 28(e) of the Securities Exchange Act of 1934, as amended. Use of
                 “soft dollars” by the General Partner or the Investment Manager as described
                 herein shall not constitute a breach by the either the General Partner or the
                 Investment Manager of any fiduciary or other duty which the General Partner or
                 the Investment Manager may be deemed to owe to the Partnership or its Partners.

  4.3    Rights of Limited Partners

           The Limited Partners shall take no part in the management, control or operation of the
  Partnership’s business, and shall have no right or authority to act for the Partnership or to vote on
  matters other than the matters set forth in this Agreement or as required by applicable
  law. Except as otherwise provided herein or required by law, a Limited Partner shall have no
  liability for the debts or obligations of the Partnership.

  4.4    Other Activities of Partners

         (a)     The General Partner shall not be required to devote any specific amount of its
                 time to the affairs of the Partnership, but shall devote such of its time to the
                 business and affairs of the Partnership as it shall determine in good faith to be
                 necessary to conduct the affairs of the Partnership for the benefit of the
                 Partnership and the Partners.

         (b)     Each Partner acknowledges and agrees that any other Partner, its Affiliates and
                 their respective officers, directors, shareholders, members, partners, personnel and


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              employees, may engage in or possess an interest in other business ventures or
              commercial dealings of every kind and description, independently or with others,
              including, but not limited to, management of other accounts, investment in, or
              financing, acquisition and disposition of, securities, investment and management
              counseling, brokerage services, serving as directors, officers, advisers or agents of
              other companies, partners of any partnership, or trustees of any trust, or entering
              into any other commercial arrangements, and will not be disqualified solely on the
              basis that any such activities may conflict with any interest of the parties with
              respect to the Partnership. Without in any way limiting the foregoing, each
              Partner hereby acknowledges that (i) none of the Partners, their Affiliates and
              their respective officers, directors, shareholders, members, partners, personnel and
              employees shall have any obligation or responsibility to disclose or refer any of
              the investment or other opportunities obtained through activities contemplated by
              this Section 4.4(b) to the General Partner or the Limited Partners, but may refer
              the same to any other party or keep such opportunities for their own benefit; and
              (ii) the Partners, their Affiliates and their respective officers, directors,
              shareholders, members, partners, personnel and employees are hereby authorized
              to engage in activities contemplated by this Section 4.4(b) with, or to purchase,
              sell or otherwise deal or invest in investments issued by, companies in which the
              General Partner might from time to time invest or be able to invest or otherwise
              have any interest on behalf of the Partnership, without the consent or approval of
              the Partnership or any other Partner. The Partners expressly agree that no other
              Partner shall have any rights in or to such other activities, or any profits derived
              therefrom.

        (c)   The General Partner and its Affiliates shall allocate investment opportunities to
              the Partnership and any Other Account fairly and equitably over time.
              Notwithstanding the foregoing, the General Partner is under no obligation to
              accord exclusivity or priority to the Partnership in the event of limited investment
              opportunities. This means that such opportunities will be allocated among those
              accounts for which participation in the respective opportunity is considered
              appropriate, taking into account, among other considerations: (i) fiduciary duties
              owed to the accounts; (ii) the primary mandate of the accounts; (iii) the capital
              available to the accounts; (iv) any restrictions on the accounts and the investment
              opportunity; (v) the sourcing of the investment, size of the investment and amount
              of follow-on available related to the investment; (vi) whether the risk-return
              profile of the proposed investment is consistent with the account’s objectives and
              program, whether such objectives are considered in light of the specific
              investment under consideration or in the context of the portfolio’s overall
              holdings; (vii) the potential for the proposed investment to create an imbalance in
              the account’s portfolio (taking into account expected inflows and outflows of
              capital); (viii) liquidity requirements of the account; (ix) potentially adverse tax
              consequences; (x) regulatory and other restrictions that would or could limit an
              account’s ability to participate in a proposed investment; and (xi) the need to re-
              size risk in the account’s portfolio. The General Partner has the authority to
              allocate trades to multiple accounts on an average price basis or on another basis
              it deems fair and equitable. Similarly, if an order on behalf of any accounts


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              cannot be fully allocated under prevailing market conditions, the General Partner
              may allocate the trades among different accounts on a basis it considers fair and
              equitable over time.

        (d)   The principal of the General Partner, as well as the employees and officers of the
              Investment Manager and of organizations affiliated with the Investment Manager,
              may buy and sell securities for their own account or the account of others, but
              may not buy securities from or sell securities to the Partnership (such prohibition
              does not extend to the purchase or sale of Interests) unless such purchase or sale is
              in compliance with the applicable provisions of the Advisers Act.

        (e)   Each Partner hereto hereby waives, and covenants not to bring a cause of action in
              law or equity on the basis of, any law (statutory, common law or otherwise)
              respecting the rights and obligations of the Partners which is or may be
              inconsistent with this Section 4.4.

        (f)   The General Partner and its Affiliates reserve the right to establish collective
              investment vehicles that have stated investment programs or terms that differ
              from those of the Partnership or that are targeted primarily to investors for which
              the Partnership is not designed to be a suitable investment vehicle. The General
              Partner and its Affiliates also reserve the right to establish and provide
              management or advisory services to Other Accounts for significant investors,
              whether or not such accounts have the same investment program as the
              Partnership.

        (g)   Each Limited Partner acknowledges that the General Partner or the Investment
              Manager may engage one or more of their respective Affiliates to provide services
              to the Partnership for compensation.

  4.5   Duty of Care; Indemnification

        (a)   None of the Indemnified Persons will be liable to the Partnership or any Limited
              Partner (or any Feeder Fund Investors) for any loss or damage arising by reason
              of being or having been an Indemnified Person or from any acts or omissions in
              the performance of its services as an Indemnified Person in the absence of Gross
              Negligence, willful misconduct or fraud, or as otherwise required by law. In no
              event shall any Indemnified Person be liable for any consequential damages,
              special or indirect damages or lost profits. An Indemnified Person may consult
              with counsel and accountants in respect of the Partnership’s affairs and will be
              fully protected and justified in any action or inaction which is taken in accordance
              with the advice or opinion of such counsel or accountants, provided that they were
              selected in accordance with the standard of care set forth above.

        (b)   The Partnership shall, to the fullest extent permitted by law, indemnify and hold
              harmless each Indemnified Person from and against any and all liabilities suffered
              or sustained by an Indemnified Person by reason of the fact that it, he or she is or
              was an Indemnified Person or in connection with this Agreement or the



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                Partnership’s business or affairs, including, without limitation, any judgment,
                settlement, reasonable attorneys’ fees and other costs or expenses incurred in
                connection with the defense of any actual or threatened action, suit or proceeding,
                provided that such liability did not result from the Gross Negligence, willful
                misconduct or fraud of such Indemnified Person. The Partnership will, in the sole
                discretion of the General Partner, advance to any Indemnified Person reasonable
                attorneys’ fees and other costs and expenses incurred in connection with the
                defense of any action, suit or proceeding which arises out of such conduct. In the
                event that such an advance is made by the Partnership, the Indemnified Person
                will agree to reimburse the Partnership to the extent that it is finally determined
                that the Indemnified Person was not entitled to indemnification in respect thereof.

         (c)    Notwithstanding any of the foregoing, the provisions of this Section 4.5 do not
                provide for the exculpation or indemnification of any Indemnified Person for any
                liability (including liability under U.S. federal securities laws which, under certain
                circumstances, impose liability even on persons that act in good faith), to the
                extent (but only to the extent) that such liability may not be waived, modified or
                limited under applicable law, but shall be construed so as to effectuate the above
                provisions to the fullest extent permitted by law.

         (d)    Pursuant to the foregoing indemnification and exculpation provisions applicable
                to each Indemnified Person, the Partnership (and not the applicable Indemnified
                Person) will be responsible for any losses resulting from trading errors and similar
                human errors, absent Gross Negligence, willful misconduct or fraud of any
                Indemnified Person.

         (e)    The above-mentioned Indemnified Persons are also indemnified by each Limited
                Partner for any amounts of tax withheld or required to be withheld with respect to
                that Limited Partner, and also for any amounts of interest, additions to tax,
                penalties and other costs borne by any such persons in connection therewith to the
                extent that the balance of the Limited Partner’s Capital Account is insufficient to
                fully compensate the General Partner or the Investment Manager for such costs.

         (f)    The General Partner may make, execute, record and file on its own behalf and on
                behalf of the Partnership all instruments and other documents (including one or
                more deed polls in favor of categories of Indemnified Persons and/or one or more
                separate indemnification agreements between the Partnership and individual
                Indemnified Persons) that the General Partner deems necessary or appropriate in
                order to extend the benefit of the provisions of Sections 4.5(a) and 4.5(b) to the
                Indemnified Persons; provided, that, such other instruments and documents
                authorized hereunder shall be on the same terms as provided for in Sections 4.5(a)
                and 4.5(b) except as otherwise may be required by applicable law.

  4.6    Investment Restrictions

         Notwithstanding anything in this Agreement to the contrary, the Partnership may not at
  the time of investment:


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         (a)     invest more than 50% of its gross assets in its net holdings of equities;

         (b)     borrow more than 100% of its Net Assets;

         (c)     invest more than 20% of its gross assets in a single equity position;

         (d)     invest more than 20% of its gross assets in a single corporate issuer;

         (e)     invest more than 30% of its gross assets in GDP-linked warrants; and

         (f)     invest more than 30% of its gross assets in a single sovereign or provincial issuer.



                Article V ADMISSIONS, TRANSFERS AND WITHDRAWALS


  5.1    Admission of Partners

          The General Partner may, without the consent of any existing Partners, admit any Person
  to the Partnership who agrees to adhere to and be bound by all of the terms of this Agreement as
  a General Partner or a Limited Partner upon the execution by or on behalf of it and the
  acceptance by the General Partner of a deed of adherence to this Agreement in form satisfactory
  to the General Partner. The amount of any initial capital contribution to be made by such
  additional Partner is determined by the General Partner (in its sole discretion). Effective upon
  such admission, the Partnership Percentage of each existing Partner is adjusted pro rata to reflect
  the Partnership Percentage of the additional Partner, and the Partnership’s records are revised to
  reflect such adjusted Partnership Percentages, as well as the name, initial capital contribution and
  Partnership Percentage of such additional Partner.

  5.2    Transfer and Withdrawal of the General Partner

          Without the consent of a Majority of the Limited Partners, the General Partner shall not
  have the right to assign or otherwise transfer its Interest as the general partner of the Partnership,
  and the General Partner shall not have the right to withdraw from the Partnership without the
  consent of the Limited Partners; provided in each case that, the Feeder Funds must vote their
  Interests proportionately based on the votes of their respective Feeder Fund Investors. In the
  event of an assignment or Transfer of all of its Interest as a general partner of the Partnership in
  accordance with this clause, the new general partner will immediately notify the Registrar in the
  Cayman Islands in accordance with Section 10 of the Act and the outgoing General Partner will
  take such actions as may be reasonably necessary to novate and assign all contracts signed on
  behalf of the Partnership to the new general partner whereupon the new general partner will be
  substituted as general partner of the Partnership in place of the outgoing General Partner and
  immediately thereafter the outgoing General Partner will cease to be the general partner of the
  Partnership.




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  5.3   Transfer and Withdrawal of Interests of Limited Partners

        (a)   The General Partner shall have the right, in its sole discretion, to (i) prohibit
              Transfers of Interests by Limited Partners, (ii) compel withdrawals of Interests
              and (iii) take such other actions as the General Partner deems necessary to ensure
              that the assets of the Partnership do not constitute Plan Assets for purposes of
              ERISA.

        (b)   Subject to obtaining the General Partner’s consent, each Limited Partner may
              voluntarily withdraw all or part of its Interest at such times and in such amounts
              as such Limited Partner may determine.

        (c)   The General Partner may, at any time, suspend (a) the calculation of the net asset
              value of the Partnership (and the applicable valuation date); (b) the issuance of
              Interests; (c) the withdrawal by Limited Partners of their Interests (and the
              applicable withdrawal date); and/or (d) the payment of withdrawal proceeds (even
              if the calculation dates and withdrawal dates are not postponed), during any
              period which: (i) any stock exchange on which a substantial part of Investments
              owned by the Partnership are traded is closed, other than for ordinary holidays, or
              dealings thereon are restricted or suspended; (ii) there exists any state of affairs as
              a result of which (A) disposal of a substantial part of the Investments owned by
              the Partnership would not be reasonably practicable and might seriously prejudice
              the Limited Partners, or (B) it is not reasonably practicable for the Partnership
              fairly to determine the value of its Net Assets; (iii) none of the withdrawal
              requests which have been made may lawfully be satisfied by the Partnership; (iv)
              there is a breakdown in the means of communication normally employed in
              determining the prices of a substantial part of the Investments of the Partnership;
              or (v) in the sole discretion of the General Partner, it is necessary to preserve the
              Partnership’s assets.

        (d)   The Administrator will promptly notify each Limited Partner and each Feeder
              Fund Investor who, directly or indirectly through a Limited Partner, has submitted
              a withdrawal request and to whom payment in full of the amount being withdrawn
              has not yet been remitted of any suspension of withdrawals or suspension of the
              payment of withdrawal proceeds pursuant to Section 5.3(c). Any remaining
              amount of a withdrawal request that is not satisfied due to such a suspension
              remains at risk as per other amounts invested in the Partnership and subject to the
              applicable Management Fee until such amount is finally and fully withdrawn.
              Such Limited Partners and Feeder Fund Investors will not be given any priority
              with respect to the withdrawal of Interests after the cause for such suspension or
              limitation ceases to exist. The General Partner may in its sole discretion,
              however, permit such Limited Partners or Feeder Fund Investors (through a
              Limited Partner) to withdraw their withdrawal requests to the extent that the
              relevant withdrawal date has not yet passed. For the avoidance of doubt, where a
              suspension of the payment of withdrawal proceeds is declared between the
              relevant withdrawal date and the remittance of such payment proceeds, affected
              Limited Partners and Feeder Fund Investors shall not have any right to withdraw


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              their withdrawal requests. Upon the reasonable determination by the General
              Partner that conditions leading to a suspension no longer apply, the Administrator
              will notify the Limited Partners and Feeder Fund Investors of the end of the
              suspension. At such time, any such suspended payments shall generally be paid
              in accordance with the normal process for making such payments, withdrawal
              rights shall be promptly reinstated, and any pending withdrawal requests which
              were not withdrawn (or new, timely withdrawal requests) will be effected as of
              the first withdrawal date following the removal of the suspension, subject to the
              foregoing restrictions on withdrawals.

        (e)   Unless prohibited by law, the Special Limited Partner, its Affiliates and any other
              Person that is entitled to any portion of the Performance Allocation may make
              withdrawals of all or any portion of the amount of the Performance Allocation
              from their Capital Accounts as of the last Business Day of any calendar month
              and/or such other Business Days as the General Partner may determine in its sole
              discretion.



                     Article VI LIQUIDATION AND TERMINATION


  6.1   Termination of Partnership

        (a)   The Partnership shall be wound up and dissolved upon the first to occur of any of
              the following dates (each, a “Termination Date”) and Sections 36(1)(b), 36(9)
              and 36(12) of the Act shall not apply to the Partnership:

              (i)    any date on which the General Partner shall elect in writing to terminate
                     the Partnership; and

              (ii)   if the General Partner is the sole or last remaining general partner, the date
                     (the “Automatic Dissolution Date”) falling 90 days after the date of the
                     service of a notice by the General Partner (or its legal representative) on
                     all the Limited Partners informing the Limited Partners of:

                     (1)     the commencement of liquidation or bankruptcy proceedings in
                             relation to the General Partner; or

                     (2)     the withdrawal, removal or making of a winding up or dissolution
                             order in relation to the General Partner;

              provided that, if a majority in number of the Limited Partners elects one or more
              new general partners before the Automatic Dissolution Date, the business of the
              Partnership shall be resumed and continued. If a new general partner is not
              elected by the Automatic Dissolution Date, the Partnership shall be wound up and
              dissolved in accordance with terms of this Agreement and the Act.



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        (b)   Upon such Termination Date, the Partnership shall be wound up in accordance
              with the Act by the General Partner or if the General Partner is unable to perform
              this function, a liquidator elected by a Majority of the Limited Partners (a
              “Liquidator”), which shall take all steps necessary or appropriate to wind up the
              affairs of the Partnership as promptly as practicable thereafter. Neither the
              admission of Partners nor the withdrawal, bankruptcy, death, legal incapacity or
              disability of a Limited Partner shall terminate the Partnership.

        (c)   The parties agree that irreparable damage would be done to the goodwill and
              reputation of the Partners if any Limited Partner should bring an action in court to
              dissolve the Partnership. Care has been taken in this Agreement to provide for
              fair and just payment in liquidation of the Interests of all Partners. Accordingly,
              to the fullest extent permitted by law, each Limited Partner hereby waives and
              renounces its right to such a court decree of dissolution or to seek the appointment
              by the court of a liquidator for the Partnership except as provided herein, and no
              Limited Partner may present a winding up petition against the Partnership without
              the prior written consent of the General Partner.

  6.2   Liquidation of Assets

        (a)   Upon the Termination Date of the Partnership, the General Partner or Liquidator
              (as applicable) shall promptly liquidate the business and administrative affairs of
              the Partnership to the extent feasible. Net Profit and Net Loss during the Fiscal
              Periods, which includes the period of liquidation, shall be allocated pursuant to
              Article III. The proceeds from liquidation shall be divided in the following
              manner, subject to the Act:

              (i)     the debts, liabilities and obligations of the Partnership, other than any
                      debts to the Partners as Partners, and the expenses of liquidation
                      (including legal, administrative and accounting expenses incurred in
                      connection therewith), up to and including the date that distribution of the
                      Partnership’s assets to the Partners has been completed, shall first be
                      satisfied (whether by payment or the making of reasonable provision for
                      payment thereof);

              (ii)    such debts as are owing to the Partners as Partners are next paid; and

              (iii)   the Partners shall next be paid liquidating distributions (in cash or in
                      securities or other assets, whether or not readily marketable) pro rata in
                      accordance with, and up to the positive balances of their respective Capital
                      Accounts, as adjusted pursuant to Article III to reflect allocations for the
                      Fiscal Period ending on the date of the distributions under this
                      Section 6.2(a)(iii).

        (b)   Notwithstanding this Section 6.2 and the priorities set forth in the Act, the
              General Partner or Liquidator may distribute ratably in kind rather than in cash,
              upon dissolution, any assets of the Partnership; provided, however, that if any in



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              kind distribution is to be made, (i) the assets distributed in kind shall be valued
              pursuant to Section 7.3, and charged as so valued and distributed against amounts
              to be paid under Section 6.2(a) and (ii) any gain or loss (as computed for book
              purposes) attributable to property distributed in kind shall be included in the Net
              Profit or Net Loss for the Fiscal Period ending on the date of such distribution.



         Article VII ACCOUNTING AND VALUATION; BOOKS AND RECORDS


  7.1   Accounting and Reports

        (a)   The Partnership may adopt for tax accounting purposes any accounting method
              which the General Partner shall decide is in the best interests of the Partnership
              and which is permissible for U.S. federal income tax purposes.

        (b)   As soon as practicable after the end of each Fiscal Year, the General Partner shall
              cause an audit of the financial statements of the Partnership as of the end of such
              period to be made by a firm of independent accountants selected by the General
              Partner. As soon as is practicable thereafter, the General Partner shall furnish to
              each Limited Partner a copy of the set of audited financial statements prepared in
              accordance with IFRS (subject to this Agreement) with GAAP reconciliation and
              such adjustments thereto as the General Partner determines appropriate, including
              a statement of profit and loss for such Fiscal Year and an unaudited status of each
              such Partner’s holdings in the Partnership at such time.

        (c)   As soon as practicable after the end of each taxable year, the General Partner shall
              furnish to each Limited Partner such information as may be required to enable
              each such Limited Partner properly to report for U.S. federal, state and local
              income tax purposes its distributive share of each Partnership item of income,
              gain, loss, deduction or credit for such year. The General Partner shall have
              discretion as to how to report Partnership items of income, gain, loss, deduction or
              credit on the Partnership’s tax returns, and the Limited Partners shall treat such
              items consistently on their own tax returns.

  7.2   Certain Tax Matters

        (a)   By joining this Agreement, each Limited Partner appoints and designates the
              General Partner (i) as the “tax matters partner,” within the meaning of Section
              6231(a)(7) of the Code, and, (ii) for any BBA Effective Period, as the
              “partnership representative” within the meaning of Section 6223 of the Code (as
              applicable, the “Tax Matters Partner”), or, in each case, under any similar state
              or local law. The Tax Matters Partner shall have any powers necessary to
              perform fully in such capacity, and shall be permitted to take any and all actions,
              to the extent permitted by law, in consultation with the General Partner if the
              General Partner is not the Tax Matters Partner. The General Partner shall have
              the exclusive authority to appoint and designate the Investment Manager, or an


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               Affiliate of the General Partner or the Investment Manager, as a successor Tax
               Matters Partner for any BBA Effective Period. The Tax Matters Partner shall be
               reimbursed by the Partnership for all costs and expenses incurred by it, and to be
               indemnified by the Partnership with respect to any action brought against it, in its
               capacity as the Tax Matters Partner.

        (b)    The Limited Partners agree that any and all actions taken by the Tax Matters
               Partner shall be binding on the Partnership and all of the Limited Partners and the
               Limited Partners shall reasonably cooperate with the Partnership or the General
               Partner, and undertake any action reasonably requested by the Partnership or the
               General Partner, in connection with any elections made by the Tax Matters
               Partner or as determined to be reasonably necessary by the Tax Matters Partners
               under any BBA provision.

        (c)    Each Limited Partner further agrees that such Limited Partner will not treat any
               Partnership item inconsistently on such Limited Partner’s U.S. federal, state, local
               and/or non-U.S. tax returns or in any claim for a refund with the treatment of the
               item on the Partnership’s tax returns and that such Limited Partner will not
               independently act with respect to tax audits or tax litigation affecting the
               Partnership, unless the prior written consent of the General Partner has been
               obtained.

        (d)    The General Partner may in its sole discretion cause the Partnership to make all
               elections not otherwise expressly provided for in this Agreement required or
               permitted to be made by the Partnership under the Code and any state, local or
               non-U.S. tax laws.

  7.3   AEOI

        Each Partner acknowledges and agrees that:

        (a)    the Partnership is required to comply with the provisions of AEOI;

        (b)    it will provide, in a timely manner, such information regarding the Partner and its
               beneficial owners and such forms or documentation as may be requested from
               time to time by the Partnership (whether by its General Partner or other agents
               such as the Investment Manager or the Administrator) to enable the Partnership to
               comply with the requirements and obligations imposed on it pursuant to AEOI,
               specifically, but not limited to, forms and documentation which the Partnership
               may require to determine whether or not the Partner's relevant investment is a
               "Reportable Account" (under any AEOI regime) and to comply with the relevant
               due diligence procedures in making such determination;

        (c)    any such forms or documentation requested by the Partnership or its agents
               pursuant to paragraph (b), or any financial or account information with respect to
               the Partner's investment in the Partnership, may be disclosed to the Cayman
               Islands Tax Information Authority (or any other Cayman Islands governmental
               body which collects information in accordance with AEOI) and to any


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              withholding agent where the provision of that information is required by such
              agent to avoid the application of any withholding tax on any payments to the
              Partnership;

        (d)   it waives, and/or shall cooperate with the Partnership to obtain a waiver of, the
              provisions of any law which:

                 (i) prohibit the disclosure by the Partnership, or by any of its agents, of the
                     information or documentation requested from the Partner pursuant to
                     paragraph (b);

                 (ii) prohibit the reporting of financial or account information by the
                      Partnership or its agents required pursuant to AEOI; or

                 (iii) otherwise prevent compliance by the Partnership with its obligations under
                       AEOI;
        (e)   if it provides information and documentation that is in anyway misleading, or it
              fails to provide the Partnership or its agents with the requested information and
              documentation necessary in either case to satisfy the Partnership's obligations
              under AEOI, the General Partner reserves the right (whether or not such action or
              inaction leads to compliance failures by the Partnership, or a risk of the
              Partnership or its investors being subject to withholding tax or other costs, debts,
              expenses, obligations or liabilities (whether external, or internal, to the
              Partnership) (together, "costs") under AEOI), in its sole discretion, to take any
              action and/or pursue all remedies at its disposal including, without limitation:

                 (i) to establish separate sub-accounts within a Partner’s Capital Account for
                     the purpose of calculating AEOI related costs; and/or

                 (ii) to allocate any or all AEOI costs among Capital Accounts (or Capital Sub-
                      Accounts within a Partner’s Capital Account) on a basis determined solely
                      by the General Partner; and/or

                 (iii) to compulsory withdraw such Partner from the Partnership; and/or
                 (iv) to hold back or deduct from any withdrawal proceeds or from any other
                      payments or distributions due to such Partner any costs caused (directly or
                      indirectly) by the Partner's action or inaction;

        (f)   it shall have no claim against the Partnership, the General Partner or any of its or
              their agents, for any form of damages or liability as a result of actions taken or
              remedies pursued by or on behalf of the Partnership in order to comply with
              AEOI; and

        (g)   it hereby indemnifies the Partnership, the General Partner and each of their
              respective principals, members, partners, managers, officers, directors,
              stockholders, employees and agents and holds them harmless from and against
              any AEOI related liability, action, proceeding, claim, demand, costs, damages,


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                expenses (including legal expenses) penalties or taxes whatsoever which such
                parties may incur as a result of any action or inaction (directly or indirectly) of
                such Partner (or any related person) described in the preceding paragraphs. This
                indemnification shall survive the disposition of such Partner's Interest in the
                Partnership.

  7.4    Valuation of Partnership Assets and Interests

         (a)    The Partnership’s assets are valued as of the close of each Fiscal Period and on
                any other date selected by the General Partner in its sole discretion in accordance
                with the Investment Manager’s valuation policies and procedures.

         (b)    The value of the assets of the Partnership and the net worth of the Partnership as a
                whole determined pursuant to this Section 7.3 are conclusive and binding on all of
                the Partners and all parties claiming through or under them.

  7.5    Determinations by the General Partner

         (a)    All matters concerning the determination and allocation among the Partners and
                their respective Capital Accounts of the amounts to be determined and allocated
                pursuant to this Agreement, including Article III and accounting procedures
                applicable thereto, shall be determined by the General Partner, unless specifically
                and expressly otherwise provided for by the provisions of this Agreement, and
                such determinations and allocations shall be final and binding on all the Partners;
                provided, however, that all calculations of the Performance Allocation will be
                made on the basis of, or subject to correction based on, the annual audit of the
                Partnership’s financial statements and appropriate adjustments will be made to all
                such calculations and related allocations to the extent necessary as a result of that
                audit.

         (b)    The General Partner may make such adjustments to the computation of Net Profit
                or Net Loss, the Performance Change and the Carryforward Account or any other
                allocations with respect to any Limited Partner and their respective Capital
                Accounts, or any component items comprising any of the foregoing, as it
                considers appropriate to reflect the financial results of the Partnership and the
                intended allocation thereof among the Partners and their respective Capital
                Accounts in a reasonably accurate, fair and efficient manner. Without limiting the
                generality of the foregoing, any provision of this Agreement that requires an
                adjustment to be made to any Capital Account or Capital Sub-Account (or other
                memorandum sub-account) as of any mid-month or mid-quarter date may be
                made as of the most recent preceding or succeeding date when a regular valuation
                is being conducted.

  7.6    Books and Records

         The General Partner shall keep books and records pertaining to the Partnership’s affairs
  showing all of its assets and liabilities, receipts and disbursements, realized income, gains,
  deductions and losses, Partners’ Capital Accounts and associated Capital Sub-Accounts and all


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  transactions entered into by the Partnership. Subject to the documentation requirements of the
  Act, such books and records of the Partnership (and/or copies thereof, as appropriate) must be
  kept at the Partnership’s principal office, at the registered office of the Partnership or at the
  office of an agent of the Partnership.



                              Article VIII GENERAL PROVISIONS


  8.1    Amendment of Partnership Agreement

         (a)    Except as required by law, this Agreement may be amended, in whole or in part,
                by an instrument in writing signed by each of the Limited Partners and the
                General Partner.

         (b)    Notwithstanding the foregoing or anything in this Agreement to the contrary, the
                General Partner may amend this Agreement without the consent of the Limited
                Partners in order:

                (i)      to make consequential amendments following any amendment made
                         pursuant to this Section 8.1;

                (ii)     to clarify any manifest or clerical inaccuracy, ambiguity or reconcile any
                         inconsistency in this Agreement;

                (iii)    to add to the representations, duties or obligations of the General Partner
                         or waive any right or power of the General Partner under this Agreement
                         for the benefit of the Limited Partners;

                (iv)     so as to qualify or maintain the qualification of the Partnership as a limited
                         partnership in any jurisdiction;

                (v)      to change the name of the Partnership;

                (vi)     to admit any new Limited Partners or to carry out the Transfer of any
                         Interests;

                (vii)    to make any other amendment whatsoever to this Agreement which the
                         General Partner deems advisable, provided that it does not adversely affect
                         any rights of the Limited Partners; or

                (viii)   to create separate classes or sub-classes or series or sub-series of Interests.

  8.2    Special Power-of-Attorney

         (a)    Each Partner hereby irrevocably makes, constitutes and appoints the General
                Partner (and each of its successors and permitted assigns) for the time being, with



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              full power of substitution, as the true and lawful agent and attorney-in-fact of, and
              in the name, place and stead of, such Partner with the power from time to time to
              make, execute, sign, acknowledge, swear to (and deliver as may be appropriate)
              on its behalf and file and record in the appropriate public offices and publish (as
              may in the reasonable judgment of the General Partner be required by law):

              (i)     any amendments to this Agreement made in accordance with the terms
                      hereof;

              (ii)    any instruments or documents which the General Partner determines in its
                      sole discretion are required to admit any new Limited Partners or to carry
                      out the Transfer of any Interests;

              (iii)   declarations of limited partnership in various jurisdictions and
                      amendments thereto;

              (iv)    all deeds, agreements and other documents which the General Partner
                      deems appropriate to conduct and carry on the business of the Partnership,
                      including, without limitation, to qualify or continue the Partnership as an
                      exempted limited partnership in the Cayman Islands and as required in the
                      jurisdictions in which the Partnership may conduct business, or which may
                      be required to be filed by the Partnership or the Partners under the laws of
                      any jurisdiction or under any amendments or successor statute to the law,
                      to reflect the dissolution or termination of the Partnership or the
                      Partnership being governed by any amendments or successor statutes to
                      the law or to reorganize or refile the Partnership in a different jurisdiction,
                      provided that such reorganization or refiling does not result in a material
                      change in the rights of the Partners;

              (v)     to file, prosecute, defend, settle or compromise litigation, claims or
                      arbitration on behalf of the Partnership;

              (vi)    one or more subscription agreements (or other agreements or documents)
                      on behalf of such Limited Partner between the Partnership, the General
                      Partner and any Person (a “New Limited Partner”) being admitted by the
                      General Partner to the Partnership as a limited partner thereof (or such
                      other parties as may be appropriate) in such form and on such terms and
                      conditions as the General Partner considers in its absolute discretion
                      necessary or appropriate, including reference to this Agreement and its
                      novation and agreeing and covenanting with such New Limited Partner on
                      behalf of such Limited Partner that the Limited Partner will from the
                      effective date of such subscription agreement or agreements comply with
                      and observe the terms of this Agreement.

        (b)   The above power of attorney shall be irrevocable and deemed to be given to
              secure a proprietary interest of the donee of the power or performance of an
              obligation owed to the donee and shall survive and shall not be affected by the



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                 subsequent death, lack of capacity, insolvency, bankruptcy or dissolution of any
                 Limited Partner.

         (c)     Each Limited Partner shall, at the request of the General Partner, execute
                 additional powers of attorney on a document separate from this Agreement. In
                 the event of any conflict between this Agreement and any instruments executed,
                 delivered, or filed by the General Partner (and any successor thereto) pursuant to
                 this power of attorney, this Agreement shall prevail.

         (d)     The General Partner may exercise this power of attorney by listing all of the
                 Partners executing any agreement, certificate, instrument, or document with the
                 single signature of the General Partner as attorney-in-fact for all Partners.

         (e)     Each Limited Partner hereby appoints the General Partner by any one or more of
                 its directors or officers in office from time to time, acting singly, to be the Limited
                 Partner's agent and attorney-in-fact.

  8.3    Notices

          Notices which may be or are required to be given under this Agreement by any party to
  another shall be given by hand delivery, transmitted by facsimile or telecopier facsimile,
  transmitted electronically to an address that has been previously provided or verified through
  another form of notice or sent by registered or certified mail, return receipt requested or
  internationally recognized courier service, and shall be addressed to the respective parties hereto
  at their addresses as set forth on the register of Partners maintained by the General Partner or to
  such other addresses, facsimile numbers or electronic addresses as may be designated by any
  party hereto by notice addressed to (a) the General Partner, in the case of notice given by any
  Limited Partner, and (b) each of the Limited Partners, in the case of notice given by the General
  Partner. Notices shall be deemed to have been given (i) when delivered by hand, transmitted by
  facsimile or transmitted electronically or (ii) on the date indicated as the date of receipt on the
  return receipt when delivered by mail or courier service. Sections 8 and 19 of the Electronic
  Transactions Law (2003 Revision) of the Cayman Islands shall not apply to this Agreement.

  8.4    Agreement Binding Upon Successors and Assigns; Delegation

          This Agreement shall be binding upon and inure to the benefit of the parties hereto and
  their respective successors, but the rights and obligations of the Partners hereunder shall not be
  assignable, transferable or delegable except as provided in Section 4.1(d), 5.3 and 5.4 and any
  attempted assignment, transfer or delegation thereof which is not made pursuant to the terms of
  such Sections shall be null and void ab initio.

  8.5    Governing Law

          This Agreement is, and the rights of the Partners hereunder are, governed by and shall be
  construed in accordance with the laws of the Cayman Islands, without regard to the conflict of
  laws rule thereof which would result in the application of the laws of a different
  jurisdiction. The parties hereby consent to the exclusive jurisdiction and venue for any action
  arising out of this Agreement in Dallas, Texas. Each Partner consents to service of process in


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  any action or proceeding involving the Partnership by the mailing thereof by registered or
  certified mail, postage prepaid, to such Partner’s mailing address set forth in the register of
  limited partnership interests maintained by the General Partner in accordance with the Act.

  8.6    Interpretation of Partnership Accounting Systems and Terminology

          In the event that the Partnership employs an accounting system which is different from
  the accounting system of the General Partner or whose terminology does not conform precisely
  to the terminology in this Agreement, the General Partner shall have the authority to interpret
  such accounting system and/or terminology in a manner which it, in its sole discretion,
  determines to be consistent with the objectives of this Agreement.

  8.7    Miscellaneous

         (a)    The captions and titles preceding the text of each Section hereof shall be
                disregarded in the construction of this Agreement. Use of the word “including” in
                this Agreement means in each case “without limitation,” whether or not such term
                is explicitly stated.

         (b)    This Agreement may be executed in counterparts, each of which shall be deemed
                to be an original hereof.

         (c)    If any provision of this Agreement is held invalid or unenforceable by any court
                of competent jurisdiction, the other provisions of this Agreement will remain in
                full force and effect. Any provision of this Agreement held invalid or
                unenforceable only in part or degree will remain in full force and effect to the
                extent not held invalid or unenforceable.

  8.8    Survival

          The obligations and covenants of the Limited Partners set forth in Sections 3.5 and 3.11
  hereof shall apply jointly and severally to each such Limited Partner and any direct or indirect
  transferee of or successor to such Limited Partner’s interest and will survive such Partner’s
  ceasing to be a partner in the Partnership and/or the termination, dissolution, liquidation and
  winding up of the Partnership.

  8.9    Entire Agreement

          The parties acknowledge and agree that this Agreement, together with any other
  agreement with a Limited Partner, constitutes the entire agreement among the parties hereto
  pertaining to the subject matter hereof and supersedes all prior agreements and understandings
  pertaining thereto.

                                     [Signature Page Follows]




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                                          EXHIBIT A



   General Partner:
   Highland Argentina Regional Opportunity Fund GP, LLC

   Limited Partners:
   Highland Argentina Regional Opportunity Fund, L.P.
   Highland Argentina Regional Opportunity Fund, Ltd.

   Special Limited Partner:
   Highland Capital Management Latin America, L.P.




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                         AMENDED AND RESTATED

            INVESTMENT MANAGEMENT AGREEMENT
                                    by and among

              HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, L.P.,

             HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, LTD.,

        HIGHLAND ARGENTINA REGIONAL OPPORTUNITY MASTER FUND, L.P.,

            HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND GP, LLC

                                         and

                  HIGHLAND CAPITAL MANAGEMENT LATIN AMERICA, L.P.




                                   November 1, 2017




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      This AMENDED AND RESTATED INVESTMENT MANAGEMENT
  AGREEMENT (this “Agreement”), dated as of November 1, 2017, is by and among:

        HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, L.P., a
  Delaware limited partnership (the “Domestic Fund”), acting through its general partner,
  Highland Argentina Regional Opportunity Fund GP, LLC, a Delaware limited liability
  company (the “General Partner”);

         HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND, LTD., a Cayman
  Islands exempted company (the “Offshore Fund” and together with the Domestic Fund, the
  “Feeder Funds”);

         HIGHLAND ARGENTINA REGIONAL OPPORTUNITY MASTER FUND,
  L.P., a Cayman Islands exempted limited partnership (the “Master Fund,” and together with
  the Feeder Funds, the “Clients”) acting by its general partner, the General Partner;

         HIGHLAND ARGENTINA REGIONAL OPPORTUNITY FUND GP, LLC, a
  Delaware limited liability company, as the general partner of the Domestic Fund and the
  Master Fund; and

         HIGHLAND CAPITAL MANAGEMENT LATIN AMERICA, L.P., a Cayman
  Islands exempted limited partnership, as the investment manager of each of the Clients (the
  “Investment Manager”);

                                       Preliminary Statements

       A.     The Investment Manager and the Offshore Fund entered into an Investment
  Management Agreement dated as of June 28, 2017 (the “Original Agreement”).

          B.     The Offshore Fund has re-organized into a master-feeder structure together with
  the Master Fund and the Domestic Fund. As a result, the Investment Manager and the Offshore
  Fund desire to amend and restate the Original Agreement in its entirety to give effect to this re-
  structuring and to admit the Master Fund, the General Partner and the Domestic Fund as parties
  to this Agreement.

          C.      Each of the Feeder Funds is required to invest all of its investable assets in the
  Master Fund. The Investment Manager exercises no discretion with respect to the investment of
  the assets of the Feeder Funds and will serve merely as a steward thereof. All investment
  activities of the Investment Manager are conducted at the Master Fund level in the Investment
  Manager’s role as investment manager to the Master Fund.

          D.     The Clients desire to retain the Investment Manager to provide certain
  discretionary advisory services relating to the assets and liabilities of the Master Fund and certain
  custodial services in respect of the Feeder Funds, and the Investment Manager desires to accept
  such appointment, all subject to the terms and conditions hereinafter set forth.




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                                             Agreement

        For good and valuable consideration, the sufficiency and adequacy of which are hereby
  acknowledged, the parties hereto hereby agree as follows:

  1.     Appointment.

         The Investment Manager will serve as investment manager with respect to the assets and
         liabilities of the Master Fund, and will provide certain administrative services in respect
         of the Domestic Fund and the Offshore Fund, and the Investment Manager hereby agrees
         to perform its obligations in accordance with the terms hereof and of the Amended and
         Restated Exempted Limited Partnership Agreement of the Master Fund, as amended from
         time to time (the “Master Fund Partnership Agreement”), and the investment
         objectives, policies, guidelines and restrictions that from time to time are set forth in the
         Governing Documents of the Clients, as applicable. “Governing Documents” means,
         with respect to:

         (a)    the Domestic Fund: the confidential private placement memorandum of the
                Domestic Fund, as supplemented or superseded from time to time (the “PPM”),
                and the Amended and Restated Limited Partnership Agreement of the Domestic
                Fund, as amended from time to time (the “Domestic Fund Partnership
                Agreement” and, together with the Master Fund Partnership Agreement, the
                “Partnership Agreements”);

         (b)    the Offshore Fund: the offering memorandum of the Offshore Fund, as
                supplemented or superseded from time to time (the “POM”), and the
                Memorandum and Articles of Association of the Offshore Fund, as amended and
                restated from time to time (the “Articles” and, together with the POM, the
                “Offshore Governing Documents”); and

         (c)    the Master Fund: the Master Fund Partnership Agreement.

         Any capitalized terms used but not defined herein shall have the meanings assigned to
         such terms in the Governing Documents, as applicable.

  2.     Authority and Duties of the Investment Manager.

         (a)    All of the investable assets of the Feeder Funds shall be invested in, and the
                investment program of the Feeder Funds is to be conducted by the Investment
                Manager through, the Master Fund. The Investment Manager shall exercise no
                discretion with respect to the investments or the assets of the Feeder Funds and
                the investment activities of the Investment Manager shall be conducted at the
                Master Fund level in the Investment Manager’s role as investment manager to the
                Master Fund.

         (b)    The Master Fund’s investment program will be conducted by the Investment
                Manager in accordance with the PPM and the POM.


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        (c)   The Investment Manager serves as the investment manager to the Master Fund
              and, in that capacity, has full discretion and authority, without obtaining the prior
              approval of any officer or other agent of the Master Fund, but subject to the
              investment restrictions set forth in the Governing Documents: (i) to effect any
              and all transactions and investments on behalf of the Master Fund; (ii) to
              determine all matters relating to the manner, method and timing of transactions
              and to engage consultants and analysts in connection therewith; (iii) to select
              brokers, dealers, futures commission merchants, banks and other intermediaries
              by or through whom such transactions will be executed or carried out; (iv) to trade
              on margin; (v) to borrow funds from banks, futures commission merchants,
              brokers and other lenders and pledge the securities or other portfolio assets as
              collateral therefor, and otherwise to utilize any lines of credit, credit balances or
              overdraft privileges available to the Master Fund; (vi) to direct banks, brokers or
              other custodians to effect deliveries of funds or assets, but only in the course of
              effecting portfolio transactions for the account of the Master Fund; (vii) to
              exercise all voting and other powers and privileges attributable to any investments
              held for the Master Fund’s account hereunder; (viii) to authorize remuneration
              for the directors of the Offshore Fund (the “Directors”) who are not principals or
              employees of the Investment Manager; and (ix) to make and execute all such
              documents and to take all such other actions as the Investment Manager considers
              necessary or appropriate to carry out its investment management duties hereunder
              (including, but not limited to, the engagement of third party service providers on
              behalf of the Clients).

        (d)   Subject to the terms and conditions of this Agreement, the authority granted
              hereby to the Investment Manager shall include, without limitation, the power and
              authority to:

              (i)    with respect to the Offshore Fund and in consultation with the Directors,
                     approve the rescission of a request for voluntary redemption submitted by
                     a shareholder of the Offshore Fund (each, a “Shareholder”); waive any
                     applicable requirements and restrictions in relation to the redemption of
                     shares of the Offshore Fund (“Shares”) by any Shareholder; waive certain
                     eligibility requirements with respect to any new subscription for
                     participating Shares or the transfer of Shares; waive any of the
                     subscription requirements as set out in the POM with respect to any new
                     subscription for Shares; permit a Shareholder to redeem its Shares at any
                     time in the event that continuing to hold the Shares becomes impractical or
                     illegal, upon a Shareholder's death or total disability, or in order for a
                     Shareholder to avoid materially adverse tax or regulatory consequences;
                     make in-kind distributions of Offshore Fund assets; approve the
                     establishment of reserves for contingencies and distribution holdbacks;
                     approve Side Letters (as defined in the POM); accept subscriptions below
                     the minimum subscription amount; accept redemptions of Shares outside
                     the frequency established by the Articles; and cause the Offshore Fund to
                     invest all of its investable assets in the Master Fund;



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              (ii)    with respect to the Domestic Fund, consent to or advise the Domestic
                      Fund with respect to any actions of the Domestic Fund for which its
                      consent or advice is required, as outlined in the PPM; make and execute
                      all such documents and take all such other actions as the Investment
                      Manager considers necessary or appropriate to carry out its duties
                      hereunder; and cause the Domestic Fund to invest all of its investable
                      assets in the Master Fund, in each case to the extent permitted under the
                      Domestic Fund Partnership Agreement; and

              (iii)   deposit and withdraw the funds of each Client in the name of such Client
                      in any bank or trust company and to entrust such bank or trust company
                      with any of the securities, monies, documents and papers belonging to or
                      relating to such Client; or to deposit in and entrust to any brokerage firm
                      that is a member of any U.S. national securities exchange any of said
                      funds, securities, monies, documents and papers belonging to or relating to
                      such Client.

        (e)   Each Client hereby designates the Investment Manager as the commodity pool
              operator (the “CPO”) for such Client with complete authority and responsibility
              for compliance with the U.S. Commodity Exchange Act and the regulations
              promulgated thereunder, including the authority to perform any and all duties
              required of a CPO (i) that is exempt from registration under the regulations of the
              U.S. Commodity Futures Trading Commission (the “CFTC”) and (ii) that is in
              compliance with CFTC Rule 4.13(a)(3), including the filing of a notice of
              exemption under Rule 4.13(a)(3) with the CFTC.

        (f)   Additionally, each of the Clients hereby designates and appoints the Investment
              Manager as its agent and attorney-in-fact, with full power and authority and
              without the need for further approval of the Clients (except as may be required by
              law), to complete and execute all such documents and to take any and all actions
              that the Investment Manager, in its discretion, may deem advisable to carry out
              the foregoing with respect to the assets of the Clients; provided, however, that the
              Investment Manager is not intended to have actual or constructive custody of any
              securities or other assets of the Clients. In connection with any of the foregoing,
              the Investment Manager is further authorized to transfer or tender for cash or
              exchange such securities or other assets. In all such purchases, sales or trades, the
              Clients authorize the Investment Manager to act for the Clients, at their risk, in
              their name and on their behalf, in the same manner and with the same force and
              effect as the Clients might or could do with respect to such purchases, sales or
              trades without prior consultation with the Clients. The Clients also appoint the
              Investment Manager as their agent and attorney-in-fact to vote, and to execute
              proxies, waivers, consents and other instruments with respect to, the securities and
              other assets of the Clients.

        (g)   At the request of a Client, in any wind down of such Client, the Investment
              Manager will manage the realization of the Client’s assets and the distribution
              thereof to investors.


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        (h)   In connection with the execution of transactions on behalf of the Master Fund, the
              Master Fund hereby acknowledges and agrees that in the course of selecting
              brokers, dealers, futures commission merchants, banks and financial
              intermediaries to effect transactions for the Master Fund’s account, the
              Investment Manager may agree to such commissions, fees and other charges on
              behalf of the Master Fund’s account as it may deem reasonable in the
              circumstances, taking into consideration all such factors as the Investment
              Manager deems relevant, including, without limitation, the following: price
              quotes, the size of the transaction, the nature of the market for the financial
              instrument, the timing of the transaction, difficulty of execution, the broker-
              dealer’s expertise in the specific financial instrument or sector in which the
              Master Fund seeks to trade, the extent to which the broker-dealer makes a market
              in the financial instrument involved or has access to such markets, the broker-
              dealer’s skill in positioning the financial instruments involved, the broker-dealer’s
              promptness of execution, the broker-dealer’s financial stability, reputation for
              diligence, fairness and integrity, quality of service rendered by the broker-dealer
              in other transactions for the Investment Manager and its respective affiliates,
              confidentiality considerations, the quality and usefulness of research services and
              investment ideas presented by the broker-dealer, the broker-dealer’s willingness
              to correct errors, the broker-dealer’s ability to accommodate any special execution
              or order handling requirements that may surround the particular transaction, and
              other factors deemed appropriate by the Investment Manager. It is understood
              that the Investment Manager need not solicit competitive bids and does not have
              an obligation to seek the lowest available commission cost or spread.

  3.    Fees, Expenses and Indemnification.

        (a)   The Investment Manager shall be paid the Management Fee by the Master Fund
              in accordance with the Master Fund Partnership Agreement.

        (b)   The Investment Manager agrees to be bound by all of the terms and provisions of
              the Partnership Agreements applicable to it, as a delegatee of the General Partner,
              as though expressly made a party thereto, and shall be governed by the same
              standard of care applicable to the General Partner in connection therewith. The
              General Partner, on behalf of each of the Domestic Fund and the Master Fund,
              agrees that the Investment Manager shall be entitled to all of the benefits of the
              Partnership Agreements applicable to it as a delegatee of the General Partner,
              including, without limitation, the right to reimbursement of expenses provided
              under Section 4.2 of the Master Fund Partnership Agreement and Section 4.2 of
              the Domestic Fund Partnership Agreement, and the right to limitation of liability
              and indemnification provided under Section 4.5 of the Master Fund Partnership
              Agreement and Section 4.5 of the Domestic Fund Partnership Agreement, and
              such sections are hereby incorporated by reference as if set forth in full herein.

        (c)   With respect to the reimbursement of expenses directly attributable to the
              Offshore Fund separate and apart from the Master Fund, the Offshore Fund agrees
              that it will pay the Investment Manager’s expenses as follows:


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              (i)    In accordance with and subject to the Offshore Governing Documents, the
                     Offshore Fund will pay, or will reimburse the Investment Manager for, all
                     costs, fees and expenses arising in connection with the Offshore Fund’s
                     operations and its pro rata share of the cost of the Master Fund’s
                     operations and investments. Expenses payable by the Offshore Fund
                     include the following:

                     (A)    the Offshore Fund’s pro rata share of the cost of the Master Fund’s
                            investment program, including, without limitation, brokerage
                            commissions, other expenses related to buying and selling
                            securities (including trading errors that are not the result of the
                            Investment Manager’s gross negligence (as such term is defined
                            and interpreted in accordance with the laws of the State of
                            Delaware), willful misconduct or fraud), costs of due diligence
                            regardless of whether a particular transaction is consummated, the
                            costs of attending shareholder meetings, research expenses and
                            costs related to monitoring investments;

                     (B)    initial organizational expenses of the Offshore Fund;

                     (C)    fees and expenses of advisers and consultants;

                     (D)    fees and expenses of any custodians, escrow or transfer agents or
                            other investment-related service providers;

                     (E)    indemnification expenses incurred in connection with the Offshore
                            Governing Documents and the cost of insurance against potential
                            indemnification liabilities;

                     (F)    interest and other borrowing expenses;

                     (G)    legal, administrative, accounting, tax, audit and insurance
                            expenses;

                     (H)    expenses of preparing and distributing reports, financial statements
                            and notices to Shareholders;

                     (I)    litigation or other extraordinary expenses;

                     (J)    any withholding, transfer or other taxes imposed or assessed on, or
                            payable by, the Offshore Fund (including any interest and
                            penalties); and

                     (K)    the cost of periodically updating the POM.

              (ii)   Except as set forth herein or in the POM, in accordance with and subject
                     to the Offshore Governing Documents, the Investment Manager will pay
                     all of its own operating and overhead costs (including salaries, office rent


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                      and other general overhead expenses), without reimbursement by the
                      Offshore Fund.

              (iii)   The Investment Manager shall be entitled to reimbursement from the
                      Offshore Fund for any expenses paid by it on behalf of the Offshore Fund;
                      provided that, the Investment Manager in its sole discretion may absorb
                      any or all of such expenses incurred on behalf of the Offshore Fund. The
                      Investment Manager may retain, in connection with its responsibilities
                      hereunder as a delegatee of the General Partner, the services of others to
                      assist in the investment advice to be given to the Master Fund, including,
                      but not limited to, any affiliate of the Investment Manager, but payment
                      for any such services shall be assumed by the Investment Manager and
                      neither the Master Fund nor the Offshore Fund shall have any liability
                      therefor; provided, however, that the Investment Manager, in its sole
                      discretion, may retain the services of independent third party professionals
                      on behalf of the Master Fund, including, without limitation, attorneys,
                      accountants and consultants, to advise and assist it in connection with the
                      performance of its activities on behalf of the Master Fund, and the Master
                      Fund shall bear full responsibility therefor and the expense of any fees and
                      disbursements arising therefrom.

        (d)   With respect to the right to indemnification directly attributable to the Offshore
              Fund separate and apart from the Master Fund:

              (i)     The Offshore Fund agrees that the Investment Manager, its members,
                      shareholders, partners, managers, directors, any person who controls the
                      Investment Manager, each of the respective affiliates of the foregoing, and
                      each of their respective executors, heirs, assigns, successors and other
                      legal representatives (each an “Indemnified Person”) shall not be liable to
                      the Offshore Fund or to any of the Shareholders for any loss or damage
                      arising by reason of being or having been an Indemnified Person or from
                      any acts or omissions in the performance of its services as an Indemnified
                      Person in the absence of gross negligence (as such term is defined and
                      interpreted in accordance with the laws of the State of Delaware), willful
                      misconduct or fraud, or as otherwise required by law. In no event shall
                      any Indemnified Person be liable for any consequential damages, special
                      or indirect damages or lost profits. An Indemnified Person may consult
                      with counsel and accountants in respect of the Offshore Fund’s affairs and
                      will be fully protected and justified in any action or inaction which is
                      taken in accordance with the advice or opinion of such counsel or
                      accountants, provided that they were selected in accordance with the
                      standard of care set forth above.

              (ii)    The Offshore Fund shall, to the fullest extent permitted by law, indemnify
                      and hold harmless each Indemnified Person from and against any and all
                      liabilities suffered or sustained by an Indemnified Person by reason of the
                      fact that it, he or she is or was an Indemnified Person or in connection


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                      with this Agreement or the Offshore Fund’s business or affairs, including,
                      without limitation, any judgment, settlement, reasonable attorneys’ fees
                      and other costs or expenses incurred in connection with the defense of any
                      actual or threatened action, suit or proceeding, provided that such liability
                      did not result from the gross negligence (as such term is defined and
                      interpreted in accordance with the laws of the State of Delaware), willful
                      misconduct or fraud of such Indemnified Person. The Offshore Fund will,
                      in the sole discretion of the Directors, advance to any Indemnified Person
                      reasonable attorneys’ fees and other costs and expenses incurred in
                      connection with the defense of any action, suit or proceeding which arises
                      out of such conduct. In the event that such an advance is made by the
                      Offshore Fund, the Indemnified Person will agree to reimburse the
                      Offshore Fund to the extent that it is finally determined that the
                      Indemnified Person was not entitled to indemnification in respect thereof.

              (iii)   Notwithstanding any of the foregoing, the provisions of this Section 3(d)
                      do not provide for the exculpation or indemnification of any Indemnified
                      Person for any liability (including liability under U.S. federal securities
                      laws which, under certain circumstances, impose liability even on persons
                      that act in good faith), to the extent (but only to the extent) that such
                      liability may not be waived, modified or limited under applicable law, but
                      shall be construed so as to effectuate the above provisions to the fullest
                      extent permitted by law.

              (iv)    Pursuant to the indemnification and exculpation provisions above and as
                      set forth in the Master Fund Partnership Agreement, the Master Fund (and
                      not the applicable Indemnified Person) will be responsible for any losses
                      resulting from trading errors and similar human errors, absent gross
                      negligence (as such term is defined and interpreted in accordance with the
                      laws of the State of Delaware), willful misconduct or fraud of any
                      Indemnified Person.

              (v)     The above-mentioned Indemnified Persons are also indemnified by each
                      Shareholder for any amounts of tax withheld or required to be withheld
                      with respect to that Shareholder, and also for any amounts of interest,
                      additions to tax, penalties and other costs borne by any such persons in
                      connection therewith.

              (vi)    Each Indemnified Person shall be deemed a third-party beneficiary (to the
                      extent not a direct party hereto) of this Agreement and, in particular, the
                      provisions of this Section 3(d). The Investment Manager may enter into
                      agreements on behalf of the Offshore Fund with an Indemnified Person to
                      provide an indemnity to the same extent provided in this Section 3(d).




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  4.    Termination.

        This Agreement shall become effective on the date hereof and shall continue in effect
        until the earlier of the dissolution of a Client or termination by either the Investment
        Manager, the Offshore Fund or the General Partner, on behalf of the Domestic Fund or
        the Master Fund, upon at least 90 days’ prior notice.

  5.    Other Activities and Investments.

        (a)    Each party hereto acknowledges and agrees that the Investment Manager, its
               affiliates and their respective officers, directors, shareholders, members, partners,
               personnel and employees, may engage in or possess an interest in other business
               ventures or commercial dealings of every kind and description, independently or
               with others, including, but not limited to, management of other accounts,
               investment in, or financing, acquisition and disposition of, securities, investment
               and management counseling, brokerage services, serving as directors, officers,
               advisers or agents of other companies, partners of any partnership, or trustees of
               any trust, or entering into any other commercial arrangements, and will not be
               disqualified solely on the basis that any such activities may conflict with any
               interest of the parties to this Agreement. Without in any way limiting the
               foregoing, each party hereto hereby acknowledges that (i) none of the Investment
               Manager, its affiliates and their respective officers, directors, shareholders,
               members, partners, personnel and employees shall have any obligation or
               responsibility to disclose or refer any of the investment or other opportunities
               obtained through activities contemplated by this Section 5(a) to any Client or its
               investors, but may refer the same to any other party or keep such opportunities for
               their own benefit; and (ii) the Investment Manager, its affiliates and their
               respective officers, directors, shareholders, members, partners, personnel and
               employees are hereby authorized to engage in activities contemplated by this
               Section 5(a) with, or to purchase, sell or otherwise deal or invest in investments
               issued by, companies in which the Master Fund might from time to time invest or
               be able to invest or otherwise have any interest, without the consent or approval
               of the Clients or their investors. The parties hereto expressly agree that neither
               the Clients nor their investors shall have any rights in or to such other activities,
               or any profits derived therefrom.

        (b)    The Investment Manager and its affiliates shall allocate investment opportunities
               to the Master Fund and any Other Account (as defined below) fairly and equitably
               over time. Notwithstanding the foregoing, the Investment Manager is under no
               obligation to accord exclusivity or priority to the Master Fund in the event of
               limited investment opportunities. This means that such opportunities will be
               allocated among those accounts for which participation in the respective
               opportunity is considered appropriate, taking into account, among other
               considerations: (i) fiduciary duties owed to the accounts; (ii) the primary mandate
               of the accounts; (iii) the capital available to the accounts; (iv) any restrictions on
               the accounts and the investment opportunity; (v) the sourcing of the investment,
               size of the investment and amount of follow-on available related to the


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              investment; (vi) whether the risk-return profile of the proposed investment is
              consistent with the account’s objectives and program, whether such objectives are
              considered in light of the specific investment under consideration or in the context
              of the portfolio’s overall holdings; (vii) the potential for the proposed investment
              to create an imbalance in the account’s portfolio (taking into account expected
              inflows and outflows of capital); (viii) liquidity requirements of the account; (ix)
              potentially adverse tax consequences; (x) regulatory and other restrictions that
              would or could limit an account’s ability to participate in a proposed investment;
              and (xi) the need to re-size risk in the account’s portfolio. The Investment
              Manager has the authority to allocate trades to multiple accounts on an average
              price basis or on another basis it deems fair and equitable. Similarly, if an order
              on behalf of any accounts cannot be fully allocated under prevailing market
              conditions, the Investment Manager may allocate the trades among different
              accounts on a basis it considers fair and equitable over time. For purposes of this
              Agreement, “Other Account” means any assets or investment of the Investment
              Manager, or any assets managed by the Investment Manager or any of its
              affiliates for the account of any person or entity (including investment vehicles)
              other than the Clients, which are invested or which are available for investment in
              securities or other instruments or for trading activities whether or not of the
              specific type being conducted by the Clients.

        (c)   The Principal (as defined in the Domestic Fund Partnership Agreement), as well
              as the employees and officers of the Investment Manager and of organizations
              affiliated with the Investment Manager, may buy and sell securities for their own
              account or the account of others, but may not buy securities from or sell securities
              to the Master Fund (such prohibition does not extend to the purchase or sale of
              limited partner interests in the Master Fund), unless such purchase or sale is in
              compliance with the applicable provisions of the U.S. Investment Advisers Act of
              1940, as amended.

        (d)   The Investment Manager and its affiliates reserve the right to establish collective
              investment vehicles that have stated investment programs or terms that differ
              from those of the Clients or that are targeted primarily to investors for which none
              of the Clients are designed to be a suitable investment vehicle. The Investment
              Manager and its affiliates also reserve the right to establish and provide
              management or advisory services to Other Accounts for significant investors,
              whether or not such accounts have the same investment program as the Clients.

  6.    Complete Agreement; Amendment.

        (a)   This Agreement, together with the Governing Documents, contains the entire
              agreement between the parties hereto relating to the subject matter hereof. No
              provision of this Agreement may be amended without the written consent of the
              Investment Manager and the Clients.

        (b)   This Agreement shall automatically and immediately terminate in the event of its
              assignment by the Investment Manager other than in accordance with Section 7.


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        (c)    The expiration or termination of this Agreement shall not extinguish the
               obligations of the Clients for the payment of fees and expenses in respect of
               services rendered by the Investment Manager prior to the effective date of such
               expiration or termination.

  7.    Binding Effect; Assignment.

        This Agreement shall be binding upon and inure to the benefit of the parties hereto and
        their respective successors, but the rights and obligations hereunder shall not, except as
        otherwise expressly provided herein, be assignable, transferable or delegable without the
        written consent of the other parties hereto, and any attempted assignment, transfer or
        delegation thereof without such consent shall be void.

  8.    Counterparts.

        This Agreement may be executed in one or more counterparts all of which taken together
        shall be deemed to constitute one and the same instrument.

  9.    Notice by Investment Manager.

        To the extent required by law, the Investment Manager agrees to notify the Clients in
        writing within 30 days after any change in the membership of the Investment Manager.

  10.   Severability.

        If any provision herein is deemed invalid or unenforceable, such provision shall be
        deemed modified and limited to the extent necessary to make it valid and enforceable.

  11.   Independent Contractor.

        For all purposes of this Agreement, the Investment Manager shall be an independent
        contractor and not an employee or dependent agent of the Clients, nor shall anything
        herein be construed as making the Clients partners or co-venturers with the Investment
        Manager or any of its affiliates or customers. Except as provided in this Agreement, the
        Investment Manager shall have no authority to bind, obligate or represent the Clients.

  12.   Governing Law.

        This Agreement shall be governed by and construed in accordance with the substantive
        laws of the Cayman Islands, which are applicable to contracts made and entirely to be
        performed therein, without regard to the place of performance hereunder.


                                    [Signature Page Follows]




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  OFFERING MEMORANDUM                                                                      Copy No: _________________

                                                                                           Furnished to: _______________



    HIGHLAND ARGENTINA REGIONAL OPPORTUNITY
                   FUND, LTD.
    an exempted company incorporated with limited liability under the laws of the Cayman
   Islands offering for subscription up to 4,999,900 Shares designated as Series A Shares and
                                         Series B Shares


                                            Investment Manager
                     Highland Capital Management Latin America, L.P.


                                                          March 2019



  Prospective investors should review this Offering Memorandum carefully and consult with their legal and financial advisers to
  determine possible tax or other consequences of purchasing, holding or redeeming Shares (as defined herein).

  The distribution of this Offering Memorandum and the offering or purchase of the Shares may be restricted in certain
  jurisdictions. No persons receiving a copy of this Offering Memorandum or the accompanying subscription documents in any
  such jurisdiction may treat this Offering Memorandum or such subscription documents as constituting an invitation to them to
  subscribe for Shares, nor should they in any event use such subscription documents, unless in the relevant jurisdiction such an
  invitation could lawfully be made to them and such subscription documents could lawfully be used without compliance with any
  registration or other legal requirements.

  Application has previously been made on 16 June 2006 to The International Stock Exchange (the “Exchange”), which has
  approved the listing of up to 4,999,900 Series A Shares of US$0.01 each to be issued by Highland Argentina Regional
  Opportunity Fund, Ltd. (the “Fund”) to be admitted to the Official List. The Series B Shares are not listed on any stock-
  exchange. This document will comprise listing particulars for the purpose of the listing of the Shares on that Exchange. It is not
  presently proposed to seek an admission to listing on any other stock exchange. The Directors do not anticipate that an active
  secondary market will develop in any of the Shares of the Fund. Ogier Corporate Finance Limited is acting for the Fund and for
  no one else in connection with the listing of the Shares and will not be responsible to anyone other than the Fund.

  This Offering Memorandum includes particulars given in compliance with the Listing Rules of the Exchange for the purpose of
  giving information with regard to the Fund. The Directors, whose names appear on page 39, accept full responsibility for the
  information contained in this Offering Memorandum and confirm, having made all reasonable enquiries, that to the best of their
  knowledge and belief there are no other facts the omission of which would make any statement herein misleading.

  Neither the admission of the Shares to the Official List nor the approval of the Offering Memorandum pursuant to the listing
  requirements of the Exchange shall constitute a warranty or representation by the Exchange as to the competence of the service
  providers to or any other party connected with the listed fund, the adequacy and accuracy of the information contained in the
  Offering Memorandum or the suitability of the issuer for investment or for any other purpose.




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                                            DIRECTORY

               Highland Argentina Regional Opportunity Fund, Ltd.
  Directors:                                        Registered Office:

  Claire Kasumba                                    Maples Corporate Services Limited
  Martin Laufer                                     P.O. Box 309
  Sophia Dilbert                                    Ugland House
                                                    Grand Cayman KY1-1104
                                                    Cayman Islands

  Investment Manager:                               Administrator and Principal Office:

  Highland Capital Management Latin America, L.P.   MUFG Fund Services (Cayman) Limited
  c/o Highland Capital Management, L.P.             2nd Floor, Strathvale House
  300 Crescent Court, Suite 700                     90 North Church Street
  Dallas, TX 75201                                  P.O. Box 609
                                                    Grand Cayman KY1-1107
                                                    Cayman Islands

  Auditors:                                         Sponsor:

  PricewaterhouseCoopers LLP                        Ogier Corporate Finance Limited
  5th Floor Strathvale House                        44 Esplanade, St. Helier
  P.O. Box 258                                      Jersey JE4 9WG
  Grand Cayman KY1-1104                             Channel Islands
  Cayman Islands

  Legal Advisor as to Cayman Islands Law:           Legal Advisor as to United States Law:

  Maples and Calder                                 Akin Gump Strauss Hauer & Feld LLP
  P.O. Box 309                                      1700 Pacific Avenue
  Ugland House                                      Suite 4100
  Grand Cayman KY1-1104                             Dallas, TX 75201
  Cayman Islands

  Prime Broker:

  Société Générale
  440 S. LaSalle St., Suite 2400
  Chicago, IL 60605

  BNP Paribas Prime Brokerage, Inc.
  787 Seventh Avenue
  The Equitable Tower
  New York, NY 10019




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                                             NOTICE

  THIS OFFERING MEMORANDUM

  This Offering Memorandum (“Memorandum”) relates to the offering of Series A and Series B
  Shares of Highland Argentina Regional Opportunity Fund, Ltd. (the “Fund”), a company
  incorporated under the Companies Law (Revised) of the Cayman Islands as an exempted
  company limited by shares and of unlimited duration.

  This Memorandum is confidential and intended solely for the use of the person to whom it has
  been delivered by the Fund for the purpose of enabling the recipient to evaluate an investment in
  the Fund, and it is not to be reproduced or distributed to any other persons. Notwithstanding
  anything herein to the contrary, each investor (and each employee, representative, or other agent
  of the investor) may disclose to its tax and other professional advisors, the tax treatment and tax
  structure of an investment in the Fund and all materials of any kind (including opinions or other
  tax analyses) that are provided to the investor relating to such tax treatment and tax structure.

  The Directors of the Fund whose names appear in the Directory accept responsibility for the
  information contained in this document. To the best of the knowledge and belief of the Directors
  (who have taken all reasonable care to ensure that such is the case) the information contained in
  this document is in accordance with the facts and does not omit anything likely to affect the
  import of such information.

  INVESTOR RESPONSIBILITY

  No representations or warranties of any kind are intended or should be inferred with respect to
  the economic return from, or the tax consequences of, an investment in the Fund. No assurance
  can be given that existing laws will not be changed or interpreted adversely. Prospective
  investors are not to construe this Memorandum as legal, investment or tax advice. No person is
  authorized to make any representations concerning the Fund which are inconsistent with those
  contained in this Memorandum. This Memorandum supersedes all prior versions thereof and
  should be reviewed prior to making an investment decision.

  Prospective investors should review this Memorandum carefully and in its entirety and consult
  with their legal, tax and financial advisors in relation to (i) the legal and regulatory requirements
  within their own countries for the purchase, holding, redemption or disposal of shares of the
  Fund (“Shares”); (ii) any foreign exchange restrictions to which they are subject in their own
  countries in relation to the purchase, holding, redemption or disposal of Shares; and (iii) the
  legal, tax, financial or other consequences of subscribing for, purchasing, holding, redeeming or
  disposing of Shares.




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  DISTRIBUTION AND SELLING RESTRICTIONS

  Neither this Memorandum nor the Shares described herein have been qualified for offer, sale or
  distribution under the laws of any jurisdiction governing the offer or sale of mutual fund shares
  or other securities. The distribution of this Memorandum and the offering or purchase of the
  Shares may be restricted in certain jurisdictions. No persons receiving a copy of this
  Memorandum or the accompanying Subscription Documents (as defined herein) in any such
  jurisdiction may treat this Memorandum or such Subscription Documents as constituting an
  invitation to them to subscribe for Shares, nor should they in any event use such Subscription
  Documents, unless in the relevant jurisdiction such an invitation could lawfully be made to them
  and such Subscription Documents could lawfully be used without compliance with any
  registration or other legal requirements. Accordingly, this Memorandum does not constitute an
  offer or solicitation by anyone in any jurisdiction in which such offer or solicitation is not lawful
  or in which the person making such offer or solicitation is not qualified to do so or to anyone to
  whom it is unlawful to make such offer or solicitation. It is the responsibility of any persons in
  possession of this Memorandum and any persons wishing to apply for Shares pursuant to this
  Memorandum to inform themselves of and to observe all applicable laws and regulations of any
  relevant jurisdiction.

  The Fund may not make an invitation to the public in the Cayman Islands to subscribe for the
  Shares unless the Fund is listed on the Cayman Islands Stock Exchange. For these purposes,
  “public” has the same meaning as “public in the Islands” as defined in the Mutual Funds Law
  (Revised) of the Cayman Islands. Apart from this restriction, persons resident, domiciled,
  established, incorporated or registered pursuant to the laws of the Cayman Islands may
  beneficially own Shares.

  The Fund does not constitute a recognized collective investment scheme for the purposes of the
  Financial Services and Markets Act 2000 of the United Kingdom (the “Act”). In addition, the
  Investment Manager is not authorized or supervised by the United Kingdom Financial Conduct
  Authority (“FCA”) as an “alternative investment fund manager” or “AIFM”, as defined in the
  Financial Services and Markets Act 2000 (Alternative Investment Fund Managers) Regulations
  2013 (SI 2013/1773) (“UK AIFMD Regulations”). The promotion and offering or placement of
  the Fund and the distribution of this Memorandum in the United Kingdom are accordingly
  restricted by law. The distribution of this Memorandum in the United Kingdom:

     (a) if made by a person who is not an authorized person under the Act, must be made to,
         and/or directed at, only persons (A) who are professional investors, as defined in the UK
         AIFMD Regulations; or (B) to whom it may lawfully be made or directed at under the
         Financial Services and Markets Act 2000 (Financial Promotion) Order 2005 (as
         amended), including persons who are authorized under the Act (“authorized persons”),
         certain persons having professional experience in matters relating to investments, high
         net worth companies, high net worth unincorporated associations or partnerships, trustees
         of high value trusts and persons who qualify as certified sophisticated investors; and

     (b) if made by a person who is an authorized person under the Act must be made to, and/or
         directed at, only persons (A) who are professional investors, as defined in the UK
         AIFMD Regulations; or (B) to whom it may lawfully be made or directed at under the


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         Financial Services and Markets Act 2000 (Promotion of Collective Investment Schemes)
         (Exemptions) Order 2001 (as amended) or chapter 4, section 4.12 of the FCA's Conduct
         of Business Sourcebook, including authorized persons, certain persons having
         professional experience of participating in unregulated schemes, high net worth
         companies, high net worth unincorporated associations or partnerships, trustees of high
         value trusts, persons who qualify as certified sophisticated investors and clients of the
         person making the distribution for whom that person has taken reasonable steps to ensure
         that the investment in the Fund is suitable.

  All such persons in (a) and (b) above together are referred to as “Relevant Persons.” Any
  investment or investment activity to which this communication relates must only be made
  available to Relevant Persons in the United Kingdom and this Memorandum must not be
  distributed to or relied on or acted upon by any other persons in the United Kingdom.

  The Shares of the Fund have not been admitted for marketing in Germany. The Shares have only
  been admitted for marketing to professional investors in the territory of Germany. Accordingly, the
  Shares may not be offered and marketed to semi-professional and retail investors within the
  meaning of section 1(19) no. 31 and 33 German Capital Investment Act (Kapitalanlagege-
  Setzbuch) in the territory of Germany. The Memorandum may not be passed on to semi-
  professional and retail investors in Germany.

  The Shares described in this Memorandum have not been, and will not be, registered under the
  United States Securities Act of 1933, as amended, or any similar law, rule or regulation in any
  other jurisdiction (including without limitation any law, rule or regulation of England and Wales,
  the Cayman Islands or any of the states of the United States of America). Shares of the Fund may
  not be directly or indirectly offered or sold to or for the benefit of any United States Person (as
  defined herein) except pursuant to placements exempt from registration under the United States
  Securities Act of 1933, as amended. In addition, the Fund has not been and will not be registered
  under the United States Investment Company Act of 1940, as amended, or any similar law, rule or
  regulation in any other jurisdiction (including without limitation any law, rule or regulation of
  England and Wales, the Cayman Islands or any of the states of the United States of America).

  The Shares offered hereby may not be publicly offered, sold or advertised in Switzerland
  pursuant to Article 2 of the Swiss Investment Fund Act 1995 and this Memorandum may only be
  circulated to a limited number of persons in Switzerland. Therefore, no steps have been taken to
  register the Fund and/or this Memorandum as a prospectus in Switzerland.

  ADDITIONAL INFORMATION CONCERNING THE DISTRIBUTION OF THE FUND
  IN SWITZERLAND

  The Shares of the Fund can be distributed in Switzerland exclusively to qualified investors as
  defined by Article 10 § 3 of the Collective Investment Scheme Act (CISA) and Article 6 of the
  Collective Investment Scheme Ordinance (CISO) (Qualified Investors). The Fund has not been
  and will not be registered with the Swiss Financial Market Supervisory Authority (FINMA). This
  offering memorandum and/or any other offering materials relating to the Shares may be made
  available in Switzerland solely to Qualified Investors.



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  The Representative of the Fund in Switzerland is Hugo Fund Services SA, with its registered
  office at 6 Cours de Rive, CH-1204 Geneva. The offering documents and annual or semi-annual
  reports can be obtained free of charge from the Representative. The place of performance for
  Shares of the Fund offered or distributed in or from Switzerland are the registered office of the
  Representative. The courts of the canton of Geneva shall have jurisdiction in relation to any
  disputes arising out of the duties of the Representative. Any dispute related to the distribution of
  Shares of the Fund in and from Switzerland shall be subject to the jurisdiction of the registered
  office of the distributor. The Paying Agent in Switzerland is Banque Heritage SA, 61 Route de
  Chêne, CH-1208 Geneva, Switzerland. Shares may be subscribed and/or redeemed with the
  Paying Agent. A handling commission will be charged by the Paying Agent and deducted from
  the subscription or redemption amount paid or received. If a subscription or redemption is made
  through the Paying Agent, instructions and money must be received by the paying agent at least
  24 hours before the appropriate dealing cut-off time.

  The fees and expenses associated with the representation, paying agency and other distribution
  items may be charged to the Fund. As applicable, the actual amount of such fees and expenses
  will be disclosed in the audited annual report.

  In distributing shares of the Fund in Switzerland, the Fund is authorised to pass on distribution
  fees to the distributors and sales partners listed below:
       Distributors subject to authorization as defined in Article 19 al. 1 of the CISA (Swiss or
          foreign distributors regulated in their home jurisdiction)
       Distributors that are not required to obtain an authorization as defined under Article 19 al
          1 of the CISA and article 8 of CISO (financial intermediaries regulated by FINMA,
          banks, insurance companies, fund managers, representatives
       Sales partners who place shares in the Fund with their customers exclusively through a
          written commission-based investment management or advisory mandate (e.g.
          independent asset managers or advisors).

  When a retrocession payment may give rise to a conflict of interest, the recipient of the
  retrocession must ensure transparent disclosure and inform investors, unsolicited and free of
  charge, of the amount of retrocession it may receive for distribution. Upon request, the recipient
  must disclose the actual amount of retrocession received for distributing the Fund to the investor
  requiring information.

  RELIANCE ON THIS MEMORANDUM

  The Shares are offered only on the basis of the information contained in this Memorandum and
  the latest audited annual accounts of the Fund. Any further information or representations given
  or made by any dealer, broker or other person should be disregarded and, accordingly, should not
  be relied upon. No person has been authorized to give any information or to make any
  representations in connection with the offering of Shares in the Fund other than those contained
  in this Memorandum and in any subsequent annual report for the Fund and, if given or made,
  such information or representations must not be relied on as having been authorized by the Fund,
  the Directors, the Investment Manager or the Administrator (each as defined herein). Statements
  in this Memorandum are based on the law and practice currently in force in the Cayman Islands



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  at the date hereof and are subject to change. Neither the delivery of this Memorandum nor the
  issue of Shares shall under any circumstance create any implication or constitute any
  representation that the affairs of the Fund have not changed since the date of this Memorandum.

  RISKS

  Investment in the Fund carries with it a degree of risk. The value of Shares and the income from
  them may go down as well as up, and investors may not get back the amount invested. Because
  of the risks involved, investment in the Fund is only suitable for sophisticated investors who are
  able to bear the loss of a substantial portion or even all of the money they invest in the Fund,
  who understand the high degree of risk involved, believe that investment in the Fund is suitable
  for them based on their investment objectives and financial needs and have no need of liquidity
  of investment. Investors are therefore advised to seek independent professional advice on the
  implications of investing in the Fund. Certain risk factors for an investor to consider are set out
  in the Section headed “Certain Risk Factors.”

  There is no public market for the Shares and no active secondary trading market is expected to
  develop in the future.

  REGULATION

  The Fund is a regulated mutual fund for the purposes of the Mutual Funds Law (Revised) of the
  Cayman Islands. The Fund is registered with the Cayman Islands Monetary Authority pursuant
  to section 4(3) of that Law and this Memorandum has been filed with the Monetary Authority.
  Such registration does not imply that the Monetary Authority or any other regulatory authority in
  the Cayman Islands has approved this Memorandum or the offering of the Shares. For a
  summary of the continuing regulatory obligations of the Fund and a description of the regulatory
  powers of the Monetary Authority, see the Section headed “The Fund– Regulations.”

  CONFIDENTIALITY

  Any information forwarded to the Fund by any potential investors will be treated on a
  confidential basis except as outlined in the Data Protection policy in the accompanying
  Subscription Documents and that such information may be passed on to a relevant third party by
  the Fund where so required by law or regulation and each investor upon subscribing for Shares
  shall be deemed to have consented to such release of such confidential information pursuant to
  the terms of Clause 3(2)(b)(i) (or any amendment thereto) of the Confidential Relationships
  (Preservation) Law (Revised) of the Cayman Islands.




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                                     DEFINITIONS

  In this Memorandum, the following words and phrases have the meanings set forth below:

   “Administration              the agreement between the Master Fund and the Administrator
   Agreement”                   referred to in the Section headed “Management and
                                Administration” below;

   “Administrator”              MUFG Fund Services (Cayman) Limited or such other person as
                                may be appointed administrator of the Feeder Funds and the
                                Master Fund from time to time;

   “Articles”                   the articles of association of the Fund for the time being in force
                                and as may be amended from time to time;

   “Auditors”                   PricewaterhouseCoopers LLP or such other person as may be
                                appointed auditor of the Master Fund from time to time;

   “Business Day”               a day on which banks in the Cayman Islands, Buenos Aires and
                                New York City are authorized to open for business or such other
                                day or days in addition thereto or in substitution therefor as the
                                Directors may determine generally, or in any particular case;

   “Companies Law”              the Companies Law (Revised) of the Cayman Islands as
                                amended or re-enacted from time to time;

   “Directors”                  The directors of the Fund for the time being and any duly
                                constituted committee thereof;

   “Domestic Fund”              Highland Argentina Regional Opportunity Fund, L.P., a
                                Delaware limited partnership;

   “Eligible Investors”         has the meaning set forth in the Subscription Documents;

   “Exchange”                   The International Stock Exchange;

   “Feeder Funds”               means the Fund and the Domestic Fund, each of which places all
                                of its investable assets in, and conducts all of its investment and
                                trading activities in parallel through, the Master Fund;

   “Fund”                       Highland Argentina Regional Opportunity Fund, Ltd., an
                                exempted company incorporated with limited liability under the
                                laws of the Cayman Islands with registration number CR-
                                162177;



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   “IFRS”                     International Financial Reporting Standards issued by the
                              International Accounting Standards Board;

   “Investments”              investments in securities or other financial or intangible
                              investment instruments, contracts or products made by the
                              Master Fund, as described in this Memorandum;

   “Investment Management     the agreement between the Feeder Funds, the Master Fund, the
   Agreement”                 Master Fund General Partner and the Investment Manager
                              referred to in the Section headed “Management and
                              Administration” below;

   “Investment Manager”       Highland Capital Management Latin America, L.P. or such other
                              person as may be appointed investment manager of the Feeder
                              Funds and the Master Fund from time to time;

   “Latin America”            the countries of Central and South America, of the Caribbean
                              and Mexico;

   “Management Fee”           the management fee payable to the Investment Manager (at the
                              Master Fund level) in respect of each Series pursuant to the
                              Investment Management Agreement;

   “Management Share”         a voting, non-participating management share of US$0.01 par
                              value in the capital of the Fund;

   “Master Fund”              Highland Argentina Regional Opportunity Master Fund, L.P., a
                              Cayman Islands exempted limited partnership;

   “Master Fund General       Highland Argentina Regional Opportunity Fund GP, LLC, a
   Partner”                   Delaware limited liability company and the general partner of
                              the Domestic Fund and the Master Fund;

   “Master Fund Partnership   an exempted limited partnership agreement of the Master Fund,
   Agreement”                 as may be amended from time to time;

   “Material Contracts”       the Administration Agreement and the Investment Management
                              Agreement;

   “Memorandum”               this offering memorandum and the Fund’s most recent annual
                              report and accounts or, if more recent, its interim report and
                              accounts;

   “Monetary Authority”       the Cayman Islands Monetary Authority;




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   “Mutual Funds Law”            the Mutual Funds Law (Revised) of the Cayman Islands as from
                                 time to time modified or re-enacted or consolidated, and shall
                                 include any subordinate legislation made from time to time
                                 under that law;

   “Net Asset Value”             in respect of the Master Fund, the Fund or each Series of Shares,
                                 the Net Asset Value of the Master Fund, the Fund or that Series
                                 determined using the valuation principles described in the
                                 Section headed “Subscription, Redemption and Transfer of
                                 Shares” below;

   “Net Asset Value per Share”   in respect of a Share of any Series, the Net Asset Value for the
                                 relevant Series divided by the number of Shares of such Series
                                 then in issue;

   “Ordinary Resolution”         a resolution passed at a quorate meeting of the Fund by a simple
                                 majority of the votes cast in its favor by the holders of the
                                 Management Shares or a resolution approved in writing by all
                                 such holders of Management Shares expressed to be an ordinary
                                 resolution;

   “Performance Allocation”      the performance allocation allocable to the Special Limited
                                 Partner at the Master Fund level in respect of each sub-series of
                                 Shares pursuant to the Master Fund Partnership Agreement;

   “Recognized Exchange”         any regulated market or exchange (which is an exchange within
                                 the meaning of the law of the country concerned relating to
                                 exchanges) in the United States of America, member states of
                                 the European Union or the Organization for Economic Co-
                                 operation and Development or any other regulated exchange or
                                 market;

   “Redemption Day”              the last Business Day of each calendar month or such additional
                                 Business Day or Business Days as the Directors may in their
                                 sole discretion determine, either in any particular case or
                                 generally;

   “Redemption Request”          a redemption request form in the terms set out in the
                                 Subscription Documents;

   “Redemption Price”            the redemption price of a Share as calculated in accordance with
                                 the Articles and described herein;

   “Series”                      any series of Shares designated by the Directors pursuant to the
                                 Articles;




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   “Series A Shares”           the Shares designated as “A” Shares being offered pursuant to
                               this Memorandum;

   "Series B Shares"           the Shares designated as "B" Shares being offered pursuant to
                               this Memorandum;

   “Services Agreement”        an agreement by and between the Investment Manager and
                               Highland Latin America Consulting, Ltd. referred to in the
                               Section headed “Management and Administration” below;

   “Share”                     a non-voting, participating, redeemable share of US$0.01 par
                               value each in the capital of the Fund. The use of the term
                               “Share” in this Memorandum excludes the Management Shares;

   “Shareholder”               a holder of Shares;

   “Special Limited Partner”   Highland Capital Management Latin America, L.P., in its
                               capacity as the special limited partner of the Master Fund;

   “Special Resolution”        a resolution passed at a quorate meeting of the Fund by a two-
                               thirds majority of the holders of the Management Shares thereat
                               or approved in writing by all of such holders of Management
                               Shares and expressed to be a special resolution;

   “Subscription Day”          the first day of each calendar month or such additional day or
                               days as the Directors may in their sole discretion determine,
                               either in any particular case or generally;

   “Subscription Documents”    the subscription documents of the Fund;

   “Subscription Price”        the Subscription Price for Series A Shares and Series B Shares
                               will be based on the Net Asset Value per Share of such Series on
                               the Valuation Day that occurs after notice of the subscription is
                               received and approved by the Fund and immediately preceding
                               the applicable Subscription Day, as calculated in accordance
                               with the Articles and described herein;

   “US$” or “U.S. Dollars”     the lawful currency of the United States of America;

   “United States” or “U.S.”   the United States of America, its territories and possessions or
                               areas subject to its jurisdiction;

   “U.S. Person”               as defined under Regulation S under the United States Securities
                               Act of 1933, as amended; and




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   “Valuation Day”           with respect to a Share, each Redemption Day, the Business Day
                             immediately preceding each Subscription Day and/or such other
                             day or days as the Directors may determine generally or in any
                             particular case.




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                              EXECUTIVE SUMMARY

  The following summary should be read in conjunction with the full text of this Memorandum,
  the Articles, the Master Fund Partnership Agreement and other Material Contracts disclosed in
  this Memorandum and is qualified in its entirety by reference to such documents:

   The Fund                      Highland Argentina Regional Opportunity Fund, Ltd. is
                                 incorporated under the provisions of the Companies Law
                                 (Revised) of the Cayman Islands as an exempted company with
                                 limited liability. It was incorporated on February 8, 2006, as
                                 MBA Latin America Opportunity Fund, Ltd. The Fund’s name
                                 was changed to Highland Argentina Regional Opportunity
                                 Fund, Ltd. on July 28, 2017.

                                 It has an authorized share capital of US$50,000 made up of 100
                                 Management Shares and 4,999,900 Shares. The Directors have
                                 designated two Series of Shares, Series A Shares and Series B
                                 Shares. The Directors may also designate further Series of
                                 Shares in the future that will be attributable to the single
                                 underlying portfolio of the Fund. Each additional Series of
                                 Shares may be offered on different terms and in such different
                                 currencies as the Directors may determine.

                                 See the Section headed “Description of the Fund’s Shares”
                                 below for full details.

   Investment Objective and      The investment objective of the Fund is to maximize the total
   Strategies                    return of its assets in US Dollars through capital appreciation
                                 by investing all of its investable assets in the Master Fund,
                                 which intends to hold primarily a portfolio of investments in
                                 securities of Latin American corporate and sovereign issuers as
                                 well as non-Latin American issuers that derive a portion of
                                 their revenues from business activities in Latin America, in
                                 each case with a primary focus on Argentina, and that the
                                 Investment Manager believes would provide profitable
                                 investment opportunities for the Master Fund. The Master
                                 Fund will invest in a single portfolio of assets and does not
                                 currently intend to have a separate portfolio of assets for each
                                 of its series of limited partner interests, each of which will
                                 correspond to a Series of Shares.

                                 The Master Fund is a multi-strategy investment fund and there
                                 is no limit on the investment strategies that may be utilized.
                                 The Investment Manager will be focused on identifying assets


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                             that are mispriced against similar assets and/or against the
                             Investment Manager’s expectations for assets’ fair values and
                             market movements, special situations, such as mergers,
                             financial restructurings, hostile takeovers, or leveraged buy-
                             outs. There is no set allocation among these and any other
                             strategies that the Investment Manager may use.

   Master-Feeder Structure   In order to facilitate investments by U.S. taxable and certain
                             U.S. tax-exempt investors, the Investment Manager and its
                             affiliates recently sponsored Highland Argentina Regional
                             Opportunity Fund, L.P., a Delaware limited partnership. The
                             Feeder Funds will place all of their investable assets in, and
                             conduct all of their investment and trading activities in parallel
                             through, the Master Fund. Accordingly, references herein to
                             the investment activity of the Fund should be construed to refer
                             to the Fund’s investment activities through the Master Fund.
                             The Feeder Funds share all items of profit, loss, income and
                             expense of the Master Fund on a pro rata basis in accordance
                             with their respective capital account balances in the Master
                             Fund. Except as the context otherwise requires, the term
                             “Fund” also includes the Master Fund.

                             The Investment Manager or an affiliate may also sponsor one
                             or more additional investment funds or accounts.

   Management                The Directors of the Fund are Claire Kasumba, Martin Laufer
                             and Sophia Dilbert.

                             Highland Capital Management Latin America, L.P., a Cayman
                             Islands exempted limited partnership, is the investment
                             manager of the Feeder Funds and the Master Fund with
                             responsibility for overseeing the investment of the Fund’s
                             assets (through the Master Fund) and the distribution of the
                             Shares in accordance with the investment objective and
                             policies of the Master Fund. With the approval of the Master
                             Fund General Partner, the Investment Manager may delegate
                             certain of its duties to other companies and entities, which may
                             be affiliated with, or independent of, the Investment Manager.

                             MUFG Fund Services (Cayman) Limited, a company formed
                             under the laws of the Cayman Islands, has been appointed as
                             the administrator of the Feeder Funds and the Master Fund
                             pursuant to the Administration Agreement. The Administrator
                             is responsible for conducting the day-to-day administration,
                             including processing subscriptions, transfers and redemptions
                             of Shares, net asset value calculation and coordinating the
                             payment of the Fund’s and Master Fund’s expenses.


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                             See the Section headed “Management and Administration”
                             below for full details.

   Offering                  The Series A Shares and Series B Shares offered pursuant to
                             this Memorandum are available for issue to Eligible Investors
                             at a Subscription Price based on the Net Asset Value per Share
                             of such Series on the Valuation Day that occurs after the
                             Subscription Documents are received and approved by the
                             Fund and immediately preceding the relevant Subscription
                             Day, as calculated in accordance with the Articles and
                             described herein.

                             The Fund reserves the right to reject an application for Shares.

                             See the Section headed “Subscription, Redemption and
                             Transfer of Shares” below for full details.

   Minimum Investment        The minimum initial investment for the Series A Shares and
                             Series B Shares is US$500,000. The minimum subsequent
                             investment for the Series A Shares and Series B Shares is
                             US$500,000. In each case, the Investment Manager may in its
                             sole discretion determine other minimum investment amounts
                             in respect of a particular Shareholder or group of Shareholders,
                             subject to the Listing Rules of the Exchange but not below
                             US$100,000 in respect of the Series B Shares.

   Eligible Investors        Only Eligible Investors may subscribe for Shares. See the
                             Subscription Documents.

   Redemptions               Shares generally may be redeemed as of the last Business Day
                             of any calendar month, on 30 calendar days’ prior written
                             notice, at Net Asset Value per Share prevailing at the close of
                             business of such Redemption Day.

                             Partial redemptions will only be accepted in minimum amounts
                             of US$100,000.

                             The Fund may also compulsorily redeem Shares in certain
                             circumstances.

                             Redemption proceeds will be paid in cash (in US$) by
                             electronic transfer at the Shareholder’s risk and expense or, in
                             certain circumstances, in securities, or partly in cash and partly
                             in securities. Except as set forth above, no redemption charges
                             will apply to the Shares.



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                             Any Shareholder who redeems Series B Shares prior to the first
                             anniversary of its purchase of such Series B Shares may be
                             assessed an early redemption fee of up to 3% of the Net Asset
                             Value per Series B Share prevailing at the close of business of
                             such Redemption Day, payable to the Fund. For purposes
                             hereof, an anniversary shall occur on the 365th consecutive day
                             (counting the closing date as the first day) or, if such 365th day
                             is not a Business Day, the immediately preceding Business
                             Day.

                             See the Section headed “Subscription, Redemption and
                             Transfer of Shares – Redemption of Shares” below for full
                             details.

   Transfers                 Shares may not be transferred without the prior written consent
                             of the Directors.       See Section headed “Subscription,
                             Redemption and Transfer of Shares – Transfer of Shares”
                             below for full details.

   Dividends                 The Fund may pay dividends or other distributions to
                             Shareholders in the sole and exclusive discretion of the
                             Directors, although generation of income is not a principal
                             objective of the Fund.

   Fees and Expenses         Series A Shares

                             The Investment Manager will receive a quarterly Management
                             Fee in respect of the Series A Shares at an annual rate equal to
                             1.75% of the net assets of the Fund attributable to each Series
                             A Share, calculated monthly and payable quarterly in arrears.
                             The Management Fee is paid at the Master Fund level.

                             The Special Limited Partner will be entitled to a quarterly
                             Performance Allocation in respect of each sub-series of Series
                             A Shares calculated and allocated at the Master Fund level, but
                             is effectively equal to 20% of the net profits (including
                             unrealized gains), if any, applicable to each Series A Share for
                             each fiscal quarter; but only to the extent that such profits
                             exceed any losses carried forward from prior years.

                             Series B Shares

                             The Investment Manager will receive a quarterly Management
                             Fee in respect of the Series B Shares at an annual rate equal to
                             1.25% of the net assets of the Fund attributable to each Series
                             B Share, calculated monthly and payable quarterly in arrears.
                             The Management Fee is paid at the Master Fund level.



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                             The Special Limited Partner will be entitled to a quarterly
                             Performance Allocation in respect of each sub-series of Series
                             B Shares calculated and allocated at the Master Fund level, but
                             is effectively equal to 17.5% of the net profits (including
                             unrealized gains), if any, applicable to each Series B Share for
                             each fiscal quarter; but only to the extent that such profits
                             exceed any losses carried forward from prior years.

                             Series A and Series B Shares

                             The Investment Manager pays all the fees and expenses of the
                             Investment Manager and certain other service providers out of
                             the Management Fee and Performance Allocation (it receives
                             in its capacity as the Special Limited Partner) it receives from
                             the Master Fund. The Fund shall have no obligation to the
                             Investment Manager for any such fees.

                             The Administrator is entitled to fees as agreed under the
                             Administration Agreement.

                             The Fund bears all costs, fees and expenses arising in
                             connection with the Fund’s operations. The Fund also bears
                             its pro rata share of the cost of the Master Fund’s operations
                             and investments as provided in the Master Fund Partnership
                             Agreement. The Fund is responsible for paying its own initial
                             organizational expenses and its pro rata share of the initial
                             organizational expenses of the Master Fund. See the Section
                             headed “Management and Administration – Fees and
                             Expenses” below.

   Risk Factors              An investment in the Fund entails certain risks. Prospective
                             investors should review carefully the discussion under the
                             Section headed “Certain Risk Factors” below.

   Reporting                 The Fund will furnish to each Shareholder an annual report that
                             will include audited financial statements as of the end of each
                             fiscal year. In accordance with and to the extent required by
                             the Exchange listing rules, the Fund will also provide
                             Shareholders with interim unaudited reports made up to June
                             30 in each year, including income statements and a statement
                             of charges included in the calculation of the Net Asset Value of
                             the Fund, and quarterly statements of the Net Asset Value of
                             the Fund.

   Fiscal Year               December 31.

   Tax                       The Government of the Cayman Islands will not, under
                             existing legislation, impose any income, corporate or capital


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                             gains tax, estate duty, inheritance tax, gift tax or withholding
                             tax upon the Fund, the Master Fund or the Shareholders. The
                             Cayman Islands are not party to a double tax treaty with any
                             country that is applicable to any payments made to or by the
                             Fund and/or the Master Fund. The Fund and the Master Fund
                             generally do not expect to be subject to United States federal
                             income tax, except potential U.S. federal withholding with
                             respect to U.S. source dividends (including certain dividend
                             equivalent amounts) and certain interest from U.S. sources.

                             The Fund has received an undertaking from the Governor-in-
                             Cabinet of the Cayman Islands that, in accordance with section
                             6 of the Tax Concessions Law (Revised) of the Cayman
                             Islands, for a period of 20 years from the date of the
                             undertaking, no law which is enacted in the Cayman Islands
                             imposing any tax to be levied on profits, income, gains or
                             appreciations shall apply to the Fund or its operations and, in
                             addition, that no tax to be levied on profits, income, gains or
                             appreciations or which is in the nature of estate duty or
                             inheritance tax shall be payable (i) on or in respect of the
                             Shares, debentures or other obligations of the Fund or (ii) by
                             way of the withholding in whole or in part of a payment of
                             dividend or other distribution of income or capital by the Fund
                             to its shareholders or a payment of principal or interest or other
                             sums due under a debenture or other obligation of the Fund.

                             See the Section headed “Taxation” below.

   Application Procedure     To participate, an investor must complete and return the
                             Subscription Documents and arrange for the transfer of their
                             funds to the bank account of the Fund.




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                                           THE FUND

  STRUCTURE

  The Fund is an exempted company limited by shares and is of unlimited duration. It was
  incorporated under the provisions of the Companies Law (Revised) of the Cayman Islands on
  February 8, 2006, as MBA Latin America Opportunity Fund, Ltd. The Fund’s name was
  changed to Highland Argentina Regional Opportunity Fund, Ltd. on July 28, 2017. The location
  of the Fund’s principal office and its registered office are listed in the Directory. The Fund has
  been structured as an investment fund to allow its Shareholders to indirectly invest in the Master
  Fund pursuant to its investment objectives and strategies set out herein. The Fund will only
  accept subscriptions for Shares from Eligible Investors and reserves the right to reject any
  subscriptions.

  REGULATION

  The Fund is regulated as a mutual fund under the Mutual Funds Law (Revised) of the Cayman
  Islands (the “Mutual Funds Law”). The Cayman Islands Monetary Authority (the “Monetary
  Authority”) has supervisory and enforcement powers to ensure compliance with the Mutual
  Funds Law. Regulation under the Mutual Funds Law entails the filing of prescribed details and
  audited accounts annually with the Monetary Authority. As a regulated mutual fund, the
  Monetary Authority may at any time instruct the Fund to have its accounts audited and to submit
  them to the Monetary Authority within such time as the Monetary Authority specifies. Failure to
  comply with these requests by the Monetary Authority may result in substantial fines on the part
  of the Directors and may result in the Monetary Authority applying to the court to have the Fund
  wound up.

  The Fund will not, however, be subject to supervision in respect of its investment activities or the
  constitution of the Fund's portfolio (in each case through the Master Fund) by the Monetary
  Authority or any other governmental authority in the Cayman Islands, although the Monetary
  Authority does have power to investigate the activities of the Fund in certain circumstances.
  Neither the Monetary Authority nor any other governmental authority in the Cayman Islands has
  commented upon or approved the terms or merits of this document. There is no investment
  compensation scheme available to investors in the Cayman Islands.

  The Monetary Authority may take certain actions if it is satisfied that a regulated mutual fund is
  or is likely to become unable to meet its obligations as they fall due or is carrying on or is
  attempting to carry on business or is winding up its business voluntarily in a manner that is
  prejudicial to its investors or creditors. The powers of the Monetary Authority include the power
  to require the substitution of Directors, to appoint a person to advise the Fund on the proper
  conduct of its affairs or to appoint a person to assume control of the affairs of the Fund. There
  are other remedies available to the Monetary Authority including the ability to apply to court for
  approval of other actions.



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  The Fund, or any Directors or agents domiciled in the Cayman Islands, may be compelled to
  provide information, subject to a request for information made by a regulatory or governmental
  authority or agency under applicable law; e.g. by the Cayman Islands Monetary Authority, either
  for itself or for a recognised overseas regulatory authority, under the Monetary Authority Law
  (Revised), or by the Tax Information Authority, under the Tax Information Authority Law
  (Revised) or Reporting of Savings Income Information (European Union) Law (Revised) and
  associated regulations, agreements, arrangements and memoranda of understanding. Disclosure
  of confidential information under such laws shall not be regarded as a breach of any duty of
  confidentiality and, in certain circumstances, the Fund, Director or agent, may be prohibited
  from disclosing that the request has been made.

  ADDITIONAL INFORMATION

  This Memorandum does not purport to be and should not be construed as a complete description
  of the Memorandum and Articles of Association of the Fund, the Master Fund Partnership
  Agreement or the Material Contracts. Before investing in the Fund, each prospective investor
  should examine this Memorandum, the Subscription Documents, the Memorandum of
  Association and Articles of the Fund, the Master Fund Partnership Agreement and the Material
  Contracts and satisfy itself that an investment in the Fund is appropriate. Additionally, and prior
  to the sale of any Shares, the Fund will make available to each subscriber or his or her
  representative the opportunity to ask questions of and receive written answers from
  representatives of the Fund concerning any aspect of the investment and to obtain any additional
  information, to the extent that the Fund possesses such information or can acquire it without
  unreasonable effort or expense.

  An investment in the Fund may be deemed speculative and is not intended as a complete
  investment program. It is designed only for experienced and sophisticated persons who are
  able to bear the risk of the substantial impairment or total loss of their investment in the
  Fund.




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                                    THE MASTER FUND

  THE MASTER FUND’S PARTNERSHIP INTERESTS

  The Master Fund’s partnership interests are currently held exclusively by the Fund and the
  Domestic Fund as limited partners, the Investment Manager as the special limited partner of the
  Master Fund, and the Master Fund General Partner as the general partner of the Master Fund,
  pursuant to the Master Fund Partnership Agreement. The Master Fund General Partner is
  registered as a foreign company in the Cayman Islands pursuant to Part IX of the Companies
  Law (2016 Revision).

  THE MASTER FUND PARTNERSHIP AGREEMENT

  The Master Fund is constituted as a Cayman Islands exempted limited partnership under the
  Exempted Limited Partnership Law, 2014 (the “Exempted Limited Partnership Law”). A
  Cayman Islands exempted limited partnership is constituted by the signing of the relevant
  partnership agreement and its registration with the Registrar of Exempted Limited Partnerships
  in the Cayman Islands.

  A Cayman Islands exempted limited partnership is not a separate legal person distinct from its
  partners. Under the Exempted Limited Partnership Law, any property which is conveyed into or
  vested in the name of the exempted limited partnership shall be held or deemed to be held by the
  general partner, and if more than one, then by the general partners jointly upon trust, as an asset
  of the partnership in accordance with the terms of the partnership agreement. Any debt or
  obligation incurred by a general partner in the conduct of the business of an exempted limited
  partnership shall be a debt or obligation of the exempted limited partnership. Registration under
  the Exempted Limited Partnership Law entails that the partnership becomes subject to, and the
  limited partners therein are afforded the limited liability and other benefits of, the Exempted
  Limited Partnership Law (subject to compliance therewith).

  Liability of Partners and Indemnification of the Master Fund General Partner and Others.
  The business of a Cayman Islands exempted limited partnership will be conducted by its general
  partner(s) who will be liable for all debts and obligations of the exempted limited partnership to
  the extent that the partnership has insufficient assets. As a general matter, a limited partner of a
  Cayman Islands partnership will not be liable for the debts and obligations of the exempted
  limited partnership, other than:

         (i)     as expressed in the partnership agreement,

         (ii)    if such   limited partner takes part in the conduct of the business of an exempted
                 limited   partnership in its dealings with persons who are not partners, then that
                 limited   partner shall be liable, in the event of the insolvency of the exempted
                 limited    partnership, for all debts and obligations of that exempted limited


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                 partnership incurred during the period that he so participates in the conduct of the
                 business as though he were, for such period, a general partner, provided always
                 that he shall be rendered liable pursuant to the foregoing provision only to a
                 person who transacts business with the exempted limited partnership during such
                 period with actual knowledge of such participation and who then reasonably
                 believed such limited partner to be a general partner, or

         (iii)   if such limited partner is obligated pursuant to Section 34(1) of the Exempted
                 Limited Partnership Law to return a distribution made to it (with interest at a rate
                 of 10% per annum, unless otherwise specified in the Master Fund Partnership
                 Agreement) when the exempted limited partnership is insolvent or within six
                 months prior to such insolvency.

  The Master Fund Partnership Agreement provides that none of the Master Fund General Partner,
  the Investment Manager, each member, shareholder, partner, manager and director of, and any
  person who controls, the Master Fund General Partner or the Investment Manager, each of the
  respective affiliates of the foregoing and each of their respective executors, heirs, assigns,
  successors and other legal representatives (each such person, an “Indemnified Party”) will be
  liable to the Master Fund or any limited partner of the Master Fund (including the Feeder Funds)
  for any loss or damage arising by reason of being or having been an Indemnified Party or from
  any acts or omissions in the performance of its services as an Indemnified Party in the absence of
  gross negligence (as such term is defined and interpreted in accordance with the laws of the State
  of Delaware), willful misconduct or fraud, or as otherwise required by law. An Indemnified
  Party may consult with counsel and accountants in respect of the Master Fund’s affairs and will
  be fully protected and justified in any action or inaction which is taken in accordance with the
  advice or opinion of such counsel or accountants, provided that they were selected in accordance
  with the standard of care set forth above. In addition, in no event shall any Indemnified Party be
  liable for any consequential damages, special or indirect damages or lost profits.

  The Master Fund Partnership Agreement provides that the Master Fund shall, to the fullest extent
  permitted by law, indemnify and hold harmless each Indemnified Party from and against any and
  all liabilities suffered or sustained by an Indemnified Party by reason of the fact that it, he or she
  is or was an Indemnified Party or in connection with the Master Fund Partnership Agreement or
  the Master Fund’s business or affairs, including, without limitation, any judgment, settlement,
  reasonable attorneys’ fees and other costs or expenses incurred in connection with the defense of
  any actual or threatened action, suit or proceeding, provided that such liability did not result from
  the gross negligence (as such term is defined and interpreted in accordance with the laws of the
  State of Delaware), willful misconduct or fraud of such Indemnified Party. The Master Fund
  Partnership Agreement also provides that the Master Fund will, in the sole discretion of the
  Master Fund General Partner, advance to any Indemnified Party reasonable attorneys’ fees and
  other costs and expenses incurred in connection with the defense of any action, suit or
  proceeding which arises out of such conduct, subject to receiving a written undertaking from the
  Indemnified Party to repay such amounts if and to the extent that it is finally determined that the
  Indemnified Party was not entitled to indemnification in respect thereof.

  Notwithstanding any of the foregoing, the provisions of the Master Fund Partnership Agreement
  do not provide for the exculpation or indemnification of any Indemnified Party for any liability


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  (including liability under U.S. federal securities laws which, under certain circumstances, impose
  liability even on persons that act in good faith), to the extent (but only to the extent) that such
  liability may not be waived, modified or limited under applicable law, but shall be construed so
  as to effectuate the above provisions to the fullest extent permitted by law.

  Pursuant to the foregoing indemnification and exculpation provisions applicable to each
  Indemnified Party, the Master Fund (and not the applicable Indemnified Party) will be
  responsible for any losses resulting from trading errors and similar human errors, absent gross
  negligence (as such term is defined and interpreted in accordance with the laws of the State of
  Delaware), willful misconduct or fraud. Given the volume of transactions executed on behalf of
  the Master Fund, trading errors (and similar errors) will occur and the Master Fund will be
  responsible for any resulting losses, even if such losses result from the negligence (but not gross
  negligence (as such term is defined and interpreted in accordance with the laws of the State of
  Delaware)) of any Indemnified Party.

  The Indemnified Parties will also be indemnified by each limited partner of the Master Fund for
  any amounts of tax withheld or required to be withheld with respect to that limited partner, and
  also for any amounts of interest, additions to tax, penalties and other costs borne by any such
  persons in connection therewith to the extent that the balance of the limited partner’s capital
  account is insufficient to fully compensate the Master Fund General Partner and the Investment
  Manager for such costs.

  Contributions and Withdrawals by the Fund. Limited partners of the Master Fund may make
  contributions at such times and in such amounts as the Master Fund General Partner determines.
  As a limited partner of the Master Fund, the Fund may, subject to the consent of the Master Fund
  General Partner, voluntarily request a withdrawal of all or part of its capital in the Master Fund at
  such times and in such amounts as it may determine. The Master Fund General Partner may, at
  any time, suspend (a) the calculation of the net asset value of the Master Fund (and the
  applicable valuation date); (b) the issuance of limited partner interests in the Master Fund; (c) the
  withdrawal by limited partners of their interests (and the applicable withdrawal date); and/or (d)
  the payment of withdrawal proceeds (even if the calculation dates and withdrawal dates are not
  postponed) during any period which: (i) any stock exchange on which a substantial part of
  investments owned by the Master Fund are traded is closed, other than for ordinary holidays, or
  dealings thereon are restricted or suspended; (ii) there exists any state of affairs as a result of
  which (A) disposal of a substantial part of the investments owned by the Master Fund would not
  be reasonably practicable and might seriously prejudice the limited partners of the Master Fund,
  or (B) it is not reasonably practicable for the Master Fund fairly to determine the value of its net
  assets; (iii) none of the withdrawal requests which have been made may lawfully be satisfied by
  the Master Fund; (iv) there is a breakdown in the means of communication normally employed
  in determining the prices of a substantial part of the investments of the Master Fund; or (v) in the
  sole discretion of the Master Fund General Partner, it is necessary to preserve the Master Fund’s
  assets.

  Amendment of the Master Fund Partnership Agreement. The Master Fund Partnership
  Agreement may be amended by an instrument in writing signed by each of the limited partners of
  the Master Fund and the Master Fund General Partner; provided that, the Master Fund General



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  Partner may amend the Master Fund Partnership Agreement without the consent of the limited
  partners so long as the amendment does not adversely affect any rights of the limited partners.

  Dissolution of the Master Fund. The Master Fund shall be wound up and dissolved upon the
  first to occur of any of the following liquidating events, and Sections 36(1)(b), 36(9) and 36(12)
  of the Exempted Limited Partnership Law shall not apply to the Master Fund:

         (i)     the written election of the Master Fund General Partner to terminate the Master
                 Fund; or

         (ii)    if the Master Fund General Partner is the sole or last remaining general partner,
                 the date (the “Automatic Dissolution Date”) falling 90 days after the date of the
                 service of a notice by the Master Fund General Partner (or its legal representative)
                 on all the limited partners informing the limited partners of:

                         (1)    the commencement of liquidation or bankruptcy proceedings in
                                relation to the Master Fund General Partner; or

                         (2)    the withdrawal, removal or making of a winding up or dissolution
                                order in relation to the Master Fund General Partner;

                 provided that, if a majority in number of the limited partners elects one or more
                 new general partners before the Automatic Dissolution Date, the business of the
                 Master Fund shall be resumed and continued. If a new general partner is not
                 elected by the Automatic Dissolution Date, the Master Fund shall be wound up
                 and dissolved in accordance with terms of the Master Fund Partnership
                 Agreement and the Exempted Limited Partnership Law.


  Power of Attorney. Each limited partner of the Master Fund shall make, constitute and appoint
  the Master Fund General Partner (and each of its successors and permitted assigns) for the time
  being, with full power of substitution, as its true and lawful agent and attorney-in-fact of, and in
  the name, place and stead of, such partner with the power from time to time to make, execute,
  sign, acknowledge, swear to (and deliver as may be appropriate) on its behalf and file and record
  in the appropriate public offices and publish (as may in the reasonable judgment of the Master
  Fund General Partner be required by law), including the admission of any new partners of the
  Master Fund and any amendments to the Master Fund Partnership Agreement. Each limited
  partner of the Master Fund shall authorize the Master Fund General Partner to take any further
  action that the Master Fund General Partner considers necessary or advisable in connection with
  the foregoing. Such power of attorney granted is intended to secure a proprietary interest of the
  Master Fund General Partner and the performance by each limited partner of the Master Fund of
  its obligations under the Master Fund Partnership Agreement and shall be irrevocable and shall
  survive and not be affected by the subsequent death, lack of capacity, insolvency, bankruptcy or
  dissolution of any limited partner of the Master Fund.




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  VALUATION OF ASSETS

  The Master Fund General Partner has delegated the valuation of the Master Fund’s assets to the
  Administrator, which will generally compute the value of the securities and other assets of the
  Master Fund as of the close of business on the last day of each fiscal period and on any other
  date selected by the Master Fund General Partner in its sole discretion. In addition, the
  Administrator must compute the value of the securities that are being distributed in-kind as of
  their date of distribution in accordance with the Master Fund Partnership Agreement. In
  determining the value of the assets of the Master Fund, no value is placed on the goodwill or
  name of the Master Fund, or the office records, files, statistical data or any similar intangible
  assets of the Master Fund not normally reflected in the Master Fund’s accounting records, but
  there must be taken into consideration any related items of income earned but not received,
  expenses incurred but not yet paid, liabilities fixed or contingent, prepaid expenses to the extent
  not otherwise reflected in the books of account, and the value of options or commitments to
  purchase or sell securities pursuant to agreements entered into on or prior to such valuation date.

  A copy of the Investment Manager’s valuation policy is available upon request from the Master
  Fund General Partner.

  The value of each security and other asset of the Master Fund and the net worth of the Master
  Fund as a whole determined pursuant Master Fund Partnership Agreement are conclusive and
  binding on all of the partners of the Master Fund and all persons claiming through or under them.




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                INVESTMENT OBJECTIVE AND STRATEGY

  INVESTMENT OBJECTIVE

  The investment objective of the Fund is to maximize the total return of its assets in US Dollars
  through capital appreciation by investing all of its investable assets in the Master Fund, which
  intends to hold primarily a portfolio of investments in securities of Latin American corporate and
  sovereign issuers as well as non-Latin American issuers that derive a portion of their revenues
  from business activities in Latin America, in each case with a primary focus on Argentina, and
  that the Investment Manager believes would provide profitable investment opportunities for the
  Master Fund. The Master Fund will invest in a single portfolio of assets and does not currently
  intend to have a separate portfolio of assets for each of its series of limited partner interests, each
  of which will correspond to a Series of Shares.

  The objects for which the Fund is established are unrestricted and the Fund shall have full power
  and authority to carry out any object not prohibited by any law as provided by Section 7(4) of the
  Companies Law.

  INVESTMENT STRATEGY

  The Master Fund is a multi-strategy investment fund and there is no limit on the investment
  strategies that may be utilized. The Investment Manager believes that focusing on a multi-
  strategy approach will enable the Master Fund to enhance results by compounding returns
  generated by each strategy and at the same time have the needed flexibility to adjust to
  potentially changing regulations and market conditions.

  The Investment Manager will be focused on identifying assets that are mispriced against similar
  assets and/or against the Investment Manager’s expectations for assets’ fair values and market
  movements, special situations, such as mergers, financial restructurings, hostile takeovers, or
  leveraged buy-outs. There is no set allocation among these and any other strategies that the
  Investment Manager may use.

  The Master Fund may hold long and short positions in a wide range of liquid or illiquid fixed
  income securities including, but not limited to, sovereign and private debt, distressed debt,
  secured and unsecured debt, structured debt, loans, asset-backed securities and collateralized
  debt obligations. Furthermore, the Master Fund may invest, both long and short, in a wide range
  of liquid or illiquid equity-related instruments including, but not limited to, equities, convertible
  bonds, options, equity-linked notes, preferred shares and warrants, whether or not listed or traded
  on one or more Recognized Exchanges.

  The Master Fund may hold any of these positions indirectly by entering into swaps, options,
  futures, forward contracts or similar derivative transactions.



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  The Master Fund may hold both US Dollar and non US Dollar denominated securities.

  The Master Fund may leverage its investment portfolio by up to 100% of the Master Fund’s Net
  Asset Value (calculated at the time of investment) by borrowing for investment purposes and by
  using leverage techniques and products. It is anticipated that by doing so the performance of the
  Master Fund will be enhanced. While the use of the leverage may improve the return on
  invested capital, leverage may also significantly increase the impact of adverse movement in the
  value of the Master Fund.

  The Master Fund may also utilize hedging strategies in order to maximize returns and reduce the
  risk to principal or the volatility associated with its holdings. As part of these hedging strategies,
  the Master Fund may hedge any of its investments with long or short positions in any financial
  instrument, which the Investment Manager deems appropriate. The Master Fund may utilize US
  and European securities for hedging purposes.

  The Master Fund may invest through one or more subsidiaries established in an appropriate
  jurisdiction in order to take advantage of applicable tax treaties or increase the tax efficiency of
  the Master Fund’s investments, or in such other circumstances as the Master Fund General
  Partner, following consultation with the Investment Manager, deem appropriate, including
  compliance with local investment laws.

  The Master Fund may maintain assets in cash or cash equivalent instruments, money market
  funds, repurchase agreements, or other cash management vehicles pending investment, for
  defensive purposes, to fund withdrawals requested by the limited partners of the Master Fund or
  otherwise at the discretion of the Investment Manager. The Master Fund may hold with no
  limitation US and European AAA fixed income securities for defensive purposes.

  INVESTMENT RESTRICTIONS

  In deploying the investment strategy, the Master Fund will observe the following investment
  restrictions. The Master Fund will not at the time of investment:

  1. Invest more than 50 percent of its gross assets in its net holdings of equities;

  2. Borrow more than 100 percent of its net assets;

  3. Invest more than 20 percent of its gross assets in a single equity position;

  4. Invest more than 20 percent of its gross assets in a single corporate issuer position;

  5. Invest more than 30 percent of its gross assets in a single GDP-linked warrant position;

  6. Invest more than 30 percent of its gross assets in a single sovereign issuer security position;
  and

  7. Invest more than 30 percent of its gross assets in a single provincial issuer.



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  If a percentage limitation on investment or use of assets set forth above is adhered to at the time
  a transaction is effected, later changes in percentage resulting from changing values will not be
  considered a violation.

  In the event that the Investment Manager discovers that a violation of any of the Master Fund’s
  investment limitations has occurred (the date of such discovery being the “Discovery Date”), the
  Investment Manager shall inform the limited partners of the Master Fund, including the Fund,
  who shall: (i) notify each of their limited partners or shareholders, as applicable, in writing
  within 30 Business Days after the Discovery Date of the nature of the violation, the steps taken,
  or to be taken, to remedy the violation and the reason the violation occurred and (ii) use
  reasonable commercial efforts to cause the Investment Manager to remedy such violation within
  90 Business Days after the Discovery Date (the “Remedy Date”). If such violation has not been
  remedied on or before the Remedy Date, the limited partners of the Master Fund, including the
  Fund, shall: (i) notify each of their limited partners or shareholders, as applicable, in writing, 30
  Business Days after the Remedy Date, of the steps taken to remedy the violation and the reason
  that the violation has not been remedied by the Remedy Date (the “Remedy Notice”) and (ii) use
  reasonable commercial efforts to cause the Master Fund’s portfolio to be examined by an
  independent auditor other than the Auditors and shall request that such independent auditor issue
  a report to the investors in each of the Master Fund’s limited partners as to its concurrence or
  disagreement with the statements in the Remedy Notice. The Investment Manager shall pay for
  the costs of such audit and the costs of the Remedy Notice if the violation that was the subject of
  the Remedy Notice occurred as a result of the Investment Manager's willful misfeasance, bad
  faith or gross negligence (as such term is defined and interpreted in accordance with the laws of
  the State of Delaware). In addition, the failure to remedy the violation in a timely manner may
  give rise to special redemption rights. See “Redemption of Shares - General.”

  DISTRIBUTION POLICY

  The Fund’s objective is to maximize capital appreciation and accordingly it is not envisaged that
  any income or gains derived from the investments made by the Master Fund will be distributed
  by way of dividend. This does not preclude the Directors from declaring a dividend at any time
  in the future if they consider it appropriate to do so. To the extent that a dividend may be
  declared, it will be paid in compliance with any applicable laws.

  The investment objectives and strategies summarized herein represent the Investment
  Manager’s current intentions. Depending on conditions and trends in the securities markets
  and the economy in general, the Investment Manager may pursue any strategies, employ any
  investment techniques or purchase any type of security that it considers appropriate, whether
  or not described in this section, subject to any applicable law or regulation. The discussion
  herein includes and is based upon numerous assumptions and opinions of the Investment
  Manager concerning world financial markets and other matters, the accuracy of which cannot
  be assured. There can be no assurance that the investment strategy of the Master Fund will
  achieve the intended investment objective. The Master Fund’s investment program is
  speculative and involves a high degree of risk, including, without limitation, the risk of loss of
  the entire amount invested.




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                               CERTAIN RISK FACTORS


  An investment in the Fund entails substantial risks, including, but not limited to, those listed
  below, and prospective investors should carefully consider the following factors, among others,
  in determining whether an investment in the Fund is suitable for them. There can be no
  assurance that the Master Fund’s program will be successful or that investments purchased by the
  Master Fund will increase in value. An investor must be prepared to bear capital losses that
  might result from an investment in the Fund, including a complete loss of the investor’s invested
  capital. All investors in the Fund should consult their own legal, tax and financial advisors prior
  to investing in the Fund.

  For purposes of this section, references to the “Fund” should be understood to mean each of the
  Fund and the Master Fund, as applicable, and each of the risk factors set forth herein, while not
  exhaustive, shall apply equally to each of the Fund and the Master Fund, as applicable.

  RISK FACTORS SPECIFIC TO THE INVESTMENT OBJECTIVE AND STRATEGY

  Changes in Strategy. The Investment Manager has the power to expand, revise or alter its
  trading strategies on behalf of the Master Fund without prior approval by, or notice to, the Fund
  or the Shareholders. Any such change could result in exposure of the Fund’s assets (through the
  Master Fund) to additional risks, which may be substantial. The Investment Manager may also
  invest in additional instruments than those specifically identified in the “Investment Objective
  and Strategy” section.

  Latin America Investments. The Master Fund invests in securities of companies based in Latin
  America or issued by Latin American governments, or in the securities of companies which are
  not incorporated in Latin America, but which derive some of their revenues from business
  activities conducted in Latin America. Such investment involves certain considerations not
  usually associated with investing in securities of developed countries or of companies located in
  developed countries, including political and economic consideration, such as greater risks of
  expatriation, nationalization and general, political, and economic instability, the small size of the
  securities markets in such countries and the low volume of trading, resulting in potential lack of
  liquidity and substantially greater price volatility, fluctuations in the rate of exchange between
  currencies, and costs associated with currency conversions, certain government policies that may
  restrict the Master Fund’s investment opportunities and problems that may arise in connection
  with the clearance and settlements of trades. In addition, accounting and financial reporting
  standards that prevail in such countries are not equivalent to standards in more developed
  countries, consequently, less information is available to investors in companies located in more
  developed countries. There is also less regulation, generally, of the securities markets in Latin
  American countries than there is in more developed countries.

  Risks Related to Investing in Argentina. Argentina has experienced high interest rates,
  economic volatility, inflation, currency devaluations and high unemployment rates. The


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  economy is heavily dependent on exports and commodities. Argentina’s default on its debt in
  2001, and its past nationalization of private pensions and national oil company YPF, continues to
  impact the confidence of investors in Argentina, which might adversely impact returns in the
  Master Fund, and thus, the Fund.

  Argentina’s Economy. Argentina’s economy could grow at a lower rate than in past years, or
  could contract. Factors that could negatively affect Argentina’s rate of economic growth, its
  public finances and Argentina’s ability to service its debt include: the competitiveness of
  Argentine exports, which are influenced by the peso’s value relative to the value of the
  currencies of Argentina’s trading partners and trade competitors; the level of inflation in
  Argentina; international commodities prices, foreign currency exchange rates and the levels of
  consumer consumption and foreign and domestic investment; negative economic developments
  in Argentina’s major trading partners, or “contagion” effects more generally; and Argentina’s
  ability to meet its energy requirements.

  Uncertainty of Economic Reforms. A runoff election on November 22, 2015 resulted in Mr.
  Mauricio Macri being elected President of Argentina. The Macri administration assumed office
  on December 10, 2015. Since assuming office on December 10, 2015, the Macri administration
  has announced several significant economic and policy reforms, including methodological
  reforms with respect to the calculation of certain macroeconomic statistics, the loosening of
  foreign exchange controls, reduction of tariffs, other easing of international trade restrictions,
  infrastructure reforms and reopened negotiation with holders of debt in default since 2001. The
  impact that these measures and any future measures taken by the new administration will have
  on the Argentine economy as a whole and the financial sector in particular cannot be predicted.
  The Investment Manager believes that the effect of the planned liberalization of the economy and
  renewed access to capital markets will be positive for the Master Fund’s intended investments by
  stimulating economic activity, but it is not possible to predict such effect with certainty and such
  liberalization could also be disruptive to the economy and fail to benefit or harm companies in
  Argentina. The Investment Manager cannot predict how the Macri administration will address
  certain other political and economic issues that were central during the 2015 presidential election
  campaign, such as the financing of public expenditures, public service subsidies and tax reforms,
  the resolution of holdout debt or the impact that any measures related to these issues that are
  implemented by the Macri administration will have on the Argentine economy as a whole.

  Currency Controls. In the past, Argentina imposed exchange controls and transfer restrictions
  substantially limiting the ability of companies to retain foreign currency or make payments
  abroad. Although the Macri government lifted exchange controls and liberalized capital controls,
  there can be no assurances regarding future modifications to exchange and capital controls.
  Exchange and capital controls could adversely affect the financial condition or results of
  operations of issuers in whose securities the Master Fund intends to invest, as well as their ability
  to meet foreign currency obligations and to execute financing plans.

  Challenges to Argentina’s Debt Payments. Argentina’s payments in connection with a debt
  offering may be attached, enjoined or otherwise challenged. In recent years, hold-out creditors
  have used litigation against sovereign debtors, most prominently Peru and Nicaragua, to attach or
  interrupt payments made by these sovereign debtors to, among others, bondholders who have



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  agreed to a debt restructuring and accepted new securities in an exchange offer. Argentina has
  been subjected to suits to collect on amounts due on defaulted bonds, including actions in the
  United States, the United Kingdom, Italy and Germany. Some of these actions have resulted in
  judgments against Argentina. There can be no assurance that a creditor will not be able to
  interfere, through an attachment of assets, injunction, temporary restraining order or otherwise,
  with payments made in connection with a debt offering.

  Pro Rata Payment Litigation. Argentina’s defaults with respect to the payment of its foreign
  debt could prevent the government and the private sector from accessing the international capital
  markets, which could adversely affect the financial condition of sovereign and corporate issuers
  in which the Master Fund invests. In September 2014, the Argentine Congress passed a law to
  restructure foreign-law bonds held by exchange bondholders to allow the payment in Argentina
  and to appoint a new paying agent. On September 29, 2014, the U.S. District Court for the
  Southern District of New York held Argentina in contempt of court as a result of this law. The
  U.S. District Court authorized limited exceptions to the injunction allowing certain custodians of
  Argentine law-governed bonds to process payments in August 2014, September 2014 and
  December 2014.

  On May 11, 2015, the plaintiffs that obtained pari passu injunctions asked the U.S. district court
  to amend their complaints to include claims alleging that Argentina’s issuance and servicing of
  its 2024 dollar-denominated bonds, and its external indebtedness in general, would violate the
  pari passu clause. On June 5, 2015, the Second Circuit granted partial summary judgment to a
  group of 526 “me-too” plaintiffs in 36 separate lawsuits, finding that, consistent with the
  previous ruling of such court, Argentina violated a pari passu clause in bonds issued to the “me-
  too” bondholders. The decision obligates Argentina to pay the plaintiffs $5.4 billion before it can
  make payments on restructured debt.

  In 2016, the Argentine government working under a court appointed mediator, entered into
  settlement agreements with a large portion of hold-out debt holders contingent on Argentina
  repealing laws that prevented the country from complying with rulings by U.S. courts. In this
  context Judge Thomas Griesa ruled he would lift the injunctions preventing Argentina from
  serving post-2005 exchange debt if these laws are repealed. Argentina’s lower chamber
  approved the repeal of these laws and Argentina’s senate voted to approve the same in March
  2016. In April 2016, the Second Circuit Court of Appeals in the United States upheld Judge
  Griesa’s ruling, finding that he did not abuse his discretion in lifting the pari passu injunctions.

  The repercussions of restructuring Argentina’s bond debts are ongoing. The 2016 U.S. court
  rulings only settled claims of certain bondholders. Argentina reached a $475 million settlement
  with other bondholders in November 2016. Financial indices have only just started moving
  Argentina back to “emerging market” status, where it had been before 2009.

  Argentina’s default with respect to the payment of its foreign debt, its delay in completing the
  debt restructuring process with creditors that did not participate in the related exchange offers,
  the complaints filed against Argentina discussed above, the U.S. Supreme Court’s decision not to
  hear Argentina’s appeal, the declaration of contempt, and the long-term difficulty of
  reestablishing itself in the global marketplace could prevent Argentina’s government from



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  obtaining international private financing or receiving direct foreign investment, as well as private
  sector companies in Argentina from accessing the international capital markets. Without access
  to international private financing, Argentina may not be able to finance its obligations, and
  financing from multilateral financial institutions may be limited or not available. Without access
  to direct foreign investment, the government may not have sufficient financial resources to foster
  economic growth and the performance of the Master Fund’s investments in Argentina could be
  materially and adversely affected.

  GENERAL RISK FACTORS

  Overall Investment Risk. All securities investments risk the loss of capital. The nature of the
  securities to be purchased and traded by the Master Fund and the investment techniques and
  strategies to be employed in an effort to increase profits may increase this risk. While the
  Investment Manager will devote its commercially reasonable best efforts to the management of
  the Master Fund’s portfolio, there can be no assurance that the Master Fund, and thus, the Fund
  will not incur losses. Many unforeseeable events, including actions by various government
  agencies, and domestic and international political events, may cause sharp market fluctuations.

  Limited Operating History. The Fund has limited operating history and the Master Fund and the
  Master Fund General Partner do not have operating histories upon which prospective investors can
  evaluate the anticipated performance of the Fund. Although the principals of the Investment
  Manager have extensive prior experience in Latin America, past performance of the Investment
  Manager should not be construed as an indication of the future results of an investment in the
  Fund. The Master Fund’s investment program should be evaluated on the basis that there can be
  no assurance that the Investment Manager’s assessment of the short-term or long-term prospects
  of its investment strategy will prove accurate, or that the Master Fund will achieve its investment
  objectives.

  Illiquidity of Shares. Shares are not transferable without the approval of the Directors, and
  there will be no secondary market for Shares. Consequently, Shareholders may not be able to
  dispose of their Shares except by means of the redemption privilege and may receive securities
  rather than cash in exchange for their Shares.

  Possible Effect of Substantial Redemptions. Substantial redemptions of Shares from the Fund
  could require the Master Fund to liquidate its positions more rapidly than otherwise desired in
  order to raise the cash necessary to fund the redemptions. Illiquidity in certain securities could
  make it difficult for the Master Fund to liquidate positions on favorable terms, which could result
  in losses or a decrease in the Net Asset Value of the Master Fund, and thus, the Fund. The
  Master Fund is permitted to borrow cash necessary to make payments in connection with
  redemption of Shares from the Fund when the Investment Manager determines that it would not
  be advisable to liquidate portfolio assets for that purpose. The Master Fund is also authorized to
  pledge portfolio assets as collateral security for the repayment of such loans. In these
  circumstances, the continuing Shareholders will bear the risk of any subsequent decline in the
  value of the Fund’s assets.




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  Master-Feeder Structure. The Fund will invest all of its investable assets in the Master Fund.
  The “master-feeder” fund structure presents certain risks to the Shareholders. Smaller feeder funds
  may be materially affected by the actions of larger feeder funds.

  While the Investment Manager, as investment manager of the Master Fund, generally will not
  consider tax issues applicable to any particular investors, it generally will take into account the tax
  positions of the Fund and the Domestic Fund that invest in the Master Fund. However, the use of a
  “master-feeder” structure may create a conflict of interest in that different tax considerations for the
  Fund and the Domestic Fund may cause or result in the Master Fund structuring or disposing of an
  investment in a manner or at a time that is more advantageous (or disadvantageous) for tax purposes
  to one Feeder Fund or its investors.

  Absence of Regulatory Oversight. Although the Fund is a regulated mutual fund under the
  Mutual Funds Law (Revised) of the Cayman Islands, the Fund is not required to, and does not
  intend to, register under the laws of any other jurisdiction, and, accordingly, the provisions of
  statutes of certain jurisdictions (which may provide certain regulatory safeguards to investors)
  are not applicable. For example, neither the Fund nor the Master Fund is required to maintain
  custody of its securities or place its securities in the custody of a bank or a member of a
  recognized securities exchange in the manner required under the statutes of certain jurisdictions.
  A registered investment company that places its securities in the custody of a member of a
  recognized securities exchange is generally required to have a written custodian agreement,
  which provides that securities held in custody will be at all times individually segregated from
  the securities of any other person and marked to clearly identify such securities as the property of
  such investment company and which contains other provisions complying with applicable
  regulations. The Master Fund may maintain such accounts at brokerage firms that do not
  separately segregate such assets as would be required in the case of registered investment
  companies. The bankruptcy of any such brokerage firms might have a greater adverse effect on
  the Master Fund and the Fund than would be the case if the accounts were maintained to meet
  the requirements applicable to registered investment companies.

  Handling of Mail. Mail addressed to the Fund and received at its registered office will be
  forwarded unopened to the forwarding address supplied by the Investment Manager to be dealt
  with. None of the Fund, its Directors, officers, advisors or service providers (including the
  organisation which provides registered office services in the Cayman Islands) will bear any
  responsibility for any delay howsoever caused in mail reaching the forwarding address. In
  particular, the Directors will only receive, open or deal directly with mail which is addressed to
  them personally (as opposed to mail which is addressed just to the Fund).

  Subscription Monies. Where a subscription for Shares is accepted, the Shares will be treated as
  having been issued with effect from the relevant Subscription Day notwithstanding that the
  subscriber for those Shares may not be entered in the Fund's register of members until after the
  relevant Subscription Day. The subscription monies paid by a subscriber for Shares will
  accordingly be subject to investment risk in the Fund from the relevant Subscription Day.

  Effect of Redemptions. Where a redemption request is accepted, the Shares will be treated as
  having been redeemed with effect from the relevant Redemption Day irrespective of whether or
  not such redeeming Shareholder has been removed from the Fund's register of members or the


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  Redemption Price has been determined or remitted. Accordingly, on and from the relevant
  Redemption Day, Shareholders in their capacity as such will not be entitled to or be capable of
  exercising any rights arising under the Articles with respect to Shares being redeemed (including
  any right to receive notice of, attend or vote at any meeting of the Fund) save the right to receive
  the Redemption Price and any dividend which has been declared prior to the relevant
  Redemption Day but not yet paid (in each case with respect to the Shares being redeemed). Such
  redeemed Shareholders will be creditors of the Fund with respect to the Redemption Price. In an
  insolvent liquidation, redeemed Shareholders will rank behind ordinary creditors but ahead of
  Shareholders.

  Limited Rights of Shareholders. Shareholders holding Shares will have no right to participate
  in the day to day operations of the Fund and will not be entitled to receive notice of, nor attend or
  vote at, general meetings of the Fund other than general meetings to vote upon a variation of the
  rights of the Shares. Consequently, Shareholders will not have any control over the management
  of the Fund or the appointment and removal of its Directors and service providers. The
  Investment Manager, as holder of all the Management Shares, control all of the voting interests
  in the Fund, except on proposals to vary the rights of the Shares, and may make such changes to
  the Memorandum of Association and Articles of the Fund as it deems appropriate, including
  increasing the share capital, consolidating the Shares and sub-dividing the Shares. Accordingly,
  only the Investment Manager can appoint and remove the Directors of the Fund and only the
  Directors may terminate the services of the Investment Manager, the Administrator and other
  agents of the Fund. An investment in the Fund should be regarded as a passive investment.

  Valuation of the Master Fund’s Investments. Valuation of the Master Fund’s securities and
  other investments may involve uncertainties and judgmental determinations, and if such
  valuations should prove to be incorrect, the Net Asset Value of the Master Fund and the Fund
  could be adversely affected. Independent pricing information may not at times be available or
  otherwise utilized regarding certain of the Master Fund’s securities and other investments.
  Valuation determinations will be made in good faith in accordance with the policies of the
  Investment Manager in effect from time to time, a copy of which will be made available upon
  request.

  The Master Fund may have some of its assets in investments, which by their very nature may be
  extremely difficult to accurately value. To the extent that the value assigned by the
  Administrator to any such investment differs from the actual value, the Net Asset Value of the
  Master Fund and the Fund may be understated or overstated, as the case may be. In light of the
  foregoing, there is a risk that a Shareholder who redeems all or part of its Shares while the
  Master Fund holds such investments will be paid an amount less than it would otherwise be paid
  if the actual value of such investments is higher than the value designated by the Administrator.
  Similarly, there is a risk that such Shareholder might, in effect, be overpaid if the actual value of
  such investments is lower than the value designated by the Administrator. In addition, there is
  risk that an investment in the Fund by a new Shareholder (or an additional investment by an
  existing Shareholder) could dilute the value of such investments for the other Shareholders if the
  designated value of such investments is higher than the value designated by the Administrator.
  Further, there is risk that a new Shareholder (or an existing Shareholder that makes an additional
  investment) could pay more than it might otherwise if the actual value of such investments is



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  lower than the value designated by the Administrator. The Administrator does not intend to
  adjust the Net Asset Value of the Master Fund and the Fund retroactively.

  None of the Directors, the Fund, the Master Fund, the Master Fund General Partner or the
  Administrator shall have any liability in the event that any price or valuation, used in good faith
  in connection with the above procedures, proves to be an incorrect or an inaccurate estimate or
  determination of the price or value of any part of the property of the Master Fund.

  In-Kind Distributions. A redeeming Shareholder may, in the discretion of the Directors,
  receive securities owned by the Fund (through the Master Fund) in lieu of, or in combination
  with, cash. The value of securities distributed may increase or decrease before the securities can
  be sold (either by the Shareholder or by the Fund if the Directors establishes a liquidating
  account on behalf of the Shareholder to sell such assets), and the investor will incur transaction
  costs in connection with the sale of such securities. Additionally, securities distributed with
  respect to a redemption by a Shareholder may not be readily marketable. The risk of loss and
  delay in liquidating these securities will be borne by the investor, with the result that such
  investor may receive less cash than it would have received on the date of redemption.

  Business and Regulatory Risks of Hedge Funds. Legal, tax and regulatory changes could
  occur during the term of the Fund that may adversely affect the Fund. The regulatory
  environment for hedge funds is evolving, and changes in the regulation of hedge funds may
  adversely affect the value of investments held by the Master Fund and the ability of the Master
  Fund to obtain the leverage it might otherwise obtain or to pursue its trading strategies. In
  addition, securities and futures markets are subject to comprehensive statutes, regulations and
  margin requirements. Regulators and self-regulatory organizations and exchanges are authorized
  to take extraordinary actions in the event of market emergencies. The regulation of derivative
  transactions and funds that engage in such transactions is an evolving area of law and is subject
  to modification by government and judicial actions. The effect of any future regulatory change
  on the Fund could be substantial and adverse.

  Side Letters. The Investment Manager, in consultation with the Directors, or the Fund may
  from time to time enter into letter agreements or other similar agreements (collectively, “Side
  Letters”) with one or more Shareholders which provide such Shareholder(s) with additional
  and/or different rights (including, without limitation, with respect to access to information, the
  Management Fee, the Performance Allocation, minimum investment amounts, voting rights and
  liquidity terms) than such Shareholder(s) have pursuant to this Memorandum. As a result of
  such Side Letters, certain Shareholders may receive additional benefits (including, but not
  limited to, reduced fee obligations, the ability to redeem Shares on shorter notice and/or
  expanded informational rights) which other Shareholders will not receive. For example, a Side
  Letter may permit a Shareholder to redeem its Shares on less notice and/or at different times than
  other Shareholders. As a result, should the Fund experience a decline in performance over a
  period of time, a Shareholder who is party to a Side Letter that permits less notice and/or
  different redemption times may be able to redeem its Shares prior to other Shareholders. In
  general, the Fund and/or the Investment Manager will not be required to notify any or all of the
  other Shareholders of any such Side Letters or any of the rights and/or terms or provisions
  thereof, nor will the Fund and/or the Investment Manager be required to offer such additional



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  and/or different rights and/or terms to any or all of the other Shareholders. The Fund and/or the
  Investment Manager may cause the Fund to enter into such Side Letters with any party as the
  Fund and/or the Investment Manager may determine in its sole discretion at any time. The other
  Shareholders will have no recourse against the Fund and/or the Investment Manager in the event
  certain Shareholders receive additional and/or different rights and/or terms as a result of such
  Side Letters. A Shareholder will be required to enter into such undertakings with respect to
  maintaining the confidentiality of any such additional information as the Fund and/or the
  Investment Manager may in their sole discretion determine.

  Competition. The markets in which the Master Fund invests are competitive and some of the
  opportunities that the Investment Manager may explore may be pursued by better known
  investors or investment funds. There can be no assurance that the Investment Manager will be
  able to identify or successfully pursue such opportunities in this environment. The Investment
  Manager competes with many firms that may have greater financial resources, more extensive
  development, better marketing and service capabilities, more favorable financing arrangements,
  larger research staffs and more securities traders than are available to the Investment Manager.

  Cybersecurity. Information and technology systems may be vulnerable to damage or
  interruption from computer viruses, network failures, computer and telecommunication failures,
  infiltration by unauthorized persons and security breaches, usage errors by their respective
  professionals, power outages and catastrophic events such as fires, tornadoes, floods, hurricanes
  and earthquakes. Although the Investment Manager has implemented various measures to
  manage risks relating to these types of events, if these systems are compromised, become
  inoperable for extended periods of time or cease to function properly, the Investment Manager,
  the Master Fund and/or the Fund may have to make a significant investment to fix or replace
  them, which expense may be borne in whole or in part by the Fund. The failure of these systems
  and/or of disaster recovery plans for any reason could cause significant interruptions in the
  Investment Manager’s, the Master Fund’s and/or the Fund’s operations and result in a failure to
  maintain the security, confidentiality or privacy of sensitive data, including personal information
  relating to investors. Such interruptions could harm the Investment Manager’s, the Master
  Fund’s and/or the Fund’s reputation, subject any such entity and their respective affiliates to
  legal claims and otherwise affect their business and financial performance. The foregoing risks
  and consequences are also extant at any issuer in which the Master Fund invests and could
  manifest as adverse performance of such investment.

  INVESTMENT AND TRADING RISKS

  Derivative Instruments. The Investment Manager may use various derivative instruments,
  including futures, options, forward contracts, swaps and other derivatives which may be volatile
  and speculative. Certain positions may be subject to wide and sudden fluctuations in market
  value, with a resulting fluctuation in the amount of profits and losses. Use of derivative
  instruments presents various risks, including the following:

                Tracking – When used for hedging purposes, an imperfect or variable degree of
                 correlation between price movements of the derivative instrument and the
                 underlying investment sought to be hedged may prevent the Investment Manager



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                  from achieving the intended hedging effect or expose the portfolio to the risk of
                  loss.

                 Liquidity – Derivative instruments, especially when traded in large amounts, may
                  not be liquid in all circumstances, so that in volatile markets the Investment
                  Manager may not be able to close out a position without incurring a loss. In
                  addition, daily limits on price fluctuations and speculative positions limits on
                  exchanges on which the Investment Manager may conduct its transactions in
                  certain derivative instruments may prevent prompt liquidation of positions,
                  subjecting the portfolio to the potential of greater losses.

                 Leverage – Trading in derivative instruments can result in large amounts of
                  leverage. Thus, the leverage offered by trading in derivative instruments may
                  magnify the gains and losses experienced by the Master Fund and could cause the
                  Master Fund’s net asset value to be subject to wider fluctuations than would be
                  the case if the Investment Manager did not use the leverage feature in derivative
                  instruments.

                 Over-the-Counter-Trading – Derivative instruments that may be purchased or sold
                  for the portfolio may include instruments not traded on an exchange. Over-the-
                  counter options, unlike exchanged-traded options, are two-party contracts with
                  price and other terms negotiated by the buyer and seller. The risk of non-
                  performance by the obligor on such an instrument may be greater and the ease
                  with which the Investment Manager can dispose of or enter into closing
                  transactions with respect to such an instrument may be less than in the case of an
                  exchange-traded instrument. In addition, significant disparities may exist
                  between “bid” and “asked” prices for derivative instruments that are not traded on
                  an exchange. Derivative instruments not traded on exchanges are also not subject
                  to the same type of government regulation as exchange traded instruments, and
                  many of the protections afforded to participants in a regulated environment may
                  not be available in connection with such transactions.

  Short Sales. Short sales by the Master Fund that are not made “against the box” create
  opportunities to increase the Master Fund’s return but, at the same time, involve special risk
  considerations and may be considered a speculative technique. Since the Master Fund, in effect,
  profits from a decline in the price of the securities sold short without the need to invest the full
  purchase price of the securities on the date of the short sale, the value of the Master Fund will tend
  to increase more when the securities it has sold short decrease in value, and to decrease more when
  the securities it has sold short increase in value, than otherwise would be the case if it had not
  engaged in such short sales. Short sales theoretically involve unlimited loss potential, as the market
  price of securities sold short may increase continuously, although the Master Fund may mitigate
  such losses by replacing the securities sold short before the market price has increased significantly.
  Under adverse market conditions the Master Fund might have difficulty purchasing securities to
  meet its short sale delivery obligations, and might have to sell portfolio securities to raise the capital
  necessary to meet its short sale obligations at a time when fundamental investment considerations
  would not favor such sales. Short sales may be used with the intent of hedging against the risk of



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  declines in the market value of the Master Fund’s long portfolio, but there can be no assurance that
  such hedging operations will be successful.

  Risks of Execution of Investment Strategies. The Master Fund will invest in a number of
  securities and obligations that entail substantial inherent risks. Although the Master Fund will
  attempt to manage those risks through careful research, ongoing monitoring of investments and
  appropriate hedging techniques, there can be no assurance that the securities and other
  instruments purchased by the Master Fund will in fact increase in value or that the Master Fund
  will not incur significant losses.

  Market Risks and Liquidity. The profitability of a significant portion of the Master Fund’s
  investment program depends to a great extent upon correctly assessing the future course of the
  price movements of securities and other investments. There can be no assurance that the Master
  Fund will be able to predict accurately these price movements. Although the Master Fund may
  attempt to mitigate market risk through the use of long and short positions or other methods,
  there is always some, and occasionally a significant, degree of market risk.

  Furthermore, the Master Fund may be adversely affected by a decrease in market liquidity for the
  instruments in which they invest, which may impair the Master Fund’s ability to adjust their
  position. The size of the Master Fund’s positions may magnify the effect of a decrease in market
  liquidity for such instruments. Changes in overall market leverage, deleveraging as a
  consequence of a decision by a broker to reduce the level of leverage available, or the liquidation
  by other market participants of the same or similar positions, may also adversely affect the
  Master Fund’s portfolio. Some of the underlying investments of the Master Fund may not be
  actively traded and there may be uncertainties involved in the valuation of such investments.
  Potential investors should be warned that under such circumstances, the Net Asset Value of the
  Master Fund may be adversely affected.

  Hedging. Although the Master Fund will attempt to hedge its exposure to specific arbitrage
  positions, it will not always be possible fully to hedge risk from such positions or any other
  position. In addition, the Master Fund may take positions based on the expected future direction
  of the markets without fully hedging the market risks.

  Currency Risks. A portion of the Master Fund’s assets may be invested in securities
  denominated in various currencies and in other financial instruments, the price of which is
  determined with reference to such currencies. The account of the Master Fund will, however, be
  valued in U.S. Dollars. To the extent unhedged, the value of the net assets of the Master Fund
  will fluctuate with U.S. Dollars exchange rates as well as with price changes of their investments
  in the various local markets and currencies. Forward currency contracts and options may be
  utilized by the Master Fund to hedge against currency fluctuations, but there can be no assurance
  that such hedging transactions will be effective.

  Counterparty and Settlement Risk. Due to the nature of some of the investments which the
  Master Fund may make, the Master Fund may rely on the ability of the counterparty to a
  transaction to perform its obligations. In the event that any such party fails to complete its
  obligations for any reason, the Master Fund may suffer losses. The Master Fund will therefore
  be exposed to a credit risk on the counterparties with which it trades. The Master Fund will also


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  bear the risk of settlement default by clearing houses and exchanges. Any default by a
  counterparty or on settlement could have a material adverse effect on the Master Fund.

  Borrowing. The Master Fund is permitted to finance its operations with secured and unsecured
  borrowing up to 100% of its net assets, to the extent allowable under applicable credit regulations.
  Like other forms of leverage, the use of borrowing can enhance the risk of capital loss in the event
  of adverse changes in the level of market prices of the assets being financed with the borrowings.

  Distributions. Since the Fund will not ordinarily make distributions by way of dividends to the
  Shareholders, all earnings of the Fund are expected to be retained for reinvestment (through the
  Master Fund).

  Discretion of the Investment Manager; Concentration of Investments. The Investment
  Manager will seek to engage in the investment activities described herein. Nonetheless, the
  Master Fund’s portfolio may be altered at any time in the sole discretion of the Investment
  Manager and without the approval of any investors in the limited partners of the Master Fund,
  including the Shareholders. Although the Investment Manager will follow a general policy of
  seeking to spread the Master Fund’s capital among a number of investments, the Investment
  Manager may depart from such policy from time to time and may hold a few, relatively large
  securities positions in relation to the Master Fund’s capital. The result of such concentration of
  investments is that a loss in any such position could materially reduce the Master Fund’s capital.

  Difficult Market for Investment Opportunities. The activity of identifying, completing and
  realizing on attractive investments involves a high degree of uncertainty. There can be no assurance
  that the Master Fund will be able to locate and complete investments which satisfy the Master
  Fund’s rate of return objective or realize upon their values or that the Master Fund will be able to
  invest fully its subscribed capital in a manner consistent with its investment strategy.

  TAX RELATED RISKS

  Uncertainty and Complexity of Tax Treatment. The tax aspects of an investment in the Fund are
  complicated and complex and, in many cases, uncertain. Statutory provisions and administrative
  regulations have been interpreted inconsistently by the courts. Additionally, some statutory
  provisions remain to be interpreted by administrative regulations. Investors will thus be subject to
  the risk caused by the uncertainty of the tax consequences with respect to an investment in the Fund.
  Each prospective investor should have the tax aspects of an investment in the Fund reviewed by
  professional advisors familiar with such investor’s personal tax situation and with the tax laws and
  regulations applicable to the investor and private investment vehicles. Prospective investors are
  strongly urged to review the discussion below under “Taxation” for a more complete discussion of
  certain of the tax risks inherent in the acquisition of Shares and to consult their own independent tax
  advisors.

  Risk of Adverse Determination. There can be no assurance that the conclusions set forth in this
  Memorandum will not be challenged successfully by the U.S. Internal Revenue Service (the
  “Service”) or another applicable taxing authority, or significantly modified by new legislation,
  changes in the Service’s positions, or court decisions. The Fund has not applied for, nor does it
  expect to apply for, any advance rulings from the Service or any other applicable taxing authority


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  with respect to any of the tax consequences described in this Memorandum. No representation or
  warranty of any kind is made by the Fund or the Investment Manager with respect to the tax
  consequences relating to an investment in the Fund. The Fund may take positions with respect to
  certain tax issues which depend on legal conclusions not yet resolved by the Service, other
  applicable taxing authorities or courts. Should any such positions be successfully challenged by the
  Service or any other applicable taxing authority, there could be a materially adverse effect on the
  Fund.

  Tax Audit. An audit of the Fund by the Service or any other applicable taxing authority could
  result in adjustments to the tax consequences initially reported by the Fund, which examination
  could affect the after-tax returns of a shareholder’s investment in the Fund. If such audit
  adjustments result in an increase in the Fund’s tax liability for any year, the Fund may also be liable
  for interest and penalties with respect to the amount of underpayment. The legal and accounting
  costs incurred in connection with any audit of the Fund’s tax returns will be borne by the Fund.

  Tax-Exempt Entities. Certain prospective investors may be subject to U.S. federal and state laws,
  rules and regulations that regulate their participation in the Fund, or their engaging directly or
  indirectly through an investment in the Fund, in certain investment strategies that the Fund (through
  the Master Fund) may utilize from time-to-time (e.g., short-sales of securities and the use of
  leverage, the purchase and sale of options and limited diversification). While the Master Fund
  believes its investment program is generally appropriate for U.S. tax-exempt organizations for
  which an investment in the Fund would otherwise be suitable, each type of exempt organization
  may be subject to different laws, rules and regulations, and prospective investors should consult
  with their own advisers as to the advisability and tax consequences of an investment in the Fund.
  Investments in the Fund by entities subject to ERISA (as defined below), and other tax-exempt
  entities, require special consideration. Trustees or administrators of such entities are urged to
  review carefully the matters discussed in this Memorandum.

  Tax Considerations Taken into Account. The Investment Manager may take tax considerations
  into account in determining when the Fund’s investments should be sold or otherwise disposed of,
  and may assume certain market risk and incur certain expenses in this regard to achieve favorable
  tax treatment of a transaction.

  Adverse Taxation Events. With respect to certain countries, there is a possibility of expropriation,
  confiscatory taxation, imposition of withholding or other taxes on dividends, interest, capital gains
  or other income, limitations on the removal of funds or other assets of the Fund, political or social
  instability or diplomatic developments that could affect investments in those countries. An issuer of
  securities may be domiciled in a country other than the country in whose currency the instrument is
  denominated. The values and relative yields of investments in the securities markets of different
  countries, and their associated risks, are expected to change independently of each other.

  Shareholder Level Taxation. Tax consequences to each shareholder will depend on tax laws in
  that shareholder’s jurisdiction. Shareholders should consult their professional advisors as to the
  possible tax consequences of subscribing for, buying, holding, selling, transferring or redeeming
  Shares under the laws of their country of citizenship, residence or domicile.




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  Possible Law Changes. No assurance can be given that legislative, administrative or judicial
  changes that could alter, either prospectively or retroactively, the U.S. tax considerations or risk
  factors discussed in this Memorandum will not occur. Currently, various proposals in the U.S.
  Congress, possibly with retroactive effect, are pending which, if enacted, could result in changes in
  U.S. federal income tax laws that may adversely affect the federal income tax consequences of an
  investment in the Fund. Prospective investors should seek, and must rely on, the advice of their
  own advisors with respect to the possible impact on its investment of any future proposed legislation
  or administrative or judicial action.

  The foregoing list of risk factors does not purport to be a complete enumeration or explanation of
  the risks involved in an investment in the Fund. Prospective investors should read this entire
  Memorandum and consult with their own advisers before deciding to invest in the Fund. In
  addition, as the investment program of the Master Fund develops and changes over time, an
  investment in the Fund may be subject to additional and different risk factors. No assurance can be
  made that profits will be achieved or that substantial losses will not be incurred.

  In view of the foregoing considerations, an investment in Shares is suitable only for investors who
  are capable of bearing the relevant investment risks.

  POTENTIAL CONFLICTS OF INTEREST

  Highland Group & Highland Accounts

  Given the nature and size of Highland Capital Management, L.P.’s (“Highland Capital”)
  operations, various potential conflicts of interest arise in connection with its advisory services and
  the advisory services provided by its affiliates. Information about Highland Capital and its
  potential conflicts of interest is provided in Highland Capital’s Form ADV Part 2 Brochure that
  can be found by going to https://adviserinfo.sec.gov/IAPD/Default.aspx, searching by firm name
  and selecting the Part 2 Brochure to be viewed. The Fund is subject to these conflicts of interest,
  as well as the other items discussed below.

  None of the Investment Manager, its affiliates and their respective officers, directors, shareholders,
  members, partners, personnel and employees (collectively, the “Highland Group”) is precluded
  from engaging in or owning an interest in other business ventures or investment activities of any
  kind, whether or not such ventures are competitive with the Fund or the Master Fund. The
  Investment Manager is permitted to manage other client accounts, and does manage other client
  accounts, some of which may have objectives similar or identical to those of the Master Fund,
  including other collective investment vehicles that may be managed by the Highland Group and in
  which the Investment Manager or any of its affiliates may have an equity interest.

  The Fund will be subject to a number of actual and potential conflicts of interest involving the
  Highland Group including, among other things, the fact that: (i) the Highland Group conducts
  substantial investment activities for accounts, funds, collateralized debt obligations that invest in
  leveraged loans (collectively, “CDOs”) and other vehicles managed by members of the Highland
  Group (“Highland Accounts”) in which the Fund has no interest; (ii) the Highland Group advises
  Highland Accounts, which utilize the same, similar or different methodologies as the Fund and
  may have financial incentives (including, without limitation, as it relates to the composition of


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  investors in such funds and accounts or to the Highland Group’s compensation arrangements) to
  favor certain Highland Accounts over the Fund and the Master Fund; (iii) the Highland Group may
  use the strategy described herein in certain Highland Accounts; (iv) the Investment Manager may
  give advice and recommend securities to, or buy or sell securities for, the Master Fund, which
  advice or securities may differ from advice given to, or securities recommended or bought or sold
  for, Highland Accounts; (v) the Investment Manager has the discretion, to the extent permitted
  under applicable law, to use its affiliates as service providers to the Fund and the Master Fund and
  the Master Fund’s portfolio investments; (vi) certain investors affiliated with the Highland Group
  may choose to personally invest only in certain funds advised by the Highland Group and the
  amounts invested by them in such funds is expected to vary significantly; (vii) the Highland Group
  and Highland Accounts may actively engage in transactions in the same securities sought by the
  Master Fund and, therefore, may compete with the Master Fund for investment opportunities or
  may hold positions opposite to positions maintained on behalf of the Master Fund; and (viii) the
  Investment Manager will devote to the Master Fund and the Fund only as much time as the
  Investment Manager deems necessary and appropriate to manage the Master Fund’s and the
  Fund’s business.

  The Investment Manager undertakes to resolve conflicts in a fair and equitable basis, which in
  some instances may mean a resolution that would not maximize the benefit to the Fund’s investors.

  Allocation of Trading Opportunities

  It is the policy of the Investment Manager to allocate investment opportunities fairly and equitably
  over time. This means that such opportunities will be allocated among those accounts for which
  participation in the respective opportunity is considered appropriate, taking into account, among
  other considerations: (i) fiduciary duties owed to the accounts; (ii) the primary mandate of the
  accounts; (iii) the capital available to the accounts; (iv) any restrictions on the accounts and the
  investment opportunity; (v) the sourcing of the investment, size of the investment and amount of
  follow-on available related to the investment; (vi) whether the risk-return profile of the proposed
  investment is consistent with the account’s objectives and program, whether such objectives are
  considered in light of the specific investment under consideration or in the context of the
  portfolio’s overall holdings; (vii) the potential for the proposed investment to create an imbalance
  in the account’s portfolio (taking into account expected inflows and outflows of capital); (viii)
  liquidity requirements of the account; (ix) potentially adverse tax consequences; (x) regulatory and
  other restrictions that would or could limit an account’s ability to participate in a proposed
  investment; and (xi) the need to re-size risk in the account’s portfolio.

  The Investment Manager has the authority to allocate trades to multiple Highland Accounts on an
  average price basis or on another basis it deems fair and equitable. Similarly, if an order on behalf
  of any accounts cannot be fully allocated under prevailing market conditions, the Investment
  Manager may allocate the trades among different accounts on a basis it considers fair and equitable
  over time. One or more of the foregoing considerations may (and are often expected to) result in
  allocations among the Master Fund and one or more Highland Accounts on other than a pari passu
  basis. The Investment Manager will allocate investment opportunities across its accounts for
  which the opportunities are appropriate, consistent with (i) its internal conflict of interest and
  allocation policies and (ii) the requirements of the Investment Advisers Act of 1940, as amended.
  The Investment Manager will seek to allocate investment opportunities among such entities in a


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  manner that is fair and equitable over time and consistent with its allocation policy, a copy of
  which will be provided upon request. However, there is no assurance that such investment
  opportunities will be allocated to the Master Fund fairly or equitably in the short-term or over time
  and there can be no assurance that the Master Fund will be able to participate in all investment
  opportunities that are suitable for it

  The Investment Manager may open “average price” accounts with brokers. In an “average price”
  account, purchase and sale orders placed during a trading day on behalf of the Investment
  Manager, the Master Fund, and other accounts managed by the Investment Manager are combined,
  and securities bought and sold pursuant to such orders are allocated among such accounts on an
  average price basis.

  Cross Transactions and Principal Transactions

  As further described below, the Investment Manager may effect client cross-transactions where the
  Investment Manager causes a transaction to be effected between the Master Fund and another
  client advised by it or any of its affiliates. The Investment Manager may engage in a client cross-
  transaction involving the Master Fund any time that the Investment Manager believes such
  transaction to be fair to the Master Fund and such other client. By purchasing Shares, a
  Shareholder is deemed to have consented to such client cross-transactions between the Master
  Fund and another client of the Investment Manager or one of its affiliates.

  The Investment Manager may direct the Master Fund to acquire or dispose of securities in cross
  trades between the Master Fund and other clients of the Investment Manager or its affiliates in
  accordance with applicable legal and regulatory requirements. In addition, the Master Fund may
  invest in securities of obligors or issuers in which the Investment Manager and/or its affiliates have
  a debt, equity or participation interest, and the holding and sale of such investments by the Master
  Fund may enhance the profitability of the Investment Manager’s own investments in such
  companies. Moreover, the Master Fund may invest in assets originated by the Investment Manager
  or its affiliates. In each such case, the Investment Manager and such affiliates may have a
  potentially conflicting division of loyalties and responsibilities regarding the Master Fund and the
  other parties to such trade. Under certain circumstances, the Investment Manager and its affiliates
  may determine that it is appropriate to avoid such conflicts by selling a security at a fair value that
  has been calculated pursuant to the Investment Manager’s valuation procedures to another client
  managed or advised by the Investment Manager or such affiliates. In addition, the Investment
  Manager may enter into agency cross-transactions where it or any of its affiliates acts as broker for
  the Master Fund and for the other party to the transaction, to the extent permitted under applicable
  law.

  The principal of the Investment Manager, as well as the employees and officers of the Investment
  Manager and of organizations affiliated with the Investment Manager, may buy and sell securities
  for their own account or the account of others, but may not buy securities from or sell securities to
  the Master Fund (such prohibition does not extend to the purchase or sale of Shares of the Fund),
  unless such purchase or sale is in compliance with the applicable provisions of the Investment
  Advisers Act of 1940, as amended.




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  Conflicts Relating to Equity and Debt Ownership by the Master Fund and Affiliates

  In certain circumstances, the Master Fund and other client accounts may invest in securities or
  other instruments of the same issuer (or affiliated group of issuers) having a different seniority in
  the issuer’s capital structure. If the issuer becomes insolvent, restructures or suffers financial
  distress, there may be a conflict between the interests in the Master Fund and those other accounts
  insofar as the issuer may be unable (or in the case of a restructuring prior to bankruptcy may be
  expected to be unable) to satisfy the claims of all classes of its creditors and security holders and
  the Master Fund and such other accounts may have competing claims for the remaining assets of
  such issuers. Under these circumstances it may not be feasible for the Investment Manager to
  reconcile the conflicting interests in the Master Fund and such other accounts in a way that protects
  the Master Fund’s interests. Additionally, the Investment Manager or its nominees may in the
  future hold board or creditors’ committee memberships which may require them to vote or take
  other actions in such capacities that might be conflicting with respect to certain funds managed by
  the Investment Manager in that such votes or actions may favor the interests of one account over
  another account. Furthermore, the Investment Manager’s fiduciary responsibilities in these
  capacities might conflict with the best interests of the investors.

  Affiliated Entity Services

  Affiliated entities of the Investment Manager may provide services with respect to the Investment
  Manager, the Master Fund or the Fund. NexBank, SSB (“NexBank SSB”) is an affiliate of the
  Investment Manager and may, from time to time, provide banking and/or agency services to the
  Investment Manager, clients of the Investment Manager or collective investment vehicles for
  which the Investment Manager provides investment advisory services (including the Fund, the
  Master Fund and other vehicles in which the Fund (through the Master Fund) may invest) or third
  parties engaged in transactions involving the Investment Manager. NexBank SSB may also act as
  an agent in connection with certain securities transactions involving the Investment Manager’s
  client accounts (including the Master Fund and other vehicles in which the Master Fund may
  invest). Principals of the Investment Manager own a majority of the equity interests in NexBank
  SSB and employees or affiliates of the Investment Manager own or may own a substantial equity
  interest in NexBank SSB. Certain Master Fund investment transactions may be executed through
  NexBank Securities, Inc., an affiliate of the Investment Manager and a registered broker-dealer.

  Additionally, the Investment Manager or affiliates of the Investment Manager, including, without
  limitation, Nexbank SSB, NexBank Securities, Inc.,NexBank Capital Advisors and Governance
  Re, Ltd., may provide financial advisory, management, insurance, title insurance or other services
  for a fee to portfolio companies in which the Master Fund may have an interest. Highland Latin
  America Consulting, Ltd., an affiliate of the Investment Manager, has been engaged to provide
  certain administrative and consulting services to the Investment Manager, as more fully described
  below in “Management and Administration – Investment Manager.”

  Management Fees

  A portion of any Management Fee may be paid to broker-dealers, placement agents or independent
  third parties, other than the Investment Manager, for services provided in connection with the
  solicitation of subscriptions from investors. Accordingly, investors should recognize that a


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  placement agent’s or distributor’s participation in this offering may be influenced by its interest in
  such current or future fees and compensation. Investors should consider these potential conflicts of
  interest in making their investment decisions. Each placement agent shall comply with the legal
  requirements of the jurisdictions within which it offers and sells Interests.

  Diverse Membership

  The Shareholders are expected to include entities, persons, or entities organized in various
  jurisdictions and subject to different tax and regulatory regimes. Such diverse investors may thus
  have conflicting investment, tax and other interests, relating to, among other things, the nature of
  investments made by the Master Fund, the structuring or the acquisition of investments and the
  timing of disposition of investments. As a result, conflicts of interest may arise in connection with
  decisions made by the Investment Manager including as to the nature and structure of investments
  that may be more beneficial for one type of Shareholder than for another type of Shareholder,
  including Shareholders affiliated with the Investment Manager. The results of the Fund’s activities
  may affect individual Shareholders differently, depending upon their individual financial and tax
  situations because, for instance, of the timing of an event of realization of gain or loss and its
  characterization as long-term or short-term gain or loss. In addition, the Master Fund may make
  investments that may have a negative impact on related investments made by the Shareholders in
  separate transactions. In selecting, structuring and managing investments appropriate for the
  Master Fund, the Investment Manager will consider the investment and tax objectives of the
  Master Fund and the Feeder Funds as a whole, not the investment, tax, or other objectives of any
  Shareholder individually. However, there can be no assurance that a result will not be more
  advantageous to some Shareholders than to others or to the Investment Manager and/or its affiliates
  than to a particular Shareholder.

  Performance Allocation

  As described herein, the Master Fund Partnership Agreement provides for the payment of the
  Management Fee to the Investment Manager and the Performance Allocation to the Investment
  Manager, in its capacity as the Special Limited Partner. The Performance Allocation may create
  an incentive for the Investment Manager, as the Special Limited Partner, to make investments that
  are riskier or more speculative than would be the case in the absence of such Performance
  Allocation.

  Soft Dollars

  The Investment Manager’s authority to use “soft dollar” credits generated by the Master Fund’s
  securities transactions to pay for expenses that might otherwise have been borne by the Investment
  Manager or the Master Fund General Partner may give the Investment Manager an incentive to
  select brokers or dealers for Master Fund transactions, or to negotiate commission rates or other
  execution terms, in a manner that takes into account the soft dollar benefits received by the
  Investment Manager rather than giving exclusive consideration to the interests in the Master Fund.
  See “Brokerage and Custody.”




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  No Separate Counsel

  Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) serves as counsel to the Fund, the Master
  Fund, the Investment Manager, the Master Fund General Partner and certain of their Affiliates (the
  “Clients”) in connection with the formation of certain Clients, the offering of Shares as well as
  certain other matters for which the Clients may engage Akin Gump from time to time. Akin Gump
  disclaims any obligation to verify the Clients’ compliance with their obligations either under
  applicable law or the governing documents of the Fund. In acting as counsel to the Clients, Akin
  Gump has not represented and will not represent any shareholders nor does it purport to represent
  their interests. No independent counsel has been retained to represent the shareholders. In
  assisting in the preparation of this Memorandum, Akin Gump has relied on information provided
  by the Fund, the Investment Manager and the Master Fund General Partner and certain of the
  Fund’s other service providers (including, without limitation, biographical data, summaries of
  market conditions, the planned investment strategy of the Master Fund and the performance of the
  Master Fund, its investments or any predecessor Fund) without verification and does not express a
  view as to whether such information is accurate or complete.

  Maples and Calder, P.O. Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands,
  acts as Cayman Islands legal counsel to the Fund, the Master Fund and the Master Fund General
  Partner. In connection with the Fund's offering of Shares and subsequent advice to the Fund, the
  Master Fund and the Master Fund General Partner, Maples and Calder will not be representing
  shareholders and/or limited partners. No independent legal counsel has been retained to represent
  the shareholders and/or limited partners. Maples and Calder's representation of the Fund is limited
  to specific matters as to which it has been consulted by the Fund. There may exist other matters
  that could have a bearing on the Master Fund as to which Maples and Calder has not been
  consulted. In addition, Maples and Calder does not undertake to monitor compliance by the
  Investment Manager and its affiliates with the investment program, valuation procedures and other
  guidelines set forth herein, nor does Maples and Calder monitor ongoing compliance with
  applicable laws. In connection with the preparation of this Memorandum, Maples and Calder's
  responsibility is limited to matters of Cayman Islands law and it does not accept responsibility in
  relation to any other matters referred to or disclosed in this Memorandum. In the course of
  advising the Fund, there are times when the interests of shareholders/limited partners may differ
  from those of the Fund, the Master Fund and/or the Master Fund General Partner. Maples and
  Calder does not represent the shareholders’ and/or the limited partners’ interests in resolving these
  issues. In reviewing this Memorandum, Maples and Calder has relied upon information furnished
  to it by the Fund and has not investigated or verified the accuracy and completeness of information
  set forth herein concerning the Fund, the Master Fund and/or the Master Fund General Partner.

  Non-Public Information

  From time to time, the Investment Manager may come into possession of non-public information
  concerning specific companies although internal structures are in place to prevent the receipt of
  such information. Under applicable securities laws, this may limit the Investment Manager’s
  flexibility to buy or sell portfolio securities issued by such companies. The Master Fund’s
  investment flexibility may be constrained as a consequence of the Investment Manager’s
  inability to use such information for investment purposes.



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  Directors

  The Directors will at all times have regard to their obligations to act in the best interests of the
  Fund and its Shareholders so far as practicable. The Directors will seek to ensure that any conflict
  of interest is resolved fairly and in the interests of the Fund and its Shareholders.

  The foregoing list of risk factors does not purport to be a complete enumeration or
  explanation of the risks involved in an investment in the Fund. Prospective investors
  should read this entire Memorandum and consult with their own legal, tax and financial
  advisers before deciding to invest in the Fund.




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                  MANAGEMENT AND ADMINISTRATION

  BOARD OF DIRECTORS

  The Directors are responsible for the overall management and control of the Fund in accordance
  with its Memorandum and Articles of Association. However, the Directors are not responsible
  for the day-to-day operations and administration of the Fund, nor are they responsible for making
  or approving any investment decisions having delegated such investment responsibilities to the
  Investment Manager pursuant to the Investment Management Agreement, and the day-to-day
  administrative functions to the Administrator pursuant to the Administration Agreement in
  accordance with their powers of delegation as set out in the Articles. The Directors will review,
  on a periodic basis, the performance of the Investment Manager and the Administrator.

  Biographical information for each Director is set forth below.

  Claire Kasumba. Claire serves as an independent director on a wide range of investment
  structures, including hedge funds, private equity funds, fund of funds and segregated portfolio
  companies. Claire joined Maples Fiduciary Services (Cayman) Limited (“Maples Fiduciary”), a
  regulated entity in the Cayman Islands, in 2016 and has over 10 years’ legal experience. Claire
  previously worked as an Associate in the Investment Funds team at Maples and Calder from
  2011 where she focused on hedge fund and private equity structuring and formation. Prior to
  joining Maples and Calder, Claire worked at Nabarro LLP in London in the Funds and Indirect
  Real Estate team for over five years. During Claire's time at Nabarro LLP, she also completed a
  six month secondment in the legal department at Aviva Investors. Claire received a Bachelor of
  Arts degree with first class honours majoring in Economics and Law from the University of
  Leicester, UK and Göteborgs Universitet, Sweden in 2003. She received a Master of Laws in
  Commercial and Corporate Law from the University College London, UK. Claire completed her
  Legal Practice Course in 2005 from BPP Law School, UK. She has been admitted to practice
  law in England and Wales and the Cayman Islands. Claire also holds an Accredited Director
  designation from the Institute of Chartered Secretaries and Administrators Canada.

  Martin Laufer. Martin works at Maples Fiduciary and serves as an independent director on a
  wide range of alternative investment funds, including fund of funds, hedge funds and unit trusts.
  Prior to joining Maples Fiduciary, Martin worked for BNY Mellon Fund Management (Cayman)
  Limited where he was the Financial Fund Manager from 2010 to 2016, providing fiduciary
  services to a multi-billion dollar portfolio of unit trusts operating as investment funds as well as
  administration services to a large portfolio of Cayman Islands domiciled hedge funds and fund of
  funds. Prior to that, Martin worked for CIBC Bank and Trust Company (Cayman) Limited as a
  Senior Client Accountant. From 2003 to 2007 Martin worked for KPMG Argentina as a Senior
  Consultant. Martin graduated from Buenos Aires University as a Certified Public Accountant
  and holds a Master of Business Administration from the International College of the Cayman
  Islands. He is a CFA Charterholder and a qualified Trust and Estate Practitioner. Martin is a



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  member of the Society of Trust and Estate Practitioners (STEP), the Cayman Islands CFA
  Society and the Cayman Islands Institute of Professional Accountants (CIIPA).

  Sophia Dilbert. Sophia Dilbert serves as an independent director on a wide range of alternative
  investment funds, including fund of funds, hedge funds, private equity funds and segregated
  portfolio companies. Sophia works at Maples Fiduciary, which she joined in 2012. Prior to
  joining Maples Fiduciary, Sophia was Global Head of Legal at Admiral Administration Ltd. in
  the Cayman Islands, starting there in 2007, where she was responsible for advising on all legal
  and regulatory matters. Sophia was also responsible for the implementation of global policies
  and procedures. Prior to that, Sophia worked for Stuart Walker Hersant as a senior associate in
  the Cayman Islands, specializing in investment funds and general corporate law. Sophia
  commenced her career with Maples and Calder where she spent eight years as an associate
  attorney specializing in capital markets and investment funds. Her area of practice also included
  general corporate and commercial law, real estate, immigration and employment matters. Sophia
  graduated from the University of Liverpool with a Bachelor of Laws with Honours. She is an
  Attorney-at-Law and is a member of the Caymanian Bar Association, the Cayman Islands Law
  Society and the Honourable Society of Middle Temple in the United Kingdom. Sophia has also
  received the Accredited Director designation from the Chartered Secretaries Canada and is a
  member of the Cayman Islands Directors Association and the Council of the Cayman Islands
  Stock Exchange.

  The services of Claire Kasumba, Martin Laufer and Sophia Dilbert will be provided by Maples
  Fiduciary. Maples Fiduciary is an affiliate of Maples and Calder, who will be engaged as the
  Fund’s legal counsel. Maples Fiduciary will enter into a Director Services Agreement with the
  Fund which sets out the terms on which it will provide the services of Claire Kasumba, Martin
  Laufer and Sophia Dilbert.

  Maples Fiduciary will be entitled to remuneration from the Fund at its customary rates and for
  reimbursement of its out-of-pocket expenses, including all travelling, hotel and other expenses
  properly incurred by the Directors supplied by Maples Fiduciary in attending meetings of the
  Directors or any shareholders meeting held in connection with the business of the Fund.

  The Directors provided by Maples Fiduciary are non-executive Directors of the Fund and are not
  required to devote their full time and attention to the business of the Fund. They may be engaged
  in any other business and/or be concerned or interested in or act as directors or officers of any other
  company or entity. Neither Maples Fiduciary nor any of the Directors supplied by Maples
  Fiduciary will be responsible for (i) the commercial structuring of the Fund or the Master Fund or
  the Master Fund’s investment strategy, (ii) the purchase or sale of any investment on behalf of the
  Master Fund (which will be the responsibility solely of the Investment Manager), (iii) the valuation
  of the assets of the Master Fund and the Fund, or (iv) any loss or damage caused by the acts or
  omissions of the Investment Manager, the Administrator or any of their delegates or sub-delegates
  unless any such loss or damage is actually occasioned by the actual fraud, willful default or Gross
  Negligence (as defined in the Director Services Agreement) of the Directors supplied by Maples
  Fiduciary.




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  The Director Services Agreement provides that none of Maples Fiduciary nor any of the Directors
  provided by the Maples Group shall be liable to the Fund under or in connection with the Director
  Services Agreement in an amount of more than US$5,000,000, except in circumstances where such
  liability was caused by the actual fraud of Maples Fiduciary or, as the case may be, any of the
  Directors provided by the Maples Group.

  The Articles do not stipulate a retirement age for the Directors and do not provide for retirement
  of the Directors by rotation. There is no shareholding qualification for the Directors. The
  Directors are empowered to exercise all of the borrowing powers of the Fund. The borrowing
  powers of the Fund may be varied by the Directors or by an amendment to the Articles.

  The Articles provide that the Fund may, by Ordinary Resolution, remove a Director from office
  and may, by Ordinary Resolution, appoint a person who is willing to act to be a Director either to
  fill a vacancy or as an additional Director. The Directors may appoint any person who is willing
  to act to be a Director, either to fill a vacancy or as an additional Director, provided that the
  appointment does not cause the number of Directors to exceed any number fixed by or in
  accordance with the Articles as the maximum number of Directors.

  The Articles further provide that the office of a Director shall be vacated if: (a) he becomes
  prohibited by law from being a Director; (b) he becomes bankrupt or makes any arrangement or
  composition with his creditors generally; (c) he dies, or is, in the opinion of all his co-Directors,
  incapable by reason of mental disorder of discharging his duties as Director; (d) he resigns his
  office by notice to the Company; (e) he has for more than six consecutive months been absent
  without permission of the Directors from meetings of Directors held during that period and his
  alternate Director (if any) has not during such period attended any such meetings instead of him,
  and the Directors resolve that his office be vacated; or (f) he is removed from office by notice
  addressed to him at his last known address and signed by all his co-Directors.

  The Articles provide that, so long as the nature of their interest is or has been declared at the
  earliest opportunity, a Director or prospective Director may enter into any contract or
  arrangement with the Fund and such contract or arrangement shall not be liable to be avoided
  and the Director concerned shall not be liable to account to the Fund for any profit realized by
  any such contract or arrangement by reason of his holding of that office or the fiduciary
  relationship so established and may hold any other office or place of profit with the Fund (except
  that of auditor) in conjunction with the office of Director on such terms as to tenure of office and
  otherwise as the Directors may determine. Provided that a Director has disclosed his material
  interest pursuant to the Articles, a Director may vote at any meeting of Directors or of a
  committee of Directors on any resolution concerning a matter in which he has, directly or
  indirectly, an interest or duty. The Director shall be counted in the quorum present at a meeting
  when any such resolution is under consideration and if he votes his vote shall be counted.

  As at the date of this Memorandum, no Director nor any connected person has any interest,
  beneficial or non-beneficial, in the share capital of the Fund nor any material interest in the
  Shares of the Fund nor any options in respect of such Shares nor in any agreement or
  arrangement with the Fund. Other than the Investment Management Agreement, there are no
  contracts or arrangements subsisting at the date of this Memorandum in which a Director of the



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  Fund is materially interested and which is significant in relation to the business of the Fund.
  There are no loans or guarantees provided by the Fund to or for the benefit of the Directors as at
  the date of this Memorandum.

  Other than the Investment Management Agreement, no Director has any direct or indirect interest
  in any contract or arrangement that was either unusual in its nature or significant to the business
  of the Fund in previous years and remains outstanding.

  The Articles provide certain rights of exculpation and indemnification in favor of Directors and
  officers of the Fund against legal liability and expenses if such persons did not, in connection
  with the matter giving rise to a particular claim, engage in gross negligence or willful default in
  the performance of their duties.

  The Directors may change any of the Fund's service providers, including the Fund's auditors,
  without the consent of the Shareholders. In addition, the remuneration being paid to service
  providers by the Fund (and any other term of their respective service agreements) may be
  amended by the mutual consent of the Directors and the relevant service providers. This may be
  necessary from time to time to keep such remuneration in line with the prevailing market rates
  being charged.

  INVESTMENT MANAGER

  The Fund’s Investment Manager is Highland Capital Management Latin America, L.P., a
  Cayman Islands exempted limited partnership formed on April 13, 2017. The Investment
  Manager is responsible for overseeing the investment of the Fund’s assets (through the Master
  Fund) and the distribution of the Shares, subject to the overall control of the Master Fund
  General Partner. With the approval of the Master Fund General Partner, the Investment Manager
  may delegate certain of its duties to other companies and entities, which may be affiliated with,
  or independent of, the Investment Manager. The Investment Manager has power to terminate
  such appointments and to make other appointments in place of them.

  The Investment Manager is a wholly-owned subsidiary of Highland Capital Management, L.P., a
  Delaware limited partnership and a registered investment adviser with the U.S. Securities
  Exchange Commission (CRD# 110126 / SEC# 801-54874). As an advisory affiliate of Highland
  Capital Management, L.P., the Investment Manager is also subject to compliance with the
  provisions of the U.S. Investment Advisers Act of 1940, as amended.

  The Investment Manager is not required to be licensed in the Cayman Islands because it is
  providing investment management services exclusively to persons that fall within an exemption
  under the Securities Investment Business Law (Revised) of the Cayman Islands. Accordingly,
  the Investment Manager has filed an initial declaration of exemption with the Cayman Islands
  Monetary Authority and will update that filing on an annual basis. The Investment Manager will
  not provide investment services to any class of person that would require it to be licensed under
  the Securities Investment Business Law (Revised) without first obtaining such a license. The
  Investment Manager does not envisage obtaining such a license.




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  The Investment Manager engaged Highland Latin America Consulting, Ltd., a Cayman Islands
  exempted company (“Highland Latin America”), a wholly-owned subsidiary of the Investment
  Manager, to provide certain administrative and consulting services to the Investment Manager
  related to its management of the Fund, subject to the Services Agreement. The Fund will not be
  liable for any consulting services provided by Highland Latin America or any consultants or
  service providers that Highland Latin America engages.

  The key investment professionals of the Investment Manager and Highland Latin America who
  are responsible for the Master Fund’s investment activities are described below:

  James Dondero, CFA, CMA, President, Co-Founder. Mr. Dondero is Co-Founder and
  President of Highland Capital Management, L.P. and a Director of Highland Latin America GP,
  Ltd., the general partner of the Investment Manager. Mr. Dondero has over 30 years of
  experience in the credit and equity markets, focused largely on high-yield and distressed
  investing. Mr. Dondero is the Chairman and President of NexPoint Residential Trust, Inc.
  (NYSE:NYRT), Chairman of NexBank Capital, Inc., Cornerstone Healthcare Group Holding,
  Inc., and CCS Medical, Inc., and a board member of Jernigan Capital, Inc. (NYSE:JCAP), and
  MGM Holdings, Inc. He also serves on the Southern Methodist University Cox School of
  Business Executive Board. A dedicated philanthropist, Mr. Dondero actively supports initiatives
  in education, veterans affairs, and public policy. Prior to founding Highland in 1993, Mr.
  Dondero was involved in creating the GIC subsidiary of Protective Life, where as Chief
  Investment Officer he helped take the company from inception to over $2 billion between 1989
  and 1993. Between 1985 and 1989, Mr. Dondero was a corporate bond analyst and then
  portfolio manager at American Express. Mr. Dondero began his career in 1984 as an analyst in
  the JP Morgan training program. Mr. Dondero graduated from the University of Virginia where
  he earned highest honors (Beta Gamma Sigma, Beta Alpha Psi) from the McIntire School of
  Commerce with dual majors in accounting and finance. He has received certification as
  Certified Public Accountant (CPA) and Certified Managerial Accountant (CMA) and has earned
  the right to use the Chartered Financial Analyst (CFA) designation.

  Gustavo Prilick. Mr. Prilick is a Managing Partner at Highland Capital Brasil and a registered
  asset manager in Brazil, and is a Director of Highland Latin America GP, Ltd., the general
  partner of the Investment Manager. He has extensively worked in several of Highland Capital
  Brasil’s portfolio companies in the US mainly as CEO. Prior to his involvement with Highland
  Capital Brasil, he was a Partner at South America Fund, a private equity firm, mainly focused on
  providing financial services to export companies in Argentina and Uruguay. Prior to South
  America Fund, he was the Chief Operating Officer of Millicom International Cellular for 7 years,
  serving Latin America, Asia, Africa and ten operations in Russia. Prior to Millicom, he served as
  the Director of International Business for Oracle Corporation where he was responsible for the
  establishment of most of Oracle’s International Subsidiaries on several continents, including the
  Brazilian operation. Later he became President of Oracle South America with oversight of
  several countries in South America. He also served as CEO of Nacion Factoring, a subsidiary of
  Banco Nacion in Argentina building its operations to reach one of the leading positions in the
  country. Mr. Prilick received an MBA from the Stanford University Graduate School of Business
  and a degree in Electrical Engineering from Universidad de Buenos Aires. He has also held
  teaching positions as a visiting professor in several leading Business Schools in Argentina.



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  Highland Latin America will enter into relationships and agreements with Argentine relevant
  parties and/or individuals to obtain supporting services for the management of the Fund, the
  Domestic Fund and the Master Fund, and will enter into consulting agreements with Andrés
  Pitchón, Julieta Prieto and Javier Casabal pursuant to which these consultants will provide
  investment and related services to the Feeder Funds and the Master Fund. Mr. Pitchón will
  provide portfolio management services to the Master Fund under the overall supervision of the
  Investment Manager.

  Andrés Pitchón. Mr. Pitchón, through a consulting arrangement with Highland Latin America
  Consulting, Ltd., provides portfolio management services to the Master Fund. Mr. Pitchón
  began his career in 1993 as Head of Equity Research for Argentina for MBA-Salomon Brothers
  and later he also became responsible for Fixed income. As Head of the Research Department his
  work was recognized by international publications such as Institutional Investor, Latin Finance,
  The Reuters Survey and The Greenwich Survey. Since 1997 and 1999 he has managed the
  Fund’s equity and fixed income mutual funds. Since 2003 Mr. Pitchón had been Senior Portfolio
  Manager of the Fund’s hedge funds. Mr. Pitchón received a BA degree in IT, focused on
  Business Administration from the University of Belgrano (1989), together with an academic
  merit medal for highest GPA in the School of Technology. Mr. Pitchón also received a Master’s
  degree in Business Administration from Anderson Graduate School of Business at UCLA in
  1992.

  Investment Management Agreement

  Under the Investment Management Agreement among the Investment Manager, the Master Fund
  General Partner, the Feeder Funds and the Master Fund, the Investment Manager has agreed to
  provide investment management and distribution services to the Feeder Funds and the Master
  Fund in accordance with the investment objective and strategies of the Master Fund, and the
  selling restrictions, set forth above. The Directors have delegated the following list of authorities
  to the Investment Manager under the Investment Management Agreement (to be exercised in
  consultation with the Directors): (i) authority to approve the rescission of a request for voluntary
  redemption submitted by a Shareholder; (ii) authority to waive any applicable requirements and
  restrictions in relation to the redemption of Shares by any Shareholder; (iii) authority to waive
  certain eligibility requirements with respect to any new subscription for participating shares or the
  transfer of Shares; (iv) authority to waive any of the subscription requirements as set out in this
  Memorandum with respect to any new subscription for Shares; (v) authority to permit a
  Shareholder to redeem its Shares at any time in the event that continuing to hold the Shares
  becomes impractical or illegal, upon a Shareholder's death or total disability, or in order for a
  Shareholder to avoid materially adverse tax or regulatory consequences; (vi) authority to make in-
  kind distributions of Fund assets; (vii) authority to approve the establishment of reserves for
  contingencies and distribution holdbacks; (viii) authority to approve Side Letters; (ix) authority to
  accept subscriptions below the minimum subscription amount; and (x) authority to accept
  redemptions of Shares outside the frequency established by the Memorandum and Articles of the
  Fund.




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  Under the terms of the Investment Management Agreement, the Fund pays to the Investment
  Manager, for its services as Investment Manager, a quarterly “Management Fee” as described
  below.

  Management Fee for Series A Shares

  The Management Fee is an amount equal to 1.75% per annum of the Net Asset Value of each
  Series A Share. The Management Fee is calculated monthly based on the Net Asset Value of each
  Series A Share on the last day of each calendar month (before issuing new Series A Shares
  related to subscriptions made as of the first day of the immediately succeeding month and before
  redemptions, if any, made during such calendar month and before deduction of the Management
  Fee for such quarter) and is payable quarterly in arrears on the last day of each calendar quarter.
  The Management Fee is paid at the Master Fund level. The Master Fund will pay the
  Management Fee in U.S. Dollars promptly following the end of each calendar quarter. The
  Management Fee will be deducted in computing the net profit or net loss of the Fund attributed
  to the Series A Shares. In the event that the Investment Manager is not acting as Investment
  Manager for an entire calendar quarter, the Management Fee payable by the Master Fund for
  such calendar quarter will be prorated to reflect the portion of such calendar quarter in which the
  Investment Manager is acting as such under the Investment Management Agreement.

  The Master Fund General Partner or the Investment Manager may elect to reduce, waive or
  calculate differently the Management Fee with respect to any Shareholder. The Investment
  Manager may assign all or any portion of the Management Fee to any of its affiliates or any other
  person designated by the Investment Manager in its discretion.

  Management Fee for Series B Shares

  The Management Fee is an amount equal to 1.25% per annum of the Net Asset Value of each
  Series B Share. The Management Fee is calculated monthly based on the Net Asset Value of
  each Series B Share on the last day of each calendar month (before issuing new Series B Shares
  related to subscriptions made as of the first day of the immediately succeeding month and before
  redemptions, if any, made during such calendar month and before deduction of the Management
  Fee for such quarter) and is payable quarterly in arrears on the last day of each calendar quarter.
  The Management Fee is paid at the Master Fund level. The Master Fund will pay the
  Management Fee in U.S. Dollars promptly following the end of each calendar quarter. The
  Management Fee will be deducted in computing the net profit or net loss of the Fund attributed
  to the Series B Shares. In the event that the Investment Manager is not acting as Investment
  Manager for an entire calendar quarter, the Management Fee payable by the Master Fund for
  such calendar quarter will be prorated to reflect the portion of such calendar quarter in which the
  Investment Manager is acting as such under the Investment Management Agreement.

  The Master Fund General Partner or the Investment Manager may elect to reduce, waive or
  calculate differently the Management Fee with respect to any Shareholder. The Investment
  Manager may assign all or any portion of the Management Fee to any of its affiliates or any other
  person designated by the Investment Manager in its discretion.




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  Performance Allocation for Series A Shares

  Generally, as of the close of each fiscal quarter and subject to the limitations described below,
  the Performance Allocation is debited against each applicable Master Fund capital sub-account
  relating to a sub-series of Series A Shares attributable to a Shareholder and simultaneously
  credited to the Master Fund capital account of the Special Limited Partner. The Performance
  Allocation is calculated and allocated at the Master Fund level, but is effectively equal to 20.0%
  of the Net Capital Appreciation (as defined below) of each Series A Share for such fiscal quarter.

  The “Net Capital Appreciation” applicable to a Series A Share means the amount by which the
  Net Asset Value of such Series A Share on the last day of the fiscal quarter (or on the
  Redemption Day, if applicable) exceeds the higher of the following amounts: (i) the highest Net
  Asset Value of such Series A Share as of the commencement of any fiscal quarter and (ii) the
  issue price of such Series A Share (the amount set forth in clause (i) or clause (ii), whichever is
  higher, the “High Water Mark”). All such calculations include realized and unrealized gains and
  losses and are made before deduction of the Performance Allocation, but after deduction of the
  accrued applicable expenses of the Fund and the Master Fund for the applicable period, and in
  each case adjusted for any subscriptions and redemptions made during the quarter.

  Once the Performance Allocation is made to the Special Limited Partner, it will not be returned
  to the Master Fund if the Net Asset Value of the Series A Shares on which a Performance
  Allocation has previously been made subsequently declines. The Performance Allocation is
  allocated based on both realized and unrealized appreciation.

  Performance Allocation for Series B Shares

  Generally, as of the close of each fiscal quarter and subject to the limitations described below, the
  Performance Allocation is debited against each applicable Master Fund capital sub-account
  relating to a sub-series of Series B Shares attributable to a Shareholder and simultaneously
  credited to the Master Fund capital account of the Special Limited Partner. The Performance
  Allocation is calculated and allocated at the Master Fund level, but is effectively equal to 17.5%
  of the Net Capital Appreciation (as defined below) of each Series B Share for such fiscal quarter.

  The “Net Capital Appreciation” applicable to a Series B Share means the amount by which the
  Net Asset Value of such Series B Share on the last day of the fiscal quarter (or on the
  Redemption Day, if applicable) exceeds the higher of the following amounts: (i) the highest Net
  Asset Value of such Series B Share as of the commencement of any fiscal quarter and (ii) the
  issue price of such Series B Share (the amount set forth in clause (i) or clause (ii), whichever is
  higher, the “High Water Mark”). All such calculations include realized and unrealized gains and
  losses and are made before deduction of the Performance Allocation, but after deduction of the
  accrued applicable expenses of the Fund and the Master Fund for the applicable period, and in
  each case adjusted for any subscriptions and redemptions made during the quarter.

  Once the Performance Allocation is made to the Special Limited Partner, it will not be returned
  to the Master Fund if the Net Asset Value of the Series B Shares on which a Performance




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  Allocation has previously been made subsequently declines. The Performance Allocation is
  allocated based on both realized and unrealized appreciation.

  Performance Allocation – General

  The Special Limited Partner may assign all or any portion of the Performance Allocation to any
  of its affiliates or any other person designated by the Special Limited Partner in its discretion.

  The Performance Allocation is calculated and allocated at the Master Fund level through the use
  of separate memorandum sub-accounts with respect to the Fund’s capital account in the Master
  Fund that correspond to each sub-series of the relevant Series of Shares attributable to a
  Shareholder. No separate Performance Allocation will be charged at the Fund level.

  The Performance Allocation generally will be allocable to the Special Limited Partner after the
  end of each fiscal quarter and as of any Redemption Day occurring prior to the end of any fiscal
  quarter. The Performance Allocation allocated with respect to any Series of Shares redeemed
  prior to the end of a fiscal quarter will be determined solely by reference to such redeemed
  Shares and will be allocable to the Special Limited Partner on the Redemption Day. The
  Performance Allocation with respect to any Shareholder may be fully or partially waived or
  rebated by the Master Fund General Partner in its sole discretion.

  The Investment Management Agreement provides that, in the absence of gross negligence (as
  defined under the laws of the State of Delaware), willful misconduct or fraud, each of the
  Investment Manager, its members, shareholders, partners, managers, directors, any person who
  controls the Investment Manager, each of the respective affiliates of the foregoing, and each of
  their respective executors, heirs, assigns, successors and other legal representatives, will be
  indemnified by the Fund, the Domestic Fund and/or the Master Fund, to the extent permitted by
  law, against any loss or liability incurred by any of such persons in performing their duties under
  the Investment Management Agreement.

  The Investment Management Agreement is terminable upon the dissolution of any Feeder Fund or
  the Master Fund or by the holder of the management shares of the Fund upon at least 90 days’ prior
  notice.

  Services Agreement

  Under the Services Agreement between Highland Latin America and the Investment Manager,
  Highland Latin America has agreed to provide certain administrative and consulting services to
  the Investment Manager related to its management of the Fund, the Domestic Fund and the Master
  Fund. These services include: back- and middle-office services; credit analysis; investment vehicle
  management; valuation; execution and documentation; marketing; reporting; administrative
  services; and other ancillary services.

  The Services Agreement provides that in the absence of bad faith, gross negligence, fraud or
  willful misconduct (as determined by a court of competent jurisdiction in a final non-appealable
  judgment), the Investment Manager will, to the extent permitted by law, indemnify and hold



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  harmless Highland Latin America, any of its affiliates, and any of their respective managers,
  members, principals, partners, directors, officers, shareholders, employees and agents against any
  and all claims, demands, liabilities, costs, expenses, damages, losses, suits, proceedings,
  judgments, assessments, actions and other liabilities incurred by such person in performing their
  duties under the Services Agreement. The Fund will not be liable for any consulting services
  provided by Highland Latin America or any consultants or service providers that Highland Latin
  America engages, and the Fund will not bear any costs or expenses related to the services provided
  by Highland Latin America.

  The Services Agreement will terminate (i) automatically upon the dissolution of the Investment
  Manager or (ii) at the election of either the Investment Manager or Highland Latin America upon
  30 days’ notice to the other party.

  ADMINISTRATOR

  Pursuant to an administration agreement ("Administration Agreement"), the Master Fund has
  appointed MUFG Fund Services (Cayman) Limited as administrator of the Feeder Funds and the
  Master Fund (the “Administrator”).

  MUFG Fund Services is a leading, independent administrator for the alternative investment
  industry. The Administrator is a Cayman Islands company that is licensed as a Mutual Fund
  Administrator in the Cayman Islands. It is an indirect wholly owned subsidiary of MUFG Fund
  Services (Bermuda) Group Limited. The registered office of the Administrator is 2nd Floor
  Strathvale House, 90 North Church Street, P.O. Box 609, George Town, Grand Cayman KY1-
  1107, Cayman Islands.

  Pursuant to the Administration Agreement, the Administrator is responsible, under the overall
  supervision of the Master Fund General Partner, for certain matters pertaining to the
  administration for the Fund, including: (i) maintaining the accounts of the Fund and the Master
  Fund, (ii) calculating the Master Fund’s net asset value, (iii) maintaining the principal corporate
  records of the Fund and the Master Fund, (iv) communicating with Shareholders, (v) accepting
  the subscriptions of new Shareholders, (vi) making redemptions of Shares, (vii) maintaining the
  register of sub-fund investments, (viii) executing sub-fund subscriptions and redemptions as
  instructed by the Fund, and (ix) ensuring compliance with Cayman Islands law and regulation
  (including anti-money laundering regulations). For its services, the Administrator receives a fee
  from the Master Fund.

  The Administration Agreement is governed by the law of the Cayman Islands and is subject to
  termination by the Administrator or the Master Fund upon ninety (90) days’ written notice or,
  under certain circumstances, shorter notice. In such event, the Master Fund may enter into a new
  agreement with a new administrator on behalf of the Master Fund and the Feeder Funds, in its
  discretion and on such terms as it deems advisable, without prior notice to, or approval of,
  investors. Under the Administration Agreement, the Master Fund agrees to indemnify and hold
  harmless the Administrator and its affiliated persons and delegates, as well as their respective
  officers, directors, employees and agents for, and to defend and hold each such person harmless
  from, any and all taxes, claims, demands, actions, suits, judgments, liabilities, losses, damages,
  costs, charges, counsel fees (on a solicitor and his own client basis), fines, assessments, amounts


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  paid in settlement and expenses imposed on, incurred by, or asserted against the person which
  may arise out of or in connection with the Administration Agreement. The Administrator or any
  other indemnified person will not be indemnified for their own gross negligence, wilful default
  or fraud.

  The Administrator is not responsible for valuing the Master Fund’s investments, monitoring any
  investment restrictions of the Master Fund, determining compliance by the Master Fund with its
  investment restrictions, the Master Fund's trading activities, the management or performance of
  the Master Fund, or the accuracy or adequacy of this Memorandum. In addition, the
  Administrator does not assume any liability to any person or entity, including Shareholders,
  except as specifically provided in the Administration Agreement. The Administrator may
  delegate certain services and share information concerning the Fund and its Shareholders with its
  various non-United States affiliates subject to applicable confidentiality provisions.

  The Administrator has no responsibility with respect to trading activities, the Investment
  Manager, the management or performance of the Fund, or the accuracy or adequacy of
  this Memorandum.

  BROKERAGE AND CUSTODY

  Brokerage Arrangements

  The Investment Manager will be responsible for the placement of the portfolio transactions of the
  Master Fund and the negotiation of any commissions or spreads paid on such transactions.
  Portfolio transactions normally will be effected through brokers on securities exchanges or
  directly with the issuer, or through an underwriter, or market maker or other dealer for the
  investments. Portfolio transactions through brokers involve a commission to the broker.
  Portfolio transactions with dealers typically are priced to include a spread between the bid and
  the asked price to compensate the dealer. Portfolio transactions will be executed by brokers
  selected solely by the Investment Manager in its absolute discretion. The Investment Manager is
  not required to weigh any of these factors equally.

  Substantially all of the Master Fund’s investments in marketable securities, as well as its cash
  and cash equivalents, are expected to be held at Société Générale and BNP Paribas Prime
  Brokerage, Inc. or other prime brokers or custodians selected by the Investment Manager.
  Instruments not constituting marketable securities generally are recorded through book entry by
  the borrower or by an agent for the borrower or the creditors. Documentary evidence of the
  acquisition, ownership and disposition of these assets typically will be held by the Administrator.

  Société Générale and BNP Paribas Prime Brokerage, Inc. and other prime brokers or their
  affiliates may provide capital introduction or other placement services to the Fund and the
  Investment Manager (with or without separate charges for such other services). In determining
  which broker-dealer generally provides the best available price and most favorable execution, the
  Investment Manager considers a totality of circumstances, including price quotes, the size of the
  transaction, the nature of the market for the financial instrument, the timing of the transaction,
  difficulty of execution, the broker-dealer’s expertise in the specific financial instrument or sector
  in which the Master Fund seeks to trade, the extent to which the broker-dealer makes a market in


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  the financial instrument involved or has access to such markets, the broker-dealer’s skill in
  positioning the financial instruments involved, the broker-dealer’s promptness of execution, the
  broker-dealer’s financial stability, reputation for diligence, fairness and integrity, quality of
  service rendered by the broker-dealer in other transactions for the Investment Manager and its
  respective affiliates, confidentiality considerations, the quality and usefulness of research
  services and investment ideas presented by the broker-dealer, the broker-dealer’s willingness to
  correct errors, the broker-dealer’s ability to accommodate any special execution or order
  handling requirements that may surround the particular transaction, and other factors deemed
  appropriate by the Investment Manager. The Investment Manager need not solicit competitive
  bids and does not have an obligation to seek the lowest available commission cost or spread.

  Accordingly, if the Investment Manager concludes that the commissions charged by a broker or
  the spreads applied by a dealer are reasonable in relation to the quality of services rendered by
  such broker or dealer (including, without limitation, the value of the brokerage and research
  products or services provided by such broker or dealer), the Master Fund may pay commissions
  to, or be subject to spreads applied by, such broker-dealer in an amount greater than the amount
  another broker-dealer might charge or apply.

  The Investment Manager may also execute trades with brokers and dealers with whom the Fund,
  the Master Fund or the Investment Manager has other business relationships, including prime
  brokerage, credit relationships and capital introduction or investments by affiliates of the broker-
  dealers in the Fund or other entities managed by the Investment Manager. However, the
  Investment Manager does not believe that these other relationships will influence the choice of
  brokers and dealers who execute trades for the Master Fund.

  Research-related goods and services provided by brokers and dealers through which portfolio
  transactions for the Master Fund are executed, settled and cleared may include research reports
  on particular industries and companies, economic surveys and analyses, recommendations as to
  specific securities, certain research services, and other goods and services providing lawful and
  appropriate assistance to the Investment Manager in the performance of investment decision-
  making responsibilities on behalf of the Master Fund and related accounts (collectively, “soft
  dollar items”).

  Soft dollar items may be provided directly by brokers and dealers, by third parties at the
  direction of brokers and dealers or purchased on behalf of the Master Fund with credits or
  rebates provided by brokers and dealers. Soft dollar items may arise from over-the-counter
  principal transactions, as well as exchange traded agency transactions. Brokers and dealers
  sometimes suggest a level of business they would like to receive in return for the various services
  they provide. Actual business received by any broker or dealer may be less than the suggested
  allocations, but can (and often does) exceed the suggestions, because total transaction volume is
  allocated on the basis of all the considerations described above. A broker or dealer will not be
  excluded from executing transactions for the Master Fund because it has not been identified as
  providing soft dollar items.

  The use of commissions or “soft dollars” if any, generated by the Master Fund through agency
  and certain riskless principal transactions to pay for research and research-related products or



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  services, if any, will fall within the safe harbor created by Section 28(e) of the Securities
  Exchange Act of 1934, as amended. Under Section 28(e), research products or services obtained
  with soft dollars generated by the Master Fund may be used by the Investment Manager to
  service accounts other than the Master Fund. Soft dollars generated in respect of futures,
  currency and derivatives transactions and principal transactions (that are not riskless principal
  transactions) do not generally fall within the safe harbor created by Section 28(e) and will be
  utilized only with respect to research-related products and services for the benefit of the account
  generating such soft dollars.

  Research and brokerage products and services may be used by the Investment Manager in
  servicing some or all of the Investment Manager’s clients. In addition, some research and
  brokerage may not be used by the Investment Manager in servicing the clients whose
  commission dollars provided for the research or brokerage. Clients may not, in any particular
  instance, be the direct or indirect beneficiaries of the research or brokerage provided. Certain
  clients, who are the beneficiaries of research or brokerage, may have an investment style which
  results in the generation of a small amount of brokerage commissions due to a lack of active
  trading for their accounts. As a result, clients who generate sizeable commissions subsidize
  research or brokerage provided to clients whose accounts generate minimal brokerage
  commissions since the commission dollars generated by transactions for such clients are not
  sufficient to pay for research or brokerage that may be received by such clients from other
  brokers.

  In selecting broker-dealers on the basis of the foregoing factors, the Investment Manager may
  pay a brokerage commission in excess of that which another broker might have charged for
  effecting the same transaction. In connection therewith, the Investment Manager will make a
  good faith determination that the amount of commission is reasonable in relation to the value of
  the research or brokerage services received, viewed in terms of either the specific transaction or
  the Investment Manager’s overall responsibility to its clients. The Investment Manager will
  regularly evaluate the placement of brokerage services and the reasonableness of commissions
  paid. Research received from brokers will be supplemental to the Investment Manager’s own
  research efforts. While the receipt of research will not reduce the Investment Manager’s normal
  research activities, the Investment Manager’s expenses could increase materially if it attempted
  to generate such additional research or brokerage services through its own staff, and the
  Management Fee will not be reduced as a consequence of the receipt of such research or
  brokerage services or products. As such, the Investment Manager’s arrangements for the receipt
  of research and brokerage services from brokers may create a conflict of interest, in that the
  Investment Manager may have an incentive to choose a broker-dealer that provides research and
  brokerage services, instead of one that does not but charges a lower commission rate. In some
  instances, the Investment Manager receives products and services that may be used for both
  research and non-research purposes. In such instances, the Investment Manager will make a
  good faith effort to determine the relative proportion of the products and services used to assist
  the Investment Manager in carrying out its investment decision-making responsibilities or order
  execution, including research and brokerage, and the relative proportion used for administrative
  or other non-research purposes. The proportionate amount of the research attributable to
  assisting the Investment Manager in carrying out its investment decision-making responsibilities
  or order execution will be paid through brokerage commissions generated by the Master Fund’s



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  and other client’s transactions; the proportionate amount attributable to administrative or other
  non-research purposes will be paid for by the Investment Manager from its own resources. The
  receipt of “mixed-use” research and the determination of the appropriate allocation may result in
  a potential conflict of interest between the Investment Manager and its clients, including the
  Master Fund.

  Custody

  The majority of the Master Fund’s securities are held in the custody of its prime brokers. The
  Master Fund is eligible for insurance coverage against loss with respect to assets held in the
  custody of the prime brokers in the event of the bankruptcy or liquidation of either of the prime
  brokers to the same extent as that broker’s other customers. The Master Fund’s and the Fund’s
  cash may be held at banks as well as the prime brokers. Ownership interests which are not
  represented by certificates generally will be recorded through book-entry systems maintained by
  the issuer or its agent, and the underlying documentation relating to the acquisition and
  disposition of these assets for the account of the Master Fund will be held at the business offices
  of the Investment Manager.

  PAYMENTS TO SERVICE PROVIDERS OF THE FUND

  The Investment Manager may pay (or cause to be paid) fees to persons (whether or not affiliated
  with the Investment Manager) who are instrumental in the sale of Shares in the Fund. Any such
  fees will in no event be payable by or chargeable to the Fund or any Shareholder or prospective
  Shareholder.

  EXPENSES

  Operating Expenses

  The Fund will bear all costs, fees and expenses arising in connection with the Fund’s operations.
  The Fund also bears its pro rata share of the cost of the Master Fund’s operations and
  investments as provided in the Master Fund Partnership Agreement. Expenses payable by the
  Fund in connection with the Master Fund’s investment program, include, but are not limited to,
  brokerage commissions, other expenses related to buying and selling securities (including trading
  errors that are not the result of the Investment Manager’s gross negligence (as such term is
  defined and interpreted in accordance with the laws of the State of Delaware), willful misconduct
  or fraud), costs of due diligence regardless of whether a particular transaction is consummated,
  the costs of attending shareholder meetings, research expenses, and costs related to monitoring
  investments (collectively, the “investment-related expenses”). Expenses payable by the Fund in
  connection with its operations include, but are not limited to, fees and expenses of advisers and
  consultants; the Management Fee; fees and expenses of any custodians, escrow or transfer agents
  or other investment-related service providers; indemnification expenses and the cost of insurance
  against potential indemnification liabilities; interest and other borrowing expenses; legal,
  administrative, accounting, tax, audit and insurance expenses; expenses of preparing and
  distributing reports, financial statements and notices to Shareholders; litigation or other
  extraordinary expenses; any withholding, transfer or other taxes payable by the Fund (including



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  any interest and penalties); and the cost of periodically updating the Memorandum. The Fund
  will not bear any placement agent fees.

  If the Master Fund General Partner or the Investment Manager, as appropriate, incurs any
  expenses for both the Master Fund and one or more Other Accounts (as defined below), the
  Master Fund General Partner or the Investment Manager, as appropriate, will allocate such
  expenses among the Master Fund and each such Other Account in proportion to the size of the
  investment made by each in the activity or entity to which the expenses relate, or in such other
  manner as the Master General Partner considers fair and reasonable.

  “Other Account” means any assets or investment of the Master Fund General Partner or the
  Investment Manager, or any assets managed by the Master Fund General Partner, the Investment
  Manager or any of their respective affiliates for the account of any person or entity (including
  investment vehicles) other than the Master Fund, which are invested or which are available for
  investment in securities or other instruments or for trading activities whether or not of the
  specific type being conducted by the Master Fund.




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                   DESCRIPTION OF THE FUND’S SHARES

  GENERAL

  The authorized share capital of the Fund is US$50,000 divided into 100 Management Shares and
  4,999,900 Shares, which may be issued in Series. Subject to the provisions of the Articles, the
  unissued Shares of the Fund are under the control of the Directors who may issue, allot and
  dispose of or grant options over them to such persons, or on such terms and in such manner as
  they may think fit and no member has any pre-emptive right to purchase such Shares.

  MANAGEMENT SHARES

  100 Management Shares are in issue, fully paid and held by the Investment Manager. The
  Management Shares are not transferable without the prior written consent of the Directors, who
  do not intend to give such consent except in respect of transfers to affiliates of the Investment
  Manager. The Management Shares have the entire voting power of the Fund except on a
  variation of rights issue. However, they do not entitle the holder to participate in the Fund’s
  profits and losses and they are not redeemable. Upon the winding up of the Fund, the holders of
  Management Shares are entitled to receive their paid in capital of US$0.01 per Management
  Share.

  SHARES

  The holders of the Shares have no right to receive notice of or to attend or to vote at general
  meetings of the Fund and have no other voting rights (except on a variation of rights issue – see
  the Section below entitled “Rights of Shareholders”) but they are entitled to receive, to the
  exclusion of the holders of the Management Shares, any dividends that may be declared by the
  Fund and, upon the winding up of the Fund, the full amount of the assets of the Fund available
  for the distribution (after all debts and liabilities of the Fund have been paid) will be distributed
  to registered holders of Shares other than the paid in capital in respect of the Management Shares
  of US$0.01 per Management Share. Shares, when issued, will be fully paid. Within each Series,
  all Shares (excluding Management Shares) of the Fund have equal dividend, distribution and
  liquidation rights.

  Any dividend which cannot be paid to a Shareholder and/or which remains unclaimed after six
  months from the date of declaration of such dividend may, in the discretion of the Directors, be
  paid into a separate account in the Fund's name, provided that the Fund shall not be constituted
  as a trustee in respect of that account and the dividend shall remain as a debt due to the
  Shareholder. Any dividend which remains unclaimed after a period of six years from the date of
  declaration of such dividend shall be forfeited and shall revert to the Fund.

  The issue of the Series A Shares was authorized by resolution of the Directors passed on May 22,
  2006. The Series A Shares each have a par value of US$0.01 per share and carry identical rights.


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  The issue of the Series B Shares was authorized by resolution of the Directors passed on
  February 28, 2013. The Series B Shares each have a par value of US$0.01 per share and carry
  identical rights.

  The Directors may designate further Series of Shares in the future that will be attributable to the
  single underlying portfolio of the Fund (held through the Master Fund). Each additional Series
  of Shares may be offered on different terms from the Shares being offered pursuant to this
  Memorandum (including the offering of Shares in a different currency) and any additional Series
  of Shares may rank in priority to, or equally with, the outstanding Series of Shares, but within
  each new Series, all Shares will have equal dividend, distribution and liquidation rights.
  Additionally, the Fund may, for administrative convenience, issue sub-series of Shares, and in
  this Memorandum, unless the context requires otherwise, references in this Memorandum to the
  term “Series” shall include any sub-series derived from that Series.

  RECORDS

  The Fund shall establish in its books a separate record with its own distinct designation for each
  Series of Shares. The proceeds from the allotment and issue of each Series of Shares shall be
  applied in the books of the Fund to the record established for that Series of Shares. The assets,
  profits, gains, income and liabilities, losses and expenses attributable to a particular Series shall
  be applied to the record relating to such Series at the end of each fiscal period – see the Section
  headed “Financial Information and Reports – Fiscal Periods” below.

  RIGHTS OF SHAREHOLDERS

  All shareholders are entitled to the benefit of, are bound by and are deemed to have notice of the
  provisions of the Memorandum and Articles of the Fund.

  Under the terms of the Fund’s Memorandum of Association and Articles, the liability of the
  Shareholders is limited to any amount unpaid on their Shares. As the Shares can only be issued
  if they are fully paid, the Shareholders will not be liable for any debt, obligation or default of the
  Fund beyond their interest in the Fund.

  The Fund’s objects are set out in clause 3 of its Memorandum of Association and are
  unrestricted.

  The Fund’s Articles have been drafted in broad and flexible terms to allow the Directors the
  authority to, in their discretion, determine a number of issues including the period of notice to be
  given for redemptions and whether or not to charge subscription or redemption fees, generally or
  in any particular case. In approving the offering of Shares on the terms set out in this
  Memorandum, the Directors have exercised a number of these discretions in accordance with the
  Fund’s Articles.

  As an exempted company, the Fund is not required to hold scheduled annual general meetings of
  Shareholders. General meetings of the holders of Management Shares may be called by the
  Directors and will be called at the request of the holders of Management Shares holding a simple


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  majority of the outstanding Management Shares in issue. All meetings of the holders of
  Management Shares will be held in the Cayman Islands, or such other location as the Directors
  will determine. All meetings of the holders of Management Shares require 7 days' prior notice.
  Notice may be sent by hand, mail, fax or email, or alternatively, where the recipient has agreed,
  by posting the notice on a secure nominated web-site.

  Except where a Special Resolution is otherwise required by the Companies Law, all decisions of
  the holders of Management Shares will be made by an Ordinary Resolution, provided that a
  quorum of the holders of one-third of the Management Shares is present by proxy or in person at
  the meeting. Any matter referred to herein may also be adopted by resolution in writing of all
  the holders of Management Shares.

  The rights attaching to any Series of Shares may, whether or not the Fund is being wound up, be
  varied with the consent in writing of the holders of two-thirds of the issued Shares of that Series,
  or with the sanction of a resolution passed by a two-thirds majority of the holders of the issued
  Shares of that Series, at a separate meeting of the holders of the Shares of that Series.

  Any Series of Shares may be converted into a different Series of Shares with the consent in
  writing of the holders of two-thirds of the issued Shares of that Series, or with the sanction of a
  resolution passed by a two-thirds majority of the holders of the issued Shares of that Series, at a
  separate meeting of the holders of the Shares of that Series.

  Further, subject to and in so far as permitted by the provisions of the Companies Law, the Fund
  may from time to time by Ordinary Resolution alter or amend its memorandum of association to:
  increase its share capital by such sum as the resolution shall prescribe and with such rights,
  priorities and privileges annexed thereto as set out in such Ordinary Resolution; consolidate and
  divide all or any of its share capital into shares of larger amounts than its existing shares; convert
  all or any of its paid-up shares into stock and reconvert that stock into paid-up shares of any
  denomination; sub-divide its existing shares, or any of them, into shares of smaller amounts than
  is fixed by the Memorandum; and cancel any shares which, at the date of the passing of the
  resolution, have not been taken or agreed to be taken by any person, and diminish the amount of
  its share capital by the amount of the shares so cancelled.

  The Shares have no conversion or pre-emptive rights. All Shares of the Fund, when duly issued,
  will be fully paid and non-assessable.

  From time to time, the Fund, by an Ordinary Resolution, may increase its authorized share
  capital in order to have a substantial number of Shares available at all times for issuance.

  The Memorandum of Association and the Articles may be amended, and the Fund may be wound
  up at any time, upon the passing of a Special Resolution by the holders of the Management
  Shares.




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  SUBSCRIPTION, REDEMPTION AND TRANSFER OF SHARES

  SUBSCRIPTION FOR SHARES

  Offering of Shares

  The Fund is conducting an offering of its Series A Shares and Series B Shares to a limited
  number of experienced and sophisticated investors who are Eligible Investors. The purchase of
  Series A Shares and Series B Shares is not open to the general public and Series A Shares and
  Series B Shares will be privately offered only to Eligible Investors. The description of an
  Eligible Investor is set forth in the Subscription Documents.

  The minimum initial and subsequent investment for the Series A Shares and Series B Shares is
  US$500,000 or, in each case, such other amount as the Investment Manager may in its sole
  discretion determine in respect of a particular Shareholder or group of Shareholders, subject to
  the Listing Rules of the Exchange but not below US$100,000 in respect of Series B Shares.

  The Series A Shares are to be listed on the Exchange by way of an offer for subscription.

  The Fund has not applied for the Series B Shares to be admitted to: (i) the Official List of The
  International Stock Exchange; or (ii) listing on any other stock exchange, and no such
  application is proposed or expected to be made.

  Offer Price, Initial and Subsequent Issuance

  The Series A Shares and Series B Shares offered pursuant to this Memorandum are available for
  issue to Eligible Investors at a Subscription Price based on the Net Asset Value per Share of such
  Series on the Valuation Day that occurs after the Subscription Documents are received and
  approved by the Fund and immediately preceding the relevant Subscription Day, as calculated in
  accordance with the Articles and described herein.

  Shares will be issued on each Subscription Day at the Directors’ sole discretion. Applications for
  Shares must be received by 5 pm (Cayman Islands time) no later than the first Business Day
  before each Subscription Day and payment for such subscriptions (inclusive of any initial
  charge) must be received by the Administrator in cleared funds in U.S. Dollars at least no later
  than the Business Day before each Subscription Day in order for Shares to be issued on such
  Subscription Day. If any application or payment is received late it will be dealt with on the next
  Subscription Day.




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  Payment

  Payment for Shares must be made in cash by electronic transfer, net of bank charges, and is due
  in cleared funds in U.S. Dollars. Payment must be sent to the bank details noted on the
  Subscription Documents.

  The Directors may however accept subscriptions in kind. No subscriptions in kind will be
  accepted unless the Directors are satisfied that:

  (i)    the investments to be transferred are valued in accordance with the valuation provisions
         set out in the Articles and summarized herein; and

  (ii)   the terms of any such transfer shall not materially prejudice the remaining Shareholders.

  In the event that subscription monies are received in any currency other than U.S. Dollars,
  conversion into U.S. Dollars will be arranged by the Administrator at the risk and expense of the
  applicant. Any bank charges in respect of electronic transfers will be deducted from
  subscriptions and the net amount only invested in Shares.

  Prevention of Money Laundering

   In order to comply with legislation or regulations aimed at the prevention of money laundering,
  the Fund is required to adopt and maintain anti-money laundering procedures, and may require
  subscribers to provide evidence to verify their identity and source of funds. Where permitted,
  and subject to certain conditions, the Fund may also delegate the maintenance of its anti-money
  laundering procedures (including the acquisition of due diligence information) to a suitable
  person.

  The Fund, and the Administrator on the Fund's behalf, reserve the right to request such
  information as is necessary to verify the identity of a Shareholder (i.e. a subscriber or a
  transferee). Where the circumstances permit, the Fund, or the Administrator on the Fund's
  behalf, may be satisfied that full due diligence may not be required where an exemption applies
  under the Money Laundering Regulations (Revised) of the Cayman Islands, as amended and
  revised from time to time or any other applicable law.

  In the event of delay or failure on the part of the subscriber in producing any information
  required for verification purposes, the Fund, or the Administrator on the Fund's behalf, may
  refuse to accept the application, in which case any funds received will be returned without
  interest to the account from which they were originally debited.

  The Fund, and the Administrator on the Fund's behalf, also reserve the right to refuse to make
  any redemption or dividend payment to a Shareholder if the Directors or the Administrator
  suspect or are advised that the payment of redemption or dividend proceeds to such Shareholder
  may be non-compliant with applicable laws or regulations, or if such refusal is considered
  necessary or appropriate to ensure the compliance by the Fund or the Administrator with any
  applicable laws or regulations.



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  If any person resident in the Cayman Islands knows or suspects or has reasonable grounds for
  knowing or suspecting that another person is engaged in criminal conduct or money laundering
  or is involved with terrorism or terrorist financing and property and the information for that
  knowledge or suspicion came to their attention in the course of business in the regulated sector,
  or other trade, profession, business or employment, the person will be required to report such
  knowledge or suspicion to (i) the Financial Reporting Authority of the Cayman Islands, pursuant
  to the Proceeds of Crime Law (Revised) of the Cayman Islands if the disclosure relates to
  criminal conduct or money laundering, or (ii) a police officer of the rank of constable or higher,
  or the Financial Reporting Authority, pursuant to the Terrorism Law (Revised) of the Cayman
  Islands, if the disclosure relates to involvement with terrorism or terrorist financing and property.
  Such a report shall not be treated as a breach of confidence or of any restriction upon the
  disclosure of information imposed by any enactment or otherwise.

  Procedure for the Purchase of Shares

  Applications are subject to the terms of this Memorandum, the Memorandum of Association and
  Articles of the Fund, the accompanying Subscription Documents and the Master Fund
  Partnership Agreement.

  Only Eligible Investors may subscribe for Shares. Shares may only be issued in the names of
  companies, partnerships or individuals. Further, Shares purchased for those under 18 years of
  age must be registered in the name of the parent or legal guardian.

  Application must be made in the form of the accompanying Subscription Documents, which
  should be sent to the Administrator at the address or facsimile number set forth in the
  Subscription Documents.

  Where applications are made by facsimile, the original written form should be forwarded without
  delay to the Administrator. Shares will not be issued until the original Subscription Documents
  and all other relevant due diligence documents have been received by the Administrator.

  Shares will be issued to two decimal places and any smaller fractions of a Share that would
  otherwise arise will be rounded down, with the relevant subscription monies being retained for
  the benefit of the Fund.

  Any application may be rejected or scaled down in the absolute discretion of the Directors.
  Where applications are scaled down or rejected, subscription monies received by the Fund will
  be returned to the account from where the monies were initially remitted, without interest.

  Form of Shareholding

  Shares will be held in registered form. Share certificates will generally not be issued nor will
  any other documentation be issued, other than confirmation notices. Confirmation notices will
  include a Shareholder Identification number and details of the Shares that have been allotted.
  However, confirmation notices will be sent to subscribers only after approval of their



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  Subscription Documents and satisfactory completion of due diligence. Share certificates will
  only be issued if an investor can demonstrate to the Directors or any authorised agent of the Fund
  that he is legally required to hold certificated shares. Certificates will be issued in registered
  form only. If a valid request for share certificates is made, certificates representing Shares will
  normally be dispatched at the applicant’s risk within 28 days to the address specified in the
  Subscription Documents. Temporary certificates of title will not be issued.

  REDEMPTION OF SHARES

  General

  Series A Shares and Series B Shares may be redeemed on any Redemption Day at the
  Redemption Price; provided that partial redemptions may be made only in minimum amounts of
  US$100,000.

  If a holder of Series A Shares or Series B Shares requests a redemption that would cause its total
  investment in the Series A Shares or Series B Shares to fall below a minimum of US$100,000,
  such shareholder will be required by the Investment Manager to redeem all of its Series A Shares
  or Series B Shares.

  Shareholders wishing to redeem their Series A Shares or Series B Shares should deliver an
  executed Redemption Request to the Administrator, at the address specified in the Redemption
  Request. The completed Redemption Request must be actually received by the Administrator no
  later than the 30th calendar day before the Redemption Day on which the redemption is to be
  effected, and if received thereafter will be held over and dealt with on the next Redemption Day.
  The Directors may provide for a redemption notice period of less than 30 calendar days in a
  particular case or generally if, in their discretion, they determine that, under the circumstances, to
  waive such requirement will not have an adverse effect on the Master Fund’s portfolio. In no
  event, however, will redemption requests be accepted for processing as of a particular
  Redemption Day if the Redemption Form is received by the Administrator after 5 pm (Cayman
  Islands time) on such Redemption Day.

  The Redemption Request may be delivered to the Administrator by facsimile, so long as the
  original Redemption Request is immediately forwarded to the Administrator. None of the Fund,
  the Directors, the Administrator or any other agents of the Fund accepts any responsibility for
  any errors in facsimile transmissions. Where a Redemption Request is forwarded by facsimile,
  no redemption proceeds will be paid to the Shareholder until the original Redemption Request
  for the Shares being redeemed has been received by the Administrator.

  Cayman Islands law imposes certain restrictions on the redemption of Shares, particularly where
  the Fund is not funding such redemption out of profits or the proceeds of fresh issues of Shares
  made for the purposes of redemption. In particular, any redemption payment out of capital will
  only be possible if the Fund remains able to pay its debts as they fall due in the ordinary course
  of business after such redemption payment is made out of capital.

  The Fund, or the Administrator on its behalf, also reserves the right to refuse to make any
  redemption payment or distribution to a Shareholder if any of the Directors of the Fund or the


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  Administrator suspects or is advised that the payment of any redemption or distribution moneys
  to such Shareholder might result in a breach or violation of any applicable anti-money laundering
  or other laws or regulations by any person in any relevant jurisdiction, or such refusal is
  considered necessary or appropriate to ensure the compliance by the Fund, its Directors or the
  Administrator with any such laws or regulations in any relevant jurisdiction.

  Once given, a Redemption Request may not be revoked by the Shareholder save where
  determination of the Net Asset Value is suspended by the Directors in the circumstances set out
  below or except as otherwise agreed by the Directors.

  Notwithstanding anything herein to the contrary, the Special Limited Partner may, unless
  prohibited by law, make withdrawals of all or any part of its Performance Allocation and gains
  thereon from its capital account in the Master Fund as of any Redemption Day.

  On giving at least 30 calendar days’ notice to Shareholders, the Directors may amend the
  frequency of redemptions, provided that such change shall only take effect following the
  Redemption Day next succeeding such notice.

  Should any violation of any of the Master Fund’s investment limitations fail to be remedied on or
  before the Remedy Date, any Shareholder may redeem all or part of its Shares on the next
  Redemption Day and will not be subject to any early redemption fee, provided that such
  Shareholder has requested such a redemption in writing within 30 Business Days after the
  Remedy Date. See “Investment Restrictions.”

  Soft Lock-Up Period and Early Redemption Fee

  Any Shareholder who redeems Series B Shares prior to the first anniversary of its purchase of
  such Series B Shares may be assessed an early redemption fee of up to 3% of the Net Asset Value
  per Series B Share prevailing at the close of business of such Redemption Day, payable to the
  Fund. For purposes hereof, an anniversary shall occur on the 365th consecutive day (counting the
  closing date as the first day) or, if such 365th day is not a Business Day, the immediately
  preceding Business Day.

  Redemption Proceeds

  At redemption, Shareholders will be paid the Redemption Price, which is calculated in
  accordance with the Articles and is based on the Net Asset Value per Share on the applicable
  Redemption Day.

  The Redemption Price will be paid in U.S. Dollars by electronic transfer at the request and
  expense of the redeeming Shareholder usually within 10 Business Days of the relevant
  Redemption Day.

  The Fund aims to effect the payment of all redemption proceeds in cash. However, the Directors
  under circumstances of low liquidity or adverse market conditions may elect to effect the
  payment of the redemptions in assets of the Fund (received from the Master Fund). No
  Investment will be transferred to a Shareholder unless the Directors are satisfied that:


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     (i)     the value of the investments to be transferred, calculated in accordance with the
             valuation provisions set out in the Articles and summarized herein, is equal to and
             does not exceed the Net Asset Value of the Shares to be redeemed less all fiscal duties
             and charges arising in connection with the vesting of such Investments in the
             Shareholder; and

     (ii)    the terms of any such transfer do not materially prejudice the interests of the
             remaining Shareholders.

  Investments may be transferred directly to the redeeming Shareholder or may be transferred to a
  liquidating account and sold by the Fund for the benefit of the redeeming Shareholder, in which
  case payment of that proportion of the Redemption Price attributable to such investments will be
  delayed until such Investments are sold and the amount payable in respect of such Investments
  will depend on the performance of such Investments through to the date on which they are sold.
  The cost of operating the liquidating account and selling the Investment(s) will be deducted from
  the proceeds of sale paid to the redeeming Shareholder.

  Compulsory Redemption

  Shareholders are required to notify the Fund and the Administrator immediately in the event that
  they cease to be Eligible Investors whereupon they may be required to, and the Fund shall be
  entitled to redeem their Shares at the Net Asset Value per Share as at the next Redemption Day
  succeeding the date of such notification. The Fund reserves the right to redeem any Shares that
  are or become owned, directly or indirectly, by or for the benefit of any person who is not an
  Eligible Investor.

  Further, the Fund shall be entitled, with or without cause, by notice in writing to the
  Shareholders being redeemed, to redeem all or any Shares on any day designated by the
  Directors, provided that any such Redemption Day shall be not less than 7 days from the date of
  such notice (or immediately if the Fund, in its sole discretion, determines that such Shareholder’s
  continued investment in the Fund may cause the Fund, the Master Fund, the Master Fund
  General Partner or the Investment Manager to violate any applicable law).

  For the avoidance of doubt, no early redemption fee will apply in the event of a compulsory
  redemption.

  DETERMINATION OF NET ASSET VALUE

  The Net Asset Value of each Series and the Net Asset Value per Share will be calculated, based
  on the calculation of the Master Fund’s assets, by the Administrator as of the close of business on
  each Valuation Day in accordance with the valuation policies of the Investment Manager in
  effect from time to time, as summarized below, a copy of which will be made available upon
  request. The Net Asset Value of a Share of the relevant Series will be calculated by dividing the
  assets of the Fund attributable to the Series to which such Share belongs, less the liabilities
  attributable to such Series, by the number of Shares of such Series in issue.



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  The value of the assets of the Fund will be determined on the accrual basis of accounting using
  IFRS (except for amortization of organizational costs) as a guideline, unless otherwise deemed
  appropriate in the discretion of the Directors, and in accordance with the principles set out in the
  Articles and summarized below.

  Assets

  The assets of the Fund shall be deemed to include, without limitation, (1) all cash on hand or on
  deposit, including any interest accrued thereon, (2) all bills and demand notes and accounts
  receivable (including proceeds of investments and other assets sold but not delivered), (3) all
  investments and other assets owned or contracted for by the Fund (through the Master Fund), (4)
  all dividends and distributions payable in stock, cash or other property receivable by the Fund
  (through the Master Fund), provided that the Administrator may make adjustments with respect
  to fluctuations in the market value of investments caused by trading ex-dividend or ex-rights or
  by similar practices, (5) all interest accrued on any interest-bearing instruments owned by the
  Fund (through the Master Fund), except to the extent that the same is included or reflected in the
  valuation of such instruments, and (6) all other assets of every kind and nature, including prepaid
  expenses (it being understood that goodwill shall be deemed to have no value).

  Liabilities

  The liabilities of the Fund shall be deemed to include, without limitation, (1) all loans, bills and
  accounts payable, (2) all accrued or payable expenses and fees chargeable to the Fund including
  dividends declared but unpaid and amortized organizational expenses (provided that expenses of
  a regular or recurring nature may be calculated on an estimated figure for yearly or other periods
  in advance and accrued over any such period) and accrued Management Fees and Performance
  Allocations (each borne at the Master Fund level), (3) its pro rata portion of gross acquisition
  cost of Investments and other property contracted to be purchased by the Master Fund, (4) such
  sum (if any) as the Directors consider appropriate to allow for brokerage, stamp duty and any
  other governmental tax or charges, (5) dividends declared on the Shares, but not yet paid, and (6)
  all other liabilities, including unknown or unfixed contingencies and such reserves as the
  Directors may reasonably deem advisable.

  Valuations

  Positions in Investments held by the Master Fund shall be valued in accordance with the
  valuation policies of the Investment Manager, as amended from time to time, a copy of which
  will be provided upon request.

  Values of assets expressed in a currency other than U.S. Dollars will be converted into U.S.
  Dollars at the latest available exchange rate.

  The Administrator will notify the Exchange, immediately upon calculation, of the Net Asset
  Value per Share on each Valuation Day.




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  TEMPORARY SUSPENSION OF DEALINGS

  The Directors may, at any time, suspend (i) the calculation of Net Asset Value of the Shares (and
  the applicable Valuation Day); (ii) the issuance of Shares; (iii) the redemption by Shareholders of
  Shares (and the applicable Redemption Day); and/or (iv) the payment of redemption proceeds
  (even if the Valuation Days and Redemption Days are not postponed) (each, a “Suspension”)
  during any period which:

  (a)    any stock exchange on which a substantial part of Investments owned by the Fund
         (through the Master Fund) are traded is closed, other than for ordinary holidays, or
         dealings thereon are restricted or suspended;

  (b)    there exists any state of affairs as a result of which (i) disposal of a substantial part of the
         Investments owned by the Fund (through the Master Fund) would not be reasonably
         practicable and might seriously prejudice the Shareholders or (ii) it is not reasonably
         practicable for the Fund fairly to determine the value of its net assets;

  (c)    none of the Redemption Requests which have been made may lawfully be satisfied by the
         Fund in U.S. Dollars;

  (d)    there is a breakdown in the means of communication normally employed in determining
         the prices of a substantial part of the Investments of the Fund (through the Master Fund);

  (e)    in the sole discretion of the Directors, it is necessary to preserve the Fund’s assets; or

  (f)    automatically upon any suspension of withdrawals by the Master Fund for similar
         reasons.

  During such period, the valuation, sale, purchase and redemption of Shares will be suspended.
  The Administrator will promptly notify each Shareholder who has submitted a Redemption
  Request and to whom payment in full of the amount being redeemed has not yet been remitted of
  any Suspension of redemptions or Suspension of the payment of redemption proceeds. Any
  remaining amount of a Redemption Request that is not satisfied due to such a Suspension
  remains at risk as per other amounts invested in the Fund and subject to the applicable
  Management Fee until such amount is finally and fully withdrawn. Such Shareholders will not
  be given any priority with respect to the redemption of Shares after the cause for such
  Suspension or limitation ceases to exist. The Directors may in their sole discretion, however,
  permit such Shareholders to withdraw their Redemption Requests to the extent that the relevant
  Redemption Day has not yet passed. For the avoidance of doubt, where a Suspension of the
  payment of redemption proceeds is declared between the relevant Redemption Day and the
  remittance of such payment proceeds, affected Shareholders shall not have any right to withdraw
  their Redemption Requests. Upon the reasonable determination by the Directors that conditions
  leading to a Suspension no longer apply, the Administrator will notify the Shareholders of the
  end of the Suspension. At such time, any such suspended payments shall generally be paid in
  accordance with the normal process for making such payments, redemption rights shall be
  promptly reinstated and any pending Redemption Requests which were not withdrawn (or new,



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  timely Redemption Requests) will be effected as of the first Redemption Day following the
  removal of the Suspension, subject to the foregoing restrictions on redemptions.

  In addition, the Directors have the right to postpone the calculation of the Net Asset Value date
  up to one Business Day without the requirement to give notice to Shareholders when, in the
  opinion of the Directors, a significant proportion of the assets (which is five percent or more) of
  the Fund cannot be valued on an equitable basis and such difficulty is expected by the Directors
  to be overcome within that period.

  TRANSFER OF SHARES

  Shares may not be transferred without the prior written consent of the Directors, which consent
  may be withheld by the Directors in their absolute discretion. Furthermore, transfers of Shares
  may only be conducted in accordance with the anti-money laundering policies and procedures of
  the Administrator. A transferee will be required to complete the Subscription Documents and
  will be subject to the requirements set forth for Eligible Investors in the Fund.




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                FINANCIAL INFORMATION AND REPORTS

  FISCAL YEAR

  The fiscal year of the Fund ends on December 31 of each year.

  FISCAL PERIODS

  Since Shares may be issued and redeemed, and dividends may be declared on Shares, during the
  course of a fiscal year, the Fund’s Articles of Association provide for fiscal periods, which are
  portions of a fiscal year, for the purpose of allocating net profits and net losses to the records
  maintained for each Series. A new fiscal period will commence on the date next following the
  date of any redemption of Shares, the date of any issuance of Shares and the date established by
  the Directors for determining the record ownership of Shares of any Series for the payment of
  dividends, and the prior fiscal period will terminate on the date immediately preceding the first
  day of a new fiscal period.

  FINANCIAL STATEMENTS

  The Fund's financial statements will be prepared using IFRS as a guideline, unless otherwise
  deemed appropriate in the sole discretion of the Directors. The books and records of the Fund
  will be audited at the end of each fiscal year by auditors selected by the Directors.

  As a regulated mutual fund, the Fund is required to file copies of its audited financial statements
  with the Monetary Authority within 180 days of the end of each financial year.

  AUDITORS

  PricewaterhouseCoopers LLP are the auditors for the Fund and have consented in writing to their
  appointment as auditors of the Fund and to all references to them as such in this Memorandum.
  The Directors may replace the auditors without prior notice to the Shareholders.

  REPORTS TO SHAREHOLDERS

  Each year, Shareholders will be sent audited financial statements of the Fund within 120 days of
  the end of the year (or as soon as practicable thereafter) including a statement of profit or loss for
  such fiscal year and of an unaudited status of such Shareholder's holdings in the Fund at such
  time. Shareholders will also receive, upon making a request to the Administrator, copies of
  semi-annual financial statements of the Fund. In addition, the Net Asset Value of the Fund's
  listed Shares will be notified to the Exchange monthly and these net asset valuations are
  available to subscribers to the Reuters network.




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                                           TAXATION

  GENERAL

  The following is a general discussion of certain of the anticipated income tax considerations
  relevant to Non-U.S. Shareholders (as defined below) and to certain Tax-Exempt U.S.
  Shareholders (as defined below) arising from the purchase, ownership and disposition of Shares.
  Prospective investors should consult their own tax advisors to determine the application and
  effect of tax laws with respect to their own particular circumstances. This discussion is based on
  the U.S. Internal Revenue Code of 1986, as amended (the “Code”), Treasury Regulations (the
  “Treasury Regulations”) promulgated thereunder in force on the date of this Memorandum, and
  administrative and judicial interpretations thereof, all as currently in effect, all of which may
  change or be subject to different interpretations, possibly with retroactive effect. The Fund does
  not intend to seek a ruling from the Service, or any similar state or local authority, with respect to
  any of the tax issues affecting the Fund.

  In view of the number of different jurisdictions where local laws may apply to Shareholders, the
  discussion below does not address all the tax consequences to potential investors of the purchase,
  ownership, and disposition of Shares. Prospective investors are urged to consult their own tax
  advisors in determining the possible tax consequences to them under the laws of the jurisdictions
  of which they are citizens, residents or domiciliaries, jurisdictions in which they conduct
  business and jurisdictions in which they hold Shares. This discussion does not constitute tax
  advice.

  This summary does not address all of the tax consequences that may be relevant to a particular
  investor, nor does it address, unless specifically indicated, the tax consequences to, among others
  (i) persons that may be subject to special treatment under U.S. federal income tax law, including,
  but not limited to, banks, insurance companies, thrift institutions, regulated investment
  companies, real estate investment trusts and dealers in securities or currencies, (ii) persons that
  will hold Shares as part of a position in a “straddle” or as part of a “hedging,” “conversion” or
  other integrated investment transaction for U.S. federal income tax purposes, (iii) persons whose
  functional currency is not the U.S. Dollar or (iv) persons that do not hold Shares as capital assets
  within the meaning of Code Section 1221.

  If a partnership holds Shares, the tax treatment of a partner in such partnership will generally
  depend upon the status of the partner and the activities of the partnership. Prospective investors
  who are partners of a partnership should consult their own tax advisors.

  This summary assumes that only persons that are not “United States persons” as defined in Code
  Section 7701(a)(30) (such investors, “Non-U.S. Shareholders”) and organizations that are
  exempt from U.S. federal income tax under Section 501(a) of the Code (such investors, “Tax-
  Exempt U.S. Shareholders”) will invest in the Fund.




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  The summary assumes that no U.S. taxable investors will invest in the Fund and, therefore, does
  not address the U.S. tax consequences to such investors. Potential U.S. taxable investors should
  be aware that the Fund is expected to be a passive foreign investment company for U.S. federal
  income tax purposes (a “PFIC”) and does not intend to provide information to any U.S. person
  for purposes of such person qualifying to make an election to treat the Fund as a “qualifying
  electing fund” (“QEF”) for U.S. federal income tax purposes. Accordingly, potential U.S.
  investors are urged to consult their own tax advisors in this regard.

  Unless the context indicates otherwise, the activities and tax items of the Fund will include the
  activities of the Master Fund, and the Fund’s distributive share of the Master Fund’s tax items, as
  applicable.

  EACH PROSPECTIVE INVESTOR IS URGED TO CONSULT ITS TAX ADVISOR IN
  ORDER TO FULLY UNDERSTAND THE U.S. FEDERAL, STATE, LOCAL AND/OR NON-
  U.S. TAX CONSEQUENCES OF AN INVESTMENT IN THE FUND.

  UNITED STATES

  Classification and Taxation of the Fund and the Master Fund

  The Fund is expected to be treated as a non-U.S. corporation for U.S. federal income tax
  purposes. The Master Fund is expected to be treated as a partnership, and not as an association
  taxable as a corporation, for U.S. federal income tax purposes. The following discussion
  assumes that, for U.S. federal income tax purposes, the Fund will be treated as a non-U.S.
  corporation and the Master Fund will be treated as a partnership.

  As a non-U.S. corporation, the U.S. federal income tax treatment of the Fund will vary
  depending on whether the Fund derives income or gains that are treated as effectively connected
  with the conduct of a trade or business in the United States. It is intended that the Fund’s affairs
  will generally be conducted in a manner such that no income realized by the Fund is expected to
  be effectively connected with the conduct of a U.S. trade or business or otherwise subject to
  regular U.S. federal income taxation on a net basis. As a result, it is anticipated that no gains
  realized by the Fund (other than gains, if any, realized on the disposition of U.S. real property
  interests) will be subject to U.S. federal income taxation, but generally dividends, dividend
  equivalent amounts and certain interest income from U.S. sources will be subject to U.S. federal
  withholding tax as discussed further below.

  In general, under Section 881 of the Code, a non-U.S. corporation which does not conduct a U.S.
  trade or business is nonetheless subject to withholding tax at a flat rate of 30% (or lower tax
  treaty rate) on the gross amount of certain U.S. source income which is not effectively connected
  with a U.S. trade or business. Income subject to such a flat tax rate is of a fixed or determinable
  annual or periodical nature, including dividends and certain interest income. Therefore, to the
  extent that the Fund receives dividend income (including “dividend equivalent” income under
  Section 871(m) of the Code) through the Master Fund from U.S. sources, the Fund will be
  subject to U.S. withholding tax at a 30% rate. U.S. source interest income received by the Fund
  through the Master Fund generally will be exempt from U.S. federal income and withholding tax
  to the extent such interest qualifies as “portfolio interest,” or qualifies under another statutory


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  exemption. Interest on corporate obligations will not qualify as “portfolio interest” to a non-U.S.
  person that owns (directly and under certain constructive ownership rules) 10% or more of the
  total combined voting power of the corporation paying the interest, or, with respect to certain
  obligations issued after April 7, 1993, if and to the extent the interest is determined by reference
  to certain economic attributes of the debtor (or a person related thereto). In addition, interest on
  U.S. bank deposits, certificates of deposit and certain obligations with maturities of 183 days or
  less (from original issuance) will not be subject to withholding tax. Interest (including original
  issue discount) derived by the Fund or the Master Fund from U.S. sources not qualifying as
  “portfolio interest” or not otherwise exempt under U.S. law will be subject to U.S. withholding
  tax at a rate of 30%. Capital gains from the sale of stock or other capital assets such as
  commodities generally are not subject to U.S. withholding tax.

  Taxation of Non-U.S. Shareholders

  For U.S. federal income tax purposes, a Non-U.S. Shareholder will not be subject to U.S. federal
  income taxation on amounts paid by the Fund in respect of the Shares or gains recognized on the
  sale, exchange or redemption of the Shares, provided that such income and gains are not
  considered to be effectively connected with the conduct of a trade or business by the Shareholder
  in the United States. In limited circumstances, an individual Non-U.S. Shareholder who is
  present in the United States for 183 days or more during a taxable year may be subject to U.S.
  income tax at a flat rate of 30% on gains realized on a disposition of the Shares in such year.
  Individual Shareholders who at the time of their death are not citizens, former citizens or
  residents of the United States should not be subject, by reason of the ownership of the Shares, to
  any U.S. federal gift or estate taxes.

  Special rules may apply in the case of non-U.S. persons that (i) conduct a trade or business in the
  United States or that have an office or fixed place of business in the United States, (ii) have a tax
  home in the United States, (iii) are former citizens or long-term residents of the United States or
  (iv) are controlled foreign corporations, PFICs, foreign insurance companies that hold the Shares
  in connection with their U.S. business or corporations which accumulate earnings to avoid U.S.
  federal income tax. Such persons are urged to consult their U.S. tax advisors before investing in
  the Fund.

  In the case of the Shares held in the United States by a custodian or nominee for a non-U.S.
  person, U.S. “backup” withholding taxes may apply to distributions in respect of the Shares held
  by such Shareholder unless such Shareholder properly certifies as to its non-U.S. status or
  otherwise establishes an exemption from “backup” withholding. Backup withholding is not an
  additional tax. Rather, the U.S. federal income tax liability of non-U.S. persons subject to
  backup withholding will be reduced by the amount of tax withheld. If backup withholding
  results in an overpayment of U.S. federal income taxes, a refund may be obtained, provided the
  required documents are timely filed with the Service.

  Taxation of Tax-Exempt U.S. Shareholders

  Tax-Exempt U.S. Shareholders are subject to U.S. tax on their “unrelated business taxable
  income” (“UBTI”) as defined in Section 512 of the Code. UBTI is generally the excess of gross
  income from any unrelated trade or business conducted by a tax-exempt entity over the


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  deductions attributable to such trade or business, with certain modifications.              These
  modifications provide that UBTI generally does not include interest, dividends or gains from the
  sale of securities not held as either inventory or primarily for sale to customers in the ordinary
  course of business, except to the extent that any such item of income is deemed to constitute
  “unrelated debt financed income” within the meaning of Section 514 of the Code and the
  Treasury Regulations, and certain other requirements are met. Income that a Tax-Exempt U.S.
  Shareholder derives from an investment in the Shares generally should not give rise to UBTI,
  except to the extent that such Shareholder’s acquisition of the Shares is debt financed.

  The Fund expects to be classified as a PFIC for U.S. federal income tax purposes. Under the
  Treasury Regulations, a U.S. tax-exempt entity is generally not subject to the PFIC rules, except
  to the extent that a “dividend” from such PFIC would be taxable as income under subchapter F
  of the Code, for example, as unrelated debt-financed income. Hence, a tax-exempt entity would
  be subject to tax under the PFIC regime in respect of an excess distribution from, or any gain
  realized on the sale of, the interests of a PFIC in only limited circumstances. Additionally, the
  Treasury Regulations provide that a tax-exempt entity that is not taxable under the PFIC rules
  may not make a QEF election under Section 1295 of the Code and the Fund will not provide any
  QEF information to investors. Moreover, different rules may apply to certain types of tax-
  exempt entities, such as charitable remainder trusts. Accordingly, potential Tax-Exempt U.S.
  Shareholders are urged to consult their own tax advisors regarding the tax consequences of an
  investment in the Fund.

  Prospective Tax-Exempt U.S. Shareholders are urged to consult their own tax advisors
  regarding the tax consequences of the purchase, ownership and disposition of the Shares.

  Information Reporting Requirements

  A U.S. person, within the meaning of the Code, (including in certain circumstances a Tax-
  Exempt U.S. Shareholder) that transfers property (including cash) to the Fund in exchange for
  Shares will be required to file a Form 926 or a similar form with the Service. In the event a U.S.
  Shareholder fails to file any required form, such Shareholder could be subject to a penalty of up
  to 10% of the value of the property transferred, subject to a $100,000 limit so long as the failure
  was not due to intentional disregard.

  Under the Treasury Regulations, a U.S. person, within the meaning of the Code (including a
  Tax-Exempt U.S. Shareholder), owning 10% or more (taking certain attribution rules into
  account) of either the total combined voting power or total value of all classes of the interests of
  a non-U.S. entity that is treated as a non-U.S. corporation for U.S. federal income tax purposes,
  such as the Fund, or whose ownership interest changes by a statutorily specified amount, may be
  required to file an information return with the Service containing certain disclosures concerning
  the filing shareholder, other U.S. shareholders and the non-U.S. entity. The Fund has not
  committed to provide all of the information about the Fund or its Shareholders necessary to
  complete such an information return. Prospective investors should consult their tax advisors
  about such information return filing requirements.

  Certain U.S. Persons are required to file FinCEN Form 114 with the Service with respect to
  financial interests in foreign financial accounts held by such U.S. Persons during the previous


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  calendar year if the aggregate value of such accounts exceeds $10,000 at any time during the
  calendar year. Significant penalties may apply in respect of the failure to file FinCEN Form 114
  in respect of foreign financial accounts. Thus, potential Tax-Exempt U.S. Shareholders should
  consult their tax advisors as to whether to file FinCEN Form 114 in respect of ownership of
  Shares.

  Investor Tax Filings and Record Retention.

  The U.S. Department of the Treasury has adopted Treasury Regulations designed to assist the
  Service in identifying abusive tax shelter transactions. In general, these Treasury Regulations
  require investors in specified transactions (including certain shareholders in foreign corporations
  and partners in partnerships that engage in such transactions) to satisfy certain special tax filing
  and record retention requirements. Significant monetary penalties (in addition to penalties that
  generally may be applicable as a result of a failure to comply with the applicable Treasury
  Regulations) may be imposed for failure to comply with these tax filing and record retention
  rules.

  These Treasury Regulations are broad in scope, and it is conceivable that the Fund may enter
  into transactions that will subject the Fund and certain investors to the special tax filing and
  record retention rules. Investors should consult their own tax advisors in this regard.

  Reporting Under FATCA

  Sections 1471 through 1474 of the Code, known as the U.S. Foreign Account Tax Compliance
  Act (together with any regulations, rules and other guidance implementing such Code sections
  and any applicable intergovernmental agreement (“IGA”) or information exchange agreement
  and related statutes, regulations, rules and other guidance thereunder, “FATCA”) impose a
  withholding tax of 30% on (i) certain U.S. source interest, dividends and other types of income,
  and (ii) the gross proceeds from the sale or disposition of certain assets of a type that can produce
  U.S. source interest and dividends, which are received by a foreign financial institution (“FFI”),
  unless such FFI enters into an agreement with the Service, and/or complies with an applicable
  IGA, to obtain certain information as to the identity of the direct and indirect owners of accounts
  in such institution. In addition, a withholding tax may be imposed on payments to certain non-
  financial foreign entities that do not obtain and provide information as to their direct and indirect
  owners. These rules generally apply to payments of U.S. source interest, dividends and certain
  other types of income from U.S. sources and, after December 31, 2018, are expected to apply to
  payments of gross proceeds from the sale or disposition of assets of a type that can produce U.S.
  source interest or dividends.

  The Service has released temporary and final Treasury Regulations and other guidance that will
  be used in implementing FATCA, which contain a number of phase-in dates for FATCA
  compliance. In addition, the Cayman Islands has entered into a Model 1 IGA with the United
  States (the “Cayman-U.S. IGA”), which is treated as in effect, and has issued the Tax
  Information Authority (International Tax Compliance) (United States of America) Regulations
  2014, and guidance notes thereunder, each as updated from time to time.




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  Both the Fund and the Master Fund are likely to be considered FFIs. In order to avoid incurring
  U.S. withholding under FATCA, the Master Fund and the Fund each are generally required to
  register with the Service and to comply with the Cayman-U.S. IGA and any guidance thereunder.
  The Fund has registered with the Service and the Master Fund intends to register with the
  Service, and expect that they will be required to identify and report on certain direct and indirect
  U.S. owners in order to comply with the Cayman-U.S. IGA. Therefore, the Fund and the Master
  Fund generally do not expect to become subject to U.S. withholding under FATCA. An investor
  may be required to provide to the Fund information which identifies its direct and indirect
  ownership. Any such information provided to the Fund may ultimately be shared with the
  Cayman Islands Tax Information Agency (“Cayman TIA”) and transmitted to the Service and,
  potentially, certain other authorities and withholding agents, as applicable.

  By investing (or continuing to invest) in the Fund (and indirectly invest in the Master Fund),
  investors shall be deemed to have acknowledged, and to have given their consent to, the
  following:

         (i)     the Fund (or its agent) may be required to disclose to the Cayman TIA and
                 withholding agents certain information (which could otherwise be deemed to be
                 confidential) in relation to the investor or its direct or indirect owners, including
                 the investor’s name, address, date of birth, tax identification number (if any),
                 social security or national insurance number (if any) and certain additional
                 information or documentation relating to the investor’s investment or identity, and
                 the investor may be required to provide any such information or documentation;

         (ii)    the Cayman TIA may be required to automatically exchange information with,
                 among other authorities, the Service, and to provide additional information to
                 such authorities, and the Master Fund or the Fund (or its agents) may be required
                 to disclose certain information (including information that could otherwise be
                 deemed to be confidential) when registering with such authorities and in response
                 to a request by any such authority for further information;

         (iii)   in the event an investor’s failure to comply with any FATCA related reporting
                 requirements gives rise to any withholding tax, the Fund reserves the right to
                 ensure that any such withholding tax and any related cost, interest, penalties and
                 other losses or liabilities suffered by the Fund, the Master Fund, the Master Fund
                 General Partner, the Administrator or any other investor, or any agent, delegate,
                 employee, director, officer or affiliate of any of the foregoing persons, arising
                 from such investor’s failure to provide information to the Fund, is economically
                 borne by such investor;

         (iv)    in the event an investor does not provide the information and/or documentation
                 necessary for the Fund’s (or the Master Fund’s) satisfaction of its FATCA related
                 reporting requirements, whether or not that actually leads to compliance failures
                 by the Fund, or a risk of the Fund (or the Master Fund) or its investors being
                 subject to U.S. withholding under FATCA, the Fund reserves the right to take any
                 action and/or pursue all remedies at its disposal to mitigate the consequences of



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                 the investor’s failure to comply with the requirements described above, including
                 compulsory redemption or withdrawal of the investor concerned; and

         (v)     no investor affected by any such action or remedy shall have any claim against the
                 Fund, the Master Fund, the Master Fund General Partner, the Administrator (or
                 their agents, delegates, employees, directors, officers or affiliates) for any
                 damages or liability as a result of actions taken or remedies pursued by or on
                 behalf of the Fund in order to comply with FATCA.

  Investors should consult their tax advisors as to the withholding, filing and information
  reporting requirements that may be imposed on them in respect of their ownership of
  Shares.

  CAYMAN ISLANDS

  Fund Level

  The Government of the Cayman Islands will not, under existing legislation, impose any income,
  corporate or capital gains tax, estate duty, inheritance tax, gift tax or withholding tax upon the
  Fund or the Shareholders. The Cayman Islands are not party to a double tax treaty with any
  country that is applicable to any payments made to or by the Fund.

  The Fund has received an undertaking from the Governor-in-Cabinet of the Cayman Islands that,
  in accordance with section 6 of the Tax Concessions Law (Revised) of the Cayman Islands, for a
  period of 20 years from the date of the undertaking, no law which is enacted in the Cayman
  Islands imposing any tax to be levied on profits, income, gains or appreciations shall apply to the
  Fund or its operations and, in addition, that no tax to be levied on profits, income, gains or
  appreciations or which is in the nature of estate duty or inheritance tax shall be payable (i) on or
  in respect of the shares, debentures or other obligations of the Fund or (ii) by way of the
  withholding in whole or in part of a payment of dividend or other distribution of income or
  capital by the Fund to its members or a payment of principal or interest or other sums due under
  a debenture or other obligation of the Fund.

  Shareholder Level

  Shareholders will not be subject to any income, withholding or capital gains taxes in the Cayman
  Islands, with respect to the Shares owned by them and dividends received on such Shares, nor
  will they be subject to any estate or inheritance taxes in the Cayman Islands.

  OTHER JURISDICTIONS

  It is possible that certain dividends, interest and other income received by the Fund from sources
  within certain countries will be subject to withholding taxes imposed by such countries. In
  addition, the Fund may also be subject to capital gains taxes or other taxes in some of the
  countries where it purchases and sells securities or otherwise conducts business. It is impossible
  to predict the rate of tax that the Fund will pay in advance since the amount of the Fund’s assets
  to be invested in various countries is not known.



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                               ERISA CONSIDERATIONS

  GENERAL

  Fiduciaries and other persons who are proposing to purchase Shares on behalf of retirement
  plans, investment retirement accounts (“IRAs”) and other employee benefit plans (“Plans”)
  covered by the U.S. Employee Retirement Income Security Act of 1974, as amended (“ERISA”),
  or the Code, must give appropriate consideration to, among other things, the role that an
  investment in the Fund plays in the Plan’s portfolio, taking into consideration whether the
  investment is designed to reasonably further the Plan’s purposes, the investment’s risk and return
  factors, the portfolio’s composition with regard to diversification, the liquidity and current return
  of the total portfolio relative to the anticipated cash flow needs of the Plan, the projected return
  of the total portfolio relative to the Plan’s objectives, the limited right of Shareholders to redeem
  all or any part of their Shares or to transfer their Shares and whether investment in the Fund
  constitutes a direct or indirect transaction with a party in interest (under ERISA) or a disqualified
  person (under the Code).

  PLAN ASSET REGULATIONS AND BENEFIT PLAN INVESTORS

  The United States Department of Labor (“DOL”) has adopted regulations that treat the assets of
  certain pooled investment vehicles, such as the Fund, as “plan assets” for purposes of Title I of
  ERISA and Section 4975 of the Code (“Plan Assets”). Section 3(42) of ERISA defines the term
  “Plan Assets” to mean plan assets as defined by such regulations as the DOL may prescribe,
  except that under such regulations the assets of an entity shall not be treated as Plan Assets if,
  immediately after the most recent acquisition of an equity interest in the entity, less than 25% of
  the total value of each class of equity interest in the entity is held by “Benefit Plan Investors”
  (the “significant participation test”). For purposes of this determination, the value of any equity
  interest held by a person (other than such a Benefit Plan Investor) who has discretionary
  authority or control with respect to the assets of the entity or any person who provides
  investment advice for a fee (direct or indirect) with respect to such assets, or any affiliate of such
  a person, shall be disregarded. An entity shall be considered to hold Plan Assets only to the
  extent of the percentage of the equity interest held by Benefit Plan Investors. The term “Benefit
  Plan Investors” means any employee benefit plan subject to part 4 of subtitle B of Title I of
  ERISA (i.e., plans subject to the fiduciary provisions of ERISA), any plan to which the
  prohibited transaction provisions of Section 4975 of the Code apply (e.g., IRAs), and any entity
  whose underlying assets include Plan Assets by reason of a plan’s investment in such entity (a
  “Plan Asset Entity”).

  In order to prevent the assets of the Master Fund from being considered Plan Assets under
  ERISA, it is the intention of the Master Fund to monitor the investments in the Master Fund and
  prohibit the acquisition, withdrawal or transfer of any limited partner interests of the Master
  Fund by any investor, including a Benefit Plan Investor, unless, after giving effect to such an
  acquisition, withdrawal or transfer, the total proportion of limited partner interests of each class



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  of the Master Fund owned by Benefit Plan Investors would be less than 25% of the aggregate
  value of that class of limited partner interests (determined, as described above, by excluding
  certain limited partner interests held by the Master Fund General Partner, other fiduciaries and
  affiliates).

  Without limiting the generality of the foregoing, in order to limit equity participation in any class
  of limited partner interests of the Master Fund by Benefit Plan Investors to less than 25%, the
  Fund may require the compulsory redemption of Shares. Each Shareholder that is an insurance
  company acting on behalf of its general account or a Plan Asset Entity will be required to
  represent and warrant as of the date it acquires Shares the maximum percentage of such general
  account or Plan Asset Entity (as reasonably determined by such insurance company or Plan
  Asset Entity) that will constitute Plan Assets (the “Maximum Percentage”) so such percentage
  can be calculated in determining the percentage of Plan Assets invested in the Master Fund.
  Further, each such insurance company and Plan Asset Entity will be required to covenant that if,
  after its initial acquisition of Shares, the Maximum Percentage is exceeded at any time, then such
  insurance company or Plan Asset Entity shall immediately notify the Fund of that occurrence and
  shall, if and as directed by the Fund, in a manner consistent with the restrictions on transfer set
  forth herein, redeem or dispose of some or all of the Shares held in its general account or Plan
  Asset Entity.

  It is anticipated that investment in the Fund by benefit plan investors may be “significant” for
  purposes of the regulations. In such event, the underlying assets of the Fund would be deemed to
  constitute “plan assets” for purposes of ERISA. As a general rule, if the assets of the Fund were
  regarded as “plan assets” of a benefit plan investor, the Investment Manager would be deemed a
  fiduciary with respect to each Plan investing in the Fund. However, the Investment Manager
  believes that, given the limited purpose and role of the Fund and given the requirement that the
  Investment Manager follow the directions of the fiduciaries of each benefit plan investor
  investing in the Fund, as set forth in each such investor’s subscription agreement, with respect to
  the investment by the Fund in the Master Fund, neither the Investment Manager nor any other
  entity providing services to the Fund would be exercising any discretionary authority or control
  with respect to the Fund. Accordingly, the Investment Manager believes that neither the
  Investment Manager nor any other entity providing services to the Fund will act as a fiduciary
  (as defined in Section 3(21) of ERISA) with respect to the assets of the Fund or any benefit plan
  investor. Rather, the Investment Manager believes that, given the limited purpose and role of the
  Fund and given the requirement that the Investment Manager follow the directions of the
  fiduciaries of each benefit plan investor investing in the Fund, as set forth in each such investor’s
  subscription agreement, with respect to the investment by the Fund in the Master Fund, the
  fiduciary of each such benefit plan investor has retained the fiduciary authority and responsibility
  with respect to the investor’s initial and continuing investment in the Fund as though the benefit
  plan investor is investing directly in the Master Fund.

  REPRESENTATION BY PLANS

  The fiduciaries of each Plan proposing to invest in the Fund will be required to represent that
  they have been informed of and understand the Fund’s investment objectives, policies and
  strategies and that the decision to invest Plan Assets in the Fund is consistent with the provisions



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  of ERISA and/or the Code that require diversification of Plan Assets and impose other fiduciary
  responsibilities. By its purchase, each investor will be deemed to have represented that either (a)
  it is not a Plan that is subject to the prohibited transaction rules of ERISA or the Code, (b) it is
  not an entity whose assets include Plan Assets or (c) its investment in the Fund will not
  constitute a non-exempt prohibited transaction under ERISA or the Code.

  INELIGIBLE PURCHASERS

  Shares may not be purchased with Plan Assets if the Investment Manager, any selling agent,
  finder, any of their respective affiliates or any of their respective employees: (a) has investment
  discretion with respect to the investment of such Plan Assets; (b) has authority or responsibility
  to give or regularly gives investment advice with respect to such Plan Assets, for a fee, and
  pursuant to an agreement or understanding that such advice will serve as a primary basis for
  investment decisions with respect to such Plan Assets and that such advice will be based on the
  particular investment needs of the Plan; or (c) is an employer maintaining or contributing to such
  Plan. A party that is described in clause (a) or (b) of the preceding sentence is a fiduciary under
  ERISA and the Code with respect to the Plan, and any such purchase might result in a
  “prohibited transaction” under ERISA and the Code.

  PLANS’ REPORTING OBLIGATIONS

  The information contained herein and in the other documentation provided to investors in
  connection with an investment in the Fund is intended to satisfy the alternative reporting option
  for “eligible indirect compensation” on Schedule C of the Form 5500, in addition to the other
  purposes for which such documents were created.

  Whether or not the underlying assets of the Fund are deemed Plan Assets, an investment in
  the Fund by a Plan is subject to ERISA and the Code. Accordingly, Plan fiduciaries should
  consult their own counsel as to the consequences under ERISA and the Code of an investment
  in the Fund. Note that similar laws governing the investment and management of the assets
  of governmental or non-U.S. plans may contain fiduciary and prohibited transaction
  requirements similar to those under ERISA and the Code. Accordingly, fiduciaries of such
  governmental or non-U.S. plans, in consultation with their counsel, should consider the
  impact of their respective laws and regulations on an investment in the Fund.




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                                         GENERAL

  DIRECTORS’ REPORT

  As at the date of this Memorandum, the Fund has not, nor has it since its date of incorporation,
  declared any dividends. The Fund does not have, nor has it had since its incorporation, and is
  not expected to have, any employees.

  The Fund is not, nor has it been, engaged in any legal or arbitration proceedings (including any
  such proceedings which are pending or threatened of which the Fund is aware) which may have
  or have had since its incorporation a significant effect on its financial position.

  As at the date of this Memorandum, the Fund has not issued any debt securities, incurred any
  other indebtedness or borrowings or granted any mortgages, charges, guarantees or other
  contingent liabilities.

  MATERIAL CONTRACTS

  The following contracts, which are summarized in the Section “Management and
  Administration” above, have been entered into and are, or may be, material:

  (i)     Investment Management Agreement among the Feeder Funds, the Master Fund, the
          Master Fund General Partner and the Investment Manager pursuant to which the
          Investment Manager was appointed to provide certain investment management services
          to the Feeder Funds and the Master Fund; and

  (ii)    Administration Agreement between the Master Fund and the Administrator pursuant to
          which the Administrator was appointed administrator and registrar and transfer agent of
          the Feeder Funds and the Master Fund.

  (iii)   Services Agreement between the Investment Manager and Highland Latin America
          pursuant to which Highland Latin America was appointed to provide certain
          administrative and consulting services to the Investment Manager.

  DOCUMENTS AVAILABLE FOR INSPECTION

  The following documents are available for inspection and copies may be obtained free of charge
  during the normal business hours, on weekdays (Saturdays, Sundays and public holidays
  excepted) at the registered office of the Fund:

  (a)     the Memorandum of Association and Articles of the Fund;

  (b)     the Companies Law (Revised) and the Mutual Funds Law (Revised) of the Cayman
          Islands;


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  (c)    the Material Contracts referred to above; and

  (d)    the Master Fund Partnership Agreement.

  The statutory records of the Fund are kept at its registered office, which is located at:

  Maples Corporate Services Limited
  P.O. Box 309
  Ugland House
  Grand Cayman KY1-1104
  Cayman Islands

  The offices of the Sponsor are located at:

  Ogier Corporate Finance Limited
  44 Esplanade, St. Helier
  Jersey JE4 9WG
  Channel Islands

  INQUIRIES

  Inquiries concerning the Fund and this offering (including information concerning subscription
  procedures) should be directed to:

  MUFG Fund Services (Cayman) Limited
  2nd Floor Strathvale House
  90 North Church Street
  P.O. Box 609
  Grand Cayman KY1-1107
  Cayman Islands
  Facsimile: (345) 745 7690
  Telephone: (345) 745 7600
  Email: investorserviceshalifax@mfsadmin.com




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                                                          Memorandum Number _________




                     Confidential Private Placement Memorandum


                                     Series A Interests
                                     Series B Interests
                                     Series C Interests
                                             in


                  Highland Argentina Regional Opportunity Fund, L.P.




                                      General Partner

                   Highland Argentina Regional Opportunity Fund GP, LLC




                                    Investment Manager

                      Highland Capital Management Latin America, L.P.




                                        March 2019




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                                                NOTICE

        This Confidential Private Placement Memorandum (this “Memorandum”) is being furnished on
a confidential basis solely to selected qualified investors considering the purchase of limited partner
interests (the “Interests”) in Highland Argentina Regional Opportunity Fund, L.P. (the “Fund”). This
Memorandum is not to be reproduced or distributed to others, at any time, without the prior written
consent of Highland Argentina Regional Opportunity Fund GP, LLC (the “General Partner”). Each
recipient agrees to keep confidential all information contained herein not already in the public domain
and will use this Memorandum for the sole purpose of evaluating a possible investment in the Fund.
Notwithstanding anything herein to the contrary, each investor (and each employee, representative, or
other agent of the investor) may disclose to any and all persons, without limitation of any kind, the tax
treatment and tax structure of an investment in the Fund and all materials of any kind (including opinions
or other tax analyses) that are provided to the investor relating to such tax treatment and tax structure.
Acceptance of this Memorandum by prospective investors constitutes an agreement to be bound by the
foregoing terms.

        Prospective investors should not construe the contents of this Memorandum as legal, tax or
financial advice. Each prospective investor should consult its own professional advisors as to the legal,
financial, tax, ERISA (as defined herein) or other matters relevant to the suitability of an investment in
the Fund for such investor.

        In making an investment decision, investors must rely on their own examination of the Fund and
the terms of the offering contemplated by this Memorandum. The Interests have not been recommended
by any U.S. federal or state, or any non-U.S., securities commission or regulatory
authority. Furthermore, the foregoing authorities have not confirmed the accuracy or determined the
adequacy of this Memorandum. Any representation to the contrary is a criminal offense.

        The Interests have not been and will not be registered under the U.S. Securities Act of 1933, as
amended (the “Securities Act”), or the securities laws of any of the states of the United States. The
offering and any potential sale contemplated by this Memorandum will be made in reliance upon an
exemption from the registration requirements of the Securities Act for offers and sales of securities which
do not involve any public offering and analogous exemptions under state securities laws. There will be
no public market for the Interests, and there is no obligation on the part of any person to register the
Interests under the Securities Act or any state securities laws.

        The Fund has not been and will not be registered under the U.S. Investment Company Act of
1940, as amended (the “Investment Company Act”), since Interests will only be sold to persons who are
“qualified purchasers,” as defined in the Investment Company Act.

       Each subscriber for an Interest will be required to certify that it is an “accredited investor” as
defined in Regulation D under the Securities Act and a “qualified purchaser,” as defined in the
Investment Company Act.

        Pursuant to an exemption from the Commodity Futures Trading Commission (the “CFTC”),
Highland Capital Management Latin America, L.P., the investment manager to the Fund (the
“Investment Manager”), is not registered with the CFTC as a commodity pool operator (“CPO”) and
therefore, unlike a registered CPO, is not required to deliver a disclosure document or a certified annual
report to participants in this pool. Among other things, the exemption requires the filing of a claim of
exemption with the National Futures Association. It is also required that at all times either: (a) the
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aggregate initial margin and premiums required to establish commodity interest positions does not
exceed 5% of the liquidation value of the Fund’s portfolio; or (b) the aggregate net notional value of the
Fund’s commodity interest positions does not exceed 100% of the liquidation value of the Fund’s
portfolio and further that all pool participants are required to be accredited investors or certain other
qualified investors. The Investment Manager qualifies for an exemption from registration as a
commodity trading advisor pursuant to CFTC Rule 4.14(a)(8).

        Interests are suitable only for sophisticated investors who do not require immediate liquidity for
their investments, for whom an investment in the Fund does not constitute a complete investment
program and who fully understand and are willing to assume the risks involved in the Fund’s investment
program. The Fund’s investment practices, by their nature, may be considered to involve a substantial
degree of risk. See “Risk Factors and Potential Conflicts of Interest.” No assurance can be given that
the Fund’s investment objectives will be achieved or that investors will receive a return of their capital.

         The Interests are subject to restrictions on transferability and resale and may not be transferred
or resold except as permitted under the Securities Act and any applicable state or other securities laws,
pursuant to registration or an exemption therefrom. The transferability of the Interests will be further
restricted by the terms of the limited partnership agreement of the Fund, as amended (the “Partnership
Agreement”). Investors should be aware that they will be required to bear the financial risks of an
investment in the Interests for an extended period of time.

        This Memorandum does not constitute an offer to sell, or the solicitation of an offer to buy, any
Interests in any state or other jurisdiction where, or to or from any person to or from whom, such offer
or solicitation is unlawful or not authorized.

        No person has been authorized to give any information or to make any representation concerning
the Fund or the offering of the Interests other than the information contained in this Memorandum and,
if given or made, such information or representation must not be relied upon as having been authorized
by the Fund or the General Partner.

       The Interests are offered subject to the right of the General Partner to reject any subscription in
whole or in part.

        This Memorandum is intended solely for the use of the person to whom it has been delivered by
the General Partner or its authorized representative for the purpose of evaluating a possible investment
by the recipient in the Interests described herein, and is not to be reproduced or distributed to any other
persons (other than professional advisors of the prospective investor receiving this Memorandum from
the General Partner or its authorized representative).

        This Memorandum does not purport to be, and should not be construed as, a complete description
of the Partnership Agreement or the investment management agreement by and among the Investment
Manager, the General Partner, the Master Fund, the Offshore Fund (each as defined below) and the Fund
(the “Investment Management Agreement”). Each prospective investor in the Fund is encouraged to
review the Partnership Agreement carefully, in addition to consulting appropriate legal and tax
advisors. To the extent of any inconsistency between this Memorandum and the Partnership Agreement,
the terms of the Partnership Agreement shall control.

       The delivery of this Memorandum does not, under any circumstances, create any implication that
there has been no change in the circumstances affecting the Fund or Highland Argentina Regional

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Opportunity Master Fund, L.P. (the “Master Fund”) since the date hereof. An amended or updated
Memorandum will be provided to reflect any material changes to the information contained herein.

        Certain information contained in this Memorandum constitutes “forward-looking statements,”
which can be identified by the use of forward-looking terminology such as “may,” “will,” “should,”
“expect,” “anticipate,” “project,” “estimate,” “intend,” or “believe” or the negatives thereof or other
variations thereon or comparable terminology. Due to various risks and uncertainties, including those
described in “Risk Factors and Potential Conflicts of Interest,” actual events or results or the actual
performance of the Fund may differ materially from those reflected or contemplated in such forward-
looking statements.

       All references herein to “$” refer to U.S. dollars. Except as the context otherwise requires,
references to the term “Fund” in this Memorandum shall be deemed to include the Master Fund.




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                                   DIRECTORY


      General Partner              Highland Argentina Regional Opportunity Fund GP, LLC
                                   300 Crescent Court, Suite 700
                                   Dallas, TX 75201

      Investment Manager           Highland Capital Management Latin America, L.P.
                                   c/o Highland Capital Management, L.P.
                                   300 Crescent Court, Suite 700
                                   Dallas, TX 75201

      Administrator                MUFG Fund Services (Cayman) Limited
                                   2nd Floor, Strathvale House
                                   90 North Church Street
                                   P.O. Box 609
                                   Grand Cayman KY1-1107
                                   Cayman Islands

      Auditor                      PricewaterhouseCoopers LLP
                                   5th Floor Strathvale House
                                   P.O. Box 258
                                   Grand Cayman KY1-1104
                                   Cayman Islands

      Prime Brokers                Société Générale
                                   440 S. LaSalle St., Suite 2400
                                   Chicago, IL 60605

                                   BNP Paribas Prime Brokerage, Inc.
                                   787 Seventh Avenue
                                   The Equitable Tower
                                   New York, NY 10019

      Legal Counsel                In the United States:
                                   Akin Gump Strauss Hauer & Feld LLP
                                   1700 Pacific Avenue
                                   Suite 4100
                                   Dallas, TX 75201




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                                       EXECUTIVE SUMMARY

        Highland Argentina Regional Opportunity Fund, L.P., a Delaware limited partnership (the
“Fund”), seeks to maximize the total return of its assets through capital appreciation by investing all of
its investable assets in Highland Argentina Regional Opportunity Master Fund, L.P., a Cayman Islands
exempted limited partnership (the “Master Fund”), which intends to hold primarily a portfolio of
investments in securities of Latin American corporate and sovereign issuers as well as non-Latin
American issuers that derive a portion of their revenues from business activities in Latin America, in
each case with a primary focus on Argentina.

        Highland Argentina Regional Opportunity Fund GP, LLC, a Delaware limited liability company
(the “General Partner”), acts as general partner of the Fund and the Master Fund and is registered as a
foreign company in the Cayman Islands. Highland Capital Management Latin America, L.P., a Cayman
Islands exempted limited partnership (the “Investment Manager” and, together with its affiliates,
shareholders, directors, members, partners, officers and employees, the “Advisory Parties”), serves as
investment manager to the Fund, the Offshore Fund (as defined below) and the Master Fund and manages
the Master Fund’s investment program. Each of the General Partner and the Investment Manager is
ultimately controlled by James D. Dondero (the “Principal”).

        In order to facilitate investments by non-U.S. and certain U.S. tax-exempt investors, the
Investment Manager and its affiliates recently assumed the management of an existing investment fund,
Highland Argentina Regional Opportunity Fund, Ltd., a Cayman Islands exempted company (the
“Offshore Fund” and, together with the Fund, the “Feeder Funds”). The Feeder Funds will place all
of their investable assets in, and conduct all of their investment and trading activities in parallel through,
the Master Fund. References in this Memorandum to the Fund shall include the Master Fund, unless
otherwise specified or the context so requires.

        The Fund (but not the Master Fund) is seeking subscriptions from investors who qualify as both
“accredited investors” and “qualified purchasers” (each as defined in the Fund’s subscription materials).
The minimum initial investment is $500,000, and thereafter, the minimum subsequent investment is
$500,000, although, in each case, the Fund may accept investments in a lesser amount, but no less than
$100,000 with respect to Series B Interests. The Fund generally accepts subscriptions on the first day
of each calendar month. A subscriber admitted to the Fund as a limited partner (each, a “Limited
Partner”) will receive, in exchange for its initial capital contribution and any subsequent capital
contribution, a limited partner interest representing a proportionate share of the net assets of the Fund at
that time.

         The Fund intends to issue multiple series of limited partner interests (“Interests”) over time. Not
all series of Interests will be available for subscription at the same time and the terms among the series
of Interests will vary. The Fund is currently offering Series A Interests, Series B Interests and Series C
Interests pursuant to this Memorandum.

         For its services to the Master Fund, the Investment Manager is generally entitled to a management
fee (the “Management Fee”), which is calculated monthly and paid quarterly in arrears at the Master
Fund level. The Management Fee is calculated at an annual rate of (i) 1.75% of each Limited Partner’s
capital account that is attributable to a Series A Interest, (ii) 1.25% of each Limited Partner’s capital
account that is attributable to a Series B Interest, and (iii) 1.00% of each Limited Partner’s capital account
that is attributable to a Series C Interest.


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         In addition, the Investment Manager, in its capacity as the special limited partner of the Master
Fund (the “Special Limited Partner”), is entitled to a quarterly performance-based profits allocation (the
“Performance Allocation”) at the end of each fiscal quarter. The Performance Allocation is calculated
and allocated at the Master Fund level, but is effectively equal to (i) 20.0% of the amount by which the
net asset value of each Series A Interest on the last day of a fiscal quarter exceeds the “high water mark”
for such Series A Interest, if any, (ii) 17.5% of the amount by which the net asset value of each Series B
Interest on the last day of a fiscal quarter exceeds the “high water mark” for such Series B Interest, if
any, and (iii) 15.0% of the amount by which the net asset value of each Series C Interest on the last day
of a fiscal quarter exceeds the “high water mark” for such Series C Interest, if any.

        Subject to a one-year “soft lock-up” with an early withdrawal reduction attributable to Series B
Interests only and a two-year “soft lock-up” with an early withdrawal reduction attributable to Series C
Interests only, a Limited Partner is generally permitted to withdraw all or a portion of its Interest on 30
calendar days’ prior written notice on the last business day of each calendar month. Withdrawals may
be subject to reserves for contingencies and suspension restrictions as discussed further in this
Memorandum.

       The Fund may agree with certain Limited Partners to a variation of the terms set forth in this
Memorandum or establish additional series of Interests that have terms that differ from those described
herein, including, without limitation, different management fees, performance allocations and
withdrawal rights.




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                                     INVESTMENT PROGRAM

INVESTMENT OBJECTIVE

         The investment objective of the Fund is to maximize the total return of its assets through capital
appreciation by investing all of its investable assets in the Master Fund, which intends to hold primarily
a portfolio of investments in securities of Latin American corporate and sovereign issuers as well as non-
Latin American issuers that derive a portion of their revenues from business activities in Latin America,
in each case with a primary focus on Argentina, and that the Investment Manager believes would provide
profitable investment opportunities for the Master Fund. The Master Fund will invest in a single
portfolio of assets and does not currently intend to have a separate portfolio of assets for each of its
series, each of which will correspond to a series of limited partner interests in the Fund.

INVESTMENT STRATEGY

        The Master Fund is a multi-strategy investment fund and there is no limit on the investment
strategies that may be utilized. The Investment Manager believes that focusing on a multi-strategy
approach will enable the Master Fund to enhance results by compounding returns generated by each
strategy and at the same time have the needed flexibility to adjust to potentially changing regulations
and market conditions.

       The Investment Manager will be focused on identifying assets that are mispriced against similar
assets and/or against the Investment Manager’s expectations for assets’ fair values and market
movements, special situations, such as mergers, financial restructurings, hostile takeovers, or leveraged
buy-outs. There is no set allocation among these and any other strategies that the Investment Manager
may use.

        The Master Fund may hold long and short positions in a wide range of liquid or illiquid fixed
income securities including, but not limited to, sovereign and private debt, distressed debt, secured and
unsecured debt, structured debt, loans, asset-backed securities and collateralized debt obligations.
Furthermore, the Master Fund may invest, both long and short, in a wide range of liquid or illiquid
equity-related instruments including, but not limited to, equities, convertible bonds, options, equity-
linked notes, preferred shares and warrants, whether or not listed or traded on one or more exchanges.

        The Master Fund may hold any of these positions indirectly by entering into swaps, options,
futures, forward contracts or similar derivative transactions.

       The Master Fund may hold both U.S. dollar and non-U.S. dollar denominated securities.

        The Master Fund may leverage its investment portfolio by up to 100% of the Master Fund’s net
asset value (calculated at the time of investment) by borrowing for investment purposes and by using
leverage techniques and products. It is anticipated that by doing so the performance of the Master Fund
will be enhanced. While the use of the leverage may improve the return on invested capital, leverage
may also significantly increase the impact of adverse movement in the value of the Master Fund.

        The Master Fund may also utilize hedging strategies in order to maximize returns and reduce the
risk to principal or the volatility associated with its holdings. As part of these hedging strategies, the
Master Fund may hedge any of its investments with long or short positions in any financial instrument,
which the Investment Manager deems appropriate. The Master Fund may utilize U.S. and European
securities for hedging purposes.
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        The Master Fund may invest through one or more subsidiaries established in an appropriate
jurisdiction in order to take advantage of applicable tax treaties or increase the tax efficiency of the
Master Fund’s investments, or in such other circumstances as the General Partner, in its capacity as the
general partner of the Master Fund, following consultation with the Investment Manager, deem
appropriate, including compliance with local investment laws.

        The Master Fund may maintain assets in cash or cash equivalent instruments, money market
funds, repurchase agreements, or other cash management vehicles pending investment, for defensive
purposes, to fund withdrawals requested by the limited partners of the Master Fund or otherwise at the
discretion of the Investment Manager. The Master Fund may hold with no limitation U.S. and European
AAA fixed income securities for defensive purposes.

INVESTMENT RESTRICTIONS

         In deploying the investment strategy, the Master Fund will observe the following investment
restrictions. The Master Fund will not at the time of investment:

       1. Invest more than 50 percent of its gross assets in its net holdings of equities;

       2. Borrow more than 100 percent of its net assets;

       3. Invest more than 20 percent of its gross assets in a single equity position;

       4. Invest more than 20 percent of its gross assets in a single corporate issuer position;

       5. Invest more than 30 percent of its gross assets in a single GDP-linked warrant position; and

       6. Invest more than 30 percent of its gross assets in a single sovereign issuer security position;
and

       7. Invest more than 30 percent of its gross assets in a single provincial issuer.

       If a percentage limitation on investment or use of assets set forth above is adhered to at the time
a transaction is effected, later changes in percentage resulting from changing values will not be
considered a violation.

         In the event that the Investment Manager discovers that a violation of any of the Master Fund’s
investment limitations has occurred (the date of such discovery being the “Discovery Date”), the
Investment Manager shall inform the limited partners of the Master Fund, including the Fund, who shall:
(i) notify each of their limited partners or shareholders, as applicable, in writing within 30 business days
after the Discovery Date of the nature of the violation, the steps taken, or to be taken, to remedy the
violation and the reason the violation occurred and (ii) use reasonable commercial efforts to cause the
Investment Manager to remedy such violation within 90 business days after the Discovery Date (the
“Remedy Date”). If such violation has not been remedied on or before the Remedy Date, the limited
partners of the Master Fund, including the Fund, shall: (i) notify each of their limited partners or
shareholders, as applicable, in writing, 30 business days after the Remedy Date, of the steps taken to
remedy the violation and the reason that the violation has not been remedied by the Remedy Date (the
“Remedy Notice”) and (ii) use reasonable commercial efforts to cause the Master Fund’s portfolio to be
examined by an independent auditor other than PricewaterhouseCoopers LLP and shall request that such
independent auditor issue a report to the investors in each of the Master Fund’s limited partners as to its

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concurrence or disagreement with the statements in the Remedy Notice. The Investment Manager shall
pay for the costs of such audit and the costs of the Remedy Notice if the violation that was the subject
of the Remedy Notice occurred as a result of the Investment Manager's willful misfeasance, bad faith or
gross negligence. In addition, the failure to remedy the violation in a timely manner may give rise to
special withdrawal rights. See “Summary of Terms – Withdrawals; Lock-Ups.”

DISTRIBUTION POLICY

        The Fund’s objective is to maximize capital appreciation and accordingly it is not envisaged that
any income or gains derived from the investments made by the Master Fund will be distributed by way
of dividend. This does not preclude the General Partner from declaring a dividend at any time in the
future if it considers it appropriate to do so. To the extent that a dividend may be declared, it will be paid
in compliance with any applicable laws.

        The investment objectives and strategies summarized herein represent the Investment
Manager’s current intentions. Depending on conditions and trends in the securities markets and the
economy in general, the Investment Manager may pursue any strategies, employ any investment
techniques or purchase any type of security that it considers appropriate, whether or not described in
this section, subject to any applicable law or regulation. The discussion herein includes and is based
upon numerous assumptions and opinions of the Investment Manager concerning world financial
markets and other matters, the accuracy of which cannot be assured. There can be no assurance that
the investment strategy of the Master Fund will achieve the intended investment objective. The Master
Fund’s investment program is speculative and involves a high degree of risk, including, without
limitation, the risk of loss of the entire amount invested.




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                            MANAGEMENT AND ADMINISTRATION

The General Partner and the Investment Manager

        Highland Argentina Regional Opportunity Fund GP, LLC, a Delaware limited liability company
(the “General Partner”), acts as the general partner of the Fund and the Master Fund and is registered
as a foreign company in the Cayman Islands.

       Highland Capital Management Latin America, L.P., a Cayman Islands exempted limited
partnership (the “Investment Manager”), serves as the investment manager of the Fund, the Offshore
Fund and the Master Fund and has responsibility for the Master Fund’s investment program.

      Each of the General Partner and the Investment Manager is ultimately controlled by James D.
Dondero (the “Principal”).

The Investment Management Agreement

        The Investment Manager was appointed as the investment manager to the Fund, the Offshore
Fund and the Master Fund pursuant to an investment management agreement (the “Investment
Management Agreement”). Under the Investment Management Agreement, the Investment Manager
has full discretion to invest the assets of the Master Fund in pursuit of the investment objective and
strategy described in this Memorandum. For its services, the Investment Manager is entitled to the
Management Fee, as well as reimbursement for any Feeder Fund or Master Fund expenses incurred by
the Investment Manager.

        The Investment Management Agreement provides that, in the absence of gross negligence,
willful misconduct or fraud, each of the Investment Manager, its members, shareholders, partners,
managers, directors, any person who controls the Investment Manager, each of the respective affiliates
of the foregoing, and each of their respective executors, heirs, assigns, successors and other legal
representatives, will be indemnified by the Fund, the Offshore Fund and/or the Master Fund, to the extent
permitted by law, against any loss or liability incurred by any of such persons in performing their duties
under the Investment Management Agreement.

Services Agreement

       The Investment Manager engaged Highland Latin America Consulting, Ltd., a Cayman Islands
exempted company and a wholly-owned subsidiary of the Investment Manager (“Highland Latin
America”), pursuant to a services agreement (the “Services Agreement”) to provide certain
administrative and consulting services to the Investment Manager related to its management of the Fund,
the Offshore Fund and the Master Fund, including back- and middle-office services; credit analysis;
investment vehicle management; valuation; execution and documentation; marketing; reporting;
administrative services; and other ancillary services.

         The Services Agreement provides that in the absence of bad faith, gross negligence, fraud or
willful misconduct (as determined by a court of competent jurisdiction in a final non-appealable
judgment), the Investment Manager will, to the extent permitted by law, indemnify and hold harmless
Highland Latin America, any of its affiliates, and any of their respective managers, members, principals,
partners, directors, officers, shareholders, employees and agents against any and all claims, demands,
liabilities, costs, expenses, damages, losses, suits, proceedings, judgments, assessments, actions and
other liabilities incurred by such person in performing their duties under the Services Agreement. The
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Fund will not be liable for any consulting services provided by Highland Latin America or any
consultants or service providers that Highland Latin America engages, and the Fund will not bear any
costs or expenses related to the services provided by Highland Latin America.

Investment Personnel

        The key investment professionals of the Investment Manager and Highland Latin America who
will be responsible for the Master Fund’s investments are described below:

        James Dondero, CFA, CMA, President, Co-Founder. Mr. Dondero is Co-Founder and President
of Highland Capital Management, L.P. and a Director of Highland Latin America GP, Ltd., the general
partner of the Investment Manager. Mr. Dondero has over 30 years of experience in the credit and equity
markets, focused largely on high-yield and distressed investing. Mr. Dondero is the Chairman and
President of NexPoint Residential Trust, Inc. (NYSE:NYRT), Chairman of NexBank Capital, Inc.,
Cornerstone Healthcare Group Holding, Inc., and CCS Medical, Inc., and a board member of Jernigan
Capital, Inc. (NYSE:JCAP), and MGM Holdings, Inc. He also serves on the Southern Methodist
University Cox School of Business Executive Board. A dedicated philanthropist, Mr. Dondero actively
supports initiatives in education, veterans affairs, and public policy. Prior to founding Highland in 1993,
Mr. Dondero was involved in creating the GIC subsidiary of Protective Life, where as Chief Investment
Officer he helped take the company from inception to over $2 billion between 1989 and 1993. Between
1985 and 1989, Mr. Dondero was a corporate bond analyst and then portfolio manager at American
Express. Mr. Dondero began his career in 1984 as an analyst in the JP Morgan training program. Mr.
Dondero graduated from the University of Virginia where he earned highest honors (Beta Gamma
Sigma, Beta Alpha Psi) from the McIntire School of Commerce with dual majors in accounting and
finance. He has received certification as Certified Public Accountant (CPA) and Certified Managerial
Accountant (CMA) and has earned the right to use the Chartered Financial Analyst (CFA) designation.

        Gustavo Prilick. Mr. Prilick is a Managing Partner at Highland Capital Brasil and a registered
asset manager in Brazil, and is a Director of Highland Latin America GP, Ltd., the general partner of the
Investment Manager. He has extensively worked in several of Highland Capital Brasil’s portfolio
companies in the US mainly as CEO. Prior to his involvement with Highland Capital Brasil, he was a
Partner at South America Fund, a private equity firm, mainly focused on providing financial services to
export companies in Argentina and Uruguay. Prior to South America Fund, he was the Chief Operating
Officer of Millicom International Cellular for 7 years, serving Latin America, Asia, Africa and ten
operations in Russia. Prior to Millicom, he served as the Director of International Business for Oracle
Corporation where he was responsible for the establishment of most of Oracle’s International
Subsidiaries on several continents, including the Brazilian operation. Later he became President of
Oracle South America with oversight of several countries in South America. He also served as CEO of
Nacion Factoring, a subsidiary of Banco Nacion in Argentina building its operations to reach one of the
leading positions in the country. Mr. Prilick received an MBA from the Stanford University Graduate
School of Business and a degree in Electrical Engineering from Universidad de Buenos Aires. He has
also held teaching positions as a visiting professor in several leading Business Schools in Argentina.

        Highland Latin America will enter into relationships and agreements with Argentine relevant
parties and/or individuals to obtain supporting services for the management of the Fund, the Offshore
Fund and the Master Fund, and will enter into consulting agreements with Andrés Pitchón, Julieta Prieto
and Javier Casabal pursuant to which these consultants will provide investment and related services to
the Feeder Funds and the Master Fund. Mr. Pitchón will provide portfolio management services to the
Master Fund under the overall supervision of the Investment Manager.

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        Andrés Pitchón. Mr. Pitchón, through a consulting arrangement with Highland Latin America
Consulting, Ltd., provides portfolio management services to the Master Fund. Mr. Pitchón began his
career in 1993 as Head of Equity Research for Argentina for MBA-Salomon Brothers and later he also
became responsible for Fixed income. As Head of the Research Department, his work was recognized
by international publications such as Institutional Investor, Latin Finance, The Reuters Survey and The
Greenwich Survey. Since 1997 and 1999, he has managed the Offshore Fund’s equity and fixed income
mutual funds. Since 2003, Mr. Pitchón had been Senior Portfolio Manager of the Offshore Fund’s hedge
funds. Mr. Pitchón received a BA degree in IT, focused on Business Administration from the University
of Belgrano (1989), together with an academic merit medal for highest GPA in the School of
Technology. Mr. Pitchón also received a Master’s degree in Business Administration from Anderson
Graduate School of Business at UCLA in 1992.

The Administrator

        The Master Fund has entered into an Administration Agreement (the “Administration
Agreement”) with MUFG Fund Services (Cayman) Limited (the “Administrator”) pursuant to which
the Administrator performs certain administrative and accounting services for the Feeder Funds and the
Master Fund, subject to the oversight and control of the General Partner, in its capacity as the general
partner of the Master Fund.

        Pursuant to the Administration Agreement, the Administrator is responsible, under the overall
supervision of the General Partner, in its capacity as the general partner of the Master Fund, for certain
matters pertaining to the administration for the Fund, including: (i) maintaining the accounts of the Fund
and the Master Fund, (ii) calculating the Master Fund’s net asset value, (iii) maintaining the principal
corporate records of the Fund and the Master Fund, (iv) communicating with Limited Partners, (v)
accepting the subscriptions of new Limited Partners, (vi) effecting withdrawals of Interests, (vii)
maintaining the register of sub-fund investments, (viii) executing sub-fund subscriptions and
withdrawals as instructed by the Fund, and (ix) ensuring compliance with applicable law and regulation
(including anti-money laundering regulations). For its services, the Administrator receives a fee from
the Master Fund.

        The Administration Agreement may be terminated by the Administrator or the Master Fund upon
ninety (90) days’ written notice or, under certain circumstances, shorter notice. In such event, the Master
Fund may enter into a new agreement with a new administrator on behalf of the Master Fund and the
Feeder Funds, in its discretion and on such terms as it deems advisable, without prior notice to, or
approval of, investors.

         Under the Administration Agreement, the Master Fund agrees to indemnify and hold harmless
the Administrator and its affiliated persons and delegates, as well as their respective officers, directors,
employees and agents for, and to defend and hold each such person harmless from, any and all taxes,
claims, demands, actions, suits, judgments, liabilities, losses, damages, costs, charges, counsel fees (on
a solicitor and his own client basis), fines, assessments, amounts paid in settlement and expenses imposed
on, incurred by, or asserted against the person which may arise out of or in connection with the
Administration Agreement. The Administrator or any other indemnified person will not be indemnified
for their own gross negligence, wilful default or fraud.

       The Administrator is not responsible for valuing the Master Fund’s investments, monitoring any
investment restrictions of the Master Fund, determining compliance by the Master Fund with its
investment restrictions, the Master Fund's trading activities, the management or performance of the
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Master Fund or the accuracy or adequacy of this Memorandum. In addition, the Administrator does not
assume any liability to any person or entity, including Limited Partners, except as specifically provided
in the Administration Agreement. The Administrator may delegate certain services and share
information concerning the Fund and its Limited Partners with its various non-United States affiliates
subject to applicable confidentiality provisions.

       The Administrator has no responsibility with respect to trading activities, the Investment
Manager, the management or performance of the Master Fund, or the accuracy or adequacy of
this Memorandum.




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                                    SUMMARY OF TERMS

       The following Summary of Terms summarizes the principal terms governing an investment in the
Fund, and is subject, and qualified in its entirety by reference, to the Partnership Agreement, the
exempted limited partnership agreement of the Master Fund, as amended (the “Master Fund
Partnership Agreement”), and the Fund’s subscription documents (the “Subscription Documents”).
This summary is intended to be brief and does not purport to provide a comprehensive explanation of
the Partnership Agreement, the Master Fund Partnership Agreement and the Subscription Documents.
Accordingly, statements made in this Memorandum are subject to the detailed provisions of those
agreements. Prospective investors are urged to review those agreements in their entirety prior to
determining whether to invest in the Fund.

 The Fund                   Highland Argentina Regional Opportunity Fund, L.P., a Delaware limited
                            partnership (the “Fund”), primarily seeks to maximize the total return of
                            its assets through capital appreciation by investing all of its investable
                            assets in Highland Argentina Regional Opportunity Master Fund, L.P., a
                            Cayman Islands exempted limited partnership (the “Master Fund”),
                            which intends to hold primarily a portfolio of investments in securities of
                            Latin American corporate and sovereign issuers as well as non-Latin
                            American issuers that derive a portion of their revenues from business
                            activities in Latin America, in each case with a primary focus on
                            Argentina.

 General Partner            Highland Argentina Regional Opportunity Fund GP, LLC, a Delaware
                            limited liability company (the “General Partner”), acts as the general
                            partner of the Fund and the Master Fund and is registered as a foreign
                            company in the Cayman Islands. James D. Dondero (the “Principal”)
                            ultimately controls the General Partner.

 Investment Manager         Highland Capital Management Latin America, L.P., a Cayman Islands
                            exempted limited partnership controlled by the Principal (the
                            “Investment Manager”), serves as investment manager to the Feeder
                            Funds (as defined below) and the Master Fund and has responsibility for
                            the Master Fund’s investments.

 Master-Feeder              In order to facilitate investments by non-U.S. and certain U.S. tax-exempt
 Structure                  investors, the Investment Manager and its affiliates recently assumed the
                            management of an existing investment fund, Highland Argentina
                            Regional Opportunity Fund, Ltd., a Cayman Islands exempted company
                            (the “Offshore Fund” and, together with the Fund, the “Feeder Funds”).
                            The Feeder Funds will place all of their investable assets in, and conduct
                            all of their investment and trading activities in parallel through, the
                            Master Fund. Accordingly, references herein to the investment activity
                            of the Fund should be construed to refer to the Fund’s investment
                            activities through the Master Fund. The Feeder Funds share all items of
                            profit, loss, income and expense of the Master Fund on a pro rata basis
                            in accordance with their respective capital account balances in the Master
                            Fund. Except as the context otherwise requires, the term “Fund” also
                            includes the Master Fund.

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                        The Investment Manager or an affiliate may also sponsor one or more
                        additional investment funds or accounts.

 Eligible Investors     Limited partner interests (“Interests”) may be purchased only by
                        investors who qualify as both “accredited investors” and “qualified
                        purchasers,” each as defined in the Fund’s Subscription
                        Documents. Subscribers will be required to complete the Fund’s
                        Subscription Documents consisting of the subscription agreement and the
                        subscriber information form to determine their eligibility. The General
                        Partner reserves the right to reject any investor for any reason or for no
                        reason in its sole discretion.

                        An investment in the Fund is suitable only for persons that have adequate
                        means of providing for their current needs and personal contingencies and
                        have no need for liquidity in their investments. An investment in the
                        Fund should not be made by any person that (a) cannot afford a total loss
                        of its principal, or (b) has not carefully read or does not understand this
                        Memorandum, including the portions concerning the risks and the income
                        tax consequences of an investment in the Fund.

 Series of Interests    The Fund intends to issue multiple series of Interests over time. Not all
                        series of Interests will be available for subscription at the same time and
                        the terms among the series of Interests will vary. Each series will have
                        separate rights and preferences, including, without limitation, with
                        respect to fees and withdrawal rights. The Fund is currently offering
                        Series A Interests, Series B Interests and Series C Interests (each, a
                        “Series”).

                        New series of Interests may be established by the General Partner without
                        notice to or approval of the Limited Partners (defined below). References
                        herein to “Interests” or “Limited Partners” shall include all Series and
                        Limited Partners unless otherwise specified or context so requires.

 Subscriptions          Subscriptions for Interests may be accepted as of the first day of each
                        calendar month and/or such other days as the General Partner may
                        determine in its discretion from time to time, generally subject to the
                        receipt of cleared funds no later than the Business Day immediately
                        preceding the acceptance date. The initial minimum investment is
                        $500,000, and thereafter, a Limited Partner may make additional
                        investments, with the consent of the General Partner, in increments of not
                        less than $500,000; provided that, in each case, the Fund may accept
                        investments in a lesser amount, but no less than $100,000 with respect to
                        Series B Interests.

                        “Business Day” is defined as any day on which banks in the Cayman
                        Islands, Buenos Aires and New York City are authorized to open for



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                        business or such other days as the General Partner may determine
                        generally, or in any particular case.

                        A subscriber admitted to the Fund (a “Limited Partner”) receives, in
                        exchange for its initial capital contribution and any subsequent capital
                        contribution, an Interest representing a proportionate share of the net
                        assets of the Fund at that time.

                        All subscribers will be required to comply with such anti-money
                        laundering procedures as are required by the Uniting and Strengthening
                        America by Providing Appropriate Tools Required to Intercept and
                        Obstruct Terrorism (USA PATRIOT) Act of 2001 (Pub. L. No. 107-56)
                        and other applicable anti-money laundering regulations as further
                        described in this Memorandum and the Subscription Documents.

 Placement Agents       There will be no sales charge payable by or to the Fund in connection
                        with the offering of Interests. However, the General Partner and/or the
                        Investment Manager may enter into arrangements with placement agents
                        (which may include its affiliates) to solicit investors in the Fund, and such
                        arrangements may provide for the compensation of such placements
                        agents for their services at the General Partner’s and/or the Investment
                        Manager’s expense or such placement agents may be paid a portion of the
                        Management Fee. For the avoidance of doubt, the Fund will not bear any
                        placement agent fees.

                        Accordingly, investors should recognize that a placement agent’s or
                        distributor’s participation in this offering may be influenced by its interest
                        in such current or future fees and compensation. Investors should
                        consider these potential conflicts of interest in making their investment
                        decisions.

                        Each placement agent shall comply with the legal requirements of the
                        jurisdictions within which it offers and sells Interests.

 Capital Accounts       The Fund will maintain a book capital account (a “Capital Account”),
                        which may be divided into capital sub-accounts, for the General Partner
                        and each Limited Partner (each, a “Partner” and together, the “Partners”)
                        to reflect contributions, withdrawals, distributions and allocations of net
                        profit and net loss, with each sub-account being maintained as if it were
                        the Capital Account of a separate Partner in order to calculate the Series
                        B Early Withdrawal Reduction and Series C Early Withdrawal Reduction
                        (each as defined below), as applicable, and the Performance Allocation
                        (as defined below) for each capital contribution. The initial balance of
                        each Partner’s Capital Account will be equal to the amount of cash or net
                        value of any property contributed to the Fund by such Partner.

                        If a Partner invests in more than one Series, the Fund will maintain a
                        separate Capital Account on behalf of such Partner with respect to each
                        such Series and each Capital Account will be treated as if it were the

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                        Capital Account of a separate Partner for purposes of determining the
                        Management Fee (as defined below) and Performance Allocation
                        applicable to each Capital Account.

                        The Master Fund will issue to the Fund a limited partner interest in the
                        Master Fund and will maintain capital accounts and sub-accounts that
                        correspond to Limited Partners’ Capital Accounts in the Fund.

 Affiliated Investors   The Investment Manager, the General Partner and their respective
                        affiliates, principals, employees, partners, agents, the respective family
                        members of such personnel and trusts and other entities established
                        primarily for their benefit or for charitable purposes (“Affiliated
                        Investors”) may not be subject to restrictions on withdrawals or be
                        assessed the Management Fee or the Performance Allocation that are
                        applicable to other investors in the Fund, but do share pro rata in all other
                        applicable expenses of the Fund; provided that, the Special Limited
                        Partner may, unless prohibited by law, make withdrawals of all or any
                        part of its Performance Allocation and gains thereon from its capital
                        account in the Master Fund as of any Withdrawal Date (as defined below).

 Borrowing and          The Master Fund may buy securities or commodities on margin and
 Leverage               arrange with banks, brokers and others to borrow money against a pledge
                        of securities or commodities in order to employ leverage when the
                        Investment Manager deems such action appropriate. The Master Fund
                        may not borrow more than 100% of its net assets as described in
                        “Investment Program – Investment Restrictions” above.

 Management Fee         For its services to the Master Fund, the Investment Manager is entitled to
                        a management fee (the “Management Fee”) calculated monthly and
                        payable quarterly in arrears at an annual rate of (i) 1.75% of each Limited
                        Partner’s Capital Account balance that is attributable to a Series A
                        Interest, (ii) 1.25% of each Limited Partner’s Capital Account balance
                        that is attributable to a Series B Interest, and (iii) 1.00% of each Limited
                        Partner’s Capital Account balance that is attributable to a Series C
                        Interest. The Management Fee is paid at the Master Fund level. The
                        Management Fee will be prorated for any period that is less than a full
                        calendar quarter.

                        The General Partner or the Investment Manager may elect to reduce,
                        waive or calculate differently the Management Fee with respect to any
                        Limited Partner, including, without limitation, Affiliated Investors. To
                        effect such reduction, waiver or difference in calculation, the Fund may
                        issue a separate series of Interests.

                        The General Partner may delay the timing or alter the structure of fees
                        payable to the Investment Manager so long as such changes are not
                        materially adverse to the Limited Partners. The Investment Manager may
                        also assign all or any portion of fees payable to the Investment Manager,


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                        including the Management Fee and the Performance Allocation, to any
                        affiliate thereof or any third party in its sole discretion.

 Performance            Pursuant to the Master Fund Partnership Agreement, generally, as of the
 Allocation             close of each fiscal quarter and subject to the limitations described below,
                        a performance-based profits allocation (the “Performance Allocation”)
                        is debited against the Master Fund capital sub-account relating to each
                        Series attributable to a Limited Partner and simultaneously credited to the
                        Master Fund capital account of the Special Limited Partner. The
                        Performance Allocation is calculated and allocated at the Master Fund
                        level, but is effectively equal to (i) 20.0% of the Net Capital Appreciation
                        (as defined below) of each Series A Interest for such fiscal quarter, (ii)
                        17.5% of the Net Capital Appreciation of each Series B Interest for such
                        fiscal quarter, and (iii) 15.0% of the Net Capital Appreciation of each
                        Series C Interest for such fiscal quarter.

                        The “Net Capital Appreciation” applicable to an Interest shall mean the
                        amount by which the net asset value of such Interest on the last day of the
                        fiscal quarter (or on the Withdrawal Date, if applicable) exceeds the
                        higher of the following amounts: (i) the highest net asset value of such
                        Interest as of the commencement of any fiscal quarter and (ii) the issue
                        price of such Interest. All such calculations include realized and
                        unrealized gains and losses and are made before deduction of the
                        Performance Allocation, but after deduction of the accrued applicable
                        expenses of the Fund and the Master Fund for the applicable period, and
                        in each case adjusted for any subscriptions and withdrawals made during
                        the quarter.

                        The Performance Allocation is calculated and allocated at the Master
                        Fund level through the use of separate memorandum sub-accounts with
                        respect to the Fund’s capital account in the Master Fund that correspond
                        to each Series attributable to a Limited Partner. No separate Performance
                        Allocation will be charged at the Fund level.

                        The Performance Allocation generally will be allocable to the Special
                        Limited Partner after the end of each fiscal quarter and as of any
                        Withdrawal Date occurring prior to the end of any fiscal quarter. The
                        Performance Allocation payable with respect to any Interests withdrawn
                        prior to the end of a fiscal quarter will be determined solely by reference
                        to such withdrawn Interests and will be allocable to the Special Limited
                        Partner on the Withdrawal Date. The Performance Allocation with
                        respect to any Limited Partner may be fully or partially waived or rebated
                        by the General Partner in its sole discretion.

 Other Fees and         The Fund bears all of its own initial organizational expenses and its pro
 Expenses               rata share of the initial organizational expenses of the Master Fund. In
                        general, the Fund’s financial statements will be prepared in accordance
                        with generally accepted accounting principles in the United States
                        (“GAAP”). However, the General Partner intends to amortize the Fund’s

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                        organizational expenses over a period of 60 calendar months from the
                        date the Fund commenced operations because it believes such treatment
                        is more equitable than expensing the entire amount of the organizational
                        expenses in the Fund’s first year of operation, as is required by GAAP.
                        The General Partner may, however, limit the amount of start-up and
                        organizational expenses that the Fund amortizes so that the audit opinion
                        issued with respect to the Fund’s financial statements will not be
                        qualified.

                        The Fund pays all costs, fees and expenses arising in connection with the
                        Fund’s operations. The Fund also bears its pro rata share of the cost of
                        the Master Fund’s operations and investments as provided in the Master
                        Fund Partnership Agreement. Expenses payable by the Fund in
                        connection with the Master Fund’s investment program, include, but are
                        not limited to, brokerage commissions, other expenses related to buying
                        and selling securities (including trading errors that are not the result of
                        the Investment Manager’s gross negligence, willful misconduct or fraud),
                        costs of due diligence regardless of whether a particular transaction is
                        consummated, the costs of attending shareholder meetings, research
                        expenses and costs related to monitoring investments. Expenses payable
                        by the Fund in connection with its operations include, but are not limited
                        to, fees and expenses of advisers and consultants; the Management Fee;
                        fees and expenses of any custodians, escrow or transfer agents or other
                        investment-related service providers; indemnification expenses and the
                        cost of insurance against potential indemnification liabilities; interest and
                        other borrowing expenses; legal, administrative, accounting, tax, audit
                        and insurance expenses; expenses of preparing and distributing reports,
                        financial statements and notices to Limited Partners; litigation or other
                        extraordinary expenses; any withholding, transfer or other taxes payable
                        by the Fund (including any interest and penalties), and the cost of
                        periodically updating this Memorandum and the Partnership Agreement.

                        The Investment Manager may retain, in connection with its
                        responsibilities under the Investment Management Agreement, the
                        services of others to assist in the investment advice to be given to the
                        Master Fund, including, but not limited to, any affiliate of the Investment
                        Manager. Payment for any such services will be assumed by the
                        Investment Manager. However, the Investment Manager, in its sole
                        discretion, may retain the services of independent third party
                        professionals on behalf of the Master Fund, including, without limitation,
                        attorneys, accountants and consultants, to advise and assist it in
                        connection with the performance of its activities on behalf of the Master
                        Fund, and the Master Fund will bear full responsibility therefor and the
                        expense of any fees and disbursements arising therefrom.

                        The Fund and the Master Fund do not have their own separate employees
                        or office, and neither the Fund nor the Master Fund will reimburse the
                        General Partner or the Investment Manager for salaries, office rent and
                        other general overhead costs of the General Partner or the Investment
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                        Manager. A portion of the commissions generated on the Master Fund’s
                        brokerage transactions may generate soft dollar credits that the
                        Investment Manager is authorized to use to pay for research and other
                        research-related services and products used by the Investment Manager.
                        It is the current policy of the Investment Manager to limit such use of soft
                        dollars to fall within the safe harbor of Section 28(e) of the Securities
                        Exchange Act of 1934, as amended, or to be otherwise reasonably related
                        to the investment decision-making process or for Master Fund expenses.
                        See “Brokerage and Custody.”

                        If the General Partner or the Investment Manager, as appropriate, incurs
                        any expenses for both the Master Fund and one or more Other Accounts
                        (as defined herein), the General Partner or the Investment Manager, as
                        appropriate, will allocate such expenses among the Master Fund and each
                        such Other Account in proportion to the size of the investment made by
                        each in the activity or entity to which the expenses relate, or in such other
                        manner as the General Partner considers fair and reasonable.

 Allocation of Net      Net profit or net loss of the Fund is allocated among the Capital Accounts
 Profit and Loss        of the Partners as of the close of each calendar month, at any other time
                        when the Fund receives an additional capital contribution or effects a
                        withdrawal or distribution, or at such other times as the General Partner
                        may determine (each, a “Fiscal Period”).

                        The net profit or net loss of the Fund for any calendar month or other
                        valuation period will reflect, with respect to all positions:

                         (a)   the dividends and interest accrued during the period;

                         (b)   the net realized gains or losses from the sale or other disposition of
                               investments during the period allocated by the Fund;

                         (c)   the net change in the unrealized appreciation or depreciation of
                               investments during the period held at the close of the period (i.e.,
                               the difference between the fair market value of each investment at
                               the end of the period compared with either the fair market value at
                               the commencement of the period or, in the case of any investment
                               made after the commencement of the period, the cost); and

                         (d)   the expenses of the Fund incurred or accrued during the period
                               (other than the Management Fee and any other items that are
                               charged on a Partner-by-Partner basis).

                        As of the close of each Fiscal Period, the net profit or net loss (subject to
                        any applicable Performance Allocation paid at the Master Fund level) will
                        be allocated pro rata among the Capital Accounts of the Partners in
                        proportion to their percentage interests in the Fund as of the
                        commencement of the period. Each Partner’s percentage interest in the
                        Fund as of the commencement of any period is based on the value of the

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                        Partner’s Capital Account at such time in relation to the sum of the Capital
                        Accounts of all of the Partners at such time.

                        The Management Fee will be calculated separately with respect to each
                        Limited Partner and will be debited from the capital sub-account at the
                        Master Fund level corresponding to each Limited Partner’s Capital
                        Account.

 Distributions          Subject to the monthly withdrawal privilege described below, all earnings
                        of the Fund are ordinarily retained for investment. Limited Partners
                        should not expect the Fund to make any dividend distributions.

 Withdrawals; Lock-     Subject to certain withdrawal restrictions described below, a Limited
 Up                     Partner is generally permitted to withdraw all or a portion of its Capital
                        Account as of the last Business Day of each calendar month (and/or such
                        other Business Days as the General Partner may determine in its sole
                        discretion) (each, a “Withdrawal Date”); provided that, any partial
                        withdrawals may only be made in minimum amounts of $100,000.
                        Notwithstanding the foregoing, any Limited Partner that withdraws all or
                        a portion of its Capital Account with respect to a Series B Interest prior
                        to the one-year anniversary of the date such capital was contributed to the
                        Fund is subject to an early withdrawal reduction of up to 3.0% of the net
                        asset value of the portion of the Series B Interest being withdrawn, as
                        determined at the close of business of such Withdrawal Date (such fee,
                        the “Series B Early Withdrawal Reduction”). In addition, any Limited
                        Partner that withdraws all or a portion of its Capital Account with respect
                        to a Series C Interest prior to the:

                             (i)     one-year anniversary of the date such capital was contributed
                                     to the Fund is subject to an early withdrawal reduction of
                                     5.0% of the net asset value of the portion of the Series C
                                     Interest being withdrawn, as determined at the close of
                                     business of such Withdrawal Date, and

                             (ii)    two-year anniversary, but on or after the one-year
                                     anniversary, of the date such capital was contributed to the
                                     Fund is subject to an early withdrawal reduction of 3.0% of
                                     the net asset value of the portion of the Series C Interest
                                     being withdrawn, as determined at the close of business of
                                     such Withdrawal Date (such fees with respect to Series C
                                     Interests, the “Series C Early Withdrawal Reduction” and
                                     together with the Series B Early Withdrawal Reduction, the
                                     “Early Withdrawal Reduction”).

                        The Early Withdrawal Reduction is retained by the Fund (and generally
                        invested in the Master Fund) and deducted from the withdrawal proceeds
                        of the withdrawing Limited Partner. The Early Withdrawal Reduction
                        will not apply in the event of a Compulsory Withdrawal (defined below).


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                        Written notice of any withdrawal request must be received in writing by
                        the Administrator at least 30 calendar days prior to the requested
                        Withdrawal Date. The General Partner may waive such notice
                        requirements, or permit withdrawals under such other circumstances, if,
                        in its sole discretion, it determines that, under the circumstances, to waive
                        such requirement will not have an adverse effect on the Master Fund’s
                        portfolio.

                        If the Master Fund violates the investment restrictions and fails to remedy
                        the violation on or before the Remedy Date (as described in “Investment
                        Program – Investment Restrictions”), any Limited Partner may withdraw
                        all or part of its Capital Account on the next Withdrawal Date and will
                        not be subject to the Early Withdrawal Reduction; provided that, such
                        Limited Partner has requested such withdrawal in writing within 30
                        Business Days after the Remedy Date.

 Settlement of          A withdrawal request is normally settled in cash or, subject to the sole
 Withdrawal Proceeds    discretion of the General Partner, wholly or partially with securities or
                        other assets of the Fund (received from the Master Fund), whether or not
                        readily marketable, generally within 10 Business Days after the
                        Withdrawal Date; provided that the General Partner may delay such
                        payment if such delay is reasonably necessary to prevent such withdrawal
                        from having a material adverse impact on the Fund. In the event that the
                        General Partner satisfies a withdrawal request with assets in kind, such
                        securities may be transferred to a liquidating account and sold by the Fund
                        for the benefit of the withdrawing Limited Partner, in which case,
                        payment of the withdrawal proceeds attributable to such investments will
                        be delayed until such investments are sold. The amount payable in
                        respect of such investments will depend on the performance of such
                        investments through to the date on which they are sold. The cost of
                        operating the liquidating account and selling the investment(s) will be
                        deducted from the proceeds of sale paid to the withdrawing Limited
                        Partner.

                        Notwithstanding anything to the contrary herein, the General Partner may
                        establish reserves and holdbacks for estimated accrued expenses,
                        liabilities and contingencies, including, without limitation, general
                        reserves for unspecified contingencies (even if such reserves or holdbacks
                        are not otherwise required by GAAP) or liabilities stemming from tax
                        obligations (as such may be determined in the sole discretion of the
                        General Partner and whether or not incurred directly or indirectly), which
                        could reduce the amount of a distribution upon a Limited Partner’s
                        withdrawal. The General Partner may withhold for the benefit of the
                        Fund from any distribution to a withdrawing Limited Partner an amount
                        representing the actual or estimated costs incurred by the Fund with
                        respect to such withdrawal, as well as any Early Withdrawal Reduction
                        described above.



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 Withdrawal             The General Partner or the Administrator may refuse to accept a
 Conditions             withdrawal request if it is not accompanied by such additional
                        information as the General Partner or the Administrator may reasonably
                        require. This power may, without limitation to the generality of the
                        foregoing, be exercised where proper information has not been provided
                        for money laundering verification purposes. In addition, where
                        withdrawal proceeds are requested to be remitted to an account which is
                        not in the name of the Limited Partner, the General Partner and the
                        Administrator reserve the right to request such information as may be
                        reasonably necessary in order to verify the identity of the Limited Partner
                        and the owner of the account to which the withdrawal proceeds will be
                        paid. The withdrawal proceeds will not be paid to a third-party account
                        if the Limited Partner and/or owner of the account fails to provide such
                        information.

 Compulsory             The General Partner reserves the right, in its sole discretion, to compel
 Withdrawals            the withdrawal of a Limited Partner’s Interest at any time and for any
                        reason on not less than seven days’ prior written notice (or immediately
                        if the General Partner, in its sole discretion, determines that such Limited
                        Partner’s continued investment in the Fund may cause the Fund, the
                        Master Fund, the General Partner or the Investment Manager to violate
                        any applicable law) (a “Compulsory Withdrawal”). The General Partner
                        will compel the withdrawal of a Limited Partner’s Interest in its entirety
                        if a Limited Partner requests a withdrawal that would cause its total
                        investment with respect to a particular Series to fall below a minimum of
                        $100,000 (a “Minimum Required Withdrawal”). In either case,
                        settlements are made in the same manner as voluntary withdrawals,
                        except that the Early Withdrawal Reduction will not apply in the event of
                        a Compulsory Withdrawal, but will apply to any Minimum Required
                        Withdrawal.

 Suspension of          The General Partner may, at any time, suspend (a) the calculation of the
 Withdrawals and        net asset value of the Interests (and the applicable valuation date); (b) the
 Withdrawal Payments    issuance of Interests, (c) the withdrawal by Limited Partners of Interests
                        (and the applicable Withdrawal Date); and/or (d) the payment of
                        withdrawal proceeds (even if the calculation dates and Withdrawals Dates
                        are not postponed) (each, a “Suspension”) during any period which: (i)
                        any stock exchange on which a substantial part of investments owned by
                        the Fund (through the Master Fund) are traded is closed, other than for
                        ordinary holidays, or dealings thereon are restricted or suspended; (ii)
                        there exists any state of affairs as a result of which (A) disposal of a
                        substantial part of the investments owned by the Fund (through the
                        Master Fund) would not be reasonably practicable and might seriously
                        prejudice the Limited Partners, or (B) it is not reasonably practicable for
                        the Fund fairly to determine the value of its net assets; (iii) none of the
                        withdrawal requests which have been made may lawfully be satisfied by
                        the Fund; (iv) there is a breakdown in the means of communication
                        normally employed in determining the prices of a substantial part of the
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                        investments of the Fund (through the Master Fund); (v) in the sole
                        discretion of the General Partner, it is necessary to preserve the Fund’s
                        assets; or (vi) automatically upon any suspension of withdrawals by the
                        Master Fund for similar reasons as described in “The Master Fund,”
                        below.

                        The Administrator will promptly notify each Limited Partner who has
                        submitted a withdrawal request and to whom payment in full of the
                        amount being withdrawn has not yet been remitted of any Suspension of
                        withdrawals or Suspension of the payment of withdrawal proceeds. Any
                        remaining amount of a withdrawal request that is not satisfied due to such
                        a Suspension remains at risk as per other amounts invested in the Fund
                        and subject to the applicable Management Fee until such amount is finally
                        and fully withdrawn. Such Limited Partners will not be given any priority
                        with respect to the withdrawal of Interests after the cause for such
                        Suspension or limitation ceases to exist. The General Partner may in its
                        sole discretion, however, permit such Limited Partners to withdraw their
                        withdrawal requests to the extent that the relevant Withdrawal Date has
                        not yet passed. For the avoidance of doubt, where a suspension of the
                        payment of withdrawal proceeds is declared between the relevant
                        Withdrawal Date and the remittance of such payment proceeds, affected
                        Limited Partners shall not have any right to withdraw their withdrawal
                        requests. Upon the reasonable determination by the General Partner that
                        conditions leading to a Suspension no longer apply, the Administrator
                        will notify the Limited Partners of the end of the Suspension. At such
                        time, any such suspended payments shall generally be paid in accordance
                        with the normal process for making such payments, withdrawal rights
                        shall be promptly reinstated and any pending withdrawal requests which
                        were not withdrawn (or new, timely withdrawal requests) will be effected
                        as of the first Withdrawal Date following the removal of the Suspension,
                        subject to the foregoing restrictions on withdrawals.

 Transfers              Interests are not transferable except with the prior written consent of the
                        General Partner, which consent may be withheld in its sole
                        discretion. The General Partner will require any transferee or assignee of
                        any Limited Partner to execute the Subscription Documents.

 Duty of Care;          Pursuant to the Partnership Agreement, the Master Fund Partnership
 Indemnification        Agreement and the Investment Management Agreement, the General
                        Partner, the Investment Manager, each member, shareholder, partner,
                        manager and director of, and any person who controls, the General
                        Partner or the Investment Manager, each of the respective affiliates of the
                        foregoing and each of their respective executors, heirs, assigns,
                        successors and other legal representatives (each such person, an
                        “Indemnified Party”) shall not be liable to the Master Fund, the Fund or
                        the Limited Partners for any loss or damage arising by reason of being or
                        having been an Indemnified Party or from any acts or omissions in the
                        performance of its services as an Indemnified Party in the absence of
                        gross negligence, willful misconduct or fraud, or as otherwise required by
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                        law. In no event shall any Indemnified Party be liable for any
                        consequential damages, special or indirect damages or lost profits.

                        The Partnership Agreement, the Master Fund Partnership Agreement and
                        the Investment Management Agreement contain provisions for the
                        indemnification of the Indemnified Parties by the Master Fund and the
                        Fund (but not by the Limited Partners individually) against any liabilities
                        arising by reason of being or having been an Indemnified Party or in
                        connection with the Partnership Agreement, the Master Fund Partnership
                        Agreement, the Investment Management Agreement, or the Master
                        Fund’s or the Fund’s business or affairs to the fullest extent permitted by
                        law in the absence of gross negligence, willful misconduct or fraud. The
                        General Partner is not personally liable to any Limited Partner for the
                        repayment of any withdrawal proceeds or for contributions by such
                        Limited Partner to the capital of the Fund or by reason of any change in
                        the U.S. federal or state income tax laws applicable to the Fund or its
                        investors.

 Non-Exclusivity;       None of the Investment Manager, its affiliates and their respective
 Allocation of          officers, directors, shareholders, members, partners, personnel and
 Opportunities          employees is precluded from engaging in or owning an interest in other
                        business ventures or investment activities of any kind, whether or not
                        such ventures are competitive with the Fund or the Master Fund.

                        The Master Fund Partnership Agreement requires the General Partner,
                        and the Investment Manager as delegatee of the General Partner, to act in
                        a manner that it considers fair and equitable over time in allocating
                        investment opportunities to the Master Fund. Although the General
                        Partner and the Investment Manager consider certain factors set forth in
                        the Investment Manager’s policies to determine how to allocate trades,
                        the Investment Manager’s policies and the Master Fund Partnership
                        Agreement do not otherwise impose any specific obligations or
                        requirements concerning the allocation of time, effort or investment
                        opportunities to the Master Fund or any restrictions on the nature or
                        timing of investments for the account of the Master Fund and for the
                        General Partner’s or the Investment Manager’s own accounts or for other
                        accounts that the General Partner, the Investment Manager or their
                        affiliates may manage (each, an “Other Account”). The General Partner
                        and the Investment Manager are not obligated to devote any specific
                        amount of time to the affairs of the Master Fund and are not required to
                        accord exclusivity or priority to the Master Fund in the event of limited
                        investment opportunities arising from the application of speculative
                        position limits or other factors.

                        The Principal, as well as the employees and officers of the Investment
                        Manager and of organizations affiliated with the Investment Manager,
                        may buy and sell securities for their own account or the account of others,
                        but may not buy securities from or sell securities to the Master Fund (such
                        prohibition does not extend to the purchase or sale of interests in the

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                        Fund), unless such purchase or sale is in compliance with the applicable
                        provisions of the Investment Advisers Act of 1940, as amended.

                        The Investment Manager undertakes to resolve conflicts in a fair and
                        equitable basis, which in some instances may mean a resolution that
                        would not maximize the benefit to the Fund’s investors.

                        It is the policy of the Investment Manager to allocate investment
                        opportunities fairly and equitably over time. This means that such
                        opportunities will be allocated among those accounts for which
                        participation in the respective opportunity is considered appropriate. The
                        Investment Manager has the authority to allocate trades to multiple
                        accounts on an average price basis or on another basis it deems fair and
                        equitable. Similarly, if an order on behalf of any accounts cannot be fully
                        allocated under prevailing market conditions, the Investment Manager
                        may allocate the trades among different accounts on a basis it considers
                        fair and equitable over time. One or more of the foregoing considerations
                        may (and are often expected to) result in allocations among the Master
                        Fund and one or more accounts on other than a pari passu basis. See
                        “Risk Factors and Potential Conflicts of Interest” below.

 Affiliated Service     NexBank, SSB (“NexBank SSB”) is an affiliate of the Investment
 Providers              Manager and may, from time to time, provide banking and/or agency
                        services to the Investment Manager, clients of the Investment Manager or
                        collective investment vehicles for which the Investment Manager
                        provides investment advisory services (including the Fund and other
                        vehicles in which the Fund, through the Master Fund, may invest) or third
                        parties engaged in transactions involving the Investment Manager.
                        NexBank SSB may also act as an agent in connection with certain
                        securities transactions involving the Investment Manager’s client
                        accounts (including the Master Fund and other vehicles in which the
                        Master Fund may invest). Principals of the Investment Manager own a
                        majority of the equity interests in NexBank SSB and employees or
                        affiliates of the Investment Manager own or may own a substantial equity
                        interest in NexBank SSB. Certain Master Fund investment transactions
                        may be executed through NexBank Securities, Inc., an affiliate of the
                        Investment Manager and a registered broker-dealer.

                        Additionally, the Investment Manager or affiliates of the Investment
                        Manager, including, without limitation, Nexbank SSB, NexBank
                        Securities, Inc.,NexBank Capital Advisors and Governance Re, Ltd., may
                        provide financial advisory, management, insurance, title insurance or
                        other services for a fee to portfolio companies in which the Master Fund
                        may have an interest. Highland Latin America, an affiliate of the
                        Investment Manager, has been engaged to provide certain administrative
                        and consulting services to the Investment Manager. See “Risk Factors
                        and Potential Conflicts of Interest” below.



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 Valuations             In general, the Fund’s financial statements will be prepared in accordance
                        with GAAP. The General Partner has delegated the valuation of the
                        Fund’s assets, based on the Master Fund’s assets, to the Administrator
                        who values the Fund’s assets as of the close of each Fiscal Period in
                        accordance with the Investment Manager’s valuation policies and
                        procedures.

 Reserves               Appropriate reserves may be accrued and charged against net assets and
                        proportionately against the Capital Accounts of the Partners for
                        contingent liabilities, such reserves to be in the amounts (subject to
                        increase or reduction) that the General Partner in its sole discretion deems
                        necessary or appropriate. At the sole discretion of the General Partner,
                        the amount of any such reserve (or any increase or decrease therein) may
                        be charged or credited, as appropriate, to the Capital Accounts of those
                        investors who are Limited Partners at the time when such reserve is
                        created, increased or decreased, as the case may be, or alternatively may
                        be charged or credited to those investors who were Limited Partners at
                        the time of the act or omission giving rise to the contingent liability for
                        which the reserve was established.

                        If the General Partner determines that it is equitable to treat an amount to
                        be paid or received as being applicable to one or more prior periods, then
                        such amount may be proportionately charged or credited, as appropriate,
                        to those persons who were Limited Partners during any such prior
                        period(s).

 Fiscal Year            The Fund has a fiscal year ending on December 31 of each calendar year.

 Reports to Limited     The Fund furnishes to its Partners as soon as practicable after the end of
 Partners               each taxable year (or as otherwise required by law) such tax information
                        as is necessary for each Partner to complete U.S. federal and state income
                        tax or information returns, along with any other tax information required
                        by law. Within 120 days of the end of each year (or as soon as practicable
                        thereafter), the Fund distributes to each Partner audited financial
                        statements of the Fund, including a statement of profit or loss for such
                        fiscal year and an unaudited status of each such Partner’s holdings in the
                        Fund at such time. Partners will also receive, upon request to the
                        Administrator, copies of semi-annual financial statements of the Fund.

 Tax Status             The General Partner believes that the Fund should be treated as a
                        partnership for U.S. federal income tax purposes and should not itself be
                        subject to U.S. federal income taxation. Each Limited Partner otherwise
                        subject to U.S. federal income tax is required to include in such Limited
                        Partner’s taxable income such Limited Partner’s share of the Fund’s
                        income and gains, when realized by the Fund (regardless of cash
                        distributions from the Fund to such investor), and may claim, to the extent
                        allowable, such Limited Partner’s share of the Fund’s losses and
                        deductions. Due to the nature of the Fund’s activities, the Fund’s income
                        or loss for U.S. federal income tax purposes for a particular taxable period

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                        may differ from its financial or economic results. The deductibility of a
                        Limited Partner’s share of any Fund losses or deductions may be limited.
                        See “Tax Considerations.”

 ERISA                  The Investment Manager intends to limit investment in the Master Fund
                        by “benefit plan investors” so that the assets of the Master Fund will not
                        be considered “plan assets” for purposes of the Employee Retirement
                        Income Security Act of 1974, as amended (“ERISA”). It is anticipated
                        that the assets of the Fund may constitute “plan assets” for purposes of
                        ERISA. See “ERISA and Other Regulatory Considerations.”

 Amendment of the       The Partnership Agreement may be amended by the General Partner with
 Limited Partnership    the consent of a majority in interest of the Limited Partners, which
 Agreement              consent may be obtained through negative consent. However, the Fund
                        may not: (a) increase the obligation of a Limited Partner to make any
                        contribution to the capital of the Fund; (b) reduce the Capital Account of
                        any Limited Partner other than as contemplated by the Partnership
                        Agreement; or (c) reduce any Limited Partner’s right to share in net
                        profits or assets of the Fund, in each case, without the consent of each
                        Limited Partner adversely affected thereby. The above consent may be
                        obtained by negative consent.

                        Notwithstanding the foregoing, the General Partner may amend the
                        Partnership Agreement at any time without the consent of any Limited
                        Partner: (a) to comply with applicable laws and regulations; (b) to make
                        changes that do not adversely affect the rights or obligations of any
                        Limited Partner; (c) to cure any ambiguity or correct or supplement any
                        conflicting provisions of the Partnership Agreement; or (d) with respect
                        to any other amendment, if any Limited Partner whose contractual rights
                        as a Limited Partner would be materially and adversely changed by such
                        amendment has an opportunity to withdraw from the Fund (without being
                        subject to the Early Withdrawal Reduction) as of a date that is not less
                        than 30 days after the General Partner has furnished written notice of such
                        amendment to each Limited Partner and that is prior to the effective date
                        of the amendment.

 Variation of Terms     The General Partner or the Investment Manager, in its sole discretion,
                        may enter into a side letter or similar agreement to or with one or more
                        Limited Partners that has the effect of establishing rights under, or
                        altering or supplementing the terms of, the Partnership Agreement or of
                        any Subscription Documents (including those relating to access to
                        information, the Management Fee, the Performance Allocation,
                        minimum investment amount, voting rights and withdrawal rights) with
                        respect to such Limited Partner(s).




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                                        THE MASTER FUND

The Master Fund’s Partnership Interests

       The Master Fund’s partnership interests are currently held exclusively by the Fund and the
Offshore Fund as limited partners, the Investment Manager as the special limited partner of the Master
Fund, and the General Partner as the general partner of the Master Fund, pursuant to the Master Fund
Partnership Agreement. The General Partner is registered as a foreign company in the Cayman Islands
pursuant to Part IX of the Companies Law (2016 Revision).

The Master Fund Partnership Agreement

        The Master Fund is constituted as a Cayman Islands exempted limited partnership under the
Exempted Limited Partnership Law, 2014 (the “Exempted Limited Partnership Law”). A Cayman
Islands exempted limited partnership is constituted by the signing of the relevant partnership agreement
and its registration with the Registrar of Exempted Limited Partnerships in the Cayman Islands.

        A Cayman Islands exempted limited partnership is not a separate legal person distinct from its
partners. Under the Exempted Limited Partnership Law, any property which is conveyed into or vested
in the name of the exempted limited partnership shall be held or deemed to be held by the general partner,
and if more than one, then by the general partners jointly upon trust, as an asset of the partnership in
accordance with the terms of the partnership agreement. Any debt or obligation incurred by a general
partner in the conduct of the business of an exempted limited partnership shall be a debt or obligation of
the exempted limited partnership. Registration under the Exempted Limited Partnership Law entails that
the partnership becomes subject to, and the limited partners therein are afforded the limited liability and
other benefits of, the Exempted Limited Partnership Law (subject to compliance therewith).

        Liability of Partners and Indemnification of the General Partner and Others. The business of a
Cayman Islands exempted limited partnership will be conducted by its general partner(s) who will be
liable for all debts and obligations of the exempted limited partnership to the extent that the partnership
has insufficient assets. As a general matter, a limited partner of a Cayman Islands partnership will not
be liable for the debts and obligations of the exempted limited partnership, other than:

       (i)     as expressed in the partnership agreement,

       (ii)    if such limited partner takes part in the conduct of the business of an exempted limited
               partnership in its dealings with persons who are not partners, then that limited partner
               shall be liable, in the event of the insolvency of the exempted limited partnership, for all
               debts and obligations of that exempted limited partnership incurred during the period that
               he so participates in the conduct of the business as though he were, for such period, a
               general partner, provided always that he shall be rendered liable pursuant to the foregoing
               provision only to a person who transacts business with the exempted limited partnership
               during such period with actual knowledge of such participation and who then reasonably
               believed such limited partner to be a general partner, or

       (iii)   if such limited partner is obligated pursuant to Section 34(1) of the Exempted Limited
               Partnership Law to return a distribution made to it (with interest at a rate of 10% per
               annum, unless otherwise specified in the Master Fund Partnership Agreement) when the
               exempted limited partnership is insolvent or within six months prior to such insolvency.

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         The Master Fund Partnership Agreement provides that none of the Indemnified Parties will be
liable to the Master Fund or any limited partner of the Master Fund (including the Feeder Funds) for any
loss or damage arising by reason of being or having been an Indemnified Party or from any acts or
omissions in the performance of its services as an Indemnified Party in the absence of gross negligence
(as such term is defined and interpreted in accordance with the laws of the State of Delaware), willful
misconduct or fraud, or as otherwise required by law. An Indemnified Party may consult with counsel
and accountants in respect of the Master Fund’s affairs and will be fully protected and justified in any
action or inaction which is taken in accordance with the advice or opinion of such counsel or accountants,
provided that they were selected in accordance with the standard of care set forth above. In addition, in
no event shall any Indemnified Party be liable for any consequential damages, special or indirect
damages or lost profits.

         The Master Fund Partnership Agreement provides that the Master Fund shall, to the fullest extent
permitted by law, indemnify and hold harmless each Indemnified Party from and against any and all
liabilities suffered or sustained by an Indemnified Party by reason of the fact that it, he or she is or was
an Indemnified Party or in connection with the Master Fund Partnership Agreement or the Master Fund’s
business or affairs, including, without limitation, any judgment, settlement, reasonable attorneys’ fees
and other costs or expenses incurred in connection with the defense of any actual or threatened action,
suit or proceeding, provided that such liability did not result from the gross negligence (as such term is
defined and interpreted in accordance with the laws of the State of Delaware), willful misconduct or
fraud of such Indemnified Party. The Master Fund Partnership Agreement also provides that the Master
Fund will, in the sole discretion of the General Partner, advance to any Indemnified Party reasonable
attorneys’ fees and other costs and expenses incurred in connection with the defense of any action, suit
or proceeding which arises out of such conduct, subject to receiving a written undertaking from the
Indemnified Party to repay such amounts if and to the extent that it is finally determined that the
Indemnified Party was not entitled to indemnification in respect thereof.

         Notwithstanding any of the foregoing, the provisions of the Master Fund Partnership Agreement
do not provide for the exculpation or indemnification of any Indemnified Party for any liability
(including liability under U.S. federal securities laws which, under certain circumstances, impose
liability even on persons that act in good faith), to the extent (but only to the extent) that such liability
may not be waived, modified or limited under applicable law, but shall be construed so as to effectuate
the above provisions to the fullest extent permitted by law.

        Pursuant to the foregoing indemnification and exculpation provisions applicable to each
Indemnified Party, the Master Fund (and not the applicable Indemnified Party) will be responsible for
any losses resulting from trading errors and similar human errors, absent gross negligence (as such term
is defined and interpreted in accordance with the laws of the State of Delaware), willful misconduct or
fraud. Given the volume of transactions executed on behalf of the Master Fund, trading errors (and
similar errors) will occur and the Master Fund will be responsible for any resulting losses, even if such
losses result from the negligence (but not gross negligence) of any Indemnified Party.

        The Indemnified Parties will also be indemnified by each limited partner of the Master Fund for
any amounts of tax withheld or required to be withheld with respect to that limited partner, and also for
any amounts of interest, additions to tax, penalties and other costs borne by any such persons in
connection therewith to the extent that the balance of the limited partner’s capital account is insufficient
to fully compensate the General Partner and the Investment Manager for such costs.



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        Contributions and Withdrawals by the Fund. Limited partners of the Master Fund may make
contributions at such times and in such amounts as the General Partner determines. As a limited partner
of the Master Fund, the Fund may, subject to the consent of the General Partner, voluntarily request a
withdrawal of all or part of its capital in the Master Fund at such times and in such amounts as it may
determine. The General Partner may, at any time, suspend (a) the calculation of the net asset value of
the Master Fund (and the applicable valuation date); (b) the issuance of limited partner interests in the
Master Fund; (c) the withdrawal by limited partners of their interests (and the applicable withdrawal
date); and/or (d) the payment of withdrawal proceeds (even if the calculation dates and withdrawal dates
are not postponed) during any period which: (i) any stock exchange on which a substantial part of
investments owned by the Master Fund are traded is closed, other than for ordinary holidays, or dealings
thereon are restricted or suspended; (ii) there exists any state of affairs as a result of which (A) disposal
of a substantial part of the investments owned by the Master Fund would not be reasonably practicable
and might seriously prejudice the limited partners of the Master Fund, or (B) it is not reasonably
practicable for the Master Fund fairly to determine the value of its net assets; (iii) none of the withdrawal
requests which have been made may lawfully be satisfied by the Master Fund; (iv) there is a breakdown
in the means of communication normally employed in determining the prices of a substantial part of the
investments of the Master Fund; or (v) in the sole discretion of the General Partner, it is necessary to
preserve the Master Fund’s assets.

       Amendment of the Master Fund Partnership Agreement. The Master Fund Partnership
Agreement may be amended by an instrument in writing signed by each of the limited partners of the
Master Fund and the General Partner; provided that, the General Partner may amend the Master Fund
Partnership Agreement without the consent of the limited partners so long as the amendment does not
adversely affect any rights of the limited partners.

         Dissolution of the Master Fund. The Master Fund shall be wound up and dissolved upon the
first to occur of any of the following liquidating events, and Sections 36(1)(b), 36(9) and 36(12) of the
Exempted Limited Partnership Law shall not apply to the Master Fund:

       (i)     the written election of the General Partner to terminate the Master Fund; or

       (ii)    if the General Partner is the sole or last remaining general partner, the date (the
               “Automatic Dissolution Date”) falling 90 days after the date of the service of a notice by
               the General Partner (or its legal representative) on all the limited partners informing the
               limited partners of:

                       (1)     the commencement of liquidation or bankruptcy proceedings in relation to
                               the General Partner; or

                       (2)     the withdrawal, removal or making of a winding up or dissolution order
                               in relation to the General Partner;

               provided that, if a majority in number of the limited partners elects one or more new
               general partners before the Automatic Dissolution Date, the business of the Master Fund
               shall be resumed and continued. If a new general partner is not elected by the Automatic
               Dissolution Date, the Master Fund shall be wound up and dissolved in accordance with
               terms of the Master Fund Partnership Agreement and the Exempted Limited Partnership
               Law.


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        Power of Attorney. Each limited partner of the Master Fund shall make, constitute and appoint
the General Partner (and each of its successors and permitted assigns) for the time being, with full power
of substitution, as its true and lawful agent and attorney-in-fact of, and in the name, place and stead of,
such Partner with the power from time to time to make, execute, sign, acknowledge, swear to (and deliver
as may be appropriate) on its behalf and file and record in the appropriate public offices and publish (as
may in the reasonable judgment of the General Partner be required by law), including the admission of
any new partners of the Master Fund and any amendments to the Master Fund Partnership Agreement.
Each limited partner of the Master Fund shall authorize the General Partner to take any further action
that the General Partner considers necessary or advisable in connection with the foregoing. Such power
of attorney granted is intended to secure a proprietary interest of the General Partner and the performance
by each limited partner of the Master Fund of its obligations under the Master Fund Partnership
Agreement and shall be irrevocable and shall survive and not be affected by the subsequent death, lack
of capacity, insolvency, bankruptcy or dissolution of any limited partner of the Master Fund.

Valuation of Assets

        The General Partner has delegated the valuation of the Master Fund’s assets to the Administrator,
which will generally compute the value of the securities and other assets of the Master Fund as of the
close of business on the last day of each fiscal period and on any other date selected by the General
Partner in its sole discretion. In addition, the Administrator must compute the value of the securities that
are being distributed in-kind as of their date of distribution in accordance with the Master Fund
Partnership Agreement. In determining the value of the assets of the Master Fund, no value is placed on
the goodwill or name of the Master Fund, or the office records, files, statistical data or any similar
intangible assets of the Master Fund not normally reflected in the Master Fund’s accounting records, but
there must be taken into consideration any related items of income earned but not received, expenses
incurred but not yet paid, liabilities fixed or contingent, prepaid expenses to the extent not otherwise
reflected in the books of account, and the value of options or commitments to purchase or sell securities
pursuant to agreements entered into on or prior to such valuation date.

       A copy of the Investment Manager’s valuation policy is available upon request from the General
Partner.

        The value of each security and other asset of the Master Fund and the net worth of the Master
Fund as a whole determined pursuant Master Fund Partnership Agreement are conclusive and binding
on all of the partners of the Master Fund and all persons claiming through or under them.




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                RISK FACTORS AND POTENTIAL CONFLICTS OF INTEREST

        Investment in the Fund is speculative and involves substantial risks, including, but not limited to,
those summarized below. The Fund is not suitable for all investors and is intended for sophisticated
investors who can accept the risks associated with their investments. Prospective investors should
carefully consider the risk factors described in this section, among others, in determining whether an
investment in the Fund is suitable for them. There can be no assurance that the Master Fund’s program
will be successful or that investments purchased by the Master Fund will increase in value. An investor
must be prepared to bear capital losses that might result from an investment in the Fund, including a
complete loss of the investor’s invested capital. All investors in the Fund should consult their own legal,
tax and financial advisors prior to investing in the Fund.

       For purposes of this section, references to the “Fund” should be understood to mean each of the
Fund and the Master Fund, as applicable, and each of the risk factors set forth herein, while not
exhaustive, shall apply equally to each of the Fund and the Master Fund, as applicable.

General Risks

       Lack of Operating History. The Fund, the Master Fund and the General Partner do not have
operating histories upon which investors can evaluate the anticipated performance of the Fund. Although
the principals of the Investment Manager have extensive prior experience in Latin America, past
performance of the Investment Manager should not be construed as an indication of the future results of
an investment in the Fund. The Master Fund’s investment program should be evaluated on the basis that
there can be no assurance that the Investment Manager’s assessment of the short-term or long-term
prospects of its investment strategy will prove accurate, or that the Master Fund will achieve its
investment objectives.

        Risks Associated With Investments in Securities. Any investment in securities carries market
risks. An investment in the Fund is highly speculative and involves a high degree of risk due to the
nature of the Master Fund’s investments and the strategies to be employed. An investment in the Fund
should not in itself be considered a balanced investment program, but rather is intended to provide
diversification in a more complete investment portfolio.

        Investment Judgment; Market Risk. The profitability of a significant portion of the Master Fund’s
investment program depends to a great extent upon correctly assessing the future course of the price
movements of securities and other investments. There can be no assurance that the Investment Manager
will be able to predict accurately these price movements. With respect to the investment strategy utilized
by the Master Fund, there is always some, and occasionally a significant, degree of market risk.

        Limited Liquidity; Additional Information. An investment in the Fund provides limited liquidity
since the Interests are not freely transferable and may only be withdrawn at such times as set forth in this
Memorandum. The General Partner may suspend withdrawals, in whole or in part, when such a
suspension is warranted by extraordinary circumstances described in “Summary of Terms – Suspension
of Withdrawals and Withdrawal Payments” above. The General Partner may also delay the payment of
withdrawal proceeds as more fully described elsewhere in this Memorandum. Investments that remain
in the Fund are subject to all risks related to an investment in the Fund as described in this Memorandum.

       Also, certain Limited Partners (including, without limitation, the Affiliated Investors), may invest
on terms that provide access to information that is not generally available to other Limited Partners and,

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as a result, may be able to act on such additional information (e.g., withdraw their Interests) that other
Limited Partners do not receive. An investment in the Fund is suitable only for sophisticated investors
who have no need for current liquidity.

        Effect of Substantial Withdrawals. Substantial withdrawals from the Fund could require the
Master Fund to liquidate its positions more rapidly than otherwise desired in order to raise the cash
necessary to fund the withdrawals at the Fund level. Illiquidity in certain securities could make it
difficult for the Master Fund to liquidate positions on favorable terms, which could result in losses or a
decrease in the net asset value of the Master Fund, and thus, the Fund. The Master Fund is permitted to
borrow cash necessary to make payments in connection with withdrawals from the Fund when the
Investment Manager determines that it would not be advisable to liquidate portfolio assets for that
purpose. The Master Fund is also authorized to pledge portfolio assets as collateral security for the
repayment of such loans. In these circumstances, the continuing Limited Partners will bear the risk of
any subsequent decline in the value of the Fund’s assets.

        Effect of Withdrawal by Limited Partner on its Investment. Where a withdrawal request is
accepted, an Interest will be treated as having been withdrawn effective as of the relevant Withdrawal
Date, irrespective of whether or not such withdrawing Limited Partner has been removed from the Fund’s
books and records or the withdrawal proceeds have been determined or remitted. Accordingly, on and
from the relevant Withdrawal Date, Limited Partners in their capacity as such will not be entitled to or
be capable of exercising any rights arising under the Partnership Agreement or Subscription Documents
with respect to the Interest being withdrawn, save the right to receive the withdrawal proceeds. Such
withdrawing Limited Partners will be creditors of the Fund with respect to the withdrawal proceeds. In
an insolvent liquidation, withdrawing Limited Partners will rank behind ordinary creditors but ahead of
existing Limited Partners.

      Master-Feeder Structure. The Fund will invest all of its investable assets in the Master Fund.
The “master-feeder” fund structure presents certain risks to the Limited Partners. Smaller feeder funds
may be materially affected by the actions of larger feeder funds.

        While the Investment Manager, as investment manager of the Master Fund, generally will not
consider tax issues applicable to any particular investors, it generally will take into account the tax
positions of the Fund and the Offshore Fund that invest in the Master Fund. However, the use of a
“master-feeder” structure may create a conflict of interest in that different tax considerations for the Fund
and the Offshore Fund may cause or result in the Master Fund structuring or disposing of an investment
in a manner or at a time that is more advantageous (or disadvantageous) for tax purposes to one Feeder
Fund or its investors.

        Management Fee and Performance Allocations. As described above, the Master Fund
Partnership Agreement provides for the payment of the Management Fee to the Investment Manager and
the Performance Allocation to the Investment Manager, in its capacity as the Special Limited Partner.
The Performance Allocation may create an incentive for the Investment Manager, as the Special Limited
Partner, to make investments that are riskier or more speculative than would be the case in the absence
of such Performance Allocation.

        Side Letters. The Investment Manager or the Fund may from time to time enter into letter
agreements or other similar agreements (collectively, “Side Letters”) with one or more Limited Partners
which provide such Limited Partner(s) with additional and/or different rights (including, without
limitation, with respect to access to information, the Management Fee, the Performance Allocation,

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minimum investment amounts, voting rights and withdrawal rights) than such Limited Partner(s) have
pursuant to this Memorandum. As a result of such Side Letters, certain Limited Partners may receive
additional benefits (including, but not limited to, reduced fee obligations, the ability to withdraw Interests
on shorter notice and/or expanded informational rights) which other Limited Partners will not receive.
For example, a Side Letter may permit a Limited Partner to withdraw its Interest on less notice and/or at
different times than other Limited Partners. As a result, should the Fund experience a decline in
performance over a period of time, a Limited Partner who is party to a Side Letter that permits less notice
and/or different withdrawal times may be able to withdraw its Interest prior to other Limited Partners.
In general, the Fund and/or the Investment Manager will not be required to notify any or all of the other
Limited Partners of any such Side Letters or any of the rights and/or terms or provisions thereof, nor will
the Fund and/or the Investment Manager be required to offer such additional and/or different rights
and/or terms to any or all of the other Limited Partners. The Fund and/or the Investment Manager may
cause the Fund to enter into such Side Letters with any party as the Fund and/or the Investment Manager
may determine in its sole discretion at any time. The other Limited Partners will have no recourse against
the Fund and/or the Investment Manager in the event certain Limited Partners receive additional and/or
different rights and/or terms as a result of such Side Letters. A Limited Partner will be required to enter
into such undertakings with respect to maintaining the confidentiality of any such additional information
as the Fund and/or the Investment Manager may in their sole discretion determine.

        Valuation Considerations. Valuation of the Master Fund’s securities and other investments may
involve uncertainties and judgmental determinations, and if such valuations should prove to be incorrect,
the net asset value of the Master Fund and the Fund could be adversely affected. Independent pricing
information may not at times be available or otherwise utilized regarding certain of the Master Fund’s
securities and other investments. Valuation determinations will be made in good faith in accordance
with the policies of the Investment Manager in effect from time to time, a copy of which will be made
available upon request.

        The Master Fund may have some of its assets in investments, which by their very nature may be
extremely difficult to accurately value. To the extent that the value assigned by the Administrator to any
such investment differs from the actual value, the net asset value of the Master Fund and the Fund may
be understated or overstated, as the case may be. In light of the foregoing, there is a risk that a Limited
Partner that withdraws all or part of its Interests while the Master Fund holds such investments will be
paid an amount less than it would otherwise be paid if the actual value of such investments is higher than
the value designated by the Administrator. Similarly, there is a risk that such Limited Partner might, in
effect, be overpaid if the actual value of such investments is lower than the value designated by the
Administrator. In addition, there is risk that an investment in the Fund by a new Limited Partner (or an
additional investment by an existing Limited Partner) could dilute the value of such investments for the
other Limited Partners if the designated value of such investments is higher than the value designated by
the Administrator. Further, there is risk that a new Limited Partner (or an existing Limited Partner that
makes an additional investment) could pay more than it might otherwise if the actual value of such
investments is lower than the value designated by the Administrator. The Administrator does not intend
to adjust the net asset value of the Master Fund and the Fund retroactively.

        None of the Fund, the Master Fund, the General Partner, the Investment Manager or the
Administrator shall have any liability in the event that any price or valuation, used in good faith in
connection with the above procedures, proves to be an incorrect or an inaccurate estimate or
determination of the price or value of any part of the property of the Master Fund, subject to the standard
of care set forth in “Summary of Terms – Duty of Care; Indemnification” above.


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        No Participation by Investors. All decisions with respect to the management of the day-to-day
affairs of the Fund are made exclusively by the General Partner and the Investment Manager. Limited
Partners have no right or power to take part in the management of the Fund. The Investment Manager
makes all of the trading and investment decisions of the Master Fund. In the event of the withdrawal of
the Investment Manager, generally the Fund will be liquidated.

        Investment Strategies. The Investment Manager will seek to engage in the investment activities
that have been discussed in “Investment Program” herein. There can be no assurance that the Investment
Manager will be successful in applying any such strategy and that losses will be avoided.

        Competition. The markets in which the Master Fund invests are competitive and some of the
opportunities that the Investment Manager may explore may be pursued by better known investors or
investment funds. There can be no assurance that the Investment Manager will be able to identify or
successfully pursue such opportunities in this environment. The Investment Manager competes with
many firms that may have greater financial resources, more extensive development, better marketing
and service capabilities, more favorable financing arrangements, larger research staffs and more
securities traders than are available to the Investment Manager.

         In-Kind Distributions. A withdrawing Limited Partner may, in the discretion of the General
Partner and/or Investment Manager, receive securities owned by the Fund (through the Master Fund) in
lieu of, or in combination with, cash. The value of securities distributed may increase or decrease before
the securities can be sold (either by the Limited Partner or by the Fund if the General Partner establishes
a liquidating account on behalf of the Limited Partner to sell such assets), and the Limited Partner will
incur transaction costs in connection with the sale of such securities. Additionally, securities distributed
with respect to a withdrawal by a Limited Partner may not be readily marketable. The risk of loss and
delay in liquidating these securities will be borne by the Limited Partner, with the result that such Limited
Partner may receive less cash than it would have received on the date of withdrawal.

        No Current Income. Since the Fund does not generally intend to pay distributions, an investment
in the Fund is not suitable for investors seeking current income. Moreover, an investor is required to
report and pay taxes on his allocable share of income from the Fund, even though no cash is distributed
by the Fund.

        Cybersecurity. Information and technology systems may be vulnerable to damage or interruption
from computer viruses, network failures, computer and telecommunication failures, infiltration by
unauthorized persons and security breaches, usage errors by their respective professionals, power
outages and catastrophic events such as fires, tornadoes, floods, hurricanes and earthquakes. Although
the Investment Manager has implemented various measures to manage risks relating to these types of
events, if these systems are compromised, become inoperable for extended periods of time or cease to
function properly, the Investment Manager, the Master Fund and/or the Fund may have to make a
significant investment to fix or replace them, which expense may be borne in whole or in part by the
Fund. The failure of these systems and/or of disaster recovery plans for any reason could cause
significant interruptions in the Investment Manager’s, the Master Fund’s and/or the Fund’s operations
and result in a failure to maintain the security, confidentiality or privacy of sensitive data, including
personal information relating to investors. Such interruptions could harm the Investment Manager’s, the
Master Fund’s and/or the Fund’s reputation, subject any such entity and their respective affiliates to legal
claims and otherwise affect their business and financial performance. The foregoing risks and
consequences are also extant at any issuer in which the Master Fund invests and could manifest as
adverse performance of such investment.

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Investment Strategy and Investment Risks

        Changes in Strategy. The Investment Manager has the power to expand, revise or alter its trading
strategies on behalf of the Master Fund without prior approval by, or notice to, the Fund or the Limited
Partners. Any such change could result in exposure of the Fund’s assets (through the Master Fund) to
additional risks, which may be substantial. The Investment Manager may also invest in additional
instruments than those specifically identified in the “Investment Program” section.

        Latin America Investments. The Master Fund invests in securities of companies based in Latin
America or issued by Latin American governments, or in the securities of companies which are not
incorporated in Latin America, but which derive some of their revenues from business activities
conducted in Latin America. Such investment involves certain considerations not usually associated
with investing in securities of developed countries or of companies located in developed countries,
including political and economic consideration, such as greater risks of expatriation, nationalization and
general, political, and economic instability, the small size of the securities markets in such countries and
the low volume of trading, resulting in potential lack of liquidity and substantially greater price volatility,
fluctuations in the rate of exchange between currencies, and costs associated with currency conversions,
certain government policies that may restrict the Master Fund's investment opportunities and problems
that may arise in connection with the clearance and settlements of trades. In addition, accounting and
financial reporting standards that prevail in such countries are not equivalent to standards in more
developed countries, consequently, less information is available to investors in companies located in
more developed countries. There is also less regulation, generally, of the securities markets in Latin
American countries than there is in more developed countries.

         Risks Related to Investing in Argentina. Argentina has experienced high interest rates, economic
volatility, inflation, currency devaluations and high unemployment rates. The economy is heavily
dependent on exports and commodities. Argentina’s default on its debt in 2001, and its past
nationalization of private pensions and national oil company YPF, continues to impact the confidence of
investors in Argentina, which might adversely impact returns in the Master Fund, and thus, the Fund.

        Argentina’s Economy. Argentina’s economy could grow at a lower rate than in past years, or
could contract. Factors that could negatively affect Argentina’s rate of economic growth, its public
finances and Argentina’s ability to service its debt include: the competitiveness of Argentine exports,
which are influenced by the peso’s value relative to the value of the currencies of Argentina’s trading
partners and trade competitors; the level of inflation in Argentina; international commodities prices,
foreign currency exchange rates and the levels of consumer consumption and foreign and domestic
investment; negative economic developments in Argentina’s major trading partners, or “contagion”
effects more generally; and Argentina’s ability to meet its energy requirements.

        Uncertainty of Economic Reforms. A runoff election on November 22, 2015 resulted in Mr.
Mauricio Macri being elected President of Argentina. The Macri administration assumed office on
December 10, 2015. Since assuming office on December 10, 2015, the Macri administration has
announced several significant economic and policy reforms, including methodological reforms with
respect to the calculation of certain macroeconomic statistics, the loosening of foreign exchange controls,
reduction of tariffs, other easing of international trade restrictions, infrastructure reforms and reopened
negotiation with holders of debt in default since 2001. The impact that these measures and any future
measures taken by the new administration will have on the Argentine economy as a whole and the
financial sector in particular cannot be predicted. The Investment Manager believes that the effect of the
planned liberalization of the economy and renewed access to capital markets will be positive for the

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Master Fund’s intended investments by stimulating economic activity, but it is not possible to predict
such effect with certainty and such liberalization could also be disruptive to the economy and fail to
benefit or harm companies in Argentina. The Investment Manager cannot predict how the Macri
administration will address certain other political and economic issues that were central during the 2015
presidential election campaign, such as the financing of public expenditures, public service subsidies
and tax reforms, the resolution of holdout debt or the impact that any measures related to these issues
that are implemented by the Macri administration will have on the Argentine economy as a whole.

        Currency Controls. In the past, Argentina imposed exchange controls and transfer restrictions
substantially limiting the ability of companies to retain foreign currency or make payments abroad.
Although the Macri government lifted exchange controls and liberalized capital controls, there can be
no assurances regarding future modifications to exchange and capital controls. Exchange and capital
controls could adversely affect the financial condition or results of operations of issuers in whose
securities the Master Fund intends to invest, as well as their ability to meet foreign currency obligations
and to execute financing plans.

        Challenges to Argentina’s Debt Payments. Argentina’s payments in connection with a debt
offering may be attached, enjoined or otherwise challenged. In recent years, hold-out creditors have
used litigation against sovereign debtors, most prominently Peru and Nicaragua, to attach or interrupt
payments made by these sovereign debtors to, among others, bondholders who have agreed to a debt
restructuring and accepted new securities in an exchange offer. Argentina has been subjected to suits to
collect on amounts due on defaulted bonds, including actions in the United States, the United Kingdom,
Italy and Germany. Some of these actions have resulted in judgments against Argentina. There can be
no assurance that a creditor will not be able to interfere, through an attachment of assets, injunction,
temporary restraining order or otherwise, with payments made in connection with a debt offering.

       Pro Rata Payment Litigation. Argentina’s defaults with respect to the payment of its foreign debt
could prevent the government and the private sector from accessing the international capital markets,
which could adversely affect the financial condition of sovereign and corporate issuers in which the
Master Fund invests. In September 2014, the Argentine Congress passed a law to restructure foreign-law
bonds held by exchange bondholders to allow the payment in Argentina and to appoint a new paying
agent. On September 29, 2014, the U.S. District Court for the Southern District of New York held
Argentina in contempt of court as a result of this law. The U.S. District Court authorized limited
exceptions to the injunction allowing certain custodians of Argentine law-governed bonds to process
payments in August 2014, September 2014 and December 2014.

        On May 11, 2015, the plaintiffs that obtained pari passu injunctions asked the U.S. district court
to amend their complaints to include claims alleging that Argentina’s issuance and servicing of its 2024
dollar-denominated bonds, and its external indebtedness in general, would violate the pari passu clause.
On June 5, 2015, the Second Circuit granted partial summary judgment to a group of 526 “me-too”
plaintiffs in 36 separate lawsuits, finding that, consistent with the previous ruling of such court, Argentina
violated a pari passu clause in bonds issued to the “me-too” bondholders. The decision obligates
Argentina to pay the plaintiffs $5.4 billion before it can make payments on restructured debt.

       In 2016, the Argentine government working under a court appointed mediator, entered into
settlement agreements with a large portion of hold-out debt holders contingent on Argentina repealing
laws that prevented the country from complying with rulings by U.S. courts. In this context Judge
Thomas Griesa ruled he would lift the injunctions preventing Argentina from serving post-2005
exchange debt if these laws are repealed. Argentina’s lower chamber approved the repeal of these laws

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and Argentina’s senate voted to approve the same in March 2016. In April 2016, the Second Circuit
Court of Appeals in the United States upheld Judge Griesa’s ruling, finding that he did not abuse his
discretion in lifting the pari passu injunctions.

        The repercussions of restructuring Argentina’s bond debts are ongoing. The 2016 U.S. court
rulings only settled claims of certain bondholders. Argentina reached a $475 million settlement with
other bondholders in November 2016. Financial indices have only just started moving Argentina back
to “emerging market” status, where it had been before 2009.

        Argentina’s default with respect to the payment of its foreign debt, its delay in completing the
debt restructuring process with creditors that did not participate in the related exchange offers, the
complaints filed against Argentina discussed above, the U.S. Supreme Court’s decision not to hear
Argentina’s appeal, the declaration of contempt, and the long-term difficulty of reestablishing itself in
the global marketplace could prevent Argentina’s government from obtaining international private
financing or receiving direct foreign investment, as well as private sector companies in Argentina from
accessing the international capital markets. Without access to international private financing, Argentina
may not be able to finance its obligations, and financing from multilateral financial institutions may be
limited or not available. Without access to direct foreign investment, the government may not have
sufficient financial resources to foster economic growth and the performance of the Master Fund’s
investments in Argentina could be materially and adversely affected.

         Derivative Instruments. The Investment Manager may use various derivative instruments,
including futures, options, forward contracts, swaps and other derivatives which may be volatile and
speculative. Certain positions may be subject to wide and sudden fluctuations in market value, with a
resulting fluctuation in the amount of profits and losses. Use of derivative instruments presents various
risks, including the following:

      Tracking – When used for hedging purposes, an imperfect or variable degree of correlation
       between price movements of the derivative instrument and the underlying investment sought to
       be hedged may prevent the Investment Manager from achieving the intended hedging effect or
       expose the portfolio to the risk of loss.

      Liquidity – Derivative instruments, especially when traded in large amounts, may not be liquid
       in all circumstances, so that in volatile markets the Investment Manager may not be able to close
       out a position without incurring a loss. In addition, daily limits on price fluctuations and
       speculative positions limits on exchanges on which the Investment Manager may conduct its
       transactions in certain derivative instruments may prevent prompt liquidation of positions,
       subjecting the portfolio to the potential of greater losses.

      Leverage – Trading in derivative instruments can result in large amounts of leverage. Thus, the
       leverage offered by trading in derivative instruments may magnify the gains and losses
       experienced by the Master Fund and could cause the Master Fund’s net asset value to be subject
       to wider fluctuations than would be the case if the Investment Manager did not use the leverage
       feature in derivative instruments.

      Over-the-Counter-Trading – Derivative instruments that may be purchased or sold for the
       portfolio may include instruments not traded on an exchange. Over-the-counter options, unlike
       exchanged-traded options, are two-party contracts with price and other terms negotiated by the
       buyer and seller. The risk of non-performance by the obligor on such an instrument may be

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       greater and the ease with which the Investment Manager can dispose of or enter into closing
       transactions with respect to such an instrument may be less than in the case of an exchange-traded
       instrument. In addition, significant disparities may exist between “bid” and “asked” prices for
       derivative instruments that are not traded on an exchange. Derivative instruments not traded on
       exchanges are also not subject to the same type of government regulation as exchange traded
       instruments, and many of the protections afforded to participants in a regulated environment may
       not be available in connection with such transactions.

        Short Sales. Short sales by the Master Fund that are not made “against the box” create
opportunities to increase the Master Fund’s return but, at the same time, involve special risk
considerations and may be considered a speculative technique. Since the Master Fund, in effect, profits
from a decline in the price of the securities sold short without the need to invest the full purchase price
of the securities on the date of the short sale, the value of the Master Fund will tend to increase more
when the securities it has sold short decrease in value, and to decrease more when the securities it has
sold short increase in value, than otherwise would be the case if it had not engaged in such short sales.
Short sales theoretically involve unlimited loss potential, as the market price of securities sold short may
increase continuously, although the Master Fund may mitigate such losses by replacing the securities
sold short before the market price has increased significantly. Under adverse market conditions the
Master Fund might have difficulty purchasing securities to meet its short sale delivery obligations, and
might have to sell portfolio securities to raise the capital necessary to meet its short sale obligations at a
time when fundamental investment considerations would not favor such sales. Short sales may be used
with the intent of hedging against the risk of declines in the market value of the Master Fund’s long
portfolio, but there can be no assurance that such hedging operations will be successful.

        Risks of Execution of Investment Strategies. The Master Fund will invest in a number of
securities and obligations that entail substantial inherent risks. Although the Master Fund will attempt
to manage those risks through careful research, ongoing monitoring of investments and appropriate
hedging techniques, there can be no assurance that the securities and other instruments purchased by the
Master Fund will in fact increase in value or that the Master Fund will not incur significant losses.

        Market Risks and Liquidity. The profitability of a significant portion of the Master Fund’s
investment program depends to a great extent upon correctly assessing the future course of the price
movements of securities and other investments. There can be no assurance that the Master Fund will be
able to predict accurately these price movements. Although the Master Fund may attempt to mitigate
market risk through the use of long and short positions or other methods, there is always some, and
occasionally a significant, degree of market risk.

        Furthermore, the Master Fund may be adversely affected by a decrease in market liquidity for
the instruments in which they invest, which may impair the Master Fund’s ability to adjust their position.
The size of the Master Fund’s positions may magnify the effect of a decrease in market liquidity for such
instruments. Changes in overall market leverage, deleveraging as a consequence of a decision by a
broker to reduce the level of leverage available, or the liquidation by other market participants of the
same or similar positions, may also adversely affect the Master Fund’s portfolio. Some of the underlying
investments of the Master Fund may not be actively traded and there may be uncertainties involved in
the valuation of such investments. Potential investors should be warned that under such circumstances,
the net asset value of the Master Fund may be adversely affected.

        Hedging. Although the Master Fund will attempt to hedge its exposure to specific arbitrage
positions, it will not always be possible fully to hedge risk from such positions or any other position. In

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addition, the Master Fund may take positions based on the expected future direction of the markets
without fully hedging the market risks.

        Currency Risks. A portion of the Master Fund’s assets may be invested in securities denominated
in various currencies and in other financial instruments, the price of which is determined with reference
to such currencies. The account of the Master Fund will, however, be valued in U.S. Dollars. To the
extent unhedged, the value of the net assets of the Master Fund will fluctuate with U.S. Dollars exchange
rates as well as with price changes of their investments in the various local markets and currencies.
Forward currency contracts and options may be utilized by the Master Fund to hedge against currency
fluctuations, but there can be no assurance that such hedging transactions will be effective.

        Counterparty and Settlement Risk. Due to the nature of some of the investments which the
Master Fund may make, the Master Fund may rely on the ability of the counterparty to a transaction to
perform its obligations. In the event that any such party fails to complete its obligations for any reason,
the Master Fund may suffer losses. The Master Fund will therefore be exposed to a credit risk on the
counterparties with which it trades. The Master Fund will also bear the risk of settlement default by
clearing houses and exchanges. Any default by a counterparty or on settlement could have a material
adverse effect on the Master Fund.

        Borrowing. The Master Fund is permitted to finance its operations with secured and unsecured
borrowing up to 100% of its net assets, to the extent allowable under applicable credit regulations. Like
other forms of leverage, the use of borrowing can enhance the risk of capital loss in the event of adverse
changes in the level of market prices of the assets being financed with the borrowings.

         Concentration of Investments. Although the Investment Manager will follow a general policy of
seeking to spread the Master Fund’s capital among a number of investments, the Investment Manager
may depart from such policy from time to time and may hold a few, relatively large securities positions
in relation to the Master Fund’s capital. The result of such concentration of investments is that a loss in
any such position could materially reduce the Master Fund’s capital.

        Difficult Market for Investment Opportunities. The activity of identifying, completing and
realizing on attractive investments involves a high degree of uncertainty. There can be no assurance that
the Master Fund will be able to locate and complete investments which satisfy the Master Fund’s rate of
return objective or realize upon their values or that the Master Fund will be able to invest fully its
subscribed capital in a manner consistent with its investment strategy.

Certain Regulatory Risks

        Absence of Regulatory Oversight. While the Fund may be considered similar to an investment
company, it is not required and does not intend to register as such under the Investment Company Act of
1940, as amended (the “Investment Company Act”), and, accordingly, the provisions of the Investment
Company Act (which may provide certain regulatory safeguards to investors) are not applicable to
investors in the Fund. Neither the Fund nor the Master Fund will maintain custody of its securities or
place its securities in the custody of a bank or a member of a national securities exchange in the manner
required of registered investment companies under rules promulgated by the Securities and Exchange
Commission (the “SEC”). A registered investment company which places its securities in the custody
of a member of a national securities exchange is required to have a written custodian agreement, which
provides that securities held in custody will be at all times individually segregated from the securities of
any other person and marked to clearly identify such securities as the property of such investment

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company, and which contains other provisions complying with SEC regulations. The Master Fund
generally will maintain such accounts at brokerage firms that do not separately segregate such assets as
would be required in the case of registered investment companies. Under the provisions of the Securities
Investor Protection Act of 1970, as amended, the bankruptcy of any such brokerage firm might have a
greater adverse effect on the Master Fund and the Fund than would be the case if the accounts were
maintained to meet the requirements applicable to registered investment companies.

        Forward-Looking Statements. Certain statements contained in this Memorandum, including
without limitation, statements containing the words “believes,” “anticipates,” “intends,” “expects,” and
words of similar import constitute “forward-looking statements.” Such forward-looking statements
involve known and unknown risks, uncertainties and other factors that may cause the actual results,
performance or achievements of the Fund to be materially different from any future results, performance
or achievements expressed or implied by such forward-looking statements. Certain of these factors are
discussed in more detail elsewhere in this Memorandum, including without limitation under “Summary
of Terms,” “Certain Risk Factors,” and “Investment Program.” Given these uncertainties, prospective
investors are cautioned not to place undue reliance on such forward-looking statements. The Investment
Manager and the Fund disclaim any obligation to update any such factors or to announce the result of
any revisions to any of the forward-looking statements contained herein to reflect future events or
developments.

        Impact of U.S. Presidential Election. On January 20, 2017, Donald Trump became President of
the United States of America. President Trump and other members of the Republican Party have
proposed to reverse some of the recent regulation of the financial industry and to change tax policy. If
some of these proposals were enacted, banks could dramatically increase their lending practices and
accept additional types of collateral, borrowers could reduce their demand for debt financing, certain
investment advisers could de-register with SEC and portfolio companies that are net importers or hold
significant assets outside of the United States could be subject to increased tax liability. The effect of
any such regulatory or tax changes on the Master Fund and the markets in which it trades and invests is
uncertain.

       Evolving Regulatory Risks of Private Investment Funds. The regulatory environment for private
investment funds is evolving, and changes in the regulation of private investment funds and their advisers
may adversely affect the value of investments held by the Master Fund.

        The Dodd-Frank Wall Street Reform and Consumer Protection Act (“Dodd-Frank”), which was
enacted in July 2010, regulates markets, market participants and financial instruments that were
historically unregulated and has substantially altered the regulation of many other markets, market
participants and financial instruments. Certain provisions of Dodd-Frank subject registered investment
advisers to requirements to keep records and to report information to the SEC, which could in turn be
supplied to the Board of Governors of the Federal Reserve, a new Financial Services Oversight Council
or other U.S. governmental agencies or Congress. Under Dodd-Frank, the information includes, among
other things, the amount of assets under management, use of leverage (including off-balance sheet
leverage), counterparty credit risk exposures, trading and investment positions, and trading practices.
All such records are subject to examination by the SEC at any time. It is anticipated that there may be
significant changes to the financial regulatory environment as a result of the outcome of the recent U.S.
elections. There is currently pending legislation in U.S. Congress which if enacted would result in the
repeal of portions of Dodd-Frank which in turn would have a significant impact on the regulatory
environment for private investment funds. In addition, the impact of the legislation on current and future
rulemaking by various regulators under Dodd-Frank is difficult to predict. It is possible that rules that

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have been proposed by various regulators, which had been anticipated to take effect previously, may no
longer be implemented in their proposed form or at all. Further, there may also be substantial changes
in the enforcement and interpretation of existing statutes and rules by governmental regulatory
authorities or self-regulatory organizations that supervise the financial markets. The effect of future
regulatory change on the Fund and the Master Fund and their operations is uncertain. Prospective
investors should seek, and must rely on, the advice of their own advisers with respect to the possible
impact on its investment of any future proposed legislation or administrative or judicial action.

Tax Related Risks

        Uncertainty and Complexity of Tax Treatment. The tax aspects of an investment in a partnership
are complicated and complex and, in many cases, uncertain. Statutory provisions and administrative
regulations have been interpreted inconsistently by the courts. Additionally, some statutory provisions
remain to be interpreted by administrative regulations. Investors will thus be subject to the risk caused
by the uncertainty of the tax consequences with respect to an investment in the Fund. Each prospective
investor should have the tax aspects of an investment in the Fund reviewed by professional advisors
familiar with such investor’s personal tax situation and with the tax laws and regulations applicable to
the investor and private investment vehicles. Prospective investors are strongly urged to review the
discussion below under “Tax Considerations” and “ERISA and Other Regulatory Considerations” for a
more complete discussion of certain of the tax risks inherent in the acquisition of Interests and to consult
their own independent tax advisors.

         Risk of Adverse Determination. There can be no assurance that the conclusions set forth in this
Memorandum will not be challenged successfully by the U.S. Internal Revenue Service (the “Service”)
or other applicable taxing authority, or significantly modified by new legislation, changes in the Service’s
positions or court decisions. The Fund has not applied for, nor does it expect to apply for, any advance
rulings from the Service with respect to any of the federal income tax consequences described in this
Memorandum. No representation or warranty of any kind is made by the General Partner with respect
to the tax consequences relating to an investment in the Fund. The Fund may take positions with respect
to certain tax issues which depend on legal conclusions not yet resolved by the courts. Should any such
positions be successfully challenged by the Service or other applicable taxing authority, there could be
a materially adverse effect on the Fund, and a Limited Partner might be found to have a different tax
liability for that year than that reported on its income tax returns.

        Risk of Tax Audit. An audit of the Fund by the Service or another taxing authority could result in
adjustments to the tax consequences initially reported by the Fund and may result in an audit of the
returns of some or all of the Limited Partners, which examination could affect items not related to a
Limited Partner’s investment in the Fund. If audit adjustments result in an increase in a Limited Partner’s
income tax liability for any year, such Limited Partner may also be liable for interest and penalties with
respect to the amount of underpayment. The legal and accounting costs incurred in connection with any
audit of the Fund’s tax returns will be borne by the Fund. The cost of any audit of a Limited Partner’s
tax return will be borne solely by that Limited Partner.

        Entity-Level Audits. Pursuant to the Bipartisan Budget Act of 2015, for taxable years beginning
after December 31, 2017, the Service generally will be permitted to determine adjustments to items of
income, gain, deduction, loss or credit of the Fund, and assess and collect taxes attributable thereto
(including any applicable penalties and interest), at the Fund level. If this new regime applies to the
Fund (which depends, among other things, on whether the Fund has more than 100 partners or has any
partner that is itself classified as a partnership for U.S. federal income tax purposes), then any person

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who is a partner of the Fund in the relevant year of the adjustment may indirectly bear the economic
burden of any such taxes assessed or collected (initially determined at the highest rate of tax applicable
to an individual or corporation in effect for the reviewed year), regardless of whether such person was a
Limited Partner during any reviewed year. It is expected that guidance will be issued that permits the
Fund to reduce the underpayment of taxes owed by the Fund, including to the extent that the Fund
demonstrates such taxes are allocable to a Limited Partner that would not owe any tax by reason of its
status as a “tax-exempt entity” or the character of income is subject to a lower rate of tax. The Fund may
under certain circumstances have the ability to avoid such entity-level tax assessment or collection by
electing to issue a statement to each partner of any reviewed year with its share of such adjustment,
resulting in such partner being required to take into account any such adjustment for the taxable year
which includes the date such statement was furnished. In such case, the partners of the reviewed year
would also incur a two-percentage point increase on the interest rate that would otherwise have been
imposed on any underpayment of taxes. There can be no assurances, however, that the Fund will avoid,
or be able to avoid, any entity-level determination, assessment or collection. Limited Partners should
note that there is substantial uncertainty regarding the implementation of these rules and the impact on
any current or future allocations made or cash available for distributions or withdrawals by the Fund.
The Fund may also be exposed to the risk that these rules apply to any lower-tier entity in which the
Fund directly or indirectly invests and that is treated as a partnership for U.S. federal income tax
purposes. If this new legislation applies to the Fund, the Fund will designate a tax representative, which
is expected to be the General Partner, the Investment Manager, or an affiliate thereof, who shall have the
sole authority to act on behalf of the Fund with respect to dealings with the Service under these new
procedures. Prospective Limited Partners should consult their own tax advisors regarding this new
legislation.

        Tax Considerations Taken into Account. The General Partner may take tax considerations into
account in determining when the Fund’s investments should be sold or otherwise disposed of, and may
assume certain market risk and incur certain expenses in this regard to achieve favorable tax treatment
of a transaction.

        Foreign Taxation. With respect to certain countries, there is a possibility of expropriation,
confiscatory taxation, and imposition of withholding or other taxes on dividends, interest, capital gains
or other income, limitations on the removal of funds or other assets of the Fund, political or social
instability or diplomatic developments that could affect investments in those countries. An issuer of
securities may be domiciled in a country other than the country in whose currency the instrument is
denominated. The values and relative yields of investments in the securities markets of different
countries, and their associated risks, are expected to change independently of each other.

         Tax Liabilities Without Distributions. If the Fund has taxable income in a fiscal year, each
Limited Partner will be taxed on that income in accordance with its allocable share of the Fund’s profits,
whether or not such profits have been distributed. Because the General Partner anticipates that there will
be no cash distributions to the Limited Partners, an investor may incur tax liability with respect to
activities of the Fund without receiving sufficient distributions from the Fund to defray such tax
liabilities. In order to satisfy its tax liability in such a case, a Limited Partner would need sufficient funds
from sources other than the Fund. Furthermore, the Fund may make investments with respect to which
the Fund recognizes income for U.S. federal income tax purposes prior to receiving the cash or realizing
the income as an economic matter. In addition, the Fund may recognize income for U.S. federal income
tax purposes that does not reflect income as an economic matter. Such recognition of income prior to
receipt of an economic benefit, if any, may result in increased tax liability for the Partners.


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        Delayed Schedules K-1. The Fund will provide Schedules K-1 as soon as practicable after receipt
of all of the necessary information. However, the Fund may be unable to provide final Schedules K-1
to Limited Partners for any given tax year until significantly after April 15 of the following year. The
General Partner will endeavor to provide Limited Partners with estimates of the taxable income or loss
allocated to their investment in the Fund on or before such date, but final Schedules K-1 may not be
available until completion of the Fund’s annual audit. Limited Partners should be prepared to obtain
extensions of the filing date for their income tax returns at the federal, state and local levels.

        Unrelated Business Taxable Income. The Fund may make investments or engage in activities
that will give rise to unrelated business taxable income (“UBTI”) under Sections 512 and 514 of the U.S.
Internal Revenue Code of 1986, as amended (the “Code”). Thus, an investment in the Fund may be less
desirable for certain tax-exempt investors. For example, the Fund may incur leverage giving rise to
UBTI or may participate in investments that give rise to UBTI through entities that are treated as
partnerships for U.S. federal income tax purposes. Because of the “flow-through” principles applicable
to partnerships, if UBTI is earned by the Fund, a tax-exempt investor in the Fund will realize UBTI.
Because of the General Partner’s objective of maximizing the pre-tax returns of all the Limited Partners,
the General Partner may be required to make certain decisions to maximize pre-tax returns that result in
tax-exempt investors recognizing more UBTI than might otherwise be the case. In some cases, the
General Partner may forgo actions with regard to the acquisition, financing, management and disposition
of assets that would reduce UBTI because such actions would reduce the overall pre-tax returns to all
the Limited Partners.

         Tax Changes. Investors will be subject to the risk that changes to the tax law may adversely
affect the federal income tax consequences of their investment in the Fund. Changes in existing tax laws
or regulations and their interpretation may be enacted after the date of this Memorandum, possibly with
retroactive effect, and could alter the income tax consequences of an investment in the Fund. Certain
provisions of the Code may be further amended or interpreted in a manner adverse to the Fund, in which
event any benefits derived from an investment in the Fund may be adversely affected. In addition,
significant legislative and budgetary proposals affecting tax laws have been made by the legislative and
executive branches of the U.S. federal government. The likelihood of enactment of any such proposals,
or any similar proposals, into law is uncertain. The enactment of any such proposals, including
subsequent proposals, into law could have material adverse effects on the Fund and/or the Limited
Partners. Enactment of such legislation, or similar legislation, could require significant restructuring of
the Fund in order to mitigate such effects.

        The foregoing list of risk factors does not purport to be a complete enumeration or explanation
of the risks involved in an investment in the Fund. Prospective investors should read this entire
Memorandum and consult with their own advisers before deciding to invest in the Fund. In addition, as
the investment program of the Fund develops and changes over time, an investment in the Fund may be
subject to additional and different risk factors. No assurance can be made that profits will be achieved
or that substantial losses will not be incurred.

      In view of the foregoing considerations, an investment in Interests is suitable only for investors
who are capable of bearing the relevant investment risks.

Potential Conflicts of Interest

       Given the nature and size of Highland Capital Management, L.P.’s (“Highland Capital”)
operations, various potential conflicts of interest arise in connection with its advisory services and the

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advisory services provided by its affiliates. Information about Highland Capital and its potential
conflicts of interest is provided in Highland Capital’s Form ADV Part 2 Brochure that can be found by
going to https://adviserinfo.sec.gov/IAPD/Default.aspx, searching by firm name and selecting the Part 2
Brochure to be viewed. The Fund is subject to these conflicts of interest, as well as the other items
discussed below.

       None of the Investment Manager, its affiliates and their respective officers, directors,
shareholders, members, partners, personnel and employees (collectively, the “Highland Group”) is
precluded from engaging in or owning an interest in other business ventures or investment activities of
any kind, whether or not such ventures are competitive with the Fund or the Master Fund. The Investment
Manager is permitted to manage other client accounts, and does manage other client accounts, some of
which may have objectives similar or identical to those of the Master Fund, including other collective
investment vehicles that may be managed by the Highland Group and in which the Investment Manager
or any of its affiliates may have an equity interest.

        The Fund will be subject to a number of actual and potential conflicts of interest involving the
Highland Group including, among other things, the fact that: (i) the Highland Group conducts substantial
investment activities for accounts, funds, collateralized debt obligations that invest in leveraged loans
(collectively, “CDOs”) and other vehicles managed by members of the Highland Group (“Highland
Accounts”) in which the Fund has no interest; (ii) the Highland Group advises Highland Accounts, which
utilize the same, similar or different methodologies as the Fund and may have financial incentives
(including, without limitation, as it relates to the composition of investors in such funds and accounts or
to the Highland Group’s compensation arrangements) to favor certain Highland Accounts over the Fund
and the Master Fund; (iii) the Highland Group may use the strategy described herein in certain Highland
Accounts; (iv) the Investment Manager may give advice and recommend securities to, or buy or sell
securities for, the Master Fund, which advice or securities may differ from advice given to, or securities
recommended or bought or sold for, Highland Accounts; (v) the Investment Manager has the discretion,
to the extent permitted under applicable law, to use its affiliates as service providers to the Fund and the
Master Fund and the Master Fund’s portfolio investments; (vi) certain investors affiliated with the
Highland Group may choose to personally invest only in certain funds advised by the Highland Group
and the amounts invested by them in such funds is expected to vary significantly; (vii) the Highland
Group and Highland Accounts may actively engage in transactions in the same securities sought by the
Master Fund and, therefore, may compete with the Master Fund for investment opportunities or may
hold positions opposite to positions maintained on behalf of the Master Fund; and (viii) the Investment
Manager will devote to the Master Fund and the Fund only as much time as the Investment Manager
deems necessary and appropriate to manage the Master Fund’s and the Fund’s business.

       The Investment Manager undertakes to resolve conflicts in a fair and equitable basis, which in
some instances may mean a resolution that would not maximize the benefit to the Fund’s investors.

Allocation of Trading Opportunities

        It is the policy of the Investment Manager to allocate investment opportunities fairly and
equitably over time. This means that such opportunities will be allocated among those accounts for which
participation in the respective opportunity is considered appropriate, taking into account, among other
considerations: (i) fiduciary duties owed to the accounts; (ii) the primary mandate of the accounts; (iii)
the capital available to the accounts; (iv) any restrictions on the accounts and the investment opportunity;
(v) the sourcing of the investment, size of the investment and amount of follow-on available related to
the investment; (vi) whether the risk-return profile of the proposed investment is consistent with the

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account’s objectives and program, whether such objectives are considered in light of the specific
investment under consideration or in the context of the portfolio’s overall holdings; (vii) the potential
for the proposed investment to create an imbalance in the account’s portfolio (taking into account
expected inflows and outflows of capital); (viii) liquidity requirements of the account; (ix) potentially
adverse tax consequences; (x) regulatory and other restrictions that would or could limit an account’s
ability to participate in a proposed investment; and (xi) the need to re-size risk in the account’s portfolio.

        The Investment Manager has the authority to allocate trades to multiple Highland Accounts on
an average price basis or on another basis it deems fair and equitable. Similarly, if an order on behalf of
any accounts cannot be fully allocated under prevailing market conditions, the Investment Manager may
allocate the trades among different accounts on a basis it considers fair and equitable over time. One or
more of the foregoing considerations may (and are often expected to) result in allocations among the
Master Fund and one or more Highland Accounts on other than a pari passu basis. The Investment
Manager will allocate investment opportunities across its accounts for which the opportunities are
appropriate, consistent with (i) its internal conflict of interest and allocation policies and (ii) the
requirements of the Investment Advisers Act of 1940, as amended. The Investment Manager will seek
to allocate investment opportunities among such entities in a manner that is fair and equitable over time
and consistent with its allocation policy, a copy of which will be provided upon request. However, there
is no assurance that such investment opportunities will be allocated to the Master Fund fairly or equitably
in the short-term or over time and there can be no assurance that the Master Fund will be able to
participate in all investment opportunities that are suitable for it

       The Investment Manager may open “average price” accounts with brokers. In an “average price”
account, purchase and sale orders placed during a trading day on behalf of the Investment Manager, the
Master Fund and other accounts managed by the Investment Manager are combined, and securities
bought and sold pursuant to such orders are allocated among such accounts on an average price basis.

Cross Transactions and Principal Transactions

       As further described below, the Investment Manager may effect client cross-transactions where
the Investment Manager causes a transaction to be effected between the Master Fund and another client
advised by it or any of its affiliates. The Investment Manager may engage in a client cross-transaction
involving the Master Fund any time that the Investment Manager believes such transaction to be fair to
the Master Fund and such other client. By subscribing for an Interest, a Limited Partner is deemed to
have consented to such client cross-transactions between the Master Fund and another client of the
Investment Manager or one of its affiliates.

        The Investment Manager may direct the Master Fund to acquire or dispose of securities in cross
trades between the Master Fund and other clients of the Investment Manager or its affiliates in
accordance with applicable legal and regulatory requirements. In addition, the Master Fund may invest
in securities of obligors or issuers in which the Investment Manager and/or its affiliates have a debt,
equity or participation interest, and the holding and sale of such investments by the Master Fund may
enhance the profitability of the Investment Manager’s own investments in such companies. Moreover,
the Master Fund may invest in assets originated by the Investment Manager or its affiliates. In each such
case, the Investment Manager and such affiliates may have a potentially conflicting division of loyalties
and responsibilities regarding the Master Fund and the other parties to such trade. Under certain
circumstances, the Investment Manager and its affiliates may determine that it is appropriate to avoid
such conflicts by selling a security at a fair value that has been calculated pursuant to the Investment
Manager’s valuation procedures to another client managed or advised by the Investment Manager or

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such affiliates. In addition, the Investment Manager may enter into agency cross-transactions where it
or any of its affiliates acts as broker for the Master Fund and for the other party to the transaction, to the
extent permitted under applicable law.

        The Principal, as well as the employees and officers of the Investment Manager and of
organizations affiliated with the Investment Manager, may buy and sell securities for their own account
or the account of others, but may not buy securities from or sell securities to the Master Fund (such
prohibition does not extend to the purchase or sale of interests in the Fund), unless such purchase or sale
is in compliance with the applicable provisions of the Investment Advisers Act of 1940, as amended.

Conflicts Relating to Equity and Debt Ownership by the Master Fund and Affiliates

         In certain circumstances, the Master Fund and other client accounts may invest in securities or
other instruments of the same issuer (or affiliated group of issuers) having a different seniority in the
issuer’s capital structure. If the issuer becomes insolvent, restructures or suffers financial distress, there
may be a conflict between the interests in the Master Fund and those other accounts insofar as the issuer
may be unable (or in the case of a restructuring prior to bankruptcy may be expected to be unable) to
satisfy the claims of all classes of its creditors and security holders and the Master Fund and such other
accounts may have competing claims for the remaining assets of such issuers. Under these circumstances
it may not be feasible for the Investment Manager to reconcile the conflicting interests in the Master
Fund and such other accounts in a way that protects the Master Fund’s interests. Additionally, the
Investment Manager or its nominees may in the future hold board or creditors’ committee memberships
which may require them to vote or take other actions in such capacities that might be conflicting with
respect to certain funds managed by the Investment Manager in that such votes or actions may favor the
interests of one account over another account. Furthermore, the Investment Manager’s fiduciary
responsibilities in these capacities might conflict with the best interests of the investors.

Affiliated Entity Services

        Affiliated entities of the Investment Manager may provide services with respect to the Investment
Manager, the Master Fund or the Fund. NexBank, SSB (“NexBank SSB”) is an affiliate of the
Investment Manager and may, from time to time, provide banking and/or agency services to the
Investment Manager, clients of the Investment Manager or collective investment vehicles for which the
Investment Manager provides investment advisory services (including the Fund, the Master Fund and
other vehicles in which the Fund (through the Master Fund) may invest) or third parties engaged in
transactions involving the Investment Manager. NexBank SSB may also act as an agent in connection
with certain securities transactions involving the Investment Manager’s client accounts (including the
Master Fund and other vehicles in which the Master Fund may invest). Principals of the Investment
Manager own a majority of the equity interests in NexBank SSB and employees or affiliates of the
Investment Manager own or may own a substantial equity interest in NexBank SSB. Certain Master
Fund investment transactions may be executed through NexBank Securities, Inc., an affiliate of the
Investment Manager and a registered broker-dealer.

        Additionally, the Investment Manager or affiliates of the Investment Manager, including, without
limitation, Nexbank SSB, NexBank Securities, Inc., NexBank Capital Advisors and Governance Re,
Ltd., may provide financial advisory, management, insurance, title insurance or other services for a fee
to portfolio companies in which the Master Fund may have an interest. Highland Latin America
Consulting, Ltd., an affiliate of the Investment Manager, has been engaged to provide certain


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administrative and consulting services to the Investment Manager, as more fully described below in
“Management –Services Agreement.”

Management Fee

        A portion of any Management Fee may be paid to broker-dealers, placement agents or
independent third parties, other than the Investment Manager, for services provided in connection with
the solicitation of subscriptions from investors. Accordingly, investors should recognize that a
placement agent’s or distributor’s participation in this offering may be influenced by its interest in such
current or future fees and compensation. Investors should consider these potential conflicts of interest
in making their investment decisions. Each placement agent shall comply with the legal requirements
of the jurisdictions within which it offers and sells Interests.

Diverse Membership

         The Limited Partners are expected to include entities, persons, or entities organized in various
jurisdictions and subject to different tax and regulatory regimes. Such diverse investors may thus have
conflicting investment, tax and other interests, relating to, among other things, the nature of investments
made by the Master Fund, the structuring or the acquisition of investments and the timing of disposition
of investments. As a result, conflicts of interest may arise in connection with decisions made by the
Investment Manager including as to the nature and structure of investments that may be more beneficial
for one type of Limited Partner than for another type of Limited Partner, including Limited Partners
affiliated with the Investment Manager. The results of the Fund’s activities may affect individual
Limited Partners differently, depending upon their individual financial and tax situations because, for
instance, of the timing of an event of realization of gain or loss and its characterization as long-term or
short-term gain or loss. In addition, the Master Fund may make investments that may have a negative
impact on related investments made by the Limited Partners in separate transactions. In selecting,
structuring and managing investments appropriate for the Master Fund, the Investment Manager will
consider the investment and tax objectives of the Master Fund and the Feeder Funds as a whole, not the
investment, tax, or other objectives of any Limited Partner individually. However, there can be no
assurance that a result will not be more advantageous to some Limited Partners than to others or to the
Investment Manager and/or its affiliates than to a particular Limited Partner.

Soft Dollars

        The Investment Manager’s authority to use “soft dollar” credits generated by the Master Fund’s
securities transactions to pay for expenses that might otherwise have been borne by the Investment
Manager or the General Partner may give the Investment Manager an incentive to select brokers or
dealers for Master Fund transactions, or to negotiate commission rates or other execution terms, in a
manner that takes into account the soft dollar benefits received by the Investment Manager rather than
giving exclusive consideration to the interests in the Master Fund. See “Brokerage and Custody.”

No Separate Counsel

        Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) serves as counsel to the Fund, the Master
Fund, the Investment Manager, the General Partner and certain of their Affiliates (the “Clients”) in
connection with the formation of the Fund and certain other Clients, the offering of Interests as well as
certain other matters for which the Clients may engage Akin Gump from time to time. Akin Gump
disclaims any obligation to verify the Clients’ compliance with their obligations either under applicable

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law or the governing documents of the Fund. In acting as counsel to the Clients, Akin Gump has not
represented and will not represent any Limited Partners nor does it purport to represent their
interests. No independent counsel has been retained to represent the Limited Partners. In assisting in
the preparation of this Memorandum, Akin Gump has relied on information provided by the Fund, the
Investment Manager and the General Partner and certain of the Fund’s other service providers (including,
without limitation, the Principal’s biographical data, summaries of market conditions, the planned
investment strategy of the Master Fund and the performance of the Master Fund, its investments or any
predecessor Fund) without verification and does not express a view as to whether such information is
accurate or complete.

        Maples and Calder, PO Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands,
acts as Cayman Islands legal counsel to the Offshore Fund, the Master Fund and the General Partner. In
connection with the offering of interests and subsequent advice to the Offshore Fund, the Master Fund
and the General Partner, Maples and Calder will not be representing shareholders and/or limited partners.
No independent legal counsel has been retained to represent the shareholders and/or limited partners.
Maples and Calder's representation of the General Partner is limited to specific matters as to which it has
been consulted by the General Partner. There may exist other matters that could have a bearing on the
Master Fund as to which Maples and Calder has not been consulted. In addition, Maples and Calder
does not undertake to monitor compliance by the General Partner and its affiliates with the investment
program, valuation procedures and other guidelines set forth herein, nor does Maples and Calder monitor
ongoing compliance with applicable laws. In connection with the preparation of this Memorandum,
Maples and Calder's responsibility is limited to matters of Cayman Islands law and it does not accept
responsibility in relation to any other matters referred to or disclosed in this Memorandum. In the course
of advising the General Partner, there are times when the interests of the shareholders/limited partners
may differ from those of the Offshore Fund, Master Fund and/or the General Partner. Maples and Calder
does not represent the shareholders and/or limited partners' interests in resolving these issues. In
reviewing this Memorandum, Maples and Calder has relied upon information furnished to it by the
General Partner and has not investigated or verified the accuracy and completeness of information set
forth herein concerning the Offshore Fund, Master Fund and/or the General Partner.

Non-Public Information

        From time to time, the Investment Manager may come into possession of non-public information
concerning specific companies although internal structures are in place to prevent the receipt of such
information. Under applicable securities laws, this may limit the Investment Manager’s flexibility to
buy or sell portfolio securities issued by such companies. The Master Fund’s investment flexibility may
be constrained as a consequence of the Investment Manager’s inability to use such information for
investment purposes.

       The foregoing list of risk factors and potential conflicts of interest do not purport to be a complete
enumeration or explanation of the risks involved in an investment in the Fund. Prospective investors
should read this entire Memorandum and consult with their own legal, tax and financial advisers before
deciding to invest in the Fund.




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                                   BROKERAGE AND CUSTODY

Brokerage Arrangements

        The Investment Manager will be responsible for the placement of the portfolio transactions of
the Master Fund and the negotiation of any commissions or spreads paid on such transactions. Portfolio
transactions normally will be effected through brokers on securities exchanges or directly with the issuer,
or through an underwriter, or market maker or other dealer for the investments. Portfolio transactions
through brokers involve a commission to the broker. Portfolio transactions with dealers typically are
priced to include a spread between the bid and the asked price to compensate the dealer. Portfolio
transactions will be executed by brokers selected solely by the Investment Manager in its absolute
discretion. The Investment Manager is not required to weigh any of these factors equally.

        Substantially all of the Master Fund’s investments in marketable securities, as well as its cash
and cash equivalents, are expected to be held at Société Générale and BNP Paribas Prime Brokerage,
Inc. or other prime brokers or custodians selected by the Investment Manager. Instruments not
constituting marketable securities generally are recorded through book entry by the borrower or by an
agent for the borrower or the creditors. Documentary evidence of the acquisition, ownership and
disposition of these assets typically will be held by the Administrator.

         Société Générale and BNP Paribas Prime Brokerage, Inc. and other prime brokers or their
affiliates may provide capital introduction or other placement services to the Fund and the Investment
Manager (with or without separate charges for such other services). In determining which broker-dealer
generally provides the best available price and most favorable execution, the Investment Manager
considers a totality of circumstances, including price quotes, the size of the transaction, the nature of the
market for the financial instrument, the timing of the transaction, difficulty of execution, the broker-
dealer’s expertise in the specific financial instrument or sector in which the Master Fund seeks to trade,
the extent to which the broker-dealer makes a market in the financial instrument involved or has access
to such markets, the broker-dealer’s skill in positioning the financial instruments involved, the broker-
dealer’s promptness of execution, the broker-dealer’s financial stability, reputation for diligence, fairness
and integrity, quality of service rendered by the broker-dealer in other transactions for the Investment
Manager and its respective affiliates, confidentiality considerations, the quality and usefulness of
research services and investment ideas presented by the broker-dealer, the broker-dealer’s willingness
to correct errors, the broker-dealer’s ability to accommodate any special execution or order handling
requirements that may surround the particular transaction, and other factors deemed appropriate by the
Investment Manager. The Investment Manager need not solicit competitive bids and does not have an
obligation to seek the lowest available commission cost or spread.

       Accordingly, if the Investment Manager concludes that the commissions charged by a broker or
the spreads applied by a dealer are reasonable in relation to the quality of services rendered by such
broker or dealer (including, without limitation, the value of the brokerage and research products or
services provided by such broker or dealer), the Master Fund may pay commissions to, or be subject to
spreads applied by, such broker-dealer in an amount greater than the amount another broker-dealer might
charge or apply.

        The Investment Manager may also execute trades with brokers and dealers with whom the Fund,
the Master Fund or the Investment Manager has other business relationships, including prime brokerage,
credit relationships and capital introduction or investments by affiliates of the broker-dealers in the Fund
or other entities managed by the Investment Manager. However, the Investment Manager does not

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believe that these other relationships will influence the choice of brokers and dealers who execute trades
for the Master Fund.

        Research-related goods and services provided by brokers and dealers through which portfolio
transactions for the Master Fund are executed, settled and cleared may include research reports on
particular industries and companies, economic surveys and analyses, recommendations as to specific
securities, certain research services, and other goods and services providing lawful and appropriate
assistance to the Investment Manager in the performance of investment decision-making responsibilities
on behalf of the Master Fund and related accounts (collectively, “soft dollar items”).

        Soft dollar items may be provided directly by brokers and dealers, by third parties at the direction
of brokers and dealers or purchased on behalf of the Master Fund with credits or rebates provided by
brokers and dealers. Soft dollar items may arise from over-the-counter principal transactions, as well as
exchange traded agency transactions. Brokers and dealers sometimes suggest a level of business they
would like to receive in return for the various services they provide. Actual business received by any
broker or dealer may be less than the suggested allocations, but can (and often does) exceed the
suggestions, because total transaction volume is allocated on the basis of all the considerations described
above. A broker or dealer will not be excluded from executing transactions for the Master Fund because
it has not been identified as providing soft dollar items.

        The use of commissions or “soft dollars” if any, generated by the Master Fund through agency
and certain riskless principal transactions to pay for research and research-related products or services,
if any, will fall within the safe harbor created by Section 28(e) of the Securities Exchange Act of 1934,
as amended. Under Section 28(e), research products or services obtained with soft dollars generated by
the Master Fund may be used by the Investment Manager to service accounts other than the Master Fund.
Soft dollars generated in respect of futures, currency and derivatives transactions and principal
transactions (that are not riskless principal transactions) do not generally fall within the safe harbor
created by Section 28(e) and will be utilized only with respect to research-related products and services
for the benefit of the account generating such soft dollars.

        Research and brokerage products and services may be used by the Investment Manager in
servicing some or all of the Investment Manager’s clients. In addition, some research and brokerage
may not be used by the Investment Manager in servicing the clients whose commission dollars provided
for the research or brokerage. Clients may not, in any particular instance, be the direct or indirect
beneficiaries of the research or brokerage provided. Certain clients, who are the beneficiaries of research
or brokerage, may have an investment style which results in the generation of a small amount of
brokerage commissions due to a lack of active trading for their accounts. As a result, clients who
generate sizeable commissions subsidize research or brokerage provided to clients whose accounts
generate minimal brokerage commissions since the commission dollars generated by transactions for
such clients are not sufficient to pay for research or brokerage that may be received by such clients from
other brokers.

        In selecting broker-dealers on the basis of the foregoing factors, the Investment Manager may
pay a brokerage commission in excess of that which another broker might have charged for effecting the
same transaction. In connection therewith, the Investment Manager will make a good faith determination
that the amount of commission is reasonable in relation to the value of the research or brokerage services
received, viewed in terms of either the specific transaction or the Investment Manager’s overall
responsibility to its clients. The Investment Manager will regularly evaluate the placement of brokerage
services and the reasonableness of commissions paid. Research received from brokers will be

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supplemental to the Investment Manager’s own research efforts. While the receipt of research will not
reduce the Investment Manager’s normal research activities, the Investment Manager’s expenses could
increase materially if it attempted to generate such additional research or brokerage services through its
own staff, and the Management Fee will not be reduced as a consequence of the receipt of such research
or brokerage services or products. As such, the Investment Manager’s arrangements for the receipt of
research and brokerage services from brokers may create a conflict of interest, in that the Investment
Manager may have an incentive to choose a broker-dealer that provides research and brokerage services,
instead of one that does not but charges a lower commission rate. In some instances, the Investment
Manager receives products and services that may be used for both research and non-research purposes.
In such instances, the Investment Manager will make a good faith effort to determine the relative
proportion of the products and services used to assist the Investment Manager in carrying out its
investment decision-making responsibilities or order execution, including research and brokerage, and
the relative proportion used for administrative or other non-research purposes. The proportionate amount
of the research attributable to assisting the Investment Manager in carrying out its investment decision-
making responsibilities or order execution will be paid through brokerage commissions generated by the
Master Fund’s and other client’s transactions; the proportionate amount attributable to administrative or
other non-research purposes will be paid for by the Investment Manager from its own resources. The
receipt of “mixed-use” research and the determination of the appropriate allocation may result in a
potential conflict of interest between the Investment Manager and its clients, including the Master Fund.

Custody

        The majority of the Master Fund’s securities are held in the custody of its prime brokers. The
Master Fund is eligible for insurance coverage against loss with respect to assets held in the custody of
the prime brokers in the event of the bankruptcy or liquidation of either of the prime brokers to the same
extent as that broker’s other customers. The Master Fund’s and the Fund’s cash may be held at banks
as well as the prime brokers. Ownership interests which are not represented by certificates generally
will be recorded through book-entry systems maintained by the issuer or its agent, and the underlying
documentation relating to the acquisition and disposition of these assets for the account of the Master
Fund will be held at the business offices of the Investment Manager.




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                                       TAX CONSIDERATIONS

Introduction

        The following is a summary of certain aspects of the U.S. federal income taxation of the Fund
and its Limited Partners arising from the purchase, ownership and disposition of an Interest that should
be considered by a prospective Limited Partner. The Fund has not sought a ruling from the Service or
any similar state, local or foreign authority with respect to any of the tax issues affecting Limited Partners
or the Fund, nor has it obtained an opinion of counsel with respect to any U.S. federal, state, local or
foreign tax issues.

        This summary is based on the Code, the U.S. Treasury regulations promulgated under the Code
(the “Treasury Regulations”), judicial decisions, administrative rulings, and state and local tax laws in
force on the date of this Memorandum, all of which are subject to change (possibly with retroactive
effect). Changes in existing laws or regulations and their interpretation may occur after the date of this
Memorandum and could alter the income tax consequences of an investment in the Fund. This discussion
does not address all of the tax consequences that may be relevant to a particular investor, nor does it
address, unless specifically indicated, the tax consequences to, among others (i) persons that may be
subject to special treatment under U.S. federal income tax law, including, but not limited to, banks,
insurance companies, thrift institutions, regulated investment companies, real estate investment trusts
and dealers in securities or currencies, (ii) persons that will hold Interests as part of a position in a
“straddle” or as part of a “hedging,” “conversion” or other integrated investment transaction for U.S.
federal income tax purposes, (iii) persons whose functional currency is not the U.S. dollar or (iv) persons
that do not hold Interests as capital assets within the meaning of Code Section 1221.

       Further, this summary does not address the tax considerations relevant to an investment in the
Fund by a person that is not a “United States person” as defined in Section 7701(a)(30) of the Code
because this summary assumes that all such persons will invest in the Offshore Fund.

        If a partnership holds an Interest in the Fund, the tax treatment of a partner in such partnership
will generally depend upon the status of the partner and the activities of the Fund. Prospective investors
who are partners of a partnership should consult their own tax advisors.

        Unless otherwise expressly provided herein, this discussion does not address possible state, local
or foreign tax consequences of the purchase, ownership or disposition of Interests, some or all of which
may be material to particular investors. This discussion also does not address the potential application
of the U.S. federal alternative minimum tax (“AMT”) to the Limited Partners. There is uncertainty
concerning certain tax aspects of the Fund, and there can be no assurance that the Service will not
challenge the positions taken by the Fund.

     THE TAX CONSEQUENCES OF AN INVESTMENT IN THE FUND ARE
PARTICULARLY COMPLEX. ACCORDINGLY, PROSPECTIVE INVESTORS SHOULD
NOT CONSIDER THIS DISCUSSION AS A SUBSTITUTE FOR CAREFUL TAX PLANNING.
PROSPECTIVE INVESTORS SHOULD CONSULT WITH THEIR OWN TAX ADVISORS,
ATTORNEYS OR ACCOUNTANTS ON MATTERS RELATING TO AN INVESTMENT IN
THE FUND WITH SPECIAL REFERENCE TO SUCH INVESTOR’S PARTICULAR
SITUATION.



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       Certain United States Taxation Matters

       U.S. Entity Classification of the Fund

        The General Partner believes that, under the provisions of the Code and the Treasury Regulations
as currently in effect, each of the Fund and the Master Fund should be treated for U.S. federal income
tax purposes as a partnership and not as an association taxable as a corporation.

        Certain “publicly traded partnerships” are treated as associations that are taxable as corporations
for U.S. federal income tax purposes. A publicly traded partnership is any partnership the interests in
which are traded on an established securities market or which are readily tradable on a secondary market
(or the substantial equivalent thereof). Interests in the Fund are not and will not be traded on an
established securities market. Treasury Regulations concerning the classification of partnerships as
publicly traded partnerships provide certain safe harbors under which interests in a partnership will not
be considered readily tradable on a secondary market (or the substantial equivalent thereof). The General
Partner believes that the Fund may qualify for an exemption from the publicly traded partnership rules,
although there is no assurance that the Fund will so qualify.

        The remainder of this discussion assumes that the Fund and the Master Fund will each be treated
as a partnership for U.S. federal income tax purposes and not as a publicly-traded partnership treated as
an association that is taxable as a corporation. Unless the context requires otherwise, references to the
Fund in the following discussion include the Master Fund.

       Taxation of the Master Fund

        The Government of the Cayman Islands will not, under existing legislation, impose any income,
corporate or capital gains tax, estate duty, inheritance tax, gift tax or withholding tax upon the Master
Fund or the limited partners of the Master Fund. Interest, dividends and gains payable to the Master
Fund and all distributions by the Master Fund to its limited partners will be received free of any Cayman
Islands income or withholding taxes. The Master Fund has registered as an exempted limited partnership
under Cayman Islands law and the Master Fund has received an undertaking from the Governor in
Cabinet of the Cayman Islands to the effect that, for a period of 50 years from the date of the undertaking,
no law which is enacted in the Cayman Islands imposing any tax to be levied on profits or income or
gains or appreciations shall apply to the Master Fund or to any partner thereof in respect of the operations
or assets of the Master Fund or the interest of a partner therein; and may further provide that any such
taxes or any tax in the nature of estate duty or inheritance tax shall not be payable in respect of the
obligations of the Master Fund or the interests of the partners therein. The Cayman Islands are not party
to a double tax treaty with any country that is applicable to any payments made to or by the Master Fund.

       U.S. Federal Income Taxation of the Fund and Partners Generally

        As a partnership, the Fund will not be subject to U.S. federal income tax. Each Limited Partner
otherwise subject to tax will be required to report separately on its U.S. federal income tax return its
distributive share of the Fund’s net long-term capital gain or loss, net short-term capital gain or loss, and
net ordinary income and deductions and credits in accordance with the allocations set forth in the
Partnership Agreement. Each Limited Partner will be liable for any taxes owed upon its distributive
share of the income or gains realized by the Fund, and may claim deductions for its distributive share of
the Fund’s losses and deductions and credits for its distributive share of the Fund’s credits, to the extent
allowed under the Code. Each Limited Partner will be taxed on its distributive share of the Fund’s

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taxable income and gain regardless of whether it has received or will receive a distribution from the
Fund. Consequently, a Limited Partner may be subject to tax with respect to its share of the taxable
income of the Fund for a taxable year and may not receive a corresponding distribution of cash from the
Fund in such year with which to satisfy its tax liability in respect of such taxable income.

        The Fund will file an annual partnership information return with the Service that reports the
results of its operations for the taxable year, and will distribute annually to each Limited Partner a form
showing its distributive share of the Fund’s items of income, gain, loss, deduction or credit. The General
Partner will have the authority to decide how to report these items on the Fund’s tax returns, and all
Limited Partners will be required under the Partnership Agreement to treat the items consistently on their
own returns. Under current law, an audit by the Service of the tax treatment of the Fund’s income and
deductions generally will be determined at the Fund level in a single proceeding rather than by individual
audits of the Limited Partners. For tax years beginning before January 1, 2018 (and absent an election
by the Fund to apply the new partnership tax audit rules described in more detail below), the
administrative proceeding is managed by the “Tax Matters Partner.” For tax years beginning on or after
January 1, 2018 (or in the case of an election by the Fund to apply the new partnership tax audit rules),
the Fund will be required to appoint one person as the “Partnership Representative” to act on its behalf
in connection with an audit by the Service and related proceedings. Pursuant to the Partnership
Agreement, the General Partner or its delegate will be designated as the Tax Matters Partner and/or the
Partnership Representative. The Partnership Representative’s actions, including the Partnership
Representative’s agreement to adjustments of the Fund’s income in settlement of an audit by the Service
of the Fund, will bind all Limited Partners, and opt-out rights available to certain Limited Partners in
connection with certain actions of the Tax Matters Partner under the current partnership tax audit rules
for tax years beginning before January 1, 2018 will no longer be available.

        In certain cases, the Fund may be required to file a statement with the Service, disclosing one or
more positions taken on its tax return, generally where the tax law is uncertain or a position lacks clear
authority. All Partners are required under the Code to treat the partnership items consistently on their
own returns, unless they file a statement with the Service disclosing the inconsistency. Given the
uncertainty and complexity of the tax laws, it is possible that the Service may not agree with the manner
in which the Fund’s items have been reported.

        Under the Partnership Agreement, for U.S. federal income tax purposes, the General Partner has
the discretion to allocate specially an amount of the Fund’s net gains or net losses (or items of gross
income or losses or deduction) to a withdrawing Partner to the extent that the Partner’s Capital Account
differs either positively or negatively from its U.S. federal income tax basis in its Interest. There can be
no assurance that, if the General Partner makes such a special allocation, the Service will accept such
allocation. If such allocation is successfully challenged by the Service, the Fund’s allocations to the
remaining Partners would be affected as well.

             The Fund expects to act as a trader or an investor, and not as a dealer, with respect to its
securities transactions. Generally, the gains and losses realized by a trader or an investor on the sale of
securities are capital gains and losses. Thus, the Fund expects that its gains and losses from its securities
transactions typically will be capital gains and capital losses. These capital gains and losses may be
long-term or short-term depending, in general, upon the length of time the Fund maintains a particular
investment position and, in some cases, upon the nature of the transaction. An investment held for more
than one year generally will be eligible for long-term capital gain or loss treatment. The Fund may also
realize income from dividends, which will generally be taxed at either ordinary income rates or, if they
are eligible for treatment as “qualified dividend income,” at applicable long-term capital gains rates.

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Dividends from Argentine corporations are generally expected to be treated as “qualified dividend
income” only to the extent that the stock for which the dividend is paid is readily tradable on an
established securities market in the United States. Limited Partners should consult with their own tax
advisors to determine the tax rates applicable to them in their particular tax situations.

        In addition, individuals with “modified adjusted gross income” that exceeds certain thresholds
(e.g., $250,000 for married individuals filing jointly and $200,000 for single individuals) are subject to
a Medicare tax of 3.8% on the lesser of: (i) their investment income, net of deductions properly allocable
to such income, and (ii) the excess of their “modified adjusted gross income” above the applicable
threshold. It is expected that most or all of the Fund’s income will be treated as investment income for
this purpose, and as a result Limited Partners receiving allocations of income from the Fund for these
taxable years may be subject to this tax. This tax will be in addition to any U.S. federal income tax
imposed on Limited Partners with respect to their allocable share of income of the Fund. Trusts and
estates also may be subject to this additional tax. Prospective investors should consult their own tax
advisors regarding the application of this Medicare tax to their investment in the Fund.

        The Fund may be involved in a variety of hedging transactions to reduce the risk of changes in
value in the Fund’s investments. Special rules may apply to determine the tax treatment of such hedging
transactions, which may affect the Fund’s holding period attributable to such property, the
characterization of gain or loss as ordinary or capital and, if capital, as long-term or short-term, and the
timing of the realization of gains or losses on the actual or deemed sale of the property, including, in
some cases, property owned by a Limited Partner outside of the Fund. For instance, gain or loss from a
short sale of property generally will be considered as capital gain or loss to the extent the property used
to close the short sale constitutes a capital asset in the Fund’s hands. Except with respect to certain
situations where the property used by the Fund to close a short sale has a long-term holding period on
the date of the short sale, gains on short sales will be treated as short-term capital gains. These rules also
may terminate the running of the holding period of “substantially identical property” held by the
Fund. Moreover, a loss on a short sale will be treated as a long-term capital loss if, on the date of the
short sale, “substantially identical property” has been held by the Fund for more than one year. Certain
hedging transactions also may cause a constructive sale of the Fund’s long position that is the subject of
the hedge.

       Special “mark to market” rules apply to the Fund’s investment in “Section 1256 Contracts.”
Section 1256 Contracts include certain regulated futures contracts, certain foreign currency forward
contracts and certain options contracts. Capital gains and losses from qualifying Section 1256 Contracts
generally are characterized as short-term capital gains or losses to the extent of 40% thereof and as long-
term capital gains or losses to the extent of 60% thereof.

        The Fund may derive ordinary interest income and dividends on securities, and may be required
to recognize income in respect of certain securities prior to receipt of any payment in respect of such
securities. For instance, the Fund may hold debt obligations with “original issue discount.” In such
case, the Fund will be required to include a portion of such discount in its taxable income on a current
basis, and allocate such income to the Limited Partners, even though receipt of such amounts by the
Fund may occur in a subsequent tax year. The Fund also may acquire debt obligations with “market
discount.” Upon disposition of such an obligation, which might include the receipt of securities of the
issuer in a recapitalization exchange, the Fund generally will be required to treat any gain realized (and
required to be recognized) as ordinary interest income to the extent of the market discount that accrued
during the period the debt obligation was held by the Fund. Recapitalization exchanges involving


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securities held by the Fund also may result in the recognition of taxable gains prior to the receipt of cash
or readily tradable property.

        If the Fund is treated as a trader, it may, in its discretion, make an election under Code section
475(f) to apply a mark to market system of recognizing unrealized gains and losses on securities as if
the securities were sold for fair market value at the close of any taxable year of the Fund. The amount
recognized when gain or loss is subsequently realized would be adjusted for amounts recognized in
marking to market. The election would apply with respect to securities held in connection with the
Fund’s trade or business as a trader in securities. The election would not apply to any securities with
respect to which the Fund could demonstrate, to the satisfaction of the Service, that they are held for
investment. In the event that the Fund makes such an election, the Fund’s gains and losses from marking
securities to market (and gain or loss recognized before the end of the taxable year with respect to any
security that would have been marked to market) would be treated as ordinary income and losses. The
rules relating to appreciated financial positions under Code section 1259 and wash sales under Code
section 1091 would not apply to the securities to which the election applies and the Code section 1092
straddle rules would not have any effect where all the offsetting positions of a straddle are marked to
market.

        The Fund may be required to purchase foreign currency with which to make its investments and
may receive foreign currency when a security is sold or when an interest payment is made on a
security. These transactions may give rise to gains and losses because of fluctuations in the value of the
foreign currency relative to the U.S. dollar during the Fund’s holding period of an investment. Foreign
currency gain or loss in respect of certain types of transactions must be accounted for separately, apart
from any gain or loss on the underlying transaction, and the Code contains special rules which treat, in
most circumstances, such gains and losses as ordinary income or losses rather than capital gains or losses.

        The U.S. federal income tax treatment of the Fund’s investment in swaps or other derivatives is
subject to significant uncertainty and depends in large part on the terms of the specific swap or other
derivative. In particular, it is possible that the Fund may enter into so-called “bullet swaps” or other
swaps that provide for non-periodic payments. In certain circumstances, income from a swap can be
treated as ordinary income and not capital gain if the swap is treated as a “constructive ownership
transaction” under Code section 1260. The Fund intends to take positions that are reasonable under the
law that provide for optimal tax treatment of the Limited Partners. However, there can be no assurance
that the Service or a court would agree with the Fund’s position. Moreover, the Service might take the
contrary position that the Fund is subject to U.S. federal income tax in respect of some or all of the
income earned from the swap investments on the theory that the Fund should be treated as the owner for
U.S. federal income tax purposes of the property underlying certain swaps, in which case the after-tax
return on the swap investments could be significantly reduced.

        Pursuant to various “anti-deferral” provisions of the Code (e.g., the “Subpart F” and “passive
foreign investment company” provisions), any investments by the Fund in certain foreign corporations
may cause a Limited Partner to (i) recognize taxable income prior to the Fund’s receipt of distributable
proceeds, (ii) pay an interest charge on receipts that are deemed as having been deferred, (iii) recognize
ordinary income that, but for the “anti-deferral” provisions, would have been treated as long-term or
short-term capital gain, or (iv) become subject to certain reporting requirements with respect to such
investments. There can be no assurance that the General Partner or the Fund will mitigate, or be able to
mitigate, the application of these provisions, or provide certain information with respect to such foreign
corporations or such filing requirements. Potential investors are advised to consult with their own tax


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advisors with respect to the application of these “anti-deferral provisions” in their particular
circumstances.

        Under the Partnership Agreement, the General Partner has the authority to elect on behalf of the
Fund, under Code section 754, to adjust the tax basis of the Fund’s assets in connection with certain
distributions to Limited Partners or certain transfers of Interests. Such an election, if made, could affect
the amount of a Limited Partner’s distributive share of the gain or loss recognized by the Fund upon the
disposition of its assets. Because of the complexity and additional expense involved in making a section
754 election, the General Partner has no present intention to make such election on behalf of the Fund.

       Prospective investors that are subject to the AMT should consider the tax consequences of an
investment in the Fund in view of their AMT position, taking into account the special rules that apply in
computing the AMT.

        Taxation of Distributions and Withdrawals

        Cash nonliquidating distributions and withdrawals, to the extent they do not exceed a Limited
Partner’s basis in its Interest, will not result in taxable income to that Limited Partner, but will reduce its
tax basis in its Interest by the amount distributed or withdrawn. Cash distributed to a Limited Partner in
excess of the basis of its Interest is generally taxable as capital gain. Conversely, if the cash distributed
by the Fund to a Partner for any year exceeds the taxable income of the Fund allocated to such Partner
for that year, the excess will be treated as a return of capital for U.S. federal income tax purposes to the
extent of a Limited Partner’s tax basis in its Interest. To the extent that cash distributions are treated as
a return of capital and to the extent that any tax losses are allocated to the Limited Partners, the tax bases
of the Limited Partners in their Interests will be reduced (but not below zero). Because of such basis
adjustments, any tax that is avoided in the early years of a Limited Partner’s investment in the Fund may
become due later through the realization of gain upon the sale of assets of the Fund, the liquidation of
the Fund or the sale of Interests.

         Prospective Limited Partners should be aware that a Limited Partner’s share of the taxable
income of the Fund for any year may exceed the amount of cash distributed to such Limited Partner for
that year, which may require that the Limited Partner make an out-of-pocket expenditure to cover its tax
liability. Conversely, if the cash distributed by the Fund to a Partner for any year exceeds the taxable
income of the Fund allocated to such Partner for that year, the excess will be treated as a return of capital
for U.S. federal income tax purposes to the extent of a Limited Partner’s tax basis of its Interest. To the
extent that cash distributions are treated as a return of capital and to the extent that any tax losses are
allocated to the Limited Partners, the tax bases of the Limited Partners in their Interests will be reduced
(but not below zero). Because of such basis adjustments, any tax that is avoided in the early years of a
Limited Partner’s investment in the Fund may become due later through the realization of gain upon the
sale of assets of the Fund, the liquidation of the Fund or the sale of Interests.

        The Fund’s ability to make cash distributions to a withdrawing Limited Partner or to the Partners,
if applicable, may be limited by, among other things, the terms of the investment leverage entered into
by the Fund for the purpose of making portfolio investments on a leveraged basis.

        Upon the withdrawal of a Limited Partner receiving a cash liquidating distribution from the Fund,
such Limited Partner generally will recognize capital gain or loss to the extent of the difference between
the proceeds received by the withdrawing Limited Partner and such Partner’s adjusted tax basis in its
Interest. Such capital gain or loss will be short-term or long-term depending upon the Partner’s holding

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period (or holding periods) for its Interest. However, a withdrawing Limited Partner will recognize
ordinary income to the extent such Partner’s allocable share of the Fund’s “unrealized receivables”
exceeds the Partner’s basis in such unrealized receivables (as determined pursuant to the Treasury
Regulations). For these purposes, accrued but untaxed market discount, if any, on securities held by the
Fund will be treated as an unrealized receivable, with respect to which a withdrawing Partner would
recognize ordinary income.

        Distributions of property other than cash, whether in complete or partial liquidation of a Limited
Partner’s Interest, generally will not result in the recognition of taxable income or loss to the Limited
Partner (except to the extent such distribution is treated as made in exchange for such Limited Partner’s
share of the Fund’s unrealized receivables). However, a distribution of marketable securities will be
treated as a distribution of cash (which, as described above, can require the recognition of gain by the
recipient Limited Partner), unless the distributing partnership is an “investment partnership” and the
recipient is an “eligible partner” as defined in Code section 731(c). Although the General Partner cannot
provide any assurances of whether the Fund is an “investment partnership” for these purposes, the
General Partner anticipates that the Fund should qualify as an “investment partnership.” Thus, if a
Limited Partner is an “eligible partner,” which term should include a Limited Partner whose sole
contributions to the Fund consisted of cash, a distribution of marketable securities to such Limited
Partner should not require the recognition of gain by such Limited Partner.

        As discussed above, under the Partnership Agreement, the General Partner has the discretion to
allocate specially an amount of the Fund’s net gains or net losses (or items of gross income or losses or
deductions) for U.S. federal income tax purposes to a withdrawing Partner to the extent that the Partner’s
capital account differs from its U.S. federal income tax basis in its Interest. Such a special allocation
may result in the withdrawing Partner recognizing more or less taxable income, which may include short-
term gain, in the Partner’s last taxable year in the Fund, thereby reducing, or increasing, as applicable,
the amount of long-term capital gain recognized during the tax year in which it receives its liquidating
distribution upon withdrawal. In certain circumstances, special allocations of net gains (or items of
income or gain) to a withdrawing Partner may result in a greater allocation of losses, or a lower allocation
of taxable income or gain, to the remaining Partners. Likewise, special allocations of net losses (or items
of expense, loss or deduction) to a withdrawing Partner may result in a greater allocation of taxable
income or gain, or a lower allocation of losses, to the remaining Partners.

         Assuming the Fund has not made an election pursuant to Code Section 754 and the General
Partner does not exercise its discretion to specially allocate losses to a withdrawing Limited Partner,
distributions of property or cash by the Fund to a Limited Partner in redemption of its Interest in certain
circumstances where the Fund has a substantial built-in loss may require the Fund to reduce the tax basis
of its remaining property.

       Limitations on Losses, Deductions and Credits

         Limited Partners who are individuals or which are certain types of corporations may be limited
in their ability to deduct expenses or losses of the Fund. For instance, if or to the extent that the Fund’s
operations do not constitute a “trade or business” within the meaning of Section 162 and other provisions
of the Code, an individual Limited Partner’s distributive share of the Fund’s expenses (including any
amounts that are treated for tax purposes as expenses of the Fund, such as the Management Fee) would
be deductible only as itemized deductions, subject to the limitations of Sections 67 and 68 of the Code.
In this regard, if all or a portion of the Performance Allocation to the Special Limited Partner were re-
characterized for tax purposes as an expense of the Fund, each non-corporate Limited Partner’s share of

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such expense could be subject to such limitations. Itemized deductions are non-deductible in computing
such Limited Partner’s AMT income and AMT liability.

        Further, income, gains and losses of the Fund generally will not be treated as passive income or
losses for purposes of the passive activity loss limitations of Section 469 of the Code. Accordingly,
individuals, personal service corporations and certain closely-held corporations that have passive activity
losses from other activities are restricted in their ability to use such losses to offset income and gains
from the Fund, although losses of the Fund will not be subject to the passive activity loss limitation.

         For each taxable year, Section 1277 of the Code limits the deduction of the portion of any interest
expense on indebtedness incurred by a taxpayer to purchase or carry a security with market discount
which exceeds the amount of interest (including original issue discount) includible in the taxpayer’s
gross income for such taxable year with respect to such security (“Net Interest Expense”). Net Interest
Expense in any taxable year is deductible only to the extent it exceeds the amount of market discount
which accrued on the security during the taxable year or portion of the taxable year during which the
taxpayer held the security. Net Interest Expense that is non-deductible under the rules described above
is carried forward and deducted in the year in which the taxpayer disposes of the security. Alternatively,
at the taxpayer’s election, such Net Interest Expense can be carried forward and deducted in a year prior
to the disposition of the security, if any, in which the taxpayer has net interest income from the security.

        Section 1277 would apply to a Limited Partner’s share of the Fund’s Net Interest Expense
attributable to a security held by the Fund (through the Master Fund) with market discount. In such case,
a Limited Partner would be denied a current deduction for all or part of that portion of its distributive
share of the Fund’s ordinary losses attributable to such Net Interest Expense and such losses would be
carried forward to future years, in each case as described above. Although no guidance has been issued
regarding the election to deduct previously disallowed Net Interest Expense prior to the year of
disposition of the bond, it appears that the election would be made by the Fund rather than by the Limited
Partner. Section 1277 would also apply to the portion of interest paid by a Limited Partner on money
borrowed to finance its investment in the Fund to the extent such interest was allocable to securities held
by the Fund (through the Master Fund) with market discount.

        The ability of a non-corporate Limited Partner to deduct its share of the Fund’s ordinary losses
attributable to interest and certain short sale expenses may be subject to the “investment interest
limitation” under Section 163(d) of the Code. In general, a non-corporate taxpayer’s investment interest
(including interest and certain short sale expenses) in the current year is not deductible to the extent it
exceeds its “net investment income”, consisting of net gain and ordinary income derived from
investments in the current year less certain directly connected expenses (other than interest or short sale
expenses). For this purpose, any long-term capital gain is excluded from net investment income unless
the taxpayer elects to pay tax on such amount at ordinary income tax rates. The Fund’s activities are
expected to be treated as giving rise to investment income for a Limited Partner, and the investment
interest limitation would apply to a non-corporate Limited Partner’s share of the interest and short sale
expenses attributable to the Fund’s operation. Accordingly, a non-corporate Limited Partner would be
denied a deduction for all or a part of its distributive share of the Fund’s ordinary losses attributable to
interest and short sale expenses unless it has sufficient investment income from all sources, including
the Fund. Any amount not deductible as a result of the applicability of Section 163(d) may be carried
forward to future years, subject to certain limitations.

       Limited Partners may be entitled to a foreign tax credit with respect to creditable foreign taxes
paid on the income and gains of the Fund. There are complex rules contained in the Code that may,

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depending on each Limited Partner’s particular circumstances, limit the availability or use of foreign tax
credits. For example, a Limited Partner’s share of gain realized by the Fund will generally be treated as
U.S. source income. Consequently, a Limited Partner may not be able to use the foreign tax credit relating
to foreign taxes, if any, imposed on such gains unless such credit can be applied against the U.S. tax due
on other income derived from foreign sources. Limited Partners should contact their own tax advisors
with respect to the availability of any foreign tax credits.

        The consequences of these limitations will vary depending upon the particular tax situation of
each taxpayer. Accordingly, non-corporate Limited Partners should consult their tax advisors with
respect to the application of these limitations.

         The Fund may incur certain expenses in connection with its organization and the marketing of
its Interests. Amounts paid or incurred to organize a partnership are not deductible, but generally may,
by election of the Fund, be capitalized and amortized for U.S. federal income tax purposes over a period
of not less than 180 months. Amounts paid or incurred to market interests in the Fund that qualify as
“syndication expenses” are not deductible or amortizable.

       Tax Consequences for Tax-Exempt U.S. Investors

        A Limited Partner that is an organization exempt from tax under Code section 501(a) (a “Tax-
Exempt U.S. Investor”) will be subject to tax on its allocable share of the Fund’s income that is
considered to be “unrelated business taxable income” (“UBTI”) as defined in Code section 512, and may
be subject to the AMT with respect to items of tax preference which enter into the computation of
UBTI. Code section 512(b) provides that UBTI generally does not include dividends, interest, and gain
or loss from the disposition of property other than stock in trade or property held for sale in the ordinary
course of the unrelated trade or business. The Fund may invest in entities that are treated as partnerships
or other pass-through entities. UBTI generated by such entities would generally flow up to Tax-Exempt
U.S. Investors, causing the realization of UBTI by such investors. A Tax-Exempt U.S. Investor should
not realize UBTI to the extent that its distributive share of the Fund’s income consists of dividends,
interest, capital gains and certain other items which are excluded from UBTI under Code section 512(b)
(except to the extent any such income constitutes “UDFI,” as discussed in the next paragraph).
Prospective Tax-Exempt U.S. Investors should be aware that it is unclear under current law whether
income from certain swaps or derivative transactions that the Fund may invest or hold a position in, may
be excluded from UBTI.

        A Tax-Exempt U.S. Investor is also subject to tax with respect to its, and its allocable share of
the Fund’s, “unrelated debt-financed income” pursuant to Code section 514 (“UDFI”). In general, UDFI
consists of (i) income derived by a tax-exempt organization (directly or through a partnership) from
income-producing property with respect to which there is “acquisition indebtedness” at any time during
the taxable year and (ii) gains derived by a tax-exempt organization (directly or through a partnership)
from the disposition of property with respect to which there is “acquisition indebtedness.” In addition,
a tax-exempt organization that borrows money to finance its investment in the Fund would be subject to
tax on the portion of its income that is UDFI. Income and gains derived by a tax-exempt organization
from the ownership and sale of debt-financed property is taxable in the proportion to which such property
is financed by acquisition indebtedness during the relevant period of time. For these purposes, a Limited
Partner is deemed to own a proportionate share of the Fund’s debt-financed property and the income
attributable thereto, and a short sale of publicly traded stock will not create “acquisition indebtedness”
unless the Fund borrows funds to post collateral against such short sale.


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        The Fund expects to generate income attributable to debt-financed property which will be
attributed to the Partners, including any Tax-Exempt U.S. Investors. A Tax-Exempt U.S. Investor’s share
of the Fund’s income that is treated as UBTI may be significant (depending upon the degree of leverage
utilized by the Fund). In addition to other relevant considerations, fiduciaries of employee pension trusts
and other prospective tax-exempt investors should consider the consequences of realizing UBTI in
making a decision whether to invest in the Fund.

        We urge prospective Tax-Exempt U.S. Investors that are sensitive to UBTI or UDFI to consult
their tax advisors as to the tax consequences of investing in the Fund and as to the comparative tax
treatment of an investment in the Offshore Fund.

       Investor Tax Filings and Record Retention.

        The U.S. Department of the Treasury has adopted Treasury Regulations designed to assist the
Service in identifying abusive tax shelter transactions. In general, the Treasury Regulations require
investors in specified transactions (including certain investors in partnerships that engage in such
transactions) to satisfy certain special tax filing and record retention requirements. Significant monetary
penalties may be applicable as a result of a failure to comply with these tax filing and record retention
rules.

        The Treasury Regulations are broad in scope and it is conceivable that the Fund may enter into
transactions that will subject the Fund and certain Limited Partners to the special tax filing and record
retention rules. Additionally, a Limited Partner’s recognition of a loss on its disposition of its Interest
in the Fund could in certain circumstances subject such Limited Partner to these rules.

       Reporting Under FATCA.

        Sections 1471 through 1474 of the Code, known as the U.S. Foreign Account Tax Compliance
Act (together with any regulations, rules and other guidance implementing such Code sections and any
applicable intergovernmental agreement (“IGA”) or information exchange agreement and related
statutes, regulations, rules and other guidance thereunder, “FATCA”) impose a withholding tax of 30%
on (i) certain U.S. source interest, dividends and other types of income, and (ii) the gross proceeds from
the sale or disposition of certain assets of a type that can produce U.S. source interest and dividends,
which are received by a foreign financial institution (“FFI”), unless such FFI enters into an agreement
with the Service (an “FFI Agreement”), and/or complies with an applicable IGA, to obtain certain
information as to the identity of the direct and indirect owners of accounts in such institution. In addition,
a withholding tax may be imposed on payments to certain non-financial foreign entities that do not obtain
and provide information as to their direct and indirect owners. These rules generally apply to payments
of U.S. source interest, dividends and certain other types of income from U.S. sources and, after
December 31, 2018, are expected to apply to payments of gross proceeds from the sale or disposition of
assets of a type that can produce U.S. source interest or dividends.

        The Service has released temporary and final Treasury Regulations and other guidance that will
be used in implementing FATCA, which contain a number of phase-in dates for FATCA compliance.
In addition, the Cayman Islands has entered into a Model 1 IGA with the United States (the “Cayman-
U.S. IGA”), which is treated as in effect, and has issued the Tax Information Authority (International
Tax Compliance) (United States of America) Regulations 2014 and guidance notes thereunder, each as
updated from time to time.


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        The Master Fund is likely to be considered an FFI. In order to avoid incurring U.S. withholding
under FATCA, the Master Fund is generally required to register with the Service and to comply with the
Cayman-U.S. IGA and any guidance thereunder. The Master Fund expects to register with the Service
and expects to comply with the Cayman-U.S. IGA and, therefore, generally does not expect to become
subject to U.S. withholding under FATCA.

        In addition, the Fund may be required to act as a withholding agent under FATCA and therefore
be required to withhold on income and proceeds paid or allocated to an investor that fails to comply with
FATCA, which could occur if an investor that is an FFI does not enter into an FFI Agreement, is not
otherwise exempt from such withholding, and/or does not provide the appropriate information and
documentation to the Fund or its agents showing its exemption from such withholding or compliance
with FATCA. The General Partner intends to collect the appropriate documentation from all investors
in the Fund in order to determine whether it is required to withhold under FATCA with respect to
distributions or allocations made to investors.

         The General Partner, the Investment Manager and the Fund reserve the right to take any action
and/or pursue all remedies at their disposal to avoid withholding requirements or otherwise to mitigate
the consequences of an investor’s failure to comply with FATCA, including compulsory redemption or
withdrawal of the investor concerned. In this regard, the General Partner, the Investment Manager and
the Fund have certain rights to request, and the investors have certain obligations to provide, information
and documentation that may be used by the General Partner, the Investment Manager and the Fund in
complying with their obligations under FATCA. In addition, no investor affected by any action or
remedy by the Fund shall have any claim against the Fund, the Administrator, the Investment Manager,
the Master Fund or the General Partner (or their agents, delegates, employees, directors, officers or
affiliates) for any form of damages or liability as a result of actions taken or remedies pursued by or on
behalf of the Fund in order to comply with FATCA.

        The Cayman Islands has also signed, along with over 80 other countries, a multilateral competent
authority agreement to implement the OECD Standard for Automatic Exchange of Financial Account
Information – Common Reporting Standard (“CRS” and together with the Cayman-U.S. IGA, “AEOI”).

        Cayman Islands regulations have been issued to give effect to the Cayman-U.S. IGA and CRS
(collectively, the “AEOI Regulations”). Pursuant to the AEOI Regulations, the Cayman Islands Tax
Information Authority (the “TIA”) has published guidance notes on the application of the Cayman-U.S.
IGA and CRS.

        All Cayman Islands “Financial Institutions” are required to comply with the registration, due
diligence and reporting requirements of the AEOI Regulations, unless they are able to rely on an
exemption that allows them to become a “Non-Reporting Financial Institution” (as defined in the
relevant AEOI Regulations) with respect to one or more of the AEOI regimes, in which case only the
registration requirement would apply under CRS. The Master Fund does not propose to rely on any
Non-Reporting Financial Institution exemption and therefore intends to comply with all of the
requirements of the AEOI Regulations.

         The AEOI Regulations require the Master Fund and/or the General Partner (as applicable) to,
amongst other things (i) register with the Service to obtain a GIIN (in the context of the U.S. IGA only),
(ii) register with the TIA, and thereby notify the TIA of its status as a “Reporting Financial Institution”,
(iii) adopt and implement written policies and procedures setting out how it will address its obligations
under CRS, (iv) conduct due diligence on its accounts to identify whether any such accounts are

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considered “Reportable Accounts”, and (v) report information on such Reportable Accounts to the TIA.
The TIA will transmit the information reported to it to the overseas fiscal authority relevant to a
reportable account (e.g. the Service in the case of a US Reportable Account) annually on an automatic
basis.

       Investors should consult their tax advisors as to the withholding, filing and information reporting
requirements that may be imposed on them in respect of their ownership of Interests.

       State and Local Taxes

        In addition to the U.S. federal income tax consequences described above, prospective investors
should consider potential state and local tax consequences of an investment in the Fund. State and local
laws often differ from U.S. federal income tax laws with respect to the treatment of specific items of
income, gain, loss, deduction and credit. A Partner’s distributive share of the taxable income or loss of
the Fund generally will be required to be included in determining its reportable income for state and
local tax purposes in the jurisdiction in which it is a resident.

        Limited Partners or the Fund may be subject to state and/or local franchise, withholding, income,
capital gain or other tax payment obligations and filing requirements in those jurisdictions where the
Fund owns real estate assets or is otherwise regarded as doing business or earning income. Credits for
these taxes may not be available (or may be subject to limitations) in the jurisdictions in which Limited
Partners, or the Fund, as applicable, are residents. Each potential investor is urged to consult with its
own tax advisor in this regard.

       Each prospective Limited Partner should consult its own tax advisor with respect to its state
and local tax consequences and filing obligations as a result of an investment in the Fund.

       Other Taxes

        The Fund and its Limited Partners may be subject to other taxes, such as the AMT, and estate,
inheritance or intangible property taxes that may be imposed by various domestic jurisdictions, as well
as foreign withholding or gains taxes. Each prospective investor should consider the potential
consequences of such taxes on an investment in the Fund. It is the responsibility of each prospective
investor to satisfy itself as to, among other things, the legal and tax consequences of an investment in
the Fund, under the laws of the various jurisdictions of its domicile and its residence, by obtaining advice
from its own tax counsel or other advisor, and to file all appropriate tax returns that may be required.

       Other Income Taxation

        Although there can be no assurance, it is intended that the affairs of the Fund will be conducted
such that the Fund will not be subject to regular income taxation in any foreign jurisdiction. However,
income and gains from investments held by the Fund may be subject to withholding taxes or taxes in
jurisdictions other than those described herein, subject to the possibility of reduction under applicable
tax treaties. Limited Partners generally may be entitled, subject to applicable limitations, to a credit
against U.S. income tax for creditable foreign income taxes paid on the foreign source income and gains
of the Fund (which may not include all of the Fund’s gains). The foreign tax credit rules are complex,
and may, depending on each Limited Partner’s particular circumstances, limit the availability or use of
foreign tax credits. Prospective investors are advised to consult their own tax advisors regarding the
application of the foreign tax credit rules.

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       Future Tax Legislation; Necessity of Obtaining Professional Advice

        Future amendments to the Code, other legislation, new or amended Treasury Regulations,
administrative rulings or decisions by the Service or judicial decisions may adversely affect the U.S.
federal income tax aspects of an investment in the Fund, with or without advance notice, retroactively
or prospectively. The foregoing analysis is not intended as a substitute for careful tax planning. The tax
matters relating to the Fund are complex and are subject to varying interpretations. There can be no
assurance that the Service will agree with each position taken by the Fund with respect to the tax
treatment of Fund items and transactions. Moreover, the effect of existing income tax laws and of
proposed changes in income tax laws on Limited Partners will vary with the particular circumstances of
each Limited Partner and, in reviewing this Memorandum and any exhibits hereto, these matters should
be considered.

        Accordingly, each prospective investor must consult with and rely solely on its professional tax
advisors with respect to the tax results of its investment in the Fund. In no event will the Fund, the
General Partner, the Investment Manager, or their Affiliates, counsel or other professional advisors be
liable to any Limited Partner for any U.S. federal, state, local or foreign tax consequences of an
investment in the Fund, whether or not such consequences are as described above.

        The foregoing is a summary of some of the important tax rules and considerations affecting the
Limited Partners, the Fund, and the Fund’s proposed operations. This summary does not purport to be
a complete analysis of all relevant tax rules and considerations, which will vary with the particular
circumstances of each Limited Partner, nor does it purport to be a complete listing of all potential tax
risks inherent in purchasing or holding Interests. Each prospective investor in the Fund is urged to
consult its own tax advisor in order to understand fully the U.S. federal, state, local and any non-U.S.
tax consequences of such an investment in its particular situation.




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                    ERISA AND OTHER REGULATORY CONSIDERATIONS

ERISA Considerations

General

        Fiduciaries and other persons who are proposing to invest in Interests on behalf of retirement
plans, IRAs and other employee benefit plans (“Plans”) covered by the U.S. Employee Retirement
Income Security Act of 1974, as amended (“ERISA”), or the Code, must give appropriate consideration
to, among other things, the role that an investment in the Fund plays in the Plan’s portfolio, taking into
consideration whether the investment is designed to reasonably further the Plan’s purposes, the
investment’s risk and return factors, the portfolio’s composition with regard to diversification, the
liquidity and current return of the total portfolio relative to the anticipated cash flow needs of the Plan,
the projected return of the total portfolio relative to the Plan’s objectives, the limited right of Limited
Partners to withdraw all or any part of their Interests or to transfer their Interests and whether investment
in the Fund constitutes a direct or indirect transaction with a party in interest (under ERISA) or a
disqualified person (under the Code).

Plan Asset Regulations and Benefit Plan Investors

         The United States Department of Labor (“DOL”) has adopted regulations that treat the assets of
certain pooled investment vehicles, such as the Fund, as “plan assets” for purposes of Title I of ERISA
and Section 4975 of the Code (“Plan Assets”). Section 3(42) of ERISA defines the term “Plan Assets”
to mean plan assets as defined by such regulations as the DOL may prescribe, except that under such
regulations the assets of an entity shall not be treated as Plan Assets if, immediately after the most recent
acquisition of an equity interest in the entity, less than 25% of the total value of each class of equity
interest in the entity is held by “Benefit Plan Investors” (the “significant participation test”). For
purposes of this determination, the value of any equity interest held by a person (other than such a Benefit
Plan Investor) who has discretionary authority or control with respect to the assets of the entity or any
person who provides investment advice for a fee (direct or indirect) with respect to such assets, or any
affiliate of such a person, shall be disregarded. An entity shall be considered to hold Plan Assets only
to the extent of the percentage of the equity interest held by Benefit Plan Investors. The term “Benefit
Plan Investors” means any employee benefit plan subject to part 4 of subtitle B of Title I of ERISA (i.e.,
plans subject to the fiduciary provisions of ERISA), any plan to which the prohibited transaction
provisions of Section 4975 of the Code apply (e.g., IRAs), and any entity whose underlying assets
include Plan Assets by reason of a plan’s investment in such entity (a “Plan Asset Entity”).

        In order to prevent the assets of the Master Fund from being considered Plan Assets under
ERISA, it is the intention of the Master Fund to monitor the investments in the Master Fund and prohibit
the acquisition, withdrawal or transfer of any limited partner interests of the Master Fund by any investor,
including a Benefit Plan Investor, unless, after giving effect to such an acquisition, withdrawal or
transfer, the total proportion of limited partner interests of each class of the Master Fund owned by
Benefit Plan Investors would be less than 25% of the aggregate value of that class of limited partner
interests (determined, as described above, by excluding certain limited partner interests held by the
General Partner, other fiduciaries and affiliates).

        Without limiting the generality of the foregoing, in order to limit equity participation in any class
of limited partner interests of the Master Fund by Benefit Plan Investors to less than 25%, the Fund may
require the Compulsory Withdrawal of Interests. Each Limited Partner that is an insurance company

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acting on behalf of its general account or a Plan Asset Entity will be required to represent and warrant
as of the date it acquires Interests the maximum percentage of such general account or Plan Asset Entity
(as reasonably determined by such insurance company or Plan Asset Entity) that will constitute Plan
Assets (the “Maximum Percentage”) so such percentage can be calculated in determining the percentage
of Plan Assets invested in the Master Fund. Further, each such insurance company and Plan Asset Entity
will be required to covenant that if, after its initial acquisition of Interests, the Maximum Percentage is
exceeded at any time, then such insurance company or Plan Asset Entity shall immediately notify the
Fund of that occurrence and shall, if and as directed by the Fund, in a manner consistent with the
restrictions on transfer set forth herein, withdraw or dispose of some or all of the Interests held in its
general account or Plan Asset Entity.

         It is anticipated that investment in the Fund by benefit plan investors may be “significant” for
purposes of the regulations. In such event, the underlying assets of the Fund would be deemed to
constitute “plan assets” for purposes of ERISA. As a general rule, if the assets of the Fund were regarded
as “plan assets” of a benefit plan investor, the Investment Manager would be deemed a fiduciary with
respect to each Plan investing in the Fund. However, the Investment Manager believes that, given the
limited purpose and role of the Fund and given the requirement that the Investment Manager follow the
directions of the fiduciaries of each benefit plan investor investing in the Fund, as set forth in each such
investor’s subscription agreement, with respect to the investment by the Fund in the Master Fund, neither
the Investment Manager nor any other entity providing services to the Fund would be exercising any
discretionary authority or control with respect to the Fund. Accordingly, the Investment Manager
believes that neither the Investment Manager nor any other entity providing services to the Fund will act
as a fiduciary (as defined in Section 3(21) of ERISA) with respect to the assets of the Fund or any benefit
plan investor. Rather, the Investment Manager believes that, given the limited purpose and role of the
Fund and given the requirement that the Investment Manager follow the directions of the fiduciaries of
each benefit plan investor investing in the Fund, as set forth in each such investor’s subscription
agreement, with respect to the investment by the Fund in the Master Fund, the fiduciary of each such
benefit plan investor has retained the fiduciary authority and responsibility with respect to the investor’s
initial and continuing investment in the Fund as though the benefit plan investor is investing directly in
the Master Fund.

Representation by Plans

        The fiduciaries of each Plan proposing to invest in the Fund will be required to represent that
they have been informed of and understand the Fund’s investment objectives, policies and strategies and
that the decision to invest Plan Assets in the Fund is consistent with the provisions of ERISA and/or the
Code that require diversification of Plan Assets and impose other fiduciary responsibilities. By its
purchase, each investor will be deemed to have represented that either (a) it is not a Plan that is subject
to the prohibited transaction rules of ERISA or the Code, (b) it is not an entity whose assets include Plan
Assets or (c) its investment in the Fund will not constitute a non-exempt prohibited transaction under
ERISA or the Code.

Ineligible Purchasers

        Limited partner interests may not be purchased with Plan Assets if the Investment Manager, any
selling agent, finder, any of their respective affiliates or any of their respective employees: (a) has
investment discretion with respect to the investment of such Plan Assets; (b) has authority or
responsibility to give or regularly gives investment advice with respect to such Plan Assets, for a fee,
and pursuant to an agreement or understanding that such advice will serve as a primary basis for

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investment decisions with respect to such Plan Assets and that such advice will be based on the particular
investment needs of the Plan; or (c) is an employer maintaining or contributing to such Plan. A party
that is described in clause (a) or (b) of the preceding sentence is a fiduciary under ERISA and the Code
with respect to the Plan, and any such purchase might result in a “prohibited transaction” under ERISA
and the Code.

Plans’ Reporting Obligations

        The information contained herein and in the other documentation provided to investors in
connection with an investment in the Fund is intended to satisfy the alternative reporting option for
“eligible indirect compensation” on Schedule C of the Form 5500, in addition to the other purposes for
which such documents were created.

       Whether or not the underlying assets of the Fund are deemed Plan Assets, an investment in
the Fund by a Plan is subject to ERISA and the Code. Accordingly, Plan fiduciaries should consult
their own counsel as to the consequences under ERISA and the Code of an investment in the Fund.
Note that similar laws governing the investment and management of the assets of governmental or
non-U.S. plans may contain fiduciary and prohibited transaction requirements similar to those under
ERISA and the Code. Accordingly, fiduciaries of such governmental or non-U.S. plans, in
consultation with their counsel, should consider the impact of their respective laws and regulations
on an investment in the Fund.

Other Regulatory Matters

Securities Act of 1933

        Interests are not registered under the U.S. Securities Act of 1933, as amended (the “Securities
Act”), or any other securities law, including state securities or blue sky laws. Interests are offered without
registration in reliance upon the exemption contained in Regulation D of the Securities Act and/or rules
and regulations of the Securities and Exchange Commission applicable to transactions not involving a
public offering. Each investor is required, in the Fund’s Subscription Documents pursuant to which such
investor subscribes for an Interest, to make customary Regulation D representations.

Investment Company Act of 1940

        The Fund is not registered under the U.S. Investment Company Act of 1940, as amended (the
“Investment Company Act”), in reliance upon relief from registration afforded to collective investment
vehicles whose outstanding securities are not publicly offered and are beneficially owned exclusively by
investors that are considered “qualified purchasers” within the meaning of the Investment Company
Act. “Qualified purchasers” generally include individuals and certain family-owned companies owning
total investments in excess of $5 million and entities owning total investments in excess of $25
million. Each investor will be required to complete the Fund’s Subscription Documents to enable the
Fund to determine its eligibility.

Investment Adviser Registration

       The Investment Manager is registered as relying adviser to Highland Capital Management, L.P.,
an investment adviser registered with the Securities and Exchange Commission under the U.S.
Investment Advisers Act of 1940, as amended.

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Commodity Exchange Act

        Neither the General Partner nor the Investment Manager is required to register as a commodity
pool operator (“CPO”) or commodity trading advisor under the U.S. Commodity Exchange Act and each
has filed a notice of claim effectuating exemption. As such, the General Partner and the Investment
Manager will operate the Fund and the Master Fund pursuant to such exemption. Unlike a registered
CPO, the General Partner and the Investment Manager are not required to deliver a disclosure document
and a certified annual report to participants in the Fund. Among other things, the exemption requires the
General Partner and the Investment Manager to file a claim of exemption with the National Futures
Association. The Investment Manager qualifies for an exemption from registration with the CFTC as a
commodity trading adviser pursuant to CFTC Rule 4.14(a)(8).

Cayman Islands Mutual Fund Law

       The Offshore Fund and the Master Fund are regulated under the Mutual Funds Law (2015
Revision) of the Cayman Islands (“Mutual Funds Law”). The Cayman Islands Monetary Authority (the
“Authority”) has supervisory and enforcement powers to ensure compliance with the Mutual Funds Law.
Regulation under the Mutual Funds Law entails the filing of prescribed details and audited accounts
annually with the Authority. As a regulated mutual fund, the Authority may at any time instruct the
Offshore Fund or the Master Fund to have its or their accounts audited and to submit them to the
Authority within such time as the Authority specifies. Failure to comply with these requests by the
Authority may result in substantial fines on the part of the directors of the Offshore Fund or the Master
Fund, as applicable, and may result in the Authority applying to the court to have the Offshore Fund or
the Master Fund wound up.

        Neither the Offshore Fund nor the Master Fund is, however, subject to supervision in respect of
their investment activities or the constitution of the Master Fund's portfolio by the Authority or any other
governmental authority in the Cayman Islands, although the Authority does have power to investigate
the activities of the Offshore Fund and the Master Fund in certain circumstances. Neither the Authority
nor any other governmental authority in the Cayman Islands has commented upon or approved the terms
or merits of this document. There is no investment compensation scheme available to investors in the
Cayman Islands.

        The Authority may take certain actions if it is satisfied that a regulated mutual fund is or is likely
to become unable to meet its obligations as they fall due or is carrying on or is attempting to carry on
business or is winding up its business voluntarily in a manner that is prejudicial to its investors or
creditors. The powers of the Authority include the power to require the substitution of the directors of
the Offshore Fund or the Master Fund, to appoint a person to advise the Offshore Fund or the Master
Fund on the proper conduct of its affairs or to appoint a person to assume control of the affairs of the
Offshore Fund or the Master Fund, as the case may be. There are other remedies available to the
Authority including the ability to apply to court for approval of other actions.

       The Master Fund and the General Partner or any of its members or agents domiciled in the
Cayman Islands may be compelled to provide information, subject to a request for information made by
a regulatory or governmental authority or agency under applicable law; e.g. by the Cayman Islands
Monetary Authority, either for itself or for a recognised overseas regulatory authority, under the
Monetary Authority Law (2016 Revision), or by the Tax Information Authority, under the Tax
Information Authority Law (2017 Revision) or Reporting of Savings Income Information (European
Union) Law (2014 Revision) and associated regulations, agreements, arrangements and memoranda of

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understanding. Disclosure of confidential information under such laws shall not be regarded as a breach
of any duty of confidentiality and, in certain circumstances, the Master Fund, and the General Partner or
any of its or their directors or agents, may be prohibited from disclosing that the request has been made.

Anti-Money Laundering Regulations

        All subscriptions for Interests will be subject to applicable anti-money laundering
regulations. Investors will be required to comply with such anti-money laundering procedures as are
required by the Uniting and Strengthening America by Providing Appropriate Tools Required to
Intercept and Obstruct Terrorism (USA PATRIOT Act) Act of 2001 (Pub. L. No. 107-56).

       As part of the Fund’s responsibility to comply with regulations aimed at the prevention of money
laundering, the Fund or its delegate may require verification of identity from all prospective
investors. Depending on the circumstances of each subscription, it may not be necessary to obtain full
documentary evidence of identity.

         The Fund reserves the right to request such information as is necessary to verify the identity of a
prospective investor. The Fund also reserves the right to request such identification evidence in respect
of a transferee of Interests. In the event of delay or failure by the prospective investor or transferee to
produce any information required for verification purposes, the Fund may refuse to accept the application
or (as the case may be) to register the relevant transfer and (in the case of a subscription of Interests) any
funds received will be returned without interest to the account from which the monies were originally
debited.

       The Fund also reserves the right to refuse to make any withdrawal payment or distribution to a
Limited Partner, if the Fund suspects or is advised that the payment of any withdrawal or distribution
moneys to such Limited Partner might result in a breach or violation of any applicable anti-money
laundering or other laws or regulations by any person in any relevant jurisdiction, or such refusal is
considered necessary or appropriate to ensure the compliance by the Fund and the Investment Manager
with any such laws or regulations in any relevant jurisdiction.




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                        SECOND AMENDED AND RESTATED
                     AGREEMENT OF LIMITED PARTNERSHIP
                                    OF
             HIGHLAND RESTORATION CAPITAL PARTNERS OFFSHORE, L.P.


          THIS SECOND AMENDED AND RESTATED AGREEMENT OF LIMITED
  PARTNERSHIP (this “Agreement”) is dated April 18, 2008 between Highland Restoration
  Capital Partners GP, LLC, a Delaware limited liability company (in its capacity as general
  partner of the Partnership, the “General Partner”) and the limited partners listed in Schedule 1
  attached hereto (in their capacities as limited partners of the Partnership, the “Limited Partners”)
  (the General Partner and the Limited Partners being herein collectively called the “Partners”).
  Capitalized terms not otherwise defined shall have the meanings ascribed to such terms in
  Section 2.1(a).

         Highland Restoration Capital Partners Offshore, L.P., is an exempted limited partnership
  (the “Partnership”) registered under the Exempted Limited Partnership Law (as amended) of the
  Cayman Islands (the “ELP Law”) on the 12th day of November 2007.

         The General Partner and the Initial Limited Partner entered into an Agreement of Limited
  Partnership, dated as of November 9, 2007 (the “Original Agreement”). The Original Agreement
  was subsequently amended and restated on November 15, 2007 (the “Amended and Restated
  Agreement”).

         The parties hereto wish to amend and restate the Amended and Restated Agreement in
  the manner set forth herein.



                                             ARTICLE I

                                     GENERAL PROVISIONS

         Section 1.1 Formation. The Partners hereby agree to amend and restate the Amended
  and Restated Agreement which is replaced and superseded in its entirety by this Agreement.

         Section 1.2 Name. The name of the Partnership will be “Highland Restoration Capital
  Partners Offshore, L.P.” or such other name or names as the General Partner may from time to
  time designate. The General Partner will notify Limited Partners in writing of any change to the
  name of the Partnership.

          Section 1.3 Purpose. Subject to the express limitations set forth herein, the Partnership
  is organized for the object and purpose of (i) investing in senior secured bank loans, debt
  obligations, trade claims and equity securities of middle market Distressed Companies primarily
  based in the United States generally consistent with the investment strategy described in the
  Partnership’s Confidential Private Placement Memorandum, including, without limitation,
  privately placed or publicly traded debt securities and other debt obligations, senior and
  subordinated debt obligations, secured and unsecured debt obligations, privately placed or
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                          AGREEMENT OF LIMITED PARTNERSHIP

                                             OF

                     HIGHLAND RESTORATION CAPITAL PARTNERS, L.P.




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      Schedule 1   Limited Partners/Commitments/Notice Information
      Exhibit A    Form of Guaranty Agreement




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                     AGREEMENT OF LIMITED PARTNERSHIP
                                    OF
                 HIGHLAND RESTORATION CAPITAL PARTNERS, L.P.


         THIS AGREEMENT OF LIMITED PARTNERSHIP (this “Agreement”) is dated
 effective as of April 18, 2008 between Highland Restoration Capital Partners GP, LLC, a
 Delaware limited liability company (in its capacity as general partner of the Partnership, the
 “General Partner”), and the limited partners listed in Schedule 1 attached hereto (in their
 capacities as limited partners of the Partnership, the “Limited Partners”) (the General Partner and
 the Limited Partners being herein collectively called the “Partners”). Capitalized terms not
 otherwise defined shall have the meanings ascribed to such terms in Section 2.1(a).



                                            ARTICLE I

                                    GENERAL PROVISIONS

        Section 1.1 Formation. The Partners hereby agree to form a limited partnership (the
 “Partnership”) pursuant to and in accordance with the Delaware Revised Uniform Limited
 Partnership Act (the “Delaware Partnership Act”).

         Section 1.2 Name. The name of the Partnership will be “Highland Restoration Capital
 Partners, L.P.” or such other name or names as the General Partner may from time to time
 designate. The General Partner will notify Limited Partners in writing of any change to the name
 of the Partnership.

         Section 1.3 Purpose. Subject to the express limitations set forth herein, the Partnership
 is organized for the object and purpose of (i) investing in senior secured bank loans, debt
 obligations, trade claims and equity securities of middle market Distressed Companies primarily
 based in the United States generally consistent with the investment strategy described in the
 Partnership’s Confidential Private Placement Memorandum, including, without limitation,
 privately placed or publicly traded debt securities and other debt obligations, senior and
 subordinated debt obligations, secured and unsecured debt obligations, privately placed or
 publicly traded equity securities including common stock, preferred stock and warrants, and (ii)
 managing and monitoring such investments and engaging in such activities incidental or
 ancillary thereto and otherwise permitted by the Delaware Partnership Act as the General Partner
 deems necessary or advisable.

         Section 1.4 Place of Business. The Partnership will maintain offices and places of
 business at Two Galleria Tower, 13455 Noel Road, Dallas, TX 75240, or at such other place or
 places in the United States as the General Partner may from time to time designate; provided,
 however, that if the General Partner designates different places of business, it shall promptly
 notify the Limited Partners in writing.




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                                                    ARTICLE II

                                  DEFINITIONS; DETERMINATIONS;
                            CAPITAL CONTRIBUTIONS; CAPITAL ACCOUNTS

                 Section 2.1 Definitions: Determinations.

            (a)     For purposes of this Agreement the following capitalized terms shall have the
      meanings set forth below:

                 "Additional Limited Partners" has the meaning set forth in Section 6.5(a).

                 "Advisory Committee" has the meaning set forth in Section 7 .l(a).

                 "Affiliate" has the meaning set forth in Rule 405 promulgated under the Securities Act.

                 "Agent" has the meaning set forth in Section 2.4Cb ).

                 "Agreement" has the meaning set forth in the introduction.

             "Allocated Expenses" means, for any Partner as of any date with respect to any Portfolio
      Investment, such Partner's Capital Contributions applied to pay Management Fees,
      Organizational Expenses and Uncapitalized Partnership Expenses that have been allocated
      pursuant to Section 3.3(c) to such Portfolio Investment as of such date.

               "Available Profits" means, with respect to a Waived Fee Amount, the cumulative amount
      of items of Partnership income and gain (such items being "Partnership Profits") realized after
      the Waived Fee Notice giving rise to such Waived Fee Amount. The amount of Partnership
      Profits realized after a Waived Fee Notice for the purpose of this Available Profits definition
       shall equal the amount of Partnership income and gain realized after the Waived Fee Notice for
      purposes of maintaining Capital Accounts; provided, however, the amount of Partnership gain
      realized after a Waived Fee Notice that is attributable to any Portfolio Investment held by the
      Partnership at the time of such Waived Fee Notice that is taken into account in calculating
      Partnership Profits shall equal the excess, if any, of (1) the amount the Partnership realizes on the
      sale, transfer, or other disposition of such Portfolio Investment or its assets over (2) the fair
      market value (as determined by the General Partner) of such Portfolio Investment or its assets, as
      applicable, on the date of such Waived Fee Notice. Notwithstanding the two preceding
      sentences, the aggregate amount of all items of Partnership Profits for any taxable year included
      in Available Profits shall not exceed the total amount of the Partnership's net income and gain
      for such taxable year as determined for federal income tax purposes, except that gain attributable
      to a Portfolio Investment shall be determined as described in the proviso to the preceding
      sentence. Notwithstanding the three preceding sentences, to the extent of the amount by which
      the Special Profit Interest with respect to a Portfolio Investment exceeds the Deemed
      Contribution with respect to such Portfolio Investment, Available Profits includes an allocable
      share of all items of income or gain realized by the Partnership with respect to such Portfolio
      Investment.



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              "Basis" of any security means the basis of such security as determined in accordance with
      the Code less the amount of any write-down pursuant to Section 9.4 and as further adjusted by
      the General Partner in its reasonable discretion to reverse the effects of any exchange of
      securities that would result in an increase in tax basis pursuant to the Code.

             "Benefit Plan Investor" means any Partner that is a "benefit plan investor" as defined in
      Section 3( 42) of ERISA and any regulations promulgated thereunder.

                "BHC Act" means the Bank Holding Company Act of 1956, as amended.

              "BHCA Partner" means a Limited Partner that is a bank holding company, as defined in
      Section 2(a) of the BHC Act, or a non-bank subsidiary of such bank holding company, provided,
      that such Limited Partner shall not be a BHC Partner if (i) it is a financial holding company, as
      defined in Section 2(p) of the BHC Act, or a non-bank subsidiary thereof and is acting pursuant
      to Section 4(k)(4 )(h) or Section 4(k)( 4 )(i) of the BHC Act as set forth in a notice to such effect to
      the General Partner; or (ii) it is a small business investment company licensed as such under the
      Small Business Investment Act of 1958, as amended.

             "Bridge Financing" means, with respect to the Partnership's investment in a Portfolio
     Company, that portion of the investment that the Partnership provides as interim financing
     (including guarantees of debt financing) in anticipation of, or to support, a permanent investment
     by the Partnership in such Portfolio Company and that the Partnership intends to cause the
     Portfolio Company to repay or refinance within 18 months after the date of such investment in
     the Portfolio Company and which the General Partner designates in the Capital Call Notice
     therefor. During the first 18 months following a Bridge Financing, such Bridge Financing shall
     be treated as a Short-Term Investment. A Bridge Financing that is outstanding 18 months
     following the making of such Bridge Financing, shall be treated by the Partnership as a
     permanent investment in a Portfolio Company.

             "Bridge Leveraging" means indebtedness incurred by the Partnership to fund the
     acquisition of a Portfolio Investment pending receipt of Capital Contributions (including as a
     result of any default by any Limited Partner or limited partner of a Parallel Vehicle in the making
     of Capital Contributions) pursuant to a Capital Call Notice that the Partnership anticipates
     issuing pursuant to Section 2.2(a), provided that the Capital Contributions made with respect to
     such Capital Call Notice are applied by the Partnership upon receipt thereof to repay such
     indebtedness.

             "Built-In Tax Amount" means, with respect to any distribution of securities in-kind
     received by the General Partner, an amount equal to the taxes that would be payable by the
     General Partner (and its direct and indirect members), assuming (i) such securities were sold in a
     taxable transaction immediately after their receipt by the General Partner for an amount equal to
     their value and (ii) any gains were taxed at the highest marginal rates applicable to any of the
     General Partner's members or former members, applying the assumptions set forth in Section
     3.3(b) in the same manner as if such securities had been sold by the Partnership immediately
     before such distribution.




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             "Business Day" means any day other than (i) Saturday or Sunday or (ii) any other day on
      which banks located in New York City generally are closed for business.

                "Capital Account"" has the meaning set forth in Section 2.3.

                "Capital Call" has the meaning set forth in Section 2.2(a).

                "Capital Call Notice"" has the meaning set forth in Section 2.2(a).

            "Capital Contribution" of any Partner means the amount received by the Partnership from
     such Partner as an actual contribution.

            "Capitalized Partnership Expenses"' means Partnership Expenses that are reflected in the
     Basis of Portfolio Investments.

             "Carried Interest" means the General Partner's 20% interest in the Partnership's
     distributions specified in Section 3.3(a)(ii)(A) and Section 3.3(a)(iii)(B).

                "Certificate" has the meaning set forth in Section 11.1.

                "Code" means the U.S. Internal Revenue Code of 1986, as amended.

                "Co-Investment Opportunity" has the meaning set forth in Section 5.17(a).

              "Co-Investment Fund" means any partnership, limited liability company or other entity
     that is an Affiliate of the General Partner or the Manager, is not a Parallel Vehicle or a Separate
     Investment Entity, and is organized to invest in Portfolio Investments pursuant to a Co-
     Investment Opportunity.

                "Co-Investor" has the meaning set forth in Section 5.17(a).

             "Commitment" with respect to each Partner means the aggregate amount of cash agreed
     to be contributed as capital to the Partnership by such Partner (as determined with respect to the
     General Partner without regard to Section 2.2(a)(ii)) as specified in Schedule 1 attached hereto as
     the same may be modified from time to time under the terms of this Agreement.

                "Commitment Period" has the meaning set forth in Section 2.2(b).

                "Continuity Period" has the meaning set forth in Section 2.2(d).

                "Credit Support" has the meaning set forth in Section 5.3.

                "Crusader" means Highland Crusader Fund, L.P., and its successors.

                "Current Cash Income" means all Current Income paid in cash or cash equivalents.

            "Current Income" means all interest and dividend income (including from original issue
     discount, purchases or investments at a market discount, and payment of in-kind income and
     other non-cash current income) from a Portfolio Company.
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              "Deemed Contribution" means, as of any date, for any Portfolio Investment or the
      payment of expenses incurred directly in connection with the making, maintaining or disposing
      of such Portfolio Investment, the Gross-up Percentage multiplied by the product of (i) the
      amount by which the Capital Contributions required from the General Partner are reduced
      pursuant to Section 2.2(a)(ii) with respect to such Portfolio Investment or the payment of related
      expenses, multiplied by (ii) (1) with respect to the General Partner, the quotient determined by
      dividing (x) the aggregate Commitments of all Partners (including the General Partner) other
      than Limited Partners as to whom no Management Fee is payable pursuant to Section 4. l(b) by
      (y) the aggregate Commitments of all Partners, and (2) with respect to each Limited Partner as to
      whom no Management Fee is payable pursuant to Section 4.l(b), the quotient determined by
      dividing (x) the Commitment of such Limited Partner by (y) the aggregate Commitments of all
      Partners.

                 "Defaulting Partner" has the meaning set forth in Section 6.ll(a).

                 "Delaware Partnership Act" has the meaning set forth in Section 1.1.

                 "Determination Date" has the meaning set forth in Section 8.3(c).

               "Director Fees" means directors, consulting, monitoring or similar fees in respect of a
      Portfolio Company, including options, warrants or other non-cash compensation received by a
      director or officer of a Portfolio Company which shall be valued at the earlier of (v) the time of
      exercise of such instrument, (w) three years after the underlying security of such instrument
      becomes a Marketable Security, (x) the dissolution of the Partnership, (y) the date the
      Partnership disposes of the Portfolio Investment that gave rise to such fee or (z) the date such
      option, warrant or other non-cash compensation was disposed of by the General Partner, the
      Manager, the Principals or their Affiliates and thereafter credited against Management Fees
      pursuant to Section 4.1Cc), in each such case to the extent actually paid by a Portfolio Company
      and received by the General Partner, the Manager, the Principals, employees of the Manager or
      their Affiliates in respect of Portfolio Investments; provided, however, that (A) such fees shall
      not include, in each case, any such amounts that are applied to cover amounts paid by the
      General Partner, the Manager, the Principals or their Affiliates that constitute umeimbursed
      (i) out-of-pocket expenses of such persons incurred in generating such fees, and (ii) Partnership
      Expenses incurred in generating such fees, and (B) to the extent that the General Partner, the
      Manager, the Principals, employees of the Manager or their Affiliates were actually reimbursed
      by the Partnership for any Partnership Expenses incurred in generating such fees, such fees will
      first be applied to repay the Partnership for such Partnership Expenses.

               "Disposition" or "Disposed of' means, with respect to all or a portion of a Portfolio
      Investment, (i) except as provided in the next sentence, the sale, exchange or other disposition by
      the Partnership of all or a portion of the securities or other interests constituting that Portfolio
      Investment for cash, securities or other property, (ii) the receipt by the Partnership of a
      distribution of the proceeds of the sale of all or substantially all of the assets of the Portfolio
      Company in complete liquidation of the Partnership's entire interest in the Portfolio Investment
      and (iii) an in-kind distribution of all or part of a Portfolio Investment that has not previously
      been deemed to have been Disposed of, as of the date of and to the extent of such distribution.
      A "Disposition" does not include (i) a recapitalization that consists of an exchange of a Portfolio

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      Investment for other securities of or claims against the issuing Portfolio Company, (ii) a business
      combination that consists of an exchange of substantially all of the Partnership's remaining
      interest in a Portfolio Investment for securities issued by an acquiring entity, (iii) a business
      combination that consists of the exchange of all or substantially all of the assets of a Portfolio
      Company or one or more divisions or operating units of a Portfolio Company for securities
      issued by an acquiring entity or (iv) a sale, exchange or other disposition that does not constitute
      a pro rata disposition of a portion of each class of securities or other interests constituting such
      Portfolio Investment.

              "Distressed Companies" shall mean persons that, in the opinion of the General Partner,
      (a) are or have been in financial or other stress; (b) are restructuring, are considered likely to be
      restructured, or have been restructured in an out -of-court process or in a proceeding under the
      Federal bankruptcy laws or state insolvency laws or similar laws in or outside of the
      United States; (c) are being, are considered likely to be or have been reorganized within or
      outside of a proceeding under federal bankruptcy laws or state insolvency laws or similar
      laws in or outside of the United States; or (d) are engaged, are considered likely to
      engage or have been engaged in other extraordinary transactions, such as debt restructurings,
      reorganizations and liquidations outside of bankruptcy.

              "ECI" means income that is effectively connected with a United States trade or business
      within the meaning of Section 864( c) of the Code and the Treasury Regulations promulgated
      thereunder, but not including any income or gain attributable to the disposition of a "United
      States real property interest" as defined for purposes of Section 897( c) of the Code.

                "Electing Limited Partner" has the meaning set forth in Section 2.4(b ).

            "ERISA" means the U.S. Employee Retirement Income Security Act of 1974, as
      amended.

             "Excess Partial Realization Proceeds" means, for any Partner and as of any date, the sum
     of the positive amounts determined with respect to each Portfolio Investment (or portion thereof)
     that has not been Disposed of as of such date and as to which there have been proceeds from a
     Partial Realization as of such date, equal to the excess of (a) such Partner's Partner Share of
     aggregate proceeds that have been distributed as of such date of all Partial Realizations with
     respect to such Portfolio Investment or portion thereof over (b) the sum of (i) such Partner's
     Capital Contributions applied to make such Portfolio Investment or portion thereof, including
     Capitalized Partnership Expenses attributed to such Portfolio Investment or portion thereof and
     any Allocated Expenses with respect to such Portfolio Investment as of such date, plus (ii) an
     amount that would be equal to such Partner's Preferred Amount if such Partner's Preference
     Base were only the amounts described in clause (i).

                "Existing Partners" has the meaning set forth in Section 6.5(c).

                "FCC" shall mean the U.S. Federal Communications Commission.

             "FCC Attribution Rules" shall mean the ownership attribution rules of the FCC,
     including, but not limited to, 47 C.F.R. §§ 21.912, Note 1; 24-709; 24.720; 26.101(b), (c);

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      73.3555, Note 2; 76.501, Note 2; 76.503, Note 2; 76-504, Note 1; Attribution Reconsideration
      Order, 58 Radio Regulation 2nct 604 (1985); Further Attribution Reconsideration Order, 1 FCC
      Red 802 (1986); Report and Order, 14 FCC Red 12559 (1999); Report and Order, 14 FCC Red
      19014 (1999); Memorandum Opinion and Second Order in Reconsideration, FCC 00-431
      (released Jan. 19, 2001); and Memorandum and Opinion and Order on Reconsideration, FCC-00-
      438 (released Jan. 19, 2001), all as the same may be amended or supplemented from time to
      time.

             "Final Closing" means the final closing of subscriptions by Limited Partners pursuant to
      Subscription Agreements, which, in any event, shall take place no later than the fourteen month
      anniversary of the First Closing.

             "First Closing" means the first closing of subscriptions by Limited Partners pursuant to
      Subscription Agreements.

             "Follow-on Investment" means investments made after the termination of the
      Commitment Period in securities of an existing Portfolio Company that are appropriate or
      necessary in the opinion of the General Partner to preserve, protect or enhance the investment in
      such Portfolio Company that was made by the Partnership during the Commitment Period.

              "Fund Group" means the Partnership, Parallel Vehicles, Separate Investment Entities and
      their respective Portfolio Investments.

              "Funded Commitment" means as to any Partner as of any date, that portion of a Partner's
      Commitment that has been contributed (or "deemed contributed") to the Partnership to meet a
      Capital Call (including any amounts contributed pursuant to Section 6.5(b)), reduced by (a) any
      amounts which are distributed (or "deemed distributed") to such Partner in respect of a proposed
      Portfolio Investment (or portion thereof) that was not consummated, (b) any amounts which are
      distributed (or "deemed distributed") to such Partner in respect of a Bridge Financing (or portion
      thereof) that was sold, refinanced, redeemed or otherwise disposed of within 18 months from the
      Investment Date of such Portfolio Investment in an amount not to exceed the Partner's portion of
      Funded Commitments used to acquire such Bridge Financing, (c) any amounts paid by such
      Partner pursuant to subclauses (A), fiD. and (g of the third sentence of Section 6.5(b), (d) any
      amounts distributed (or "deemed distributed") to such Partner pursuant to Section 6.5 (other than
      amounts attributable to payments by an Additional Limited Partner pursuant to subclauses (A),
      fiD. and (g of the third sentence of Section 6.5(b)), and (e) in the sole discretion of the General
      Partner, any amounts distributed (or "deemed distributed") to such Partner with respect to a
      Portfolio Investment that was sold, refinanced, redeemed or otherwise disposed of within 48
      months after the Investment Date for such Portfolio Investment in an amount not to exceed the
      portion of such Partner's Funded Commitments used to acquire such Portfolio Investment, all as
      determined in good faith by the General Partner. For the purposes of this definition, those
      proceeds otherwise distributable to a Partner that are retained for reinvestment or application to a
      Capital Call in accordance with the proviso to Section 3.1 (b) or the proviso to the second to last
      sentence in Section 6.5(b ), shall be "deemed distributed" to such Partner by the Partnership and
      "deemed contributed" by such Partner to the Partnership. The General Partner, in its discretion,
      may reduce the 48 month period referenced above at any time during the Commitment Period.


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                "GAAP" means U.S. generally accepted accounting principles as in effect from time to
     time.

            "General Partner" has the meaning set forth in the introduction to this Agreement and
     includes any successor general partner of the Partnership appointed in accordance with this
     Agreement.

                "GP's Counsel" has the meaning set forth in Section 12.5.

           "Gross-up Percentage" means the percentage determined by dividing (i) the aggregate
     Commitments of all Partners by (ii) the aggregate Commitments of all Partners with respect to
     whom the Management Fee is payable pursuant to Section 4.1(b).

             "Guaranty Agreement" shall mean the Guaranty Agreement, dated as of the date hereof,
     by and among the Partnership, the General Partner and the guarantors party thereto, substantially
     in the form of the agreement set forth in Exhibit A hereto, as amended from time to time in
     accordance with its terms.

             "Highland" shall mean Highland Capital Management, L.P., a Delaware limited
     partnership.

            "Highland Accounts" means collectively funds, accounts and vehicles managed by
     Highland from time to time.

             "Highland Investment Allocation Policy" shall mean the investment allocation policy of
     Highland described in the Partnership's Confidential Private Placement Memorandum and as in
     effect or modified from time to time.

             "Highland Portfolio Company" means each portfolio company (and each of their
     subsidiaries) as to which Highland and/or the Principals and/or their respective Affiliates have
     completed, or are in the process of completing, an investment or acquisition or receipt of a debt
     or equity ownership position therein, including, without limitation through Crusader and other
     Highland Accounts, at the time of the First Closing, together with follow-on or other additional
     investments and acquisitions from time to time after the First Closing in or by such companies so
     long as such investments and acquisitions are reasonably determined by the Principals to be
     primarily within the general lines or areas of business of such companies as of the First Closing
     or incidental or related thereto.

                "Indemnifying Partner" has the meaning set forth in Section 6.7(a).

             "Initial Fee Period" means the period starting on the First Closing and ending on the
     earlier of (i) the termination of the Commitment Period, and (ii) the date on which the Manager,
     the General Partner or an Affiliate thereof closes subscriptions of capital commitments by
     investors of a Successor Fund.

                "Insulated Partner" has the meaning set forth in Section 5.16(a).

                "Insulated Partner Affiliate" has the meaning set forth in Section 5.16(a).

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                "Investment Company Act" means the Investment Company Act of 1940, as amended.

              "Investment Date" means, with respect to any Portfolio Investment, the date such
      Portfolio Investment was acquired by the Partnership.

              "Investment Income and Gain" means, with respect to a Portfolio Investment, (i) the
      excess, if any, of the proceeds from the Disposition of such Portfolio Investment or portion
      thereof or Partial Realization with respect to such Portfolio Investment or portion thereof that
      does not give rise to Current Income over the Basis of such Portfolio Investment or portion
      thereof, (ii) to the extent all or any portion of such Portfolio Investment is distributed to the
      Partners in kind as contemplated by Section 2.3, the excess, if any, of the value (as determined
      pursuant to Article IX) of the portion of such Portfolio Investment distributed to the Partners
      over the Basis of such portion of such Portfolio Investment, and (iii) Current Income attributable
      to such Portfolio Investment.

               "Investment Loss" means, with respect to a Portfolio Investment, (i) the deficiency. if
      any, of the proceeds from the Disposition of such Portfolio Investment or portion thereof or
      Partial Realization with respect to such Portfolio Investment or portion thereof that does not give
      rise to Current Income as compared to the Basis of such Portfolio Investment or portion thereof,
      (ii) to the extent all or any portion of such Portfolio Investment is distributed to the Partners in
      kind as contemplated by Section 2.4, the deficiency. if any, of the value (as determined pursuant
      to Article IX) of the portion of such Portfolio Investment distributed to the Partners as compared
      to the Basis of such portion of such Portfolio Investment, and (iii) the amount, as reasonably
      determined by the General Partner in accordance with Section 9.4, by which such Portfolio
      Investment has permanently declined in value below the Basis of such Portfolio Investment
      immediately prior to such determination.

             "Keyman Group" means James Dondero, Pat Daugherty and John Honis; provided, that
     the Keyman Group will include replacements chosen pursuant to Section 2.2(d) if a Triggering
     Event occurs pursuant to clauses Cii) or (iii) therein; provided, further, that, if any one of the
     members of the Keyman Group ceases to be actively involved, including in a supervisory role,
     on an ongoing basis with respect to the business, operations or investment decisions of Highland,
     the Manager and General Partner, the Keyman Group will include such replacement person that
     is proposed by the General Partner to the Advisory Committee and who is approved to serve as a
     member of the Keyman Group by the consent of a majority of the members of the Advisory
     Committee.

             "Limited Partners" means the persons listed in Schedule 1 hereto in their capacity as
     limited partners of the Partnership (including each person admitted to the Partnership in
     accordance with Section 6.5) and each person who is admitted to the Partnership as a substitute
     limited partner pursuant to Section 6.2 or 6.5, so long as each such person continues to be a
     limited partner of the Partnership hereunder.

            "Majority in Interest of the Limited Partners" means Limited Partners with Commitments
     and limited partners in Parallel Vehicles with capital commitments to Parallel Vehicles totaling
     more than 50% of the aggregate Commitments of all Limited Partners and capital commitments
     of limited partners in Parallel Vehicles.

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                 "Management Fee" has the meaning set forth in Section 4.1(a).

                 "Management Fee Period"" has the meaning set forth in Section 4.1(a).

              "Manager" means Highland Capital Management, L.P., a Delaware limited partnership,
      or other entity controlled by James Dondero and Mark Okada, and appointed as Manager by the
      General Partner on behalf of the Partnership from time to time.

               "Marketable Securities" means securities that (A) (i) are (x) listed on a national securities
      exchange in the United States, (y) quoted on the NMS or (z) listed on a securities exchange or
      quoted on an established quotation system within or without the United States that in the opinion
      of the General Partner after consultation with the Advisory Committee supports sufficient trading
      activity and volume to allow for the orderly disposition of such securities by the Partners
      following a distribution thereof in accordance with Sections 2.4 and 3.3, and (ii) are not subject
      to restrictions on transfer as a result of applicable contract provisions, the provisions of the
      Securities Act or regulations thereunder (other than the volume, manner-of-sale and notice
      restrictions of Rule 144 promulgated thereunder or any successor rule thereto; provided, that if
      such securities are subject to volume limitations under Rule 144 and distributed in kind to
      Limited Partners, each Limited Partner would be able to sell such securities promptly after the
      distribution thereof in accordance with Sections 2.4 and 3.3 (notwithstanding volume
      limitations)), or other applicable law, or (B) are immediately convertible, exchangeable or
      exercisable by the holder thereof into securities that meet the requirements of the foregoing
      clause CAl.

               "Media Company" shall mean any entity in which the Partnership has or acquires an
      investment and that directly or indirectly owns, controls or operates any: (i) broadcast radio or
      television station licensed by the FCC; (ii) U.S. cable television system; (iii) daily newspaper (as
      such term is defined in Section 73.3555 of the Ownership Rules); (iv) multipoint multichannel
      distribution system licensed by the FCC; (v) other communications facility the ownership or
      operation of which is subject to regulation by the FCC under (x) the Communications Act of
      1934, as amended, (y) the FCC Attribution Rules, or (z) the FCC Ownership Rules; and (vi)
      other business or activity that is subject to ownership restrictions imposed by the FCC from time
      to time.

               "Net Funded Commitment" means, in respect of any Partner and as of the first day of any
      Management Fee Period, such Partner's Funded Commitment as of such date less (i) such
      Partner's Capital Contributions (or portion thereof, in the case of a partial Disposition) applied
      by the Partnership to make all Portfolio Investments that have been Disposed of on or prior to
      such date and applied to pay Capitalized Partnership Expenses relating to such Portfolio
      Investments and Allocated Expenses with respect to such Portfolio Investment as of such date,
      (ii) all write downs pursuant to Section 9.4 in respect of Portfolio Investments that have not been
      Disposed of by the Partnership on or prior to such date multiplied by such Partner's Partner
      Interest in each such Portfolio Investment, and (iii) such Partner's Capital Contributions in
      respect of Management Fees and Partnership Expenses allocable to Portfolio Investments that
      have not been Disposed of on or prior to such date.



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             "NMS" means the National Market System of the National Association of Securities
      Dealers, Inc.

                "Non-Marketable Securities" means all securities which are not Marketable Securities.

              "Non-U.S. Partner" means with respect to any determination hereunder, (i) any Limited
      Partner that is not a "United States person" within the meaning of Section 7701(a)(30) of the
      Code, or (ii) any Limited Partner that has a direct or indirect beneficial owner that (x) is not a
      "United States person" within the meaning of Section 7701(a)(30) of the Code and (y) is
      required to report on a United States federal income tax return or report any taxable income
      allocated to such Limited Partner pursuant to Section I 0.4, to the extent of such beneficial
      owner's pro rata share of such income, but in each case, on! y if such Limited Partner has notified
      the General Partner of such status at any time prior to such determination, by providing the
      General Partner an IRS Form W-8BEN or by some other method satisfactory to the General
      Partner.

              "Non-Voting Interest" means any interest of a Limited Partner in the Partnership, and if
      applicable, any interest of a limited partner in a Parallel Vehicle (or portion thereof) with respect
      to which a Limited Partner or limited partner in a Parallel Vehicle has, or elects to have, no or
      limited voting rights pursuant to Section 6.9 or a similar provision in the agreement of limited
      partnership of the Parallel Vehicles, as the case may be.

                "Non-Voting Partnership Interests" has the meaning set forth in Section 6.9(b).

             "Operating Company" means an "operating company" within the meaning of the Plan
      Asset Regulation, including a "venture capital operating company."

              "Opinion of the Partnership's Counsel" means an opinion of Mayer Brown LLP or other
      counsel selected by the General Partner and reasonably acceptable (by reason of experience in
      the area of law involved) to the Limited Partner affected by such opinion or, if more than one
      Limited Partner is affected by such opinion, a Majority in Interest of the Limited Partners so
      affected.

              "Organizational Expenses" means the reasonable out-of-pocket expenses (including,
      without limitation, travel, printing, legal and accounting fees and other expenses) of the General
      Partner, the Manager, the Principals and their respective Affiliates (but not including any
      Placement Fees) incurred in the formation of the Partnership, any Parallel Vehicle or any
      Separate Investment Entity or incurred in connection with the organization and funding of the
      Partnership, any Parallel Vehicle, Separate Investment Entity and the General Partner.

              "Other Permitted Investment Activities" means the continuing involvement of the
     Principals, subject to compliance with the devotion of time covenant in Section S.l(a), (i) in the
     full range of their activities in connection with their duties and responsibilities as members,
     owners, partners, directors, officers, employees, shareholders, or consultants of the Manager and
     Highland Accounts, including Crusader, (ii) in acquisitions and follow-on investments by
     Highland Portfolio Companies reasonably determined by the Principals to be primarily within
     the general area of business of a Highland Portfolio Company or incidental or related thereto,
     (iii) as passive owners, stockholders, debtholders and investors in professionally managed hedge
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      funds, fund of funds and other private investment entities and vehicles, (iv) in investments which
      do not otherwise meet the investment objectives of the Partnership, and (v) in a Successor Fund
      organized in accordance with Section 5.12; provided, that none of the activities described in
      clauses (i) through (v) above shall unreasonably affect the ability of the Principals to fulfill their
      duties to the Limited Partners and to be actively involved in the business of the Fund Group.

              "Ownership Rules" means the multiple and cross-ownership rules of the FCC including,
      but not limited to, 47 C.F.R. §§ 21.912; 24-709; 24.720; 26.10l(a); 73.3555; 74.93l(h); 76.501;
      76.503; 76.504, and other regulations or written policies of the FCC which limit or restrict
      ownership in Media Companies, all as the same may be amended or supplemented from time to
      time.

             "Parallel Vehicle" means any entity that is organized pursuant to Section 5.14 and
      designated a Parallel Vehicle by the General Partner, including Highland Restoration Capital
      Partners Offshore, L.P., a Cayman exempted limited partnership, but solely for purposes of this
      Agreement, the Partnership is not a Parallel Vehicle.

              "Partial Realization" means, with respect to any Portfolio Investment, the realization by
      the Partnership of Current Income or of proceeds from a recapitalization, extraordinary dividend,
      sale, redemption or other disposition of less than all of such Portfolio Investment (other than a
      pro rata disposition of a portion of each class of securities or other interests constituting such
      Portfolio Investment) or any other similar event that does not constitute a Disposition of such
      Portfolio Investment.

             "Participating Partner" means, with respect to any Portfolio Investment, any Limited
      Partner who made a Capital Contribution (other than solely a Waiver Contribution) that was
      applied to such Portfolio Investment.

             "Partner Interest" means for any Partner that is a Participating Partner with respect to any
     Portfolio Investment (i) for each Partner as to which there is a Deemed Contribution, the
     proportion that the sum of such Partner's Capital Contributions and allocable share of Deemed
     Contributions that were applied to such Portfolio Investment bears to the aggregate Capital
     Contributions and Deemed Contributions of all Partners that were applied to such Portfolio
     Investment, and (ii) for any Partner other than Partners described in clause (i), the proportion that
     such Partner's Capital Contributions that were applied to such Portfolio Investment bears to the
     aggregate Capital Contributions and Deemed Contributions of all Partners that were applied to
     such Portfolio Investment.

             "Partner Share" means, for any Partner, and for any period, the amount of Investment
     Income and Gain, Investment Loss, Current Cash Income, proceeds from the Disposition of or
     Partial Realization with respect to a Portfolio Investment for such period or Portfolio
     Investments distributed in kind, as the case may be, or items of Partnership income or expense
     (other than Management Fees or Placement Fees, if any), in each case for such period multiplied
     by such Partner's Partner Interest in the Portfolio Investments giving rise to such items or to
     which such items are allocable pursuant to Section 3.3(c).

                "Partners" means the General Partner and the Limited Partners, collectively.

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                 "Partnership" has the meaning set forth in Section 1.1.

               "Partnership Expenses" means all reasonable costs and expenses relating to the
      Partnership's activities, investments and business (to the extent not borne or reimbursed by a
      Portfolio Company or proposed Portfolio Company), including, but not limited to, (i) all costs
      and out-of-pocket fees and expenses attributable to acquiring, investing, holding, monitoring and
      disposing of the Partnership's investments, (ii) all other out-of-pocket costs and out-of-pocket
      fees and expenses attributable to unconsummated transactions or investment strategies (but
      excluding marketing strategies) that do not lead to consummated acquisitions, (iii) legal,
      accounting, auditing, administrative, consulting and other fees and expenses (including, but not
      limited to, fees of the administrator of the Partnership and insurance and other out-of-pocket
      expenses associated with negotiating, consummating, monitoring and disposing of the
      Partnership's investments and the preparation of Partnership financial statements, tax returns and
      forms K -1 ), (iv) expenses of the Advisory Committee incurred in accordance with Article VII,
      (v) extraordinary expenses, liabilities, indemnities and other obligations of the Partnership
      (including, but not limited to, litigation and indemnification costs and expenses, judgments and
      settlements (including, but not limited to, costs and expenses payable under Section 5.11)), and
      (vi) all debt service obligations, including interest, premium, if any, fees, expenses and other
      amounts payable in respect of indebtedness of the Partnership incurred in accordance with
      Section 5.3, but in each case, not including Organizational Expenses in excess of $1,250,000,
      Management Fees, Placement Fees and those expenses borne by the Manager pursuant to Section
      4.3.

                 "Partnership Legal Matters" has the meaning set forth in Section 12.5.

              "Permitted GP Transferee" means, as to any membership or other ownership interest in
      the General Partner, of or held by any Principal or other member or investor in the General
      Partner (a) any family member of such person provided the transferor retains all voting control
      with respect to the interest, (b) any other partner or investor in the General Partner who was a
      partner or investor in the General Partner as of the Final Closing, and (c) any trust, partnership,
      foundation corporation or other entity that is either controlled by such person or is primarily for
      the benefit of such person and/or their family members.

             "Person" means an individual, a partnership, a limited liability company, a corporation,
      an association, a joint stock company, a trust, a joint venture, an unincorporated organization, or
      a governmental entity (or any department, agency or political subdivision thereof).

              "Placement Fees" means the fees and expenses and any interest on any deferred fees and
      expenses charged by or paid to any placement agency designated by the Partnership or the
      General Partner for the marketing and sale of interests in the Partnership and the Parallel
      Vehicles. The Partnership's pro rata share of any Placement Fees shall be the amount of such
      fees multiplied by a fraction, the numerator of which is the aggregate Commitments of the
      Limited Partners giving rise to such fees, and the denominator of which is the sum of the
      aggregate Commitments of the Limited Partners and the aggregate capital commitments of all
      limited partners in all Parallel Vehicles giving rise to such fees.

                 "Plan Assets" means "plan assets" as defined in the Plan Asset Regulation.

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                "Plan Asset Event" has the meaning set forth in Section 5.6Cel.

             "Plan Asset Regulation" means the U.S. Department of Labor regulation located at 29
      C.F.R. Section 2510.3-101, or any successor regulation thereto, as in effect at the time of
      reference, as modified by Section 3( 42) of ERISA.

             "Portfolio Company" means any corporation, partnership, limited liability, company or
      other entity in which the Partnership has made an investment, other than Short-Term
      Investments.

              "Portfolio Investments" means any investments held by the Partnership, other than Short-
      Term Investments. If the Partnership holds multiple classes of securities or other interests that
      were issued by a Portfolio Company in a single closing or series of related closings, all of such
      securities or interests in the aggregate shall constitute one Portfolio Investment.

              "Preference Base" means for any Partner and as of any date (a) with respect to any
      distribution of the proceeds of a Disposition, the sum of (i) such Partner's Capital Contributions
      applied to make Portfolio Investments that have been Disposed of on or prior to such date or
      applied to pay Capitalized Partnership Expenses with respect to such Portfolio Investments, (ii)
      such Partner's Partner Share of all writedowns (including write-offs) pursuant to Section 9.4 in
      respect of Portfolio Investments that have not been Disposed of by the Partnership on or prior to
      such date and (iii) such Partner's Capital Contributions applied to pay Allocated Expenses with
      respect to Portfolio Investments that have been Disposed of, written down or written off on or
      prior to such date, and (b) with respect to any distribution of proceeds of a Partial Realization,
      the amounts determined pursuant to clause (a), plus such Partner's Capital Contributions applied
      to make the Portfolio Investment to which such proceeds are attributable, including Capitalized
      Partnership Expenses attributable to such Portfolio Investment and Allocated Expenses with
      respect to such Portfolio Investment as of such date. For purposes of determining a Partner's
      Preferred Amount, a Partner's Preference Base shall not include any Capital Contributions
      returned to such Partner pursuant to Section 2.2(c).

             "Preferred Amount" means, for any Partner and as of any date, the amount, if any, that
     would be required to be distributed on such date so that the aggregate distributions pursuant to
     Section 3.3 (including distributions pursuant to Sections 8.3Cbl and(£}), to such Partner in excess
     of such Partner's Preference Base provide a return of 8% per annum (compounded annually) on
     such Partner's Preference Base. For purposes of determining a Partner's Preferred Amount with
     respect to a Disposition of a Portfolio Investment, no proceeds of Partial Realizations with
     respect to Portfolio Investments or portions thereof that have not been Disposed of as of such
     date shall be taken into account, other than Excess Partial Realization Proceeds realized as of
     such date. A Partner's Preferred Amount shall be calculated on the basis of the actual number of
     days elapsed from and including the date on which each Capital Contribution is invested in a
     Portfolio Company or is contributed to the Partnership for the purpose of paying Management
     Fees, Organizational Expenses and Partnership Expenses, as applicable, to, but not including, the
     date that distributions constituting a return of such Capital Contributions were made by the
     Partnership to the Partners pursuant to Section 3.3(a)(i).



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             "Principals" means the following senior investment professionals who are partners or
      members of the General Partner or are employed by the Manager, for so long as such persons
      have not voluntarily resigned from, or been terminated by, the General Partner or Manager, and
      any other senior investment professionals from time to time who are designated as such by the
      General Partner: James Dondero, Mark Okada, Patrick Daugherty and John Honis.

           "Qualified Purchaser" has the meaning set forth in Section 2(a)(51) of the Investment
      Company Act and the regulations promulgated thereunder.

                "Redeemed Limited Partner" has the meaning set forth in Section 6.6(c).

                "Redemption Effective Date" has the meaning set forth in Section 6.6(c).

              "Redemption Value" means, with respect to any interest in the Partnership, or such
      portion thereof in the case of a partial withdrawal, being redeemed because of a Plan Asset Event
      or Regulatory Issue, the fair market value of such interest as of the applicable Redemption
     Effective Date, as determined in good faith by the General Partner; provided that, if the Plan
     Asset Event or the Regulatory Issue is a result of a breach of a representation, warranty or
     covenant made by the Redeemed Limited Partner, the Redemption Value shall be (in each case
     as determined in good faith by the General Partner) the lesser of (i) the fair market value of such
     Redeemed Limited Partner's interest in the Partnership on the applicable Redemption Effective
     Date and (ii) the fair market value of the applicable portion of the Redeemed Limited Partner's
     interest in the Partnership being redeemed on the date on which cash is allocated to make
     redemption payments. In making such determination of fair market value, the General Partner
     shall assume that all of the assets of the Partnership will be sold on the applicable date in a
     commercially reasonable manner and the proceeds of such sale, net of estimated closing costs, as
     reasonably determined by the General Partner, and all obligations of the Partnership (other than
     the redemption of the interest or interests in the Partnership being redeemed as of such date), will
     be distributed to the Partners pursuant to this Agreement. With respect to a Plan Asset Event or
     Regulatory Issue that is not a result of a breach of a representation or warranty made by the
     Redeemed Limited Partner, if the majority of such Redeemed Limited Partners disagree with the
     General Partner's determination of the Redemption Value of the applicable interests in the
     Partnership, such Redeemed Limited Partners shall negotiate in good faith to resolve such
     disagreement, and if such Redeemed Limited Partners continue to disagree after negotiations are
     held, either side may request that an independent evaluator (who must be reasonably acceptable
     to the other party) be retained, whose valuation shall be final and binding on the Partnership and
     all of the Partners. The Partnership will bear the cost of the independent evaluator.

                "Regulated Investor" has the meaning set forth in Section 6.6(b ).

                "Regulatory Issue" has the meaning set forth in Section 6.6(b ).

                "Securities Act" means the Securities Act of 1933, as amended.

                "Separate Investment Entity" has the meaning set forth in Section 5.15.

          "Seventy-Five Percent in Interest of the Limited Partners" means Limited Partners with
     Commitments and limited partners in Parallel Vehicles with capital commitments to Parallel
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      Vehicles totaling 75% of the aggregate Commitments of all Limited Partners and capital
      commitments of limited partners in Parallel Vehicles.

             "Short-Term Investment Income" means the income earned on Short-Term Investments
      including in any event any gains and net of any losses from dispositions of Short-Term
      Investments and also net of any costs and expenses directly attributable thereto.

              "Short-Term Investments" means investments in (a) cash, (b) obligations of, or fully
      guaranteed as to timely payment of principal and interest by, the United States of America and
      with a maturity date not in excess of 12 months from the date of purchase by the Partnership,
      (c) interest-bearing accounts and/or certificates of deposit of any U.S. bank with capital and
      surplus in excess of $500 million and whose short-term debt securities are rated not lower than
      P-1 by Moody's Investor Services, Inc. and A-1+ by Standard & Poor's Corporation and whose
      long term unsecured debt securities, or the long term unsecured debt securities of its affiliated
      holding company, are rated no lower than AI by Moody's Investor Services, Inc. and A+ by
      Standard & Poor's Corporation, (d) reverse repurchase agreements using U.S. Treasury securities
      and entered into with any U.S. bank with capital and surplus in excess of $500 million and
      whose short-term debt securities are rated not lower than P-I by Moody's Investor Services, Inc.
      and A-I+ by Standard & Poor's Corporation and whose long term unsecured debt securities, or
      the long term unsecured debt securities of its affiliated holding company, are rated no lower than
      AI by Moody's Investor Services, Inc. and A+ by Standard & Poor's Corporation, and
      (e) money market mutual funds with assets of not less than $500 million, substantial! y all of
      which assets are reasonably believed by the General Partner to consist of items described in one
      or more of the foregoing clauses (b), .(£} and @.

              "Special Profit Interest" means (i) the General Partner's right to receive distributions
      pursuant to the first two sentences of Section 3.3(a), but only to the extent such distributions
      exceed the distributions that would have been made to the General Partner pursuant to the first
      two sentences of Section 3.3(a) if such distributions had been made pro rata according to each
      Partner's Capital Contributions to the Partnership, and (ii) the General Partner's right to receive
      distributions pursuant to Section 3.3(e).

              "Subscription Agreement" means the Subscription Agreements (including a Subscriber
      Information Form) executed and delivered by Partners investing in the Partnership substantially
      in the form of the Subscription Agreement, dated as of the date hereof.

                "Successor Fund" has the meaning set forth in Section 5.I2.

            "Tax Distributions" means the aggregate amount of distributions that would be made to
     the General Partner if the General Partner received no distributions other than those required
     pursuant to Section 3 .3(b ).

             "Tax Exempt Partner" means (i) a Limited Partner that is exempt from tax under Section
     501 of the Code or (ii) a Limited Partner that has a direct or indirect beneficial owner that (x) is
     exempt from tax under Section 50 I of the Code and (y) is required to report on a United States
     federal income tax return or report any taxable income allocated to such Limited Partner
     pursuant to Section 10.4, to the extent of such beneficial owner's pro rata share of such income,

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      but only in each case if such Limited Partner has notified the General Partner in writing
      regarding the status of such direct or indirect beneficial owner.

              "Topping and Break-up Fees" means topping, break-up or similar fees in connection with
      prospective Portfolio Investments that are not completed, in each case to the extent actually paid
      by a prospective Portfolio Company and received by the General Partner, the Manager, the
      Principals, employees of the Manager or their Affiliates; provided, however, that (A) such fees
      shall not include, in each case, any such amounts that are applied to cover amounts paid by the
      General Partner, the Manager, the Principals, employees of the Manager or their Affiliates that
      constitute unreimbursed (i) out-of-pocket expenses of such persons incurred in generating such
      fees, and (ii) Partnership Expenses incurred in generating such fees, and (B) to the extent that the
      General Partner, the Manager, the Principals or their Affiliates were actually reimbursed by the
      Partnership for any Partnership Expenses incurred in generating such fees, such fees will first be
      applied to repay the Partnership for such Partnership Expenses.

              "Transaction and Monitoring Fees" means commitment, transaction, closing, merger and
      acquisition, divestiture, financing, monitoring and similar advisory fees in respect of a Portfolio
      Company, in each case to the extent actually paid by a Portfolio Company and received by the
      General Partner, the Manager, the Principals, employees of the Manager or their Affiliates;
      provided, however, that (A) such fees shall not include, in each case, any such amounts that are
      applied to cover amounts paid by the General Partner, the Manager, the Principals, employees of
      the Manager or their Affiliates that constitute unreimbursed (i) out-of-pocket expenses of such
      persons incurred in generating such fees, and (ii) Partnership Expenses incurred in generating
      such fees, and (B) to the extent that the General Partner, the Manager, the Principals or their
      Affiliates were actually reimbursed by the Partnership for any Partnership Expenses incurred in
      generating such fees, such fees will first be applied to repay the Partnership for such Partnership
      Expenses.

                 "Triggering Event" has the meaning set forth in Section 2.2(d).

             "Two-Thirds in Interest of the Limited Partners" means Limited Partners with
     Commitments and limited partners in Parallel Vehicles with capital commitments to Parallel
     Vehicles totaling more than 66 213 % of the aggregate Commitments of all Limited Partners and
     capital commitments of limited partners in Parallel Vehicles.

            "UBTI" means unrelated business taxable income and unrelated debt financed taxable
      income, as defined in Sections 512 and 514 of the Code, respectively.

             "Unapplied Waived Fee Amounts" means, as of the date of determination, the excess, if
     any, of (i) the sum of (A) the aggregate Waived Fee Amount for all Management Fee Periods,
     beginning on or before the date of determination (B) the aggregate amount described in clause (i)
     of the definition of "Deemed Contribution" relating to the aggregate Capital Contributions
     previously returned to the Partners pursuant to Section 2.2(c) (including, without limitation, in
     respect of Bridge Financings) and (C) amounts added to the Unapplied Waived Fee Amounts
     pursuant to Section 6.5(b) over (ii) the aggregate amount described in clause (i) of the definition
     of "Deemed Contribution" as of such date.


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             "Uncapitalized Partnership Expenses" means Partnership Expenses that are not
      Capitalized Partnership Expenses.

            "Unfunded Commitment" means that portion of a Partner's Commitment that is not a
      Funded Commitment.

                "Waived Fee Amount" has the meaning set forth in Section 4.l(d).

                "Waived Fee Notice" has the meaning set forth in Section 4.1(d).

                "Waiver Contribution" has the meaning set forth in Section 2.2(a)(ii).

             Section 2.2 Capital Contribution Commitment: Key Person Provision. Subject to
      Section 5.6(b ):

              (a)     (i) Each Partner agrees to make contributions in cash to the capital of the
     Partnership pro rata based upon such Partner's respective Unfunded Commitment in an
      aggregate amount up to its Unfunded Commitment when and as called by the General Partner
     ("Capital Call") upon at least ten Business Days written notice (the "Capital Call Notice");
     provided, however, that the General Partner shall not be obligated to make Capital Contributions
     to be used to pay the Management Fee or Placement Fees, and Capital Contributions to pay the
     Management Fee will be made by each Limited Partner based on the amount of each payment of
     the Management Fee that is borne by such Limited Partner pursuant to Section 4.l(b). Any
     Capital Contributions made by the Limited Partners to pay the Partnership's pro rata share of any
     Placement Fees shall be made by the Limited Partners whose Commitments gave rise to such
     fees, pro rata in accordance with their respective Commitments. The aggregate Commitments
     and capital commitments to all Parallel Vehicles of the General Partner, the Principals, Highland
     and their Affiliates, shall be pro rata and shall equal the lesser of 5.0% of aggregate
     Commitments and capital commitments to all Parallel Vehicles and $50 million. In the event of
     the election described in Section 2.2(a)(ii), each Limited Partner required to make a Waiver
     Contribution pursuant to Section 2.2(a)(ii) shall make the Waiver Contribution specified in the
     Capital Call Notice. Each Capital Contribution shall be made by Partners in cash either by
     delivery to the Partnership of a certified check or wire transfer of immediately available funds to
     an account designated by the General Partner, provided, however, that the Capital Contributions
     of the General Partner may be made by cash contributions or by Deemed Contributions as set
     forth in Section 2.2(a)(ii).

             A Capital Call Notice shall: (i) specify the purpose for which the Capital Contributions
     are required to be made (including a breakdown of the amounts called in respect of Portfolio
     Investments, Partnership Expenses, Organizational Expenses, Management Fees or Placement
     Fees); (ii) in the case of a Capital Call Notice with respect to the anticipated making of a
     Portfolio Investment, include: (A) a brief description of the identity, nature and business of such
     Portfolio Investment; (B) a statement as to whether the Portfolio Investment might be structured
     through a Separate Investment Entity; (C) a designation as such of any Bridge Financing to be
     made as part of such Portfolio Investment, and (D) a statement as to whether the Portfolio
     Investment is an investment in a Media Company or could, in the reasonable judgment of the
     General Partner, cause a Limited Partner to recognize UBTI; and (iii) specify a Limited Partner's

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     pro rata share of the Capital Contributions required to be made by such Limited Partner, the
     portion of the Capital Contribution to be applied towards the payment of Management Fees, and
     the amount of a Limited Partner's Unfunded Commitment remaining following the funding of
     such Capital Contribution.

                      (ii)    Notwithstanding Section 2.2(a)(i) above, at such time as the General
     Partner delivers any Capital Call Notice, the General Partner's required Capital Contributions in
     respect of anticipated or actual Portfolio Investment and/or expenses incurred directly in
     connection with the making, maintaining or disposing of such Portfolio Investment, at the
     General Partner's election, shall be reduced by an amount up to the lesser of (A) the amount of
     Capital Contributions otherwise required to be made by the General Partner pursuant to Section
     2.2(a)(i). or (B) the amount of any existing Unapplied Waived Fee Amounts, and such amount
     shall instead be funded by the Participating Partners with respect to whom the Management Fee
     is payable pursuant to Section 4.1(b ), pro rata according to their respective Commitments (for
     any Partner, a "Waiver Contribution"). If, as of any date, the aggregate amounts described in
     clause (i) of the definition of "Deemed Contribution" exceed the sum of the amounts described
     in clause (i) of the definition of "Unapplied Waived Fee Amounts," the General Partner shall,
     within ten Business Days after such date, make a Capital Contribution equal to the amount of
     such excess. Such amount shall be distributed to the Partners as a return of their Capital
     Contributions, in proportion to their respective Waiver Contributions. Corresponding
     adjustments shall be made to the Special Profits Interest.

              (b)     Each Partner's Commitment will commence on the date of the First Closing and
     will expire on the earlier of (i) five years from the Final Closing, (ii) the date after the second
     anniversary of the Final Closing on which the Commitment Period is terminated with the consent
     of Seventy-Five Percent in Interest of the Limited Partners, (iii) the date on which the General
     Partner determines that 90% of the aggregate Commitments of the Partners have been funded or
     are needed for purposes described in clauses (i) through (iii) of the next sentence below, or (iv)
     the date that the Commitment Period is terminated pursuant to Section 2.2(dl, (such period being
     referred to as the "Commitment Period"). Notwithstanding the expiration or the termination of
     the Commitment Period, the Partners will remain obligated to make cash contributions
     throughout the duration of the Partnership pursuant to their respective Unfunded Commitments
     to the extent needed (i) to make Follow-on Investments; provided, however, that the aggregate of
     all Follow-on Investments made after the termination of the Commitment Period shall not exceed
     15% of the aggregate Commitments, (ii) to make investments that were the subject of written
     agreements in process or under active consideration prior to or on the date of termination of the
     Commitment Period and which are consummated within 120 days of the date of termination of
     the Commitment Period, subject to extension, if necessary, in order to obtain requisite regulatory
     approvals, and (iii) to pay Partnership Expenses and the Management Fee. The General Partner
     shall notify the Limited Partners within 30 days of the termination of the Commitment Period as
     to all in process investments that were the subject of written agreements in process and
     investments under active consideration to the extent the General Partner is not bound by
     confidentiality obligations related thereto.

             (c)    The General Partner shall cause the Partnership to return to the Partners all or any
     portion of any Capital Contribution to the Partnership which is not invested in a Portfolio
     Investment or used to pay Partnership Expenses, Management Fees, Placement Fees or

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      Organizational Expenses or which has been contributed in order to fund a Bridge Financing
      which is refinanced. Each such return of Capital Contributions shall be made pro rata among all
      Partners in the same proportion as the Partners made such Capital Contributions and shall be
      made on or before the sixtieth (60th) day following the date such Capital Contributions were due
      (as set forth in the Capital Call Notice pursuant to which such Capital Contributions were made
      by the Partners to the Partnership), provided, however, that such Capital Contributions may be
      retained and applied with respect to another outstanding Capital Call Notice and may also be
      retained if the General Partner determines in good faith that there will be a Capital Call within
      thirty (30) days after the date that such Capital Contributions would otherwise be required to be
      returned, and if not so applied and retained, may be called again by the General Partner
      according to the provisions of this Section 2.2 as if such returned Capital Contributions had not
      been previously called.

                 (d)   If:

                      (i)    James Dondero and Mark Okada both cease to be actively involved,
      including in a supervisory role, on an ongoing basis with respect to the business, operations or
      investment decisions of Highland, the Manager and General Partner,

                     (ii)     the Keyman Group, together with the Principals as of the Final Closing
      and Permitted GP Transferees thereof, are no longer entitled to receive, directly or indirectly, in
      the aggregate at least 50% of the Carried Interest (as defined in the Master Partnership
      Agreement) payable to the General Partner, or

                     (iii)   any two or more of the members of the Keyman Group cease to be
      actively involved, including in a supervisory role, on an ongoing basis with respect to the
      business, operations or investment decisions of Highland, the Manager and General Partner,

      (the circumstances specified in each of clauses (i), (ii), and (iii), above being referred to herein as
      a "Triggering Event"), then the Partnership shall automatically enter into a 120 day period
      (subject to extension for an additional120 day period as described below) in which the
      Commitment Period will be suspended (a "Continuity Period").

              The Partnership shall not make any new investments during the Continuity Period, except
      to the extent such investments (a) were the subject of written agreements, (b) were in process or
      (c) under active consideration prior to the commencement of the Continuity Period, and in each
      such case, are consummated within 120 days of the commencement of the Continuity Period,
      subject to extension, if necessary, in order to obtain requisite regulatory approvals for such
      investments. The pursuit of Other Permitted Investment Activities by the Principals and the
      members of the Keyman Group will not give rise to a Triggering Event. The General Partner
      will promptly notify the Limited Partners of the occurrence of a Triggering Event.

               During a Continuity Period, if a Triggering Event described in clause (i) above has
      occurred, the General Partner, after consultation with the Advisory Committee, will prepare for
      and provide to the Limited Partners within 60 days of the Triggering Event a program
      recommended by the General Partner for resumption by the Partnership of its full range of
      activities at the end of such Continuity Period. Prior to the end of the Continuity Period, but

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      within a reasonable time period following the delivery of a program recommended by the
      General Partner, the General Partner will arrange for a vote of all Limited Partners. By consent
      of Two-Thirds in Interest of the Limited Partners, the Limited Partners may cause an early
      termination of the Commitment Period, such termination to commence on the date such
      Continuity Period expires. If a Continuity Period expires without the occurrence of an effective
      consent of the requisite Limited Partners to terminate the Commitment Period, the Partnership,
      and the General Partner on its behalf, shall be authorized and entitled to resume the Partnership's
      full range of activities.

               During a Continuity Period, if a Triggering Event described in clauses (ii) or (iii) above
      has occurred, within 90 days of the Triggering Event the General Partner may propose to the
      Advisory Committee one or more replacements to serve as members of the Keyman Group for
      purposes of this Section 2.2(d); if a majority of the members of the Advisory Committee approve
      of such replacement or replacements, such replacement person or persons shall thereafter be
      members of the Keyman Group and the Partnership, and the General Partner on its behalf, shall
      be authorized and entitled to resume the Partnership's full range of activities. If the Advisory
      Committee does not approve of such replacement person or persons within 30 days following the
      delivery of the General Partner proposal to the Advisory Committee, the Continuity Period shall
      be extended for an additional 120 day period. The General Partner may propose to the Advisory
      Committee, within 90 days after the rejection by the Advisory Committee of the initial
      replacement person or persons, a different replacement or replacements than originally proposed
      to serve as members of the Keyman Group for purposes of this Section 2.2(d); if a majority of
      the members of the Advisory Committee approve of such replacement or replacements within 30
      days following delivery of the new General Partner proposal, such replacement person or persons
      shall thereafter be members of the Keyman Group and the Partnership, and the General Partner
      on its behalf, shall be authorized and entitled to resume the Partnership's full range of activities.
      If the Advisory Committee does not approve of such replacement person or persons within such
      thirty day period, the General Partner will arrange for a vote of all Limited Partners. By consent
      of Two-Thirds in Interest of the Limited Partners, the Limited Partners may cause an early
      termination of the Commitment Period, such termination to commence on the date the Continuity
      Period expires.

              Section 2.3 Capital Accounts. A capital account ("Capital Account") will be established
      for each Partner on the books of the Partnership and will be adjusted as follows:

              (a)      Capital Contributions and Allocations. A Partner's Capital Contribution will be
      credited to its Capital Account when received by the Partnership.

             (b)     Short-Term Investment Income. Short-Term Investment Income earned in each
     quarterly period with respect to Capital Contributions that have not yet been invested in Portfolio
     Investments or used to pay fees and expenses of the Partnership will be credited to the Capital
     Accounts of the Partners pro rata according to their respective Partner Capital Contributions to
     which such Short-Term Investment Income is attributable. Short-Term Investment Income on
     undistributed proceeds from Portfolio Investments shall be credited to the Capital Accounts of
     the Partners ratably in proportion to their respective shares of such undistributed amounts.



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               (c)     Investment Income and Gain and Investment Loss. Taking into account Section
      6.6(d) and except as otherwise provided in this Section 2.3(c). Investment Income and Gain or
      Investment Loss shall be allocated among the Partners for each taxable period in such a manner
      that, as of the end of such taxable period, and to the extent possible, the Capital Account of each
      Partner shall be equal to the net amount, positive or negative, which would be distributed to each
      Partner or for which such Partner would be liable to the Partnership under this Agreement
      (including Sections 8.3(c) and (tl), determined as if the Partnership were to liquidate the assets
      of the Partnership for an amount equal to their Bas is, reduced, but not below zero, by the amount
      of nonrecourse debt, if any, to which such Partnership assets are subject, and distribute the
      proceeds in liquidation after the payment of all liabilities (other than nonrecourse liabilities) in
      accordance with Sections 3.2 and 3.3. For purposes of the foregoing determination, no amount
      shall be treated as distributable pursuant to subclause (z) of clause (A) of Section 3.3(a)(i) by
      virtue of clause (a)(ii) of the definition of Preference Base or clause (B) of Section 3.3(a)(i) with
      respect to any Portfolio Investment or portion thereof solely because of the deemed liquidation of
      such Portfolio Investment; provided, however, that any increase in the Basis of a Portfolio
      Investment shall be taken into account for this purpose in the same manner as proceeds of a
      Partial Realization. Investment Income and Gain or Investment Loss attributable to Portfolio
      Investments retained by the Partnership pursuant to Section 3.3(e)(ii) shall be allocated 100% to
      the General Partner.

              (d)     Organizational Expenses, Management Fee. Organizational Expenses that are
      borne by the Partnership will be apportioned to the Partners pro rata according to their respective
      Capital Contributions to pay Organizational Expenses. Organizational Expenses that are
      described in Section 705(a)(2)(B) of the Code will be debited against the Capital Accounts of the
      Partners in the fiscal period in which they are incurred, and Organizational Expenses that are
      described in Section 709(b) of the Code will be debited against the Capital Accounts of the
      Partners over a 180-month period. The Management Fee for any Management Fee Period shall
      be debited against the Capital Account of each Limited Partner in the amount that is borne by
      such Limited Partner pursuant to Section 4.Hbl for such Management Fee Period.

              (e)    Distributions. Any amounts distributed to the Partners will be debited against
      their Capital Accounts.

              (f)    Partnership Expenses. Uncapitalized Partnership Expenses shall be debited
      against the Capital Accounts of the Partners in proportion to their respective Commitments.

            (g)    Placement Fees. Placement Fees, shall be debited against the Capital Accounts of
     the Limited Partners whose Commitments gave rise to such fees, in proportion to their respective
     Commitments.

                Section 2.4 Distributions in Kind.

             (a)     If any securities are to be distributed in kind to the Partners as provided in
     Article III, such securities will first be written up or down to their value (as determined pursuant
     to Article IX as of the date of such distribution), thus creating Investment Income or Gain or
     Investment Loss, which shall be allocated in accordance with Section 2.3 to the Capital Accounts
     of the Partners, and upon the distribution (or deemed distribution pursuant to Section 2.4(b )) of

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      such securities to the Partners, the value of such securities shall be debited, in accordance with
      Section 2.3(e), against the Capital Accounts of the Partners.

               (b)      The General Partner shall give at least ten Business Days prior notice to the
       Limited Partners of any proposed distribution of securities pursuant to this Section 2.4 and the
       date of such proposed distribution. In connection with any distribution of securities in kind, the
       General Partner shall offer each Limited Partner the right to elect to receive a distribution of
       securities or to have the Partnership dispose of all or any portion of such securities for the
       account of such Limited Partner. At the election of a Limited Partner (an "Electing Limited
      Partner"), all distributions of securities that otherwise would be made to the Electing Limited
      Partner by the Partnership shall be made, as determined by the General Partner, to the General
      Partner or an independent escrow agent or custodian as agent for the Limited Partner (the
      "Agent") and, unless otherwise specified in writing, an Electing Limited Partner shall be deemed
      to have chosen to have the Partnership sell its share of securities in full. An Electing Limited
      Partner shall bear all expenses (including, without limitation, underwriting costs and brokerage
      commissions) relating to the sale by the Partnership of such securities. The General Partner may
      require the Electing Limited Partner to make any representations, warranties and covenants as
      the General Partner shall reasonably determine are necessary or desirable in order to dispose of
      the securities. For all purposes of this Agreement, the Limited Partner shall be deemed to have
      received such distribution of securities on the date that such securities are delivered to the Agent.
      Immediately following a distribution to the Agent pursuant to this Section 2.4(b). the General
      Partner shall notify the Limited Partner of the type and quantity of securities distributed. The
      Agent shall thereafter hold such securities for a period of 10 Business Days following which the
      Agent shall use its reasonable efforts to promptly sell such securities and deliver the net proceeds
      therefrom to the Limited Partner; provided, however, that the Agent shall not sell such securities
      and shall instead promptly deliver such securities to the Limited Partner following the conclusion
      of such 10 Business Day period if, prior to the conclusion of such period, the Limited Partner
      notifies the Agent that the receipt of such securities would not violate any law, regulation or
      governmental order applicable to the Limited Partner. The Agent shall use good faith efforts in
      selling such securities at the highest available price, but shall not be liable to an Electing Limited
      Partner in any manner in connection with such sale in the absence of gross negligence or willful
      misconduct, including for any claim that the Agent was unable to effect any such sale (for any
      reason) or failed to obtain the highest possible sale price for such securities.

              (c)    An Electing Limited Partner's election pursuant to Section 2.4Cb) may be revoked
      by the Electing Limited Partner at any time upon notice to the General Partner; provided,
      however, that an election may not be revoked with respect to securities if the Agent has entered
      into a binding commitment to sell securities on behalf of the Electing Limited Partner.

              Section 2.5 Determination of Voting Thresholds. Any vote, approval or consent that is
      to be based upon a specified proportion of the interests in the Partnership held by the limited
      partners shall be based upon the Limited Partners' Commitments and the capital commitments of
      limited partners in Parallel Vehicles, excluding (i) except as specifically provided in Section 6.9,
      that portion of each Limited Partner's Commitment and the capital commitment of each limited
      partner in a Parallel Vehicle that represents a Non-Voting Interest, (ii) except as otherwise set
      forth in Section 12.1(b ). limited partner interests in the Partnership or in any Parallel Vehicle
      held by a Defaulting Partner or a defaulting partner of a Parallel Vehicle, (iii) limited partner

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      interests in the Partnership or in any Parallel Vehicle held, directly or indirectly, by the General
      Partner, Highland, the Principals or any of their respective Affiliates prior to any removal of the
      General Partner pursuant to Section 5.9, and (iv) in the case of any particular matter that affects
      or pertains only to the Partners and not to any partner of a Parallel Vehicle, limited partner
      interests in such Parallel Vehicle held, directly or indirectly, by the General Partner or by any
      limited partner of such Parallel Vehicle.



                                                   ARTICLE III

                                               DISTRIBUTIONS

                Section 3.1 Distribution Policy.

              (a)     The General Partner may in its sole discretion make distributions of cash or
      Marketable Securities at any time and from time to time subject to the remaining provisions of
      this Section 3.1; provided, however, that no securities will be distributed in kind to the Partners
      that are not Marketable Securities until the final distribution of the assets of the Partnership to the
      Partners pursuant to Section 8.3(b).

               (b)    The General Partner will cause the Partnership to distribute (i) Current Cash
      Income at least semi-annually unless reinvested as described in this Section 3.1(b ), (ii) Short-
      Term Investment Income at least quarterly, and (iii) the net cash proceeds received from
      Dispositions of or Partial Realizations with respect to Portfolio Investments within 60 days of the
      receipt thereof unless reinvested as described in this Section 3.1(b), after, in each case, the
      setting aside by the General Partner, in its discretion, of reasonable reserves for anticipated
      obligations and commitments of the Partnership as well as any required tax withholdings;
      provided, however, that if the General Partner determines in good faith that there will be a
      Capital Call within 30 days after the date that an amount that would otherwise be distributed that
      would be described in clauses (a), (hl and@ of the definition of Funded Commitment, or if
      there is an outstanding Capital Call Notice the General Partner may, in its discretion, retain such
      amount and reduce the amount required to be contributed with respect to such Capital Call.

            Section 3.2 Distribution of Short-Term Investment Income. Short-Term Investment
      Income will be distributed among the Partners in the same proportions as Short-Term Investment
      Income was credited to the Partners' Capital Accounts.

              Section 3.3 Distributions of Current Cash Income and Proceeds From Dispositions of or
      Partial Realizations with Respect to Investments and In Kind Distributions.

             (a)     Distributions not attributable to a Portfolio Investment shall be distributed to the
     Partners in proportion to their Funded Commitments as of the date of such distribution. All
     distributions of Current Cash Income and all distributions out of net proceeds from Dispositions
     of or Partial Realizations with respect to Portfolio Investments (in each case, net of Partnership
     Expenses) and all distributions of Portfolio Investments shall be apportioned in proportion to
     their respective Partner Interests among the General Partner and the Participating Partners with
     respect to the Portfolio Investment that gave rise to such Current Cash Income or net proceeds or
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      that is being distributed in kind. The General Partner's Partner Share of such distributions shall
      be distributed 100% to the General Partner. Each Participating Partner's Partner Share shall be
      distributed to such Participating Partner and the General Partner as follows:

                      (i)     First, 100% to such Participating Partner until (A) the aggregate amount
      distributed to such Participating Partner in accordance with this Section 3.3(a) equals such
      Participating Partner's Preference Base as of the date of such distribution and (B) the aggregate
      amount distributed to such Participating Partner in accordance with this Section 3.3(a) (other
      than clause (A) of this paragraph) equals such Participating Partner's Preferred Amount as of
      such date. Solely for purposes of determining how proceeds of a Disposition of a Portfolio
      Investment are to be distributed pursuant to this Section 3.3(a) no proceeds of Partial
      Realizations with respect to Portfolio Investments or portions thereof that have not been
      Disposed of as of such date shall be taken into account, other than Excess Partial Realization
      Proceeds realized as of such date.

                       (ii)   Second, (A) 50% to the General Partner and (B) 50% to such Participating
      Partner until the aggregate distributions to the General Partner with respect to such Participating
      Partner pursuant to this paragraph (ii) and paragraph (iii), reduced by any amounts contributed to
      the Partnership by the General Partner with respect to such Participating Partner pursuant to
      Section 8.3( c), equal 20% of the aggregate distributions of such Participating Partner's Partner
      Share of such amounts to the General Partner, reduced by any amounts contributed to the
      Partnership by the General Partner with respect to such Participating Partner pursuant to Section
      8.3(c). and to such Participating Partner pursuant to this paragraph (ii) and paragraph (iii), and
      clause (B) of the immediately preceding paragraph.

                     (iii)   Third, (A) 80% to such Participating Partner and (B) 20% to the General
      Partner.

      For purposes of this Section 3.3(a), amounts distributed to a Participating Partner pursuant to
      Section 8.3(c) shall be treated as having been distributed pursuant to this Section 3.3(a).

              (b)     Anything contained herein to the contrary notwithstanding, the General Partner
     shall be entitled to receive cash distributions from the Partnership (after taking into account any
     other distributions received by the General Partner in such fiscal year pursuant to Sections
     3.3(a)(ii)(A) and 3.3(a)Ciii)(B)) in amounts sufficient to enable the General Partner and the
     individual members of the General Partner to discharge any federal, state and local tax liability
     (excluding penalties) arising as a result of the allocation of Investment Income and Gain pursuant
     to Section 2.3(c) attributable to the General Partner's Carried Interest in the Partnership,
     determined by assuming the applicability of the highest combined effective marginal federal,
     state and local income tax rates applicable to an individual resident in New York, New York.
     The amount of such tax liability shall be calculated taking into account (i) the deductibility (to
     the extent allowed) of state and local income taxes for United States Federal income tax
     purposes, (ii) the amount of net cumulative tax loss previously allocated to the General Partner in
     prior fiscal years with respect to the Carried Interest and not used in prior fiscal years to reduce
     taxable income for the purpose of making distributions under this subsection (b) and (iii) the
     character of any income or gain and the income tax rates applicable thereto. The calculation
     shall be made on the assumption that taxable income or tax loss from the Partnership with

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      respect to the Carried Interest is the General Partner's only taxable income or tax loss. Such
      distributions shall be debited to the General Partner's Capital Account, as provided in
      Section 2.3(e). Any amounts distributed pursuant to this subsection (b) shall be considered an
      advance against the next distribution of Carried Interest distributable to the General Partner, and
      shall offset such distributions.

              (c)       A Partner's Capital Contributions used to pay Organizational Expenses,
      Management Fees, Placement Fees and Uncapitalized Partnership Expenses that are to be
      allocated to a Portfolio Investment shall be determined on the date such Portfolio Investment is
      Disposed of, and shall equal the product of (i) such Capital Contributions not theretofore
      allocated to Portfolio Investments that have been Disposed of multiplied by (ii) a fraction, the
      numerator of which shall equal such Partner's Capital Contributions in respect of such Portfolio
      Investment and the denominator of which shall equal such Partner's Capital Contributions in
      respect of such Portfolio Investment and all Portfolio Investments that have not been Disposed of
      on or prior to the date such allocation is effected. For purposes of the determinations described
      in clause (b )(i) of the definition of Excess Partial Realization Proceeds, such Capital
      Contributions shall be tentatively allocated to the Portfolio Investment giving rise to such Partial
      Realization proceeds as though such Portfolio Investment had been Disposed of on the date such
      proceeds were realized.

              (d)     In the event of a partial Disposition of a Portfolio Investment, the unreturned
      Capital Contributions and remaining Preferred Amount with respect to such Portfolio Investment
      shall be allocated between the Disposed portion and retained portion of such Portfolio
      Investment, pro rata, based on the relative amounts that are Disposed of and retained,
      respectively, of that portion of such Portfolio Investment held by the Partnership immediately
      prior to such Disposition.

             (e)     (i)    Notwithstanding anything in this Agreement to the contrary, the General
      Partner may at any time elect not to receive all or any portion of any distribution that otherwise
      would be made to it with respect to its Carried Interest.

                    (ii)     Any amount of cash which is not distributed to the General Partner
     pursuant to Section 3.3(e)(i) shall, in the General Partner's sole discretion, either be retained by
     the Partnership or distributed to the Partners (other than to the General Partner) in accordance
     with Section 3.3(a). Any amount of securities not distributed in-kind to the General Partner
     pursuant to Section 3.3(e)(i) shall be retained by the Partnership.

                     (iii)   If the General Partner elects to distribute cash to the other Partners
     pursuant to Section 3.3(e)(ii), 100% of any or all subsequent cash distributions by the Partnership
     shall be distributed to the General Partner until the General Partner has received the same
     aggregate amount of cash distributions it would have received had it not waived receipt of
     certain distributions pursuant to Section 3.3(e)(i) (without regard to the distribution of any Short-
     Term Investment Income earned on such retained amounts).

                    (iv)    All Current Cash Income attributable to, and distributions out of net
     proceeds from the Disposition or Partial Realization of, Portfolio Investments retained by the
     Partnership pursuant to Section 3.3(e)(ii) and all cash retained by the Partnership pursuant to

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      Section 3.3(e)(ii) shall be distributed to the General Partner as of the date determined by the
      General Partner in its sole discretion. The General Partner shall not be entitled to any additional
      distributions in respect of such retained amounts, other than Short-Term Investment Income
      earned on such retained amounts.

              (f)     Notwithstanding anything to the contrary in this Agreement, if at the expiration of
     the Commitment Period, there are Unapplied Waived Fee Amounts, the General Partner shall, in
     its sole discretion, prior to any other distribution pursuant to this Article III, be entitled to a
     distribution of cash equal to the Unapplied Waived Fee Amount.

              Section 3.4 Foreign Taxes. The amount of any foreign taxes paid by the Partnership (or
     by an entity in which the Partnership holds an interest, either directly or indirectly through one or
     more such entities, that is treated as a partnership or is disregarded for federal income tax
     purposes) or withheld from receipts of the Partnership or such entity from a Portfolio Investment
     shall be allocated among the Partners as reasonably determined by the General Partner (taking
     into account any allocation of taxes under Section 6.7) and, for purposes of Sections 3.3(a)(i)-
     (iii), shall be deemed to have been distributed to each Partner as Current Cash Income or
     proceeds from the Disposition of a Portfolio Investment to the extent that the payment or
     withholding of such foreign taxes reduced Current Cash Income or the proceeds from the
     Disposition of a Portfolio Investment, as the case may be, otherwise distributable to such Partner
     as provided herein (for this purpose taking into account with respect to each Partner any
     reduction in such foreign taxes that occurs by reason of such Partner's status); provided that the
     General Partner may deem foreign taxes paid by or withheld from receipts of the Partnership and
     allocable to a Tax Exempt Partner to have been distributed to such Tax Exempt Partner as
     described above only to the extent that such Tax Exempt Partner incurs and is subject to tax on
     UBTI relating to such Tax Exempt Partner's Interest in the Partnership, as determined by the
     General Partner.



                                                ARTICLE IV

                      MANAGEMENT FEE AND ORGANIZATIONAL EXPENSES

                Section 4.1 Management Fee.

             (a)     During each quarterly period beginning on each January 1, April1, July 1 and
     October 1 from and after the First Closing (each such quarterly period, a "Management Fee
     Period") until the termination of the Partnership, the Partnership will pay the Manager a
     quarterly fee as calculated below (the "Management Fee"), in advance on each January 1, April
     1, July 1 and October 1, as compensation for managing the affairs of the Partnership, provided,
     however, that the initial payment of the Management Fee shall be for the period from the First
     Closing to December 31, 2007.

              (b)    The Management Fee payable by the Partnership shall be the sum of the amounts
     determined for each Limited Partner pursuant to this Section 4.1. No Management Fee shall be
     payable with respect to the General Partner and their Affiliates. Subject to Sections 4.1(c) and
     4.1(d), the quarterly Management Fee payable with respect to a Limited Partner during the Initial
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      Fee Period shall be 0.4375% of the Commitments of such Limited Partner resulting in an
      aggregate annual Management Fee of 1.75%. Following the expiration of the Initial Fee Period.
      the quarterly Management Fee payable with respect to a Limited Partner shall be 0.4375% of the
      aggregate Net Funded Commitment of such Limited Partner as reduced by any writedowns or
      writeoffs pursuant to Section 9.4 in respect of Portfolio Investments that have not been Disposed
      of on or prior to such date (resulting in an aggregate annual Management Fee of 1.75% ). The
      Management Fee in any partial quarterly period will be pro rated on a daily basis according to
      the actual number of days in such period.

               (c)     The Management Fee payable with respect to any Management Fee Period and
       with respect to a Limited Partner will be reduced (but not below zero) by such Limited Partner's
       Partner Share of eighty-five percent (85%) of the Partnership's pro rata share of all Topping and
       Break-up Fees, Transaction and Monitoring Fees, and Director Fees. The Management Fee shall
      also be reduced, but not below zero, by such Limited Partner's Capital Contributions used
      pursuant to Section 2.2(a)(i) to pay (x) any Placement Fees and (y) any Organizational Expenses
      in excess of $1,250,000, paid or payable by the Partnership. To the extent that such Limited
      Partner's share of the Management Fee in any Management Fee Period is reduced to zero as a
      result of the reduction for Placement Fees, Organizational Expenses in excess of $1,250,000,
      Director Fees, Topping and Break-up Fees and Transaction and Monitoring Fees, the excess
      shall be carried forward to the next Management Fee Period (and, if necessary, to one or more
      subsequent Management Fee Periods) and applied as a reduction of the Management Fee, but not
      below zero, for such succeeding Management Fee Period (or a subsequent Management Fee
      Period). To the extent that Director Fees, Topping and Break Up Fees and Transaction and
      Monitoring Fees exceed or cannot be applied as a reduction of Management Fees for succeeding
      Management Fee Periods, then such excess will first be applied to reimburse the Partnership for
      any previously unreimbursed Management Fees paid by the Partnership for prior Management
      Fee Periods (with such amounts being treated for purposes of Section 3.3(a) as distributions in
      return of the Capital Contributions made to pay such Management Fees), and the remainder of
      such excess will be paid or contributed to the Partnership and will be distributed pursuant to
      Section 3.3(a) as if net proceeds from the Disposition of a Portfolio Investment; provided,
      however, that in the event that any Partner desires not to receive any such excess fee offsets upon
      the termination of the Partnership, such Partner may elect in writing at any time prior to the
      termination of the Partnership to waive receipt of any such fee offsets, in which case the amount
      of fee offsets that would otherwise have been allocated and distributed to such Partner shall
      instead be allocated and distributed to the other non-waiving Partners on a pro rata basis in
      accordance with their respective Commitments. The Partnership's pro rata share of all Topping
      and Break-up Fees, Transaction and Monitoring Fees and Director Fees shall be the amount of
      such fees multiplied by a fraction, the numerator of which is the Partnership's investment in the
      Portfolio Investment (or proposed investment in the proposed Portfolio Investment) giving rise to
      such fee and the denominator of which is the aggregate investment or proposed investment in
      such Portfolio Investment or proposed Portfolio Investment by the Partnership, all Parallel
      Vehicles, all Separate Investment Entities, all Co-investment Funds and all other co-investment
      arrangements arranged by the Manager with respect to such Portfolio Investment or proposed
      Portfolio Investment (provided, that for the avoidance of doubt, any such Co-Investment Funds
      or other co-investment arrangements will not receive any amount of fee offsets).



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               (d)    After taking into account any reduction in the Management Fee payable for any
      Management Fee Period with respect to a Limited Partner pursuant to Section 4.1(c), the
      Management Fee payable for any Management Fee Period with respect to such Limited Partner
      shall be further reduced by an amount (the "Waived Fee Amount") equal to the lesser of (i) the
      amount of the Management Fee to which the Manager would otherwise be entitled pursuant to
      this Section 4.1 that the Manager has irrevocably elected to waive in a written notice (a "Waived
      Fee Notice") delivered to the Partnership with respect to each Management Fee Period, at least
      15 days prior to the end of the calendar year immediately preceding the calendar year in which
      such Management Fee Period begins, and with respect to each Management Fee Period in the
      first calendar year of the term of the Partnership, such Waived Fee Notice delivered on or prior
      to the delivery of the first Capital Call Notice in respect of Management Fees and (ii) the amount
      that would be payable to the Manager on such Management Fee Period pursuant to this Section
      4.1 in the absence of this Section 4.1(d). A Limited Partner's share of the Waived Fee Amount
      for any Management Fee Period is equal to the Waived Fee Amount for such Management Fee
      Period multiplied by the quotient determined by dividing (i) the Management Fee that would be
      payable for such Management Fee Period with respect to such Limited Partner in the absence of
      this Section 4.1(d) by (ii) the total Management Fee that would be payable for such Management
      Fee Period in the absence of this Section 4.1(d). If the Manager delivers a Waived Fee Notice
      with respect to any Management Fee Period that begins before the date of the Final Closing, (i) if
      such Waived Fee Notice specifies that a percentage of the Management Fee otherwise payable
      for such Management Fee Period be waived, the Manager shall be deemed to have waived a
      proportionate amount of the Management Fee otherwise payable for such Management Fee
      Period by all Additional Limited Partners whose subscriptions are accepted after the date of such
      Waived Fee Notice and (ii) if such Waived Fee Notice specifies that a fixed dollar amount of
      such Management Fee otherwise payable for such Management Fee Period be waived, the
      reduction in the Management Fee for such Management Fee Period shall be allocated to all
      Limited Partners in the same proportion as the Management Fee is borne by the Limited Partners
      for such Management Fee Period.

               (e)     For purposes of Section 4.1(c), a Limited Partner's share of Director Fees and
      Transaction and Monitoring Fees is equal to the amount of the Partnership's pro rata share of
      such fees multiplied by the Limited Partner's Partner Interest in the Portfolio Investment to
      which such Director Fees and Transaction and Monitoring Fees are attributable, and a Limited
      Partner's share of Topping and Break-up Fees is equal to the amount of such fees multiplied by
      the proportion of such Limited Partner's Commitment to the Commitments of all Partners on the
      first day of the Management Fee Period in which such Topping and Break-up Fees are paid.

              Section 4.2 Organizational and Partnership Expenses. The Partnership will reimburse
      the General Partner or the Manager for all Organizational Expenses incurred by the General
      Partner or the Manager on behalf of the Partnership. The Partnership will pay all Partnership
      Expenses.

             Section 4.3 Ordinary Operating Expenses. The Manager shall pay all ordinary overhead
     expenses of the Partnership, the General Partner, the Manager, the Separate Investment Entities
     and the Parallel Vehicles (including salaries, rent, overhead, travel expenses and similar
     expenses), other than Partnership Expenses, Organizational Expenses and Placement Fees.


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                                                 ARTICLEV
                                            GENERAL PARTNER
                 Section 5.1 Investment Opportunities: Devotion of Time: Management Authority.

              (a)     The Principals shall each be actively involved in the business of the Fund Group
      and shall devote such amount of their business time and attention in order to fulfill their fiduciary
      duties to the Limited Partners in accordance with the Delaware Partnership Act; provided,
      however, that the Principals may engage and be involved in Other Permitted Investment
      Activities. Subject to the foregoing and to Section 5.12(a) and the Highland Investment
      Allocation Policy, during the Commitment Period, the General Partner, the Manager and the
      Principals will present all investment opportunities to the Partnership which they believe in good
      faith are suitable for the Partnership and fit the investment objective of the Partnership.
      However, the Principals and the Manager will not be restricted from pursuing, engaging in and
      completing acquisitions and investments in, through or by Highland Portfolio Companies in
      connection with Other Permitted Investment Activities and other investments through other
      Highland Accounts, in each such case, in accordance with the Highland Investment Allocation
      Policy.

               (b)     Subject to the retention of the Manager, the General Partner will have full control
      over the business and affairs of the Partnership consistent with its fiduciary duties arising under
      the Delaware Partnership Act. The General Partner will have the power on behalf and in the
      name of the Partnership to carry out any and all of the objects and purposes of the Partnership
      and to perform all acts and enter into and perform all contracts and other undertakings which, in
      its sole discretion, are necessary or advisable or incidental thereto, including the power to acquire
      or dispose of any security (including Marketable Securities). Notwithstanding the foregoing, the
      management of the Partnership will vest in the Manager which will provide the Partnership with
      portfolio management and administrative services, including investigating, analyzing, structuring
      and negotiating potential investments, monitoring the performance of Portfolio Companies and
      advising as to disposition opportunities. In no event shall the Manager, which has been engaged
      by the Partnership, be treated as an agent or partner of the General Partner.

              (c)     Except to the extent otherwise provided in this Agreement, all matters concerning
     (i) the allocation of Short-Term Investment Income, Current Income, Investment Income and
     Gain, Investment Loss, Partnership Expenses, Organizational Expenses, Carried Interest, and the
     distribution of net proceeds and the return of capital among the Partners, including the taxes
     thereon, (ii) accounting procedures and determinations (including the determination of the
     Preferred Amount), estimates of the amount of Management Fees or Placement Fees payable by
     any Defaulting Partner, (iii) the calculation of the Management Fee (including Director Fees,
     Topping and Break-up Fees and Transaction and Monitoring Fees), and (iv) the reinvestment of
     any amounts distributed in respect of a Bridge Financing (or portion thereof) that was sold,
     refinanced or otherwise disposed of within eighteen (18) months from the Investment Date of
     such Bridge Financing, shall be determined by the General Partner in accordance with its
     reasonable interpretation of the provisions of this Agreement made in good faith.



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             Section 5.2 Use of Affiliates. The General Partner shall retain the services of the
      Manager and any officers, directors or Affiliates thereof in connection with the operation of the
      Partnership, and the compensation of the Manager and such persons shall be as provided in
      Section 4.1 hereof; provided, however, that nothing contained in this Section 5.2 shall be
      construed to relieve the General Partner of its responsibilities under this Agreement or the duties
      and limitations set forth in this Article V.

               Section 5.3 Indebtedness. Subject to Section 5.5 and Section 5.4, the Partnership may
      incur indebtedness consisting of Bridge Leveraging or the issuance of credit support of the
      obligations of Portfolio Companies or their subsidiaries, which may be in the form of guarantees,
      letters of credit or pledges of a portion of the Commitments ("Credit Support"). Any such
      indebtedness will not be considered as Capital Contributions by the Partners unless, until and to
      the extent the General Partner calls for Capital Contributions in connection therewith pursuant to
      a Capital Call Notice pursuant to this Agreement.

                 Section 5.4 Limitation on Investments.

              (a)     The Partnership will not invest (including through Credit Support) more than
      twenty five percent (25%) of the aggregate Commitments in any single Portfolio Company
      together with any of its Affiliates (valued at original cost). A Bridge Financing, when added to
      the amount of permanent investment by the Partnership in the Portfolio Investment that is the
      subject of the Bridge Financing, may not exceed twenty five percent (25%) of the aggregate
      Commitments.

             (b)     The aggregate amount of Bridge Financings outstanding at any one time shall not
      exceed fifteen percent ( 15%) of the aggregate Commitments.

              (c)    Subject to Section 5.5, the Partnership may issue Credit Support, which does not
      at any one time exceed Unfunded Commitments.

                 (d)    The Partnership shall invest cash in Short-Term Investments.

              (e)    The aggregate investments (valued at cost) by the Partnership in Portfolio
      Companies organized and with principal executive offices outside the United States shall not
      exceed thirty percent (30%) of the aggregate Commitments. The Partnership will not invest in
      Portfolio Companies that are organized or with principal executive offices in countries that are
      not within the Organization for Economic Cooperation and Development as of the date of the
      First Closing.

              (f)     The Partnership will not invest as a partner or member in any pooled investment
      fund or "fund of funds" in which an investment adviser or manager of such fund (other than the
      Partnership) receives management fees or the right to carried interest distributions on the
      Partnership's investment or interest therein unless the amount of any such management fee is
      considered part of the Capital Contribution relating to such Portfolio Investment and the amounts
      distributable to the General Partner under Sections 3.3(a)(ii) and 3.3(a)(iii) are reduced by the
      amount of any carried interest payable to such sponsor or investment manager.



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              (g)    In connection with a Portfolio Investment in any non-U.S. jurisdiction. the
     General Partner shall obtain an opinion of counsel with respect to such jurisdiction to the effect
     that (i) no Limited Partner, solely as a result of the Partnership making such investments, will be
     required either (x) to file an income tax return in such jurisdiction (other than in connection with
     an application for a refund of withholding or similar taxes) or (y) to pay income tax in such
     jurisdiction with respect to income not derived from the Partnership, and (ii) no Limited Partner
     shall be personally liable for any debts or losses of the Partnership in such jurisdiction in excess
     of such Limited Partner's Unfunded Commitment. The General Partner shall use commercially
     reasonable efforts to ensure that any opinion obtained pursuant to this Section 5.4{i) will permit
     the Limited Partners to rely thereon. The General Partner shall ask local counsel to confirm
     and/or update periodically as it deems necessary any opinion it obtains pursuant to this Section
     5.4(i). The Partnership will use commercially reasonable efforts to prepare all tax rebate,
     reduction or reclaim forms or other filings or elections that are required to obtain any available
     exemption from, reduction in, or refund of, any withholding or other taxes required in any taxing
     jurisdiction on behalf of each Limited Partner, for signature by such Limited Partner, and to
     assist each Limited Partner, at such Limited Partner's expense, to obtain refunds for taxes
     withheld or paid with respect to such Limited Partner as to which a refund is obtainable. Each
     Partner agrees that it will cooperate with the General Partner in making any such filings or
     elections to the extent the General Partner determines that such cooperation is necessary or
     desirable.

            (h)     The Partnership will not invest (including through Credit Support) more than
     twenty percent (20%) of the aggregate Commitments in Persons that are not Distressed
     Companies; provided that the General Partner in its good faith discretion believes that an
     investment in such Persons is consistent with the Partnership's investment objective.

             Section 5.5 UBTI; USRPI. The General Partner shall use commercially reasonable
     efforts not to (i) structure the Fund's Portfolio Investments in a manner that would result in the
     realization by a Tax Exempt Partner of a substantial amount of UBTI or (ii) cause the Partnership
     to acquire a Portfolio Investment that the General Partner reasonably believes at the time of such
     acquisition is or is likely to become a "United States real property interest" ("USRPI") within the
     meaning of Section 897(c) of the Code. In addition, if the Partnership makes an investment in a
     pass-through entity that could give rise to UBTI or income effectively connected with a U.S.
     trade or business, the Partnership may make available a "blocker" structure through which Tax-
     Exempt and non-U.S. Partners can invest. However, the use of Bridge Leveraging and the use of
     Director Fees, Topping and Break-up Fees, Transaction and Monitoring Fees and Placement
     Fees to offset the Management Fee, as described in Section 4.1(c). will not be deemed a violation
     of this Section 5.5.

                Section 5.6 ERISA Matters.

             (a)    The General Partner will use reasonable efforts to conduct the affairs and
     operations of the Partnership in such a manner that the Partnership will qualify as an Operating
     Company or for another exception from being deemed to hold Plan Assets of any Benefit Plan
     Investor. As of the initial Capital Contribution date, the General Partner shall deliver to each
     Benefit Plan Investor either (i) an opinion from the General Partner's counsel to the effect that
     the Partnership should qualify as an Operating Company as of the initial Capital Contribution

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      date or (ii) a certificate, based on consultation with the General Partner's counsel, to the effect
      that the Partnership should qualify for another exemption from being deemed to hold Plan Assets
      of any Benefit Plan Investor as of the initial Capital Contribution date. Annually thereafter, the
      General Partner will provide a certificate to Benefit Plan Investors confirming that the
      Partnership continues to qualify for an exception from being deemed to hold Plan Assets of any
      Benefit Plan Investor and specifying which exception from Plan Assets is available to the
      Partnership as of the date of the certificate.

             (b)     Notwithstanding Section 2.2, until such time as the General Partner delivers to
      each Benefit Plan Investor (and the escrow agent, if any) either the opinion or the certificate
      described above in Section 5.6(a), the initial Capital Contribution required to be made to the
      Partnership by a Benefit Plan Investor shall, at the request of the General Partner, instead be
      deposited directly by such Benefit Plan Investor into an escrow account that is intended to
      comply with Department of Labor Advisory Opinion 95-04A.

              (c)     Each Partner that is or will be a Benefit Plan Investor on the Closing Date when it
      is admitted to the Partnership shall so notify the General Partner in writing prior to such Closing
      Date. Any Limited Partner which has not indicated in its Subscription Agreement that it is a
      Benefit Plan Investor hereby represents, warrants and covenants that it is not, it is not acting on
      behalf of and, so long as it holds an interest in the Partnership, it will not be and will not be
      acting on behalf of a Benefit Plan Investor.

             (d)     It is intended that none of the Partnership, the General Partner, the Manager or
     any of their Affiliates will act as or be deemed to be a fiduciary under ERISA with respect to any
     Benefit Plan Investor or the assets of the Partnership; provided, however, that this provision is
     not intended to negate the fiduciary duties imposed upon a general partner under the Delaware
     Partnership Act. Notwithstanding any other provision of this Agreement, the General Partner is
     authorized to take any action or refrain from taking any action which in its judgment is necessary
     or desirable in order to prevent any Partnership assets from being deemed to constitute Plan
     Assets of any Benefit Plan Investor.

              (e)     Should the General Partner reasonably determine that the continued participation
     of a Benefit Plan Investor would result in the assets of the Partnership being deemed Plan Assets
     of such Benefit Plan Investor (a "Plan Asset Event"), the General Partner shall so notify, each of
     the Benefit Plan Investors in writing within 30 days of such determination. Thereafter, the
     General Partner shall take reasonable steps to correct or cure the Plan Asset Event and, if the
     General Partner determines that it is not reasonably likely that the Partnership's Plan Asset Event
     can be reasonably corrected or cured, taking into account the overall interest of the Partnership,
     the General Partner shall terminate the Partnership and wind up its affairs in accordance with
     Sections 8.2 and 8.3. In connection with the foregoing obligation, in addition to any other
     powers the General Partner may have, the General Partner shall have the authority to take any of
     the following actions, in its sole discretion: (i) any action necessary or desirable, in the General
     Partner's reasonable judgment, to cure the Partnership's failure to qualify as an Operating
     Company, if applicable; (ii) in accordance with the provisions of Section 12.1, amend this
     Agreement to cure any illegality or other material adverse consequences to the Partnership; (iii)
     amend, terminate or restructure any then existing or contemplated arrangements with third
     parties to cure any illegality or other adverse consequences to the Partnership so long as such

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      action would not have a material adverse effect on the Limited Partners; (iv) redeem any Limited
      Partner's interest in the Partnership, in whole or in part, in a manner consistent with the
      procedures in Section 6.6(d); (v) force the sale of all or any portion of any Benefit Plan
      Investor's interest in the Partnership to one or more Limited Partners at the Redemption Value or
      (vi) terminate the Partnership and wind up its affairs in accordance with Sections 8.2 and 8.3.

                 Section 5. 7 Conflicts of Interest.

                (a)     The Limited Partners hereby acknowledge and agree that the General Partner and
       its Affiliates currently manage and may in the future manage Highland Accounts that invest in
      securities that may be eligible for purchase by the Partnership, which presents the potential for
      conflicts of interest. While the General Partner and the Manager intend to manage potential
      conflicts of interest, as Highland has in the past, by following certain guidelines, and to avoid
      where practicable situations involving conflicts of interest in a portfolio company or otherwise,
      each Limited Partner acknowledges that there may be situations in which the interests of the
      Partnership in a portfolio company or otherwise may conflict with the interests of other Highland
      Accounts, the General Partner, the Manager, the Principals or their respective Affiliates. On any
      matter involving a conflict of interest not otherwise provided for in this Agreement, the General
      Partner shall be guided by its good faith judgment as to the best interests of the Partnership and
      shall take such actions as are determined by the General Partner and Highland to be appropriate
      and in compliance with the Highland Investment Allocation Policy. Each Limited Partner agrees
      that the activities of any other Highland Account, the General Partner, the Manager, the
      Principals and their Affiliates, including Other Permitted Investment Activities, authorized by
      this Agreement or conducted consistently with this Agreement and the Highland Investment
      Allocation Policy may be engaged in by such other Highland Accounts, the General Partner, the
      Manager, the Principals and their Affiliates, as the case may be, and will not, in any case or in
      the aggregate, be deemed a breach of this Agreement or any duty that might be owed by any
      such person to the Partnership or to any Partner.

               (b)    Except as permitted by Sections 5.12(a) and 5.17(a), without the prior approval of
      either (i) a majority of the members of the Advisory Committee or (ii) a Majority in Interest of
      the Limited Partners, none of the General Partner, the Manager, the Principals, or any of their
      respective Affiliates will invest in any securities of any company in which the Partnership either
      is actively considering making a Portfolio Investment or has an investment; provided, that (x) the
      foregoing will not apply to Other Permitted Investment Activities or investments made in
      accordance with the Highland Investment Allocation Policy, (y) each such person will be
      permitted to hold securities which such person received in a distribution by the Partnership and
      (z) any Parallel Vehicles or Separate Investment Entities will be permitted to invest in Portfolio
      Companies in accordance with this Agreement.

              (c)    Except as permitted by Sections 5.12(a) and 5.17(a), without the prior approval of
     either (i) a majority of the members of the Advisory Committee or (ii) a Majority in Interest of
     the Limited Partners, the Partnership will not invest in any securities issued by, acquire
     investments from, sell investments to, or enter into any transaction with an entity in which the
     General Partner, the Manager, the Principals, or their respective Affiliates has a material
     financial interest in respect of such entity; provided that the foregoing will not apply to (w) Other
     Permitted Investment Activities, (x) investments by the Partnership in Portfolio Companies in

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      which the Parallel Vehicles, Separate Investment Entities or Co-Investment Funds invest in
      accordance with this Agreement; (y) investments by the Partnership in Portfolio Companies in
      which the General Partner, the Manager, the Principals or their respective Affiliates have a
      material interest that have been made in accordance with the Highland Investment Allocation
      Policy, or (z) investments by the Partnership in publicly traded securities of Portfolio Companies
      in which a Highland Account has a material financial interest that are made on arms length terms
      at prevailing market prices; provided, further, that the Partnership will not be precluded from
      investing in securities of a company in which the General Partner, the Manager, the Principals, or
      their respective Affiliates either (A) in the case of public companies, owns securities issued by
      such company representing one percent (1%) or less of the outstanding equity securities, or
      (B) own only securities which such Persons received in a distribution by the Partnership.

              (d)     The General Partner will furnish to the Advisory Committee annually at the time
      annual financial statements of the Partnership are furnished pursuant to Section 10.3(b) a report
      of each acquisition or investment by the Partnership in Portfolio Companies in which the General
      Partner, the Manager, the Principals or their respective Affiliates have a material financial
      interest that have been made in accordance with the Highland Investment Allocation Policy.

              Section 5.8 Transfer of General Partnership Interest: No Withdrawal or Loans. The
      General Partner generally may not sell, assign, pledge, mortgage or otherwise dispose of its
      General Partner interest in the Partnership; provided, however, that the General Partner may
      transfer its General Partner interest in the Partnership (or consent to the transfer of an interest in
      the General Partner) in a derivative transaction if the transferor maintains the economic attributes
      of the interest and voting control of the interest. The General Partner will not borrow or
      withdraw any amount from the Partnership or voluntarily withdraw from the Partnership.

              Section 5.9 Removal of the General Partner. By consent of Two-Thirds in Interest of the
      Limited Partners, the General Partner may be removed in the event of (a) the General Partner's
      or any member of the Keyman Group's conviction of (or plea of nolo contendere to), a material
      violation of federal or state securities law or a felony criminal violation, (b) the General Partner's
      adjudication in a final judgment by a court of competent jurisdiction as having committed in
      respect of the Partnership an act or omission of a material nature involving gross negligence, bad
      faith, willful misconduct or fraud, or (c) the General Partner's violation of this Agreement which
      has a material and adverse effect on the Partnership and which remains uncured for 30 days.
      Notwithstanding the foregoing, if an event described in clause (a) above has occurred and the
      event relates to a violation or act of a member of the Keyman Group, the Limited Partners may
      remove the General Partner only if such violation or act (i) relates to the Partnership or a
      Portfolio Company, (ii) has a material adverse effect on the Partnership, (iii) such member of the
      Keyman Group is not terminated as a member of the General Partner and the Manager within 45
      days, and (iv) such member of the Keyman Group does not cease to own any interest in the
      future carried interest or voting interests in the General Partner following termination. The
      General Partner will provide the Limited Partners with written notice of the occurrence of any
      event described in clauses (a). fhl or .(£1 above. Concurrently with the removal of the General
      Partner, the Manager shall be removed as manager of the Partnership unless re-appointed by the
      successor general partner of the Partnership. Upon removal of the General Partner, the Limited
      Partners may elect to continue the Partnership and appoint a new duly authorized general partner
      of the Partnership and all Parallel Vehicles with the consent of all of the Limited Partners of the

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      Partnership and each Parallel Vehicle and such election shall be deemed to have occurred as of
      the date of the removal of the former General Partner. In such an event, the former General
      Partner shall be entitled to receive distributions equal to any amounts it would have been entitled
      to had the Partnership been dissolved and wound up in accordance with Sections 8.3(a) and .(Ql
      and distributed in kind all Partnership assets as of the date of the election of the Limited Partners
      to continue the Partnership. The Partnership shall issue an unsecured non-interest bearing
      promissory note to the former General Partner in the face amount of the liquidating distribution
      determined in accordance with this Section 5.9, such note to be payable upon the final
      liquidation of the Partnership. All such distributions shall be subject to the obligations set forth
      in Section 8.3(c) and@; provided, however, that the General Partner's obligation, if any, to fund
      Commitments in respect of its obligations in Section 8.3(c) relating to such liquidating
      distribution shall be satisfied by a reduction to the principal amount of the unsecured non-interest
      bearing promissory note described in this Section 5.9 in the amount of such obligation. For
      purposes of determining allocation and distributions pursuant to the preceding sentence,
      securities and other property held by the Partnership shall be valued pursuant to the procedures
      set forth in Article IX.

                Section 5.10 No Liability to Limited Partners.

             (a)      None of the General Partner, the Manager, the Principals or their Affiliates,
     officers, directors, members, partners, shareholders, employees or agents will be liable to any
     Limited Partner or to the Partnership for any action taken, or omitted to be taken, as General
     Partner with respect to the Partnership, or for any action taken, or omitted to be taken, by any
     member, partner, director, officer, employee or agent of the General Partner or Manager in
     connection with its activities for or on behalf of the Partnership so long as such person (i) acted
     in good faith, (ii) acted in a manner reasonably believed to be in the best interests of the
     Partnership, (iii) was neither grossly negligent nor engaged in willful malfeasance, fraud or
     reckless disregard of fiduciary duties, (iv) did not materially breach this Agreement, and (v) with
     respect to any criminal action, such person is not finally determined to be and does not admit to
     being guilty or enter a plea of nolo contendere (including as part of a settlement) by a court of
     competent jurisdiction.

             (b)     No member of the Advisory Committee, or any Affiliate or employer of any
     member of the Advisory Committee or any Limited Partner represented on the Advisory
     Committee by any member (as the case may be) will be liable to any Partner or the Partnership
     for any action taken, or omitted to be taken, in good faith on behalf of the Advisory Committee
     (as the case may be) with respect to the Partnership and in accordance with the provisions of this
     Agreement.

             (c)     If any Limited Partner obtains a final judgment in a court of competent
     jurisdiction against the General Partner for matters relating to the Partnership, the General
     Partner shall pursue against its members the remedies (if any) that it has against such member
     relating to such claim.

              Section 5.11 Indemnification of General Partner. the Manager and Advisory Committee.
     (a) The Partnership will indemnify (A) the Principals, the General Partner, the Manager and each
     of their respective members, partners, shareholders, directors, officers, employees, agents and

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      Affiliates against any losses, liabilities, damages or expenses (including amounts paid for
      attorneys' fees, judgments and settlements in connection with any threatened, pending or
      completed action, suit or proceeding) to which any of such persons may become subject in
      connection with such person's activities on behalf of the Partnership or in connection with any
      involvement with a Portfolio Company (including serving as an officer, director, consultant or
      employee of any Portfolio Company) directly or indirectly on behalf of the Partnership and
      (B) the members of the Advisory Committee, any Affiliate or employer of any such members
      and any Limited Partner represented on the Advisory Committee by any member, in connection
      with any involvement with the Advisory Committee, respectively, but, in the case of members of
      the Advisory Committee or their Affiliates and employers or any Limited Partner represented on
      the Advisory Committee by any member, only to the extent that such person acted in good faith
      and, in the case of the Principals, the General Partner, the manager and each of their respective
      members, partners, shareholders, directors, officers, employees, agents and Affiliates, only to the
      extent that such person (i) acted in good faith, (ii) acted in a manner reasonably believed to be in
      the best interests of the Partnership or the Portfolio Company (as the case may be), (iii) was
      neither grossly negligent nor engaged in willful malfeasance, fraud or reckless disregard of
      fiduciary duties, (iv) did not materially breach this Agreement, and (v) with respect to any
      criminal action, such person is not finally determined to be and does not admit to being guilty or
      enter a plea of nolo contendere (including as part of a settlement) by a court of competent
     jurisdiction. Any person described in clause (A) of this Section 5.1l(a) entitled to seek
      indemnification hereunder shall first use reasonable efforts to seek indemnification from other
     available sources, if any, prior to obtaining indemnification hereunder; provided that any such
     person may seek and obtain indemnification hereunder if at any time such person reasonably
     believes that such person will not receive timely indemnification on terms reasonably acceptable
     to such person from such other sources; and provided, further, that such person shall continue to
     use reasonable efforts to seek such indemnification from such other sources and, to the extent
     any such indemnification is obtained, reimburse the Partnership for any such recovery. The
     Partnership may, in the sole judgment of the General Partner, pay the expenses of any person
     indemnifiable under this Section 5.11 in advance of the final disposition of any proceeding, so
     long as (w) with respect to any derivative action brought by any Limited Partner, the person
     receiving the advance is not the subject of such derivative action, (x) the proceeding is not
     instituted by a Majority in Interest of the Limited Partners against the General Partner or the
     Manager, (y) General Partner has a good faith belief such expenses are indemnifiable, and (z) the
     General Partner receives a written undertaking by such person for the benefit of the Partnership
     to repay the full amount advanced if (A) there is a final determination that such person did not
     satisfy the standards set forth in clauses (i) through .(yl immediately above, (B) with respect to
     any criminal action, such person is finally determined to be or admits to being guilty or enters a
     plea of nolo contendere (including as part of a settlement) by a court of competent jurisdiction,
     or (C) such person is not otherwise entitled to indemnification as provided herein.
     Notwithstanding the foregoing, no person will be exculpated or exonerated from liability or
     indemnified against loss for violations of federal or state securities laws, or for any other
     intentional or criminal wrongdoing. No person shall be indemnifiable under this Section 5.11 in
     respect of losses, liabilities, damages or expenses to which any such person may become subject
     in connection with (x) such person's activities with any Portfolio Company if such losses arise
     after the Partnership's final disposition of such Portfolio Company or (y) a dispute among the
     General Partner, the Manager, their respective members and employees, and the Principals.

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              (b)    No Limited Partner shall have any obligation or liability, including any obligation
      to make a Capital Contribution to the Partnership, in respect of an indemnity obligation arising
      from a Portfolio Investment with respect to which such Limited Partner is not a Participating
      Partner.

             (c)     The General Partner will use reasonable efforts to cause each Portfolio Company
      for which any Affiliate of the General Partner serves as an officer or director to adopt
      organizational documents which provide mandatory indemnification to directors, officers, and
      managers to the fullest extent permitted by applicable law.

              Section 5.12 Formation of New Fund or Business Endeavor. (a) Subject to the other
     provisions of this Article V, each Partner's interest in the business endeavors of the other
     Partners is limited to his, her or its interest in the Partnership and no Partner's future business
     activities are restricted. Notwithstanding the foregoing, unless consented to by Two-Thirds in
     Interest of the Limited Partners or approved by a majority vote of the Advisory Committee,
     neither the General Partner, nor the Manager or any of their Affiliates will close and make
     investments, or act as general partner, managing member, advisor, employee, agent, or the
     primary source of transactions on behalf of another private equity investment vehicle or pooled
     investment vehicle (other than Crusader, a Parallel Vehicle or Separate Investment Entity) that
     has primary investment objectives substantially similar to those of the Partnership (a "Successor
     Fund") until the earlier of (i) the date on which at least 75% of the Commitments have been
     invested or committed for investment in Portfolio Companies or otherwise set aside for Follow-
     on Investments, Partnership Expenses or Management Fees, and (ii) the end of the Commitment
     Period; provided. however, that this Section 5.12 shall not prohibit the formation of one or more
     Co-investment Funds, and Co-investment Funds shall not be considered Successor Funds. If a
     Successor Fund is organized prior to the termination of the Commitment Period of the
     Partnership, as permitted under the previous sentence, the Successor Fund may only coinvest in
     investments made by the Partnership alongside the Partnership, on the same terms and conditions
     in all material respects, with amounts for investment allocated between the Partnership and the
     Successor Fund, subject to available capital or other investment limitations on the Partnership
     and the Successor Fund, as determined by the General Partner. Any Successor Fund will dispose
     of securities of a Portfolio Company that are of the same class as those purchased by the
     Partnership at the same time as the Partnership, and on the same economic and other terms.

             Section 5.13 Interest as a Limited Partner. To the extent that the General Partner
     acquires the interest of a Defaulting Partner or any other Limited Partner, the General Partner
     will (subject to Section 2.5) be deemed to be a Limited Partner with respect to such interest for
     all purposes of this Agreement.

             Section 5.14 Parallel Vehicles. The General Partner and the Manager may organize and
     capitalize Parallel Vehicles for purposes of facilitating investments in Portfolio Companies by
     non-U.S. investors and certain accredited investors that are not qualified purchasers (as defined
     in the Investment Company Act) in the Fund Group. If any Parallel Vehicles are organized, then
     the Partnership and each Parallel Vehicle (a) will invest in each Portfolio Company in direct
     proportion to their respective available capital commitments so that the Partnership will invest in
     each Portfolio Company an amount equal to the total investment by the Partnership and any
     Parallel Vehicle multiplied by a fraction, the numerator of which is the aggregate Commitments,

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     and the denominator of which is the sum of the aggregate Commitments plus the aggregate
     capital commitments by investors in the Parallel Vehicles, provided that such proportion may be
     modified by the General Partner with the prior approval of the Advisory Committee or a
     Majority in Interest of the Limited Partners in order to reflect the available commitments and any
     tax, regulatory or other legal aspects of any Parallel Vehicle and its investors and (b) invest in
     and dispose of Portfolio Company at the same time and on effectively the same economic terms
     and conditions. Any item of income, fees, reimbursement or expense that relates to a Portfolio
     Company in which the Partnership and one or more Parallel Vehicles are investors or to a
     potential investment that is considered on behalf of the Partnership and any Parallel Vehicles by
     the General Partner, the Manager or the general partners or managers of any Parallel Vehicles
     shall, to the extent that any such item is not directly attributable to the Partnership or a Parallel
     Vehicle, be pro rated among the Partnership and the Parallel Vehicles based on their respective
     investments in such Portfolio Company or the portions of such potential investment that would
     have been made available to the Partnership in accordance with the preceding sentence, as
     applicable. Organizational Expenses shall be borne by the Partnership and each Parallel Vehicle
     in proportion to their respective aggregate capital commitments, except the Partnership and each
     Parallel Vehicle shall separately bear the Organizational Expenses that are directly attributed to
     each such entity. Each Parallel Vehicle shall reimburse the Partnership for such Parallel
     Vehicle's share of Organizational Expenses that were paid by the Partnership. Investments in
     Parallel Vehicles by investors shall be on substantially the same terms and conditions as
     investments in the Partnership by Limited Partners. For the avoidance of doubt, all references to
     Portfolio Investments shall include investments made by the Partnership, all Parallel Vehicles
     and all Separate Investment Entities. To the extent that this Agreement provides that the Limited
     Partners shall vote together with the investors of any Parallel Vehicle, the General Partner agrees
     (i) that the relevant documentation of any such Parallel Vehicle shall contain comparable voting
     provisions to the extent applicable, (ii) that any combined vote of the Limited Partners and the
     investors in any Parallel Vehicle on any such matter for the purposes of this Agreement shall
     constitute a combined vote on the matter for the purposes of the Parallel Vehicles, and (iii) each
     such matter shall, if approved by such vote, be equally applicable to the Partnership and all
     Parallel Vehicles.

              Section 5.15 Separate Investment Entities. If the General Partner determines for legal,
     tax, regulatory or other reasons, in its sole discretion that it is in the best interests of the Partners
     to invest in one or more Portfolio Companies through an entity other than the Partnership, such
     investment or investments shall not be made by the Partnership but shall instead be made, either
     in lieu of or in conjunction with, the Partnership, by one or more limited partnerships, limited
     liability companies, corporations or similar entities (each a "Separate Investment Entity") owned
     in the aggregate by all of the Partners and managed by the General Partner or an Affiliate thereof
     controlled by the Principals. Each Separate Investment Entity shall receive an opinion of
     counsel for the benefit of the Limited Partners (x) regarding its classification for United States
     Federal income tax purposes and the limited liability of the Separate Investment Entity and (y) to
     the effect that no Limited Partner shall be personally liable for any debts or losses of the Separate
     Investment Entity in such jurisdiction in excess of such Limited Partner's Unfunded
     Commitment. The Partnership and each Separate Investment Entity will invest in and dispose of
     Portfolio Investments at the same time and on effectively the same economic terms and
     conditions. To the extent that Benefit Plan Investors participate in a Separate Investment Entity,
     such Separate Investment Entity shall be (i) structured so that it will not be deemed to hold Plan
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     Assets and shall provide the same ERISA protections to those Benefit Plan Investors that are
     provided under this Agreement, and (ii) established on substantially the same terms and
     conditions in all material respects as Partners are required to make Capital Contributions to the
     Partnership, and such capital contributions shall be deemed to reduce the Unfunded Commitment
     of each Partner to the same extent that it would be reduced if made to the Partnership. The
     provisions and economic terms of each such Separate Investment Entity shall be substantially the
     same in all material respects as those of the Partnership, except to the extent such terms are
     required to differ from the economic and other material arrangements reflected in the terms of
     this Agreement in order to accomplish the purposes of such Separate Investment Entity
     (including, for example, different economic treatment of different Partners resulting solely from
     the consequences of a structure created to minimize the amount of UBTI recognized by a Tax
     Exempt Partner). The gains and losses of any such Separate Investment Entity shall be treated as
     having been realized by the Partnership for all economic calculations under this Agreement
     (including, without limitation, the calculation of the General Partner give back obligation
     pursuant to Section 8.3(c)), and there will be no duplication of management fees or Carried
     Interest. The Partners having interests in the Separate Investment Entity (including the General
     Partner and its Affiliates with respect to their Commitments as Partners) shall contribute to each
     Separate Investment Entity the amounts required to fund such Separate Investment Entity, with
     each such Partner contributing its pro rata portion of such amounts (based on the relative
     Unfunded Commitments of the Partners as of the date of such contributions) up to such Partner's
     remaining Unfunded Commitment and such amounts will reduce such Partner's Unfunded
     Commitment. Each Limited Partner hereby agrees and consents to the formation of each
     Separate Investment Entity and hereby covenants and agrees that it will execute and deliver any
     agreements, documents and certificates as reasonably necessary for, or incidental to, the
     formation and continuation of each such Separate Investment Entity and its participation as a
     limited partner, member or participant in each such Separate Investment Entity established in
     accordance with this Section 5.15.

                Section 5.16 Media Company Investments.

              (a)    In the event and for so long as, and only during periods from time to time in
     which, the Partnership shall directly or indirectly hold (or otherwise have attributed to it) an
     ownership or other interest in a Media Company that is "attributed" to the Partnership under the
     rules and regulations of the FCC relating to the particular FCC service in which the Media
     Company operates, no Limited Partner (an "Insulated Partner"), or any person that is a director,
     officer, equivalent non-corporate official, partner, member or 5% or greater shareholder or other
     direct or indirect owner of an Insulated Partner such that the ownership interests of the Insulated
     Partner, are "attributed" to such owner, director, officer, equivalent non-corporate officer, partner
     or member (an "Insulated Partner Affiliate"), to the extent reasonably determined by the General
     Partner (with the advice of GP's Counsel) to be necessary to have such ownership or interest not
     be attributable to the Limited Partners for purposes of the FCC Attribution Rules and the
     Ownership Rules, shall do any of the following:

                    (i)      act as an employee of the Partnership or any Media Company if such
     Insulated Partner's or Insulated Partner Affiliate's functions, directly or indirectly, relate to the
     media or common carrier enterprises of the Partnership or any Media Company;


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                    (ii)    serve, in any material capacity, as an independent contractor or agent of
     the Partnership or any Media Company with respect to the media or common carrier enterprises
     of the Partnership or any such Media Company;

                    (iii)   communicate with the General Partner or any Portfolio Company on
     matters pertaining to the day-to-day operations of any Media Company;

                   (iv)     to the extent Partners have the power under this Agreement to admit
     additional General Partners, vote to admit any additional General Partner to the Partnership
     unless such addition is subject to the veto of the General Partner;

                   (v)     to the extent Partners have the power under this Agreement, except as
     permitted under Sections 5.9 and 8.2, vote on the removal of the General Partner;

                     (vi)    perform any services for the Partnership or any Media Company
     materially relating to the media or common carrier enterprises of the Partnership or such Media
     Company, with the exception of making loans to, or acting as a surety for, such Media Company
     or the Partnership to the extent consistent with the "equity or debt plus" component of the FCC
     Attribution Rules; or

                     (vii)   become actively involved in the management or operation of any Media
     Company.

                    (viii) serve as a member or otherwise participate in the activities of the Advisory
     Committee if, in the determination of the Insulated Partner, such membership or participation
     would cause the Insulated Partner to lose its insulated status under the Attribution Rules.

             (b)      An Insulated Partner may, upon five Business Days' prior written notice to the
     General Partner, relinquish its status as an Insulated Partner, in which case the provisions of this
     Section 5.16 shall no longer apply to such Limited Partner; provided, that such relinquishment
     shall not be effective until the General Partner has received an opinion of special counsel to the
     Partnership on FCC matters stating that such relinquishment will not (1) cause the Partnership or
     any of its Affiliates to violate any law, regulation, rule or policy applicable to matters currently
     subject to FCC jurisdiction or (2) in any way limit or restrict the activities of the Partnership or
     any of its Affiliates. To the extent that issuance of such an opinion requires the filing of any
     notices with the FCC or the issuance of any approvals by the FCC, the General Partner and the
     Insulated Partner seeking to relinquish its insulated status shall reasonably cooperate in making
     any such filing or obtaining any such approval, and the General Partner shall seek the opinion of
     special counsel to the Partnership on FCC matters with respect to the making of any such filing
     or the obtaining of any such approval.

               (c)    Nothing in this Section 5.16 shall be interpreted to restrict the activities of (A) the
     Limited Partners or (B) the beneficial interest holders of any Limited Partner during the period
     that it is an Insulated Partner so long as such Limited Partner's partnership or other governing
     agreement contains language reasonably designed to insulate such Limited Partner's unaffiliated
     limited partners or beneficial interest holders, as the case may be, from having the Partnership's
     interest in any Media Company being attributed under the FCC attribution rules to such
     beneficial owners, as necessary pursuant to the FCC attribution rules.
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              (d)     Upon written request by an Insulated Partner, the General Partner shall, prior to
      the Partnership consummating an investment in a Media Company, cause the legal counsel to the
      Partnership to deliver an opinion reasonably acceptable to such Insulated Partner to the effect
      that such investment shall not be "attributed" to the Insulated Partner under the rules and
      regulations of the FCC relating to the particular FCC service in which such Media Company
      operates.

                 Section 5.17 Co-investment Funds.

              (a)     Where possible and appropriate, the General Partner may, in its discretion,
      provide co-investment opportunities to invest in a Portfolio Company (each a "Co-Investment
      Opportunity") to one or more Limited Partners, strategic investors, lenders, or members,
      investors, Affiliates or employees of the General Partner and Manager or, other accounts
      managed by Highland (each a "Co-Investor"). Notwithstanding the foregoing, investment
      opportunities allocated to Affiliates of the Manager or the General Partner or client accounts
      managed by the Manager, in accordance with the Highland Investment Allocation Policy, shall
      not be deemed Co-Investment Opportunities. The General Partner, the Manager, and their
      respective Affiliates will not receive any carried interest in any Co-Investment Opportunity
      provided to Limited Partners or receive management fees from Limited Partners in respect of
      Co-Investment Opportunities provided to Limited Partners. The General Partner intends to not
      provide Co-Investment Opportunities to Benefit Plan Investors to the extent necessary to prevent
      such Co-Investment Opportunity from being deemed to be Plan Assets of the related Benefit
      Plan Investor.

              (b)     The General Partner may, as a condition to any Co-Investment Opportunity,
      (i) require any or all Co-Investors to execute a confidentiality agreement relating to such Co-
      Investment Opportunity in form and substance acceptable to the General Partner, and (ii) require
      Co-Investors electing to participate in a Co-Investment Opportunity to coinvest through a Co-
      Investment Fund, which may have investors other than Limited Partners.

               (c)    Each Limited Partner shall treat the information provided to it pursuant to this
      Section 5.17 as confidential, shall use such information solely for the purpose of considering the
      offer made pursuant to this Section, shall, upon the request of the General Partner, promptly
      return to the General Partner any written information provided it pursuant to this Section, and
      shall not disclose the identity of the securities or issuer to any person other than (i) its employees,
      counsel or advisors, solely on a need to know and confidential basis, (ii) any governmental
      authority or regulatory authority which regulates such Limited Partner's ability to engage in any
      of its businesses under U.S. or foreign law to the extent such information is required by such
      governmental authority or regulatory authority, as the case may be, and (iii) to the extent such
      Limited Partner is required by law or regulation to disclose such information.

              (d)     If Co-Investment Funds or Co-Investors purchase securities of a Portfolio
      Company that are of the same class as securities of a Portfolio Company purchased by the
      Partnership, the Co-Investment Funds or Co-Investors shall purchase such securities on terms
      that are no less advantageous than the terms on which the Partnership purchases such securities.
      Each Co-Investment Fund and Co-Investor will dispose of securities of a Portfolio Company that


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      are of the same class as securities of a Portfolio Company purchased by the Partnership at the
      same time and on substantially the same terms (including price) as the Partnership.

               Section 5.18 Bridge Leveraging. (a) The Partnership is authorized to enter into one or
       more credit facilities (each, a "Bridge Leveraging/Credit Support Facility") in order to (i) borrow
       money for the purpose of (A) Bridge Leveraging, and (B) paying Partnership Expenses; and/or
       (ii) provide Credit Support for the obligations of Portfolio Companies or their subsidiaries as
      described in Section 5.4(c); provided, however, that in no event shall the aggregate amount of
      Bridge Leveraging outstanding at any time under any Bridge Leveraging/Credit Support Facility
      exceed the aggregate amount of Unfunded Commitments as of such date and provided, further,
      that in no event shall the maturity date of an individual borrowing under any Bridge
      Leveraging/Credit Support Facility be later than the 45'h day following the incurrence of such
      debt under a Bridge Leveraging/Credit Support Facility. A Bridge Leveraging/Credit Support
      Facility may be secured by (x) a pledge by the Partnership of all or a portion of the aggregate
      Unfunded Commitments of the Partners, and (y) a pledge and assigmnent by the General Partner
      of the rights of the General Partner contained herein, including, without limitation, the right to
      deliver Capital Call Notices and enforce all remedies against Partners that fail to fund their
      respective Unfunded Commitments pursuant thereto and in accordance with the terms hereof.
      The Partnership and any Parallel Vehicles may be co-borrowers under any Bridge
      Leveraging/Credit Support Facility, in which event the Partnership and the Parallel Vehicles may
      be jointly and severally liable for all obligations under such Bridge Leveraging/Credit Support
      Facility. In the event such a Bridge Leveraging/Credit Support Facility is so secured by
      Commitments, and to the extent funds are advanced against the Commitment of a particular
      Partner or partner of a Parallel Vehicle because such Person is late in funding or defaults on a
      Capital Call Notice delivered hereunder or by the Parallel Vehicle, each Limited Partner
      understands, acknowledges and agrees that (i) it may be required to make a Capital Contribution
      in respect of its pro rata share of such late or defaulted contribution amount, provided, however,
      that in no event shall any Partner be required to make Capital Contributions in excess of its
      Unfunded Commitment, and (ii) as a result of such default or late payment, the allocation
      between the Partnership and each Parallel Vehicle of a Portfolio Investment (together with any
      item of income, fees, reimbursement or expense that relates to such Portfolio Investment) with
      respect to which there has occurred a shortfall in contributions made by the Partners or the
      partners in a Parallel Vehicle shall be made by the General Partner based on the total amount of
      Capital Contributions of the Partners and the partners in each Parallel Vehicle actually funded to
      acquire such Portfolio Investment. In addition to the rights and remedies of the General Partner
      in respect of a Defaulting Partner pursuant to Section 6.11, any Partner that is late in funding or
      defaults on a Capital Call Notice shall be responsible for any interest or other expenses incurred
      in connection with such advance. Any such expenses shall be withheld from distributions
      otherwise to be made to such Defaulting Partner, and, to the extent such expenses exceed such
      distributions, such Defaulting Partner shall pay the amount of such excess to the Partnership in
      the manner and at the time or times required by the General Partner. Any such excess shall not
      be credited to such Defaulting Partner's Capital Account. For purposes of this Agreement, any
      amount withheld from a Defaulting Partner and paid to a lender shall be paid to the lender on
      behalf of such Defaulting Partner and shall be treated as if distributed to such Defaulting Partner.

             (b)    Each Limited Partner understands, acknowledges and agrees, in connection with
      any such Bridge Leveraging/Credit Support Facility and for the benefit of any lender thereunder,
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      as follows: (i) that the General Partner may from time to time request a certificate confirming (x)
      the remaining amount of such Limited Partner's Unfunded Commitment or (y) that the Limited
      Partner has not and will not pledge, collaterally assign, encumber or otherwise grant a security
      interest in its limited partnership interest in the Partnership, and (ii) that the General Partner may
      from time to time request such other information as may be reasonably required by the lender( s)
      under the terms of the Bridge Leveraging/Credit Support Facility. Each Limited Partner agrees
      to comply with such requests to the extent they are reasonable.

              (c)     To induce any such lender to enter into a Bridge Leveraging/Credit Support
      Facility with the Partnership, each Limited Partner hereby: (i) acknowledges that the Partnership
      has informed such Limited Partner that the Partnership may pledge to a lender the right to call all
      Unfunded Commitments to secure all obligations made under the Bridge Leveraging/Credit
      Support Facility (collectively, the "Obligations") the terms of which are in accordance with this
      Agreement, and, in connection therewith, grant to such lender the rigbt to issue Capital Call
      Notices pursuant to the terms of this Agreement when an event of default under such Bridge
      Leveraging/Credit Support Facility exists, including an event of default resulting from the failure
      of a partner of a Parallel Vehicle to fund any capital contributions when required, which each
      Limited Partner shall fund, in accordance with the terms hereof and its rigbts and obligations
      hereunder; and (ii) acknowledges that the Partnership has informed such Limited Partner that for
      so long as the Bridge Leveraging/Credit Support Facility is in place, the General Partner and the
      Partnership may agree with the lender not to amend, modify, supplement, cancel, terminate,
      reduce (other than with respect to Funded Commitments) or suspend any of such Limited
      Partner's obligations to fund its Unfunded Commitment pursuant hereto, subject to excuse
      provisions set forth herein, without the lender's prior written consent.



                                                  ARTICLE VI

                                            LIMITED PARTNERS

             Section 6.1 Limited Liability. The Limited Partners will not be personally liable for any
     obligations of the Partnership and will have no obligation (including with respect to a deficit
     balance in their Capital Account) to make contributions to the Partnership in excess of their
     respective Commitments specified in Schedule 1 attached hereto in accordance with this
     Agreement, except to the extent set forth in Section 6.7 or the Delaware Partnership Act. The
     Limited Partners will take no part in the control, direction or operation of the affairs of the
     Partnership and will have no power to bind the Partnership.

                Section 6.2 Transfer of Limited Partnership Interests.

             (a)     A Limited Partner may not sell, assign, transfer, pledge, mortgage or otherwise
     dispose of all or any of its interest in the Partnership unless the General Partner has consented to
     such transfer or assignment in writing; provided, that with regard to an assignment by a Limited
     Partner to an Affiliate of such Limited Partner, such consent shall not be unreasonably withheld.

            (b)     A Limited Partner which is a trust under an employee benefit plan may, upon
     prior written notice to the General Partner, assign a beneficial interest in all or a portion of its
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       interest in the Partnership to any other trust under such employee benefit plan or to any other
      employee benefit plan having the same sponsor (provided that income and loss allocable to the
      Limited Partner of the Partnership will continue to be included in the same filings under the same
      employer identification number with the Internal Revenue Service). Such assignment to another
      trust under such employee benefit plan or to any other employee benefit plan having the same
      sponsor will not be deemed to be an assignment or transfer of a limited partnership interest
      pursuant to this Agreement (and therefore will not require the General Partner's consent pursuant
      to Section 6.2(a)). In addition, a change in any trustee or fiduciary of a Limited Partner will not
      be deemed to be an assignment or transfer of a limited partnership interest pursuant to this
      Agreement (and therefore not require the General Partner's consent pursuant to Section 6.2(e)),
      so long as any such replacement trustee or fiduciary is also a fiduciary as defined under
      applicable law, that income and loss allocable to the Limited Partner of the Partnership will
      continue to be included in the same filings under the same employer identification number with
      the Internal Revenue Service, and the General Partner receives prior written notice of such
      change in trustee or fiduciary. In connection with any assignment of interest or change in trustee
      or fiduciary under this Section 6.2(b ), the Limited Partner shall provide such documentation as
      the General Partner shall reasonably request.

              (c)    The voting rights of any Limited Partner's interest shall automatically terminate
      upon any transfer of such interest to a trust, heir, beneficiary, executor, personal representative,
      guardian or conservator or upon any other transfer if the transferor no longer retains control over
      such voting rights and the General Partner has not consented pursuant to Section 6.2(e) to such
      transferee becoming a substitute Limited Partner. No consent of any other Limited Partner will
      be required as a condition precedent to any such transfer or substitution.

             (d)     As a condition to any transfer of a Limited Partner's interest pursuant to
     Section 6.2(a), the transferor and the transferee shall provide such legal opinions and
     documentation as the General Partner shall reasonably request; provided that if the transfer is to
     be made from a Limited Partner to a co-trustee or trustee as contemplated above or to an
     Affiliate pursuant to Section 6.2(a), an officer's certificate in form reasonably satisfactory to the
     General Partner may be delivered by the Limited Partner in lieu of such legal opinions and other
     documentation.

             (e)      Notwithstanding anything to the contrary contained in this Section 6.2 or 6.11, a
     transferee or assignee will not become a substitute Limited Partner (i.e., a transfer other than as
     described in Section 6.2(b )) without the consent of the General Partner, which consent may be
     granted or withheld in its sole and absolute discretion (except for a disposition by a Limited
     Partner to an Affiliate permitted by Section 6.2(a), for which such consent shall not be
     unreasonably withheld), and without executing (i) a copy of this Agreement or amendment
     hereto, and (ii) a Subscription Agreement in form and substance satisfactory to the General
     Partner in its sole discretion. Any substitute Limited Partner admitted to the Partnership with the
     consent of the General Partner will succeed to all rights and be subject to all the obligations of
     the transferring or assigning Limited Partner with respect to the interest to which such Limited
     Partner was substituted, but any transferee or assignee that does not become a substitute Limited
     Partner shall have the right to receive allocations pursuant to Section 2.3 and distributions
     pursuant to Article III and Article VIII, but shall have no other rights under this Agreement.


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              (f)    The transferor and transferee of any Limited Partner's interest shall be jointly and
      severally obligated to reimburse the General Partner and the Partnership for all reasonable
      expenses (including attorneys' fees and expenses) of any transfer or proposed transfer of a
      Limited Partner's interest, whether or not consummated.

               (g)    The transferee of any Limited Partner's interest shall be treated as having made
      all of the Capital Contributions made by, and received all of the distributions received by, the
      transferor of such interest.

              (h)     Anything in this Agreement to the contrary notwithstanding, no admission (or
     purported admission) of a Partner, and no transfer (or purported transfer) of all or any part of a
     Partner's interest in the Partnership (or any economic interest therein) whether to another Partner
     or to a person who is not a Partner, shall be effective, and any such admission or transfer (or
     purported admission or transfer) shall be void ab initio, and no person shall otherwise become a
     Partner if after such admission or transfer (or purported admission or transfer) the Partnership
     would have more than one hundred (100) Partners, unless the General Partner determines in its
     sole discretion that the Partnership will meet the requirements set forth in Treasury Regulation
     § 1.7704-l(j)(l) for the taxable year of such transfer and all subsequent taxable years. In
     determining whether the Partnership will have more than one hundred (100) Partners for
     purposes of this Section 6.2(h), each person indirectly owning an interest in the Partnership
     through a partnership (including any entity treated as a partnership for federal income tax
     purposes), a grantor trust or an S corporation (each such entity a "flow-through entity") shall be
     treated as a Partner unless the General Partner determines in its sole discretion, after consulting
     with qualified tax counsel, that less than substantially all of the value of the beneficial owner's
     interest in the flow-through entity is attributable to the flow-through entity's interest (direct or
     indirect) in the Partnership.

              (i)     Anything in this Agreement to the contrary notwithstanding, no admission (or
     purported admission) of a Partner, and no transfer (or purported transfer) of all or any part of a
     Partner's interest in the Partnership (or any economic interest therein) whether to another Partner
     or to a person who is not a Partner, shall be effective, and any such admission or transfer (or
     purported admission or transfer) shall be void ab initio, and no person shall otherwise become a
     Partner if after such admission or transfer (or purported admission or transfer) the Partnership
     would be subject to the registration or reporting requirements of the Investment Company Act or
     in the General Partner's good faith determination, such transfer would cause the assets of the
     Partnership to be deemed Plan Assets. Each transferee that is or will be a Benefit Plan Investor
     as of the transfer effective date shall so notify the General Partner in writing prior to the transfer
     effective date. Any transferee that has not so indicated in writing its status as a Benefit Plan
     Investor hereby represents, warrants and covenants that it is not, it is not acting on behalf of and,
     so long as it holds an interest in the Partnership, it will not be and will not be acting on behalf of
     a Benefit Plan Investor.

            Section 6.3 No Withdrawal. Subject to the provisions of Sections 6.2, 6.6 and 6.11, no
     Limited Partner may withdraw as a Partner of the Partnership, nor may a Limited Partner be
     required to withdraw, nor may a Limited Partner borrow or withdraw any portion of its Capital
     Account from the Partnership.


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             Section 6.4 No Termination. The substitution, death, insanity, dissolution (whether
      voluntary or involuntary) or bankruptcy of a Limited Partner will not affect the existence of the
      Partnership, and the Partnership will continue for the term of this Agreement until its existence is
      terminated as provided herein.

                 Section 6.5 Subsequent Limited Partners.

              (a)    The General Partner may accept additional Limited Partners ("Additional Limited
      Partners") subsequent to the First Closing of the Partnership up to and including the date
      fourteen months after the First Closing. Any Additional Limited Partners will be treated as
      having been a party to this Agreement and have made its Commitment as of the date hereof for
      all purposes, and such Additional Limited Partners will be required to bear a portion of the
      Management Fee, Organizational Expenses and Partnership Expenses equivalent to that which
      would have been borne by such Additional Limited Partner had such Limited Partner been a
      Limited Partner from the date of the First Closing.

              (b)     Such Additional Limited Partners shall contribute to the Partnership, on the date
     of their admission to the Partnership, an amount of their Commitments equal to their portion
     (based on the Commitments of all Partners) determined pursuant to this Section 6.5(b ). The
     initial drawdown for each Limited Partner will include such Limited Partner's proportionate
     share of (i) Management Fees retroactive to the First Closing; (ii) Placement Fees, if any,
     retroactive to the First Closing, (iii) Organizational Expenses (to the extent provided in
     Section 4.2) and Partnership Expenses attributable to the Partnership; and (iv) Capital
     Contributions made at or prior to such drawdown to fund any Portfolio Investment, other than
     Capital Contributions that have been returned prior to such drawdown to the Partners who made
     such Capital Contributions. In addition, Additional Limited Partners will be required to pay to
     the Partnership, with respect to the period from the date of the applicable Capital Contributions
     made by the Partners who were admitted pursuant to the First Closing to the date of their
     admission to the Partnership: (A) interest at the rate of 10% on their proportionate share of
     Management Fees retroactive to the First Closing; (B) interest at the rate of 10% on their
     proportionate share of Organizational Expenses (to the extent provided in Section 4.2),
     Placement Fees and Partnership Expenses attributable to the Partnership; and (C) interest at the
     rate of 10% on their proportionate share of the Capital Contributions made prior to such
     draw down (other than Capital Contributions that have been returned prior to such draw down to
     the Partners who make such Capital Contributions), to fund any Portfolio Investment; provided,
     however, that interest payable pursuant to sub-clauses CB l and ~ above shall be reduced, but
     not below zero, by each Additional Limited Partner's pro rata portion (based on Commitments of
     all Partners) of all distributions made prior to the date of such draw down to all Partners pursuant
     to Sections 3.3(a)(i), 3.3(a)(ii)(B) and 3.3(a)(iii)(A), to the extent such distributions exceed the
     aggregate amount of Capital Contributions to make Portfolio Investments that have been
     Disposed of prior to the date of such drawdown. Any amounts paid to the Partnership under
     clause (i) and subclause CAl above will be paid to the Manager (and to the extent the General
     Partner has waived all or part of such Management Fees, such Waived Fee Amount shall not be
     paid to the Manager or the General Partner but will instead increase the Unapplied Waived Fee
     Amounts). Any amounts paid to the Partnership under clause (iil above shall be paid to the
     applicable placement agency if applicable to such Limited Partner. Any amounts paid to the
     Partnership under clauses (iii) and (ivl above, and subclauses CBl and~ above shall be

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      distributed to the Partners that participated in the earlier Capital Contributions based upon their
      relative shares of each earlier Capital Contribution, and any such returned Capital Contributions
      (but not amounts referred to in subclauses (B) and {Q above) may be recalled by the General
      Partner pursuant to Section 2.2(a) above as if such returned Capital Contributions had not
      previously been called; provided, that if the General Partner determines in good faith that there
      will be a Capital Call within 30 days after the contribution of such amounts to the Partnership,
      the General Partner may, in its discretion, retain such amounts and reduce the Capital Call with
      respect to such other Partners (in which event the Funded Commitments of such other Partners
      shall be increased by their pro rata share of that portion of such amounts referred to in subclauses
      illl and {Q above). For purposes of this Section 6.5, a Limited Partner that increases its
      Commitment shall be treated as an Additional Limited Partner with respect to the amount by
      which its Commitment increased.

              (c)     Each Additional Limited Partner admitted to the Partnership pursuant to this
      Section 6.5 shall be treated as purchasing a pro rata share of the interests in the Partnership of the
      Partners to whom amounts are distributed pursuant to this Section 6.5 ("Existing Partners"), and
      a portion of the Capital Account of each Existing Partner shall be allocated to such Additional
      Limited Partner so that after such allocation the Capital Accounts and Capital Contributions of
      such Additional Limited Partner and Existing Partners attributable to each Portfolio Investment
      and to the payment of Organizational Expenses, Management Fees, Placement Fees and
      Partnership Expenses are as equal as practicable to what their Capital Accounts and Capital
      Contributions attributable to each Portfolio Investment and to the payment of Organizational
      Expenses, Management Fees, Placement Fees and Partnership Expenses would have been if such
      Additional Limited Partner had been admitted to the Partnership at the First Closing.

             (d)     If the admission of Additional Limited Partners to the Partnership or of investors
     in Parallel Vehicles or the purchase by a limited partner in a Parallel Vehicle of a portion of the
     interest of a Defaulting Partner pursuant to Section 6.11 would result in the Partnership and the
     Parallel Vehicles not having reimbursed the General Partner and its Affiliates for Organizational
     Expenses in the proportions contemplated by Section 4.2 hereof or would result in the
     Partnership and the Parallel Vehicles not owning investments in Portfolio Companies in the
     proportions contemplated by Sections 5.14 or 5.15 hereof, the General Partner shall have the
     authority:

                     (i)     to effect transfers of funds and of Portfolio Company to Parallel Vehicles
                 and to effect transfers of funds and portfolio investments of Parallel Vehicles to the
                 Partnership for the purpose of reallocating the ownership of investments in Portfolio
                 Companies and the reimbursements of Organizational Expenses by the Partnership
                 and the Parallel Vehicles, and

                    (ii)    to make allocations to, or to reallocate, the Capital Accounts and Capital
                 Contributions attributable to each Portfolio Investment and to the payment of
                 Organizational Expenses, Management Fees, Placement Fees and Partnership
                 Expenses of the Existing Partners and the Additional Limited Partners in the manner
                 contemplated by the previous provisions of this Section 6.5,



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      in each case to achieve allocations and distributions as close as practicable to those that would
      have obtained had such Additional Limited Partners or investors been admitted to the Partnership
      or to Parallel Vehicles, respectively, at the First Closing or had such purchased interest of a
      Defaulting Partner been issued to the purchaser at the First Closing. Any distribution of cash
      made by the Partnership in connection with a reallocation under this Section 6.5(d) representing
      a return of Capital Contributions may be recalled by the General Partner pursuant to Section
      2.2(a) as if such returned Capital Contributions had not previously been called.

                 Section 6.6 Regulatory Matters.

              (a)      Each Limited Partner acknowledges that the assets of the Partnership are not
      intended to constitute plan assets of such Limited Partner for purposes of any applicable non-
      U.S., state or local law governing the investment and management of the assets of that Limited
      Partner, and that, as a result, none of the Partnership, the General Partner, the Manager or any of
      their Affiliates intend to be acting as a fiduciary within the meaning of any applicable non-U.S.,
      state or local law relating to governmental plans or foreign plans with respect to such Limited
      Partner or the Partnership assets; provided, however, that this provision is not intended to negate
      the fiduciary duties imposed upon a general partner under the Delaware Partnership Act.

              (b)     In the event that the General Partner determines in good faith that (i) the
      investment in the Partnership by a Limited Partner which is a governmental plan, foreign plan or
      other regulated entity (each, a "Regulated Investor") is reasonably likely to result in (A) any
      violation of any provision of law applicable to such Regulated Investor, (B) the treatment of the
      assets of the Partnership as assets of such Regulated Investor or (C) the treatment of the
      Partnership, the General Partner or the Manager as a fiduciary under such provisions of law
      applicable to such Regulated Investor and (ii) if, in the reasonable judgment of the General
      Partner, any of the foregoing conditions result in or are reasonably likely to result in any material
      adverse consequences to the Partnership or the General Partner (both of (i) and (ii), a
      "Regulatory Issue"), then the General Partner shall use its reasonable best efforts to work with
      the Regulated Investor to cure the Regulatory Issue. The General Partner, in its sole discretion,
      may require that such Regulated Investor provide (at such Regulated Investor's expense) an
      opinion of counsel, reasonably acceptable to the General Partner in form and substance, that no
      Regulatory Issue exists or, in the event such an opinion is not delivered within a reasonable time
      after being requested, may cause the Partnership to redeem such Regulated Investor's interest in
      the Partnership, in whole or in part.

             (c)     Effective upon the date specified by the General Partner in the notice sent to a
     Limited Partner, notifying such Limited Partner of the General Partner's determination to
     completely or partially redeem such Limited Partner's interest in the Partnership pursuant to
     Section 5.6(e) or Section 6.6(b) (the "Redemption Effective Date"), such Limited Partner (the
     "Redeemed Limited Partner") shall cease to be a Partner of the Partnership for purposes of the
     withdrawn portion of its interest only and, in addition to its right to receive payment for its
     withdrawn interest in the Partnership as provided in Section 6.6(d), shall continue to be entitled,
     with respect to its remaining interest only, if any, to the rights of a Partner under this Agreement
     (including, without limitation, the right to have any allocations made to its Capital Account (as
     such may be adjusted) pursuant to Article II, the right to receive distributions pursuant to Article


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      III and upon dissolution of the Partnership pursuant to Article VIII and the right to vote on
      matters as provided in this Agreement).

              (d)     The Redemption Value shall be paid by the Partnership to such Redeemed
      Limited Partner in cash by paying to such Limited Partner a "pro rata portion" of each
      distribution payable to the Redeemed Limited Partners until the Redemption Value has been
      fully paid; provided, that the General Partner shall be under no obligation to sell, finance or
      refinance any Partnership property or assets or to take any other action to effect such redemption
      which, in the judgment of the General Partner, may affect adversely the Partnership (taking into
      account the liquidity needs of the Partnership) or any Partner. For purposes of the preceding
      sentence, a Redeemed Limited Partner's "pro rata portion" of a distribution shall be an amount
      equal to the amount such Redeemed Limited Partner would have received in respect of the
      redeemed interest had such interest not been redeemed.

             Section 6.7 Indemnification and Reimbursement for Payments on Behalf of a
      Partner/Partner Clawback.

              (a)    If the Partnership is obligated to pay any amount to a governmental agency or to
     any other person (or otherwise makes a payment) in respect of any tax because of a Partner's
     status or otherwise specifically attributable to a Partner (including, without limitation, federal
     withholding taxes with respect to foreign partners, state personal property taxes, state
     unincorporated business taxes, etc.), then such Partner (the "Indemnifying Partner") shall
     indemnify the Partnership in full for the entire amount paid (including, without limitation, any
     interest, and any penalties and expenses associated with such payment to the extent such
     penalties and expenses are attributable to such Partner's actions or failure to act). At the option
     of the General Partner, the amount to be indemnified may be charged against the Capital
     Account of the Indemnifying Partner, and, at the option of the General Partner, either:

                    (i)    promptly upon notification of an obligation to indemnify the Partnership,
     the Indemnifying Partner shall make a cash payment to the Partnership equal to the full amount
     to be indemnified (and the amount paid shall be added to the Indemnifying Partner's Capital
     Account but shall not be deemed a Capital Contribution hereunder), or

                     (ii)    the Partnership shall reduce subsequent distributions which would
     otherwise be made to the Indemnifying Partner until the Partnership has recovered the amount to
     be indemnified (provided, that the amount of such reduction shall be deemed to have been
     distributed for all purposes of this Agreement, but such deemed distribution shall not further
     reduce the Indemnifying Partner's Capital Account). If the General Partner reasonably expects
     that subsequent distributions to such Partner will be sufficient to satisfy such Partner's obligation
     to pay such amount, the General Partner shall not seek a payment pursuant to clause (i) above,
     until the General Partner reasonably believes such distributions will not be sufficient.

             (b)     A Partner's obligation to make contributions to the Partnership under this
     Section 6.7 shall, subject to the limitations set forth in Section 6.7(c), survive the termination,
     dissolution, liquidation and winding up of the Partnership until the third (3'd) anniversary of the
     date of the final distribution made in connection with the complete liquidation of the assets of the
     Partnership and, for purposes of this Section 6. 7, the Partnership shall be treated as continuing in

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     existence. The Partnership may pursue and enforce all rights and remedies it may have against
     each Partner under this Section 6.7, including instituting a lawsuit to collect such contribution
     with interest equal to the prime or base rate then in effect (as announced by Citibank, N.A., New
     York, New York) plus six percentage points per annum (but not in excess of the highest rate per
     annum permitted by law).

              (c)     At any time and from time to time prior to the third (3'ct) anniversary of the date of
      receipt thereof, the General Partner may require each Partner to return distributions (including
      distributions made in connection with the complete liquidation of the assets of the Partnership) to
     the Partnership in an amount sufficient to satisfy all or any portion of (i) such Partner's
      indemnification obligations pursuant to Section 6.7(a), or (ii) any liability which the Partnership
     would be required by this Agreement or otherwise to pay if it had adequate funds, including but
     not limited to (A) the expenses of investigating, defending or handling any pending or threatened
     litigation or claim arising out of the Partnership's activities, investments or business, (B) the
     amount of any judgment or settlement arising out of such litigation or claim, and (C) the
     Partnership's obligation to indemnify any Partner or other Person pursuant to Section 5.11 (a
     "Liability"), whether such obligations arise before or after the last day of the Partnership or, with
     respect to any Partner, before or after such Partner's withdrawal from the Partnership; provided,
     that (x) each Partner will return distributions in respect of its share of any such indemnification
     payment in proportion to the aggregate amount of distributions received by such Partner that
     have not previously been returned to the Partnership by such Partner pursuant to this Section
     6.7(c); and (y) Partner's maximum liability under this Section 6.7 is limited to an amount equal
     to the lesser of (1) 33 113 % of such Partner's Commitment, and (2) 50% of the aggregate amount
     of distributions received by such Partner as of such date. Any distributions returned pursuant to
     this Section 6.7(c) shall not be treated as Capital Contributions, but shall be treated as returns of
     distributions in making subsequent distributions pursuant to Section 3.3 and in determining the
     amount that the General Partner is required to contribute to the Partnership pursuant to Section
     8.3(c) (other than for purposes of computing a Partner's Preferred Amount, which shall be
     computed based on actual Capital Contributions made and distributions received). Nothing in
     this Section 6.7(c), express or implied, is intended or shall be construed to give any person other
     than the Partnership or the Partners any legal or equitable right, remedy or claim under or in
     respect of this Section 6.7(c) or any provision contained herein. If a Limited Partner returns an
     amount to the Partnership under Section 6.7(c)(ii) after the final distribution of the assets of the
     Partnership, the amount the General Partner is required to contribute to the Partnership with
     respect to such Limited Partner pursuant to Section 8.3(c) shall be re-determined, taking into
     account the return of such amount to the Partnership. The provisions of Section 8.3( cl shall
     apply, and the payments required thereby shall be made, in the same manner as if the return of
     such amount to the Partnership had occurred prior to the final distribution of the assets of the
     Partnership.

            Section 6.8 Section 754 Election. Upon the written request of a Majority in Interest of
     the Limited Partners, that an election provided for in Section 754 of the Code be made, the
     General Partner shall, if then permitted by applicable law, make such election.




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                Section 6.9 BHCA Partners.

              (a)     Any Limited Partner may. upon notice to the General Partner, elect to hold all or
      any fraction of such Limited Partner's interest in the Partnership as a Non-Voting Interest, in
      which case such Limited Partner shall not be entitled to vote or otherwise participate in any
      consent of the Limited Partners with respect to the portion of its interest which is held as a Non-
      Voting Interest (and such Non-Voting Interest shall not be counted in determining the giving or
      withholding of any such consent or whether the requisite percentage of the Limited Partners or
      Partners, as the case may be, have consented to, approved, adopted or taken any other action
      hereunder). Except as provided in this Section 6.9, an interest held as a Non-Voting Interest
      shall be identical in all regards to all other interests held by Limited Partners. Any such election
      shall be irrevocable and shall bind the assignees of such Limited Partner's interest.

              (b)    Any interest in the Partnership held for its own account by a B HCA Partner, that
      is determined at the time of admission of such BHCA Partner, the complete or partial withdrawal
     of another Limited Partner or any other adjustment of the interests of the Partners pursuant to this
     Agreement to be in excess of 4.99% (or such other amount as may be permitted by applicable
     regulation to be held by a BHCA Partner as voting securities, but not including Section 4(k) of
     the BHC Act or any successor provision thereto) of the interests of the Limited Partners,
     excluding for purposes of calculating this percentage portions of any other interests that are Non-
     Voting Interests pursuant to this Section 6.9 and any other Section of this Agreement
     (collectively the "Non-Voting Partnership Interests"), shall be a Non-Voting Partnership Interest
     (whether or not subsequently transferred in whole or in part to any other person) and shall not be
     included in determining whether the requisite percentage of the Partners have consented to,
     approved, adopted or taken any action hereunder; provided, that such Non-Voting Partnership
     Interest shall be permitted to vote on any proposal to continue the business of the Partnership
     under Section 8.2(a) but not on the selection of a General Partner pursuant to Section 8.2(a).
     Each BHCA Partner hereby further irrevocably waives its corresponding right to vote for a
     successor general partner under Section 17-801 of the Delaware Partnership Act with respect to
     any Non-Voting Partnership Interest, which waiver shall be binding upon such BHCA Partner
     and any entity which succeeds to its interest. Upon the occurrence of a subsequent closing or
     any event specified in the second preceding sentence, a recalculation of the interest held by all
     BHC Partners shall be made, and only that portion of the total interest held by each BHC Partner
     that is determined as of the date of such recalculation to be in excess of 4.99% (or such other
     amount) of the interests of the Limited Partners, excluding Non-Voting Partnership Interests as
     of such date, shall be a Non-Voting Partnership Interest.

              Section 6.10 Excused Investments. In the event that (a) the Partnership makes or
     proposes to make a Portfolio Investment which the General Partner reasonab\y determines could
     result in a material violation by any Limited Partner (or any of its Affiliates) of any law, order,
     decree or judgment of any court or governmental agency applicable to such Limited Partner (or
     any of its Affiliates), or (b) the General Partner reasonably determines that a Limited Partner's
     participation in a proposed Portfolio Investment of the Partnership could have a material adverse
     effect on the Partnership, the entity in which such investment is to be made, such Limited
     Partner, or the General Partner and its Affiliates, the General Partner may, in its sole discretion,
     and subject to Section 5.6(a), (x) reduce or eliminate the interest of the such Limited Partner with
     respect to such Portfolio Investment and the distributions with respect thereto (provided that any

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      Capital Contributions made by such Limited Partner with respect to such Portfolio Investment
      shall be promptly returned to such Limited Partner) and correspondingly increase the interest of
      the other Limited Partners with respect to such Portfolio Investment and/or (y) increase the
      interest of such Limited Partner in future Portfolio Investments of the Partnership and such
      Limited Partner's interest in the distributions with respect thereto and correspondingly decrease
      the interests of the other Limited Partners in such Portfolio Investments. All determinations
      necessary to reflect the operation of this Section 6.10 and not otherwise explicitly provided for in
      this Section 6.10 shall be made on an equitable basis as determined by the General Partner in
      good faith, whose decision thereon shall be final and binding on all Limited Partners.
      Determinations by the General Partner pursuant to clauses (a) and {Q} above may be made on its
      own initiative or after considering the request of any Limited Partner, including any supporting
      legal analysis or other documentation submitted by such Limited Partner.

                 Section 6.11 Limited Partner's Default on Commitment.

             (a)      If any Limited Partner fails to make full payment of any portion of its
      Commitment when due (a "Defaulting Partner") and such failure is not cured within five
      Business Days after receipt by such Limited Partner of written notice from the General Partner
      with respect to such failure to pay, the General Partner may in its discretion and subject to
      Section 5.6(a). undertake any one or more of the following steps:

                      (i)    The General Partner may assist the Defaulting Partner in finding a buyer
      for the Defaulting Partner's Partnership interest (provided, that the General Partner will have no
      obligation to contact any particular Limited Partner or other person with regard to such sale).

                      (ii)   The Partnership may pursue and enforce all rights and remedies the
      Partnership may have against such Defaulting Partner with respect thereto, including a lawsuit to
      collect the overdue portion of the Commitment and any other amounts due the Partnership or
      General Partner hereunder, with interest at a rate equal to the prime or base rate then in effect (as
      announced by Citibank, N.A., New York, New York) plus six percentage points (but not in
      excess of the highest rate per annum permitted by law).

                     (iii)    The General Partner may offer the Defaulting Partner's interest to the
     Partners and the partners in the Parallel Vehicles (other than any Defaulting Partners) pro rata in
     accordance with their Commitments and their capital commitments to Parallel Vehicles on the
     terms set forth below. If any Partner or partner in a Parallel Vehicle does not elect to purchase
     the entire interest offered to it, the remaining interest allocable to the Partners and the partners in
     the Parallel Vehicles will be reoffered pro rata to the Partners and the partners in Parallel
     Vehicles who have purchased the entire interest offered to them until either all of such interest is
     acquired or no Partner or partner in a Parallel Vehicle wishes to make a further investment. At
     the closing of such purchase (on a date and at a place designated by the General Partner), each
     purchasing Partner shall (A) deliver a non-interest bearing, non-recourse (except to the extent of
     the Partnership interest purchased and the proceeds therefrom) ten-year promissory note (in a
     form approved by the General Partner) payable to the Defaulting Partner in an amount equal to
     the portion of the Defaulting Partner's Capital Account being purchased by such Partner, and
     (B) assume the portion of the Defaulting Partner's obligation to make both defaulted and further
     Capital Contributions pursuant to its Commitment which is equal to the portion of the Defaulting

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      Partner's interest being purchased by such Partner. In the case of a purchase of a portion of a
      Defaulted Partner's Capital Account by one or more partners in a Parallel Vehicle, such Parallel
      Vehicle shall deliver a note in the same form as the note described above to the Partnership for
      the aggregate portion of the Defaulted Partner's Capital Account being purchased by the limited
      partners in such Parallel Vehicle, the Partnership shall make the adjustments described in
      Section 6.5(d) with respect to such purchase and the Partnership shall distribute such note to the
      Defaulting Partner. If a Partner purchases a portion of the interest of a defaulting partner of a
      Parallel Vehicle, the Partner purchasing such interest shall increase its Commitments as
      described above with respect to purchases of an interest of a Defaulting Partner, and shall
      guarantee the note delivered to the Parallel Vehicle, and the Partnership shall make such other
      adjustments as are required by Section 6.5(d). The General Partner will handle the mechanics of
      making the offers set forth herein and will in its discretion impose time limits for acceptance.

                        (iv)   If the entire Defaulting Partner's interest is not purchased in the manner
      set forth in (iii) above, the General Partner in its sole discretion may offer the remaining interest
      either (A) to a third party or parties on the same terms as originally offered to the Partners
      pursuant to (iii) above (in which case such third party or parties will, as a condition of purchasing
      such interest, become a party to this Agreement), or (B) to the Partners and the partners in
      Parallel Vehicles in the manner provided in (iii) above, but with no requirement to assume the
      Defaulting Partner's obligation to make further capital contributions pursuant to its Commitment,
      in which case the Defaulting Partner's Commitment shall be deemed reduced (effective on the
      date of the default) to the amount actually paid in and the aggregate Commitments of the
      Partnership shall be reduced by the amount of such Defaulting Partner's remaining contributions
      to be made pursuant to its Commitment.

                      (v)    In addition to, or instead of, the other remedies and undertakings available
      to the General Partner pursuant to this Section 6.ll(a), the General Partner may, in its sole
      discretion, reduce (effective on the date of the default, after giving effect to the 5-day cure
      period) any portion of such Defaulting Partner's Commitment (which has not been assumed by
      another Partner) to the amount of the Capital Contributions (which have not been purchased by
      another Partner) made by such Defaulting Partner (net of distributions pursuant to Section 6.5(b))
      and the aggregate Commitments of the Partnership shall be commensurately reduced.

                      (vi)   Notwithstanding anything contained herein to the contrary, from and after
     any date on which a Defaulting Partner's Commitment is reduced pursuant to subparagraph (v)
     above, (A) such Defaulting Partner will have no right to receive any distributions, except for
     distributions made upon the Partnership's liquidation, (B) such Defaulting Partner's Capital
     Account will not be credited with any Investment Income and Gain or Short-Term Investment
     Income which shall instead be allocated to the Partners (other than any Defaulting Partners) in
     accordance with Section 2.3(b) and f.£1, as appropriate (and as adjusted to treat the Defaulting
     Partner's Capital Contribution as equal to zero), (C) until such Defaulting Partner's Capital
     Account is reduced to zero, (I) such Defaulting Partner's Capital Account shall continue to be
     debited in accordance with Sections 2.3(c), fill, ill., and {g} for such Defaulting Partner's share of
     Investment Loss, Organizational Expenses, Placement Fees and Uncapitalized Partnership
     Expenses as if there had been no reduction in such Defaulting Partner's Commitment or Capital
     Contributions and (2) the Management Fee payable by the Defaulting Partner shall be calculated
     as if there had been no reduction in such Defaulting Partner's Commitment, and (D) once such

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      Defaulting Partner's Capital Account is reduced to zero, (1) such Defaulting Partner's
      Commitment shall be reduced to zero for all purposes of the Agreement, including the
      calculation of the Partnership's aggregate Commitments and determination of the Management
      Fee and (2) such Defaulting Partner (and not the Partnership or any other Limited Partner) shall
      be liable each quarterly period to the General Partner for an amount equal to its portion of the
      Management Fee for such period as if there had been no reduction in such Defaulting Partner's
      Commitment.

                      (vii) No consent of any Limited Partner shall be required as a condition
      precedent to any transfer, assignment or other disposition of a Defaulting Partner's interest
      pursuant to this Section 6.11.

              (b)     Additionally, the Defaulting Partner shall indemnify and hold harmless the
      General Partner and the Partnership against any losses, damages and expenses (including
      attorneys' fees) incurred by the General Partner and the Partnership in enforcing or attempting to
      enforce the provisions of this Section 6.11 or resulting from the Partnership failing to meet its
      obligations with respect to any Portfolio Investment by reason of any such default.

              Section 6.12 Investment Company Act Limitations. Notwithstanding anything to the
      contrary contained in this Agreement, (i) no person shall be admitted to the Partnership as
      Limited Partner, an Additional Limited Partner or a substitute Limited Partner unless such person
      is a Qualified Purchaser, and (ii) no sale, assignment, transfer, pledge, mortgage or other
      disposition of any or all of a Limited Partner's interest in the Partnership shall be effective unless
      the assignee of any beneficial interest in the Partnership is a Qualified Purchaser.



                                                ARTICLE VII

                                        ADVISORY COMMITTEE

              Section 7.1 Advisory Committee. (a) A committee (an "Advisory Committee") of not
      fewer than three individuals and not more than seven individuals who are affiliated with or
      officers, employees, representatives or designees of Limited Partners or limited partners of
      Parallel Vehicles (but are not affiliated with the General Partner, the Manager, the Principals or
      any Affiliates thereof) will be appointed by the General Partner. The General Partner will not
      appoint to the Advisory Committee any individual who is an officer, employee or representative
      of a BHC Partner whose Partner Interest in the Partnership is over 4.99%. The Advisory
      Committee will meet at least semi-annually with the Manager and will perform such duties as is
      contemplated by this Agreement and provide such advice and counsel, including advice and
      counsel as to general economic and financial trends, portfolio investments and valuations, as is
      requested by the General Partner in connection with the investments of the Partnership, the
      Parallel Vehicles and the Separate Investment Entities, and other matters related thereto;
      provided, that the General Partner will retain ultimate responsibility for all decisions relating to
      the operation and management of the Partnership, including all investment decisions. The
      Advisory Committee will be consulted on potential conflicts involving the Partnership and will
      perform the duties contemplated by this Agreement and all transactions between the Partnership

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      and the General Partner, the Manager and their Affiliates not specifically contemplated by this
      Agreement must be approved by the Advisory Committee. Notwithstanding the foregoing, the
      Advisory Committee will not consult with the General Partner on allocations of investment
      opportunities to Affiliates of the Manager or client accounts managed by the Manager if such
      allocations are made in accordance with the Highland Investment Allocation Policy. The
      Manager shall be entitled to remove a member of the Advisory Committee selected by the
      Manager from among the Limited Partners (or their representatives) upon at least 15 days prior
      written notice to the Limited Partners, provided, however, that the Manager may not remove a
      member of the Advisory Committee designated by a Limited Partner without the consent of 75%
      of the other members of the Advisory Committee. The Limited Partner that had the right to
      designate the removed member of the Advisory Committee shall have the right to designate a
      replacement. The Partnership will reimburse each member of the Advisory Committee for such
      member's reasonable out-of-pocket expenses incurred in attending meetings of the Advisory
      Committee. Such reimbursements shall be Partnership Expenses. The Advisory Committee
      shall act by affirmative vote or written consent of a majority of its members.

              (b)    Neither the members of the Advisory Committee, nor the Limited Partners on
      behalf of whom such members act as representatives, shall owe any duties (fiduciary or
      otherwise) to the Partnership or any other Limited Partner in respect of the activities of the
      Advisory Committee, other than the duty to act in good faith.



                                                  ARTICLE VIII

                                      DURATION AND TERMINATION

              Section 8.1 Duration. The Partnership will terminate on the tenth anniversary of the
      Final Closing, except that the term of the Partnership may be extended by the General Partner,
      with the approval of the Advisory Committee, for up to two consecutive one-year extensions.

                 Section 8.2 Early Termination.

                 (a)    The Partnership shall terminate on:

                     (i)     the bankruptcy of the General Partner or on the happening of any other
      event that would cause a dissolution of the Partnership under the Delaware Partnership Act
      unless, within 90 days after notice is given to the Limited Partners of the occurrence of such
      event, the Limited Partners and limited partners of all Parallel Vehicles unanimously select a
      new general partner and resolve to continue the business of the Partnership;

                     (ii)    a good faith determination upon receipt of written legal advice of counsel
      by the General Partner that dissolution of the Partnership is necessary or desirable (A) as a result
      of a Plan Asset Event or (B) to avoid any material adverse consequences to the Partnership or the
      General Partner as a result of any law applicable to a Regulated Investor;




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                     (iii)  the removal of the General Partner pursuant to Section 5.9 unless all of the
      Limited Partners and all limited partners of Parallel Vehicles select a successor general partner
      and resolve to continue the business of the Partnership pursuant to Section 5. 9; or

                    (iv)    at any time after the second anniversary of the Final Closing upon the
      consent of Seventy-Five Percent in Interest of the Limited Partners.

             (b)      As prompt! y as possible following the election by the Limited Partners of a
     successor General Partner pursuant to Section 8.2(a)(i), there shall be distributed to the former
     General Partner, in full payment and satisfaction of its interest in the Partnership, a Limited
     Partnership Interest in the Partnership. The Limited Partnership Interest of the former General
     Partner shall entitle the former General Partner to the same distributions and allocations in
     respect of Portfolio Investments made prior to the termination of the former General Partner it
     would have received had it remained the General Partner, subject to the obligations set forth in
     Section 8.3(c), and to the rights of a Limited Partner hereunder with a Commitment equal to the
     Commitment of the former General Partner, but shall not entitle it to any other rights to
     participate in the management of the Partnership. After its withdrawal as General Partner, a
     former General Partner shall only be liable under this Agreement for actions taken and
     investments in Portfolio Companies made prior to the date of such withdrawal. If the Limited
     Partners elect to continue the Partnership's business pursuant to Section 8.2(a)(i), an appropriate
     amendment to this Agreement and to the Certificate shall be made within 90 days after the event
     giving rise to such election.

            Section 8.3 Termination and Liquidation of Partnership Interests; Annual Determination
     of General Partner Give Back.

             (a)     Liquidation. Upon termination, the Partnership will be liquidated in an orderly
     manner. The General Partner (or, in the absence, bankruptcy or removal under Section 5.9, of
     the General Partner, the party selected by a Majority in Interest of the Limited Partners) will be
     the liquidator to wind up the affairs of the Partnership pursuant to this Agreement.

             (b)     Final Allocation and Distribution. Upon termination of the Partnership (whether
     or not an early termination), the General Partner will make a final allocation of all kinds of
     income, loss and expense in accordance with Article II hereof and the Partnership's liabilities
     and obligations to its creditors shall be paid or adequately provided for prior to any distributions
     to the Partners. After payment or provision for payment of all debts of the Partnership, the
     remaining assets, if any, will be distributed among the Partners as provided in Sections 3.2 and
     3.3.

             (c)     General Partner Give Back. Within 90 days after the termination of the
     Commitment Period and after the final distribution of the assets of the Partnership among the
     Partners as provided in Sections 3.2 and 3.3 (each of the termination of the Commitment Period
     and the final distribution of the assets of the Partnership, a "Determination Date"), the General
     Partner will make a Capital Contribution to the Partnership with respect to each Limited Partner
     (and such amount will be distributed to the Limited Partners in proportion to the amounts
     determined with respect to each Limited Partner pursuant to this Section 8.3(c)), equal to the
     greater of:

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                        (i)   the amount by which (A) (x) the aggregate distributions to the General
      Partner pursuant to Sections 3.3(a)(ii) and 3.3(a)(iii) (including amounts initially distributed
      pursuant to Section 3.3(b )) with respect to such Limited Partner's Partner Share of distributions
      pursuant to Section 3.3(a) as of the applicable Determination Date less (y) all amounts
      previously contributed by the General Partner pursuant to this Section 8.3(c) with respect to such
      Limited Partner, exceed (B) 20% of the excess of (x) such Limited Partner's Partner Share of all
      distributions pursuant to Section 3.3(a) from the Partnership as of the applicable Determination
      Date (including amounts distributed to the General Partner pursuant to Sections 3.3(a)(ii) and
      3.3(a)(iii), but reduced by any amounts previously contributed by the General Partner pursuant to
      this Section 8.3(cl) over (y) the aggregate Capital Contributions made by such Limited Partner to
      the Partnership as of the applicable Determination Date; and

                     (ii)     the amount by which all distributions received by such Limited Partner as
     of the applicable Determination Date are less than the sum of such Limited Partner's Capital
     Contributions as of the applicable Determination Date, plus such Limited Partner's aggregate
     Preferred Amount as of the applicable Determination Date; provided, however, that the
     aggregate General Partner Capital Contributions pursuant to this Section 8.3(c) will not exceed
     the excess, if any, of (x) an amount equal to 100% of the net amount distributed to the General
     Partner with respect to such Limited Partner over the entire term of the Partnership (other than
     Tax Distributions) pursuant to Sections 3.3(a)(ii) and 3.3(a)(iii) over (y) the Built-In Tax
     Amount with respect to any distribution of securities in-kind received by the General Partner
     with respect to such Limited Partner.

            (d)     The General Partner hereby covenants and agrees that each of the members of the
     General Partner entitled to receive Carried Interest distributions from the General Partner has
     guaranteed and will guaranty severally, but not jointly, the payment of his, her or its pro rata
     share of the payments required by Section 8.3(c) to the extent and on the terms set forth in the
     Guaranty Agreement.

              (e)     Special Profit Interest Give Back. After the final distribution of the assets of the
      Partnership among the Partners as provided in this Section 8.3 (and Article III hereof), but prior
      to the application of Section 8.3(c), the General Partner shall be obligated to make aggregate
      Capital Contributions to the Partnership, within 30 days after the date of such final distribution,
      in an amount equal to the sum of the excess, if any, of (i) the distributions received by the
     General Partner on account of the Special Profit Interest attributable to each Waived Fee Amount
     over (ii) the Available Profits with respect to such Waived Fee Amount. The distributions
     described in clause (i) of the preceding sentence with respect to a Waived Fee Amount are the
     Special Profit Interest distributions attributable to the Portfolio Company with respect to which
     the General Partner applied such Waived Fee Amount pursuant to Section 2.2(a)(ii), treating the
     Waived Fee Amounts as having been applied on a "first-in, first-out" basis. Amounts distributed
     to the General Partner pursuant to Section 3.3(0 shall be treated for this purpose as proceeds
     from Portfolio Company made on the date of each Waived Fee Notice giving rise to Waived Fee
     Amounts that are not applied to Portfolio Company pursuant to Section 2.2(a)(ii). For purposes
     of applying the first sentence of this Section 8.3(e), Partnership Profits shall not be treated as
     Available Profits with respect to more than one Waived Fee Amount. All such amounts returned
     to the Partnership shall be distributed to the Partners (other than a Defaulting Partner or the
     General Partner) in accordance with the provisions of Section 3.3. All determinations and

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      calculations pursuant to this Section 8.3(e) shall be made by the General Partner in its sole
      discretion.



                                                ARTICLE IX

                               VALUATION OF PARTNERSIDP ASSETS

              Section 9.1 Normal Valuation. For purposes of this Agreement, the value of any
      security as of any date (or in the event such date is a holiday or other day which is not a Business
      Day, as of the next preceding Business Day) will be determined as follows:

              (a)    a Marketable Security which is listed on a recognized securities exchange or the
     NMS will be valued at the average of the last sales prices (or, if no sale occurred on such date, at
     the last "bid" price thereon) for the five consecutive trading days before such date and the five
     consecutive trading days after such date;

             (b)    a Marketable Security which is traded over-the-counter (other than on the NMS)
     will be valued at the average of the last "bid" prices for the five consecutive trading days before
     such date and the five consecutive trading days after such date;

            (c)    subject to Section 9.3, all Non-Marketable Securities will be valued on such date
     by the General Partner at fair market value in such manner as it may determine; and

             (d)   a Marketable Security which meets clause (ii), but not clause (i) of the definition
     of "Marketable Securities" will be valued as if it had been converted, exchanged or exercised as
     of such date.

             Section 9.2 Restrictions on Transfer or Blockage. Any security which is held under a
     representation that it has been acquired for investment and not with a view to public sale or
     distribution, or which is held subject to any other restriction, or where the size of the
     Partnership's holdings compared to the trading volume would affect its marketability, will,
     subject to the provisions of Section 9.3, be valued at such discount from the value determined
     under Section 9.1 above as the General Partner deems necessary to reflect properly the
     marketability of such security.

             Section 9.3 Objection to Valuation. Prior to acting upon its final valuation of any
     security pursuant to Sections 9.1 or 9.2 or its determination of written down value pursuant to
     Section 9.4, the General Partner shall provide the members of the Advisory Committee with
     notice and backup support of the General Partner's valuation of such security. If within 30 days
     after delivery of such notice a majority of the members of the Advisory Committee delivers
     written notice to the General Partner objecting to the valuation of such security and if, within 15
     days from the date on which the General Partner receives such notice from a majority of the
     Advisory Committee, the General Partner and the Advisory Committee cannot agree on the
     valuation of such security, then the General Partner will (at the Partnership's expense) cause an
     independent securities expert mutually acceptable to the General Partner and the Advisory


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      Committee to review such valuation, and such expert's determination will be binding on the
      parties.

              Section 9.4 Write-down to Value. Any Portfolio Investment that has permanently
      declined in value as determined by the General Partner will be written down to its value (or, if
      applicable, written off) pursuant to the provisions of this Article IX, including the valuation
      provisions of Section 9.3, as of the date of such determination. The General Partner shall
      provide the Advisory Committee at least annually with the then current valuation of all Portfolio
      Investments.



                                                 ARTICLE X

                                   BOOKS OF ACCOUNTS; MEETINGS

            Section 10.1 Books. The Partnership will maintain complete and accurate books of
     account of the Partnership's affairs at the Partnership's principal office, which books will be
     open to inspection by any Partner (or its authorized representative) at any time during ordinary
     business hours.

             Section 10.2 Fiscal Year. The fiscal year of the Partnership will be the calendar year,
     unless otherwise determined by the General Partner.

                Section 10.3 Reports. The General Partner will furnish the Limited Partners:

             (a)     within 60 days after the end of each of the first three quarters of each fiscal year
     beginning with fiscal year 2008, and with respect to the fourth quarter in each fiscal year at the
     time of delivery of the annual financial statements under Section 10.3(c), (i) unaudited quarterly
     financial statements (including balance sheet and income statement (including additions,
     dispositions and write-offs)) showing each Partner's Capital Account prepared in accordance
     with GAAP, applied on a consistent basis (except that, in accordance with GAAP, such quarterly
     financial reports may omit footnotes and year-end adjustments, accruals and reserves), and (ii) a
     schedule of investments including the Partnership's cost and the value of such investments
     prepared in accordance with Article IX;

             (b)    within 60 days after the end of each of the first three quarters of each fiscal year
     beginning with fiscal year 2008, and with respect to the fourth quarter in each fiscal year at the
     time of delivery of the annual financial statements under Section 10.3(c), unaudited quarterly
     descriptive investment information for each Portfolio Company and narrative summary financial
     information for each Portfolio Company, including revenues, EBITDA and net debt;

              (c)     within 90 days after the end of each fiscal year beginning with fiscal year 2008,
     (i) financial statements for such year prepared in accordance with GAAP, applied on a consistent
     basis (certified by a firm of independent certified public accountants of recognized national
     standing selected by the General Partner), (ii) valuations of the Partnership's investments as of
     the end of such year (including a statement of each Partner's closing Capital Account) prepared
     in accordance with Article IX, and (iii) the certification to Benefit Plan Investors confirming that
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      the Partnership continues to qualify for an exception from Plan Assets described in the last
      sentence of Section 5.6(a) and a certification regarding the Partnership's compliance in all
      material respects with Article III hereof; and

              (d)     within 90 days after the end of each fiscal year beginning with fiscal year 2008,
      (subject to reasonable delays in the event of late receipt of any necessary financial statements or
      other information necessary to prepare tax returns in respect of any Portfolio Investment), the
      Partnership's tax return and the Limited Partners' respective forms K-1.

                 Section 10.4 Tax Allocation.

              (a)      Except as otherwise set forth in this Section 10.4(a), the income, gains, losses,
      deductions and credits of the Partnership will be allocated, for federal, state and local income tax
      purposes, among the Partners in accordance with the allocation of such income, gains, losses,
      deductions and credits among the Partners for computing their Capital Accounts, except that if
      any such allocation is not permitted by the Code or other applicable law, the Partnership's
      subsequent income, gains, losses, deductions and credits will be allocated among the Partners so
      as to reflect as near! y as possible the allocation set forth herein in computing their Capital
      Accounts. Notwithstanding the preceding sentence, in the event the Basis of any asset of the
      Partnership differs from its adjusted tax basis for federal income tax purposes, subsequent
      allocations of income, gain, loss, and deduction with respect to such asset shall take account of
      any variation between the adjusted basis of such asset for federal income tax purposes and its
      Basis in the same manner as under Section 704(c) of the Code and the Regulations thereunder.

               (b)    If any Partner is treated for income tax purposes as realizing ordinary income
      because of receipt of his, her or its Partnership interest (whether under Section 83 of the Code or
      any similar provisions of any law, rule or regulation or any other applicable law, rule, regulation
      or doctrine) and the Partnership is entitled to any offsetting deduction, the Partnership's
      deduction will be allocated among the Partners in such manner as to, as near! y as possible, offset
      such ordinary income realized by such Partner. If the Internal Revenue Service successfully
      asserts an adjustment to the taxable income of a Partner and, as a result of such adjustment, the
      Partnership is entitled to a deduction for federal income tax purposes in excess of any gain
      recognized by the Partnership, such excess deduction shall be allocated to such Partner. If the
      Internal Revenue Service successfully asserts an adjustment to the taxable income of the
      Partnership and, as a result of such adjustment, any Partner is entitled to a deduction for federal
      income tax purposes in excess of any gain recognized by such Partner, the additional Partnership
      taxable income shall be allocated to such Partner. If the Internal Revenue Service successfully
      asserts an adjustment to the taxable income of the Partnership disallowing deductions for any of
      the fees paid or payable to the General Partner, then additional Partnership taxable income
      allocable to the Partners as a result of such disallowance shall be reallocated to the General
      Partner.

               (c)     Notwithstanding any other provision of this Agreement, if a Partner unexpectedly
      receives an adjustment, allocation or distribution described in Treasury Regulation§ 1.704-
      1(b)(2)(ii) (d)(4), (5) or (6) which gives rise to a negative Capital Account (or which would give
      rise to a negative Capital Account when added to expected adjustments, allocations or
      distributions of the same type), such Partner will be allocated items of income and gain in an

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      amount and manner sufficient to eliminate such deficit balance as quickly as possible; provided
      that the Partnership's subsequent income, gains, losses, deductions and credits will be allocated
      among the Partners so as to achieve as near! y as possible the results that would have been
      achieved if this Section 10.4(c) had not been in this Agreement, except that no such allocation
      shall be made which would violate the provisions or purposes of Treasury Regulation
      § 1.704-1(b),

               Section 10.5 Tax Controversies. The General Partner is hereby designated the "Tax
      Matters Partner" (as defined in Section 6231 ofthe Code), and is authorized and required to
      represent the Partnership (at the Partnership's expense) in connection with all examinations of
      the Partnership's business and affairs by tax authorities, including resulting administrative and
      judicial proceedings, and to expend Partnership funds for professional services and costs
      associated therewith. Each Limited Partner agrees to cooperate with the General Partner and to
      do or refrain from doing any or all things reasonably requested by the General Partner with
      respect to the conduct of such proceedings. The General Partner shall provide the Limited
      Partners with all notices required to be provided to them by law in connection with such
      proceedings, and shall otherwise keep the Limited Partners reasonably informed of the progress
      thereof.

              Section 10.6 Certain Tax Elections. The Partnership shall not, without the consent of all
      Partners, file an election (i) pursuant to Section 761 of the Code not to be treated as a
      partnership, or (ii) pursuant to Treasury Regulation §301.7701-3(c) to be treated as an
      association taxable as a corporation.

                 Section 10.7 Code Section 83 Safe Harbor Election.

              (a)      Notice 2005-43. By executing this Agreement, each Partner authorizes and
      directs the Partnership to elect to have the "Safe Harbor" described in the proposed Revenue
      Procedure set forth in Internal Revenue Service Notice 2005-43 (the "Notice") apply to any
      interest in the Partnership transferred to a service provider by the Partnership on or after the
      effective date of such Revenue Procedure in connection with services provided to the
      Partnership. For purposes of making such Safe Harbor election, the General Partner is hereby
      designated as the "partner who has responsibility for federal income tax reporting" by the
      Partnership and, accordingly, execution of such Safe Harbor election by the General Partner
      constitutes execution of a "Safe Harbor Election" in accordance with section 3.03(1) of the
      Notice. The Partnership and each Partner hereby agrees to comply with all requirements of the
      Safe Harbor described in the Notice, including, without limitation, the requirement that each
      Partner shall prepare and file all federal income tax returns reporting the income tax effects of
      each "Safe Harbor Partnership Interest" (as described in Section 3.02 of the Notice) issued by the
      Partnership in a manner consistent with the requirements of the Notice.

             (b)      Amendment. Each Partner authorizes the General Partner to amend Section
     10.7(a) to the extent necessary to achieve substantially the same tax treatment with respect to any
     interest in the Partnership transferred to a service provider by the Partnership in connection with
     services provided to the Partnership as set forth in section 4 of the Notice (e.g., to reflect changes
     from the rules set forth in the Notice in subsequent Internal Revenue Service guidance), provided
     that such amendment is not materially adverse to any Partner (as compared with the after-tax

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      consequences that would result if the provisions of the Notice applied to all interests in the
      Partnership transferred to a service provider by the Partnership in connection with services
      provided to the Partnership).

              Section 10.8 Tax Basis Elections. Each Limited Partner hereby agrees and covenants
      that, with respect to such Partner's interest in the Partnership, it shall not make an election under
      Section 732(d) of the Code without the prior written consent of the General Partner. Each
     Limited Partner hereby acknowledges and agrees that the Partnership may, but shall not be
     obligated to, elect to be treated as an electing investment Partnership under Section 743(e) of the
      Code in the event the Partnership qualifies to do so. In such event, each transferring Limited
     Partner hereby agrees to provide the Partnership and its transferee with the time! y notice required
      in IRS Notice 2005-32, or any successor guidance or interpretations(s), including such
      information as is necessary to enable such transferee to compute the amount of losses disallowed
     under Section 743(e) of the Code. Alternatively, in the event that the Partnership elects or is
     required to adjust the basis of the Partnership property under Section 743 of the Code, each
     Limited Partner hereby agrees to promptly provide the General Partner with any information
     reasonably requested by the General Partner in connection with such adjustment to the basis of
     Partnership property. In addition, to the extent that the transfer to a Limited Partner (or the
     transfer of interests in a Limited Partner) results in the Partnership adjusting the basis of
     Partnership property, each Limited Partner that received an interest in the Partnership by reason
     of such transfer (or, in the case of the transfer of interest in a Limited Partner, such Limited
     Partner) hereby agrees to reimburse the Partnership and/or the General Partner within 10
     Business Days for any expenses (including without limitation accounting fees) reasonably
     incurred by the Partnership and/or the General Partner (and their respective affiliates) in
     connection with effecting such adjustments to the basis of Partnership property as it relates to
     such transfer. The General Partner is hereby authorized by each Limited Partner, with respect to
     any distribution to which such Limited Partner might otherwise be entitled, to defer making such
     distribution to such Limited Partner, if at the time such distribution would otherwise be effected,
     such Limited Partner has not satisfied its obligation to make the reimbursements provided for in
     the preceding sentence within the period specified therein.

            Section 10.9 Annual Meeting. The General Partner will hold annual general
     informational meetings for the Limited Partners until such time, after the termination of the
     Commitment Period, that substantially all of the Portfolio Investments have been Disposed..



                                                ARTICLE XI

                            CERTIFICATE OF LIMITED PARTNERSHIP;
                                    POWER OF ATTORNEY

             Section 11.1 Certificate of Partnership. A certificate of Limited Partnership within the
     meaning of the Delaware Partnership Act (the "Certificate") will be prepared upon the execution
     and delivery of this Agreement. The General Partner will cause the Certificate to be filed and
     recorded in the office of the Secretary of State of the State of Delaware and, to the extent
     required by local law, in the appropriate place in each state in which the Partnership may

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      hereafter establish a place of business; provided, however, that the Partnership will not be
      obligated to provide the Limited Partners with a copy of any amendment to or restatement of the
      Certificate other than any amendment or restatement required to be filed in connection with an
      amendment ofthis Agreement pursuant to Section 12.1. The General Partner will also cause to
      be filed, recorded and published such statements, notices, certificates or other instruments
      required by any provision of any applicable law which governs the formation of the Partnership
      or the conduct of its business from time to time.

              Section 11.2 Power of Attorney. Each of the undersigned does hereby constitute and
      appoint each member of the General Partner and each person who hereafter becomes a member
     of the General Partner with full power to act without the others, as his, her or its true and lawful
     representative and attorney-in-fact, in her, his or its name, place and stead, to make, execute,
      sign, acknowledge and deliver or file (a) the Certificate, (b) any amendment to or cancellation of
     the Certificate or any amendment to, or waiver of, this Agreement effected in accordance with
     Section 12.1, (c) all instruments, documents and certificates which may from time to time be
     required by any law to effectuate, implement and continue the valid and subsisting existence of
     the Partnership, (d) all instruments, documents and certificates which may be required to
     effectuate the dissolution and termination of the Partnership, and (e) in the case of a Defaulting
     Partner any bills of sale or other appropriate transfer documents necessary to effectuate transfers
     of such Defaulting Partner's interest pursuant to Section 6.11 above. The powers of attorney
     granted herein will be deemed to be coupled with an interest, will be irrevocable and will survive
     the death, incompetency, disability or dissolution of a Limited Partner. Without limiting the
     foregoing, the powers of attorney granted herein will not be deemed to constitute the written
     consent of any Limited Partner for purposes of Section 12.1. Notwithstanding the foregoing or
     anything contained in this Agreement to the contrary, the foregoing power of attorney may not
     be exercised by the General Partner after the occurrence of an event specified in Section 8.2 or
     the removal of the General Partner pursuant to Section 5.9.



                                                 ARTICLE XII

                                             MISCELLANEOUS

                Section 12.1 Amendments.

             (a)    This Agreement may be amended only by the written consent of the General
     Partner and, except as otherwise provided in this Section 12.1, a Majority in Interest of the
     Limited Partners.

             (b)      Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
     be valid as to any Limited Partner (including a Defaulting Partner) which (i) increases or
     decreases such Limited Partner's Commitment without the written consent of such Limited
     Partner or (ii) amends the provisions of this Section 12.1(b).

             (c)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
     be valid as to any Limited Partner (including a Defaulting Partner) which alters (i) the provisions
     of Sections 2.3, 3.3, 4.1, 6.1, 8.3(c) or the provisions of this Section 12.1(c), (ii) the provisions of
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      Section 6.7(c) in a manner that increases a Limited Partner's potential obligations, or (iii) any
      other provision of this Agreement, in a manner adverse to such Limited Partner, without the
      written consent of such Limited Partner; provided, however, that with respect to clause (iii). if
      such Limited Partner is not treated differently in any material respect from any other Limited
      Partner then such amendment will be valid with on! y the written consent of the General Partner
      and the Limited Partners representing at least a Majority in Interest of the Limited Partners.

              (d)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
      be valid as to any Limited Partner (including a Defaulting Partner), which alters the provisions of
      Sections 1.3, 5.4, 5.10, 5.11, 12.1 or any provision which requires the consent or vote of at least
      Two-Thirds in Interest of the Limited Partners without the written consent of the General Partner
      and at least Two-Thirds in Interest of the Limited Partners.

             (e)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment
     which would alter the provisions of Sections 5.5, 6.6 and the provisions of this Section 12.1(e).
     or, with respect to Benefit Plan Investors, Sections 5.6, 12.1(e), and the provisions in Section
     5.15 relating to Benefit Plan Investors or the definitions of Benefit Plan Investor or Redemption
     Value, will be valid without the written consent of at least a Majority in Interest of the Limited
     Partners that are materially and adversely affected by such amendment (including Limited
     Partners whose direct or indirect beneficial owners would be so affected).

             (f)     Notwithstanding anything in this Section 12.1 to the contrary, no amendment will
     be valid as to any Limited Partner (including a Defaulting Partner), which alters any provision
     which requires the consent or vote of at least Seventy-Five Percent in Interest of the Limited
     Partners or the provisions of this Section 12.1 (f) without the written consent of the General
     Partner and at least Seventy-Five Percent in Interest of the Limited Partners.

             (g)    Notwithstanding anything in this Section 12.1 to the contrary, no amendment
     shall be made which would amend the provisions hereof relating to the rights of BHCA Partners
     without the consent of each BHCA Partner affected thereby.

             (h)     Notwithstanding anything in this Section 12.1 to the contrary, the General Partner
     may amend any provisions of this Agreement solely as it relates to a Limited Partner pursuant to
     one or more side letters with such Limited Partner without the consent of the Limited Partners
     not party to such side letters.

             (i)      In addition to any amendments or waivers otherwise authorized hereby, this
     Agreement may be amended from time to time by the General Partner without the consent of any
     of the Limited Partners (i) to add to the representations, duties or obligations of the General
     Partner or surrender any right or power (but not responsibilities) granted to the General Partner
     herein; (ii) to cure any ambiguity or correct any provisions hereof which may be inconsistent
     with any other provisions hereof, or correct any printing, stenographic or clerical errors or
     omissions; (iii) to admit one or more Additional Limited Partners, or withdraw one or more
     Limited Partners, in accordance with the terms of this Agreement, and (iv) with the consent of
     the Advisory Committee, to take such actions contemplated in Section 5.6(e) or avoid any
     material adverse consequences to the Partnership or the General Partner as a result of any change


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      in law or interpretation of law applicable to a Regulated Investor. The General Partner shall
      promptly send each Limited Partner a copy of any amendment adopted pursuant to Section 12.1.

              Section 12.2 Successors. Except as otherwise provided herein, this Agreement will inure
      to the benefit of and be binding upon the Partners and their legal representatives, heirs,
      successors and assigns.

              Section 12.3 Governing Law; Severability. This Agreement will be construed in
      accordance with the laws of the State of Delaware and, to the maximum extent possible, in such
      manner as to comply with all the terms and conditions of the Delaware Partnership Act. If it is
      determined by a court of competent jurisdiction that any provision of this Agreement is invalid
      under applicable law, such provision will be ineffective only to the extent of such prohibition or
      invalidity, without invalidating the remainder of this Agreement.

              Section 12.4 Notices. All notices, demands and other communications to be given and
      delivered under or by reason of provisions under this Agreement will be in writing and will be
      deemed to have been given when personally delivered, sent by telecopy (with hard copy to
      follow by reputable overnight courier) or sent by reputable overnight courier service (charges
      prepaid) or mailed by first class mail (with a copy sent by telecopy) to the addresses or telecopy
      numbers set forth in Schedule 1 hereto or to such other address or telecopy number as has been
      indicated to all Partners.

                Section 12.5 Legal Counsel. Each Partner hereby agrees and acknowledges that:

             (a)    The law firm retained by the General Partner, the Partnership and any Parallel
     Vehicle or Separate Investment Entity (the "GP's Counsel") in connection with the formation of
     the Partnership, the offering of Limited Partner interests and the management and operation of
     the Partnership does not and will not represent the Limited Partners in connection with any such
     matter or in connection with any dispute which may arise between the Limited Partners on one
     hand and the General Partner, the Partnership and any Parallel Vehicle or Separate Investment
     Entity on the other (the "Partnership Legal Matters").

              (b)    Each Limited Partner will, if it wishes counsel on a Partnership Legal Matter,
     retain its own independent counsel with respect to each of the foregoing matters described in
     Section 12.5(a).

             (c)    Each Limited Partner hereby agrees that the GP's Counsel may represent (i) the
     General Partner and the Partnership and any Parallel Vehicle or Separate Investment Entity in
     connection with any and all Partnership Legal Matters (including any dispute between the
     General Partner and one or more Limited Partners, but excluding a Limited Partner's derivative
     action brought against the General Partner).

              Section 12.6 Miscellaneous. This document and the schedules, exhibits and side letter
     agreements between the Partnership and certain of the Limited Partners in connection herewith
     and the Subscription Agreements contain the entire Agreement among the parties and supersede
     all prior arrangements or understanding with respect thereto. Descriptive headings are for
     convenience only and will not control or affect the meaning or construction of any provision of
     this Agreement. This Agreement may be executed in any number of counterparts, any one of
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      which need not contain the signatures of more than one party, but all of such counterparts
      together will constitute one agreement.


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               IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be signed as
        ofthe date first above written.




        17461908                                         High/anti Restoration Capiial Partners, L.P. -
                                                                    Agreement ofLimited Partnership




                                                                                                  Appx. 04088
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                                   LIMITED PARTNERS




      17461908                                     Highland Restoration Capital Partners, LP. -
                                                             Agreement of Limited Partnership




                                                                                       Appx. 04089
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                                          On behalf of each of the parties named above

                                          By: HIGHLAND RESTORATION CAPITAL
                                              PARTNERS GP, LLC as Attorney-in-Fact
                                              pursuant to Section 14 of each of the
                                              Subscription Agreements, dated April 18,
                                              2008, between each of the above named
                                              parties and Highland Restoration Capital
                                              Partners GP, LLC a      neral Partner of
                                                Hi    \    ""'""' C iW '"'"" LP.

                                          By:
                                                Name: James Dondero
                                                Title: President




         17461908                                    Highland Renoration Capital Partners, L.P. -
                                                               Agreement ofLimited Partnership




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                          AMENDED AND RESTATED
                    AGREEMENT OF LIMITED PARTNERSHIP
                                   OF
             HIGHLAND RESTORATION CAPITAL PARTNERS MASTER, L.P.


          THIS AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
  (this “Agreement”) is dated effective as of April 18, 2008 between Highland Restoration Capital
  Partners GP, LLC, a Delaware limited liability company (in its capacity as general partner of the
  Partnership, the “General Partner”), and the limited partners listed in Schedule 1 attached hereto
  (in their capacities as limited partners of the Partnership, the “Limited Partners”) (the General
  Partner and the Limited Partners being herein collectively called the “Partners”). Capitalized
  terms not otherwise defined shall have the meanings ascribed to such terms in Section 2.1(a).

         The General Partner and certain of the Limited Partners entered into an Agreement of
  Limited Partnership, dated as of November 15, 2007 (the “Original Agreement”). The parties
  hereto wish to amend and restate the Original Agreement in the manner set forth herein.



                                            ARTICLE I

                                    GENERAL PROVISIONS

         Section 1.1 Formation. The Partners hereby agree to form a limited partnership (the
  “Partnership”) pursuant to and in accordance with the Delaware Revised Uniform Limited
  Partnership Act (the “Delaware Partnership Act”).

         Section 1.2 Name. The name of the Partnership will be “Highland Restoration Capital
  Partners Master, L.P.” or such other name or names as the General Partner may from time to
  time designate. The General Partner will notify Limited Partners in writing of any change to the
  name of the Partnership.

          Section 1.3 Purpose. Subject to the express limitations set forth herein and in the
  Offshore Fund Agreement, the Partnership is organized for the object and purpose of (i)
  investing in senior secured bank loans, debt obligations, trade claims and equity securities of
  middle market Distressed Companies primarily based in the United States generally consistent
  with the investment strategy described in the Partnership’s Confidential Private Placement
  Memorandum, including, without limitation, privately placed or publicly traded debt securities
  and other debt obligations, senior and subordinated debt obligations, secured and unsecured debt
  obligations, privately placed or publicly traded equity securities including common stock,
  preferred stock and warrants, (ii) managing and monitoring such investments and (iii) engaging
  in such activities incidental or ancillary thereto and otherwise permitted by the Delaware
  Partnership Act as the General Partner deems necessary or advisable.

          Section 1.4 Place of Business. The Partnership will maintain offices and places of
  business at Two Galleria Tower, 13455 Noel Road, Dallas, TX 75240, or at such other place or
  places in the United States as the General Partner may from time to time designate; provided,
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